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   5
     Attorneys for Plaintiffs and Counterdefendants
   6 CoStar Group, Inc. and CoStar Realty Information, Inc.
   7 [Additional Counsel Listed on the Next Page]
   8                     UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
   9
                                              CASE NO. 2:20-cv-08819-CBM-AS
  10   COSTAR GROUP, INC., and
       COSTAR REALTY INFORMATION,
  11   INC.,
  12                 Plaintiffs,
                                              DECLARATION OF SARAH A.
  13         v.                               TOMKOWIAK IN SUPPORT OF
                                              COSTAR’S OPPOSITION TO
  14   COMMERCIAL REAL ESTATE                 CREXI’S MOTION TO STRIKE
       EXCHANGE, INC.,                        COSTAR’S THIRD AMENDED
  15                                          INITIAL DISCLOSURES AND
                     Defendant.
  16                                          EXCLUDE WITNESS TESTIMONY
       COMMERCIAL REAL ESTATE
  17   EXCHANGE, INC.,
  18                 Counterclaimant,
                                              Date:           November 12, 2024
  19         v.                               Time:           10:00 am
                                              Courtroom:      8D
  20   COSTAR GROUP, INC., and                Before:         Hon. Consuelo B. Marshall
       COSTAR REALTY INFORMATION,
  21   INC.,                                  Trial Date:     March 11, 2025
  22                 Counterdefendants.
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                                                                CASE NO. 2:20-cv-08819-CBM-AS
                                                              TOMKOWIAK DECL. ISO COSTAR’S
                                                                     OPP. TO MOT. TO STRIKE
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  13
  14
  15 * Admitted pro hac vice
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                                                              CASE NO. 2:20-cv-08819-CBM-AS
                                                            TOMKOWIAK DECL. ISO COSTAR’S
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   1         I, Sarah A. Tomkowiak, declare as follows:
   2         1.    I am a partner at Latham & Watkins LLP, located at 555 Eleventh
   3 Street, NW, Suite 1000, Washington, D.C. 20004, counsel for Plaintiffs CoStar
   4 Group, Inc., and CoStar Realty Information, Inc. (together, “CoStar”) in the above-
   5 captioned case against Defendant Commercial Real Estate Exchange, Inc.
   6 (“CREXi”). I am licensed to practice law in Illinois and Washington, D.C. I have
   7 personal knowledge of the facts set forth below, and if called upon, can and will
   8 testify competently thereto.
   9         2.    I submit this declaration in connection with and in support of CoStar’s
  10 Opposition to CREXi’s Motion to Strike CoStar’s Third Amended Initial
  11 Disclosures and Exclude Witness Testimony.
  12         3.    CoStar served its initial disclosures pursuant to Federal Rule of Civil
  13 Procedure 26(a)(1) on August 23, 2021. A true and correct copy of excerpts of
  14 CoStar’s initial disclosures is attached hereto as Exhibit A.
  15         4.    On September 3, 2021, CREXi served its first set of interrogatories on
  16 CoStar.
  17         5.    CoStar first responded to CREXi’s initial set of interrogatories on
  18 November 17, 2021.1        A true and correct copy of excerpts of CoStar’s first
  19 interrogatory responses (which includes the text of CREXi’s interrogatories) is
  20 attached hereto as Exhibit B.
  21         6.    Attached as Exhibit C is a true and correct copy of the Appendix A
  22 spreadsheet that was attached to CoStar’s response to CREXi’s Interrogatory No. 1
  23 and served concurrently on November 17, 2021. Appendix A identifies each of the
  24 photographs that was then at-issue in this case by “Attachment Master ID” (CoStar’s
  25 unique image ID) and associated property address, along with the name of, and
  26
  27   CoStar initially served its first response to CREXi’s interrogatories with the
       1

     “Outside Counsel Only” designation prior to entry of the protective order in this
  28 case. The same responses were later re-served in January 2022 once the protective
     order had been entered.
                                                                CASE NO. 2:20-cv-08819-CBM-AS
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   1 information about, the photographer who took each image, including whether they
   2 were employed by CoStar and their last known contact information. Appendix A
   3 identifies Ryan Gwilliam and Gian Lorenzo Ferretti as photographers who took
   4 photographs at issue in this lawsuit.
   5         7.      As this case has progressed, CoStar has learned of further acts of
   6 infringement by CREXi and CREXi has requested more information about the
   7 images at issue. Accordingly, CoStar has periodically supplemented its response to
   8 CREXi’s Interrogatory No. 1 and has provided CREXi with numerous amended and
   9 supplemental versions of its corresponding “Master Image Spreadsheet.” These
  10 spreadsheets—and the data therein—have been the subject of numerous meet and
  11 confers and featured in briefing on various issues.
  12         8.      On November 30, 2022, CoStar served CREXi with its Third
  13 Supplemental Objections and Responses to CREXi’s First Set of Interrogatories,
  14 which included a First Supplemental Response to Interrogatory No. 1 and attached
  15 a Supplemental Appendix A spreadsheet. Exhibit D, attached hereto, is a true and
  16 correct copy of an excerpt of CoStar’s First Supplemental Response to Interrogatory
  17 No. 1.        Exhibit E, attached hereto, is a true and correct copy of CoStar’s
  18 accompanying Supplemental Appendix A spreadsheet that was served alongside its
  19 supplemental interrogatory response on November 30, 2022.            Because of the
  20 voluminous nature of this spreadsheet, CoStar will lodge a copy with the Court in
  21 native format.
  22         9.      Exhibit E, CoStar’s Supplemental Appendix A dated November 30,
  23 2022, identified Emilia Czader as a photographer of images at issue in this case.
  24         10.     CREXi never asked for any current or former CoStar photographer to
  25 be included in the 19 document custodians from which CoStar collected discovery
  26 in this case. However, CREXi propounded multiple document requests relating to
  27 photography and requested the photographers’ employment agreements.
  28

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                                                2              TOMKOWIAK DECL. ISO COSTAR’S
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   1         11.    CoStar produced hundreds of documents referencing Mr. Gwilliam,
   2 Mr. Ferretti and Ms. Czader to CREXi in the course of discovery, including all three
   3 of their employment agreements.        CoStar also provided to CREXi all of the
   4 photographs taken by the photographers.
   5         12.   Over the course of discovery, CoStar also periodically updated its Rule
   6 26 disclosures. Attached hereto as Exhibit F is an excerpt of CoStar’s amended
   7 initial disclosures served on June 21, 2023. In these amended disclosures, CoStar
   8 “reserve[d] the right to call any and all additional fact witnesses revealed during
   9 investigation or discovery that have relevant information,” and “incorporate[d] by
  10 reference the names of any and all persons disclosed by CoStar and CREXi through
  11 initial or supplemental disclosures, answers to interrogatories, responses to requests
  12 for production or admission, pleadings and otherwise.”
  13         13.   CREXi likewise updated its Rule 26 disclosures throughout discovery.
  14 All told, CREXi identified 56 individuals in its Rule 26 disclosures. Forty of these
  15 were identified on the final day of the written discovery period.
  16         14.   Attached as Exhibit G is a true and correct copy of an email exchange
  17 between Erica Pena, counsel for CoStar, and Niall Frizzell, counsel for CREXi,
  18 regarding CREXi’s Rule 26 disclosures, dated October 20-25, 2023. As reflected
  19 therein, when CoStar requested more specificity regarding the identities of a
  20 reasonable number of witnesses upon which CREXi intended to rely on at trial,
  21 CREXi’s counsel refused to provide further specificity.
  22         15.   Fact depositions in this case took place between late 2023 and 2024.
  23 Though fact discovery formally closed on February 16, 2024, several depositions
  24 were held after this deadline, either by agreement of the parties or as a result of
  25 motion practice. The last of these fact depositions occurred on August 7, 2024.
  26         16.   Each side took 20 fact depositions.
  27         17.   CREXi conducted several depositions of individuals that CoStar did not
  28 identify in its initial disclosures. One of these individuals was a CoStar employee

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   1 that had never been identified in any iteration of CoStar’s initial disclosures, but
   2 whose name nonetheless appeared on documents produced in this case.
   3         18.   CREXi did not depose any of CoStar’s current or former photographers.
   4 However, it deposed one of CoStar’s corporate designees on photography-related
   5 topics for almost four hours.
   6         19.    The parties served their initial expert reports on March 19, 2024. One
   7 of CREXi’s experts, Gary Elsner, proffered opinions which purported to opine on
   8 the quality of CoStar’s photographs, the time spent by photographers on various
   9 tasks, and the alleged skills (or supposed lack thereof) of CoStar’s photographers.
  10 The limited sample of images that Mr. Elsner reviewed to produce his report
  11 included photographs from all three photographers at issue.
  12         20.   CREXi also proffered opinions from Cate Elsten, who relied on
  13 Mr. Elsner’s conclusions as to the quality of CoStar’s photographs to opine on the
  14 value of those photographs. Mr. Elsner and Ms. Elsten were deposed on May 9 and
  15 July 31, 2024, respectively.
  16         21.   On June 21, 2024, CoStar served its Third Amended Rule 26
  17 disclosures. CoStar served its amended disclosures at that time in order to provide
  18 CREXi with advance notice of developments in its potential case presentation at
  19 trial, based in large part on CREXi’s recent expert opinions.
  20         22.   CoStar initially proposed to CREXi that the parties exchange
  21 preliminary witness lists on October 30, 2024. CREXi requested a later exchange,
  22 and the parties ultimately agreed to exchange preliminary witness lists on November
  23 14, 2024.
  24         23.   On October 18, 2024, CoStar served the Sixth Amended Master Image
  25 Spreadsheet on CREXi. A true and correct copy of this spreadsheet is attached
  26 hereto as Exhibit H and will be lodged with the Court in native form. This
  27 spreadsheet identifies Mr. Gwilliam, Mr. Ferretti and Ms. Czader as the
  28 photographers of over 900 of the images at issue in this lawsuit.

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   1 I declare under penalty of perjury that the foregoing is true and correct.
   2
   3 Executed on October 25, 2024 in Washington, D.C.
   4
   5
                                                Sarah A. Tomkowiak
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                                                                 CASE NO. 2:20-cv-08819-CBM-AS
                                                 5             TOMKOWIAK DECL. ISO COSTAR’S
                                                                      OPP. TO MOT. TO STRIKE
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                   EXHIBIT A
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                                         ID #:216765


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      Attorneys for Plaintiffs
9
10    [Additional Counsel Listed on the Next Page]
11                        UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                                CASE NO. 2:20-cv-8819-CBM-AS
      COSTAR GROUP, INC., and
14    COSTAR REALTY
      INFORMATION,
15    INC.,                                       COSTAR’S RULE 26(a)(1)
                                                  INITIAL DISCLOSURES
16                    Plaintiffs,
17          v.
18    COMMERCIAL REAL ESTATE
      EXCHANGE, INC.,
19
                      Defendant.
20
      COMMERCIAL REAL ESTATE
21    EXCHANGE, INC.,
22                    Counterclaimant,
23          v.
24    COSTAR GROUP, INC., AND
      COSTAR REALTY INFORMATION,
25    INC.,
26                    Counterdefendants.
27
28


                             COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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 1          Plaintiffs CoStar Group, Inc. and CoStar Realty Information, Inc.,
 2 (collectively, “CoStar”) hereby make the disclosures set forth below pursuant to
 3 Federal Rule of Civil Procedure 26(a)(1).          These disclosures are based on
 4 information currently and reasonably available to CoStar. CoStar’s investigation is
 5 ongoing and, accordingly, CoStar reserves the right to modify, amend, or
 6 supplement these disclosures (either through express supplements to these
 7 disclosures or through discovery responses) as additional information becomes
 8 available.
 9          CoStar’s disclosures are made without in any way waiving: (1) the right to
10 object on the grounds of competency, privilege, relevancy and materiality, hearsay,
11 or any other proper ground to the use of such information, for any purpose, in whole
12 or in part, in any subsequent proceeding in this action or any other action, and (2)
13 the right to object on any and all grounds, at any time, to any discovery request or
14 proceeding involving or relating to the subject matter of these disclosures.
15
16 I.       INDIVIDUALS LIKELY TO HAVE DISCOVERABLE
            INFORMATION THAT PLAINTIFFS MAY USE TO SUPPORT
17          THEIR CLAIMS OR DEFENSES
18
19          Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(i), and based on the
20 information available to CoStar at this time, CoStar identifies the following entities
21 and individuals who are likely to have discoverable information that CoStar may use
22 to support its claims or defenses, unless the use would be solely for impeachment.
23 The following disclosures do not include expert witnesses, who will be identified at
24 a later date in accordance with Federal Rule of Civil Procedure 26(a)(2).
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                           COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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 1          A.    CoStar Affiliated Witnesses
 2          1.    The following CoStar employees have knowledge of CoStar’s
 3 copyrighted photographs and listing data:
 4
       Name                                 Contact Information
 5     Kevin Mason, Vice President of Field c/o Latham & Watkins LLP
 6     Research                             555 11th Street N.W., Suite 1000
                                            Washington, DC 20004
 7
                                            (202) 637-2200
 8     Corey Durant, Vice President of      c/o Latham & Watkins LLP
       Research                             555 11th Street N.W., Suite 1000
 9
                                            Washington, DC 20004
10                                          (202) 637-2200
11          2.    The following CoStar employee has knowledge of CoStar’s abuse-
12 detection efforts and Defendant Commercial Real Estate Exchange Inc.’s
13 (“CREXi”) copying and altering of CoStar-copyrighted photographs, theft of CoStar
14 listing data, and attempts to circumvent CoStar’s abuse-detection efforts:
15 Name                                      Contact Information
    Dariush Edalatkhah, Business             c/o Latham & Watkins LLP
16 Intelligence Manager                      555 11th Street N.W., Suite 1000
17                                           Washington, DC 20004
                                             (202) 637-2200
18
19          3.    The following CoStar employees have knowledge of CoStar’s process
20 for obtaining copyright registrations for CoStar original photography:
21 Name                                       Contact Information
    Dariush Edalatkhah, Business              c/o Latham & Watkins LLP
22 Intelligence Manager                       555 11th Street N.W., Suite 1000
23                                            Washington, DC 20004
                                              (202) 637-2200
24 Mayra Roman, Legal Operations              c/o Latham & Watkins LLP
25 Specialist                                 555 11th Street N.W., Suite 1000
                                              Washington, DC 20004
26                                            (202) 637-2200
27
28
                                               3
                           COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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 1 Name                                   Contact Information
   Avery Clenney, President, Brentwood 924 Montclair Rd., Suite 105
 2
   Properties                             Birmingham, AL 35213
 3                                        (205) 598-1797
 4 Michael Crisafull, Licensed Broker, 399 Albany Shaker Rd.
   Crisa Fulli Associates, LLC            Loudonville, NY 12211
 5                                        (518) 694-9190
 6 Stacy Taylor, President, Beck Partners 125 W. Romana St., Suite 800
                                          Pensacola, FL 32502
 7                                        (850) 477-7044
 8 Fletcher Dilmore, Beck Partners        125 W. Romana St., Suite 800
                                          Pensacola, FL 32502
 9
                                          (850) 477-7044
10 Greg Tabb, Genau Group Realty          1054 31st St. NW, Suite 540
11 Advisors                               Washington, DC 20007
                                          (301) 812-4954
12 Kristen Scalisi, Fortis Net Lease      30445 Northwestern Hwy, Suite #275
13                                        Farmington Hills, MI 48334
                                          (248) 254-3410
14 Bryan Bender, Fortis Net Lease         30445 Northwestern Hwy, Suite #275
15                                        Farmington Hills, MI 48334
                                          (248) 254-3410
16
   Jay Patel, Colliers International      5901 Priestly Drive I, Suite 100
17                                        Carlsbad, CA 92008
18                                        (760) 930-7927

19          8.    CoStar also anticipates that brokers will have knowledge regarding
20 CREXi’s allegations in its counterclaims that CoStar’s terms of use and alleged
21 policies (e.g., inaccurately modifying listings and adding its watermark to broker
22 photos) prohibit brokers from using competing internet CRE services. CoStar will
23 identify specific brokers at a later date.
24          CoStar reserves the right to call any and all additional fact witnesses revealed
25 during investigation or discovery that have relevant information regarding this
26 lawsuit. CoStar incorporates by reference the names of any and all persons disclosed
27
28
                                                10
                            COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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 1 by CREXi through initial or supplemental disclosures, answers to interrogatories,
 2 responses to requests for production or admission, pleadings, and otherwise.
 3
 4 II.      DOCUMENTS IN PLAINTIFFS’ POSSESSION, CUSTODY, OR
            CONTROL THAT THEY MAY USE TO SUPPORT THEIR CLAIMS
 5
            OR DEFENSES
 6
 7          CoStar believes that the bulk of the documents, electronically stored
 8 information, and tangible things that it may use to support its claims and defenses in
 9 this case will come from CREXi and other sources beyond CoStar’s possession,
10 custody or control. Nonetheless, pursuant to Federal Rule of Civil Procedure
11 26(a)(1)(A)(ii), CoStar identifies the following documents, electronically stored
12 information, and tangible things that are within CoStar’s possession, custody, or
13 control, or are publicly available, and which CoStar may use to support its claims
14 and defenses, unless solely for impeachment:
15          1.    Documents and information relating to CoStar’s copyrighted
16 photographs and CoStar’s registration of its photographs with the United States
17 Copyright Office.
18          2.    Documents and information relating to permitted uses of CoStar’s data,
19 services, records, tools, and copyrighted photographs.
20          3.    Documents and information relating to the copying, publication, and
21 use of CoStar’s data and copyrighted photographs, and use of CoStar’s services,
22 records, and tools by CREXi and its agents.
23          4.    Documents and information relating to the improper access by CREXi
24 and its agents to CoStar’s websites and databases.
25          5.    Documents and information relating to CREXi’s efforts to conceal its
26 actions and circumvent CoStar’s abuse monitoring, including using other
27 companies’ access credentials, fake names, rotating IP addresses, using proxies and
28
                                              11
                           COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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 1 of its expert reports and will make available for inspection and copying documents
 2 or other evidentiary material, not privileged or protected from disclosure, that have
 3 not been produced at that time and on which such damage computation is based.
 4          At this time, CoStar does not have sufficient information to estimate damages
 5 with precision. In part, this analysis awaits CREXi’s production of relevant records.
 6
 7 IV.      INSURANCE AGREEMENTS IN FORCE
 8          Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(iv), CoStar identifies
 9 and provides the insurance agreement attached as Exhibit A.
10
11 Dated: August 23, 2021                   /s/ Jessica Stebbins Bina
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                            COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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6                                         CoStar Realty Information, Inc.
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                          COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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1                                      CERTIFICATE OF SERVICE
2            I am employed in the County of Los Angeles, State of California. I am over the age of 18
      years and not a party to this action. My business address is Latham & Watkins LLP, 10250
3     Constellation Blvd., Suite 1100, Los Angeles, California 90067.
4
             On August 23, 2021, I caused the following document(s) to be served:
5
                             COSTAR’S RULE 26(a)(1) INITIAL DISCLOSURES
6
7 via hand-delivery and electronic mail delivery to the person(s), address(es), and email
      address(es) set forth below:
8
                                               Elliot R. Peters
9                                            Warren A. Braunig
                                          Elizabeth K. McCloskey
10                                         Nicholas S. Goldberg
11                                              Ann Niehaus
                                               Christi Zaleski
12                                   KEKER, VAN NEST & PETERS LLP
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14                                       Facsimile: (415) 397-7188
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15
                                        Email: wbraunig@keker.com
16                                     Email: emccloskey@keker.com
                                        Email: ngoldberg@keker.com
17                                      Email: aniehaus@keker.com
                                         Email: czaleski@keker.com
18
                       Attorneys for Defendant Commercial Real Estate Exchange, Inc.
19
20            I declare that I am employed in the office of a member of the Bar of, or permitted to practice
      before, this Court at whose direction the service was made and declare under penalty of perjury
21    under the laws of the State of California that the foregoing is true and correct.

22           Executed on August 23, 2021, at Culver City, California.
23
                                                             /s/ Jessica Stebbins Bina
24                                                           Jessica Stebbins Bina

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                                 COSTAR’S RULE 26(A)(1) INITIAL DISCLOSURES
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                    EXHIBIT B
Case 2:20-cv-08819-CBM-AS       Document 950-1 Filed 10/25/24     Page 18 of 202 Page
                                     ID #:216774

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         Fax: 424.653.5501
    9
   10    Attorneys for Plaintiffs
   11    [Additional Counsel Listed on the Next Page]
   12
                             UNITED STATES DISTRICT COURT
   13                       CENTRAL DISTRICT OF CALIFORNIA
   14
   15    COSTAR GROUP, INC., and
         COSTAR REALTY
   16    INFORMATION,                             CASE NO. 2:20-cv-08819-CBM-AS
         INC.,
   17                                             COSTAR’S OBJECTIONS AND
                         Plaintiffs,              RESPONSES TO CREXI’S FIRST SET
   18                                             OF INTERROGATORIES
               v.
   19
         COMMERCIAL REAL ESTATE                   PROPOUNDING PARTY: CREXI
   20    EXCHANGE, INC.,                          RESPONDING PARTY: COSTAR
                                                  SET NO.: ONE (NOS. 1-20)
   21                    Defendant.
   22
         COMMERCIAL REAL ESTATE
   23    EXCHANGE, INC.,
   24                    Counterclaimant,
   25          v.
   26    COSTAR GROUP, INC., AND
         COSTAR REALTY INFORMATION,
   27    INC.,
   28                    Counterdefendants.

        OUTSIDE COUNSEL ONLY                           RESPONSE TO COMMERCIAL REAL ESTATE
                                                   EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                    Case No. 2:20-cv-08819-CBM-AS
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24       Page 19 of 202 Page
                                    ID #:216775

    1                    SPECIFIC OBJECTIONS AND RESPONSES
    2 INTERROGATORY NO. 1:
    3         For each of the COSTAR COPYRIGHTED IMAGES that YOU accuse in
    4 THIS ACTION, IDENTIFY the photograph, the person who took or acquired the
    5 photograph (including all contact information, including his or her last known
    6 address, phone number, email address, and employer), the date the photograph was
    7 taken or acquired, the copyright registration date, the first date the photograph
    8 appeared on any of YOUR WEBSITES, and the first date YOU contend YOU were
    9 aware that a similar or identical photograph appeared on any CREXI website.
   10 RESPONSE TO INTERROGATORY NO. 1:
   11         CoStar incorporates its General Objections and its Objections to Definitions
   12 and Instructions as if fully set forth herein. CoStar objects to Interrogatory No. 1 as
   13 overbroad, unduly burdensome, not relevant or reasonably calculated to lead to the
   14 discovery of admissible evidence, and not proportional to the needs of this case to
   15 the extent it seeks information outside CoStar’s possession, custody, or control,
   16 including “all contact information.” CoStar also objects to the term “aware” as
   17 vague and ambiguous. In responding to this Interrogatory, the date listed as the “first
   18 date” CoStar contends it became “aware” that a similar or identical photograph
   19 appeared on any CREXi website signifies a date “on or about” the date that CoStar
   20 became privy to this information.
   21         Subject to and without waiving these objections, CoStar responds as follows:
   22 See Appendix A. All photographers in Appendix A were at one time employed, or
   23 hired as an independent contractor, by CoStar. Photographers with an asterisk ( * )
   24 are no longer employed by, or working as independent contractors for, CoStar. To
   25 the extent CoStar has information concerning these photographers’ employment
   26 after they left CoStar, CoStar has included their last known employment information
   27 in Appendix A.
   28
        OUTSIDE COUNSEL ONLY                             RESPONSE TO COMMERCIAL REAL ESTATE
                                                  12 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                   Case No. 2:20-cv-08819-CBM (ASx)
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                                    ID #:216776

    1 documents or information protected by the attorney-client privilege, the attorney
    2 work-product doctrine, the joint defense privilege, the common interest doctrine,
    3 and/or any other applicable privilege, immunity, or protection.
    4         Subject to and without waiving these objections, CoStar responds as follows:
    5 CoStar does not modify, adjust, seed, or salt any commercial real estate listings
    6 displayed on CoStar’s Websites.
    7 INTERROGATORY NO. 17:
    8         Describe the manner in which YOU obtain photographs and data for the
    9 purpose of inclusion on YOUR WEBSITES. This response should include the
   10 general methods YOU employ and all of the actions that YOU take in order to obtain
   11 such photographs and data; all person(s) who are involved with YOUR efforts to
   12 obtain photographs and data; all instructions, tools or training provided to YOUR
   13 employees to obtain photographs and data, including any instructions regarding
   14 avoiding photographs or data copied from THIRD PARTIES; all creative input, if
   15 any, permitted to photographers to capture images; all instructions YOU provide for
   16 retouching images from photographers; and any review YOU conduct prior to
   17 photographs being published on any of YOUR WEBSITES.
   18 RESPONSE TO INTERROGATORY NO. 17:
   19         CoStar incorporates its General Objections and its Objections to Definitions
   20 and Instructions as if fully set forth herein. CoStar objects to Interrogatory No. 17
   21 as overly broad, unduly burdensome, not relevant or reasonably calculated to lead to
   22 the discovery of admissible evidence, and not proportional to the needs of this case
   23 to the extent it seeks information concerning “all . . . actions,” “all person(s),” and
   24 “all instructions, tools, or training.” CoStar employs hundreds of photographers and
   25 researchers around the country who obtain hundreds of photographs and data every
   26 day. It would be unduly burdensome for CoStar to identify all such persons who
   27 were ever employed by CoStar or were “involved” with these efforts; and it would
   28 be impossible for CoStar to identify “all” actions those persons take to obtain those
        OUTSIDE COUNSEL ONLY                             RESPONSE TO COMMERCIAL REAL ESTATE
                                                  45 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                   Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24     Page 21 of 202 Page
                                    ID #:216777

    1 photographs and data. CoStar further objects to Interrogatory No. 17 as vague and
    2 ambiguous, including the use of the undefined terms and phrases “general methods,”
    3 “efforts to obtain,” “avoiding photographs or data copied from Third Parties,”
    4 “creative input,” “capture images,” and “retouching.” CoStar further objects to
    5 Interrogatory No. 17 to the extent it seeks documents or information protected by
    6 the attorney-client privilege, the attorney work-product doctrine, the joint defense
    7 privilege, the common interest doctrine, and/or any other applicable privilege,
    8 immunity, or protection.
    9         Subject to and without waiving these objections, CoStar responds as follows:
   10 Photographs
   11         CoStar’s primary method for obtaining photographs for inclusion on its
   12 websites is through the use of photographers, who are full-time employees of CoStar.
   13 CoStar currently employs 177 photographers around the country who capture
   14 hundreds of thousands of photographs per year on behalf of CoStar. Kevin Mason,
   15 Vice President of Field Research, manages CoStar’s photography team.
   16         CoStar’s photographers occupy one of two positions: (1) Architectural
   17 Photographer, or (2) Field Researcher. Architectural Photographers are primarily
   18 responsible for capturing and editing visual content. Field Researchers primarily
   19 work on curating and updating data, but will occasionally capture visual content
   20 during the course of their research. CoStar provides its photographers with all
   21 necessary tools to capture and edit photographs, including transportation,
   22 photography equipment, and editing software. CoStar provides new hire training,
   23 general training on photograph capturing and editing, and training on the use of
   24 Adobe Photoshop, Adobe Lightroom, and Adobe Premiere Pro. Trainings also
   25 occasionally occur at CoStar’s monthly field research meetings. Pursuant to Federal
   26 Rule of Civil Procedure 33(d), CoStar will also subsequently produce documents in
   27 response to this Interrogatory sufficient to identify training that photographers
   28 receive.
        OUTSIDE COUNSEL ONLY                           RESPONSE TO COMMERCIAL REAL ESTATE
                                                46 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                 Case No. 2:20-cv-08819-CBM (ASx)
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                                    ID #:216778

    1         CoStar’s leadership team routinely monitors photographers’ work product
    2 and provides feedback to photographers on the quality of their images. CoStar
    3 maintains standards for its photographers, which are being produced concurrently
    4 herewith at Bates CoStar00000261. However, photographers have latitude to use
    5 their talent and creativity to capture and edit their images. The editing process does
    6 not generally allow for alteration of reality in the photographs, with the exception of
    7 adjusting color scales and exposure, correcting lens abnormalities, cropping,
    8 rotation, and/or adjusting the sky, which may be replaced with a CoStar-copyrighted
    9 sky image. After editing, CoStar photographers upload the photographs to CoStar’s
   10 database and link the uploaded photographs to particular properties and records
   11 within CoStar’s database.
   12         Separately, some market participants who utilize CoStar’s Websites provide
   13 CoStar with their own images, which can be uploaded to CoStar’s Websites by either
   14 CoStar researchers or the brokers themselves. Researchers are instructed not to
   15 upload any media that is not provided to them by the owner of the content. CoStar
   16 does not edit these photographs.
   17 Data
   18         CoStar employs 539 researchers and 65 managers, who are responsible for
   19 researching and curating data for inclusion in CoStar’s database. The research team
   20 is divided into two teams: (1) the market research team, and (2) the tenant research
   21 team.
   22         The market research team, consisting of approximately 355 researchers and
   23 47 managers, is responsible for contacting brokers and owners directly, as well as
   24 utilizing particular sources, such as broker websites, SEC filings, CoStar licensed
   25 products, and public property records, to obtain information to populate the CoStar
   26 database. The market research team is divided by market region, and each researcher
   27 is responsible for managing and updating a portfolio of properties and contacts. This
   28 team is managed by Brad McGetrick, Vice President of Research.
        OUTSIDE COUNSEL ONLY                             RESPONSE TO COMMERCIAL REAL ESTATE
                                                  47 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                   Case No. 2:20-cv-08819-CBM (ASx)
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    1 COVID-19 pandemic, from thousands of different locations worldwide, due to
    2 temporary office shutdowns and local shelter-in-place measures. Identifying all IP
    3 addresses associated with each CoStar employee’s home office or other remote work
    4 location over multiple years would be unduly burdensome, expensive, and not
    5 relevant or proportional to the needs of this case.       CoStar further objects to
    6 Interrogatory No. 20 to the extent it requests that CoStar obtain information not in
    7 its possession, custody, or control.
    8         Subject to and without waiving these objections, CoStar responds as follows:
    9 See Appendix H, which sets forth the IP Addresses associated with CoStar’s U.S.
   10 offices and datacenters.
   11
   12 Dated: November 17, 2021               Respectfully submitted,
   13
                                             By: /s/ Sarah A. Tomkowiak
   14                                            Sarah A. Tomkowiak
   15
                                             Counsel for CoStar Group, Inc., and
   16                                        CoStar Realty Information, Inc.
   17
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        OUTSIDE COUNSEL ONLY                           RESPONSE TO COMMERCIAL REAL ESTATE
                                                57 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                 Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24       Page 24 of 202 Page
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    1                              CERTIFICATE OF SERVICE
    2
                 I am employed in the County of Los Angeles, State of California. I am
    3      over the age of 18 years and not a party to this action. My business address is
    4      Latham & Watkins LLP, 10250 Constellation Blvd., Suite 1100, Los Angeles,
           California 90067.
    5
    6            On November 17, 2021, I caused the following document(s) to be served:

    7            COSTAR’S OBJECTIONS AND RESPONSES TO CREXI’S
    8             FIRST SET OF INTERROGATORIES
    9      via electronic mail delivery to the person(s), address(es), and email address(es)
   10      set forth below:
   11                                      Elliot R. Peters
                                         Warren A. Braunig
   12                                 Elizabeth K. McCloskey
                                       Nicholas S. Goldberg
   13                                       Ann Niehaus
                                           Christi Zaleski
   14                           KEKER, VAN NEST & PETERS LLP
                                         633 Battery Street
   15                              San Francisco, CA 94111-1809
                                     Telephone: (415) 391-5400
   16                                Facsimile: (415) 397-7188
                                  Email: CREXSTAR@keker.com
   17
                   Attorneys for Defendant Commercial Real Estate Exchange, Inc.
   18
   19             I declare that I am employed in the office of a member of the Bar of, or
           permitted to practice before, this Court at whose direction the service was made
   20      and declare under penalty of perjury under the laws of the State of California that
   21      the foregoing is true and correct.
   22            Executed on November 17, 2021, at Century City, California.
   23
                                                            /s/ Elyse M. Greenwald
   24                                                       Elyse M. Greenwald
   25
   26
   27
   28
        OUTSIDE COUNSEL ONLY                             RESPONSE TO COMMERCIAL REAL ESTATE
                                                  58 EXCHANGE, INC.’S 1st SET OF INTERROGATORIES
                                                                   Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24         Page 25 of 202 Page
                                    ID #:216781


     1                                  VERIFICATION
     2
     3        I, Dariush Edalatkhah, am the Business Intelligence Manager at CoStar

     4 Group, Inc. ("CoStar"), and am authorized to make this verification on CoStar's
     5 behalf. I have read CoStar's Objections and Responses to CREXi's First Set of
     6 Interrogatories. I verify under penalty of perjury that, to the best of my knowledge,
     7 the facts provided in response to the foregoing Interrogatories are true and correct.
     8
     9 Executed: November 17, 2021             By:��
                                                  -�-----------
    10                                               Dariush Edalatkhah
    11
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         OUTSIDE COUNSEL ONLY                            RESPONSE TO COMMERCIAL REAL EST ATE
                                                  59 EXCHANGE, fNC. 'S 1st SET OF INTERROGATORlES
                                                                   Case No. 2:20-cv-0881 9-CBM (ASx)
Case 2:20-cv-08819-CBM-AS   Document 950-1 Filed 10/25/24   Page 26 of 202 Page
                                 ID #:216782




                    EXHIBIT C
Case 2:20-cv-08819-CBM-AS   Document 950-1 Filed 10/25/24   Page 27 of 202 Page
                                 ID #:216783




                 APPENDIX A




 OUTSIDE COUNSEL ONLY
                                                               Case 2:20-cv-08819-CBM-AS                                     Document 950-1 Filed 10/25/24                                                                   Page 28 of 202 Page
                                                                                                                                  ID #:216784

Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                      Photographer          Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    2075861 56 Foreston Wood Dr, Stafford, VA 22554                 Desiree Fleming                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/20/2006 VA 1-378-230              8/17/2006                  2/20/2006               6/19/2020
    2082650 2163 Jefferson Davis Hwy, Stafford, VA 22554            Desiree Fleming                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/20/2006 VA 1-378-230              8/17/2006                  2/20/2006               6/21/2020
    1822622 10995-10999 Red Circle Dr, Minnetonka, MN 55343         David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      1/11/2006 VA 1-378-236              8/17/2006                  1/11/2006               8/10/2020
    2150968 18174 River Sage, Houston, TX 77084                     David Metcalfe                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/6/2006 VA 1-378-234              8/17/2006                   4/6/2006               5/16/2020
    2178756 6945 Cypresswood Dr, Spring, TX 77379                   David Metcalfe                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2006 VA 1-378-234              8/17/2006                  4/15/2006               6/26/2020
    1902410 9783-9787 Ravenna Rd, Twinsburg, OH 44087               Linda Cook                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/9/2006 VA 1-378-201              8/17/2006                   2/9/2006               6/18/2020
    1941943 1475 Us Highway 17 S, Bartow, FL 33830                  Rod Zimmerman                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/15/2006 VA 1-378-277              8/17/2006                  2/15/2006               6/22/2020
    1961669 8401 Jacksboro Hwy, Lakeside, TX 76135                  Jeff Archer                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/22/2006 VA 1-378-301              8/17/2006                  2/22/2006               6/20/2020
    2043660 3640 Delaware Ave, Tonawanda, NY 14217                  Victor Simones                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/15/2006 VA 1-378-286              8/17/2006                  3/15/2006               6/21/2020
    2055811 1860 Duluth Hwy, Lawrenceville, GA 30043                Harry Jones                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/16/2006 VA 1-378-398              8/17/2006                  3/16/2006               6/19/2020
    2104539 3150-3156 Mansfield Hwy, Fort Worth, TX 76119           Jeff Archer                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/27/2006 VA 1-378-301              8/17/2006                  3/27/2006               10/9/2020
    2178340 2650 Fm 407, Bartonville, TX 76226                      Jeff Archer                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/13/2006 VA 1-378-301              8/17/2006                  4/13/2006               6/23/2020
    2329524 1230 Morris Ave, Union, NJ 07083                        Jason Meehan                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/25/2006 VA 1-378-397              8/17/2006                  5/25/2006               6/18/2020
    2400824 205 Airport Fwy, Euless, TX 76040                       Jeff Archer                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/22/2006 VA 1-378-301              8/17/2006                  6/22/2006               6/22/2020
    2187535 2865-2885 Bay Rd, Saginaw, MI 48603                     Frank Cizek                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/24/2006 VA 1-378-384              8/17/2006                  3/24/2006               6/24/2020
    2187536 2865-2885 Bay Rd, Saginaw, MI 48603                     Frank Cizek                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/24/2006 VA 1-378-384              8/17/2006                  3/24/2006               6/17/2020
    2310803 12153 Jefferson Ave, Newport News, VA 23602             Chip Anthony                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/20/2006 VA 1-378-342              8/17/2006                  5/20/2006                2/1/2021
    2165858 11829 Hwy 285, Conifer, CO 80433                        Jeff Boles                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/17/2006 VA 1-378-362              8/17/2006                  3/17/2006               6/21/2020
    2186947 1208-1228 N Memorial Dr, Lancaster, OH 43130            Robert Clayton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2006 VA 1-378-346              8/17/2006                  4/17/2006               6/23/2020
    2559420 3090-3112 S Hitt Rd, Idaho Falls, ID 83404              Dirk Dabel                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/10/2006 VA 1-378-212              8/17/2006                  5/10/2006               6/20/2020
    2257973 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/23/2020
    2257974 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/21/2020
    2257975 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/19/2020
    2257976 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/18/2020
    2257977 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/23/2020
    2257979 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/20/2020
    2257980 1910-1916 University Ave, Oxford, MS 38655              Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-378-299              8/17/2006                   5/7/2006               6/16/2020
    2383387 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/20/2020
    2383389 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/22/2020
    2383395 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/24/2020
    2383397 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/21/2020
    2383407 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/19/2020
    2383414 1201 Highway 49 S, Richland, MS 39218                   Robert Dye                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-299              8/17/2006                  6/16/2006               6/18/2020
    1973594 1 Remsen Ave, Brooklyn, NY 11212                        John Ferguson                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/25/2006 VA 1-378-266              8/17/2006                  2/25/2006               6/18/2020
    2190079 8439 Loop Rd, Baldwinsville, NY 13027                   John Zucco                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/19/2006 VA 1-378-248              8/17/2006                  4/19/2006               8/11/2020
    2190104 4645 Nixon Park Dr, Syracuse, NY 13215                  John Zucco                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/19/2006 VA 1-378-248              8/17/2006                  4/19/2006               6/17/2020
    2190113 4645 Nixon Park Dr, Syracuse, NY 13215                  John Zucco                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/19/2006 VA 1-378-248              8/17/2006                  4/19/2006               6/24/2020
    2383060 2100 Monroe Ave, Rochester, NY 14618                    John Zucco                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-248              8/17/2006                  6/16/2006               6/20/2020
    2383063 2100 Monroe Ave, Rochester, NY 14618                    John Zucco                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2006 VA 1-378-248              8/17/2006                  6/16/2006               6/19/2020
    2112139 3753 S Dort Hwy, Flint, MI 48507                        Robyn Porteen                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/27/2006 VA 1-378-298              8/17/2006                  3/27/2006               11/8/2020
    2375341 6701-6725 S Division Ave, Grand Rapids, MI 49548        Robyn Porteen                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/14/2006 VA 1-378-298              8/17/2006                  6/14/2006               6/23/2020
    2172652 6310-6410 Cortez Rd W, Bradenton, FL 34210              Syd Krawczyk                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/13/2006 VA 1-378-378              8/17/2006                  4/13/2006               6/21/2020
    2178914 1580-1790 NE Miami Gardens Dr, Miami, FL 33179          Syd Krawczyk                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2006 VA 1-378-378              8/17/2006                  4/15/2006              10/28/2020
    2220634 201-209 S Meline Dr, Edmond, OK 73034                   John Megehee                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/2/2006 VA 1-378-249              8/17/2006                   5/2/2006               8/11/2020
    2409084 2309-2339 W Hammer Ln, Stockton, CA 95209               Elysse Rishwain-Brown                                                           CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/26/2006 VA 1-378-337              8/17/2006                  6/26/2006               6/21/2020
    2394595 2025 Broadway Ave, Lorain, OH 44052                     Tony Griffie                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/18/2006 VA 1-378-282              8/17/2006                  6/18/2006               6/22/2020
    2395021 3889 E 71st St, Cleveland, OH 44105                     Tony Griffie                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/18/2006 VA 1-378-282              8/17/2006                  6/18/2006                1/2/2021
    1233601 12337 S Route 59, Plainfield, IL 60585                  Erik Leopold                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2006 VA 1-378-338              8/17/2006                  2/15/2006               6/21/2020
    1529988 19031 Old Lagrange Rd, Mokena, IL 60448                 Erik Leopold                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2006 VA 1-378-338              8/17/2006                   1/6/2006               6/23/2020
    2348745 2560-2576 Grass Valley Hwy, Auburn, CA 95603            Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       6/6/2006 VA 1-375-710              9/13/2006                   6/6/2006                8/2/2020
    1847195 10436 Southwest Hwy, Chicago Ridge, IL 60415            Erik Leopold                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/20/2006 VA 1-378-338              8/17/2006                  1/20/2006               6/24/2020
    1831525 130 Maple St, Auburn, CA 95603                          Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/18/2006 VA 1-410-699              3/27/2007                 10/18/2006               8/10/2020
    1886710 901 S 60TH St, Milwaukee, WI 53214                      Derek Robinson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/2/2006 VA 1-378-287              8/17/2006                   2/2/2006               6/23/2020
    1890214 916 W Ironwood Dr, Coeur d'Alene, ID 83814              Jonathan Jantz                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2006 VA 1-378-194              8/17/2006                   2/3/2006               7/20/2020
    1907605 3401-3425 Hollenberg Dr, Bridgeton, MO 63044            Brenda Ross                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/9/2006 VA 1-378-379              8/17/2006                   2/9/2006               6/21/2020
    4165371 508 Gibson Dr, Roseville, CA 95678                      Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      1/12/2007 VA 1-403-900              3/27/2007                  1/12/2007                5/8/2021
    4165375 508 Gibson Dr, Roseville, CA 95678                      Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      1/12/2007 VA 1-403-900              3/27/2007                  1/12/2007                7/7/2020
    4289250 8735 Sierra College Blvd, Roseville, CA 95661           Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      1/18/2007 VA 1-403-900              3/27/2007                  1/18/2007               6/21/2020

   1929590 82 Newark Pompton Tpke, Riverdale, NJ 07457              George Rodelius                                                                 Vested Realty            377 Route 202/206, Bedminster, NJ 07921              9086358550        2/11/2006 VA 1-378-361             8/17/2006                  2/11/2006               6/23/2020
   4289252 8735 Sierra College Blvd, Roseville, CA 95661            Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        1/18/2007 VA 1-403-900             3/27/2007                  1/18/2007               6/22/2020
   4289315 4170 Douglas Blvd, Granite Bay, CA 95746                 Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        1/17/2007 VA 1-403-900             3/27/2007                  1/17/2007               6/18/2020
   1962653 801 E Manchester Blvd, Inglewood, CA 90301               Richard Redlich                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        2/22/2006 VA 1-378-316             8/17/2006                  2/22/2006               6/19/2020
   4289419 4180 Douglas Blvd, Granite Bay, CA 95746                 Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        1/17/2007 VA 1-403-900             3/27/2007                  1/17/2007               6/23/2020
   4289420 4180 Douglas Blvd, Granite Bay, CA 95746                 Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        1/17/2007 VA 1-403-900             3/27/2007                  1/17/2007               6/19/2020
   6752110 130 Maple St, Auburn, CA 95603                           Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500       10/18/2006 VA 1-410-699             3/27/2007                 10/18/2006               8/11/2020
   2094139 725 W Apache Trl, Apache Junction, AZ 85120              Craig Darragh                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/24/2006 VA 1-378-341             8/17/2006                  3/24/2006               6/17/2020
                                                                                                                                                                             3201 Cottonfield Dr, Mount Pleasant, SC
   2116779 5422 Forest Dr, Columbia, SC 29206                       Jonas Kleiner                                                                   Ceterus                  29466                                                8005716119        3/27/2006 VA 1-378-283             8/17/2006                  3/27/2006                7/3/2020
   2162185 1222-1228 NW Sheridan Rd, Lawton, OK 73505               Roger McKissack                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         4/9/2006 VA 1-378-321             8/17/2006                   4/9/2006                7/2/2020
   2162191 1222-1228 NW Sheridan Rd, Lawton, OK 73505               Roger McKissack                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         4/9/2006 VA 1-378-321             8/17/2006                   4/9/2006                7/2/2020
   4576694 4325 Dominguez Rd, Rocklin, CA 95677                     Adrianna Whitman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         3/6/2007 VA 1-405-339             5/11/2007                   3/6/2007               6/17/2020
   2317717 3401 Altamesa Blvd, Fort Worth, TX 76133                 Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/23/2006 VA 1-378-219             8/17/2006                  5/23/2006               6/24/2020
   2408156 804 Mason Ave, Daytona Beach, FL 32117                   Robert Baal                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        6/26/2006 VA 1-378-322             8/17/2006                  6/26/2006               6/19/2020
   9654968 273 Memorial Blvd E, Hagerstown, MD 21740                Andre Rowe                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        2/17/2009 VA 1-431-294             12/3/2009                  2/17/2009               6/24/2020
   2159233 794-798 New Holland Ave, Lancaster, PA 17602             Bob Shannon                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        3/29/2006 VA 1-375-625             9/13/2006                  3/29/2006               2/16/2021
   1725019 1111 Cromwell Ave, Rocky Hill, CT 06067                  Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        12/8/2005 VA 1-374-864             9/13/2006                  12/8/2005               6/24/2020
   1074500 4311-4317 Centergate St, San Antonio, TX 78217           Jill Tudor                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        6/10/2005 VA 1-375-602             9/13/2006                  6/10/2005               6/17/2020
    703839 300 Keisler Dr, Cary, NC 27518                           Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500         7/4/2005 VA 1-375-604             9/13/2006                   7/4/2005               6/18/2020
   1795926 1415 W NC Highway 54, Durham, NC 27707                   Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       12/29/2005 VA 1-375-604             9/13/2006                 12/29/2005               6/24/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                       1
                                                               Case 2:20-cv-08819-CBM-AS                                    Document 950-1 Filed 10/25/24                                                                   Page 29 of 202 Page
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    2131457 8275-8295 E Monte Vista Rd, Anaheim, CA 92808           Al Puig                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/1/2006 VA 1-375-647              9/13/2006                   4/1/2006              6/22/2020
    2131459 8275-8295 E Monte Vista Rd, Anaheim, CA 92808           Al Puig                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/1/2006 VA 1-375-647              9/13/2006                   4/1/2006              6/18/2020
    2302721 1306 W Sunshine St, Springfield, MO 65807               Andrew Dierks                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2006 VA 1-374-858              9/13/2006                  5/17/2006              6/17/2020
    2589944 10585 Double R Blvd, Reno, NV 89521                     Alex Wong                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/10/2006 VA 1-375-649              9/13/2006                  7/10/2006              6/27/2020
    2589945 10585 Double R Blvd, Reno, NV 89521                     Alex Wong                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/10/2006 VA 1-375-649              9/13/2006                  7/10/2006              6/27/2020
   17278227 392 Garrisonville Rd, Stafford, VA 22554                Andre Rowe                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      11/2/2011 VA 1-434-782              2/23/2015                  11/2/2011               7/3/2020
      59877 1250 Powers Ferry Cmn SE, Marietta, GA 30067            Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      4/25/2005 VA 1-375-694              9/13/2006                  4/25/2005              6/20/2020
    1116226 1691 Enterprise Way SE, Marietta, GA 30067              Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      6/20/2005 VA 1-375-694              9/13/2006                  6/20/2005              6/22/2020
    1171557 3731 Chamblee Dunwoody Rd, Chamblee, GA 30341           Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      7/19/2005 VA 1-375-694              9/13/2006                  7/19/2005              7/20/2020
    1395391 581 Village Ter NE, Marietta, GA 30067                  Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      9/27/2005 VA 1-375-694              9/13/2006                  9/27/2005              1/18/2021
     641696 1035 Penn Ave, Wilkinsburg, PA 15221                    James Swanson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/19/2005 VA 1-375-658              9/13/2006                  5/19/2005               6/7/2021
     642168 807 E McMurray Rd, Venetia, PA 15367                    James Swanson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/4/2005 VA 1-375-658              9/13/2006                   8/4/2005              6/22/2020
     840997 225 S Main St, O'Fallon, MO 63366                       Brenda Ross                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/5/2005 VA 1-374-865              9/13/2006                  10/5/2005              6/22/2020
    1461350 4920 Roswell Rd NE, Atlanta, GA 30342                   Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/27/2005 VA 1-375-694              9/13/2006                 10/27/2005              6/21/2020
    1797701 840 Shallowford Rd NE, Kennesaw, GA 30144               Andrea Harden                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     12/30/2005 VA 1-375-694              9/13/2006                 12/30/2005              8/12/2020
     982200 2551-2595 N 1st St, San Jose, CA 95131                  Kristen Thomas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/28/2005 VA 1-375-640              9/13/2006                  4/28/2005               8/9/2020
   13606725 1301 Grasslands Blvd, Lakeland, FL 33803                Brahm Piterski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       6/2/2010 VA 1-434-745            10/24/2014                    6/2/2010              6/26/2020
   13816178 1301 Grasslands Blvd, Lakeland, FL 33803                Brahm Piterski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      7/30/2010 VA 1-434-745            10/24/2014                   7/30/2010               7/6/2020
   10637016 7433-7447 4th St N, Oakdale, MN 55128                   Brent Hauger                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      6/19/2009 VA 2-060-104               2/1/2017                  6/19/2009              6/22/2020
    1172114 2545 E 79th St, Chicago, IL 60649                       Meaghan Rapp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/19/2005 VA 1-374-879              9/13/2006                  7/19/2005              6/30/2020
     981783 700-702 S Vermont St, Palatine, IL 60067                Christian Behr                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      4/28/2005 VA 1-391-993              10/6/2006                  4/28/2005              6/23/2020
    1196598 Halstead Blvd, Zelienople, PA 16063                     James Swanson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2005 VA 1-375-658              9/13/2006                   8/8/2005              8/10/2020
    1196603 719 W New Castle St, Zelienople, PA 16063               James Swanson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2005 VA 1-375-658              9/13/2006                   8/8/2005              6/24/2020
    1448507 300 N McLean Blvd, Elgin, IL 60123                      Christian Behr                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/21/2005 VA 1-391-993              10/6/2006                 10/21/2005              6/22/2020
    1667375 3838 River Rd, Schiller Park, IL 60176                  Christian Behr                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      12/2/2005 VA 1-391-993              10/6/2006                  12/2/2005              6/19/2020
    1433039 1202-1220 Corporate Dr W, Arlington, TX 76006           Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/13/2005 VA 1-374-870              9/13/2006                 10/13/2005              6/18/2020
    3133827 7483 Candlewood Rd, Hanover, MD 21076                   Colleen Dugan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/25/2006 VA 1-410-719              3/27/2007                 10/25/2006               8/7/2020
    3133833 7483 Candlewood Rd, Hanover, MD 21076                   Colleen Dugan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/25/2006 VA 1-410-719              3/27/2007                 10/25/2006               8/8/2020
    1582326 115 W Gore St, Orlando, FL 32806                        Henry Cordero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2005 VA 1-375-653              9/13/2006                 11/21/2005              6/24/2020
    1582327 115 W Gore St, Orlando, FL 32806                        Henry Cordero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2005 VA 1-375-653              9/13/2006                 11/21/2005              6/24/2020
    1591782 930 Albany Shaker Rd, Latham, NY 12110                  James Cameron                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/28/2005 VA 1-375-699              9/13/2006                 11/28/2005              6/19/2020
    1591785 930 Albany Shaker Rd, Latham, NY 12110                  James Cameron                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/28/2005 VA 1-375-699              9/13/2006                 11/28/2005              6/23/2020
    1671703 307 Morrow Rd, Sand Springs, OK 74063                   Joseph Guertin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/5/2005 VA 1-375-695              9/13/2006                  12/5/2005              6/21/2020
    1433973 5945 Mayfield Rd, Cleveland, OH 44124                   David Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/13/2005 VA 1-391-978              10/6/2006                 10/13/2005              6/20/2020
    1444483 6150 Parkland Blvd, Mayfield Heights, OH 44124          David Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     10/18/2005 VA 1-391-978              10/6/2006                 10/18/2005              8/12/2020
    1803220 85 Pierson Ln, Windsor, CT 06095                        Adam Procaccini                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/3/2006 VA 1-374-887              9/13/2006                   1/3/2006               4/2/2021
    1838828 4 Griffin Rd N, Windsor, CT 06095                       Adam Procaccini                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/18/2006 VA 1-374-887              9/13/2006                  1/18/2006              6/22/2020
    1924383 1717-1721 Kenilworth Ave, Charlotte, NC 28203           Debbi Dunn                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       2/3/2006 VA 1-378-258              8/17/2006                   2/3/2006              6/23/2020
    1979681 1750 Highway 160 W, Fort Mill, SC 29708                 Debbi Dunn                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      2/19/2006 VA 1-378-258              8/17/2006                  2/19/2006              7/30/2020
    2058939 411 Billingsley Rd, Charlotte, NC 28211                 Debbi Dunn                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      3/16/2006 VA 1-378-258              8/17/2006                  3/16/2006              6/17/2020
     970265 4110-4156 Ogletown Stanton Rd, Newark, DE 19713         Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/8/2006 VA 1-391-979              10/6/2006                   5/8/2006              6/17/2020
    2263028 4110-4156 Ogletown Stanton Rd, Newark, DE 19713         Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/8/2006 VA 1-391-979              10/6/2006                   5/8/2006              6/21/2020
    2263030 4110-4156 Ogletown Stanton Rd, Newark, DE 19713         Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/8/2006 VA 1-391-979              10/6/2006                   5/8/2006              6/22/2020
     800416 302 Commerce Square Blvd, Burlington, NJ 08016          Richard Clabo                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/4/2005 VA 1-391-998              10/6/2006                  11/4/2005              6/20/2020
     973724 824-830 N Union St, Wilmington, DE 19805                Richard Clabo                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/26/2005 VA 1-391-998              10/6/2006                  9/26/2005              7/24/2020
    1948258 907 S Chapel St, Newark, DE 19713                       Richard Clabo                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/17/2006 VA 1-391-880              10/6/2006                  2/17/2006              6/24/2020
    1786490 807 E McMurray Rd, Venetia, PA 15367                    Coral Stengel                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/23/2005 VA 1-391-912              10/6/2006                 12/23/2005              6/22/2020
    2642922 505 N Limestone St, Gaffney, SC 29340                   Debbi Dunn                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       7/5/2006 VA 1-378-258              8/17/2006                   7/5/2006              6/30/2020
    3701705 3138-3197 Lemay Ferry Rd, Saint Louis, MO 63125         Derrick Leu                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     11/18/2006 VA 1-407-513              3/27/2007                 11/18/2006              6/24/2020

   9218408 3510 Halls Mill Rd, Mobile, AL 36693                     Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500       12/11/2008 VA 1-431-125             6/22/2009                 12/11/2008               4/17/2021

  13096403 6251 Monroe St, Daphne, AL 36526                         Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        4/26/2010 VA 1-434-762            10/24/2014                  4/26/2010               6/19/2020
   1299115 10575 N 114th St, Scottsdale, AZ 85259                   Craig Darragh                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/1/2005 VA 1-391-911             10/6/2006                   9/1/2005               6/25/2020
   1389577 13576 W Camino Del Sol, Sun City West, AZ 85375          Craig Darragh                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/26/2005 VA 1-391-911             10/6/2006                  9/26/2005               6/21/2020

  14110651 3057 Lorna Rd, Birmingham, AL 35216                      Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         9/2/2010 VA 1-434-762            10/24/2014                   9/2/2010               7/10/2020

  14110655 3057 Lorna Rd, Birmingham, AL 35216                      Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         9/2/2010 VA 1-434-762            10/24/2014                   9/2/2010               6/29/2020

  15020727 535 Delmas Ave, Pascagoula, MS 39567                     Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500       12/20/2010 VA 1-434-762            10/24/2014                 12/20/2010               6/19/2020

  15053182 1203 Market St, Pascagoula, MS 39567                     Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500       12/28/2010 VA 1-434-762            10/24/2014                 12/28/2010               11/9/2020
   2333709 1107-1119 Yadkinville Rd, Mocksville, NC 27028           Andrea Erickson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/31/2006 VA 1-392-005             10/6/2006                  5/31/2006               6/20/2020
   1826462 100 Sebethe Dr, Cromwell, CT 06416                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        1/12/2006 VA 1-386-352            10/19/2006                  1/12/2006               6/17/2020
   1848973 120 Park Lane Rd, New Milford, CT 06776                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        1/21/2006 VA 1-386-352            10/19/2006                  1/21/2006               6/19/2020
   1976571 74-82 Franklin St, Westfield, MA 01085                   Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500         2/3/2006 VA 1-386-352            10/19/2006                   2/3/2006               7/20/2020
   2574748 10-16 Main St, Westfield, MA 01085                       Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/23/2006 VA 1-386-369            10/19/2006                  8/23/2006               6/21/2020
   1780406 41 Orchard St, Ramsey, NJ 07446                          John Ferguson                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       12/21/2005 VA 1-386-345            10/19/2006                 12/21/2005                7/3/2020
   1770039 10946-10950 Ventura Blvd, Studio City, CA 91604          John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/19/2005 VA 1-386-353            10/19/2006                 12/19/2005               6/24/2020
   2062846 2520 Midpark Dr, Montgomery, AL 36109                    Anthony Wade                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        1/22/2006 VA 1-386-380            10/19/2006                  1/22/2006               8/12/2020

    602085 440 Sylvan Ave, Englewood Cliffs, NJ 07632               George Rodelius                                                                Vested Realty            377 Route 202/206, Bedminster, NJ 07921               9086358550      10/11/2005 VA 1-386-347            10/19/2006                 10/11/2005               6/20/2020

   1446774 15 Charles St, Westwood, NJ 07675                        George Rodelius                                                                Vested Realty            377 Route 202/206, Bedminster, NJ 07921               9086358550      10/20/2005 VA 1-386-347            10/19/2006                 10/20/2005               6/27/2020

  15603491 200-234 Eglin Pky NE, Fort Walton Beach, FL 32547        Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        3/16/2011 VA 1-435-203             2/23/2015                  3/16/2011               6/25/2020

  10692578 6584 Caroline St, Milton, FL 32570                       Douglas Carleton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        6/30/2009 VA 2-065-591              2/1/2017                  6/30/2009               6/18/2020




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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                            Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
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                                                                                                                                                     McCann Appraisal Service
   2053439 3801 Auburn St, Rockford, IL 61101                         Brian McCann                                                                   LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934      3/16/2006 VA 1-386-370            10/19/2006                 3/16/2006              6/18/2020
                                                                                                                                                     McCann Appraisal Service
   2053441 3801 Auburn St, Rockford, IL 61101                         Brian McCann                                                                   LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934      3/16/2006 VA 1-386-370            10/19/2006                 3/16/2006              6/22/2020
   2476776 1924 Ark Rd, Hainesport, NJ 08036                          Mitchell Birnbaum                                                              CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      7/25/2006 VA 1-390-101             12/5/2006                 7/25/2006              6/23/2020
   2476584 27 Walnut Blvd, Petersburg, VA 23805                       Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/25/2006 VA 1-387-824             12/5/2006                 7/25/2006              6/16/2020
   2914046 6800 Burnet Rd, Austin, TX 78757                           Michael Marx                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     10/13/2006 VA 1-389-474             12/5/2006                10/13/2006               8/7/2020
   2914050 6800 Burnet Rd, Austin, TX 78757                           Michael Marx                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     10/13/2006 VA 1-389-474             12/5/2006                10/13/2006               8/7/2020

   2906874 440 E Poe Rd, Bowling Green, OH 43402                      Dwayne Walker                                                                  CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404     10/12/2006 VA 1-387-828             12/5/2006                10/12/2006              6/17/2020
   2508326 630 Broad St, Shrewsbury, NJ 07702                         Jason Meehan                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      7/29/2006 VA 1-389-479             12/5/2006                 7/29/2006              6/21/2020
   2525735 240 Monmouth Rd, Oakhurst, NJ 07755                        Jason Meehan                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       8/3/2006 VA 1-389-479             12/5/2006                  8/3/2006              8/12/2020
   2560455 14 County Road 520, Englishtown, NJ 07726                  Jason Meehan                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      8/19/2006 VA 1-389-479             12/5/2006                 8/19/2006              6/23/2020
   3892984 932-940 Water St, Sauk City, WI 53583                      Sean Knick                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      9/11/2006 VA 1-390-109             12/5/2006                 9/11/2006              6/20/2020
   4154563 1910 Main St, Cross Plains, WI 53528                       Sean Knick                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      9/11/2006 VA 1-390-109             12/5/2006                 9/11/2006              6/20/2020
   4154564 1910 Main St, Cross Plains, WI 53528                       Sean Knick                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      9/11/2006 VA 1-390-109             12/5/2006                 9/11/2006              6/19/2020
   2574857 5020 N High St, Columbus, OH 43214                         Robert Clayton                                                                 CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      8/23/2006 VA 1-388-810             12/5/2006                 8/23/2006              6/17/2020
   2476711 19641 E Parker Square Dr, Parker, CO 80134                 Jean-Michel Bertrand                                                           CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      7/24/2006 VA 1-387-852             12/5/2006                 7/24/2006              6/24/2020
   2514106 413 Chatham Square Office Park, Fredericksburg, VA 22405   Desiree Fleming                                                                CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      7/23/2006 VA 1-390-111             12/5/2006                 7/23/2006              6/20/2020
   2451234 10404 MacCorkle Ave, Marmet, WV 25315                      Mark Jarrett                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/16/2006 VA 1-388-811             12/5/2006                 7/16/2006              6/24/2020
   2451235 10404 MacCorkle Ave, Marmet, WV 25315                      Mark Jarrett                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/16/2006 VA 1-388-811             12/5/2006                 7/16/2006              6/24/2020
   2470343 2181 US Route 60, Culloden, WV 25510                       Mark Jarrett                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/16/2006 VA 1-388-811             12/5/2006                 7/16/2006              6/22/2020
   2470344 2181 US Route 60, Culloden, WV 25510                       Mark Jarrett                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/16/2006 VA 1-388-811             12/5/2006                 7/16/2006              6/24/2020
   2470345 2181 US Route 60, Culloden, WV 25510                       Mark Jarrett                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      7/16/2006 VA 1-388-811             12/5/2006                 7/16/2006              6/21/2020
                                                                                                                                                     McCann Appraisal Service
   2531075 820-826 S Northwest Hwy, Barrington, IL 60010              Brian McCann                                                                   LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934       8/7/2006 VA 1-387-865             12/5/2006                  8/7/2006              6/23/2020
   4539890 2 John Walsh Blvd, Peekskill, NY 10566                     Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       3/6/2007 VA 1-391-693             3/11/2007                  3/6/2007              6/18/2020
   4539892 2 John Walsh Blvd, Peekskill, NY 10566                     Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       3/6/2007 VA 1-391-693             3/11/2007                  3/6/2007              6/20/2020
   3855042 601 Bound Brook Rd, Middlesex, NJ 08846                    Michael Johnson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     12/14/2006 VA 1-407-524             3/27/2007                12/14/2006              6/19/2020
   3855046 601 Bound Brook Rd, Middlesex, NJ 08846                    Michael Johnson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     12/14/2006 VA 1-407-524             3/27/2007                12/14/2006              6/22/2020
   4163247 141 Main St, South Bound Brook, NJ 08880                   Michael Johnson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      1/12/2007 VA 1-403-996             3/27/2007                 1/12/2007              8/11/2020
   3633298 4500-4520 N 3rd St, Philadelphia, PA 19140                 Mitchell Birnbaum                                                              CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      11/9/2006 VA 1-407-526             3/27/2007                 11/9/2006              6/20/2020
   4157628 630 Fitzwatertown Rd, Willow Grove, PA 19090               Mitchell Birnbaum                                                              CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      1/11/2007 VA 1-391-685             3/27/2007                 1/11/2007              6/23/2020
   3679341 5445-5461 Windsor Blvd, Zuni, VA 23898                     Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     11/14/2006 VA 1-407-529             3/27/2007                11/14/2006               7/1/2020
   3679343 5445-5461 Windsor Blvd, Zuni, VA 23898                     Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     11/14/2006 VA 1-407-529             3/27/2007                11/14/2006              6/30/2020
   3721050 7610 Left Flank Rd, Mechanicsville, VA 23116               Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     11/21/2006 VA 1-407-529             3/27/2007                11/21/2006              6/22/2020
   3756625 241-341 E Hundred Rd, Chester, VA 23836                    Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     11/30/2006 VA 1-407-529             3/27/2007                11/30/2006              6/23/2020
   4099115 3401-3431 Cox Rd, Richmond, VA 23233                       Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/2/2007 VA 1-391-654             3/27/2007                  1/2/2007              6/17/2020
   4124126 10160 Staples Mill Rd, Glen Allen, VA 23060                Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/5/2007 VA 1-391-654             3/27/2007                  1/5/2007              6/24/2020
   4134582 3233 Boulevard, Colonial Heights, VA 23834                 Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/8/2007 VA 1-391-654             3/27/2007                  1/8/2007              6/23/2020
   4134585 3233 Boulevard, Colonial Heights, VA 23834                 Randy Rose                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/8/2007 VA 1-391-654             3/27/2007                  1/8/2007              6/21/2020
   3921078 3615-3725 Franklin Ave, Waco, TX 76710                     Michael Marx                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     12/22/2006 VA 1-407-451             3/27/2007                12/22/2006              7/15/2020
   3984567 1900-1922 Park Lake Dr, Waco, TX 76708                     Michael Marx                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300     12/28/2006 VA 1-407-451             3/27/2007                12/28/2006              6/23/2020
   3815724 2344 Foxon Rd, North Branford, CT 06471                    Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      12/9/2006 VA 1-410-726             3/27/2007                 12/9/2006              6/21/2020
   3891000 1564 Us-9, Wappingers Falls, NY 12590                      Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500     10/31/2006 VA 1-410-726             3/27/2007                10/31/2006              6/23/2020
   4390696 751 Straits Tpke, Middlebury, CT 06762                     Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      2/12/2007 VA 1-391-702             3/27/2007                 2/12/2007              6/22/2020
   4390698 751 Straits Tpke, Middlebury, CT 06762                     Ed Messenger                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      2/12/2007 VA 1-391-702             3/27/2007                 2/12/2007              6/17/2020
   3756787 155 Maple St, Springfield, MA 01105                        Jonathan Coon                                                                  CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500     11/30/2006 VA 1-407-447             3/27/2007                11/30/2006              6/23/2020
   4316630 4 Huntley Rd, Old Lyme, CT 06371                           Jonathan Coon                                                                  CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      1/31/2007 VA 1-403-953             3/27/2007                 1/31/2007              6/21/2020
   4185767 27811-27833 Avenue Hopkins, Valencia, CA 91355             John Ehart                                                                     CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/17/2007 VA 1-403-997             3/27/2007                 1/17/2007              6/22/2020
   4250184 23329-23449 Lyons Ave, Santa Clarita, CA 91355             John Ehart                                                                     CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/24/2007 VA 1-403-997             3/27/2007                 1/24/2007              6/21/2020
   4250185 23329-23449 Lyons Ave, Santa Clarita, CA 91355             John Ehart                                                                     CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/24/2007 VA 1-403-997             3/27/2007                 1/24/2007              6/17/2020
   3901093 1196 3rd Ave, Chula Vista, CA 91911                        Joerg Boetel                                                                   CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404     12/21/2006 VA 1-410-692             3/27/2007                12/21/2006              6/21/2020
   4232045 15375 Barranca Pky, Irvine, CA 92618                       Joerg Boetel                                                                   CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/22/2007 VA 1-403-999             3/27/2007                 1/22/2007               2/6/2021
   4299409 5400 Trabuco Rd, Irvine, CA 92620                          Joerg Boetel                                                                   CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/29/2007 VA 1-403-999             3/27/2007                 1/29/2007             10/17/2020

   3673618 1710 E 10th St, Jeffersonville, IN 47130                   Dale Rushing                                                                   CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404     11/13/2006 VA 1-403-924             3/27/2007                11/13/2006              6/20/2020
   4201288 6886-6894 Village Pky, Dublin, CA 94568                    Anita Shin                                                                     CoStar Group               3161 Michelson Dr, Irvine, CA 92612                       9497527448       1/8/2007 VA 1-391-718             3/27/2007                  1/8/2007              6/19/2020

   3164191 1404 W South St, Lebanon, IN 46052                         Jason Koenig                                                                   CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404     10/26/2006 VA 1-407-547             3/27/2007                10/26/2006              6/18/2020

   4222652 5450 W State Road 26, Rossville, IN 46065                  Jason Koenig                                                                   CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404      1/20/2007 VA 1-403-893             3/27/2007                 1/20/2007              6/23/2020
   6104168 859 Park Ave, Orange Park, FL 32073                        Lori Smith                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       2/5/2007 VA 1-391-655             3/27/2007                  2/5/2007              6/18/2020
   4310432 556 N 1st St, San Jose, CA 95112                           Christopher Lau                                                                CoStar Group               1301 2nd Ave, Seattle, WA 98101                           8443050836      1/30/2007 VA 1-403-919             3/27/2007                 1/30/2007              6/18/2020
   4372424 3950 Chain Bridge Rd, Fairfax, VA 22030                    Pia Miai                                                                       CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       2/7/2007 VA 1-403-917             3/27/2007                  2/7/2007              5/16/2020
   3809007 3650 W Wheatland Rd, DeSoto, TX 75115                      Darrell Shultz                                                                 CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      12/7/2006 VA 1-410-754             3/27/2007                 12/7/2006              7/22/2020
   4126259 400 W Kearney St, Mesquite, TX 75149                       Darrell Shultz                                                                 CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404       1/5/2007 VA 1-404-003             3/27/2007                  1/5/2007               7/3/2020
   4161705 1350 N Buckner Blvd, Dallas, TX 75218                      Darrell Shultz                                                                 CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/11/2007 VA 1-404-003             3/27/2007                 1/11/2007               8/9/2020
   4161707 1350 N Buckner Blvd, Dallas, TX 75218                      Darrell Shultz                                                                 CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/11/2007 VA 1-404-003             3/27/2007                 1/11/2007               8/8/2020
   4304092 11401-11431 Plano Rd, Dallas, TX 75243                     Darrell Shultz                                                                 CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404      1/29/2007 VA 1-404-003             3/27/2007                 1/29/2007              3/30/2021
    974039 3108 State Route 10 W, Denville, NJ 07834                  John Georgiadis                                                                CoStar Group               181 Bay St, Toronto, ON M5J 2                             4169457500       2/1/2007 VA 1-391-736             3/27/2007                  2/1/2007               7/8/2020
    582390 8901-9087 Shady Grove Ct, Gaithersburg, MD 20877           Gene Inserto                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      1/25/2007 VA 1-403-909             3/27/2007                 1/25/2007              7/18/2020
   4356742 20270 Goldenrod Ln, Germantown, MD 20876                   Gene Inserto                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       2/6/2007 VA 1-403-909             3/27/2007                  2/6/2007              7/20/2020
   4374153 19200-19214 Chennault Way, Gaithersburg, MD 20879          Gene Inserto                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       2/7/2007 VA 1-403-909             3/27/2007                  2/7/2007              7/20/2020
   4374154 19200-19214 Chennault Way, Gaithersburg, MD 20879          Gene Inserto                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       2/7/2007 VA 1-403-909             3/27/2007                  2/7/2007              7/20/2020
   4376415 7 Granite Pl, Gaithersburg, MD 20878                       Gene Inserto                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       2/6/2007 VA 1-403-909             3/27/2007                  2/6/2007              7/20/2020
   3636472 4430 14th St W, Bradenton, FL 34207                        Syd Krawczyk                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500      11/8/2006 VA 1-407-485             3/27/2007                 11/8/2006               7/2/2020
   3749973 6510 Cortez Rd, Bradenton, FL 34210                        Syd Krawczyk                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500     11/29/2006 VA 1-407-485             3/27/2007                11/29/2006              6/18/2020
   3749980 6510 Cortez Rd, Bradenton, FL 34210                        Syd Krawczyk                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500     11/29/2006 VA 1-407-485             3/27/2007                11/29/2006              6/24/2020
   3750017 6310-6410 Cortez Rd W, Bradenton, FL 34210                 Syd Krawczyk                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500     11/29/2006 VA 1-407-485             3/27/2007                11/29/2006              6/24/2020




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 MasterID                                Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer           Last Known - Employer Address               Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    3497409 8402-8454 S Us-1 Hwy, Port Saint Lucie, FL 34952           Anna Brady                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500      11/3/2006 VA 1-407-489              3/27/2007                  11/3/2006               6/21/2020
    3813574 803 Camarillo Springs Rd, Camarillo, CA 93012              Aaron Farnsworth                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     11/18/2006 VA 1-410-750              3/27/2007                 11/18/2006                8/8/2020
    4111128 1910 SE Federal Hwy, Stuart, FL 34994                      Anna Brady                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500       1/3/2007 VA 1-391-667              3/27/2007                   1/3/2007               7/22/2020
    4204518 3225 NW 13th St, Gainesville, FL 32609                     Raphael Gottlieb                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     10/23/2006 VA 1-410-741              3/27/2007                 10/23/2006               6/19/2020
    4204519 3225 NW 13th St, Gainesville, FL 32609                     Raphael Gottlieb                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     10/23/2006 VA 1-410-741              3/27/2007                 10/23/2006               6/24/2020
    4326900 760 US Highway 27 N, Sebring, FL 33870                     Kurt Shearer                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500       2/2/2007 VA 1-403-956              3/27/2007                   2/2/2007               6/24/2020
    4333826 60 Rancho Rd, Thousand Oaks, CA 91362                      Aaron Farnsworth                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500      1/29/2007 VA 1-403-947              3/27/2007                  1/29/2007               6/24/2020
    5758102 3225 NW 13th St, Gainesville, FL 32609                     Raphael Gottlieb                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     10/23/2006 VA 1-410-741              3/27/2007                 10/23/2006               6/21/2020
    4171156 321 S Us-41, Inverness, FL 34450                           Dennis Beall                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500      1/15/2007 VA 1-403-985              3/27/2007                  1/15/2007                8/8/2020
    4517000 2050 W Highway 44, Inverness, FL 34453                     Dennis Beall                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     12/24/2006 VA 1-410-738              3/27/2007                 12/24/2006              12/13/2020
    6080558 1777 W Main St, Inverness, FL 34450                        Dennis Beall                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     11/24/2006 VA 1-410-738              3/27/2007                 11/24/2006               6/21/2020
    6080559 1777 W Main St, Inverness, FL 34450                        Dennis Beall                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     11/24/2006 VA 1-410-738              3/27/2007                 11/24/2006               6/20/2020
    6080561 1777 W Main St, Inverness, FL 34450                        Dennis Beall                                                                   CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     11/24/2006 VA 1-410-738              3/27/2007                 11/24/2006               6/21/2020
    3675150 820 Capitola Rd, Santa Cruz, CA 95062                      Elizabeth Hodges                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500     11/13/2006 VA 1-410-727              3/27/2007                 11/13/2006               6/24/2020
    3833648 5600 US 1, Saint Augustine, FL 32095                       Kimberly Allawat                                                               CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500      12/6/2006 VA 1-407-498              3/27/2007                  12/6/2006                7/1/2020
                                                                                                                                                                                 3201 Cottonfield Dr, Mount Pleasant, SC
     834420 216 Haddon Ave, Westmont, NJ 08108                         Jonas Kleiner                                                                  Ceterus                    29466                                                     8005716119       1/11/2007 VA 1-403-944             3/27/2007                  1/11/2007               6/17/2020

  10692581 6584 Caroline St, Milton, FL 32570                          Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        6/30/2009 VA 2-065-591              2/1/2017                  6/30/2009               6/24/2020
   3117339 315 E Leffel Ln, Springfield, OH 45505                      Zachary Robb                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/20/2006 VA 1-407-487             3/27/2007                 10/20/2006                6/7/2021
   3123445 251 Salina Meadows Pky, Syracuse, NY 13212                  Michael Haggerty                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/21/2006 VA 1-407-556             3/27/2007                 10/21/2006               6/23/2020
                                                                                                                                                      McCann Appraisal Service
   3126097 1530 N Randall Rd, Elgin, IL 60123                          Brian McCann                                                                   LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934      10/19/2006 VA 1-407-469             3/27/2007                 10/19/2006               6/24/2020

  10952339 675 Schillinger Rd S, Mobile, AL 36695                      Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500         8/5/2009 VA 2-065-591              2/1/2017                   8/5/2009                7/1/2020
   3129311 200 N Broadway St, Wichita, KS 67202                        Lawrence Ediger                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/18/2006 VA 1-407-501             3/27/2007                 10/18/2006               6/22/2020
   3132972 3 Sanford Ave, Debary, FL 32713                             Robert Baal                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/20/2006 VA 1-410-748             3/27/2007                 10/20/2006               6/23/2020

  10952348 675 Schillinger Rd S, Mobile, AL 36695                      Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500         8/5/2009 VA 2-065-591              2/1/2017                   8/5/2009               6/21/2020

  11455379 1610 Government St, Mobile, AL 36604                        Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500       10/13/2009 VA 2-065-591              2/1/2017                 10/13/2009                7/4/2020
   3381052 4225 NW 72nd Ave, Miami, FL 33166                           Ygor Vanderbiest                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/28/2006 VA 1-407-543             3/27/2007                 10/28/2006               6/23/2020
   3382123 1112 Truxtun Ave, Bakersfield, CA 93301                     Karen Skaggs                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/31/2006 VA 1-410-718             3/27/2007                 10/31/2006               6/22/2020
   3384634 3770 SW 8th St, Altoona, IA 50009                           Jesse Denker                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/30/2006 VA 1-407-486             3/27/2007                 10/30/2006               6/23/2020
   3400849 320 E Fontanero St, Colorado Springs, CO 80907              Robbie Bottorff                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/31/2006 VA 1-410-729             3/27/2007                 10/31/2006               6/19/2020
   3409523 4009-4015 Pelham Ct, Greer, SC 29650                        Charles Hornsby                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/2/2006 VA 1-407-471             3/27/2007                  11/2/2006               6/24/2020
   3427730 3400 NW 114th Ave, Miami, FL 33178                          Ygor Vanderbiest                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       10/14/2006 VA 1-407-543             3/27/2007                 10/14/2006               6/20/2020
   3479997 73A Dutilh Rd, Cranberry, PA 16066                          Theresa DeShantz                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/3/2006 VA 1-407-465             3/27/2007                  11/3/2006               7/15/2020
   3515526 1850 E Thunderbird Rd, Phoenix, AZ 85022                    Craig Darragh                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/3/2006 VA 1-410-720             3/27/2007                  11/3/2006               6/17/2020
   3515537 1850 E Thunderbird Rd, Phoenix, AZ 85022                    Craig Darragh                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/3/2006 VA 1-410-720             3/27/2007                  11/3/2006               6/22/2020
   3551407 8041 N Mesa St, El Paso, TX 79932                           Linda Miner                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/7/2006 VA 1-407-460             3/27/2007                  11/7/2006               6/26/2020
   3551411 8041 N Mesa St, El Paso, TX 79932                           Linda Miner                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/7/2006 VA 1-407-460             3/27/2007                  11/7/2006               6/26/2020
   3624173 1800-1850 E Merritt Island Cswy, Merritt Island, FL 32952   Eric Scharf                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/9/2006 VA 1-410-698             3/27/2007                  11/9/2006                7/7/2020
   3627752 2075 Research Pky, Colorado Springs, CO 80920               Robbie Bottorff                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        11/9/2006 VA 1-410-729             3/27/2007                  11/9/2006               6/24/2020
   3674039 3214-3216 Geary Blvd, San Francisco, CA 94118               Abigail Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       11/13/2006 VA 1-410-749             3/27/2007                 11/13/2006               6/17/2020
   3675619 5700 E Franklin Rd, Nampa, ID 83687                         Jonathan Scobby                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       11/12/2006 VA 1-407-535             3/27/2007                 11/12/2006               6/23/2020
   3675621 5700 E Franklin Rd, Nampa, ID 83687                         Jonathan Scobby                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       11/12/2006 VA 1-407-535             3/27/2007                 11/12/2006               6/23/2020

  11455381 1610 Government St, Mobile, AL 36604                        Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500       10/13/2009 VA 2-065-591              2/1/2017                 10/13/2009               6/21/2020
                                                                                                                                                                                 3201 Cottonfield Dr, Mount Pleasant, SC
   3702452 614 Heron Dr, Swedesboro, NJ 08085                          Jonas Kleiner                                                                  Ceterus                    29466                                                     8005716119      11/14/2006 VA 1-407-541             3/27/2007                 11/14/2006                7/8/2020
   3704889 1021 Detroit Ave, Concord, CA 94518                         Sean Willard                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/18/2006 VA 1-407-519             3/27/2007                 11/18/2006               6/24/2020
   3706552 4810-4820 Old National Hwy, Atlanta, GA 30337               Kelley Klein                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/20/2006 VA 1-410-735             3/27/2007                 11/20/2006               7/31/2020
   3720138 684 E Vine St, Murray, UT 84107                             Richard Schmid                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/20/2006 VA 1-407-470             3/27/2007                 11/20/2006               7/17/2021
   3725350 7020 Douglas Ave, Urbandale, IA 50322                       Jesse Denker                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/21/2006 VA 1-407-486             3/27/2007                 11/21/2006               6/24/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   3730145 6840 W Pershing Ave, Visalia, CA 93291                      America Rivas                                                                  BHHS California            CA 91730                                                  9099803100      11/25/2006 VA 1-407-545             3/27/2007                 11/25/2006               6/21/2020
   3730394 1855 S Rock Rd, Wichita, KS 67207                           Lawrence Ediger                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/21/2006 VA 1-407-501             3/27/2007                 11/21/2006               6/17/2020

  11869074 2237 W Nine Mile Rd, Pensacola, FL 32534                    Douglas Carleton                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500       12/10/2009 VA 2-065-591              2/1/2017                 12/10/2009               8/12/2020
   3742881 1800 Dixon St, Des Moines, IA 50316                         Jesse Denker                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       11/28/2006 VA 1-407-486             3/27/2007                 11/28/2006               6/23/2020
   3742884 1800 Dixon St, Des Moines, IA 50316                         Jesse Denker                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       11/28/2006 VA 1-407-486             3/27/2007                 11/28/2006               6/22/2020
   1013914 51 Grove St, Chester, NJ 07930                              Eric Rodaman                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500         6/8/2005 VA 1-392-019             10/6/2006                   6/8/2005               1/17/2021
   1975246 991-1001 Boston Providence Tpke, Norwood, MA 02062          Frank Bynog                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        2/23/2006 VA 1-378-366             8/17/2006                  2/23/2006               6/19/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   3762848 6632 W Pershing Ave, Visalia, CA 93291                      America Rivas                                                                  BHHS California            CA 91730                                                  9099803100      11/24/2006 VA 1-407-545             3/27/2007                 11/24/2006                8/8/2020
   3766628 629-639 S B St, San Mateo, CA 94401                         Paul Perez                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       12/1/2006 VA 1-407-508             3/27/2007                  12/1/2006               1/23/2021
                                                                                                                                                      Commercial Retail
   3767295 3032-3044 Tulare St, Fresno, CA 93721                       Bryan Cifranic                                                                 Associates                 680 W Shaw Ave, Fresno, CA 93704                          5596501300       12/1/2006 VA 1-407-537             3/27/2007                  12/1/2006               6/23/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   3779996 646 Industrial Dr, Exeter, CA 93221                         America Rivas                                                                  BHHS California            CA 91730                                                  9099803100       12/5/2006 VA 1-407-545             3/27/2007                  12/5/2006               6/21/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   3779998 646 Industrial Dr, Exeter, CA 93221                         America Rivas                                                                  BHHS California            CA 91730                                                 9099803100        12/5/2006 VA 1-407-545             3/27/2007                  12/5/2006               6/20/2020
  10744246 630-650 Boston Post Rd E, Marlborough, MA 01752             Gabe Davis                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500         7/9/2009 VA 2-060-026             2/15/2017                   7/9/2009               6/18/2020
   1923537 1600 Hover St, Longmont, CO 80501                           Garret Kolb                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        2/13/2006 VA 1-378-359             8/17/2006                  2/13/2006               6/30/2020
 101776004 1170 Kane Concourse, Bay Harbor Islands, FL 33154           Ioanna Raptis                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        1/12/2017 VA 2-063-778             3/15/2017                  1/12/2017                7/1/2020
   3816921 6800 Manhattan Blvd, Fort Worth, TX 76120                   Keith Howard                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        12/8/2006 VA 1-407-500             3/27/2007                  12/8/2006               6/20/2020
   3840238 2532 Main St, Tewksbury, MA 01876                           Phil McNeil                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/13/2006 VA 1-407-452             3/27/2007                 12/13/2006              11/13/2020
   3863124 4719 Lower Roswell Rd, Marietta, GA 30068                   Kelley Klein                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/15/2006 VA 1-410-735             3/27/2007                 12/15/2006               6/20/2020
   3864653 4720 Carlisle Pike, Mechanicsburg, PA 17050                 Jon Buehler                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/15/2006 VA 1-407-542             3/27/2007                 12/15/2006               6/24/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                        4
                                                                Case 2:20-cv-08819-CBM-AS                                      Document 950-1 Filed 10/25/24                                                                         Page 32 of 202 Page
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                            Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                             Image Address                            Photographer         Email Address              Phone Number            Last Known - Employer           Last Known - Employer Address               Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    3865236 3051 W Maple Loop, Lehi, UT 84043                           Richard Schmid                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300     12/15/2006 VA 1-407-470              3/27/2007                 12/15/2006              6/21/2020
                                                                                                                                                                                 3201 Cottonfield Dr, Mount Pleasant, SC
   3884482 2401-2435 Robert W Kirkwood Hwy, Elsmere, DE 19805           Jonas Kleiner                                                                 Ceterus                    29466                                                    8005716119       12/18/2006 VA 1-407-541             3/27/2007                 12/18/2006                8/8/2020
   3890956 1914-1932 Pacific Coast Hwy, Lomita, CA 90717                Richard Redlich                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/19/2006 VA 1-410-728             3/27/2007                 12/19/2006               6/18/2020
   3893706 7129-7135 Fair Oaks Blvd, Carmichael, CA 95608               Michael Crisman                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/19/2006 VA 1-410-697             3/27/2007                 12/19/2006               6/24/2020
   3895091 600 E Penn Ave, Wernersville, PA 19565                       Jon Buehler                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/19/2006 VA 1-407-542             3/27/2007                 12/19/2006               6/22/2020
   3899871 3046 Capper Rd, Jacksonville, FL 32218                       John Metzger                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/20/2006 VA 1-407-516             3/27/2007                 12/20/2006               7/24/2020
   3900879 1841 W Oak Pky, Marietta, GA 30062                           Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/20/2006 VA 1-410-735             3/27/2007                 12/20/2006                8/9/2020
   3902759 2100 Old Highway 17 N, North Myrtle Beach, SC 29582          Nathan Alvey                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/20/2006 VA 1-407-525             3/27/2007                 12/20/2006               7/17/2021
   3127037 9 Whippany Rd, Whippany, NJ 07981                            Jennifer Cichowicz                                                            CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500       10/19/2006 VA 1-410-753             3/27/2007                 10/19/2006                8/7/2020
   3917904 1019 N Vine St, Berwick, PA 18603                            Rona Houser                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/21/2006 VA 1-407-464             3/27/2007                 12/21/2006               6/20/2020
   3958083 1640 Cobb International Blvd, Kennesaw, GA 30152             Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/27/2006 VA 1-410-735             3/27/2007                 12/27/2006               6/18/2020
   3958084 1640 Cobb International Blvd, Kennesaw, GA 30152             Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/27/2006 VA 1-410-735             3/27/2007                 12/27/2006               6/20/2020
   3987243 420 W Stone Rd, Villa Park, IL 60181                         Laura Curtis                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/13/2006 VA 1-407-510             3/27/2007                 12/13/2006                7/2/2020
   4110320 105 Whitehead Rd, Athens, GA 30606                           Jenni Girtman                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        12/1/2006 VA 1-407-490             3/27/2007                  12/1/2006               6/24/2020
   4111943 223 W Center St, Canton, MS 39046                            Sara McKercher                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/3/2007 VA 1-391-719             3/27/2007                   1/3/2007               6/22/2020
   4111944 223 W Center St, Canton, MS 39046                            Sara McKercher                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/3/2007 VA 1-391-719             3/27/2007                   1/3/2007               6/24/2020
   4120178 2085 S Cobb Dr, Marietta, GA 30060                           Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/4/2007 VA 1-404-001             3/27/2007                   1/4/2007               6/24/2020
   4126857 619 W International Speedway Blvd, Daytona Beach, FL 32114   Robert Baal                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/6/2007 VA 1-403-943             3/27/2007                   1/6/2007               6/21/2020
   4126858 619 W International Speedway Blvd, Daytona Beach, FL 32114   Robert Baal                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/6/2007 VA 1-403-943             3/27/2007                   1/6/2007               6/22/2020
   4130600 416 South St, Plainville, MA 02762                           Matthew Reilly                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/5/2007 VA 1-403-976             3/27/2007                   1/5/2007               6/21/2020
   4135585 1601 Bowne Ave, Charleston, WV 25303                         Mark Jarrett                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300         1/8/2007 VA 1-403-978             3/27/2007                   1/8/2007               7/24/2020
                                                                                                                                                                                 3201 Cottonfield Dr, Mount Pleasant, SC
   4144090 201 Berlin Rd, Cherry Hill, NJ 08034                         Jonas Kleiner                                                                 Ceterus                    29466                                                     8005716119        1/9/2007 VA 1-403-944             3/27/2007                   1/9/2007               6/22/2020
   4151138 6990 Peachtree Industrial Blvd, Norcross, GA 30071           Jenni Girtman                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/10/2007 VA 1-404-002             3/27/2007                  1/10/2007               6/22/2020
   4157398 6359 W 135th St, Palos Heights, IL 60463                     Erik Leopold                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        1/2/2007 VA 1-403-981             3/27/2007                   1/2/2007               6/23/2020
   4157399 6359 W 135th St, Palos Heights, IL 60463                     Erik Leopold                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        1/2/2007 VA 1-403-981             3/27/2007                   1/2/2007               6/17/2020
                                                                                                                                                      McCann Appraisal Service
   4158172 132 Independence Dr, Batavia, IL 60510                       Brian McCann                                                                  LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934       1/11/2007 VA 1-403-952             3/27/2007                  1/11/2007               6/24/2020
                                                                                                                                                      McCann Appraisal Service
   4158174 132 Independence Dr, Batavia, IL 60510                       Brian McCann                                                                  LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934       1/11/2007 VA 1-403-952             3/27/2007                  1/11/2007               6/17/2020
                                                                                                                                                      McCann Appraisal Service
   4158176 132 Independence Dr, Batavia, IL 60510                       Brian McCann                                                                  LLC                        13 Woodland Rd, Lake In The Hills, IL 60156              8476509934        1/11/2007 VA 1-403-952             3/27/2007                  1/11/2007               6/20/2020
   4158358 10 Jefferson Ave, Salem, MA 01970                            Phil McNeil                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/11/2007 VA 1-403-959             3/27/2007                  1/11/2007              11/26/2020
   4158362 10 Jefferson Ave, Salem, MA 01970                            Phil McNeil                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/11/2007 VA 1-403-959             3/27/2007                  1/11/2007              11/26/2020
   4159187 1260-1280 Healdsburg Ave, Healdsburg, CA 95448               Chris Thompson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/11/2007 VA 1-403-982             3/27/2007                  1/11/2007               6/17/2020
   4159189 1260-1280 Healdsburg Ave, Healdsburg, CA 95448               Chris Thompson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/11/2007 VA 1-403-982             3/27/2007                  1/11/2007               6/17/2020
   4159225 1260-1280 Healdsburg Ave, Healdsburg, CA 95448               Chris Thompson                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/11/2007 VA 1-403-982             3/27/2007                  1/11/2007               6/21/2020
   4164578 160 Industrial Way, Fayetteville, GA 30215                   Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/12/2007 VA 1-404-001             3/27/2007                  1/12/2007               6/17/2020
   4164582 130-160 Highway 314, Fayetteville, GA 30214                  Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/12/2007 VA 1-404-001             3/27/2007                  1/12/2007               6/20/2020
   3730582 50 Fairfield Rd, Fairfield, NJ 07004                         Jennifer Cichowicz                                                            CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        11/1/2006 VA 1-410-753             3/27/2007                  11/1/2006               6/20/2020
  10827441 6101-6105 N 64th St, Milwaukee, WI 53218                     Jennifer Keuler                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        7/20/2009 VA 2-059-790              2/1/2017                  7/20/2009               6/22/2020
   4180577 6300 Richmond Ave, Houston, TX 77057                         Amber Church                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/10/2006 VA 1-407-533             3/27/2007                 12/10/2006               6/19/2020
   4186448 3955 E Cumberland Rd, Bluefield, WV 24701                    Mark Jarrett                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/17/2007 VA 1-403-978             3/27/2007                  1/17/2007               6/19/2020
                                                                                                                                                                                 3201 Cottonfield Dr, Mount Pleasant, SC
   4186500 911 S Kings Hwy, Cherry Hill, NJ 08034                       Jonas Kleiner                                                                 Ceterus                    29466                                                     8005716119       1/10/2007 VA 1-403-944             3/27/2007                  1/10/2007               6/23/2020
   4186670 5785 Brook Hollow Pky, Norcross, GA 30071                    Jenni Girtman                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/17/2007 VA 1-404-002             3/27/2007                  1/17/2007               6/19/2020
   4188782 2153 Lejeune Blvd, Jacksonville, NC 28546                    Nathan Alvey                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/17/2007 VA 1-391-680             3/27/2007                  1/17/2007               6/22/2020
   4193459 1401 SW Park Ridge Blvd, Lawton, OK 73505                    Roger McKissack                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/20/2006 VA 1-410-730             3/27/2007                 11/20/2006               6/18/2020
   4194067 1303-1311 W Gore Blvd, Lawton, OK 73501                      Roger McKissack                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/20/2006 VA 1-410-730             3/27/2007                 11/20/2006                7/2/2020
   4213789 2895 113th St, Grand Prairie, TX 75050                       Keith Howard                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/17/2006 VA 1-407-500             3/27/2007                 11/17/2006               6/18/2020
   4222122 1350 Fall River Ave, Seekonk, MA 02771                       Matthew Reilly                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/17/2007 VA 1-403-976             3/27/2007                  1/17/2007               6/24/2020
   4222464 4939 Winters Chapel Rd, Atlanta, GA 30360                    Jenni Girtman                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/19/2007 VA 1-404-002             3/27/2007                  1/19/2007               6/19/2020
   4232482 975 Cobb Place Blvd NW, Kennesaw, GA 30144                   Kelley Klein                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      12/27/2006 VA 1-410-735             3/27/2007                 12/27/2006               6/18/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   4234662 400 N Johnson St, Visalia, CA 93291                          America Rivas                                                                 BHHS California            CA 91730                                                  9099803100       1/22/2007 VA 1-391-665             3/27/2007                  1/22/2007               6/20/2020
                                                                                                                                                                                 10750 Civic Center Dr, Rancho Cucamonga,
   4234668 400 N Johnson St, Visalia, CA 93291                          America Rivas                                                                 BHHS California            CA 91730                                                  9099803100       1/22/2007 VA 1-391-665             3/27/2007                  1/22/2007               6/21/2020
   4240700 101 E Main St, Monroe, WA 98272                              Eric Ericson                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/23/2007 VA 1-391-664             3/27/2007                  1/23/2007                2/1/2021
   4251949 1327 W Colton Ave, Redlands, CA 92374                        Tandi Churchill                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/24/2007 VA 1-403-896             3/27/2007                  1/24/2007               6/19/2020
   4253843 101 Eastern Blvd, Fayetteville, NC 28301                     Nathan Alvey                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/24/2007 VA 1-391-680             3/27/2007                  1/24/2007               6/24/2020
   4253844 101 Eastern Blvd, Fayetteville, NC 28301                     Nathan Alvey                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/24/2007 VA 1-391-680             3/27/2007                  1/24/2007               6/20/2020
   4259302 4417 W Gore Blvd, Lawton, OK 73505                           Roger McKissack                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300      11/20/2006 VA 1-410-730             3/27/2007                 11/20/2006               6/18/2020
   4264470 6085 King Dr, Ventura, CA 93003                              Ernst Mutchnick                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/26/2007 VA 1-391-701             3/27/2007                  1/26/2007               6/24/2020
   4265997 1706-1710 Plum Ln, Redlands, CA 92374                        Tandi Churchill                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       1/22/2007 VA 1-403-896             3/27/2007                  1/22/2007                7/8/2020
                                                                                                                                                      Commercial Retail
   4273580 777 W Ashlan Ave, Clovis, CA 93612                           Bryan Cifranic                                                                Associates                 680 W Shaw Ave, Fresno, CA 93704                          5596501300       1/26/2007 VA 1-403-911             3/27/2007                  1/26/2007               6/23/2020
                                                                                                                                                      Commercial Retail
   4273581 777 W Ashlan Ave, Clovis, CA 93612                           Bryan Cifranic                                                                Associates                 680 W Shaw Ave, Fresno, CA 93704                         5596501300        1/26/2007 VA 1-403-911             3/27/2007                  1/26/2007               6/21/2020
   4273781 2026 Assembly St, Columbia, SC 29201                         Jason Benns                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        1/26/2007 VA 1-391-689             3/27/2007                  1/26/2007               6/18/2020
   4278971 4120-4128 S Broadway Ave, Los Angeles, CA 90037              Richard Redlich                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/22/2006 VA 1-410-728             3/27/2007                 12/22/2006                8/8/2020
   4282361 4721 Church Ave, Brooklyn, NY 11203                          Nicholas Havholm                                                              CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        12/2/2006 VA 1-407-514             3/27/2007                  12/2/2006               7/17/2020
   4287022 212 9th St, Oakland, CA 94607                                Tadashi Yamaoda                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300        12/6/2006 VA 1-410-757             3/27/2007                  12/6/2006               6/24/2020
  10942842 2207 S 114th St, West Allis, WI 53227                        Jennifer Keuler                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500         8/4/2009 VA 2-059-790              2/1/2017                   8/4/2009               6/23/2020
  11050524 20725 Watertown Rd, Waukesha, WI 53186                       Jennifer Keuler                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        8/18/2009 VA 2-059-790              2/1/2017                  8/18/2009                7/5/2020
   1297874 14350 SW Barrows Rd, Tigard, OR 97223                        Jonathan Legare                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        8/31/2005 VA 1-391-888             10/6/2006                  8/31/2005               6/17/2020
   1835620 335-399 Upper Riverdale Rd SW, Jonesboro, GA 30236           Kellie Hunter                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500        1/17/2006 VA 1-378-284             8/17/2006                  1/17/2006               6/24/2020
     52705 2711 Peachtree Sq, Doraville, GA 30360                       Kellie Hunter                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                       2023466500       12/20/2005 VA 1-375-663             9/13/2006                 12/20/2005               6/18/2020
   4290758 5441 Fair Oaks Blvd, Carmichael, CA 95608                    Michael Crisman                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/20/2006 VA 1-410-697             3/27/2007                 12/20/2006               6/21/2020
   4290760 5441 Fair Oaks Blvd, Carmichael, CA 95608                    Michael Crisman                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                       3012158300       12/20/2006 VA 1-410-697             3/27/2007                 12/20/2006               6/17/2020




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    4291867 1625 N Yellowstone Hwy, Idaho Falls, ID 83402            Jonathan Scobby                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      1/25/2007 VA 1-403-904              3/27/2007                  1/25/2007              6/21/2020
    4312216 5330 Stadium Trace Pky, Birmingham, AL 35244             Chris Emerson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      1/26/2007 VA 1-403-912              3/27/2007                  1/26/2007              6/24/2020
    4318151 1706-1710 Plum Ln, Redlands, CA 92374                    Tandi Churchill                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      1/22/2007 VA 1-403-896              3/27/2007                  1/22/2007               7/8/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   4328289 1120 W Main St, Visalia, CA 93291                         America Rivas                                                                  BHHS California          CA 91730                                               9099803100        2/1/2007 VA 1-391-665             3/27/2007                   2/1/2007               7/20/2020
   4337759 1301 Laurel St, Columbia, SC 29201                        Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/4/2007 VA 1-391-689             3/27/2007                   2/4/2007               2/21/2021
   4339969 9090 S Ridgeline Blvd, Littleton, CO 80129                Robbie Bottorff                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/3/2007 VA 1-403-928             3/27/2007                   2/3/2007               6/30/2020
   4339970 9090 S Ridgeline Blvd, Littleton, CO 80129                Robbie Bottorff                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/3/2007 VA 1-403-928             3/27/2007                   2/3/2007               6/30/2020
   4347426 1425 Richland St, Columbia, SC 29201                      Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/5/2007 VA 1-391-689             3/27/2007                   2/5/2007               6/22/2020
   4348124 905 Turnpike St, Canton, MA 02021                         Matthew Reilly                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/5/2007 VA 1-403-976             3/27/2007                   2/5/2007               6/23/2020
   4348359 318 Main St, Vacaville, CA 95688                          Jennifer Freudenberg                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/29/2007 VA 1-391-681             3/27/2007                  1/29/2007               6/22/2020
   4354732 3993-4035 W State Road 46, Sanford, FL 32771              Robert Baal                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/3/2007 VA 1-403-943             3/27/2007                   2/3/2007               6/20/2020
   4361010 4141 El Camino Real, Palo Alto, CA 94306                  Kristen Thomas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/5/2007 VA 1-391-688             3/27/2007                   2/5/2007               6/24/2020
   4361011 4141 El Camino Real, Palo Alto, CA 94306                  Kristen Thomas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/5/2007 VA 1-391-688             3/27/2007                   2/5/2007               6/23/2020
   4361693 7058 State Highway 303, Bremerton, WA 98311               Eric Ericson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/6/2007 VA 1-391-664             3/27/2007                   2/6/2007               6/17/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   4364144 2407 W Whitendale Ave, Visalia, CA 93277                  America Rivas                                                                  BHHS California          CA 91730                                               9099803100        2/8/2007 VA 1-391-665             3/27/2007                   2/8/2007               6/23/2020
   4382835 32 King St, Troy, NY 12180                                James Cameron                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/8/2007 VA 1-403-940             3/27/2007                   2/8/2007               6/19/2020
   4382839 32 King St, Troy, NY 12180                                James Cameron                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/8/2007 VA 1-403-940             3/27/2007                   2/8/2007               6/18/2020
   4399358 912 Lady St, Columbia, SC 29201                           Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/12/2007 VA 1-391-689             3/27/2007                  2/12/2007              11/21/2020
   4514132 211 State Route 30a, Schoharie, NY 12157                  James Cameron                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/23/2006 VA 1-407-523             3/27/2007                 12/23/2006                8/9/2020
   4853127 7285 Boulder Ave, Highland, CA 92346                      Tandi Churchill                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/3/2007 VA 1-403-896             3/27/2007                   2/3/2007               6/21/2020
   4853232 4150 Church St, Sanford, FL 32771                         Robert Baal                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300        2/3/2007 VA 1-403-943             3/27/2007                   2/3/2007               6/24/2020
   4932231 601-621 Cheney Hwy, Titusville, FL 32780                  Eric Scharf                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       12/8/2006 VA 1-410-698             3/27/2007                  12/8/2006               6/17/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   5588213 9945 W Goshen Ave, Visalia, CA 93291                      America Rivas                                                                  BHHS California          CA 91730                                               9099803100      10/27/2006 VA 1-407-545             3/27/2007                 10/27/2006                8/9/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   5588214 9945 W Goshen Ave, Visalia, CA 93291                      America Rivas                                                                  BHHS California          CA 91730                                              9099803100       10/27/2006 VA 1-407-545             3/27/2007                 10/27/2006                8/9/2020
   5677760 1750 Telstar Dr, Colorado Springs, CO 80920               Robbie Bottorff                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        11/9/2006 VA 1-410-729             3/27/2007                  11/9/2006               6/19/2020
   5768911 133 Vera Rd, Lexington, SC 29072                          Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/20/2006 VA 1-407-531             3/27/2007                 10/20/2006              11/21/2020
   6228715 3900 Lakeland Dr, Flowood, MS 39232                       Sara McKercher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/11/2006 VA 1-410-736             3/27/2007                 10/11/2006               6/24/2020
   1184556 1290 W Spring St SE, Smyrna, GA 30080                     Kellie Hunter                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    2023466500        7/28/2005 VA 1-375-663             9/13/2006                  7/28/2005               6/22/2020
   6612537 2415 Old Gettysburg Rd, Camp Hill, PA 17011               Jon Buehler                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/25/2006 VA 1-407-542             3/27/2007                 10/25/2006                8/8/2020
   1475073 1544 Tara Rd, Jonesboro, GA 30238                         Kellie Hunter                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    2023466500        11/3/2005 VA 1-375-663             9/13/2006                  11/3/2005               6/19/2020
                                                                                                                                                                             3201 Cottonfield Dr, Mount Pleasant, SC
   6899975 3701 Church Rd, Mount Laurel, NJ 08054                    Jonas Kleiner                                                                  Ceterus                  29466                                                  8005716119       1/29/2007 VA 1-403-944             3/27/2007                  1/29/2007               6/21/2020
   6920378 13250 W Van Buren St, Goodyear, AZ 85338                  Craig Darragh                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/18/2006 VA 1-410-720             3/27/2007                 12/18/2006               6/27/2020
   4467465 11800-11890 N Lakeridge Pky, Ashland, VA 23005            Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/20/2007 VA 1-405-359             5/11/2007                  2/20/2007               6/21/2020
   4637566 805 Live Oak Dr, Chesapeake, VA 23320                     Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/22/2007 VA 1-405-359             5/11/2007                  3/22/2007                7/9/2020
   4753988 5309 Commonwealth Centre Pky, Midlothian, VA 23112        Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/29/2007 VA 1-405-359             5/11/2007                  3/29/2007               6/23/2020
   4622839 317 14th St, Del Mar, CA 92014                            Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/20/2007 VA 1-405-417             5/11/2007                  3/20/2007               6/20/2020
   4723765 530 Lomas Santa Fe Dr, Solana Beach, CA 92075             Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/23/2007 VA 1-405-417             5/11/2007                  3/23/2007               6/22/2020
   8452655 530 Lomas Santa Fe Dr, Solana Beach, CA 92075             Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/23/2007 VA 1-405-417             5/11/2007                  3/23/2007               6/17/2020
   8452656 530 Lomas Santa Fe Dr, Solana Beach, CA 92075             Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/23/2007 VA 1-405-417             5/11/2007                  3/23/2007               6/18/2020
   4615758 954 W Brevard St, Tallahassee, FL 32304                   David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/19/2007 VA 1-405-400             5/11/2007                  3/19/2007               6/17/2020
   4615759 954 W Brevard St, Tallahassee, FL 32304                   David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/19/2007 VA 1-405-400             5/11/2007                  3/19/2007               6/22/2020
   4583867 501-515 26th Ct, Pompano Beach, FL 33064                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/13/2007 VA 1-405-350             5/11/2007                  3/13/2007               6/24/2020
   4616687 1725 Medical Center Pky, Murfreesboro, TN 37129           Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/12/2007 VA 1-405-376             5/11/2007                  3/12/2007               6/21/2020
   4410056 25 N Lake St, Forest Lake, MN 55025                       Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       2/14/2007 VA 1-405-379             5/11/2007                  2/14/2007               6/18/2020
   4577279 2660 Superior Dr NW, Rochester, MN 55901                  Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       3/12/2007 VA 1-405-379             5/11/2007                  3/12/2007                7/5/2020
   4577280 2660 Superior Dr NW, Rochester, MN 55901                  Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       3/12/2007 VA 1-405-379             5/11/2007                  3/12/2007                7/5/2020
   4569083 2913 N Belt Line Rd, Irving, TX 75062                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404        3/9/2007 VA 1-405-344             5/11/2007                   3/9/2007               6/24/2020
   4728818 220 Hoover Ave, Bloomfield, NJ 07003                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       3/22/2007 VA 1-391-727             5/11/2007                  3/22/2007               8/11/2020
   4799119 17 Sylvan St, Rutherford, NJ 07070                        John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       3/29/2007 VA 1-391-727             5/11/2007                  3/29/2007               6/23/2020
   4531829 1001 SE Monterey Commons Blvd, Stuart, FL 34996           Anna Brady                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500        3/3/2007 VA 1-405-330             5/11/2007                   3/3/2007               1/13/2021
   4932764 3259-3355 SE Federal Hwy, Stuart, FL 34997                Anna Brady                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/16/2007 VA 1-405-330             5/11/2007                  2/16/2007               6/22/2020
   4932766 3259-3355 SE Federal Hwy, Stuart, FL 34997                Anna Brady                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/16/2007 VA 1-405-330             5/11/2007                  2/16/2007               6/20/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   4426003 202 S Burke St, Visalia, CA 93292                         America Rivas                                                                  BHHS California          CA 91730                                               9099803100       2/16/2007 VA 1-405-340             5/11/2007                  2/16/2007               6/24/2020
   4445868 1001 Nut Tree Rd, Vacaville, CA 95687                     Jennifer Freudenberg                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/20/2007 VA 1-391-725             5/11/2007                  2/20/2007               6/19/2020
   4445869 1001 Nut Tree Rd, Vacaville, CA 95687                     Jennifer Freudenberg                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/20/2007 VA 1-391-725             5/11/2007                  2/20/2007               6/20/2020
   4448571 1545 Sumter St, Columbia, SC 29201                        Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/20/2007 VA 1-405-413             5/11/2007                  2/20/2007               9/18/2020
   4465271 1511 Gregg St, Columbia, SC 29201                         Jason Benns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/23/2007 VA 1-405-413             5/11/2007                  2/23/2007               6/20/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   4466688 4600 S K St, Tulare, CA 93274                             America Rivas                                                                  BHHS California          CA 91730                                              9099803100        2/25/2007 VA 1-405-340             5/11/2007                  2/25/2007               6/23/2020
   4469545 7134 Ardmore St, Houston, TX 77054                        Fred Peavy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/25/2007 VA 1-403-889             5/11/2007                  2/25/2007               6/23/2020
   4469549 7134 Ardmore St, Houston, TX 77054                        Fred Peavy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/25/2007 VA 1-403-889             5/11/2007                  2/25/2007               6/19/2020
   4469709 812 Oregon St, El Paso, TX 79901                          Linda Miner                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/25/2007 VA 1-405-374             5/11/2007                  2/25/2007               6/18/2020
   4469872 2735-2767 Office Park Cir, Montgomery, AL 36116           Chris Emerson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/22/2007 VA 1-405-411             5/11/2007                  2/22/2007               6/23/2020
   4486555 1501 E Laurel Ave, Lompoc, CA 93436                       Ernst Mutchnick                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/14/2007 VA 1-391-671             5/11/2007                  2/14/2007               7/20/2020
   4499719 530 N 20th Ave, Hollywood, FL 33020                       Mark White                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/28/2007 VA 1-405-335             5/11/2007                  2/28/2007               6/24/2020
   4501335 3304-3318 Denton Hwy, Haltom City, TX 76117               Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/23/2007 VA 1-391-648             5/11/2007                  2/23/2007               6/23/2020
   4501343 3320-3328 Denton Hwy, Haltom City, TX 76117               Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/23/2007 VA 1-391-648             5/11/2007                  2/23/2007               6/21/2020
   4517729 33333 Dequindre Rd, Troy, MI 48083                        John Ehnis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/2/2007 VA 1-405-383             5/11/2007                   3/2/2007               6/24/2020
   4523954 3704 Hwy 377 S, Fort Worth, TX 76116                      Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/3/2007 VA 1-391-648             5/11/2007                   3/3/2007               10/9/2020
   4528078 220 Newport Center Dr, Newport Beach, CA 92660            Bill Helm                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/6/2007 VA 1-405-407             5/11/2007                   3/6/2007               6/22/2020
   4557947 6901 San Pedro Ave, San Antonio, TX 78216                 Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/8/2007 VA 1-405-372             5/11/2007                   3/8/2007               6/20/2020
   4559551 751 Avignon Dr, Ridgeland, MS 39157                       Sara McKercher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/8/2007 VA 1-405-373             5/11/2007                   3/8/2007               6/23/2020
   4559553 751 Avignon Dr, Ridgeland, MS 39157                       Sara McKercher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300         3/8/2007 VA 1-405-373             5/11/2007                   3/8/2007               6/22/2020
   9019297 1543 E Van Buren St, Phoenix, AZ 85006                    Kevin Kaminski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    2023466500       11/14/2008 VA 1-431-615             6/22/2009                 11/14/2008               6/18/2020




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    4598191 1020-1022 E Chevy Chase Dr, Glendale, CA 91205                Jeff Rogers                                                                       CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       3/2/2007 VA 1-391-726              5/11/2007                   3/2/2007               6/23/2020
    4609573 2120-2122 Market St, San Francisco, CA 94114                  Abigail Klein                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       3/6/2007 VA 1-405-356              5/11/2007                   3/6/2007               6/20/2020
    4634108 2715 Tuller Pky, Dublin, OH 43017                             Aleksandar Bulajic Mose                                                           CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/19/2007 VA 1-405-387              5/11/2007                  3/19/2007               6/21/2020
    4634111 2715 Tuller Pky, Dublin, OH 43017                             Aleksandar Bulajic Mose                                                           CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/19/2007 VA 1-405-387              5/11/2007                  3/19/2007               6/24/2020
    4634582 1800-1820 W Sam Houston Pky N, Houston, TX 77043              Amber Church                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      2/21/2007 VA 1-405-385              5/11/2007                  2/21/2007               6/17/2020
    4634590 1800-1820 W Sam Houston Pky N, Houston, TX 77043              Amber Church                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      2/21/2007 VA 1-405-385              5/11/2007                  2/21/2007               6/19/2020
    4718520 1037 S Combee Rd, Lakeland, FL 33801                          Richard Cordier                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/20/2007 VA 1-405-380              5/11/2007                  3/20/2007               8/11/2020
    4724188 201 Bell Pl, Woodstock, GA 30188                              Kelley Klein                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/23/2007 VA 1-391-647              5/11/2007                  3/23/2007               5/16/2021
    4744497 1405 Palm Ave, Hialeah, FL 33010                              Ygor Vanderbiest                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/27/2007 VA 1-403-879              5/11/2007                  3/27/2007              10/23/2020
    4744498 1405 Palm Ave, Hialeah, FL 33010                              Ygor Vanderbiest                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/27/2007 VA 1-403-879              5/11/2007                  3/27/2007               7/20/2020
    4752902 65 S Progress Dr, Xenia, OH 45385                             Zachary Robb                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/27/2007 VA 1-403-880              5/11/2007                  3/27/2007               6/22/2020
    4820178 1673 Route 9, Clifton Park, NY 12065                          James Cameron                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       3/8/2007 VA 1-405-392              5/11/2007                   3/8/2007               6/18/2020
    4827982 2565 Forest Hill Ave SE, Grand Rapids, MI 49546               Stephen Fields                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/20/2007 VA 1-405-360              5/11/2007                  3/20/2007               6/19/2020
    4949217 102-118 Grand Seasons Dr, Waupaca, WI 54981                   Ryan Stephany                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      3/20/2007 VA 1-405-381              5/11/2007                  3/20/2007               6/16/2020
    4908711 2558 Pearl Buck Rd, Bristol, PA 19007                         Mitchell Birnbaum                                                                 CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500      4/23/2007 VA 1-421-717               7/2/2007                  4/23/2007               6/17/2020
     723214 15800-15816 Jefferson Davis Hwy, Colonial Heights, VA 23834   Randy Rose                                                                        CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      4/21/2007 VA 1-421-682               7/2/2007                  4/21/2007               8/11/2020
    5015783 1257 Sycamore Sq, Midlothian, VA 23113                        Randy Rose                                                                        CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       5/8/2007 VA 1-421-682               7/2/2007                   5/8/2007                8/9/2020
    5006804 6820 Shingle Creek Pky, Brooklyn Center, MN 55430             David Alexander                                                                   CoStar Group               1225 17th St, Denver, CO 80202                             3018921977       5/7/2007 VA 1-421-711               7/2/2007                   5/7/2007              10/22/2020
    5006878 366 Chicopee St, Chicopee, MA 01013                           Jonathan Coon                                                                     CoStar Group               1331 L St NW, Washington, DC 20005                         2023466500       5/7/2007 VA 1-421-700               7/2/2007                   5/7/2007              10/30/2020
    4909596 12675 Danielson Ct, Poway, CA 92064                           Joerg Boetel                                                                      CoStar Group               750 N Saint Paul St, Dallas, TX 75201                      8882267404      4/23/2007 VA 1-421-694               7/2/2007                  4/23/2007               6/17/2020
    5641515 1709 W Tharpe St, Tallahassee, FL 32303                       David McCord                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       4/6/2007 VA 1-421-710               7/2/2007                   4/6/2007               8/11/2020
    4796705 1409 E Atlantic Blvd, Pompano Beach, FL 33060                 Carolyn Crisp                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300       4/5/2007 VA 1-421-777               7/2/2007                   4/5/2007               6/24/2020
    4853054 41-51 N Federal Hwy, Pompano Beach, FL 33062                  Carolyn Crisp                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                         3012158300      4/13/2007 VA 1-421-777               7/2/2007                  4/13/2007               4/10/2021

   4982267 8310 Allison Pointe Blvd, Indianapolis, IN 46250               Jason Koenig                                                                      CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404        5/1/2007 VA 1-421-757              7/2/2007                   5/1/2007               6/20/2020
   4885054 8900 Mathis Ave, Manassas, VA 20110                            Pia Miai                                                                          CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       4/18/2007 VA 1-421-789              7/2/2007                  4/18/2007               8/11/2020
   4923224 8397 Euclid Ave, Manassas Park, VA 20111                       Pia Miai                                                                          CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       4/24/2007 VA 1-421-789              7/2/2007                  4/24/2007               6/24/2020
   5017545 8629 Sudley Rd, Manassas, VA 20110                             Pia Miai                                                                          CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500        5/8/2007 VA 1-421-789              7/2/2007                   5/8/2007               6/21/2020
   5017548 8629 Sudley Rd, Manassas, VA 20110                             Pia Miai                                                                          CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500        5/8/2007 VA 1-421-789              7/2/2007                   5/8/2007               6/23/2020
   5017550 8629 Sudley Rd, Manassas, VA 20110                             Pia Miai                                                                          CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500        5/8/2007 VA 1-421-789              7/2/2007                   5/8/2007               6/19/2020

   4940298 320 SW 6th Ave, Portland, OR 97204                             Ryan Gwilliam                                                                     CoStar Group               3438 Peachtree Rd NE, Atlanta, GA 30326                   8886587368       4/26/2007 VA 1-421-766              7/2/2007                  4/26/2007               11/7/2020

   5040085 920 Columbia Ave, Akron, OH 44310                              Pamela Lawrentz                                                                   CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404       5/11/2007 VA 1-421-737              7/2/2007                  5/11/2007               6/23/2020

   5040087 920 Columbia Ave, Akron, OH 44310                              Pamela Lawrentz                                                                   CoStar Group               600 Superior Ave E, Cleveland, OH 44114                   8882267404       5/11/2007 VA 1-421-737              7/2/2007                  5/11/2007               6/20/2020
   4956127 1681 N Central Expy, McKinney, TX 75070                        Darrell Shultz                                                                    CoStar Group               750 N Saint Paul St, Dallas, TX 75201                     8882267404       4/27/2007 VA 1-421-726              7/2/2007                  4/27/2007               6/23/2020
   4925038 1135 Broad St, Clifton, NJ 07013                               John Georgiadis                                                                   CoStar Group               181 Bay St, Toronto, ON M5J 2                             4169457500       4/24/2007 VA 1-421-703              7/2/2007                  4/24/2007               6/23/2020
   4942285 157-159 Main St, Hackensack, NJ 07601                          John Georgiadis                                                                   CoStar Group               181 Bay St, Toronto, ON M5J 2                             4169457500       4/26/2007 VA 1-421-703              7/2/2007                  4/26/2007               6/23/2020
   5019452 15 Warren St, Hackensack, NJ 07601                             John Georgiadis                                                                   CoStar Group               181 Bay St, Toronto, ON M5J 2                             4169457500        5/4/2007 VA 1-421-703              7/2/2007                   5/4/2007               6/21/2020
   5086830 3060 W Sand Lake Rd, Orlando, FL 32819                         Robert Dallas                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        5/9/2007 VA 1-421-794              7/2/2007                   5/9/2007               6/21/2020
   4857212 2140 S Main St, Santa Ana, CA 92707                            Jose Luis Tamayo                                                                  CoStar Group               1331 L St NW, Washington, DC 20005                        2023466500       4/16/2007 VA 1-421-693              7/2/2007                  4/16/2007               12/1/2020
   2213797 5501 Kavanaugh Blvd, Little Rock, AR 72207                     Paul Heer                                                                         CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        4/5/2007 VA 1-421-739              7/2/2007                   4/5/2007               6/23/2020
   4794203 6000-6124 Wilmington Pike, Dayton, OH 45459                    Zachary Robb                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        4/5/2007 VA 1-421-746              7/2/2007                   4/5/2007               7/13/2020
   4794204 6000-6124 Wilmington Pike, Dayton, OH 45459                    Zachary Robb                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        4/5/2007 VA 1-421-746              7/2/2007                   4/5/2007               7/13/2020
   4794207 6000-6124 Wilmington Pike, Dayton, OH 45459                    Zachary Robb                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300        4/5/2007 VA 1-421-746              7/2/2007                   4/5/2007               7/13/2020
   4834103 3818 Wilcrest, Houston, TX 77042                               Amber Church                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/11/2007 VA 1-421-713              7/2/2007                  4/11/2007               6/23/2020
   4842024 3900 MacCorkle Ave SE, Charleston, WV 25304                    Mark Jarrett                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/12/2007 VA 1-421-691              7/2/2007                  4/12/2007               6/17/2020
   4842025 3900 MacCorkle Ave SE, Charleston, WV 25304                    Mark Jarrett                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/12/2007 VA 1-421-691              7/2/2007                  4/12/2007               6/19/2020
   4842042 3800 MacCorkle Ave SE, Charleston, WV 25304                    Mark Jarrett                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/12/2007 VA 1-421-691              7/2/2007                  4/12/2007               8/12/2020
   4848863 2433 W Desert Cove Ave, Phoenix, AZ 85029                      Craig Darragh                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/13/2007 VA 1-421-797              7/2/2007                  4/13/2007               8/11/2020
   4852448 5631 MacCorkle Ave SE, Charleston, WV 25304                    Mark Jarrett                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/14/2007 VA 1-421-691              7/2/2007                  4/14/2007              11/18/2020
   4856502 1261-1291 N Fairfield Rd, Beavercreek, OH 45432                Zachary Robb                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/13/2007 VA 1-421-746              7/2/2007                  4/13/2007               7/13/2020
   4869044 12241 Industriplex Blvd, Baton Rouge, LA 70809                 Roger McKissack                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-769              7/2/2007                  4/16/2007               6/20/2020
   4878844 4255 S Valley View Blvd, Las Vegas, NV 89103                   Teryl Stickney                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/13/2007 VA 1-421-733              7/2/2007                  4/13/2007               6/24/2020
   4878910 4050 W Harmon Ave, Las Vegas, NV 89103                         Teryl Stickney                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-733              7/2/2007                  4/16/2007               6/22/2020
   4880466 118-130 E 51 St, Chicago, IL 60615                             Sonya Williams                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-764              7/2/2007                  4/16/2007               6/23/2020
   4880467 118-130 E 51 St, Chicago, IL 60615                             Sonya Williams                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-764              7/2/2007                  4/16/2007               6/20/2020
   4880469 118-130 E 51 St, Chicago, IL 60615                             Sonya Williams                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-764              7/2/2007                  4/16/2007               6/25/2020
   4880471 118-130 E 51 St, Chicago, IL 60615                             Sonya Williams                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-764              7/2/2007                  4/16/2007               6/21/2020
   4880474 118-130 E 51 St, Chicago, IL 60615                             Sonya Williams                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/16/2007 VA 1-421-764              7/2/2007                  4/16/2007               6/22/2020
   4884310 6601 NW 37th Ave, Miami, FL 33147                              Ygor Vanderbiest                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/18/2007 VA 1-421-755              7/2/2007                  4/18/2007               6/22/2020
   4893004 1960 S Walker Ave, Monrovia, CA 91016                          Rudyard Clark                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/19/2007 VA 1-421-793              7/2/2007                  4/19/2007                8/9/2020
                                                                                                                                                            McCann Appraisal Service
   4899271 450 Congress Pky, Crystal Lake, IL 60014                       Brian McCann                                                                      LLC                        13 Woodland Rd, Lake In The Hills, IL 60156               8476509934       4/20/2007 VA 1-421-763              7/2/2007                  4/20/2007               6/23/2020
   4912572 2111 Hudson Ave, Rochester, NY 14617                           John Schlia                                                                       CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/20/2007 VA 1-421-701              7/2/2007                  4/20/2007               6/18/2020
   4923371 7962-7982 W Fairview Ave, Boise, ID 83704                      Jonathan Scobby                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/24/2007 VA 1-421-698              7/2/2007                  4/24/2007               6/24/2020
   4923373 7962-7982 W Fairview Ave, Boise, ID 83704                      Jonathan Scobby                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/25/2007 VA 1-421-698              7/2/2007                  4/25/2007               6/24/2020
   4934349 2375 Cabot Dr, Lisle, IL 60532                                 Laura Curtis                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/25/2007 VA 1-421-725              7/2/2007                  4/25/2007               6/21/2020
   4934351 2375 Cabot Dr, Lisle, IL 60532                                 Laura Curtis                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/25/2007 VA 1-421-725              7/2/2007                  4/25/2007               6/19/2020
   4939118 110-154 E Huntington Dr, Monrovia, CA 91016                    Rudyard Clark                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/27/2007 VA 1-421-793              7/2/2007                  4/27/2007               6/19/2020
   4939121 110-154 E Huntington Dr, Monrovia, CA 91016                    Rudyard Clark                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/27/2007 VA 1-421-793              7/2/2007                  4/27/2007               6/20/2020
   4939122 110-154 E Huntington Dr, Monrovia, CA 91016                    Rudyard Clark                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/27/2007 VA 1-421-793              7/2/2007                  4/27/2007               6/19/2020
   4939125 110-154 E Huntington Dr, Monrovia, CA 91016                    Rudyard Clark                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/27/2007 VA 1-421-793              7/2/2007                  4/27/2007               6/20/2020
   4953251 10929 S Prairie Ave, Inglewood, CA 90303                       Richard Redlich                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/19/2007 VA 1-421-676              7/2/2007                  4/19/2007               6/30/2020
   4960761 930 Albany Shaker Rd, Latham, NY 12110                         James Cameron                                                                     CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/28/2007 VA 1-421-795              7/2/2007                  4/28/2007               6/19/2020
   4964414 3827 Jimmy Lee Smith Pky, Hiram, GA 30141                      Kelley Klein                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/30/2007 VA 1-421-688              7/2/2007                  4/30/2007               6/24/2020
   4965150 390 Commerce Park Dr, Jackson, MS 39213                        Sara McKercher                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/30/2007 VA 1-421-735              7/2/2007                  4/30/2007               6/19/2020
   4965151 390 Commerce Park Dr, Jackson, MS 39213                        Sara McKercher                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/30/2007 VA 1-421-735              7/2/2007                  4/30/2007               6/23/2020
   4965152 390 Commerce Park Dr, Jackson, MS 39213                        Sara McKercher                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                        3012158300       4/30/2007 VA 1-421-735              7/2/2007                  4/30/2007               6/22/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                             7
                                                               Case 2:20-cv-08819-CBM-AS                                       Document 950-1 Filed 10/25/24                                                                       Page 35 of 202 Page
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    4965153 390 Commerce Park Dr, Jackson, MS 39213                 Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2007 VA 1-421-735               7/2/2007                  4/30/2007              6/18/2020
    4965652 3510 Playbird Rd, Sheboygan, WI 53083                   Ryan Stephany                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2007 VA 1-421-761               7/2/2007                  4/30/2007              6/24/2020
    4966165 330 Social St, Woonsocket, RI 02895                     Matthew Reilly                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2007 VA 1-421-683               7/2/2007                  4/30/2007              6/24/2020
    4973368 6431-6493 W Fairview Ave, Boise, ID 83704               Jonathan Scobby                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/1/2007 VA 1-421-698               7/2/2007                   5/1/2007              6/20/2020
    4974565 9201 Empire Dr, El Paso, TX 79925                       Linda Miner                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/1/2007 VA 1-421-666               7/2/2007                   5/1/2007              6/26/2020
    4974566 9201 Empire Dr, El Paso, TX 79925                       Linda Miner                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/1/2007 VA 1-421-666               7/2/2007                   5/1/2007              6/26/2020
    4983317 45 S Park Blvd, Glen Ellyn, IL 60137                    Laura Curtis                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/2/2007 VA 1-421-725               7/2/2007                   5/2/2007              6/19/2020
    4992513 100 Bickford St, Rochester, NY 14606                    John Schlia                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/3/2007 VA 1-421-701               7/2/2007                   5/3/2007              6/22/2020
    4996793 613 W Roosevelt Blvd, Monroe, NC 28110                  Ray Dodds                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/2/2007 VA 1-421-718               7/2/2007                   5/2/2007              7/15/2020
    5010476 1630 W Pulaski Hwy, Elkton, MD 21921                    Michael Whitten                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/5/2007 VA 1-421-673               7/2/2007                   5/5/2007              6/20/2020
    5011053 1337 Reynolds St, Augusta, GA 30901                     Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/7/2007 VA 1-421-772               7/2/2007                   5/7/2007              6/24/2020
    5011054 1337 Reynolds St, Augusta, GA 30901                     Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/7/2007 VA 1-421-772               7/2/2007                   5/7/2007              6/19/2020
    5028067 550 Highland St, Frederick, MD 21701                    Michael Whitten                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/8/2007 VA 1-421-673               7/2/2007                   5/8/2007              6/21/2020

                                                                                                                                                      Pratt & Miller Engineering
   5041009 12816-12832 E Nine Mile Rd, Warren, MI 48089             Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       5/11/2007 VA 1-421-668              7/2/2007                  5/11/2007               6/17/2020
   5471451 261 N Mcdowell Blvd, Petaluma, CA 94954                  Chris Thompson                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2007 VA 1-421-741              7/2/2007                  4/16/2007               6/25/2020
   5475495 18361 Beach Blvd, Huntington Beach, CA 92648             Geoffrey Rubino                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2007 VA 1-421-776              7/2/2007                   5/1/2007               8/10/2020
   5556034 3549 Grapevine Mills Pky S, Grapevine, TX 76051          Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2007 VA 1-421-687              7/2/2007                   5/1/2007               6/19/2020
   5734321 406 Briarwood Dr, Jackson, MS 39206                      Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/10/2007 VA 1-421-735              7/2/2007                  5/10/2007               6/11/2021
   6106670 10116 36th Ave SW, Lakewood, WA 98499                    Alex Mock                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2007 VA 1-421-730              7/2/2007                   5/1/2007               6/21/2020
   5051320 231-247 Wylderose Ct, Midlothian, VA 23113               Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/14/2007 VA 1-640-428             8/17/2007                  5/14/2007               5/29/2021
   5105636 5631-5641 Corrugated Rd, Richmond, VA 23231              Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/22/2007 VA 1-640-428             8/17/2007                  5/22/2007               6/22/2020
   5149834 11839-11843 Canon Blvd, Newport News, VA 23606           Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/23/2007 VA 1-640-428             8/17/2007                  5/23/2007              12/20/2020
   5171886 980 J Clyde Morris Blvd, Newport News, VA 23601          Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/4/2007 VA 1-640-428             8/17/2007                   6/4/2007               6/18/2020
   5180433 750 Mcguire Pl, Newport News, VA 23601                   Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/5/2007 VA 1-640-428             8/17/2007                   6/5/2007               8/11/2020
   5248081 200-400 Commerce Cir, Yorktown, VA 23693                 Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/5/2007 VA 1-640-428             8/17/2007                   6/5/2007               6/20/2020
   5068320 2540-2546 E Colorado Blvd, Pasadena, CA 91107            John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/16/2007 VA 1-637-351             8/17/2007                  5/16/2007               6/19/2020
   5098446 3161 E Foothill Blvd, Pasadena, CA 91107                 John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/21/2007 VA 1-637-351             8/17/2007                  5/21/2007               6/24/2020
   5105980 395 N Rosemead Blvd, Pasadena, CA 91107                  John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/22/2007 VA 1-637-351             8/17/2007                  5/22/2007               6/23/2020
   5105983 395 N Rosemead Blvd, Pasadena, CA 91107                  John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/22/2007 VA 1-637-351             8/17/2007                  5/22/2007               6/19/2020
   5105986 395 N Rosemead Blvd, Pasadena, CA 91107                  John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/22/2007 VA 1-637-351             8/17/2007                  5/22/2007               6/20/2020
   5105990 395 N Rosemead Blvd, Pasadena, CA 91107                  John Ehart                                                                        CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/22/2007 VA 1-637-351             8/17/2007                  5/22/2007               6/20/2020
   5155007 6155 Cornerstone Ct E, San Diego, CA 92121               Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/31/2007 VA 1-635-995             8/17/2007                  5/31/2007               6/21/2020
   5190669 6650 Flanders Dr, San Diego, CA 92121                    Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/6/2007 VA 1-635-995             8/17/2007                   6/6/2007               1/13/2021
   5241755 9909 Hibert St, San Diego, CA 92131                      Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/14/2007 VA 1-635-995             8/17/2007                  6/14/2007                3/4/2021
   5241804 9939 Hibert St, San Diego, CA 92131                      Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/14/2007 VA 1-635-995             8/17/2007                  6/14/2007               6/20/2021
   5106815 115 NW 43rd Ct, Oakland Park, FL 33309                   Carolyn Crisp                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/22/2007 VA 1-700-359             8/17/2007                  5/22/2007               6/21/2020
   5061425 9028 Prince William St, Manassas, VA 20110               Pia Miai                                                                          CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       5/15/2007 VA 1-636-028             8/17/2007                  5/15/2007                5/7/2021
   5151443 9260-9266 Corporate Cir, Manassas, VA 20110              Pia Miai                                                                          CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       5/30/2007 VA 1-636-028             8/17/2007                  5/30/2007               6/19/2020
   5156382 45305 Catalina Ct, Sterling, VA 20166                    Pia Miai                                                                          CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       5/31/2007 VA 1-636-028             8/17/2007                  5/31/2007               6/23/2020
   5156412 45300 Catalina Ct, Sterling, VA 20166                    Pia Miai                                                                          CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       5/31/2007 VA 1-636-028             8/17/2007                  5/31/2007               6/24/2020
   5218910 1865 Air Lane Dr, Nashville, TN 37210                    Mark McNamara                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/11/2007 VA 1-635-996             8/17/2007                  6/11/2007               6/23/2020
   5141757 15129 Foliage Ave, Apple Valley, MN 55124                Jeff Karels                                                                       CoStar Group                 1225 17th St, Denver, CO 80202                        3018921977       5/29/2007 VA 1-636-008             8/17/2007                  5/29/2007               7/24/2020
   5141761 15129 Foliage Ave, Apple Valley, MN 55124                Jeff Karels                                                                       CoStar Group                 1225 17th St, Denver, CO 80202                        3018921977       5/29/2007 VA 1-636-008             8/17/2007                  5/29/2007               7/24/2020
   4478431 3020 Sargent Rd, Dallas, TX 75203                        Darrell Shultz                                                                    CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/26/2007 VA 1-635-653             8/17/2007                  2/26/2007               6/17/2020
   5054816 1322 Record Crossing Rd, Dallas, TX 75235                Darrell Shultz                                                                    CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/14/2007 VA 1-643-772             8/17/2007                  5/14/2007               6/24/2020
   5183889 96 E Blackwell St, Dover, NJ 07801                       John Georgiadis                                                                   CoStar Group                 181 Bay St, Toronto, ON M5J 2                         4169457500        6/5/2007 VA 1-635-662             8/17/2007                   6/5/2007                7/4/2020
   5183892 96 E Blackwell St, Dover, NJ 07801                       John Georgiadis                                                                   CoStar Group                 181 Bay St, Toronto, ON M5J 2                         4169457500        6/5/2007 VA 1-635-662             8/17/2007                   6/5/2007                7/4/2020
   7846249 10840 76th Ct, Seminole, FL 33777                        James Petrylka                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/19/2007 VA 1-637-349             8/17/2007                  5/19/2007               6/18/2020
   5085520 7485 Sandlake Commons Blvd, Orlando, FL 32819            Robert Dallas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2007 VA 1-636-022             8/17/2007                  5/18/2007               6/18/2020
   5142895 7552-7851 Golf Channel Dr, Orlando, FL 32819             Robert Dallas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/29/2007 VA 1-636-022             8/17/2007                  5/29/2007               6/29/2020
   5236757 2560-2582 S Atlantic Ave, Daytona Beach, FL 32118        Robert Dallas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/13/2007 VA 1-636-022             8/17/2007                  6/13/2007               6/17/2020
   5236758 2560-2582 S Atlantic Ave, Daytona Beach, FL 32118        Robert Dallas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/13/2007 VA 1-636-022             8/17/2007                  6/13/2007               6/19/2020
   5051598 2201 South St, Racine, WI 53404                          Chad Hug                                                                          CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/14/2007 VA 1-635-744             8/17/2007                  5/14/2007               8/10/2020
   5062199 10842-10854 John Galt Blvd, Omaha, NE 68137              Eric Bernstein                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2007 VA 1-636-763             8/17/2007                  5/15/2007               6/17/2020
   5062203 10842-10854 John Galt Blvd, Omaha, NE 68137              Eric Bernstein                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2007 VA 1-636-763             8/17/2007                  5/15/2007               6/23/2020
   5081340 823 Broad St, Augusta, GA 30901                          Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/17/2007 VA 1-635-741             8/17/2007                  5/17/2007               10/3/2020
   5084029 5020 N High St, Columbus, OH 43214                       Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2007 VA 1-700-373             8/17/2007                  5/18/2007               6/22/2020
   5084836 620 W MacPhail Rd, Bel Air, MD 21014                     Michael Whitten                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/17/2007 VA 1-635-991             8/17/2007                  5/17/2007               6/22/2020
   5086456 5925 Patton St, Corpus Christi, TX 78414                 Deborah Montgomery                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/17/2007 VA 1-643-772             8/17/2007                  5/17/2007               7/27/2020
   5093170 4630 16th St E, Fife, WA 98424                           Alex Mock                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/17/2007 VA 1-636-761             8/17/2007                  5/17/2007               1/18/2021
   5101696 933 Broad St, Augusta, GA 30901                          Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/17/2007 VA 1-635-741             8/17/2007                  5/17/2007               6/18/2020
   5130160 620 E Thompson Blvd, Ventura, CA 93001                   Ernst Mutchnick                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/4/2007 VA 1-700-349             8/17/2007                   5/4/2007               2/12/2021
   5132093 175 Metro Center Blvd, Warwick, RI 02886                 Matthew Reilly                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/22/2007 VA 1-635-911             8/17/2007                  5/22/2007               6/18/2020
   5135626 6923 Old Canton Rd, Ridgeland, MS 39157                  Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/25/2007 VA 1-700-352             8/17/2007                  5/25/2007               6/12/2021
   5137052 740 10th St, Imperial Beach, CA 91932                    Chris Fennessey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/26/2007 VA 1-635-649             8/17/2007                  5/26/2007               6/20/2020
   5142931 8496-8504 Seneca Tpke, New Hartford, NY 13413            Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/29/2007 VA 1-635-912             8/17/2007                  5/29/2007               6/18/2020
   5152605 80-86 Cypress St, Warwick, RI 02888                      Matthew Reilly                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/30/2007 VA 1-635-911             8/17/2007                  5/30/2007               6/19/2020
   5153377 7905 Browning Rd, Pennsauken, NJ 08109                   Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/30/2007 VA 1-635-657             8/17/2007                  5/30/2007               7/13/2020
   5156853 7111 E 21st St, Wichita, KS 67206                        Lawrence Ediger                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/25/2007 VA 1-700-364             8/17/2007                  5/25/2007               6/21/2020
   5166946 3601 Chicago Rd, Steger, IL 60475                        Catherine Ciosek                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2007 VA 1-636-756             8/17/2007                   6/1/2007               6/23/2020
   5166949 3601 Chicago Rd, Steger, IL 60475                        Catherine Ciosek                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2007 VA 1-636-756             8/17/2007                   6/1/2007               6/20/2020
   5167693 4610 Commercial Dr, New Hartford, NY 13413               Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2007 VA 1-635-912             8/17/2007                   6/1/2007               6/20/2020
   5167697 4610 Commercial Dr, New Hartford, NY 13413               Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2007 VA 1-635-912             8/17/2007                   6/1/2007               6/24/2020

                                                                                                                                                      Pratt & Miller Engineering
   5194079 51513-51523 Van Dyke Ave, Shelby Township, MI 48316      Lisa Borkus                                                                       & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        6/6/2007 VA 1-635-998             8/17/2007                   6/6/2007               6/21/2020
   5198790 300 Lafayette St, New Orleans, LA 70130                  Roger McKissack                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        6/7/2007 VA 1-636-750             8/17/2007                   6/7/2007               6/21/2020
   5215371 595 Northpark Dr, Ridgeland, MS 39157                    Sara McKercher                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        6/9/2007 VA 1-700-352             8/17/2007                   6/9/2007               6/22/2020




                           OUTSIDE COUNSEL ONLY                                                                                                                     8
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                      Photographer            Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    5215374 595 Northpark Dr, Ridgeland, MS 39157                   Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/9/2007 VA 1-700-352              8/17/2007                   6/9/2007               6/19/2020
    5218741 3657-3669 W Wright St, Boise, ID 83705                  Jonathan Scobby                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/11/2007 VA 1-635-805              8/17/2007                  6/11/2007               6/22/2020
    5224619 1837 S Mesa Dr, Mesa, AZ 85210                          Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/8/2007 VA 1-637-348              8/17/2007                   6/8/2007               6/20/2020
    5235780 4228 W 1730 S, Salt Lake City, UT 84104                 Richard Schmid                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/13/2007 VA 1-635-749              8/17/2007                  6/13/2007               6/23/2020
    5242227 13030 Raymer St, North Hollywood, CA 91605              Pitchapuk Jirawongsapan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/15/2007 VA 1-636-025              8/17/2007                  6/15/2007               8/10/2020
    5251791 65-67 Biltmore Ave, Asheville, NC 28801                 Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/14/2007 VA 1-636-741              8/17/2007                  6/14/2007               8/12/2020
    5293627 10 Woodcross Dr, Columbia, SC 29212                     Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/11/2007 VA 1-636-764              8/17/2007                  6/11/2007               6/19/2020
    5371106 701 NW Federal Hwy, Stuart, FL 34994                    Arne Nielsen                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/13/2007 VA 1-635-813              8/17/2007                  6/13/2007               6/23/2020
    5633699 311 Alexander St, Rochester, NY 14604                   John Schlia                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      5/18/2007 VA 1-636-000              8/17/2007                  5/18/2007                8/2/2020
    6595462 6411 20th St E, Fife, WA 98424                          Alex Mock                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/5/2007 VA 1-636-761              8/17/2007                   6/5/2007                8/8/2020
    5560690 10639 Professional Circle Dr, Reno, NV 89521            Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/1/2007 VA 1-636-037            10/12/2007                    8/1/2007              10/12/2020
    1331799 203 Broadway St S, Frederick, MD 21701                  Gene Inserto                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/31/2007 VA 1-636-605            10/12/2007                   7/31/2007               6/24/2020
    5438661 10769 Woodside Ave, Santee, CA 92071                    Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/17/2007 VA 1-636-044            10/12/2007                   7/17/2007               6/17/2020
    5565342 2111-2125 SW 60th St, Hialeah, FL 33016                 Ygor Vanderbiest                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/4/2007 VA 1-635-868            10/12/2007                    8/4/2007               7/13/2020
    5350504 34-36 Progress St, Edison, NJ 08820                     Michael Johnson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       7/2/2007 VA 1-636-726            10/12/2007                    7/2/2007               8/12/2020

   5584610 1025 Goodwin Dr, Lexington, KY 40505                     Bob Benkert                                                                       CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        8/7/2007 VA 1-636-508            10/12/2007                   8/7/2007               7/24/2020

   5584611 1025 Goodwin Dr, Lexington, KY 40505                     Bob Benkert                                                                       CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        8/7/2007 VA 1-636-508            10/12/2007                   8/7/2007               7/24/2020
   5561302 533 S Carldon St, Allentown, PA 18103                    Mitchell Birnbaum                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500        8/3/2007 VA 1-659-241            10/12/2007                   8/3/2007               6/24/2020
   5287854 1220 Fleetway Dr, Chesapeake, VA 23323                   Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/20/2007 VA 1-636-512            10/12/2007                  6/20/2007               6/19/2020
   5386422 1764 Granby St NE, Roanoke, VA 24012                     Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        7/9/2007 VA 1-636-512            10/12/2007                   7/9/2007               6/24/2020
   5429959 1344 Taylor Farm Rd, Virginia Beach, VA 23453            Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2007 VA 1-636-512            10/12/2007                  7/16/2007               6/20/2020
   5652246 1302-1338 Plantation Rd NE, Roanoke, VA 24012            Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/30/2007 VA 1-636-512            10/12/2007                  7/30/2007               6/20/2020
   5789902 12638 Jefferson Ave, Newport News, VA 23602              Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/22/2007 VA 1-636-512            10/12/2007                  6/22/2007               6/23/2020
   5800405 2740 Sonic Dr, Virginia Beach, VA 23453                  Randy Rose                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/17/2007 VA 1-636-512            10/12/2007                  7/17/2007               6/24/2020
   7380287 11330-11334 86th Ave N, Maple Grove, MN 55369            David Alexander                                                                   CoStar Group                 1225 17th St, Denver, CO 80202                        3018921977        7/9/2007 VA 1-636-719            10/12/2007                   7/9/2007               6/22/2020
   5489082 1000 Medical Dr, Killeen, TX 76543                       Michael Marx                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/24/2007 VA 1-636-606            10/12/2007                  7/24/2007               7/11/2020
   5324521 91 Taylor St, Springfield, MA 01103                      Jonathan Coon                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       6/27/2007 VA 1-636-702            10/12/2007                  6/27/2007               6/20/2020
   5403050 275 Chestnut St, Springfield, MA 01104                   Jonathan Coon                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       7/11/2007 VA 1-636-702            10/12/2007                  7/11/2007               6/24/2020
   5403052 275 Chestnut St, Springfield, MA 01104                   Jonathan Coon                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       7/11/2007 VA 1-636-702            10/12/2007                  7/11/2007               6/18/2020
   5403053 275 Chestnut St, Springfield, MA 01104                   Jonathan Coon                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       7/11/2007 VA 1-636-702            10/12/2007                  7/11/2007               6/19/2020
   8947820 1695-1699 Main St, Springfield, MA 01103                 Jonathan Coon                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       6/29/2007 VA 1-636-702            10/12/2007                  6/29/2007                7/4/2020

   5805718 4809 Industrial Rd, Fort Wayne, IN 46825                 Dwayne Walker                                                                     CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404       8/17/2007 VA 1-636-616            10/12/2007                  8/17/2007               8/10/2020
   5134705 9940 Barnes Canyon Rd, San Diego, CA 92121               Joerg Boetel                                                                      CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/25/2007 VA 1-636-044            10/12/2007                  5/25/2007               8/11/2020

   5640884 9000 Wessex Pl, Louisville, KY 40222                     Dale Rushing                                                                      CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404       8/14/2007 VA 1-636-040            10/12/2007                  8/14/2007               6/28/2020
   5607570 4444 Scotts Valley Dr, Scotts Valley, CA 95066           Christopher Lau                                                                   CoStar Group                 1301 2nd Ave, Seattle, WA 98101                       8443050836       8/11/2007 VA 1-635-850            10/12/2007                  8/11/2007               6/24/2020
   5620954 906-908 King St, Alexandria, VA 22314                    Pia Miai                                                                          CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       8/12/2007 VA 1-636-697            10/12/2007                  8/12/2007               2/16/2021
   5294249 101 Lowe Ave, Huntsville, AL 35801                       Mark McNamara                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/20/2007 VA 1-636-712            10/12/2007                  6/20/2007              10/17/2020
   5643527 700 Airport Rd, Huntsville, AL 35802                     Mark McNamara                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/14/2007 VA 1-636-712            10/12/2007                  8/14/2007               6/22/2020
   5643530 700 Airport Rd, Huntsville, AL 35802                     Mark McNamara                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/14/2007 VA 1-636-712            10/12/2007                  8/14/2007               6/28/2020
   5643552 115 Queensbury Dr, Huntsville, AL 35802                  Mark McNamara                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/14/2007 VA 1-636-712            10/12/2007                  8/14/2007               6/24/2020
   5348422 1146 Stuyvesant Ave, Irvington, NJ 07111                 John Georgiadis                                                                   CoStar Group                 181 Bay St, Toronto, ON M5J 2                         4169457500       6/28/2007 VA 1-636-045            10/12/2007                  6/28/2007               6/22/2020
   5285211 400 Foxcroft Ave, Martinsburg, WV 25401                  Gene Inserto                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2007 VA 1-636-605            10/12/2007                  6/26/2007               7/15/2020
   5563996 1 E Water St, Smithsburg, MD 21783                       Gene Inserto                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2007 VA 1-636-605            10/12/2007                   8/4/2007               6/28/2020
   5615375 14115 Seneca Rd, Germantown, MD 20874                    Gene Inserto                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/10/2007 VA 1-636-605            10/12/2007                  8/10/2007               7/20/2020
   5666579 704 Chestnut St, Charleston, WV 25309                    Charlotte Alvey                                                                   CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500       8/16/2007 VA 1-636-718            10/12/2007                  8/16/2007               7/15/2020
   5666580 704 Chestnut St, Charleston, WV 25309                    Charlotte Alvey                                                                   CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500       8/16/2007 VA 1-636-718            10/12/2007                  8/16/2007               7/15/2020
   4137262 456 Lpga Blvd, Daytona Beach, FL 32117                   Dan Burfield                                                                      CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500        1/3/2007 VA 1-636-705            10/12/2007                   1/3/2007               6/17/2020
    353173 14240 Palmetto Frontage Rd, Miami Lakes, FL 33016        Ygor Vanderbiest                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/30/2007 VA 1-635-868            10/12/2007                  7/30/2007               6/19/2020
   4727533 2530 Whitehall Park Dr, Charlotte, NC 28273              Ray Dodds                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/9/2007 VA 1-720-114            10/12/2007                   8/9/2007               6/19/2020
   5280544 4020 Englewood Ave, Lubbock, TX 79407                    Julie Cate                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/18/2007 VA 1-636-704            10/12/2007                  6/18/2007               6/24/2020
   5281921 1435 Greene St, Augusta, GA 30901                        Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/18/2007 VA 1-636-614            10/12/2007                  6/18/2007               6/18/2020
   5281926 1435 Greene St, Augusta, GA 30901                        Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/18/2007 VA 1-636-614            10/12/2007                  6/18/2007               6/17/2020
   5298031 1313 15th St, Miami Beach, FL 33139                      Jose Rosales                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/21/2007 VA 1-636-721            10/12/2007                  6/21/2007               7/24/2020
   5298032 1313 15th St, Miami Beach, FL 33139                      Jose Rosales                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/21/2007 VA 1-636-721            10/12/2007                  6/21/2007               7/24/2020
   5300422 617 Chapel Ave, Cherry Hill, NJ 08034                    Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/21/2007 VA 1-635-858            10/12/2007                  6/21/2007               5/16/2020
   5305637 3001 Chapel Ave W, Cherry Hill, NJ 08002                 Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/23/2007 VA 1-635-858            10/12/2007                  6/23/2007               5/16/2020
   5306382 1306 Elmore St, Columbia, SC 29203                       Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/22/2007 VA 1-636-615            10/12/2007                  6/22/2007               6/19/2020
   5306833 6199 Sunrise Mall Rd, Citrus Heights, CA 95610           Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/22/2007 VA 1-636-732            10/12/2007                  6/22/2007               6/19/2020
   5306835 6199 Sunrise Mall Rd, Citrus Heights, CA 95610           Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/22/2007 VA 1-636-732            10/12/2007                  6/22/2007               6/19/2020
   5307204 801 E Manchester Blvd, Inglewood, CA 90301               Richard Redlich                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/25/2007 VA 1-636-708            10/12/2007                  6/25/2007               6/20/2020
   5308636 14940 Hilton Dr, Fontana, CA 92336                       Tandi Churchill                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/25/2007 VA 1-636-709            10/12/2007                  6/25/2007              11/20/2020
   5312375 275 12th St, Wheeling, IL 60090                          Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/25/2007 VA 1-636-058            10/12/2007                  6/25/2007               8/10/2020
   5317944 5820 N Commerce Plz, Jackson, MS 39206                   Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2007 VA 1-636-073            10/12/2007                  6/26/2007               6/12/2021
   5320147 200 Forsyth Hall Dr, Charlotte, NC 28273                 Ray Dodds                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2007 VA 1-720-114            10/12/2007                  6/26/2007               6/22/2020
   5320296 4150-4160 Dow Rd, Melbourne, FL 32934                    Kevin Coleman                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2007 VA 1-636-078            10/12/2007                  6/26/2007               8/11/2020
   5320297 4150-4160 Dow Rd, Melbourne, FL 32934                    Kevin Coleman                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2007 VA 1-636-078            10/12/2007                  6/26/2007                8/8/2020
   5336158 4950 S Loop 289, Lubbock, TX 79414                       Julie Cate                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/27/2007 VA 1-636-704            10/12/2007                  6/27/2007               5/16/2020
   5337175 760 North Dr, Melbourne, FL 32934                        Kevin Coleman                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2007 VA 1-636-078            10/12/2007                  6/28/2007                8/8/2020
   5337777 8585 Pyott Rd, Lake In The Hills, IL 60156               Kristie Ptaszek                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2007 VA 1-636-700            10/12/2007                  6/28/2007               6/22/2020
   5342115 112-122 S Robertson Blvd, Los Angeles, CA 90048          Richard Omura                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/29/2007 VA 1-636-770            10/12/2007                  6/29/2007               6/21/2020

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   5343790 3130 Ruler Dr, Commerce Township, MI 48390               Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       6/29/2007 VA 1-636-609            10/12/2007                  6/29/2007               8/12/2020
   5344086 2623 Washington Rd, Augusta, GA 30904                    Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2007 VA 1-636-614            10/12/2007                  6/28/2007               6/24/2020
   5344492 475 Allendale Dr, Wheeling, IL 60090                     Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2007 VA 1-636-058            10/12/2007                  6/28/2007               6/20/2020
   5344493 475 Allendale Dr, Wheeling, IL 60090                     Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2007 VA 1-636-058            10/12/2007                  6/28/2007               6/24/2020




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    5350335 760 North Dr, Melbourne, FL 32934                           Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/29/2007 VA 1-636-078            10/12/2007                  6/29/2007              8/11/2020
    5356418 2455 S 4th St, Beaumont, TX 77701                           Michael Didio                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       7/2/2007 VA 1-636-121            10/12/2007                   7/2/2007              6/22/2020
    5362221 3395 N Arlington Heights Rd, Arlington Heights, IL 60004    Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       7/3/2007 VA 1-636-058            10/12/2007                   7/3/2007              6/19/2020
    5363634 4030 Eastern Ave SE, Grand Rapids, MI 49508                 Stephen Fields                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       7/3/2007 VA 1-636-048            10/12/2007                   7/3/2007              6/18/2020
    5374718 610 Grove St, Fort Worth, TX 76102                          Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       7/6/2007 VA 1-636-703            10/12/2007                   7/6/2007              10/9/2020
    5375955 766 Industrial Dr, Cary, IL 60013                           Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/25/2007 VA 1-636-700            10/12/2007                  6/25/2007              12/8/2020
    5375964 760 Industrial Dr, Cary, IL 60013                           Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/25/2007 VA 1-636-700            10/12/2007                  6/25/2007              6/23/2020
    5376036 615 Industrial Dr, Cary, IL 60013                           Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/25/2007 VA 1-636-700            10/12/2007                  6/25/2007              6/19/2020
    5376037 615 Industrial Dr, Cary, IL 60013                           Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/25/2007 VA 1-636-700            10/12/2007                  6/25/2007              6/21/2020
    5403920 9165-9295 NW 101st St, Miami, FL 33178                      Ygor Vanderbiest                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/11/2007 VA 1-635-868            10/12/2007                  7/11/2007              6/24/2020
    5405230 3270 N Folkways Blvd, Lincoln, NE 68504                     Eric Bernstein                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/11/2007 VA 1-636-394            10/12/2007                  7/11/2007              8/11/2020

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   5406616 1097 Union Lake Rd, White Lake, MI 48386                     Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       7/11/2007 VA 1-636-609           10/12/2007                  7/11/2007               6/23/2020
   5407454 3800 N Wilke Rd, Arlington Heights, IL 60004                 Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2007 VA 1-636-058           10/12/2007                  7/11/2007               6/21/2020
   5411906 555 Double Eagle Ct, Reno, NV 89521                          Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/12/2007 VA 1-636-037           10/12/2007                  7/12/2007               6/27/2020
   5411908 555 Double Eagle Ct, Reno, NV 89521                          Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/12/2007 VA 1-636-037           10/12/2007                  7/12/2007               6/27/2020
   5411909 555 Double Eagle Ct, Reno, NV 89521                          Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/12/2007 VA 1-636-037           10/12/2007                  7/12/2007               6/27/2020
   5415287 112 Haddontowne Ct, Cherry Hill, NJ 08034                    Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2007 VA 1-635-858           10/12/2007                  7/11/2007               5/16/2020
   5415886 1442 Merchant Dr, Algonquin, IL 60102                        Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/12/2007 VA 1-636-700           10/12/2007                  7/12/2007               8/12/2020
   5418684 7300 W State St, Boise, ID 83714                             Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        7/5/2007 VA 1-636-075           10/12/2007                   7/5/2007               6/21/2020
   5426185 6728-6732 W State St, Boise, ID 83714                        Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/10/2007 VA 1-636-075           10/12/2007                  7/10/2007               8/10/2020
   5426198 5997 W State St, Boise, ID 83703                             Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/12/2007 VA 1-636-075           10/12/2007                  7/12/2007               6/24/2020
   5431026 5200 N Sawyer Ave, Garden City, ID 83714                     Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2007 VA 1-636-075           10/12/2007                  7/16/2007               6/20/2020
   5431027 3645-3649 N Harbor Ln, Boise, ID 83703                       Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2007 VA 1-636-075           10/12/2007                  7/16/2007               6/23/2020
   5433262 240 SW Jefferson Ave, Peoria, IL 61602                       Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2007 VA 1-636-058           10/12/2007                  7/16/2007               6/19/2020
   5450884 745 S Wickham Rd, Melbourne, FL 32904                        Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/18/2007 VA 1-636-078           10/12/2007                  7/18/2007               6/21/2020
   5451061 4530 N Brandywine Dr, Peoria, IL 61614                       Sonya Williams                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/18/2007 VA 1-636-050           10/12/2007                  7/18/2007               6/19/2020
   5464325 510 S Burnt Mill Rd, Voorhees, NJ 08043                      Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2007 VA 1-635-858           10/12/2007                  7/19/2007               6/20/2020
   5464363 7810 Ballantyne Commons Pky, Charlotte, NC 28277             Ray Dodds                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2007 VA 1-720-114           10/12/2007                  7/19/2007               6/19/2020
   5482227 4875 Forest Dr, Columbia, SC 29206                           Jason Benns                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/23/2007 VA 1-636-615           10/12/2007                  7/23/2007               2/21/2021
   5492703 5402 Commercial Dr, Huntington Beach, CA 92649               Geoffrey Rubino                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2007 VA 1-636-081           10/12/2007                  7/19/2007               6/25/2020
   5492847 400 PATTERSON Ln, Charleston, WV 25311                       Ray Dodds                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/23/2007 VA 1-720-114           10/12/2007                  7/23/2007               7/27/2020
   5503074 80 N Virginia St, Crystal Lake, IL 60014                     Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/25/2007 VA 1-636-700           10/12/2007                  7/25/2007               6/24/2020
   5503078 80 N Virginia St, Crystal Lake, IL 60014                     Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/25/2007 VA 1-636-700           10/12/2007                  7/25/2007               6/20/2020
   5514627 302 W La Veta Ave, Orange, CA 92866                          Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/27/2007 VA 1-636-963           10/12/2007                  7/27/2007               5/29/2021
   5515190 7501 N University St, Peoria, IL 61614                       Sonya Williams                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/27/2007 VA 1-636-050           10/12/2007                  7/27/2007               6/28/2020
   5516943 1004 Laurel Oak Rd, Voorhees, NJ 08043                       Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/28/2007 VA 1-635-858           10/12/2007                  7/28/2007               6/21/2020
   5517156 1536 Washington St W, Charleston, WV 25387                   Ray Dodds                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/26/2007 VA 1-720-114           10/12/2007                  7/26/2007               6/20/2020
   5521666 17902-17908 Union Tpke, Fresh Meadows, NY 11366              Brian Van Sise                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/27/2007 VA 1-636-597           10/12/2007                  7/27/2007               7/13/2020
   5521669 17902-17908 Union Tpke, Fresh Meadows, NY 11366              Brian Van Sise                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/27/2007 VA 1-636-597           10/12/2007                  7/27/2007               7/13/2020
   5527015 8710 Melrose Ave, Los Angeles, CA 90069                      Richard Omura                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/30/2007 VA 1-636-770           10/12/2007                  7/30/2007               6/24/2020
   5527178 14240 Palmetto Frontage Rd, Miami Lakes, FL 33016            Ygor Vanderbiest                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/30/2007 VA 1-635-868           10/12/2007                  7/30/2007               6/26/2020
   5527187 14240 Palmetto Frontage Rd, Miami Lakes, FL 33016            Ygor Vanderbiest                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/30/2007 VA 1-635-868           10/12/2007                  7/30/2007               6/19/2020
   5535482 253 S Carondelet St, Los Angeles, CA 90057                   Jeff Rogers                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/31/2007 VA 1-636-877           10/12/2007                  7/31/2007               6/22/2020
   5538179 101 E Crossroads Pky, Bolingbrook, IL 60440                  Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/27/2007 VA 1-700-331           10/12/2007                  7/27/2007               6/18/2020
   5547205 3660 Edison Pl, Rolling Meadows, IL 60008                    Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/31/2007 VA 1-636-058           10/12/2007                  7/31/2007               6/25/2020
   5560171 500 Lexington Ave, Fort Smith, AR 72901                      Lacey Bridgmon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/2/2007 VA 1-636-771           10/12/2007                   8/2/2007               6/19/2020
   5564912 4020 N Henry Blvd, Stockbridge, GA 30281                     Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/2/2007 VA 1-636-614           10/12/2007                   8/2/2007               6/27/2020
   5566145 129 N State St, Jackson, MS 39201                            Sara McKercher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/3/2007 VA 1-636-073           10/12/2007                   8/3/2007               6/21/2020

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   5567205 6535-6585 Rochester Rd, Troy, MI 48085                       Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800         8/6/2007 VA 1-636-609           10/12/2007                   8/6/2007               6/23/2020
   5580210 5795 Bridge St, East Syracuse, NY 13057                      Edward Bulken                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/6/2007 VA 1-636-510           10/12/2007                   8/6/2007               6/23/2020
   5593495 3050 Venture Ln, Melbourne, FL 32934                         Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/3/2007 VA 1-636-078           10/12/2007                   8/3/2007               6/29/2020
   5607867 78995 Highway 111, La Quinta, CA 92253                       Pete Kolski                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/9/2007 VA 1-636-511           10/12/2007                   8/9/2007               6/17/2020
   5611565 3200 N Wickham Rd, Melbourne, FL 32935                       Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/9/2007 VA 1-636-078           10/12/2007                   8/9/2007               6/24/2020
   5611566 3200 N Wickham Rd, Melbourne, FL 32935                       Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/9/2007 VA 1-636-078           10/12/2007                   8/9/2007               6/21/2020
   5612896 2401 5th Ave, Huntington, WV 25703                           Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/10/2007 VA 1-636-124           10/12/2007                  8/10/2007               6/21/2020
   5612898 2401 5th Ave, Huntington, WV 25703                           Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/10/2007 VA 1-636-124           10/12/2007                  8/10/2007               6/24/2020
   5612900 2401 5th Ave, Huntington, WV 25703                           Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/10/2007 VA 1-636-124           10/12/2007                  8/10/2007               6/19/2020
   5616056 4444 Scotts Valley Dr, Scotts Valley, CA 95066               Kristen Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/7/2007 VA 1-636-722           10/12/2007                   8/7/2007               6/19/2020
   5629322 4734 Baldwin Blvd, Corpus Christi, TX 78408                  Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/7/2007 VA 1-636-119           10/12/2007                   8/7/2007               6/18/2020
   5634663 6724 Joy Rd, East Syracuse, NY 13057                         Edward Bulken                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/13/2007 VA 1-636-510           10/12/2007                  8/13/2007               6/27/2020
   5641878 2110 NW 13th Ave, Miami, FL 33142                            Henry Hernandez                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/2/2007 VA 1-636-711           10/12/2007                   8/2/2007               7/20/2020
   5642120 1652 Western Ave, Albany, NY 12203                           Rona Houser                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/14/2007 VA 1-636-061           10/12/2007                  8/14/2007               6/21/2020
   5645224 3121 Pacific Ave SE, Olympia, WA 98501                       Alex Mock                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/4/2007 VA 1-636-735           10/12/2007                   8/4/2007               6/27/2020
   5645225 3121 Pacific Ave SE, Olympia, WA 98501                       Alex Mock                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/4/2007 VA 1-636-735           10/12/2007                   8/4/2007               6/17/2020
   5646841 7625 N University St, Peoria, IL 61614                       Sonya Williams                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        7/27/2007 VA 1-636-050           10/12/2007                  7/27/2007               6/24/2020
   5647375 100-106 S Northwest Hwy, Palatine, IL 60074                  Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/14/2007 VA 1-636-058           10/12/2007                  8/14/2007               6/26/2020
   5656964 200 E Northwest Hwy, Palatine, IL 60067                      Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/15/2007 VA 1-636-058           10/12/2007                  8/15/2007               6/28/2020
   5656967 200 E Northwest Hwy, Palatine, IL 60067                      Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/15/2007 VA 1-636-058           10/12/2007                  8/15/2007               6/20/2020
   9930092 337 E Coronado Rd, Phoenix, AZ 85004                         Kevin Kaminski                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        3/12/2009 VA 1-431-354            12/3/2009                  3/12/2009                4/2/2021
   5664085 1036 E Iron Eagle Dr, Eagle, ID 83616                        Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/16/2007 VA 1-636-075           10/12/2007                  8/16/2007               6/22/2020
   5664090 1036 E Iron Eagle Dr, Eagle, ID 83616                        Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/16/2007 VA 1-636-075           10/12/2007                  8/16/2007               6/29/2020

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   5665479 48225 West Rd, Wixom, MI 48393                               Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       8/16/2007 VA 1-636-609           10/12/2007                  8/16/2007               6/24/2020
   5669039 531 S Fitness Pl, Eagle, ID 83616                            Jonathan Scobby                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       8/17/2007 VA 1-636-075           10/12/2007                  8/17/2007               6/29/2020
   5669041 531 S Fitness Pl, Eagle, ID 83616                            Jonathan Scobby                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       8/17/2007 VA 1-636-075           10/12/2007                  8/17/2007               6/29/2020




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    5669978 13020 Us-1 Hwy, Sebastian, FL 32958                   Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/17/2007 VA 1-636-078            10/12/2007                  8/17/2007              6/26/2020
    5669981 13020 Us-1 Hwy, Sebastian, FL 32958                   Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/17/2007 VA 1-636-078            10/12/2007                  8/17/2007              6/27/2020
    5670680 2520 Midpark Dr, Montgomery, AL 36109                 Cathy Morris                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/17/2007 VA 1-636-713            10/12/2007                  8/17/2007              8/11/2020
    5672275 15 McCabe Dr, Reno, NV 89511                          Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       8/9/2007 VA 1-636-037            10/12/2007                   8/9/2007              6/21/2020
    5672278 15 McCabe Dr, Reno, NV 89511                          Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       8/9/2007 VA 1-636-037            10/12/2007                   8/9/2007              6/24/2020
    5734075 533 E Riverside Dr, Eagle, ID 83616                   Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/10/2007 VA 1-636-075            10/12/2007                  8/10/2007              6/19/2020
    5744029 985 Damonte Ranch Pky, Reno, NV 89521                 Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       8/7/2007 VA 1-636-037            10/12/2007                   8/7/2007               7/8/2020
    5744061 10585 Double R Blvd, Reno, NV 89521                   Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       8/1/2007 VA 1-636-037            10/12/2007                   8/1/2007              6/27/2020
    5781011 50 N Brockway St, Palatine, IL 60067                  Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/17/2007 VA 1-636-058            10/12/2007                  8/17/2007              6/24/2020
    5781100 501-515 S Vermont St, Palatine, IL 60067              Shawna Mangurten                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/13/2007 VA 1-636-058            10/12/2007                  8/13/2007              6/26/2020
    5815066 115 E Jefferson St, Syracuse, NY 13202                Edward Bulken                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/15/2007 VA 1-636-510            10/12/2007                  8/15/2007              7/13/2020
    5815128 6486 Ridings Rd, Syracuse, NY 13206                   Edward Bulken                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       7/5/2007 VA 1-636-510            10/12/2007                   7/5/2007              6/21/2020
    5889850 635 S Wickham Rd, West Melbourne, FL 32904            Kevin Coleman                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      7/17/2007 VA 1-636-078            10/12/2007                  7/17/2007              6/24/2020
    5890439 22272 N Pepper Rd, Lake Barrington, IL 60010          Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/6/2007 VA 1-636-700            10/12/2007                   9/6/2007              6/24/2020
    5908970 325 N Hough St, Barrington, IL 60010                  Kristie Ptaszek                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/20/2007 VA 1-636-700            10/12/2007                  9/20/2007              6/21/2020
    6080952 1070 County Line Rd, Ridgeland, MS 39157              Sara McKercher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      6/20/2007 VA 1-636-073            10/12/2007                  6/20/2007              6/12/2021
    6316880 145-147 Bradford Dr, West Berlin, NJ 08091            Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/15/2007 VA 1-635-858            10/12/2007                  8/15/2007              4/23/2020
    6718957 50905 Avenida Bermudas, La Quinta, CA 92253           Pete Kolski                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      7/31/2007 VA 1-636-511            10/12/2007                  7/31/2007              6/20/2020
    6725390 940 Jefferson Ave, Miami Beach, FL 33139              Jose Rosales                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      7/11/2007 VA 1-636-721            10/12/2007                  7/11/2007              6/23/2020
    6765692 1307 White Horse Rd, Voorhees, NJ 08043               Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      7/28/2007 VA 1-635-858            10/12/2007                  7/28/2007               8/8/2020
    5861007 2428 Irving Blvd, Dallas, TX 75207                    Darrell Shultz                                                                  CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                   8882267404      9/13/2007 VA 1-636-622            11/15/2007                  9/13/2007              6/18/2020
    5842130 1337-1339 Crampton St, Dallas, TX 75207               Darrell Shultz                                                                  CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                   8882267404      9/11/2007 VA 1-636-622            11/15/2007                  9/11/2007              6/21/2020
    5789108 444 Hartle St, Sayreville, NJ 08872                   Michael Johnson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/4/2007 VA 1-635-929            11/15/2007                   9/4/2007              6/18/2020
    5789111 444 Hartle St, Sayreville, NJ 08872                   Michael Johnson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/4/2007 VA 1-635-929            11/15/2007                   9/4/2007              6/18/2020
    5863050 23 N Michigan Ave, Kenilworth, NJ 07033               Michael Johnson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/14/2007 VA 1-635-929            11/15/2007                  9/14/2007              6/12/2021
    6294295 630 Broad St, Shrewsbury, NJ 07702                    Michael Johnson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/6/2007 VA 1-635-929            11/15/2007                   9/6/2007              6/24/2020
    5730207 511-513 Jefferson St, Roanoke, VA 24011               Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      8/27/2007 VA 1-635-957            11/15/2007                  8/27/2007              6/21/2020
    5800458 537 Second St, Williamsburg, VA 23185                 Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/5/2007 VA 1-635-957            11/15/2007                   9/5/2007              6/18/2020
    5810442 160-170 2nd St, Williamsburg, VA 23185                Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300       9/6/2007 VA 1-635-957            11/15/2007                   9/6/2007              9/19/2020
    5886152 3405 Carlton St, Richmond, VA 23230                   Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/18/2007 VA 1-635-957            11/15/2007                  9/18/2007              6/27/2020
    6122930 5413 Airport Rd, Williamsburg, VA 23188               Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/19/2007 VA 1-635-957            11/15/2007                  9/19/2007              6/25/2020
    6122933 5413 Airport Rd, Williamsburg, VA 23188               Randy Rose                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/19/2007 VA 1-635-957            11/15/2007                  9/19/2007              6/24/2020
    5754301 50 Emmett St, Bristol, CT 06010                       Ed Messenger                                                                    CoStar Group                 1331 L St NW, Washington, DC 20005                      2023466500      8/29/2007 VA 1-635-871            11/15/2007                  8/29/2007              6/19/2020
    5790175 1132 Main St, Weymouth, MA 02190                      Jonathan Coon                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                      2023466500       9/4/2007 VA 1-637-096            11/15/2007                   9/4/2007              7/26/2020
    5790179 1132 Main St, Weymouth, MA 02190                      Jonathan Coon                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                      2023466500       9/4/2007 VA 1-637-096            11/15/2007                   9/4/2007              7/26/2020
    5801067 123 S Mission Dr, San Gabriel, CA 91776               Tom Thompson                                                                    CoStar Group                 1331 L St NW, Washington, DC 20005                      2023466500       9/5/2007 VA 1-638-232            11/15/2007                   9/5/2007              7/14/2020
    5914524 1930 NE 47th St, Fort Lauderdale, FL 33308            Carolyn Crisp                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                      3012158300      9/21/2007 VA 1-636-540            11/15/2007                  9/21/2007              6/21/2020
    5887722 200 Daingerfield Rd, Alexandria, VA 22314             Pia Miai                                                                        CoStar Group                 1331 L St NW, Washington, DC 20005                      2023466500       9/5/2007 VA 1-638-237            11/15/2007                   9/5/2007              7/30/2020

   5700014 455-467 Court St NE, Salem, OR 97301                   Ryan Gwilliam                                                                   CoStar Group                 3438 Peachtree Rd NE, Atlanta, GA 30326                8886587368       8/21/2007 VA 1-636-504           11/15/2007                  8/21/2007               6/22/2020

   5700025 455-467 Court St NE, Salem, OR 97301                   Ryan Gwilliam                                                                   CoStar Group                 3438 Peachtree Rd NE, Atlanta, GA 30326                8886587368       8/21/2007 VA 1-636-504           11/15/2007                  8/21/2007               6/28/2020

   5734118 494 State St, Salem, OR 97301                          Ryan Gwilliam                                                                   CoStar Group                 3438 Peachtree Rd NE, Atlanta, GA 30326                8886587368       8/22/2007 VA 1-636-504           11/15/2007                  8/22/2007               6/24/2020

   5769091 698 12th St SE, Salem, OR 97301                        Ryan Gwilliam                                                                   CoStar Group                 3438 Peachtree Rd NE, Atlanta, GA 30326                8886587368       8/30/2007 VA 1-636-504           11/15/2007                  8/30/2007               6/26/2020

   5724007 236 3rd St SW, Canton, OH 44702                        Pamela Lawrentz                                                                 CoStar Group                 600 Superior Ave E, Cleveland, OH 44114                8882267404       8/26/2007 VA 1-638-210           11/15/2007                  8/26/2007               1/27/2021
   5803714 3464 Washington Dr, Eagan, MN 55122                    Jeff Karels                                                                     CoStar Group                 1225 17th St, Denver, CO 80202                         3018921977        9/5/2007 VA 1-636-975           11/15/2007                   9/5/2007               6/24/2020
   7384329 1258 N 19th St, Saint Petersburg, FL 33713             James Petrylka                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/23/2007 VA 1-635-757           11/15/2007                  8/23/2007               11/9/2020
   5912190 15225 Old Columbia Pike, Burtonsville, MD 20866        Gene Inserto                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/21/2007 VA 1-638-216           11/15/2007                  9/21/2007               2/16/2021
   5865713 524 Mid Florida Dr, Orlando, FL 32824                  Robert Dallas                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/14/2007 VA 1-636-624           11/15/2007                  9/14/2007               6/24/2020
   5717540 339 6th Ave, Charleston, WV 25303                      Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                    2023466500       8/21/2007 VA 1-636-114           11/15/2007                  8/21/2007                8/8/2020
   5912940 1216 Hal Greer Blvd, Huntington, WV 25701              Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                    2023466500       9/21/2007 VA 1-636-114           11/15/2007                  9/21/2007               6/20/2020
   5890797 4536-4558 Main St, Kansas City, MO 64111               Brooke Wasson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/17/2007 VA 1-637-091           11/15/2007                  9/17/2007               6/20/2020
   5834413 13 St John Cir, Newnan, GA 30265                       Isaiah Buchanan                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                    2023466500       9/10/2007 VA 1-638-213           11/15/2007                  9/10/2007               6/23/2020
   5473246 224-312 2nd St S, Nampa, ID 83651                      Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/31/2007 VA 1-636-592           11/15/2007                  8/31/2007               6/24/2020
                                                                                                                                                                               10750 Civic Center Dr, Rancho Cucamonga,
   5684542 409 N Main St, Porterville, CA 93257                   America Rivas                                                                   BHHS California              CA 91730                                              9099803100        8/18/2007 VA 1-636-135           11/15/2007                  8/18/2007               6/24/2020
   3785654 8390 US Highway 51 N, Millington, TN 38053             Kimberly Spencer                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500        12/1/2006 VA 1-410-734            3/27/2007                  12/1/2006               6/19/2020
   5698648 2500 E Vineyard Ave, Oxnard, CA 93036                  Ernst Mutchnick                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/23/2007 VA 1-636-125           11/15/2007                  8/23/2007               6/23/2020
   5698651 2500 E Vineyard Ave, Oxnard, CA 93036                  Ernst Mutchnick                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/23/2007 VA 1-636-125           11/15/2007                  8/23/2007               6/22/2020
   5699926 347 S Edgewood Ln, Eagle, ID 83616                     Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/22/2007 VA 1-636-592           11/15/2007                  8/22/2007               6/20/2020
   5699927 347 S Edgewood Ln, Eagle, ID 83616                     Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/22/2007 VA 1-636-592           11/15/2007                  8/22/2007               6/20/2020

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   5702673 45145 W 12 Mile Rd, Novi, MI 48377                     Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165                2484469800       8/22/2007 VA 1-653-832           11/15/2007                  8/22/2007               6/24/2020
   5706625 950 Hendersonville Rd, Asheville, NC 28803             Christopher Newman                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/22/2007 VA 1-637-095           11/15/2007                  8/22/2007               6/21/2020
   5710053 391 W State St, Eagle, ID 83616                        Jonathan Scobby                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/23/2007 VA 1-636-592           11/15/2007                  8/23/2007               6/19/2020
   5715434 1015 Central Ave, Albany, NY 12205                     Rona Houser                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/24/2007 VA 1-636-541           11/15/2007                  8/24/2007               6/21/2020
   5717846 107 Everett Rd, Albany, NY 12205                       Rona Houser                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/22/2007 VA 1-636-541           11/15/2007                  8/22/2007               10/9/2020
   5717859 16 Van Rensselaer Rd, Albany, NY 12205                 Rona Houser                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/22/2007 VA 1-636-541           11/15/2007                  8/22/2007               6/21/2020
   5717860 16 Van Rensselaer Rd, Albany, NY 12205                 Rona Houser                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/22/2007 VA 1-636-541           11/15/2007                  8/22/2007               6/19/2020
   5719090 1323 SE 3rd Ave, Fort Lauderdale, FL 33316             Mark White                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/25/2007 VA 1-636-021           11/15/2007                  8/25/2007              12/20/2020
   5732699 14031 Del Webb Blvd, Belleview, FL 34420               Martha Henry                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/24/2007 VA 1-636-012           11/15/2007                  8/24/2007               6/20/2020
   5734120 494 State St, Salem, OR 97301                          Jeremy Polzel                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/29/2007 VA 1-636-402           11/15/2007                  8/29/2007               6/24/2020
   5735732 2950 50th St, Lubbock, TX 79413                        Julie Cate                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/27/2007 VA 1-636-034           11/15/2007                  8/27/2007                7/1/2020
   5737847 151 Davis Rd, Augusta, GA 30907                        Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/27/2007 VA 1-636-753           11/15/2007                  8/27/2007               6/29/2020
   5737892 149 Davis Rd, Augusta, GA 30907                        Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/27/2007 VA 1-636-753           11/15/2007                  8/27/2007               6/29/2020




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   5748017 41100 Bridge St, Novi, MI 48375                               Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165                2484469800      8/28/2007 VA 1-653-832            11/15/2007                 8/28/2007              6/27/2020
   5759506 505 Delaware Ave, Buffalo, NY 14202                           Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/29/2007 VA 1-636-136            11/15/2007                 8/29/2007              7/31/2020
   5759909 1451 N Broadway St, Wichita, KS 67214                         Lawrence Ediger                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/29/2007 VA 1-636-246            11/15/2007                 8/29/2007              8/12/2020
   5760467 1680 N College Ave, Fayetteville, AR 72703                    Tony Harris                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2007 VA 1-638-222            11/15/2007                 8/27/2007              6/17/2020
   5761653 235 Old Egg Harbor Rd, West Berlin, NJ 08091                  Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/29/2007 VA 1-635-758            11/15/2007                 8/29/2007              6/24/2020

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   5761708 41551-41651 W 11 Mile Rd, Novi, MI 48375                      Lisa Borkus                                                                       & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                  2484469800      8/29/2007 VA 1-653-832            11/15/2007                 8/29/2007              6/23/2020

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   5761762 41441-41541 W 11 Mile Rd, Novi, MI 48375                      Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165                2484469800      8/29/2007 VA 1-653-832            11/15/2007                 8/29/2007              6/29/2020
   3785655 8390 US Highway 51 N, Millington, TN 38053                    Kimberly Spencer                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      12/1/2006 VA 1-410-734             3/27/2007                 12/1/2006              6/19/2020
   5790088 500-504 Center St, El Segundo, CA 90245                       Richard Redlich                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2007 VA 1-636-743            11/15/2007                  9/4/2007               8/8/2020
   5792697 349 Elmwood Ave, Buffalo, NY 14222                            Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2007 VA 1-636-136            11/15/2007                  9/4/2007              6/20/2020
   5801176 206 Siebert Rd, Pittsburgh, PA 15237                          Theresa DeShantz                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2007 VA 1-638-214            11/15/2007                  9/5/2007              6/24/2020
   5801983 1027 Greenfield Dr, El Cajon, CA 92021                        Jim Breister                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/30/2007 VA 1-636-403            11/15/2007                 8/30/2007              8/12/2020
   5803124 12 SE 8th St, Fort Lauderdale, FL 33316                       Mark White                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2007 VA 1-636-021            11/15/2007                  9/5/2007              6/29/2020
                                                                                                                                                                                        10750 Civic Center Dr, Rancho Cucamonga,
   5803701 345 N Main St, Porterville, CA 93257                          America Rivas                                                                     BHHS California              CA 91730                                               9099803100      8/23/2007 VA 1-636-135            11/15/2007                 8/23/2007               2/2/2021
   5811019 508-510 Center St, El Segundo, CA 90245                       Richard Redlich                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2007 VA 1-636-743            11/15/2007                  9/4/2007              8/10/2020
   5813293 3215 S Martin Luther King Jr Blvd, Lansing, MI 48910          John Ehnis                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-127            11/15/2007                  9/6/2007              6/20/2020
   5813294 3215 S Martin Luther King Jr Blvd, Lansing, MI 48910          John Ehnis                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-127            11/15/2007                  9/6/2007              6/18/2020
   5813337 3525 S Martin Luther King Blvd, Lansing, MI 48910             John Ehnis                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-127            11/15/2007                  9/6/2007              6/26/2020

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   5833245 28592 Orchard Lake Rd, Farmington Hills, MI 48334             Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165                2484469800      9/10/2007 VA 1-653-832            11/15/2007                 9/10/2007               8/8/2020
   5838942 2257 Babcock Blvd, Pittsburgh, PA 15237                       Theresa DeShantz                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/11/2007 VA 1-638-214            11/15/2007                 9/11/2007              6/22/2020
   5840949 800 E River Pl, Jackson, MS 39202                             Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/11/2007 VA 1-636-363            11/15/2007                 9/11/2007              6/23/2020
   5840952 800 E River Pl, Jackson, MS 39202                             Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/11/2007 VA 1-636-363            11/15/2007                 9/11/2007              6/22/2020
   5840955 800 E River Pl, Jackson, MS 39202                             Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/11/2007 VA 1-636-363            11/15/2007                 9/11/2007              6/20/2020
   5850109 5890 NW 173rd Dr, Hialeah, FL 33015                           Jose Rosales                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/12/2007 VA 1-636-416            11/15/2007                 9/12/2007              6/21/2020
   5850850 1190 Old Fannin Rd, Brandon, MS 39047                         Sara McKercher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/12/2007 VA 1-636-363            11/15/2007                 9/12/2007              1/23/2021
   5856859 5110-5150 Capitol Dr, Wheeling, IL 60090                      Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/12/2007 VA 1-635-986            11/15/2007                 9/12/2007              6/27/2020
   5856865 5110-5150 Capitol Dr, Wheeling, IL 60090                      Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/12/2007 VA 1-635-986            11/15/2007                 9/12/2007              6/21/2020
   5860108 515-521 E Jolly Rd, Lansing, MI 48910                         John Ehnis                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2007 VA 1-636-127            11/15/2007                 9/13/2007              6/17/2020
   5861505 45 Loop Rd, Arden, NC 28704                                   Christopher Newman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2007 VA 1-637-095            11/15/2007                 9/13/2007             11/21/2020
   5862150 230-240 Larkin Dr, Wheeling, IL 60090                         Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2007 VA 1-635-986            11/15/2007                 9/13/2007              6/24/2020
   5862154 230-240 Larkin Dr, Wheeling, IL 60090                         Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2007 VA 1-635-986            11/15/2007                 9/13/2007              6/25/2020
   5879393 1180 Hospital Dr, Mount Pleasant, SC 29464                    Kristin Burrows                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/17/2007 VA 1-636-538            11/15/2007                 9/17/2007              8/11/2020
   5898938 8 Shackleford Plz, Little Rock, AR 72211                      Paul Heer                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/19/2007 VA 1-636-005            11/15/2007                 9/19/2007              6/20/2020
   5908337 807 Pressley Rd, Charlotte, NC 28217                          Ray Dodds                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2007 VA 1-635-954            11/15/2007                 8/27/2007             11/13/2020
   5909184 201 S Grove Ave, Barrington, IL 60010                         Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/20/2007 VA 1-635-986            11/15/2007                 9/20/2007              6/29/2020
   5909188 201 S Grove Ave, Barrington, IL 60010                         Shawna Mangurten                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/20/2007 VA 1-635-986            11/15/2007                 9/20/2007              6/29/2020

                                                                                                                                                           Pratt & Miller Engineering
   5920638 32985 Hamilton Ct, Farmington Hills, MI 48334                 Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165                2484469800      9/21/2007 VA 1-653-832            11/15/2007                 9/21/2007              6/29/2020
   5920983 108 Green Valley Rd, Watsonville, CA 95076                    Kristen Thomas                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/21/2007 VA 1-636-539            11/15/2007                 9/21/2007              6/26/2020
   5929860 1440 Furnace St, Montgomery, AL 36104                         Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-111            11/15/2007                  9/6/2007              6/27/2020
   5929862 1440 Furnace St, Montgomery, AL 36104                         Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-111            11/15/2007                  9/6/2007              6/24/2020
   5929864 1440 Furnace St, Montgomery, AL 36104                         Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-111            11/15/2007                  9/6/2007              6/18/2020
   5929867 1440 Furnace St, Montgomery, AL 36104                         Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/6/2007 VA 1-636-111            11/15/2007                  9/6/2007              6/22/2020
   3804009 1755 Kirby Pky, Memphis, TN 38120                             Kimberly Spencer                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      12/7/2006 VA 1-410-734             3/27/2007                 12/7/2006              6/20/2020
   6171596 6041 Bolsa Ave, Huntington Beach, CA 92647                    Geoffrey Rubino                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/14/2007 VA 1-638-215            11/15/2007                 9/14/2007              3/29/2021
   6221689 130 S White Horse Pike, Clementon, NJ 08021                   Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/10/2007 VA 1-635-758            11/15/2007                 9/10/2007              6/21/2020
   6310508 13801 N Western Ave, Edmond, OK 73013                         Lacey Bridgmon                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/7/2007 VA 1-636-358            11/15/2007                  9/7/2007               8/8/2020
   6317965 7101 NW Expressway St, Oklahoma City, OK 73132                Lacey Bridgmon                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/19/2007 VA 1-636-358            11/15/2007                 9/19/2007              6/23/2020
   3916626 2830 Old Austin Peay Hwy, Memphis, TN 38128                   Kimberly Spencer                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500     12/22/2006 VA 1-410-734             3/27/2007                12/22/2006              6/19/2020
   6571462 6756-6770 Winchester Rd, Memphis, TN 38115                    Kimberly Spencer                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500     11/22/2006 VA 1-410-734             3/27/2007                11/22/2006              6/23/2020
   6728315 300 Rice Meadow Way, Columbia, SC 29229                       Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/28/2007 VA 1-636-748            11/15/2007                 9/28/2007              6/17/2020
   6987698 841 Sparkleberry Ln, Columbia, SC 29229                       Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2007 VA 1-636-748            11/15/2007                  9/5/2007              7/24/2020
   7823213 1170 E Mariposa Ave, El Segundo, CA 90245                     Richard Redlich                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2007 VA 1-636-743            11/15/2007                  9/4/2007              8/11/2020
   7994899 8491-8497 Fletcher Pky, La Mesa, CA 91942                     Chris Fennessey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/20/2007 VA 1-636-882            11/15/2007                 9/20/2007              6/22/2020
   6228085 6310 N State Road 7, Coconut Creek, FL 33073                  Carolyn Crisp                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      11/1/2007 VA 1-429-135            12/12/2007                 11/1/2007              10/3/2020
   6726293 4553 Bougainvillea Dr, Lauderdale By The Sea, FL 33308        Carolyn Crisp                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/8/2007 VA 1-429-135            12/12/2007                 10/8/2007              6/21/2020
   2043002 3100 Kitsap Way, Bremerton, WA 98312                          Eric Ericson                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/15/2006 VA 1-430-044            12/12/2007                 3/15/2006              6/24/2020
   6189580 7100 US Highway 287, Arlington, TX 76001                      Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/25/2007 VA 1-430-062            12/12/2007                10/25/2007              6/21/2020
   6280536 10816-10824 E Newton Pl, Tulsa, OK 74116                      Tony Harris                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      11/2/2007 VA 1-430-053            12/12/2007                 11/2/2007              6/28/2020
   6297374 2450 E Chambers St, Phoenix, AZ 85040                         Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     11/13/2007 VA 1-430-065            12/12/2007                11/13/2007              6/30/2020
   6312532 9637 Liberty Rd, Randallstown, MD 21133                       Mike Schisler                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     11/13/2007 VA 1-430-045            12/12/2007                11/13/2007              6/24/2020
   6327720 802 Greenview Dr, Grand Prairie, TX 75050                     Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     11/15/2007 VA 1-430-062            12/12/2007                11/15/2007              6/23/2020
   6328565 1755-1771 Main St, Lebanon, OR 97355                          Jeremy Polzel                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     11/17/2007 VA 1-429-982            12/12/2007                11/17/2007              6/27/2020
   6367760 515-521 E Border St, Arlington, TX 76010                      Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     11/12/2007 VA 1-430-062            12/12/2007                11/12/2007              6/20/2020
   9145177 4851 South Fwy, Fort Worth, TX 76115                          Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/11/2007 VA 1-430-062            12/12/2007                10/11/2007              5/16/2020
   9145180 4851 South Fwy, Fort Worth, TX 76115                          Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/11/2007 VA 1-430-062            12/12/2007                10/11/2007              5/16/2020
   6038722 708 S Lamar Blvd, Austin, TX 78704                            Michael Marx                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/5/2007 VA 1-430-486              1/8/2008                 10/5/2007             12/26/2020
   6295945 3110-3128 Manor Rd, Austin, TX 78723                          Michael Marx                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      11/7/2007 VA 1-430-486              1/8/2008                 11/7/2007              7/30/2020
   6162572 6 Craddock Way, Poca, WV 25159                                Charlotte Alvey                                                                   CoStar Group                 101 S Tryon St, Charlotte, NC 28280                    2023466500     10/17/2007 VA 1-430-095              1/8/2008                10/17/2007              6/25/2020
   6162573 6 Craddock Way, Poca, WV 25159                                Charlotte Alvey                                                                   CoStar Group                 101 S Tryon St, Charlotte, NC 28280                    2023466500     10/17/2007 VA 1-430-095              1/8/2008                10/17/2007              6/24/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                           12
                                                                 Case 2:20-cv-08819-CBM-AS                                   Document 950-1 Filed 10/25/24                                                                    Page 40 of 202 Page
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                       Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address            Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    5980997 8911 Kingsridge Dr, Dayton, OH 45458                      Zachary Robb                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      9/27/2007 VA 1-430-485               1/8/2008                  9/27/2007              6/24/2020
    5981005 8911 Kingsridge Dr, Dayton, OH 45458                      Zachary Robb                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      9/27/2007 VA 1-430-485               1/8/2008                  9/27/2007              6/21/2020
    6018282 1200 W Higgins Rd, Hoffman Estates, IL 60169              Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      10/2/2007 VA 1-430-100               1/8/2008                  10/2/2007              6/18/2020
    6018284 1200 W Higgins Rd, Hoffman Estates, IL 60169              Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      10/2/2007 VA 1-430-100               1/8/2008                  10/2/2007              6/24/2020
    6117240 200 W Higgins Rd, Schaumburg, IL 60195                    Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      10/8/2007 VA 1-430-100               1/8/2008                  10/8/2007              6/23/2020
    6159663 1536 N Atherton St, State College, PA 16803               Rona Houser                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     10/22/2007 VA 1-430-633               1/8/2008                 10/22/2007               8/9/2020
    6172714 565 Randy Rd, Carol Stream, IL 60188                      Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     10/24/2007 VA 1-430-100               1/8/2008                 10/24/2007              7/29/2020
    6234733 60 Turner Ave, Elk Grove Village, IL 60007                Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      11/2/2007 VA 1-430-100               1/8/2008                  11/2/2007              6/23/2020
    6234735 60 Turner Ave, Elk Grove Village, IL 60007                Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      11/2/2007 VA 1-430-100               1/8/2008                  11/2/2007              6/18/2020
    6268822 224-234 W Stone Rd, Villa Park, IL 60181                  Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      11/7/2007 VA 1-430-100               1/8/2008                  11/7/2007               8/9/2020
    6268823 224-234 W Stone Rd, Villa Park, IL 60181                  Shawna Mangurten                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300      11/7/2007 VA 1-430-100               1/8/2008                  11/7/2007              8/10/2020
    6294806 4600-4700 Lyons Rd, Miamisburg, OH 45342                  Zachary Robb                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     11/13/2007 VA 1-430-485              1/18/2008                 11/13/2007               7/8/2020
    6188684 5501 Kavanaugh Blvd, Little Rock, AR 72207                Paul Heer                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     10/27/2007 VA 1-429-145              1/18/2008                 10/27/2007              6/22/2020
    6188687 5501 Kavanaugh Blvd, Little Rock, AR 72207                Paul Heer                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     10/27/2007 VA 1-429-145              1/18/2008                 10/27/2007              6/19/2020
    6732873 125 Airport Pulling Rd N, Naples, FL 34104                Michael Suter                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300     11/20/2007 VA 1-429-150              1/18/2008                 11/20/2007              6/26/2020

   6331732 11440 Hamilton Ave, Cincinnati, OH 45231                   Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114                8882267404      11/12/2007 VA 1-429-642             1/18/2008                 11/12/2007               2/12/2021
   6150530 1301-1307 Phoenixville Pike, West Chester, PA 19380        Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/22/2007 VA 1-429-434             1/18/2008                 10/22/2007               8/11/2020
   6331811 274 Lancaster Ave, Malvern, PA 19355                       Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/16/2007 VA 1-429-434             1/18/2008                 11/16/2007               6/28/2020
   6331814 274 Lancaster Ave, Malvern, PA 19355                       Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/16/2007 VA 1-429-434             1/18/2008                 11/16/2007               6/24/2020
   6331866 130-140 Pennsylvania Ave, Malvern, PA 19355                Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/16/2007 VA 1-429-434             1/18/2008                 11/16/2007               6/19/2020
   6332156 500 Wood St, Bristol, RI 02809                             Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/16/2007 VA 1-429-421             1/18/2008                 11/16/2007               6/20/2020
   6265441 2907 Glenview Ave, Los Angeles, CA 90039                   Tom Thompson                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       11/2/2007 VA 1-429-149             1/18/2008                  11/2/2007               6/30/2020
   6274889 3738 Foothill Blvd, Glendale, CA 91214                     John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       11/8/2007 VA 1-429-123             1/18/2008                  11/8/2007               6/21/2020
   8389029 7326 Broadway, Los Angeles, CA 90003                       John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/19/2007 VA 1-429-123             1/18/2008                 11/19/2007               6/21/2020
   6347003 6565 Davis Industrial Pky, Solon, OH 44139                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/19/2007 VA 1-429-124             1/18/2008                 11/19/2007               6/23/2020

   5987069 5636-5762 W 79th St, Indianapolis, IN 46278                Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114                8882267404       9/29/2007 VA 1-429-130             1/18/2008                  9/29/2007               6/23/2020

   6325757 1404 W South St, Lebanon, IN 46052                         Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114                8882267404      11/12/2007 VA 1-429-130             1/18/2008                 11/12/2007               6/24/2020

   6325767 1404 W South St, Lebanon, IN 46052                         Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114                8882267404      11/12/2007 VA 1-429-130             1/18/2008                 11/12/2007               6/25/2020

   6373474 9200 Staples Dr, Streetsboro, OH 44241                     Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114                8882267404      11/13/2007 VA 1-429-147             1/18/2008                 11/13/2007               6/24/2020
   6300441 125 Cool Springs Blvd, Franklin, TN 37067                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/13/2007 VA 1-429-651             1/18/2008                 11/13/2007               6/20/2020
   6326816 5211 Hickory Hollow Pky, Antioch, TN 37013                 Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/15/2007 VA 1-429-651             1/18/2008                 11/15/2007               6/22/2020
   6036390 525 Union Blvd, Totowa, NJ 07512                           John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       10/5/2007 VA 1-429-140             1/18/2008                  10/5/2007               6/18/2020
   6153331 3118 W Route 10, Denville, NJ 07834                        John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      10/22/2007 VA 1-429-140             1/18/2008                 10/22/2007                7/4/2020
   6249431 12086 Collegiate Way, Orlando, FL 32817                    Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/5/2007 VA 1-429-430             1/18/2008                  11/5/2007               6/19/2020
   6277500 2501 Discovery Dr, Orlando, FL 32826                       Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/8/2007 VA 1-429-430             1/18/2008                  11/8/2007               6/28/2020
   6277502 2501 Discovery Dr, Orlando, FL 32826                       Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/8/2007 VA 1-429-430             1/18/2008                  11/8/2007               6/19/2020
  10130799 5307-5311 E Colonial Dr, Orlando, FL 32807                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/16/2007 VA 1-429-430             1/18/2008                 11/16/2007               6/20/2020
  10130801 5307-5311 E Colonial Dr, Orlando, FL 32807                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/16/2007 VA 1-429-430             1/18/2008                 11/16/2007               6/18/2020
  10130805 5307-5311 E Colonial Dr, Orlando, FL 32807                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/16/2007 VA 1-429-430             1/18/2008                 11/16/2007                7/3/2020
   6362624 1558-1576 N Topping Ave, Kansas City, MO 64120             Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/19/2007 VA 1-429-127             1/18/2008                 11/19/2007                8/8/2020
   6391939 1628-1652 N Corrington Ave, Kansas City, MO 64120          Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/20/2007 VA 1-429-127             1/18/2008                 11/20/2007               6/17/2020
   1113992 160 E Main St, Lake Zurich, IL 60047                       Kristie Ptaszek                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/10/2007 VA 1-429-134             1/18/2008                 10/10/2007               6/21/2020
   5337774 8585 Pyott Rd, Lake In The Hills, IL 60156                 Kristie Ptaszek                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/28/2007 VA 1-429-134             1/18/2008                  6/28/2007               6/20/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   5947520 38 E Cleveland Ave, Porterville, CA 93257                  America Rivas                                                                 BHHS California          CA 91730                                               9099803100       9/27/2007 VA 1-429-426             1/18/2008                  9/27/2007               6/23/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   5947523 38 E Cleveland Ave, Porterville, CA 93257                  America Rivas                                                                 BHHS California          CA 91730                                               9099803100       9/27/2007 VA 1-429-426             1/18/2008                  9/27/2007               6/20/2020
                                                                                                                                                                             10750 Civic Center Dr, Rancho Cucamonga,
   5991734 81 W Putnam Ave, Porterville, CA 93257                     America Rivas                                                                 BHHS California          CA 91730                                               9099803100       9/28/2007 VA 1-429-426             1/18/2008                  9/28/2007               6/24/2020
   5992748 11 Leigh Fisher Blvd, El Paso, TX 79906                    Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/26/2007 VA 1-430-057             1/18/2008                  9/26/2007               8/12/2020
   5993333 405 Slide Rd, Lubbock, TX 79416                            Julie Cate                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/28/2007 VA 1-429-433             1/18/2008                  9/28/2007               6/21/2020
   5995973 2100 S Wabash Ave, Chicago, IL 60616                       Sonya Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/28/2007 VA 1-429-437             1/18/2008                  9/28/2007               6/17/2020
   6033259 2090 Candler Rd, Decatur, GA 30032                         Bonnie Heath                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       10/4/2007 VA 1-429-142             1/18/2008                  10/4/2007               6/21/2020
   6071257 3165 Latta Rd, Greece, NY 14612                            John Schlia                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/10/2007 VA 1-429-420             1/18/2008                 10/10/2007               6/28/2020
   6071259 3165 Latta Rd, Greece, NY 14612                            John Schlia                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/10/2007 VA 1-429-420             1/18/2008                 10/10/2007               6/24/2020
   6073145 2505 Haley St, Bakersfield, CA 93305                       Nicole Raymond                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       10/9/2007 VA 1-429-114             1/18/2008                  10/9/2007               8/11/2020
   6106824 263 Central Ave, Rochester, NY 14605                       John Schlia                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/12/2007 VA 1-429-420             1/18/2008                 10/12/2007               7/31/2020
   6108272 35 W Main St, Lake Zurich, IL 60047                        Kristie Ptaszek                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       10/4/2007 VA 1-429-134             1/18/2008                  10/4/2007               7/16/2020
   6139569 355 Greenleaf Ave, Park City, IL 60085                     Kristie Ptaszek                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/18/2007 VA 1-429-134             1/18/2008                 10/18/2007               6/17/2020
   6142571 710 Us-80, Flowood, MS 39232                               Sara McKercher                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/19/2007 VA 1-429-427             1/18/2008                 10/19/2007               6/29/2020
   6144209 1948 Del Paso Rd, Sacramento, CA 95834                     Melissa Greulich                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/19/2007 VA 1-429-654             1/18/2008                 10/19/2007               6/17/2020
   6144508 1751-1801 White Ln, Bakersfield, CA 93304                  Nicole Raymond                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/17/2007 VA 1-429-114             1/18/2008                 10/17/2007                8/8/2020
   6152728 2509 Platte Pl B, Colorado Springs, CO 80909               Robbie Bottorff                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/21/2007 VA 1-429-116             1/18/2008                 10/21/2007               6/22/2020
   6152731 2509 Platte Pl B, Colorado Springs, CO 80909               Robbie Bottorff                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/21/2007 VA 1-429-116             1/18/2008                 10/21/2007               6/29/2020
   6170690 46 Mount Hope Ave, Rochester, NY 14620                     John Schlia                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/24/2007 VA 1-429-420             1/18/2008                 10/24/2007               6/24/2020
   6179699 12400 Pembroke Rd, Miramar, FL 33027                       Mark White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/25/2007 VA 1-429-655             1/18/2008                 10/25/2007               6/28/2020
   6193890 5700 E Franklin Rd, Nampa, ID 83687                        Jonathan Scobby                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/26/2007 VA 1-429-119             1/18/2008                 10/26/2007               6/22/2020
   6193891 5700 E Franklin Rd, Nampa, ID 83687                        Jonathan Scobby                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/26/2007 VA 1-429-119             1/18/2008                 10/26/2007               6/19/2020
   6230144 2420 W Lynx Ln, Orlando, FL 32804                          Kevin Coleman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-649             1/18/2008                  11/1/2007               6/28/2020
   6230145 2420 W Lynx Ln, Orlando, FL 32804                          Kevin Coleman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-649             1/18/2008                  11/1/2007               6/21/2020
   6230146 2420 W Lynx Ln, Orlando, FL 32804                          Kevin Coleman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-649             1/18/2008                  11/1/2007               6/24/2020
   6230450 2341 N West Ave, Fresno, CA 93705                          Enrique Meza                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-121             1/18/2008                  11/1/2007               6/26/2020
   6230454 2341 N West Ave, Fresno, CA 93705                          Enrique Meza                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-121             1/18/2008                  11/1/2007               6/19/2020
   6230850 1 Arnold Dr, Huntington, NY 11743                          Walt Darson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-154             1/18/2008                  11/1/2007               6/23/2020
   6230867 130 W Tenth St, Huntington Station, NY 11746               Walt Darson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       11/1/2007 VA 1-429-154             1/18/2008                  11/1/2007               6/25/2020




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    6232296 6050 S Industrial Ct, Greendale, WI 53129            Chad Hug                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2007 VA 1-429-653              1/18/2008                  11/2/2007              6/22/2020
    6311298 1729 Columbus St, Bakersfield, CA 93305              Nicole Raymond                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2007 VA 1-429-114              1/18/2008                 11/12/2007              6/20/2020
    6311301 1729 Columbus St, Bakersfield, CA 93305              Nicole Raymond                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2007 VA 1-429-114              1/18/2008                 11/12/2007              6/23/2020
    6329214 3270 Summit Ridge Pky, Duluth, GA 30096              Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/15/2007 VA 1-429-142              1/18/2008                 11/15/2007              6/19/2020
   14430719 5740 W Baseline Rd, Laveen, AZ 85339                 Larry Moyse                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      10/6/2010 VA 1-434-900              2/23/2015                  10/6/2010              8/12/2020
    6352945 3775 Brickway Blvd, Santa Rosa, CA 95403             Chris Thompson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/19/2007 VA 1-429-417              1/18/2008                 11/19/2007              6/24/2020
    6362080 3055 Breckinridge Blvd, Duluth, GA 30096             Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/20/2007 VA 1-429-142              1/18/2008                 11/20/2007              6/26/2020
    6408951 13801 W Laurel Dr, Lake Forest, IL 60045             Kristie Ptaszek                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/14/2007 VA 1-429-134              1/18/2008                 11/14/2007               8/7/2020
    6414154 530 Franklin St, Schenectady, NY 12305               Matthew Cirincione                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/20/2007 VA 1-429-432              1/18/2008                 11/20/2007               2/6/2021
    6731054 1779 Woodruff Rd, Greenville, SC 29607               Christopher Newman                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/29/2007 VA 1-429-412              1/18/2008                 10/29/2007              6/23/2020
    6732252 36 Oswego St, Baldwinsville, NY 13027                Edward Bulken                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2007 VA 1-429-652              1/18/2008                 11/12/2007              6/19/2020
    6776702 4888 W Colonial Dr, Orlando, FL 32808                Kevin Coleman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2007 VA 1-429-649              1/18/2008                 10/15/2007               7/1/2020
    6902509 1612 Cape Coral Pky E, Cape Coral, FL 33904          Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/6/2007 VA 1-429-150              1/18/2008                   8/6/2007              6/21/2020
    8354356 213-221 Main St, Hartford, CT 06106                  Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/25/2008 VA 1-431-584              6/22/2009                  8/25/2008              6/21/2020

   8054554 106 E Alexis Rd, Toledo, OH 43612                     Dwayne Walker                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/16/2008 VA 1-431-094             6/22/2009                  7/16/2008               6/30/2020
   8287096 273-275 Asylum St, Hartford, CT 06103                 Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/15/2008 VA 1-431-584             6/22/2009                  8/15/2008               6/27/2020
   8654321 602 Columbia Tpke, East Greenbush, NY 12061           Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/3/2008 VA 1-431-584             6/22/2009                  10/3/2008                7/2/2020
   6667695 425 W 19th St, Panama City, FL 32405                  David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2008 VA 1-431-109             6/22/2009                  1/10/2008               6/29/2020
   7937038 526-528 Plum St, Syracuse, NY 13204                   Edward Bulken                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2008 VA 1-431-596             6/22/2009                  6/26/2008               6/19/2020
   7649252 2525 E Hammond Ave, Fresno, CA 93703                  Enrique Meza                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2008 VA 1-431-581             6/22/2009                  5/21/2008               6/18/2020
   7426172 4101-4119 W Green Tree Rd, Milwaukee, WI 53209        Daniel Makowski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/17/2008 VA 1-431-579             6/22/2009                  4/17/2008               6/19/2020
   7953221 1504 N Wishon Ave, Fresno, CA 93728                   Enrique Meza                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/27/2008 VA 1-431-581             6/22/2009                  6/27/2008               6/22/2020
   7552370 761 N Parkway St, Jefferson, WI 53549                 Daniel Makowski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/6/2008 VA 1-431-579             6/22/2009                   5/6/2008               6/24/2020
   8757858 2438 S West Ave, Fresno, CA 93706                     Enrique Meza                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/13/2008 VA 1-431-581             6/22/2009                 10/13/2008               6/20/2020
   8282101 765 Asylum Ave, Hartford, CT 06105                    Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2008 VA 1-431-584             6/22/2009                  8/14/2008               6/29/2020
   8867011 100 Prairie Center Dr, Eden Prairie, MN 55344         David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/28/2008 VA 1-431-144             6/22/2009                 10/28/2008               8/11/2020
   7198552 2 Coolidge St, Hudson, MA 01749                       Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/28/2008 VA 1-431-584             6/22/2009                  3/28/2008               6/28/2020
   7547958 841 Route 32, North Franklin, CT 06254                Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/6/2008 VA 1-431-584             6/22/2009                   5/6/2008               7/31/2020
   7762726 133-141 State St, Springfield, MA 01103               Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/8/2008 VA 1-431-584             6/22/2009                   6/8/2008               6/24/2020
   7871773 3701 W Old Shakopee Rd, Bloomington, MN 55431         David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/18/2008 VA 1-431-144             6/22/2009                  6/18/2008               6/20/2020
   8524433 4100 N Berkshire Ln, Plymouth, MN 55446               David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/17/2008 VA 1-431-144             6/22/2009                  9/17/2008               6/24/2020
   8812174 6216 Baker Rd, Eden Prairie, MN 55346                 David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/21/2008 VA 1-431-144             6/22/2009                 10/21/2008               6/19/2020
   8843987 10340 Viking Dr, Eden Prairie, MN 55344               David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/25/2008 VA 1-431-144             6/22/2009                 10/25/2008                8/8/2020
   6719674 686 Main St, Watertown, CT 06795                      Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/18/2008 VA 1-431-584             6/22/2009                  1/18/2008               6/19/2020
   7274337 2049 Silas Deane Hwy, Rocky Hill, CT 06067            Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/15/2008 VA 1-431-584             6/22/2009                  3/15/2008               6/17/2020
   8952110 638 Kane St, Burlington, WI 53105                     Daniel Makowski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/6/2008 VA 1-431-579             6/22/2009                  11/6/2008               6/25/2020
   7606363 2710 N Stemmons Fwy, Dallas, TX 75207                 Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/14/2008 VA 1-431-147             6/22/2009                  5/14/2008               6/23/2020
   8826669 1204 Powhattan St, Dallas, TX 75215                   Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/21/2008 VA 1-431-147             6/22/2009                 10/21/2008               5/16/2020
   7927647 200 S Executive Dr, Brookfield, WI 53005              Daniel Makowski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2008 VA 1-431-579             6/22/2009                  6/25/2008               6/19/2020
   8539416 2155 Innovation Way, Hartford, WI 53027               Daniel Makowski                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2008 VA 1-431-579             6/22/2009                  9/20/2008               6/21/2020
   6908699 240 Monmouth Rd, Oakhurst, NJ 07755                   Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/12/2008 VA 1-431-142             6/22/2009                  2/12/2008                8/8/2020
   7088562 368 Lincoln Blvd, Middlesex, NJ 08846                 Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/6/2008 VA 1-431-142             6/22/2009                   3/6/2008               8/11/2020
   7231488 17 Schoolhouse Rd, Somerset, NJ 08873                 Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2008 VA 1-431-142             6/22/2009                   4/2/2008               6/20/2020
   7272565 113 Mountain Ave, Middlesex, NJ 08846                 Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2008 VA 1-431-142             6/22/2009                   4/7/2008               6/17/2020
   7932345 1600 W Elizabeth Ave, Linden, NJ 07036                Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2008 VA 1-431-142             6/22/2009                  6/26/2008               6/25/2020

   6749069 777 State Route 125, Cincinnati, OH 45245             Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/18/2008 VA 1-431-087             6/22/2009                  1/18/2008               6/20/2020

   7547505 36 W Pike St, Covington, KY 41011                     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2008 VA 1-431-087             6/22/2009                   5/6/2008               7/15/2020

   7547508 36 W Pike St, Covington, KY 41011                     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2008 VA 1-431-087             6/22/2009                   5/6/2008               7/15/2020

   7566463 419 Greenup St, Covington, KY 41011                   Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/8/2008 VA 1-431-087             6/22/2009                   5/8/2008               6/20/2020

   7566470 419 Greenup St, Covington, KY 41011                   Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/8/2008 VA 1-431-087             6/22/2009                   5/8/2008               6/24/2020

   7629744 10 Price Ave, Erlanger, KY 41018                      Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2008 VA 1-431-087             6/22/2009                  5/19/2008               6/27/2020

   8617861 205-209 W 4th St, Cincinnati, OH 45202                Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/29/2008 VA 1-431-087             6/22/2009                  9/29/2008               6/23/2020
   6719361 159 N MacDade Blvd, Glenolden, PA 19036               Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/17/2008 VA 1-431-095             6/22/2009                  1/17/2008                8/8/2020
   6719362 159 N MacDade Blvd, Glenolden, PA 19036               Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/17/2008 VA 1-431-095             6/22/2009                  1/17/2008                8/9/2020
   6719363 159 N MacDade Blvd, Glenolden, PA 19036               Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/17/2008 VA 1-431-095             6/22/2009                  1/17/2008               8/11/2020
   7008634 950 Rittenhouse Rd, Norristown, PA 19403              Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/26/2008 VA 1-431-095             6/22/2009                  2/26/2008                7/8/2020
   7008636 950 Rittenhouse Rd, Norristown, PA 19403              Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/26/2008 VA 1-431-095             6/22/2009                  2/26/2008                7/8/2020
   7232167 100 Ross Rd, King of Prussia, PA 19406                Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/1/2008 VA 1-431-095             6/22/2009                   4/1/2008               8/11/2020
   7232250 100 Ross Rd, King of Prussia, PA 19406                Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/1/2008 VA 1-431-095             6/22/2009                   4/1/2008               8/11/2020
   7506623 1435 W Main St, Norristown, PA 19403                  Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/30/2008 VA 1-431-095             6/22/2009                  4/30/2008              11/13/2020
   7547616 499 S Henderson Rd, King Of Prussia, PA 19406         Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/6/2008 VA 1-431-095             6/22/2009                   5/6/2008               5/16/2020
   7547620 499 S Henderson Rd, King Of Prussia, PA 19406         Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/6/2008 VA 1-431-095             6/22/2009                   5/6/2008               5/16/2020
   7547624 499 S Henderson Rd, King Of Prussia, PA 19406         Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/6/2008 VA 1-431-095             6/22/2009                   5/6/2008               5/16/2020
   7585126 310-320 E Johnson Hwy, Norristown, PA 19401           Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/12/2008 VA 1-431-095             6/22/2009                  5/12/2008               6/28/2020
   7652918 357 S Gulph Rd, King of Prussia, PA 19406             Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/5/2008 VA 1-431-095             6/22/2009                   5/5/2008               6/27/2020
   8985070 1 Fallsington Ave, Tullytown, PA 19007                Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/11/2008 VA 1-431-095             6/22/2009                 11/11/2008                7/8/2020
   9125656 1720 Kendarbren Dr, Jamison, PA 18929                 Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/26/2008 VA 1-431-095             6/22/2009                 11/26/2008                8/8/2020
   9125659 1720 Kendarbren Dr, Jamison, PA 18929                 Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/26/2008 VA 1-431-095             6/22/2009                 11/26/2008               8/11/2020
   9228623 880 Enterprise Dr, Royersford, PA 19468               Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/15/2008 VA 1-431-095             6/22/2009                 12/15/2008               6/19/2020
   6749567 3401 W Mercury Blvd, Hampton, VA 23666                Randy Rose                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/18/2008 VA 1-431-110             6/22/2009                  1/18/2008               6/28/2020
   6845192 101 S Colonial Ave, Richmond, VA 23221                Randy Rose                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/1/2008 VA 1-431-110             6/22/2009                   2/1/2008               6/21/2020
   6845193 101 S Colonial Ave, Richmond, VA 23221                Randy Rose                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/1/2008 VA 1-431-110             6/22/2009                   2/1/2008               6/23/2020




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    6977263 1523 W Cary St, Richmond, VA 23220                       Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/22/2008 VA 1-431-110              6/22/2009                  2/22/2008               6/20/2020
    7273808 147-149 N Main St, Suffolk, VA 23434                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/25/2008 VA 1-431-110              6/22/2009                  3/25/2008               10/3/2020
    7297312 7489 Right Flank Rd, Mechanicsville, VA 23116            Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/18/2008 VA 1-431-110              6/22/2009                  3/18/2008                5/1/2021
    7337242 509-511 N Meadow St, Richmond, VA 23220                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/10/2008 VA 1-431-110              6/22/2009                  3/10/2008               6/25/2020
    7674971 10194 Warwick Blvd, Newport News, VA 23601               Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2008 VA 1-431-110              6/22/2009                  5/13/2008               6/27/2020
    7852414 4613-4619 Chester Square Rd, Chester, VA 23831           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/16/2008 VA 1-431-110              6/22/2009                  6/16/2008               6/24/2020
    7852415 4613-4619 Chester Square Rd, Chester, VA 23831           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/17/2008 VA 1-431-110              6/22/2009                  6/17/2008               6/19/2020
    8019918 2307-2311 E Broad St, Richmond, VA 23223                 Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/11/2008 VA 1-431-110              6/22/2009                  7/11/2008               6/24/2020
    8388449 7629 Chesapeake Blvd, Norfolk, VA 23513                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2008 VA 1-431-110              6/22/2009                  8/29/2008              11/14/2020
    8510495 4613-4619 Chester Square Rd, Chester, VA 23831           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/17/2008 VA 1-431-110              6/22/2009                  9/17/2008               6/19/2020
    8540866 837-855 E Little Creek Rd, Norfolk, VA 23518             Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/3/2008 VA 1-431-110              6/22/2009                   9/3/2008                7/3/2020
    8765267 2501-2525 W Mercury Blvd, Hampton, VA 23666              Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2008 VA 1-431-110              6/22/2009                 10/15/2008               6/19/2020
    8834820 7335 George Washington Memoria Hwy, Yorktown, VA 23692   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/23/2008 VA 1-431-110              6/22/2009                 10/23/2008               8/10/2020
    9194268 27 Walnut Blvd, Petersburg, VA 23805                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2008 VA 1-431-110              6/22/2009                  12/8/2008                7/3/2020
    9194271 27 Walnut Blvd, Petersburg, VA 23805                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2008 VA 1-431-110              6/22/2009                  12/8/2008               6/17/2020
    9277981 4613-4619 Chester Square Rd, Chester, VA 23831           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2008 VA 1-431-110              6/22/2009                 12/22/2008               6/19/2020
    9299911 2053 S Crater Rd, Petersburg, VA 23805                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2008 VA 1-431-110              6/22/2009                 12/30/2008               6/19/2020
    9299912 2053 S Crater Rd, Petersburg, VA 23805                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2008 VA 1-431-110              6/22/2009                 12/30/2008               6/17/2020
    9299915 1963 S Crater Rd, Petersburg, VA 23805                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2008 VA 1-431-110              6/22/2009                 12/30/2008               6/24/2020
    8812172 6216 Baker Rd, Eden Prairie, MN 55346                    David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     10/21/2008 VA 1-431-144              6/22/2009                 10/21/2008               6/20/2020
    7819170 1825 Fort View Rd, Austin, TX 78704                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/14/2008 VA 1-431-590              6/22/2009                  6/14/2008               11/7/2020
    6772782 35 Tower Ln, Avon, CT 06001                              Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/24/2008 VA 1-431-584              6/22/2009                  1/24/2008               6/27/2020
    6997919 290 Roberts St, East Hartford, CT 06108                  Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/22/2008 VA 1-431-584              6/22/2009                  2/22/2008               6/22/2020
    7274408 7 Glenwood Rd, Clinton, CT 06413                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/24/2008 VA 1-431-584              6/22/2009                  3/24/2008               6/30/2020
    7698384 130 Southampton Rd, Westfield, MA 01085                  Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       6/2/2008 VA 1-431-584              6/22/2009                   6/2/2008               10/9/2020
    8354348 207 Main St, Hartford, CT 06106                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/25/2008 VA 1-431-584              6/22/2009                  8/25/2008               6/24/2020
    8363411 19-25 Main St, Hartford, CT 06106                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/26/2008 VA 1-431-584              6/22/2009                  8/26/2008               10/7/2020
    8601593 16 2nd Ave, Rensselaer, NY 12144                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/27/2008 VA 1-431-584              6/22/2009                  9/27/2008                4/7/2021
    8895802 26-30 Sherman St, Hartford, CT 06105                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/30/2008 VA 1-431-584              6/22/2009                 10/30/2008               6/30/2020
    8895808 26-30 Sherman St, Hartford, CT 06105                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/30/2008 VA 1-431-584              6/22/2009                 10/30/2008               6/20/2020
    9015106 554 New Park Ave, West Hartford, CT 06110                Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2008 VA 1-431-584              6/22/2009                 11/13/2008               6/17/2020
    6971474 570 Nooseneck Hill Rd, Exeter, RI 02822                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/20/2008 VA 1-431-079              6/22/2009                  2/20/2008               6/20/2020
    7338698 5 Cohannet St, Taunton, MA 02780                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/11/2008 VA 1-431-079              6/22/2009                  3/11/2008               6/24/2020
    7338700 5 Cohannet St, Taunton, MA 02780                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/11/2008 VA 1-431-079              6/22/2009                  3/11/2008               6/19/2020
    7763546 150 Chestnut St, Providence, RI 02903                    Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/31/2008 VA 1-431-079              6/22/2009                  5/31/2008               6/18/2020
    7763547 150 Chestnut St, Providence, RI 02903                    Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/31/2008 VA 1-431-079              6/22/2009                  5/31/2008               6/22/2020
    7823462 364 Wellington Ave, Cranston, RI 02910                   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/12/2008 VA 1-431-079              6/22/2009                  6/12/2008               6/22/2020
    8374696 20 Cabot Blvd, Mansfield, MA 02048                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/27/2008 VA 1-431-079              6/22/2009                  8/27/2008               6/17/2020
    8374782 20 Cabot Blvd, Mansfield, MA 02048                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/27/2008 VA 1-431-079              6/22/2009                  8/27/2008               6/20/2020
    9235102 71 South County Commons Way, South Kingstown, RI 02879   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/15/2008 VA 1-431-079              6/22/2009                 12/15/2008               6/19/2020

   8812863 15 E Water St, Norwalk, OH 44857                          Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/21/2008 VA 1-431-094             6/22/2009                 10/21/2008               7/20/2020

   8812866 15 E Water St, Norwalk, OH 44857                          Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/21/2008 VA 1-431-094             6/22/2009                 10/21/2008               7/17/2020
   7341844 902 Sycamore Ave, Vista, CA 92081                         Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/10/2008 VA 1-432-719             6/22/2009                  4/10/2008               6/22/2020
   7341845 902 Sycamore Ave, Vista, CA 92081                         Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/10/2008 VA 1-432-719             6/22/2009                  4/10/2008               6/18/2020
   7984646 5300-5320 Eastgate Mall, San Diego, CA 92121              Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/8/2008 VA 1-432-719             6/22/2009                   7/8/2008               8/10/2020
   7984651 5300-5320 Eastgate Mall, San Diego, CA 92121              Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/8/2008 VA 1-432-719             6/22/2009                   7/8/2008               8/11/2020
   8088386 3231 Waring Ct, Oceanside, CA 92056                       Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/21/2008 VA 1-432-719             6/22/2009                  7/21/2008               6/27/2020
   8126594 4149 Avenida De La Plata, Oceanside, CA 92056             Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/25/2008 VA 1-432-719             6/22/2009                  7/25/2008               8/10/2020
   8619276 3186 Lionshead Ave, Carlsbad, CA 92010                    Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/29/2008 VA 1-432-719             6/22/2009                  9/29/2008                7/2/2020
   8706332 7582 Trade St, San Diego, CA 92121                        Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/8/2008 VA 1-432-719             6/22/2009                  10/8/2008               6/24/2020
   8706334 7582 Trade St, San Diego, CA 92121                        Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/8/2008 VA 1-432-719             6/22/2009                  10/8/2008                7/1/2020
   8840661 9600-9606 Kearny Villa Rd, San Diego, CA 92126            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/24/2008 VA 1-432-719             6/22/2009                 10/24/2008               6/23/2020
   8862092 9750 Miramar Rd, San Diego, CA 92126                      Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/27/2008 VA 1-432-719             6/22/2009                 10/27/2008               6/30/2020
   9321534 6753 El Cajon Blvd, San Diego, CA 92115                   Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/31/2008 VA 1-432-719             6/22/2009                 12/31/2008                7/5/2020
   8429028 4409 Cleveland Rd, Sandusky, OH 44870                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2008 VA 1-431-582             6/22/2009                   9/5/2008               7/17/2020
   8429030 4409 Cleveland Rd, Sandusky, OH 44870                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2008 VA 1-431-582             6/22/2009                   9/5/2008               7/17/2020
   8463820 1420 Sycamore Line Rd, Sandusky, OH 44870                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2008 VA 1-431-582             6/22/2009                  9/10/2008               6/24/2020
   8463822 1420 Sycamore Line Rd, Sandusky, OH 44870                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2008 VA 1-431-582             6/22/2009                  9/10/2008               6/28/2020
   8601870 34205 Aurora Rd, Solon, OH 44139                          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/26/2008 VA 1-431-582             6/22/2009                  9/26/2008               6/18/2020
   8601871 34205 Aurora Rd, Solon, OH 44139                          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/26/2008 VA 1-431-582             6/22/2009                  9/26/2008               6/23/2020
   9085002 4560 E Liberty Ave, Vermilion, OH 44089                   Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/22/2008 VA 1-431-582             6/22/2009                 11/22/2008               6/30/2020
   7235907 2092 Omega Rd, San Ramon, CA 94583                        Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        4/4/2008 VA 1-432-720             6/22/2009                   4/4/2008               6/21/2020
   7235911 2092 Omega Rd, San Ramon, CA 94583                        Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        4/4/2008 VA 1-431-768             6/22/2009                   4/4/2008               6/23/2020
   6667696 425 W 19th St, Panama City, FL 32405                      David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2008 VA 1-431-109             6/22/2009                  1/10/2008               6/29/2020
   7247866 2001 NE 39th St, Lighthouse Point, FL 33064               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2008 VA 1-431-088             6/22/2009                   4/4/2008                7/1/2020
   7306264 6781 NW 17th Ave, Fort Lauderdale, FL 33309               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/24/2008 VA 1-431-088             6/22/2009                  3/24/2008               6/23/2020
   8186419 11750 Wiles Rd, Coral Springs, FL 33076                   Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/1/2008 VA 1-431-088             6/22/2009                   8/1/2008                7/1/2020
   8594777 7710 NW 71st Ct, Tamarac, FL 33321                        Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/24/2008 VA 1-431-088             6/22/2009                  9/24/2008               6/23/2020

   7054107 3709 E Washington St, Indianapolis, IN 46201              Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/28/2008 VA 1-431-084             6/22/2009                  2/28/2008               6/21/2020

   7487975 3623 E Southport Rd, Indianapolis, IN 46227               Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/28/2008 VA 1-431-084             6/22/2009                  4/28/2008               7/31/2020

   7563146 3633 Kentucky Ave, Indianapolis, IN 46221                 Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/7/2008 VA 1-431-084             6/22/2009                   5/7/2008                3/8/2021

   9162426 1102 Chestnut Hills Pky, Fort Wayne, IN 46814             Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/4/2008 VA 1-431-084             6/22/2009                  12/4/2008               6/19/2020

   9162428 1102 Chestnut Hills Pky, Fort Wayne, IN 46814             Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/4/2008 VA 1-431-084             6/22/2009                  12/4/2008               6/23/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                     15
                                                                    Case 2:20-cv-08819-CBM-AS                                    Document 950-1 Filed 10/25/24                                                                   Page 43 of 202 Page
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Attachment                                                                                      Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                          Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    7347419 10175 Fortune Pky, Jacksonville, FL 32256                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/16/2008 VA 1-431-136              6/22/2009                  3/16/2008              6/24/2020
    7347423 10175 Fortune Pky, Jacksonville, FL 32256                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/16/2008 VA 1-431-136              6/22/2009                  3/16/2008              6/21/2020
    7811536 550 Balmoral Cir, Jacksonville, FL 32218                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/9/2008 VA 1-431-136              6/22/2009                   6/9/2008              8/12/2020
    8070002 155 Blanding Blvd, Orange Park, FL 32073                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2008 VA 1-431-136              6/22/2009                  7/17/2008              7/23/2020
    7238608 121 Pierce St, Gilroy, CA 95020                              Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       4/1/2008 VA 1-431-586              6/22/2009                   4/1/2008              6/25/2020
    8406769 485 South Dr, Mountain View, CA 94040                        Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       9/2/2008 VA 1-431-586              6/22/2009                   9/2/2008              6/20/2020
    6623421 230 Industrial Dr, Fredericksburg, VA 22408                  Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/4/2008 VA 1-431-098              6/22/2009                   1/4/2008              6/22/2020
    6829705 8551 Rixlew Ln, Manassas, VA 20109                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/1/2008 VA 1-431-098              6/22/2009                   2/1/2008              6/20/2020
    6829722 8886 Rixlew Ln, Manassas, VA 20109                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/1/2008 VA 1-431-098              6/22/2009                   2/1/2008              6/24/2020
    6856514 21165 Whitfield Pl, Sterling, VA 20165                       Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/5/2008 VA 1-431-098              6/22/2009                   2/5/2008              6/29/2020
    7018948 7217 Lockport Pl, Lorton, VA 22079                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/28/2008 VA 1-431-098              6/22/2009                  2/28/2008              6/22/2020
    7022422 945 Edwards Ferry Rd, Leesburg, VA 20176                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/27/2008 VA 1-431-098              6/22/2009                  2/27/2008              6/23/2020
    7924759 11240 Waples Mill Rd, Fairfax, VA 22030                      Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/25/2008 VA 1-431-098              6/22/2009                  6/25/2008               3/4/2021
    8055556 1504 Princess Anne St, Fredericksburg, VA 22401              Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/16/2008 VA 1-431-098              6/22/2009                  7/16/2008              6/24/2020
    8099681 312 Progress St, Fredericksburg, VA 22401                    Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/22/2008 VA 1-431-098              6/22/2009                  7/22/2008              6/24/2020
    8112328 314-316 Forbes St, Fredericksburg, VA 22401                  Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/23/2008 VA 1-431-098              6/22/2009                  7/23/2008              6/21/2020
    8172926 601-623 Jefferson Davis Hwy, Fredericksburg, VA 22401        Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/30/2008 VA 1-431-098              6/22/2009                  7/30/2008              6/24/2020
    8172947 211-321 Park Hill Dr, Fredericksburg, VA 22401               Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/30/2008 VA 1-431-098              6/22/2009                  7/30/2008              6/21/2020
    8315270 2105 Jefferson Davis Hwy, Fredericksburg, VA 22401           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/19/2008 VA 1-431-098              6/22/2009                  8/19/2008              6/24/2020
    8841360 1827-1831 14th St NW, Washington, DC 20009                   Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/24/2008 VA 1-431-098              6/22/2009                 10/24/2008               7/4/2020

   7568578 1444-1448 NE Weidler St, Portland, OR 97232                   Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/8/2008 VA 1-431-597             6/22/2009                   5/8/2008              11/26/2020

   8825548 4850 SW Scholls Ferry Rd, Portland, OR 97225                  Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      10/22/2008 VA 1-431-597             6/22/2009                 10/22/2008               6/21/2020

   7623517 863 E Market St, Akron, OH 44305                              Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/16/2008 VA 1-431-096             6/22/2009                  5/16/2008               6/22/2020

   7887370 5685 Hudson Industrial Pky, Hudson, OH 44236                  Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/20/2008 VA 1-431-096             6/22/2009                  6/20/2008               8/12/2020

   8162395 1924 E Market St, Warren, OH 44483                            Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/29/2008 VA 1-431-096             6/22/2009                  7/29/2008               6/24/2020

   8182431 999 Pine Ave, Warren, OH 44483                                Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/31/2008 VA 1-431-096             6/22/2009                  7/31/2008               6/24/2020

   8660938 147 W Liberty St, Hubbard, OH 44425                           Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/4/2008 VA 1-431-096             6/22/2009                  10/4/2008               8/10/2020

   8814160 3400 Market St, Youngstown, OH 44507                          Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/21/2008 VA 1-431-096             6/22/2009                 10/21/2008                6/7/2021
    980471 444 James Robertson Pky, Nashville, TN 37219                  Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2008 VA 1-431-137             6/22/2009                  4/12/2008               6/19/2020
   6638354 1301-1319 Central Ct, Hermitage, TN 37076                     Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2008 VA 1-431-137             6/22/2009                   1/7/2008               2/12/2021
   6921974 50 Vantage Way, Nashville, TN 37228                           Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2008 VA 1-431-137             6/22/2009                  2/13/2008               6/22/2020
   7189883 1 Vantage Way, Nashville, TN 37228                            Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2008 VA 1-431-137             6/22/2009                  3/27/2008                2/1/2021
   7259717 1912 Church St, Nashville, TN 37203                           Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2008 VA 1-431-137             6/22/2009                  3/28/2008               4/23/2020
   7282073 2001 Charlotte Ave, Nashville, TN 37203                       Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2008 VA 1-431-137             6/22/2009                  3/27/2008               8/12/2020
   9010827 1920 Nolensville Rd, Nashville, TN 37211                      Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/13/2008 VA 1-431-137             6/22/2009                 11/13/2008               4/23/2020
   8650486 1575 20th St NW, Faribault, MN 55021                          Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       10/2/2008 VA 1-431-093             6/22/2009                  10/2/2008               6/23/2020
   8650488 1575 20th St NW, Faribault, MN 55021                          Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       10/2/2008 VA 1-431-093             6/22/2009                  10/2/2008               6/18/2020
   6648934 1256 Hooksett Rd, Hooksett, NH 03106                          Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        1/8/2008 VA 1-431-140             6/22/2009                   1/8/2008               6/21/2020
   8586713 1305-1309 Altamont Ave, Schenectady, NY 12303                 Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/24/2008 VA 1-431-140             6/22/2009                  9/24/2008               6/17/2020
   8586716 1305-1309 Altamont Ave, Schenectady, NY 12303                 Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/24/2008 VA 1-431-140             6/22/2009                  9/24/2008               6/22/2020
   9157078 848 Minot Ave, Auburn, ME 04210                               Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/3/2008 VA 1-431-140             6/22/2009                  12/3/2008                7/1/2020
   8183233 4300 N Central Expy, Dallas, TX 75206                         Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/30/2008 VA 1-431-147             6/22/2009                  7/30/2008               6/27/2020
   8826621 2223 S Cesar Chavez Blvd, Dallas, TX 75215                    Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/22/2008 VA 1-431-147             6/22/2009                 10/22/2008               6/18/2020
   8826622 2223 S Cesar Chavez Blvd, Dallas, TX 75215                    Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/22/2008 VA 1-431-147             6/22/2009                 10/22/2008               6/24/2020
   8826666 1204 Powhattan St, Dallas, TX 75215                           Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/21/2008 VA 1-431-147             6/22/2009                 10/21/2008               5/16/2020
   8826667 1204 Powhattan St, Dallas, TX 75215                           Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/21/2008 VA 1-431-147             6/22/2009                 10/21/2008               5/16/2020
   8837536 1912 S Harwood St, Dallas, TX 75215                           Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/23/2008 VA 1-431-147             6/22/2009                 10/23/2008               6/30/2020
   8837540 2206 Harwood St, Dallas, TX 75215                             Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/23/2008 VA 1-431-147             6/22/2009                 10/23/2008               6/21/2020
   8837541 1912 S Harwood St, Dallas, TX 75215                           Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/23/2008 VA 1-431-147             6/22/2009                 10/23/2008               6/18/2020
   8891999 2614-2618 Jeffries, Dallas, TX 75215                          Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2008 VA 1-431-147             6/22/2009                 10/30/2008               6/18/2020
   9011778 3125 Ross Ave, Dallas, TX 75204                               Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/13/2008 VA 1-431-147             6/22/2009                 11/13/2008               6/22/2020
   7289198 236 Schuyler Ave, Kearny, NJ 07032                            John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       3/24/2008 VA 1-431-097             6/22/2009                  3/24/2008               1/17/2021
   7289200 236 Schuyler Ave, Kearny, NJ 07032                            John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       3/24/2008 VA 1-431-097             6/22/2009                  3/24/2008               1/17/2021
   7468978 61-69 Rt 46, Lodi, NJ 07644                                   John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       4/24/2008 VA 1-431-097             6/22/2009                  4/24/2008               6/29/2020
   8734185 758 Arthur Kill Rd, Staten Island, NY 10312                   John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/10/2008 VA 1-431-097             6/22/2009                 10/10/2008                8/8/2020
   8734187 758 Arthur Kill Rd, Staten Island, NY 10312                   John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/10/2008 VA 1-431-097             6/22/2009                 10/10/2008                8/8/2020
   8837699 30 Columbia Tpke, Florham Park, NJ 07932                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/23/2008 VA 1-431-097             6/22/2009                 10/23/2008               6/30/2020
   7874783 1479 S Belcher Rd, Largo, FL 33771                            James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/28/2008 VA 1-431-639             6/22/2009                  1/28/2008               7/31/2020
   7874786 1479 S Belcher Rd, Largo, FL 33771                            James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/28/2008 VA 1-431-639             6/22/2009                  1/28/2008               7/31/2020
   7890132 1180 Ponce De Leon Blvd, Clearwater, FL 33756                 James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/21/2008 VA 1-431-639             6/22/2009                  6/21/2008               6/29/2020
   9324698 7424 4th St N, Saint Petersburg, FL 33702                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/27/2008 VA 1-431-639             6/22/2009                 12/27/2008               7/18/2020
   6659685 16029-16081 Comprint Cir, Gaithersburg, MD 20877              Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2008 VA 1-431-090             6/22/2009                   1/9/2008               7/18/2020
   6669254 14800-14820 Physicians Ln, Rockville, MD 20850                Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2008 VA 1-431-090             6/22/2009                  1/10/2008               7/20/2020
   6669263 14800-14820 Physicians Ln, Rockville, MD 20850                Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2008 VA 1-431-090             6/22/2009                  1/10/2008               7/20/2020
   6669369 121 Congressional Ln, Rockville, MD 20852                     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/8/2008 VA 1-431-090             6/22/2009                   1/8/2008               7/20/2020
   6669370 121 Congressional Ln, Rockville, MD 20852                     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/8/2008 VA 1-431-090             6/22/2009                   1/8/2008               7/20/2020
   6691612 401 E Diamond Ave, Gaithersburg, MD 20877                     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/14/2008 VA 1-431-090             6/22/2009                  1/14/2008               7/20/2020
   6712280 839 Quince Orchard Blvd, Gaithersburg, MD 20878               Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2008 VA 1-431-090             6/22/2009                  1/16/2008                8/9/2020
   6712300 7610-7622 Rickenbacker Dr, Gaithersburg, MD 20879             Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2008 VA 1-431-090             6/22/2009                  1/16/2008               7/20/2020
   6765571 804 Pershing Dr, Silver Spring, MD 20910                      Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/23/2008 VA 1-431-090             6/22/2009                  1/23/2008               6/24/2020
   7012231 2405 22nd St NE, Washington, DC 20018                         Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/26/2008 VA 1-431-090             6/22/2009                  2/26/2008               6/20/2020
   7289558 218 7th St SE, Washington, DC 20003                           Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2008 VA 1-431-090             6/22/2009                   4/4/2008               6/22/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                         16
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    7289559 218 7th St SE, Washington, DC 20003                    Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/4/2008 VA 1-431-090              6/22/2009                   4/4/2008              6/29/2020
    7312049 611 Pennsylvania Ave SE, Washington, DC 20003          Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/8/2008 VA 1-431-090              6/22/2009                   4/8/2008               8/9/2020
    7312072 914-916 Pennsylvania Ave SE, Washington, DC 20003      Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/8/2008 VA 1-431-090              6/22/2009                   4/8/2008              7/30/2020
    7520957 9401 Key West Ave, Rockville, MD 20850                 Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       5/1/2008 VA 1-431-090              6/22/2009                   5/1/2008              7/20/2020
    7520961 9401 Key West Ave, Rockville, MD 20850                 Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       5/1/2008 VA 1-431-090              6/22/2009                   5/1/2008              7/20/2020
    7648943 3715 Rhode Island Ave, Mount Rainier, MD 20712         Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      5/21/2008 VA 1-431-090              6/22/2009                  5/21/2008              6/24/2020
    7655602 301 S Frederick Ave, Gaithersburg, MD 20877            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      5/23/2008 VA 1-431-090              6/22/2009                  5/23/2008              5/16/2020
    8071379 50 Citizens Way, Frederick, MD 21701                   Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      7/17/2008 VA 1-431-090              6/22/2009                  7/17/2008              6/23/2020
    8291341 603 Southlawn Ln, Rockville, MD 20850                  Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/16/2008 VA 1-431-090              6/22/2009                  8/16/2008              5/16/2020
    8325718 4 S McCain Dr, Frederick, MD 21703                     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/20/2008 VA 1-431-090              6/22/2009                  8/20/2008              6/29/2020
    8340406 14900 Southlawn Ln, Rockville, MD 20850                Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/22/2008 VA 1-431-090              6/22/2009                  8/22/2008              7/20/2020
    8340502 1682 E Gude Dr, Rockville, MD 20850                    Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/22/2008 VA 1-431-090              6/22/2009                  8/22/2008              7/18/2020
    8340504 1682 E Gude Dr, Rockville, MD 20850                    Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/22/2008 VA 1-431-090              6/22/2009                  8/22/2008              7/18/2020
    8971838 202 Perry Pky, Gaithersburg, MD 20877                  Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/10/2008 VA 1-431-090              6/22/2009                 11/10/2008              7/20/2020
    8971839 202 Perry Pky, Gaithersburg, MD 20877                  Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/10/2008 VA 1-431-090              6/22/2009                 11/10/2008              7/20/2020
    9111502 100 S Washington St, Rockville, MD 20850               Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/26/2008 VA 1-431-090              6/22/2009                 11/26/2008              7/20/2020
    9217252 140 LeGrand Ave, Northvale, NJ 07647                   Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500     12/10/2008 VA 1-431-617              6/22/2009                 12/10/2008              8/12/2020
    9217256 140 LeGrand Ave, Northvale, NJ 07647                   Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500     12/10/2008 VA 1-431-617              6/22/2009                 12/10/2008               8/9/2020
    7001373 1501 SR 436, Casselberry, FL 32730                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      2/22/2008 VA 1-432-718              6/22/2009                  2/22/2008              6/20/2020
    7001376 1501 SR 436, Casselberry, FL 32730                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      2/22/2008 VA 1-432-718              6/22/2009                  2/22/2008              6/21/2020
    7001435 9400 US Highway 17/92, Maitland, FL 32751              Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      2/25/2008 VA 1-432-718              6/22/2009                  2/25/2008              6/22/2020
    7313110 5271 BTC Pl, Kissimmee, FL 34758                       Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/11/2008 VA 1-432-718              6/22/2009                  4/11/2008              6/21/2020
    7448883 1945 Traylor Blvd, Orlando, FL 32804                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/22/2008 VA 1-432-718              6/22/2009                  4/22/2008              6/25/2020
    7448884 1945 Traylor Blvd, Orlando, FL 32804                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/22/2008 VA 1-432-718              6/22/2009                  4/22/2008              6/22/2020
    7448885 3025 Edgewater Dr, Orlando, FL 32804                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/22/2008 VA 1-432-718              6/22/2009                  4/22/2008              6/29/2020
    8275491 107-109 W Commercial St, Sanford, FL 32771             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/13/2008 VA 1-432-718              6/22/2009                  8/13/2008              6/21/2020
    8275493 107-109 W Commercial St, Sanford, FL 32771             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/13/2008 VA 1-432-718              6/22/2009                  8/13/2008              6/19/2020
    8476772 700 Historic Goldsboro Blvd, Sanford, FL 32771         Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/29/2008 VA 1-432-718              6/22/2009                  8/29/2008               7/3/2020
    8502881 3678 County Road 561, Tavares, FL 32778                Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/22/2008 VA 1-432-718              6/22/2009                  4/22/2008              6/26/2021
    8815775 1130 Business Center Dr, Lake Mary, FL 32746           Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/21/2008 VA 1-432-718              6/22/2009                 10/21/2008               7/5/2020
    8815777 1130 Business Center Dr, Lake Mary, FL 32746           Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/21/2008 VA 1-432-718              6/22/2009                 10/21/2008              6/30/2020
    9037691 1958 W New Hampshire St, Orlando, FL 32804             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/17/2008 VA 1-432-718              6/22/2009                 11/17/2008              6/18/2020
    9206197 27829 US Hwy 27, Leesburg, FL 34748                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/10/2008 VA 1-432-718              6/22/2009                 12/10/2008              12/8/2020
    9237404 14522 Landstar Blvd, Orlando, FL 32824                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/15/2008 VA 1-432-718              6/22/2009                 12/15/2008              6/19/2020
    9237406 14522 Landstar Blvd, Orlando, FL 32824                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/15/2008 VA 1-432-718              6/22/2009                 12/15/2008              6/22/2020
    9254855 7297 S Conway Rd, Orlando, FL 32812                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/17/2008 VA 1-432-718              6/22/2009                 12/17/2008              11/9/2020
    7264822 4651 Brookhollow Cir, Jurupa Valley, CA 92509          Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      3/27/2008 VA 1-431-599              6/22/2009                  3/27/2008              10/2/2020
    7378177 5300 Arlington Ave, Riverside, CA 92504                Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/3/2008 VA 1-431-599              6/22/2009                   4/3/2008              6/17/2020
    8115004 31739 Riverside Dr, Lake Elsinore, CA 92530            Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      7/24/2008 VA 1-431-599              6/22/2009                  7/24/2008              6/20/2020
    8124794 506 W Graham Ave, Lake Elsinore, CA 92530              Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      7/25/2008 VA 1-431-599              6/22/2009                  7/25/2008               8/9/2020
    8455879 3468 Webster Ave, Perris, CA 92571                     Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       9/9/2008 VA 1-431-599              6/22/2009                   9/9/2008              6/17/2020
    8455882 3468 Webster Ave, Perris, CA 92571                     Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       9/9/2008 VA 1-431-599              6/22/2009                   9/9/2008              6/24/2020
    7294237 4731 Cochise Dr, Independence, MO 64055                Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/7/2008 VA 1-431-108              6/22/2009                   4/7/2008              6/18/2020
    7427541 815 SW 7 Hwy, Blue Springs, MO 64014                   Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/18/2008 VA 1-431-108              6/22/2009                  4/18/2008              6/27/2020
    7526452 3550-3554 NE Ralph Powell Rd, Lees Summit, MO 64064    Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       5/2/2008 VA 1-431-108              6/22/2009                   5/2/2008              6/23/2020
    7542507 4025 NE Lakewood Way, Lees Summit, MO 64064            Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       5/5/2008 VA 1-431-108              6/22/2009                   5/5/2008              6/27/2020
    7597761 900 E 3rd St Ter, Lees Summit, MO 64063                Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       5/6/2008 VA 1-431-108              6/22/2009                   5/6/2008              6/17/2020
    7927144 7505 NW Tiffany Springs Pky, Kansas City, MO 64153     Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      6/25/2008 VA 1-431-108              6/22/2009                  6/25/2008              6/24/2020
    8378196 1201 SW 21st St, Topeka, KS 66604                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      8/27/2008 VA 1-431-108              6/22/2009                  8/27/2008              8/10/2020
    8918993 613 Walnut St, Kansas City, MO 64106                   Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      11/6/2008 VA 1-431-108              6/22/2009                  11/6/2008              6/24/2020
    9050954 1111 Main St, Kansas City, MO 64105                    Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/18/2008 VA 1-431-108              6/22/2009                 11/18/2008              10/3/2020
    6975909 5134 Old National Hwy, College Park, GA 30349          Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       2/5/2008 VA 1-431-139              6/22/2009                   2/5/2008              7/31/2020
    7294976 483 Atlanta St SE, Marietta, GA 30060                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       4/7/2008 VA 1-431-139              6/22/2009                   4/7/2008              6/21/2020
    7378404 1854 Terrell Mill Rd SE, Marietta, GA 30067            Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      4/11/2008 VA 1-431-139              6/22/2009                  4/11/2008              8/11/2020
    7906665 2127 Liddell Dr, Atlanta, GA 30324                     Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      6/23/2008 VA 1-431-139              6/22/2009                  6/23/2008              6/24/2020
    8048172 4840 Roswell Rd NE, Atlanta, GA 30342                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      7/15/2008 VA 1-431-139              6/22/2009                  7/15/2008              6/24/2020
    8214845 6285 Barfield Rd NE, Atlanta, GA 30328                 Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       8/5/2008 VA 1-431-139              6/22/2009                   8/5/2008              6/28/2020
    8224487 5730 Glenridge Dr NE, Atlanta, GA 30328                Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       8/6/2008 VA 1-431-139              6/22/2009                   8/6/2008              10/3/2020
    8326827 8737 Dunwoody Pl, Atlanta, GA 30350                    Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      8/20/2008 VA 1-431-139              6/22/2009                  8/20/2008              6/30/2020
    8414294 935 Forrest St, Roswell, GA 30075                      Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       9/2/2008 VA 1-431-139              6/22/2009                   9/2/2008               1/7/2021
    8427786 1169 Canton St, Roswell, GA 30075                      Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500       9/4/2008 VA 1-431-139              6/22/2009                   9/4/2008              6/23/2020
    8466178 175 White St, Marietta, GA 30060                       Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      9/10/2008 VA 1-431-139              6/22/2009                  9/10/2008              6/23/2020
    8747524 2375 Mansell Rd, Alpharetta, GA 30022                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     10/13/2008 VA 1-431-139              6/22/2009                 10/13/2008              2/21/2021
    8805322 3060 Kimball Bridge Rd, Alpharetta, GA 30022           Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     10/20/2008 VA 1-431-139              6/22/2009                 10/20/2008              6/18/2020
    8865622 401 S Main St, Alpharetta, GA 30009                    Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     10/27/2008 VA 1-431-139              6/22/2009                 10/27/2008              10/3/2020
    8865633 360 Brady Pl, Alpharetta, GA 30009                     Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     10/27/2008 VA 1-431-139              6/22/2009                 10/27/2008              6/20/2020
    8929712 11702 Alpharetta Hwy, Roswell, GA 30076                Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      11/4/2008 VA 1-431-139              6/22/2009                  11/4/2008              6/22/2020
    8941410 11660 Alpharetta Hwy, Roswell, GA 30076                Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500      11/5/2008 VA 1-431-139              6/22/2009                  11/5/2008              4/17/2021
    8973022 1327 Northmeadow Pky, Roswell, GA 30076                Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     11/10/2008 VA 1-431-139              6/22/2009                 11/10/2008              6/17/2020
    8973048 11415 Old Roswell Rd, Alpharetta, GA 30009             Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     11/10/2008 VA 1-431-139              6/22/2009                 11/10/2008              6/18/2020
    9079319 11138 State Bridge Rd, Alpharetta, GA 30022            Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     11/20/2008 VA 1-431-139              6/22/2009                 11/20/2008              7/20/2020
    9221635 1416-1446 Trae Ln, Lithia Springs, GA 30122            Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     12/11/2008 VA 1-431-139              6/22/2009                 12/11/2008              6/21/2020
    9221641 7515 Hartman Industrial Way, Austell, GA 30168         Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                 2023466500     12/11/2008 VA 1-431-139              6/22/2009                 12/11/2008              8/11/2020
    7566242 200 W Sunrise Hwy, Freeport, NY 11520                  Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       5/7/2008 VA 1-431-594              6/22/2009                   5/7/2008              7/20/2020
    7566250 200 W Sunrise Hwy, Freeport, NY 11520                  Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       5/7/2008 VA 1-431-594              6/22/2009                   5/7/2008              6/26/2020
    7865956 1201 Ostrander Ave, Riverhead, NY 11901                Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      6/17/2008 VA 1-431-594              6/22/2009                  6/17/2008              6/28/2020
    7865957 1201 Ostrander Ave, Riverhead, NY 11901                Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      6/17/2008 VA 1-431-594              6/22/2009                  6/17/2008              6/27/2020
    8184829 850 North Hwy, Southampton, NY 11968                   Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       6/5/2008 VA 1-431-594              6/22/2009                   6/5/2008              6/19/2020
    8254715 3030 Route 112, Medford, NY 11763                      Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      8/11/2008 VA 1-431-594              6/22/2009                  8/11/2008              6/21/2020
    8387436 627 Horseblock Rd, Farmingville, NY 11738              Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      8/28/2008 VA 1-431-594              6/22/2009                  8/28/2008              6/24/2020




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    8387441 627 Horseblock Rd, Farmingville, NY 11738                Joseph Furio                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      8/28/2008 VA 1-431-594              6/22/2009                  8/28/2008               6/22/2020
    8714069 154-168 Montauk Hwy, Blue Point, NY 11715                Joseph Furio                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      10/8/2008 VA 1-431-594              6/22/2009                  10/8/2008                7/8/2020
    9079655 1612 Locust Ave, Bohemia, NY 11716                       Joseph Furio                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500     11/20/2008 VA 1-431-594              6/22/2009                 11/20/2008               6/30/2020
    9097604 3460 Veterans Memorial Hwy, Bohemia, NY 11716            Joseph Furio                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500     11/24/2008 VA 1-431-594              6/22/2009                 11/24/2008               6/22/2020
    8589267 1305-1309 Altamont Ave, Schenectady, NY 12303            Tina Wood                                                                      CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      9/23/2008 VA 1-431-631              6/22/2009                  9/23/2008               6/20/2020
    8497970 1319 Dunn Ave, Jacksonville, FL 32218                    Gregory Marksbury                                                              CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      9/10/2008 VA 1-431-612              6/22/2009                  9/10/2008               6/17/2020
    8131941 3960-3966 Merritt Ave, Bronx, NY 10466                   Chuck Carpenter                                                                CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500       7/7/2008 VA 1-431-071              6/22/2009                   7/7/2008               7/24/2020
    7094797 3275 W 63rd St, Cleveland, OH 44102                      Tony Griffie                                                                   CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      2/16/2008 VA 1-431-600              6/22/2009                  2/16/2008               6/19/2020
    8496652 875 E Pulaski Hwy, Elkton, MD 21921                      Bob Shannon                                                                    CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500       9/4/2008 VA 1-431-117              6/22/2009                   9/4/2008               7/24/2020
    8496655 875 E Pulaski Hwy, Elkton, MD 21921                      Bob Shannon                                                                    CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500       9/4/2008 VA 1-431-117              6/22/2009                   9/4/2008               7/24/2020
    8510691 1141 Berrymans Ln, Reisterstown, MD 21136                Bob Shannon                                                                    CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      9/16/2008 VA 1-431-117              6/22/2009                  9/16/2008               7/31/2020
    8584372 2881 FM Road 157, Mansfield, TX 76063                    Jim Qualia                                                                     CoStar Group                 1331 L St NW, Washington, DC 20005                     2023466500      9/24/2008 VA 1-431-764              6/22/2009                  9/24/2008               6/21/2020
    1936116 802 Tara Plz, Papillion, NE 68046                        Chris Petersen                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/18/2008 VA 1-431-637              6/22/2009                  9/18/2008               6/21/2020
    1947762 19904-19960 NW 2nd Ave, Miami, FL 33169                  Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      12/8/2008 VA 1-431-067              6/22/2009                  12/8/2008               6/22/2020
    2380303 920 Washington Blvd, Williamsport, PA 17701              Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/2/2008 VA 1-431-104              6/22/2009                  10/2/2008               7/24/2020
    5275307 Germantown & Stateline Rd, Olive Branch, MS 38654        Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/25/2008 VA 1-431-107              6/22/2009                  3/25/2008               6/23/2020
    6611519 1807 Decker Blvd, Columbia, SC 29206                     Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/2/2008 VA 1-431-587              6/22/2009                   1/2/2008               6/26/2020
    6637779 3331 Pleasant Valley Blvd, Altoona, PA 16602             Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2008 VA 1-431-104              6/22/2009                   1/7/2008                8/8/2020
    6661208 2012 W College Ave, Normal, IL 61761                     Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/9/2008 VA 1-431-641              6/22/2009                   1/9/2008               6/23/2020
    6661222 303 Landmark Dr, Normal, IL 61761                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/9/2008 VA 1-431-641              6/22/2009                   1/9/2008               7/31/2020
    6661228 303 Landmark Dr, Normal, IL 61761                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/9/2008 VA 1-431-641              6/22/2009                   1/9/2008               7/31/2020
    6674787 1025 SE 5th St, Hialeah, FL 33010                        Jose Rosales                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/11/2008 VA 1-431-635              6/22/2009                  1/11/2008              10/29/2020
   15861537 345 Penn St, Reading, PA 19601                           Larry Moyse                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      4/21/2011 VA 1-434-347              2/23/2015                  4/21/2011               6/24/2020
    6690406 1520 James Savage Rd, Midland, MI 48642                  John Ehnis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/14/2008 VA 1-431-083              6/22/2009                  1/14/2008               6/21/2020
    6692406 4099 Old Dixie Hwy, Hapeville, GA 30354                  Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/14/2008 VA 1-431-598              6/22/2009                  1/14/2008               6/27/2020
    6698134 2160 W Broadway Rd, Mesa, AZ 85202                       Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-072              6/22/2009                  1/16/2008               6/19/2020
    6701052 18411 Highland Rd, Baton Rouge, LA 70809                 Franklin Thompson                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-132              6/22/2009                  1/16/2008               6/18/2020
    6701078 18411 Highland Rd, Baton Rouge, LA 70809                 Paul Heer                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/10/2008 VA 1-431-085              6/22/2009                  1/10/2008               6/22/2020
    6710685 1771 NW 21st St, Miami, FL 33142                         Ygor Vanderbiest                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-143              6/22/2009                  1/16/2008               6/17/2020
    6710689 1771 NW 21st St, Miami, FL 33142                         Ygor Vanderbiest                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-143              6/22/2009                  1/16/2008               6/25/2020
    6712619 6979 Kingspointe Pky, Orlando, FL 32819                  Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-618              6/22/2009                  1/16/2008               6/29/2020
    6712620 6979 Kingspointe Pky, Orlando, FL 32819                  Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-618              6/22/2009                  1/16/2008               6/29/2020
    6712624 6979 Kingspointe Pky, Orlando, FL 32819                  Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2008 VA 1-431-618              6/22/2009                  1/16/2008               6/29/2020
    6726580 2900 Plank Rd, Altoona, PA 16601                         Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/17/2008 VA 1-431-104              6/22/2009                  1/17/2008               6/28/2020
    6726582 2900 Plank Rd, Altoona, PA 16601                         Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/17/2008 VA 1-431-104              6/22/2009                  1/17/2008               6/20/2020
    6732443 5633 E Circle Dr, Cicero, NY 13039                       Edward Bulken                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/17/2008 VA 1-431-596              6/22/2009                  1/17/2008               6/20/2020
    6733156 Lungren Ct, Kingsburg, CA 93631                          Enrique Meza                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/17/2008 VA 1-431-581              6/22/2009                  1/17/2008               6/23/2020
    6774310 2814 NW 17th Ave, Miami, FL 33142                        Ygor Vanderbiest                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/24/2008 VA 1-431-143              6/22/2009                  1/24/2008                8/8/2020
    6778267 3615 S Goodlett St, Memphis, TN 38118                    Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/24/2008 VA 1-431-107              6/22/2009                  1/24/2008               6/21/2020
    6781282 8880 Gladiolus Dr, Fort Myers, FL 33908                  Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/25/2008 VA 1-431-636              6/22/2009                  1/25/2008               6/28/2020
   15861542 345 Penn St, Reading, PA 19601                           Larry Moyse                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      4/21/2011 VA 1-434-347              2/23/2015                  4/21/2011                7/6/2020
    6797052 6795 Green Industrial Way, Morrow, GA 30260              Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2008 VA 1-431-598              6/22/2009                  1/28/2008                8/8/2020
    6797607 280 Main St, Westminster, MD 21157                       Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2008 VA 1-431-099              6/22/2009                  1/28/2008               6/22/2020
    6813327 107-111 White Allen Ave, Dayton, OH 45405                Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/30/2008 VA 1-431-146              6/22/2009                  1/30/2008              10/22/2020
    6825884 6925 Portwest Dr, Houston, TX 77024                      Fred Peavy                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/31/2008 VA 1-432-716              6/22/2009                  1/31/2008               6/26/2020
    6846678 116 NE 24th St, Miami, FL 33137                          Ygor Vanderbiest                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-143              6/22/2009                   2/4/2008                7/7/2020
    6847675 1630-1648 Hwy 351, Abilene, TX 79601                     Julie Cate                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-585              6/22/2009                   2/4/2008               8/11/2020
    6848427 8823 University East Dr, Charlotte, NC 28213             Ray Dodds                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-081              6/22/2009                   2/4/2008               7/31/2020
    6848553 9421 S Orange Blossom Trl, Orlando, FL 32837             Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-618              6/22/2009                   2/4/2008               6/18/2020
    6848554 9421 S Orange Blossom Trl, Orlando, FL 32837             Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-618              6/22/2009                   2/4/2008               6/23/2020
    6848565 9421 S Orange Blossom Trl, Orlando, FL 32837             Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-618              6/22/2009                   2/4/2008               6/26/2020
    6848890 1309-1313 W Ash Ave, Duncan, OK 73533                    Lacey Bridgmon                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-082              6/22/2009                   2/4/2008                7/2/2020
    6848891 1309-1313 W Ash Ave, Duncan, OK 73533                    Lacey Bridgmon                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-082              6/22/2009                   2/4/2008                7/2/2020
    6849373 413 Pulaski Hwy, Joppa, MD 21085                         Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/2/2008 VA 1-431-099              6/22/2009                   2/2/2008               6/20/2020
    6849478 3950 N Las Vegas Blvd, Las Vegas, NV 89115               Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2008 VA 1-431-080              6/22/2009                   2/4/2008               6/24/2020
    6855994 17455 N Dale Mabry Hwy, Tampa, FL 33618                  Martha Henry                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2008 VA 1-431-092              6/22/2009                   2/5/2008               6/29/2020
    6856167 600 Chestnut Ave, Altoona, PA 16601                      Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2008 VA 1-431-104              6/22/2009                   2/5/2008               8/11/2020
    6858194 11422 Satellite Blvd, Orlando, FL 32837                  Kevin Coleman                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2008 VA 1-431-618              6/22/2009                   2/5/2008              11/24/2020
    6859117 75 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2008 VA 1-432-717              6/22/2009                   2/5/2008               6/17/2020
    6879103 158 Philadelphia Ave, Egg Harbor City, NJ 08215          Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/8/2008 VA 1-431-592              6/22/2009                   2/8/2008               6/20/2020
    6879960 8158 Florin Rd, Sacramento, CA 95828                     Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/1/2008 VA 1-431-135              6/22/2009                   2/1/2008               6/20/2020
    6879961 8158 Florin Rd, Sacramento, CA 95828                     Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/1/2008 VA 1-431-135              6/22/2009                   2/1/2008               6/18/2020
    6892875 6812 Crumpler Blvd, Olive Branch, MS 38654               Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2008 VA 1-431-107              6/22/2009                  2/11/2008               8/12/2020
    6901196 300 W Douglas Ave, Wichita, KS 67202                     Lawrence Ediger                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2008 VA 1-431-073              6/22/2009                  2/11/2008                7/3/2021
    6934650 6590 Shiloh Rd E, Alpharetta, GA 30005                   Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/14/2008 VA 1-431-598              6/22/2009                  2/14/2008              10/27/2020

                                                                                                                                                    Pratt & Miller Engineering
   6940466 1668 S Telegraph Rd, Bloomfield Hills, MI 48302           Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800        2/17/2008 VA 1-431-089             6/22/2009                  2/17/2008               6/23/2020
   6953761 324 4th St, Blawnox, PA 15238                             Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/19/2008 VA 1-431-078             6/22/2009                  2/19/2008               6/23/2020
   6954147 13213-13217 E Sprague Ave, Spokane, WA 99216              Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/19/2008 VA 1-431-145             6/22/2009                  2/19/2008               6/18/2020
   6959040 6705 E Lake Mead Blvd, Las Vegas, NV 89156                Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/19/2008 VA 1-431-080             6/22/2009                  2/19/2008               6/22/2020
   6959041 6705 E Lake Mead Blvd, Las Vegas, NV 89156                Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/19/2008 VA 1-431-080             6/22/2009                  2/19/2008               6/22/2020
  12682505 1540 West Blvd, Charlotte, NC 28208                       Mark Chaney                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        10/2/2005 VA 1-375-685             9/13/2006                  10/2/2005               6/30/2020
   7041146 2229 Highway 17, Little River, SC 29566                   Nathan Alvey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/28/2008 VA 1-431-105             6/22/2009                  2/28/2008               6/24/2020
   7052398 8550 N 91st Ave, Peoria, AZ 85345                         Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         3/3/2008 VA 1-431-072             6/22/2009                   3/3/2008                7/1/2020

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   7068196 2570 Zam Pky, Milford, MI 48381                           Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        3/4/2008 VA 1-431-089             6/22/2009                   3/4/2008               6/27/2020
   7077812 2020 NW 129th Ave, Miami, FL 33182                        Jose Rosales                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        2/4/2008 VA 1-431-635             6/22/2009                   2/4/2008              12/20/2020
   7081057 190 N Thorne Ave, Fresno, CA 93706                        Enrique Meza                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        3/6/2008 VA 1-431-581             6/22/2009                   3/6/2008               6/27/2020




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    7090423 4202 W Waters Ave, Tampa, FL 33614                         Martha Henry                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/6/2008 VA 1-431-092              6/22/2009                   3/6/2008                7/3/2021
    7093198 5940 Monroe Rd, Charlotte, NC 28212                        Ray Dodds                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/6/2008 VA 1-431-081              6/22/2009                   3/6/2008               6/27/2020
    7230346 1920 Rock Spring Rd, Forest Hill, MD 21050                 Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/3/2008 VA 1-431-099              6/22/2009                   4/3/2008              10/14/2020
    7231718 1913 Commerce Rd, Springfield, OH 45504                    Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2008 VA 1-431-146              6/22/2009                   4/2/2008                7/8/2020
    7234572 4220 W Northern Ave, Phoenix, AZ 85051                     Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2008 VA 1-431-072              6/22/2009                   4/2/2008               6/25/2020
    7239408 3342 Commerce Dr, Augusta, GA 30909                        Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2008 VA 1-431-587              6/22/2009                   4/2/2008               6/22/2020
    7239409 3342 Commerce Dr, Augusta, GA 30909                        Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2008 VA 1-431-587              6/22/2009                   4/2/2008               6/25/2020
    7263458 12545-12551 New Brittany Blvd, Fort Myers, FL 33907        Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/22/2008 VA 1-431-636              6/22/2009                  2/22/2008               6/23/2020
    7264127 710 N Kentucky Ave, Oklahoma City, OK 73106                Lacey Bridgmon                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2008 VA 1-431-082              6/22/2009                   4/2/2008               8/11/2020
    7265681 800 Corporate Pky, Birmingham, AL 35242                    Cathy Morris                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/31/2008 VA 1-432-717              6/22/2009                  3/31/2008                8/9/2020
    7275325 3 Beta Dr, Pittsburgh, PA 15238                            Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/7/2008 VA 1-431-078              6/22/2009                   4/7/2008               8/12/2020
    7278007 261-287 Spreckels Ave, Manteca, CA 95336                   Tadashi Yamaoda                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/8/2008 VA 1-431-619              6/22/2009                   4/8/2008              12/20/2020
    7280377 4270-4280 E Amity Ave, Nampa, ID 83687                     Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/26/2008 VA 1-431-121              6/22/2009                  3/26/2008               6/23/2020
    2251760 180 Clinch Ave, Clinton, TN 37716                          Mark Williams                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       5/7/2006 VA 1-375-703              9/13/2006                   5/7/2006               6/24/2020

                                                                                                                                                      Pratt & Miller Engineering
   7289928 515-517 S Main St, Lapeer, MI 48446                         Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800        3/27/2008 VA 1-431-089             6/22/2009                  3/27/2008               6/19/2020
   7292514 7800-7850 Stockton Blvd, Sacramento, CA 95823               Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         4/2/2008 VA 1-431-135             6/22/2009                   4/2/2008               6/19/2020
    518129 11721 Woodmore Rd, Bowie, MD 20721                          Marny Malin                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500         1/9/2006 VA 1-391-915             10/6/2006                   1/9/2006                8/8/2020
     57364 6355 Jimmy Carter Blvd, Norcross, GA 30071                  Michael Mixon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500         6/8/2005 VA 1-374-883             9/13/2006                   6/8/2005               7/31/2020
   1107495 4060 Johns Creek Pky, Suwanee, GA 30024                     Michael Mixon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        6/15/2005 VA 1-374-883             9/13/2006                  6/15/2005                8/9/2020
   7312568 909 Elm St SW, Albany, OR 97321                             Jeremy Polzel                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         4/8/2008 VA 1-431-640             6/22/2009                   4/8/2008                8/8/2020
   7312569 909 Elm St SW, Albany, OR 97321                             Jeremy Polzel                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         4/8/2008 VA 1-431-640             6/22/2009                   4/8/2008               8/12/2020
   7323066 1466 Evergreen Ave, Saint Louis, MO 63133                   Brenda Ross                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/24/2008 VA 1-431-751             6/22/2009                  3/24/2008                5/3/2020
   7327862 4110 Eaton Ave, Caldwell, ID 83607                          Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/19/2008 VA 1-431-121             6/22/2009                  3/19/2008               6/18/2020
   7327874 4121 South Lake Ave, Caldwell, ID 83607                     Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/19/2008 VA 1-431-121             6/22/2009                  3/19/2008               6/21/2020
   7330557 3208 Latta Rd, Greece, NY 14612                             John Schlia                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/18/2008 VA 1-431-122             6/22/2009                  3/18/2008                8/8/2020
   7339007 1102 N Cherry St, San Antonio, TX 78202                     Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/10/2008 VA 1-431-591             6/22/2009                  4/10/2008               6/24/2020
   7353315 1571 Us-17 Hwy N, North Myrtle Beach, SC 29582              Nathan Alvey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/12/2008 VA 1-431-105             6/22/2009                  3/12/2008               6/26/2020
   7359117 2111 New Rd, Northfield, NJ 08225                           Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/11/2008 VA 1-431-592             6/22/2009                  3/11/2008               6/24/2020
   7362368 6660 Taylor Rd, Punta Gorda, FL 33950                       Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/18/2008 VA 1-431-636             6/22/2009                  3/18/2008               6/26/2020
   7367360 4B North Ave, Bel Air, MD 21014                             Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        3/14/2008 VA 1-431-099             6/22/2009                  3/14/2008              10/11/2020
   7379208 5000-5040 Montana Ave, El Paso, TX 79903                    Linda Miner                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/12/2008 VA 1-431-103             6/22/2009                  4/12/2008               6/26/2020
   7379212 5000-5040 Montana Ave, El Paso, TX 79903                    Linda Miner                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/12/2008 VA 1-431-103             6/22/2009                  4/12/2008               6/26/2020
   7396242 700 Century Cir, Conway, SC 29526                           Nathan Alvey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/14/2008 VA 1-431-105             6/22/2009                  4/14/2008               6/26/2020
   7396247 700 Century Cir, Conway, SC 29526                           Nathan Alvey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/14/2008 VA 1-431-105             6/22/2009                  4/14/2008               6/22/2020
   7406353 1201 Summit Ave, Fort Worth, TX 76102                       Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/15/2008 VA 1-431-068             6/22/2009                  4/15/2008               6/19/2020
   7408090 4200 W Kiehnau Ave, Milwaukee, WI 53209                     Daniel Makowski                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/14/2008 VA 1-431-579             6/22/2009                  4/14/2008                8/9/2020

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   7416365 3140 John Conley Dr, Lapeer, MI 48446                       Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       4/16/2008 VA 1-431-089             6/22/2009                  4/16/2008              12/20/2020
   7425756 600 E Veterans Pky, Yorkville, IL 60560                     Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/17/2008 VA 1-431-641             6/22/2009                  4/17/2008               6/19/2020
   7447852 620 Southpointe Ct, Colorado Springs, CO 80906              Robbie Bottorff                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2008 VA 1-431-593             6/22/2009                  4/21/2008               6/22/2020
   7456743 5 N Conahan Dr, Hazleton, PA 18201                          Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/23/2008 VA 1-431-104             6/22/2009                  4/23/2008                7/8/2020
   7456744 5 N Conahan Dr, Hazleton, PA 18201                          Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/23/2008 VA 1-431-104             6/22/2009                  4/23/2008                7/8/2020
   7468585 1702 Parkway Dr, Lubbock, TX 79403                          Julie Cate                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2008 VA 1-431-585             6/22/2009                  4/24/2008               3/23/2021
   7470265 4384-4396 Airwest Dr SE, Grand Rapids, MI 49512             Tiffany Compton                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2008 VA 1-431-580             6/22/2009                  4/24/2008               2/21/2021
   7480913 1146 B St, Fresno, CA 93706                                 Enrique Meza                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/25/2008 VA 1-431-581             6/22/2009                  4/25/2008               6/20/2020
   7496755 3337 N Miller Rd, Scottsdale, AZ 85251                      Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/28/2008 VA 1-431-072             6/22/2009                  4/28/2008               6/19/2020
   7498907 915 S Mesa St, El Paso, TX 79901                            Linda Miner                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2008 VA 1-431-103             6/22/2009                  4/29/2008               6/20/2020
   7500117 2900 Chamblee Tucker Rd, Chamblee, GA 30341                 Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2008 VA 1-431-598             6/22/2009                  4/29/2008               6/28/2020
   7510555 76 W Landis Ave, Vineland, NJ 08360                         Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2008 VA 1-431-592             6/22/2009                  4/29/2008               6/23/2020
   7517488 1807-1821 Dalton Dr, New Carlisle, OH 45344                 Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2008 VA 1-431-146             6/22/2009                   5/1/2008                7/8/2020
   7518742 580 W Capstone Ct, Hayden, ID 83835                         Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2008 VA 1-431-145             6/22/2009                   5/1/2008               7/20/2020
   7518743 580 W Capstone Ct, Hayden, ID 83835                         Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2008 VA 1-431-145             6/22/2009                   5/1/2008               7/20/2020
   7548005 4527 Rittiman Rd, San Antonio, TX 78218                     Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2008 VA 1-431-591             6/22/2009                   5/6/2008               6/20/2020
   7561991 5702-5720 Business Park, San Antonio, TX 78218              Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2008 VA 1-431-591             6/22/2009                   5/7/2008               6/21/2020
   7564546 501 E 42nd St, Lubbock, TX 79404                            Julie Cate                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2008 VA 1-431-585             6/22/2009                   5/7/2008                8/8/2020
   7566343 65 Glenn St, Lawrence, MA 01843                             Jason Wilkins                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2008 VA 1-431-065             6/22/2009                   5/7/2008               6/19/2020
   7568325 4072-4084 W Broward Blvd, Plantation, FL 33317              Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/8/2008 VA 1-431-067             6/22/2009                   5/8/2008               6/23/2020
   7568387 4070 W Broward Blvd, Plantation, FL 33317                   Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/8/2008 VA 1-431-067             6/22/2009                   5/8/2008               6/19/2020
   7568389 4070 W Broward Blvd, Plantation, FL 33317                   Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/8/2008 VA 1-431-067             6/22/2009                   5/8/2008               6/28/2020
   7570060 301 Halton Rd, Greenville, SC 29607                         Christopher Newman                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/25/2008 VA 1-431-752             6/22/2009                  4/25/2008              12/20/2020
   7570145 647 Congaree Rd, Greenville, SC 29607                       Christopher Newman                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2008 VA 1-431-752             6/22/2009                  4/29/2008               6/25/2020
   7570149 647 Congaree Rd, Greenville, SC 29607                       Christopher Newman                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2008 VA 1-431-752             6/22/2009                  4/29/2008               6/20/2020
   7572445 3150 Perimeter Pky, Augusta, GA 30909                       Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/9/2008 VA 1-431-587             6/22/2009                   5/9/2008               7/17/2021
   7573601 1704 E Belmont Ave, Fresno, CA 93701                        Enrique Meza                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/9/2008 VA 1-431-581             6/22/2009                   5/9/2008               6/17/2020
   7595881 41 E Chestnut St, Hazleton, PA 18201                        Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/13/2008 VA 1-431-104             6/22/2009                  5/13/2008               7/15/2020
   7595884 41 E Chestnut St, Hazleton, PA 18201                        Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/13/2008 VA 1-431-104             6/22/2009                  5/13/2008               7/15/2020
   7606613 501-505 Kennedy Blvd, Somerdale, NJ 08083                   Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2008 VA 1-431-592             6/22/2009                  5/15/2008               6/24/2020
   7617606 171 Vance Ave, Memphis, TN 38103                            Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2008 VA 1-431-107             6/22/2009                  5/15/2008               6/21/2020
   7669350 55 Chase St, Methuen, MA 01844                              Jason Wilkins                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/27/2008 VA 1-431-065             6/22/2009                  5/27/2008               6/22/2020
   7698780 25250 Borough Park, Spring, TX 77380                        Thomas Richardson                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/2/2008 VA 1-431-638             6/22/2009                   6/2/2008               6/22/2020
   7699268 916 W Ironwood Dr, Coeur d'Alene, ID 83814                  Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/30/2008 VA 1-431-145             6/22/2009                  5/30/2008               7/20/2020
   7702331 1018 Woodruff Rd, Greenville, SC 29607                      Christopher Newman                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2008 VA 1-431-752             6/22/2009                   5/6/2008               6/18/2020
   7703435 5133 S 108th St, Hales Corners, WI 53130                    Daniel Makowski                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/2/2008 VA 1-431-579             6/22/2009                   6/2/2008               6/29/2020
   7721594 12910 Indian School Rd NE, Albuquerque, NM 87112            Richard Finkle                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/4/2008 VA 1-431-086             6/22/2009                   6/4/2008               6/26/2020
   7724779 2450 Aberdeen Blvd, Gastonia, NC 28054                      Ray Dodds                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/4/2008 VA 1-431-081             6/22/2009                   6/4/2008               6/29/2020
   7763356 2500 Miamisburg-Centerville Rd, Dayton, OH 45459            Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/9/2008 VA 1-431-146             6/22/2009                   6/9/2008               6/19/2020
   7763359 2500 Miamisburg-Centerville Rd, Dayton, OH 45459            Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/9/2008 VA 1-431-146             6/22/2009                   6/9/2008               6/20/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                      19
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    7812933 2207 Elmwood Ave, Buffalo, NY 14216                      John Schlia                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/10/2008 VA 1-431-122              6/22/2009                  6/10/2008              6/24/2020
    7826961 4625 Donnelly Ave, Fort Worth, TX 76107                  Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/9/2008 VA 1-431-068              6/22/2009                   6/9/2008              6/24/2020
    7828396 1808 Frazer Ave, Sparks, NV 89431                        Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/12/2008 VA 1-431-135              6/22/2009                  6/12/2008              6/19/2020
    7828397 1808 Frazer Ave, Sparks, NV 89431                        Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/12/2008 VA 1-431-135              6/22/2009                  6/12/2008              6/18/2020
    7828425 1299 Leah Rd, Morris, IL 60450                           Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/12/2008 VA 1-431-641              6/22/2009                  6/12/2008              6/20/2020
    7828429 1299 Leah Rd, Morris, IL 60450                           Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/14/2008 VA 1-431-641              6/22/2009                  6/14/2008              6/28/2020
    7834582 9247-9253 Research Dr, Irvine, CA 92618                  Bill Helm                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/13/2008 VA 1-431-100              6/22/2009                  6/13/2008              6/21/2020
    7874479 2250 E Continental Blvd, Southlake, TX 76092             Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/18/2008 VA 1-431-068              6/22/2009                  6/18/2008              6/18/2020
    7895677 9703 N Interstate 35, San Antonio, TX 78233              Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/2/2008 VA 1-431-591              6/22/2009                   6/2/2008              6/21/2020
    7895682 9703 N Interstate 35, San Antonio, TX 78233              Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       6/2/2008 VA 1-431-591              6/22/2009                   6/2/2008              6/24/2020
    7906304 16W235 83rd St, Burr Ridge, IL 60527                     Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/23/2008 VA 1-431-641              6/22/2009                  6/23/2008              6/17/2020
    7907118 405 N Calhoun Rd, Brookfield, WI 53005                   Daniel Makowski                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/23/2008 VA 1-431-579              6/22/2009                  6/23/2008               2/6/2021
    7915954 15481 Red Hill Ave, Tustin, CA 92780                     Bill Helm                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/24/2008 VA 1-431-100              6/22/2009                  6/24/2008              5/19/2021

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   7916277 3271 Five Points Dr, Auburn Hills, MI 48326               Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       6/24/2008 VA 1-431-089             6/22/2009                  6/24/2008               6/24/2020
   7916927 281 Shore Dr, Burr Ridge, IL 60527                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-641             6/22/2009                  6/24/2008                8/9/2020
   7916949 311 Shore Dr, Burr Ridge, IL 60527                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-641             6/22/2009                  6/24/2008               6/29/2020
   7916950 311 Shore Dr, Burr Ridge, IL 60527                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-641             6/22/2009                  6/24/2008               6/19/2020
   7917385 1700 Morrell Park Ave, Baltimore, MD 21230                Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-099             6/22/2009                  6/24/2008               6/18/2020
   7922735 400-460 Fame Rd, Dayton, OH 45449                         Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-146             6/22/2009                  6/24/2008               6/19/2020
   7935902 5-17 E 400 S, Salt Lake City, UT 84111                    Richard Schmid                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/23/2008 VA 1-431-131             6/22/2009                  6/23/2008               8/11/2020
   8005601 104-108 W 31st St, Garden City, ID 83714                  Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/10/2008 VA 1-431-121             6/22/2009                  7/10/2008               6/24/2020
   8007928 4770 W Nevso Dr, Las Vegas, NV 89103                      Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/10/2008 VA 1-431-080             6/22/2009                  7/10/2008               7/31/2020
   8012608 5018-5022 W Fairview Ave, Boise, ID 83706                 Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2008 VA 1-431-121             6/22/2009                  7/11/2008               6/26/2020
   8012609 5018-5022 W Fairview Ave, Boise, ID 83706                 Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2008 VA 1-431-121             6/22/2009                  7/11/2008               6/28/2020
   8037712 6067 New Peachtree Rd, Atlanta, GA 30340                  Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/14/2008 VA 1-431-598             6/22/2009                  7/14/2008               7/31/2020
   8037714 6067 New Peachtree Rd, Atlanta, GA 30340                  Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/14/2008 VA 1-431-598             6/22/2009                  7/14/2008               7/31/2020
   8047516 3521-3525 Habersham At Northlake, Tucker, GA 30084        Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/15/2008 VA 1-431-598             6/22/2009                  7/15/2008               1/18/2021
   8054765 605 N 5th Ave, Sandpoint, ID 83864                        Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2008 VA 1-431-145             6/22/2009                  7/16/2008               6/17/2020
   8054769 605 N 5th Ave, Sandpoint, ID 83864                        Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/16/2008 VA 1-431-145             6/22/2009                  7/16/2008               6/25/2020
   8070227 350 NW 84th Ave, Plantation, FL 33324                     Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/15/2008 VA 1-431-067             6/22/2009                  7/15/2008               6/23/2020
   8071801 5325 S 9th Ave, Countryside, IL 60525                     Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/17/2008 VA 1-431-641             6/22/2009                  7/17/2008               6/18/2020
   8075054 12424 Gold Flake Ct, Rancho Cordova, CA 95742             Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/18/2008 VA 1-431-135             6/22/2009                  7/18/2008               6/23/2020
   8076026 5830 Ellsworth Ave, Pittsburgh, PA 15232                  Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2008 VA 1-431-078             6/22/2009                  7/19/2008               6/26/2020
   8076029 5830 Ellsworth Ave, Pittsburgh, PA 15232                  Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2008 VA 1-431-078             6/22/2009                  7/19/2008               6/24/2020
   8076035 5881 Ellsworth Ave, Pittsburgh, PA 15232                  Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/18/2008 VA 1-431-078             6/22/2009                  7/18/2008               6/21/2020
   8076054 5840-5846 Ellsworth Ave, Pittsburgh, PA 15232             Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2008 VA 1-431-078             6/22/2009                  7/19/2008               6/20/2020
   8100210 3417 Wellington Rd, Fort Worth, TX 76116                  Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/22/2008 VA 1-431-068             6/22/2009                  7/22/2008               6/17/2020
   8121170 704 N Thompson St, Conroe, TX 77301                       Thomas Richardson                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/24/2008 VA 1-431-638             6/22/2009                  7/24/2008               10/7/2020
   8145066 13920 W Camino Del Sol, Sun City West, AZ 85375           Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/28/2008 VA 1-431-072             6/22/2009                  7/28/2008               6/27/2020

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   8147206 34481-34489 Industrial Rd, Livonia, MI 48150              Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       7/28/2008 VA 1-431-089             6/22/2009                  7/28/2008                8/9/2020
   8184061 2724 Mountain Industrial Blvd, Tucker, GA 30084           Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/31/2008 VA 1-431-598             6/22/2009                  7/31/2008               6/21/2020
   8185425 5837 Far Hills Ave, Dayton, OH 45429                      Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2008 VA 1-431-146             6/22/2009                   8/1/2008               6/17/2020
   8185426 5837 Far Hills Ave, Dayton, OH 45429                      Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2008 VA 1-431-146             6/22/2009                   8/1/2008               6/17/2020
   8188120 4998 S Royal Atlanta Dr, Tucker, GA 30084                 Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2008 VA 1-431-598             6/22/2009                   8/1/2008               6/23/2020
   8196123 8509-8515 Loch Raven Blvd, Towson, MD 21286               Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/28/2008 VA 1-431-099             6/22/2009                  7/28/2008               6/26/2020
   8205577 4465 S Buffalo Dr, Las Vegas, NV 89147                    Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2008 VA 1-431-080             6/22/2009                   8/4/2008               6/17/2020
   8214105 3001 Pga Blvd, Palm Beach Gardens, FL 33410               Arne Nielsen                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/5/2008 VA 1-431-742             6/22/2009                   8/5/2008               6/26/2020
   8221328 6306 Central Ave SW, Albuquerque, NM 87105                Richard Finkle                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/6/2008 VA 1-431-086             6/22/2009                   8/6/2008               6/21/2020
   8221342 6301 Central Ave NW, Albuquerque, NM 87105                Richard Finkle                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/6/2008 VA 1-431-086             6/22/2009                   8/6/2008                7/3/2020
   8237672 11 Cambridge St, Burlington, MA 01803                     Jason Wilkins                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/8/2008 VA 1-431-065             6/22/2009                   8/8/2008               6/26/2020
   8238288 4444 Prescott Ave, Lyons, IL 60534                        Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/9/2008 VA 1-431-641             6/22/2009                   8/9/2008              11/14/2020
   8251368 2920 E Thousand Oaks Blvd, Thousand Oaks, CA 91362        Ernst Mutchnick                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2008 VA 1-431-133             6/22/2009                  8/11/2008               6/27/2020

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   8253339 11900 E Twelve Mile Rd, Warren, MI 48093                  Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       8/11/2008 VA 1-431-089             6/22/2009                  8/11/2008               6/18/2020

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   8253341 11900 E Twelve Mile Rd, Warren, MI 48093                  Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       8/11/2008 VA 1-431-089             6/22/2009                  8/11/2008               6/17/2020

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   8253395 28755 Schoenherr Rd, Warren, MI 48088                     Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       8/11/2008 VA 1-431-089             6/22/2009                  8/11/2008                7/6/2020
   8271336 1320 E Stroop Rd, Kettering, OH 45429                     Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/13/2008 VA 1-431-146             6/22/2009                  8/13/2008               6/27/2020
   8271337 1320 E Stroop Rd, Kettering, OH 45429                     Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/13/2008 VA 1-431-146             6/22/2009                  8/13/2008               6/27/2020
   8271973 19241 David Memorial Dr, The Woodlands, TX 77385          Thomas Richardson                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/13/2008 VA 1-431-638             6/22/2009                  8/13/2008                7/5/2021
   8273347 2175 NE 169th St, North Miami Beach, FL 33162             Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/12/2008 VA 1-431-067             6/22/2009                  8/12/2008                8/9/2020
   8273348 2175 NE 169th St, North Miami Beach, FL 33162             Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/12/2008 VA 1-431-067             6/22/2009                  8/12/2008               8/11/2020
   8276711 4416 Dodge St, Omaha, NE 68131                            Chris Petersen                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/13/2008 VA 1-431-637             6/22/2009                  8/13/2008               6/24/2020
   8281549 537 E Stroop Rd, Kettering, OH 45429                      Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/14/2008 VA 1-431-146             6/22/2009                  8/14/2008                7/8/2020
   8289215 1418-1464 W Ashlan Ave, Fresno, CA 93705                  Enrique Meza                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/12/2008 VA 1-431-581             6/22/2009                  8/12/2008              12/13/2020
   8302786 1431 E Dorothy Ln, Kettering, OH 45429                    Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/18/2008 VA 1-431-146             6/22/2009                  8/18/2008               6/17/2020
   8305599 642 Broadway St, Buffalo, NY 14212                        John Schlia                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/18/2008 VA 1-431-122             6/22/2009                  8/18/2008               6/27/2020
   8305602 642 Broadway St, Buffalo, NY 14212                        John Schlia                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/18/2008 VA 1-431-122             6/22/2009                  8/18/2008               6/24/2020
   8316812 3220-3222 State St, Salem, OR 97301                       Jeremy Polzel                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/19/2008 VA 1-431-640             6/22/2009                  8/19/2008               6/27/2020
   8333663 9500 Golf Course Rd NW, Albuquerque, NM 87114             Richard Finkle                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/21/2008 VA 1-431-086             6/22/2009                  8/21/2008               6/19/2020
   8348274 5852 Belair Rd, Baltimore, MD 21206                       Mike Schisler                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/22/2008 VA 1-431-099             6/22/2009                  8/22/2008               6/28/2020
   8348345 1548-1556 Poplar Ave, Memphis, TN 38104                   Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/25/2008 VA 1-431-107             6/22/2009                  8/25/2008               6/27/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                   20
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                    Photographer         Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    8348347 1548-1556 Poplar Ave, Memphis, TN 38104                Gerald Thomas                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/25/2008 VA 1-431-107              6/22/2009                  8/25/2008              6/29/2020
    8357593 1655 Marietta Way, Sparks, NV 89431                    Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/25/2008 VA 1-431-135              6/22/2009                  8/25/2008               7/8/2020
    8357595 1655 Marietta Way, Sparks, NV 89431                    Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/25/2008 VA 1-431-135              6/22/2009                  8/25/2008               7/8/2020
    8359071 143 Tewksbury Ave, Richmond, CA 94801                  Brenda Lee-Lewis                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/25/2008 VA 1-431-626              6/22/2009                  8/25/2008              6/20/2020
    8374026 3030-3040 Far Hills Ave, Dayton, OH 45429              Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2008 VA 1-431-146              6/22/2009                  8/27/2008               7/8/2020
    8375597 1203 Lycoming Mall Cir, Muncy, PA 17756                Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2008 VA 1-431-104              6/22/2009                  8/27/2008              6/27/2020
    8375621 490 S Lycoming Mall Dr, Muncy, PA 17756                Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2008 VA 1-431-104              6/22/2009                  8/27/2008              6/17/2020
    8376845 320 S Polk St, Amarillo, TX 79101                      Julie Cate                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2008 VA 1-431-585              6/22/2009                  8/27/2008              6/20/2020
    8377105 150 S 1000 E, Salt Lake City, UT 84102                 Richard Schmid                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2008 VA 1-431-131              6/22/2009                  8/27/2008              7/27/2020
    8383031 2500-2512 Far Hills Ave, Dayton, OH 45419              Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-146              6/22/2009                  8/28/2008              6/23/2020
    8383032 2500-2512 Far Hills Ave, Dayton, OH 45419              Zachary Robb                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-146              6/22/2009                  8/28/2008              6/19/2020
    8383743 3331-3347 N Panam Expy, San Antonio, TX 78219          Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-591              6/22/2009                  8/28/2008               6/7/2021
    8385040 3113 W Rose Hill St, Boise, ID 83705                   Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-121              6/22/2009                  8/28/2008              6/24/2020
    8385624 601 N Cherry Ln, Fort Worth, TX 76108                  Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-068              6/22/2009                  8/28/2008              6/21/2020
    8386176 1255 Delsea Dr, Westville, NJ 08093                    Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/28/2008 VA 1-431-592              6/22/2009                  8/28/2008              6/23/2020
    8388793 3816 Binz Engleman Rd, San Antonio, TX 78219           Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/29/2008 VA 1-431-591              6/22/2009                  8/29/2008              6/23/2020
    8416311 3546 Covington Hwy, Decatur, GA 30032                  Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/3/2008 VA 1-431-598              6/22/2009                   9/3/2008              6/21/2020
    8426358 3318 N Cole Rd, Boise, ID 83704                        Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2008 VA 1-431-121              6/22/2009                   9/4/2008              6/19/2020
    8426361 3318 N Cole Rd, Boise, ID 83704                        Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/4/2008 VA 1-431-121              6/22/2009                   9/4/2008              6/23/2020
    8444407 1300-1307 Liberty Pl, Sicklerville, NJ 08081           Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/8/2008 VA 1-431-592              6/22/2009                   9/8/2008               7/8/2020
    8445276 2933-2949 Eastern Blvd, Montgomery, AL 36116           Cathy Morris                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2008 VA 1-432-717              6/22/2009                   9/5/2008              6/23/2020
    8445277 2933-2949 Eastern Blvd, Montgomery, AL 36116           Cathy Morris                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2008 VA 1-432-717              6/22/2009                   9/5/2008              6/19/2020
    8478495 7100 Oak Ridge Pky, Austell, GA 30168                  Michael Mixon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      8/20/2008 VA 1-431-749              6/22/2009                  8/20/2008               6/7/2021
    8478506 2036 Franklin Way SE, Marietta, GA 30067               Michael Mixon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      8/20/2008 VA 1-431-749              6/22/2009                  8/20/2008              6/21/2020
    8478507 2036 Franklin Way SE, Marietta, GA 30067               Michael Mixon                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      8/20/2008 VA 1-431-749              6/22/2009                  8/20/2008              6/20/2020
    8512677 2425 W Central Ave, Missoula, MT 59801                 Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/16/2008 VA 1-431-145              6/22/2009                  9/16/2008               7/3/2020
    8512682 2425 W Central Ave, Missoula, MT 59801                 Jonathan Jantz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/16/2008 VA 1-431-145              6/22/2009                  9/16/2008              6/18/2020
    8526150 13960-13966 W Wainwright Dr, Boise, ID 83713           Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/17/2008 VA 1-431-121              6/22/2009                  9/17/2008               8/9/2020
    8528997 4225 State Route 159, Glen Carbon, IL 62034            Courtney Wilson                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/5/2008 VA 1-431-633              6/22/2009                   9/5/2008              6/23/2020
    8543433 698 12th St SE, Salem, OR 97301                        Jeremy Polzel                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/19/2008 VA 1-431-640              6/22/2009                  9/19/2008              6/18/2020
    8543528 478 S Herlong Ave, Rock Hill, SC 29732                 Ray Dodds                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/3/2008 VA 1-431-081              6/22/2009                   9/3/2008              6/21/2020
   11158693 100 Prairie Center Dr, Eden Prairie, MN 55344          Michael Vickman                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       9/1/2009 VA 2-078-433               2/1/2017                   9/1/2009              8/12/2020
    8561785 3140 W Britton Rd, Oklahoma City, OK 73120             Lacey Bridgmon                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/22/2008 VA 1-431-082              6/22/2009                  9/22/2008              6/19/2020
    8569432 73A Dutilh Rd, Cranberry, PA 16066                     Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/23/2008 VA 1-431-078              6/22/2009                  9/23/2008              7/15/2020
    8569462 2800-2822 Golden Mile Hwy, Pittsburgh, PA 15239        Theresa DeShantz                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/10/2008 VA 1-431-078              6/22/2009                  9/10/2008              4/23/2020
    8573917 5370 Truman Dr, Decatur, GA 30035                      Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/23/2008 VA 1-431-598              6/22/2009                  9/23/2008              6/21/2020
    8575222 7390 W Sahara Ave, Las Vegas, NV 89117                 Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/27/2008 VA 1-431-080              6/22/2009                  6/27/2008              6/18/2020
    8575977 1581-1599 Fenpark Dr, Fenton, MO 63026                 Courtney Wilson                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/23/2008 VA 1-431-633              6/22/2009                  9/23/2008              6/21/2020
    8585731 7704 Southrail Rd, North Charleston, SC 29420          Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/23/2008 VA 1-431-587              6/22/2009                  9/23/2008              12/3/2020
    8586931 3 Goddard, Irvine, CA 92618                            Bill Helm                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/24/2008 VA 1-431-100              6/22/2009                  9/24/2008               2/6/2021
    8587998 5255 Snapfinger Park Dr, Lithonia, GA 30035            Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/24/2008 VA 1-431-598              6/22/2009                  9/24/2008               7/2/2020
    8588000 5255 Snapfinger Park Dr, Lithonia, GA 30035            Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/24/2008 VA 1-431-598              6/22/2009                  9/24/2008              6/23/2020
    8588648 1845 Civic Center Dr, North Las Vegas, NV 89030        Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/24/2008 VA 1-431-080              6/22/2009                  9/24/2008              6/30/2020
    8594951 1913 E 3rd St, Williamsport, PA 17701                  Rona Houser                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/25/2008 VA 1-431-104              6/22/2009                  9/25/2008              6/18/2020
    8599663 975 Knox Abbott Dr, Cayce, SC 29033                    Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/26/2008 VA 1-431-587              6/22/2009                  9/26/2008              6/23/2020
    8599666 975 Knox Abbott Dr, Cayce, SC 29033                    Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/26/2008 VA 1-431-587              6/22/2009                  9/26/2008              6/24/2020
    8627908 4230 W Farm Rd, West Jordan, UT 84088                  Richard Schmid                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/30/2008 VA 1-431-131              6/22/2009                  9/30/2008              6/22/2020
    8637394 155 Wilbur Rd, Thousand Oaks, CA 91360                 Ernst Mutchnick                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/1/2008 VA 1-431-133              6/22/2009                  10/1/2008              7/31/2020
    8638592 2950 S State St, Ann Arbor, MI 48104                   John Ehnis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/1/2008 VA 1-431-083              6/22/2009                  10/1/2008               7/8/2020
    8648408 1210 Aldine Meadows Rd, Houston, TX 77032              Thomas Richardson                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      10/2/2008 VA 1-431-638              6/22/2009                  10/2/2008              6/18/2020

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   8651675 6500 E Eleven Mile Rd, Warren, MI 48091                 Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       10/2/2008 VA 1-431-089             6/22/2009                  10/2/2008               6/21/2020

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   8651681 6500 E Eleven Mile Rd, Warren, MI 48091                 Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       10/2/2008 VA 1-431-089             6/22/2009                  10/2/2008               6/24/2020
   8669251 2675 Wesley Chapel Rd, Decatur, GA 30034                Bonnie Heath                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/30/2008 VA 1-431-598             6/22/2009                  9/30/2008                7/3/2020
   8692310 15411 Red Hill Ave, Tustin, CA 92780                    Bill Helm                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2008 VA 1-431-100             6/22/2009                  6/24/2008                2/6/2021
   8707408 1209 D Ave, West Columbia, SC 29169                     Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/8/2008 VA 1-431-587             6/22/2009                  10/8/2008               8/12/2020
   8707411 1209 D Ave, West Columbia, SC 29169                     Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/8/2008 VA 1-431-587             6/22/2009                  10/8/2008               8/12/2020
   8717415 95 Terrace Hall Ave, Burlington, MA 01803               Jason Wilkins                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/31/2008 VA 1-431-065             6/22/2009                  7/31/2008               6/18/2020
   8719356 15001-15019 N Cave Creek Rd, Phoenix, AZ 85032          Craig Darragh                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2008 VA 1-431-072             6/22/2009                  10/9/2008               7/11/2020
   8720551 23 Carrie Rex Ave, Melba, ID 83641                      Jonathan Scobby                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2008 VA 1-431-121             6/22/2009                  10/9/2008               6/18/2020
   8720932 1921 2nd Loop Rd, Florence, SC 29501                    Nathan Alvey                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2008 VA 1-431-105             6/22/2009                  10/9/2008               7/24/2020
   8733153 1705 Newman Rd, Okemos, MI 48864                        John Ehnis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/10/2008 VA 1-431-083             6/22/2009                 10/10/2008               6/20/2020
   8735044 6500 W 65th St, Chicago, IL 60638                       Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/10/2008 VA 1-431-641             6/22/2009                 10/10/2008               6/30/2020
   8743466 722-740 Isom Rd, San Antonio, TX 78216                  Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/13/2008 VA 1-431-591             6/22/2009                 10/13/2008               8/11/2020
   8757857 2438 S West Ave, Fresno, CA 93706                       Enrique Meza                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/13/2008 VA 1-431-581             6/22/2009                 10/13/2008               6/17/2020
   8769511 161-167 7th Ave, Brooklyn, NY 11215                     Brian Van Sise                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/15/2008 VA 1-431-595             6/22/2009                 10/15/2008               6/20/2020
   8801763 19260 Stone Oak Pky, San Antonio, TX 78258              Cindy Kelleher                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/20/2008 VA 1-431-591             6/22/2009                 10/20/2008               11/2/2020

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   8826890 32760-32778 Van Dyke Ave, Warren, MI 48093              Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      10/22/2008 VA 1-431-089             6/22/2009                 10/22/2008                7/1/2020
   8864428 2375 Marlton Pike, Cherry Hill, NJ 08002                Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/27/2008 VA 1-431-592             6/22/2009                 10/27/2008                7/8/2020
   8864430 2375 Marlton Pike, Cherry Hill, NJ 08002                Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/27/2008 VA 1-431-592             6/22/2009                 10/27/2008                7/8/2020
   8864433 2375 Marlton Pike, Cherry Hill, NJ 08002                Valdur Kaselaan                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/27/2008 VA 1-431-592             6/22/2009                 10/27/2008                7/8/2020
   8881936 743-749 Baker St, Costa Mesa, CA 92626                  Bill Helm                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/29/2008 VA 1-431-100             6/22/2009                 10/29/2008               7/14/2020

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   8882444 29333 Hoover Rd, Warren, MI 48093                       Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800      10/29/2008 VA 1-431-089             6/22/2009                 10/29/2008               6/24/2020




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    8883499 3200 Sunrise Ave, Las Vegas, NV 89101                      Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/29/2008 VA 1-431-080              6/22/2009                 10/29/2008              5/16/2020
    8884002 15 Park Place Blvd, Swansea, IL 62226                      Courtney Wilson                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/29/2008 VA 1-431-633              6/22/2009                 10/29/2008              6/17/2020
    8888704 175 Woodman Dr, Dayton, OH 45431                           Zachary Robb                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/31/2008 VA 1-431-146              6/22/2009                 10/31/2008              1/22/2021
    8890958 1914 Sunset Blvd, West Columbia, SC 29169                  Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/30/2008 VA 1-431-587              6/22/2009                 10/30/2008              6/21/2020
    8890960 1914 Sunset Blvd, West Columbia, SC 29169                  Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     10/30/2008 VA 1-431-587              6/22/2009                 10/30/2008              6/20/2020

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   8892391 30229 Schoenherr Rd, Warren, MI 48088                       Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      10/30/2008 VA 1-431-089             6/22/2009                 10/30/2008               9/14/2020
   8893706 7600 Rolling Mill Rd, Baltimore, MD 21224                   Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/30/2008 VA 1-431-099             6/22/2009                 10/30/2008               6/22/2020
   8895649 2113 E Monument St, Baltimore, MD 21205                     Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       11/1/2008 VA 1-431-099             6/22/2009                  11/1/2008              10/24/2020
   8898544 424 W 4800 S, Salt Lake City, UT 84123                      Richard Schmid                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/30/2008 VA 1-431-131             6/22/2009                 10/30/2008                7/3/2020
   8898545 424 W 4800 S, Salt Lake City, UT 84123                      Richard Schmid                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/30/2008 VA 1-431-131             6/22/2009                 10/30/2008               6/24/2020
   8903184 6767 Peachtree Industrial Blvd, Norcross, GA 30092          Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/30/2008 VA 1-431-598             6/22/2009                 10/30/2008               6/23/2020
   8903197 4588 Winters Chapel Rd, Atlanta, GA 30360                   Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/20/2008 VA 1-431-598             6/22/2009                 10/20/2008               7/31/2020
   8908916 123 Egg Harbor Rd, Sewell, NJ 08080                         Valdur Kaselaan                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       11/1/2008 VA 1-431-592             6/22/2009                  11/1/2008                7/1/2020
   8909368 6900 Peachtree Industrial Blvd, Norcross, GA 30071          Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/27/2008 VA 1-431-598             6/22/2009                 10/27/2008              10/27/2020
   8909403 3125 Gateway Dr, Norcross, GA 30071                         Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/27/2008 VA 1-431-598             6/22/2009                 10/27/2008              10/27/2020

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   8918085 16460 E Thirteen Mile Rd, Roseville, MI 48066               Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800        11/3/2008 VA 1-431-089             6/22/2009                  11/3/2008               7/31/2020
   8929511 7101 NW Expressway St, Oklahoma City, OK 73132              Lacey Bridgmon                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/4/2008 VA 1-431-082             6/22/2009                  11/4/2008               6/24/2020
   8939508 1700 S Cherry Ln, Fort Worth, TX 76108                      Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/11/2008 VA 1-431-068             6/22/2009                  8/11/2008               1/27/2021
   8940700 6099 Buford Hwy, Norcross, GA 30071                         Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/4/2008 VA 1-431-598             6/22/2009                  11/4/2008               6/19/2020
   8940702 6099 Buford Hwy, Norcross, GA 30071                         Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/4/2008 VA 1-431-598             6/22/2009                  11/4/2008               6/21/2020
   8940750 6355 Jimmy Carter Blvd, Norcross, GA 30071                  Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/4/2008 VA 1-431-598             6/22/2009                  11/4/2008               7/31/2020
   8941430 1050 Old North Point Rd, Dundalk, MD 21224                  Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/3/2008 VA 1-431-099             6/22/2009                  11/3/2008              10/11/2020
   8941464 8989 Herrmann Dr, Columbia, MD 21045                        Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/4/2008 VA 1-431-099             6/22/2009                  11/4/2008              10/22/2020
   8961722 422 Eastern Blvd, Essex, MD 21221                           Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/6/2008 VA 1-431-099             6/22/2009                  11/6/2008               6/18/2020
   8961762 400 Eastern Blvd, Essex, MD 21221                           Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/6/2008 VA 1-431-099             6/22/2009                  11/6/2008               6/22/2020
   8962136 501 Black Horse Pike, Glendora, NJ 08029                    Valdur Kaselaan                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/5/2008 VA 1-431-592             6/22/2009                  11/5/2008               6/19/2020
   8990224 6490 Dobbin Rd, Columbia, MD 21045                          Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/2/2008 VA 1-431-099             6/22/2009                  11/2/2008               6/23/2020
   8990226 6490 Dobbin Rd, Columbia, MD 21045                          Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        11/2/2008 VA 1-431-099             6/22/2009                  11/2/2008               6/18/2020
   9019296 1543 E Van Buren St, Phoenix, AZ 85006                      Craig Darragh                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/16/2008 VA 1-431-072             6/22/2009                 11/16/2008               6/22/2020
    121053 4201 Congress St, Charlotte, NC 28209                       Michelle Accetta                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        6/16/2005 VA 1-375-669             9/13/2006                  6/16/2005               7/20/2020
   9026974 6801 Eastern Ave, Baltimore, MD 21224                       Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/10/2008 VA 1-431-099             6/22/2009                 11/10/2008               4/23/2020
   9037778 200 Best Friend Ct, Norcross, GA 30071                      Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/17/2008 VA 1-431-598             6/22/2009                 11/17/2008                8/9/2020
   9038937 630 Pierce Blvd, O'Fallon, IL 62269                         Courtney Wilson                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/17/2008 VA 1-431-633             6/22/2009                 11/17/2008               4/27/2021
   9051102 119 Water Ave, North Las Vegas, NV 89030                    Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/13/2008 VA 1-431-080             6/22/2009                 11/13/2008               5/16/2020
   9061863 4611 Greer Cir, Stone Mountain, GA 30083                    Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/19/2008 VA 1-431-598             6/22/2009                 11/19/2008                8/8/2020
   9070086 5421 W Glendale Ave, Glendale, AZ 85301                     Craig Darragh                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/20/2008 VA 1-431-072             6/22/2009                 11/20/2008              11/18/2020
   9071825 1001-1011 College Ave, Levelland, TX 79336                  Julie Cate                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/20/2008 VA 1-431-585             6/22/2009                 11/20/2008               6/22/2020
   9079899 5926-6000 N Illinois St, Fairview Heights, IL 62208         Courtney Wilson                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/20/2008 VA 1-431-633             6/22/2009                 11/20/2008               1/27/2021

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   9086579 33525-33545 Groesbeck Hwy, Fraser, MI 48026                 Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800       11/21/2008 VA 1-431-089             6/22/2009                 11/21/2008               6/23/2020
   9108546 4965 Stone Falls Ctr, O'Fallon, IL 62269                    Courtney Wilson                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/25/2008 VA 1-431-633             6/22/2009                 11/25/2008               6/20/2020
   9130987 1402 Front Ave, Lutherville Timonium, MD 21093              Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       11/19/2008 VA 1-431-099             6/22/2009                 11/19/2008               2/16/2021
   9158383 5405-5425 W 79th St, Burbank, IL 60459                      Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/3/2008 VA 1-431-641             6/22/2009                  12/3/2008               6/20/2020
   9177928 135 Village Queen Dr, Owings Mills, MD 21117                Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/3/2008 VA 1-431-099             6/22/2009                  12/3/2008                7/3/2020
   9178008 20 Crossroads Dr, Owings Mills, MD 21117                    Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/3/2008 VA 1-431-099             6/22/2009                  12/3/2008               6/19/2020
   9185656 7090 NW 17th Ave, Miami, FL 33147                           Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/5/2008 VA 1-431-067             6/22/2009                  12/5/2008              10/23/2020
   9195629 2289 W Bonito Way, Meridian, ID 83642                       Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/9/2008 VA 1-431-121             6/22/2009                  12/9/2008                8/8/2020
   9195632 2289 W Bonito Way, Meridian, ID 83642                       Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        12/9/2008 VA 1-431-121             6/22/2009                  12/9/2008               8/12/2020
  17880451 625 Route 83, Elmhurst, IL 60126                            Mike Schwartz                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        1/30/2012 VA 1-919-084            12/14/2012                  1/30/2012               8/12/2020
   9229486 19720 Jetton Rd, Cornelius, NC 28031                        Ray Dodds                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       12/13/2008 VA 1-431-081             6/22/2009                 12/13/2008                7/3/2020

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   9247224 5983 Highland Rd, Waterford, MI 48327                       Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      12/15/2008 VA 1-431-089             6/22/2009                 12/15/2008                8/9/2020
   9253722 620-640 Highway 16, Emmett, ID 83617                        Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/17/2008 VA 1-431-121             6/22/2009                 12/17/2008               6/24/2020
   9253726 620-640 Highway 16, Emmett, ID 83617                        Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/17/2008 VA 1-431-121             6/22/2009                 12/17/2008                7/4/2020
   9261251 430 E Avenida De Los Arboles, Thousand Oaks, CA 91360       Ernst Mutchnick                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/18/2008 VA 1-431-133             6/22/2009                 12/18/2008                7/1/2020
   9265500 1876 E Sabin Dr, Casa Grande, AZ 85122                      Craig Darragh                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/19/2008 VA 1-431-072             6/22/2009                 12/19/2008               7/24/2020
   9302147 2201 Cahaba Valley Dr, Birmingham, AL 35242                 Cathy Morris                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/30/2008 VA 1-432-717             6/22/2009                 12/30/2008               6/21/2020
   9314044 996 Corporate Blvd, Linthicum Heights, MD 21090             Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/30/2008 VA 1-431-099             6/22/2009                 12/30/2008               6/15/2021
   9326214 1555 Mount Vernon Rd, Dunwoody, GA 30338                    Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2008 VA 1-431-598             6/22/2009                  10/9/2008                7/3/2020
   9326352 3274 Medlock Bridge Rd, Norcross, GA 30092                  Bonnie Heath                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/31/2008 VA 1-431-598             6/22/2009                 12/31/2008               6/22/2020
   9444020 7800 Industry Dr, North Little Rock, AR 72117               Paul Heer                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/20/2008 VA 1-431-085             6/22/2009                 12/20/2008               6/18/2020
   9729041 40-41 State Cir, Annapolis, MD 21401                        Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/24/2009 VA 1-431-099             6/22/2009                  2/24/2009               6/21/2020
   9776913 40 Hudson St, Annapolis, MD 21401                           Mike Schisler                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/3/2009 VA 1-431-099             6/22/2009                   3/3/2009               6/21/2020
  10109345 10970 S Cleveland Ave, Fort Myers, FL 33907                 Michael Suter                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/27/2008 VA 1-431-636             6/22/2009                  2/27/2008              10/17/2020
  10522684 309-345 Route 46, Parsippany, NJ 07054                      Larry Kerner                                                                  CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500        6/8/2009 VA 1-431-261             12/3/2009                   6/8/2009               6/18/2020
  10133118 50 Cragwood Rd, South Plainfield, NJ 07080                  Michael Johnson                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2009 VA 1-431-358             12/3/2009                  4/16/2009                7/3/2020

   9783172 1215 William Howard Taft Rd, Cincinnati, OH 45206           Bob Benkert                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        3/5/2009 VA 1-431-253             12/3/2009                   3/5/2009                7/1/2020

   9783175 1215 William Howard Taft Rd, Cincinnati, OH 45206           Bob Benkert                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        3/5/2009 VA 1-431-253             12/3/2009                   3/5/2009               6/27/2020
   9948364 1821 Martin Luther King Jr Ave, Long Beach, CA 90806        Christiaan Cruz                                                               CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/24/2009 VA 1-431-345             12/3/2009                  3/24/2009               6/19/2020
   9948367 1821 Martin Luther King Jr Ave, Long Beach, CA 90806        Christiaan Cruz                                                               CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/24/2009 VA 1-431-345             12/3/2009                  3/24/2009               6/23/2020
   9461768 17-19 W Washington St, Petersburg, VA 23803                 Randy Rose                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       1/23/2009 VA 1-431-286             12/3/2009                  1/23/2009               6/19/2020
  10240183 2696 Reliance Dr, Virginia Beach, VA 23452                  Randy Rose                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/30/2009 VA 1-431-286             12/3/2009                  4/30/2009               6/21/2020




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   10245090 2697 International Pky, Virginia Beach, VA 23452         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/1/2009 VA 1-431-286              12/3/2009                   5/1/2009               6/24/2020
   10372987 2935 Chamberlayne Ave, Richmond, VA 23222                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/18/2009 VA 1-431-286              12/3/2009                  5/18/2009               6/22/2020
   10454398 4205 W Mercury Blvd, Hampton, VA 23666                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/29/2009 VA 1-431-286              12/3/2009                  5/29/2009                3/4/2021
    9975120 2944 Lyndale Ave S, Minneapolis, MN 55408                David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      3/27/2009 VA 1-431-371              12/3/2009                  3/27/2009               6/24/2020
   10127953 2012 S Cedar Ave, Minneapolis, MN 55404                  David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/14/2009 VA 1-431-371              12/3/2009                  4/14/2009               7/15/2020
   10127958 2012 S Cedar Ave, Minneapolis, MN 55404                  David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/14/2009 VA 1-431-371              12/3/2009                  4/14/2009               7/15/2020
   10192779 101 Glenwood Ave, Minneapolis, MN 55403                  David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/24/2009 VA 1-431-371              12/3/2009                  4/24/2009               1/13/2021
   10235453 730 2nd Ave S, Minneapolis, MN 55402                     David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/29/2009 VA 1-431-371              12/3/2009                  4/29/2009               6/20/2020
   10106434 2200 Park Bend Dr, Austin, TX 78758                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/14/2009 VA 1-431-325              12/3/2009                  4/14/2009               6/24/2020
   10128006 5750 Balcones Dr, Austin, TX 78731                       Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/15/2009 VA 1-431-325              12/3/2009                  4/15/2009              11/14/2020
    9320465 209-213 Zion St, Hartford, CT 06106                      Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/5/2009 VA 1-431-226              12/3/2009                   1/5/2009               8/11/2020
    9840971 2035-2039 Broad St, Hartford, CT 06114                   Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/12/2009 VA 1-431-226              12/3/2009                  3/12/2009               11/2/2020
    9847654 920 Maple Ave, Hartford, CT 06114                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/13/2009 VA 1-431-226              12/3/2009                  3/13/2009                7/4/2020
    9847655 920 Maple Ave, Hartford, CT 06114                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/13/2009 VA 1-431-226              12/3/2009                  3/13/2009               6/24/2020
   10151796 220 Farmington Ave, Farmington, CT 06032                 Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2009 VA 1-431-226              12/3/2009                  4/17/2009                7/4/2020
    9913419 113 Griffin St, Fall River, MA 02724                     Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/23/2009 VA 1-431-319              12/3/2009                  3/23/2009               7/17/2021
   10295332 44 Industrial Ct, Seekonk, MA 02771                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2009 VA 1-431-319              12/3/2009                   5/7/2009               6/21/2020
   10295334 44 Industrial Ct, Seekonk, MA 02771                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2009 VA 1-431-319              12/3/2009                   5/7/2009               6/30/2020
   10295336 44 Industrial Ct, Seekonk, MA 02771                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2009 VA 1-431-319              12/3/2009                   5/7/2009               6/18/2020
   10384544 20 Downer Ave, Hingham, MA 02043                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/19/2009 VA 1-431-319              12/3/2009                  5/19/2009               6/21/2020
   10426825 15 Columbia Rd, Pembroke, MA 02359                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/26/2009 VA 1-431-319              12/3/2009                  5/26/2009               6/23/2020
   10426832 15 Columbia Rd, Pembroke, MA 02359                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/26/2009 VA 1-431-319              12/3/2009                  5/26/2009               6/30/2020
    9764229 350 Vinton Ave, Pomona, CA 91767                         John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/3/2009 VA 1-431-239              12/3/2009                   3/3/2009               6/24/2020
    9914368 1937-2035 E Vernon Ave, Vernon, CA 90058                 John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      3/18/2009 VA 1-431-239              12/3/2009                  3/18/2009               6/19/2020
    9938520 1900-1950 E 25th St, Vernon, CA 90058                    John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      3/24/2009 VA 1-431-239              12/3/2009                  3/24/2009               6/19/2020
   10405950 350 Vinton Ave, Pomona, CA 91767                         John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/21/2009 VA 1-431-239              12/3/2009                  5/21/2009               6/23/2020

  10222549 13909 Pennsylvania Rd, Riverview, MI 48193                Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/28/2009 VA 1-432-668             12/3/2009                  4/28/2009               6/20/2020

  10475581 2911 Meyer Rd, Fort Wayne, IN 46803                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/14/2009 VA 1-432-668             12/3/2009                  5/14/2009               6/22/2020
  10222646 861 5th Ave, San Diego, CA 92101                          Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/27/2009 VA 1-431-238             12/3/2009                  4/27/2009                4/2/2021
  10411314 38995 Farwell Dr, Fremont, CA 94536                       Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/22/2009 VA 1-431-283             12/3/2009                  5/22/2009                7/1/2020
  10411316 38995 Farwell Dr, Fremont, CA 94536                       Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/22/2009 VA 1-431-283             12/3/2009                  5/22/2009               6/22/2020
   9716020 600 Grand Panama Blvd, Panama City Beach, FL 32407        David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/23/2009 VA 1-431-301             12/3/2009                  2/23/2009                7/3/2020
  10354973 215 Harrison Ave, Panama City, FL 32401                   David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/5/2009 VA 1-431-301             12/3/2009                   5/5/2009               6/18/2020
  10354977 215 Harrison Ave, Panama City, FL 32401                   David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/5/2009 VA 1-431-301             12/3/2009                   5/5/2009               6/17/2020
  10541385 2431 Barcelona Ln, Tallahassee, FL 32311                  David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2009 VA 1-431-301             12/3/2009                  6/10/2009               6/22/2020
   9570923 1877 S Federal Hwy, Boca Raton, FL 33432                  Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2009 VA 1-431-284             12/3/2009                   2/5/2009               1/18/2021
   9807137 2220 SE Ocean Blvd, Stuart, FL 34996                      Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/7/2009 VA 1-431-284             12/3/2009                   3/7/2009                5/1/2021
  10029628 700 E Atlantic Blvd, Pompano Beach, FL 33060              Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2009 VA 1-431-284             12/3/2009                   4/3/2009               10/4/2020
  10041040 2651-2667 W Atlantic Blvd, Pompano Beach, FL 33069        Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/6/2009 VA 1-431-284             12/3/2009                   4/6/2009               6/23/2020
  10301037 601 N Congress Ave, Delray Beach, FL 33445                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2009 VA 1-431-284             12/3/2009                   5/8/2009                8/9/2020
  10301053 601 N Congress Ave, Delray Beach, FL 33445                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2009 VA 1-431-284             12/3/2009                   5/8/2009                8/8/2020
  10390051 8095-8177 Glades Rd, Boca Raton, FL 33434                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/29/2009 VA 1-431-284             12/3/2009                  1/29/2009               1/18/2021
  10450184 4949 S Congress Ave, Lake Worth, FL 33461                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/28/2009 VA 1-431-284             12/3/2009                  5/28/2009               6/19/2020
  11476998 41-51 N Federal Hwy, Pompano Beach, FL 33062              Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/1/2009 VA 1-431-284             12/3/2009                   4/1/2009               6/19/2020
  10385664 9960-9984 Cedar Ave, Bloomington, CA 92316                Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/19/2009 VA 1-431-362             12/3/2009                  5/19/2009               3/30/2021
  10550570 11368 Bryant St, Yucaipa, CA 92399                        Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2009 VA 1-431-362             12/3/2009                  6/10/2009               6/24/2020

   9883468 6230 N College Ave, Indianapolis, IN 46220                Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/17/2009 VA 1-431-368             12/3/2009                  3/17/2009               10/3/2020

  10502685 4233 E 38th St, Indianapolis, IN 46218                    Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        6/4/2009 VA 1-431-368             12/3/2009                   6/4/2009               10/7/2020

  10541505 2340 Enterprise Park Pl, Indianapolis, IN 46218           Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/10/2009 VA 1-431-368             12/3/2009                  6/10/2009                3/8/2021
   9501484 1410 Incarnation Dr, Charlottesville, VA 22901            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/28/2009 VA 1-431-363             12/3/2009                  1/28/2009               6/21/2020
   9571374 4444 Brookfield Corporate Dr, Chantilly, VA 20151         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/5/2009 VA 1-431-363             12/3/2009                   2/5/2009               6/18/2020
   9571377 4444 Brookfield Corporate Dr, Chantilly, VA 20151         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/5/2009 VA 1-431-363             12/3/2009                   2/5/2009               6/30/2020
   9619102 4215 Lafayette Center Dr, Chantilly, VA 20151             Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/11/2009 VA 1-431-363             12/3/2009                  2/11/2009                7/1/2020
   9775710 105 Douglas Ct, Sterling, VA 20166                        Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/4/2009 VA 1-431-363             12/3/2009                   3/4/2009                7/2/2020
   9870874 22854 Bryant Ct, Dulles, VA 20166                         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/16/2009 VA 1-431-363             12/3/2009                  3/16/2009                7/2/2020
   9918207 43671 Trade Center Pl, Sterling, VA 20166                 Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/19/2009 VA 1-431-363             12/3/2009                  3/19/2009               6/21/2020
  10132743 10121-10123 Colvin Run Rd, Great Falls, VA 22066          Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/9/2009 VA 1-431-363             12/3/2009                   4/9/2009               6/18/2020
  10139978 3022 Williams Dr, Fairfax, VA 22031                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/16/2009 VA 1-431-363             12/3/2009                  4/16/2009                2/1/2021
  10178289 3015 Williams Dr, Fairfax, VA 22031                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2009 VA 1-431-363             12/3/2009                  4/22/2009                2/1/2021
  10178311 3016 Williams Dr, Fairfax, VA 22031                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2009 VA 1-431-363             12/3/2009                  4/22/2009                2/1/2021
  10193852 3301 Woodburn Rd, Annandale, VA 22003                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/24/2009 VA 1-431-363             12/3/2009                  4/24/2009               5/16/2020
  10296387 7900 Backlick Rd, Springfield, VA 22150                   Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/7/2009 VA 1-431-363             12/3/2009                   5/7/2009               6/18/2020
  10319248 8394 Terminal Rd, Lorton, VA 22079                        Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/11/2009 VA 1-431-363             12/3/2009                  5/11/2009               6/23/2020
  10319250 8394 Terminal Rd, Lorton, VA 22079                        Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/11/2009 VA 1-431-363             12/3/2009                  5/11/2009               6/22/2020
  10374603 9022 Telegraph Rd, Lorton, VA 22079                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/18/2009 VA 1-431-363             12/3/2009                  5/18/2009                7/1/2020
  10541698 23011 Ladbrook Dr, Sterling, VA 20166                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/8/2009 VA 1-431-363             12/3/2009                   6/8/2009                8/7/2020
  10541699 23011 Ladbrook Dr, Sterling, VA 20166                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/8/2009 VA 1-431-363             12/3/2009                   6/8/2009                8/9/2020

  10000353 7772 Capital Blvd, Macedonia, OH 44056                    Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/31/2009 VA 1-431-258             12/3/2009                  3/31/2009               8/11/2020

  10000356 7772 Capital Blvd, Macedonia, OH 44056                    Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/31/2009 VA 1-431-258             12/3/2009                  3/31/2009                8/9/2020
   9634785 152 Molly Walton Rd, Hendersonville, TN 37075             Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2009 VA 1-431-313             12/3/2009                  2/13/2009               6/24/2020
  10248733 120 Hays St, Smyrna, TN 37167                             Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2009 VA 1-431-313             12/3/2009                  4/30/2009               6/30/2020
   9871591 9-11 Trafalgar Sq, Nashua, NH 03063                       Jeff Tippett                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/16/2009 VA 1-431-234             12/3/2009                  3/16/2009               6/23/2020
   9871593 9 Trafalgar Sq, Nashua, NH 03063                          Jeff Tippett                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/16/2009 VA 1-431-234             12/3/2009                  3/16/2009               8/10/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                    23
                                                                     Case 2:20-cv-08819-CBM-AS                                      Document 950-1 Filed 10/25/24                                                                 Page 51 of 202 Page
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Attachment                                                                                         Photographer - Last Known   Photographer - Last Known                                                                    Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
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   10265426 1000 E Main St, Midlothian, TX 76065                          Darrell Shultz                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       5/4/2009 VA 1-431-250              12/3/2009                   5/4/2009               7/15/2020
   10297179 509 Ferris Ave, Waxahachie, TX 75165                          Darrell Shultz                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       5/7/2009 VA 1-431-250              12/3/2009                   5/7/2009               7/15/2020
    9389172 78-80 Main St, Madison, NJ 07940                              John Georgiadis                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      1/13/2009 VA 1-431-227              12/3/2009                  1/13/2009               6/20/2020
    9417515 101-107 W Edmonston Dr, Rockville, MD 20852                   Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/17/2009 VA 1-431-302              12/3/2009                  1/17/2009               7/20/2020
    9491454 12101-12127 Heritage Park Cir, Silver Spring, MD 20906        Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/26/2009 VA 1-431-302              12/3/2009                  1/26/2009               7/20/2020
    9491458 12101-12127 Heritage Park Cir, Silver Spring, MD 20906        Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/26/2009 VA 1-431-302              12/3/2009                  1/26/2009               7/20/2020
    9536448 400 Foxcroft Ave, Martinsburg, WV 25401                       Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/2/2009 VA 1-431-302              12/3/2009                   2/2/2009               7/15/2020
   10551695 9592 Baltimore Ave, College Park, MD 20740                    Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/11/2009 VA 1-431-302              12/3/2009                  6/11/2009               6/23/2020
    9325879 4495 36th St, Orlando, FL 32811                               Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       1/5/2009 VA 1-431-252              12/3/2009                   1/5/2009               6/22/2020
    9378772 3852 L B Mcleod Rd, Orlando, FL 32805                         Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       1/8/2009 VA 1-431-252              12/3/2009                   1/8/2009               6/19/2020
    9410620 6000 Metrowest Blvd, Orlando, FL 32835                        Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/15/2009 VA 1-431-252              12/3/2009                  1/15/2009                7/4/2020
    9410624 6000 Metrowest Blvd, Orlando, FL 32835                        Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/15/2009 VA 1-431-252              12/3/2009                  1/15/2009               6/22/2020
    9517966 3708 S John Young Pky, Orlando, FL 32839                      Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/30/2009 VA 1-431-252              12/3/2009                  1/30/2009               6/22/2020
    9517969 3708 S John Young Pky, Orlando, FL 32839                      Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/30/2009 VA 1-431-252              12/3/2009                  1/30/2009               6/22/2020
    9517972 3708 S John Young Pky, Orlando, FL 32839                      Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/30/2009 VA 1-431-252              12/3/2009                  1/30/2009               6/24/2020
    9590614 5401 S Kirkman Rd, Orlando, FL 32819                          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/6/2009 VA 1-431-252              12/3/2009                   2/6/2009                7/2/2020
    9590615 5401 S Kirkman Rd, Orlando, FL 32819                          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/6/2009 VA 1-431-252              12/3/2009                   2/6/2009               6/24/2020
    9590616 5401 S Kirkman Rd, Orlando, FL 32819                          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/6/2009 VA 1-431-252              12/3/2009                   2/6/2009               6/24/2020
    9736004 435 N Orange Blossom Trl, Orlando, FL 32805                   Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/25/2009 VA 1-431-252              12/3/2009                  2/25/2009               6/20/2020
    9776412 1714 US Highway 27, Clermont, FL 34714                        Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/4/2009 VA 1-431-252              12/3/2009                   3/4/2009               6/18/2020
    9940710 6236 Kingspointe Pky, Orlando, FL 32819                       Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/24/2009 VA 1-431-252              12/3/2009                  3/24/2009                7/2/2020
    9940711 6236 Kingspointe Pky, Orlando, FL 32819                       Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/24/2009 VA 1-431-252              12/3/2009                  3/24/2009               6/21/2020
   10555051 2451 Old Lake Mary Rd, Sanford, FL 32771                      Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/11/2009 VA 1-431-252              12/3/2009                  6/11/2009                7/2/2020
   10474351 7145 Magnolia Ave, Riverside, CA 92504                        Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/1/2009 VA 1-431-300              12/3/2009                   6/1/2009               6/21/2020
   10543234 44025 Jefferson St, La Quinta, CA 92253                       Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/10/2009 VA 1-431-300              12/3/2009                  6/10/2009              12/20/2020
   10543264 44125 Jefferson St, La Quinta, CA 92253                       Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/10/2009 VA 1-431-300              12/3/2009                  6/10/2009              12/13/2020
   10543267 44155 Jefferson St, La Quinta, CA 92253                       Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/10/2009 VA 1-431-300              12/3/2009                  6/10/2009              12/19/2020
    7265143 3622 Maccorkle Ave, Charleston, WV 25304                      Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/6/2008 VA 1-431-578              12/3/2009                   4/6/2008               6/26/2020
    7265144 3622 Maccorkle Ave, Charleston, WV 25304                      Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/6/2008 VA 1-431-578              12/3/2009                   4/6/2008               6/21/2020
    7293649 131 Maccorkle Ave, Charleston, WV 25303                       Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/18/2008 VA 1-431-578              12/3/2009                  3/18/2008               6/21/2020
    7293652 131 Maccorkle Ave, Charleston, WV 25303                       Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/18/2008 VA 1-431-578              12/3/2009                  3/18/2008               6/22/2020
    7293654 131 Maccorkle Ave, Charleston, WV 25303                       Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/18/2008 VA 1-431-578              12/3/2009                  3/18/2008               6/23/2020
    7314682 110 E Main St, Salem, VA 24153                                Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/22/2008 VA 1-431-578              12/3/2009                  3/22/2008               6/29/2020
    7865463 808 Main Ave, Nitro, WV 25143                                 Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/17/2008 VA 1-431-578              12/3/2009                  6/17/2008               7/27/2020
    8780584 105 C St, Kenova, WV 25530                                    Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500     10/15/2008 VA 1-431-578              12/3/2009                 10/15/2008                7/2/2020
    9052226 3901 Camden Ave, Parkersburg, WV 26101                        Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500     11/14/2008 VA 1-431-578              12/3/2009                 11/14/2008               7/11/2020
    9645561 3125 Salem Tpke NW, Roanoke, VA 24017                         Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/16/2009 VA 1-431-266              12/3/2009                  2/16/2009               6/30/2020
   10148935 5815 Airport Rd, Roanoke, VA 24012                            Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/15/2009 VA 1-431-266              12/3/2009                  4/15/2009              11/26/2020
   10168086 1107 Johnstown Rd, Beckley, WV 25801                          Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/21/2009 VA 1-431-266              12/3/2009                  4/21/2009               6/18/2020
   10168087 1107 Johnstown Rd, Beckley, WV 25801                          Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/21/2009 VA 1-431-266              12/3/2009                  4/21/2009               6/30/2020
   10572819 4216 Maccorkle Ave SE, Charleston, WV 25304                   Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       6/4/2009 VA 1-431-266              12/3/2009                   6/4/2009               7/15/2020
   10572827 4216 Maccorkle Ave SE, Charleston, WV 25304                   Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       6/4/2009 VA 1-431-266              12/3/2009                   6/4/2009               7/15/2020
    9952551 628 Vermont St, Lawrence, KS 66044                            Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/25/2009 VA 1-431-255              12/3/2009                  3/25/2009               6/21/2020
   10228153 1307 Massachusetts St, Lawrence, KS 66044                     Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/28/2009 VA 1-431-255              12/3/2009                  4/28/2009                7/1/2020
   10228154 1307 Massachusetts St, Lawrence, KS 66044                     Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/28/2009 VA 1-431-255              12/3/2009                  4/28/2009               6/23/2020
    9439518 1118 Virginia St, Columbus, GA 31901                          Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      1/20/2009 VA 1-431-223              12/3/2009                  1/20/2009               6/29/2020
    9610839 3313 4th Ave, Columbus, GA 31904                              Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/10/2009 VA 1-431-223              12/3/2009                  2/10/2009                7/3/2020
    9610842 3313 4th Ave, Columbus, GA 31904                              Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/10/2009 VA 1-431-223              12/3/2009                  2/10/2009               6/21/2020
    9656579 1315 39th St, Columbus, GA 31904                              Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/17/2009 VA 1-431-223              12/3/2009                  2/17/2009                8/9/2020
    9684722 5250 Veterans Pky, Columbus, GA 31904                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/19/2009 VA 1-431-223              12/3/2009                  2/19/2009               6/19/2020
    9684725 5250 Veterans Pky, Columbus, GA 31904                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/19/2009 VA 1-431-223              12/3/2009                  2/19/2009               6/18/2020
    9846091 130 Gateway Ct, Columbus, GA 31909                            Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/12/2009 VA 1-431-223              12/3/2009                  3/12/2009                7/1/2020
    9846093 130 Gateway Ct, Columbus, GA 31909                            Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/12/2009 VA 1-431-223              12/3/2009                  3/12/2009                7/4/2020
   10081780 300 Milton Ave, Atlanta, GA 30315                             Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/10/2009 VA 1-431-223              12/3/2009                  4/10/2009                4/7/2021
   10376667 1668 Mulkey Rd, Austell, GA 30106                             Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      5/18/2009 VA 1-431-223              12/3/2009                  5/18/2009               6/18/2020
   10525787 3425 Old Highway 41, Kennesaw, GA 30144                       Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       6/8/2009 VA 1-431-223              12/3/2009                   6/8/2009               6/20/2020
    9482615 1580 Ferndale Blvd, Central Islip, NY 11722                   Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      1/26/2009 VA 1-431-282              12/3/2009                  1/26/2009               6/18/2020
    9685006 49 Mall Dr, Commack, NY 11725                                 Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      2/19/2009 VA 1-431-282              12/3/2009                  2/19/2009               6/18/2020
   10474888 1884-1892 Grand Ave, Baldwin, NY 11510                        Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       6/1/2009 VA 1-431-282              12/3/2009                   6/1/2009               6/19/2020
   10505401 3670 Rebecca Ln, Colorado Springs, CO 80917                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       6/4/2009 VA 1-431-251              12/3/2009                   6/4/2009               1/27/2021
   10563597 37 Union St S, Concord, NC 28025                              Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/3/2009 VA 1-431-338              12/3/2009                   6/3/2009                7/2/2020
   10475501 931 Ridge Rd, Munster, IN 46321                               Benjamin Gonzales                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/1/2009 VA 1-431-288              12/3/2009                   6/1/2009               6/17/2020
   10475508 931 Ridge Rd, Munster, IN 46321                               Benjamin Gonzales                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/1/2009 VA 1-431-288              12/3/2009                   6/1/2009               6/24/2020
    9453006 525 Cirby Way, Roseville, CA 95678                            Thomas Stuebe                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      1/22/2009 VA 1-431-308              12/3/2009                  1/22/2009               6/22/2020
    9453687 2405 Creel Ln, Wesley Chapel, FL 33544                        April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      1/23/2009 VA 1-431-305              12/3/2009                  1/23/2009               6/30/2020
    9453689 2405 Creel Ln, Wesley Chapel, FL 33544                        April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      1/23/2009 VA 1-431-305              12/3/2009                  1/23/2009               6/22/2020
    9453691 2405 Creel Ln, Wesley Chapel, FL 33544                        April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      1/23/2009 VA 1-431-305              12/3/2009                  1/23/2009               6/17/2020
    9848414 414 W Robertson St, Brandon, FL 33511                         April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      3/13/2009 VA 1-431-305              12/3/2009                  3/13/2009               6/23/2020
    9848415 414 W Robertson St, Brandon, FL 33511                         April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      3/13/2009 VA 1-431-305              12/3/2009                  3/13/2009               6/24/2020
    9848417 414 W Robertson St, Brandon, FL 33511                         April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      3/13/2009 VA 1-431-305              12/3/2009                  3/13/2009               6/19/2020
    9848418 414 W Robertson St, Brandon, FL 33511                         April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      3/13/2009 VA 1-431-305              12/3/2009                  3/13/2009                7/1/2020
   10004545 300 Beardsley Ln, Austin, TX 78746                            Richard Craig                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/2/2009 VA 1-432-680              12/3/2009                   4/2/2009              11/14/2020
   10263630 2177 NE Coachman Rd, Clearwater, FL 33765                     April Piterski                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       5/5/2009 VA 1-431-305              12/3/2009                   5/5/2009               6/21/2020
   10274374 7 Upper Newport Plaza Dr, Newport Beach, CA 92660             Gary Riedel                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       5/5/2009 VA 1-432-675              12/3/2009                   5/5/2009               6/23/2020
   10016306 326 Route 73, Voorhees, NJ 08043                              Chuck Carpenter                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/2/2009 VA 1-431-360              12/3/2009                   4/2/2009               6/21/2020
    9557221 3625 Western Center Blvd, Fort Worth, TX 76137                Jim Qualia                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       2/4/2009 VA 1-431-353              12/3/2009                   2/4/2009               6/19/2020
   10318053 12222 Coit Rd, Dallas, TX 75251                               Jim Qualia                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/12/2009 VA 1-431-353              12/3/2009                  5/12/2009               6/21/2020
   10318524 702 W Arapaho Rd, Richardson, TX 75080                        Jim Qualia                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/12/2009 VA 1-431-353              12/3/2009                  5/12/2009               6/20/2020
   10318531 702 W Arapaho Rd, Richardson, TX 75080                        Jim Qualia                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/12/2009 VA 1-431-353              12/3/2009                  5/12/2009               6/21/2020
   10318537 702 W Arapaho Rd, Richardson, TX 75080                        Jim Qualia                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/12/2009 VA 1-431-353              12/3/2009                  5/12/2009               6/18/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                        24
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Attachment                                                                                      Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                       Photographer            Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
    4236959 55-75 Lovell Ave, San Rafael, CA 94901                    Kristen Thomas                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/26/2009 VA 1-432-672              12/3/2009                  1/26/2009              6/21/2020
    9322822 400 Mcnulty St, Blythewood, SC 29016                      Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/2/2009 VA 1-431-349              12/3/2009                   1/2/2009              6/19/2020
    9322828 400 Mcnulty St, Blythewood, SC 29016                      Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/2/2009 VA 1-431-349              12/3/2009                   1/2/2009               7/5/2020
    9322835 400 Mcnulty St, Blythewood, SC 29016                      Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/2/2009 VA 1-431-349              12/3/2009                   1/2/2009              6/19/2020
    9326209 2925 Courtyards Dr, Norcross, GA 30071                    Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/5/2009 VA 1-431-310              12/3/2009                   1/5/2009              6/24/2020
    9326213 2925 Courtyards Dr, Norcross, GA 30071                    Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/5/2009 VA 1-431-310              12/3/2009                   1/5/2009              6/24/2020
    9327857 2 Task Industrial Ct, Greenville, SC 29607                Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/5/2009 VA 1-431-232              12/3/2009                   1/5/2009              6/23/2020
    9337463 3514 Winhoma Dr, Memphis, TN 38118                        Gerald Thomas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2009 VA 1-431-303              12/3/2009                   1/7/2009              6/19/2020
    9346340 2891 Cole Ct, Norcross, GA 30071                          Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2009 VA 1-431-310              12/3/2009                   1/7/2009               7/7/2020
    9347119 321 N 9th St, Las Vegas, NV 89101                         Michael Collison                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2009 VA 1-431-365              12/3/2009                   1/7/2009              5/16/2020
    9379689 3600 Regal Blvd, Memphis, TN 38118                        Gerald Thomas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/13/2009 VA 1-431-303              12/3/2009                  1/13/2009              6/19/2020
    9411539 2412 Western Ave, Las Vegas, NV 89102                     Michael Collison                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/15/2009 VA 1-431-365              12/3/2009                  1/15/2009               8/9/2020
    9411931 35 Brendan Way, Greenville, SC 29615                      Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/15/2009 VA 1-431-232              12/3/2009                  1/15/2009               7/4/2020
    9417775 4487 S Old Peachtree Rd, Norcross, GA 30071               Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/16/2009 VA 1-431-310              12/3/2009                  1/16/2009              6/24/2020
    9444331 390 N Broadway, Pennsville, NJ 08070                      Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/21/2009 VA 1-431-240              12/3/2009                  1/21/2009              6/22/2020
    9479801 11518 E Apache Trl, Apache Junction, AZ 85120             Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/26/2009 VA 1-431-316              12/3/2009                  1/26/2009              6/22/2020
    9480900 104 S Nichols St, Nichols, SC 29581                       Nathan Alvey                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/26/2009 VA 1-431-235              12/3/2009                  1/26/2009              7/24/2020
    9504073 138 Leader Dr, Piedmont, SC 29673                         Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/27/2009 VA 1-431-232              12/3/2009                  1/27/2009              6/24/2020
    9512211 131 N Krome Ave, Homestead, FL 33030                      Mark White                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2009 VA 1-431-337              12/3/2009                  1/28/2009               7/8/2020
    9512212 131 N Krome Ave, Homestead, FL 33030                      Mark White                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2009 VA 1-431-337              12/3/2009                  1/28/2009               7/8/2020
    9513666 154 N Dupont Hwy, New Castle, DE 19720                    Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/29/2009 VA 1-431-240              12/3/2009                  1/29/2009              6/17/2020
    9513668 154 N Dupont Hwy, New Castle, DE 19720                    Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/29/2009 VA 1-431-240              12/3/2009                  1/29/2009              6/22/2020
    9518687 807-841 84th St, Papillion, NE 68046                      Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/30/2009 VA 1-431-285              12/3/2009                  1/30/2009              6/17/2020
    9518701 807-841 84th St, Papillion, NE 68046                      Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/30/2009 VA 1-431-285              12/3/2009                  1/30/2009              6/17/2020
    9592812 6000-6066 N 76th St, Milwaukee, WI 53218                  Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/6/2009 VA 1-431-256              12/3/2009                   2/6/2009              6/30/2020
    9592846 9235 W Capitol Dr, Milwaukee, WI 53222                    Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2009 VA 1-431-256              12/3/2009                   2/5/2009              6/22/2020
    9594496 3909 Outland Rd, Memphis, TN 38118                        Gerald Thomas                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2009 VA 1-431-303              12/3/2009                   2/4/2009               7/3/2020
    9594527 1710 W 18th, Houston, TX 77008                            Thomas Richardson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/5/2009 VA 1-431-265              12/3/2009                   2/5/2009              6/17/2020
    9603841 2815 Davison Rd, Flint, MI 48506                          John Ehnis                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/7/2009 VA 1-432-673              12/3/2009                   2/7/2009              11/8/2020
    9604838 3069 Peachtree Industrial Blvd, Duluth, GA 30097          Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2009 VA 1-431-310              12/3/2009                   2/9/2009              6/19/2020
    9604841 3069 Peachtree Industrial Blvd, Duluth, GA 30097          Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2009 VA 1-431-310              12/3/2009                   2/9/2009              6/21/2020
    9604929 1101 Country Club Dr, Madera, CA 93638                    Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2009 VA 1-431-364              12/3/2009                   2/9/2009              6/21/2020
    9605164 1934 N Broadway St, Moore, OK 73160                       Lacey Bridgmon                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2009 VA 1-431-245              12/3/2009                   2/9/2009              7/24/2020
    9605835 8100 N Teutonia Ave, Milwaukee, WI 53209                  Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2009 VA 1-431-256              12/3/2009                   2/9/2009              6/22/2020
    9609130 3201-3203 Sullivant Ave, Columbus, OH 43204               Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/10/2009 VA 1-431-274              12/3/2009                  2/10/2009              6/22/2020
    9620777 3400 Rivergreen Ct, Duluth, GA 30096                      Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/10/2009 VA 1-431-310              12/3/2009                  2/10/2009               7/4/2020
    9621863 18411 Highland Rd, Baton Rouge, LA 70809                  Franklin Thompson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2009 VA 1-431-281              12/3/2009                  2/11/2009              6/20/2020
    9621867 18411 Highland Rd, Baton Rouge, LA 70809                  Franklin Thompson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2009 VA 1-431-281              12/3/2009                  2/11/2009              6/24/2020
    9628090 3309 W Gate City Blvd, Greensboro, NC 27407               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/12/2009 VA 1-431-228              12/3/2009                  2/12/2009              6/30/2020
    9630786 9947 Franklin Ave, Franklin Park, IL 60131                Sonya Williams                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/12/2009 VA 1-431-225              12/3/2009                  2/12/2009              6/19/2020
    9631173 136 Hal Muldrow Dr, Norman, OK 73069                      Lacey Bridgmon                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/12/2009 VA 1-431-245              12/3/2009                  2/12/2009              6/24/2020
    9631517 3655-A Old Court Rd, Pikesville, MD 21208                 Mike Schisler                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2009 VA 1-431-276              12/3/2009                  2/11/2009              7/31/2020
    9636930 3720 W Gate City Blvd, Greensboro, NC 27407               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/14/2009 VA 1-431-228              12/3/2009                  2/14/2009              6/18/2020
    9645669 100 Gorman Ave, Baltimore, MD 21223                       Mike Schisler                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/13/2009 VA 1-431-276              12/3/2009                  2/13/2009               7/1/2020
   17880463 625 Route 83, Elmhurst, IL 60126                          Mike Schwartz                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      1/30/2012 VA 1-919-084            12/14/2012                   1/30/2012               8/9/2020
    9665656 190 Merrydale Rd, San Rafael, CA 94903                    Kristen Thomas                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/18/2009 VA 1-432-672              12/3/2009                  2/18/2009              6/20/2020
    9717826 4325 Jonesboro Rd, Forest Park, GA 30297                  Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/23/2009 VA 1-431-310              12/3/2009                  2/23/2009              7/31/2020
    9725143 1555 Wayne Ave, Dayton, OH 45410                          Zachary Robb                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/24/2009 VA 1-432-677              12/3/2009                  2/24/2009              6/30/2020
    9725146 1555 Wayne Ave, Dayton, OH 45410                          Zachary Robb                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/24/2009 VA 1-432-677              12/3/2009                  2/24/2009               7/3/2020

                                                                                                                                                        Pratt & Miller Engineering
   9727917 29505-29541 W 9 Mile Rd, Farmington Hills, MI 48336        Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       2/24/2009 VA 1-431-236             12/3/2009                  2/24/2009               6/23/2020
   9729380 1708 Delaware Ave, Des Moines, IA 50317                    Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/24/2009 VA 1-431-285             12/3/2009                  2/24/2009               6/19/2020
   9729913 10333 Clayton Rd, Frontenac, MO 63131                      Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/23/2009 VA 1-431-329             12/3/2009                  2/23/2009               6/30/2020
   9743738 4815 E Carefree Hwy, Cave Creek, AZ 85331                  Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/2/2009 VA 1-431-316             12/3/2009                   3/2/2009               6/17/2020
   9756898 115 Brushy Creek Rd, Easley, SC 29642                      Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/23/2009 VA 1-431-232             12/3/2009                  2/23/2009               6/21/2020
   9776920 40 Hudson St, Annapolis, MD 21401                          Mike Schisler                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/3/2009 VA 1-431-276             12/3/2009                   3/3/2009               6/17/2020
   9787411 6329 Unity St, Thomasville, NC 27360                       Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/6/2009 VA 1-431-228             12/3/2009                   3/6/2009                7/4/2020
   9822622 408 W Butler Rd, Mauldin, SC 29662                         Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/10/2009 VA 1-431-232             12/3/2009                  3/10/2009                8/9/2020
   9846051 3648 Vann Rd, Trussville, AL 35235                         Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/12/2009 VA 1-431-324             12/3/2009                  3/12/2009                7/1/2020
   9847291 697 W Independence Blvd, Mount Airy, NC 27030              Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/13/2009 VA 1-431-228             12/3/2009                  3/13/2009              11/21/2020
   9868931 2 Winnco Dr, San Antonio, TX 78218                         Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/16/2009 VA 1-431-249             12/3/2009                  3/16/2009                3/8/2021
   9870064 340 Mobil Ave, Camarillo, CA 93010                         Ernst Mutchnick                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/16/2009 VA 1-431-355             12/3/2009                  3/16/2009                8/8/2020

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   9872228 17453 E Nine Mile Rd, Eastpointe, MI 48021                 Lisa Borkus                                                                       & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       3/16/2009 VA 1-431-236             12/3/2009                  3/16/2009               6/24/2020

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   9872230 17453 E Nine Mile Rd, Eastpointe, MI 48021                 Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       3/16/2009 VA 1-431-236             12/3/2009                  3/16/2009               6/21/2020
   9874656 811-867 N 900 W, Orem, UT 84057                            Cynthia Woerner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/16/2009 VA 1-431-242             12/3/2009                  3/16/2009                7/2/2020
   9885909 1101 W 31st St, Downers Grove, IL 60515                    Kimberly Atwood                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/17/2009 VA 1-431-350             12/3/2009                  3/17/2009               6/19/2020
   9913636 702 San Fernando St, San Antonio, TX 78207                 Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/20/2009 VA 1-431-249             12/3/2009                  3/20/2009               6/24/2020

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   9923080 19934 Harper Ave, Harper Woods, MI 48225                   Lisa Borkus                                                                       & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       3/23/2009 VA 1-431-236             12/3/2009                  3/23/2009                7/1/2020

                                                                                                                                                        Pratt & Miller Engineering
   9923205 35250 S Gratiot Ave, Clinton Township, MI 48035            Lisa Borkus                                                                       & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       3/21/2009 VA 1-431-236             12/3/2009                  3/21/2009                8/8/2020
   9924590 3527-2529 Highway 81, Loganville, GA 30052                 Bonnie Heath                                                                      CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       3/19/2009 VA 1-431-310             12/3/2009                  3/19/2009              11/13/2020
   9925179 834 Willow St, Reno, NV 89502                              Melissa Greulich                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       3/19/2009 VA 1-432-670             12/3/2009                  3/19/2009               6/24/2020




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    9929173 42-48 S Florissant Rd, Saint Louis, MO 63135                 Courtney Wilson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/19/2009 VA 1-431-329              12/3/2009                  3/19/2009              6/23/2020
    9929265 200 E 1st Ave, Easley, SC 29640                              Kristy Eppolito                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/18/2009 VA 1-431-232              12/3/2009                  3/18/2009              6/17/2020
    9929269 200 E 1st Ave, Easley, SC 29640                              Kristy Eppolito                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/18/2009 VA 1-431-232              12/3/2009                  3/18/2009              6/30/2020
   19274560 3257-3347 N Ridge Ave, Arlington Heights, IL 60004           Mike Schwartz                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       7/2/2012 VA 1-918-621              3/29/2013                   7/2/2012              6/21/2020
    9938305 16504 9th Ave SE, Mill Creek, WA 98012                       Eric Ericson                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/24/2009 VA 1-431-323              12/3/2009                  3/24/2009              6/22/2020
    9940790 6719 Winkler Rd, Fort Myers, FL 33919                        Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/23/2009 VA 1-431-361              12/3/2009                  3/23/2009               7/2/2020
    9949326 916 W Ironwood Dr, Coeur d'Alene, ID 83814                   Jonathan Jantz                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/25/2009 VA 1-432-671              12/3/2009                  3/25/2009              7/20/2020
    9963635 4604-4640 S 25th St, Omaha, NE 68107                         Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/26/2009 VA 1-431-285              12/3/2009                  3/26/2009              6/24/2020
    9990767 20271 Acacia St, Newport Beach, CA 92660                     Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/30/2009 VA 1-431-254              12/3/2009                  3/30/2009              10/9/2020
    9993270 1011 N Frio St, San Antonio, TX 78207                        Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/31/2009 VA 1-431-249              12/3/2009                  3/31/2009               6/7/2021
   10002477 8585 Baltimore National Pike, Ellicott City, MD 21043        Mike Schisler                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/30/2009 VA 1-431-276              12/3/2009                  3/30/2009               7/2/2020
   10002730 3469 Thomas St, Memphis, TN 38127                            Gerald Thomas                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/1/2009 VA 1-431-303              12/3/2009                   4/1/2009               7/7/2020
   10003891 1872-1882 S Maple Ave, Fairborn, OH 45324                    Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/1/2009 VA 1-432-677              12/3/2009                   4/1/2009               7/8/2020
   10007778 13720 Six Mile Cypress Pky, Fort Myers, FL 33912             Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/1/2009 VA 1-431-361              12/3/2009                   4/1/2009              6/24/2020
   10007942 1256 Waterford Dr, Aurora, IL 60504                          Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/1/2009 VA 1-431-350              12/3/2009                   4/1/2009              7/15/2020

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  10025759 37235-37245 Groesbeck Hwy, Clinton Township, MI 48036         Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        4/2/2009 VA 1-431-236             12/3/2009                   4/2/2009               7/31/2020

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  10025764 37235-37245 Groesbeck Hwy, Clinton Township, MI 48036         Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        4/2/2009 VA 1-431-236             12/3/2009                   4/2/2009               7/31/2020
  10039432 5458 Louie Ln, Reno, NV 89511                                 Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/5/2009 VA 1-431-365             12/3/2009                   4/5/2009                7/2/2020
  10041986 7175-7185 Lancaster Pike, Hockessin, DE 19707                 Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2009 VA 1-431-240             12/3/2009                   4/6/2009               6/21/2020
  10042210 750 James St, Syracuse, NY 13203                              Edward Bulken                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2009 VA 1-431-311             12/3/2009                   4/6/2009               6/30/2020
  10042303 2327-2351 Jonesboro Rd, Mcdonough, GA 30253                   Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2009 VA 1-431-310             12/3/2009                   4/6/2009                7/3/2020
  10066104 9410 Corkscrew Palms Cir, Estero, FL 33928                    Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/8/2009 VA 1-431-361             12/3/2009                   4/8/2009               6/24/2020
  10076460 1850 Sigman Rd NW, Conyers, GA 30012                          Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/9/2009 VA 1-431-310             12/3/2009                   4/9/2009               6/17/2020
  10082259 1339 S 65th St, Milwaukee, WI 53214                           Daniel Makowski                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/10/2009 VA 1-431-256             12/3/2009                  4/10/2009               6/17/2020
  10082265 6500 W Washington St, West Allis, WI 53214                    Daniel Makowski                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/10/2009 VA 1-431-256             12/3/2009                  4/10/2009               6/22/2020
  10097800 101 E Corporate Dr, Lewisville, TX 75067                      Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2009 VA 1-431-224             12/3/2009                  4/13/2009                8/7/2020
  10097817 100-101 E Corporate Dr, Lewisville, TX 75067                  Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2009 VA 1-431-224             12/3/2009                  4/13/2009                7/1/2020
  10099343 180 S Weidman Rd, Ballwin, MO 63021                           Courtney Wilson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2009 VA 1-431-329             12/3/2009                  4/13/2009               7/31/2020
  10133388 1904 Fairfax Rd, Greensboro, NC 27407                         Andrea Erickson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2009 VA 1-431-228             12/3/2009                  4/16/2009                8/8/2020
  10135775 900 S Oregon St, El Paso, TX 79901                            Linda Miner                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2009 VA 1-431-247             12/3/2009                  4/16/2009               6/23/2020
  10135779 900 S Oregon St, El Paso, TX 79901                            Linda Miner                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2009 VA 1-431-247             12/3/2009                  4/16/2009               6/18/2020
  10155257 2810 Bartlett Rd, Bartlett, TN 38134                          Gerald Thomas                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2009 VA 1-431-303             12/3/2009                  4/21/2009               6/23/2020
  10155840 15920 S Rancho Sahuarita Blvd, Sahuarita, AZ 85629            Barb Hildenbrand                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/20/2009 VA 1-431-346             12/3/2009                  4/20/2009               6/23/2020
  10168301 3600 Eldorado Ave, Baltimore, MD 21207                        Mike Schisler                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2009 VA 1-431-276             12/3/2009                  4/21/2009               6/21/2020
  10168633 901 S 60TH St, Milwaukee, WI 53214                            Daniel Makowski                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2009 VA 1-431-256             12/3/2009                  4/21/2009               6/22/2020
  10179859 20600 Veterans Blvd, Port Charlotte, FL 33954                 Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/22/2009 VA 1-431-361             12/3/2009                  4/22/2009                7/3/2020
  10180550 12200 W Adler Ln, West Allis, WI 53214                        Daniel Makowski                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/22/2009 VA 1-431-256             12/3/2009                  4/22/2009               6/23/2020
  10181628 8808 S Mingo Rd, Tulsa, OK 74133                              Wendy Smith                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/22/2009 VA 1-431-292             12/3/2009                  4/22/2009               6/18/2020
  10190441 1600 Tamiami Trl, Port Charlotte, FL 33948                    Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/22/2009 VA 1-431-361             12/3/2009                  4/22/2009               10/5/2020
  10190477 401-411 Trinity Ave, Chowchilla, CA 93610                     Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/23/2009 VA 1-431-364             12/3/2009                  4/23/2009               6/21/2020
  10190478 401-411 Trinity Ave, Chowchilla, CA 93610                     Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/23/2009 VA 1-431-364             12/3/2009                  4/23/2009               6/20/2020
  10220455 1805 N Main St, Dayton, OH 45405                              Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/28/2009 VA 1-432-677             12/3/2009                  4/28/2009                7/3/2020
  10221626 4040 Auburn Way N, Auburn, WA 98002                           Eric Ericson                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/28/2009 VA 1-431-323             12/3/2009                  4/28/2009               8/11/2020
  10226006 3600 Birch St, Newport Beach, CA 92660                        Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/27/2009 VA 1-431-254             12/3/2009                  4/27/2009               6/24/2020
  10226028 3740 Campus Dr, Newport Beach, CA 92660                       Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/27/2009 VA 1-431-254             12/3/2009                  4/27/2009                8/9/2020
  10235869 9897 W McDowell Rd, Tolleson, AZ 85353                        Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2009 VA 1-431-316             12/3/2009                  4/29/2009               6/18/2020
  10243619 171 Colonial Dr, Oxford, AL 36203                             Cathy Morris                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/30/2009 VA 1-431-324             12/3/2009                  4/30/2009               6/19/2020
  10246590 6901 S 19th St, Tacoma, WA 98466                              Alex Mock                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/1/2009 VA 1-431-306             12/3/2009                   5/1/2009               6/17/2020
  10277856 7021 W 153rd St, Orland Park, IL 60462                        Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/4/2009 VA 1-431-350             12/3/2009                   5/4/2009               6/20/2020
  10285973 1543 E Van Buren St, Phoenix, AZ 85006                        Craig Darragh                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2009 VA 1-431-316             12/3/2009                   5/6/2009               6/20/2020
  10289497 6969 E Sunrise Dr, Tucson, AZ 85750                           Barb Hildenbrand                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2009 VA 1-431-346             12/3/2009                   5/6/2009               6/22/2020

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  10289798 8155 Annsbury Dr, Utica, MI 48316                             Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        5/5/2009 VA 1-431-236             12/3/2009                   5/5/2009               6/21/2020

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  10289803 8155 Annsbury Dr, Utica, MI 48316                             Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        5/5/2009 VA 1-431-236             12/3/2009                   5/5/2009               6/20/2020
  10297467 1819 Newport Rd, Wilmington, DE 19808                         Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2009 VA 1-431-240             12/3/2009                   5/7/2009               6/23/2020
  10297472 1819 Newport Rd, Wilmington, DE 19808                         Valdur Kaselaan                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2009 VA 1-431-240             12/3/2009                   5/7/2009               6/21/2020
  10353765 2300 Bell Ave, Des Moines, IA 50321                           Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/11/2009 VA 1-431-285             12/3/2009                  5/11/2009               10/9/2020
  10357113 305-330 Smith Dr, Clayton, OH 45315                           Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/16/2009 VA 1-432-677             12/3/2009                  5/16/2009                7/8/2020
  10357983 3919 Carter Rd, Buford, GA 30518                              Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2009 VA 1-431-310             12/3/2009                  5/15/2009               6/24/2020
  10363790 335-353 Smith Dr, Englewood, OH 45315                         Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/16/2009 VA 1-432-677             12/3/2009                  5/16/2009                7/8/2020
  10365427 6460 Dobbin Rd, Columbia, MD 21045                            Mike Schisler                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/15/2009 VA 1-431-276             12/3/2009                  5/15/2009              10/19/2020
  10373182 2019 N Alamo St, San Antonio, TX 78215                        Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2009 VA 1-431-249             12/3/2009                  5/18/2009               6/18/2020
  10399650 111-113 W 154th St, South Holland, IL 60473                   Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/20/2009 VA 1-431-350             12/3/2009                  5/20/2009                8/8/2020
  10399651 111-113 W 154th St, South Holland, IL 60473                   Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/20/2009 VA 1-431-350             12/3/2009                  5/20/2009                8/7/2020
  10405395 5250-5270 N Dixie Dr, Dayton, OH 45414                        Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/20/2009 VA 1-432-677             12/3/2009                  5/20/2009               10/7/2020
  10405769 1313 SE Military Dr, San Antonio, TX 78214                    Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/21/2009 VA 1-431-249             12/3/2009                  5/21/2009               6/18/2020
  10408378 2950 W Soffel Ave, Melrose Park, IL 60160                     Sonya Williams                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/21/2009 VA 1-431-225             12/3/2009                  5/21/2009               6/17/2020
  10408643 16940 S Vincennes Ave, South Holland, IL 60473                Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/21/2009 VA 1-431-350             12/3/2009                  5/21/2009               8/11/2020
  10450741 325 Folly Rd, Charleston, SC 29412                            Jason Benns                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/27/2009 VA 1-431-349             12/3/2009                  5/27/2009               6/20/2020
  10472932 318 E McCart St, Krum, TX 76249                               Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2009 VA 1-431-224             12/3/2009                   6/1/2009               6/17/2020
  10481272 8648 Old Troy Pike, Huber Heights, OH 45424                   Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/3/2009 VA 1-432-677             12/3/2009                   6/3/2009               6/18/2020
  10481282 8648 Old Troy Pike, Huber Heights, OH 45424                   Zachary Robb                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/2/2009 VA 1-432-677             12/3/2009                   6/2/2009               6/18/2020
  10495465 1030 N Charles St, Baltimore, MD 21201                        Mike Schisler                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/3/2009 VA 1-431-276             12/3/2009                   6/3/2009               4/23/2020




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   10502082 12668 Silicon Dr, San Antonio, TX 78249                   Cindy Kelleher                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2009 VA 1-431-249              12/3/2009                   6/4/2009                7/5/2020
   10505983 2200 Del Paso Rd, Sacramento, CA 95834                    Melissa Greulich                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/27/2009 VA 1-432-670              12/3/2009                  5/27/2009               6/23/2020
   10505987 2200 Del Paso Rd, Sacramento, CA 95834                    Melissa Greulich                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/27/2009 VA 1-432-670              12/3/2009                  5/27/2009               6/19/2020
   10509260 2744 Millwood Ave, Columbia, SC 29205                     Jason Benns                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2009 VA 1-431-349              12/3/2009                   6/4/2009                8/7/2020
   10509261 2744 Millwood Ave, Columbia, SC 29205                     Jason Benns                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2009 VA 1-431-349              12/3/2009                   6/4/2009                8/9/2020
   10515729 8648 Old Troy Pike, Huber Heights, OH 45424               Zachary Robb                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/5/2009 VA 1-432-677              12/3/2009                   6/5/2009               6/22/2020
   10522857 603 S Regional Rd, Greensboro, NC 27409                   Andrea Erickson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/8/2009 VA 1-431-228              12/3/2009                   6/8/2009                8/7/2020
   10533016 2321 E Gala St, Meridian, ID 83642                        Jonathan Scobby                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/9/2009 VA 1-431-264              12/3/2009                   6/9/2009                7/1/2020
   10554765 2201 Dottie Lynn Pky, Fort Worth, TX 76120                Keith Howard                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2009 VA 1-431-224              12/3/2009                  6/12/2009               6/20/2020
   10563095 1201 Myrtle Ave, El Paso, TX 79901                        Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/13/2009 VA 1-431-247              12/3/2009                  6/13/2009               6/19/2020
   10582213 7175-7185 Lancaster Pike, Hockessin, DE 19707             Valdur Kaselaan                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/16/2009 VA 1-431-240              12/3/2009                  6/16/2009               6/20/2020
   10592796 5910 Shiloh Rd E, Alpharetta, GA 30005                    Bonnie Heath                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/8/2009 VA 1-431-310              12/3/2009                   6/8/2009               3/30/2021
   10795001 1361 E Chestnut Ave, Vineland, NJ 08361                   Valdur Kaselaan                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/15/2009 VA 1-431-240              12/3/2009                  7/15/2009                7/3/2020
   11249007 25935 John J. Williams Hwy, Millsboro, DE 19966           Valdur Kaselaan                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/16/2009 VA 1-431-240              12/3/2009                  9/16/2009                8/9/2020
   17725103 415-419 S 2nd St, Philadelphia, PA 19147                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/9/2012 VA 1-918-697              12/7/2012                   1/9/2012               6/21/2020
   17845480 500-502 South St, Philadelphia, PA 19147                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/25/2012 VA 1-918-697              12/7/2012                  1/25/2012               1/23/2021
   18204509 5635 Tulip St, Philadelphia, PA 19124                     Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/6/2012 VA 1-918-697              12/7/2012                   3/6/2012               6/29/2020
   18701380 908 N Bethlehem Pike, Spring House, PA 19477              Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/11/2012 VA 1-918-697              12/7/2012                  5/11/2012              12/19/2020
   18059089 132 George M. Cohan Blvd, Providence, RI 02903            Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/14/2012 VA 1-918-703              12/7/2012                  2/14/2012               6/29/2020
   18059092 132 George M. Cohan Blvd, Providence, RI 02903            Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/14/2012 VA 1-918-703              12/7/2012                  2/14/2012               6/25/2020
   18157196 1730 Diamond Hill Rd, Woonsocket, RI 02895                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/28/2012 VA 1-918-703              12/7/2012                  2/28/2012               5/16/2020
   18157212 1730 Diamond Hill Rd, Woonsocket, RI 02895                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/28/2012 VA 1-918-703              12/7/2012                  2/28/2012               5/16/2020
   18204894 619 W Main Rd, Middletown, RI 02842                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/6/2012 VA 1-918-703              12/7/2012                   3/6/2012                7/6/2020
   18232719 340-390 Rhode Island Ave, Fall River, MA 02721            Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/9/2012 VA 1-918-703              12/7/2012                   3/9/2012                7/5/2020
   18607845 176 Toll Gate Rd, Warwick, RI 02886                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/30/2012 VA 1-918-703              12/7/2012                  4/30/2012               7/30/2020
   18664068 20 N Park Ave, Plymouth, MA 02360                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2012 VA 1-918-703              12/7/2012                   5/7/2012                8/9/2020
   17997814 1101 Fullerton Rd, Rowland Heights, CA 91748              Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/8/2012 VA 1-918-518              12/7/2012                   2/8/2012                7/5/2020
   18250023 11650 Burke St, Santa Fe Springs, CA 90670                Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/12/2012 VA 1-918-518              12/7/2012                  3/12/2012               6/25/2020
   19147000 3331 Pegasus Dr, Bakersfield, CA 93308                    Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2012 VA 1-918-518              12/7/2012                  6/21/2012               6/27/2020
   19147006 3331 Pegasus Dr, Bakersfield, CA 93308                    Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2012 VA 1-918-518              12/7/2012                  6/21/2012              11/21/2020
   18423758 1830 E Madison St, Phoenix, AZ 85034                      Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2012 VA 1-901-800              12/7/2012                  3/29/2012               5/25/2021
   18423832 2055 N 16th St, Phoenix, AZ 85006                         Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/27/2012 VA 1-901-800              12/7/2012                  3/27/2012               7/14/2020
   18678538 16900 W Yuma Rd, Goodyear, AZ 85338                       Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2012 VA 1-901-800              12/7/2012                   5/8/2012               6/17/2020
   19117520 4337 W Indian School Rd, Phoenix, AZ 85031                Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2012 VA 1-901-800              12/7/2012                  6/12/2012              10/27/2020
   17798543 3938-3944 Highway 17 S, Murrells Inlet, SC 29576          Nathan Alvey                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/19/2012 VA 1-918-526              12/7/2012                  1/19/2012               6/27/2020
   17947625 13060 Ocean Hwy, Pawleys Island, SC 29585                 Nathan Alvey                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2012 VA 1-918-526              12/7/2012                   2/3/2012               8/12/2020
   18242140 213 Dick St, Fayetteville, NC 28301                       Nathan Alvey                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/5/2012 VA 1-918-526              12/7/2012                   3/5/2012                7/9/2020
   18493257 58 Physicians Dr, Supply, NC 28462                        Nathan Alvey                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/16/2012 VA 1-918-526              12/7/2012                  4/16/2012               8/12/2020
   19274569 3257-3347 N Ridge Ave, Arlington Heights, IL 60004        Mike Schwartz                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       7/2/2012 VA 1-918-621              3/29/2013                   7/2/2012               6/29/2020
   19274795 528 N Milwaukee Ave, Wheeling, IL 60090                   Mike Schwartz                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       7/2/2012 VA 1-918-621              3/29/2013                   7/2/2012               6/25/2020
   17775849 16 Bethany St, New Brunswick, NJ 08901                    Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/17/2012 VA 1-918-650            12/14/2012                   1/17/2012               6/27/2020
   18793426 745 US Highway 202, Bridgewater, NJ 08807                 Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/22/2012 VA 1-918-650            12/14/2012                   5/22/2012               6/22/2020
   18793432 745 US Highway 202, Bridgewater, NJ 08807                 Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/22/2012 VA 1-918-650            12/14/2012                   5/22/2012               6/28/2020

  18418733 9223-9239 Floer Dr, West Chester, OH 45069                 Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/3/2012 VA 1-918-537            12/14/2012                   4/3/2012               6/25/2020

  18434555 9244 Floer Dr, West Chester, OH 45069                      Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/3/2012 VA 1-918-537            12/14/2012                   4/3/2012               6/26/2020

  18434564 9244 Floer Dr, West Chester, OH 45069                      Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/3/2012 VA 1-918-537            12/14/2012                   4/3/2012               6/22/2020

  19081095 3515 Werk Rd, Cincinnati, OH 45248                         Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/12/2012 VA 1-918-537            12/14/2012                  6/12/2012               7/10/2020

  19081104 3515 Werk Rd, Cincinnati, OH 45248                         Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/12/2012 VA 1-918-537            12/14/2012                  6/12/2012                7/8/2020
  18357806 1141 W McNab Rd, Pompano Beach, FL 33069                   David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/27/2012 VA 1-919-648            12/14/2012                  3/27/2012               8/12/2020
  18357811 1141 W McNab Rd, Pompano Beach, FL 33069                   David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/27/2012 VA 1-919-648            12/14/2012                  3/27/2012               8/11/2020
  18156680 5725 S Soto St, Huntington Park, CA 90255                  Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2012 VA 1-919-015            12/14/2012                  2/28/2012               6/29/2020
  18528406 6020-6038 Santa Fe Ave, Huntington Park, CA 90255          Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/20/2012 VA 1-919-015            12/14/2012                  4/20/2012               3/30/2021
  18105116 1801 Hull St, Richmond, VA 23224                           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/21/2012 VA 1-918-679            12/14/2012                  2/21/2012               6/25/2020
  18105132 1801 Hull St, Richmond, VA 23224                           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/21/2012 VA 1-918-679            12/14/2012                  2/21/2012               6/20/2020
  18130292 2006-2008 Hull St, Richmond, VA 23224                      Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/24/2012 VA 1-918-679            12/14/2012                  2/24/2012                7/9/2020
  18419266 1 W Belt Blvd, Richmond, VA 23225                          Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2012 VA 1-918-679            12/14/2012                   4/3/2012               6/26/2020
  18419269 1 W Belt Blvd, Richmond, VA 23225                          Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2012 VA 1-918-679            12/14/2012                   4/3/2012                7/9/2020
  18663785 1801 E Broad St, Richmond, VA 23223                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/7/2012 VA 1-918-679            12/14/2012                   5/7/2012               6/27/2020
  19255655 716 Denbigh Blvd, Newport News, VA 23608                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/29/2012 VA 1-918-679            12/14/2012                  6/29/2012               6/17/2020
  19255658 716 Denbigh Blvd, Newport News, VA 23608                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/29/2012 VA 1-918-679            12/14/2012                  6/29/2012               6/23/2020
  19594062 714 Thimble Shoals Blvd, Newport News, VA 23606            Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/29/2012 VA 1-918-679            12/14/2012                  6/29/2012               6/25/2020
  18115398 907 Kramer Ln, Austin, TX 78758                            Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/22/2012 VA 1-918-643            12/14/2012                  2/22/2012                8/9/2020
  18115411 907 Kramer Ln, Austin, TX 78758                            Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/22/2012 VA 1-918-643            12/14/2012                  2/22/2012                8/9/2020
  18181748 11824 Jollyville Rd, Austin, TX 78759                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/2/2012 VA 1-918-643            12/14/2012                   3/2/2012               6/28/2020
  18277110 8140 MoPac Expy N, Austin, TX 78759                        Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2012 VA 1-918-643            12/14/2012                  3/16/2012                5/8/2021
  18453664 5413 Guadalupe St, Austin, TX 78751                        Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2012 VA 1-918-643            12/14/2012                   4/5/2012              11/14/2020
  19826787 3714 Bluestein Dr, Austin, TX 78721                        Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/9/2012 VA 1-918-643            12/14/2012                   8/9/2012                7/5/2020
  20268205 3000 Joe Dimaggio Blvd, Round Rock, TX 78665               Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2012 VA 1-918-643            12/14/2012                  9/25/2012               6/25/2020
  17758347 649 W Main St, Waterbury, CT 06702                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/13/2012 VA 1-918-844            12/14/2012                  1/13/2012                8/9/2020
  17986008 1051 Wolcott St, Waterbury, CT 06705                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/7/2012 VA 1-918-844            12/14/2012                   2/7/2012                7/8/2020
  17986017 1051 Wolcott St, Waterbury, CT 06705                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/7/2012 VA 1-918-844            12/14/2012                   2/7/2012                7/8/2020
  17986027 1051 Wolcott St, Waterbury, CT 06705                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/7/2012 VA 1-918-844            12/14/2012                   2/7/2012                7/8/2020
  18464423 76 Eastern Blvd, Glastonbury, CT 06033                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/12/2012 VA 1-918-844            12/14/2012                  4/12/2012               6/25/2020

  18359472 680 W Forest Ave, Detroit, MI 48201                        Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/27/2012 VA 1-918-840            12/14/2012                  3/27/2012                7/8/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                     27
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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  18359473 680 W Forest Ave, Detroit, MI 48201                    Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/27/2012 VA 1-918-840            12/14/2012                 3/27/2012               7/7/2020

  18645315 42 Piquette St, Detroit, MI 48202                      Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/4/2012 VA 1-918-840            12/14/2012                  5/4/2012               7/6/2020

  18645320 42-62 Piquette St, Detroit, MI 48202                   Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/4/2012 VA 1-918-840            12/14/2012                  5/4/2012              6/25/2020

  18806324 14515 Laplaisance Rd, Monroe, MI 48161                 Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/23/2012 VA 1-918-840            12/14/2012                 5/23/2012              6/26/2020
  17938511 143-145 W Grand Ave, Escondido, CA 92025               Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/2/2012 VA 1-918-551            12/14/2012                  2/2/2012               8/9/2020
  17938516 143-145 W Grand Ave, Escondido, CA 92025               Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/2/2012 VA 1-918-551            12/14/2012                  2/2/2012              8/12/2020
  18105432 1574 E Valley Pky, Escondido, CA 92027                 Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/21/2012 VA 1-918-551            12/14/2012                 2/21/2012              6/29/2020
  18176869 645 W Mission Ave, Escondido, CA 92025                 Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/1/2012 VA 1-918-551            12/14/2012                  3/1/2012              10/4/2020
  18181924 765 N Escondido Blvd, Escondido, CA 92025              Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/2/2012 VA 1-918-551            12/14/2012                  3/2/2012              6/27/2020
  18277500 535 Encinitas Blvd, Encinitas, CA 92024                Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/15/2012 VA 1-918-551            12/14/2012                 3/15/2012              6/17/2020
  18277502 535 Encinitas Blvd, Encinitas, CA 92024                Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/15/2012 VA 1-918-551            12/14/2012                 3/15/2012              6/28/2020
  18547699 9484 Chesapeake Dr, San Diego, CA 92123                Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/23/2012 VA 1-918-551            12/14/2012                 4/23/2012              1/18/2021
  17835078 13895 Brookpark Rd, Brookpark, OH 44142                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/23/2012 VA 1-918-545            12/14/2012                 1/23/2012               7/7/2020
  17835087 13895 Brookpark Rd, Brookpark, OH 44142                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/23/2012 VA 1-918-545            12/14/2012                 1/23/2012              6/20/2020
  17986468 622-660 Dover Center Rd, Bay Village, OH 44140         Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/7/2012 VA 1-918-545            12/14/2012                  2/7/2012              6/28/2020
  18440801 35800 Detroit Rd, Avon, OH 44011                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/5/2012 VA 1-918-545            12/14/2012                  4/5/2012              7/13/2020
  18440815 35800 Detroit Rd, Avon, OH 44011                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/5/2012 VA 1-918-545            12/14/2012                  4/5/2012              7/13/2020
  18440835 35800 Detroit Rd, Avon, OH 44011                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/5/2012 VA 1-918-545            12/14/2012                  4/5/2012              7/13/2020
  18608052 26908-26926 Cook Rd, Olmsted Township, OH 44138        Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/1/2012 VA 1-918-545            12/14/2012                  5/1/2012               3/8/2021
  18697084 5533 State Rd, Parma, OH 44134                         Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2012 VA 1-918-545            12/14/2012                 5/10/2012              6/21/2020
  18758551 31105 Bainbridge Rd, Solon, OH 44139                   Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/18/2012 VA 1-918-545            12/14/2012                 5/18/2012               7/8/2020
  18762383 31105 Bainbridge Rd, Solon, OH 44139                   Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/18/2012 VA 1-918-545            12/14/2012                 5/18/2012              6/26/2020
  19096688 653 Miner Rd, Cleveland, OH 44143                      Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/14/2012 VA 1-918-545            12/14/2012                 6/14/2012              8/12/2020
  19114501 771 Beta Dr, Mayfield Village, OH 44143                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2012 VA 1-918-545            12/14/2012                 6/15/2012              6/22/2020
  19217668 101-199 Alpha Park, Highland Heights, OH 44143         Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2012 VA 1-918-545            12/14/2012                 6/15/2012              6/27/2020
  19249132 2804 Som Center Rd, Willoughby, OH 44094               Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/27/2012 VA 1-918-545            12/14/2012                 6/27/2012              6/26/2020
  17938971 277 David Pky, Ontario, NY 14519                       Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/2/2012 VA 1-919-647            12/14/2012                  2/2/2012              8/12/2020
  17938972 277 David Pky, Ontario, NY 14519                       Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/2/2012 VA 1-919-647            12/14/2012                  2/2/2012              8/12/2020
  18205151 156 S Main St, Albion, NY 14411                        Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/6/2012 VA 1-919-647            12/14/2012                  3/6/2012              1/23/2021
  18528744 4201 Buffalo Rd, North Chili, NY 14514                 Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/20/2012 VA 1-919-647            12/14/2012                 4/20/2012              6/21/2020
  18758614 5017 W Ridge Rd, Spencerport, NY 14559                 Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/18/2012 VA 1-919-647            12/14/2012                 5/18/2012               7/8/2020
  18758616 5017 W Ridge Rd, Spencerport, NY 14559                 Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/18/2012 VA 1-919-647            12/14/2012                 5/18/2012               7/8/2020
  18758618 5017 W Ridge Rd, Spencerport, NY 14559                 Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/18/2012 VA 1-919-647            12/14/2012                 5/18/2012              6/29/2020
  19114594 4402-4406 Route 5 And 20, Canandaigua, NY 14424        Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/14/2012 VA 1-919-647            12/14/2012                 6/14/2012               7/5/2020
  17753487 21297 Foothill Blvd, Hayward, CA 94541                 Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      1/12/2012 VA 1-918-851            12/14/2012                 1/12/2012               8/9/2020
  17924492 340-364 S Livermore Ave, Livermore, CA 94550           Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       2/1/2012 VA 1-918-851            12/14/2012                  2/1/2012               1/7/2021
  18340154 420-444 Mowry Ave, Fremont, CA 94536                   Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      3/23/2012 VA 1-918-851            12/14/2012                 3/23/2012              8/11/2020
  17986531 1530 E Jackson St, Thomasville, GA 31792               David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/7/2012 VA 1-918-734            12/14/2012                  2/7/2012               7/8/2020
  18883947 13880 US Highway 19 S, Thomasville, GA 31757           David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2012 VA 1-918-734            12/14/2012                 5/31/2012              6/24/2020
  18883975 13880 US Highway 19 S, Thomasville, GA 31757           David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2012 VA 1-918-734            12/14/2012                 5/31/2012              6/27/2020
  18889770 350 Davenport Dr, Thomasville, GA 31792                David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/1/2012 VA 1-918-734            12/14/2012                  6/1/2012               7/5/2020
  18889774 350 Davenport Dr, Thomasville, GA 31792                David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/1/2012 VA 1-918-734            12/14/2012                  6/1/2012               7/5/2020
  19073297 2532 W Tharpe St, Tallahassee, FL 32303                David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/11/2012 VA 1-918-734            12/14/2012                 6/11/2012               7/2/2020
  17846194 3320-3326 NW 2nd Ave, Miami, FL 33127                  Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/25/2012 VA 1-919-063            12/14/2012                 1/25/2012              6/26/2020
  18046276 13212-13226 W Dixie Hwy, North Miami, FL 33161         Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/13/2012 VA 1-919-063            12/14/2012                 2/13/2012              11/3/2020
  18157747 800-814 NE 125th St, North Miami, FL 33161             Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/28/2012 VA 1-919-063            12/14/2012                 2/28/2012             10/28/2020
  18332163 11730 Biscayne Blvd, Miami, FL 33181                   Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/23/2012 VA 1-919-063            12/14/2012                 3/23/2012              6/26/2020
  19101264 13461-13483 NW 19th Ln, Miami, FL 33182                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2012 VA 1-919-063            12/14/2012                 6/15/2012              8/10/2020
  19101270 13461-13483 NW 19th Ln, Miami, FL 33182                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2012 VA 1-919-063            12/14/2012                 6/15/2012               8/7/2020
  17893693 1500 S Auto Center Dr, Ontario, CA 91761               Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/30/2012 VA 1-918-628            12/14/2012                 1/30/2012              6/28/2020

  18278255 6210 Technology Center Dr, Zionsville, IN 46077        Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/15/2012 VA 1-918-863            12/14/2012                 3/15/2012              3/29/2021

  18278289 10825 Andrade Dr, Zionsville, IN 46077                 Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/16/2012 VA 1-918-863            12/14/2012                 3/16/2012               7/8/2020
  18130937 8970 103 St, Jacksonville, FL 32210                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/23/2012 VA 1-946-950            12/14/2012                 2/23/2012              7/23/2020
  18241617 334 Parkridge Ave, Orange Park, FL 32065               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/5/2012 VA 1-946-950            12/14/2012                  3/5/2012              7/23/2020
  18241632 3030-3042 Bravo Ct, Orange Park, FL 32065              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/5/2012 VA 1-946-950            12/14/2012                  3/5/2012              7/24/2020
  18257692 1515 NW 13th St, Gainesville, FL 32601                 Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/12/2012 VA 1-946-950            12/14/2012                 3/12/2012               7/8/2020
  18361151 1615 Wells Rd, Orange Park, FL 32073                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/27/2012 VA 1-946-950            12/14/2012                 3/27/2012              6/27/2020
  18361156 1615 Wells Rd, Orange Park, FL 32073                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/27/2012 VA 1-946-950            12/14/2012                 3/27/2012               7/8/2020
  18420430 5420 Norde Dr, Jacksonville, FL 32244                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2012 VA 1-946-950            12/14/2012                  4/9/2012              7/24/2020
  18420434 5420 Norde Dr, Jacksonville, FL 32244                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2012 VA 1-946-950            12/14/2012                  4/9/2012              7/24/2020
  19114803 1100 N Cesery Blvd, Jacksonville, FL 32211             Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/18/2012 VA 1-946-950            12/14/2012                 6/18/2012              8/10/2020
  17798230 123-127 Kennedy St NW, Washington, DC 20011            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/18/2012 VA 1-918-676            12/14/2012                 1/18/2012              6/20/2020
  17911812 6405 Chillum Pl NW, Washington, DC 20012               Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2012 VA 1-918-676            12/14/2012                 1/31/2012              2/16/2021
  18675994 9040 Telegraph Rd, Lorton, VA 22079                    Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/8/2012 VA 1-918-676            12/14/2012                  5/8/2012              7/10/2020
  18753126 19420 Golf Vista Plz, Lansdowne, VA 20176              Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/17/2012 VA 1-918-676            12/14/2012                 5/17/2012               7/2/2020
  19073548 730 24th St NW, Washington, DC 20037                   Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/11/2012 VA 1-918-676            12/14/2012                 6/11/2012              6/26/2020
  19090230 138 Kelley Ct, Front Royal, VA 22630                   Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/13/2012 VA 1-918-676            12/14/2012                 6/13/2012              6/18/2020

  17726328 1200 N Main St, Summerville, SC 29483                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/9/2012 VA 1-918-563            12/14/2012                  1/9/2012              7/16/2020

  18233290 492 King St, Charleston, SC 29403                      Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       3/9/2012 VA 1-918-563            12/14/2012                  3/9/2012               7/8/2020

  18250420 534-538 King St, Charleston, SC 29403                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       3/9/2012 VA 1-918-563            12/14/2012                  3/9/2012               7/7/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                  28
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                             Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  18529097 4954 Centre Pointe Dr, Charleston, SC 29418               Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      4/19/2012 VA 1-918-563            12/14/2012                 4/19/2012              6/26/2020

  18529106 4954 Centre Pointe Dr, Charleston, SC 29418               Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      4/19/2012 VA 1-918-563            12/14/2012                 4/19/2012              6/27/2020

  18640359 900 Bowman Rd, Mount Pleasant, SC 29464                   Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/1/2012 VA 1-918-563            12/14/2012                  5/1/2012              7/10/2020

  18640479 1180 Hospital Dr, Mount Pleasant, SC 29464                Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/1/2012 VA 1-918-563            12/14/2012                  5/1/2012              8/10/2020

  18712016 402 Old Trolley Rd, Summerville, SC 29485                 Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      5/11/2012 VA 1-918-563            12/14/2012                 5/11/2012              6/26/2020
  19147786 6939 Power Inn Rd, Sacramento, CA 95828                   Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/21/2012 VA 1-918-651            12/14/2012                 6/21/2012              6/27/2020
  17925154 3328 Shepherd Ln, Balch Springs, TX 75180                 Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/1/2012 VA 1-918-601            12/14/2012                  2/1/2012              6/29/2020
  18561858 1626 W Highway 287 Business, Waxahachie, TX 75165         Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/9/2012 VA 1-918-601            12/14/2012                  4/9/2012              2/21/2021
  18702652 211 W Pleasant Run Rd, Lancaster, TX 75146                Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      5/11/2012 VA 1-918-601            12/14/2012                 5/11/2012              6/25/2020
  19143455 420 E Pleasant Run Rd, DeSoto, TX 75115                   Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      6/20/2012 VA 1-918-601            12/14/2012                 6/20/2012              6/25/2020
  19181762 151 Regal Row, Dallas, TX 75247                           Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      6/25/2012 VA 1-918-601            12/14/2012                 6/25/2012              1/27/2021
  19238453 5626 Maple Ave, Dallas, TX 75235                          Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      6/27/2012 VA 1-918-601            12/14/2012                 6/27/2012              6/25/2020
  17710449 102-112 Us-46, Saddle Brook, NJ 07663                     John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       1/6/2012 VA 1-918-624            12/14/2012                  1/6/2012              6/20/2020
  17777730 145 Main St, Hackensack, NJ 07601                         John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      1/17/2012 VA 1-918-624            12/14/2012                 1/17/2012              6/27/2020
  18363443 658 Ridgewood Rd, Maplewood, NJ 07040                     John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/26/2012 VA 1-918-624            12/14/2012                 3/26/2012               7/6/2020
  18363446 658 Ridgewood Rd, Maplewood, NJ 07040                     John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/26/2012 VA 1-918-624            12/14/2012                 3/26/2012              6/28/2020
  18665006 145 Main Ave, Passaic, NJ 07055                           John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/7/2012 VA 1-918-624            12/14/2012                  5/7/2012              6/29/2020
  18003159 1756 Belcher Rd N, Clearwater, FL 33765                   James Petrylka                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/6/2012 VA 1-919-857            12/14/2012                  2/6/2012              6/27/2020
  17880155 69 Clendening Dr, Kearneysville, WV 25430                 Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/28/2012 VA 1-919-055            12/14/2012                 1/28/2012               7/9/2020
  18473779 18500-18540 Office Park Dr, Gaithersburg, MD 20886        Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/12/2012 VA 1-919-055            12/14/2012                 4/12/2012              7/18/2020
  18473784 18500-18540 Office Park Dr, Gaithersburg, MD 20886        Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/12/2012 VA 1-919-055            12/14/2012                 4/12/2012              7/18/2020
  18473968 295 Dekalb Pike, North Wales, PA 19454                    Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/13/2012 VA 1-918-540            12/14/2012                 4/13/2012              6/24/2020
  18473970 295 Dekalb Pike, North Wales, PA 19454                    Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/13/2012 VA 1-918-540            12/14/2012                 4/13/2012              6/27/2020
  17697725 16465 Joy St, Lake Elsinore, CA 92530                     Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/4/2012 VA 1-920-040            12/14/2012                  1/4/2012              7/15/2020
  17710846 16455-16473 Joy St, Lake Elsinore, CA 92530               Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/5/2012 VA 1-920-040            12/14/2012                  1/5/2012              7/15/2020
  17837325 31796 Casino Dr, Lake Elsinore, CA 92530                  Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/20/2012 VA 1-920-040            12/14/2012                 1/20/2012              11/8/2020
  18442231 2255-2275 E Florida Ave, Hemet, CA 92544                  Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/4/2012 VA 1-920-040            12/14/2012                  4/4/2012              6/29/2020
  18570524 161 N McKinley St, Corona, CA 92879                       Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2012 VA 1-920-040            12/14/2012                 4/24/2012              6/28/2020
  19144305 6592 Box Springs Blvd, Riverside, CA 92507                Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/20/2012 VA 1-920-040            12/14/2012                 6/20/2012              8/11/2020
  19115675 1215 Rotherwood Rd, Greensboro, NC 27406                  Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/18/2012 VA 1-919-047            12/14/2012                 6/18/2012              7/15/2020
  19238880 3400-3410 W Wendover Ave, Greensboro, NC 27407            Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/27/2012 VA 1-919-047            12/14/2012                 6/27/2012              7/14/2020
  18227689 1331 Saline St, North Kansas City, MO 64116               Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/8/2012 VA 1-918-556            12/14/2012                  3/8/2012              6/28/2020
  18234008 4001 Prather Rd, Kansas City, MO 64116                    Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/9/2012 VA 1-918-556            12/14/2012                  3/9/2012              10/9/2020
  18258928 1500-1524 Vernon St, North Kansas City, MO 64116          Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/13/2012 VA 1-918-556            12/14/2012                 3/13/2012              6/26/2020
  18333175 6401 E Front St, Kansas City, MO 64120                    Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/22/2012 VA 1-918-556            12/14/2012                 3/22/2012              7/10/2020
  19082546 10780 Parallel Pky, Kansas City, KS 66109                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/12/2012 VA 1-918-556            12/14/2012                 6/12/2012              6/19/2020
  19082558 10780 Parallel Pky, Kansas City, KS 66109                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/12/2012 VA 1-918-556            12/14/2012                 6/12/2012              6/28/2020
  19107160 7820 Metcalf Ave, Overland Park, KS 66204                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2012 VA 1-918-556            12/14/2012                 6/15/2012               7/5/2020
  18364954 Delowe Dr, East Point, GA 30344                           Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/26/2012 VA 1-919-506            12/14/2012                 3/26/2012              7/31/2020
  18878170 677-687 SW Cascade Ave, Atlanta, GA 30310                 Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/30/2012 VA 1-919-506            12/14/2012                 5/30/2012               7/3/2021
  19144544 1200 Oakley Industrial Blvd, Fairburn, GA 30213           Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/20/2012 VA 1-919-506            12/14/2012                 6/20/2012              6/28/2020
  17687047 554 Larkfield Rd, East Northport, NY 11731                Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/3/2012 VA 1-918-637            12/14/2012                  1/3/2012              7/10/2020
  17787758 224 Laurel Ave, Northport, NY 11768                       Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/18/2012 VA 1-918-637            12/14/2012                 1/18/2012              6/29/2020
  17787763 224 Laurel Ave, Northport, NY 11768                       Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/18/2012 VA 1-918-637            12/14/2012                 1/18/2012              6/27/2020
  17912703 120 E Main St, Huntington, NY 11743                       Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2012 VA 1-918-637            12/14/2012                 1/31/2012              6/25/2020
  17912708 120 E Main St, Huntington, NY 11743                       Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2012 VA 1-918-637            12/14/2012                 1/31/2012              6/26/2020
  18474751 45 Glen Cove Rd, Greenvale, NY 11548                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/12/2012 VA 1-918-637            12/14/2012                 4/12/2012               7/6/2020
  18589999 295 Medford Ave, Patchogue, NY 11772                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/27/2012 VA 1-918-637            12/14/2012                 4/27/2012              8/11/2020
  19115906 54 Montauk Hwy, Southampton, NY 11968                     Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/14/2012 VA 1-918-637            12/14/2012                 6/14/2012              6/26/2020
  18504019 1201 Nott St, Schenectady, NY 12308                       Tina Wood                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/16/2012 VA 1-918-527            12/14/2012                 4/16/2012               7/1/2020
  19097495 250 Delaware Ave, Delmar, NY 12054                        Tina Wood                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/14/2012 VA 1-918-527            12/14/2012                 6/14/2012              6/26/2020
  17803990 4686 Ivy St, Denver, CO 80216                             Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      1/20/2012 VA 1-918-574            12/14/2012                 1/20/2012               7/3/2020
  19149310 8646 W Colfax Ave, Lakewood, CO 80215                     Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/21/2012 VA 1-918-574            12/14/2012                 6/21/2012               8/7/2020
  19213936 11122 E 47th Ave, Denver, CO 80239                        Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/22/2012 VA 1-918-574            12/14/2012                 6/22/2012              6/26/2020
  18316143 4429 W Highway 27, Vale, NC 28168                         Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2012 VA 1-918-564            12/14/2012                 3/21/2012               7/8/2020
  18316146 4429 W Highway 27, Vale, NC 28168                         Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2012 VA 1-918-564            12/14/2012                 3/21/2012              6/22/2020
  18316150 4429 W Highway 27, Vale, NC 28168                         Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2012 VA 1-918-564            12/14/2012                 3/21/2012              6/19/2020
  18382549 799 N Nc-16 Hwy, Denver, NC 28037                         Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/30/2012 VA 1-918-564            12/14/2012                 3/30/2012              6/27/2020
  19383216 541-559 Winecoff School Rd, Concord, NC 28027             Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2012 VA 1-918-564            12/14/2012                 6/28/2012              6/28/2020
  18390643 950 N Porter Ave, Norman, OK 73071                        Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      3/29/2012 VA 1-919-354            12/14/2012                 3/29/2012               7/6/2020
  18610083 2405 Palmer Cir, Norman, OK 73069                         Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      4/27/2012 VA 1-919-354            12/14/2012                 4/27/2012              6/27/2020
  18646865 860 Copperfield Dr, Norman, OK 73072                      Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/4/2012 VA 1-919-354            12/14/2012                  5/4/2012              7/24/2020
  18699086 10324 Greenbriar Pl, Oklahoma City, OK 73159              Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/9/2012 VA 1-919-354            12/14/2012                  5/9/2012               7/9/2020

  18228729 801-815 E Georgia Ave, Memphis, TN 38126                  Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/8/2012 VA 1-918-582            12/14/2012                  3/8/2012              6/22/2020

  18373492 1578 Lamar Ave, Memphis, TN 38114                         Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/28/2012 VA 1-918-582            12/14/2012                 3/28/2012              4/23/2020

  18437835 866 S Cooper St, Memphis, TN 38104                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/5/2012 VA 1-918-582            12/14/2012                  4/5/2012              8/10/2020

  18442876 795 Tanglewood St, Memphis, TN 38104                      Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/9/2012 VA 1-918-582            12/14/2012                  4/9/2012              4/23/2020

  18610154 593 E Broadway St, West Memphis, AR 72301                 Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/27/2012 VA 1-918-582            12/14/2012                 4/27/2012              6/29/2020

  18688035 410 Burma Rd, Memphis, TN 38106                           Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/9/2012 VA 1-918-582            12/14/2012                  5/9/2012               5/7/2021




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 MasterID                             Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  18721599 2090 Memphis Depot Pky, Memphis, TN 38114                Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/14/2012 VA 1-918-582            12/14/2012                 5/14/2012              8/10/2020

  18887952 3711-3721 Lamar Ave, Memphis, TN 38118                   Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/1/2012 VA 1-918-582            12/14/2012                  6/1/2012               2/7/2021
  18459809 2410-2440 S Colorado Blvd, Denver, CO 80222              Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/11/2012 VA 1-918-567            12/14/2012                 4/11/2012               2/2/2021
  18479610 501 E County Line Rd, Littleton, CO 80122                Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2012 VA 1-918-567            12/14/2012                 4/13/2012              6/21/2020
  18504118 9200 W Cross Dr, Littleton, CO 80123                     Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/17/2012 VA 1-918-567            12/14/2012                 4/17/2012              6/26/2020
  18677293 10800 E Bethany Dr, Aurora, CO 80014                     Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/8/2012 VA 1-918-567            12/14/2012                  5/8/2012              6/21/2020
  18821949 8301 E Prentice Ave, Greenwood Village, CO 80111         Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/25/2012 VA 1-918-567            12/14/2012                 5/25/2012              6/29/2020
  18885404 5750 S Ulster Circle, Greenwood Village, CO 80111        Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2012 VA 1-918-567            12/14/2012                 5/31/2012              8/12/2020
  18885406 5750 S Ulster Circle, Greenwood Village, CO 80111        Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2012 VA 1-918-567            12/14/2012                 5/31/2012              8/12/2020
  19082990 2901 S Shoshone St, Englewood, CO 80110                  Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/12/2012 VA 1-918-567            12/14/2012                 6/12/2012               8/8/2020
  18432804 221-223 W 37th St, New York, NY 10018                    Victor Rivera                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2012 VA 1-918-522            12/14/2012                  4/6/2012              8/12/2020
  17972059 24450 Telegraph Rd, Southfield, MI 48033                 Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       2/6/2012 VA 1-919-348            12/14/2012                  2/6/2012              6/24/2020
  18034252 180 High Oak Rd, Bloomfield Hills, MI 48304              Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       2/9/2012 VA 1-919-348            12/14/2012                  2/9/2012              6/27/2020
  18076335 26650-26700 W 8 Mile Rd, Southfield, MI 48033            Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      1/27/2012 VA 1-919-348            12/14/2012                 1/27/2012               7/8/2020
  18382639 35 Main St, Belleville, MI 48111                         Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      3/30/2012 VA 1-919-348            12/14/2012                 3/30/2012               7/5/2020
  18504218 3812 E Davison St, Hamtramck, MI 48212                   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      4/17/2012 VA 1-919-348            12/14/2012                 4/17/2012             11/20/2020
  18988217 5414-5452 S Saginaw Rd, Grand Blanc, MI 48480            Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/6/2012 VA 1-919-348            12/14/2012                  6/6/2012               8/9/2020
  19239631 42601-42637 Joy Rd, Canton, MI 48187                     Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      6/25/2012 VA 1-919-348            12/14/2012                 6/25/2012              6/22/2020
  17839127 400 Main St, Coraopolis, PA 15108                        Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      1/24/2012 VA 1-919-455            12/14/2012                 1/24/2012              8/10/2020
  18159335 1000 GSK Dr, Coraopolis, PA 15108                        Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      2/28/2012 VA 1-919-455            12/14/2012                 2/28/2012              7/31/2020
  18432954 146 44th St, Pittsburgh, PA 15201                        Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/5/2012 VA 1-919-455            12/14/2012                  4/5/2012              6/27/2020
  18621708 3622-3624 California Ave, Pittsburgh, PA 15212           Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      4/27/2012 VA 1-919-455            12/14/2012                 4/27/2012               8/8/2020
  17927313 1007 Grove Rd, Greenville, SC 29605                      William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/31/2012 VA 1-918-639            12/14/2012                 1/31/2012              6/26/2020
  18132439 501 Richardson St, Simpsonville, SC 29681                William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/24/2012 VA 1-918-639            12/14/2012                 2/24/2012              6/25/2020
  18316984 505 SE Main St, Simpsonville, SC 29681                   William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/21/2012 VA 1-918-639            12/14/2012                 3/21/2012               8/8/2020
  18422428 499-535 Laurens Rd, Woodruff, SC 29388                   William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/6/2012 VA 1-918-639            12/14/2012                  4/6/2012              6/21/2020
  18443211 517-533 Cross Anchor Rd, Woodruff, SC 29388              William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/6/2012 VA 1-918-639            12/14/2012                  4/6/2012              6/27/2020
  18460372 3519 Pelham Rd, Greenville, SC 29615                     William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/10/2012 VA 1-918-639            12/14/2012                 4/10/2012               8/8/2020
  18620562 350 W Phillips Rd, Greer, SC 29650                       William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/1/2012 VA 1-918-639            12/14/2012                  5/1/2012              6/29/2020
  18647110 101-111 Fortis Dr, Duncan, SC 29334                      William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/4/2012 VA 1-918-639            12/14/2012                  5/4/2012              6/19/2020
  18699416 1040 Rogers Bridge Rd, Duncan, SC 29334                  William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/10/2012 VA 1-918-639            12/14/2012                 5/10/2012               7/7/2020
  18699422 1040 Rogers Bridge Rd, Duncan, SC 29334                  William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/10/2012 VA 1-918-639            12/14/2012                 5/10/2012              6/25/2020
  18743173 407 N Broad St, Clinton, SC 29325                        William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/16/2012 VA 1-918-639            12/14/2012                 5/16/2012              8/12/2020
  19011907 1770 Skylyn Dr, Spartanburg, SC 29307                    William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/7/2012 VA 1-918-639            12/14/2012                  6/7/2012              6/24/2020
  18677663 2222-2312 W Clybourn St, Milwaukee, WI 53233             Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/8/2012 VA 1-919-652            12/14/2012                  5/8/2012               7/7/2020
  18879355 7100 W Calumet Rd, Milwaukee, WI 53223                   Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      5/30/2012 VA 1-919-652            12/14/2012                 5/30/2012              6/26/2020
  19091289 4134 Courtney Rd, Franksville, WI 53126                  Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/13/2012 VA 1-919-652            12/14/2012                 6/13/2012               2/6/2021
  19239800 1815 S 108th St, Milwaukee, WI 53214                     Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/27/2012 VA 1-919-652            12/14/2012                 6/27/2012              6/24/2020
  18229502 15031 Woodham Dr, Houston, TX 77073                      Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/8/2012 VA 1-919-091            12/14/2012                  3/8/2012              6/20/2020
  18229512 15031 Woodham Dr, Houston, TX 77073                      Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/8/2012 VA 1-919-091            12/14/2012                  3/8/2012              6/27/2020
  18375710 8400 N Sam Houston Pky W, Houston, TX 77064              Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/26/2012 VA 1-919-091            12/14/2012                 3/26/2012             10/12/2020
  18422552 11519 S Petropark Dr, Houston, TX 77041                  Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2012 VA 1-919-091            12/14/2012                  4/6/2012              6/17/2020
  18422555 11519 S Petropark Dr, Houston, TX 77041                  Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2012 VA 1-919-091            12/14/2012                  4/6/2012               7/9/2020
  18422585 11050 W Little York Rd, Houston, TX 77041                Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/3/2012 VA 1-919-091            12/14/2012                  4/3/2012              7/10/2020
  17788467 153 Narrows Dr, Birmingham, AL 35242                     Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/18/2012 VA 1-919-013            12/14/2012                 1/18/2012              6/27/2020
  17788470 153 Narrows Dr, Birmingham, AL 35242                     Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/18/2012 VA 1-919-013            12/14/2012                 1/18/2012              6/18/2020
  18001108 3500-3504 7th Ave S, Birmingham, AL 35222                Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/8/2012 VA 1-919-013            12/14/2012                  2/8/2012              6/29/2020
  18001114 3500-3504 7th Ave S, Birmingham, AL 35222                Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/8/2012 VA 1-919-013            12/14/2012                  2/8/2012               7/6/2020
  18281678 7920-7968 Atlanta Hwy, Montgomery, AL 36117              Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2012 VA 1-919-013            12/14/2012                 3/14/2012              6/25/2020
  18281686 7920-7968 Atlanta Hwy, Montgomery, AL 36117              Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2012 VA 1-919-013            12/14/2012                 3/14/2012              7/10/2020
  18281699 7920-7968 Atlanta Hwy, Montgomery, AL 36117              Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2012 VA 1-919-013            12/14/2012                 3/14/2012              6/22/2020
  18494767 1651 Independence Ct, Birmingham, AL 35216               Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/12/2012 VA 1-919-013            12/14/2012                 4/12/2012               7/6/2020
  18494770 1651 Independence Ct, Birmingham, AL 35216               Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/12/2012 VA 1-919-013            12/14/2012                 4/12/2012               7/5/2020
  18549819 4820 University Sq, Huntsville, AL 35816                 Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2012 VA 1-919-013            12/14/2012                 4/23/2012              6/28/2020
  18549826 4820 University Sq, Huntsville, AL 35816                 Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2012 VA 1-919-013            12/14/2012                 4/23/2012              6/17/2020
  18584604 500 Office Park Dr, Birmingham, AL 35223                 Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/26/2012 VA 1-919-013            12/14/2012                 4/26/2012              6/28/2020
  18733142 400 Century Park S, Birmingham, AL 35226                 Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/15/2012 VA 1-919-013            12/14/2012                 5/15/2012               7/7/2020
  19013330 3821 Lorna Rd, Birmingham, AL 35244                      Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/5/2012 VA 1-919-013            12/14/2012                  6/5/2012              6/24/2020
  19116533 6501 Deerfoot Pky, Trussville, AL 35173                  Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/13/2012 VA 1-919-013            12/14/2012                 6/13/2012               7/7/2020
  19184134 1424 Stouts Rd, Fultondale, AL 35068                     Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/25/2012 VA 1-919-013            12/14/2012                 6/25/2012              6/21/2020
  18317355 157-159 Summerfield St, Scarsdale, NY 10583              Deawell Adair                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/20/2012 VA 1-918-740            12/14/2012                 3/20/2012              8/12/2020
  18447518 257-267 Main St, Beacon, NY 12508                        Deawell Adair                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       4/5/2012 VA 1-918-740            12/14/2012                  4/5/2012              7/10/2020
  18447523 257-267 Main St, Beacon, NY 12508                        Deawell Adair                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       4/5/2012 VA 1-918-740            12/14/2012                  4/5/2012              6/19/2020
  18754995 4637-4641 Main St, Bridgeport, CT 06606                  Deawell Adair                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/15/2012 VA 1-918-740            12/14/2012                 5/15/2012               7/8/2020

  17942232 7560 Sawmill Pky, Powell, OH 43065                       Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/2/2012 VA 1-919-025            12/14/2012                  2/2/2012              4/10/2021

  18108737 8596-8598 Cotter St, Lewis Center, OH 43035              Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      2/17/2012 VA 1-919-025            12/14/2012                 2/17/2012              4/10/2021

  18262024 716 Mt. Airyshire Blvd, Columbus, OH 43235               Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/9/2012 VA 1-919-025            12/14/2012                  3/9/2012               3/8/2021

  18423091 7340 Sancus Blvd, Worthington, OH 43085                  Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/4/2012 VA 1-919-025            12/14/2012                  4/4/2012               3/8/2021

  18642668 4407-4417 Professional Pky, Groveport, OH 43125          Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/3/2012 VA 1-919-025            12/14/2012                  5/3/2012               7/8/2020

  18688475 450 Alkyre Run Dr, Westerville, OH 43082                 Sam Blythe                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/9/2012 VA 1-919-025            12/14/2012                  5/9/2012              4/10/2021
  18035683 996-998 N 1580 W, Orem, UT 84057                         Todd Cook                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/9/2012 VA 1-918-964            12/14/2012                  2/9/2012              6/26/2020
  18678114 50 S 900 E, Salt Lake City, UT 84102                     Todd Cook                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/7/2012 VA 1-918-964            12/14/2012                  5/7/2012               7/7/2020




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   18678148 807 E South Temple, Salt Lake City, UT 84102               Todd Cook                                                                       CoStar Group                 1301 2nd Ave, Seattle, WA 98101                        8443050836       5/7/2012 VA 1-918-964            12/14/2012                   5/7/2012               6/24/2020
   18722105 150 S 1000 E, Salt Lake City, UT 84102                     Todd Cook                                                                       CoStar Group                 1301 2nd Ave, Seattle, WA 98101                        8443050836      5/14/2012 VA 1-918-964            12/14/2012                  5/14/2012               7/27/2020
   18722107 150 S 1000 E, Salt Lake City, UT 84102                     Todd Cook                                                                       CoStar Group                 1301 2nd Ave, Seattle, WA 98101                        8443050836      5/14/2012 VA 1-918-964            12/14/2012                  5/14/2012               7/27/2020
   19219594 421 Wakara Way, Salt Lake City, UT 84108                   Todd Cook                                                                       CoStar Group                 1301 2nd Ave, Seattle, WA 98101                        8443050836      6/26/2012 VA 1-918-964            12/14/2012                  6/26/2012               6/25/2020
   19184634 600 W Main St, Lexington, SC 29072                         Ryan Devaney                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/25/2012 VA 1-919-851            12/14/2012                  6/25/2012              12/20/2020
   18208796 417 Zarragossa St, Pensacola, FL 32502                     Brian Falacienski                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/5/2012 VA 1-920-014            12/14/2012                   3/5/2012               6/26/2020
   18341012 5455 Executive Pl, Jackson, MS 39206                       Brian Falacienski                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/23/2012 VA 1-920-014            12/14/2012                  3/23/2012               6/11/2021
   19145879 1818 Crane Ridge Dr, Jackson, MS 39216                     Brian Falacienski                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/20/2012 VA 1-920-014            12/14/2012                  6/20/2012               6/11/2021
   19150039 1430 Lelia Dr, Jackson, MS 39216                           Brian Falacienski                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      6/20/2012 VA 1-920-014            12/14/2012                  6/20/2012               7/10/2020

  17991222 318 Seaboard Ln, Franklin, TN 37067                         Andrew Nelson                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        2/3/2012 VA 1-920-073           12/14/2012                   2/3/2012               6/28/2020

  18005159 921 Cherokee Ave, Nashville, TN 37207                       Andrew Nelson                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404       1/27/2012 VA 1-920-073           12/14/2012                  1/27/2012               8/11/2020

  18400671 5410 Maryland Way, Brentwood, TN 37027                      Andrew Nelson                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404        4/2/2012 VA 1-920-073           12/14/2012                   4/2/2012               6/20/2020

  18448165 1241 Robinson Rd, Old Hickory, TN 37138                     Andrew Nelson                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404       4/10/2012 VA 1-920-073           12/14/2012                  4/10/2012               6/25/2021

  19184913 2305 Madison St, Clarksville, TN 37043                      Andrew Nelson                                                                   CoStar Group                 600 Superior Ave E, Cleveland, OH 44114              8882267404        6/25/2012 VA 1-920-073           12/14/2012                  6/25/2012                7/9/2020
  18574370 8303 Calhoun Rd, Houston, TX 77033                          Nancy Honeycutt                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        4/25/2012 VA 1-918-622           12/14/2012                  4/25/2012               8/12/2020
  18934167 9100 Canniff St, Houston, TX 77017                          Nancy Honeycutt                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         6/4/2012 VA 1-918-622           12/14/2012                   6/4/2012               6/28/2020
  18700238 403 W 2nd Ave, Owasso, OK 74055                             Nick Branston                                                                   CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                8882267404        5/10/2012 VA 1-919-081           12/14/2012                  5/10/2012               6/19/2020
  18891214 1217-1219 E 33rd St, Tulsa, OK 74105                        Nick Branston                                                                   CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                8882267404         6/1/2012 VA 1-919-081           12/14/2012                   6/1/2012               6/27/2020
  19072406 517 Southfield Rd, Lincoln Park, MI 48146                   Robert Clayton                                                                  CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        6/12/2012 VA 1-919-982           12/14/2012                  6/12/2012              11/13/2020
  18310903 3844 Longview Dr, Douglasville, GA 30135                    Russell Holloway                                                                CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        3/22/2012 VA 1-918-642           12/14/2012                  3/22/2012               6/20/2020
  18397557 1705 Browns Bridge Rd, Gainesville, GA 30501                Russell Holloway                                                                CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        3/22/2012 VA 1-918-642           12/14/2012                  3/22/2012                7/9/2020
  18397561 1705 Browns Bridge Rd, Gainesville, GA 30501                Russell Holloway                                                                CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        3/22/2012 VA 1-918-642           12/14/2012                  3/22/2012               6/17/2020
  18017238 530 Woodlawn St, Belmont, NC 28012                          Chuck Carpenter                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        2/10/2012 VA 1-919-018           12/14/2012                  2/10/2012               6/19/2020
  18017249 530 Woodlawn St, Belmont, NC 28012                          Chuck Carpenter                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        2/10/2012 VA 1-919-018           12/14/2012                  2/10/2012               6/25/2020
  17893254 6502 Wesley St, Greenville, TX 75402                        Jim Qualia                                                                      CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        1/30/2012 VA 1-918-958           12/14/2012                  1/30/2012               6/25/2020
  18465063 601-701 Palo Pinto St, Weatherford, TX 76086                Jim Qualia                                                                      CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        4/12/2012 VA 1-918-958           12/14/2012                  4/12/2012                7/6/2020
  17863653 119 E Center St, Warsaw, IN 46580                           Christine Shaul                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        1/19/2012 VA 1-918-632           12/14/2012                  1/19/2012               6/26/2020
  17946278 427 Lincolnway E, Mishawaka, IN 46544                       Christine Shaul                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500        1/31/2012 VA 1-918-632           12/14/2012                  1/31/2012               6/26/2020
  18642454 2960 County Road 6 W, Elkhart, IN 46514                     Christine Shaul                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500         5/3/2012 VA 1-918-632           12/14/2012                   5/3/2012               6/25/2020
  19020493 8488 Georgia St, Merrillville, IN 46410                     Christine Shaul                                                                 CoStar Group                 1331 L St NW, Washington, DC 20005                   2023466500         6/8/2012 VA 1-918-632           12/14/2012                   6/8/2012               6/26/2020
  17687240 410 E Fairmont Pky, La Porte, TX 77571                      Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         1/3/2012 VA 1-922-208           12/14/2012                   1/3/2012               6/28/2020
  17700217 418 N Herbert Ave, Tucson, AZ 85705                         Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         1/4/2012 VA 1-919-853           12/14/2012                   1/4/2012                8/9/2020
  17718647 6455 Shiloh Rd, Alpharetta, GA 30005                        Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         1/6/2012 VA 1-919-079           12/14/2012                   1/6/2012               6/24/2020
  17727471 630 Towne Center Dr, Joppa, MD 21085                        Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         1/9/2012 VA 1-919-645           12/14/2012                   1/9/2012               6/29/2020
  17759871 5355 Laurel Springs Pky, Suwanee, GA 30024                  Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/13/2012 VA 1-919-079           12/14/2012                  1/13/2012               7/14/2020
  17769141 5400 Laurel Springs Pky, Suwanee, GA 30024                  Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/13/2012 VA 1-919-079           12/14/2012                  1/13/2012                1/7/2021
  17861767 8111 Broadway Ave E, Estero, FL 33928                       Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/26/2012 VA 1-919-467           12/14/2012                  1/26/2012               6/27/2020
  17867704 7401 W Charleston Blvd, Las Vegas, NV 89117                 Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/27/2012 VA 1-918-542           12/14/2012                  1/27/2012                7/8/2020
  17868789 40 Boardman Pl, San Francisco, CA 94103                     Benjamin Garcia                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/27/2012 VA 1-918-744           12/14/2012                  1/27/2012               6/18/2020
  17869414 4619 Greene Ave NW, Albuquerque, NM 87114                   Scott Kerr                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/25/2012 VA 1-920-010           12/14/2012                  1/25/2012               6/26/2020
  17869875 2 Penns Way, New Castle, DE 19720                           Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/18/2012 VA 1-918-616           12/14/2012                  1/18/2012               6/27/2020
  19678259 3122-3126 Union Ave, Steger, IL 60475                       Mike Schwartz                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        7/31/2012 VA 1-918-621            3/29/2013                  7/31/2012               6/21/2020
   1915757 991-1001 Boston Providence Tpke, Norwood, MA 02062          Odi Wong                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        2/10/2006 VA 1-386-376           10/19/2006                  2/10/2006               6/19/2020
  17894469 1107 S Harbor Blvd, Fullerton, CA 92832                     Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        1/30/2012 VA 2-146-781           12/14/2012                  1/30/2012               6/25/2020
  17971630 8687 W Sahara Ave, Las Vegas, NV 89117                      Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         2/6/2012 VA 1-918-542           12/14/2012                   2/6/2012               6/29/2020
  18000449 909 Baltimore Blvd, Westminster, MD 21157                   Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         2/6/2012 VA 1-919-645           12/14/2012                   2/6/2012               6/17/2020
  18000870 5517-5545 Hemlock St, Sacramento, CA 95841                  Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         2/8/2012 VA 1-918-966           12/14/2012                   2/8/2012               6/27/2020
  18061692 1412 Market St, San Francisco, CA 94102                     Benjamin Garcia                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/14/2012 VA 1-918-744           12/14/2012                  2/14/2012                7/5/2020
  18062296 5851 W Dickens Ave, Chicago, IL 60639                       Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                       3032606500        2/14/2012 VA 1-919-009           12/14/2012                  2/14/2012                7/6/2020
  18074268 1785 Village Center Cir, Las Vegas, NV 89134                Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/15/2012 VA 1-918-542           12/14/2012                  2/15/2012               6/24/2020
  18074271 1785 Village Center Cir, Las Vegas, NV 89134                Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/15/2012 VA 1-918-542           12/14/2012                  2/15/2012               6/29/2020
  18084710 17595 NE 70th St, Redmond, WA 98052                         Michael Profitt                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/16/2012 VA 1-918-662           12/14/2012                  2/16/2012               6/23/2020
  18117089 408 Paradise Rd, Modesto, CA 95351                          Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/22/2012 VA 1-918-663           12/14/2012                  2/22/2012               6/21/2020
  18117090 506 Paradise Blvd, Modesto, CA 95351                        Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/22/2012 VA 1-918-663           12/14/2012                  2/22/2012                8/8/2020
  18117093 408 Paradise Rd, Modesto, CA 95351                          Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/22/2012 VA 1-918-663           12/14/2012                  2/22/2012                7/5/2020
  18159752 74 Lowland St, Holliston, MA 01746                          Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/28/2012 VA 1-918-742           12/14/2012                  2/28/2012               6/20/2020
  18159757 74 Lowland St, Holliston, MA 01746                          Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/28/2012 VA 1-918-742           12/14/2012                  2/28/2012               6/29/2020
  18159765 120 Jeffrey Ave, Holliston, MA 01746                        Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/28/2012 VA 1-918-742           12/14/2012                  2/28/2012               6/25/2020

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  18168291 8300 N Wayne Rd, Westland, MI 48185                         Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800        2/29/2012 VA 1-918-554           12/14/2012                  2/29/2012               7/29/2020
   1915759 991-1001 Boston Providence Tpke, Norwood, MA 02062          Odi Wong                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        2/10/2006 VA 1-386-376           10/19/2006                  2/10/2006               6/20/2020
  18185043 7304 Parkway Dr, Hanover, MD 21076                          Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         3/1/2012 VA 1-919-645           12/14/2012                   3/1/2012               6/27/2020
  18185418 1190 Selmi Dr, Reno, NV 89512                               Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        2/29/2012 VA 1-918-966           12/14/2012                  2/29/2012               6/26/2020
  24091150 7094 Peachtree Industrial Blvd, Norcross, GA 30071          Russ Holloway                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        9/22/2013 VA 1-434-410            7/15/2014                  9/22/2013                7/8/2020

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  18216915 34051 S Gratiot Ave, Clinton Township, MI 48035             Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        3/7/2012 VA 1-918-554           12/14/2012                   3/7/2012               6/24/2020
  18227432 8559 SW Old Tualatin Sherwood Rd, Tualatin, OR 97062        Jeremy Polzel                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/8/2012 VA 1-919-646           12/14/2012                   3/8/2012               6/27/2020
  18235448 159 N MacDade Blvd, Glenolden, PA 19036                     Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/9/2012 VA 1-918-616           12/14/2012                   3/9/2012                8/8/2020
  18235452 159 N MacDade Blvd, Glenolden, PA 19036                     Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/9/2012 VA 1-918-616           12/14/2012                   3/9/2012                8/9/2020

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  18243496 33140-33150 S Gratiot Ave, Clinton Township, MI 48035       Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        3/5/2012 VA 1-918-554           12/14/2012                   3/5/2012               6/27/2020
  18243673 4620 Browns Bridge Rd, Cumming, GA 30041                    Bonnie Heath                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        3/8/2012 VA 1-919-079           12/14/2012                   3/8/2012                7/9/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                        31
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                    Photographer          Email Address              Phone Number             Last Known - Employer            Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   18243677 4620 Browns Bridge Rd, Cumming, GA 30041               Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/8/2012 VA 1-919-079            12/14/2012                    3/8/2012               6/25/2020
   18279831 1920 Freedom Pky, Cumming, GA 30041                    Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/15/2012 VA 1-919-079            12/14/2012                   3/15/2012               6/17/2020
    1960320 State Road 54, New Port Richey, FL 34653               Sadie Ball                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      2/13/2006 VA 1-378-347              8/17/2006                  2/13/2006               6/21/2020
   18327464 2500 N Coyote Dr, Tucson, AZ 85745                     Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/22/2012 VA 1-919-853            12/14/2012                   3/22/2012              12/13/2020
   18362426 4220 W Green Oaks Blvd, Arlington, TX 76016            Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/28/2012 VA 1-919-039            12/14/2012                   3/28/2012               6/26/2020
   18362430 4220 W Green Oaks Blvd, Arlington, TX 76016            Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/28/2012 VA 1-919-039            12/14/2012                   3/28/2012               6/19/2020
   18365219 3601 N Las Vegas Blvd, Las Vegas, NV 89115             Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/27/2012 VA 1-918-542            12/14/2012                   3/27/2012                3/4/2021
   18373540 2905-2943 Emmorton Rd, Abingdon, MD 21009              Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/27/2012 VA 1-919-645            12/14/2012                   3/27/2012               6/25/2020
   18398430 28752 Marguerite Pky, Mission Viejo, CA 92692          Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/2/2012 VA 2-146-781            12/14/2012                    4/2/2012               6/23/2020
   18420820 3909 W Green Oaks Blvd, Arlington, TX 76016            Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/5/2012 VA 1-919-039            12/14/2012                    4/5/2012               4/27/2021
   18421918 3317-3327 N 107th St, Omaha, NE 68134                  Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/4/2012 VA 1-918-689            12/14/2012                    4/4/2012                7/9/2020
    6686153 1876 E Sabin Dr, Casa Grande, AZ 85122                 Scott Davis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      1/15/2008 VA 1-431-066              6/22/2009                  1/15/2008               7/24/2020
    7280876 1876 E Sabin Dr, Casa Grande, AZ 85122                 Scott Davis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      3/25/2008 VA 1-431-066              6/22/2009                  3/25/2008               7/24/2020
   18431834 4360 Atlanta Hwy, Loganville, GA 30052                 Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/9/2012 VA 1-919-079            12/14/2012                    4/9/2012               6/24/2020
   18431836 4360 Atlanta Hwy, Loganville, GA 30052                 Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/9/2012 VA 1-919-079            12/14/2012                    4/9/2012                7/8/2020
   18434041 421 Heathrow Ct, Burr Ridge, IL 60527                  Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                         3032606500       4/5/2012 VA 1-919-009            12/14/2012                    4/5/2012               6/27/2020
   18439319 149 Jackson St NE, Albuquerque, NM 87108               Scott Kerr                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/27/2012 VA 1-920-010            12/14/2012                   3/27/2012                7/4/2020
   18443978 4021 E Grant Rd, Tucson, AZ 85712                      Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/3/2012 VA 1-919-853            12/14/2012                    4/3/2012               6/24/2020
   18446859 14250-14270 W Maple Rd, Omaha, NE 68164                Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/10/2012 VA 1-918-683            12/14/2012                   4/10/2012               8/10/2020
   18466529 220 Bear Hill Rd, Waltham, MA 02451                    Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/11/2012 VA 1-918-742            12/14/2012                   4/11/2012               8/10/2020
   18479357 20507 Nicholas Cir, Elkhorn, NE 68022                  Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/13/2012 VA 1-918-683            12/14/2012                   4/13/2012               6/27/2020
   18479360 20507 Nicholas Cir, Elkhorn, NE 68022                  Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/13/2012 VA 1-918-683            12/14/2012                   4/13/2012               6/27/2020
   18479401 20221 Park Rd, Elkhorn, NE 68022                       Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/13/2012 VA 1-918-683            12/14/2012                   4/13/2012               6/27/2020
   18479404 20221 Park Rd, Elkhorn, NE 68022                       Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/13/2012 VA 1-918-683            12/14/2012                   4/13/2012                7/8/2020
    7308733 2900 E Broadway Blvd, Tucson, AZ 85716                 Scott Davis                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       4/8/2008 VA 1-431-066              6/22/2009                   4/8/2008               6/29/2020
   18495341 2740 S Bristol St, Santa Ana, CA 92704                 Daniel Aguinaga                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/16/2012 VA 1-918-838            12/14/2012                   4/16/2012                7/6/2020
   18514417 4080 Paradise Rd, Las Vegas, NV 89169                  Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/18/2012 VA 1-918-542            12/14/2012                   4/18/2012                7/8/2020
   18514427 4080 Paradise Rd, Las Vegas, NV 89169                  Michael Collison                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/18/2012 VA 1-918-542            12/14/2012                   4/18/2012               6/28/2020
   18515795 373 Poplar Rd, Honey Brook, PA 19344                   Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/18/2012 VA 1-918-616            12/14/2012                   4/18/2012               6/25/2020
   18590048 964 Lincoln St, Blair, NE 68008                        Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/27/2012 VA 1-918-683            12/14/2012                   4/27/2012               6/22/2020

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  18600722 52585 Dequindre Rd, Rochester Hills, MI 48307           Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       4/25/2012 VA 1-918-554            12/14/2012                  4/25/2012                7/5/2020
  18641608 20466 Ohio St, Elkhorn, NE 68022                        Chris Petersen                                                                  CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        5/3/2012 VA 1-918-683            12/14/2012                   5/3/2012               1/22/2021
  18665895 4506-4510 Lower Beckleysville Rd, Hampstead, MD 21074   Patrick O'Conor                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300        5/7/2012 VA 1-919-645            12/14/2012                   5/7/2012               6/27/2020

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  18702880 17097 17 Mile Rd, Clinton Township, MI 48038            Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       5/11/2012 VA 1-918-554            12/14/2012                  5/11/2012                7/8/2020
  18722744 12626 Lawson Rd, Little Rock, AR 72210                  Heather Plunk                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       5/14/2012 VA 1-918-961            12/14/2012                  5/14/2012               6/28/2020
  18742296 665 Raco Dr, Lawrenceville, GA 30046                    Bonnie Heath                                                                    CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       5/16/2012 VA 1-919-079            12/14/2012                  5/16/2012              10/27/2020

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  18795381 105 Cass Ave, Mount Clemens, MI 48043                   Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       5/22/2012 VA 1-918-554            12/14/2012                  5/22/2012               6/25/2020
  18819216 1604 Ford Ave, Modesto, CA 95350                        Andrea Carlos                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/22/2012 VA 1-918-606            12/14/2012                  5/22/2012               6/19/2020
  18879195 10866 York Rd, Cockeysville, MD 21030                   Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/30/2012 VA 1-919-645            12/14/2012                  5/30/2012               6/26/2020
  18887836 8901 Andermatt Dr, Lincoln, NE 68526                    Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2012 VA 1-918-683            12/14/2012                   6/1/2012               6/26/2020
  18887840 8901 Andermatt Dr, Lincoln, NE 68526                    Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2012 VA 1-918-689            12/14/2012                   6/1/2012               6/27/2020
  18932959 182 E Main St, Westminster, MD 21157                    Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/4/2012 VA 1-919-645            12/14/2012                   6/4/2012               6/19/2020
  18988655 2100 Dorchester Ave, Boston, MA 02124                   Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/6/2012 VA 1-918-742            12/14/2012                   6/6/2012                7/5/2020
  19012845 1404 Lead Ave SE, Albuquerque, NM 87106                 Scott Kerr                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/7/2012 VA 1-920-010            12/14/2012                   6/7/2012               6/24/2020

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  19019715 35700 Van Dyke Ave, Sterling Heights, MI 48312          Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        6/6/2012 VA 1-918-554            12/14/2012                   6/6/2012                7/8/2020
  19037803 15 E Cross St, Baltimore, MD 21230                      Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/9/2012 VA 1-919-645            12/14/2012                   6/9/2012               6/26/2020
  19083776 3301-3347 Vollmer Rd, Flossmoor, IL 60422               Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500       6/11/2012 VA 1-919-009            12/14/2012                  6/11/2012                7/5/2020
  19144165 1103 Eisenhower Pky, Macon, GA 31206                    Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/20/2012 VA 1-919-079            12/14/2012                  6/20/2012                7/6/2020
  19145016 2930 James St, Baltimore, MD 21230                      Patrick O'Conor                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/19/2012 VA 1-919-645            12/14/2012                  6/19/2012               6/26/2020
  19146172 2020 Buena Vista Dr SE, Albuquerque, NM 87106           Scott Kerr                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/20/2012 VA 1-920-010            12/14/2012                  6/20/2012               11/2/2020
  19152876 113 Neck Rd, Haverhill, MA 01835                        Shelly Bourbeau                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/22/2012 VA 1-919-649            12/14/2012                  6/22/2012                8/7/2020
  19216350 263-295 Huntington Ave, Boston, MA 02115                Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/26/2012 VA 1-918-742            12/14/2012                  6/26/2012               6/27/2020
  19250805 1031-1059 US Highway 41 Byp S, Venice, FL 34285         Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/28/2012 VA 1-919-467            12/14/2012                  6/28/2012               8/11/2020
  19320376 3093 Falling Waters Blvd, Lindenhurst, IL 60046         Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500       6/13/2012 VA 1-919-009            12/14/2012                  6/13/2012                7/5/2020
  19321897 3929 Carter Rd, Buford, GA 30518                        Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/24/2012 VA 1-919-079            12/14/2012                  5/24/2012                7/9/2020
  19321900 3929 Carter Rd, Buford, GA 30518                        Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/24/2012 VA 1-919-079            12/14/2012                  5/24/2012                7/6/2020
  20516490 3300 E South St, Lakewood, CA 90805                     Christiaan Cruz                                                                 CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/23/2012 VA 1-918-720             3/25/2013                 10/23/2012               6/27/2020
  20623162 29160 Heathercliff Rd, Malibu, CA 90265                 Christiaan Cruz                                                                 CoStar Group                 750 N Saint Paul St, Dallas, TX 75201                 8882267404       11/6/2012 VA 1-918-720             3/25/2013                  11/6/2012               6/26/2020

  20406164 3061-3089 Salt Lake Rd, Indianapolis, IN 46214          Jason Koenig                                                                    CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404      10/10/2012 VA 1-918-732             3/25/2013                 10/10/2012               6/29/2020

  20406169 3061-3089 Salt Lake Rd, Indianapolis, IN 46214          Jason Koenig                                                                    CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404      10/10/2012 VA 1-918-732             3/25/2013                 10/10/2012               6/26/2020
  20455159 610 Industrial Ave, Greensboro, NC 27406                Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500      10/17/2012 VA 1-918-716             3/25/2013                 10/17/2012                7/7/2020
  20591743 5402 Hornaday Rd, Greensboro, NC 27407                  Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500       11/2/2012 VA 1-918-716             3/25/2013                  11/2/2012               6/28/2020
  21038360 4215 Tudor Ln, Greensboro, NC 27410                     Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500      12/28/2012 VA 1-918-716             3/25/2013                 12/28/2012               6/26/2020
  21038366 4215 Tudor Ln, Greensboro, NC 27410                     Charlotte Alvey                                                                 CoStar Group                 101 S Tryon St, Charlotte, NC 28280                   2023466500      12/28/2012 VA 1-918-716             3/25/2013                 12/28/2012               6/25/2020
  20351809 2802 N El Burrito Ave, Tucson, AZ 85705                 Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/4/2012 VA 1-918-712             3/25/2013                  10/4/2012               6/25/2020
  20351816 2802 N El Burrito Ave, Tucson, AZ 85705                 Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/4/2012 VA 1-918-712             3/25/2013                  10/4/2012                7/8/2020
  20625784 1385 Broadway, New York, NY 10018                       Chris Brown                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/29/2012 VA 1-918-717             3/25/2013                 10/29/2012               5/14/2020
  20749470 8150 N Cortaro Rd, Tucson, AZ 85743                     Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/20/2012 VA 1-918-712             3/25/2013                 11/20/2012               6/27/2020
  20754941 5960 W Arizona Pavilions Dr, Tucson, AZ 85743           Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/21/2012 VA 1-918-712             3/25/2013                 11/21/2012                7/9/2020
  20777693 9665 N Thornydale Rd, Tucson, AZ 85742                  Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/26/2012 VA 1-918-712             3/25/2013                 11/26/2012                7/6/2020




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   20855008 428 E 149th St, Bronx, NY 10455                          Chris Brown                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2012 VA 1-918-717              3/25/2013                  12/4/2012              6/28/2020
   20930697 4514-4516 E Camp Lowell Dr, Tucson, AZ 85712             Carrie Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/12/2012 VA 1-918-712              3/25/2013                 12/12/2012              6/27/2020
   20930699 4514-4516 E Camp Lowell Dr, Tucson, AZ 85712             Carrie Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/12/2012 VA 1-918-712              3/25/2013                 12/12/2012              6/27/2020
   21000682 3305-3311 Grande Vista Dr, Newbury Park, CA 91320        Daniel Kanooni                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/20/2012 VA 1-918-733              3/25/2013                 12/20/2012              6/28/2020
   19662905 790 Amboy Ave, Perth Amboy, NJ 08861                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/27/2012 VA 1-925-983              3/29/2013                  7/27/2012               7/8/2020
   20246807 555 Lacey Rd, Forked River, NJ 08731                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/17/2012 VA 1-925-983              3/29/2013                  9/17/2012              6/29/2020

  19423112 68945 Perez Rd, Cathedral City, CA 92234                  Alan Thieroff                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/12/2012 VA 1-922-107             3/29/2013                  7/12/2012               6/28/2020

  19958281 1814 Coney Island Ave, Brooklyn, NY 11230                 Alan Thieroff                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       8/17/2012 VA 1-922-107             3/29/2013                  8/17/2012               6/26/2020
  19898738 2200 Market St, Harrisburg, PA 17103                      Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/16/2012 VA 1-918-627             3/29/2013                  8/16/2012               7/19/2020
  19286809 4900 Dominion Blvd, Glen Allen, VA 23060                  Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/2/2012 VA 1-918-595             3/29/2013                   7/2/2012               6/22/2020
  20228634 5600 E Virginia Beach Blvd, Norfolk, VA 23502             Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2012 VA 1-918-595             3/29/2013                  9/20/2012               6/28/2020
  19710746 8862 N Zealand Ave, Minneapolis, MN 55445                 David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        8/1/2012 VA 1-918-793             3/29/2013                   8/1/2012                7/9/2020
  19710765 8862 N Zealand Ave, Minneapolis, MN 55445                 David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        8/1/2012 VA 1-918-793             3/29/2013                   8/1/2012               6/17/2020
  19975724 11540 Bass Lake Rd, Plymouth, MN 55442                    David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       8/24/2012 VA 1-918-793             3/29/2013                  8/24/2012               6/26/2020
  19612108 7011 Hart Ln, Austin, TX 78731                            Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/25/2012 VA 1-918-603             3/29/2013                  7/25/2012               8/11/2020
  19794832 1550 Main St, Springfield, MA 01103                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/7/2012 VA 1-918-783             3/29/2013                   8/7/2012               7/20/2020
  19887453 51-55 W Main St, New Britain, CT 06051                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2012 VA 1-918-783             3/29/2013                  8/14/2012               6/25/2020
  19887457 51-55 W Main St, New Britain, CT 06051                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2012 VA 1-918-783             3/29/2013                  8/14/2012               6/28/2020
  20279334 59 Torrington Rd, Goshen, CT 06756                        Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/26/2012 VA 1-918-783             3/29/2013                  9/26/2012               6/26/2020
  20279335 59 Torrington Rd, Goshen, CT 06756                        Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/26/2012 VA 1-918-783             3/29/2013                  9/26/2012               6/28/2020
  19356030 42 Ladd St, East Greenwich, RI 02818                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/9/2012 VA 1-918-709             3/29/2013                   7/9/2012               6/21/2020
  19379767 1086 Main St, West Warwick, RI 02893                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/10/2012 VA 1-918-709             3/29/2013                  7/10/2012               7/10/2020
  19659056 1281-1285 N Main St, Providence, RI 02904                 Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/23/2012 VA 1-918-709             3/29/2013                  7/23/2012               12/8/2020
  19746775 549 Charles St, Providence, RI 02904                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/2/2012 VA 1-918-709             3/29/2013                   8/2/2012               6/27/2020
  19746790 549 Charles St, Providence, RI 02904                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/2/2012 VA 1-918-709             3/29/2013                   8/2/2012               6/26/2020
  19746799 549 Charles St, Providence, RI 02904                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/2/2012 VA 1-918-709             3/29/2013                   8/2/2012               6/17/2020
  19975840 7 Dunnell Ln, Pawtucket, RI 02860                         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/24/2012 VA 1-918-709             3/29/2013                  8/24/2012               6/28/2020
  20039710 727 East Ave, Pawtucket, RI 02860                         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/27/2012 VA 1-918-709             3/29/2013                  8/27/2012               6/27/2020
  20039798 727 East Ave, Pawtucket, RI 02860                         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/27/2012 VA 1-918-709             3/29/2013                  8/27/2012               6/26/2020
  20279455 10 Admiral St, Providence, RI 02908                       Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/26/2012 VA 1-918-709             3/29/2013                  9/26/2012               6/26/2020
  20176195 2231 E 7th St, Los Angeles, CA 90023                      John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/14/2012 VA 1-918-746             3/29/2013                  9/14/2012               6/28/2020

  19899222 2760 W Warren Ave, Detroit, MI 48208                      Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/16/2012 VA 1-919-054             3/29/2013                  8/16/2012                7/8/2020
  19675312 9730 Cuyamaca St, Santee, CA 92071                        Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/30/2012 VA 1-918-753             3/29/2013                  7/30/2012                6/7/2021
  19905005 262-278 Town Center Pky, Santee, CA 92071                 Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/17/2012 VA 1-918-753             3/29/2013                  8/17/2012                7/7/2020
  19725096 612 W Duarte Rd, Arcadia, CA 91007                        Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2012 VA 1-918-611             3/29/2013                   8/2/2012                7/1/2020
  19725097 612 W Duarte Rd, Arcadia, CA 91007                        Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2012 VA 1-918-611             3/29/2013                   8/2/2012                7/7/2020
  19725101 612 W Duarte Rd, Arcadia, CA 91007                        Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2012 VA 1-918-611             3/29/2013                   8/2/2012                7/1/2020
  19929947 535 N Brand Blvd, Glendale, CA 91203                      Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/20/2012 VA 1-918-611             3/29/2013                  8/20/2012                7/3/2020
  19612530 4925 State Rd, Cleveland, OH 44134                        Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/25/2012 VA 1-919-313             3/29/2013                  7/25/2012               6/23/2020
  19676065 1009 Commerce Dr, Grafton, OH 44044                       Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2012 VA 1-919-313             3/29/2013                  7/30/2012               7/17/2020
  19676073 1009 Commerce Dr, Grafton, OH 44044                       Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2012 VA 1-919-313             3/29/2013                  7/30/2012               7/17/2020
  19725204 3101 E 55th St, Cleveland, OH 44127                       Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2012 VA 1-919-313             3/29/2013                   8/2/2012               6/29/2020
  20185912 200 Pennsylvania Ave, East Aurora, NY 14052               Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2012 VA 1-918-702             3/29/2013                  9/14/2012                7/1/2020
  19654551 285-287 17th St, Oakland, CA 94612                        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       7/26/2012 VA 1-922-200             3/29/2013                  7/26/2012               6/18/2020
  19531202 1375 Cross Creek Cir, Tallahassee, FL 32301               David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/19/2012 VA 1-919-085             3/29/2013                  7/19/2012                7/8/2020
  19531210 1375 Cross Creek Cir, Tallahassee, FL 32301               David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/19/2012 VA 1-919-085             3/29/2013                  7/19/2012               6/24/2020
  19997641 705 Mabry St, Tallahassee, FL 32304                       David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2012 VA 1-919-085             3/29/2013                  8/24/2012               6/26/2020
  20158742 34599 Yucaipa Blvd, Yucaipa, CA 92399                     Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2012 VA 1-918-788             3/29/2013                  9/12/2012               6/26/2020

  20269039 3470-3488 W 3rd St, Bloomington, IN 47404                 Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/25/2012 VA 1-919-094             3/29/2013                  9/25/2012                7/8/2020

  20269048 3470-3488 W 3rd St, Bloomington, IN 47404                 Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/25/2012 VA 1-919-094             3/29/2013                  9/25/2012               7/10/2020
  19711510 10777 103rd St, Jacksonville, FL 32210                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/1/2012 VA 1-919-312             3/29/2013                   8/1/2012               6/21/2020
  19945858 8551 Rixlew Ln, Manassas, VA 20109                        Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2012 VA 1-918-560             3/29/2013                  8/21/2012               6/26/2020
  19945861 8551 Rixlew Ln, Manassas, VA 20109                        Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2012 VA 1-918-560             3/29/2013                  8/21/2012               6/25/2020
  19945866 8551 Rixlew Ln, Manassas, VA 20109                        Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2012 VA 1-918-560             3/29/2013                  8/21/2012               6/26/2020
  19945870 8140 Ashton Ave, Manassas, VA 20109                       Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2012 VA 1-918-560             3/29/2013                  8/21/2012               6/25/2020

  19572545 91 Brighton Woods Dr, Pooler, GA 31322                    Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/23/2012 VA 1-918-546             3/29/2013                  7/23/2012               7/30/2020

  19732089 1261 Highland Rd, Macedonia, OH 44056                     Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/3/2012 VA 1-919-401             3/29/2013                   8/3/2012               6/28/2020

  20280276 2945 E State St, Hermitage, PA 16148                      Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/25/2012 VA 1-919-401             3/29/2013                  9/25/2012               7/17/2020
  19317703 2849-2885 Ray Lawyer Dr, Placerville, CA 95667            Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/5/2012 VA 1-922-693             3/29/2013                   7/5/2012               6/28/2020
  19623438 1512 US Highway 395 N, Gardnerville, NV 89410             Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/27/2012 VA 1-922-693             3/29/2013                  7/27/2012                7/7/2020
  19623444 1512 US Highway 395 N, Gardnerville, NV 89410             Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/27/2012 VA 1-922-693             3/29/2013                  7/27/2012               7/10/2020
  19773717 3161 Cameron Park Dr, Cameron Park, CA 95682              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2012 VA 1-922-693             3/29/2013                   8/6/2012               6/25/2020
  19773722 3161 Cameron Park Dr, Cameron Park, CA 95682              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2012 VA 1-922-693             3/29/2013                   8/6/2012               6/27/2020
  19773736 3181 Cameron Park Dr, Cameron Park, CA 95682              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2012 VA 1-922-693             3/29/2013                   8/6/2012               6/28/2020
  19773737 3181 Cameron Park Dr, Cameron Park, CA 95682              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2012 VA 1-922-693             3/29/2013                   8/6/2012               6/26/2020
  19795783 2880 Sunrise Blvd, Rancho Cordova, CA 95742               Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2012 VA 1-922-693             3/29/2013                   8/7/2012               2/16/2021
  19811254 3701 Power Inn Rd, Sacramento, CA 95826                   Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/8/2012 VA 1-922-693             3/29/2013                   8/8/2012                7/3/2021
  20143017 1790 Terminal St, West Sacramento, CA 95691               Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2012 VA 1-922-693             3/29/2013                  9/11/2012               6/29/2020
  20220426 1040 E 146th St, Burnsville, MN 55337                     Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/19/2012 VA 1-919-200             3/29/2013                  9/19/2012               7/20/2020
  19905833 14275 Midway Rd, Addison, TX 75001                        Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/17/2012 VA 1-918-799             3/29/2013                  8/17/2012                8/8/2020
  20014296 160 Littleton Rd, Parsippany, NJ 07054                    John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/28/2012 VA 1-918-735             3/29/2013                  8/28/2012               6/26/2020
  20046790 415 Speedwell Ave, Morris Plains, NJ 07950                John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/31/2012 VA 1-918-735             3/29/2013                  8/31/2012               6/29/2020




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   20046795 415 Speedwell Ave, Morris Plains, NJ 07950              John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/31/2012 VA 1-918-735              3/29/2013                  8/31/2012               6/28/2020
   20239207 100 Monroe St, Boonton, NJ 07005                        John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/24/2012 VA 1-918-735              3/29/2013                  8/24/2012               6/28/2020
   19726194 37824 Vitality Way, Dade City, FL 33523                 James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2012 VA 1-918-948              3/29/2013                   8/2/2012               6/26/2020
   19511560 16029-16081 Comprint Cir, Gaithersburg, MD 20877        Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/18/2012 VA 1-918-693              3/29/2013                  7/18/2012               7/18/2020
   19511608 18901-18931 Premiere Ct, Gaithersburg, MD 20879         Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/18/2012 VA 1-918-693              3/29/2013                  7/18/2012               7/20/2020
   19828461 438 N Frederick Ave, Gaithersburg, MD 20877             Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/9/2012 VA 1-918-693              3/29/2013                   8/9/2012                7/6/2020
   19900315 2170-2176 Wisconsin Ave NW, Washington, DC 20007        Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/16/2012 VA 1-918-693              3/29/2013                  8/16/2012               6/27/2020
   19596413 250 N Courtenay Pky, Merritt Island, FL 32953           Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/24/2012 VA 1-918-633              3/29/2013                  7/24/2012                7/7/2020
   19834109 777 W Central Blvd, Orlando, FL 32805                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2012 VA 1-918-633              3/29/2013                  8/10/2012               6/28/2020
   19834111 777 W Central Blvd, Orlando, FL 32805                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2012 VA 1-918-633              3/29/2013                  8/10/2012               6/27/2020
   19861096 10705 Rocket Blvd, Orlando, FL 32824                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/13/2012 VA 1-918-633              3/29/2013                  8/13/2012                7/8/2020
   19930883 485 Commerce Way, Longwood, FL 32750                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/17/2012 VA 1-918-633              3/29/2013                  8/17/2012              10/12/2020
   20230403 1390 Hancock Rd, Clermont, FL 34711                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/20/2012 VA 1-918-633              3/29/2013                  9/20/2012               7/23/2020
   20230406 1390 Hancock Rd, Clermont, FL 34711                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/20/2012 VA 1-918-633              3/29/2013                  9/20/2012               7/24/2020
   20230554 36815 Cathedral Canyon, Cathedral City, CA 92234        Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/20/2012 VA 1-919-414              3/29/2013                  9/20/2012                3/4/2021
   19677585 709 E Market St, Greensboro, NC 27401                   Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/30/2012 VA 1-918-801              3/29/2013                  7/30/2012               8/11/2020
   19677656 822 N Elm St, Greensboro, NC 27401                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/30/2012 VA 1-918-801              3/29/2013                  7/30/2012               6/27/2020
   19726648 201 N Elm St, Greensboro, NC 27401                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/2/2012 VA 1-918-801              3/29/2013                   8/2/2012                7/5/2020
   19726658 201 N Elm St, Greensboro, NC 27401                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/2/2012 VA 1-918-801              3/29/2013                   8/2/2012               6/26/2020
   19971185 1951 Battleground Ave, Greensboro, NC 27408             Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/23/2012 VA 1-918-801              3/29/2013                  8/23/2012                7/6/2020
   20129725 1007 Norwalk St, Greensboro, NC 27407                   Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/10/2012 VA 1-918-801              3/29/2013                  9/10/2012               6/25/2020
   19774673 7905 Quivira Rd, Lenexa, KS 66215                       Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/6/2012 VA 1-918-775              3/29/2013                   8/6/2012               6/28/2020
   19828678 6637 Nieman Rd, Overland Park, KS 66203                 Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/9/2012 VA 1-918-775              3/29/2013                   8/9/2012               6/26/2020
   19900787 6001 SW 6th Ave, Topeka, KS 66615                       Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/16/2012 VA 1-918-775              3/29/2013                  8/16/2012                7/3/2020
   20238860 8700 Indian Creek Pky, Overland Park, KS 66210          Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/20/2012 VA 1-918-775              3/29/2013                  8/20/2012               6/25/2020
   20329526 8800 W 75th St, Overland Park, KS 66204                 Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/2/2012 VA 1-918-775              3/29/2013                  10/2/2012               7/24/2020
   20517971 9201-9217 Cody St, Overland Park, KS 66214              Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/22/2012 VA 1-918-775              3/29/2013                 10/22/2012               6/28/2020
   19425498 4960 Canton Rd, Marietta, GA 30066                      Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/12/2012 VA 1-918-965              3/29/2013                  7/12/2012                8/9/2020
   19596961 15-29 S Main St, Jasper, GA 30143                       Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/23/2012 VA 1-918-965              3/29/2013                  7/23/2012               7/18/2020
   19596963 15-29 S Main St, Jasper, GA 30143                       Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/23/2012 VA 1-918-965              3/29/2013                  7/23/2012               7/18/2020
   19677712 2035 Morris Rd, Columbus, GA 31907                      Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/30/2012 VA 1-918-965              3/29/2013                  7/30/2012               6/26/2020
   19812741 527 SW Veterans Memorial Hwy, Mableton, GA 30126        Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/8/2012 VA 1-918-965              3/29/2013                   8/8/2012               7/20/2020
   19812743 527 SW Veterans Memorial Hwy, Mableton, GA 30126        Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/8/2012 VA 1-918-965              3/29/2013                   8/8/2012               7/20/2020
   19977560 10700 Abbotts Bridge Rd, Duluth, GA 30097               Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/24/2012 VA 1-918-965              3/29/2013                  8/24/2012               7/14/2020
   20014760 655 N Jeff Davis Dr, Fayetteville, GA 30214             Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/28/2012 VA 1-918-965              3/29/2013                  8/28/2012               6/26/2020
   20235881 1325 Veterans Pky, Columbus, GA 31901                   Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/21/2012 VA 1-918-965              3/29/2013                  9/21/2012               6/26/2020
   19931269 80 E Old Country Rd, Mineola, NY 11501                  Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/20/2012 VA 1-919-396              3/29/2013                  8/20/2012                1/2/2021
   19834324 4222 Government St, Baton Rouge, LA 70806               Mary McGinn                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2012 VA 1-938-752              3/29/2013                   8/8/2012               6/27/2020
   19834326 4222 Government St, Baton Rouge, LA 70806               Mary McGinn                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2012 VA 1-938-752              3/29/2013                   8/8/2012               6/28/2020
   19512136 324 Main St, Greenfield, MA 01301                       Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/16/2012 VA 1-922-134              3/29/2013                  7/16/2012              11/26/2020
   19512349 1951 S Fordham St, Longmont, CO 80503                   Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      7/18/2012 VA 1-919-089              3/29/2013                  7/18/2012               6/19/2020
   19829335 10701 Melody Dr, Northglenn, CO 80234                   Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       8/9/2012 VA 1-919-089              3/29/2013                   8/9/2012               6/27/2020
   19977834 1300 S Potomac St, Aurora, CO 80012                     Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      8/24/2012 VA 1-919-089              3/29/2013                  8/24/2012               6/25/2020
   20236089 13000 W 43rd Dr, Golden, CO 80403                       Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      9/17/2012 VA 1-919-089              3/29/2013                  9/17/2012               11/2/2020
   19889547 937 SW 25th St, Moore, OK 73160                         Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/14/2012 VA 1-919-097              3/29/2013                  8/14/2012               6/27/2020
   19889555 937 SW 25th St, Moore, OK 73160                         Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/14/2012 VA 1-919-097              3/29/2013                  8/14/2012               6/27/2020
   19901318 1700-1704 S Broadway St, Moore, OK 73160                Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/16/2012 VA 1-919-097              3/29/2013                  8/16/2012               8/11/2020
   19901321 1700-1704 S Broadway St, Moore, OK 73160                Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/16/2012 VA 1-919-097              3/29/2013                  8/16/2012               8/11/2020
   20076089 309 SW 59th St, Oklahoma City, OK 73109                 Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/22/2012 VA 1-919-097              3/29/2013                  8/22/2012               6/29/2020

  20102065 2571 Fite Rd, Memphis, TN 38127                          Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        9/5/2012 VA 1-938-746             3/29/2013                   9/5/2012                2/2/2021
  19322284 170 Talamine Ct, Colorado Springs, CO 80907              Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/6/2012 VA 1-922-404             3/29/2013                   7/6/2012               6/20/2020
  19322293 170 Talamine Ct, Colorado Springs, CO 80907              Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/6/2012 VA 1-922-404             3/29/2013                   7/6/2012                7/9/2020
  19732878 38380-38400 Abruzzi Dr, Westland, MI 48185               Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/3/2012 VA 1-940-279             3/29/2013                   8/3/2012               6/24/2020
  20177718 12930-12970 Beech Daly Rd, Taylor, MI 48180              Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/14/2012 VA 1-940-279             3/29/2013                  9/14/2012               10/3/2020
  18034491 6288 Steubenville Pike, Pittsburgh, PA 15205             Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/10/2012 VA 1-922-109             3/29/2013                  2/10/2012               6/26/2020
  19125761 100 Arentzen Blvd, Charleroi, PA 15022                   Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       6/19/2012 VA 1-922-109             3/29/2013                  6/19/2012               7/24/2020
  19383726 217 E View Dr, Mount Pleasant, PA 15666                  Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/10/2012 VA 1-922-109             3/29/2013                  7/10/2012                7/5/2020
  19727420 1301 Grandview Ave, Pittsburgh, PA 15211                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        8/2/2012 VA 1-922-109             3/29/2013                   8/2/2012               6/24/2020
  19775393 703 Rodi Rd, Pittsburgh, PA 15235                        Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        8/6/2012 VA 1-922-109             3/29/2013                   8/6/2012               6/26/2020
  19961331 322 Fourth Ave, Pittsburgh, PA 15222                     Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       8/22/2012 VA 1-922-109             3/29/2013                  8/22/2012               6/26/2020
  19961334 322 Fourth Ave, Pittsburgh, PA 15222                     Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       8/22/2012 VA 1-922-109             3/29/2013                  8/22/2012               6/27/2020
  20248947 7206-7210 Mcknight Rd, Pittsburgh, PA 15237              Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       9/21/2012 VA 1-922-109             3/29/2013                  9/21/2012               6/28/2020
  19358875 105 Southport Rd, Spartanburg, SC 29306                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        7/9/2012 VA 1-918-638             3/29/2013                   7/9/2012               6/26/2020
  19850669 1820 S Kinnickinnic Ave, Milwaukee, WI 53204             Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       8/10/2012 VA 1-922-557             3/29/2013                  8/10/2012               6/27/2020
  20294280 16055 W Ryerson Rd, New Berlin, WI 53151                 Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/27/2012 VA 1-922-557             3/29/2013                  9/27/2012                7/8/2020
  19657515 19434 Oil Center Blvd, Houston, TX 77073                 Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/10/2012 VA 1-922-516             3/29/2013                  7/10/2012              11/17/2020
  20015836 6111 Milwee St, Houston, TX 77092                        Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2012 VA 1-922-516             3/29/2013                  8/28/2012                8/8/2020
  20106896 9000-9008 E Mount Houston Rd, Houston, TX 77050          Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/7/2012 VA 1-922-516             3/29/2013                   9/7/2012               6/25/2020
  20106900 9000-9008 E Mount Houston Rd, Houston, TX 77050          Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/7/2012 VA 1-922-516             3/29/2013                   9/7/2012               6/28/2020
  20238223 9305-9335 Millsview Rd, Houston, TX 77070                Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/8/2012 VA 1-922-516             3/29/2013                   8/8/2012               7/10/2020
  19319086 1700 Pinson Valley Pky, Tarrant, AL 35217                Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/5/2012 VA 1-919-320             3/29/2013                   7/5/2012                7/7/2020
  19336751 2050 Pinson Valley Pky, Birmingham, AL 35217             Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/6/2012 VA 1-919-320             3/29/2013                   7/6/2012                7/8/2020
  19336753 2050 Pinson Valley Pky, Birmingham, AL 35217             Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/6/2012 VA 1-919-320             3/29/2013                   7/6/2012               6/26/2020
  19468919 1135 Pinson St, Birmingham, AL 35217                     Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/16/2012 VA 1-919-320             3/29/2013                  7/16/2012               6/28/2020
  19598142 1232 Blue Ridge Blvd, Birmingham, AL 35226               Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2012 VA 1-919-320             3/29/2013                  7/20/2012               6/26/2020
  19987459 200 Beacon Pky W, Birmingham, AL 35209                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2012 VA 1-919-320             3/29/2013                  8/23/2012               6/27/2020
  19540697 121 Executive Dr, New Windsor, NY 12553                  Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       7/20/2012 VA 1-919-080             3/29/2013                  7/20/2012                7/6/2020
  19727625 1575 Route 9, Wappingers Falls, NY 12590                 Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        8/2/2012 VA 1-919-080             3/29/2013                   8/2/2012               8/11/2020
  19727630 1575 Route 9, Wappingers Falls, NY 12590                 Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        8/2/2012 VA 1-919-080             3/29/2013                   8/2/2012               8/12/2020




                        OUTSIDE COUNSEL ONLY                                                                                                                   34
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                              Image Address                       Photographer           Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   19813533 1 N Broadway, White Plains, NY 10601                    Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       8/4/2012 VA 1-919-080              3/29/2013                   8/4/2012              6/27/2020
   19834784 200 Mamaroneck Ave, White Plains, NY 10601              Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/10/2012 VA 1-919-080              3/29/2013                  8/10/2012              7/13/2020
   19850682 202 Mamaroneck Ave, White Plains, NY 10601              Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/10/2012 VA 1-919-080              3/29/2013                  8/10/2012              7/13/2020

  20000452 5070-5086 High St, Columbus, OH 43214                    Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/27/2012 VA 1-922-391             3/29/2013                  8/27/2012               6/27/2020

  20569606 1100 Beecher Crossing N, Columbus, OH 43230              Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/21/2012 VA 1-922-391             3/29/2013                  9/21/2012               7/15/2020
  19715153 7676 Main St, Midvale, UT 84047                          Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/31/2012 VA 1-938-850             3/29/2013                  7/31/2012               6/21/2020
  19733017 6465 S 3000 E, Salt Lake City, UT 84121                  Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        8/3/2012 VA 1-938-850             3/29/2013                   8/3/2012                7/6/2020
  19798821 915 S 500 E, American Fork, UT 84003                     Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        8/6/2012 VA 1-938-850             3/29/2013                   8/6/2012                8/9/2020
  20043178 2332 W 12600 S, Riverton, UT 84065                       Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/28/2012 VA 1-938-850             3/29/2013                  8/28/2012                9/8/2020
  20209760 385 Commerce Loop, Orem, UT 84058                        Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/18/2012 VA 1-938-850             3/29/2013                  9/18/2012               8/11/2020
  19598537 700 Huger St, Columbia, SC 29201                         Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/24/2012 VA 1-918-544             3/29/2013                  7/24/2012               7/14/2020
  19715318 1030 Stevens Creek Rd, Augusta, GA 30907                 Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/31/2012 VA 1-918-544             3/29/2013                  7/31/2012               6/24/2020
  19680081 2725 N State St, Jackson, MS 39216                       Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/26/2012 VA 1-918-698             3/29/2013                  7/26/2012               6/12/2021
  20300131 717 Rice Rd, Ridgeland, MS 39157                         Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/26/2012 VA 1-918-698             3/29/2013                  9/26/2012               8/12/2020

  20047890 520 Highway 76, White House, TN 37188                    Andrew Nelson                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/23/2012 VA 1-922-230             3/29/2013                  8/23/2012               6/28/2020
  20016491 105 E Monroe Ave, Buckeye, AZ 85326                      Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2012 VA 1-919-376             3/29/2013                  8/27/2012               6/26/2020
  20174289 7900 E Thompson Peak Pky, Scottsdale, AZ 85255           Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2012 VA 1-919-376             3/29/2013                  9/13/2012                7/6/2020
  19729081 6915 Stearns St, Houston, TX 77021                       Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/31/2012 VA 1-919-430             3/29/2013                  7/31/2012                8/8/2020
  20259141 25605 S Highway 66, Claremore, OK 74019                  Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/24/2012 VA 1-919-419             3/29/2013                  9/24/2012                7/1/2020
  19653487 510 Pedricktown Rd, Logan Township, NJ 08085             Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/23/2012 VA 1-918-629             3/29/2013                  7/23/2012                7/8/2020
  19734338 433 Market St, Camden, NJ 08102                          Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2012 VA 1-918-629             3/29/2013                  7/30/2012               10/3/2020
  19932687 713-715 Haddon Ave, Collingswood, NJ 08108               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2012 VA 1-918-629             3/29/2013                  8/17/2012               6/26/2020
  20032596 38 Haddonfield Rd, Cherry Hill, NJ 08002                 Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/29/2012 VA 1-918-629             3/29/2013                  8/29/2012               6/27/2020
  20032603 38 Haddonfield Rd, Cherry Hill, NJ 08002                 Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/29/2012 VA 1-918-629             3/29/2013                  8/29/2012                7/8/2020
  20032615 730 S White Horse Pike, Audubon, NJ 08106                Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/29/2012 VA 1-918-629             3/29/2013                  8/29/2012                7/8/2020
  20103518 6-10 S Haddon Ave, Haddonfield, NJ 08033                 Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/4/2012 VA 1-918-629             3/29/2013                   9/4/2012               6/27/2020
  20103521 6-10 S Haddon Ave, Haddonfield, NJ 08033                 Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/4/2012 VA 1-918-629             3/29/2013                   9/4/2012                7/8/2020
  20310726 1085 N Delsea Dr, Westville, NJ 08093                    Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/27/2012 VA 1-918-629             3/29/2013                  9/27/2012                8/9/2020

  19814728 30201 Orchard Lake Rd, Farmington Hills, MI 48334        Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/8/2012 VA 1-919-059             3/29/2013                   8/8/2012               7/10/2020

  20001070 48 W Huron St, Pontiac, MI 48342                         Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/27/2012 VA 1-919-059             3/29/2013                  8/27/2012               6/25/2020

  20174600 22701 Harper Ave, Saint Clair Shores, MI 48080           Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114              8882267404        9/12/2012 VA 1-919-059             3/29/2013                  9/12/2012              11/21/2020
  20040106 855 E Palatine Rd, Palatine, IL 60074                    Chuck Carpenter                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/31/2012 VA 1-918-798             3/29/2013                  8/31/2012                7/3/2020
  20040492 2300 S Central Ave, Cicero, IL 60804                     Chuck Carpenter                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/31/2012 VA 1-918-798             3/29/2013                  8/31/2012               6/27/2020
  20013599 7003 Bandera Rd, San Antonio, TX 78238                   Mona Ehlers                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/24/2012 VA 1-919-931             3/29/2013                  8/24/2012               6/28/2020
  20013607 7003 Bandera Rd, San Antonio, TX 78238                   Mona Ehlers                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/24/2012 VA 1-919-931             3/29/2013                  8/24/2012                7/9/2020
  19850910 9 Lake Bellevue Dr, Bellevue, WA 98005                   Emily Perez                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/13/2012 VA 1-918-778             3/29/2013                  8/13/2012               6/29/2020
  19850912 9 Lake Bellevue Dr, Bellevue, WA 98005                   Emily Perez                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/13/2012 VA 1-918-778             3/29/2013                  8/13/2012               6/25/2020
  19987711 2600 Willamette Dr NE, Lacey, WA 98516                   Emily Perez                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/27/2012 VA 1-918-778             3/29/2013                  8/27/2012                2/2/2021
   7308736 2900 E Broadway Blvd, Tucson, AZ 85716                   Scott Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         4/8/2008 VA 1-431-066             6/22/2009                   4/8/2008               6/23/2020
   7308740 2900 E Broadway Blvd, Tucson, AZ 85716                   Scott Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         4/8/2008 VA 1-431-066             6/22/2009                   4/8/2008               6/22/2020
   1952529 2080 E Main St, Spartanburg, SC 29307                    Scott Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        2/14/2006 VA 1-378-328             8/17/2006                  2/14/2006               8/11/2020
  19287670 2740-2750 S Harbor Blvd, Santa Ana, CA 92704             Bill Helm                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         7/2/2012 VA 1-918-685             3/29/2013                   7/2/2012               11/2/2020
  19297241 297-301 Lincoln St, Marlborough, MA 01752                Shelly Bourbeau                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         7/3/2012 VA 1-922-403             3/29/2013                   7/3/2012               6/29/2020
  19382345 5965 Peachtree Corners E, Norcross, GA 30071             Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/10/2012 VA 1-918-708             3/29/2013                  7/10/2012               6/21/2020
  19405369 5975 W Western Way Cir, Tucson, AZ 85713                 Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/11/2012 VA 1-918-804             3/29/2013                  7/11/2012               6/26/2020
  19511446 8386 La Palma Ave, Buena Park, CA 90620                  Bill Helm                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/18/2012 VA 1-918-685             3/29/2013                  7/18/2012               6/18/2020
   2236570 3510-3542 Hwy 80 E, Pearl, MS 39208                      Steve Saxton                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500        4/29/2006 VA 1-378-367             8/17/2006                  4/29/2006               6/21/2020
  19714894 27 Congress St, Salem, MA 01970                          Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/31/2012 VA 1-919-069             3/29/2013                  7/31/2012               6/23/2020
  19714944 10 Federal St, Salem, MA 01970                           Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/31/2012 VA 1-919-069             3/29/2013                  7/31/2012                7/8/2020
  19714952 10 Federal St, Salem, MA 01970                           Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/31/2012 VA 1-919-069             3/29/2013                  7/31/2012               6/20/2020
  19728094 8800-9165 E Tanque Verde Rd, Tucson, AZ 85749            Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         8/2/2012 VA 1-918-804             3/29/2013                   8/2/2012               6/21/2020
  19734225 20001 Beach Blvd, Huntington Beach, CA 92648             PeriAnn DiRocco                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/31/2012 VA 1-918-558             3/29/2013                  7/31/2012               6/17/2020
  19813792 5920 E Pima St, Tucson, AZ 85712                         Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         8/8/2012 VA 1-918-804             3/29/2013                   8/8/2012               8/11/2020
  19813797 5920 E Pima St, Tucson, AZ 85712                         Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         8/8/2012 VA 1-918-804             3/29/2013                   8/8/2012                8/9/2020
  19839500 14 Aegean Dr, Methuen, MA 01844                          Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         8/9/2012 VA 1-919-069             3/29/2013                   8/9/2012               6/26/2020
  19931011 2030-2046 Harvard St, Sarasota, FL 34237                 Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/17/2012 VA 1-918-608             3/29/2013                  8/17/2012                7/5/2020
  19986677 6901 W IH 10, San Antonio, TX 78213                      Cindy Kelleher                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/24/2012 VA 1-918-794             3/29/2013                  8/24/2012               6/29/2020
  19986683 6901 W IH 10, San Antonio, TX 78213                      Cindy Kelleher                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/24/2012 VA 1-918-794             3/29/2013                  8/24/2012               6/27/2020
  20041795 2115 Central Ave, Fort Myers, FL 33901                   Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/30/2012 VA 1-918-608             3/29/2013                  8/30/2012               6/27/2020
  20091366 8130-8220 Brentwood Industrial Dr, Brentwood, MO 63144   Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/4/2012 VA 1-918-715             3/29/2013                   9/4/2012                7/8/2020
  20091368 8130-8220 Brentwood Industrial Dr, Brentwood, MO 63144   Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/4/2012 VA 1-918-715             3/29/2013                   9/4/2012                7/6/2020
  20091372 8130-8220 Brentwood Industrial Dr, Brentwood, MO 63144   Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/4/2012 VA 1-918-715             3/29/2013                   9/4/2012               6/29/2020
  20091393 8228-8273 Brentwood Industrial Dr, Brentwood, MO 63144   Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/4/2012 VA 1-918-715             3/29/2013                   9/4/2012               8/11/2020
  20145805 3600 Old Greenwood Rd, Fort Smith, AR 72903              Heather Plunk                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/11/2012 VA 1-918-972             3/29/2013                  9/11/2012               7/10/2020
  20177556 7900-7904 Harford Rd, Baltimore, MD 21234                Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/14/2012 VA 1-918-548             3/29/2013                  9/14/2012               7/10/2020
  20198708 1851 S Pantano Rd, Tucson, AZ 85710                      Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/17/2012 VA 1-918-804             3/29/2013                  9/17/2012               7/10/2020
  20231991 4726-4758 E Grant Rd, Tucson, AZ 85712                   Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/20/2012 VA 1-918-804             3/29/2013                  9/20/2012               6/28/2020
  20236362 414-418 W Franklin St, Baltimore, MD 21201               Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/21/2012 VA 1-918-548             3/29/2013                  9/21/2012               6/29/2020
  20256289 3080 I-37 North, Three Rivers, TX 78071                  Cindy Kelleher                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/24/2012 VA 1-918-794             3/29/2013                  9/24/2012                7/9/2020
  20269665 3509 SW Wilshire Blvd, Joshua, TX 76058                  Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/25/2012 VA 1-919-384             3/29/2013                  9/25/2012               6/28/2020
  20281226 7404 Tara Blvd, Jonesboro, GA 30236                      Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/26/2012 VA 1-918-708             3/29/2013                  9/26/2012               7/31/2020
  20283643 16 W Horizon Ridge Pky, Henderson, NV 89012              Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/26/2012 VA 1-919-165             3/29/2013                  9/26/2012               6/26/2020
  20293175 750 Tamiami Trl, Port Charlotte, FL 33953                Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/27/2012 VA 1-918-608             3/29/2013                  9/27/2012                7/8/2020
  20293184 750 Tamiami Trl, Port Charlotte, FL 33953                Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/27/2012 VA 1-918-608             3/29/2013                  9/27/2012                7/8/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                      35
                                                                Case 2:20-cv-08819-CBM-AS                                    Document 950-1 Filed 10/25/24                                                                   Page 63 of 202 Page
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   20342597 120 Cassia Way, Henderson, NV 89014                      Jennifer Carpenter                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/28/2012 VA 1-919-165              3/29/2013                  9/28/2012              6/26/2020
   20369600 210-212 Trumbull St, Elizabeth, NJ 07206                 Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2012 VA 1-918-530            10/25/2013                   10/4/2012               8/8/2020
   20390734 691 Mill Creek Rd, Manahawkin, NJ 08050                  Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/5/2012 VA 1-918-530            10/25/2013                   10/5/2012              8/17/2020
   20622777 5000 Hadley Rd, South Plainfield, NJ 07080               Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/6/2012 VA 1-918-530            10/25/2013                   11/6/2012               7/7/2020
   20622801 1 Cragwood Rd, South Plainfield, NJ 07080                Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/6/2012 VA 1-918-530            10/25/2013                   11/6/2012              6/23/2021
   20569692 400 NW Enterprise Dr, Port Saint Lucie, FL 34986         David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2012 VA 1-918-857            10/25/2013                  10/31/2012               7/7/2020
   20569713 4527 S US-1 Hwy, Fort Pierce, FL 34982                   David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2012 VA 1-918-857            10/25/2013                  10/31/2012              2/21/2021
   20574140 4750 S Us-1 Hwy, Fort Pierce, FL 34982                   David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/1/2012 VA 1-918-857            10/25/2013                   11/1/2012              6/26/2020
   20574144 4750 S Us-1 Hwy, Fort Pierce, FL 34982                   David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/1/2012 VA 1-918-857            10/25/2013                   11/1/2012              6/28/2020
   20646686 3900 Consumer St, Riviera Beach, FL 33404                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/8/2012 VA 1-918-857            10/25/2013                   11/8/2012              6/25/2020
   20800953 4199-4257 SW High Meadow Ave, Palm City, FL 34990        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/28/2012 VA 1-918-857            10/25/2013                  11/28/2012              6/27/2020
   20966424 1615-1637 W McNab Rd, Pompano Beach, FL 33069            David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/17/2012 VA 1-918-857            10/25/2013                  12/17/2012              8/12/2020
   21087457 5661-5667 NW 29th St, Margate, FL 33063                  David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/26/2012 VA 1-918-857            10/25/2013                  12/26/2012              6/27/2020
   21087461 5661-5667 NW 29th St, Margate, FL 33063                  David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/26/2012 VA 1-918-857            10/25/2013                  12/26/2012              6/27/2020
   20646929 11540 Bass Lake Rd, Plymouth, MN 55442                   David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/8/2012 VA 1-918-853            10/25/2013                   11/8/2012              6/28/2020
   20880541 11800 Singletree Ln, Eden Prairie, MN 55344              David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/7/2012 VA 1-918-853            10/25/2013                   12/7/2012               7/7/2020
   20469085 200 N Bagdad Rd, Leander, TX 78641                       Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/18/2012 VA 1-937-161            10/25/2013                  10/18/2012              6/29/2020
   20469089 200 N Bagdad Rd, Leander, TX 78641                       Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/18/2012 VA 1-937-161            10/25/2013                  10/18/2012              6/29/2020
   20406186 77-83 N Main St, Norwich, CT 06360                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/9/2012 VA 1-918-900            10/25/2013                   10/9/2012               7/7/2020
   20406191 77-83 N Main St, Norwich, CT 06360                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/9/2012 VA 1-918-900            10/25/2013                   10/9/2012               7/7/2020
   20746791 184 Kukas Ln, Waterbury, CT 06706                        Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/20/2012 VA 1-918-900            10/25/2013                  11/20/2012               7/7/2020
   20982256 337 Congress Ave, Waterbury, CT 06708                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/14/2012 VA 1-918-900            10/25/2013                  12/14/2012              6/29/2020
   20401996 1055 Smith St, Providence, RI 02908                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/11/2012 VA 1-918-868            10/25/2013                  10/11/2012               8/9/2020
   20580863 200 Academy Ave, Providence, RI 02908                    Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/16/2012 VA 1-918-868            10/25/2013                  10/16/2012              7/10/2020
   20653446 931 Jefferson Blvd, Warwick, RI 02886                    Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/9/2012 VA 1-918-868            10/25/2013                   11/9/2012              6/28/2020
   20698944 35 Sockanosset Cross Rd, Cranston, RI 02920              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/14/2012 VA 1-918-868            10/25/2013                  11/14/2012              6/28/2020
   20698947 35 Sockanosset Cross Rd, Cranston, RI 02920              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/14/2012 VA 1-918-868            10/25/2013                  11/14/2012              6/28/2020
   20698971 45 Sockanosset Cross Rd, Cranston, RI 02920              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/14/2012 VA 1-918-868            10/25/2013                  11/14/2012              6/27/2020

  20523852 6660 Mount Elliott St, Detroit, MI 48211                  Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/25/2012 VA 1-918-985            10/25/2013                 10/25/2012               8/25/2020

  20936737 620 Mount Elliott St, Detroit, MI 48207                   Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/13/2012 VA 1-918-985            10/25/2013                 12/13/2012               6/27/2020
  20380325 8662 Avenida De La Fuente, San Diego, CA 92154            Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/9/2012 VA 1-918-791            10/25/2013                  10/9/2012               8/11/2020
  20520048 4150 Regents Park Row, La Jolla, CA 92037                 Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/24/2012 VA 1-918-791            10/25/2013                 10/24/2012               6/25/2020
  20536348 3609 Ocean Ranch Blvd, Oceanside, CA 92056                Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/26/2012 VA 1-918-791            10/25/2013                 10/26/2012                7/7/2020
  21017186 2411 Fenton St, Chula Vista, CA 91914                     Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/26/2012 VA 1-918-791            10/25/2013                 12/26/2012               6/29/2020
  21017191 2411 Fenton St, Chula Vista, CA 91914                     Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/26/2012 VA 1-918-791            10/25/2013                 12/26/2012               6/25/2020
  21017212 750 Medical Center Ct, Chula Vista, CA 91911              Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/26/2012 VA 1-918-791            10/25/2013                 12/26/2012               4/27/2021
  20536471 20657 Golden Springs Dr, Diamond Bar, CA 91789            Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2012 VA 1-922-687            10/25/2013                 10/22/2012               6/30/2020
  20801387 17635-17639 Rowland St, City Of Industry, CA 91748        Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2012 VA 1-922-687            10/25/2013                 11/28/2012               7/14/2020
  20488052 1261-1267 Babbitt Rd, Euclid, OH 44132                    Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2012 VA 1-923-444            10/25/2013                 10/22/2012               7/17/2021
  20488062 1350 Rockefeller Rd, Wickliffe, OH 44092                  Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2012 VA 1-923-444            10/25/2013                 10/22/2012               6/27/2020
  20665137 850 E 72nd St, Cleveland, OH 44103                        Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/11/2012 VA 1-923-444            10/25/2013                 11/11/2012               6/28/2020
  20840739 18051 Jefferson Park Rd, Middleburg Heights, OH 44130     Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-923-444            10/25/2013                  12/3/2012               2/12/2021
  20430141 3608 Grand Ave, Oakland, CA 94610                         Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      10/15/2012 VA 1-919-514            10/25/2013                 10/15/2012               7/10/2020
  20753799 15521 San Pablo Ave, Richmond, CA 94806                   Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      11/21/2012 VA 1-919-514            10/25/2013                 11/21/2012               3/29/2021
  20818994 1016-1040 Davis St, San Leandro, CA 94577                 Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      11/30/2012 VA 1-919-514            10/25/2013                 11/30/2012               4/10/2021
  20595377 5850-5860 Miami Lakes Dr, Miami Lakes, FL 33014           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2012 VA 1-918-707            10/25/2013                  11/2/2012               6/27/2020
  20595382 5850-5860 Miami Lakes Dr, Miami Lakes, FL 33014           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2012 VA 1-918-707            10/25/2013                  11/2/2012               6/28/2020
  20687036 7715-7719 NW 48th St, Doral, FL 33166                     Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2012 VA 1-918-707            10/25/2013                 11/12/2012               6/27/2020
  20736606 12900 SW 128th St, Miami, FL 33186                        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-918-707            10/25/2013                 11/15/2012               6/27/2020
  20736616 12900 SW 128th St, Miami, FL 33186                        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-918-707            10/25/2013                 11/15/2012               7/10/2020
  20840798 13800-13830 SW 119th Ave, Miami, FL 33186                 Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-918-707            10/25/2013                  12/3/2012               6/28/2020
  20840799 13800-13830 SW 119th Ave, Miami, FL 33186                 Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-918-707            10/25/2013                  12/3/2012               6/29/2020
  20875775 17725 Foothill Blvd, Fontana, CA 92335                    Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2012 VA 1-918-736            10/25/2013                  12/6/2012                8/9/2020
  20716105 9191 RG Skinner Pky, Jacksonville, FL 32256               Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/16/2012 VA 1-923-318            10/25/2013                 11/16/2012               6/29/2020
  20937220 5750 Stuart Ave, Jacksonville, FL 32254                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/12/2012 VA 1-923-318            10/25/2013                 12/12/2012               6/27/2020
  20517315 1352-1354 Old Chain Bridge Rd, McLean, VA 22101           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/23/2012 VA 1-919-361            10/25/2013                 10/23/2012               7/15/2020

  20403550 7289 Spa Rd, North Charleston, SC 29418                   Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      10/11/2012 VA 1-919-472            10/25/2013                 10/11/2012               6/27/2020

  20841216 7400 Abercorn St, Savannah, GA 31406                      Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       12/3/2012 VA 1-919-472            10/25/2013                  12/3/2012               6/27/2020
  20513808 5001-5081 Florin Perkins Rd, Sacramento, CA 95826         Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2012 VA 1-923-348            10/25/2013                 10/22/2012               6/29/2020
  20513810 5001-5081 Florin Perkins Rd, Sacramento, CA 95826         Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2012 VA 1-923-348            10/25/2013                 10/22/2012               6/26/2020
  20527880 3981 Foothills Blvd, Roseville, CA 95747                  Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2012 VA 1-923-348            10/25/2013                 10/26/2012               6/29/2020
  20595433 6600 Mercy Ct, Fair Oaks, CA 95628                        Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2012 VA 1-923-348            10/25/2013                  11/2/2012                7/9/2020
  20595435 6600 Mercy Ct, Fair Oaks, CA 95628                        Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2012 VA 1-923-348            10/25/2013                  11/2/2012               6/29/2020
  20687624 10971 Sun Center Dr, Rancho Cordova, CA 95670             Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2012 VA 1-923-348            10/25/2013                 11/12/2012               6/27/2020
  20687661 3437 Fitzgerald Rd, Rancho Cordova, CA 95742              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/13/2012 VA 1-923-348            10/25/2013                 11/13/2012                7/7/2020
  20699928 2440 Gold River Rd, Rancho Cordova, CA 95670              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2012 VA 1-923-348            10/25/2013                 11/14/2012               6/29/2020
  20566111 1480 Johnson Dr, Delano, MN 55328                         Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/24/2012 VA 1-918-747            10/25/2013                 10/24/2012                8/9/2020
  20524466 2704 Lawing Ln, Rowlett, TX 75088                         Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/25/2012 VA 1-918-754            10/25/2013                 10/25/2012                7/7/2020
  20637454 7801 Lakeview Pky, Rowlett, TX 75089                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       11/7/2012 VA 1-918-754            10/25/2013                  11/7/2012               2/12/2021
  20675153 7441 Marvin D Love Fwy, Dallas, TX 75237                  Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/12/2012 VA 1-918-754            10/25/2013                 11/12/2012               6/29/2020
  20675161 4647-4687 Mint Way, Dallas, TX 75236                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/12/2012 VA 1-918-754            10/25/2013                 11/12/2012               6/26/2020
  20943716 1400 Hi Line Dr, Dallas, TX 75207                         Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/13/2012 VA 1-918-754            10/25/2013                 12/13/2012               6/29/2020
  20754044 268 US Highway 206 S, Flanders, NJ 07836                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/21/2012 VA 1-918-859            10/25/2013                 11/21/2012               6/27/2020
  20754047 268 US Highway 206 S, Flanders, NJ 07836                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/21/2012 VA 1-918-859            10/25/2013                 11/21/2012               6/25/2020
  20775602 389 Dover Chester Rd, Randolph, NJ 07869                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/21/2012 VA 1-918-859            10/25/2013                 11/21/2012               6/25/2020
  20775608 389 Dover Chester Rd, Randolph, NJ 07869                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/21/2012 VA 1-918-859            10/25/2013                 11/21/2012               6/26/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                      36
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                 Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   20651439 200 Post Ave SW, Winter Haven, FL 33880                  James Petrylka                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/7/2012 VA 1-919-040            10/25/2013                  11/7/2012              6/29/2020
   20651446 200 Post Ave SW, Winter Haven, FL 33880                  James Petrylka                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/7/2012 VA 1-919-040            10/25/2013                  11/7/2012              6/28/2020
   20803120 3123 W Kennedy Blvd, Tampa, FL 33609                     James Petrylka                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/26/2012 VA 1-919-040            10/25/2013                 11/26/2012              6/27/2020
   20803130 3123 W Kennedy Blvd, Tampa, FL 33609                     James Petrylka                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/26/2012 VA 1-919-040            10/25/2013                 11/26/2012              6/28/2020
   20803135 3123 W Kennedy Blvd, Tampa, FL 33609                     James Petrylka                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/26/2012 VA 1-919-040            10/25/2013                 11/26/2012               7/7/2020
   20979810 19201-19225 Orbit Dr, Gaithersburg, MD 20879             Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2012 VA 1-918-963            10/25/2013                 12/18/2012              7/20/2020
   20997926 706 Rockville Pike, Rockville, MD 20852                  Gene Inserto                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2012 VA 1-918-963            10/25/2013                 12/18/2012              7/20/2020
   20431292 1250 W State Road 434, Longwood, FL 32750                Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2012 VA 1-919-443            10/25/2013                 10/15/2012               8/8/2020
   20431301 1250 W State Road 434, Longwood, FL 32750                Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2012 VA 1-919-443            10/25/2013                 10/15/2012               8/8/2020
   20480729 1227-1283 S US Highway 17 92, Longwood, FL 32750         Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/18/2012 VA 1-919-443            10/25/2013                 10/18/2012               7/7/2020
   20524841 815 W State Road 434, Winter Springs, FL 32708           Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/25/2012 VA 1-919-443            10/25/2013                 10/25/2012               7/8/2020
   20648394 4249 LB Mcleod Rd, Orlando, FL 32811                     Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/7/2012 VA 1-919-443            10/25/2013                  11/7/2012               8/9/2020
   20666279 6100 Lake Ellenor Dr, Orlando, FL 32809                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2012 VA 1-919-443            10/25/2013                  11/9/2012              6/26/2020
   20666284 6100 Lake Ellenor Dr, Orlando, FL 32809                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2012 VA 1-919-443            10/25/2013                  11/9/2012              6/29/2020
   20577580 7720 Farley St, Overland Park, KS 66204                  Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2012 VA 1-918-701            10/25/2013                  11/1/2012               7/6/2020
   20577585 7720 Farley St, Overland Park, KS 66204                  Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2012 VA 1-918-701            10/25/2013                  11/1/2012               7/6/2020
   20688392 11900 W 87th Street Pky, Lenexa, KS 66215                Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/13/2012 VA 1-918-701            10/25/2013                 11/13/2012              6/28/2020
   20854226 7601 Metcalf Ave, Overland Park, KS 66204                Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/6/2012 VA 1-918-701            10/25/2013                  11/6/2012              6/29/2020
   20866362 1530 SW Wanamaker Rd, Topeka, KS 66604                   Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/5/2012 VA 1-918-701            10/25/2013                  12/5/2012              6/28/2020
   20350653 230 Peachtree St NW, Atlanta, GA 30303                   Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/4/2012 VA 1-919-020            10/25/2013                  10/4/2012               7/7/2020
   20350669 230 Peachtree St NW, Atlanta, GA 30303                   Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/4/2012 VA 1-919-020            10/25/2013                  10/4/2012              6/25/2020
   20409215 2751 Warm Springs Rd, Columbus, GA 31904                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/12/2012 VA 1-919-020            10/25/2013                 10/12/2012              6/26/2020
   20409224 2751 Warm Springs Rd, Columbus, GA 31904                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/12/2012 VA 1-919-020            10/25/2013                 10/12/2012               7/7/2020
   20409227 1906 Warm Springs Rd, Columbus, GA 31904                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/12/2012 VA 1-919-020            10/25/2013                 10/12/2012              6/28/2020
   20409230 1906 Warm Springs Rd, Columbus, GA 31904                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/12/2012 VA 1-919-020            10/25/2013                 10/12/2012              6/28/2020
   20455342 1921 Whittlesey Rd, Columbus, GA 31904                   Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/17/2012 VA 1-919-020            10/25/2013                 10/17/2012              6/25/2020
   20524978 887 W Marietta St NW, Atlanta, GA 30318                  Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/25/2012 VA 1-919-020            10/25/2013                 10/25/2012              6/28/2020
   20567129 980 Cobb Place Blvd, Kennesaw, GA 30144                  Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/30/2012 VA 1-919-020            10/25/2013                 10/30/2012              6/28/2020
   20591991 8105 Cobb Center Dr, Kennesaw, GA 30152                  Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/1/2012 VA 1-919-020            10/25/2013                  11/1/2012               8/8/2020
   20591993 8105 Cobb Center Dr, Kennesaw, GA 30152                  Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/1/2012 VA 1-919-020            10/25/2013                  11/1/2012              8/12/2020
   20638215 2227 Godby Rd, Atlanta, GA 30349                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/7/2012 VA 1-919-020            10/25/2013                  11/7/2012               7/1/2020
   20700895 1925 Vaughn Rd NW, Kennesaw, GA 30144                    Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/13/2012 VA 1-919-020            10/25/2013                 11/13/2012              6/28/2020
   20700907 1990 Vaughn Rd, Kennesaw, GA 30144                       Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/13/2012 VA 1-919-020            10/25/2013                 11/13/2012              6/26/2020
   20717444 9755 Dogwood Rd, Roswell, GA 30075                       Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/16/2012 VA 1-919-020            10/25/2013                 11/16/2012               7/7/2020
   20929168 1807 Victory Dr, Columbus, GA 31901                      Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/12/2012 VA 1-919-020            10/25/2013                 12/12/2012              6/27/2020
   20929170 1807 Victory Dr, Columbus, GA 31901                      Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/12/2012 VA 1-919-020            10/25/2013                 12/12/2012               7/8/2020
   20929173 1811 Victory Dr, Columbus, GA 31901                      Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/12/2012 VA 1-919-020            10/25/2013                 12/12/2012              6/26/2020
   20525449 160 Baldwin Rd, Hempstead, NY 11550                      Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/25/2012 VA 1-918-870            10/25/2013                 10/25/2012              6/25/2020
   20717641 333 Jericho Tpke, Jericho, NY 11753                      Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/16/2012 VA 1-918-870            10/25/2013                 11/16/2012              6/27/2020
   20593559 2815 Downing St, Denver, CO 80205                        Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2012 VA 1-918-741            10/25/2013                  11/1/2012              7/10/2020
   20676154 2260 S Federal Blvd, Denver, CO 80219                    Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/6/2012 VA 1-918-741            10/25/2013                  11/6/2012              6/28/2020
   20842530 1225 Blue Spruce Dr, Fort Collins, CO 80524              Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/3/2012 VA 1-918-741            10/25/2013                  12/3/2012              6/28/2020
   20765465 10348 Southern Loop Blvd, Pineville, NC 28134            Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2012 VA 1-918-779            10/25/2013                 11/21/2012              4/27/2021
   21021882 4725 Gibbon Rd, Charlotte, NC 28269                      Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/27/2012 VA 1-918-779            10/25/2013                 12/27/2012              6/26/2020
   20676382 1485 Alameda St, Norman, OK 73071                        Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      11/7/2012 VA 1-919-041            10/25/2013                  11/7/2012              7/24/2020
   20776840 1175 State Hwy 19, Chickasha, OK 73018                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960     11/26/2012 VA 1-919-041            10/25/2013                 11/26/2012               7/8/2020
   20776848 1175 State Hwy 19, Chickasha, OK 73018                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960     11/26/2012 VA 1-919-041            10/25/2013                 11/26/2012               7/6/2020
   20776901 520 Pointe Parkway Blvd, Yukon, OK 73099                 Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960     11/21/2012 VA 1-919-041            10/25/2013                 11/21/2012               8/9/2020

  20522172 2000 E Broadway St, West Memphis, AR 72301                Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/24/2012 VA 1-923-621           10/25/2013                 10/24/2012               6/27/2020

  20529648 2039-2063 E Brooks Rd, Memphis, TN 38116                  Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/26/2012 VA 1-923-621           10/25/2013                 10/26/2012               6/29/2020

  20529653 2039-2063 E Brooks Rd, Memphis, TN 38116                  Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/26/2012 VA 1-923-621           10/25/2013                 10/26/2012                7/5/2020

  21021999 2471 Covington Pike, Memphis, TN 38128                    Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/27/2012 VA 1-923-621           10/25/2013                 12/27/2012              10/17/2020
  20444934 706-720 Arrawanna St, Colorado Springs, CO 80909          Stacey Rocero                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/16/2012 VA 1-918-901           10/25/2013                 10/16/2012               6/27/2020
  20944207 1442 Macon St, Aurora, CO 80010                           Stacey Rocero                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/14/2012 VA 1-918-901           10/25/2013                 12/14/2012               7/24/2020
  20944209 1442 Macon St, Aurora, CO 80010                           Stacey Rocero                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/14/2012 VA 1-918-901           10/25/2013                 12/14/2012               7/24/2020
  20717960 14715-14745 Five M Centre Dr, Romulus, MI 48174           Trisha Everitt                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/16/2012 VA 1-919-299           10/25/2013                 11/16/2012               7/27/2020
  20518625 5935 Baum Blvd, Pittsburgh, PA 15206                      Alan Battles                                                                     CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      10/23/2012 VA 1-919-501           10/25/2013                 10/23/2012               8/12/2020
  20666746 2828-2840 Liberty Ave, Pittsburgh, PA 15222               Alan Battles                                                                     CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       11/8/2012 VA 1-919-501           10/25/2013                  11/8/2012                7/9/2020
  20929889 31 Moran Cir, Fairmont, WV 26554                          Alan Battles                                                                     CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      12/11/2012 VA 1-919-501           10/25/2013                 12/11/2012               6/28/2020
  20351383 1260 Sentry Dr, Waukesha, WI 53186                        Timothy Dabbs                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       10/4/2012 VA 1-918-780           10/25/2013                  10/4/2012                8/9/2020
  20465522 4707-4711 W Electric Ave, West Milwaukee, WI 53219        Timothy Dabbs                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/18/2012 VA 1-918-780           10/25/2013                 10/18/2012               6/25/2020
  20525894 201 S Rochester St, Mukwonago, WI 53149                   Timothy Dabbs                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/25/2012 VA 1-918-780           10/25/2013                 10/25/2012               6/28/2020
  20748929 4600 Highway 6 N, Houston, TX 77084                       Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2012 VA 1-918-898           10/25/2013                 11/20/2012               6/27/2020
  20748936 4600 Highway 6 N, Houston, TX 77084                       Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2012 VA 1-918-898           10/25/2013                 11/20/2012               6/28/2020
  20405203 801 Noble St, Anniston, AL 36201                          Laurie Goodwin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2012 VA 1-947-105           10/25/2013                 10/11/2012                7/8/2020
  20568364 1401 Edwards Lake Rd, Birmingham, AL 35235                Laurie Goodwin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2012 VA 1-947-105           10/25/2013                 10/24/2012               7/10/2020
  20568369 1401 Edwards Lake Rd, Birmingham, AL 35235                Laurie Goodwin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2012 VA 1-947-105           10/25/2013                 10/24/2012               6/29/2020
  20656361 202 Challenge Ave, Prattville, AL 36067                   Laurie Goodwin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/8/2012 VA 1-947-105           10/25/2013                  11/8/2012               6/27/2020
  21032066 511 W Fort Williams St, Sylacauga, AL 35150               Laurie Goodwin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/31/2012 VA 1-947-105           10/25/2013                 12/31/2012               6/29/2020
  20598401 110-114 S Fourth Ave, Mount Vernon, NY 10550              Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/31/2012 VA 1-918-987           10/25/2013                 10/31/2012               12/8/2020
  20625757 148 East Ave, Norwalk, CT 06851                           Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       11/6/2012 VA 1-918-987           10/25/2013                  11/6/2012               6/26/2020
  20718140 90 Grove St, Ridgefield, CT 06877                         Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/16/2012 VA 1-918-987           10/25/2013                 11/16/2012               6/29/2020
  20718143 90 Grove St, Ridgefield, CT 06877                         Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/16/2012 VA 1-918-987           10/25/2013                 11/16/2012                7/5/2020
  20843266 558 S Broadway, Yonkers, NY 10705                         Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       12/4/2012 VA 1-918-987           10/25/2013                  12/4/2012               6/29/2020
  20843270 558 S Broadway, Yonkers, NY 10705                         Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       12/4/2012 VA 1-918-987           10/25/2013                  12/4/2012               6/27/2020
  21038597 2505-2541 Main St, Bridgeport, CT 06606                   Deawell Adair                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      12/28/2012 VA 1-918-987           10/25/2013                 12/28/2012                7/7/2020




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 MasterID                              Image Address                           Photographer           Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   21038603 2505-2541 Main St, Bridgeport, CT 06606                     Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/28/2012 VA 1-918-987            10/25/2013                 12/28/2012              6/29/2020

  20639183 6805 Avery-Muirfield Dr, Dublin, OH 43016                    Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/7/2012 VA 1-919-490           10/25/2013                  11/7/2012               6/28/2020
  20330754 847 Edgefield Rd, North Augusta, SC 29841                    Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/2/2012 VA 1-919-461           10/25/2013                  10/2/2012               6/25/2020
  20330759 847 Edgefield Rd, North Augusta, SC 29841                    Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/2/2012 VA 1-919-461           10/25/2013                  10/2/2012               6/25/2020
  20573535 909 Shull St, West Columbia, SC 29169                        Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2012 VA 1-919-461           10/25/2013                 10/31/2012               9/15/2020
  20712366 515 Saluda St, Chester, SC 29706                             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-919-461           10/25/2013                 11/15/2012               6/29/2020
  20712382 515 Saluda St, Chester, SC 29706                             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-919-461           10/25/2013                 11/15/2012               6/29/2020
  20855774 1306 Elmore St, Columbia, SC 29203                           Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2012 VA 1-919-461           10/25/2013                  12/4/2012               6/29/2020
  20855779 1306 Elmore St, Columbia, SC 29203                           Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2012 VA 1-919-461           10/25/2013                  12/4/2012               6/28/2020
  20878095 4290 Belair Frontage Rd, Augusta, GA 30909                   Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2012 VA 1-919-461           10/25/2013                  12/6/2012               10/4/2020
  20410903 1300 Shoreline Dr, Gulf Breeze, FL 32561                     Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2012 VA 1-918-692           10/25/2013                 10/11/2012               6/28/2020

  20573754 6840 Carothers Pky, Franklin, TN 37067                       Andrew Nelson                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/31/2012 VA 1-919-512           10/25/2013                 10/31/2012                7/9/2020
  20526638 8355 E Butherus Dr, Scottsdale, AZ 85260                     Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2012 VA 1-918-885           10/25/2013                 10/24/2012               6/27/2020
  20574095 18699 N 67th Ave, Glendale, AZ 85308                         Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2012 VA 1-918-885           10/25/2013                 10/31/2012               6/27/2020
  20626599 5225 N Central Ave, Phoenix, AZ 85012                        Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/6/2012 VA 1-918-885           10/25/2013                  11/6/2012               6/28/2020
  20702546 4101 W Gibson Ln, Phoenix, AZ 85009                          Ken Wood                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2012 VA 1-918-885           10/25/2013                 11/14/2012                7/6/2020
  20331242 1620 S Gordon St, Alvin, TX 77511                            Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/2/2012 VA 1-918-652           10/25/2013                  10/2/2012               6/29/2020
  20413236 13030 Cullen Blvd, Houston, TX 77047                         Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/12/2012 VA 1-918-652           10/25/2013                 10/12/2012                8/8/2020
  20792313 10448 Westoffice Dr, Houston, TX 77042                       Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/27/2012 VA 1-918-652           10/25/2013                 11/27/2012               6/29/2020
  20805468 9701 Richmond Ave, Houston, TX 77042                         Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2012 VA 1-918-652           10/25/2013                 11/28/2012              10/23/2020
  21000342 6827 La Paseo St, Houston, TX 77087                          Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2012 VA 1-918-652           10/25/2013                 12/20/2012                7/9/2020
  20569416 7709 E 42nd Pl, Tulsa, OK 74145                              Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/25/2012 VA 1-918-641           10/25/2013                 10/25/2012                8/8/2020
  20920787 1545 Pulaski Hwy, Bear, DE 19701                             Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2012 VA 1-918-661           10/25/2013                 12/11/2012               6/29/2020

  20415369 17744 E 9 Mile Rd, Eastpointe, MI 48021                      Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/11/2012 VA 1-918-984           10/25/2013                 10/11/2012               6/25/2020

  20415376 17744 E 9 Mile Rd, Eastpointe, MI 48021                      Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/11/2012 VA 1-918-984           10/25/2013                 10/11/2012               6/29/2020

  20415378 17744 E 9 Mile Rd, Eastpointe, MI 48021                      Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/11/2012 VA 1-918-984           10/25/2013                 10/11/2012               7/10/2020

  20467143 51786 Shelby Pky, Shelby Township, MI 48315                  Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/17/2012 VA 1-918-984           10/25/2013                 10/17/2012               1/27/2021

  20650825 28300 Orchard Lake Rd, Farmington Hills, MI 48334            Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/8/2012 VA 1-918-984           10/25/2013                  11/8/2012               6/27/2020

  20878735 22646 E 9 Mile Rd, Saint Clair Shores, MI 48080              Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/6/2012 VA 1-918-984           10/25/2013                  12/6/2012                7/5/2020

  20976736 23001-23003 Greater Mack Ave, Saint Clair Shores, MI 48080   Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/17/2012 VA 1-918-984           10/25/2013                 12/17/2012               7/14/2020
  20471962 100 N Minor Rd, Kelso, WA 98626                              Taylour White                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/18/2012 VA 1-918-968           10/25/2013                 10/18/2012                7/7/2020
  20317644 1201 New Windsor Rd, Westminster, MD 21158                   Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2012 VA 1-918-623           10/25/2013                  10/1/2012                7/7/2020
  20414818 23151 Moulton Pky, Laguna Hills, CA 92653                    PeriAnn DiRocco                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/10/2012 VA 1-918-552           10/25/2013                 10/10/2012                2/8/2021
  20415471 98 Corporate Park Dr, Henderson, NV 89074                    Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/8/2012 VA 1-918-757           10/25/2013                  10/8/2012               6/26/2020
  20470677 2394 Rex Rd, Ellenwood, GA 30294                             Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/19/2012 VA 1-918-682           10/25/2013                 10/19/2012               7/31/2020
  20470682 2394 Rex Rd, Ellenwood, GA 30294                             Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/19/2012 VA 1-918-682           10/25/2013                 10/19/2012               6/25/2020
  20525607 33 Nagog Park, Acton, MA 01720                               Shelly Bourbeau                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/25/2012 VA 1-918-763           10/25/2013                 10/25/2012               6/26/2020
  20525613 30 Nagog Park, Acton, MA 01720                               Shelly Bourbeau                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/25/2012 VA 1-918-763           10/25/2013                 10/25/2012               7/15/2020
  20525617 30 Nagog Park, Acton, MA 01720                               Shelly Bourbeau                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/25/2012 VA 1-918-763           10/25/2013                 10/25/2012               6/28/2020
  20529408 940 Sherwin Pky, Buford, GA 30518                            Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2012 VA 1-918-682           10/25/2013                 10/26/2012                8/9/2020
  20529417 940 Sherwin Pky, Buford, GA 30518                            Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2012 VA 1-918-682           10/25/2013                 10/26/2012               8/11/2020
  20562369 830 Eagles Landing Pky, Stockbridge, GA 30281                Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/29/2012 VA 1-918-682           10/25/2013                 10/29/2012               6/25/2020
  20563037 15 Bonazzoli Ave, Hudson, MA 01749                           Shelly Bourbeau                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2012 VA 1-918-763           10/25/2013                 10/24/2012                7/6/2020
  20571522 300 Pinnacle Way, Norcross, GA 30071                         Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2012 VA 1-918-682           10/25/2013                 10/31/2012               6/26/2020
  20577638 10171 Stringfellow Rd, Bokeelia, FL 33922                    Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2012 VA 1-925-976           10/25/2013                  11/1/2012                7/7/2020
  20598545 1625-1653 Larkin Williams Rd, Fenton, MO 63026               Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2012 VA 1-918-706           10/25/2013                  11/1/2012                7/2/2020
  20609948 6112 McCart Ave, Fort Worth, TX 76133                        Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/5/2012 VA 1-918-883           10/25/2013                  11/5/2012               10/9/2020
  20612476 3041-3047 Elm Point Industrial Dr, Saint Charles, MO 63301   Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/5/2012 VA 1-918-706           10/25/2013                  11/5/2012               6/26/2020
  20666658 137 Mitchells Chance Rd, Edgewater, MD 21037                 Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/8/2012 VA 1-918-623           10/25/2013                  11/8/2012               7/24/2020
  20712215 2 Willow St, Southborough, MA 01745                          Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2012 VA 1-918-983           10/25/2013                 11/14/2012               6/28/2020
  20713326 3165 N Moapa Valley Blvd, Logandale, NV 89021                Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-918-757           10/25/2013                 11/15/2012               6/27/2020
  20713331 3165 N Moapa Valley Blvd, Logandale, NV 89021                Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2012 VA 1-918-757           10/25/2013                 11/15/2012                7/9/2020
  20713431 1455 E Golf Rd, Des Plaines, IL 60016                        Jacki Shepherd                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/13/2012 VA 1-919-023           10/25/2013                 11/13/2012               6/28/2020
  20713447 520 E Business Center Dr, Mount Prospect, IL 60056           Jacki Shepherd                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2012 VA 1-919-023           10/25/2013                 11/14/2012               5/16/2021
  20713453 900-950 N Business Center Dr, Mount Prospect, IL 60056       Jacki Shepherd                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2012 VA 1-919-023           10/25/2013                 11/14/2012               6/25/2020
  20718273 176 E Main St, Westborough, MA 01581                         Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/16/2012 VA 1-918-983           10/25/2013                 11/16/2012               6/25/2020
  20737368 1000 Bear Creek Blvd, Hampton, GA 30228                      Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/19/2012 VA 1-918-682           10/25/2013                 11/19/2012               7/31/2020
  20747643 601 Silveron Blvd, Flower Mound, TX 75022                    Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2012 VA 1-918-883           10/25/2013                 11/20/2012               3/30/2021
  20822009 5375 Procyon St, Las Vegas, NV 89118                         Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2012 VA 1-918-757           10/25/2013                 11/30/2012              10/28/2020
  20832518 1500 Sycamore Rd, Yorkville, IL 60560                        Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2012 VA 1-919-488           10/25/2013                 11/30/2012                7/5/2020
  20832520 1500 Sycamore Rd, Yorkville, IL 60560                        Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2012 VA 1-919-488           10/25/2013                 11/30/2012               6/25/2020
  20844543 200 N Cherokee Ln, Lodi, CA 95240                            Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-919-510           10/25/2013                  12/3/2012               6/29/2020
  20878756 4755-4767 Procyon St, Las Vegas, NV 89103                    Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-918-757           10/25/2013                  12/3/2012                7/5/2020
  20878766 4755-4767 Procyon St, Las Vegas, NV 89103                    Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2012 VA 1-918-757           10/25/2013                  12/3/2012                7/9/2020
  20898274 5240 Decatur Blvd, Las Vegas, NV 89118                       Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2012 VA 1-918-757           10/25/2013                  12/5/2012               6/28/2020
  20906855 2020 Lawrenceville Suwanee Rd, Lawrenceville, GA 30043       Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2012 VA 1-918-682           10/25/2013                  12/5/2012                7/8/2020
  20906864 2020 Lawrenceville Suwanee Rd, Lawrenceville, GA 30043       Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2012 VA 1-918-682           10/25/2013                  12/5/2012                7/5/2020
  21022024 9030 Red Branch Rd, Columbia, MD 21045                       Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/27/2012 VA 1-918-623           10/25/2013                 12/27/2012               6/29/2020

  21261511 3900 Indian Ripple Rd, Dayton, OH 45440                      Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/25/2013 VA 1-919-932             3/4/2014                  1/25/2013              10/17/2020
  21855043 4221 Ferne Blvd, Drexel Hill, PA 19026                       Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/27/2013 VA 1-918-671             3/4/2014                  3/27/2013                7/3/2020




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   21290775 3300 Academy Ave, Portsmouth, VA 23703                  Randy Rose                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/24/2013 VA 1-920-037               3/4/2014                  1/24/2013                7/5/2020
   21096699 665 Plainfield St, Providence, RI 02909                 Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/9/2013 VA 2-097-093               3/4/2014                   1/9/2013               7/20/2020
   21411346 3769 Old Post Rd, Charlestown, RI 02813                 Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/7/2013 VA 2-097-093               3/4/2014                   2/7/2013               6/27/2020
   21411349 3769 Old Post Rd, Charlestown, RI 02813                 Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/7/2013 VA 2-097-093               3/4/2014                   2/7/2013               6/26/2020
   21805093 30 Riverside Dr, Lakeville, MA 02347                    Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/22/2013 VA 2-097-093               3/4/2014                  3/22/2013               6/26/2020
   21326227 4425 W Riverside Dr, Burbank, CA 91505                  John Ehart                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       2/1/2013 VA 1-918-713               3/4/2014                   2/1/2013               6/27/2020
   21689491 15835 Pomerado Rd, Poway, CA 92064                      Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/6/2013 VA 1-918-724               3/4/2014                   3/6/2013               6/26/2020
   21689493 15835 Pomerado Rd, Poway, CA 92064                      Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       3/6/2013 VA 1-918-724               3/4/2014                   3/6/2013               6/27/2020
   21805407 8941 Complex Dr, San Diego, CA 92123                    Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      3/22/2013 VA 1-918-24                3/4/2014                  3/22/2013               6/25/2020
   21119077 896 E Holt Ave, Pomona, CA 91767                        Mike Bellsmith                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2013 VA 1-918-604               3/4/2014                  1/10/2013               6/27/2020
   21119088 896 E Holt Ave, Pomona, CA 91767                        Mike Bellsmith                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2013 VA 1-918-604               3/4/2014                  1/10/2013               6/27/2020
   21402793 1115 W Prospect Rd, Ashtabula, OH 44004                 Linda Cook                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2013 VA 1-921-315               3/4/2014                   2/7/2013                7/3/2020
   21657498 5 E Ashtabula St, Jefferson, OH 44047                   Linda Cook                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/8/2013 VA 1-921-315               3/4/2014                   3/8/2013               6/27/2020
   21811415 221-241 W 28th St, Hialeah, FL 33010                    Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/22/2013 VA 1-918-755               3/4/2014                  3/22/2013              10/21/2020

  21462567 2475 Northpark Dr, Columbus, IN 47203                    Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/14/2013 VA 1-918-541              3/4/2014                  2/14/2013               7/15/2020

  21462570 2475 Northpark Dr, Columbus, IN 47203                    Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/14/2013 VA 1-918-541              3/4/2014                  2/14/2013               7/15/2020
  21053820 7064 Davis Creek Ct, Jacksonville, FL 32256              Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/4/2013 VA 1-921-304              3/4/2014                   1/4/2013               6/30/2020
  21321624 5495 Fort Caroline Rd, Jacksonville, FL 32277            Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2013 VA 1-921-304              3/4/2014                  1/31/2013               6/28/2020
  21321635 5495 Fort Caroline Rd, Jacksonville, FL 32277            Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2013 VA 1-921-304              3/4/2014                  1/31/2013               6/25/2020
  21373720 6505 Fort Caroline Rd, Jacksonville, FL 32277            Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2013 VA 1-921-304              3/4/2014                   2/5/2013               8/10/2020
  21429809 1803 University Blvd N, Jacksonville, FL 32211           Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2013 VA 1-921-304              3/4/2014                  2/11/2013               7/24/2020
  21429811 1803 University Blvd N, Jacksonville, FL 32211           Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2013 VA 1-921-304              3/4/2014                  2/11/2013               7/24/2020
  21777932 1292 Kifer Rd, Sunnyvale, CA 94086                       Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/19/2013 VA 1-918-739              3/4/2014                  3/19/2013               6/21/2021

  21107873 20 E South St, New Castle, PA 16101                      Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/10/2013 VA 1-919-942              3/4/2014                  1/10/2013               7/19/2020
  21326744 1350 N Buckner Blvd, Dallas, TX 75218                    Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/28/2013 VA 1-950-606              3/4/2014                  1/28/2013               8/10/2020
  21326748 1350 N Buckner Blvd, Dallas, TX 75218                    Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/28/2013 VA 1-950-606              3/4/2014                  1/28/2013                8/9/2020
  21312941 700 Barnsboro Rd, Mullica Hill, NJ 08062                 Jerry Block                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/29/2013 VA 1-918-517              3/4/2014                  1/29/2013               6/28/2020
  21098390 770 S Gene Autry Trl, Palm Springs, CA 92264             Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2013 VA 1-919-959              3/4/2014                   1/9/2013               6/29/2020
  21468675 29910 Murrieta Hot Springs Rd, Murrieta, CA 92563        Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/15/2013 VA 1-919-959              3/4/2014                  2/15/2013               6/26/2020
  21727126 4612-4628 W Market St, Greensboro, NC 27407              Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/14/2013 VA 1-918-664              3/4/2014                  3/14/2013               6/26/2020
  21161263 9851-9875 Widmer Rd, Lenexa, KS 66215                    Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2013 VA 1-950-609              3/4/2014                  1/15/2013               6/29/2020
  21454499 14904 W 119th St, Olathe, KS 66062                       Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2013 VA 1-950-609              3/4/2014                  2/13/2013               6/28/2020
  21132564 17029 Kenton Dr, Cornelius, NC 28031                     Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/12/2013 VA 1-918-731              3/4/2014                  1/12/2013               6/27/2020
  21292892 2401 Distribution St, Charlotte, NC 28203                Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/19/2013 VA 1-918-731              3/4/2014                  1/19/2013               6/25/2020
  21292900 2401 Distribution St, Charlotte, NC 28203                Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/19/2013 VA 1-918-731              3/4/2014                  1/19/2013               6/28/2020
  21538498 2450 Aberdeen Blvd, Gastonia, NC 28054                   Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/23/2013 VA 1-918-731              3/4/2014                  2/23/2013               6/25/2020
  21754208 8675 Concord Mills Blvd, Concord, NC 28027               Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2013 VA 1-918-731              3/4/2014                  3/16/2013                8/9/2020
  21765035 12245 Nations Ford Rd, Pineville, NC 28134               Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/18/2013 VA 1-918-731              3/4/2014                  3/18/2013               6/29/2020
  21820768 4724 Park Rd, Charlotte, NC 28209                        Jill Gilbert                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/22/2013 VA 1-918-731              3/4/2014                  3/22/2013                3/8/2021
  24813038 625 Liberty Ave, Pittsburgh, PA 15222                    Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        3/3/2014 VA 1-918-589              3/4/2014                   3/3/2014               6/28/2020
  24813045 625 Liberty Ave, Pittsburgh, PA 15222                    Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        3/3/2014 VA 1-918-589              3/4/2014                   3/3/2014               6/28/2020
  21055389 40489 Us-280 Hwy, Sylacauga, AL 35150                    Laurie Goodwin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/4/2013 VA 1-918-529              3/4/2014                   1/4/2013                7/7/2020
  21362463 32122 Us Highway 280, Childersburg, AL 35044             Laurie Goodwin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2013 VA 1-918-529              3/4/2014                  1/31/2013               6/25/2020
  21162457 7445 Pine Forest Rd, Pensacola, FL 32526                 Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2013 VA 1-918-781              3/4/2014                  1/15/2013               6/26/2020
  21162460 7445 Pine Forest Rd, Pensacola, FL 32526                 Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2013 VA 1-918-781              3/4/2014                  1/15/2013               6/25/2020
  21409893 898 Centre St, Ridgeland, MS 39157                       Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2013 VA 1-918-781              3/4/2014                   2/7/2013                7/7/2020
  21431976 1101 W Main St, League City, TX 77573                    Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2013 VA 1-918-677              3/4/2014                  2/11/2013               4/27/2021
  21654801 919 Church Rd, Cherry Hill, NJ 08002                     Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/7/2013 VA 1-918-674              3/4/2014                   3/7/2013               4/23/2020
  21863350 107 Delancy Rd, Elkton, MD 21921                         Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2013 VA 1-918-674              3/4/2014                  3/29/2013                7/7/2020
  21863357 107 Delancy Rd, Elkton, MD 21921                         Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2013 VA 1-918-674              3/4/2014                  3/29/2013               6/28/2020
  21882624 3004 S Dupont Hwy, Camden Wyoming, DE 19934              Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2013 VA 1-918-674              3/4/2014                  3/29/2013               8/11/2020
  21662970 2015 Commerce Center Blvd, Fairborn, OH 45324            Robert Clayton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/7/2013 VA 1-918-687              3/4/2014                   3/7/2013               6/25/2020
  21777287 80 Comsewogue Rd, Setauket, NY 11733                     John Ferguson                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/19/2013 VA 1-918-711              3/4/2014                  3/19/2013               6/25/2020
  21777293 80 Comsewogue Rd, Setauket, NY 11733                     John Ferguson                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/19/2013 VA 1-918-711              3/4/2014                  3/19/2013                7/5/2020
  21051480 805 Via Alondra, Camarillo, CA 93012                     Daniel Kanooni                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2013 VA 1-918-768              3/4/2014                   1/2/2013                7/3/2020
  21077284 4585 E Speedway Blvd, Tucson, AZ 85712                   Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2013 VA 1-918-760              3/4/2014                   1/2/2013               6/27/2020
  21077286 4585 E Speedway Blvd, Tucson, AZ 85712                   Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2013 VA 1-918-760              3/4/2014                   1/2/2013               6/26/2020
  21100487 4730 W Post Rd, Las Vegas, NV 89118                      Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2013 VA 1-918-520              3/4/2014                   1/9/2013                8/8/2020
  21111603 943 Jesse Jewell Pky SW, Gainesville, GA 30501           Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2013 VA 1-918-785              3/4/2014                   1/9/2013               6/25/2020
  21121380 3961 E Speedway Blvd, Tucson, AZ 85712                   Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/11/2013 VA 1-918-760              3/4/2014                  1/11/2013               6/25/2020
  21216727 7808 L St, Omaha, NE 68127                               Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/18/2013 VA 1-918-773              3/4/2014                  1/18/2013               6/29/2020
  21216730 7808 L St, Omaha, NE 68127                               Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/18/2013 VA 1-918-773              3/4/2014                  1/18/2013                7/9/2020
  21304646 5138 E Speedway Blvd, Tucson, AZ 85712                   Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/29/2013 VA 1-918-760              3/4/2014                  1/29/2013               8/11/2020
  21313762 237-239 Harbor Way, South San Francisco, CA 94080        Benjamin Garcia                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/29/2013 VA 1-950-608              3/4/2014                  1/29/2013               2/21/2021
  21328387 1849 Bayshore Hwy, Burlingame, CA 94010                  Benjamin Garcia                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/1/2013 VA 1-950-608              3/4/2014                   2/1/2013                7/7/2020
  21328390 1849 Bayshore Hwy, Burlingame, CA 94010                  Benjamin Garcia                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/1/2013 VA 1-950-608              3/4/2014                   2/1/2013               6/28/2020
  21334935 1818 Gilbreth Rd, Burlingame, CA 94010                   Benjamin Garcia                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/1/2013 VA 1-950-608              3/4/2014                   2/1/2013               1/27/2021
  21375220 6202 Orchard Ave, Omaha, NE 68117                        Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2013 VA 1-918-773              3/4/2014                   2/5/2013               6/29/2020
  21401058 2355 N Ferguson Ave, Tucson, AZ 85712                    Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2013 VA 1-918-760              3/4/2014                   2/5/2013              11/14/2020
  21401070 5200 E Farness Dr, Tucson, AZ 85712                      Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/6/2013 VA 1-918-760              3/4/2014                   2/6/2013              11/14/2020
  21401098 5979 E Grant Rd, Tucson, AZ 85712                        Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/6/2013 VA 1-918-760              3/4/2014                   2/6/2013               6/29/2020
  21401102 5979 E Grant Rd, Tucson, AZ 85712                        Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/6/2013 VA 1-918-760              3/4/2014                   2/6/2013               6/26/2020
  21401945 2480 W Horizon Ridge Pky, Henderson, NV 89052            Jennifer Carpenter                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2013 VA 1-918-520              3/4/2014                   2/5/2013               8/10/2020
  21412618 42 Nonset Path, Acton, MA 01720                          Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2013 VA 1-924-428              3/4/2014                   2/8/2013               6/29/2020
  21412619 436 Great Rd, Acton, MA 01720                            Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2013 VA 1-924-428              3/4/2014                   2/8/2013               6/29/2020
  21412624 436 Great Rd, Acton, MA 01720                            Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2013 VA 1-924-428              3/4/2014                   2/8/2013               6/28/2020
  21453527 820 Poinsettia St, Santa Ana, CA 92701                   Bill Helm                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/12/2013 VA 1-918-787              3/4/2014                  2/12/2013               1/18/2021




                          OUTSIDE COUNSEL ONLY                                                                                                                     39
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                     Photographer          Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   21764562 2124 Hilton Dr, Gainesville, GA 30501                   Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/18/2013 VA 1-918-785               3/4/2014                  3/18/2013              11/21/2020
   21764644 2122 Hilton Dr, Gainesville, GA 30501                   Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/18/2013 VA 1-918-785               3/4/2014                  3/18/2013              11/21/2020
   21806525 1620 Satellite Blvd, Duluth, GA 30097                   Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/22/2013 VA 1-918-785               3/4/2014                  3/22/2013               8/11/2020
   21806526 2405 Commerce Ave, Duluth, GA 30096                     Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/22/2013 VA 1-918-785               3/4/2014                  3/22/2013                7/9/2020
   21856132 816 S College Rd, Wilmington, NC 28403                  Nathan Alvey                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/27/2013 VA 1-918-678               3/4/2014                  3/27/2013               6/26/2020
   21871386 7100 Husker Cir, Lincoln, NE 68504                      Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2013 VA 1-918-773               3/4/2014                  3/29/2013               6/29/2020
   21871390 7100 Husker Cir, Lincoln, NE 68504                      Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2013 VA 1-918-773               3/4/2014                  3/29/2013               6/27/2020
   21871872 11 Cambridge St, Burlington, MA 01803                   Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/28/2013 VA 1-924-428               3/4/2014                  3/28/2013               6/28/2020
   21985483 1524 Spring Hill Rd, McLean, VA 22102                   Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/10/2013 VA 1-898-306              3/18/2014                  4/10/2013               6/27/2020
   22344552 4100 Lafayette Center Dr, Chantilly, VA 20151           Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/15/2013 VA 1-898-306              3/18/2014                  5/15/2013                7/6/2020
   22391574 4170 Lafayette Center Dr, Chantilly, VA 20151           Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/15/2013 VA 1-898-306              3/18/2014                  5/15/2013               7/15/2020
   23190978 3516 Plank Rd, Fredericksburg, VA 22407                 Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       8/9/2013 VA 1-898-306              3/18/2014                   8/9/2013               6/29/2020
   23344868 10529-10535 Crestwood Dr, Manassas, VA 20109            Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/26/2013 VA 1-898-306              3/18/2014                  8/26/2013               6/26/2020
   23802114 800 W Broad St, Falls Church, VA 22046                  Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/21/2013 VA 1-898-306              3/18/2014                 10/21/2013               6/27/2020
   24014446 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013                7/8/2020
   24014454 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013                7/6/2020
   24014462 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013               6/26/2020
   24014467 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013                7/5/2020
   24014470 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013                7/7/2020
   24014475 1881 N Nash St, Arlington, VA 22209                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/13/2013 VA 1-898-306              3/18/2014                 11/13/2013                7/6/2020
   24054138 301 Maple Ave W, Vienna, VA 22180                       Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/19/2013 VA 1-898-306              3/18/2014                 11/19/2013                7/7/2020
   24268283 409-411 Chatham Heights Rd, Fredericksburg, VA 22405    Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/18/2013 VA 1-898-306              3/18/2014                 12/18/2013               6/27/2020
   21468559 4 Professional Dr, Gaithersburg, MD 20879               Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2013 VA 1-918-811              3/18/2014                  2/15/2013               6/28/2020
   21594309 11660 Annapolis Rd, Glenn Dale, MD 20769                Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/1/2013 VA 1-918-811              3/18/2014                   3/1/2013               6/25/2020
   21533117 260 SW Maxham Rd, Austell, GA 30168                     Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      2/22/2013 VA 1-918-808              3/18/2014                  2/22/2013               7/20/2020
   21658644 6694 Oak Ridge Commerce Way, Austell, GA 30168          Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       3/8/2013 VA 1-918-808              3/18/2014                   3/8/2013               6/26/2020
   21689156 2115 E Hillsborough Ave, Tampa, FL 33610                Mark Dolan                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/14/2013 VA 1-919-546              3/19/2014                  2/14/2013               6/28/2020
   21513334 509-513 W Union Ave, Bound Brook, NJ 08805              Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/20/2013 VA 1-919-508              3/19/2014                  2/20/2013               6/25/2020
   21053115 7551-7575 W Oakland Park Blvd, Lauderhill, FL 33319     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/4/2013 VA 1-919-118              3/19/2014                   1/4/2013               7/20/2020
   21053127 7551-7575 W Oakland Park Blvd, Lauderhill, FL 33319     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/4/2013 VA 1-919-118              3/19/2014                   1/4/2013               7/20/2020
   21397170 499 E Palmetto Park Rd, Boca Raton, FL 33432            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/5/2013 VA 1-919-118              3/19/2014                   2/5/2013               1/18/2021
   21359254 6800 Bass Lake Rd, Minneapolis, MN 55428                David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       2/4/2013 VA 1-919-119              3/19/2014                   2/4/2013                8/9/2020
   21234686 9555 Folsom Blvd, Sacramento, CA 95827                  Mark McNamara                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/22/2013 VA 1-919-544              3/19/2014                  1/22/2013                7/5/2020
   21636290 2976 Alhambra Dr, Cameron Park, CA 95682                Mark McNamara                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/5/2013 VA 1-919-544              3/19/2014                   3/5/2013                7/9/2020
   21855982 3191 Luyung Dr, Rancho Cordova, CA 95742                Mark McNamara                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/26/2013 VA 1-919-544              3/19/2014                  3/26/2013               6/25/2020
   21855985 3191 Luyung Dr, Rancho Cordova, CA 95742                Mark McNamara                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/26/2013 VA 1-919-544              3/19/2014                  3/26/2013               6/27/2020
   21108328 205 Semoran Blvd, Casselberry, FL 32730                 Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2013 VA 1-919-314              3/19/2014                  1/10/2013               6/25/2020
   21197576 131-157 State Road 436, Fern Park, FL 32730             Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2013 VA 1-919-314              3/19/2014                  1/11/2013               6/25/2020
   21197583 131-157 State Road 436, Fern Park, FL 32730             Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2013 VA 1-919-314              3/19/2014                  1/11/2013               6/27/2020
   21292582 706 Turnbull Ave, Altamonte Springs, FL 32701           Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/28/2013 VA 1-919-314              3/19/2014                  1/28/2013               8/12/2020
   21313003 1101 N Maitland Ave, Maitland, FL 32751                 Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/30/2013 VA 1-919-314              3/19/2014                  1/30/2013                7/7/2020
   21313006 1101 N Maitland Ave, Maitland, FL 32751                 Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/30/2013 VA 1-919-314              3/19/2014                  1/30/2013               6/28/2020
   21398992 160 Candace Dr, Maitland, FL 32751                      Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/6/2013 VA 1-919-314              3/19/2014                   2/6/2013               6/26/2020
   21398995 160 Candace Dr, Maitland, FL 32751                      Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/6/2013 VA 1-919-314              3/19/2014                   2/6/2013               6/29/2020
   21733222 200 S Orange Ave, Orlando, FL 32801                     Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/15/2013 VA 1-919-314              3/19/2014                  3/15/2013               6/29/2020

  21173982 621-623 Old Hickory Blvd, Jackson, TN 38305              Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/16/2013 VA 1-919-540             3/19/2014                  1/16/2013               6/27/2020

  21173983 621-623 Old Hickory Blvd, Jackson, TN 38305              Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/16/2013 VA 1-919-540             3/19/2014                  1/16/2013               6/26/2020

  21173984 621-623 Old Hickory Blvd, Jackson, TN 38305              Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/16/2013 VA 1-919-540             3/19/2014                  1/16/2013               6/29/2020

  21259848 1699-1735 Sycamore View Rd, Memphis, TN 38134            Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/24/2013 VA 1-919-540             3/19/2014                  1/24/2013               7/10/2020

  21409090 783 W Poplar Ave, Collierville, TN 38017                 Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/8/2013 VA 1-919-540             3/19/2014                   2/8/2013               6/28/2020

  21409092 783 W Poplar Ave, Collierville, TN 38017                 Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/8/2013 VA 1-919-540             3/19/2014                   2/8/2013               6/28/2020

  21464189 777 W Poplar Ave, Collierville, TN 38017                 Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/8/2013 VA 1-919-540             3/19/2014                   2/8/2013               6/26/2020
  21431492 115 Hoyt Ave, Mamaroneck, NY 10543                       Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       2/11/2013 VA 1-919-112             3/19/2014                  2/11/2013               6/29/2020
  21606181 6225 E 21st St, Bradenton, FL 34203                      Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/22/2013 VA 1-919-522             3/19/2014                  2/22/2013               6/26/2020
  21692170 24100 Tiseo Blvd, Port Charlotte, FL 33980               Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/11/2013 VA 1-919-522             3/19/2014                  3/11/2013               6/28/2020
  21692171 24100 Tiseo Blvd, Port Charlotte, FL 33980               Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/11/2013 VA 1-919-522             3/19/2014                  3/11/2013                7/9/2020
  21832098 4937 Clark Rd, Sarasota, FL 34233                        Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/25/2013 VA 1-919-522             3/19/2014                  3/25/2013               6/25/2020
  21374119 4707 State Highway 121, The Colony, TX 75056             Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2013 VA 1-921-587             3/24/2014                  1/31/2013               11/9/2020
  21844508 1717 W Euless Blvd, Euless, TX 76040                     Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/26/2013 VA 1-921-587             3/24/2014                  3/26/2013               6/27/2020
  21844514 1717 W Euless Blvd, Euless, TX 76040                     Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/26/2013 VA 1-921-587             3/24/2014                  3/26/2013               6/29/2020
  21271433 11804 Galaxy Dr, Wake Forest, NC 27587                   Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/25/2013 VA 1-919-655             3/25/2014                  1/25/2013               6/26/2020
  21408136 3204 Heritage Trade Dr, Wake Forest, NC 27587            Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/8/2013 VA 1-919-655             3/25/2014                   2/8/2013               8/11/2020
  21408142 3204 Heritage Trade Dr, Wake Forest, NC 27587            Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/8/2013 VA 1-919-655             3/25/2014                   2/8/2013               8/11/2020
  21800047 5731-5737 New Bern Ave, Raleigh, NC 27610                Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/20/2013 VA 1-919-655             3/25/2014                  3/20/2013                7/9/2020
  21107048 2795 Bulverde Rd, Bulverde, TX 78163                     Cindy Kelleher                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2013 VA 1-918-805             6/12/2014                   1/9/2013               6/28/2020
  21064704 5889-5891 W 34th St, Houston, TX 77092                   Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/3/2013 VA 1-918-973             6/25/2014                   1/3/2013               6/26/2020
  21076844 5730 Centralcrest, Houston, TX 77092                     Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2013 VA 1-918-973             6/25/2014                   1/7/2013               6/28/2020
  21293392 13111 Northwest Fwy, Houston, TX 77040                   Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/28/2013 VA 1-918-973             6/25/2014                  1/28/2013                7/6/2020
  21293395 13111 Northwest Fwy, Houston, TX 77040                   Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/28/2013 VA 1-918-973             6/25/2014                  1/28/2013                7/9/2020

  21638239 1272-1296 Delaware Ave, Marion, OH 43302                 Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/5/2013 VA 1-918-930             6/25/2014                   3/5/2013               6/29/2020

  21717460 12565 National Rd, Pataskala, OH 43062                   Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/13/2013 VA 1-918-930             6/25/2014                  3/13/2013               6/27/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                      40
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                          Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  21216273 162 Wentworth St, Charleston, SC 29401                      Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      1/18/2013 VA 1-918-992             6/27/2014                 1/18/2013              6/28/2020

  21234675 4 Gateway Blvd W, Savannah, GA 31419                        Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      1/22/2013 VA 1-918-992             6/27/2014                 1/22/2013              6/27/2020

  21407986 2447 Boundary St, Beaufort, SC 29906                        Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       2/8/2013 VA 1-918-992             6/27/2014                  2/8/2013              6/29/2020

  21690663 3820 Faber Place Dr, North Charleston, SC 29405             Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/11/2013 VA 1-918-992             6/27/2014                 3/11/2013              6/27/2020
  21653446 15530 Farmington Rd, Livonia, MI 48154                      Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/7/2013 VA 1-918-932             6/27/2014                  3/7/2013              6/26/2020
  21866404 33309 7 Mile Rd, Livonia, MI 48152                          Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      3/28/2013 VA 1-918-932             6/27/2014                 3/28/2013              8/11/2020
  21935299 135 W Prospect St, Jackson, MI 49203                        Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/5/2013 VA 1-918-932             6/27/2014                  4/5/2013              6/26/2020
  21313560 7486 Augusta Rd, Piedmont, SC 29673                         William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/30/2013 VA 1-918-954             6/27/2014                 1/30/2013              6/26/2020
  21443614 2006 Perimeter Rd, Greenville, SC 29605                     William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/8/2013 VA 1-918-954             6/27/2014                  2/8/2013              8/10/2020
  21455280 548 S Main St, Rutherfordton, NC 28139                      William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/13/2013 VA 1-918-954             6/27/2014                 2/13/2013               7/5/2020
  21455286 548 S Main St, Rutherfordton, NC 28139                      William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/13/2013 VA 1-918-954             6/27/2014                 2/13/2013              6/28/2020
  21055230 122 Green Bay Rd, Thiensville, WI 53092                     Timothy Dabbs                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/4/2013 VA 1-919-088             6/27/2014                  1/4/2013              6/28/2020
  21055232 122 Green Bay Rd, Thiensville, WI 53092                     Timothy Dabbs                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/4/2013 VA 1-919-088             6/27/2014                  1/4/2013              6/29/2020
  21055628 1414-1442 S 700 W, Salt Lake City, UT 84104                 Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/4/2013 VA 1-919-092             6/27/2014                  1/4/2013              6/27/2020
  21121298 2026 Assembly St, Columbia, SC 29201                        Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/2/2013 VA 1-918-993             6/27/2014                  1/2/2013              7/10/2020
  21132952 1425 Richland St, Columbia, SC 29201                        Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2013 VA 1-918-993             6/27/2014                 1/10/2013              6/26/2020
  21132957 1425 Richland St, Columbia, SC 29201                        Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2013 VA 1-918-993             6/27/2014                 1/10/2013              6/25/2020
  21400960 3730 Executive Center Dr, Augusta, GA 30907                 Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2013 VA 1-918-993             6/27/2014                  2/5/2013               7/7/2020
  21409867 3720 Executive Center Dr, Augusta, GA 30907                 Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/6/2013 VA 1-918-993             6/27/2014                  2/6/2013              6/26/2020
  21638294 7356 Garners Ferry Rd, Columbia, SC 29209                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/5/2013 VA 1-918-993             6/27/2014                  3/5/2013              6/27/2020
  21820978 933 Broad St, Augusta, GA 30901                             Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2013 VA 1-918-993             6/27/2014                 3/21/2013              6/26/2020
  21820987 933 Broad St, Augusta, GA 30901                             Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2013 VA 1-918-993             6/27/2014                 3/21/2013              6/28/2020
  21452346 1325 Chastain Rd, Kennesaw, GA 30144                        Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/14/2013 VA 1-918-997             6/27/2014                 2/14/2013              1/18/2021
  21452418 2800 Canton Rd, Marietta, GA 30066                          Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/14/2013 VA 1-918-997             6/27/2014                 2/14/2013              6/28/2020
  21746075 1273 Central Ave, Albany, NY 12205                          Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      3/13/2013 VA 1-919-073             6/27/2014                 3/13/2013               4/6/2021
  21363183 3500 A Comanche Rd NE, Albuquerque, NM 87110                Scott Kerr                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/24/2013 VA 1-918-956             6/27/2014                 1/24/2013               7/9/2020
  21363187 3500 A Comanche Rd NE, Albuquerque, NM 87110                Scott Kerr                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/24/2013 VA 1-918-956             6/27/2014                 1/24/2013              6/27/2020
  21465870 116 Industrial Ave NE, Albuquerque, NM 87107                Scott Kerr                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/14/2013 VA 1-918-956             6/27/2014                 2/14/2013               7/9/2020
  21465876 116 Industrial Ave NE, Albuquerque, NM 87107                Scott Kerr                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/14/2013 VA 1-918-956             6/27/2014                 2/14/2013               7/9/2020
  21638727 1001 Menaul Blvd, Albuquerque, NM 87107                     Scott Kerr                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/5/2013 VA 1-918-956             6/27/2014                  3/5/2013              6/29/2020
  22284300 5501-5595 NW 72nd Ave, Miami, FL 33166                      Mark Dolan                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/10/2013 VA 1-434-303             7/15/2014                 5/10/2013               7/9/2020
  23165266 16621 Galway Park Rd, Hudson, FL 34667                      Mark Dolan                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/7/2013 VA 1-434-303             7/15/2014                  8/7/2013               7/5/2020
  23849378 1103-1111 E Las Olas Blvd, Fort Lauderdale, FL 33301        Mark Dolan                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/16/2013 VA 1-434-303             7/15/2014                10/16/2013             10/21/2020
  22197707 630 N Michigan Ave, Kenilworth, NJ 07033                    Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/1/2013 VA 1-434-788             7/15/2014                  5/1/2013               7/6/2020
  23404548 59 Highway 516, Old Bridge, NJ 08857                        Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/3/2013 VA 1-434-788             7/15/2014                  9/3/2013               7/7/2020
  23404556 59 Highway 516, Old Bridge, NJ 08857                        Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/3/2013 VA 1-434-788             7/15/2014                  9/3/2013              6/25/2020
  23928793 2635 Highway 138, Wall Township, NJ 07719                   Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/5/2013 VA 1-434-788             7/15/2014                 11/5/2013              6/28/2020
  23976527 1100 Morris Ave, Union, NJ 07083                            Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2013 VA 1-434-788             7/15/2014                11/11/2013              6/29/2020

  23540663 2825 W Thomas Rd, Phoenix, AZ 85017                         Alan Thieroff                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      9/18/2013 VA 1-434-460             7/15/2014                 9/18/2013               7/6/2020
  22617330 10002-10070 NW 46th St, Sunrise, FL 33351                   David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/14/2013 VA 1-434-327             7/15/2014                 6/14/2013              7/12/2020
  23280618 2895 N University Dr, Coral Springs, FL 33065               David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      8/19/2013 VA 1-434-327             7/15/2014                 8/19/2013               7/3/2020
  23529418 1575 Indian River Blvd, Vero Beach, FL 32960                David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/16/2013 VA 1-434-327             7/15/2014                 9/16/2013              7/17/2021
  23813204 2701 W Okeechobee Blvd, West Palm Beach, FL 33409           David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/22/2013 VA 1-434-327             7/15/2014                10/22/2013              6/25/2020
  23813210 2701 W Okeechobee Blvd, West Palm Beach, FL 33409           David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/22/2013 VA 1-434-327             7/15/2014                10/22/2013              6/26/2020
  24171931 4121-4141 NW 5th St, Plantation, FL 33317                   David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/5/2013 VA 1-434-327             7/15/2014                 12/5/2013              6/29/2020
  24204509 2816-2826 SE Monroe St, Stuart, FL 34997                    David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/9/2013 VA 1-434-327             7/15/2014                 12/9/2013              6/27/2020
  21995522 1801 E Willow St, Signal Hill, CA 90755                     Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/10/2013 VA 1-434-227             7/15/2014                 4/10/2013              7/13/2020
  22053214 1889 E Willow St, Signal Hill, CA 90755                     Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/10/2013 VA 1-434-227             7/15/2014                 4/10/2013              7/13/2020
  21973061 1500-1536 N Cedar Crest Blvd, Allentown, PA 18104           Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/9/2013 VA 1-434-293             7/15/2014                  4/9/2013              8/12/2020
  23529493 40 W Germantown Pike, Norristown, PA 19401                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      9/17/2013 VA 1-434-293             7/15/2014                 9/17/2013              6/27/2020
  23835751 1502-1504 Haines Rd, Levittown, PA 19055                    Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/24/2013 VA 1-434-293             7/15/2014                10/24/2013              5/16/2021
  23881189 5110 Campus Dr, Plymouth Meeting, PA 19462                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/30/2013 VA 1-434-293             7/15/2014                10/30/2013               3/8/2021
  23939966 651 Park Ave, King Of Prussia, PA 19406                     Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/6/2013 VA 1-434-293             7/15/2014                 11/6/2013               8/9/2020
  24230278 6139 Ridge Ave, Philadelphia, PA 19128                      Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     12/13/2013 VA 1-434-293             7/15/2014                12/13/2013              6/27/2020
  24230297 6139 Ridge Ave, Philadelphia, PA 19128                      Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     12/13/2013 VA 1-434-293             7/15/2014                12/13/2013              7/10/2020
  21973141 1728 E Little Creek Rd, Norfolk, VA 23518                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2013 VA 1-434-393             7/15/2014                  4/9/2013               7/7/2020
  22123286 11864 Canon Blvd, Newport News, VA 23606                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2013 VA 1-434-393             7/15/2014                 4/24/2013               5/5/2021
  22389102 8716-8762 Landmark Rd, Richmond, VA 23228                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/14/2013 VA 1-434-393             7/15/2014                 5/14/2013               2/6/2021
  22469811 605 N Courthouse Rd, Richmond, VA 23236                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/29/2013 VA 1-434-393             7/15/2014                 5/29/2013              6/27/2020
  22519439 701 N Courthouse Rd, Richmond, VA 23236                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/29/2013 VA 1-434-393             7/15/2014                 5/29/2013              6/29/2020
  22519464 701 N Courthouse Rd, Richmond, VA 23236                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/29/2013 VA 1-434-393             7/15/2014                 5/29/2013              6/27/2020
  22578698 402 Davis St, Virginia Beach, VA 23462                      Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/10/2013 VA 1-434-393             7/15/2014                 6/10/2013              6/26/2020
  22754407 2201 E Parham Rd, Henrico, VA 23228                         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/26/2013 VA 1-434-393             7/15/2014                 6/26/2013               2/6/2021
  22905233 230 Clearfield Ave, Virginia Beach, VA 23462                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/15/2013 VA 1-434-393             7/15/2014                 7/15/2013               7/3/2021
  22905315 236 Clearfield Ave, Virginia Beach, VA 23462                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/15/2013 VA 1-434-393             7/15/2014                 7/15/2013               7/4/2021
  23404618 4227 Charles M Lankford Jr Mem Hwy, Exmore, VA 23350        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/3/2013 VA 1-434-393             7/15/2014                  9/3/2013              6/27/2020
  23404627 4227 Charles M Lankford Jr Mem Hwy, Exmore, VA 23350        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/3/2013 VA 1-434-393             7/15/2014                  9/3/2013               7/8/2020
  23454168 2155 Sussex Dr, Emporia, VA 23847                           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/9/2013 VA 1-434-393             7/15/2014                  9/9/2013              6/26/2020
  23454173 2155 Sussex Dr, Emporia, VA 23847                           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/9/2013 VA 1-434-393             7/15/2014                  9/9/2013              6/28/2020
  23630817 330 Ed Wright Ln, Newport News, VA 23606                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/30/2013 VA 1-434-393             7/15/2014                 9/30/2013              12/1/2020
  23766512 2606-2612 Chamberlayne Ave, Richmond, VA 23222              Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/16/2013 VA 1-434-393             7/15/2014                10/16/2013              6/28/2020
  23766523 2606-2612 Chamberlayne Ave, Richmond, VA 23222              Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/16/2013 VA 1-434-393             7/15/2014                10/16/2013              6/28/2020
  23813401 1725 Laskin Rd, Virginia Beach, VA 23454                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/22/2013 VA 1-434-393             7/15/2014                10/22/2013              6/28/2020
  23835748 4200 Colley Ave, Norfolk, VA 23508                          Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/24/2013 VA 1-434-393             7/15/2014                10/24/2013               7/5/2020
  23835817 4200 Colley Ave, Norfolk, VA 23508                          Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/24/2013 VA 1-434-393             7/15/2014                10/24/2013              6/27/2020




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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   23835830 4200 Colley Ave, Norfolk, VA 23508                         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/24/2013 VA 1-434-393              7/15/2014                 10/24/2013               6/28/2020
   23954502 3914 Jefferson Ave, Newport News, VA 23607                 Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/8/2013 VA 1-434-393              7/15/2014                  11/8/2013               6/27/2020
   24052725 709 England St, Ashland, VA 23005                          Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/19/2013 VA 1-434-393              7/15/2014                 11/19/2013               2/21/2021
   24296465 434 McLaws Cir, Williamsburg, VA 23185                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/24/2013 VA 1-434-393              7/15/2014                 12/24/2013                3/4/2021
   23891834 5891 Cedar Lake Rd, Saint Louis Park, MN 55416             David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     10/31/2013 VA 1-434-308              7/15/2014                 10/31/2013                8/8/2020
   21932949 2222 Rio Grande St, Austin, TX 78705                       Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2013 VA 1-434-792              7/15/2014                   4/4/2013               6/27/2020
   22017358 8920 Business Park Dr, Austin, TX 78759                    Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/12/2013 VA 1-434-792              7/15/2014                  4/12/2013                4/7/2021
   22485666 800 Interchange Blvd, Austin, TX 78721                     Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2013 VA 1-434-792              7/15/2014                  5/30/2013               11/7/2020
   23668448 1920 Sam Bass Rd, Round Rock, TX 78681                     Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2013 VA 1-434-792              7/15/2014                  10/4/2013               6/26/2020
   23928966 9417 Brodie Ln, Austin, TX 78748                           Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/4/2013 VA 1-434-792              7/15/2014                  11/4/2013               6/29/2020
   24230404 10600 N Lamar Blvd, Austin, TX 78753                       Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/12/2013 VA 1-434-792              7/15/2014                 12/12/2013               11/3/2020
   22040220 88 Nutmeg Rd S, South Windsor, CT 06074                    Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/16/2013 VA 1-434-451              7/15/2014                  4/16/2013               8/11/2020
   22278406 585 Nutmeg Rd N, South Windsor, CT 06074                   Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/9/2013 VA 1-434-451              7/15/2014                   5/9/2013               6/29/2020
   22343869 250 Nutmeg Rd S, South Windsor, CT 06074                   Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/15/2013 VA 1-434-451              7/15/2014                  5/15/2013                7/5/2020
   22412655 8 Nutmeg Rd S, South Windsor, CT 06074                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/22/2013 VA 1-434-451              7/15/2014                  5/22/2013               6/29/2020
   22930876 291 Adams St, Manchester, CT 06042                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/18/2013 VA 1-434-451              7/15/2014                  7/18/2013                8/8/2020
   22930878 291 Adams St, Manchester, CT 06042                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/18/2013 VA 1-434-451              7/15/2014                  7/18/2013               8/10/2020
   23725501 1123-1125 New Britain Ave, West Hartford, CT 06110         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/11/2013 VA 1-434-451              7/15/2014                 10/11/2013              10/29/2020
   23870767 75 Charter Oak Ave, Hartford, CT 06106                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/29/2013 VA 1-434-451              7/15/2014                 10/29/2013               6/28/2020
   22208425 1320 Eddie Dowling Hwy, Lincoln, RI 02865                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/2/2013 VA 1-434-268              7/15/2014                   5/2/2013                7/5/2020
   22208434 1320 Eddie Dowling Hwy, Lincoln, RI 02865                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/2/2013 VA 1-434-268              7/15/2014                   5/2/2013               6/27/2020
   22208446 1320 Eddie Dowling Hwy, Lincoln, RI 02865                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/2/2013 VA 1-434-268              7/15/2014                   5/2/2013               6/28/2020
   22208459 1320 Eddie Dowling Hwy, Lincoln, RI 02865                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/2/2013 VA 1-434-268              7/15/2014                   5/2/2013               6/26/2020
   22214070 500 Wood St, Bristol, RI 02809                             Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/3/2013 VA 1-434-268              7/15/2014                   5/3/2013               6/29/2020
   22214076 500 Wood St, Bristol, RI 02809                             Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/3/2013 VA 1-434-268              7/15/2014                   5/3/2013               6/29/2020
   22412859 32-40 Court St, Plymouth, MA 02360                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/21/2013 VA 1-434-268              7/15/2014                  5/21/2013                7/7/2020
   22638284 26 Davis St, Watertown, CT 06779                           Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/17/2013 VA 1-434-268              7/15/2014                  6/17/2013               6/25/2020
   22920644 837 Upper Union St, Franklin, MA 02038                     Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/17/2013 VA 1-434-268              7/15/2014                  7/17/2013               6/29/2020
   23404893 175 Nate Whipple Hwy, Cumberland, RI 02864                 Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       9/3/2013 VA 1-434-268              7/15/2014                   9/3/2013                7/5/2020
   23709567 700-702 Douglas Ave, Providence, RI 02908                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/10/2013 VA 1-434-268              7/15/2014                 10/10/2013               6/26/2020
   23835945 120 Amaral St, East Providence, RI 02915                   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/24/2013 VA 1-434-268              7/15/2014                 10/24/2013               7/10/2020
   23836013 1235 Wampanoag Trl, East Providence, RI 02914              Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/24/2013 VA 1-434-268              7/15/2014                 10/24/2013               6/29/2020
   23858460 1114 Broad St, Central Falls, RI 02863                     Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/28/2013 VA 1-434-268              7/15/2014                 10/28/2013               6/29/2020
   23870861 10 New Rd, Rumford, RI 02916                               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/25/2013 VA 1-434-268              7/15/2014                 10/25/2013                7/5/2020
   23870869 10 New Rd, Rumford, RI 02916                               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/25/2013 VA 1-434-268              7/15/2014                 10/25/2013               6/26/2020
   23870877 10 New Rd, Rumford, RI 02916                               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/25/2013 VA 1-434-268              7/15/2014                 10/25/2013               6/28/2020
   23870883 10 New Rd, Rumford, RI 02916                               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/25/2013 VA 1-434-268              7/15/2014                 10/25/2013               6/29/2020
   23896001 412 County St, New Bedford, MA 02740                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/1/2013 VA 1-434-268              7/15/2014                  11/1/2013               6/29/2020
   23896011 412 County St, New Bedford, MA 02740                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/1/2013 VA 1-434-268              7/15/2014                  11/1/2013               6/27/2020
   23950215 172 William St, New Bedford, MA 02740                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/7/2013 VA 1-434-268              7/15/2014                  11/7/2013               6/27/2020
   23386054 11950-11958 San Vicente Blvd, Los Angeles, CA 90049        John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/30/2013 VA 1-434-272              7/15/2014                  8/30/2013              10/22/2020
   23782149 4150 Riverside Dr, Burbank, CA 91505                       John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/18/2013 VA 1-434-272              7/15/2014                 10/18/2013               6/25/2020
   22729439 8057 Raytheon Rd, San Diego, CA 92111                      Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/25/2013 VA 1-434-290              7/15/2014                  6/25/2013               6/27/2020
   23070128 407 N Twin Oaks Valley Rd, San Marcos, CA 92069            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/29/2013 VA 1-434-290              7/15/2014                  7/29/2013               6/26/2020
   23236598 4167 Avenida De La Plata, Oceanside, CA 92056              Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       8/8/2013 VA 1-434-290              7/15/2014                   8/8/2013               8/11/2020
   23259058 828 N Santa Fe Ave, Vista, CA 92083                        Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/16/2013 VA 1-434-290              7/15/2014                  8/16/2013               6/26/2020
   23259072 828 N Santa Fe Ave, Vista, CA 92083                        Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/16/2013 VA 1-434-290              7/15/2014                  8/16/2013               6/26/2020
   23552157 4328-4346 54th St, San Diego, CA 92115                     Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/19/2013 VA 1-434-290              7/15/2014                  9/19/2013               10/3/2020
   23744320 8053-8059 Broadway, Lemon Grove, CA 91945                  Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/14/2013 VA 1-434-290              7/15/2014                 10/14/2013               10/7/2020
   22069850 3230 Fallow Field Dr, Diamond Bar, CA 91765                Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/19/2013 VA 1-434-279              7/15/2014                  4/19/2013               6/26/2020
   22617789 619 W Las Tunas Dr, San Gabriel, CA 91776                  Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/14/2013 VA 1-434-279              7/15/2014                  6/14/2013              10/24/2020
   23493088 8223 Santa Fe Springs Rd, Whittier, CA 90606               Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2013 VA 1-434-279              7/15/2014                  9/12/2013               5/11/2020
   23777838 17232 Railroad St, City of Industry, CA 91748              Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/17/2013 VA 1-434-279              7/15/2014                 10/17/2013               6/25/2020

  22103148 11700 Commonwealth Dr, Louisville, KY 40299                 Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/22/2013 VA 1-434-321             7/15/2014                  4/22/2013               6/26/2020

  22344129 9400 Williamsburg Plaza, Louisville, KY 40222               Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/15/2013 VA 1-434-321             7/15/2014                  5/15/2013               8/10/2020

  23024089 6985 Dixie Hwy, Louisville, KY 40258                        Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/23/2013 VA 1-434-321             7/15/2014                  7/23/2013               6/25/2020

  23496932 2843 Brownsboro Rd, Louisville, KY 40206                    Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/13/2013 VA 1-434-321             7/15/2014                  9/13/2013               6/27/2020

  23587008 255 S Forbes Rd, Lexington, KY 40504                        Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/24/2013 VA 1-434-321             7/15/2014                  9/24/2013                7/7/2020

  24001171 831 S 1st St, Louisville, KY 40203                          Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/13/2013 VA 1-434-321             7/15/2014                 11/13/2013               6/27/2020
  22330752 4650 W 160th St, Cleveland, OH 44135                        Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2013 VA 1-434-257             7/15/2014                  5/14/2013               6/29/2020
  22360619 7533 Center St, Mentor, OH 44060                            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/17/2013 VA 1-434-257             7/15/2014                  5/17/2013               6/25/2020
  22391185 8755 Munson Rd, Mentor, OH 44060                            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/20/2013 VA 1-434-257             7/15/2014                  5/20/2013                7/9/2020
  22520158 5120-5198 Pearl Rd, Cleveland, OH 44129                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/4/2013 VA 1-434-257             7/15/2014                   6/4/2013               6/29/2020
  22617824 7633-7673 Mentor Ave, Mentor, OH 44060                      Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2013 VA 1-434-257             7/15/2014                  6/14/2013               7/12/2021
  22617827 7633-7673 Mentor Ave, Mentor, OH 44060                      Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2013 VA 1-434-257             7/15/2014                  6/14/2013                7/7/2020
  22755791 9500 Midwest Ave, Garfield Heights, OH 44125                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/28/2013 VA 1-434-257             7/15/2014                  6/28/2013                7/8/2020
  23039656 23800 Commerce Park Rd, Beachwood, OH 44122                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/24/2013 VA 1-434-257             7/15/2014                  7/24/2013                8/7/2020
  23070745 25825 Science Park Dr, Beachwood, OH 44122                  Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/25/2013 VA 1-434-257             7/15/2014                  7/25/2013                7/8/2020
  23098418 2528-2534 Noble Rd, Cleveland Heights, OH 44121             Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2013 VA 1-434-257             7/15/2014                  7/30/2013                7/7/2020
  23098420 2528-2534 Noble Rd, Cleveland Heights, OH 44121             Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2013 VA 1-434-257             7/15/2014                  7/30/2013               6/27/2020
  23801725 32111 Aurora Rd, Solon, OH 44139                            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/21/2013 VA 1-434-257             7/15/2014                 10/21/2013                7/5/2020
  23977227 7510 E Pleasant Valley Rd, Independence, OH 44131           Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2013 VA 1-434-257             7/15/2014                 10/22/2013               2/16/2021
  23977316 5721-5731 Turney Rd, Garfield Heights, OH 44125             Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/11/2013 VA 1-434-257             7/15/2014                 11/11/2013               7/17/2021
  24065992 19201 Villaview Rd, Cleveland, OH 44119                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2013 VA 1-434-257             7/15/2014                 11/20/2013               6/26/2020




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 MasterID                               Image Address                          Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   24065995 19201 Villaview Rd, Cleveland, OH 44119                    Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/20/2013 VA 1-434-257              7/15/2014                 11/20/2013              6/26/2020
   24119721 8616 Garfield Blvd, Cleveland, OH 44125                    Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/26/2013 VA 1-434-257              7/15/2014                 11/26/2013               7/6/2020
   24282457 97 Northfield Rd, Bedford, OH 44146                        Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/20/2013 VA 1-434-257              7/15/2014                 12/20/2013               7/7/2020
   22536362 8890 McDonogh Rd, Owings Mills, MD 21117                   Heather Coburn                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2013 VA 1-434-449              7/15/2014                   5/9/2013               7/9/2020
   22090426 5565 Camp Rd, Hamburg, NY 14075                            Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/20/2013 VA 1-434-441              7/15/2014                  4/20/2013              6/27/2020
   23710770 21 Union Hill Dr, Spencerport, NY 14559                    Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/10/2013 VA 1-434-441              7/15/2014                 10/10/2013              7/31/2020
   23710777 21 Union Hill Dr, Spencerport, NY 14559                    Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/10/2013 VA 1-434-441              7/15/2014                 10/10/2013              7/31/2020
   24119847 420 Hamilton St, Geneva, NY 14456                          Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/26/2013 VA 1-434-441              7/15/2014                 11/26/2013               8/8/2020
   22770744 3031-3057 California Blvd, Napa, CA 94558                  Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448       7/1/2013 VA 1-434-456              7/15/2014                   7/1/2013              4/10/2021
   23497038 383 4th St, Oakland, CA 94607                              Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      9/13/2013 VA 1-434-456              7/15/2014                  9/13/2013              6/26/2020
   23954989 8460 Edgewater Dr, Oakland, CA 94621                       Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      11/8/2013 VA 1-434-456              7/15/2014                  11/8/2013              6/25/2020
   24066130 8371 Central Ave, Newark, CA 94560                         Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448     11/20/2013 VA 1-434-456              7/15/2014                 11/20/2013              6/26/2020
   23263960 2110 N Patterson St, Valdosta, GA 31602                    David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/16/2013 VA 1-434-328              7/15/2014                  8/16/2013              6/29/2020
   23263965 2110 N Patterson St, Valdosta, GA 31602                    David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/16/2013 VA 1-434-328              7/15/2014                  8/16/2013              6/28/2020
   23263969 2110 N Patterson St, Valdosta, GA 31602                    David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/16/2013 VA 1-434-328              7/15/2014                  8/16/2013              6/29/2020
   22103731 9450 NW 58th St, Miami, FL 33178                           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/22/2013 VA 1-434-232              7/15/2014                  4/22/2013              6/27/2020
   22103741 9450 NW 58th St, Miami, FL 33178                           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/22/2013 VA 1-434-232              7/15/2014                  4/22/2013               7/7/2020
   22214569 8131-8139 NW 66th St, Miami, FL 33166                      Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2013 VA 1-434-232              7/15/2014                   5/3/2013              6/26/2020
   23711134 559 NW 28th St, Miami, FL 33127                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/9/2013 VA 1-434-232              7/15/2014                  10/9/2013               7/7/2020
   24084950 177 NE 50th St, Miami, FL 33137                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/22/2013 VA 1-434-232              7/15/2014                 11/22/2013              8/12/2020
   22040726 56492 Twenty Nine Palms Hwy, Yucca Valley, CA 92284        Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/16/2013 VA 1-434-336              7/15/2014                  4/16/2013              6/29/2020
   23929349 9411 Haven Ave, Rancho Cucamonga, CA 91730                 Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2013 VA 1-434-336              7/15/2014                  11/5/2013               7/8/2020

  22028913 1401 N Washington St, Kokomo, IN 46901                      Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/10/2013 VA 1-434-245             7/15/2014                  4/10/2013               6/26/2020

  22028943 121 N Washington St, Kokomo, IN 46901                       Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/11/2013 VA 1-434-245             7/15/2014                  4/11/2013               6/29/2020

  22028947 121 N Washington St, Kokomo, IN 46901                       Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/11/2013 VA 1-434-245             7/15/2014                  4/11/2013               6/27/2020

  22076454 N Davis Rd, Kokomo, IN 46901                                Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/10/2013 VA 1-434-245             7/15/2014                  4/10/2013               6/28/2020

  22756668 941-955 Monument Dr, Lebanon, IN 46052                      Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/18/2013 VA 1-434-245             7/15/2014                  6/18/2013               10/9/2020

  22756801 8071 N Township Line Rd, Indianapolis, IN 46260             Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/25/2013 VA 1-434-245             7/15/2014                  6/25/2013               6/27/2020

  24053896 1250 N Post Rd, Indianapolis, IN 46219                      Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/19/2013 VA 1-434-245             7/15/2014                 11/19/2013               10/4/2020

  24282598 1828 N Illinois St, Indianapolis, IN 46202                  Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/20/2013 VA 1-434-245             7/15/2014                 12/20/2013               7/31/2020
  21985336 11437 Central Pky, Jacksonville, FL 32224                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/10/2013 VA 1-434-258             7/15/2014                  4/10/2013               8/10/2020
  21985354 11437 Central Pky, Jacksonville, FL 32224                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/10/2013 VA 1-434-258             7/15/2014                  4/10/2013               8/11/2020
  22470454 11660 Central Pky, Jacksonville, FL 32224                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/29/2013 VA 1-434-258             7/15/2014                  5/29/2013               6/29/2020
  22531664 9310 S Old Kings Rd, Jacksonville, FL 32257                 Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/5/2013 VA 1-434-258             7/15/2014                   6/5/2013               7/23/2020
  23455743 155 Blanding Blvd, Orange Park, FL 32073                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2013 VA 1-434-258             7/15/2014                   9/9/2013               7/24/2020
  23607890 5907 Roosevelt Blvd, Jacksonville, FL 32244                 Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2013 VA 1-434-258             7/15/2014                  9/25/2013               6/29/2020
  23607896 5907 Roosevelt Blvd, Jacksonville, FL 32244                 Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2013 VA 1-434-258             7/15/2014                  9/25/2013               6/27/2020
  23859452 1852 Sadler Rd, Fernandina Beach, FL 32034                  Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/28/2013 VA 1-434-258             7/15/2014                 10/28/2013               6/26/2020
  23896563 2050 S King Cir, Neptune Beach, FL 32266                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2013 VA 1-434-258             7/15/2014                  11/1/2013               6/26/2020
  23896570 2050 S King Cir, Neptune Beach, FL 32266                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2013 VA 1-434-258             7/15/2014                  11/1/2013               6/28/2020
  24148860 1077 Airport Rd, Jacksonville, FL 32218                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2013 VA 1-434-258             7/15/2014                  12/3/2013               7/24/2020
  24148868 1077 Airport Rd, Jacksonville, FL 32218                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2013 VA 1-434-258             7/15/2014                  12/3/2013               7/24/2020
  21188583 105 Executive Dr, Sterling, VA 20166                        Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/18/2013 VA 1-434-282             7/15/2014                  1/18/2013                7/2/2020
  21467989 2 Cardinal Park Dr, Leesburg, VA 20175                      Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/14/2013 VA 1-434-282             7/15/2014                  2/14/2013               7/27/2020
  22240855 1511 King St, Alexandria, VA 22314                          Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/6/2013 VA 1-434-282             7/15/2014                   5/6/2013               6/26/2020
  23251620 16156 Dahlgren Rd, King George, VA 22485                    Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/15/2013 VA 1-434-282             7/15/2014                  8/15/2013               7/10/2020
  23251624 16156 Dahlgren Rd, King George, VA 22485                    Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/15/2013 VA 1-434-282             7/15/2014                  8/15/2013                7/9/2020

  22041133 5270 International Blvd, North Charleston, SC 29418         Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/16/2013 VA 1-434-421             7/15/2014                  4/16/2013                7/5/2020

  22757622 1039 Lincoln Ave, North Charleston, SC 29405                Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/25/2013 VA 1-434-421             7/15/2014                  6/25/2013               6/29/2020

  23271793 1101 Chatham Pky, Savannah, GA 31408                        Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/14/2013 VA 1-434-421             7/15/2014                  8/14/2013               7/20/2020

  24041371 4268 Ogeechee Rd, Savannah, GA 31405                        Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/14/2013 VA 1-434-421             7/15/2014                 11/14/2013                7/5/2020

  24041407 4268 Ogeechee Rd, Savannah, GA 31405                        Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/14/2013 VA 1-434-421             7/15/2014                 11/14/2013                7/7/2020

  24134683 534 W Bacon St, Pembroke, GA 31321                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       12/2/2013 VA 1-434-421             7/15/2014                  12/2/2013               6/27/2020

  24134689 534 W Bacon St, Pembroke, GA 31321                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       12/2/2013 VA 1-434-421             7/15/2014                  12/2/2013                7/7/2020

  24205935 7445 Cross County Rd, Charleston, SC 29418                  Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       12/5/2013 VA 1-434-421             7/15/2014                  12/5/2013               6/26/2020

  22361296 1701 Henn Pky, Lordstown, OH 44481                          Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/15/2013 VA 1-434-299             7/15/2014                  5/15/2013               6/26/2020

  23071802 1505 Salem Pky, Salem, OH 44460                             Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/27/2013 VA 1-434-299             7/15/2014                  7/27/2013               6/26/2020

  23071804 1505 Salem Pky, Salem, OH 44460                             Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/27/2013 VA 1-434-299             7/15/2014                  7/27/2013               6/26/2020

  23397447 501 Virginia St, Marietta, OH 45750                         Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/28/2013 VA 1-434-299             7/15/2014                  8/28/2013               6/27/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                        43
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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                             Image Address                      Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  23802226 9981 Vail Dr, Twinsburg, OH 44087                       Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404     10/21/2013 VA 1-434-299             7/15/2014                10/21/2013               7/8/2020

  23958876 172 Howe Ave, Cuyahoga Falls, OH 44221                  Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/9/2013 VA 1-434-299             7/15/2014                 11/9/2013              6/28/2020
  22140945 12355 Quicksilver Dr, Rancho Cordova, CA 95742          Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/26/2013 VA 1-434-790             7/15/2014                 4/26/2013              7/10/2020
  22140949 12355 Quicksilver Dr, Rancho Cordova, CA 95742          Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/26/2013 VA 1-434-790             7/15/2014                 4/26/2013               7/6/2020
  22331320 1160 Cirby Way, Roseville, CA 95661                     Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2013 VA 1-434-790             7/15/2014                 5/13/2013              6/26/2020
  22331325 1160 Cirby Way, Roseville, CA 95661                     Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2013 VA 1-434-790             7/15/2014                 5/13/2013              6/29/2020
  22402074 4175 Cincinnati Ave, Rocklin, CA 95765                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/21/2013 VA 1-434-790             7/15/2014                 5/21/2013              6/29/2020
  22413536 2610 Sunset Blvd, Rocklin, CA 95677                     Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/22/2013 VA 1-434-790             7/15/2014                 5/22/2013               7/6/2020
  22470684 3231 Stanford Ranch Rd, Rocklin, CA 95765               Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/29/2013 VA 1-434-790             7/15/2014                 5/29/2013              1/23/2021
  22590476 3129 Penryn Rd, Penryn, CA 95663                        Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/11/2013 VA 1-434-790             7/15/2014                 6/11/2013              6/27/2020
  22622051 13395 New Airport Rd, Auburn, CA 95602                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/11/2013 VA 1-434-790             7/15/2014                 6/11/2013              6/28/2020
  22921669 9152 Kiefer Blvd, Sacramento, CA 95826                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/16/2013 VA 1-434-790             7/15/2014                 7/16/2013              6/28/2020
  22921674 9152 Kiefer Blvd, Sacramento, CA 95826                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/16/2013 VA 1-434-790             7/15/2014                 7/16/2013              6/25/2020
  23187855 10390 Coloma Rd, Rancho Cordova, CA 95670               Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/8/2013 VA 1-434-790             7/15/2014                  8/8/2013              6/29/2020
  23322776 1728 Fruitridge Rd, Sacramento, CA 95822                Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/23/2013 VA 1-434-790             7/15/2014                 8/23/2013              6/26/2020
  23360616 9225-9243 Folsom Blvd, Sacramento, CA 95826             Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/27/2013 VA 1-434-790             7/15/2014                 8/27/2013               7/7/2020
  23516698 2825-2829 Watt Ave, Sacramento, CA 95821                Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/16/2013 VA 1-434-790             7/15/2014                 9/16/2013               7/3/2021
  23542007 2538-2560 Cottage Way, Sacramento, CA 95825             Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/17/2013 VA 1-434-790             7/15/2014                 9/17/2013              6/28/2020
  23712650 4600 Roseville Rd, North Highlands, CA 95660            Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/8/2013 VA 1-434-790             7/15/2014                 10/8/2013              6/26/2020
  23712815 836 57th St, Sacramento, CA 95819                       Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2013 VA 1-434-790             7/15/2014                 10/4/2013              6/27/2020
  23712820 836 57th St, Sacramento, CA 95819                       Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2013 VA 1-434-790             7/15/2014                 10/4/2013              6/27/2020
  23778337 7522-7524 Walnut Dr, Citrus Heights, CA 95610           Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/17/2013 VA 1-434-790             7/15/2014                10/17/2013              6/29/2020
  23778340 7522-7524 Walnut Dr, Citrus Heights, CA 95610           Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/17/2013 VA 1-434-790             7/15/2014                10/17/2013              6/26/2020
  24041428 4987 Golden Foothill Pky, El Dorado Hills, CA 95762     Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/18/2013 VA 1-434-790             7/15/2014                11/18/2013              6/26/2020
  24172819 4380 Auburn Blvd, Sacramento, CA 95841                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/5/2013 VA 1-434-790             7/15/2014                 12/5/2013               7/6/2020
  24294148 1436 Auburn Blvd, Sacramento, CA 95815                  Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/23/2013 VA 1-434-790             7/15/2014                12/23/2013              6/26/2020
  22355777 7600 146th St W, Apple Valley, MN 55124                 Jeff Karels                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      5/16/2013 VA 1-434-359             7/15/2014                 5/16/2013              7/20/2020
  23434437 710 E County Road 75, Saint Joseph, MN 56374            Jeff Karels                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/6/2013 VA 1-434-359             7/15/2014                  9/6/2013              8/11/2020
  23434446 710 E County Road 75, Saint Joseph, MN 56374            Jeff Karels                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/6/2013 VA 1-434-359             7/15/2014                  9/6/2013              8/11/2020
  21918348 1800-1826 Garner Station Blvd, Raleigh, NC 27603        Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/3/2013 VA 1-434-269             7/15/2014                  4/3/2013              6/25/2020
  21918357 1800-1826 Garner Station Blvd, Raleigh, NC 27603        Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/3/2013 VA 1-434-269             7/15/2014                  4/3/2013              6/28/2020
  22173241 8101 Brier Creek Pky, Raleigh, NC 27617                 Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/26/2013 VA 1-434-269             7/15/2014                 4/26/2013              8/11/2020
  22377407 2809 E Millbrook Rd, Raleigh, NC 27604                  Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/15/2013 VA 1-434-269             7/15/2014                 5/15/2013              6/25/2020
  22377410 2809 E Millbrook Rd, Raleigh, NC 27604                  Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/15/2013 VA 1-434-269             7/15/2014                 5/15/2013              6/25/2020
  22377414 2809 E Millbrook Rd, Raleigh, NC 27604                  Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/15/2013 VA 1-434-269             7/15/2014                 5/15/2013              6/26/2020
  22601749 424 E Six Forks Rd, Raleigh, NC 27609                   Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/12/2013 VA 1-434-269             7/15/2014                 6/12/2013              6/27/2020
  22618130 4006 Barrett Dr, Raleigh, NC 27609                      Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/14/2013 VA 1-434-269             7/15/2014                 6/14/2013               8/8/2020
  22933114 1200 SE Maynard Rd, Cary, NC 27511                      Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/18/2013 VA 1-434-269             7/15/2014                 7/18/2013              7/24/2020
  23713094 950 W Market St, Smithfield, NC 27577                   Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/7/2013 VA 1-434-269             7/15/2014                 10/7/2013              6/28/2020
  23767492 202-204 N Arendell Ave, Zebulon, NC 27597               Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/16/2013 VA 1-434-269             7/15/2014                10/16/2013               7/8/2020
  23767498 202-204 N Arendell Ave, Zebulon, NC 27597               Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/16/2013 VA 1-434-269             7/15/2014                10/16/2013              6/29/2020
  24002112 400 W Franklin St, Chapel Hill, NC 27516                Lawrence Hiatt                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/13/2013 VA 1-434-269             7/15/2014                11/13/2013              6/28/2020
  21996968 1712 E Belt Line Rd, Carrollton, TX 75006               Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/11/2013 VA 1-434-332             7/15/2014                 4/11/2013              6/27/2020
  22029400 2001 E Belt Line Rd, Carrollton, TX 75006               Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/15/2013 VA 1-434-332             7/15/2014                 4/15/2013               7/7/2020
  22104331 220 E Danieldale Rd, DeSoto, TX 75115                   Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/22/2013 VA 1-434-332             7/15/2014                 4/22/2013               7/9/2020
  22758845 15301-15323 Midway Rd, Addison, TX 75001                Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      6/27/2013 VA 1-434-332             7/15/2014                 6/27/2013              6/28/2020
  22758851 15301-15323 Midway Rd, Addison, TX 75001                Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      6/27/2013 VA 1-434-332             7/15/2014                 6/27/2013               7/7/2020
  23307358 1204 W Griffin St, Dallas, TX 75215                     Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/21/2013 VA 1-434-332             7/15/2014                 8/21/2013              7/15/2020
  23345142 2721-2725 Logan St, Dallas, TX 75215                    Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/26/2013 VA 1-434-332             7/15/2014                 8/26/2013              6/27/2020
  23837027 1775 Hurd Dr, Irving, TX 75038                          Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     10/24/2013 VA 1-434-332             7/15/2014                10/24/2013             10/17/2020
  23929633 5010 Wesley St, Greenville, TX 75402                    Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     10/25/2013 VA 1-434-332             7/15/2014                10/25/2013              8/11/2020
  23950973 420-432 N US 67 Hwy, Cedar Hill, TX 75104               Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/7/2013 VA 1-434-332             7/15/2014                 11/7/2013              6/25/2020
  24054507 909 N Bowser Rd, Richardson, TX 75081                   Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/19/2013 VA 1-434-332             7/15/2014                11/19/2013              6/26/2020
  24302798 6500 Greenville Ave, Dallas, TX 75206                   Darrell Shultz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     12/24/2013 VA 1-434-332             7/15/2014                12/24/2013              6/28/2020
  23955679 510-516 Valley Rd, Montclair, NJ 07043                  John Georgiadis                                                              CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/8/2013 VA 1-434-244             7/15/2014                 11/8/2013              6/25/2020
  24149529 484 Schooleys Mountain Rd, Hackettstown, NJ 07840       John Georgiadis                                                              CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      12/3/2013 VA 1-434-244             7/15/2014                 12/3/2013               8/9/2020
  22141349 5200-5225 Region Ct, Lakeland, FL 33815                 James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2013 VA 1-434-461             7/15/2014                 4/24/2013             10/14/2020
  23040900 33286 US Highway 19 N, Palm Harbor, FL 34684            James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/24/2013 VA 1-434-461             7/15/2014                 7/24/2013              6/28/2020
  23393103 9700-9790 16th St N, Saint Petersburg, FL 33716         James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/29/2013 VA 1-434-461             7/15/2014                 8/29/2013              6/28/2020
  23636876 1601-1651 Commerce Ave N, Saint Petersburg, FL 33716    James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/19/2013 VA 1-434-461             7/15/2014                 9/19/2013               8/7/2020
  23955695 1499 Gulf to Bay Blvd, Clearwater, FL 33755             James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/6/2013 VA 1-434-461             7/15/2014                 11/6/2013              6/25/2020
  23955762 8801 4th St N, Saint Petersburg, FL 33702               James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/8/2013 VA 1-434-461             7/15/2014                 11/8/2013              6/27/2020
  23990005 4218 Gall Blvd, Zephyrhills, FL 33542                   James Petrylka                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2013 VA 1-434-461             7/15/2014                11/11/2013               7/3/2020
  22392003 7201 Old Alexandria Ferry Rd, Clinton, MD 20735         Gene Inserto                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/20/2013 VA 1-434-343             7/15/2014                 5/20/2013              2/12/2021
  23802713 6290 Montrose Rd, Rockville, MD 20852                   Gene Inserto                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/21/2013 VA 1-434-343             7/15/2014                10/21/2013              7/18/2020
  24268749 847 Quince Orchard Blvd, Gaithersburg, MD 20878         Gene Inserto                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/18/2013 VA 1-434-343             7/15/2014                12/18/2013              7/20/2020
  24268751 849 Quince Orchard Blvd, Gaithersburg, MD 20878         Gene Inserto                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/18/2013 VA 1-434-343             7/15/2014                12/18/2013              7/20/2020
  24268763 847 Quince Orchard Blvd, Gaithersburg, MD 20878         Gene Inserto                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/18/2013 VA 1-434-343             7/15/2014                12/18/2013              7/18/2020
  24217379 441 N 5th St, Philadelphia, PA 19123                    Jerry Block                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     12/11/2013 VA 1-434-254             7/15/2014                12/11/2013              6/26/2020
  22934007 388 Smith St, Perth Amboy, NJ 08861                     Steve Cuttler                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      7/15/2013 VA 1-434-372             7/15/2014                 7/15/2013              7/17/2020
  23850308 1084 Lee Rd, Orlando, FL 32810                          Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/24/2013 VA 1-434-378             7/15/2014                10/24/2013              6/29/2020
  23893309 6814 SE Maricamp Rd, Ocala, FL 34472                    Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/29/2013 VA 1-434-378             7/15/2014                10/29/2013              6/26/2020
  23893345 122-124 S Amelia Ave, Deland, FL 32724                  Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/31/2013 VA 1-434-378             7/15/2014                10/31/2013               7/6/2020
  24320279 6965 Piazza Grande Ave, Orlando, FL 32835               Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/23/2013 VA 1-434-378             7/15/2014                12/23/2013              7/14/2020
  24320282 6965 Piazza Grande Ave, Orlando, FL 32835               Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/23/2013 VA 1-434-378             7/15/2014                12/23/2013              7/14/2020
  24320287 6965 Piazza Grande Ave, Orlando, FL 32835               Robert Dallas                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/31/2013 VA 1-434-378             7/15/2014                12/31/2013              7/14/2020
  22065614 1709-1711 W Florida Ave, Hemet, CA 92545                Nick Del Cioppo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/18/2013 VA 1-434-289             7/15/2014                 4/18/2013              6/26/2020
  23323238 43920 Margarita Rd, Temecula, CA 92592                  Nick Del Cioppo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/23/2013 VA 1-434-289             7/15/2014                 8/23/2013               1/7/2021




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   23470417 1485 Spruce St, Riverside, CA 92507                       Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/10/2013 VA 1-434-289              7/15/2014                  9/10/2013               6/27/2020
   23494148 119 N Indian Canyon Dr, Palm Springs, CA 92262            Nick Del Cioppo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2013 VA 1-434-289              7/15/2014                  9/12/2013               6/28/2020
   13163728 600 Florida St, Charleston, WV 25302                      Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/3/2010 VA 1-434-30               7/15/2014                   5/3/2010               8/11/2020
   22229173 211 W Lexington Ave, High Point, NC 27262                 Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/3/2013 VA 1-434-310              7/15/2014                   5/3/2013               10/3/2020
   23188500 3716 Maccorkle Ave SE, Charleston, WV 25304               Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/7/2013 VA 1-434-310              7/15/2014                   8/7/2013               6/28/2020
   23191424 9 Pennsylvania Ave, Charleston, WV 25302                  Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/9/2013 VA 1-434-310              7/15/2014                   8/9/2013               6/26/2020
   23307945 3126 7th Ave, Charleston, WV 25387                        Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/8/2013 VA 1-434-310              7/15/2014                   8/8/2013               6/29/2020
   23307950 3126 7th Ave, Charleston, WV 25387                        Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/8/2013 VA 1-434-310              7/15/2014                   8/8/2013               6/29/2020
   23494185 1024 Porter St, High Point, NC 27263                      Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/12/2013 VA 1-434-310              7/15/2014                  9/12/2013                8/9/2020
   24217833 2300 W Meadowview Rd, Greensboro, NC 27407                Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/11/2013 VA 1-434-310              7/15/2014                 12/11/2013               6/25/2020
   24217841 5 Centerview Dr, Greensboro, NC 27407                     Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/11/2013 VA 1-434-310              7/15/2014                 12/11/2013                7/5/2020
   24217843 2302 W Meadowview Rd, Greensboro, NC 27407                Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/11/2013 VA 1-434-310              7/15/2014                 12/11/2013                7/5/2020
   24217852 2211 W Meadowview Rd, Greensboro, NC 27407                Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/11/2013 VA 1-434-310              7/15/2014                 12/11/2013               6/27/2020
   24217863 2303 W Meadowview Rd, Greensboro, NC 27407                Charlotte Alvey                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/11/2013 VA 1-434-310              7/15/2014                 12/11/2013               6/26/2020
   22030225 10880 Benson Dr, Overland Park, KS 66210                  Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/15/2013 VA 1-434-224              7/15/2014                  4/15/2013               6/26/2020
   22030229 10880 Benson Dr, Overland Park, KS 66210                  Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/15/2013 VA 1-434-224              7/15/2014                  4/15/2013                7/7/2020
   23007869 16175 W 135th St, Olathe, KS 66062                        Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2013 VA 1-434-224              7/15/2014                  7/17/2013                8/7/2020
   23238306 1151 N 126th St, Kansas City, KS 66109                    Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/13/2013 VA 1-434-224              7/15/2014                  8/13/2013              11/28/2020
   23779325 13911 Century Ln, Grandview, MO 64030                     Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/17/2013 VA 1-434-224              7/15/2014                 10/17/2013                8/7/2020
   23779332 13911 Century Ln, Grandview, MO 64030                     Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/17/2013 VA 1-434-224              7/15/2014                 10/17/2013                8/7/2020
   24173759 6609 N Oak Tfwy, Gladstone, MO 64118                      Brooke Wasson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/3/2013 VA 1-434-224              7/15/2014                  12/3/2013              10/12/2020
   22309188 399 Edgewood Ave, Atlanta, GA 30312                       Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/10/2013 VA 1-434-417              7/15/2014                  5/10/2013                7/7/2020
   22488724 1445-1469 Trae Ln, Lithia Springs, GA 30122               Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/30/2013 VA 1-434-417              7/15/2014                  5/30/2013                8/9/2020
   22488726 1445-1469 Trae Ln, Lithia Springs, GA 30122               Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/30/2013 VA 1-434-417              7/15/2014                  5/30/2013               8/10/2020
   22613196 4405 N Stadium Dr, Columbus, GA 31909                     Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/13/2013 VA 1-434-417              7/15/2014                  6/13/2013               6/27/2020
   22613210 4405 N Stadium Dr, Columbus, GA 31909                     Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/13/2013 VA 1-434-417              7/15/2014                  6/13/2013               6/28/2020
   22761748 2228 Highway 54, Peachtree City, GA 30269                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/24/2013 VA 1-434-417              7/15/2014                  6/24/2013               6/25/2020
   22846878 108 Bascom Ct, Columbus, GA 31909                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/13/2013 VA 1-434-417              7/15/2014                  6/13/2013               6/25/2020
   22866582 4702-4718 Hamilton Rd, Columbus, GA 31904                 Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/11/2013 VA 1-434-417              7/15/2014                  7/11/2013               6/25/2020
   22938747 4480 N Cooper Lake Rd, Smyrna, GA 30082                   Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/19/2013 VA 1-434-417              7/15/2014                  7/19/2013                3/4/2021
   23203460 3515 Dallas Hwy, Marietta, GA 30064                       Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/9/2013 VA 1-434-417              7/15/2014                   8/9/2013               2/21/2021
   23494192 5710 Veterans Pky, Columbus, GA 31904                     Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/12/2013 VA 1-434-417              7/15/2014                  9/12/2013               6/27/2020
   23494195 5710 Veterans Pky, Columbus, GA 31904                     Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/12/2013 VA 1-434-417              7/15/2014                  9/12/2013               7/10/2020
   23908857 6060 Lake Acworth Dr, Acworth, GA 30101                   Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2013 VA 1-434-417              7/15/2014                 10/31/2013                7/7/2020
   23978304 2200 Hamilton Rd, Columbus, GA 31904                      Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/11/2013 VA 1-434-417              7/15/2014                 11/11/2013                7/9/2020
   23978361 2131 Comer Ave, Columbus, GA 31904                        Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/11/2013 VA 1-434-417              7/15/2014                 11/11/2013               6/28/2020
   23978368 2131 Comer Ave, Columbus, GA 31904                        Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/11/2013 VA 1-434-417              7/15/2014                 11/11/2013               6/25/2020
   24015311 2001 Hamilton Rd, Columbus, GA 31904                      Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013                7/1/2020
   24015325 705 17th St, Columbus, GA 31901                           Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               7/10/2020
   24015337 2000 10th Ave, Columbus, GA 31901                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013                7/9/2020
   24015343 1900 10th Ave, Columbus, GA 31901                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015359 2022 10th Ave, Columbus, GA 31901                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015363 2000 10th Ave, Columbus, GA 31901                         Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015371 500 18th St, Columbus, GA 31901                           Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015381 500 18th St, Columbus, GA 31901                           Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015384 633 19th St, Columbus, GA 31904                           Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/29/2020
   24015385 633 19th St, Columbus, GA 31904                           Isaiah Buchanan                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/14/2013 VA 1-434-417              7/15/2014                 11/14/2013               6/28/2020
   23319722 55 Inip Dr, Inwood, NY 11096                              Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/22/2013 VA 1-434-250              7/15/2014                  8/22/2013                7/7/2020
   24054867 14 Hewlett Ave, East Patchogue, NY 11772                  Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/19/2013 VA 1-434-250              7/15/2014                 11/19/2013               6/28/2020
   24135493 6 S Jersey Ave, Setauket, NY 11733                        Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/26/2013 VA 1-434-250              7/15/2014                 11/26/2013                7/5/2020
   24218096 4 Henry St, Commack, NY 11725                             Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/11/2013 VA 1-434-250              7/15/2014                 12/11/2013               6/26/2020
   22460775 113-115 Mohawk Ave, Schenectady, NY 12302                 Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/23/2013 VA 1-434-383              7/15/2014                  5/23/2013               7/10/2020
   22460779 113-115 Mohawk Ave, Schenectady, NY 12302                 Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/23/2013 VA 1-434-383              7/15/2014                  5/23/2013               6/26/2020
   23779629 2-8 W Main St, Little Falls, NY 13365                     Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/17/2013 VA 1-434-383              7/15/2014                 10/17/2013               6/25/2020
   23779638 2-8 W Main St, Little Falls, NY 13365                     Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/17/2013 VA 1-434-383              7/15/2014                 10/17/2013                7/5/2020
   21964754 10161-10187 Hull St, Midlothian, VA 23112                 Larry Pemberton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/9/2013 VA 1-434-367              7/15/2014                   4/9/2013                7/7/2020
   22196167 7610 Left Flank Rd, Mechanicsville, VA 23116              Larry Pemberton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/1/2013 VA 1-434-367              7/15/2014                   5/1/2013               6/27/2020
   22196171 7610 Left Flank Rd, Mechanicsville, VA 23116              Larry Pemberton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/1/2013 VA 1-434-367              7/15/2014                   5/1/2013               6/29/2020
   23456809 1309 E Cary St, Richmond, VA 23219                        Larry Pemberton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       9/9/2013 VA 1-434-367              7/15/2014                   9/9/2013                7/3/2020
   24077616 8860 Smithfield Apartment Ln, Smithfield, VA 23430        Larry Pemberton                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/22/2013 VA 1-434-367              7/15/2014                 11/22/2013               6/28/2020
   22229274 860 Tabor St, Lakewood, CO 80401                          Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       5/3/2013 VA 1-434-366              7/15/2014                   5/3/2013                8/9/2020
   22345638 6240-6340 W 54th Ave, Arvada, CO 80002                    Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      5/15/2013 VA 1-434-366              7/15/2014                  5/15/2013               8/12/2020
   22415004 3885-3895 Upham St, Wheat Ridge, CO 80033                 Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      5/22/2013 VA 1-434-366              7/15/2014                  5/22/2013               6/26/2020
   23435013 5909-5915 Broadway St, Denver, CO 80216                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       9/6/2013 VA 1-434-366              7/15/2014                   9/6/2013                8/8/2020
   23897461 9137 E Mineral Cir, Englewood, CO 80112                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2013 VA 1-434-366              7/15/2014                  11/1/2013                7/5/2020
   23897505 9137 E Mineral Cir, Englewood, CO 80112                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2013 VA 1-434-366              7/15/2014                  11/1/2013               6/27/2020
   23897540 9137 E Mineral Cir, Englewood, CO 80112                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2013 VA 1-434-366              7/15/2014                  11/1/2013               6/27/2020
   24135859 931 W 5th Ave, Denver, CO 80204                           Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     11/26/2013 VA 1-434-366              7/15/2014                 11/26/2013                7/5/2020
   22091428 3125 Horseshoe Ln, Charlotte, NC 28208                    Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/17/2013 VA 1-434-271              7/15/2014                  4/17/2013                7/8/2020
   22806279 125-141 Scaleybark Rd, Charlotte, NC 28209                Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/3/2013 VA 1-434-271              7/15/2014                   7/3/2013               8/11/2020
   23497968 516-524 S Cannon Blvd, Kannapolis, NC 28083               Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2013 VA 1-434-271              7/15/2014                  9/12/2013               6/28/2020
   22254469 606 W Main St, Waupun, WI 53963                           Robert Kjendlie                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/7/2013 VA 1-434-373              7/15/2014                   5/7/2013               6/27/2020
   22210518 1536 S Midwest Blvd, Oklahoma City, OK 73110              Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960       5/2/2013 VA 1-434-262              7/15/2014                   5/2/2013               6/26/2020
   23346789 2815 N May Ave, Oklahoma City, OK 73107                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      8/22/2013 VA 1-434-262              7/15/2014                  8/22/2013               6/26/2020
   23718073 414 W Ash St, Yukon, OK 73099                             Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      10/7/2013 VA 1-434-262              7/15/2014                  10/7/2013                7/6/2020
   24015720 1906-1908 SW Lee Blvd, Lawton, OK 73501                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960     11/14/2013 VA 1-434-262              7/15/2014                 11/14/2013                7/9/2020
   24187661 2520 NW 39th St, Oklahoma City, OK 73112                  Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      12/4/2013 VA 1-434-262              7/15/2014                  12/4/2013               6/29/2020

  22425925 6050 Airline Rd, Arlington, TN 38002                       Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/23/2013 VA 1-436-850             7/15/2014                  5/23/2013                7/9/2020




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 MasterID                               Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  22425934 6050 Airline Rd, Arlington, TN 38002                        Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/23/2013 VA 1-436-850             7/15/2014                 5/23/2013              6/25/2020

  22602864 3527-3539 Lamar Ave, Memphis, TN 38118                      Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      6/12/2013 VA 1-436-850             7/15/2014                 6/12/2013               7/9/2020

  22670535 8134 Country Village Dr, Cordova, TN 38016                  Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      6/19/2013 VA 1-436-850             7/15/2014                 6/19/2013              6/29/2020

  22686829 1801 Shelby Oaks Dr N, Memphis, TN 38134                    Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      6/21/2013 VA 1-436-850             7/15/2014                 6/21/2013              6/27/2020

  22855087 6412 Summer Ave, Memphis, TN 38134                          Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/10/2013 VA 1-436-850             7/15/2014                 7/10/2013              6/28/2020

  22855091 6412 Summer Ave, Memphis, TN 38134                          Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/10/2013 VA 1-436-850             7/15/2014                 7/10/2013              6/27/2020

  22866940 71 Peyton Pky, Collierville, TN 38017                       Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/11/2013 VA 1-436-850             7/15/2014                 7/11/2013             10/23/2020

  22866945 1166 Houston Levee Rd, Cordova, TN 38018                    Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/11/2013 VA 1-436-850             7/15/2014                 7/11/2013              11/2/2020

  23553441 621-623 Old Hickory Blvd, Jackson, TN 38305                 Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      9/19/2013 VA 1-436-850             7/15/2014                 9/19/2013              6/27/2020

  23553446 621-623 Old Hickory Blvd, Jackson, TN 38305                 Mary Drost                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      9/19/2013 VA 1-436-850             7/15/2014                 9/19/2013              6/26/2020
  22618896 2495 S Delaware St, Denver, CO 80223                        Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/13/2013 VA 1-434-420             7/15/2014                 6/13/2013               7/6/2020
  23599381 1825 W Caspian Pl, Englewood, CO 80110                      Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/25/2013 VA 1-434-420             7/15/2014                 9/25/2013              6/27/2020
  23745936 5690 County Line Pl, Highlands Ranch, CO 80126              Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/14/2013 VA 1-434-420             7/15/2014                10/14/2013               7/7/2020
  23803499 8120 S Holly St, Centennial, CO 80122                       Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/21/2013 VA 1-434-420             7/15/2014                10/21/2013               7/9/2020
  23897506 2101 E Arapahoe Rd, Centennial, CO 80122                    Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/30/2013 VA 1-434-420             7/15/2014                10/30/2013              6/27/2020
  23897526 2101 E Arapahoe Rd, Centennial, CO 80122                    Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/30/2013 VA 1-434-420             7/15/2014                10/30/2013               7/9/2020
  24042706 11925-11945 E 49th Ave, Denver, CO 80239                    Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/18/2013 VA 1-434-420             7/15/2014                11/18/2013              6/29/2020
  24077730 1 Broadway, Denver, CO 80203                                Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/21/2013 VA 1-434-420             7/15/2014                11/21/2013              7/24/2020
  24262058 495 W Cedar Ave, Denver, CO 80223                           Stacey Rocero                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/4/2013 VA 1-434-420             7/15/2014                 12/4/2013               7/8/2020
  21935293 135 W Prospect St, Jackson, MI 49203                        Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/5/2013 VA 1-434-406             7/15/2014                  4/5/2013               7/9/2020
  22303628 3366 Remy Dr, Lansing, MI 48906                             Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/6/2013 VA 1-434-406             7/15/2014                  5/6/2013              6/25/2020
  22543450 1020 Charter Dr, Flint, MI 48532                            Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/6/2013 VA 1-434-406             7/15/2014                  6/6/2013             10/23/2020
  22951744 14740 Five M Centre Dr, Romulus, MI 48174                   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      7/19/2013 VA 1-434-406             7/15/2014                 7/19/2013              7/27/2020
  23143753 27165 Northline Rd, Taylor, MI 48180                        Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/2/2013 VA 1-434-406             7/15/2014                  8/2/2013              7/24/2020
  23179469 14770 Five M Centre Dr, Romulus, MI 48174                   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/7/2013 VA 1-434-406             7/15/2014                  8/7/2013              7/27/2020
  23189030 14775 Five M Centre Dr, Romulus, MI 48174                   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/7/2013 VA 1-434-406             7/15/2014                  8/7/2013              7/27/2020
  23380532 3101-3109 S Martin Luther King Jr Blvd, Lansing, MI 48910   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      8/28/2013 VA 1-434-406             7/15/2014                 8/28/2013              6/25/2020
  23380537 3101-3109 S Martin Luther King Jr Blvd, Lansing, MI 48910   Trisha Everitt                                                               CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      8/28/2013 VA 1-434-406             7/15/2014                 8/28/2013              6/26/2020
  21975557 2-31 Duquesne Pl, Duquesne, PA 15110                        Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/9/2013 VA 1-434-464             7/15/2014                  4/9/2013              6/28/2020
  22322554 116 Kenric Ave, Donora, PA 15033                            Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      5/13/2013 VA 1-434-464             7/15/2014                 5/13/2013              6/26/2020
  22322556 116 Kenric Ave, Donora, PA 15033                            Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      5/13/2013 VA 1-434-464             7/15/2014                 5/13/2013              6/28/2020
  22775588 501 Valleybrook Rd, Mcmurray, PA 15317                      Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      6/28/2013 VA 1-434-464             7/15/2014                 6/28/2013              6/26/2020
  22775589 501 Valleybrook Rd, Mcmurray, PA 15317                      Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      6/28/2013 VA 1-434-464             7/15/2014                 6/28/2013              6/27/2020
  22896239 31 Robbins Station Rd, Irwin, PA 15642                      Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      7/15/2013 VA 1-434-464             7/15/2014                 7/15/2013               7/8/2020
  23726301 238 Moon Clinton Rd, Coraopolis, PA 15108                   Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938     10/11/2013 VA 1-434-464             7/15/2014                10/11/2013              6/25/2020
  24015929 4500 Brooktree Rd, Wexford, PA 15090                        Alan Battles                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938     11/14/2013 VA 1-434-464             7/15/2014                11/14/2013              7/10/2020
  22533145 5 Century Dr, Greenville, SC 29607                          William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/5/2013 VA 1-434-400             7/15/2014                  6/5/2013              6/26/2020
  22923775 300 N Church St, Spartanburg, SC 29306                      William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/16/2013 VA 1-434-400             7/15/2014                 7/16/2013               7/1/2020
  22935125 200 Ezell St, Spartanburg, SC 29306                         William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/18/2013 VA 1-434-400             7/15/2014                 7/18/2013              6/26/2020
  22935189 120 W St John St, Spartanburg, SC 29306                     William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/18/2013 VA 1-434-400             7/15/2014                 7/18/2013              6/25/2020
  22939420 205 John B White Sr Blvd, Spartanburg, SC 29306             William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/10/2013 VA 1-434-400             7/15/2014                 7/10/2013              6/29/2020
  23894071 2424 Hendersonville Rd, Arden, NC 28704                     William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/31/2013 VA 1-434-400             7/15/2014                10/31/2013              6/27/2020
  24305009 960 Charisma Dr, Spartanburg, SC 29303                      William Neary                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     12/26/2013 VA 1-434-400             7/15/2014                12/26/2013               7/1/2020
  22007747 210 S Water St, Watertown, WI 53094                         Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      4/13/2013 VA 1-434-382             7/15/2014                 4/13/2013              2/16/2021
  22280430 10535 N Port Washington Rd, Mequon, WI 53092                Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/9/2013 VA 1-434-382             7/15/2014                  5/9/2013              6/26/2020
  22426216 1502 E Sumner St, Hartford, WI 53027                        Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      5/22/2013 VA 1-434-382             7/15/2014                 5/22/2013              6/28/2020
  22581479 1818 N Hubbard St, Milwaukee, WI 53212                      Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/10/2013 VA 1-434-382             7/15/2014                 6/10/2013              6/29/2020
  22634272 500 N Spring St, Port Washington, WI 53074                  Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/13/2013 VA 1-434-382             7/15/2014                 6/13/2013              6/28/2020
  22682527 21905 Gateway Rd, Brookfield, WI 53045                      Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/20/2013 VA 1-434-382             7/15/2014                 6/20/2013              6/28/2020
  23272887 4624 S 27th St, Milwaukee, WI 53221                         Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/12/2013 VA 1-434-382             7/15/2014                 8/12/2013              6/26/2020
  23347281 21001 Watertown Rd, Waukesha, WI 53186                      Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/26/2013 VA 1-434-382             7/15/2014                 8/26/2013              8/11/2020
  23362414 260 Regency Ct, Brookfield, WI 53045                        Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/27/2013 VA 1-434-382             7/15/2014                 8/27/2013              6/29/2020
  23380661 850 Elm Grove Rd, Elm Grove, WI 53122                       Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/28/2013 VA 1-434-382             7/15/2014                 8/28/2013              2/21/2021
  23418492 4500 W Burnham St, West Milwaukee, WI 53219                 Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/4/2013 VA 1-434-382             7/15/2014                  9/4/2013              7/10/2020
  23457352 7919-7961 N 76th St, Milwaukee, WI 53223                    Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/9/2013 VA 1-434-382             7/15/2014                  9/9/2013              6/26/2020
  23457356 7919-7961 N 76th St, Milwaukee, WI 53223                    Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/9/2013 VA 1-434-382             7/15/2014                  9/9/2013              6/28/2020
  23457360 7919-7961 N 76th St, Milwaukee, WI 53223                    Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/9/2013 VA 1-434-382             7/15/2014                  9/9/2013              6/25/2020
  24022949 3718 W Elm St, Milwaukee, WI 53209                          Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     11/16/2013 VA 1-434-382             7/15/2014                11/16/2013              6/26/2020
  24269887 828 N Milwaukee St, Milwaukee, WI 53202                     Timothy Dabbs                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     12/18/2013 VA 1-434-382             7/15/2014                12/18/2013              6/29/2020
  22603033 1705 Sherwood Forest St, Houston, TX 77043                  Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/12/2013 VA 1-434-381             7/15/2014                 6/12/2013             10/29/2020
  22715586 14700 FM-2100, Crosby, TX 77532                             Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/24/2013 VA 1-434-381             7/15/2014                 6/24/2013              4/17/2021
  22867316 16285 Park Ten Place Dr, Houston, TX 77084                  Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2013 VA 1-434-381             7/15/2014                 7/11/2013               7/5/2020
  23126349 11111 Richmond Ave, Houston, TX 77082                       Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/1/2013 VA 1-434-381             7/15/2014                  8/1/2013               5/9/2021
  23803746 3901 FM 1485, Conroe, TX 77306                              Stephanie McCoy                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/21/2013 VA 1-434-381             7/15/2014                10/21/2013              6/26/2020
  22200777 75 Bagby Dr, Birmingham, AL 35209                           Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/1/2013 VA 1-434-370             7/15/2014                  5/1/2013               7/6/2020
  22200779 75 Bagby Dr, Birmingham, AL 35209                           Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/1/2013 VA 1-434-370             7/15/2014                  5/1/2013               7/9/2020
  22213072 75 Bagby Dr, Birmingham, AL 35209                           Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/1/2013 VA 1-434-370             7/15/2014                  5/1/2013              6/28/2020
  22215729 211 Frankfurt Cir, Birmingham, AL 35211                     Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2013 VA 1-434-370             7/15/2014                  5/3/2013              8/11/2020
  22215733 211 Frankfurt Cir, Birmingham, AL 35211                     Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2013 VA 1-434-370             7/15/2014                  5/3/2013              8/11/2020
  22322652 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064              Laurie Goodwin                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2013 VA 1-434-370             7/15/2014                 5/13/2013               7/5/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                     46
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Attachment                                                                               Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                    Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   22322653 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2013 VA 1-434-370              7/15/2014                  5/13/2013              6/26/2020
   22322654 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2013 VA 1-434-370              7/15/2014                  5/13/2013              6/28/2020
   22322655 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2013 VA 1-434-370              7/15/2014                  5/13/2013              6/28/2020
   22322658 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2013 VA 1-434-370              7/15/2014                  5/13/2013              6/26/2020
   22322660 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/13/2013 VA 1-434-370              7/15/2014                  5/13/2013              6/25/2020
   22346179 1518 9th Ave N, Bessemer, AL 35020                    Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/15/2013 VA 1-434-370              7/15/2014                  5/15/2013              6/29/2020
   22362248 1411 Hearn Ave, Bessemer, AL 35020                    Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/17/2013 VA 1-434-370              7/15/2014                  5/17/2013               1/2/2021
   22603120 3543 Pelham Pky, Pelham, AL 35124                     Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2013 VA 1-434-370              7/15/2014                  6/12/2013               7/9/2020
   22776521 1140 1st St, Alabaster, AL 35007                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2013 VA 1-434-370              7/15/2014                  6/12/2013              6/25/2020
   23384329 924 Montclair Rd, Birmingham, AL 35213                Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2013 VA 1-434-370              7/15/2014                  8/29/2013               7/9/2020
   24266022 871 B Plantation Way, Montgomery, AL 36117            Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/17/2013 VA 1-434-370              7/15/2014                 12/17/2013               7/5/2020
   24266026 871 B Plantation Way, Montgomery, AL 36117            Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/17/2013 VA 1-434-370              7/15/2014                 12/17/2013              6/25/2020
   24269968 1965 Coliseum Pky, Montgomery, AL 36110               Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2013 VA 1-434-370              7/15/2014                 12/18/2013               7/5/2020
   24269970 630 Oliver Rd, Montgomery, AL 36117                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2013 VA 1-434-370              7/15/2014                 12/18/2013              6/29/2020
   24269977 630 Oliver Rd, Montgomery, AL 36117                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2013 VA 1-434-370              7/15/2014                 12/18/2013               7/7/2020
   24317303 565 Pike Rd, Pike Road, AL 36064                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2013 VA 1-434-370              7/15/2014                 11/21/2013              7/15/2020
   24317305 565 Pike Rd, Pike Road, AL 36064                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2013 VA 1-434-370              7/15/2014                 11/21/2013              7/15/2020
   21147101 1011 Washington Ave, Bronx, NY 10456                  Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/14/2013 VA 1-434-240              7/15/2014                  1/14/2013              1/23/2021
   23757920 1447 Rosedale Ave, Bronx, NY 10460                    Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     10/15/2013 VA 1-434-240              7/15/2014                 10/15/2013               7/8/2020
   23757928 1447 Rosedale Ave, Bronx, NY 10460                    Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     10/15/2013 VA 1-434-240              7/15/2014                 10/15/2013               7/8/2020
   23850828 7-11 South Ave, New Canaan, CT 06840                  Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     10/25/2013 VA 1-434-240              7/15/2014                 10/25/2013              6/26/2020
   24004427 717 E 135th St, Bronx, NY 10454                       Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     11/13/2013 VA 1-434-240              7/15/2014                 11/13/2013              10/2/2020

  22286063 4700 Northwest Pky, Hilliard, OH 43026                 Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/9/2013 VA 1-434-422             7/15/2014                   5/9/2013               6/28/2020

  22426536 6209 Riverside Dr, Dublin, OH 43017                    Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/20/2013 VA 1-434-422             7/15/2014                  5/20/2013               6/25/2020

  22426578 5930 Venture Dr, Dublin, OH 43017                      Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/21/2013 VA 1-434-422             7/15/2014                  5/21/2013                7/6/2020

  22796826 238-248 W Johnstown Rd, Gahanna, OH 43230              Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        7/2/2013 VA 1-434-422             7/15/2014                   7/2/2013               6/25/2020

  22908577 1058-1068 Country Club Rd, Columbus, OH 43227          Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/16/2013 VA 1-434-422             7/15/2014                  7/16/2013               6/29/2020

  23079786 6421 E Main St, Reynoldsburg, OH 43068                 Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/26/2013 VA 1-434-422             7/15/2014                  7/26/2013               6/26/2020

  23079830 5929-5975 E Main St, Columbus, OH 43213                Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/24/2013 VA 1-434-422             7/15/2014                  7/24/2013                7/5/2020

  23309271 3516 N Maple Ave, Zanesville, OH 43701                 Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/21/2013 VA 1-434-422             7/15/2014                  8/21/2013               6/29/2020
  22472296 2850 S Redwood, Salt Lake City, UT 84119               Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/29/2013 VA 1-434-397             7/15/2014                  5/29/2013                8/8/2020
  22472318 2850 S Redwood, Salt Lake City, UT 84119               Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/29/2013 VA 1-434-397             7/15/2014                  5/29/2013               8/11/2020
  23027080 288-294 E 930 S, Orem, UT 84058                        Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/23/2013 VA 1-434-397             7/15/2014                  7/23/2013               6/25/2020
  23472048 762 Smelter St, Midvale, UT 84047                      Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/10/2013 VA 1-434-397             7/15/2014                  9/10/2013               6/29/2020
  22125440 1290 Broad St, Augusta, GA 30901                       Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2013 VA 1-434-395             7/15/2014                  4/24/2013               6/28/2020
  22125449 1290 Broad St, Augusta, GA 30901                       Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2013 VA 1-434-395             7/15/2014                  4/24/2013               6/29/2020
  22658759 3252 Dean's Bridge Rd, Augusta, GA 30906               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2013 VA 1-434-395             7/15/2014                  6/18/2013                7/9/2020
  22658767 3252 Dean's Bridge Rd, Augusta, GA 30906               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2013 VA 1-434-395             7/15/2014                  6/18/2013               6/27/2020
  23027249 307 Chesterfield Ave, Lancaster, SC 29720              Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/23/2013 VA 1-434-395             7/15/2014                  7/23/2013               1/27/2021
  23872872 1306 Elmore St, Columbia, SC 29203                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/29/2013 VA 1-434-395             7/15/2014                 10/29/2013               6/29/2020
  23872879 1306 Elmore St, Columbia, SC 29203                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/29/2013 VA 1-434-395             7/15/2014                 10/29/2013                7/8/2020
  23894589 1 7th St, Augusta, GA 30901                            Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2013 VA 1-434-395             7/15/2014                 10/31/2013               6/28/2020
  23894604 1 7th St, Augusta, GA 30901                            Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2013 VA 1-434-395             7/15/2014                 10/31/2013               6/26/2020
  24175027 7201 Two Notch Rd, Columbia, SC 29223                  Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2013 VA 1-434-395             7/15/2014                  12/5/2013               2/16/2021
  24228623 536 Meeting St, West Columbia, SC 29169                Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/12/2013 VA 1-434-395             7/15/2014                 12/12/2013               6/26/2020
  21409885 898 Centre St, Ridgeland, MS 39157                     Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2013 VA 1-434-237             7/15/2014                   2/7/2013               6/26/2020
  22142228 1230 E County Line Rd, Ridgeland, MS 39157             Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2013 VA 1-434-237             7/15/2014                  4/24/2013               8/12/2020
  22174867 2323 Lakeland Dr, Flowood, MS 39232                    Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2013 VA 1-434-237             7/15/2014                  4/25/2013               1/23/2021
  23376207 2676 Old Daphne W, Bay Minette, AL 36507               Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2013 VA 1-434-237             7/15/2014                  8/27/2013               6/25/2020
  23376211 2676 Old Daphne W, Bay Minette, AL 36507               Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2013 VA 1-434-237             7/15/2014                  8/27/2013               6/26/2020

  22197390 1370 Gateway Blvd, Murfreesboro, TN 37129              Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/30/2013 VA 1-434-483             7/15/2014                  4/30/2013               6/28/2020

  22792792 1410 Buchanan St, Nashville, TN 37208                  Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/21/2013 VA 1-434-483             7/15/2014                  6/21/2013               6/29/2020

  22792795 1410 Buchanan St, Nashville, TN 37208                  Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/21/2013 VA 1-434-483             7/15/2014                  6/21/2013               6/27/2020

  23347823 1119 Us-231, Shelbyville, TN 37160                     Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/26/2013 VA 1-434-483             7/15/2014                  8/26/2013               6/27/2020

  23347831 1119 Us-231, Shelbyville, TN 37160                     Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/26/2013 VA 1-434-483             7/15/2014                  8/26/2013               6/28/2020
  23284032 19020 Bothell Way NE, Bothell, WA 98011                Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2013 VA 1-434-791             7/15/2014                  8/19/2013               8/11/2020
  23533509 1025 S 63rd Ave, Phoenix, AZ 85043                     Ken Wood                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2013 VA 1-434-243             7/15/2014                  9/16/2013              11/27/2020
  23793570 16674 N 91st St, Scottsdale, AZ 85260                  Ken Wood                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/18/2013 VA 1-434-243             7/15/2014                 10/18/2013               6/25/2020
  23884472 1818 E Southern Ave, Mesa, AZ 85204                    Ken Wood                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/30/2013 VA 1-434-243             7/15/2014                 10/30/2013               6/25/2020
  22491150 12201 Westheimer Rd, Houston, TX 77077                 Nancy Honeycutt                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/31/2013 VA 1-434-280             7/15/2014                  5/31/2013               6/27/2020
  22619907 6307 Broadway St, Pearland, TX 77581                   Nancy Honeycutt                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2013 VA 1-434-280             7/15/2014                  6/14/2013               6/28/2020
  23398185 12523-12589 Westheimer Rd, Houston, TX 77077           Nancy Honeycutt                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/31/2013 VA 1-434-280             7/15/2014                  5/31/2013                7/9/2020
  25099012 421 Fannin St, Houston, TX 77002                       Nancy Honeycutt                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2014 VA 1-434-280             7/15/2014                   4/3/2014               6/27/2020
  21953825 119 W 1st St, Tulsa, OK 74103                          Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/5/2013 VA 1-434-277             7/15/2014                   4/5/2013                7/1/2020
  22952019 1207 S Lewis Ave, Tulsa, OK 74104                      Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/19/2013 VA 1-434-277             7/15/2014                  7/19/2013                7/5/2020
  23169186 2702 E 15th St, Tulsa, OK 74104                        Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        8/6/2013 VA 1-434-277             7/15/2014                   8/6/2013               6/25/2020
  24279861 5437-5445 S 99th Ave, Tulsa, OK 74146                  Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/18/2013 VA 1-434-277             7/15/2014                 12/18/2013              11/13/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                  47
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Attachment                                                                                       Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                            Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   22116940 675 W Maple Ave, Merchantville, NJ 08109                       Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/23/2013 VA 1-434-275              7/15/2014                  4/23/2013              6/26/2020
   22116944 675 W Maple Ave, Merchantville, NJ 08109                       Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/23/2013 VA 1-434-275              7/15/2014                  4/23/2013               7/8/2020
   23081978 503 S Maryland Ave, Wilmington, DE 19804                       Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/26/2013 VA 1-434-275              7/15/2014                  7/26/2013              6/27/2020
   23081980 503 S Maryland Ave, Wilmington, DE 19804                       Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/26/2013 VA 1-434-275              7/15/2014                  7/26/2013              6/27/2020
   23554464 514 Monmouth St, Gloucester City, NJ 08030                     Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/19/2013 VA 1-434-275              7/15/2014                  9/19/2013              6/27/2020
   24270993 215 E Laurel Rd, Stratford, NJ 08084                           Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2013 VA 1-434-275              7/15/2014                 12/18/2013              6/26/2020
   24317767 227 Bridgeton Pike, Mantua, NJ 08051                           Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2013 VA 1-434-275              7/15/2014                 12/30/2013              6/25/2020

  22362658 23450 Reynolds Ct, Clinton Township, MI 48036                   Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/17/2013 VA 1-434-313             7/15/2014                  5/17/2013               7/14/2020

  22646129 36949 Dequindre Rd, Troy, MI 48083                              Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/17/2013 VA 1-434-313             7/15/2014                  6/17/2013                7/9/2020

  22940359 2100 Cass Lake Rd, Keego Harbor, MI 48320                       Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/19/2013 VA 1-434-313             7/15/2014                  7/19/2013               6/29/2020

  23203618 35555 23 Mile Rd, New Baltimore, MI 48047                       Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/9/2013 VA 1-434-313             7/15/2014                   8/9/2013               6/29/2020

  23203619 35555 23 Mile Rd, New Baltimore, MI 48047                       Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/9/2013 VA 1-434-313             7/15/2014                   8/9/2013               6/28/2020

  23236030 44311 Reynolds Dr, Clinton Township, MI 48036                   Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/12/2013 VA 1-434-313             7/15/2014                  8/12/2013               6/25/2020

  23554524 810 N Perry St, Pontiac, MI 48342                               Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/19/2013 VA 1-434-313             7/15/2014                  9/19/2013               6/29/2020

  24104785 37399 Garfield Rd, Clinton Township, MI 48036                   Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/25/2013 VA 1-434-313             7/15/2014                 11/25/2013               6/27/2020
  22604196 1937-1939 NE Broadway St, Portland, OR 97232                    Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/11/2013 VA 1-434-235             7/15/2014                  6/11/2013               6/29/2020
  22659252 17885 NW Evergreen Pky, Beaverton, OR 97006                     Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2013 VA 1-434-235             7/15/2014                  6/18/2013               6/27/2020
  22679535 1028-1036 SE Water Ave, Portland, OR 97214                      Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2013 VA 1-434-235             7/15/2014                  6/19/2013               6/27/2020
  23458585 1705 Silverton Rd NE, Salem, OR 97301                           Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2013 VA 1-434-235             7/15/2014                   9/9/2013                7/5/2020
  23554671 5325 Commercial St SE, Salem, OR 97306                          Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2013 VA 1-434-235             7/15/2014                  9/18/2013               6/26/2020
  23577561 14621-14629 SE McLoughlin Blvd, Portland, OR 97267              Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/23/2013 VA 1-434-235             7/15/2014                  9/23/2013               6/27/2020
  23589306 17885 NW Evergreen Pky, Beaverton, OR 97006                     Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/23/2013 VA 1-434-235             7/15/2014                  9/23/2013                7/9/2020
  23128586 4730 N Kimball Ave, Chicago, IL 60625                           Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/1/2013 VA 1-434-274             7/15/2014                   8/1/2013               6/29/2020
  23128589 4730 N Kimball Ave, Chicago, IL 60625                           Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/1/2013 VA 1-434-274             7/15/2014                   8/1/2013               6/28/2020
  23158012 480 Telser Rd, Lake Zurich, IL 60047                            Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/5/2013 VA 1-434-274             7/15/2014                   8/5/2013               8/11/2020
  23273891 320-326 W Jefferson St, Rockford, IL 61101                      Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/16/2013 VA 1-434-274             7/15/2014                  8/16/2013                7/7/2020
  23273897 320-326 W Jefferson St, Rockford, IL 61101                      Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/16/2013 VA 1-434-274             7/15/2014                  8/16/2013               6/26/2020
  23828947 2300 N Green Bay Rd, North Chicago, IL 60064                    Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      10/23/2013 VA 1-434-274             7/15/2014                 10/23/2013               6/26/2020
  24005451 850 E Algonquin Rd, Schaumburg, IL 60173                        Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/13/2013 VA 1-434-274             7/15/2014                 11/13/2013               7/31/2020
  24005465 1538-1590 N Arlington Heights Rd, Arlington Heights, IL 60004   Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/13/2013 VA 1-434-274             7/15/2014                 11/13/2013               6/26/2020
  24044129 1635 N Arlington Heights Rd, Arlington Heights, IL 60004        Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/18/2013 VA 1-434-274             7/15/2014                 11/18/2013                7/9/2020
  24280293 901 E Business Center Dr, Mount Prospect, IL 60056              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/19/2013 VA 1-434-274             7/15/2014                 12/19/2013               6/29/2020
  23771089 505 Avocado St, Wahiawa, HI 96786                               Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/16/2013 VA 1-434-267             7/15/2014                 10/16/2013               6/29/2020
  23771099 505 Avocado St, Wahiawa, HI 96786                               Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/16/2013 VA 1-434-267             7/15/2014                 10/16/2013               6/29/2020
  23839343 712 California Ave, Wahiawa, HI 96786                           Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2013 VA 1-434-267             7/15/2014                 10/24/2013               6/25/2020
  24263706 1205-1206 S King St, Honolulu, HI 96814                         Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/16/2013 VA 1-434-267             7/15/2014                 12/16/2013               8/11/2020
  24164839 2219 Thousand Oaks Blvd, Thousand Oaks, CA 91362                Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2013 VA 1-434-253             7/15/2014                  12/4/2013               6/26/2020
  24164848 2219 E Thousand Oaks Blvd, Thousand Oaks, CA 91362              Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2013 VA 1-434-253             7/15/2014                  12/4/2013                7/5/2020
  24235026 1861-1883 E Thousand Oaks Blvd, Thousand Oaks, CA 91362         Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/12/2013 VA 1-434-253             7/15/2014                 12/12/2013               6/25/2020
  24284313 1411 7th St, Santa Monica, CA 90401                             Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2013 VA 1-434-253             7/15/2014                 12/20/2013               7/14/2020
  24284320 1445 6th St, Santa Monica, CA 90401                             Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2013 VA 1-434-253             7/15/2014                 12/20/2013                8/9/2020
  24318164 1530 7th St, Santa Monica, CA 90401                             Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/30/2013 VA 1-434-253             7/15/2014                 12/30/2013               7/14/2020
  23957712 3600 E 14th St, Des Moines, IA 50316                            Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       11/8/2013 VA 1-434-314             7/15/2014                  11/8/2013               6/26/2020
  23957737 1234 E Euclid Ave, Des Moines, IA 50316                         Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       11/8/2013 VA 1-434-314             7/15/2014                  11/8/2013               7/11/2020
  22508385 6925 Portwest Dr, Houston, TX 77024                             Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/4/2013 VA 1-434-405             7/15/2014                   6/4/2013                7/5/2020
  22508570 11321 Fallbrook Dr, Houston, TX 77065                           Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/4/2013 VA 1-434-405             7/15/2014                   6/4/2013               12/3/2020
  22508588 11321 Fallbrook Dr, Houston, TX 77065                           Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/4/2013 VA 1-434-405             7/15/2014                   6/4/2013               12/3/2020
  23005155 520 S Rock Blvd, Reno, NV 89502                                 Thomas Stuebe                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/22/2013 VA 1-434-413             7/15/2014                  7/22/2013               7/10/2020
  23005444 1535-1609 Vassar St, Reno, NV 89502                             Thomas Stuebe                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/22/2013 VA 1-434-413             7/15/2014                  7/22/2013                7/9/2020
  23404987 926 N Wilcrest Dr, Houston, TX 77079                            Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/19/2013 VA 1-434-405             7/15/2014                  8/19/2013                7/8/2020
  23404990 926 N Wilcrest Dr, Houston, TX 77079                            Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/19/2013 VA 1-434-405             7/15/2014                  8/19/2013               6/25/2020
  21933837 30 W 4th St, Newport, KY 41071                                  Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/5/2013 VA 1-434-377             7/15/2014                   4/5/2013              11/28/2020
  22193832 4468-4494 Brandt Pike, Dayton, OH 45424                         Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/30/2013 VA 1-434-377             7/15/2014                  4/30/2013               6/26/2020
  22193838 4468-4494 Brandt Pike, Dayton, OH 45424                         Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/30/2013 VA 1-434-377             7/15/2014                  4/30/2013                7/7/2020
  22391034 1915 Central Ave, Middletown, OH 45044                          Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-377             7/15/2014                  5/20/2013               6/29/2020
  22391036 1915 Central Ave, Middletown, OH 45044                          Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-377             7/15/2014                  5/20/2013               6/29/2020
  22391039 1915 Central Ave, Middletown, OH 45044                          Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-377             7/15/2014                  5/20/2013                7/5/2020
  23664060 6780 Roosevelt Ave, Middletown, OH 45005                        Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2013 VA 1-434-377             7/15/2014                  9/27/2013                7/7/2020
  24013561 6751-6835 E Southport Rd, Indianapolis, IN 46237                Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/15/2013 VA 1-434-377             7/15/2014                 11/15/2013                7/6/2020
  22499276 3500-3510 Dekalb Technology Pky, Atlanta, GA 30340              Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/15/2013 VA 1-434-410             7/15/2014                  5/15/2013                7/9/2020
  22499281 2750 Donald Lee Hollowell Pky NW, Atlanta, GA 30318             Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/3/2013 VA 1-434-414             7/15/2014                   6/3/2013               7/31/2020
  22089731 8041 N Mesa St, El Paso, TX 79932                               Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2013 VA 1-434-238             7/15/2014                  4/22/2013               6/28/2020
  22089739 8041 N Mesa St, El Paso, TX 79932                               Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2013 VA 1-434-238             7/15/2014                  4/22/2013               6/26/2020
  22089746 8041 N Mesa St, El Paso, TX 79932                               Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2013 VA 1-434-238             7/15/2014                  4/22/2013               6/26/2020
  22089755 8041 N Mesa St, El Paso, TX 79932                               Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2013 VA 1-434-238             7/15/2014                  4/22/2013               6/28/2020
  22459203 1918 Shady Brook St, Columbia, TN 38401                         Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-238             7/15/2014                  5/20/2013                8/8/2020
  22459373 9045 Carothers Pky, Franklin, TN 37067                          Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-238             7/15/2014                  5/20/2013                7/6/2020
  22459479 1301-1319 Central Ct, Hermitage, TN 37076                       Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/20/2013 VA 1-434-238             7/15/2014                  5/20/2013               6/26/2020
  22931192 1235 N Mulford Rd, Rockford, IL 61107                           Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/18/2013 VA 1-434-238             7/15/2014                  7/18/2013                7/5/2020
  22931195 1235 N Mulford Rd, Rockford, IL 61107                           Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/18/2013 VA 1-434-238             7/15/2014                  7/18/2013               6/26/2020
  22931200 1235 N Mulford Rd, Rockford, IL 61107                           Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/19/2013 VA 1-434-238             7/15/2014                  7/19/2013               6/28/2020
  22931422 1005 Courtaulds Dr, Woodstock, IL 60098                         Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/18/2013 VA 1-434-238             7/15/2014                  7/18/2013                7/9/2020




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   23202358 165 Bishops Way, Brookfield, WI 53005                   Chuck Carpenter                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      8/12/2013 VA 1-434-238              7/15/2014                  8/12/2013              6/29/2020
   24147757 730 S Cooper Rd, Gilbert, AZ 85233                      Chuck Carpenter                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      12/3/2013 VA 1-434-238              7/15/2014                  12/3/2013              6/25/2020
   23079141 1151 S Redwood Rd, Salt Lake City, UT 84104             Benny van der Wal                                                               CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      7/30/2013 VA 1-434-462              7/15/2014                  7/30/2013              6/27/2020
   24001233 8615 Freeport Pky, Irving, TX 75063                     Jim Qualia                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      11/5/2013 VA 1-434-363              7/15/2014                  11/5/2013               7/2/2020
   24001258 8615 Freeport Pky, Irving, TX 75063                     Jim Qualia                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      11/5/2013 VA 1-434-363              7/15/2014                  11/5/2013              6/29/2020
   24001433 4709 Ross Ave, Dallas, TX 75204                         Jim Qualia                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      11/5/2013 VA 1-434-363              7/15/2014                  11/5/2013               7/7/2020
   24148542 2054 Forest Ln, Garland, TX 75042                       Jim Qualia                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      12/2/2013 VA 1-434-363              7/15/2014                  12/2/2013              8/11/2020
   22522414 72104 County Road 23, New Paris, IN 46553               Christine Shaul                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500       6/4/2013 VA 1-434-230              7/15/2014                   6/4/2013              6/26/2020
   23793769 320 NW Hoyt St, Portland, OR 97209                      Taylour White                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500     10/15/2013 VA 1-434-419              7/15/2014                 10/15/2013              6/27/2020
   21942113 1671 Western Ave, Albany, NY 12203                      Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500       4/5/2013 VA 1-434-407              7/15/2014                   4/5/2013              6/26/2020
   22569830 155 Washington Ave, Albany, NY 12210                    Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500       6/4/2013 VA 1-434-407              7/15/2014                   6/4/2013               7/6/2020
   24197487 1328 Beekman Rd, Hopewell Junction, NY 12533            Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      12/2/2013 VA 1-434-407              7/15/2014                  12/2/2013               8/8/2020
   23862347 2901 FM 78, Seguin, TX 78155                            Dee Welsch                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500     10/28/2013 VA 1-434-239              7/15/2014                 10/28/2013              5/16/2020
   24208167 2451 Pablo Kisel Blvd, Brownsville, TX 78526            Dee Welsch                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      12/9/2013 VA 1-434-239              7/15/2014                  12/9/2013              8/12/2020
   24002795 912 Riverview Dr, Totowa, NJ 07512                      Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500      11/5/2013 VA 1-434-372              7/15/2014                  11/5/2013              6/27/2020
   24002814 912 Riverview Dr, Totowa, NJ 07512                      Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500      11/5/2013 VA 1-434-372              7/15/2014                  11/5/2013              6/29/2020
   24002903 525 County Route 515, Vernon, NJ 07462                  Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500      11/5/2013 VA 1-434-372              7/15/2014                  11/5/2013              6/27/2020
   21914285 5709 Lee Hwy, Chattanooga, TN 37421                     Jason Hensley                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/2/2013 VA 1-434-352              7/15/2014                   4/2/2013              8/11/2020
   21916019 6910 E Sunrise Dr, Tucson, AZ 85750                     Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/2/2013 VA 1-434-338              7/15/2014                   4/2/2013               7/9/2020
   21916030 6860 E Sunrise Dr, Tucson, AZ 85750                     Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/2/2013 VA 1-434-338              7/15/2014                   4/2/2013              6/29/2020
   21990096 775 Lively Blvd, Elk Grove Village, IL 60007            Jacki Shepherd                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/9/2013 VA 1-434-453              7/15/2014                   4/9/2013              6/27/2020
   21990108 775 Lively Blvd, Elk Grove Village, IL 60007            Jacki Shepherd                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/9/2013 VA 1-434-453              7/15/2014                   4/9/2013               7/5/2020
   22018822 10640 Iron Bridge Rd, Jessup, MD 20794                  Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/11/2013 VA 1-434-300              7/15/2014                  4/11/2013              7/10/2020
   22065601 3631 Mt Vernon Rd, Gainesville, GA 30506                Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/18/2013 VA 1-434-454              7/15/2014                  4/18/2013              6/27/2020
   22126416 190 Easy St, Carol Stream, IL 60188                     Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/24/2013 VA 1-434-396              7/15/2014                  4/24/2013              6/28/2020
   22126424 190 Easy St, Carol Stream, IL 60188                     Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/24/2013 VA 1-434-396              7/15/2014                  4/24/2013               7/5/2020
   22163405 401 Elm St, Marlborough, MA 01752                       Donna Coakley-McGowan                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/26/2013 VA 1-434-329              7/15/2014                  4/26/2013              6/26/2020
   22215386 8078-8116 S 84th St, La Vista, NE 68128                 Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/3/2013 VA 1-434-315              7/15/2014                   5/3/2013              6/27/2020
   22286499 3425 Coffee Rd, Modesto, CA 95355                       Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/9/2013 VA 1-434-481              7/15/2014                   5/9/2013              6/28/2020
   22286508 3425 Coffee Rd, Modesto, CA 95355                       Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/9/2013 VA 1-434-481              7/15/2014                   5/9/2013              6/26/2020
   22331934 2420 Kinmor Industrial Pky NW, Conyers, GA 30012        Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/10/2013 VA 1-434-454              7/15/2014                  5/10/2013               7/6/2020
   22331942 2420 Kinmor Industrial Pky NW, Conyers, GA 30012        Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/10/2013 VA 1-434-454              7/15/2014                  5/10/2013               7/5/2020
   22333194 4625 E Broadway Blvd, Tucson, AZ 85711                  Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/14/2013 VA 1-434-338              7/15/2014                  5/14/2013              6/29/2020
   22333196 4625 E Broadway Blvd, Tucson, AZ 85711                  Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/14/2013 VA 1-434-338              7/15/2014                  5/14/2013               7/7/2020
   22334355 1303 Marquette Dr, Romeoville, IL 60446                 Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/14/2013 VA 1-434-396              7/15/2014                  5/14/2013               7/5/2020
   22392137 465 Upper Riverdale Rd SW, Riverdale, GA 30274          Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/20/2013 VA 1-434-454              7/15/2014                  5/20/2013               8/8/2020
   22392138 465 Upper Riverdale Rd SW, Riverdale, GA 30274          Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/20/2013 VA 1-434-454              7/15/2014                  5/20/2013              8/11/2020
   22425483 249 N Main St, Jonesboro, GA 30236                      Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/23/2013 VA 1-434-454              7/15/2014                  5/23/2013              6/29/2020
   22425519 249 N Main St, Jonesboro, GA 30236                      Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/23/2013 VA 1-434-454              7/15/2014                  5/23/2013              6/29/2020
   22427181 2545 Curtiss St, Downers Grove, IL 60515                Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/22/2013 VA 1-434-396              7/15/2014                  5/22/2013               7/9/2020
   22447384 2929 Breezewood Ave, Fayetteville, NC 28303             Nathan Alvey                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/24/2013 VA 1-434-305              7/15/2014                  5/24/2013               7/5/2020
   22447387 2929 Breezewood Ave, Fayetteville, NC 28303             Nathan Alvey                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/24/2013 VA 1-434-305              7/15/2014                  5/24/2013              6/26/2020
   22460949 509 S Broadway, Baltimore, MD 21231                     Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/28/2013 VA 1-434-300              7/15/2014                  5/28/2013               7/5/2020
   22483948 9527 Corsair Rd, Frankfort, IL 60423                    Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/30/2013 VA 1-434-396              7/15/2014                  5/30/2013              6/27/2020
   22487690 7650 W 185th St, Tinley Park, IL 60477                  Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/31/2013 VA 1-434-396              7/15/2014                  5/31/2013               7/9/2020
   22510692 130 Love Point Rd, Stevensville, MD 21666               Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/1/2013 VA 1-434-300              7/15/2014                   6/1/2013              6/26/2020
   22618847 3226 Baltimore Blvd, Finksburg, MD 21048                Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/14/2013 VA 1-434-300              7/15/2014                  6/14/2013              6/27/2020
   22620130 425 S 37th Ave, Saint Charles, IL 60174                 Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/14/2013 VA 1-434-396              7/15/2014                  6/14/2013               7/6/2020
   22792640 8150 N Cortaro Rd, Tucson, AZ 85743                     Carrie Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/26/2013 VA 1-434-338              7/15/2014                  6/26/2013              6/26/2020
   22795119 612 E Market St, Stockton, CA 95202                     Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/25/2013 VA 1-434-481              7/15/2014                  6/25/2013              6/27/2020
   22795204 221 Point West Blvd, Saint Charles, MO 63301            Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/25/2013 VA 1-434-233              7/15/2014                  6/25/2013              7/31/2020
   22795368 2875 N Highway 67, Florissant, MO 63033                 Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/27/2013 VA 1-434-233              7/15/2014                  6/27/2013              6/25/2020
   22795369 2875 N Highway 67, Florissant, MO 63033                 Carol Burnis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/27/2013 VA 1-434-233              7/15/2014                  6/27/2013               7/5/2020
   22801705 5120 E La Palma Ave, Anaheim, CA 92807                  Brenton Sablan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/28/2013 VA 1-434-479              7/15/2014                  6/28/2013               5/1/2021
   22802457 5730 S Westnedge Ave, Portage, MI 49002                 Michael Miller                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/28/2013 VA 1-434-793              7/15/2014                  6/28/2013              6/27/2020
   22845430 1515 Belair Rd, Fallston, MD 21047                      Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/14/2013 VA 1-434-300              7/15/2014                  6/14/2013               8/8/2020
   22872400 1205 E Avenue H, Grand Prairie, TX 75050                Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/12/2013 VA 1-434-371              7/15/2014                  7/12/2013              7/15/2020
   22874664 115 Gateway Dr, Macon, GA 31210                         Bonnie Heath                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/10/2013 VA 1-434-454              7/15/2014                  7/10/2013              6/29/2020
   22893620 2009 NW Military Hwy, San Antonio, TX 78213             Cindy Kelleher                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/23/2013 VA 1-434-236              7/15/2014                  5/23/2013              6/27/2020
   22898559 1315 S Claudina St, Anaheim, CA 92805                   Brenton Sablan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/15/2013 VA 1-434-479              7/15/2014                  7/15/2013              6/29/2020
   22924870 7610-7616 Pacific Ave, Stockton, CA 95207               Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/17/2013 VA 1-434-481              7/15/2014                  7/17/2013              6/28/2020
   22924872 7610-7616 Pacific Ave, Stockton, CA 95207               Andrea Carlos                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/17/2013 VA 1-434-481              7/15/2014                  7/17/2013               7/6/2020
   22925730 8815 Stagecoach Rd, Little Rock, AR 72209               Anthony Byrnes                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/17/2013 VA 1-434-463              7/15/2014                  7/17/2013              8/11/2020
   22934711 411 S 13th St, Lincoln, NE 68508                        Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/18/2013 VA 1-434-315              7/15/2014                  7/18/2013              6/26/2020
   22938325 120 Gillespie St, Fayetteville, NC 28301                Nathan Alvey                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/19/2013 VA 1-434-305              7/15/2014                  7/19/2013              6/28/2020
   22938331 120 Gillespie St, Fayetteville, NC 28301                Nathan Alvey                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/19/2013 VA 1-434-305              7/15/2014                  7/19/2013              6/27/2020
   23024761 900-1100 Avenue S, Grand Prairie, TX 75050              Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/23/2013 VA 1-434-371              7/15/2014                  7/23/2013              8/11/2020
   23285131 20914 Bake Pky, Lake Forest, CA 92630                   Brenton Sablan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/19/2013 VA 1-434-479              7/15/2014                  8/19/2013               8/7/2020
   23285136 20914 Bake Pky, Lake Forest, CA 92630                   Brenton Sablan                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/19/2013 VA 1-434-479              7/15/2014                  8/19/2013               8/7/2020
   23308388 702-716 Fort Crook Rd N, Bellevue, NE 68005             Chris Petersen                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/21/2013 VA 1-434-315              7/15/2014                  8/21/2013              1/27/2021
   23310477 1641 S Rose Ave, Oxnard, CA 93033                       Daniel Kanooni                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/21/2013 VA 1-434-335              7/15/2014                  8/21/2013              8/11/2020
   23310482 1631 S Rose Ave, Oxnard, CA 93033                       Daniel Kanooni                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/21/2013 VA 1-434-335              7/15/2014                  8/21/2013              6/27/2020
   23385070 1248 5th St, Santa Monica, CA 90401                     Daniel Kanooni                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/29/2013 VA 1-434-335              7/15/2014                  8/29/2013              10/4/2020
   23406175 6360 Corporate Park Cir, Fort Myers, FL 33966           Michael Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       9/3/2013 VA 1-434-738              7/15/2014                   9/3/2013               7/5/2020
   23469785 5700-5730 Locke Ave, Fort Worth, TX 76107               Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/10/2013 VA 1-434-371              7/15/2014                  9/10/2013              1/13/2021
   23543600 2324 Eskow Ave, Halethorpe, MD 21227                    Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/18/2013 VA 1-434-300              7/15/2014                  9/18/2013               8/8/2020
   23543604 2324 Eskow Ave, Halethorpe, MD 21227                    Patrick O'Conor                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/18/2013 VA 1-434-300              7/15/2014                  9/18/2013               8/9/2020
   23557497 1 Territorial Ct, Bolingbrook, IL 60440                 Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/20/2013 VA 1-434-396              7/15/2014                  9/20/2013              8/11/2020
   23598460 4900 Sun Valley Dr, Fort Worth, TX 76119                Keith Howard                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/25/2013 VA 1-434-371              7/15/2014                  9/25/2013              6/27/2020
   23610845 2100 Clearwater Dr, Oak Brook, IL 60523                 Samantha Wickham                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/27/2013 VA 1-434-396              7/15/2014                  9/27/2013              6/29/2020




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   23610848 2100 Clearwater Dr, Oak Brook, IL 60523                    Samantha Wickham                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/27/2013 VA 1-434-396              7/15/2014                  9/27/2013                7/9/2020
   23631589 2199 N Fraser St, Georgetown, SC 29440                     Nathan Alvey                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/30/2013 VA 1-434-305              7/15/2014                  9/30/2013               2/12/2021
   23643710 54 Main St, Leominster, MA 01453                           Shelly Bourbeau                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/1/2013 VA 1-434-412              7/15/2014                  10/1/2013               6/29/2020
   23643715 54 Main St, Leominster, MA 01453                           Shelly Bourbeau                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/1/2013 VA 1-434-412              7/15/2014                  10/1/2013                7/7/2020
   23669230 1123-1139 S Main St, Grapevine, TX 76051                   Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2013 VA 1-434-371              7/15/2014                  10/4/2013               6/26/2020
   23724472 1211 Puerta Del Sol, San Clemente, CA 92673                Brenton Sablan                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/10/2013 VA 1-434-479              7/15/2014                 10/10/2013               6/28/2020
   23756337 680 N Carroll Ave, Southlake, TX 76092                     Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2013 VA 1-434-371              7/15/2014                 10/15/2013               6/25/2020
   23839112 2439-2445 W Kettleman Ln, Lodi, CA 95242                   Andrea Carlos                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/22/2013 VA 1-434-481              7/15/2014                 10/22/2013                7/7/2020
   23839171 1467 N Wanda Rd, Orange, CA 92867                          Brenton Sablan                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/24/2013 VA 1-434-479              7/15/2014                 10/24/2013               5/29/2021
   23896022 10643-10663 Sentinel St, San Antonio, TX 78217             Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2013 VA 1-434-236              7/15/2014                  11/1/2013               6/29/2020
   23898093 3945 E Fort Lowell Rd, Tucson, AZ 85712                    Carrie Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2013 VA 1-434-338              7/15/2014                  11/1/2013              11/14/2020
   23898727 2191-2195 S El Camino Real, San Mateo, CA 94403            Raelyn Ruppel                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2013 VA 1-434-283              7/15/2014                  11/1/2013               7/24/2020
   23929040 19323 Stone Oak Pky, San Antonio, TX 78258                 Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2013 VA 1-434-236              7/15/2014                  11/5/2013               6/29/2020
   23930660 7130 Minstrel Way, Columbia, MD 21045                      Patrick O'Conor                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2013 VA 1-434-300              7/15/2014                  11/5/2013               6/27/2020
   23930669 6520 Old Waterloo Rd, Elkridge, MD 21075                   Patrick O'Conor                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2013 VA 1-434-300              7/15/2014                  11/5/2013                8/9/2020
   24005529 6649 W Main St, Kalamazoo, MI 49009                        Michael Miller                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/13/2013 VA 1-434-793              7/15/2014                 11/13/2013               6/27/2020
   24005813 1227 Ogden Ave, Downers Grove, IL 60515                    Benjamin Jones                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/13/2013 VA 1-434-480              7/15/2014                 11/13/2013               6/26/2020
   24016851 1901 Frank Scott Pky, Shiloh, IL 62269                     Carol Burnis                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/14/2013 VA 1-434-233              7/15/2014                 11/14/2013               4/27/2021
   24084421 12529-12535 New Brittany Blvd, Fort Myers, FL 33907        Michael Suter                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/19/2013 VA 1-434-738              7/15/2014                 11/19/2013               6/25/2020
   24084450 5741 Zip Dr, Fort Myers, FL 33905                          Michael Suter                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/19/2013 VA 1-434-738              7/15/2014                 11/19/2013                7/9/2020
    3743502 11100 E 51st Ave, Denver, CO 80239                         Steve Saxton                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500     11/28/2006 VA 1-407-551              3/27/2007                 11/28/2006               6/24/2020
   24125160 1015 Tijeras Ave NW, Albuquerque, NM 87102                 Scott Kerr                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/27/2013 VA 1-434-411              7/15/2014                 11/27/2013               6/26/2020
   24160911 11116-11120 Watt Cir, San Antonio, TX 78233                Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-236              7/15/2014                  12/4/2013               6/28/2020
   24160913 11116-11120 Watt Cir, San Antonio, TX 78233                Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-236              7/15/2014                  12/4/2013                7/8/2020
   24164251 1445 G St, Fresno, CA 93706                                Andrea Carlos                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-481              7/15/2014                  12/4/2013               6/29/2020
   24164255 1445 G St, Fresno, CA 93706                                Andrea Carlos                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-481              7/15/2014                  12/4/2013               6/27/2020
   24164314 1514-1518 H St, Fresno, CA 93721                           Andrea Carlos                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-481              7/15/2014                  12/4/2013                7/7/2020
   24164315 1514-1518 H St, Fresno, CA 93721                           Andrea Carlos                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/4/2013 VA 1-434-481              7/15/2014                  12/4/2013                7/8/2020
   24195300 4830 Whirlwind St, San Antonio, TX 78217                   Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/5/2013 VA 1-434-236              7/15/2014                  12/5/2013                8/8/2020
   24195302 4830 Whirlwind St, San Antonio, TX 78217                   Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/5/2013 VA 1-434-236              7/15/2014                  12/5/2013                8/8/2020
   24219108 4650 S Coach Dr, Tucson, AZ 85714                          Carrie Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/11/2013 VA 1-434-338              7/15/2014                 12/11/2013                7/6/2020
   24271477 33 S Addison Rd, Addison, IL 60101                         Benjamin Jones                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2013 VA 1-434-480              7/15/2014                 12/18/2013               6/29/2020
   21109161 410 E Pikes Peak Ave, Colorado Springs, CO 80903           Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2013 VA 1-919-796              8/25/2014                  1/10/2013               6/27/2020
   21109165 410 E Pikes Peak Ave, Colorado Springs, CO 80903           Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2013 VA 1-919-796              8/25/2014                  1/10/2013               6/28/2020
   21717016 1510 W Canal Ct, Littleton, CO 80120                       Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/13/2013 VA 1-919-796              8/25/2014                  3/13/2013                7/9/2020
   21871604 1937 S Bannock St, Denver, CO 80223                        Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2013 VA 1-919-796              8/25/2014                  3/29/2013                8/1/2020
   21704411 233 S Pine St, Spartanburg, SC 29302                       Chuck Carpenter                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/11/2013 VA 1-919-797              8/25/2014                  3/11/2013               6/28/2020
   21250571 101 E Front St, Wheaton, IL 60187                          Samantha Wickham                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2013 VA 1-919-798              8/25/2014                  1/23/2013                7/7/2020
   21471006 347-361 Airport Dr, Joliet, IL 60431                       Samantha Wickham                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/13/2013 VA 1-919-798              8/25/2014                  2/13/2013               7/10/2020
   21791471 2500-2530 Vantage Dr, Elgin, IL 60124                      Samantha Wickham                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2013 VA 1-919-798              8/25/2014                  3/20/2013               6/27/2020

  25464337 119-121 E 4th St, Covington, KY 41011                       Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/2/2014 VA 1-436-545             9/12/2014                   5/2/2014                7/5/2020
  25291227 400 W Broad St, Richmond, VA 23220                          Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/22/2014 VA 1-929-747             9/12/2014                  4/22/2014               6/30/2020
  25441643 212-216 E Clay St, Richmond, VA 23219                       Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2014 VA 1-929-747             9/12/2014                  5/16/2014               8/10/2020
  25464669 10 E Leigh St, Richmond, VA 23219                           Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2014 VA 1-929-747             9/12/2014                  5/14/2014               6/26/2020
  25536259 1500 W Moore St, Richmond, VA 23220                         Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/27/2014 VA 1-929-747             9/12/2014                  5/27/2014                7/8/2020
  25546967 501 N Allen Ave, Richmond, VA 23220                         Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/29/2014 VA 1-929-747             9/12/2014                  5/29/2014               8/11/2020
  25124462 2802 Bee Cave Rd, Austin, TX 78746                          Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2014 VA 1-997-938             9/12/2014                   4/7/2014                7/4/2020
  25524342 2814 Detroit Ave, Cleveland, OH 44113                       Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/27/2014 VA 1-933-755             9/12/2014                  5/27/2014                7/9/2020
  25748680 4608 St Clair Ave, Cleveland, OH 44103                      Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2014 VA 1-933-755             9/12/2014                  6/25/2014                7/2/2020
  25668503 1951 Boulevard, Jacksonville, FL 32206                      Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/16/2014 VA 1-926-179             9/12/2014                  6/16/2014               6/27/2020
  25668508 1951 Boulevard, Jacksonville, FL 32206                      Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/16/2014 VA 1-926-179             9/12/2014                  6/16/2014               6/25/2020
  25668513 1951 Boulevard, Jacksonville, FL 32206                      Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/16/2014 VA 1-926-179             9/12/2014                  6/16/2014                7/2/2020

  25490712 5056 International Blvd, North Charleston, SC 29418         Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/21/2014 VA 1-436-750             9/12/2014                  5/21/2014                4/2/2021

  25749261 11515 Abercorn St, Savannah, GA 31419                       Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/25/2014 VA 1-436-750             9/12/2014                  6/25/2014               8/12/2020

  25749264 11515 Abercorn St, Savannah, GA 31419                       Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/25/2014 VA 1-436-750             9/12/2014                  6/25/2014                8/9/2020
  25278344 800 H St, Sacramento, CA 95814                              Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2014 VA 1-998-121             9/12/2014                   4/8/2014               2/23/2021
  25278355 1314 H St, Sacramento, CA 95814                             Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2014 VA 1-998-121             9/12/2014                   4/8/2014                7/4/2020
  25278359 1314 H St, Sacramento, CA 95814                             Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2014 VA 1-998-121             9/12/2014                   4/8/2014                7/9/2020
  25292081 1729-1731 L St, Sacramento, CA 95811                        Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2014 VA 1-998-121             9/12/2014                  4/25/2014                7/7/2020
  25292087 1729-1731 L St, Sacramento, CA 95811                        Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2014 VA 1-998-121             9/12/2014                  4/25/2014               6/28/2020
  25292095 1729-1731 L St, Sacramento, CA 95811                        Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2014 VA 1-998-121             9/12/2014                  4/25/2014                7/4/2020
  25348026 205 W Martin St, Raleigh, NC 27601                          Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/2/2014 VA 1-928-434             9/12/2014                   5/2/2014                7/2/2020
  25348029 205 W Martin St, Raleigh, NC 27601                          Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/2/2014 VA 1-928-434             9/12/2014                   5/2/2014               6/26/2020
  25348034 205 W Martin St, Raleigh, NC 27601                          Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/2/2014 VA 1-928-434             9/12/2014                   5/2/2014               7/10/2020
  25393956 8250 International Dr, Orlando, FL 32819                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2014 VA 1-436-743             9/12/2014                  4/30/2014               7/10/2020
  25275050 570 Central Ave, Lake Elsinore, CA 92530                    Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2014 VA 2-104-128             9/12/2014                  4/23/2014               6/27/2020
  25331315 18492 Dexter Ave, Lake Elsinore, CA 92532                   Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2014 VA 2-104-128             9/12/2014                  4/30/2014               2/23/2021
  25491283 45900 Commerce St, Indio, CA 92201                          Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2014 VA 2-104-128             9/12/2014                  5/21/2014                7/3/2021
  25152483 86 N Pearl St, Albany, NY 12207                             Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/9/2014 VA 1-436-735             9/12/2014                   4/9/2014               6/26/2020
  25190875 4305 Beverly St, Colorado Springs, CO 80918                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2014 VA 1-436-745             9/12/2014                  4/14/2014                7/4/2020
  25397824 7110 Campus Dr, Colorado Springs, CO 80920                  Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/9/2014 VA 1-436-745             9/12/2014                   5/9/2014               6/30/2020
  25288122 600 E North St, Greenville, SC 29601                        William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/23/2014 VA 1-436-753             9/12/2014                  4/23/2014               6/25/2020
  25344469 506 Pettigru St, Greenville, SC 29601                       William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/1/2014 VA 1-436-753             9/12/2014                   5/1/2014                7/4/2020
  25555597 600 E Washington St, Greenville, SC 29601                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/29/2014 VA 1-436-753             9/12/2014                  5/29/2014               6/28/2020
  25555607 600 E Washington St, Greenville, SC 29601                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/29/2014 VA 1-436-753             9/12/2014                  5/29/2014                7/1/2020
  25555615 600 E Washington St, Greenville, SC 29601                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/29/2014 VA 1-436-753             9/12/2014                  5/29/2014                7/1/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                        50
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                    Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
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   25612968 423 Vardry St, Greenville, SC 29601                    William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       6/5/2014 VA 1-436-753              9/12/2014                   6/5/2014                7/1/2020
   25658061 607 Pendleton St, Greenville, SC 29601                 William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       6/5/2014 VA 1-436-753              9/12/2014                   6/5/2014                7/3/2020
   25681519 114 Howe St, Greenville, SC 29601                      William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/16/2014 VA 1-436-753              9/12/2014                  6/16/2014               6/27/2020
   25950965 641 E Main St, Spartanburg, SC 29302                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/24/2014 VA 1-436-753              9/12/2014                  6/24/2014                7/6/2020
   26332390 468 E Main St, Spartanburg, SC 29302                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/26/2014 VA 1-436-753              9/12/2014                  6/26/2014                7/6/2020
   26332453 951 E Main St, Spartanburg, SC 29302                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/27/2014 VA 1-436-753              9/12/2014                  6/27/2014                7/4/2020
   26366110 812 E Main St, Spartanburg, SC 29302                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/26/2014 VA 1-436-753              9/12/2014                  6/26/2014               8/10/2020
   25670747 11450 W Burleigh St, Wauwatosa, WI 53222               Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      6/16/2014 VA 1-436-543              9/12/2014                  6/16/2014                7/2/2020
   25293361 5601 Armour Dr, Houston, TX 77020                      Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-436-729              9/12/2014                  4/25/2014               6/29/2020
   25293373 5601 Armour Dr, Houston, TX 77020                      Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-436-729              9/12/2014                  4/25/2014                7/2/2020
   25293379 5601 Armour Dr, Houston, TX 77020                      Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-436-729              9/12/2014                  4/25/2014               6/27/2020
   25344506 16630 Imperial Valley Dr, Houston, TX 77060            Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/1/2014 VA 1-436-729              9/12/2014                   5/1/2014               6/29/2020
   25397896 5829 W Sam Houston Pky N, Houston, TX 77041            Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/9/2014 VA 1-436-729              9/12/2014                   5/9/2014               6/29/2020
   25502261 10757 Cutten Rd, Houston, TX 77066                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/22/2014 VA 1-436-729              9/12/2014                  5/22/2014                7/4/2020
   25502273 10757 Cutten Rd, Houston, TX 77066                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/22/2014 VA 1-436-729              9/12/2014                  5/22/2014                7/5/2020
   25502275 10757 Cutten Rd, Houston, TX 77066                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/22/2014 VA 1-436-729              9/12/2014                  5/22/2014                7/5/2020
   25550648 9808 Whithorn Dr, Houston, TX 77095                    Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/29/2014 VA 1-436-729              9/12/2014                  5/29/2014                7/3/2020
   25084828 3010 6th Ave S, Birmingham, AL 35233                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/1/2014 VA 1-926-406              9/12/2014                   4/1/2014                7/1/2020
   25084832 3010 6th Ave S, Birmingham, AL 35233                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/1/2014 VA 1-926-406              9/12/2014                   4/1/2014                7/8/2020
   25139863 3616 5th Ave S, Birmingham, AL 35222                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/8/2014 VA 1-926-406              9/12/2014                   4/8/2014                8/8/2020
   25139866 3621-3623 5th Ave S, Birmingham, AL 35222              Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/8/2014 VA 1-926-406              9/12/2014                   4/8/2014               6/28/2020
   25153677 130 41st St S, Birmingham, AL 35222                    Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/9/2014 VA 1-926-406              9/12/2014                   4/9/2014                7/2/2020
   25153708 500-510 35th St N, Birmingham, AL 35222                Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/9/2014 VA 1-926-406              9/12/2014                   4/9/2014               8/12/2020
   25165564 1914 2nd Ave N, Birmingham, AL 35203                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/10/2014 VA 1-926-406              9/12/2014                  4/10/2014                7/1/2020
   25215304 2902 Linden Ave, Birmingham, AL 35209                  Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/16/2014 VA 1-926-406              9/12/2014                  4/16/2014                8/8/2020
   25215321 2905 Linden Ave, Birmingham, AL 35209                  Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/16/2014 VA 1-926-406              9/12/2014                  4/16/2014                7/6/2020
   25288503 120 Summit Pky, Birmingham, AL 35209                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014               6/26/2020
   25288507 120 Summit Pky, Birmingham, AL 35209                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014               6/25/2020
   25288510 120 Summit Pky, Birmingham, AL 35209                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014                7/1/2020
   25288520 55 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014                7/4/2020
   25288525 55 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014                7/5/2020
   25288528 55 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014               6/28/2020
   25288534 65 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014                7/9/2020
   25288535 65 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014                7/7/2020
   25288536 65 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014               6/25/2020
   25288538 65 Bagby Dr, Birmingham, AL 35209                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/24/2014 VA 1-926-406              9/12/2014                  4/24/2014               6/25/2020
   25304588 400 Industrial Dr, Birmingham, AL 35211                Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-926-406              9/12/2014                  4/25/2014               6/30/2020
   25304612 400 Industrial Dr, Birmingham, AL 35211                Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-926-406              9/12/2014                  4/25/2014               6/28/2020
   25740325 1982-1980 McCain Pky, Pelham, AL 35124                 Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/6/2014 VA 1-926-406              9/12/2014                   6/6/2014               6/29/2020
   25276229 50-60 S 600 E, Salt Lake City, UT 84102                Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836      4/23/2014 VA 1-436-747              9/12/2014                  4/23/2014               6/29/2020
   25289000 2750 Laurel St, Columbia, SC 29204                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/21/2014 VA 1-436-749              9/12/2014                  4/21/2014               2/16/2021
   25395290 1212 Augusta West Pky, Augusta, GA 30909               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/5/2014 VA 1-436-749              9/12/2014                   5/5/2014               6/29/2020
   25395372 3310 Harrison Rd, Columbia, SC 29204                   Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/25/2014 VA 1-436-749              9/12/2014                  4/25/2014              11/20/2020
   25395553 1223 Augusta West Pky, Augusta, GA 30909               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/7/2014 VA 1-436-749              9/12/2014                   5/7/2014                7/9/2020
   25492560 3660 J Dewey Gray Cir, Augusta, GA 30909               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/20/2014 VA 1-436-749              9/12/2014                  5/20/2014               6/25/2020
   25574630 1511 Gregg St, Columbia, SC 29201                      Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/30/2014 VA 1-436-749              9/12/2014                  5/30/2014                7/6/2020
   25574636 1511 Gregg St, Columbia, SC 29201                      Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/30/2014 VA 1-436-749              9/12/2014                  5/30/2014               7/10/2020
   25951630 3614 B J Dewey Gray Cir, Augusta, GA 30909             Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/26/2014 VA 1-436-749              9/12/2014                  6/26/2014                7/7/2020
   25951644 3614 B J Dewey Gray Cir, Augusta, GA 30909             Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/26/2014 VA 1-436-749              9/12/2014                  6/26/2014               6/30/2020
   25527587 10229 N 92nd St, Scottsdale, AZ 85258                  Ken Wood                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/27/2014 VA 1-929-754              9/12/2014                  5/27/2014                7/1/2020
   25099133 121 N Church St, Moorestown, NJ 08057                  Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/3/2014 VA 1-436-733              9/12/2014                   4/3/2014               6/26/2020
   25646909 1416 E Buckshutem Rd, Millville, NJ 08332              Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/12/2014 VA 1-436-733              9/12/2014                  6/12/2014               6/29/2020
   25192460 1019 Waimanu St, Honolulu, HI 96814                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/14/2014 VA 1-929-758              9/12/2014                  4/14/2014                7/9/2020
   25192463 1019 Waimanu St, Honolulu, HI 96814                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/14/2014 VA 1-929-758              9/12/2014                  4/14/2014               7/10/2020
   25192467 1019 Waimanu St, Honolulu, HI 96814                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/14/2014 VA 1-929-758              9/12/2014                  4/14/2014               6/26/2020
   25124994 2055 Hospital Dr, Batavia, OH 45103                    Robert Clayton                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/7/2014 VA 1-436-744              9/12/2014                   4/7/2014               6/26/2020
   25125000 2055 Hospital Dr, Batavia, OH 45103                    Robert Clayton                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/7/2014 VA 1-436-744              9/12/2014                   4/7/2014               6/27/2020
   25668052 5335 NE Roswell Rd, Atlanta, GA 30342                  Russell Holloway                                                               CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/30/2014 VA 1-436-544              9/12/2014                  5/30/2014               8/12/2020
   25383756 4200-4304 Airport Fwy, Fort Worth, TX 76117            Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/7/2014 VA 1-931-717              9/12/2014                   5/7/2014               5/16/2020
   25383771 4200-4304 Airport Fwy, Fort Worth, TX 76117            Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/7/2014 VA 1-931-717              9/12/2014                   5/7/2014               5/16/2020
   25383782 4304 Airport Fwy, Fort Worth, TX 76117                 Keith Howard                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/7/2014 VA 1-931-717              9/12/2014                   5/7/2014               5/16/2020
   26225355 3410 Nm-528 Hwy SE, Albuquerque, NM 87114              Scott Kerr                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/30/2014 VA 1-436-748              9/12/2014                  6/30/2014               6/28/2020
   25080375 911 E Oakland Park Blvd, Oakland Park, FL 33334        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/2/2014 VA 1-436-695              9/18/2014                   4/2/2014               6/26/2020
   25080379 911 E Oakland Park Blvd, Oakland Park, FL 33334        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/2/2014 VA 1-436-695              9/18/2014                   4/2/2014                7/6/2020
   25080383 911 E Oakland Park Blvd, Oakland Park, FL 33334        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/2/2014 VA 1-436-695              9/18/2014                   4/2/2014               7/10/2020
   25392186 2500 Wilton Dr, Wilton Manors, FL 33305                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/30/2014 VA 1-436-695              9/18/2014                  4/30/2014                7/6/2020
   25392191 2500 Wilton Dr, Wilton Manors, FL 33305                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/30/2014 VA 1-436-695              9/18/2014                  4/30/2014                7/5/2020
   25392193 2500 Wilton Dr, Wilton Manors, FL 33305                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      4/30/2014 VA 1-436-695              9/18/2014                  4/30/2014                7/4/2020
   25546834 2300 NE 6th Ave, Wilton Manors, FL 33305               David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      5/29/2014 VA 1-436-695              9/18/2014                  5/29/2014               6/29/2020
   25546865 2300 NE 6th Ave, Wilton Manors, FL 33305               David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      5/29/2014 VA 1-436-695              9/18/2014                  5/29/2014               7/10/2020
   25666437 4800 Main St, Jupiter, FL 33458                        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      6/16/2014 VA 1-436-695              9/18/2014                  6/16/2014               7/24/2020
   25328922 590 E Willow St, Long Beach, CA 90806                  Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      4/30/2014 VA 1-435-848              9/18/2014                  4/30/2014               6/25/2020
   25666785 9902 Brimhall Rd, Bakersfield, CA 93312                Gene Wyrrick                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      6/11/2014 VA 1-435-818              9/18/2014                  6/11/2014               6/26/2020
   25666789 9902 Brimhall Rd, Bakersfield, CA 93312                Gene Wyrrick                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      6/11/2014 VA 1-435-818              9/18/2014                  6/11/2014                7/1/2020
   25124303 1201 Harmon Pl, Minneapolis, MN 55403                  David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       4/7/2014 VA 1-435-838              9/18/2014                   4/7/2014               7/31/2020
   25121719 410 Asylum St, Hartford, CT 06103                      Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/4/2014 VA 1-435-841              9/18/2014                   4/4/2014               6/29/2020
   25121733 410 Asylum St, Hartford, CT 06103                      Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/4/2014 VA 1-435-841              9/18/2014                   4/4/2014                7/9/2020
   25121742 410 Asylum St, Hartford, CT 06103                      Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/4/2014 VA 1-435-841              9/18/2014                   4/4/2014               6/27/2020
   25121794 410 Asylum St, Hartford, CT 06103                      Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       4/4/2014 VA 1-435-841              9/18/2014                   4/4/2014               6/25/2020
   25188680 105-115 Asylum St, Hartford, CT 06103                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/14/2014 VA 1-435-841              9/18/2014                  4/14/2014               6/30/2020




                          OUTSIDE COUNSEL ONLY                                                                                                               51
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   25221644 150 Trumbull St, Hartford, CT 06103                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2014 VA 1-435-841              9/18/2014                  4/17/2014              6/30/2020
   25221645 150 Trumbull St, Hartford, CT 06103                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2014 VA 1-435-841              9/18/2014                  4/17/2014              6/27/2020
   25221647 150 Trumbull St, Hartford, CT 06103                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2014 VA 1-435-841              9/18/2014                  4/17/2014              6/28/2020
   25221650 150 Trumbull St, Hartford, CT 06103                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2014 VA 1-435-841              9/18/2014                  4/17/2014              6/29/2020
   25307409 62 Russ St, Hartford, CT 06106                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014               7/1/2020
   25307413 62 Russ St, Hartford, CT 06106                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014               7/8/2020
   25307418 40 Russ St, Hartford, CT 06106                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014               7/9/2020
   25307423 50-52 Russ St, Hartford, CT 06106                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014              6/28/2020
   25307430 50-52 Russ St, Hartford, CT 06106                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014              6/25/2020
   25307441 50-52 Russ St, Hartford, CT 06106                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2014 VA 1-435-841              9/18/2014                  4/28/2014              6/28/2020
   25737416 35 Webster Square Rd, Berlin, CT 06037                  Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/24/2014 VA 1-435-841              9/18/2014                  6/24/2014              8/12/2020
   25303633 10 Dorrance St, Providence, RI 02903                    Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/25/2014 VA 1-436-711              9/18/2014                  4/25/2014               7/9/2020
   25329203 180 Westminster St, Providence, RI 02903                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/30/2014 VA 1-436-711              9/18/2014                  4/30/2014              6/29/2020
   25329208 180 Westminster St, Providence, RI 02903                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/30/2014 VA 1-436-711              9/18/2014                  4/30/2014              6/28/2020
   25329215 180 Westminster St, Providence, RI 02903                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/30/2014 VA 1-436-711              9/18/2014                  4/30/2014              6/25/2020
   25645410 69 Bath St, Providence, RI 02908                        Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/28/2014 VA 1-436-711              9/18/2014                  5/28/2014               8/8/2020
   25645417 69 Bath St, Providence, RI 02908                        Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/28/2014 VA 1-436-711              9/18/2014                  5/28/2014               8/9/2020
   25645429 69 Bath St, Providence, RI 02908                        Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/28/2014 VA 1-436-711              9/18/2014                  5/28/2014               8/8/2020

  25583380 1334 Bernath Pky, Toledo, OH 43615                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        6/3/2014 VA 1-435-826             9/18/2014                   6/3/2014               6/29/2020

  25583384 1334 Bernath Pky, Toledo, OH 43615                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        6/3/2014 VA 1-435-826             9/18/2014                   6/3/2014                7/3/2020
  25067857 409 3rd Ave, Chula Vista, CA 91910                       Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/1/2014 VA 1-436-707             9/18/2014                   4/1/2014               6/27/2020
  25067860 409 3rd Ave, Chula Vista, CA 91910                       Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/1/2014 VA 1-436-707             9/18/2014                   4/1/2014                7/7/2020
  25116928 16789 Bernardo Center Dr, San Diego, CA 92128            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/3/2014 VA 1-436-707             9/18/2014                   4/3/2014               7/20/2020
  25116933 16789 Bernardo Center Dr, San Diego, CA 92128            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/3/2014 VA 1-436-707             9/18/2014                   4/3/2014               7/20/2020
  25116945 16410 Bernardo Center Dr, San Diego, CA 92128            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/4/2014 VA 1-436-707             9/18/2014                   4/4/2014               10/4/2020
  25116953 16785 Bernardo Center Dr, San Diego, CA 92128            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/3/2014 VA 1-436-707             9/18/2014                   4/3/2014               7/24/2020
  25116958 16785 Bernardo Center Dr, San Diego, CA 92128            Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/3/2014 VA 1-436-707             9/18/2014                   4/3/2014               7/24/2020
  25424155 110 Knoll Rd, San Marcos, CA 92069                       Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/13/2014 VA 1-436-707             9/18/2014                  5/13/2014               10/3/2020
  25261398 717 Light St, Baltimore, MD 21230                        Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2014 VA 1-435-851             9/18/2014                  4/21/2014                7/5/2020
  25261405 717 Light St, Baltimore, MD 21230                        Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2014 VA 1-435-851             9/18/2014                  4/21/2014               6/25/2020
  25261419 717 Light St, Baltimore, MD 21230                        Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2014 VA 1-435-851             9/18/2014                  4/21/2014               6/25/2020
  25715334 2648 W Ridge Rd, Rochester, NY 14626                     Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2014 VA 1-435-820             9/18/2014                  6/20/2014               8/12/2020
  25715338 2648 W Ridge Rd, Rochester, NY 14626                     Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2014 VA 1-435-820             9/18/2014                  6/20/2014                8/8/2020
  25762311 2842 W Henrietta Rd, Rochester, NY 14623                 Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/28/2014 VA 1-435-820             9/18/2014                  6/28/2014               12/3/2020
  25229700 4432 Telegraph Ave, Oakland, CA 94609                    Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       4/18/2014 VA 1-436-701             9/18/2014                  4/18/2014                7/2/2020
  25291728 4120 Martin Luther King Jr Way, Oakland, CA 94609        Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       4/25/2014 VA 1-436-701             9/18/2014                  4/25/2014               6/25/2020
  25700221 445-447 Grace Ave, Panama City, FL 32401                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2014 VA 1-436-721             9/18/2014                  6/19/2014                7/1/2020
  25120918 134-136 Madeira Ave, Coral Gables, FL 33134              Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2014 VA 1-436-718             9/18/2014                   4/4/2014                7/9/2020
  25222528 161-165 Aragon Ave, Coral Gables, FL 33134               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2014 VA 1-436-718             9/18/2014                  4/14/2014               6/26/2020
  25222531 161-165 Aragon Ave, Coral Gables, FL 33134               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2014 VA 1-436-718             9/18/2014                  4/14/2014               6/28/2020
  25125872 650 E Hospitality Ln, San Bernardino, CA 92408           Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2014 VA 1-436-710             9/18/2014                   4/7/2014                7/6/2020
  25329798 2039 Forest Ave, San Jose, CA 95128                      Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/30/2014 VA 1-435-845             9/18/2014                  4/30/2014               3/30/2021
  25549010 501 70th St, Guttenberg, NJ 07093                        John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/29/2014 VA 1-436-715             9/18/2014                  5/29/2014               7/29/2020
  25274944 5840-5952 Hubbard Dr, Rockville, MD 20852                Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2014 VA 1-436-696             9/18/2014                  4/23/2014               6/28/2020
  25274946 5840-5952 Hubbard Dr, Rockville, MD 20852                Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2014 VA 1-436-696             9/18/2014                  4/23/2014               7/31/2020
  25343145 6201-6215 Executive Blvd, Rockville, MD 20852            Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2014 VA 1-436-696             9/18/2014                   5/1/2014               5/16/2020
  25343149 6201-6215 Executive Blvd, Rockville, MD 20852            Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2014 VA 1-436-696             9/18/2014                   5/1/2014               5/16/2020
  25343152 6201-6215 Executive Blvd, Rockville, MD 20852            Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2014 VA 1-436-696             9/18/2014                   5/1/2014               5/16/2020
  25467167 174-184 Rollins Ave, Rockville, MD 20852                 Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/19/2014 VA 1-436-696             9/18/2014                  5/19/2014               7/20/2020
  25287322 805 Pennsylvania Ave, Kansas City, MO 64105              Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2014 VA 1-436-712             9/18/2014                  4/24/2014               6/27/2020
  25118585 15-17 Simpson St NW, Atlanta, GA 30308                   Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/4/2014 VA 1-436-722             9/18/2014                   4/4/2014               2/21/2021
  25491523 4490 Commerce Dr SW, Atlanta, GA 30336                   Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/21/2014 VA 1-436-722             9/18/2014                  5/21/2014                7/1/2020
  25491540 4490 Commerce Dr SW, Atlanta, GA 30336                   Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/21/2014 VA 1-436-722             9/18/2014                  5/21/2014               7/10/2020
  25505156 6057-6063 Boat Rock Blvd SW, Atlanta, GA 30336           Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/23/2014 VA 1-436-722             9/18/2014                  5/23/2014                7/3/2020
  25505165 600-640 Interchange Dr SW, Atlanta, GA 30336             Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/23/2014 VA 1-436-722             9/18/2014                  5/23/2014               6/27/2020
  25716038 408 S Slappey Blvd, Albany, GA 31701                     Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/16/2014 VA 1-436-722             9/18/2014                  6/16/2014               7/10/2020
  25716042 408 S Slappey Blvd, Albany, GA 31701                     Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/16/2014 VA 1-436-722             9/18/2014                  6/16/2014                7/5/2020
  25716047 408 S Slappey Blvd, Albany, GA 31701                     Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/16/2014 VA 1-436-722             9/18/2014                  6/16/2014                7/6/2020
  25164839 626 RXR Plz, Uniondale, NY 11556                         Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/10/2014 VA 1-436-723             9/18/2014                  4/10/2014               7/10/2020
  25670066 410 Westinghouse Blvd, Charlotte, NC 28273               Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/4/2014 VA 1-435-844             9/18/2014                   6/4/2014               6/30/2020
  25127070 1101-1121 Cornell Pky, Oklahoma City, OK 73108           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960        4/7/2014 VA 1-435-836             9/18/2014                   4/7/2014                7/3/2020
  25127171 2035 S Meridian Ave, Oklahoma City, OK 73108             Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960        4/7/2014 VA 1-435-836             9/18/2014                   4/7/2014               6/29/2020
  25164915 1717-1721 S Air Depot, Oklahoma City, OK 73110           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/10/2014 VA 1-435-836             9/18/2014                  4/10/2014                7/8/2020
  25164920 1717-1721 S Air Depot, Oklahoma City, OK 73110           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/10/2014 VA 1-435-836             9/18/2014                  4/10/2014               6/27/2020
  25164924 1717-1721 S Air Depot, Oklahoma City, OK 73110           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/10/2014 VA 1-435-836             9/18/2014                  4/10/2014                7/9/2020
  25250795 3145 E Reno Ave, Oklahoma City, OK 73117                 Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/16/2014 VA 1-435-836             9/18/2014                  4/16/2014               6/27/2020
  25479893 2501 S Agnew Ave, Oklahoma City, OK 73108                Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/20/2014 VA 1-435-836             9/18/2014                  5/20/2014               6/30/2020
  25479901 2501 S Agnew Ave, Oklahoma City, OK 73108                Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/20/2014 VA 1-435-836             9/18/2014                  5/20/2014               6/29/2020
  25526592 425 W Main St, Yukon, OK 73099                           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/21/2014 VA 1-435-836             9/18/2014                  5/21/2014                7/5/2020
  25526601 425 W Main St, Yukon, OK 73099                           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/21/2014 VA 1-435-836             9/18/2014                  5/21/2014                7/6/2020
  26321912 3855 S Boulevard St, Edmond, OK 73013                    Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       6/20/2014 VA 1-435-836             9/18/2014                  6/20/2014               6/27/2020
  25230737 804 Penn Ave, Pittsburgh, PA 15222                       Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/18/2014 VA 1-435-819             9/18/2014                  4/18/2014                5/8/2021
  25526736 2510 Mosside Blvd, Monroeville, PA 15146                 Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/22/2014 VA 1-435-819             9/18/2014                  5/22/2014                7/9/2020
  25526753 2510 Mosside Blvd, Monroeville, PA 15146                 Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/22/2014 VA 1-435-819             9/18/2014                  5/22/2014               6/28/2020
  25602526 700-730 Seco Rd, Monroeville, PA 15146                   Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        6/6/2014 VA 1-435-819             9/18/2014                   6/6/2014               6/29/2020

  25551028 3105 Gallatin Pike, Nashville, TN 37216                  Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/29/2014 VA 1-435-840             9/18/2014                  5/29/2014               6/30/2020




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  25551034 3105 Gallatin Pike, Nashville, TN 37216                   Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/29/2014 VA 1-435-840             9/18/2014                 5/29/2014               7/5/2020

  25170770 28625 Northwestern Hwy, Southfield, MI 48034              Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/11/2014 VA 1-435-825             9/18/2014                 4/11/2014               7/4/2020

  25493165 44700-44800 Delco Blvd, Sterling Heights, MI 48313        Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/20/2014 VA 1-435-825             9/18/2014                 5/20/2014              6/25/2020
  25170707 3806-3872 N Mississippi Ave, Portland, OR 97227           Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/10/2014 VA 1-435-846             9/18/2014                 4/10/2014              6/30/2020
  25277073 105 W Adams St, Chicago, IL 60603                         Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      4/23/2014 VA 1-436-719             9/18/2014                 4/23/2014              6/29/2020
  25493375 560-566 W Lake St, Chicago, IL 60661                      Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      5/21/2014 VA 1-436-719             9/18/2014                 5/21/2014              5/18/2021
  25565667 103-111 W Van Buren St, Chicago, IL 60605                 Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      5/30/2014 VA 1-436-719             9/18/2014                 5/30/2014               7/9/2020
  25204749 500 E Court Ave, Des Moines, IA 50309                     Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      4/15/2014 VA 1-435-827             9/18/2014                 4/15/2014              6/27/2020
  25741318 320 SE Delaware Ave, Ankeny, IA 50021                     Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/24/2014 VA 1-435-827             9/18/2014                 6/24/2014              6/25/2020
  25741326 320 SE Delaware Ave, Ankeny, IA 50021                     Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/24/2014 VA 1-435-827             9/18/2014                 6/24/2014              6/29/2020
  25253406 972 Barstow Ave, Clovis, CA 93612                         John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/21/2014 VA 1-435-833             9/18/2014                 4/21/2014              8/12/2020
  25717637 393 W Shaw Ave, Clovis, CA 93612                          John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      6/19/2014 VA 1-435-833             9/18/2014                 6/19/2014              6/27/2020
  25181520 705 W La Veta Ave, Orange, CA 92868                       Brenton Sablan                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/10/2014 VA 1-436-703             9/18/2014                 4/10/2014              5/29/2021
  25347323 818 Brooklyn Ave, San Antonio, TX 78215                   Cindy Kelleher                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/2/2014 VA 1-436-726             9/18/2014                  5/2/2014              6/25/2020
  25679754 11400 Culebra Rd, San Antonio, TX 78253                   Cindy Kelleher                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/17/2014 VA 1-436-726             9/18/2014                 6/17/2014              10/9/2020
  25342444 417 9th St SE, Washington, DC 20003                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/2/2014 VA 1-929-497             9/22/2014                  5/2/2014               7/3/2020

  25152799 5475 Poplar Ave, Memphis, TN 38119                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/9/2014 VA 1-929-493             9/22/2014                  4/9/2014              6/30/2020

  25152801 5475 Poplar Ave, Memphis, TN 38119                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/9/2014 VA 1-929-493             9/22/2014                  4/9/2014              6/28/2020

  25152804 5475 Poplar Ave, Memphis, TN 38119                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/9/2014 VA 1-929-493             9/22/2014                  4/9/2014               7/6/2020

  25152808 5475 Poplar Ave, Memphis, TN 38119                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/9/2014 VA 1-929-493             9/22/2014                  4/9/2014              6/27/2020

  25526613 175 Stonewall St, Memphis, TN 38104                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/27/2014 VA 1-929-493             9/22/2014                 5/27/2014              6/29/2020

  25646441 102 Belvedere Blvd, Memphis, TN 38104                     Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      6/12/2014 VA 1-929-493             9/22/2014                 6/12/2014               8/8/2020
  25434324 917 Main St, Houston, TX 77002                            Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/14/2014 VA 1-929-951            10/15/2014                 5/14/2014               7/4/2020
  25465430 14407 Pioneer Blvd, Norwalk, CA 90650                     Tom Thompson                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/19/2014 VA 1-436-550            10/17/2014                 5/19/2014              6/29/2020
  25847063 6081 Fairfield St, Los Angeles, CA 90022                  Tom Thompson                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/17/2014 VA 1-436-550            10/17/2014                 6/17/2014              5/16/2020
  25847083 6081 Fairfield St, Los Angeles, CA 90022                  Tom Thompson                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/17/2014 VA 1-436-550            10/17/2014                 6/17/2014              5/16/2020

  13059471 100 E Business Way, Sharonville, OH 45241                 Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/15/2010 VA 1-434-613            10/24/2014                 4/15/2010              6/17/2021

  13746949 1201 Hillsmith Dr, Cincinnati, OH 45215                   Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/21/2010 VA 1-434-613            10/24/2014                 7/21/2010              6/26/2020

  14446797 2860 Cooper Rd, Evendale, OH 45241                        Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/8/2010 VA 1-434-613            10/24/2014                 10/8/2010              6/26/2020

  14548625 7144 Montgomery Rd, Cincinnati, OH 45236                  Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404     10/20/2010 VA 1-434-613            10/24/2014                10/20/2010              6/29/2020

  14641955 7565 Kenwood Rd, Cincinnati, OH 45236                     Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/1/2010 VA 1-434-613            10/24/2014                 11/1/2010              11/8/2020

  14688348 7795 Cooper Rd, Cincinnati, OH 45242                      Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/5/2010 VA 1-434-613            10/24/2014                 11/5/2010              6/29/2020
  12112375 733 Volvo Pky, Chesapeake, VA 23320                       Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/21/2010 VA 1-434-609            10/24/2014                 1/21/2010              6/19/2020
  12686145 9000 Quioccasin Rd, Richmond, VA 23229                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/4/2010 VA 1-434-609            10/24/2014                  3/4/2010               7/3/2020
  12949353 1558 W Washington St, Petersburg, VA 23803                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/7/2010 VA 1-434-609            10/24/2014                  4/7/2010              6/20/2020
  12949360 1558 W Washington St, Petersburg, VA 23803                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/7/2010 VA 1-434-609            10/24/2014                  4/7/2010              6/22/2020
  13075428 1213 Southern Blvd, Virginia Beach, VA 23451              Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2010 VA 1-434-609            10/24/2014                 4/23/2010              8/10/2020
  13215389 8975 Three Chopt Rd, Richmond, VA 23229                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/11/2010 VA 1-434-609            10/24/2014                 5/11/2010               8/7/2020
  13477857 2100 Aluminum Ave, Hampton, VA 23661                      Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/16/2010 VA 1-434-609            10/24/2014                 6/16/2010              6/26/2020
  13500200 1220-A Fleetway Dr, Chesapeake, VA 23323                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/18/2010 VA 1-434-609            10/24/2014                 6/18/2010              6/25/2020
  13597459 1548 Holland Rd, Suffolk, VA 23434                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/2/2010 VA 1-434-609            10/24/2014                  7/2/2010              6/26/2020
  13633501 733 Volvo Pky, Chesapeake, VA 23320                       Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2010 VA 1-434-609            10/24/2014                  7/7/2010              6/27/2020
  13633506 733 Volvo Pky, Chesapeake, VA 23320                       Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2010 VA 1-434-609            10/24/2014                  7/7/2010              6/25/2020
  13692107 110 Kingsley Ln, Norfolk, VA 23505                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/13/2010 VA 1-434-609            10/24/2014                 7/13/2010              6/29/2020
  13692111 110 Kingsley Ln, Norfolk, VA 23505                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/13/2010 VA 1-434-609            10/24/2014                 7/13/2010              6/20/2020
  13692114 100 Kingsley Ln, Norfolk, VA 23505                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/13/2010 VA 1-434-609            10/24/2014                 7/13/2010              6/21/2020
  13692115 100 Kingsley Ln, Norfolk, VA 23505                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/13/2010 VA 1-434-609            10/24/2014                 7/13/2010              6/27/2020
  13692116 100 Kingsley Ln, Norfolk, VA 23505                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/13/2010 VA 1-434-609            10/24/2014                 7/13/2010              6/24/2020
  13715368 11535 Nuckols Rd, Glen Allen, VA 23059                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2010 VA 1-434-609            10/24/2014                 7/19/2010              6/28/2020
  13715388 11535 Nuckols Rd, Glen Allen, VA 23059                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2010 VA 1-434-609            10/24/2014                 7/19/2010               7/8/2020
  13883565 5601 Ironbridge Pky, Chester, VA 23831                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/9/2010 VA 1-434-609            10/24/2014                  8/9/2010              6/29/2020
  14010413 3700 Shore Dr, Virginia Beach, VA 23455                   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/24/2010 VA 1-434-609            10/24/2014                 8/24/2010              6/25/2020
  14052593 712 W Broadway Ave, Hopewell, VA 23860                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/30/2010 VA 1-434-609            10/24/2014                 8/30/2010              6/17/2020
  14386245 3011 Silina Dr, Virginia Beach, VA 23452                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/1/2010 VA 1-434-609            10/24/2014                 10/1/2010              6/26/2020
  14527491 2404 Virginia Beach Blvd, Virginia Beach, VA 23454        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/18/2010 VA 1-434-609            10/24/2014                10/18/2010               2/2/2021
  14584444 5242 Olde Towne Rd, Williamsburg, VA 23188                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/25/2010 VA 1-434-609            10/24/2014                10/25/2010              10/5/2020
  14824253 3301 Williamsburg Rd, Richmond, VA 23231                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/22/2010 VA 1-434-609            10/24/2014                11/22/2010              6/26/2020
  14824259 3301 Williamsburg Rd, Richmond, VA 23231                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/22/2010 VA 1-434-609            10/24/2014                11/22/2010              6/26/2020
  15014746 4176 S Plaza Trl, Virginia Beach, VA 23452                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/20/2010 VA 1-434-609            10/24/2014                12/20/2010              6/27/2020
  15014755 4176 S Plaza Trl, Virginia Beach, VA 23452                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/20/2010 VA 1-434-609            10/24/2014                12/20/2010              6/18/2020
  13377535 2223 Snelling Ave, Minneapolis, MN 55404                  David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/2/2010 VA 1-434-622            10/24/2014                  6/2/2010              7/13/2020
  13854466 9100 85th Ave N, Brooklyn Park, MN 55445                  David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       8/4/2010 VA 1-434-622            10/24/2014                  8/4/2010               7/7/2020
  14440079 11610 NW Jay St, Minneapolis, MN 55448                    David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/7/2010 VA 1-434-622            10/24/2014                 10/7/2010              7/15/2020
  14563214 4159 28th Ave S, Minneapolis, MN 55406                    David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     10/22/2010 VA 1-434-622            10/24/2014                10/22/2010              11/9/2020
  12951371 24 Battle St, Somers, CT 06071                            Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/7/2010 VA 1-434-769            10/24/2014                  4/7/2010              12/8/2020




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   13010166 231 Farmington Ave, Farmington, CT 06032                Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2010 VA 1-434-769            10/24/2014                  4/15/2010              1/23/2021
   13032075 55 Nod Rd, Avon, CT 06001                               Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2010 VA 1-434-769            10/24/2014                  4/15/2010              6/17/2020
   13044768 100 Roscommon Dr, Middletown, CT 06457                  Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/20/2010 VA 1-434-769            10/24/2014                  4/20/2010              6/20/2020
   13044772 100 Roscommon Dr, Middletown, CT 06457                  Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/20/2010 VA 1-434-769            10/24/2014                  4/20/2010              6/23/2020
   13044803 35 Phil Mack Dr, Middletown, CT 06457                   Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/20/2010 VA 1-434-769            10/24/2014                  4/20/2010              6/28/2020
   13067337 23 Clara Dr, Mystic, CT 06355                           Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/21/2010 VA 1-434-769            10/24/2014                  4/21/2010               7/5/2020
   13067345 23 Clara Dr, Mystic, CT 06355                           Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/21/2010 VA 1-434-769            10/24/2014                  4/21/2010               7/5/2020
   13067394 520 Saybrook Rd, Middletown, CT 06457                   Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/22/2010 VA 1-434-769            10/24/2014                  4/22/2010               3/8/2021
   13136618 8 Two Mile Rd, Farmington, CT 06032                     Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/16/2010 VA 1-434-769            10/24/2014                  4/16/2010              6/21/2020
   13191380 100 Simsbury Rd, Avon, CT 06001                         Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2010 VA 1-434-769            10/24/2014                  4/15/2010               7/4/2020
   13191384 197 Scott Swamp Rd, Farmington, CT 06032                Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/14/2010 VA 1-434-769            10/24/2014                  4/14/2010               7/3/2020
   13191390 55 Nod Rd, Avon, CT 06001                               Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/15/2010 VA 1-434-769            10/24/2014                  4/15/2010              6/28/2020
   13205970 869 Mill St, East Berlin, CT 06023                      Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/10/2010 VA 1-434-769            10/24/2014                  5/10/2010              6/21/2020
   13346442 295 Silver Ln, East Hartford, CT 06118                  Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/27/2010 VA 1-434-769            10/24/2014                  5/27/2010               8/7/2020
   13346447 295 Silver Ln, East Hartford, CT 06118                  Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/27/2010 VA 1-434-769            10/24/2014                  5/27/2010               8/8/2020
   13680292 360 Bloomfield Ave, Windsor, CT 06095                   Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/9/2010 VA 1-434-769            10/24/2014                   7/9/2010              6/17/2020
   13680989 2 Montauk Ave, New London, CT 06320                     Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/14/2010 VA 1-434-769            10/24/2014                  7/14/2010              8/12/2020
   14699577 352-354 Albany Tpke, Canton, CT 06019                   Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2010 VA 1-434-769            10/24/2014                  11/3/2010              8/10/2020
   14699587 352-354 Albany Tpke, Canton, CT 06019                   Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2010 VA 1-434-769            10/24/2014                  11/3/2010              8/12/2020
   14789450 45 W Main St, Avon, CT 06001                            Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/15/2010 VA 1-434-769            10/24/2014                 11/15/2010               8/9/2020
   14789451 45 W Main St, Avon, CT 06001                            Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/15/2010 VA 1-434-769            10/24/2014                 11/15/2010               8/9/2020
   14812270 3 Eastview Dr, Farmington, CT 06032                     Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/16/2010 VA 1-434-769            10/24/2014                 11/16/2010               8/8/2020
   14812274 3 Eastview Dr, Farmington, CT 06032                     Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/16/2010 VA 1-434-769            10/24/2014                 11/16/2010              8/12/2020

  12718966 8830-8842 Swan Creek Rd, Newport, MI 48166               Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/9/2010 VA 1-434-768           10/24/2014                   3/9/2010               7/27/2020

  13055984 20600 Eureka Rd, Taylor, MI 48180                        Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/21/2010 VA 1-434-768           10/24/2014                  4/21/2010               6/26/2020

  14440513 2281 W Fort St, Detroit, MI 48216                        Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/7/2010 VA 1-434-768           10/24/2014                  10/7/2010                7/7/2020

  14480203 35495-35497 Ford Rd, Westland, MI 48185                  Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/12/2010 VA 1-434-768           10/24/2014                 10/12/2010                7/9/2020

  14480207 35495-35497 Ford Rd, Westland, MI 48185                  Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/12/2010 VA 1-434-768           10/24/2014                 10/12/2010               6/25/2020

  14482470 2121-2225 W Fort St, Detroit, MI 48216                   Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/7/2010 VA 1-434-768           10/24/2014                  10/7/2010                7/8/2020

  14482473 2121-2225 W Fort St, Detroit, MI 48216                   Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/7/2010 VA 1-434-768           10/24/2014                  10/7/2010               6/17/2020

  12654975 1534-1552 Ormsby Station Ct, Louisville, KY 40223        Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/1/2010 VA 1-434-724           10/24/2014                   3/1/2010               6/24/2020

  12654980 1534-1552 Ormsby Station Ct, Louisville, KY 40223        Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/1/2010 VA 1-434-724           10/24/2014                   3/1/2010                7/2/2020

  12993245 2650 Eastpoint Pky, Louisville, KY 40223                 Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/12/2010 VA 1-434-724           10/24/2014                  4/12/2010                8/9/2020

  13010583 9401 Williamsburg Plaza, Louisville, KY 40222            Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/15/2010 VA 1-434-724           10/24/2014                  4/15/2010               6/17/2020

  13010584 9000 Wessex Pl, Louisville, KY 40222                     Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/15/2010 VA 1-434-724           10/24/2014                  4/15/2010                7/4/2020

  13010591 9000 Wessex Pl, Louisville, KY 40222                     Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/15/2010 VA 1-434-724           10/24/2014                  4/15/2010               6/18/2020

  13060623 10180 Linn Station Rd, Louisville, KY 40223              Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/16/2010 VA 1-434-724           10/24/2014                  4/16/2010               6/27/2020

  13060625 10180 Linn Station Rd, Louisville, KY 40223              Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/16/2010 VA 1-434-724           10/24/2014                  4/16/2010               6/26/2020

  13133631 400 W Market St, Louisville, KY 40202                    Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/30/2010 VA 1-434-724           10/24/2014                  4/30/2010               6/27/2020

  13320180 106 W Vine St, Lexington, KY 40507                       Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/24/2010 VA 1-434-724           10/24/2014                  5/24/2010               6/18/2020

  13634472 9420 Bunsen Pky, Louisville, KY 40220                    Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        7/7/2010 VA 1-434-724           10/24/2014                   7/7/2010               10/3/2020

  13867877 9001 Cane Run Rd, Louisville, KY 40258                   Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/6/2010 VA 1-434-724           10/24/2014                   8/6/2010               6/26/2020

  14108334 4229 Bardstown Rd, Louisville, KY 40218                  Dale Rushing                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        9/2/2010 VA 1-434-724           10/24/2014                   9/2/2010               6/21/2020
  13938376 2250-2300 W Ridge Rd, Greece, NY 14626                   Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/16/2010 VA 1-434-763           10/24/2014                  8/16/2010                8/2/2020
  14557400 2400 Sheridan Dr, TONAWANDA, NY 14150                    Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/21/2010 VA 1-434-763           10/24/2014                 10/21/2010               6/29/2020
  14557403 2400 Sheridan Dr, TONAWANDA, NY 14150                    Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/21/2010 VA 1-434-763           10/24/2014                 10/21/2010                7/9/2020
  14894823 30 Fort Hill Ave, Canandaigua, NY 14424                  Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/3/2010 VA 1-434-763           10/24/2014                  12/3/2010               6/18/2020
  14183218 5335-5337 College Ave, Oakland, CA 94618                 Anita Shin                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        9/9/2010 VA 1-434-743           10/24/2014                   9/9/2010               6/25/2020
  14482517 477 Devlin Rd, Napa, CA 94558                            Anita Shin                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      10/12/2010 VA 1-434-743           10/24/2014                 10/12/2010               6/30/2020
  12145647 4926 Six Oaks Dr, Tallahassee, FL 32303                  David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2010 VA 1-434-764           10/24/2014                  1/25/2010                7/5/2020
  12993468 3500 Financial Plz, Tallahassee, FL 32312                David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2010 VA 1-434-764           10/24/2014                  4/12/2010                7/2/2020
  13191688 3500 Financial Plz, Tallahassee, FL 32312                David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2010 VA 1-434-764           10/24/2014                  4/12/2010                7/2/2020
  14157004 2100 State Ave, Panama City, FL 32405                    David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/7/2010 VA 1-434-764           10/24/2014                   9/7/2010               6/29/2020
  12219415 4730 NW Boca Raton Ave, Boca Raton, FL 33431             Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/4/2010 VA 1-434-767           10/24/2014                   2/4/2010               1/23/2021
  12554586 1300 N Federal Hwy, Boca Raton, FL 33432                 Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/18/2010 VA 1-434-767           10/24/2014                  2/18/2010               7/30/2020
  12655321 3122-3132 N Pine Island Rd, Sunrise, FL 33351            Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/1/2010 VA 1-434-767           10/24/2014                   3/1/2010               6/24/2020
  12900669 407 Commerce Way, Jupiter, FL 33458                      Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/31/2010 VA 1-434-767           10/24/2014                  3/31/2010                7/4/2020
  13045859 2000 W Commercial Blvd, Fort Lauderdale, FL 33309        Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/20/2010 VA 1-434-767           10/24/2014                  4/20/2010               6/24/2020
  13245869 1851 Broadway, Riviera Beach, FL 33404                   Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2010 VA 1-434-767           10/24/2014                  5/14/2010               6/19/2020
  13245870 1851 Broadway, Riviera Beach, FL 33404                   Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2010 VA 1-434-767           10/24/2014                  5/14/2010               6/26/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                  54
                                                                    Case 2:20-cv-08819-CBM-AS                                   Document 950-1 Filed 10/25/24                                                                   Page 82 of 202 Page
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Attachment                                                                                     Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                 Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   13735158 4601 N Congress Ave, West Palm Beach, FL 33407               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/19/2010 VA 1-434-767            10/24/2014                  7/19/2010               6/25/2020
   14203413 34-38 S Federal Hwy, Dania Beach, FL 33004                   Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/9/2010 VA 1-434-767            10/24/2014                   9/9/2010               6/18/2020
   14203415 34-38 S Federal Hwy, Dania Beach, FL 33004                   Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/9/2010 VA 1-434-767            10/24/2014                   9/9/2010               6/26/2020
   14625376 1501 Us Highway 1, Vero Beach, FL 32960                      Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/27/2010 VA 1-434-767            10/24/2014                 10/27/2010               6/29/2020
   14732815 9874 Yamato Rd, Boca Raton, FL 33434                         Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/10/2010 VA 1-434-767            10/24/2014                 11/10/2010               6/29/2020
   14784897 840 Jupiter Park Dr, Jupiter, FL 33458                       Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/16/2010 VA 1-434-767            10/24/2014                 11/16/2010                7/6/2020
   14798645 7308-7446 Lake Worth Rd, Lake Worth, FL 33467                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/17/2010 VA 1-434-767            10/24/2014                 11/17/2010              10/12/2020
   15016193 1967 W 9th St, Riviera Beach, FL 33404                       Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/20/2010 VA 1-434-767            10/24/2014                 12/20/2010               7/10/2020
   15016238 1968 W 9th St, Riviera Beach, FL 33404                       Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/21/2010 VA 1-434-767            10/24/2014                 12/21/2010               6/25/2020
   15059522 1730 Hill Ave, Mangonia Park, FL 33407                       Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2010 VA 1-434-767            10/24/2014                 12/30/2010               6/28/2020
   15059528 1730 Hill Ave, Mangonia Park, FL 33407                       Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2010 VA 1-434-767            10/24/2014                 12/30/2010               6/20/2020
   13517484 14717 Bear Valley Rd, Hesperia, CA 92345                     Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/22/2010 VA 1-434-721            10/24/2014                  6/22/2010                7/8/2020
   14784947 1369 W 9th St, Upland, CA 91786                              Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/16/2010 VA 1-434-721            10/24/2014                 11/16/2010               6/28/2020
   13716307 2740 Sand Hill Rd, Menlo Park, CA 94025                      Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/19/2010 VA 1-434-728            10/24/2014                  7/19/2010               6/27/2020
   14368902 1101 Pacific Ave, Santa Cruz, CA 95060                       Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      9/29/2010 VA 1-434-728            10/24/2014                  9/29/2010               6/30/2020

  12627283 200 E 31st Ln, Savannah, GA 31401                             Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       2/25/2010 VA 1-434-608           10/24/2014                  2/25/2010               6/18/2020

  12688151 1334 Ashley River Rd, Charleston, SC 29407                    Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        3/4/2010 VA 1-434-608           10/24/2014                   3/4/2010               6/26/2020

  13061741 4000 Faber Place Dr, North Charleston, SC 29405               Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/16/2010 VA 1-434-608           10/24/2014                  4/16/2010                7/4/2020

  13068517 1184 Clements Ferry Rd, Charleston, SC 29492                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/22/2010 VA 1-434-608           10/24/2014                  4/22/2010                7/2/2020

  13107323 422 Habersham St, Savannah, GA 31401                          Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/27/2010 VA 1-434-608           10/24/2014                  4/27/2010              11/19/2020

  13134238 145 King St, Charleston, SC 29401                             Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/29/2010 VA 1-434-608           10/24/2014                  4/29/2010               6/19/2020

  13134250 145 King St, Charleston, SC 29401                             Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/29/2010 VA 1-434-608           10/24/2014                  4/29/2010               6/24/2020

  13172903 3294 Ashley Phosphate Rd, North Charleston, SC 29418          Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/5/2010 VA 1-434-608           10/24/2014                   5/5/2010               6/22/2020

  13841821 414 Martin Luther King Jr Blvd, Savannah, GA 31401            Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/30/2010 VA 1-434-608           10/24/2014                  7/30/2010                7/8/2020

  13863479 3215 Fortune Dr, Charleston, SC 29418                         Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        8/5/2010 VA 1-434-608           10/24/2014                   8/5/2010                7/6/2020

  14466013 2913 Bull St, Savannah, GA 31405                              Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      10/11/2010 VA 1-434-608           10/24/2014                 10/11/2010              11/20/2020

  14837896 300 Telfair Rd, Savannah, GA 31415                            Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/23/2010 VA 1-434-608           10/24/2014                 11/23/2010                7/7/2020

  14987888 1831 Reynolds Ave, North Charleston, SC 29405                 Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/16/2010 VA 1-434-608           10/24/2014                 12/16/2010                7/7/2020
  12135992 5100 Eldorado Pky, McKinney, TX 75070                         Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/13/2010 VA 1-434-719           10/24/2014                  1/13/2010               6/21/2020
  12752245 800 W Airport Fwy, Irving, TX 75062                           Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/2/2010 VA 1-434-719           10/24/2014                   3/2/2010                7/3/2020
  12752258 250 W Airport Fwy, Irving, TX 75062                           Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/2/2010 VA 1-434-719           10/24/2014                   3/2/2010                7/3/2021
  12752628 810 E Ralph Hall Pky, Rockwall, TX 75087                      Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/9/2010 VA 1-434-719           10/24/2014                   3/9/2010               6/23/2020
  12761996 911 N Macarthur Blvd, Irving, TX 75061                        Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/26/2010 VA 1-434-719           10/24/2014                  2/26/2010               6/24/2020
  12762000 911 N Macarthur Blvd, Irving, TX 75061                        Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/26/2010 VA 1-434-719           10/24/2014                  2/26/2010               6/29/2020
  13076859 2100 Lakeside Blvd, Richardson, TX 75082                      Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/23/2010 VA 1-434-719           10/24/2014                  4/23/2010               11/2/2020
  13107868 511 E John Carpenter Fwy, Irving, TX 75062                    Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/27/2010 VA 1-434-719           10/24/2014                  4/27/2010               6/19/2020
  13107890 511 E John Carpenter Fwy, Irving, TX 75062                    Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/27/2010 VA 1-434-719           10/24/2014                  4/27/2010               6/18/2020
  14275256 307 Ferris Ave, Waxahachie, TX 75165                          Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/17/2010 VA 1-434-719           10/24/2014                  9/17/2010                7/9/2020
  12018658 3410-3418 Olandwood Ct, Olney, MD 20832                       Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2010 VA 1-434-765           10/24/2014                   1/7/2010               7/20/2020
  12018660 3410-3418 Olandwood Ct, Olney, MD 20832                       Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2010 VA 1-434-765           10/24/2014                   1/7/2010               7/20/2020
  12068621 207 Mississippi Ave SE, Washington, DC 20032                  Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/14/2010 VA 1-434-765           10/24/2014                  1/14/2010               6/23/2020
  13070194 30 W Gude Dr, Rockville, MD 20850                             Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/15/2010 VA 1-434-765           10/24/2014                  4/15/2010               7/20/2020
  13077111 8757 Georgia Ave, Silver Spring, MD 20910                     Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2010 VA 1-434-765           10/24/2014                  4/23/2010               6/18/2020
  13139025 20 Courthouse Sq, Rockville, MD 20850                         Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2010 VA 1-434-765           10/24/2014                   5/1/2010               7/20/2020
  13139028 20 Courthouse Sq, Rockville, MD 20850                         Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2010 VA 1-434-765           10/24/2014                   5/1/2010               7/20/2020
  13338377 1020 Prince Frederick Blvd, Prince Frederick, MD 20678        Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/26/2010 VA 1-434-765           10/24/2014                  5/26/2010               6/20/2020
  13348161 101 Skipjack Rd, Prince Frederick, MD 20678                   Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/27/2010 VA 1-434-765           10/24/2014                  5/27/2010               6/22/2020
  13348168 101 Skipjack Rd, Prince Frederick, MD 20678                   Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/27/2010 VA 1-434-765           10/24/2014                  5/27/2010                7/4/2020
  13444808 2510 Solomons Island Rd, Huntingtown, MD 20639                Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/11/2010 VA 1-434-765           10/24/2014                  6/11/2010               6/26/2020
  13444815 2510 Solomons Island Rd, Huntingtown, MD 20639                Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/11/2010 VA 1-434-765           10/24/2014                  6/11/2010               6/19/2020
  13951304 12101-12127 Heritage Park Cir, Silver Spring, MD 20906        Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2010 VA 1-434-765           10/24/2014                  8/17/2010               7/20/2020
  14258923 1202 Rising Ridge Rd, Mount Airy, MD 21771                    Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2010 VA 1-434-765           10/24/2014                  9/16/2010               6/25/2020
  14258941 1302 Rising Ridge Rd, Mount Airy, MD 21771                    Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2010 VA 1-434-765           10/24/2014                  9/16/2010               6/29/2020
  13017796 2801 Concord Pike, Wilmington, DE 19803                       Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       4/16/2010 VA 1-434-637           10/24/2014                  4/16/2010                7/1/2020
  12562426 7300 Sand Lake Commons Blvd, Orlando, FL 32819                Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/18/2010 VA 1-434-615           10/24/2014                  2/18/2010               11/7/2020
  12574282 7485 Sandlake Commons Blvd, Orlando, FL 32819                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/18/2010 VA 1-434-615           10/24/2014                  2/18/2010               6/17/2020
  12656795 7485 Sandlake Commons Blvd, Orlando, FL 32819                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/18/2010 VA 1-434-615           10/24/2014                  2/18/2010               6/28/2020
  12807365 451-455 W Warren Ave, Longwood, FL 32750                      Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/19/2010 VA 1-434-615           10/24/2014                  3/19/2010               6/28/2020
  13004490 6965 Piazza Grande Ave, Orlando, FL 32835                     Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2010 VA 1-434-615           10/24/2014                  4/13/2010               7/14/2020
  13004491 6965 Piazza Grande Ave, Orlando, FL 32835                     Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2010 VA 1-434-615           10/24/2014                  4/13/2010               7/14/2020
  13071030 101 S New York Ave, Winter Park, FL 32789                     Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/22/2010 VA 1-434-615           10/24/2014                  4/22/2010               6/22/2020
  13108617 5401 S Kirkman Rd, Orlando, FL 32819                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2010 VA 1-434-615           10/24/2014                  4/27/2010               6/27/2020
  13108619 5401 S Kirkman Rd, Orlando, FL 32819                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2010 VA 1-434-615           10/24/2014                  4/27/2010               6/29/2020
  13163396 2501 Discovery Dr, Orlando, FL 32826                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2010 VA 1-434-615           10/24/2014                   5/4/2010                7/3/2020
  13163443 12301 Lake Underhill Rd, Orlando, FL 32828                    Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2010 VA 1-434-615           10/24/2014                   5/4/2010               6/24/2020
  13189679 5850 T G Lee Blvd, Orlando, FL 32822                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-615           10/24/2014                   5/7/2010               6/21/2020
  13189685 5850 T G Lee Blvd, Orlando, FL 32822                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-615           10/24/2014                   5/7/2010               6/25/2020




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   13189688 5850 T G Lee Blvd, Orlando, FL 32822                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/7/2010 VA 1-434-615            10/24/2014                   5/7/2010               6/29/2020
   13207814 201 E Pine St, Orlando, FL 32801                            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2010 VA 1-434-615            10/24/2014                  5/10/2010               6/19/2020
   13240955 12650 Ingenuity Dr, Orlando, FL 32826                       Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2010 VA 1-434-615            10/24/2014                  5/13/2010               6/29/2020
   13695573 11869 High Tech Ave, Orlando, FL 32817                      Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/15/2010 VA 1-434-615            10/24/2014                  7/15/2010                7/7/2020
   13695577 11869 High Tech Ave, Orlando, FL 32817                      Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/15/2010 VA 1-434-615            10/24/2014                  7/15/2010               6/21/2020
   13856380 7751 Kingspointe Pky, Orlando, FL 32819                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/4/2010 VA 1-434-615            10/24/2014                   8/4/2010               7/14/2020
   13897778 6549 N Orange Blossom Trl, Orlando, FL 32810                Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/10/2010 VA 1-434-615            10/24/2014                  8/10/2010                7/6/2020
   13897780 5422 N Orange Blossom Trl, Orlando, FL 32810                Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/10/2010 VA 1-434-615            10/24/2014                  8/10/2010               6/26/2020
   13910314 2613 NE 3rd St, Ocala, FL 34470                             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/11/2010 VA 1-434-615            10/24/2014                  8/11/2010               6/28/2020
   14001288 3001 W Silver Springs Blvd, Ocala, FL 34475                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/23/2010 VA 1-434-615            10/24/2014                  8/23/2010               6/26/2020
   14264283 1996-2066 Classique Ln, Tavares, FL 32778                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/17/2010 VA 1-434-615            10/24/2014                  9/17/2010               2/21/2021
   14406503 7790 W Irlo Bronson Hwy, Kissimmee, FL 34747                Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2010 VA 1-434-615            10/24/2014                  10/4/2010               6/26/2020
   14803527 1323 N Orange Ave, Orlando, FL 32804                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/18/2010 VA 1-434-615            10/24/2014                 11/18/2010               1/18/2021
   15051308 826 Irma Ave, Orlando, FL 32803                             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/28/2010 VA 1-434-615            10/24/2014                 12/28/2010               4/23/2020
   15078658 1209 Edgewater Dr, Orlando, FL 32804                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/30/2010 VA 1-434-615            10/24/2014                 12/30/2010                7/8/2020
   15078660 1209 Edgewater Dr, Orlando, FL 32804                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/30/2010 VA 1-434-615            10/24/2014                 12/30/2010               6/27/2020
   12072069 101 Commerce Dr, Mount Hope, WV 25880                       Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/11/2010 VA 1-434-730            10/24/2014                  1/11/2010                7/1/2020
   13004770 109 Capitol St, Charleston, WV 25301                        Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/13/2010 VA 1-434-730            10/24/2014                  4/13/2010               7/15/2020
   13018239 1 Players Club Dr, Charleston, WV 25311                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/16/2010 VA 1-434-730            10/24/2014                  4/16/2010               6/20/2020
   13047737 2800 Keagy Rd, Salem, VA 24153                              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/20/2010 VA 1-434-730            10/24/2014                  4/20/2010              11/26/2020
   13072001 500 Summers St, Charleston, WV 25301                        Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/12/2010 VA 1-434-730            10/24/2014                  4/12/2010               8/11/2020
   13129722 1616 13th Ave, Huntington, WV 25701                         Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/29/2010 VA 1-434-730            10/24/2014                  4/29/2010               6/21/2020
   13136589 1 Players Club Dr, Charleston, WV 25311                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/16/2010 VA 1-434-730            10/24/2014                  4/16/2010                7/3/2020
   13145756 8 Stonecrest Dr, Huntington, WV 25701                       Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/30/2010 VA 1-434-730            10/24/2014                  4/30/2010                8/8/2020
   13146613 3622 Maccorkle Ave, Charleston, WV 25304                    Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/15/2010 VA 1-434-730            10/24/2014                  4/15/2010               6/17/2020
   13843846 5 McJunkin Rd, Nitro, WV 25143                              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/3/2010 VA 1-434-730            10/24/2014                   8/3/2010                8/9/2020
   13843860 6-20 McJunkin Rd, Nitro, WV 25143                           Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/3/2010 VA 1-434-730            10/24/2014                   8/3/2010               1/13/2021
   13951941 16 Sterling Dr, Bridgeport, WV 26330                        Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      8/17/2010 VA 1-434-730            10/24/2014                  8/17/2010               7/15/2020
   14299966 1000 Technology Dr, Fairmont, WV 26554                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/21/2010 VA 1-434-730            10/24/2014                  9/21/2010               7/15/2020
   14299974 5000 NASA Blvd, Fairmont, WV 26554                          Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/21/2010 VA 1-434-730            10/24/2014                  9/21/2010               7/15/2020
   14299981 5000 NASA Blvd, Fairmont, WV 26554                          Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/21/2010 VA 1-434-730            10/24/2014                  9/21/2010               7/15/2020
   14333657 51 Southland Dr, Fairmont, WV 26554                         Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/24/2010 VA 1-434-730            10/24/2014                  9/24/2010               6/25/2020
   14530009 1129 E Main St, Radford, VA 24141                           Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/15/2010 VA 1-434-730            10/24/2014                 10/15/2010               6/25/2020
   12691206 1312-1314 Saint Louis Ave, Kansas City, MO 64101            Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/4/2010 VA 1-434-749            10/24/2014                   3/4/2010               6/25/2020
   12970656 10600 Metcalf Ave, Overland Park, KS 66212                  Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/7/2010 VA 1-434-749            10/24/2014                   4/7/2010                8/9/2020
   13047741 10551 Barkley St, Overland Park, KS 66212                   Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/20/2010 VA 1-434-749            10/24/2014                  4/20/2010               6/22/2020
   13132091 3400 College Blvd, Leawood, KS 66211                        Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/19/2010 VA 1-434-749            10/24/2014                  4/19/2010               7/12/2021
   13174338 2001 NE 46th St, Kansas City, MO 64116                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/5/2010 VA 1-434-749            10/24/2014                   5/5/2010               6/17/2020
   13519010 1106 Guinotte Ave, Kansas City, MO 64120                    Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/22/2010 VA 1-434-749            10/24/2014                  6/22/2010               10/7/2020
   14358790 3130 Troost Ave, Kansas City, MO 64109                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/28/2010 VA 1-434-749            10/24/2014                  9/28/2010                7/8/2020
   15019817 3845 Broadway St, Kansas City, MO 64111                     Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/21/2010 VA 1-434-749            10/24/2014                 12/21/2010                7/6/2020
   14186104 2880 Us-9, Valatie, NY 12184                                Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/9/2010 VA 1-434-623            10/24/2014                   9/9/2010               6/24/2020
   14660793 42 S Main St, Voorheesville, NY 12186                       Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/2/2010 VA 1-434-623            10/24/2014                  11/2/2010               8/12/2020
   13078252 1 E Oak Hill Dr, Westmont, IL 60559                         Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2010 VA 1-434-750            10/24/2014                  4/23/2010               6/27/2020
   13078262 1 E Oak Hill Dr, Westmont, IL 60559                         Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2010 VA 1-434-750            10/24/2014                  4/23/2010               6/18/2020
   13078270 1 E Oak Hill Dr, Westmont, IL 60559                         Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/23/2010 VA 1-434-750            10/24/2014                  4/23/2010               6/17/2020
   13640398 10100 Orland Pky, Orland Park, IL 60467                     Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2010 VA 1-434-750            10/24/2014                   7/7/2010               6/27/2020
   13640405 1870 Silver Cross Blvd, New Lenox, IL 60451                 Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2010 VA 1-434-750            10/24/2014                   7/7/2010                7/9/2020
   13816504 3033 W Jefferson St, Joliet, IL 60435                       Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/29/2010 VA 1-434-750            10/24/2014                  7/29/2010                7/7/2020
   13816507 3033 W Jefferson St, Joliet, IL 60435                       Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/29/2010 VA 1-434-750            10/24/2014                  7/29/2010               6/21/2020
   14002731 1001 N Main St, Nappanee, IN 46550                          Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/23/2010 VA 1-434-750            10/24/2014                  8/23/2010               5/16/2020
   14002742 1001 N Main St, Nappanee, IN 46550                          Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/23/2010 VA 1-434-750            10/24/2014                  8/23/2010               6/18/2020
   12137683 312 S 8th St, Colorado Springs, CO 80905                    Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/25/2010 VA 1-434-611            10/24/2014                  1/25/2010                8/8/2020
   13099353 1750 Telstar Dr, Colorado Springs, CO 80920                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/26/2010 VA 1-434-611            10/24/2014                  4/26/2010                7/1/2020
   13099355 1750 Telstar Dr, Colorado Springs, CO 80920                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/26/2010 VA 1-434-611            10/24/2014                  4/26/2010               6/19/2020
   13219726 1110 W Us-50 Hwy, Pueblo, CO 81008                          Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/11/2010 VA 1-434-611            10/24/2014                  5/11/2010               7/31/2020
   13530417 1004 W 29th St, Pueblo, CO 81008                            Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/23/2010 VA 1-434-611            10/24/2014                  6/23/2010               6/27/2020
   13530419 1004 W 29th St, Pueblo, CO 81008                            Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/23/2010 VA 1-434-611            10/24/2014                  6/23/2010               6/19/2020
   13644957 1520 W 4th St, Pueblo, CO 81004                             Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/9/2010 VA 1-434-611            10/24/2014                   7/9/2010               6/17/2020
   14449761 6260 E Progress Ln, Parker, CO 80134                        Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/8/2010 VA 1-434-611            10/24/2014                  10/8/2010               6/30/2020
   14570007 8920 Barrons Blvd, Highlands Ranch, CO 80129                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/19/2010 VA 1-434-611            10/24/2014                 10/19/2010               6/27/2020
   12693719 590 Fifth Ave, New York, NY 10036                           Victor Rivera                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/2/2010 VA 1-434-617            10/24/2014                   3/2/2010               6/23/2020
   13912017 32 W 39th St, New York, NY 10018                            Victor Rivera                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/9/2010 VA 1-434-617            10/24/2014                   8/9/2010               6/24/2020
   14077719 4366-4368 W Pierson Rd, Flint, MI 48504                     Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      8/30/2010 VA 1-434-619            10/24/2014                  8/30/2010               6/18/2020
   14265285 3101-3109 S Martin Luther King Jr Blvd, Lansing, MI 48910   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      9/17/2010 VA 1-434-619            10/24/2014                  9/17/2010                7/5/2020
   14747974 5315 Elliott Dr, Ypsilanti, MI 48197                        Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/11/2010 VA 1-434-619            10/24/2014                 11/11/2010               6/27/2020
   14646467 1955 Lincoln Way, Mckeesport, PA 15131                      Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/1/2010 VA 1-434-747            10/24/2014                  11/1/2010               6/28/2020
   13846789 4009-4015 Pelham Ct, Greer, SC 29650                        William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/29/2010 VA 1-434-632            10/24/2014                  7/29/2010               6/28/2020
   13846794 4009-4015 Pelham Ct, Greer, SC 29650                        William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/29/2010 VA 1-434-632            10/24/2014                  7/29/2010               6/23/2020
   14003368 2101 Powdersville Rd, Easley, SC 29642                      William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      8/23/2010 VA 1-434-632            10/24/2014                  8/23/2010               6/21/2020
   14479821 730 S Pleasantburg Dr, Greenville, SC 29607                 William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/8/2010 VA 1-434-632            10/24/2014                  10/8/2010               6/26/2020
   14481340 1218 Laurens Rd, Greenville, SC 29607                       William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/12/2010 VA 1-434-632            10/24/2014                 10/12/2010                7/7/2020
   14546909 1228 S Pleasantburg Dr, Greenville, SC 29605                William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/20/2010 VA 1-434-632            10/24/2014                 10/20/2010               7/10/2020
   14843322 24 Memorial Medical Dr, Greenville, SC 29605                William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/23/2010 VA 1-434-632            10/24/2014                 11/23/2010               6/22/2020
   14991089 1040 W Washington St, Greenville, SC 29601                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     12/16/2010 VA 1-434-632            10/24/2014                 12/16/2010                7/9/2020
   14991102 1040 W Washington St, Greenville, SC 29601                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     12/16/2010 VA 1-434-632            10/24/2014                 12/16/2010               6/26/2020
   13888009 10180 S 54th St, Franklin, WI 53132                         Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       8/7/2010 VA 1-434-641            10/24/2014                   8/7/2010               6/28/2020
   14003370 400 Ams Ct, Howard, WI 54313                                Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/23/2010 VA 1-434-641            10/24/2014                  8/23/2010               6/26/2020
   14076225 1515 S Green Bay Rd, Racine, WI 53406                       Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/30/2010 VA 1-434-641            10/24/2014                  8/30/2010               6/26/2020
   14160381 9779 S Franklin Dr, Franklin, WI 53132                      Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/7/2010 VA 1-434-641            10/24/2014                   9/7/2010               6/29/2020




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   14315666 812 S Fisk St, Green Bay, WI 54304                       Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                     3018921977      9/21/2010 VA 1-434-641            10/24/2014                  9/21/2010               6/25/2020
   14315671 812 S Fisk St, Green Bay, WI 54304                       Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                     3018921977      9/21/2010 VA 1-434-641            10/24/2014                  9/21/2010               6/25/2020
   14929670 511 N Wales Rd, Wales, WI 53183                          Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                     3018921977      12/8/2010 VA 1-434-641            10/24/2014                  12/8/2010               6/20/2020
   14505508 118 Commercial Cir, Conroe, TX 77304                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/14/2010 VA 1-434-629            10/24/2014                 10/14/2010               6/26/2020
   14505513 118 Commercial Cir, Conroe, TX 77304                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/14/2010 VA 1-434-629            10/24/2014                 10/14/2010               6/29/2020
   14571202 109 Commercial Cir, Conroe, TX 77304                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/14/2010 VA 1-434-629            10/24/2014                 10/14/2010               6/28/2020
   14571225 2004 N Frazier St, Conroe, TX 77301                      Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/22/2010 VA 1-434-629            10/24/2014                 10/22/2010               1/27/2021
   14770205 902 Callahan Ave, Conroe, TX 77301                       Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/26/2010 VA 1-434-629            10/24/2014                 10/26/2010               6/21/2020
   14770208 902 Callahan Ave, Conroe, TX 77301                       Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     10/26/2010 VA 1-434-629            10/24/2014                 10/26/2010               6/23/2020
   14930383 2230 Buckthorne Pl, The Woodlands, TX 77380              Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      12/8/2010 VA 1-434-629            10/24/2014                  12/8/2010               6/26/2020
   15082626 2626 Research Forest Dr, The Woodlands, TX 77381         Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300     12/30/2010 VA 1-434-629            10/24/2014                 12/30/2010                7/7/2020
   14985746 850 N Main Street Ext, Wallingford, CT 06492             Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500     12/14/2010 VA 1-434-726            10/24/2014                 12/14/2010               6/20/2020
   14985788 852 N Main Street Ext, Wallingford, CT 06492             Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500     12/14/2010 VA 1-434-726            10/24/2014                 12/14/2010               6/27/2020
   14991407 1347 E Main St, Meriden, CT 06450                        Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500     12/16/2010 VA 1-434-726            10/24/2014                 12/16/2010               6/29/2020
   14991421 1347 E Main St, Meriden, CT 06450                        Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                      4169457500     12/16/2010 VA 1-434-726            10/24/2014                 12/16/2010               6/22/2020
   13770827 6222 Richmond Ave, Houston, TX 77057                     Richard Craig                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500      7/27/2010 VA 1-434-635            10/24/2014                  7/27/2010               6/25/2020
   13875472 9700 W Gulf Bank Rd, Houston, TX 77040                   Richard Craig                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500       8/9/2010 VA 1-434-635            10/24/2014                   8/9/2010               6/26/2020
   14855552 11027 Southwest Fwy, Houston, TX 77074                   Richard Craig                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500     11/23/2010 VA 1-434-635            10/24/2014                 11/23/2010              10/23/2020
   14855653 25222 Glen Loch Dr, The Woodlands, TX 77380              Richard Craig                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                 2023466500     11/23/2010 VA 1-434-635            10/24/2014                 11/23/2010                7/7/2020
   11991705 1177 West Loop South, Houston, TX 77027                  Anthony Chapman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/4/2010 VA 1-434-741            10/24/2014                   1/4/2010                7/5/2020
   11999286 318 W Pike St, Lawrenceville, GA 30046                   Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/5/2010 VA 1-434-739            10/24/2014                   1/5/2010               2/21/2021
   11999295 316 W Pike St, Lawrenceville, GA 30046                   Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/5/2010 VA 1-434-739            10/24/2014                   1/5/2010               2/21/2021
   12009327 621 Hurricane Shoals Rd, Lawrenceville, GA 30046         Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/6/2010 VA 1-434-739            10/24/2014                   1/6/2010              10/27/2020
   12009330 725 Old Norcross Rd, Lawrenceville, GA 30046             Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/6/2010 VA 1-434-739            10/24/2014                   1/6/2010               6/17/2020
   12019055 753 Winer Industrial Way, Lawrenceville, GA 30046        Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/7/2010 VA 1-434-739            10/24/2014                   1/7/2010               6/22/2020
   12019063 752 Winer Industrial Way, Lawrenceville, GA 30046        Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/7/2010 VA 1-434-739            10/24/2014                   1/7/2010               6/22/2020
   12019099 505 Buford Dr, Lawrenceville, GA 30046                   Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/7/2010 VA 1-434-739            10/24/2014                   1/7/2010               6/21/2020
   12019105 509 Buford Dr, Lawrenceville, GA 30046                   Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       1/7/2010 VA 1-434-739            10/24/2014                   1/7/2010               8/10/2020
   12070402 675 Progress Center Ave, Lawrenceville, GA 30043         Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/13/2010 VA 1-434-739            10/24/2014                  1/13/2010               2/16/2021
   12097621 2004 S Mason Rd, Katy, TX 77450                          Alexis Belk                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/19/2010 VA 1-434-737            10/24/2014                  1/19/2010               6/23/2020
   12116285 1270 Progress Center Ave, Lawrenceville, GA 30043        Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/20/2010 VA 1-434-739            10/24/2014                  1/20/2010               6/23/2020
   12158441 720 Townsend Blvd, Dover, DE 19901                       Valdur Kaselaan                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/27/2010 VA 1-434-618            10/24/2014                  1/27/2010               6/20/2020
   12175331 289 Jackson St, Lawrenceville, GA 30046                  Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/28/2010 VA 1-434-739            10/24/2014                  1/28/2010                7/4/2020
   12175337 289 Jackson St, Lawrenceville, GA 30046                  Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      1/28/2010 VA 1-434-739            10/24/2014                  1/28/2010               6/18/2020
   12250059 4645 Nixon Park Dr, Syracuse, NY 13215                   Edward Bulken                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       2/9/2010 VA 1-434-753            10/24/2014                   2/9/2010               6/29/2020
   12250094 321 S Thor St, Turlock, CA 95380                         Enrique Meza                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       2/9/2010 VA 1-434-731            10/24/2014                   2/9/2010               6/28/2020
   12250098 321 S Thor St, Turlock, CA 95380                         Enrique Meza                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       2/9/2010 VA 1-434-731            10/24/2014                   2/9/2010                7/3/2020
   12254247 3970-B Salem Ave, Dayton, OH 45406                       Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       2/9/2010 VA 1-434-624            10/24/2014                   2/9/2010               6/23/2020
   12563225 4955 Sugarloaf Pky, Lawrenceville, GA 30044              Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      2/18/2010 VA 1-434-739            10/24/2014                  2/18/2010               6/29/2020
   12569738 3411 S 300 E, Salt Lake City, UT 84115                   Cynthia Woerner                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      2/19/2010 VA 1-434-752            10/24/2014                  2/19/2010               6/18/2020
   12569739 3411 S 300 E, Salt Lake City, UT 84115                   Cynthia Woerner                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      2/19/2010 VA 1-434-752            10/24/2014                  2/19/2010               6/26/2020
   12571006 21650 Oxnard St, Woodland Hills, CA 91367                William Haas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      2/11/2010 VA 1-434-621            10/24/2014                  2/11/2010               6/25/2020
   12627896 17452 Irvine Blvd, Tustin, CA 92780                      Bill Helm                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      2/25/2010 VA 1-434-751            10/24/2014                  2/25/2010               6/28/2020
   12718516 1704 N 43rd Ave, Phoenix, AZ 85009                       Craig Darragh                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       3/9/2010 VA 1-434-720            10/24/2014                   3/9/2010               7/31/2020
   12748361 300 E 1700 S, Clearfield, UT 84015                       Cynthia Woerner                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/11/2010 VA 1-434-752            10/24/2014                  3/11/2010                7/4/2020
   12748724 2415-2419 E Main St, Ventura, CA 93003                   William Haas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/11/2010 VA 1-434-621            10/24/2014                  3/11/2010               6/29/2020
   12802548 1100 Keys Ferry Ct, Mcdonough, GA 30253                  Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/18/2010 VA 1-434-739            10/24/2014                  3/18/2010               9/14/2020
   12815383 301-319 E Lea Blvd, Wilmington, DE 19802                 Valdur Kaselaan                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/19/2010 VA 1-434-618            10/24/2014                  3/19/2010               6/22/2020
   12889159 5316-5330 San Pedro Ave, San Antonio, TX 78212           Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/30/2010 VA 1-434-770            10/24/2014                  3/30/2010               6/25/2020
   12904553 1485 Olney St SE, Port Orchard, WA 98366                 Blake Diers                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      3/31/2010 VA 1-434-740            10/24/2014                  3/31/2010                7/3/2020
   12913830 2435 Texas Pky, Missouri City, TX 77489                  Alexis Belk                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/1/2010 VA 1-434-737            10/24/2014                   4/1/2010               6/17/2020
   12913848 2487-2563 Cartwright Rd, Missouri City, TX 77459         Alexis Belk                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/1/2010 VA 1-434-737            10/24/2014                   4/1/2010               6/19/2020
   12913862 2487-2563 Cartwright Rd, Missouri City, TX 77459         Alexis Belk                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/1/2010 VA 1-434-737            10/24/2014                   4/1/2010                7/3/2020
   12924071 816 Post St, Greensboro, NC 27405                        Andrea Erickson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/1/2010 VA 1-434-736            10/24/2014                   4/1/2010               6/26/2020
   12954192 1860 Duluth Hwy, Lawrenceville, GA 30043                 Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/7/2010 VA 1-434-739            10/24/2014                   4/7/2010               6/19/2020
   12954194 1860 Duluth Hwy, Lawrenceville, GA 30043                 Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/7/2010 VA 1-434-739            10/24/2014                   4/7/2010                7/3/2020
   12995539 3355 Breckinridge Blvd, Duluth, GA 30096                 Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/9/2010 VA 1-434-739            10/24/2014                   4/9/2010               8/11/2020
   12997220 291 Worcester St, Natick, MA 01760                       Shelly Bourbeau                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/12/2010 VA 1-434-607            10/24/2014                  4/12/2010                4/2/2021
   12997548 3121 Evelyn Dr, Beavercreek, OH 45434                    Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-624            10/24/2014                  4/13/2010                7/1/2020
   12997552 3121 Evelyn Dr, Beavercreek, OH 45434                    Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-624            10/24/2014                  4/13/2010               6/22/2020
   13004856 65 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-729            10/24/2014                  4/13/2010               6/20/2020
   13004859 65 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-729            10/24/2014                  4/13/2010               6/29/2020
   13004862 55 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-729            10/24/2014                  4/13/2010               6/29/2020
   13005571 6303 E Tanque Verde Rd, Tucson, AZ 85715                 Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-748            10/24/2014                  4/13/2010               6/20/2020
   13005586 6303 E Tanque Verde Rd, Tucson, AZ 85715                 Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-748            10/24/2014                  4/13/2010               6/30/2020
   13005588 6303 E Tanque Verde Rd, Tucson, AZ 85715                 Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-748            10/24/2014                  4/13/2010               6/28/2020
   13008329 303 E Army Trail Rd, Bloomingdale, IL 60108              Sonya Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-614            10/24/2014                  4/14/2010               6/22/2020
   13012214 1835 Shackleford Ct, Norcross, GA 30093                  Bonnie Heath                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-739            10/24/2014                  4/14/2010               6/28/2020
   13027846 2321 John Hawkins Pky, Birmingham, AL 35244              Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/18/2010 VA 1-434-729            10/24/2014                  4/18/2010               6/24/2020
   13043212 7777 Washington Village Dr, Dayton, OH 45459             Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/20/2010 VA 1-434-624            10/24/2014                  4/20/2010                7/8/2020
   13044442 100 N Main St, Winston-Salem, NC 27101                   Andrea Erickson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/20/2010 VA 1-434-736            10/24/2014                  4/20/2010                7/2/2020
   13055561 8163 Old Yankee St, Dayton, OH 45458                     Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/21/2010 VA 1-434-624            10/24/2014                  4/21/2010                7/8/2020
   13055573 3130 S Tech Blvd, Miamisburg, OH 45342                   Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/21/2010 VA 1-434-624            10/24/2014                  4/21/2010                7/8/2020
   13058048 5330 Stadium Trace Pky, Birmingham, AL 35244             Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/18/2010 VA 1-434-729            10/24/2014                  4/18/2010               6/25/2020
   13058053 5330 Stadium Trace Pky, Birmingham, AL 35244             Cathy Morris                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/18/2010 VA 1-434-729            10/24/2014                  4/18/2010                7/1/2020
   13059501 4027 Colonel Glenn Hwy, Dayton, OH 45431                 Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/17/2010 VA 1-434-624            10/24/2014                  4/17/2010                7/9/2020
   13059511 3085 Woodman Dr, Kettering, OH 45420                     Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/15/2010 VA 1-434-624            10/24/2014                  4/15/2010                7/8/2020
   13059555 8290-8296 Old Troy Pike, Huber Heights, OH 45424         Zachary Robb                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       4/8/2010 VA 1-434-624            10/24/2014                   4/8/2010               6/25/2020
   13060345 9100 W Loop 1604, San Antonio, TX 78254                  Cindy Kelleher                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/16/2010 VA 1-434-770            10/24/2014                  4/16/2010               6/26/2020
   13061120 2900 Plank Rd, Altoona, PA 16601                         Rona Houser                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/12/2010 VA 1-434-638            10/24/2014                  4/12/2010               6/19/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                  57
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                  Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
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   13065717 1-8 E Central Ave, West Carrollton, OH 45449           Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-624            10/24/2014                   4/22/2010               6/28/2020
   13066617 7800 McCloud Rd, Greensboro, NC 27409                  Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-736            10/24/2014                   4/22/2010               1/18/2021
   13068682 200 E Campus View Blvd, Columbus, OH 43235             Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-742            10/24/2014                   4/22/2010               6/26/2020
   13068711 200 E Campus View Blvd, Columbus, OH 43235             Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-742            10/24/2014                   4/22/2010               6/27/2020
   13070351 1005-1007 Laurel Oak Rd, Voorhees, NJ 08043            Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-618            10/24/2014                   4/22/2010               6/23/2020
   13072241 201 London Pky, Birmingham, AL 35211                   Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-729            10/24/2014                   4/22/2010               6/25/2020
   13073345 6975 Union Park, Midvale, UT 84047                     Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/22/2010 VA 1-434-752            10/24/2014                   4/22/2010               6/29/2020
   13077867 8901 Indian Hills Dr, Omaha, NE 68114                  Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/23/2010 VA 1-434-718            10/24/2014                   4/23/2010               6/20/2020
   13078928 9311 San Pedro Ave, San Antonio, TX 78216              Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/24/2010 VA 1-434-770            10/24/2014                   4/24/2010               6/24/2020
   13094955 200 Cahaba Park Cir, Birmingham, AL 35242              Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/25/2010 VA 1-434-729            10/24/2014                   4/25/2010               6/23/2020
   13096017 250 N Sunnyslope Rd, Brookfield, WI 53005              Daniel Makowski                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/16/2010 VA 1-434-716            10/24/2014                   4/16/2010                7/5/2020
    3743509 11100 E 51st Ave, Denver, CO 80239                     Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 2023466500     11/28/2006 VA 1-407-551              3/27/2007                 11/28/2006               6/24/2020
   13097944 421 Wakara Way, Salt Lake City, UT 84108               Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-752            10/24/2014                   4/14/2010                7/1/2020
   13097951 421 Wakara Way, Salt Lake City, UT 84108               Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-752            10/24/2014                   4/14/2010               6/17/2020
   13097960 421 Wakara Way, Salt Lake City, UT 84108               Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-752            10/24/2014                   4/14/2010               6/20/2020
   13105553 3155 Research Blvd, Dayton, OH 45420                   Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/27/2010 VA 1-434-624            10/24/2014                   4/27/2010                7/8/2020
   13108102 2301 E Evesham Rd, Voorhees, NJ 08043                  Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/27/2010 VA 1-434-618            10/24/2014                   4/27/2010               6/21/2020
   13110267 7520 N Oracle Rd, Tucson, AZ 85704                     Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/27/2010 VA 1-434-748            10/24/2014                   4/27/2010               6/24/2020
   13110905 11011 Richmond Ave, Houston, TX 77042                  Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/27/2010 VA 1-434-737            10/24/2014                   4/27/2010                7/3/2020
   13110948 1880 S Dairy Ashford Rd, Houston, TX 77077             Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/27/2010 VA 1-434-737            10/24/2014                   4/27/2010                3/4/2021
   13116303 3401 Park Center Dr, Dayton, OH 45414                  Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-624            10/24/2014                   4/28/2010                7/8/2020
   13117094 6660 First Park Ten Blvd, San Antonio, TX 78213        Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-770            10/24/2014                   4/28/2010               6/21/2020
   13119852 1873 E Marlton Pike, Cherry Hill, NJ 08003             Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-618            10/24/2014                   4/28/2010               6/17/2020
   13120480 56 Perimeter Ctr E, Atlanta, GA 30346                  Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-739            10/24/2014                   4/28/2010                7/7/2020
   13122202 5051 Verdugo Way, Camarillo, CA 93012                  William Haas                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-621            10/24/2014                   4/28/2010                7/3/2020
   13126446 6680 Poe Ave, Dayton, OH 45414                         Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-624            10/24/2014                   4/29/2010                7/8/2020
   13126903 9001 N Main St, Dayton, OH 45415                       Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-624            10/24/2014                   4/29/2010               7/24/2020
   13126944 2306 W Meadowview Rd, Greensboro, NC 27407             Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-736            10/24/2014                   4/29/2010               6/30/2020
   13127214 525 Oak Centre Dr, San Antonio, TX 78258               Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-770            10/24/2014                   4/29/2010                7/3/2020
   13129241 1000 Uniqema Blvd, New Castle, DE 19720                Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-618            10/24/2014                   4/29/2010               7/24/2020
   13129243 1000 Uniqema Blvd, New Castle, DE 19720                Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-618            10/24/2014                   4/29/2010               6/24/2020
   13131610 4000 Calle Tecate, Camarillo, CA 93012                 William Haas                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/29/2010 VA 1-434-621            10/24/2014                   4/29/2010               6/18/2020
   13132926 4035 University Pky, Winston-Salem, NC 27106           Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/30/2010 VA 1-434-736            10/24/2014                   4/30/2010               6/27/2020
   13137023 2500 N Tucson Blvd, Tucson, AZ 85716                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-748            10/24/2014                   4/28/2010               6/21/2020
   13137030 2500 N Tucson Blvd, Tucson, AZ 85716                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/28/2010 VA 1-434-748            10/24/2014                   4/28/2010               6/19/2020
   13145194 18756 Stone Oak Pky, San Antonio, TX 78258             Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/30/2010 VA 1-434-770            10/24/2014                   4/30/2010               6/22/2020
   13146550 343 W Houston St, San Antonio, TX 78205                Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/19/2010 VA 1-434-770            10/24/2014                   4/19/2010               6/26/2020
   13153857 8550 W Bryn Mawr Ave, Chicago, IL 60631                Sonya Williams                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/3/2010 VA 1-434-614            10/24/2014                    5/3/2010               6/24/2020
   13160843 3131 Newmark Dr, Miamisburg, OH 45342                  Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-624            10/24/2014                    5/4/2010               6/27/2020
   13162673 8468 Cotter St, Lewis Center, OH 43035                 Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-742            10/24/2014                    5/4/2010               4/10/2021
   13163210 248 Chapman Rd, Newark, DE 19702                       Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-618            10/24/2014                    5/4/2010               6/27/2020
   13164513 877 S Alvernon Way, Tucson, AZ 85711                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-748            10/24/2014                    5/4/2010                7/4/2020
   13164516 877 S Alvernon Way, Tucson, AZ 85711                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-748            10/24/2014                    5/4/2010                7/4/2020
   13164520 877 S Alvernon Way, Tucson, AZ 85711                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/4/2010 VA 1-434-748            10/24/2014                    5/4/2010                7/2/2020
   13171499 3200 Northline Ave, Greensboro, NC 27408               Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/5/2010 VA 1-434-736            10/24/2014                    5/5/2010               1/18/2021
   13173649 100 Commerce Dr, Newark, DE 19713                      Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/5/2010 VA 1-434-618            10/24/2014                    5/5/2010                7/3/2020
   13175922 19770 Kingsland Blvd, Katy, TX 77450                   Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/5/2010 VA 1-434-737            10/24/2014                    5/5/2010               2/21/2021
   13176770 6770 N Sunrise Blvd, Glendale, AZ 85305                Craig Darragh                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-720            10/24/2014                   4/14/2010               6/30/2020
   13183832 1101-1171 Tower Ln, Bensenville, IL 60106              Sonya Williams                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/6/2010 VA 1-434-614            10/24/2014                    5/6/2010               7/20/2020
   13183835 1101-1171 Tower Ln, Bensenville, IL 60106              Sonya Williams                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/6/2010 VA 1-434-614            10/24/2014                    5/6/2010               7/20/2020
   13185227 126 W Sego Lily Dr, Sandy, UT 84070                    Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/6/2010 VA 1-434-752            10/24/2014                    5/6/2010               6/29/2020
   13185232 126 W Sego Lily Dr, Sandy, UT 84070                    Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/6/2010 VA 1-434-752            10/24/2014                    5/6/2010               6/27/2020
   13185747 3 Sugar Creek Center Blvd, Sugar Land, TX 77478        Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/6/2010 VA 1-434-737            10/24/2014                    5/6/2010                7/3/2020
   13191149 55 Bagby Dr, Birmingham, AL 35209                      Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-729            10/24/2014                   4/13/2010               6/24/2020
   13191150 65 Bagby Dr, Birmingham, AL 35209                      Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-729            10/24/2014                   4/13/2010               6/24/2020
   13191169 3121 Evelyn Dr, Beavercreek, OH 45434                  Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/13/2010 VA 1-434-624            10/24/2014                   4/13/2010               6/19/2020
   13191183 1225 N Loop Fwy W, Houston, TX 77008                   Anthony Chapman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/14/2010 VA 1-434-741            10/24/2014                   4/14/2010               6/23/2020
   13192437 515 E Main St, Columbus, OH 43215                      Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       5/7/2010 VA 1-434-742            10/24/2014                    5/7/2010               3/29/2021
   13232559 5821 W Sam Houston Pky N, Houston, TX 77041            Anthony Chapman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/12/2010 VA 1-434-741            10/24/2014                   5/12/2010                8/8/2020
   13232829 2150 Boggs Rd, Duluth, GA 30096                        Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/10/2010 VA 1-434-739            10/24/2014                   5/10/2010               6/25/2020
   13243519 221 Kearny St, San Francisco, CA 94108                 Tim Brink                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/13/2010 VA 1-434-625            10/24/2014                   5/13/2010               6/24/2020
   13243745 2700 Breckinridge Blvd, Duluth, GA 30096               Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/12/2010 VA 1-434-739            10/24/2014                   5/12/2010               6/18/2020
   13247616 980 N 45th St, Milwaukee, WI 53208                     Daniel Makowski                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/14/2010 VA 1-434-716            10/24/2014                   5/14/2010               6/18/2020
   13253546 4141 Colonel Glenn Hwy, Beavercreek, OH 45431          Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      4/20/2010 VA 1-434-624            10/24/2014                   4/20/2010                7/8/2020
   13262449 4250 International Blvd, Norcross, GA 30093            Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/17/2010 VA 1-434-739            10/24/2014                   5/17/2010                7/3/2020
   13262453 4250 International Blvd, Norcross, GA 30093            Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/17/2010 VA 1-434-739            10/24/2014                   5/17/2010               6/26/2020
   13271960 105 Owens Pky, Birmingham, AL 35244                    Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/18/2010 VA 1-434-729            10/24/2014                   5/18/2010               6/23/2020
   13281656 6740 Brandt Pike, Dayton, OH 45424                     Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/19/2010 VA 1-434-624            10/24/2014                   5/19/2010               7/22/2020
   13281658 6740 Brandt Pike, Dayton, OH 45424                     Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/19/2010 VA 1-434-624            10/24/2014                   5/19/2010               7/22/2020
   13284574 3706 W Wisconsin Ave, Milwaukee, WI 53208              Daniel Makowski                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/19/2010 VA 1-434-716            10/24/2014                   5/19/2010               6/23/2020
   13289249 7415 Brandt Pike, Dayton, OH 45424                     Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/20/2010 VA 1-434-624            10/24/2014                   5/20/2010               6/16/2020
   13291983 3710 W Dublin Granville Rd, Columbus, OH 43235         Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/20/2010 VA 1-434-742            10/24/2014                   5/20/2010                2/6/2021
   13321898 12 Oswego St, Baldwinsville, NY 13027                  Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/24/2010 VA 1-434-753            10/24/2014                   5/24/2010               6/30/2020
   13322368 2080 Valleydale Rd, Birmingham, AL 35244               Cathy Morris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/24/2010 VA 1-434-729            10/24/2014                   5/24/2010                7/2/2020
   13341180 6151 W Erie St, Chandler, AZ 85226                     Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/24/2010 VA 1-434-748            10/24/2014                   5/24/2010              11/27/2020
   13345287 1 E National Rd, Vandalia, OH 45377                    Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/27/2010 VA 1-434-624            10/24/2014                   5/27/2010               6/25/2020
   13350349 5735 Bayport Blvd, Seabrook, TX 77586                  Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/27/2010 VA 1-434-737            10/24/2014                   5/27/2010               6/24/2020
   13350838 349 W D St, Lemoore, CA 93245                          Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/26/2010 VA 1-434-731            10/24/2014                   5/26/2010               6/24/2020
   13350844 349 W D St, Lemoore, CA 93245                          Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/26/2010 VA 1-434-731            10/24/2014                   5/26/2010               6/18/2020
   13368799 8439 Loop Rd, Baldwinsville, NY 13027                  Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/1/2010 VA 1-434-753            10/24/2014                    6/1/2010               8/12/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                   58
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Attachment                                                                                      Photographer - Last Known   Photographer - Last Known                                                                  Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
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   13368802 8439 Loop Rd, Baldwinsville, NY 13027                     Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/1/2010 VA 1-434-753            10/24/2014                   6/1/2010               8/11/2020
   13377296 7740-7752 Wildcat Rd, Dayton, OH 45424                    Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-624            10/24/2014                   6/2/2010               6/20/2020
   13377299 7740-7752 Wildcat Rd, Dayton, OH 45424                    Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-624            10/24/2014                   6/2/2010               6/22/2020
   13377301 7740-7752 Wildcat Rd, Dayton, OH 45424                    Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-624            10/24/2014                   6/2/2010               6/26/2020
   13377303 7740-7752 Wildcat Rd, Dayton, OH 45424                    Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-624            10/24/2014                   6/2/2010               6/28/2020
   13379588 500 Pinnacle Ct, Norcross, GA 30071                       Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-739            10/24/2014                   6/2/2010                8/7/2020
   13380578 1493 E Ridgeline Dr, Ogden, UT 84405                      Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/2/2010 VA 1-434-752            10/24/2014                   6/2/2010               6/24/2020
   13391067 8276 Willett Pky, Baldwinsville, NY 13027                 Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/3/2010 VA 1-434-753            10/24/2014                   6/3/2010               6/30/2020
   13395748 646 Industrial Dr, Exeter, CA 93221                       Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/4/2010 VA 1-434-731            10/24/2014                   6/4/2010                7/2/2020
   13395749 646 Industrial Dr, Exeter, CA 93221                       Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/4/2010 VA 1-434-731            10/24/2014                   6/4/2010               6/21/2020
   13412044 201 1st St, Exeter, CA 93221                              Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/7/2010 VA 1-434-731            10/24/2014                   6/7/2010                7/7/2020
   13413471 4764 Park Granada, Calabasas, CA 91302                    William Haas                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/7/2010 VA 1-434-621            10/24/2014                   6/7/2010               6/17/2020
   13432451 5101-5111 Douglas Fir Rd, Calabasas, CA 91302             William Haas                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/9/2010 VA 1-434-621            10/24/2014                   6/9/2010                8/7/2020
   13438555 14526 Jones Maltsberger Rd, San Antonio, TX 78247         Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/10/2010 VA 1-434-770            10/24/2014                  6/10/2010              10/22/2020
   13446257 2906 E Coronado St, Anaheim, CA 92806                     Bill Helm                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/3/2010 VA 1-434-751            10/24/2014                   6/3/2010               5/16/2020
   13446261 2906 E Coronado St, Anaheim, CA 92806                     Bill Helm                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       6/3/2010 VA 1-434-751            10/24/2014                   6/3/2010               5/16/2020
   13482214 1199 N Grove St, Anaheim, CA 92806                        Bill Helm                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/17/2010 VA 1-434-751            10/24/2014                  5/17/2010               7/16/2020
   13482258 1170-1172 N Armando St, Anaheim, CA 92806                 Bill Helm                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      5/19/2010 VA 1-434-751            10/24/2014                  5/19/2010               1/18/2021
   13500329 19851 State Highway 46 W, Spring Branch, TX 78070         Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/18/2010 VA 1-434-770            10/24/2014                  6/18/2010               6/23/2020
   13519797 117 W 200 S, Farmington, UT 84025                         Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/22/2010 VA 1-434-752            10/24/2014                  6/22/2010               8/11/2020
   13520354 5600 S Willow Dr, Houston, TX 77035                       Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/22/2010 VA 1-434-737            10/24/2014                  6/22/2010               6/17/2020
   13520356 5600 S Willow Dr, Houston, TX 77035                       Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/22/2010 VA 1-434-737            10/24/2014                  6/22/2010                7/7/2020
   13526083 8 Prestige Plaza Dr, Miamisburg, OH 45342                 Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/23/2010 VA 1-434-624            10/24/2014                  6/23/2010               7/15/2020
   13550336 S Ok-66 Hwy, Catoosa, OK 74015                            Wendy Smith                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/24/2010 VA 1-434-620            10/24/2014                  6/24/2010                7/1/2020
   13551540 8790 Fm-1960 Rd, Humble, TX 77338                         Anthony Chapman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/26/2010 VA 1-434-741            10/24/2014                  6/26/2010               2/21/2021
   13572808 1200 Commercial Ct, Norcross, GA 30093                    Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      6/23/2010 VA 1-434-739            10/24/2014                  6/23/2010                7/9/2020
   13582928 800 Webster St, Dayton, OH 45404                          Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       7/1/2010 VA 1-434-624            10/24/2014                   7/1/2010               8/12/2020
   13593782 1894 W 2425 S, Woods Cross, UT 84087                      Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       7/1/2010 VA 1-434-752            10/24/2014                   7/1/2010               6/27/2020
    5662231 4901-4905 Nome St, Denver, CO 80239                       Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 2023466500      8/16/2007 VA 1-636-706            10/12/2007                  8/16/2007                8/8/2020
   13635567 5150 E Dublin Granville Rd, New Albany, OH 43054          Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       7/8/2010 VA 1-434-742            10/24/2014                   7/8/2010               6/26/2020
   13679286 10207 S Sam Houston Pky W, Missouri City, TX 77489        Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/12/2010 VA 1-434-737            10/24/2014                  7/12/2010                7/7/2021
   13680008 11290 Pyrites Way, Gold River, CA 95670                   Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/13/2010 VA 1-434-612            10/24/2014                  7/13/2010                7/6/2020
   13695795 530 Kings County Dr, Hanford, CA 93230                    Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/15/2010 VA 1-434-731            10/24/2014                  7/15/2010                7/7/2020
   13695798 530 Kings County Dr, Hanford, CA 93230                    Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/15/2010 VA 1-434-731            10/24/2014                  7/15/2010               6/24/2020
   13695830 1574 W Lacey Blvd, Hanford, CA 93230                      Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/15/2010 VA 1-434-731            10/24/2014                  7/15/2010                7/9/2020
   13701766 3925 Seaport Blvd, West Sacramento, CA 95691              Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/16/2010 VA 1-434-612            10/24/2014                  7/16/2010               6/23/2020
   13729315 5673-5681 New Peachtree Rd, Chamblee, GA 30341            Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/20/2010 VA 1-434-739            10/24/2014                  7/20/2010               4/17/2021
   13739596 135 E Ray Rd, Chandler, AZ 85225                          Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       7/6/2010 VA 1-434-748            10/24/2014                   7/6/2010                7/6/2020
   13750219 11084-11090 Hickman Rd, Clive, IA 50325                   Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/19/2010 VA 1-434-718            10/24/2014                  7/19/2010                8/8/2020
   13750621 778-782 E Winchester St, Salt Lake City, UT 84107         Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/22/2010 VA 1-434-752            10/24/2014                  7/22/2010               6/27/2020
   13755778 2900 Chamblee Tucker Rd, Chamblee, GA 30341               Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/23/2010 VA 1-434-739            10/24/2014                  7/23/2010               6/28/2020
   13755788 2900 Chamblee Tucker Rd, Chamblee, GA 30341               Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/23/2010 VA 1-434-739            10/24/2014                  7/23/2010               6/17/2020
   13756157 701-704 Hogan Dr, Papillion, NE 68046                     Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/23/2010 VA 1-434-718            10/24/2014                  7/23/2010                7/7/2020
   13756232 5882 S 900 E, Salt Lake City, UT 84121                    Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/23/2010 VA 1-434-752            10/24/2014                  7/23/2010               6/28/2020
   13774503 5300 Frontage Rd, Forest Park, GA 30297                   Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       7/8/2010 VA 1-434-739            10/24/2014                   7/8/2010               6/26/2020
   13776140 818 Tara Plz, Papillion, NE 68046                         Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/26/2010 VA 1-434-718            10/24/2014                  7/26/2010                7/8/2020
   13776153 810-814 Tara Plz, Papillion, NE 68046                     Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/26/2010 VA 1-434-718            10/24/2014                  7/26/2010               6/24/2020
   13776154 828 Tara Plz, Papillion, NE 68046                         Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/26/2010 VA 1-434-718            10/24/2014                  7/26/2010               6/23/2020
   13784994 3411 Magic Dr, San Antonio, TX 78229                      Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      7/27/2010 VA 1-434-770            10/24/2014                  7/27/2010                7/6/2020
    5697053 5000-5050 Moline St, Denver, CO 80239                     Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 2023466500      8/20/2007 VA 1-636-130            11/15/2007                  8/20/2007               6/28/2020
   13828191 5810-5922 Business Park, San Antonio, TX 78218            Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       8/2/2010 VA 1-434-770            10/24/2014                   8/2/2010                7/7/2020
   13857685 3925 Seaport Blvd, West Sacramento, CA 95691              Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       8/4/2010 VA 1-434-612            10/24/2014                   8/4/2010               6/27/2020
   13864992 11720-11734 Stonegate Cir, Omaha, NE 68164                Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       8/5/2010 VA 1-434-718            10/24/2014                   8/5/2010               6/23/2020
   13867745 12625 Wetmore Rd, San Antonio, TX 78247                   Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       8/6/2010 VA 1-434-770            10/24/2014                   8/6/2010               6/28/2020
   13870333 4221 S Santa Rita Ave, Tucson, AZ 85714                   Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       8/5/2010 VA 1-434-748            10/24/2014                   8/5/2010                7/7/2020
   13898659 2500 N Tucson Blvd, Tucson, AZ 85716                      Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/10/2010 VA 1-434-748            10/24/2014                  8/10/2010               6/28/2020
   13898667 2500 N Tucson Blvd, Tucson, AZ 85716                      Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/10/2010 VA 1-434-748            10/24/2014                  8/10/2010               6/29/2020
   13899269 1260-1280 Healdsburg Ave, Healdsburg, CA 95448            Tim Brink                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/10/2010 VA 1-434-625            10/24/2014                  8/10/2010               6/28/2020
   13899273 1260-1280 Healdsburg Ave, Healdsburg, CA 95448            Tim Brink                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/10/2010 VA 1-434-625            10/24/2014                  8/10/2010               6/28/2020
   13914970 5720 Buford Hwy, Norcross, GA 30071                       Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/12/2010 VA 1-434-739            10/24/2014                  8/12/2010               2/26/2021
   13915065 5226 Pirrone Ct, Salida, CA 95368                         Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/12/2010 VA 1-434-731            10/24/2014                  8/12/2010              11/23/2020
   13915980 26801 Agoura Rd, Calabasas, CA 91301                      Sasha Tracy                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/12/2010 VA 1-434-610            10/24/2014                  8/12/2010               6/29/2020
   13940257 6355 Jimmy Carter Blvd, Norcross, GA 30071                Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/16/2010 VA 1-434-739            10/24/2014                  8/16/2010               7/31/2020
   13940385 5172 Kiernan Ct, Salida, CA 95368                         Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/12/2010 VA 1-434-731            10/24/2014                  8/12/2010               6/28/2020
   13963414 1010 Carver Rd, Modesto, CA 95350                         Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/17/2010 VA 1-434-731            10/24/2014                  8/17/2010               6/29/2020
   13963423 1010 Carver Rd, Modesto, CA 95350                         Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/17/2010 VA 1-434-731            10/24/2014                  8/17/2010               6/25/2020
   14037425 9706 Fair Oaks Blvd, Fair Oaks, CA 95628                  Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/26/2010 VA 1-434-612            10/24/2014                  8/26/2010               6/25/2020
   14042279 5230 Willow Creek Dr, Springdale, AR 72762                Wendy Smith                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/27/2010 VA 1-434-620            10/24/2014                  8/27/2010                8/8/2020
   14042860 5517-5545 Hemlock St, Sacramento, CA 95841                Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      8/27/2010 VA 1-434-612            10/24/2014                  8/27/2010               6/27/2020
   14106698 4010 Fairmont Pky, Pasadena, TX 77504                     Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       9/1/2010 VA 1-434-737            10/24/2014                   9/1/2010               6/24/2020
    5783529 12601 E 38th Ave, Denver, CO 80239                        Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 2023466500       9/2/2007 VA 1-636-130            11/15/2007                   9/2/2007               6/23/2020
    6141329 3250 Abilene St, Aurora, CO 80011                         Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 2023466500       9/9/2007 VA 1-636-130            11/15/2007                   9/9/2007               6/23/2020
   14114285 15660 W Hardy Rd, Houston, TX 77060                       Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       9/3/2010 VA 1-434-737            10/24/2014                   9/3/2010               6/28/2020
   14264285 1210 Patterson St, Ogdensburg, NY 13669                   Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/10/2010 VA 1-434-753            10/24/2014                  9/10/2010               6/26/2020
   14287327 11167 Trade Center Dr, Rancho Cordova, CA 95670           Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/20/2010 VA 1-434-612            10/24/2014                  9/20/2010                8/9/2020
   14324174 1 State Rd, Media, PA 19063                               Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/23/2010 VA 1-434-618            10/24/2014                  9/23/2010               6/24/2020
   14324183 1 State Rd, Media, PA 19063                               Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/23/2010 VA 1-434-618            10/24/2014                  9/23/2010                7/5/2020
   14333778 515 Woburn St, Tewksbury, MA 01876                        Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/24/2010 VA 1-434-607            10/24/2014                  9/24/2010                7/9/2020
   14357052 21276 Fm-471, Natalia, TX 78059                           Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/27/2010 VA 1-434-770            10/24/2014                  9/27/2010               6/29/2020
   14367855 910 S Main St, Englewood, OH 45322                        Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300      9/29/2010 VA 1-434-624            10/24/2014                  9/29/2010                1/2/2021




                         OUTSIDE COUNSEL ONLY                                                                                                                      59
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Attachment                                                                                         Photographer - Last Known   Photographer - Last Known                                                                   Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                 Image Address                          Photographer            Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address       Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   14419901 1576 N VIP Blvd, Casa Grande, AZ 85122                       Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/5/2010 VA 1-434-748            10/24/2014                  10/5/2010                7/5/2020
   14419905 2033 N Pinal Ave, Casa Grande, AZ 85122                      Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/5/2010 VA 1-434-748            10/24/2014                  10/5/2010               7/10/2020
   14419909 2033 N Pinal Ave, Casa Grande, AZ 85122                      Barb Hildenbrand                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/5/2010 VA 1-434-748            10/24/2014                  10/5/2010               6/21/2020
   14427848 6229 N Dixie Dr, Dayton, OH 45414                            Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/6/2010 VA 1-434-624            10/24/2014                  10/6/2010              10/28/2020
   14427852 6333 N Dixie Dr, Dayton, OH 45414                            Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/6/2010 VA 1-434-624            10/24/2014                  10/6/2010              10/21/2020
   14431023 6911 Tara Blvd, Jonesboro, GA 30236                          Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/6/2010 VA 1-434-739            10/24/2014                  10/6/2010               6/20/2020
   14444433 7394 Tara Blvd, Jonesboro, GA 30236                          Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/7/2010 VA 1-434-739            10/24/2014                  10/7/2010               7/31/2020
   14444448 7401 Tara Blvd, Jonesboro, GA 30236                          Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/7/2010 VA 1-434-739            10/24/2014                  10/7/2010               7/31/2020
   14444509 7412 Tara Blvd, Jonesboro, GA 30236                          Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/7/2010 VA 1-434-739            10/24/2014                  10/7/2010               7/31/2020
   14449474 26571-26583 Golden Valley Rd, Santa Clarita, CA 91350        Sasha Tracy                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/8/2010 VA 1-434-610            10/24/2014                  10/8/2010                7/6/2020
   14451106 401 Northern Lights Plz, Mattydale, NY 13212                 Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/6/2010 VA 1-434-753            10/24/2014                  10/6/2010                7/5/2020
   14503567 23548-23550 Lyons Ave, Newhall, CA 91321                     Sasha Tracy                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/14/2010 VA 1-434-610            10/24/2014                 10/14/2010               6/26/2020
   14503876 2225 CR 90, Pearland, TX 77584                               Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/14/2010 VA 1-434-737            10/24/2014                 10/14/2010               12/3/2020
   14559146 1021 Pine St, Camden, NJ 08103                               Valdur Kaselaan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/20/2010 VA 1-434-618            10/24/2014                 10/20/2010               6/25/2020
   14562204 470 Southbridge St, Auburn, MA 01501                         Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/14/2010 VA 1-434-607            10/24/2014                 10/14/2010               6/20/2020
   14587791 5709 Schumacher Ln, Houston, TX 77057                        Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/25/2010 VA 1-434-737            10/24/2014                 10/25/2010               5/16/2020
   14588154 341 Industrial Way, Woodland, CA 95776                       Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/25/2010 VA 1-434-612            10/24/2014                 10/25/2010               6/26/2020
   14620036 3010 W Orange Ave, Anaheim, CA 92804                         Bill Helm                                                                         CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/28/2010 VA 1-434-751            10/24/2014                 10/28/2010               6/25/2020
   14621048 308-310 W Lacey Blvd, Hanford, CA 93230                      Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/28/2010 VA 1-434-731            10/24/2014                 10/28/2010               8/11/2020
   14621052 308-310 W Lacey Blvd, Hanford, CA 93230                      Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/28/2010 VA 1-434-731            10/24/2014                 10/28/2010                8/9/2020
   14629407 5800 Heritage Dr, East Syracuse, NY 13057                    Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/30/2010 VA 1-434-753            10/24/2014                 10/30/2010               6/28/2020
   14629786 5801 Westheimer Rd, Houston, TX 77057                        Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/29/2010 VA 1-434-737            10/24/2014                 10/29/2010               6/29/2020
   14683396 2226 W Broad St, Athens, GA 30606                            Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      11/4/2010 VA 1-434-739            10/24/2014                  11/4/2010               6/27/2020
   14747172 11300 Hartland St, North Hollywood, CA 91605                 Sasha Tracy                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/11/2010 VA 1-434-610            10/24/2014                 11/11/2010               8/12/2020
   14788518 6545 Westheimer Rd, Houston, TX 77057                        Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/16/2010 VA 1-434-737            10/24/2014                 11/16/2010               8/11/2020
   14818875 3401 SW Military Dr, San Antonio, TX 78211                   Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/18/2010 VA 1-434-770            10/24/2014                 11/18/2010               7/10/2020
   14819557 6838 Southlake Pky, Morrow, GA 30260                         Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/19/2010 VA 1-434-739            10/24/2014                 11/19/2010               6/29/2020
   14828123 3333 N 90th St, Omaha, NE 68134                              Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/19/2010 VA 1-434-718            10/24/2014                 11/19/2010               6/22/2020
   14828125 3333 N 90th St, Omaha, NE 68134                              Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/19/2010 VA 1-434-718            10/24/2014                 11/19/2010               6/17/2020
   14850442 5640 Gender Rd, Canal Winchester, OH 43110                   Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     11/26/2010 VA 1-434-742            10/24/2014                 11/26/2010               6/25/2020
   14903265 4285 Groves Rd, Columbus, OH 43232                           Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      12/4/2010 VA 1-434-742            10/24/2014                  12/4/2010                7/9/2020
   14925456 1200 Northbrook Pky, Suwanee, GA 30024                       Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      12/8/2010 VA 1-434-739            10/24/2014                  12/8/2010               6/29/2020
   14941270 560 Old Peachtree Rd, Suwanee, GA 30024                      Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      12/9/2010 VA 1-434-739            10/24/2014                  12/9/2010              10/27/2020
   14943981 479-489 E Plumb Ln, Reno, NV 89502                           Steven Cranston                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      12/9/2010 VA 1-434-612            10/24/2014                  12/9/2010                7/5/2020
   14976754 6941 Hwy 85, Riverdale, GA 30274                             Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/13/2010 VA 1-434-739            10/24/2014                 12/13/2010               6/26/2020
   14976952 140 E Tulare Ave, Tulare, CA 93274                           Enrique Meza                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/14/2010 VA 1-434-731            10/24/2014                 12/14/2010               8/12/2020
    6357472 12075 E 45th Ave, Denver, CO 80239                           Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  2023466500      8/22/2007 VA 1-636-130            11/15/2007                  8/22/2007               6/24/2020
   15052852 1703 Read St, Omaha, NE 68112                                Chris Petersen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/29/2010 VA 1-434-718            10/24/2014                 12/29/2010               6/29/2020
    6357514 4705 Kingston St, Denver, CO 80239                           Steve Saxton                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  2023466500      8/21/2007 VA 1-636-130            11/15/2007                  8/21/2007               6/22/2020
   15055201 6520 E Latimer Pl, Tulsa, OK 74115                           Wendy Smith                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/27/2010 VA 1-434-620            10/24/2014                 12/27/2010               6/19/2020
   15072428 1717 Cotton Grove Rd, Lexington, NC 27292                    Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/10/2010 VA 1-434-736            10/24/2014                 12/10/2010               6/29/2020
   15072673 9 Plaza Pky, Lexington, NC 27292                             Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/13/2010 VA 1-434-736            10/24/2014                 12/13/2010                7/8/2020
   16651437 1904 Hialeah Dr, Seabrook, TX 77586                          Alexis Belk                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      12/3/2010 VA 1-434-737            10/24/2014                  12/3/2010                7/7/2020
   26089650 1500-1590 Tropic Park Dr, Sanford, FL 32773                  Mark Dolan                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      8/21/2014 VA 1-436-590            12/30/2014                  8/21/2014               6/29/2020
   26269753 1005 W Middlesex Ave, Port Reading, NJ 07064                 Michael Johnson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/15/2014 VA 1-436-596            12/30/2014                  9/15/2014               6/28/2020
   30160363 11400 Culebra Rd, San Antonio, TX 78253                      Michael Marx                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/19/2014 VA 1-435-791            12/30/2014                  9/19/2014               10/4/2020
   26527163 744 Empire St, Fairfield, CA 94533                           Mark McNamara                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/17/2014 VA 1-435-798            12/30/2014                  9/17/2014               6/28/2020
   26433489 15 Presidential Blvd, Bala Cynwyd, PA 19004                  Jerry Block                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/30/2014 VA 1-436-587            12/30/2014                  9/30/2014               6/27/2020
   26457979 7401 Ogontz Ave, Philadelphia, PA 19138                      Jerry Block                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/30/2014 VA 2-163-223            12/30/2014                  9/30/2014                7/9/2020
   26458202 367 E High St, Pottstown, PA 19464                           Jerry Block                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/30/2014 VA 2-163-223            12/30/2014                  9/30/2014                7/2/2020
   26490414 2471 W Horizon Ridge Pky, Henderson, NV 89052                Hugh McCullough                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/30/2014 VA 1-434-511            12/30/2014                  9/30/2014               6/26/2020
   26332060 7610 Left Flank Rd, Mechanicsville, VA 23116                 Larry Pemberton                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/16/2014 VA 1-436-616            12/30/2014                  9/16/2014                7/8/2020
   26529980 7610 Left Flank Rd, Mechanicsville, VA 23116                 Larry Pemberton                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/16/2014 VA 1-436-616            12/30/2014                  9/16/2014               6/26/2020
   26332228 1609 SW 27th St, El Reno, OK 73036                           Jamie Limberg                                                                     CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960       7/3/2014 VA 1-436-603            12/30/2014                   7/3/2014               6/26/2020
   26023951 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/29/2020
   26023974 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/27/2020
   26023991 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014                7/6/2020
   26024019 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/27/2020
   26024029 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014                7/5/2020
   26024058 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/26/2020
   26024065 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/30/2020
   26024095 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/29/2020
   26024451 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/26/2020
   26024481 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014                7/5/2020
   26024496 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/30/2020
   26024504 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014               6/29/2020
   26024514 300 Main St, Stamford, CT 06901                              Deawell Adair                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                       4169457500      8/11/2014 VA 1-435-812            12/30/2014                  8/11/2014                7/7/2020
   26271739 818 Sheridan St, Honolulu, HI 96814                          Lima Maino                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/15/2014 VA 2-163-278            12/30/2014                  9/15/2014                7/7/2020
   26527088 818 Sheridan St, Honolulu, HI 96814                          Lima Maino                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/15/2014 VA 2-163-278            12/30/2014                  9/15/2014               6/25/2020
   26197478 5100 N 6th St, Fresno, CA 93710                              John Bolling                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                     8443050836      8/26/2014 VA 1-434-470            12/30/2014                  8/26/2014                7/5/2020
   26197483 5100 N 6th St, Fresno, CA 93710                              John Bolling                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                     8443050836      8/26/2014 VA 1-434-470            12/30/2014                  8/26/2014                7/9/2020
   26197487 5100 N 6th St, Fresno, CA 93710                              John Bolling                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                     8443050836      8/26/2014 VA 1-434-470            12/30/2014                  8/26/2014               6/30/2020
   26303321 1145 E Shaw Ave, Fresno, CA 93710                            John Bolling                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                     8443050836      9/19/2014 VA 1-434-470            12/30/2014                  9/19/2014              11/16/2020
   26508570 1156-60 N 3rd St, Philadelphia, PA 19123                     Michael Deery                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/18/2014 VA 1-436-584            12/30/2014                  9/18/2014               8/11/2020
   26299843 455 Greenwood Park Dr, Greenwood, IN 46142                   Robert Clayton                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/19/2014 VA 1-434-514            12/30/2014                  9/19/2014               6/27/2020
   26299895 715 E 38th St, Indianapolis, IN 46205                        Robert Clayton                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/19/2014 VA 1-434-514            12/30/2014                  9/19/2014               6/26/2020
   26001659 258 College St, Maysville, GA 30558                          Russell Holloway                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       8/8/2014 VA 1-436-613            12/30/2014                   8/8/2014                7/5/2020
   26001665 258 College St, Maysville, GA 30558                          Russell Holloway                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       8/8/2014 VA 1-436-613            12/30/2014                   8/8/2014               6/26/2020
   26119245 1132 Athens Hwy, Grayson, GA 30017                           Russell Holloway                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      8/22/2014 VA 1-436-613            12/30/2014                  8/22/2014                7/7/2020
   26198557 3475 Piedmont Rd NE, Atlanta, GA 30305                       Russell Holloway                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       9/5/2014 VA 1-436-613            12/30/2014                   9/5/2014               7/14/2020




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   26071404 151 Jefferson Pike, La Vergne, TN 37086                   Chuck Carpenter                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/18/2014 VA 1-435-857            12/30/2014                   8/18/2014              6/30/2020
   26071411 151 Jefferson Pike, La Vergne, TN 37086                   Chuck Carpenter                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/18/2014 VA 1-435-857            12/30/2014                   8/18/2014              6/27/2020
   26071414 151 Jefferson Pike, La Vergne, TN 37086                   Chuck Carpenter                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/18/2014 VA 1-435-857            12/30/2014                   8/18/2014              6/29/2020
   26099805 8210 NE Vancouver Mall Dr, Vancouver, WA 98662            Taylour White                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/20/2014 VA 1-434-495            12/30/2014                   8/20/2014              8/10/2020
   26415534 1618 SW First Ave, Portland, OR 97201                     Taylour White                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/23/2014 VA 1-434-495            12/30/2014                   9/23/2014              4/23/2020
   25859208 12925 Riverside Dr, Sherman Oaks, CA 91423                Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/7/2014 VA 2-163-630            12/30/2014                    7/7/2014               7/1/2020
   25859830 10129 E Speedway Blvd, Tucson, AZ 85748                   Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/7/2014 VA 2-163-630            12/30/2014                    7/7/2014               8/9/2020
   25859833 10129 E Speedway Blvd, Tucson, AZ 85748                   Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/7/2014 VA 2-163-630            12/30/2014                    7/7/2014              8/10/2020
   25859846 10129 E Speedway Blvd, Tucson, AZ 85748                   Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/7/2014 VA 2-163-630            12/30/2014                    7/7/2014               8/8/2020
   25859857 10129 E Speedway Blvd, Tucson, AZ 85748                   Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/7/2014 VA 2-163-630            12/30/2014                    7/7/2014              8/11/2020
   25861142 75 Hayes Pl, Buffalo, NY 14210                            Stewart Cairns                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/15/2014 VA 1-434-477            12/30/2014                   7/15/2014              6/26/2020
   26363319 1776 Eye St NW, Washington, DC 20006                      Ron Bailey                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/26/2014 VA 2-163-630            12/30/2014                   9/26/2014              3/30/2021
   29021690 26676 Centerview Dr, Millsboro, DE 19966                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/24/2014 VA 1-434-490            12/30/2014                   7/24/2014              7/10/2020
   17426476 231-248 Bridge St, Metuchen, NJ 08840                     Larry Kerner                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/22/2011 VA 1-434-356              2/23/2015                 11/22/2011              10/3/2020
   12016014 230 Liberty St, Metuchen, NJ 08840                        Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/7/2010 VA 1-434-915              2/23/2015                   1/7/2010               7/7/2020
   12016016 230 Liberty St, Metuchen, NJ 08840                        Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/7/2010 VA 1-434-915              2/23/2015                   1/7/2010              6/24/2020
   12054913 2010 Park Ave, South Plainfield, NJ 07080                 Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2010 VA 1-434-915              2/23/2015                  1/13/2010               7/8/2020
   12103084 195 Main St, Metuchen, NJ 08840                           Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/20/2010 VA 1-434-915              2/23/2015                  1/20/2010              6/20/2020
   12557103 44 Lincoln Hwy, Edison, NJ 08820                          Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2010 VA 1-434-915              2/23/2015                   2/3/2010               7/4/2020
   13043142 2035 Lincoln Hwy, Edison, NJ 08817                        Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/20/2010 VA 1-434-915              2/23/2015                  4/20/2010              6/19/2020
   13853675 1700 Asbury Ave, Asbury Park, NJ 07712                    Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/4/2010 VA 1-434-915              2/23/2015                   8/4/2010              6/21/2020
   14099864 300 Rt-72, Manahawkin, NJ 08050                           Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/1/2010 VA 1-434-915              2/23/2015                   9/1/2010              6/20/2020
   14099870 300 Rt-72, Manahawkin, NJ 08050                           Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/1/2010 VA 1-434-915              2/23/2015                   9/1/2010              6/29/2020
   14464425 6 Shirley Ave, Franklin Township, NJ 08873                Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/11/2010 VA 1-434-915              2/23/2015                 10/11/2010              6/25/2020
   15614231 594 Jersey Ave, New Brunswick, NJ 08901                   Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/18/2011 VA 1-434-346              2/23/2015                  3/18/2011              6/22/2020
   16195595 197 Grant St, Perth Amboy, NJ 08861                       Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/9/2011 VA 1-434-346              2/23/2015                   6/9/2011              7/17/2020
   16377839 134 E Jersey St, Elizabeth, NJ 07206                      Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/11/2011 VA 1-434-346              2/23/2015                  7/11/2011              6/19/2020
   16854020 2303 Woodbridge Ave, Edison, NJ 08817                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2011 VA 1-434-346              2/23/2015                  9/14/2011              6/26/2020
   17101176 1100 US Highway 22, North Plainfield, NJ 07060            Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/13/2011 VA 1-434-346              2/23/2015                 10/13/2011              6/17/2020
   17550231 625 Central Ave, Westfield, NJ 07090                      Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2011 VA 1-434-346              2/23/2015                  12/9/2011              7/16/2020
   17550240 625 Central Ave, Westfield, NJ 07090                      Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2011 VA 1-434-346              2/23/2015                  12/9/2011               7/6/2020
   20147154 500-502 Magnolia Ave, Elizabeth, NJ 07206                 Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/14/2011 VA 1-434-346              2/23/2015                  6/14/2011              6/25/2020
   24921204 1781 Hooper Ave, Toms River, NJ 08753                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2014 VA 1-434-811              2/23/2015                  3/14/2014              6/28/2020

  15695790 542-550 Northland Blvd, Cincinnati, OH 45240               Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2011 VA 1-434-699             2/23/2015                  3/29/2011                7/7/2020

  15773455 6000-6124 Wilmington Pike, Dayton, OH 45459                Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/8/2011 VA 1-434-699             2/23/2015                   4/8/2011               7/13/2020

  15773463 6000-6124 Wilmington Pike, Dayton, OH 45459                Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/8/2011 VA 1-434-699             2/23/2015                   4/8/2011               6/24/2020

  17032710 8801 N Main St, Dayton, OH 45415                           Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/6/2011 VA 1-434-699             2/23/2015                  10/6/2011               8/11/2020

  24397363 6558-6572 Glenway Ave, Cincinnati, OH 45211                Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/9/2014 VA 1-434-853             2/23/2015                   1/9/2014               6/26/2020
  16315957 1935 NW 18th St, Pompano Beach, FL 33069                   David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/24/2011 VA 1-435-217             2/23/2015                  6/24/2011                8/8/2020
  16315960 1935 NW 18th St, Pompano Beach, FL 33069                   David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/24/2011 VA 1-435-217             2/23/2015                  6/24/2011                8/7/2020
  16405649 3600-3665 Park Central Blvd N, Pompano Beach, FL 33064     David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/14/2011 VA 1-435-217             2/23/2015                  7/14/2011                7/5/2020
  16443232 1301 W Copans Rd, Pompano Beach, FL 33064                  David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/19/2011 VA 1-435-217             2/23/2015                  7/19/2011               1/23/2021
  16605072 4072-4084 W Broward Blvd, Plantation, FL 33317             David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/11/2011 VA 1-435-217             2/23/2015                  8/11/2011               6/21/2020
  16822692 115 NW 43rd Ct, Oakland Park, FL 33309                     David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2011 VA 1-435-217             2/23/2015                   9/9/2011               6/29/2020
  16822694 115 NW 43rd Ct, Oakland Park, FL 33309                     David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2011 VA 1-435-217             2/23/2015                   9/9/2011               6/25/2020
  16822699 115 NW 43rd Ct, Oakland Park, FL 33309                     David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2011 VA 1-435-217             2/23/2015                   9/9/2011               6/25/2020
  17427276 7551-7575 W Oakland Park Blvd, Lauderhill, FL 33319        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/21/2011 VA 1-435-217             2/23/2015                 11/21/2011               7/20/2020
  24523969 1010 N Military Trl, West Palm Beach, FL 33415             David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/28/2014 VA 1-435-120             2/23/2015                  1/28/2014                7/6/2020
  24523972 1010 N Military Trl, West Palm Beach, FL 33415             David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/28/2014 VA 1-435-120             2/23/2015                  1/28/2014                7/5/2020
  24523979 1010 N Military Trl, West Palm Beach, FL 33415             David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/28/2014 VA 1-435-120             2/23/2015                  1/28/2014               6/26/2020
  24620651 2260 Palm Beach Lakes Blvd, West Palm Beach, FL 33409      David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/7/2014 VA 1-435-120             2/23/2015                   2/7/2014               7/31/2020
  24734648 1860 Old Okeechobee Rd, West Palm Beach, FL 33409          David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/21/2014 VA 1-435-120             2/23/2015                  2/21/2014               6/28/2020
  24734654 1860 Old Okeechobee Rd, West Palm Beach, FL 33409          David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/21/2014 VA 1-435-120             2/23/2015                  2/21/2014                7/5/2020
  24864162 603 Village Blvd, West Palm Beach, FL 33409                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/10/2014 VA 1-435-120             2/23/2015                  3/10/2014               6/29/2020
  24864165 603 Village Blvd, West Palm Beach, FL 33409                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/10/2014 VA 1-435-120             2/23/2015                  3/10/2014                7/6/2020
  24864167 603 Village Blvd, West Palm Beach, FL 33409                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/10/2014 VA 1-435-120             2/23/2015                  3/10/2014               6/27/2020
  25307224 2601-2609 N Dixie Hwy, Fort Lauderdale, FL 33334           David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/28/2014 VA 1-435-120             2/23/2015                  4/28/2014                2/2/2021
  15720875 6805 Somerset Blvd, Paramount, CA 90723                    Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/1/2011 VA 1-435-207             2/23/2015                   4/1/2011                7/9/2020
  16105405 28619-28649 S Western Ave, Rancho Palos Verdes, CA 90275   Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/25/2011 VA 1-435-207             2/23/2015                  5/25/2011                7/6/2020
  17527208 12845-12855 Prairie Ave, Hawthorne, CA 90250               Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       12/6/2011 VA 1-435-207             2/23/2015                  12/6/2011               6/28/2020
  12914461 226 Walnut St, Philadelphia, PA 19106                      Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/2/2010 VA 1-434-905             2/23/2015                   4/2/2010                7/3/2020
  13075311 400 Washington St, Reading, PA 19601                       Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2010 VA 1-434-905             2/23/2015                  4/23/2010               6/25/2020
  13075320 400 Washington St, Reading, PA 19601                       Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2010 VA 1-434-905             2/23/2015                  4/23/2010               6/17/2020
  13116552 1350 Broadcasting Rd, Wyomissing, PA 19610                 Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/28/2010 VA 1-434-905             2/23/2015                  4/28/2010               6/17/2020
  13583031 2440 E Venango St, Philadelphia, PA 19134                  Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/30/2010 VA 1-434-905             2/23/2015                  6/30/2010               7/14/2020
  13583033 2440 E Venango St, Philadelphia, PA 19134                  Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/30/2010 VA 1-434-905             2/23/2015                  6/30/2010               6/17/2020
  13715287 198 Allendale Rd, King of Prussia, PA 19406                Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/19/2010 VA 1-434-905             2/23/2015                  7/19/2010                2/6/2021
  15036311 1 Security Plz, Pottstown, PA 19464                        Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/23/2010 VA 1-434-905             2/23/2015                 12/23/2010                8/9/2020
  16879554 140 N 2nd St, Philadelphia, PA 19106                       Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/19/2011 VA 1-434-339             2/23/2015                  9/19/2011               6/21/2020
  17170587 39 S Chester Pike, Glenolden, PA 19036                     Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/20/2011 VA 1-434-339             2/23/2015                 10/20/2011                5/3/2020
  17312335 49-63 W Lancaster Ave, Ardmore, PA 19003                   Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/7/2011 VA 1-434-339             2/23/2015                  11/7/2011                7/9/2020
  17626232 200-202 Howell St, Bristol, PA 19007                       Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/20/2011 VA 1-434-339             2/23/2015                 12/20/2011                7/8/2020
  24809643 4010 Market St, Philadelphia, PA 19104                     Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/5/2014 VA 1-434-861             2/23/2015                   3/5/2014                3/8/2021
  24889687 1935 S 4th St, Allentown, PA 18103                         Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/11/2014 VA 1-434-861             2/23/2015                  3/11/2014               6/25/2020
  15371991 2012 Meade Pky, Suffolk, VA 23434                          Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2011 VA 1-434-701             2/23/2015                  2/11/2011               4/17/2021




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   15551429 2451-2469 Boulevard, Colonial Heights, VA 23834           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/9/2011 VA 1-434-701              2/23/2015                   3/9/2011                7/8/2020
   15551435 2451-2469 Boulevard, Colonial Heights, VA 23834           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/9/2011 VA 1-434-701              2/23/2015                   3/9/2011               6/25/2020
   15551448 2451-2469 Boulevard, Colonial Heights, VA 23834           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/9/2011 VA 1-434-701              2/23/2015                   3/9/2011                7/9/2020
   15684361 15412 Warwick Blvd, Newport News, VA 23608                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/23/2011 VA 1-434-701              2/23/2015                  3/23/2011               6/28/2020
   15748159 2400 George Washington Memorial Hwy, Yorktown, VA 23693   Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/5/2011 VA 1-434-701              2/23/2015                   4/5/2011               6/18/2020
   15767441 7188-7196 Chapman Dr, Hayes, VA 23072                     Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/7/2011 VA 1-434-701              2/23/2015                   4/7/2011               8/12/2020
   15788765 11000 Three Chopt Rd, Richmond, VA 23233                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/11/2011 VA 1-434-701              2/23/2015                  4/11/2011               8/10/2020
   15851109 716 Denbigh Blvd, Newport News, VA 23608                  Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/8/2011 VA 1-434-701              2/23/2015                   4/8/2011                7/9/2020
   16002418 813 Independence Blvd, Virginia Beach, VA 23455           Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/26/2011 VA 1-434-701              2/23/2015                  4/26/2011              12/13/2020
   16123874 14626 Warwick Blvd, Newport News, VA 23608                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/27/2011 VA 1-434-701              2/23/2015                  5/27/2011               6/22/2020
   16163893 14818 Warwick Blvd, Newport News, VA 23608                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/27/2011 VA 1-434-701              2/23/2015                  5/27/2011               6/25/2020
   16367705 15254 Warwick Blvd, Newport News, VA 23608                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/25/2011 VA 1-434-701              2/23/2015                  5/25/2011                7/7/2020
   16534090 13650 Warwick Blvd, Newport News, VA 23602                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/2/2011 VA 1-434-701              2/23/2015                   8/2/2011               6/23/2020
   16534093 13650 Warwick Blvd, Newport News, VA 23602                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/2/2011 VA 1-434-701              2/23/2015                   8/2/2011               6/29/2020
   16586827 1405 Kiln Creek Pky, Newport News, VA 23602               Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/9/2011 VA 1-434-701              2/23/2015                   8/9/2011               6/27/2020
   16596682 5711 Old Osborne Tpke, Richmond, VA 23231                 Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/8/2011 VA 1-434-701              2/23/2015                   8/8/2011                2/8/2021
   17176688 3501 Commerce St, Portsmouth, VA 23707                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      5/10/2011 VA 1-434-701              2/23/2015                  5/10/2011                7/2/2020
   17427504 24-32 E Wythe St, Petersburg, VA 23803                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     11/21/2011 VA 1-434-701              2/23/2015                 11/21/2011               6/27/2020
   17427510 24-32 E Wythe St, Petersburg, VA 23803                    Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     11/21/2011 VA 1-434-701              2/23/2015                 11/21/2011                7/7/2020
   17638966 2122 General Booth Blvd, Virginia Beach, VA 23454         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     12/19/2011 VA 1-434-701              2/23/2015                 12/19/2011                8/8/2020
   17638977 2122 General Booth Blvd, Virginia Beach, VA 23454         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     12/19/2011 VA 1-434-701              2/23/2015                 12/19/2011                8/9/2020
   24704496 306 E Main St, Richmond, VA 23219                         Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/19/2014 VA 1-434-859              2/23/2015                  2/19/2014               6/26/2020
   24961420 1726 E Main St, Richmond, VA 23223                        Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/20/2014 VA 1-434-859              2/23/2015                  3/20/2014               6/25/2020
   16196070 707 Rodeo Cir, Hudson, WI 54016                           David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       6/9/2011 VA 1-435-234              2/23/2015                   6/9/2011              10/28/2020
   12550094 15833 Long Vista Dr, Austin, TX 78728                     Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/17/2010 VA 1-434-913              2/23/2015                  2/17/2010               11/7/2020
   12550127 15400 Long Vista Dr, Austin, TX 78728                     Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/17/2010 VA 1-434-913              2/23/2015                  2/17/2010               11/7/2020
   12767921 1512 Central Commerce Cir, Pflugerville, TX 78660         Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/15/2010 VA 1-143-491              2/23/2015                  3/15/2010               6/30/2020
   12767922 1512 Central Commerce Cir, Pflugerville, TX 78660         Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/15/2010 VA 1-434-913              2/23/2015                  3/15/2010               6/22/2020
   12845436 9231 W Parmer Ln, Austin, TX 78717                        Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/24/2010 VA 1-143-491              2/23/2015                  3/24/2010               6/20/2020
   12968024 7020 Easy Wind Dr, Austin, TX 78752                       Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/8/2010 VA 1-434-913              2/23/2015                   4/8/2010               11/8/2020
   13044757 1801 S Mopac Expy, Austin, TX 78746                       Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/20/2010 VA 1-434-913              2/23/2015                  4/20/2010                7/7/2021
   13055829 98 San Jacinto Blvd, Austin, TX 78701                     Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      4/21/2010 VA 1-434-913              2/23/2015                  4/21/2010               6/19/2020
   13161386 9130 Jollyville Rd, Austin, TX 78759                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/4/2010 VA 1-434-913              2/23/2015                   5/4/2010               2/21/2021
   13840485 4209 S Industrial Dr, Austin, TX 78744                    Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/3/2010 VA 1-434-913              2/23/2015                   8/3/2010                7/7/2020
   14308568 101-185 Eastgate Plz, Bellmead, TX 76705                  Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      9/16/2010 VA 1-434-913              2/23/2015                  9/16/2010               1/27/2021
   14753728 601 Texas Central Pky, Woodway, TX 76712                  Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     11/12/2010 VA 1-143-491              2/23/2015                 11/12/2010               6/26/2020
   14753730 601 Texas Central Pky, Woodway, TX 76712                  Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     11/12/2010 VA 1-143-491              2/23/2015                 11/12/2010               6/26/2020
   15176801 8000 Central Park Dr, Waco, TX 76712                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/18/2011 VA 1-434-948              2/23/2015                  1/18/2011               6/27/2020
   15176804 8000 Central Park Dr, Waco, TX 76712                      Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      1/18/2011 VA 1-434-948              2/23/2015                  1/18/2011               6/25/2020
   16183813 208 Bonnett St, Austin, TX 78741                          Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       6/8/2011 VA 1-434-948              2/23/2015                   6/8/2011              11/14/2020
   17369493 5926 Balcones Dr, Austin, TX 78731                        Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300     11/14/2011 VA 1-434-948              2/23/2015                 11/14/2011               2/21/2021
   24658709 16040 Park Valley Dr, Round Rock, TX 78681                Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/13/2014 VA 1-434-812              2/23/2015                  2/13/2014               8/11/2020
   24658712 16040 Park Valley Dr, Round Rock, TX 78681                Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/13/2014 VA 1-434-812              2/23/2015                  2/13/2014               8/12/2020
   15073401 120 Rescue Ln, Bloomfield, CT 06002                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/4/2011 VA 1-434-935              2/23/2015                   1/4/2011               6/22/2020
   15073403 120 Rescue Ln, Bloomfield, CT 06002                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/4/2011 VA 1-434-935              2/23/2015                   1/4/2011               6/26/2020
   15106237 3 Regency Dr, Bloomfield, CT 06002                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/7/2011 VA 1-434-935              2/23/2015                   1/7/2011                7/9/2020
   15106243 3 Regency Dr, Bloomfield, CT 06002                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/7/2011 VA 1-434-935              2/23/2015                   1/7/2011               6/26/2020
   15374744 2929 Berlin Tpke, Newington, CT 06111                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      2/14/2011 VA 1-434-935              2/23/2015                  2/14/2011                7/7/2020
   15610077 100 Retreat Ave, Hartford, CT 06106                       Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      3/17/2011 VA 1-434-935              2/23/2015                  3/17/2011               6/28/2020
   16342268 12 Coogan Blvd, Mystic, CT 06355                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      6/29/2011 VA 1-434-935              2/23/2015                  6/29/2011               6/22/2020
   16342273 12 Coogan Blvd, Mystic, CT 06355                          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      6/29/2011 VA 1-434-935              2/23/2015                  6/29/2011               6/25/2020
   16699566 280 Talcottville Rd, Vernon, CT 06066                     Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      8/15/2011 VA 1-434-935              2/23/2015                  8/15/2011               6/27/2020
   16754897 138-142 Main St, Norwich, CT 06360                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      8/31/2011 VA 1-434-935              2/23/2015                  8/31/2011               6/24/2020
   16754920 287-291 Main St, Norwich, CT 06360                        Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      8/31/2011 VA 1-434-935              2/23/2015                  8/31/2011                7/7/2020
   11988213 75-79 Plain St, Providence, RI 02903                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/4/2010 VA 1-435-225              2/23/2015                   1/4/2010               6/21/2020
   11988218 75-79 Plain St, Providence, RI 02903                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/4/2010 VA 1-435-225              2/23/2015                   1/4/2010                7/4/2020
   11988221 75-79 Plain St, Providence, RI 02903                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       1/4/2010 VA 1-435-225              2/23/2015                   1/4/2010               6/23/2020
   12190006 127-133 Friendship St, Providence, RI 02903               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       2/1/2010 VA 1-435-225              2/23/2015                   2/1/2010               6/21/2020
   13010202 33 Broad St, Providence, RI 02903                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/15/2010 VA 1-435-225              2/23/2015                  4/15/2010               6/19/2020
   13032105 143 Westminster St, Providence, RI 02903                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/15/2010 VA 1-435-225              2/23/2015                  4/15/2010               8/10/2020
   13044819 292 Westminster St, Providence, RI 02903                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/19/2010 VA 1-435-225              2/23/2015                  4/19/2010               6/20/2020
   13060211 475 Kilvert St, Warwick, RI 02886                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/12/2010 VA 1-435-225              2/23/2015                  4/12/2010                6/8/2021
   13060221 1 Sovereign Way, East Providence, RI 02915                Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/13/2010 VA 1-435-225              2/23/2015                  4/13/2010                8/7/2020
   13090444 37 Edgerton Dr, Falmouth, MA 02540                        Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/23/2010 VA 1-435-225              2/23/2015                  4/23/2010               6/19/2020
   13090448 37 Edgerton Dr, Falmouth, MA 02540                        Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/23/2010 VA 1-435-225              2/23/2015                  4/23/2010                7/7/2020
   13133143 100 Grossman Dr, Braintree, MA 02184                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/30/2010 VA 1-435-225              2/23/2015                  4/30/2010               6/17/2020
   13215712 355 Allens Ave, Providence, RI 02905                      Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/11/2010 VA 1-435-225              2/23/2015                  5/11/2010               6/24/2020
   13563554 280 County Rd, Barrington, RI 02806                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      6/29/2010 VA 1-435-225              2/23/2015                  6/29/2010               6/28/2020
   13584646 255 Dexter St, Providence, RI 02907                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       7/1/2010 VA 1-435-225              2/23/2015                   7/1/2010               6/25/2020
   13584653 255 Dexter St, Providence, RI 02907                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       7/1/2010 VA 1-435-225              2/23/2015                   7/1/2010               6/26/2020
   13584658 255 Dexter St, Providence, RI 02907                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       7/1/2010 VA 1-435-225              2/23/2015                   7/1/2010               6/28/2020
   13584664 255 Dexter St, Providence, RI 02907                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       7/1/2010 VA 1-435-225              2/23/2015                   7/1/2010               6/25/2020
   13584674 255 Dexter St, Providence, RI 02907                       Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       7/1/2010 VA 1-435-225              2/23/2015                   7/1/2010               6/28/2020
   14156629 898-900 Washington St, Norwood, MA 02062                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       9/7/2010 VA 1-435-225              2/23/2015                   9/7/2010               6/26/2020
   14156631 898-900 Washington St, Norwood, MA 02062                  Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       9/7/2010 VA 1-435-225              2/23/2015                   9/7/2010               6/25/2020
   14211213 275 Centre St, Holbrook, MA 02343                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      9/13/2010 VA 1-435-225              2/23/2015                  9/13/2010               7/24/2020
   14211217 275 Centre St, Holbrook, MA 02343                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      9/13/2010 VA 1-435-225              2/23/2015                  9/13/2010               7/24/2020
   14836666 1050-1070 Willett Ave, East Providence, RI 02915          Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500     11/23/2010 VA 1-435-225              2/23/2015                 11/23/2010                7/9/2020
   14886525 9 N Main St, West Bridgewater, MA 02379                   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      12/1/2010 VA 1-435-225              2/23/2015                  12/1/2010               7/24/2020
   12190078 1115 Wall St, Los Angeles, CA 90015                       John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       2/1/2010 VA 1-435-219              2/23/2015                   2/1/2010               6/23/2020




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   12190106 1147 Wall St, Los Angeles, CA 90015                        John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       2/1/2010 VA 1-435-219              2/23/2015                   2/1/2010              8/12/2020
   12610125 15769 Ornelas St, Irwindale, CA 91706                      John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      2/23/2010 VA 1-435-219              2/23/2015                  2/23/2010              7/14/2020
   12871497 1330 Valley Vista Dr, Diamond Bar, CA 91765                John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      3/26/2010 VA 1-435-219              2/23/2015                  3/26/2010              8/12/2020
   12941670 1441 Boyd St, Los Angeles, CA 90033                        John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       4/6/2010 VA 1-435-219              2/23/2015                   4/6/2010              6/22/2020
   13289860 551-553 S Broadway, Los Angeles, CA 90013                  John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/19/2010 VA 1-435-219              2/23/2015                  5/19/2010               7/4/2020
   13584790 4323-4329 Rowland Ave, El Monte, CA 91731                  John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/30/2010 VA 1-435-219              2/23/2015                  6/30/2010               8/8/2020
   14039837 2446 Durfee Ave, El Monte, CA 91732                        John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/27/2010 VA 1-435-219              2/23/2015                  8/27/2010              6/26/2020

  16496833 29931-29933 Beverly Rd, Romulus, MI 48174                   Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/28/2011 VA 1-434-922             2/23/2015                  7/28/2011                8/9/2020

  16587425 40441 Ann Arbor Rd E, Plymouth, MI 48170                    Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/9/2011 VA 1-434-922             2/23/2015                   8/9/2011                7/5/2020

  16676026 5837-5859 W Vernor Hwy, Detroit, MI 48209                   Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/15/2011 VA 1-434-922             2/23/2015                  8/15/2011               6/27/2020

  16855203 7845 Middlebelt Rd, Romulus, MI 48174                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/15/2011 VA 1-434-922             2/23/2015                  9/15/2011               7/24/2020

  16855210 7845 Middlebelt Rd, Romulus, MI 48174                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/15/2011 VA 1-434-922             2/23/2015                  9/15/2011               7/24/2020

  16855270 27800 Wick Rd, Romulus, MI 48174                            Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/14/2011 VA 1-434-922             2/23/2015                  9/14/2011               7/24/2020

  16891194 6810 Metroplex Dr, Romulus, MI 48174                        Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/20/2011 VA 1-434-922             2/23/2015                  9/20/2011                8/2/2020

  16891198 6810 Metroplex Dr, Romulus, MI 48174                        Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/20/2011 VA 1-434-922             2/23/2015                  9/20/2011               7/31/2020
  24568926 9420 Activity Rd, San Diego, CA 92126                       Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/31/2014 VA 1-434-856             2/23/2015                  1/31/2014               6/27/2020
  24756890 2125 Roosevelt Ave, National City, CA 91950                 Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/25/2014 VA 1-434-856             2/23/2015                  2/25/2014                7/5/2020
  24902066 4510 Executive Dr, San Diego, CA 92121                      Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/13/2014 VA 1-434-856             2/23/2015                  3/13/2014               6/25/2020
  24902084 4510 Executive Dr, San Diego, CA 92121                      Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/13/2014 VA 1-434-856             2/23/2015                  3/13/2014               6/27/2020
  14021829 4230 Rocklin Rd, Rocklin, CA 95677                          Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/25/2010 VA 1-434-910             2/23/2015                  8/25/2010                8/8/2020
  17293235 17510-17520 Castleton St, City Of Industry, CA 91748        Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/4/2011 VA 1-434-951             2/23/2015                  11/4/2011               6/24/2020
  17296658 1725 Nogales St, Rowland Heights, CA 91748                  Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/25/2011 VA 1-434-951             2/23/2015                 10/25/2011               6/21/2020
  17550818 8223 Santa Fe Springs Rd, Whittier, CA 90606                Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/9/2011 VA 1-434-951             2/23/2015                  12/9/2011               6/18/2020
  17627133 11618 Washington Blvd, Whittier, CA 90606                   Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2011 VA 1-434-951             2/23/2015                 12/22/2011               8/10/2020

  15860639 250 Simpson Ave, Lexington, KY 40504                        Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/20/2011 VA 1-435-244             2/23/2015                  4/20/2011               6/26/2020
  12755216 13720 Lorain Ave, Cleveland, OH 44111                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/10/2010 VA 1-434-914             2/23/2015                  3/10/2010               6/21/2020
  12915005 5555 Mayfield Rd, Cleveland, OH 44124                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2010 VA 1-434-914             2/23/2015                   4/2/2010               7/12/2021
  13075917 6105 Parkland Blvd, Mayfield Heights, OH 44124              Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2010 VA 1-434-914             2/23/2015                  4/23/2010               6/21/2020
  13155443 26301 Curtiss Wright Pky, Richmond Heights, OH 44143        Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/19/2010 VA 1-434-914             2/23/2015                  4/19/2010               6/30/2020
  13206445 1507 S Green Rd, South Euclid, OH 44121                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/10/2010 VA 1-434-914             2/23/2015                  5/10/2010               6/29/2020
  13313719 21301 Chagrin Blvd, Beachwood, OH 44122                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/20/2010 VA 1-434-914             2/23/2015                  5/20/2010               6/16/2020
  13337083 23645 Mercantile Rd, Beachwood, OH 44122                    Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/26/2010 VA 1-434-914             2/23/2015                  5/26/2010               6/23/2020
  13346897 23711 Chagrin Blvd, Beachwood, OH 44122                     Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/27/2010 VA 1-434-914             2/23/2015                  5/27/2010                7/3/2020
  13393802 30901 Carter St, Solon, OH 44139                            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/4/2010 VA 1-434-914             2/23/2015                   6/4/2010                7/3/2020
  13818293 18233 S Miles Rd, Warrensville Heights, OH 44128            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2010 VA 1-434-914             2/23/2015                  7/30/2010               6/26/2020
  13841195 17515 S Miles Rd, Cleveland, OH 44128                       Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/3/2010 VA 1-434-914             2/23/2015                   8/3/2010              11/24/2020
  14594503 5500 Northfield Rd, Maple Heights, OH 44137                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2010 VA 1-434-914             2/23/2015                 10/26/2010               6/26/2020
  14618863 5500 Northfield Rd, Maple Heights, OH 44137                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/28/2010 VA 1-434-914             2/23/2015                 10/28/2010               6/29/2020
  14689014 5474 Omega Ave, Bedford, OH 44146                           Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/5/2010 VA 1-434-914             2/23/2015                  11/5/2010                7/8/2020
  14724869 18200 S Miles Rd, Warrensville Heights, OH 44128            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/8/2010 VA 1-434-914             2/23/2015                  11/8/2010               6/26/2020
  15074231 25701-25865 Richmond Rd, Bedford Heights, OH 44146          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/2/2010 VA 1-434-914             2/23/2015                  12/2/2010               6/29/2020
  24424734 6464 Metro Ct, Bedford Heights, OH 44146                    Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2014 VA 1-434-873             2/23/2015                  1/15/2014               6/29/2020
  24479837 15450 Broadway Ave, Maple Heights, OH 44137                 Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/22/2014 VA 1-434-873             2/23/2015                  1/22/2014               6/27/2020
  24569495 13201 Granger Rd, Garfield Heights, OH 44125                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2014 VA 1-434-873             2/23/2015                   2/3/2014               10/9/2020
  24569599 11 Broadway Ave, Bedford, OH 44146                          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2014 VA 1-434-873             2/23/2015                   2/3/2014               6/26/2020
  24569602 11 Broadway Ave, Bedford, OH 44146                          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2014 VA 1-434-873             2/23/2015                   2/3/2014               6/28/2020
  24969489 3029 Prospect Ave E, Cleveland, OH 44115                    Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/21/2014 VA 1-434-873             2/23/2015                  3/21/2014               6/29/2020
  24608120 200 W Towsontown Blvd, Towson, MD 21204                     Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2014 VA 1-434-806             2/23/2015                   2/7/2014               6/29/2020
  24608126 200 W Towsontown Blvd, Towson, MD 21204                     Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2014 VA 1-434-806             2/23/2015                   2/7/2014               6/26/2020
  25032323 220-222 W Saratoga St, Baltimore, MD 21201                  Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2014 VA 1-434-806             2/23/2015                  3/28/2014               6/29/2020
  16011913 746-796 Young St, Tonawanda, NY 14150                       Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/11/2011 VA 1-435-247             2/23/2015                  5/11/2011               7/31/2020
  16676685 555 Orchard Park Rd, West Seneca, NY 14224                  Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2011 VA 1-435-247             2/23/2015                  8/17/2011               6/26/2020
  17336473 1873 State Route 104, Ontario, NY 14519                     Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/9/2011 VA 1-435-247             2/23/2015                  11/9/2011               12/3/2020
  17518401 9840 Main St, Clarence, NY 14031                            Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2011 VA 1-435-247             2/23/2015                  12/5/2011               6/20/2020
  25002084 204 Oak, Batavia, NY 14020                                  Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/25/2014 VA 1-434-863             2/23/2015                  3/25/2014               8/12/2020
  25002089 204 Oak, Batavia, NY 14020                                  Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/25/2014 VA 1-434-863             2/23/2015                  3/25/2014                8/9/2020
  15440277 415 Railroad Ave, Pittsburg, CA 94565                       Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       2/23/2011 VA 1-434-776             2/23/2015                  2/23/2011               6/27/2020
  15748760 911 Moraga Rd, Lafayette, CA 94549                          Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        4/5/2011 VA 1-434-776             2/23/2015                   4/5/2011                7/3/2020
  16562392 1100-1106 International Blvd, Oakland, CA 94606             Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        8/5/2011 VA 1-434-776             2/23/2015                   8/5/2011               8/11/2020
  16700753 314-318 27th St, Oakland, CA 94612                          Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       8/24/2011 VA 1-434-776             2/23/2015                  8/24/2011               6/27/2020
  16700758 314-318 27th St, Oakland, CA 94612                          Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       8/24/2011 VA 1-434-776             2/23/2015                  8/24/2011               6/25/2020
  16861542 3270-3276 Lakeshore Ave, Oakland, CA 94610                  Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       9/16/2011 VA 1-434-776             2/23/2015                  9/16/2011               6/25/2020
  16861599 3240 Lakeshore Ave, Oakland, CA 94610                       Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       9/16/2011 VA 1-434-776             2/23/2015                  9/16/2011               6/28/2020
  17345987 760 N Texas St, Fairfield, CA 94533                         Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      11/10/2011 VA 1-434-776             2/23/2015                 11/10/2011                7/9/2020
  17428122 300 E Leland Rd, Pittsburg, CA 94565                        Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      11/21/2011 VA 1-434-776             2/23/2015                 11/21/2011               6/20/2020
  17633609 6886-6894 Village Pky, Dublin, CA 94568                     Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      12/23/2011 VA 1-434-776             2/23/2015                 12/23/2011               6/27/2020
  15141129 1801 Norman Dr, Valdosta, GA 31601                          David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/12/2011 VA 1-435-236             2/23/2015                  1/12/2011               8/12/2020
  15141136 1801 Norman Dr, Valdosta, GA 31601                          David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/12/2011 VA 1-435-236             2/23/2015                  1/12/2011                8/9/2020
  15480661 215 Harrison Ave, Panama City, FL 32401                     David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/24/2011 VA 1-435-236             2/23/2015                  2/24/2011               6/20/2020
  16067062 136 NW Bascom Norris Dr, Lake City, FL 32055                David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/23/2011 VA 1-435-236             2/23/2015                  5/23/2011               6/28/2020
  25014676 1010 S Adams St, Tallahassee, FL 32301                      David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/26/2014 VA 1-435-119             2/23/2015                  3/26/2014               6/27/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                       63
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   25014680 1010 S Adams St, Tallahassee, FL 32301                  David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/26/2014 VA 1-435-119              2/23/2015                  3/26/2014               6/27/2020
   15777463 1810-1828 NW 183rd St, Miami Gardens, FL 33056          Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/8/2011 VA 1-435-209              2/23/2015                   4/8/2011               6/19/2020
   15777476 1810-1828 NW 183rd St, Miami Gardens, FL 33056          Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/8/2011 VA 1-435-209              2/23/2015                   4/8/2011               6/19/2020
   15920670 7100-7114 NW 50th St, Miami, FL 33166                   Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/29/2011 VA 1-435-209              2/23/2015                  4/29/2011              11/16/2020
   17218806 4356-4386 E 10th Ln, Hialeah, FL 33013                  Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-209              2/23/2015                 10/21/2011               6/29/2020
   17218809 4356-4386 E 10th Ln, Hialeah, FL 33013                  Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-209              2/23/2015                 10/21/2011               6/21/2020
   17527797 3460-3464 NW North River Dr, Miami, FL 33142            Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/6/2011 VA 1-435-209              2/23/2015                  12/6/2011               6/27/2020
   17550972 1500 NW 21st St, Miami, FL 33142                        Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2011 VA 1-435-209              2/23/2015                  12/9/2011               6/21/2020
   24444076 705 W 28th St, Hialeah, FL 33010                        Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/17/2014 VA 1-435-117              2/23/2015                  1/17/2014               6/27/2020
   24444093 475 Biltmore Way, Coral Gables, FL 33134                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/17/2014 VA 1-435-117              2/23/2015                  1/17/2014               6/27/2020
   24490666 262-264 Almeria Ave, Coral Gables, FL 33134             Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2014 VA 1-435-117              2/23/2015                  1/23/2014               6/25/2020
   24570533 350 Sevilla Ave, Coral Gables, FL 33134                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2014 VA 1-435-117              2/23/2015                   2/3/2014               6/29/2020
   24570539 350 Sevilla Ave, Coral Gables, FL 33134                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2014 VA 1-435-117              2/23/2015                   2/3/2014               6/29/2020
   24571074 255 University Dr, Coral Gables, FL 33134               Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2014 VA 1-435-117              2/23/2015                   2/3/2014               6/29/2020
   24608323 2725-2727 Salzedo St, Coral Gables, FL 33134            Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/4/2014 VA 1-435-117              2/23/2015                   2/4/2014               6/28/2020
   24608330 2725-2727 Salzedo St, Coral Gables, FL 33134            Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/4/2014 VA 1-435-117              2/23/2015                   2/4/2014               6/26/2020
   24659796 356 Alhambra Cir, Coral Gables, FL 33134                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/13/2014 VA 1-435-117              2/23/2015                  2/13/2014                7/6/2020
   24659813 356 Alhambra Cir, Coral Gables, FL 33134                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/13/2014 VA 1-435-117              2/23/2015                  2/13/2014                7/7/2020
   24659819 356 Alhambra Cir, Coral Gables, FL 33134                Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/13/2014 VA 1-435-117              2/23/2015                  2/13/2014               6/26/2020
   17391540 18790 Valley Blvd, Bloomington, CA 92316                Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/16/2011 VA 1-435-245              2/23/2015                 11/16/2011               7/10/2020
   17536766 13265 Yorba Ave, Chino, CA 91710                        Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/7/2011 VA 1-435-245              2/23/2015                  12/7/2011                8/8/2020
   24349445 5585 Daniels St, Chino, CA 91710                        Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2014 VA 1-435-118              2/23/2015                   1/6/2014               6/27/2020
   24370605 5135 Edison Ave, Chino, CA 91710                        Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/7/2014 VA 1-435-118              2/23/2015                   1/7/2014              10/22/2020
   24425470 1950 S Grove Ave, Ontario, CA 91761                     Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2014 VA 1-435-118              2/23/2015                  1/14/2014                8/8/2020
   24437607 1408 S Grove Ave, Ontario, CA 91761                     Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/15/2014 VA 1-435-118              2/23/2015                  1/15/2014               7/14/2020

  12190832 3901 S East St, Indianapolis, IN 46227                   Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/1/2010 VA 1-434-918             2/23/2015                   2/1/2010               7/31/2020

  13182636 6313-6411 S East St, Indianapolis, IN 46227              Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2010 VA 1-434-918             2/23/2015                   5/6/2010               6/29/2020

  13182643 6313-6411 S East St, Indianapolis, IN 46227              Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2010 VA 1-434-918             2/23/2015                   5/6/2010                7/4/2020

  13182659 533 E County Line Rd, Greenwood, IN 46143                Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2010 VA 1-434-918             2/23/2015                   5/6/2010               6/19/2020

  14709685 1111 South Park Dr, Greenwood, IN 46143                  Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/4/2010 VA 1-434-918             2/23/2015                  11/4/2010               6/28/2020
  13863116 6500 Bowden Rd, Jacksonville, FL 32216                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/5/2010 VA 1-434-705             2/23/2015                   8/5/2010                7/9/2020
  13863127 6500 Bowden Rd, Jacksonville, FL 32216                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/5/2010 VA 1-434-705             2/23/2015                   8/5/2010               6/17/2020
  14000080 5560-5566 Timuquana Rd, Jacksonville, FL 32210           Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2010 VA 1-434-705             2/23/2015                  8/23/2010               6/23/2020
  14000082 5576 Timuquana Rd, Jacksonville, FL 32210                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2010 VA 1-434-705             2/23/2015                  8/23/2010               7/10/2020
  14000084 5584 Timuquana Rd, Jacksonville, FL 32210                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2010 VA 1-434-705             2/23/2015                  8/23/2010               6/26/2020
  14000223 5618 Timuquana Rd, Jacksonville, FL 32210                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2010 VA 1-434-705             2/23/2015                  8/23/2010               6/28/2020
  14000240 5584 Timuquana Rd, Jacksonville, FL 32210                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2010 VA 1-434-705             2/23/2015                  8/23/2010               6/21/2020
  14227218 8834 Goodbys Executive Dr, Jacksonville, FL 32217        Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2010 VA 1-434-705             2/23/2015                  9/14/2010                7/3/2020
  14382933 4425 US Highway 1, Saint Augustine, FL 32086             Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/30/2010 VA 1-434-705             2/23/2015                  9/30/2010              10/24/2020
  14382966 1395 Chaffee Rd, Jacksonville, FL 32221                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/28/2010 VA 1-434-705             2/23/2015                  9/28/2010               7/23/2020
  14595179 1319 Dunn Ave, Jacksonville, FL 32218                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2010 VA 1-434-705             2/23/2015                 10/26/2010               6/26/2020
  14606179 10865 Harts Rd, Jacksonville, FL 32218                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/27/2010 VA 1-434-705             2/23/2015                 10/27/2010               6/26/2020
  14655665 550 Balmoral Cir, Jacksonville, FL 32218                 Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2010 VA 1-434-705             2/23/2015                  11/2/2010                8/8/2020
  14655667 550 Balmoral Cir, Jacksonville, FL 32218                 Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/2/2010 VA 1-434-705             2/23/2015                  11/2/2010                8/8/2020
  14891317 2 Atlantic Ct, Atlantic Beach, FL 32233                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/1/2010 VA 1-434-705             2/23/2015                  12/1/2010                7/7/2020
  14891319 2 Atlantic Ct, Atlantic Beach, FL 32233                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/1/2010 VA 1-434-705             2/23/2015                  12/1/2010               6/26/2020
  14891349 2050 S King Cir, Neptune Beach, FL 32266                 Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/2/2010 VA 1-434-705             2/23/2015                  12/2/2010               6/27/2020
  15331789 8465 Merchants Way, Jacksonville, FL 32222               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2011 VA 1-434-354             2/23/2015                   2/8/2011               7/23/2020
  15651841 8834 Goodbys Executive Dr, Jacksonville, FL 32217        Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/23/2011 VA 1-434-354             2/23/2015                  3/23/2011               6/30/2020
  15914642 9424 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/29/2011 VA 1-434-354             2/23/2015                  4/29/2011                7/2/2020
  15914644 9428 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/29/2011 VA 1-434-354             2/23/2015                  4/29/2011                7/2/2020
  15914645 9424 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/29/2011 VA 1-434-354             2/23/2015                  4/29/2011                7/3/2020
  16042479 13001 Atlantic Blvd, Jacksonville, FL 32225              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/19/2011 VA 1-434-354             2/23/2015                  5/19/2011               7/23/2020
  16042482 13001 Atlantic Blvd, Jacksonville, FL 32225              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/19/2011 VA 1-434-354             2/23/2015                  5/19/2011               7/24/2020
  16042486 13001 Atlantic Blvd, Jacksonville, FL 32225              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/19/2011 VA 1-434-354             2/23/2015                  5/19/2011               7/23/2020
  16125203 4540 Southside Blvd, Jacksonville, FL 32216              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/31/2011 VA 1-434-354             2/23/2015                  5/31/2011               7/24/2020
  16125206 4540 Southside Blvd, Jacksonville, FL 32216              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/31/2011 VA 1-434-354             2/23/2015                  5/31/2011               7/24/2020
  16770501 2155 Ellis Rd N, Jacksonville, FL 32254                  Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/2/2011 VA 1-434-354             2/23/2015                   9/2/2011                8/7/2020
  16903199 3201 Crill Ave, Palatka, FL 32177                        Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/21/2011 VA 1-434-354             2/23/2015                  9/21/2011               6/20/2020
  16903207 3201 Crill Ave, Palatka, FL 32177                        Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/21/2011 VA 1-434-354             2/23/2015                  9/21/2011               6/28/2020
  17324588 Cr-108, Hilliard, FL 32046                               Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/7/2011 VA 1-434-354             2/23/2015                  11/7/2011               7/24/2020
  15075410 1725 San Felipe Rd, Hollister, CA 95023                  Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        1/3/2011 VA 1-435-208             2/23/2015                   1/3/2011                2/2/2021
  15375759 486 Cabot Rd, South San Francisco, CA 94080              Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        2/4/2011 VA 1-435-208             2/23/2015                   2/4/2011                8/8/2020
  15944757 2930-2938 Aborn Square Rd, San Jose, CA 95121            Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        5/4/2011 VA 1-435-208             2/23/2015                   5/4/2011               6/19/2020
  24907209 1102-1140 Walsh Ave, Santa Clara, CA 95050               Christopher Lau                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/14/2014 VA 1-435-130             2/23/2015                  3/14/2014                7/1/2020
  12769925 11202-11206 Balls Ford Rd, Manassas, VA 20109            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/15/2010 VA 1-434-897             2/23/2015                  3/15/2010                7/2/2020
  12800835 8050 Piney Branch Ln, Gainesville, VA 20155              Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/18/2010 VA 1-434-897             2/23/2015                  3/18/2010               6/29/2020
  12800836 8050 Piney Branch Ln, Gainesville, VA 20155              Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/18/2010 VA 1-434-897             2/23/2015                  3/18/2010               6/22/2020
  12857235 8195 Euclid Ct, Manassas, VA 20111                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/25/2010 VA 1-434-897             2/23/2015                  3/25/2010               6/28/2020
  12857236 8195 Euclid Ct, Manassas, VA 20111                       Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/25/2010 VA 1-434-897             2/23/2015                  3/25/2010               6/25/2020
  12909647 14120 Newbrook Dr, Chantilly, VA 20151                   Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/1/2010 VA 1-434-897             2/23/2015                   4/1/2010               6/25/2020
  13367525 2751 Killarney Dr, Woodbridge, VA 22192                  Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/1/2010 VA 1-434-897             2/23/2015                   6/1/2010               8/11/2020
  13367529 2751 Killarney Dr, Woodbridge, VA 22192                  Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/1/2010 VA 1-434-897             2/23/2015                   6/1/2010               8/11/2020
  13367531 2751 Killarney Dr, Woodbridge, VA 22192                  Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/1/2010 VA 1-434-897             2/23/2015                   6/1/2010               8/11/2020
  13411126 7556-7608 Gardner Park Dr, Gainesville, VA 20155         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/7/2010 VA 1-434-897             2/23/2015                   6/7/2010               7/19/2020




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   14296293 46396 Benedict Dr, Sterling, VA 20164                  Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/21/2010 VA 1-434-897              2/23/2015                  9/21/2010              6/26/2020
   14680920 9502 Burke Rd, Burke, VA 22015                         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/4/2010 VA 1-434-897              2/23/2015                  11/4/2010              6/22/2020
   14680928 9502 Burke Rd, Burke, VA 22015                         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/4/2010 VA 1-434-897              2/23/2015                  11/4/2010              7/14/2020
   14889080 4600 Duke St, Alexandria, VA 22304                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      12/3/2010 VA 1-434-897              2/23/2015                  12/3/2010              6/26/2020
   24330271 10708 Ballantraye Dr, Fredericksburg, VA 22407         Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/2/2014 VA 1-434-871              2/23/2015                   1/2/2014              6/26/2020
   24425730 2141 Wisconsin Ave NW, Washington, DC 20007            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/14/2014 VA 1-434-871              2/23/2015                  1/14/2014               7/6/2020
   24571152 4605 Massachusetts Ave NW, Washington, DC 20016        Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/30/2014 VA 1-434-871              2/23/2015                  1/30/2014              6/26/2020
   24571160 4605 Massachusetts Ave NW, Washington, DC 20016        Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/30/2014 VA 1-434-871              2/23/2015                  1/30/2014               7/7/2020

  15221264 2219 Rowland Ave, Savannah, GA 31404                    Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/24/2011 VA 1-434-697             2/23/2015                  1/24/2011                8/9/2020

  15851928 5102 Paulsen St, Savannah, GA 31405                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/19/2011 VA 1-434-697             2/23/2015                  4/19/2011                7/8/2020

  15960104 4318 Waters Ave, Savannah, GA 31404                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/6/2011 VA 1-434-697             2/23/2015                   5/6/2011               6/17/2020

  16043073 1668 Old Trolley Rd, Summerville, SC 29485              Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/17/2011 VA 1-434-697             2/23/2015                  5/17/2011               6/26/2020

  16301694 6398 Savannah Hwy, Ravenel, SC 29470                    Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/20/2011 VA 1-434-697             2/23/2015                  6/20/2011               6/27/2020

  17324678 150 Chatham Pky, Garden City, GA 31408                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       11/8/2011 VA 1-434-697             2/23/2015                  11/8/2011               6/26/2020

  17324685 100 Chatham Pky, Savannah, GA 31408                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       11/8/2011 VA 1-434-697             2/23/2015                  11/8/2011               6/28/2020

  17324688 100 Chatham Pky, Savannah, GA 31408                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       11/8/2011 VA 1-434-697             2/23/2015                  11/8/2011               6/25/2020

  17324691 100 Chatham Pky, Savannah, GA 31408                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       11/8/2011 VA 1-434-697             2/23/2015                  11/8/2011               6/21/2020

  17490789 106 Parkway Ave, Summerville, SC 29483                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/30/2011 VA 1-434-697             2/23/2015                 11/30/2011                7/9/2020

  17490804 106 Parkway Ave, Summerville, SC 29483                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/30/2011 VA 1-434-697             2/23/2015                 11/30/2011               6/25/2020

  24437813 11215 Abercorn St, Savannah, GA 31419                   Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/16/2014 VA 1-434-826             2/23/2015                  1/16/2014               2/16/2021

  24608571 479 Long Point Rd, Mount Pleasant, SC 29464             Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        2/7/2014 VA 1-434-826             2/23/2015                   2/7/2014                7/5/2020

  12780621 621 Dana St NE, Warren, OH 44483                        Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/16/2010 VA 1-434-703             2/23/2015                  3/16/2010               1/17/2021

  12879800 944 Greenbriar Rd, Kent, OH 44240                       Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/27/2010 VA 1-434-703             2/23/2015                  3/27/2010                6/7/2021

  12890612 200 Francis Kenneth Dr, Aurora, OH 44202                Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/30/2010 VA 1-434-703             2/23/2015                  3/30/2010               6/23/2020

  12935402 1263 S Chillicothe Rd, Aurora, OH 44202                 Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/1/2010 VA 1-434-703             2/23/2015                   4/1/2010               6/30/2020

  13134301 116 Cleveland Ave NW, Canton, OH 44702                  Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/30/2010 VA 1-434-703             2/23/2015                  4/30/2010               6/28/2020

  13183103 8536 Crow Dr, Macedonia, OH 44056                       Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/6/2010 VA 1-434-703             2/23/2015                   5/6/2010               6/25/2020

  13953391 2146 Enterprise Pky, Twinsburg, OH 44087                Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/6/2010 VA 1-434-703             2/23/2015                   8/6/2010               7/14/2020

  16711221 210 Retreat Ln, Westerville, OH 43082                   Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/25/2011 VA 1-434-893             2/23/2015                  8/25/2011                8/7/2020

  16711222 210 Retreat Ln, Westerville, OH 43082                   Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/25/2011 VA 1-434-893             2/23/2015                  8/25/2011               8/11/2020

  16711226 210 Retreat Ln, Westerville, OH 43082                   Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/25/2011 VA 1-434-893             2/23/2015                  8/25/2011                8/8/2020

  17074546 51710 National Rd E, Saint Clairsville, OH 43950        Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/11/2011 VA 1-434-893             2/23/2015                 10/11/2011               6/21/2020
  12558717 504 Autumn Springs Ct, Franklin, TN 37067               Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/19/2010 VA 1-434-706             2/23/2015                  2/19/2010               6/17/2020
  13068760 6 Cadillac Dr, Brentwood, TN 37027                      Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/16/2010 VA 1-434-706             2/23/2015                  4/16/2010                7/2/2020
  13078697 5300 Maryland Way, Brentwood, TN 37027                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2010 VA 1-434-706             2/23/2015                  4/21/2010               8/10/2020
  13162665 310 25th Ave N, Nashville, TN 37203                     Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2010 VA 1-434-706             2/23/2015                   5/4/2010                7/7/2021
  15601163 217 Mill Ln, Smyrna, TN 37167                           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2011 VA 1-434-950             2/23/2015                  3/16/2011               6/19/2020
  15601174 217 Mill Ln, Smyrna, TN 37167                           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2011 VA 1-434-950             2/23/2015                  3/16/2011               6/19/2020
  15601182 120 Hays St, Smyrna, TN 37167                           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2011 VA 1-434-950             2/23/2015                  3/16/2011               7/10/2020
  15601192 120 Hays St, Smyrna, TN 37167                           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2011 VA 1-434-950             2/23/2015                  3/16/2011               6/24/2020
  15685827 2007 Oakland Pky, Columbia, TN 38401                    Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2011 VA 1-434-950             2/23/2015                  3/28/2011               6/20/2020
  16148441 125 Indian Lake Blvd, Hendersonville, TN 37075          Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/3/2011 VA 1-434-950             2/23/2015                   6/3/2011                7/7/2020
  16148519 256 E Main St, Hendersonville, TN 37075                 Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/3/2011 VA 1-434-950             2/23/2015                   6/3/2011               4/10/2021
  24468819 1500 Arden Way, Sacramento, CA 95815                    Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/21/2014 VA 1-434-822             2/23/2015                  1/21/2014               6/28/2020
  24468826 1500 Arden Way, Sacramento, CA 95815                    Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/21/2014 VA 1-434-822             2/23/2015                  1/21/2014               6/29/2020
  24491168 1804 Tribute Rd, Sacramento, CA 95815                   Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/22/2014 VA 1-434-822             2/23/2015                  1/22/2014               6/28/2020
  24571498 3530 Auburn Blvd, Sacramento, CA 95821                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2014 VA 1-434-822             2/23/2015                  1/31/2014                7/3/2020
  24589454 3800 Auburn Blvd, Sacramento, CA 95821                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2014 VA 1-434-822             2/23/2015                   2/3/2014               6/27/2020
  24589456 3800 Auburn Blvd, Sacramento, CA 95821                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2014 VA 1-434-822             2/23/2015                   2/3/2014               6/26/2020
  24660068 3430-3476 El Camino Ave, Sacramento, CA 95821           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2014 VA 1-434-822             2/23/2015                  2/13/2014                7/9/2020
  24806118 3301 Alta Arden Expy, Sacramento, CA 95825              Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/3/2014 VA 1-434-822             2/23/2015                   3/3/2014                7/7/2020
  24806123 3301 Alta Arden Expy, Sacramento, CA 95825              Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/3/2014 VA 1-434-822             2/23/2015                   3/3/2014               6/27/2020
  24870423 1651 Response Rd, Sacramento, CA 95815                  Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/10/2014 VA 1-434-822             2/23/2015                  3/10/2014               2/16/2021
  25054024 615 15th St, Sacramento, CA 95814                       Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/31/2014 VA 1-434-822             2/23/2015                  3/31/2014               6/27/2020
  13076560 4719 Park Nicollet Ave SE, Prior Lake, MN 55372         Jeff Karels                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/23/2010 VA 1-434-917             2/23/2015                  4/23/2010               6/24/2020
  13229202 7071 E Point Douglas Rd, Cottage Grove, MN 55016        Jeff Karels                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/12/2010 VA 1-434-917             2/23/2015                  5/12/2010               6/24/2020




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   13598206 233 Olive St S, Waconia, MN 55387                                    Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       7/2/2010 VA 1-434-917              2/23/2015                   7/2/2010                8/1/2020
   14720924 17 2nd Ave N, Waite Park, MN 56387                                   Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      11/9/2010 VA 1-434-917              2/23/2015                  11/9/2010                7/6/2020
   15873510 1480 Johnson Dr, Delano, MN 55328                                    Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      4/19/2011 VA 1-434-344              2/23/2015                  4/19/2011               8/12/2020
   15873520 1480 Johnson Dr, Delano, MN 55328                                    Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      4/19/2011 VA 1-434-344              2/23/2015                  4/19/2011               8/12/2020
   15936854 611 Walnut St, Monticello, MN 55362                                  Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       5/3/2011 VA 1-434-344              2/23/2015                   5/3/2011                7/7/2021
   24631404 205-207 7th St W, Saint Paul, MN 55102                               Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      2/10/2014 VA 1-434-882              2/23/2015                  2/10/2014                7/6/2020
   25054112 350 Saint Peter St, Saint Paul, MN 55102                             Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      3/31/2014 VA 1-434-882              2/23/2015                  3/31/2014               6/27/2020
   25054114 350 Saint Peter St, Saint Paul, MN 55102                             Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                       3018921977      3/31/2014 VA 1-434-882              2/23/2015                  3/31/2014               6/26/2020
   12229715 2202 Ellis Rd, Durham, NC 27703                                      Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       2/5/2010 VA 1-434-908              2/23/2015                   2/5/2010                7/5/2020
   12234360 917 Ellis Rd, Durham, NC 27703                                       Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       2/5/2010 VA 1-434-908              2/23/2015                   2/5/2010                8/9/2020
   12234364 917 Ellis Rd, Durham, NC 27703                                       Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       2/5/2010 VA 1-434-908              2/23/2015                   2/5/2010               8/10/2020
   13003876 2701 Leighton Ridge Dr, Wake Forest, NC 27587                        Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       4/8/2010 VA 1-434-908              2/23/2015                   4/8/2010               6/17/2021
   13173291 6320 Quadrangle Dr, Chapel Hill, NC 27517                            Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       5/5/2010 VA 1-434-908              2/23/2015                   5/5/2010               6/27/2020
   14417008 4 Copley Pky, Morrisville, NC 27560                                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      10/5/2010 VA 1-434-908              2/23/2015                  10/5/2010                7/6/2020
   14448004 712 SE Maynard Rd, Cary, NC 27511                                    Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      10/8/2010 VA 1-434-908              2/23/2015                  10/8/2010                7/3/2020
   15031870 1325 N Church St, Burlington, NC 27217                               Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500     12/23/2010 VA 1-434-908              2/23/2015                 12/23/2010                7/7/2020
   15031873 1325 N Church St, Burlington, NC 27217                               Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500     12/23/2010 VA 1-434-908              2/23/2015                 12/23/2010                7/5/2020
   24717765 3717 National Dr, Raleigh, NC 27612                                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/19/2014 VA 1-434-802              2/23/2015                  2/19/2014               6/25/2020
   24717770 3717 National Dr, Raleigh, NC 27612                                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/19/2014 VA 1-434-802              2/23/2015                  2/19/2014               6/29/2020
   24717894 1001 Wade Ave, Raleigh, NC 27605                                     Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      2/20/2014 VA 1-434-802              2/23/2015                  2/20/2014              10/22/2020
   24977281 216 Rigsbee Ave, Durham, NC 27701                                    Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      3/21/2014 VA 1-434-802              2/23/2015                  3/21/2014               6/28/2020
   13107791 1100 Brighton Ave, Portland, ME 04102                                Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      4/27/2010 VA 1-435-212              2/23/2015                  4/27/2010               6/22/2020
   13338109 199 Main St, Saco, ME 04072                                          Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      5/26/2010 VA 1-435-212              2/23/2015                  5/26/2010                2/2/2021
   13814097 3 Cushman Rd, Winslow, ME 04901                                      Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      7/28/2010 VA 1-435-212              2/23/2015                  7/28/2010                8/8/2020
   14549972 40 Waterville Commons Dr, Waterville, ME 04901                       Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500     10/19/2010 VA 1-435-212              2/23/2015                 10/19/2010                7/9/2020
   24643609 16-18 Proctor St, Salem, MA 01970                                    Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      2/11/2014 VA 1-434-883              2/23/2015                  2/11/2014               6/25/2020
   24643615 16-18 Proctor St, Salem, MA 01970                                    Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      2/11/2014 VA 1-434-883              2/23/2015                  2/11/2014               6/26/2020
   24807280 5-15 Derby Sq, Salem, MA 01970                                       Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      2/28/2014 VA 1-434-883              2/23/2015                  2/28/2014               6/29/2020
   15178008 2616-2618 Main St, Dallas, TX 75226                                  Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      1/18/2011 VA 1-435-238              2/23/2015                  1/18/2011               6/27/2020
   15593708 2430 Merrell Rd, Dallas, TX 75229                                    Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      3/15/2011 VA 1-435-238              2/23/2015                  3/15/2011               6/28/2020
   15664003 11498 Luna Rd, Farmers Branch, TX 75234                              Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      3/24/2011 VA 1-435-238              2/23/2015                  3/24/2011                7/8/2020
   15664054 2207 Joe Field Rd, Dallas, TX 75229                                  Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      3/21/2011 VA 1-435-238              2/23/2015                  3/21/2011               6/26/2020
   15664056 2207 Joe Field Rd, Dallas, TX 75229                                  Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      3/21/2011 VA 1-435-238              2/23/2015                  3/21/2011               6/21/2020
   16148695 601 Data Dr, Plano, TX 75075                                         Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       6/3/2011 VA 1-435-238              2/23/2015                   6/3/2011               6/25/2020
   16185217 2161 Hutton Dr, Carrollton, TX 75006                                 Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       6/8/2011 VA 1-435-238              2/23/2015                   6/8/2011                7/7/2020
   16185218 2140 Hutton Dr, Carrollton, TX 75006                                 Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       6/8/2011 VA 1-435-238              2/23/2015                   6/8/2011                7/8/2020
   16306245 1325 Whitlock Ln, Carrollton, TX 75006                               Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      6/22/2011 VA 1-435-238              2/23/2015                  6/22/2011                8/9/2020
   16487377 909 W Spring Creek Pky, Plano, TX 75023                              Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      7/27/2011 VA 1-435-238              2/23/2015                  7/27/2011               6/29/2020
   16937872 400 N Allen Dr, Allen, TX 75013                                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      9/26/2011 VA 1-435-238              2/23/2015                  9/26/2011               6/23/2020
   16962896 2240 Bush Dr, McKinney, TX 75070                                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      9/28/2011 VA 1-435-238              2/23/2015                  9/28/2011              11/16/2020
   17410669 3023 E Interstate 30, Rockwall, TX 75087                             Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404     11/18/2011 VA 1-435-238              2/23/2015                 11/18/2011                7/8/2020
   24426449 2920-2930 Canton St, Dallas, TX 75226                                Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      1/14/2014 VA 1-435-115              2/23/2015                  1/14/2014               6/27/2020
   24572271 8150 N Central Expy, Dallas, TX 75206                                Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      1/29/2014 VA 1-435-115              2/23/2015                  1/29/2014               6/28/2020
   24706218 1627 Dragon St, Dallas, TX 75207                                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404      2/19/2014 VA 1-435-115              2/23/2015                  2/19/2014               6/27/2020
   24807605 1831 E Levee St, Dallas, TX 75207                                    Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       3/3/2014 VA 1-435-115              2/23/2015                   3/3/2014               6/27/2020
   12901758 6120 Buchanan Pl, West New York, NJ 07093                            John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      3/31/2010 VA 1-435-230              2/23/2015                  3/31/2010               6/27/2020
   13327351 41 Orchard St, Ramsey, NJ 07446                                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      5/25/2010 VA 1-435-230              2/23/2015                  5/25/2010               6/29/2020
   13846671 116 Millburn Ave, Millburn, NJ 07041                                 John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      7/19/2010 VA 1-435-230              2/23/2015                  7/19/2010               6/25/2020
   14109405 389 Dover Chester Rd, Randolph, NJ 07869                             John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500       9/2/2010 VA 1-435-230              2/23/2015                   9/2/2010               6/28/2020
   14245778 477 Hamilton St, Somerset, NJ 08873                                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      9/15/2010 VA 1-435-230              2/23/2015                  9/15/2010               7/10/2020
   14245788 477 Hamilton St, Somerset, NJ 08873                                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500      9/15/2010 VA 1-435-230              2/23/2015                  9/15/2010               6/21/2020
   14478475 19-27 Main St, Sussex, NJ 07461                                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500     10/12/2010 VA 1-435-230              2/23/2015                 10/12/2010                8/9/2020
   14478483 19-27 Main St, Sussex, NJ 07461                                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500     10/12/2010 VA 1-435-230              2/23/2015                 10/12/2010                8/9/2020
   12612559 1601 W Reynolds St, Plant City, FL 33563                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/23/2010 VA 1-435-205              2/23/2015                  2/23/2010               6/20/2020
   12612565 1601 W Reynolds St, Plant City, FL 33563                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/23/2010 VA 1-435-205              2/23/2015                  2/23/2010               6/24/2020
   12612650 1211 W Reynolds St, Plant City, FL 33563                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/23/2010 VA 1-435-205              2/23/2015                  2/23/2010               6/19/2020
   12612660 1211 W Reynolds St, Plant City, FL 33563                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      2/23/2010 VA 1-435-205              2/23/2015                  2/23/2010               6/25/2020
   12850173 6021 E Adamo Dr, Tampa, FL 33619                                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      3/22/2010 VA 1-435-205              2/23/2015                  3/22/2010                7/4/2020
   13189387 3030 N Rocky Point Dr W, Tampa, FL 33607                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/7/2010 VA 1-435-205              2/23/2015                   5/7/2010              11/26/2020
   13546454 11727 N 14th St, Tampa, FL 33612                                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/25/2010 VA 1-435-205              2/23/2015                  6/25/2010                7/5/2020
   13546459 11727 N 14th St, Tampa, FL 33612                                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      6/25/2010 VA 1-435-205              2/23/2015                  6/25/2010                7/5/2020
   13829905 4543-4561 Oak Fair Blvd, Tampa, FL 33610                             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       8/2/2010 VA 1-435-205              2/23/2015                   8/2/2010               6/29/2020

  14195186 6401-6409 Dr Martin Luther King Jr St N, Saint Petersburg, FL 33702   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       9/10/2010 VA 1-435-205             2/23/2015                  9/10/2010               7/20/2020
  14596597 505 US Highway 17-92, Haines City, FL 33844                           James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/26/2010 VA 1-435-205             2/23/2015                 10/26/2010               6/29/2020
  14657659 605-641 US Highway 17 92 W, Haines City, FL 33844                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      10/26/2010 VA 1-435-205             2/23/2015                 10/26/2010               6/26/2020
  14895842 6214 E Columbus Dr, Tampa, FL 33619                                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       12/3/2010 VA 1-435-205             2/23/2015                  12/3/2010               6/27/2020
  14895848 6214 E Columbus Dr, Tampa, FL 33619                                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       12/3/2010 VA 1-435-205             2/23/2015                  12/3/2010               6/27/2020
  15194607 1100-1200 Marbella Plaza Dr, Tampa, FL 33619                          James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       1/13/2011 VA 1-435-206             2/23/2015                  1/13/2011               1/23/2021
  15769888 1601 W Reynolds St, Plant City, FL 33563                              James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        4/7/2011 VA 1-435-206             2/23/2015                   4/7/2011               6/28/2020
  15769913 1601 W Reynolds St, Plant City, FL 33563                              James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        4/7/2011 VA 1-435-206             2/23/2015                   4/7/2011                7/5/2020
  16547783 4700 N 40th St, Tampa, FL 33610                                       James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        8/3/2011 VA 1-435-206             2/23/2015                   8/3/2011                7/6/2020
  16547784 4700 N 40th St, Tampa, FL 33610                                       James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        8/3/2011 VA 1-435-206             2/23/2015                   8/3/2011                7/9/2020
  16677900 26034 US HWY 19 N, Clearwater, FL 33763                               James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       8/16/2011 VA 1-435-206             2/23/2015                  8/16/2011               6/28/2020
  17278048 13620 N 49th St, Clearwater, FL 33762                                 James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       11/2/2011 VA 1-435-206             2/23/2015                  11/2/2011               7/20/2020
  24332649 5710 Hoover Blvd, Tampa, FL 33634                                     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        1/3/2014 VA 1-434-797             2/23/2015                   1/3/2014               6/26/2020
  24360486 8152-8198 Woodland Center Blvd, Tampa, FL 33614                       James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300        1/7/2014 VA 1-434-797             2/23/2015                   1/7/2014               6/27/2020
  24444664 24705 US Hwy 19, Clearwater, FL 33763                                 James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       1/16/2014 VA 1-434-797             2/23/2015                  1/16/2014                5/5/2021
  15827454 18901-18931 Premiere Ct, Gaithersburg, MD 20879                       Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/15/2011 VA 1-434-933             2/23/2015                  4/15/2011               7/20/2020
  15873868 841 Quince Orchard Blvd, Gaithersburg, MD 20878                       Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       4/22/2011 VA 1-434-933             2/23/2015                  4/22/2011               8/12/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                              66
                                                            Case 2:20-cv-08819-CBM-AS                                         Document 950-1 Filed 10/25/24                                                               Page 94 of 202 Page
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                  Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                            Image Address                            Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address       Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   16765894 3460 Old Washington Rd, Waldorf, MD 20602                  Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                 3012158300       9/1/2011 VA 1-434-933              2/23/2015                   9/1/2011              6/28/2020

  16811493 3732-3736 Chesapeake Beach Rd, Chesapeake Beach, MD 20732   Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        9/8/2011 VA 1-434-933             2/23/2015                   9/8/2011               6/23/2020
  17194678 4 Professional Dr, Gaithersburg, MD 20879                   Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      10/21/2011 VA 1-434-933             2/23/2015                 10/21/2011                7/9/2020
  17634139 15829-15843 Crabbs Branch Way, Rockville, MD 20855          Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      12/22/2011 VA 1-434-933             2/23/2015                 12/22/2011               6/29/2020
  17634149 15879-15889 Crabbs Branch Way, Derwood, MD 20855            Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      12/22/2011 VA 1-434-933             2/23/2015                 12/22/2011               6/28/2020
  17645483 301 S Frederick Ave, Gaithersburg, MD 20877                 Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      12/22/2011 VA 1-434-933             2/23/2015                 12/22/2011               7/20/2020
  24680499 7939 Norfolk Ave, Bethesda, MD 20814                        Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/14/2014 VA 1-434-862             2/23/2015                  2/14/2014               6/26/2020
  25015905 7201 Wisconsin Ave, Bethesda, MD 20814                      Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       3/26/2014 VA 1-434-862             2/23/2015                  3/26/2014               2/16/2021
  24680436 1991 Corporate Sq, Longwood, FL 32750                       Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/14/2014 VA 1-434-851             2/23/2015                  2/14/2014                7/7/2020
  24680441 1991 Corporate Sq, Longwood, FL 32750                       Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/14/2014 VA 1-434-851             2/23/2015                  2/14/2014                7/1/2020
  24758092 2660 N Design Ct, Sanford, FL 32773                         Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/25/2014 VA 1-434-851             2/23/2015                  2/25/2014               6/28/2020
  24758094 2660 N Design Ct, Sanford, FL 32773                         Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/25/2014 VA 1-434-851             2/23/2015                  2/25/2014               6/26/2020
  24758098 2660 N Design Ct, Sanford, FL 32773                         Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/25/2014 VA 1-434-851             2/23/2015                  2/25/2014               6/27/2020
  24808680 1200 Tropic Park Dr, Sanford, FL 32773                      Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/28/2014 VA 1-434-851             2/23/2015                  2/28/2014               6/25/2020
  24808683 1200 Tropic Park Dr, Sanford, FL 32773                      Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/28/2014 VA 1-434-851             2/23/2015                  2/28/2014                7/7/2020
  24808688 1200 Tropic Park Dr, Sanford, FL 32773                      Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/28/2014 VA 1-434-851             2/23/2015                  2/28/2014               6/29/2020
  24808706 1500-1590 Tropic Park Dr, Sanford, FL 32773                 Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/28/2014 VA 1-434-851             2/23/2015                  2/28/2014                7/5/2020
  25044030 909 Church Ave, Longwood, FL 32750                          Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       3/26/2014 VA 1-434-851             2/23/2015                  3/26/2014               6/29/2020
  13071962 2275 Sampson Ave, Corona, CA 92879                          Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       4/15/2010 VA 1-434-712             2/23/2015                  4/15/2010               6/24/2020
  13109053 6235 River Crest Dr, Riverside, CA 92507                    Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       4/27/2010 VA 1-434-712             2/23/2015                  4/27/2010               6/24/2020
  13109058 6235 River Crest Dr, Riverside, CA 92507                    Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       4/27/2010 VA 1-434-712             2/23/2015                  4/27/2010               6/18/2020
  13154174 6848 Magnolia Ave, Riverside, CA 92506                      Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        5/3/2010 VA 1-434-712             2/23/2015                   5/3/2010               6/24/2020
  13247205 1650 7th St, Riverside, CA 92507                            Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       5/14/2010 VA 1-434-712             2/23/2015                  5/14/2010               7/14/2020
  14827665 83500 Hwy 111, Indio, CA 92201                              Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      11/22/2010 VA 1-434-712             2/23/2015                 11/22/2010               1/13/2021
  15280603 84060 Avenue 50, Coachella, CA 92236                        Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        2/1/2011 VA 1-435-529             2/23/2015                   2/1/2011                7/8/2020
  15280614 84090 Avenue 50, Coachella, CA 92236                        Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        2/1/2011 VA 1-435-529             2/23/2015                   2/1/2011                7/8/2020
  16102549 3544 University Ave, Riverside, CA 92501                    Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       5/26/2011 VA 1-435-529             2/23/2015                  5/26/2011               7/10/2020
  16757834 26960 Cherry Hills Blvd, Menifee, CA 92586                  Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       8/31/2011 VA 1-435-529             2/23/2015                  8/31/2011               6/23/2020
  16757838 26960 Cherry Hills Blvd, Menifee, CA 92586                  Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       8/31/2011 VA 1-435-529             2/23/2015                  8/31/2011               7/10/2020
  16757842 26960 Cherry Hills Blvd, Menifee, CA 92586                  Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       8/31/2011 VA 1-435-529             2/23/2015                  8/31/2011                7/5/2020
  17234638 22420 Cactus Ave, Moreno Valley, CA 92553                   Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      10/27/2011 VA 1-435-529             2/23/2015                 10/27/2011                7/6/2020
  24589789 1374 W Ramsey St, Banning, CA 92220                         Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        2/5/2014 VA 1-434-868             2/23/2015                   2/5/2014               1/13/2021
  15394921 4502 MacCorkle Ave SE, Charleston, WV 25304                 Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       2/16/2011 VA 1-435-248             2/23/2015                  2/16/2011                7/9/2020
  15394924 3702 Seventh Ave, Charleston, WV 25387                      Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       2/15/2011 VA 1-435-248             2/23/2015                  2/15/2011               6/18/2020
  15394929 5621-5627 MacCorkle Ave, Charleston, WV 25304               Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       2/16/2011 VA 1-435-248             2/23/2015                  2/16/2011              11/18/2020
  15631228 600 S Main St, Madison, WV 25130                            Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/18/2011 VA 1-435-248             2/23/2015                  3/18/2011               6/28/2020
  15631233 600 S Main St, Madison, WV 25130                            Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/18/2011 VA 1-435-248             2/23/2015                  3/18/2011               6/28/2020
  15937562 5310 Elk River Rd N, Elkview, WV 25071                      Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        5/3/2011 VA 1-435-248             2/23/2015                   5/3/2011                7/2/2020
  15937563 5310 Elk River Rd N, Elkview, WV 25071                      Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        5/3/2011 VA 1-435-248             2/23/2015                   5/3/2011                7/2/2020
  24438367 3709 Alliance Dr, Greensboro, NC 27407                      Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       1/16/2014 VA 1-435-140             2/23/2015                  1/16/2014               7/10/2020
  24525647 1055 Gatewood Ave, Greensboro, NC 27405                     Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       1/28/2014 VA 1-435-140             2/23/2015                  1/28/2014               1/27/2021
  24810462 708-720 W Market St, Greensboro, NC 27401                   Charlotte Alvey                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       2/28/2014 VA 1-435-140             2/23/2015                  2/28/2014               6/29/2020
  15104926 1901 W 47th Pl, Westwood, KS 66205                          Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        1/5/2011 VA 1-435-516             2/23/2015                   1/5/2011               6/28/2020
  15104940 1901 W 47th Pl, Westwood, KS 66205                          Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        1/5/2011 VA 1-435-516             2/23/2015                   1/5/2011                7/7/2020
  15232252 115 E Armour Blvd, Kansas City, MO 64111                    Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       1/25/2011 VA 1-435-516             2/23/2015                  1/25/2011               6/26/2020
  16455710 2807-2815 Merriam Ln, Kansas City, KS 66106                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       7/20/2011 VA 1-435-516             2/23/2015                  7/20/2011               8/11/2020
  16690237 1501-1524 NE Parvin Rd, Kansas City, MO 64116               Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       8/18/2011 VA 1-435-516             2/23/2015                  8/18/2011               6/29/2020
  16702702 9201 Ward Pky, Kansas City, MO 64114                        Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       8/24/2011 VA 1-435-516             2/23/2015                  8/24/2011                2/6/2021
  16791747 8600 Shawnee Mission Pky, Merriam, KS 66202                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        9/6/2011 VA 1-435-516             2/23/2015                   9/6/2011               2/16/2021
  17201702 5350 College Blvd, Overland Park, KS 66211                  Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      10/21/2011 VA 1-435-516             2/23/2015                 10/21/2011                7/7/2020
  17593425 1314 N 38th St, Kansas City, KS 66102                       Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300      12/16/2011 VA 1-435-516             2/23/2015                 12/16/2011               6/29/2020
  24574900 9435 Holmes Rd, Kansas City, MO 64131                       Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        2/4/2014 VA 1-435-144             2/23/2015                   2/4/2014               6/27/2020
  24574903 9435 Holmes Rd, Kansas City, MO 64131                       Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300        2/4/2014 VA 1-435-144             2/23/2015                   2/4/2014               6/25/2020
  24810631 135 Oak St, Bonner Springs, KS 66012                        Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/27/2014 VA 1-435-144             2/23/2015                  2/27/2014               6/27/2020
  12073079 570 Cobb Pky, Marietta, GA 30060                            Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       1/13/2010 VA 1-435-233             2/23/2015                  1/13/2010               6/18/2020
  12105988 58 Shawnee Trl, Marietta, GA 30067                          Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       1/20/2010 VA 1-435-233             2/23/2015                  1/20/2010               6/18/2020
  12696826 1202 S Park St, Carrollton, GA 30117                        Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        3/5/2010 VA 1-435-233             2/23/2015                   3/5/2010               6/29/2021
  12824318 1176 Franklin Gateway, Marietta, GA 30067                   Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/22/2010 VA 1-435-233             2/23/2015                  3/22/2010               6/25/2020
  12824323 2161 Kingston Ct SE, Marietta, GA 30067                     Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/22/2010 VA 1-435-233             2/23/2015                  3/22/2010                7/1/2020
  12863826 2036 Franklin Way SE, Marietta, GA 30067                    Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/26/2010 VA 1-435-233             2/23/2015                  3/26/2010               6/20/2020
  12863827 1690 Enterprise Way SE, Marietta, GA 30067                  Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       3/26/2010 VA 1-435-233             2/23/2015                  3/26/2010               6/18/2020
  12970751 1640 Powers Ferry Rd SE, Marietta, GA 30067                 Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        4/8/2010 VA 1-435-233             2/23/2015                   4/8/2010               7/31/2020
  12970752 1640 Powers Ferry Rd SE, Marietta, GA 30067                 Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        4/8/2010 VA 1-435-233             2/23/2015                   4/8/2010               7/31/2020
  13077649 3475 Piedmont Rd NE, Atlanta, GA 30305                      Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       4/23/2010 VA 1-435-233             2/23/2015                  4/23/2010               10/9/2020
  13163982 1200 Abernathy Rd NE, Atlanta, GA 30328                     Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        5/4/2010 VA 1-435-233             2/23/2015                   5/4/2010               6/28/2020
  13208239 1234 Powers Ferry Rd SE, Marietta, GA 30067                 Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       5/10/2010 VA 1-435-233             2/23/2015                  5/10/2010               6/21/2020
  14036238 8355 Cherokee Blvd, Douglasville, GA 30134                  Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       8/26/2010 VA 1-435-233             2/23/2015                  8/26/2010               6/24/2020
  14185704 600 W Lanier Ave, Fayetteville, GA 30214                    Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500        9/9/2010 VA 1-435-233             2/23/2015                   9/9/2010               7/10/2020
  14231780 120 N Medical Pky, Woodstock, GA 30189                      Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       9/14/2010 VA 1-435-233             2/23/2015                  9/14/2010               6/24/2020
  14358844 2217 S Cobb Dr, Smyrna, GA 30080                            Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       9/28/2010 VA 1-435-233             2/23/2015                  9/28/2010               7/31/2020
  14388222 210 Commerce Dr, Dallas, GA 30132                           Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       10/1/2010 VA 1-435-233             2/23/2015                  10/1/2010                7/7/2020
  14550283 110 Bastille Way, Fayetteville, GA 30214                    Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500      10/20/2010 VA 1-435-233             2/23/2015                 10/20/2010               6/23/2020
  14660250 3775 Roswell Rd, Marietta, GA 30062                         Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       11/2/2010 VA 1-435-233             2/23/2015                  11/2/2010                7/9/2020
  14746561 6511 Highway 92, Acworth, GA 30102                          Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500      11/11/2010 VA 1-435-233             2/23/2015                 11/11/2010               8/12/2020
  14804849 1961 S Cobb Industrial Blvd, Atlanta, GA 30082              Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500      11/19/2010 VA 1-435-233             2/23/2015                 11/19/2010               6/22/2020
  14896342 4815 Canton Rd, Marietta, GA 30066                          Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280               2023466500       12/3/2010 VA 1-435-233             2/23/2015                  12/3/2010               7/10/2020
  12565669 94-1388 Moaniani St, Waipahu, HI 96797                      Kye Corfield                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                3012158300       2/12/2010 VA 1-435-249             2/23/2015                  2/12/2010               6/24/2020
  12000019 1716 Sunrise Hwy, Bay Shore, NY 11706                       Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                2023466500        1/5/2010 VA 1-435-226             2/23/2015                   1/5/2010               6/21/2020
  12858935 605 Route 25A, Rocky Point, NY 11778                        Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                2023466500       3/25/2010 VA 1-435-226             2/23/2015                  3/25/2010               6/27/2020




                        OUTSIDE COUNSEL ONLY                                                                                                                     67
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Attachment                                                                                     Photographer - Last Known   Photographer - Last Known                                                                   Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address       Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   12939599 1388-1390 Old Northern Blvd, Roslyn, NY 11576             Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       4/5/2010 VA 1-435-226              2/23/2015                   4/5/2010              7/13/2020
   13072562 230 Hilton Ave, Hempstead, NY 11550                       Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      4/15/2010 VA 1-435-226              2/23/2015                  4/15/2010              8/10/2020
   13348972 1507 Smithtown Ave, Bohemia, NY 11716                     Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      5/27/2010 VA 1-435-226              2/23/2015                  5/27/2010              6/17/2020
   13940761 4 Henry St, Commack, NY 11725                             Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      7/29/2010 VA 1-435-227              2/23/2015                  7/29/2010              6/25/2020
   13940769 4 Henry St, Commack, NY 11725                             Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      7/29/2010 VA 1-435-227              2/23/2015                  7/29/2010              6/18/2020
   14314280 991 Main St, Holbrook, NY 11741                           Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/22/2010 VA 1-435-227              2/23/2015                  9/22/2010              6/27/2020
   14325303 921 Montauk Hwy, Shirley, NY 11967                        Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/23/2010 VA 1-435-227              2/23/2015                  9/23/2010               8/8/2020
   14701048 278 W Main St, Smithtown, NY 11787                        Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      11/3/2010 VA 1-435-227              2/23/2015                  11/3/2010              8/12/2020
   14701051 278 W Main St, Smithtown, NY 11787                        Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      11/3/2010 VA 1-435-227              2/23/2015                  11/3/2010              8/10/2020
   14805744 2004 Jericho Tpke, East Northport, NY 11731               Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500     11/17/2010 VA 1-435-227              2/23/2015                 11/17/2010              6/23/2020
   14805750 2004 Jericho Tpke, East Northport, NY 11731               Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500     11/17/2010 VA 1-435-226              2/23/2015                 11/17/2010              6/20/2020
   15129090 1400 Youngs Ave, Southold, NY 11971                       Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      1/10/2011 VA 1-434-357              2/23/2015                  1/10/2011              7/13/2020
   15519564 145 Merritts Rd, Farmingdale, NY 11735                    Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      2/26/2011 VA 1-434-357              2/23/2015                  2/26/2011              6/25/2020
   15631530 10 Harbor Park Dr, Port Washington, NY 11050              Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      3/21/2011 VA 1-434-357              2/23/2015                  3/21/2011              6/12/2021
   16524737 655 E Main St, East Patchogue, NY 11772                   Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       8/1/2011 VA 1-434-357              2/23/2015                   8/1/2011              6/25/2020
   16712710 54 Montauk Hwy, Southampton, NY 11968                     Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      8/25/2011 VA 1-434-357              2/23/2015                  8/25/2011               7/7/2020
   16840227 129 Walt Whitman Rd, Huntington Station, NY 11746         Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/13/2011 VA 1-434-357              2/23/2015                  9/13/2011              6/29/2020
   16893326 329 E Jericho Tpke, Huntington Station, NY 11746          Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/20/2011 VA 1-434-357              2/23/2015                  9/20/2011               8/8/2020
   16963856 97 E Pulaski Rd, Huntington Station, NY 11746             Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      9/28/2011 VA 1-434-357              2/23/2015                  9/28/2011              6/25/2020
   17133241 70-79 Sunset Ave, Lynbrook, NY 11563                      Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500     10/17/2011 VA 1-434-357              2/23/2015                 10/17/2011               7/4/2020
   17133258 70-79 Sunset Ave, Lynbrook, NY 11563                      Joseph Furio                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500     10/17/2011 VA 1-434-357              2/23/2015                 10/17/2011               7/4/2020
   13349193 1301 Decatur St, New Orleans, LA 70116                    Mary McGinn                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      5/27/2010 VA 1-434-896              2/23/2015                  5/27/2010              2/21/2021
   16005304 2011 8th St, Harvey, LA 70058                             Mary McGinn                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      5/12/2011 VA 1-434-945              2/23/2015                  5/12/2011               7/7/2020
   16005313 2011 8th St, Harvey, LA 70058                             Mary McGinn                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      5/12/2011 VA 1-434-945              2/23/2015                  5/12/2011              7/10/2020
   15483380 32 King St, Troy, NY 12180                                Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       3/1/2011 VA 1-435-530              2/23/2015                   3/1/2011               7/9/2020
   15483387 32 King St, Troy, NY 12180                                Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       3/1/2011 VA 1-435-530              2/23/2015                   3/1/2011              6/21/2020
   15975132 1305-1309 Altamont Ave, Schenectady, NY 12303             Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       5/6/2011 VA 1-435-530              2/23/2015                   5/6/2011              7/10/2020
   17290422 4215 Long Branch Rd, Bayberry, NY 13090                   Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      11/2/2011 VA 1-435-530              2/23/2015                  11/2/2011              6/28/2020
   24952310 319 S Manning Blvd, Albany, NY 12208                      Tina Wood                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500      3/19/2014 VA 1-434-845              2/23/2015                  3/19/2014               8/8/2020
   12000230 1543-1545 Champa St, Denver, CO 80202                     Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977       1/5/2010 VA 1-435-278              2/23/2015                   1/5/2010              6/23/2020
   12000231 1543-1545 Champa St, Denver, CO 80202                     Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977       1/5/2010 VA 1-435-278              2/23/2015                   1/5/2010              6/24/2020
   12945423 1530 Blake St, Denver, CO 80202                           Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977       4/6/2010 VA 1-435-278              2/23/2015                   4/6/2010              6/30/2020
   13322875 1717 Downing St, Denver, CO 80218                         Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      5/24/2010 VA 1-435-278              2/23/2015                  5/24/2010               7/2/2020
   13644776 12110 N Pecos St, Westminster, CO 80234                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977       7/9/2010 VA 1-435-278              2/23/2015                   7/9/2010              6/27/2020
   13739798 2350 E Harmony Rd, Fort Collins, CO 80528                 Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      7/13/2010 VA 1-435-278              2/23/2015                  7/13/2010              6/25/2020
   13964464 2033 11th St, Boulder, CO 80302                           Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      8/18/2010 VA 1-435-278              2/23/2015                  8/18/2010               7/9/2020
   14217069 2130 Mountain View Ave, Longmont, CO 80501                Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      9/13/2010 VA 1-435-278              2/23/2015                  9/13/2010               8/8/2020
   14407655 2630 W Belleview Ave, Littleton, CO 80123                 Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      10/4/2010 VA 1-435-278              2/23/2015                  10/4/2010              2/21/2021
   14560734 13301 W 43rd Dr, Wheat Ridge, CO 80403                    Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977     10/21/2010 VA 1-435-278              2/23/2015                 10/21/2010              6/28/2020
   14645558 1450 Fall River Dr, Loveland, CO 80538                    Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      11/1/2010 VA 1-435-278              2/23/2015                  11/1/2010              6/25/2020
   14690923 7750 Highway 2 St, Commerce City, CO 80022                Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      11/5/2010 VA 1-435-278              2/23/2015                  11/5/2010              7/10/2020
   14690924 7750 Highway 2 St, Commerce City, CO 80022                Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      11/5/2010 VA 1-435-278              2/23/2015                  11/5/2010              6/18/2020
   14828927 131 E Lincoln Ave, Fort Collins, CO 80524                 Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977     11/22/2010 VA 1-435-278              2/23/2015                 11/22/2010              6/25/2020
   14897137 9830 W I-70 Frontage Rd S, Wheat Ridge, CO 80033          Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      12/3/2010 VA 1-435-278              2/23/2015                  12/3/2010              6/19/2020
   15201316 3463 Blake St, Denver, CO 80205                           Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      1/20/2011 VA 1-435-204              2/23/2015                  1/20/2011              2/26/2021
   15823319 10001 E 102nd Ave, Henderson, CO 80640                    Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977       3/7/2011 VA 1-435-204              2/23/2015                   3/7/2011              8/11/2020
   16050018 802 S College Ave, Fort Collins, CO 80524                 Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      5/19/2011 VA 1-435-204              2/23/2015                  5/19/2011              6/28/2020
   16103447 7676 E Colfax Ave, Denver, CO 80220                       Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      5/26/2011 VA 1-435-204              2/23/2015                  5/26/2011              6/18/2020
   16526036 1807-1831 E Mulberry St, Fort Collins, CO 80524           Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      7/15/2011 VA 1-435-204              2/23/2015                  7/15/2011               7/7/2020
   16978343 4120 York St, Denver, CO 80216                            Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      9/28/2011 VA 1-435-204              2/23/2015                  9/28/2011              6/26/2020
   17659731 363 E Elkhorn Ave, Estes Park, CO 80517                   Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977     12/29/2011 VA 1-435-204              2/23/2015                 12/29/2011               5/5/2021
   24724404 627-637 Osage St, Denver, CO 80204                        Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      2/21/2014 VA 1-434-881              2/23/2015                  2/21/2014              6/28/2020
   24724426 124 Yuma St, Denver, CO 80223                             Jason Tuomey                                                                     CoStar Group             1225 17th St, Denver, CO 80202                      3018921977      2/21/2014 VA 1-434-881              2/23/2015                  2/21/2014              6/27/2020
   12414611 3512 Wilkinson Blvd, Charlotte, NC 28208                  Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      2/11/2010 VA 1-435-232              2/23/2015                  2/11/2010              6/28/2020
   13079626 5925 Carnegie Blvd, Charlotte, NC 28209                   Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/24/2010 VA 1-435-275              2/23/2015                  4/24/2010              4/23/2020
   14106401 4809 E Highway 74 Hwy, Wingate, NC 28174                  Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       9/1/2010 VA 1-435-275              2/23/2015                   9/1/2010              6/26/2020
   14106421 4809 E Highway 74 Hwy, Wingate, NC 28174                  Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       9/1/2010 VA 1-435-275              2/23/2015                   9/1/2010              6/29/2020
   14479279 1540 West Blvd, Charlotte, NC 28208                       Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/12/2010 VA 1-435-275              2/23/2015                 10/12/2010              6/28/2020
   14479284 1540 West Blvd, Charlotte, NC 28208                       Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     10/12/2010 VA 1-435-275              2/23/2015                 10/12/2010              6/28/2020
   14693434 1717-1721 Kenilworth Ave, Charlotte, NC 28203             Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      11/6/2010 VA 1-435-275              2/23/2015                  11/6/2010              7/10/2020
   14979463 927 East Blvd, Charlotte, NC 28203                        Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/13/2010 VA 1-435-275              2/23/2015                 12/13/2010               7/9/2020
   14979520 215 Rowell Dr, Indian Trail, NC 28079                     Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/10/2010 VA 1-435-232              2/23/2015                 12/10/2010               7/6/2020
   24397949 2549-2573 W Franklin Blvd, Gastonia, NC 28052             Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      1/10/2014 VA 1-434-857              2/23/2015                  1/10/2014              7/10/2020
   24397962 2549-2573 W Franklin Blvd, Gastonia, NC 28052             Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      1/10/2014 VA 1-434-857              2/23/2015                  1/10/2014              6/28/2020
   16803303 2930 S Root River Pky, West Allis, WI 53227               Robert Kjendlie                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                  2023466500       9/8/2011 VA 1-434-890              2/23/2015                   9/8/2011               7/7/2020
   12121246 3910 N Redmond Ave, Bethany, OK 73008                     Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      1/19/2010 VA 1-435-276              2/23/2015                  1/19/2010               7/2/2020
   12881544 13801 N Western Ave, Edmond, OK 73013                     Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      3/29/2010 VA 1-435-276              2/23/2015                  3/29/2010              8/12/2020
   13098640 425 S Fretz Ave, Edmond, OK 73003                         Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      4/14/2010 VA 1-435-276              2/23/2015                  4/14/2010              6/26/2020
   13098660 14501 Hertz Quail Springs Pkwy, Oklahoma City, OK 73134   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      4/12/2010 VA 1-435-276              2/23/2015                  4/12/2010              6/29/2020
   13232081 1200 S Air Depot Blvd, Midwest City, OK 73110             Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      5/12/2010 VA 1-435-276              2/23/2015                  5/12/2010              7/30/2020
   13510483 3501 S Lakeside Dr, Oklahoma City, OK 73179               Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      6/21/2010 VA 1-435-276              2/23/2015                  6/21/2010              6/28/2020
   13844880 37 NE 122nd St, Oklahoma City, OK 73114                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960       8/3/2010 VA 1-435-276              2/23/2015                   8/3/2010              6/28/2020
   14627683 4301 SE 15th St, Oklahoma City, OK 73115                  Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960     10/29/2010 VA 1-435-276              2/23/2015                 10/29/2010              6/27/2020
   14686210 2224 S Air Depot Blvd, Midwest City, OK 73110             Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      11/3/2010 VA 1-435-276              2/23/2015                  11/3/2010              6/17/2020
   14808097 1405 S Douglas Blvd, Oklahoma City, OK 73130              Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960     11/18/2010 VA 1-435-276              2/23/2015                 11/18/2010               7/5/2020
   14808105 1405 S Douglas Blvd, Oklahoma City, OK 73130              Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960     11/18/2010 VA 1-435-276              2/23/2015                 11/18/2010              6/29/2020
   14889953 2201 Kemp Blvd, Wichita Falls, TX 76309                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      12/1/2010 VA 1-435-276              2/23/2015                  12/1/2010              6/19/2020
   14889966 2201 Kemp Blvd, Wichita Falls, TX 76309                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960      12/1/2010 VA 1-435-276              2/23/2015                  12/1/2010              6/28/2020
   14990265 11100 Stratford Dr, Oklahoma City, OK 73120               Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960     12/16/2010 VA 1-435-276              2/23/2015                 12/16/2010              10/3/2020
   14990286 9150 N May Ave, Oklahoma City, OK 73120                   Jamie Limberg                                                                    CoStar Group             501 S 5th St, Richmond, VA 23219                    8002045960     12/16/2010 VA 1-435-276              2/23/2015                 12/16/2010              6/26/2020




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   15021469 2300-2324 N Interstate Dr, Norman, OK 73072           Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960     12/21/2010 VA 1-435-276              2/23/2015                 12/21/2010              6/25/2020
   24428522 700 NE 63rd St, Oklahoma City, OK 73105               Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      1/14/2014 VA 1-434-798              2/23/2015                  1/14/2014               7/5/2020
   24859104 4401 NW 63rd St, Oklahoma City, OK 73116              Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960       3/7/2014 VA 1-434-798              2/23/2015                   3/7/2014               7/1/2020
   24938902 480 Merchant Dr, Norman, OK 73069                     Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/17/2014 VA 1-434-798              2/23/2015                  3/17/2014              6/26/2020
   24938907 9317 S Eastern Ave, Oklahoma City, OK 73160           Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/17/2014 VA 1-434-798              2/23/2015                  3/17/2014              8/12/2020
   24938910 9317 S Eastern Ave, Oklahoma City, OK 73160           Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/17/2014 VA 1-434-798              2/23/2015                  3/17/2014               8/9/2020
   24952491 11221 W Reno Ave, Yukon, OK 73099                     Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/18/2014 VA 1-434-798              2/23/2015                  3/18/2014              6/25/2020
   24952500 11221 W Reno Ave, Yukon, OK 73099                     Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/18/2014 VA 1-434-798              2/23/2015                  3/18/2014              6/25/2020
   25055853 2301 S Telephone Rd, Moore, OK 73160                  Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      3/31/2014 VA 1-434-798              2/23/2015                  3/31/2014              6/29/2020

  12000554 985 Cordova Station Ave, Cordova, TN 38018             Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/5/2010 VA 1-434-713             2/23/2015                   1/5/2010               6/20/2020

  12000557 8200 Old Dexter Rd, Cordova, TN 38016                  Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/4/2010 VA 1-434-713             2/23/2015                   1/4/2010               6/24/2020

  12000563 985 Cordova Station Ave, Cordova, TN 38018             Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/5/2010 VA 1-434-713             2/23/2015                   1/5/2010               6/22/2020

  13059150 6075 Poplar Ave, Memphis, TN 38119                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/21/2010 VA 1-434-713             2/23/2015                  4/21/2010                7/5/2020

  13122324 6363 Poplar Ave, Memphis, TN 38119                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/28/2010 VA 1-434-713             2/23/2015                  4/28/2010               6/19/2020

  13350009 8805 Cypress Woods Ln, Olive Branch, MS 38654          Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/26/2010 VA 1-434-713             2/23/2015                  5/26/2010               7/24/2020

  13350011 8805 Cypress Woods Ln, Olive Branch, MS 38654          Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/26/2010 VA 1-434-713             2/23/2015                  5/26/2010               7/24/2020

  13350066 2551 Mt Moriah Rd, Memphis, TN 38115                   Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/26/2010 VA 1-434-713             2/23/2015                  5/26/2010               6/26/2020

  13676659 1695 Bonnie Ln, Cordova, TN 38016                      Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/12/2010 VA 1-434-713             2/23/2015                  7/12/2010               6/26/2020

  13857381 6045 Shelby Dr E, Memphis, TN 38141                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/4/2010 VA 1-434-713             2/23/2015                   8/4/2010               8/11/2020

  14261873 8 Shackleford Plz, Little Rock, AR 72211               Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/16/2010 VA 1-434-713             2/23/2015                  9/16/2010               6/28/2020

  14468334 137-143 Madison Ave, Memphis, TN 38103                 Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/8/2010 VA 1-434-713             2/23/2015                  10/8/2010               6/28/2020

  14693613 3638 Summer Ave, Memphis, TN 38122                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/5/2010 VA 1-434-713             2/23/2015                  11/5/2010               6/29/2020

  14983587 1548-1556 Poplar Ave, Memphis, TN 38104                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/15/2010 VA 1-434-713             2/23/2015                 12/15/2010               6/28/2020

  14983590 1548-1556 Poplar Ave, Memphis, TN 38104                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/15/2010 VA 1-434-713             2/23/2015                 12/15/2010               6/22/2020
  15938241 8484 S Valley Hwy, Englewood, CO 80112                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/3/2011 VA 1-434-892             2/23/2015                   5/3/2011                7/6/2020
  15959008 44 Inverness Dr E, Englewood, CO 80112                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/5/2011 VA 1-434-892             2/23/2015                   5/5/2011               6/30/2020
  16053204 7347 S Revere Pky, Englewood, CO 80112                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2011 VA 1-434-892             2/23/2015                  5/16/2011               6/25/2020
  17593775 18671 E Main St, Parker, CO 80134                      Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/16/2011 VA 1-434-892             2/23/2015                 12/16/2011               6/24/2020
  24812261 4625 Town Center Dr, Colorado Springs, CO 80916        Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/26/2014 VA 1-434-829             2/23/2015                  2/26/2014                7/2/2020
  16203110 32 Avenue B, New York, NY 10009                        Victor Rivera                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2011 VA 1-434-891             2/23/2015                  6/10/2011               6/19/2020
  16203111 32 Avenue B, New York, NY 10009                        Victor Rivera                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2011 VA 1-434-891             2/23/2015                  6/10/2011               6/29/2020
  16703838 314 E 34th St, New York, NY 10016                      Victor Rivera                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2011 VA 1-434-891             2/23/2015                  8/24/2011               6/24/2020
  16053970 2860 E Grand River Ave, Howell, MI 48843               Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/19/2011 VA 1-435-517             2/23/2015                  5/19/2011               6/22/2020
  16127481 12514-12596 10 Mile Rd, South Lyon, MI 48178           Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/31/2011 VA 1-435-517             2/23/2015                  5/31/2011               7/10/2020
  16127489 12514-12596 10 Mile Rd, South Lyon, MI 48178           Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/31/2011 VA 1-435-517             2/23/2015                  5/31/2011               7/10/2020
  16305104 32 S Platt Rd, Milan, MI 48160                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/24/2011 VA 1-435-517             2/23/2015                  6/24/2011               6/24/2020
  16499719 26300 Northwestern Hwy, Southfield, MI 48076           Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       7/27/2011 VA 1-435-517             2/23/2015                  7/27/2011               6/23/2020
  16737672 3510 O'Neil Dr, Jackson, MI 49202                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/29/2011 VA 1-435-517             2/23/2015                  8/29/2011               6/23/2020
  16864169 1 Clover Ct, Wixom, MI 48393                           Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/14/2011 VA 1-435-517             2/23/2015                  9/14/2011               6/26/2020
  16864244 28044 Center Oaks Ct, Wixom, MI 48393                  Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/14/2011 VA 1-435-517             2/23/2015                  9/14/2011               8/11/2020
  16893839 29547-29559 Costello Dr, New Hudson, MI 48165          Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/20/2011 VA 1-435-517             2/23/2015                  9/20/2011               6/28/2020
  16893857 30104 Research Dr, New Hudson, MI 48165                Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/20/2011 VA 1-435-517             2/23/2015                  9/20/2011               6/25/2020
  16893882 56495 Grand River Ave, New Hudson, MI 48165            Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/20/2011 VA 1-435-517             2/23/2015                  9/20/2011               6/28/2020
  16893887 56495 Grand River Ave, New Hudson, MI 48165            Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/20/2011 VA 1-435-517             2/23/2015                  9/20/2011               6/28/2020
  16939766 48225 West Rd, Wixom, MI 48393                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/26/2011 VA 1-435-517             2/23/2015                  9/26/2011                7/9/2020
  16977318 29165 Wall St, Wixom, MI 48393                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/29/2011 VA 1-435-517             2/23/2015                  9/29/2011               8/11/2020
  17003970 46892 West Rd, Novi, MI 48377                          Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       10/3/2011 VA 1-435-517             2/23/2015                  10/3/2011               6/27/2020
  24893259 1420 Washington Blvd, Detroit, MI 48226                Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        3/7/2014 VA 1-434-833             2/23/2015                   3/7/2014                7/8/2020
  24926491 478 W Columbia St, Detroit, MI 48201                   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/17/2014 VA 1-434-833             2/23/2015                  3/17/2014               2/21/2021
  24926545 204-238 W Adams Ave, Detroit, MI 48226                 Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/17/2014 VA 1-434-833             2/23/2015                  3/17/2014               6/27/2020
  24977530 1435 Randolph St, Detroit, MI 48226                    Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/21/2014 VA 1-434-833             2/23/2015                  3/21/2014                7/8/2020
  15959228 160 N Craig St, Pittsburgh, PA 15213                   Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        5/6/2011 VA 1-434-779             2/23/2015                   5/6/2011               4/23/2020
  16506188 3107 Liberty Way, Mckeesport, PA 15133                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/28/2011 VA 1-434-779             2/23/2015                  7/28/2011                7/8/2020
  24724606 425 1st Ave, Pittsburgh, PA 15219                      Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/21/2014 VA 1-435-147             2/23/2015                  2/21/2014               7/21/2020
  24813105 1100 Liberty Ave, Pittsburgh, PA 15222                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2014 VA 1-435-147             2/23/2015                  2/28/2014               6/28/2020
  29473979 980-998 Jefferson Ave, Washington, PA 15301            Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       1/22/2015 VA 1-434-779             2/23/2015                  1/22/2015               6/25/2020
  15159767 409 E Greenville St, Anderson, SC 29621                William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/14/2011 VA 1-435-528             2/23/2015                  1/14/2011               6/27/2020
  15305840 1007 S Murray St, Anderson, SC 29624                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2011 VA 1-435-528             2/23/2015                   2/4/2011               6/19/2020
  15305843 1007 S Murray St, Anderson, SC 29624                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2011 VA 1-435-528             2/23/2015                   2/4/2011               6/29/2020
  15430647 600 Independence Blvd, Greenville, SC 29615            William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/22/2011 VA 1-435-528             2/23/2015                  2/22/2011               6/26/2020
  15470516 2099 S Pine St, Spartanburg, SC 29302                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/23/2011 VA 1-435-528             2/23/2015                  2/23/2011               7/10/2020
  15484386 135 Interstate Blvd, Greenville, SC 29615              William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        3/1/2011 VA 1-435-528             2/23/2015                   3/1/2011                7/8/2020
  15484401 18-20 Parkway Commons Way, Greer, SC 29650             William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/28/2011 VA 1-435-528             2/23/2015                  2/28/2011               7/10/2020
  15484491 209 Riverside Ct, Greer, SC 29650                      William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/28/2011 VA 1-435-528             2/23/2015                  2/28/2011               6/27/2020
  15569107 360 S Daniel Morgan Ave, Spartanburg, SC 29306         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/11/2011 VA 1-435-528             2/23/2015                  3/11/2011               6/22/2020




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   15771454 203 Echelon Dr, Greenville, SC 29605                          William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       4/7/2011 VA 1-435-528              2/23/2015                   4/7/2011               6/28/2020
   16054544 713 W Wade Hampton Blvd, Greer, SC 29650                      William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/19/2011 VA 1-435-528              2/23/2015                  5/19/2011                7/2/2020
   16714138 2606 Geer Hwy, Marietta, SC 29661                             William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/23/2011 VA 1-435-528              2/23/2015                  8/23/2011              11/23/2020
   16894032 6540 Brevard Rd, Etowah, NC 28729                             William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/20/2011 VA 1-435-528              2/23/2015                  9/20/2011               7/24/2020
   17064620 1116 E Blackstock Rd, Moore, SC 29369                         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/7/2011 VA 1-435-528              2/23/2015                  10/7/2011               6/21/2020
   17173923 280 National Ave, Spartanburg, SC 29303                       William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/20/2011 VA 1-435-528              2/23/2015                 10/20/2011                7/7/2020
   17223410 105 Interstate Blvd, Anderson, SC 29621                       William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/25/2011 VA 1-435-528              2/23/2015                 10/25/2011                8/9/2020
   17223415 105 Interstate Blvd, Anderson, SC 29621                       William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/25/2011 VA 1-435-528              2/23/2015                 10/25/2011               8/12/2020
   17279538 636 McGee Rd, Anderson, SC 29625                              William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/2/2011 VA 1-435-528              2/23/2015                  11/2/2011               6/29/2020
   17405629 2539 W Whitner St, Anderson, SC 29624                         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/17/2011 VA 1-435-528              2/23/2015                 11/17/2011               7/10/2020
   24383754 1410 Skylyn Dr, Spartanburg, SC 29307                         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/9/2014 VA 1-434-824              2/23/2015                   1/9/2014               6/29/2020
   24495405 330 Frontage Rd, Greer, SC 29651                              William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2014 VA 1-434-824              2/23/2015                  1/23/2014               6/28/2020
   24848795 400 N Academy St, Greenville, SC 29601                        William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       3/7/2014 VA 1-434-824              2/23/2015                   3/7/2014                7/7/2020
   15829461 2707-2711 S 84th St, West Allis, WI 53227                     Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/15/2011 VA 1-434-889              2/23/2015                  4/15/2011               6/17/2020
   16460111 205-227 E Silver Spring Dr, Milwaukee, WI 53217               Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      7/22/2011 VA 1-434-889              2/23/2015                  7/22/2011               6/26/2020
   16468842 1101 Grove Ave, Racine, WI 53405                              Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      7/25/2011 VA 1-434-889              2/23/2015                  7/25/2011                7/3/2020
   17338923 7701-7707 N 67th St, Milwaukee, WI 53223                      Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/7/2011 VA 1-434-889              2/23/2015                  11/7/2011                7/6/2020
   17393469 1300 S Calhoun Rd, Brookfield, WI 53005                       Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     11/11/2011 VA 1-434-889              2/23/2015                 11/11/2011                1/7/2021
   17639897 815 Forward Dr, Madison, WI 53711                             Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     12/21/2011 VA 1-434-889              2/23/2015                 12/21/2011               6/27/2020
   24871398 1237 W Bruce, Milwaukee, WI 53204                             Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      3/10/2014 VA 1-434-831              2/23/2015                  3/10/2014               6/27/2020
   24871402 1237 W Bruce, Milwaukee, WI 53204                             Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      3/10/2014 VA 1-434-831              2/23/2015                  3/10/2014               6/28/2020
   24881359 913 W Bruce St, Milwaukee, WI 53204                           Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      3/11/2014 VA 1-434-831              2/23/2015                  3/11/2014               6/27/2020
   24707744 4010 Canal St, Houston, TX 77003                              Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/19/2014 VA 1-434-830              2/23/2015                  2/19/2014               6/27/2020
   15058490 3536 Vann Rd, Trussville, AL 35235                            Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2010 VA 1-434-904              2/23/2015                 12/30/2010               7/10/2020
   15323275 1928 Bessemer Rd, Birmingham, AL 35208                        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2011 VA 1-434-353              2/23/2015                   2/7/2011               6/27/2020
   15334847 421 2nd Ave N, Birmingham, AL 35204                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/8/2011 VA 1-434-353              2/23/2015                   2/8/2011               7/15/2020
   15344550 2300 Resource Dr, Birmingham, AL 35242                        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/9/2011 VA 1-434-353              2/23/2015                   2/9/2011                7/9/2020
   15419777 5330 Stadium Trace Pky, Birmingham, AL 35244                  Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2011 VA 1-434-353              2/23/2015                  2/15/2011               6/18/2020
   15419794 5330 Stadium Trace Pky, Birmingham, AL 35244                  Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2011 VA 1-434-353              2/23/2015                  2/15/2011               6/26/2020
   15584526 20 Meadowview Dr, Birmingham, AL 35242                        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2011 VA 1-434-353              2/23/2015                  3/14/2011               6/24/2020
   15584569 10 Meadowview Dr, Birmingham, AL 35242                        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2011 VA 1-434-353              2/23/2015                  3/14/2011               6/25/2020
   15761645 132 Export Cir, Huntsville, AL 35806                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/6/2011 VA 1-434-353              2/23/2015                   4/6/2011               6/29/2020
   15761659 132 Export Cir, Huntsville, AL 35806                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/6/2011 VA 1-434-353              2/23/2015                   4/6/2011               6/27/2020
   15844093 313 20th St N, Birmingham, AL 35203                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2011 VA 1-434-353              2/23/2015                  4/18/2011                7/9/2020
   15844107 313 20th St N, Birmingham, AL 35203                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2011 VA 1-434-353              2/23/2015                  4/18/2011                7/5/2020
   15872098 2100 Morris Ave, Birmingham, AL 35203                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/21/2011 VA 1-434-353              2/23/2015                  4/21/2011               6/19/2020
   15872137 2205 Morris Ave, Birmingham, AL 35203                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/21/2011 VA 1-434-353              2/23/2015                  4/21/2011               6/26/2020
   15897174 2023 N 1st Ave, Birmingham, AL 35203                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/26/2011 VA 1-434-353              2/23/2015                  4/26/2011               6/28/2020
   15897223 2027 Richard Arrington Jr Blvd S, Birmingham, AL 35209        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/26/2011 VA 1-434-353              2/23/2015                  4/26/2011               6/24/2020
   16015190 3317 5th Ave S, Birmingham, AL 35222                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/12/2011 VA 1-434-353              2/23/2015                  5/12/2011               8/10/2020
   16015206 2701 1st Ave S, Birmingham, AL 35233                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/11/2011 VA 1-434-353              2/23/2015                  5/11/2011                7/7/2020
   16085443 2901 3rd Ave N, Birmingham, AL 35203                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/24/2011 VA 1-434-353              2/23/2015                  5/24/2011               6/25/2020
   16178309 2406 Center Point Pky, Birmingham, AL 35215                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/3/2011 VA 1-434-353              2/23/2015                   6/3/2011                7/5/2020
   16178313 2406 Center Point Pky, Birmingham, AL 35215                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/3/2011 VA 1-434-353              2/23/2015                   6/3/2011               6/29/2020
   16178354 9776 Parkway E, Birmingham, AL 35215                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/7/2011 VA 1-434-353              2/23/2015                   6/7/2011                3/8/2021
   16187378 524 Huffman Rd, Birmingham, AL 35215                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/8/2011 VA 1-434-353              2/23/2015                   6/8/2011               7/10/2020
   16318990 7650 Commerce Ln, Trussville, AL 35173                        Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2011 VA 1-434-353              2/23/2015                  6/21/2011               6/28/2020
   16339898 628 Gadsden Hwy, Birmingham, AL 35235                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2011 VA 1-434-353              2/23/2015                  6/29/2011                7/5/2020
   16560720 1928 11th Ave S, Birmingham, AL 35205                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/4/2011 VA 1-434-353              2/23/2015                   8/4/2011               6/25/2020
   16738249 1916 28th Ave S, Birmingham, AL 35209                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2011 VA 1-434-353              2/23/2015                  8/29/2011               8/12/2020
   16772708 1724 27th Ct S, Birmingham, AL 35209                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/2/2011 VA 1-434-353              2/23/2015                   9/2/2011               6/24/2020
   16841038 3490 Independence Dr, Birmingham, AL 35209                    Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2011 VA 1-434-353              2/23/2015                  9/12/2011                7/1/2020
   17004223 3575 Lorna Ridge Dr, Hoover, AL 35216                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/3/2011 VA 1-434-353              2/23/2015                  10/3/2011               6/28/2020
   17091009 105 Owens Pky, Birmingham, AL 35244                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2011 VA 1-434-353              2/23/2015                 10/12/2011               6/17/2020
   17091020 105 Owens Pky, Birmingham, AL 35244                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2011 VA 1-434-353              2/23/2015                 10/12/2011               6/29/2020
   17438132 2520 Midpark Dr, Montgomery, AL 36109                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/22/2011 VA 1-434-353              2/23/2015                 11/22/2011                8/9/2020
   17438142 2520 Midpark Dr, Montgomery, AL 36109                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/22/2011 VA 1-434-353              2/23/2015                 11/22/2011               8/12/2020
   24439308 5700 Shirley Ln, Montgomery, AL 36117                         Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/16/2014 VA 1-434-801              2/23/2015                  1/16/2014               6/28/2020
   24605558 2800 Zelda Rd, Montgomery, AL 36106                           Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/6/2014 VA 1-434-801              2/23/2015                   2/6/2014               6/25/2020
   24724749 619 E Jefferson St, Montgomery, AL 36104                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/21/2014 VA 1-434-801              2/23/2015                  2/21/2014                8/9/2020
   24724752 619 E Jefferson St, Montgomery, AL 36104                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/21/2014 VA 1-434-801              2/23/2015                  2/21/2014                8/9/2020
   24724755 619 E Jefferson St, Montgomery, AL 36104                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/21/2014 VA 1-434-801              2/23/2015                  2/21/2014                8/8/2020
   24964349 520 S Court St, Montgomery, AL 36104                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2014 VA 1-434-801              2/23/2015                  3/20/2014               6/26/2020
   24964358 520 S Court St, Montgomery, AL 36104                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2014 VA 1-434-801              2/23/2015                  3/20/2014               6/27/2020
   25029227 2717 7th Ave S, Birmingham, AL 35233                          Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/27/2014 VA 1-434-801              2/23/2015                  3/27/2014                7/5/2020
   26366374 887 S McDonough St, Montgomery, AL 36104                      Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/21/2014 VA 1-434-801              2/23/2015                  3/21/2014               6/25/2020
   15623816 220-222 Post Rd W, Westport, CT 06880                         Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      3/18/2011 VA 1-435-235              2/23/2015                  3/18/2011                7/8/2020
   15678026 1010 Summer St, Stamford, CT 06905                            Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      3/25/2011 VA 1-435-235              2/23/2015                  3/25/2011               6/29/2020
   16128016 1014 Main St, Peekskill, NY 10566                             Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      5/27/2011 VA 1-435-235              2/23/2015                  5/27/2011               8/11/2020
   16128041 1014 Main St, Peekskill, NY 10566                             Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      5/27/2011 VA 1-435-235              2/23/2015                  5/27/2011               8/11/2020
   24470230 750 Kings Hwy E, Fairfield, CT 06825                          Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/17/2014 VA 1-435-122              2/23/2015                  1/17/2014                7/8/2020
   24470233 750 Kings Hwy E, Fairfield, CT 06825                          Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/17/2014 VA 1-435-122              2/23/2015                  1/17/2014                7/8/2020
   24470241 750 Kings Hwy E, Fairfield, CT 06825                          Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/17/2014 VA 1-435-122              2/23/2015                  1/17/2014                7/8/2020

  24828876 165 N 5th St, Columbus, OH 43215                               Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/4/2014 VA 1-434-854             2/23/2015                   3/4/2014               6/29/2020
  24579363 1470-1472 S State St, Salt Lake City, UT 84115                 Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/15/2014 VA 1-434-844             2/23/2015                  1/15/2014               6/12/2021
  24579364 1470-1472 S State St, Salt Lake City, UT 84115                 Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/15/2014 VA 1-434-844             2/23/2015                  1/15/2014               6/12/2021
  24720024 242-252 E Broadway S, Salt Lake City, UT 84111                 Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/20/2014 VA 1-434-844             2/23/2015                  2/20/2014                7/5/2020
  24330943 1177-1179 Sunset Blvd, West Columbia, SC 29169                 Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2014 VA 1-434-827             2/23/2015                   1/2/2014               2/16/2021
  24384177 149 Davis Rd, Augusta, GA 30907                                Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2014 VA 1-434-827             2/23/2015                   1/9/2014                7/6/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                       70
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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                        Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
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   24384178 147 Davis Rd, Augusta, GA 30907                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300       1/9/2014 VA 1-434-827              2/23/2015                   1/9/2014               6/28/2020
   24384182 151 Davis Rd, Augusta, GA 30907                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300       1/9/2014 VA 1-434-827              2/23/2015                   1/9/2014                7/7/2020
   24384185 149 Davis Rd, Augusta, GA 30907                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300       1/9/2014 VA 1-434-827              2/23/2015                   1/9/2014               6/26/2020
   24384187 147 Davis Rd, Augusta, GA 30907                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300       1/9/2014 VA 1-434-827              2/23/2015                   1/9/2014                7/8/2020
   24430177 1140 Bush River Rd, Columbia, SC 29210                Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      1/14/2014 VA 1-434-827              2/23/2015                  1/14/2014                7/7/2020
   24492388 412 Vaughn Rd, Martinez, GA 30907                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      1/22/2014 VA 1-434-827              2/23/2015                  1/22/2014               6/28/2020
   24579480 534 Saint Andrews Rd, Columbia, SC 29210              Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      1/31/2014 VA 1-434-827              2/23/2015                  1/31/2014               6/27/2020
   24633340 655 St Andrews Rd, Columbia, SC 29210                 Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300       2/4/2014 VA 1-434-827              2/23/2015                   2/4/2014               6/27/2020
   24645004 10 Woodcross Dr, Columbia, SC 29212                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      2/11/2014 VA 1-434-827              2/23/2015                  2/11/2014                7/6/2020
   24645008 10 Woodcross Dr, Columbia, SC 29212                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      2/11/2014 VA 1-434-827              2/23/2015                  2/11/2014                7/5/2020
   24645017 10 Woodcross Dr, Columbia, SC 29212                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      2/11/2014 VA 1-434-827              2/23/2015                  2/11/2014               6/29/2020
   24815966 7313 College St, Irmo, SC 29063                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      2/27/2014 VA 1-434-827              2/23/2015                  2/27/2014                7/8/2020
   24990659 1345 Garner Ln, Columbia, SC 29210                    Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      3/21/2014 VA 1-434-827              2/23/2015                  3/21/2014               2/21/2021
   24990667 1345 Garner Ln, Columbia, SC 29210                    Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      3/21/2014 VA 1-434-827              2/23/2015                  3/21/2014               2/21/2021
   25017460 501 Broad St, Augusta, GA 30901                       Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      3/26/2014 VA 1-434-827              2/23/2015                  3/26/2014                7/5/2020
   25017477 471-473 Broad St, Augusta, GA 30901                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      3/26/2014 VA 1-434-827              2/23/2015                  3/26/2014                7/2/2020
   25071781 711 Harden St, Columbia, SC 29205                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                       3012158300      3/19/2014 VA 1-434-827              2/23/2015                  3/19/2014              11/21/2020

  17174397 1205 Bridgestone Pky, La Vergne, TN 37086              Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114                 8882267404      10/20/2011 VA 1-434-784             2/23/2015                 10/20/2011               7/24/2020

  24430569 52 Lindsley Ave, Nashville, TN 37210                   Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114                 8882267404       1/14/2014 VA 1-435-150             2/23/2015                  1/14/2014               6/27/2020
  25005886 126 NW Canal St, Seattle, WA 98107                     Michael Murphy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       3/25/2014 VA 1-434-810             2/23/2015                  3/25/2014               6/26/2020
  24440372 2113 W Parkside Ln, Phoenix, AZ 85027                  Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       1/13/2014 VA 1-434-809             2/23/2015                  1/13/2014               6/29/2020
  24496234 13943 N 91st Ave, Peoria, AZ 85381                     Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       1/24/2014 VA 1-434-809             2/23/2015                  1/24/2014               6/27/2020
  24496236 13943 N 91st Ave, Peoria, AZ 85381                     Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       1/24/2014 VA 1-434-809             2/23/2015                  1/24/2014               6/27/2020
  24496238 13943 N 91st Ave, Peoria, AZ 85381                     Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       1/24/2014 VA 1-434-809             2/23/2015                  1/24/2014                7/9/2020
  24652006 13920 W Camino Del Sol, Sun City West, AZ 85375        Ken Wood                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/12/2014 VA 1-434-809             2/23/2015                  2/12/2014               6/25/2020
  24373327 5411 Renwick Dr, Houston, TX 77081                     Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        1/8/2014 VA 1-434-875             2/23/2015                   1/8/2014                7/9/2020
  24373346 5701 Southwest Fwy, Houston, TX 77057                  Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        1/8/2014 VA 1-434-875             2/23/2015                   1/8/2014              10/23/2020
  24591644 11533 S Main St, Houston, TX 77025                     Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        2/4/2014 VA 1-434-875             2/23/2015                   2/4/2014               5/16/2020
  24591652 11533 S Main St, Houston, TX 77025                     Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        2/4/2014 VA 1-434-875             2/23/2015                   2/4/2014               5/16/2020
  24849437 1201 Naylor St, Houston, TX 77002                      Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        3/7/2014 VA 1-434-875             2/23/2015                   3/7/2014               6/28/2020
  25017961 917 Franklin St, Houston, TX 77002                     Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       3/25/2014 VA 1-434-875             2/23/2015                  3/25/2014               6/27/2020
  24470709 5808 S 118th East Ave, Tulsa, OK 74146                 Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                   8882267404       1/21/2014 VA 1-434-878             2/23/2015                  1/21/2014               6/28/2020
  24492653 5867-5881 S Garnett Rd, Tulsa, OK 74146                Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                   8882267404       1/23/2014 VA 1-434-878             2/23/2015                  1/23/2014              11/13/2020
  24492655 5867-5881 S Garnett Rd, Tulsa, OK 74146                Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                   8882267404       1/23/2014 VA 1-434-878             2/23/2015                  1/23/2014              11/13/2020
  25006226 7007 S Memorial Dr, Tulsa, OK 74133                    Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                   8882267404       3/25/2014 VA 1-434-878             2/23/2015                  3/25/2014               6/26/2020
  25057821 3063 S Sheridan Rd, Tulsa, OK 74129                    Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                   8882267404       3/31/2014 VA 1-434-878             2/23/2015                  3/31/2014                7/6/2020
  24441253 2086 W Burnside St, Portland, OR 97209                 Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       1/15/2014 VA 1-435-133             2/23/2015                  1/15/2014               6/29/2020
  24606697 530 Fifth Ave, New York, NY 10036                      Victoria Iniguez                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        2/6/2014 VA 1-434-834             2/23/2015                   2/6/2014               6/26/2020
  24681445 712 Fifth Ave, New York, NY 10019                      Victoria Iniguez                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/16/2014 VA 1-434-834             2/23/2015                  2/16/2014               6/28/2020
  24610741 1806 S King St, Honolulu, HI 96826                     Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        2/7/2014 VA 1-434-803             2/23/2015                   2/7/2014               6/25/2020
  24610749 1806 S King St, Honolulu, HI 96826                     Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        2/7/2014 VA 1-434-803             2/23/2015                   2/7/2014               6/27/2020
  24838794 1960 Kapiolani Blvd, Honolulu, HI 96826                Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/26/2014 VA 1-434-803             2/23/2015                  2/26/2014               6/27/2020
  24838802 1960 Kapiolani Blvd, Honolulu, HI 96826                Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/26/2014 VA 1-434-803             2/23/2015                  2/26/2014               6/26/2020
  24838805 1960 Kapiolani Blvd, Honolulu, HI 96826                Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/26/2014 VA 1-434-803             2/23/2015                  2/26/2014                7/9/2020
  24838821 1960 Kapiolani Blvd, Honolulu, HI 96826                Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       2/26/2014 VA 1-434-803             2/23/2015                  2/26/2014               6/25/2020
  25030854 1649 Kalakaua Ave, Honolulu, HI 96826                  Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300       3/27/2014 VA 1-434-803             2/23/2015                  3/27/2014                7/1/2020
  24442991 1000 73rd St, West Des Moines, IA 50265                Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                          3018921977       1/15/2014 VA 1-434-823             2/23/2015                  1/15/2014               6/28/2020
  24839931 666 Walnut St, Des Moines, IA 50309                    Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                          3018921977        3/3/2014 VA 1-434-823             2/23/2015                   3/3/2014               4/23/2020
  24965698 2209-2213 Grand Ave, Des Moines, IA 50312              Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                          3018921977       3/20/2014 VA 1-434-823             2/23/2015                  3/20/2014               4/23/2020
  24992582 1570-1580 Menlo Ave, Clovis, CA 93611                  John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                         8443050836       3/19/2014 VA 1-434-877             2/23/2015                  3/19/2014               6/26/2020
  24992584 1570-1580 Menlo Ave, Clovis, CA 93611                  John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                         8443050836       3/19/2014 VA 1-434-877             2/23/2015                  3/19/2014               6/26/2020
  16124268 18900 E Industrial Pky, New Caney, TX 77357            Richard Craig                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       5/31/2011 VA 1-434-888             2/23/2015                  5/31/2011               6/28/2020
  16641641 6544 Malone Rd, Douglasville, GA 30134                 Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       8/17/2011 VA 1-435-524             2/23/2015                  8/17/2011               6/26/2020
  16641648 6544 Malone Rd, Douglasville, GA 30134                 Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       8/17/2011 VA 1-435-524             2/23/2015                  8/17/2011               7/10/2020
  16641659 6544 Malone Rd, Douglasville, GA 30134                 Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       8/17/2011 VA 1-435-524             2/23/2015                  8/17/2011               6/24/2020
  17627356 5695 Fox Creek Rd, Pacific, MO 63069                   Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500      12/22/2011 VA 1-435-240             2/23/2015                 12/22/2011               6/21/2020
  14626402 1000-1048 S Federal Blvd, Denver, CO 80219             Jennifer Wych                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500      10/25/2010 VA 1-435-170             2/23/2015                 10/25/2010               6/29/2020
  14594697 1901 S Stemmons Fwy, Lewisville, TX 75067              Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500      10/27/2010 VA 1-434-920             2/23/2015                 10/27/2010               6/24/2020
  15330960 2213 McDermott Rd, Plano, TX 75025                     Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500        2/8/2011 VA 1-434-949             2/23/2015                   2/8/2011               8/11/2020
  15330967 2213 McDermott Rd, Plano, TX 75025                     Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500        2/8/2011 VA 1-434-949             2/23/2015                   2/8/2011               8/11/2020
  15480154 2340 Lombardy Ln, Dallas, TX 75220                     Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500        3/1/2011 VA 1-434-949             2/23/2015                   3/1/2011               7/15/2020
  16557690 6311 Hillcrest Rd, Frisco, TX 75035                    Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500        8/5/2011 VA 1-434-949             2/23/2015                   8/5/2011               7/10/2020
  16734638 2393 S Stemmons Fwy, Lewisville, TX 75067              Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       8/30/2011 VA 1-434-949             2/23/2015                  8/30/2011               6/27/2020
  17466591 1810 S Main St, Weatherford, TX 76086                  Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500      11/28/2011 VA 1-434-949             2/23/2015                 11/28/2011               7/10/2020
  16423792 2900 Gateway Dr, Elkhart, IN 46514                     Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       7/15/2011 VA 1-435-210             2/23/2015                  7/15/2011                7/6/2020
  16832632 301 E Morthland Dr, Valparaiso, IN 46383               Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       9/12/2011 VA 1-435-210             2/23/2015                  9/12/2011               6/27/2020
  16832636 301 E Morthland Dr, Valparaiso, IN 46383               Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       9/12/2011 VA 1-435-210             2/23/2015                  9/12/2011               6/26/2020
  16940821 890 E Sidewalk Rd, Chesterton, IN 46304                Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       9/22/2011 VA 1-435-210             2/23/2015                  9/22/2011               6/26/2020
  24871648 2212 Mckinley Ave, South Bend, IN 46615                Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       3/10/2014 VA 1-435-132             2/23/2015                  3/10/2014               7/10/2020
  24871656 2212 Mckinley Ave, South Bend, IN 46615                Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       3/10/2014 VA 1-435-132             2/23/2015                  3/10/2014               6/27/2020
  24871658 2212 Mckinley Ave, South Bend, IN 46615                Christine Shaul                                                               CoStar Group             1331 L St NW, Washington, DC 20005                      2023466500       3/10/2014 VA 1-435-132             2/23/2015                  3/10/2014               6/28/2020
  12017715 267 Columbia Ave, Chapin, SC 29036                     Jason Benns                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        1/7/2010 VA 1-435-277             2/23/2015                   1/7/2010               3/23/2021
  12017745 904 Chapin Rd, Chapin, SC 29036                        Jason Benns                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                      3012158300        1/7/2010 VA 1-435-277             2/23/2015                   1/7/2010               6/24/2020

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  12018765 1666 E Lincoln Ave, Madison Heights, MI 48071          Lisa Borkus                                                                   & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        1/7/2010 VA 1-434-708             2/23/2015                   1/7/2010               6/18/2020
  12079085 99 Shelly Rd, Glen Burnie, MD 21061                    Patrick O'Conor                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                    3012158300       1/12/2010 VA 1-434-711             2/23/2015                  1/12/2010               6/30/2020
  12120798 4180 Douglas Blvd, Granite Bay, CA 95746               Melissa Greulich                                                              CoStar Group*              1331 L St NW, Washington, DC 20005                    3012158300       1/22/2010 VA 1-434-899             2/23/2015                  1/22/2010               6/23/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                 71
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   12120799 4180 Douglas Blvd, Granite Bay, CA 95746                  Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/22/2010 VA 1-434-899              2/23/2015                  1/22/2010              6/23/2020
   12120865 8735 Sierra College Blvd, Roseville, CA 95661             Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/22/2010 VA 1-434-899              2/23/2015                  1/22/2010              6/17/2020
   12120866 8735 Sierra College Blvd, Roseville, CA 95661             Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/22/2010 VA 1-434-899              2/23/2015                  1/22/2010              6/23/2020
   12168091 1452 JA Cochran Byp, Chester, SC 29706                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2010 VA 1-435-277              2/23/2015                  1/28/2010               2/2/2021
   12176274 1301 Union St, Spartanburg, SC 29302                      Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/29/2010 VA 1-434-898              2/23/2015                  1/29/2010              6/20/2020
   12191178 401 W Martintown Rd, North Augusta, SC 29841              Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/1/2010 VA 1-435-277              2/23/2015                   2/1/2010              6/26/2020
   12191180 401 W Martintown Rd, North Augusta, SC 29841              Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/1/2010 VA 1-435-277              2/23/2015                   2/1/2010              6/26/2020
   12220456 8383 Alameda Ave, El Paso, TX 79907                       Linda Miner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/2/2010 VA 1-434-710              2/23/2015                   2/2/2010              6/21/2020

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  12221354 32471 Industrial Dr, Madison Heights, MI 48071             Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        2/4/2010 VA 1-434-708             2/23/2015                   2/4/2010               1/13/2021
  12223057 224-236 S Bridge St, Elkton, MD 21921                      Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        2/4/2010 VA 1-434-711             2/23/2015                   2/4/2010               7/31/2020
  12249265 1458 N Lee Trevino Dr, El Paso, TX 79936                   Linda Miner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        2/9/2010 VA 1-434-710             2/23/2015                   2/9/2010               6/28/2020
  12249271 1458 N Lee Trevino Dr, El Paso, TX 79936                   Linda Miner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        2/9/2010 VA 1-434-710             2/23/2015                   2/9/2010               6/23/2020
  12258404 2375 E Main St, Spartanburg, SC 29307                      Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        2/8/2010 VA 1-434-898             2/23/2015                   2/8/2010               6/18/2020
  12414815 4089 Clifton Glendale Rd, Spartanburg, SC 29307            Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        2/8/2010 VA 1-434-898             2/23/2015                   2/8/2010               6/21/2020
  12558578 113 W Michigan Ave, Jackson, MI 49201                      John Ehnis                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/17/2010 VA 1-435-251             2/23/2015                  2/17/2010               6/24/2020
  12558581 113 W Michigan Ave, Jackson, MI 49201                      John Ehnis                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/17/2010 VA 1-435-251             2/23/2015                  2/17/2010               6/23/2020
  12566127 8529 Asheville Hwy, Knoxville, TN 37924                    Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/12/2010 VA 1-434-919             2/23/2015                  2/12/2010                8/9/2020
  12581722 1621-1623 W North Ave, Chicago, IL 60622                   Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/19/2010 VA 1-435-229             2/23/2015                  2/19/2010               6/28/2020
  12581724 1621-1623 W North Ave, Chicago, IL 60622                   Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/19/2010 VA 1-435-229             2/23/2015                  2/19/2010                7/1/2020
  12618652 2100 Old Highway 17 N, North Myrtle Beach, SC 29582        Nathan Alvey                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/24/2010 VA 1-434-912             2/23/2015                  2/24/2010               7/17/2021
  12695454 4310 Wheeler Rd, Augusta, GA 30907                         Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/4/2010 VA 1-435-277             2/23/2015                   3/4/2010               6/28/2020
  12751356 476 Flowing Wells Rd, Augusta, GA 30907                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/12/2010 VA 1-435-277             2/23/2015                  3/12/2010               6/26/2020
  12751359 476 Flowing Wells Rd, Augusta, GA 30907                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/12/2010 VA 1-435-277             2/23/2015                  3/12/2010                7/4/2020
  12751382 474 Flowing Wells Rd, Augusta, GA 30907                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/12/2010 VA 1-435-277             2/23/2015                  3/12/2010                7/2/2020
  12781656 353 Pondella Rd, North Fort Myers, FL 33903                Michael Suter                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/16/2010 VA 1-434-704             2/23/2015                  3/16/2010               6/30/2020
  12793889 2014 Renard Ct, Annapolis, MD 21401                        Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        3/9/2010 VA 1-434-711             2/23/2015                   3/9/2010               6/30/2020
  12823992 Sun Valley Blvd, Sun Valley, NV 89433                      Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/22/2010 VA 1-434-899             2/23/2015                  3/22/2010               6/22/2020
  12847807 2790 N Tamiami Trl, North Fort Myers, FL 33903             Michael Suter                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/24/2010 VA 1-434-704             2/23/2015                  3/24/2010               8/10/2020
  12847809 2790 N Tamiami Trl, North Fort Myers, FL 33903             Michael Suter                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/24/2010 VA 1-434-704             2/23/2015                  3/24/2010                8/9/2020
  12864589 347 E Blackstock Rd, Spartanburg, SC 29301                 Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/26/2010 VA 1-434-898             2/23/2015                  3/26/2010                7/3/2020
  12881594 792 John B White Sr Blvd, Spartanburg, SC 29306            Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/29/2010 VA 1-434-898             2/23/2015                  3/29/2010                7/2/2020
  12890426 1035 Franke Industrial Dr, Augusta, GA 30909               Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/29/2010 VA 1-435-277             2/23/2015                  3/29/2010                7/4/2020
  12890505 3730 Executive Center Dr, Augusta, GA 30907                Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/29/2010 VA 1-435-277             2/23/2015                  3/29/2010               6/22/2020

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  12938319 22250 Providence Dr, Southfield, MI 48075                  Lisa Borkus                                                                   & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800        4/5/2010 VA 1-434-708             2/23/2015                   4/5/2010               6/19/2020

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  12938326 22250 Providence Dr, Southfield, MI 48075                  Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        4/5/2010 VA 1-434-708             2/23/2015                   4/5/2010                7/1/2020
  12944328 625 NE 10th Pl, Cape Coral, FL 33909                       Michael Suter                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/5/2010 VA 1-434-704             2/23/2015                   4/5/2010               6/29/2020
  12944490 6201 Birdcage St, Citrus Heights, CA 95610                 Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2010 VA 1-434-899             2/23/2015                   4/6/2010                8/7/2020
  12944497 6201 Birdcage St, Citrus Heights, CA 95610                 Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2010 VA 1-434-899             2/23/2015                   4/6/2010               8/11/2020
  12945006 3672-3674 N Rancho Dr, Las Vegas, NV 89130                 Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        4/6/2010 VA 1-434-916             2/23/2015                   4/6/2010               6/10/2021

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  12969991 23555 Northwestern Hwy, Southfield, MI 48075               Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800        4/8/2010 VA 1-434-708             2/23/2015                   4/8/2010               6/19/2020
  12998866 115 Blarney Dr, Columbia, SC 29223                         Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2010 VA 1-435-277             2/23/2015                  4/13/2010               6/20/2020
  12998868 115 Blarney Dr, Columbia, SC 29223                         Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2010 VA 1-435-277             2/23/2015                  4/13/2010               6/22/2020
  13007417 121 N 9th St, Boise, ID 83702                              Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/14/2010 VA 1-435-228             2/23/2015                  4/14/2010               6/26/2020
  13019061 813 Leesburg Rd, Columbia, SC 29209                        Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/15/2010 VA 1-435-277             2/23/2015                  4/15/2010                7/1/2020
  13035147 250 Bobwhite Ct, Boise, ID 83706                           Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/19/2010 VA 1-435-228             2/23/2015                  4/19/2010               6/19/2020

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  13047233 3250-3256 University Dr, Auburn Hills, MI 48326            Lisa Borkus                                                                   & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       4/20/2010 VA 1-434-708             2/23/2015                  4/20/2010               6/27/2020

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  13047238 3250-3256 University Dr, Auburn Hills, MI 48326            Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       4/20/2010 VA 1-434-708             2/23/2015                  4/20/2010               6/18/2020
  13048738 2375 E Main St, Spartanburg, SC 29307                      Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/20/2010 VA 1-434-898             2/23/2015                  4/20/2010               6/22/2020
  13061667 4408 Forest Dr, Columbia, SC 29206                         Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2010 VA 1-435-277             2/23/2015                  4/16/2010               2/18/2021
  13061690 345 S Bobwhite Ct, Boise, ID 83706                         Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/19/2010 VA 1-435-228             2/23/2015                  4/19/2010               6/20/2020
  13070763 4800 Meadows Rd, Lake Oswego, OR 97035                     Jeremy Polzel                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/15/2010 VA 1-435-211             2/23/2015                  4/15/2010               7/19/2020
  13072466 1114 E Weisgarber Rd, Knoxville, TN 37909                  Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/22/2010 VA 1-434-919             2/23/2015                  4/22/2010               6/26/2020
  13073643 135 S Main St, Greenville, SC 29601                        Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2010 VA 1-434-898             2/23/2015                  4/21/2010               6/26/2020
  13073652 25 E Court St, Greenville, SC 29601                        Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/21/2010 VA 1-434-898             2/23/2015                  4/21/2010                7/1/2020
  13077664 2030 Falling Waters Rd, Knoxville, TN 37922                Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/23/2010 VA 1-434-919             2/23/2015                  4/23/2010                7/2/2020
  13079271 2882 Prospect Park Dr, Rancho Cordova, CA 95670            Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2010 VA 1-434-899             2/23/2015                  4/24/2010               6/17/2020
  13091860 3 Southern Ct, West Columbia, SC 29169                     Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/26/2010 VA 1-435-277             2/23/2015                  4/26/2010              11/21/2020
  13092595 150 Westpark Way, Euless, TX 76040                         Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2010 VA 1-435-231             2/23/2015                  4/24/2010               6/27/2020
  13092603 150 Westpark Way, Euless, TX 76040                         Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2010 VA 1-435-231             2/23/2015                  4/24/2010               6/25/2020
  13092608 150 Westpark Way, Euless, TX 76040                         Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/24/2010 VA 1-435-231             2/23/2015                  4/24/2010               6/27/2020
  13095263 689 Medical Park Dr, Lenoir City, TN 37772                 Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/16/2010 VA 1-434-919             2/23/2015                  4/16/2010               6/21/2020
  13095636 9121 W Russell Rd, Las Vegas, NV 89148                     Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/26/2010 VA 1-434-916             2/23/2015                  4/26/2010               6/21/2020
  13098721 301 N Main St, Greenville, SC 29601                        Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/19/2010 VA 1-434-898             2/23/2015                  4/19/2010               6/24/2020

                                                                                                                                                    Pratt & Miller Engineering
  13108479 850 Stephenson Hwy, Troy, MI 48083                         Lisa Borkus                                                                   & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       4/27/2010 VA 1-434-708             2/23/2015                  4/27/2010               6/21/2020
  13121177 11201 W Point Dr, Knoxville, TN 37934                      Jason Hensley                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       4/28/2010 VA 1-434-919             2/23/2015                  4/28/2010               6/19/2020
  13121194 1225 E Weisgarber Rd, Knoxville, TN 37909                  Jason Hensley                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       4/28/2010 VA 1-434-919             2/23/2015                  4/28/2010                7/1/2020




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   13122133 401 Brookfield Pky, Greenville, SC 29607           Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/28/2010 VA 1-434-898              2/23/2015                  4/28/2010              6/22/2020
   13132188 250 Bobwhite Ct, Boise, ID 83706                   Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/19/2010 VA 1-435-228              2/23/2015                  4/19/2010              6/23/2020
   13138953 6900 Anderson Blvd, Fort Worth, TX 76120           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2010 VA 1-435-231              2/23/2015                  4/30/2010              6/18/2020
   13138955 6900 Anderson Blvd, Fort Worth, TX 76120           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2010 VA 1-435-231              2/23/2015                  4/30/2010              6/24/2020
   13138957 6900 Anderson Blvd, Fort Worth, TX 76120           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/30/2010 VA 1-435-231              2/23/2015                  4/30/2010              6/22/2020

                                                                                                                                             Pratt & Miller Engineering
  13145467 24725 W 12 Mile Rd, Southfield, MI 48034            Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       4/30/2010 VA 1-434-708             2/23/2015                  4/30/2010               6/25/2020
  13152984 3271 N Milwaukee St, Boise, ID 83704                Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/29/2010 VA 1-435-228             2/23/2015                  4/29/2010               6/27/2020
  13162945 601 S Main St, Keller, TX 76248                     Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/4/2010 VA 1-435-231             2/23/2015                   5/4/2010               6/26/2020
  13163551 2329 Gateway Oaks Dr, Sacramento, CA 95833          Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/3/2010 VA 1-434-899             2/23/2015                   5/3/2010               8/11/2020
  13173133 455 Ramsey St, Fayetteville, NC 28301               Nathan Alvey                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/5/2010 VA 1-434-912             2/23/2015                   5/5/2010                7/3/2020
  13175859 5457 Twin Knolls Rd, Columbia, MD 21045             Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/5/2010 VA 1-434-711             2/23/2015                   5/5/2010              10/19/2020
  13182918 985 Broad St, Augusta, GA 30901                     Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2010 VA 1-435-277             2/23/2015                   5/6/2010               6/29/2020
  13182923 985 Broad St, Augusta, GA 30901                     Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2010 VA 1-435-277             2/23/2015                   5/6/2010               6/30/2020
  13182932 758-760 Broad St, Augusta, GA 30901                 Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2010 VA 1-435-277             2/23/2015                   5/6/2010               6/26/2020
  13182982 701 Greene St, Augusta, GA 30901                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2010 VA 1-435-277             2/23/2015                   5/6/2010               6/26/2020
  13183402 3100 W 7th St, Fort Worth, TX 76107                 Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/6/2010 VA 1-435-231             2/23/2015                   5/6/2010               6/25/2020
  13188826 2531 Center West Pky, Augusta, GA 30909             Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-435-277             2/23/2015                   5/7/2010               7/17/2021
  13188898 2 S Biscayne Blvd, Miami, FL 33131                  Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-707             2/23/2015                   5/7/2010               6/27/2020
  13188934 3071 E Franklin Rd, Meridian, ID 83642              Jonathan Scobby                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-435-228             2/23/2015                   5/7/2010               6/22/2020
  13190035 111 Pfingsten Rd, Deerfield, IL 60015               Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-435-229             2/23/2015                   5/7/2010               6/22/2020
  13190114 3800 N Wilke Rd, Arlington Heights, IL 60004        Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-435-229             2/23/2015                   5/7/2010               6/29/2020
  13190955 7120 Minstrel Way, Columbia, MD 21045               Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-711             2/23/2015                   5/7/2010               6/28/2020
  13190991 9520 Berger Rd, Columbia, MD 21046                  Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-711             2/23/2015                   5/7/2010              10/21/2020
  13191342 10024 Investment Dr, Knoxville, TN 37932            Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/15/2010 VA 1-434-919             2/23/2015                  4/15/2010               6/28/2020
  13191958 850 S Pleasantburg Dr, Greenville, SC 29607         Nick Laurence                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       4/13/2010 VA 1-434-898             2/23/2015                  4/13/2010               6/24/2020
  13192949 2399 Gateway Oaks Dr, Sacramento, CA 95833          Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-899             2/23/2015                   5/7/2010                7/2/2020
  13192972 2389 Gateway Oaks Dr, Sacramento, CA 95833          Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        5/7/2010 VA 1-434-899             2/23/2015                   5/7/2010               6/27/2020
  13232270 808-840 Guilford Ave, Baltimore, MD 21202           Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/12/2010 VA 1-434-711             2/23/2015                  5/12/2010                3/8/2021
  13269917 996 Pine Log Rd, Aiken, SC 29803                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2010 VA 1-435-277             2/23/2015                  5/18/2010               6/26/2020
  13269919 996 Pine Log Rd, Aiken, SC 29803                    Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2010 VA 1-435-277             2/23/2015                  5/18/2010               6/24/2020
  13282875 161 S Aiken Ln, Aiken, SC 29803                     Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/19/2010 VA 1-435-277             2/23/2015                  5/19/2010              11/21/2020

                                                                                                                                             Pratt & Miller Engineering
  13327696 18311 W 10 Mile Rd, Southfield, MI 48075            Lisa Borkus                                                                   & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       5/25/2010 VA 1-434-708             2/23/2015                  5/25/2010               6/21/2020
  13367616 101 Corporate Pky, Aiken, SC 29803                  Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2010 VA 1-435-277             2/23/2015                   6/1/2010               6/21/2020
  13370198 182 Duke of Gloucester St, Annapolis, MD 21401      Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/1/2010 VA 1-434-711             2/23/2015                   6/1/2010               6/20/2020
  13380905 7 State Cir, Annapolis, MD 21401                    Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/2/2010 VA 1-434-711             2/23/2015                   6/2/2010               6/23/2020
  13380922 15 School St, Annapolis, MD 21401                   Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/2/2010 VA 1-434-711             2/23/2015                   6/2/2010               7/24/2020
  13392358 1610 West St, Annapolis, MD 21401                   Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/3/2010 VA 1-434-711             2/23/2015                   6/3/2010               7/20/2020
  13422537 2416 Windsor Spring Rd, Augusta, GA 30906           Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/8/2010 VA 1-435-277             2/23/2015                   6/8/2010               6/26/2020
  13422548 2416 Windsor Spring Rd, Augusta, GA 30906           Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/8/2010 VA 1-435-277             2/23/2015                   6/8/2010               6/26/2020
  13422553 2416 Windsor Spring Rd, Augusta, GA 30906           Jason Benns                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/8/2010 VA 1-435-277             2/23/2015                   6/8/2010               6/22/2020
  13432493 133 Defense Hwy, Annapolis, MD 21401                Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/9/2010 VA 1-434-711             2/23/2015                   6/9/2010               6/28/2020
  13432518 703 Bestgate Rd, Annapolis, MD 21401                Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/9/2010 VA 1-434-711             2/23/2015                   6/9/2010               6/26/2020
  13441959 200 Harry S Truman Pky, Annapolis, MD 21401         Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/10/2010 VA 1-434-711             2/23/2015                  6/10/2010               6/25/2020
  13441960 2629 Riva Rd, Annapolis, MD 21401                   Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/10/2010 VA 1-434-711             2/23/2015                  6/10/2010               6/19/2020
  13548833 929 E Main Ave, Puyallup, WA 98372                  Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2010 VA 1-434-899             2/23/2015                  6/24/2010                5/5/2020
  13551140 9055 Chevrolet Dr, Ellicott City, MD 21042          Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/24/2010 VA 1-434-711             2/23/2015                  6/24/2010               6/28/2020
  13590287 5750 Davis Blvd, North Richland Hills, TX 76180     Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/30/2010 VA 1-435-231             2/23/2015                  6/30/2010                7/8/2020
  13598265 6651 Hightower Dr, Watauga, TX 76148                Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        7/2/2010 VA 1-435-231             2/23/2015                   7/2/2010               6/26/2020
  13619090 1111 N Northshore Dr, Knoxville, TN 37919           Jason Hensley                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        7/6/2010 VA 1-434-919             2/23/2015                   7/6/2010               6/23/2020
  13678602 200 Harry S Truman Pky, Annapolis, MD 21401         Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/13/2010 VA 1-434-711             2/23/2015                  7/13/2010               6/26/2020
  13687133 500 S Rancho Dr, Las Vegas, NV 89106                Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/14/2010 VA 1-434-916             2/23/2015                  7/14/2010                7/7/2020
  13697056 1006-1012 Wilson Point Rd, Baltimore, MD 21220      Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/15/2010 VA 1-434-711             2/23/2015                  7/15/2010               6/29/2020
  13718620 2661 Riva Rd, Annapolis, MD 21401                   Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2010 VA 1-434-711             2/23/2015                  7/19/2010                7/7/2020
  13718621 921 Chesapeake Ave, Annapolis, MD 21403             Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2010 VA 1-434-711             2/23/2015                  7/19/2010               9/19/2020
  13718655 163-167 Jennifer Rd, Annapolis, MD 21401            Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2010 VA 1-434-711             2/23/2015                  7/19/2010               6/27/2020
  13718658 163-167 Jennifer Rd, Annapolis, MD 21401            Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2010 VA 1-434-711             2/23/2015                  7/19/2010               6/23/2020
  13728652 6800 Manhattan Blvd, Fort Worth, TX 76120           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/20/2010 VA 1-435-231             2/23/2015                  7/20/2010                8/9/2020
  13749613 456 Fulton St, Peoria, IL 61602                     Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/21/2010 VA 1-435-229             2/23/2015                  7/21/2010               6/26/2020
  13749650 247 Research Pky, Davenport, IA 52806               Kimberly Atwood                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/22/2010 VA 1-435-229             2/23/2015                  7/22/2010              11/13/2020
  13796712 1601-1629 NW 82nd Ave, Doral, FL 33126              Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/28/2010 VA 1-434-707             2/23/2015                  7/28/2010                7/8/2020
  13799351 1544-1598 Whitehall Rd, Annapolis, MD 21409         Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/28/2010 VA 1-434-711             2/23/2015                  7/28/2010               7/23/2020
  13815419 11511 Canterwood Blvd NW, Gig Harbor, WA 98332      Melissa Greulich                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/29/2010 VA 1-434-899             2/23/2015                  7/29/2010                2/2/2021
  13815698 1316 Kari Lee Ct, Las Vegas, NV 89146               Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/29/2010 VA 1-434-916             2/23/2015                  7/29/2010               6/28/2020
  13830569 4050 W Harmon Ave, Las Vegas, NV 89103              Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/2/2010 VA 1-434-916             2/23/2015                   8/2/2010               6/26/2020
  13842185 11 Leigh Fisher Blvd, El Paso, TX 79906             Linda Miner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/3/2010 VA 1-434-710             2/23/2015                   8/3/2010                8/8/2020
  13844375 9165-9295 NW 101st St, Miami, FL 33178              Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2010 VA 1-434-707             2/23/2015                   8/4/2010                7/5/2020
  13844377 9165-9295 NW 101st St, Miami, FL 33178              Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2010 VA 1-434-707             2/23/2015                   8/4/2010               6/18/2020
  13855896 2910-2920 E Avenue F, Arlington, TX 76011           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2010 VA 1-435-231             2/23/2015                   8/4/2010               6/24/2020
  13855901 2910-2920 E Avenue F, Arlington, TX 76011           Keith Howard                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2010 VA 1-435-231             2/23/2015                   8/4/2010                7/9/2020
  13863208 7801-7865 NW 46th St, Doral, FL 33166               Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/5/2010 VA 1-434-707             2/23/2015                   8/5/2010                7/6/2020
  13863211 7801-7865 NW 46th St, Doral, FL 33166               Mark White                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/5/2010 VA 1-434-707             2/23/2015                   8/5/2010                7/5/2020
  13911671 1507 Ritchie Hwy, Arnold, MD 21012                  Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2010 VA 1-434-711             2/23/2015                  8/11/2010               6/27/2020
  13911676 1517 Ritchie Hwy, Arnold, MD 21012                  Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2010 VA 1-434-711             2/23/2015                  8/11/2010               6/25/2020
  13911679 1507 Ritchie Hwy, Arnold, MD 21012                  Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2010 VA 1-434-711             2/23/2015                  8/11/2010               6/24/2020
  13911692 1517 Ritchie Hwy, Arnold, MD 21012                  Patrick O'Conor                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2010 VA 1-434-711             2/23/2015                  8/11/2010                7/7/2020
  13922906 1703 Civic Center Dr, North Las Vegas, NV 89030     Michael Collison                                                              CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/13/2010 VA 1-434-916             2/23/2015                  8/13/2010               6/29/2020




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   13950418 201 N Main St, Lancaster, SC 29720                             Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/17/2010 VA 1-435-277              2/23/2015                  8/17/2010              6/27/2020
   13950422 201 N Main St, Lancaster, SC 29720                             Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/17/2010 VA 1-435-277              2/23/2015                  8/17/2010              6/27/2020
   13950429 201 N Main St, Lancaster, SC 29720                             Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/17/2010 VA 1-435-277              2/23/2015                  8/17/2010               7/7/2020
   13963491 4550 3rd Ave SE, Lacey, WA 98503                               Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/18/2010 VA 1-434-899              2/23/2015                  8/18/2010              8/12/2020
   13979379 1963-1971 Whitney Mesa Dr, Henderson, NV 89014                 Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/19/2010 VA 1-434-916              2/23/2015                  8/19/2010               1/2/2021
   14006330 3345 Western Center Blvd, Fort Worth, TX 76137                 Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/18/2010 VA 1-435-231              2/23/2015                  8/18/2010              6/25/2020
   14012964 98 Corporate Park Dr, Henderson, NV 89074                      Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/24/2010 VA 1-434-916              2/23/2015                  8/24/2010              6/23/2020
   14040543 3400 NW 114th Ave, Miami, FL 33178                             Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      8/27/2010 VA 1-434-707              2/23/2015                  8/27/2010               7/7/2020
   14108826 1375 NW 89th Ct, Miami, FL 33172                               Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/2/2010 VA 1-434-707              2/23/2015                   9/2/2010              6/17/2020
   14108830 1375 NW 89th Ct, Miami, FL 33172                               Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/2/2010 VA 1-434-707              2/23/2015                   9/2/2010              6/21/2020
   14186858 11244 Pulaski Hwy, White Marsh, MD 21162                       Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/10/2010 VA 1-434-711              2/23/2015                  9/10/2010              6/27/2020
   14194847 4900 Jacksboro Hwy, Fort Worth, TX 76114                       Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/10/2010 VA 1-435-231              2/23/2015                  9/10/2010              10/9/2020
   14215715 4636-4640 SE 9th Pl, Cape Coral, FL 33904                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2010 VA 1-434-704              2/23/2015                  9/13/2010              6/27/2020
   14215716 4636-4640 SE 9th Pl, Cape Coral, FL 33904                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/13/2010 VA 1-434-704              2/23/2015                  9/13/2010              6/28/2020
   14215859 7920 Interstate Ct, North Fort Myers, FL 33917                 Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/3/2010 VA 1-434-704              2/23/2015                   9/3/2010              6/23/2020
   14215861 7920 Interstate Ct, North Fort Myers, FL 33917                 Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       9/3/2010 VA 1-434-704              2/23/2015                   9/3/2010               7/6/2020
   14259490 3005 Caring Way, Port Charlotte, FL 33952                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/16/2010 VA 1-434-704              2/23/2015                  9/16/2010               7/8/2020
   14313530 941 Tamiami Trl, Port Charlotte, FL 33953                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/21/2010 VA 1-434-704              2/23/2015                  9/21/2010              7/23/2020
   14370195 389 Commercial Ct, Venice, FL 34292                            Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      9/29/2010 VA 1-434-704              2/23/2015                  9/29/2010               7/6/2020

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  14387780 30414-30420 Woodward Ave, Royal Oak, MI 48073                   Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800        9/30/2010 VA 1-434-708             2/23/2015                  9/30/2010                1/2/2021
  14420209 4700-4726 Pulaski Hwy, Baltimore, MD 21224                      Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        10/5/2010 VA 1-434-711             2/23/2015                  10/5/2010               8/12/2020
  14430247 7505 N Davis Blvd, North Richland Hills, TX 76182               Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        10/6/2010 VA 1-435-231             2/23/2015                  10/6/2010               6/28/2020
   6346757 1543-1545 Champa St, Denver, CO 80202                           Steve Saxton                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500       11/18/2007 VA 1-429-413             1/18/2008                 11/18/2007               6/22/2020
  14442920 211 Business Park Blvd, Columbia, SC 29203                      Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        10/7/2010 VA 1-435-277             2/23/2015                  10/7/2010               9/18/2020
  14467422 6210-6222 Ringgold Rd, Chattanooga, TN 37412                    Jason Hensley                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/11/2010 VA 1-434-919             2/23/2015                 10/11/2010               8/12/2020
  14467456 6795 Speedway Blvd, Las Vegas, NV 89115                         Michael Collison                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/11/2010 VA 1-434-916             2/23/2015                 10/11/2010                2/6/2021
  14491295 2525 Harbor Blvd, Port Charlotte, FL 33952                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/13/2010 VA 1-434-704             2/23/2015                 10/13/2010               6/29/2020
  14491299 2525 Harbor Blvd, Port Charlotte, FL 33952                      Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/13/2010 VA 1-434-704             2/23/2015                 10/13/2010               6/29/2020
  14491475 1331-1341 W Fullerton Ave, Chicago, IL 60614                    Kimberly Atwood                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/13/2010 VA 1-435-229             2/23/2015                 10/13/2010               6/28/2020
  14499828 700 Union Station, Saint Louis, MO 63103                        James Hunstein                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/14/2010 VA 1-435-218             2/23/2015                 10/14/2010               6/26/2020
  14547577 1839 Georgia Ave, North Augusta, SC 29841                       Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/20/2010 VA 1-435-277             2/23/2015                 10/20/2010                7/1/2020
  14547581 1839 Georgia Ave, North Augusta, SC 29841                       Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/20/2010 VA 1-435-277             2/23/2015                 10/20/2010                7/7/2020
  14559596 22286 Vick St, Port Charlotte, FL 33980                         Michael Suter                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/21/2010 VA 1-434-704             2/23/2015                 10/21/2010               6/23/2020
  14561173 8826 Washington Blvd, Jessup, MD 20794                          Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300       10/21/2010 VA 1-434-711             2/23/2015                 10/21/2010               6/28/2020

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  14644217 39581-39641 Garfield Rd, Clinton Township, MI 48038             Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       11/1/2010 VA 1-434-708             2/23/2015                  11/1/2010               6/28/2020

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  14644268 39200 Garfield Rd, Clinton Township, MI 48038                   Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       11/1/2010 VA 1-434-708             2/23/2015                  11/1/2010              10/17/2020

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  14658484 817 Manufacturers Dr, Westland, MI 48186                        Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       11/2/2010 VA 1-434-708             2/23/2015                  11/2/2010               7/31/2020

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  14682631 1157 Manufacturers Dr, Westland, MI 48186                       Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       11/3/2010 VA 1-434-708             2/23/2015                  11/3/2010               8/12/2020
  14684626 5940 W Flamingo Rd, Las Vegas, NV 89103                         Michael Collison                                                               CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       11/3/2010 VA 1-434-916             2/23/2015                  11/3/2010               6/23/2020

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  14734270 51147-51225 Simone Industrial Dr, Shelby Township, MI 48316     Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      11/10/2010 VA 1-434-708             2/23/2015                 11/10/2010               8/11/2020
  14738174 2151 Warwick Way, Woodstock, MD 21163                           Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/10/2010 VA 1-434-711             2/23/2015                 11/10/2010               2/16/2021
  14746575 14978 Rankin Ave, Dunlap, TN 37327                              Jason Hensley                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/11/2010 VA 1-434-919             2/23/2015                 11/11/2010               6/28/2020
  14750853 1635 Mottman Rd SW, Olympia, WA 98512                           Melissa Greulich                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/12/2010 VA 1-434-899             2/23/2015                 11/12/2010               6/22/2020
  14770173 927 Rainier Ave S, Seattle, WA 98144                            Michael Profitt                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/15/2010 VA 1-434-911             2/23/2015                 11/15/2010               6/25/2020
  14808565 2201 Elmira St, Baltimore, MD 21230                             Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/17/2010 VA 1-434-711             2/23/2015                 11/17/2010                8/8/2020
  14808570 3704 S Hanover St, Baltimore, MD 21225                          Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/19/2010 VA 1-434-711             2/23/2015                 11/19/2010               6/29/2020
  14808576 3704 S Hanover St, Baltimore, MD 21225                          Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/19/2010 VA 1-434-711             2/23/2015                 11/19/2010                7/7/2020
  14811661 13207 Bradley Ave, Sylmar, CA 91342                             Krystle Coniglio                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/18/2010 VA 1-435-250             2/23/2015                 11/18/2010                8/9/2020
  14837790 875 NE 43rd Ave, Homestead, FL 33033                            Mark White                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/23/2010 VA 1-434-707             2/23/2015                 11/23/2010                7/3/2020
  14843471 13294 Ralston Ave, Sylmar, CA 91342                             Krystle Coniglio                                                               CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/24/2010 VA 1-435-250             2/23/2015                 11/24/2010                8/8/2020

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  14850499 17040 W 12 Mile Rd, Southfield, MI 48076                        Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800      11/24/2010 VA 1-434-708             2/23/2015                 11/24/2010               6/27/2020

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  14850504 17040 W 12 Mile Rd, Southfield, MI 48076                        Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800      11/24/2010 VA 1-434-708             2/23/2015                 11/24/2010               6/20/2020

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  14850513 17040 W 12 Mile Rd, Southfield, MI 48076                        Lisa Borkus                                                                    & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800      11/24/2010 VA 1-434-708             2/23/2015                 11/24/2010               6/28/2020
  14858282 1201-1211 W Diversey Pky, Chicago, IL 60614                     Kimberly Atwood                                                                CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300      11/29/2010 VA 1-435-229             2/23/2015                 11/29/2010                8/9/2020

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  14903325 28821-28871 Southfield Rd, Lathrup Village, MI 48076            Lisa Borkus                                                                    & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       12/4/2010 VA 1-434-708             2/23/2015                  12/4/2010               6/28/2020
  14923750 4130 S Bowen Rd, Arlington, TX 76016                            Keith Howard                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       12/6/2010 VA 1-435-231             2/23/2015                  12/6/2010               6/28/2020
  14983798 175 Jennifer Rd, Annapolis, MD 21401                            Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/15/2010 VA 1-434-711             2/23/2015                 12/15/2010                7/7/2020
  14983804 175 Jennifer Rd, Annapolis, MD 21401                            Patrick O'Conor                                                                CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/15/2010 VA 1-434-711             2/23/2015                 12/15/2010               6/22/2020
  14987659 104 Florence St, Aiken, SC 29801                                Jason Benns                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/15/2010 VA 1-435-277             2/23/2015                 12/15/2010               10/3/2020
  15014387 618-624 N 2nd St, Saint Louis, MO 63102                         James Hunstein                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/21/2010 VA 1-435-218             2/23/2015                 12/21/2010               7/31/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                          74
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                 Photographer            Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   15021769 1645 Liberty Rd, Eldersburg, MD 21784               Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     12/20/2010 VA 1-434-711              2/23/2015                 12/20/2010               2/16/2021
   15032158 12561 South McCall Rd, Port Charlotte, FL 33981     Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     12/23/2010 VA 1-434-704              2/23/2015                 12/23/2010               7/20/2020
   15032179 6572 Kevitt Blvd, Port Charlotte, FL 33981          Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300     12/23/2010 VA 1-434-704              2/23/2015                 12/23/2010               7/20/2020
   15077707 915 Haddon Ave, Camden, NJ 08103                    Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/3/2011 VA 1-435-523              2/23/2015                   1/3/2011                7/8/2020
   15077710 915 Haddon Ave, Camden, NJ 08103                    Valdur Kaselaan                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/3/2011 VA 1-435-523              2/23/2015                   1/3/2011                7/8/2020
   15108147 2056 Lake Harbin Rd, Morrow, GA 30260               Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2011 VA 1-434-783              2/23/2015                   1/7/2011               7/10/2020
   15108156 2056 Lake Harbin Rd, Morrow, GA 30260               Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       1/7/2011 VA 1-434-783              2/23/2015                   1/7/2011               6/25/2020
   15142765 435-439 N N St, Tulare, CA 93274                    Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/12/2011 VA 1-434-930              2/23/2015                  1/12/2011               6/19/2020
   15158470 1020 Green St SW, Conyers, GA 30012                 Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/14/2011 VA 1-434-783              2/23/2015                  1/14/2011               6/27/2020
   15195854 3124 Spaulding St, Omaha, NE 68111                  Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/19/2011 VA 1-435-241              2/23/2015                  1/19/2011               6/29/2020
   15201566 16850 Titan Dr, Houston, TX 77058                   Alexis Belk                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/14/2011 VA 1-434-781              2/23/2015                  1/14/2011               7/19/2020
   15201572 16850 Titan Dr, Houston, TX 77058                   Alexis Belk                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/14/2011 VA 1-434-781              2/23/2015                  1/14/2011               7/19/2020
   15203162 317 Edwardia Dr, Greensboro, NC 27409               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-434-771              2/23/2015                  1/21/2011               6/25/2020
   15203163 317 Edwardia Dr, Greensboro, NC 27409               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-434-771              2/23/2015                  1/21/2011               6/23/2020
   15221787 1155-1171 E Ash Ave, Fullerton, CA 92831            Bill Helm                                                                         CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/24/2011 VA 1-434-785              2/23/2015                  1/24/2011               6/26/2020
   15253410 1052-1060 Endeavor Ct, Nokomis, FL 34275            Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/28/2011 VA 1-434-345              2/23/2015                  1/28/2011              10/23/2020
   15290809 14683 Road 192 Rd, Porterville, CA 93257            Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/2/2011 VA 1-434-930              2/23/2015                   2/2/2011               6/20/2020
   15302738 350 Sevilla Ave, Coral Gables, FL 33134             Mark White                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/4/2011 VA 1-434-349              2/23/2015                   2/4/2011               6/29/2020
   15342186 17620-17648 SW 63rd Ave, Lake Oswego, OR 97035      Jeremy Polzel                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       2/9/2011 VA 1-434-946              2/23/2015                   2/9/2011               6/29/2020
   15358247 70 S Main St, Porterville, CA 93257                 Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/11/2011 VA 1-434-930              2/23/2015                  2/11/2011                7/7/2020
   15376698 1081 Iris Dr, Conyers, GA 30094                     Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/14/2011 VA 1-434-783              2/23/2015                  2/14/2011               6/27/2020
   15392503 1381-1451 S Hamilton Rd, Columbus, OH 43227         Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/15/2011 VA 1-434-777              2/23/2015                  2/15/2011               6/20/2020
   15394500 412 Tamiami Trl S, Venice, FL 34285                 Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/15/2011 VA 1-434-345              2/23/2015                  2/15/2011               7/10/2020
   15408803 5920 E Pima St, Tucson, AZ 85712                    Barb Hildenbrand                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/18/2011 VA 1-434-778              2/23/2015                  2/18/2011               8/11/2020
   15408821 5920 E Pima St, Tucson, AZ 85712                    Barb Hildenbrand                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/18/2011 VA 1-434-778              2/23/2015                  2/18/2011                8/9/2020
   15426539 2402-2412 E Houston St, San Antonio, TX 78202       Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/23/2011 VA 1-434-939              2/23/2015                  2/23/2011               6/18/2020
   15430300 12900 Queensbury Ln, Houston, TX 77079              Alexis Belk                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/22/2011 VA 1-434-781              2/23/2015                  2/22/2011               6/25/2020
   15441224 1350 Union Hill Rd, Alpharetta, GA 30004            Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/23/2011 VA 1-434-783              2/23/2015                  2/23/2011                7/6/2020
   15442362 11522 Old Katy Rd, Houston, TX 77043                Alexis Belk                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      2/24/2011 VA 1-434-781              2/23/2015                  2/24/2011               12/3/2020
   15494927 242-262 S Plumer Ave, Tucson, AZ 85719              Barb Hildenbrand                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/2/2011 VA 1-434-778              2/23/2015                   3/2/2011               7/14/2020
   15494937 242-262 S Plumer Ave, Tucson, AZ 85719              Barb Hildenbrand                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/2/2011 VA 1-434-778              2/23/2015                   3/2/2011               6/28/2020
   15528807 326 W Cypress St, San Antonio, TX 78212             Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       3/7/2011 VA 1-434-939              2/23/2015                   3/7/2011                7/7/2020
    6788092 1665 Grant St, Denver, CO 80203                     Steve Saxton                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      1/27/2008 VA 1-431-106              6/22/2009                  1/27/2008              11/18/2020
   15567631 2229 Highway 17, Little River, SC 29566             Nathan Alvey                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/11/2011 VA 1-435-527              2/23/2015                  3/11/2011               6/29/2020
   15602566 330 Grant Ave, Auburn, NY 13021                     Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/16/2011 VA 1-434-934              2/23/2015                  3/16/2011              11/14/2020
    6979787 111 Inverness Dr E, Englewood, CO 80112             Steve Saxton                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500      2/20/2008 VA 1-431-106              6/22/2009                  2/20/2008               6/20/2020
   15612007 1204 N Parrott Ave, Okeechobee, FL 34972            Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/17/2011 VA 1-434-345              2/23/2015                  3/17/2011               6/29/2020
   15612012 1204 N Parrott Ave, Okeechobee, FL 34972            Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/17/2011 VA 1-434-345              2/23/2015                  3/17/2011                7/8/2020
   15616112 4020 N Henry Blvd, Stockbridge, GA 30281            Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/18/2011 VA 1-434-783              2/23/2015                  3/18/2011               6/17/2020
   15616114 4020 N Henry Blvd, Stockbridge, GA 30281            Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/18/2011 VA 1-434-783              2/23/2015                  3/18/2011               6/20/2020
   15699739 11629 S 700 E, Draper, UT 84020                     Cynthia Woerner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-435-252              2/23/2015                  1/21/2011               6/26/2020
   15711063 12289 Stratford Dr, Clive, IA 50325                 Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/30/2011 VA 1-435-241              2/23/2015                  3/30/2011               6/27/2020
   15711071 12289 Stratford Dr, Clive, IA 50325                 Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      3/30/2011 VA 1-435-241              2/23/2015                  3/30/2011               6/26/2020
   15760340 1980 Railroad St, Statham, GA 30666                 Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       4/5/2011 VA 1-434-783              2/23/2015                   4/5/2011                4/2/2021
   15790520 3112-3208 Vestal Pky E, Vestal, NY 13850            Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/11/2011 VA 1-434-934              2/23/2015                  4/11/2011               7/31/2020
   15823774 1580 VFW Pky, Roxbury, MA 02132                     Shelly Bourbeau                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/14/2011 VA 1-435-520              2/23/2015                  4/14/2011               8/11/2020
    8558664 6841 S Yosemite St, Centennial, CO 80112            Steve Saxton                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       9/3/2008 VA 1-431-106              6/22/2009                   9/3/2008               6/30/2020
   18890649 4561 Sunrise Hwy, Bohemia, NY 11716                 Susan Celauro                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                     2023466500       6/4/2012 VA 1-918-699              12/7/2012                   6/4/2012               6/26/2020
   15871143 567 W Putnam Ave, Porterville, CA 93257             Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/21/2011 VA 1-434-930              2/23/2015                  4/21/2011               6/28/2020
   15871146 567 W Putnam Ave, Porterville, CA 93257             Enrique Meza                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/21/2011 VA 1-434-930              2/23/2015                  4/21/2011               6/29/2020
   15876251 3790 Holcomb Bridge Rd, Norcross, GA 30092          Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/20/2011 VA 1-434-783              2/23/2015                  4/20/2011               6/27/2020
   15895950 1309 Wellbrook Cir, Conyers, GA 30012               Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/26/2011 VA 1-434-783              2/23/2015                  4/26/2011                7/9/2020
   15913617 210 N Main St, Kernersville, NC 27284               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      4/27/2011 VA 1-434-771              2/23/2015                  4/27/2011               6/25/2020
   15955789 1910 S 72nd St, Omaha, NE 68124                     Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       5/5/2011 VA 1-435-241              2/23/2015                   5/5/2011               6/27/2020
   16002051 2506 Flat Shoals Rd SE, Conyers, GA 30013           Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      5/10/2011 VA 1-434-783              2/23/2015                  5/10/2011               7/18/2020
   16002059 2506 Flat Shoals Rd SE, Conyers, GA 30013           Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      5/10/2011 VA 1-434-783              2/23/2015                  5/10/2011               7/18/2020

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  16006269 38700 Van Dyke Ave, Sterling Heights, MI 48312       Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       5/10/2011 VA 1-434-350             2/23/2015                  5/10/2011                7/5/2020
  16049160 220 N 89th St, Omaha, NE 68114                       Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/19/2011 VA 1-435-241             2/23/2015                  5/19/2011               5/13/2020
  16054318 265 Keystone Ave, Reno, NV 89503                     Steven Cranston                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/20/2011 VA 1-434-700             2/23/2015                  5/20/2011                7/5/2020
  16054326 265 Keystone Ave, Reno, NV 89503                     Steven Cranston                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/20/2011 VA 1-434-700             2/23/2015                  5/20/2011               6/22/2020
  16054350 2999 Waltham Way, Sparks, NV 89434                   Steven Cranston                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2011 VA 1-434-700             2/23/2015                  5/18/2011               6/27/2020
  16054356 2999 Waltham Way, Sparks, NV 89434                   Steven Cranston                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/18/2011 VA 1-434-700             2/23/2015                  5/18/2011               6/27/2020
  16083978 1485 Landmeier Rd, Elk Grove Village, IL 60007       Kimberly Atwood                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/24/2011 VA 1-434-341             2/23/2015                  5/24/2011               8/12/2020
  16083986 835-865 Bonnie Ln, Elk Grove Village, IL 60007       Kimberly Atwood                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/24/2011 VA 1-434-341             2/23/2015                  5/24/2011               6/24/2020
  16092139 281 Beinoris Dr, Wood Dale, IL 60191                 Kimberly Atwood                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       5/25/2011 VA 1-434-341             2/23/2015                  5/25/2011               7/10/2020
  16165611 15160 Prater Dr, Covington, GA 30014                 Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        6/6/2011 VA 1-434-783             2/23/2015                   6/6/2011               8/10/2020
  16203717 7505 Glenview Dr, Richland Hills, TX 76180           Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/10/2011 VA 1-434-702             2/23/2015                  6/10/2011                7/6/2020
  16298694 9910 Huebner Rd, San Antonio, TX 78240               Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/23/2011 VA 1-434-939             2/23/2015                  6/23/2011               6/28/2020

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  16317328 31695 Stephenson Hwy, Madison Heights, MI 48071      Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       6/27/2011 VA 1-434-350             2/23/2015                  6/27/2011                8/8/2020
  16333600 1259-1263 S 120th St, Omaha, NE 68144                Chris Petersen                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       6/29/2011 VA 1-435-241             2/23/2015                  6/29/2011               6/28/2020
  16392836 29291 Tribune Blvd, Punta Gorda, FL 33955            Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2011 VA 1-434-345             2/23/2015                  7/11/2011               7/20/2020
  16392844 29291 Tribune Blvd, Punta Gorda, FL 33955            Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/11/2011 VA 1-434-345             2/23/2015                  7/11/2011               7/20/2020
  16400932 105 8th Ave SE, Olympia, WA 98501                    Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/17/2010 VA 1-434-899             2/23/2015                 11/17/2010                8/7/2020
  16408678 22820-22950 Sussex Hwy, Seaford, DE 19973            Simon Berg                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/15/2011 VA 1-435-521             2/23/2015                  7/15/2011               6/24/2020
  16432211 146 S Main St, Milford, MA 01757                     Donna Coakley-McGowan                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2011 VA 1-434-924             2/23/2015                  7/19/2011                7/5/2020
  16432212 146 S Main St, Milford, MA 01757                     Donna Coakley-McGowan                                                             CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/19/2011 VA 1-434-924             2/23/2015                  7/19/2011               6/26/2020




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   16454773 6005 Rufe Snow Dr, Fort Worth, TX 76148               Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/21/2011 VA 1-434-702              2/23/2015                  7/21/2011              6/29/2020
   16454777 6005 Rufe Snow Dr, Fort Worth, TX 76148               Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/21/2011 VA 1-434-702              2/23/2015                  7/21/2011              6/28/2020
   16465690 701 Eden Ter, High Point, NC 27263                    Andrea Erickson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/25/2011 VA 1-434-771              2/23/2015                  7/25/2011              7/10/2020
   16500421 72 Loring Ave, Salem, MA 01970                        Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/27/2011 VA 1-434-924              2/23/2015                  7/27/2011              6/25/2020
   16500902 200-214 Village Center Pky, Stockbridge, GA 30281     Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/22/2011 VA 1-434-783              2/23/2015                  7/22/2011              6/29/2020

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  16504108 2011 Livernois Rd, Troy, MI 48083                      Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       7/29/2011 VA 1-434-350             2/23/2015                  7/29/2011               6/17/2020

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  16504116 2065 Livernois Rd, Troy, MI 48083                      Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       7/29/2011 VA 1-434-350             2/23/2015                  7/29/2011               6/27/2020
  16525183 4773 Caughlin Pky, Reno, NV 89519                      Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2011 VA 1-434-700             2/23/2015                   8/1/2011               6/22/2020
  16559196 2913-3009 NE 72nd Dr, Vancouver, WA 98661              Jeremy Polzel                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/4/2011 VA 1-434-946             2/23/2015                   8/4/2011               6/27/2020
  16606396 6301 N Beach St, Fort Worth, TX 76137                  Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/11/2011 VA 1-434-702             2/23/2015                  8/11/2011               6/28/2020
  16623387 155 S Elm St, Avoca, IA 51521                          Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/26/2011 VA 1-435-241             2/23/2015                  7/26/2011               6/21/2020
  16632234 2210-2246 S 156th Cir, Omaha, NE 68130                 Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2011 VA 1-435-241             2/23/2015                   8/1/2011               8/11/2020
  16632245 2210-2246 S 156th Cir, Omaha, NE 68130                 Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        8/1/2011 VA 1-435-241             2/23/2015                   8/1/2011                8/9/2020
  16657412 4440 Basswood Blvd, Fort Worth, TX 76137               Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/15/2011 VA 1-434-702             2/23/2015                  8/15/2011               7/10/2020
  16657803 1926 Ga-155, Mcdonough, GA 30252                       Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/18/2011 VA 1-434-783             2/23/2015                  8/18/2011                7/5/2020
  16657804 1926 Ga-155, Mcdonough, GA 30252                       Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/18/2011 VA 1-434-783             2/23/2015                  8/18/2011                7/6/2020
  16659988 1346 Blue Oaks Blvd, Roseville, CA 95678               Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/17/2011 VA 1-434-700             2/23/2015                  8/17/2011                8/7/2020
  16659996 1346 Blue Oaks Blvd, Roseville, CA 95678               Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/17/2011 VA 1-434-700             2/23/2015                  8/17/2011               8/11/2020
  16660002 7237 E Southgate Dr, Sacramento, CA 95823              Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/15/2011 VA 1-434-700             2/23/2015                  8/15/2011                7/6/2020
  16668400 2801 E Market St, York, PA 17402                       Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/19/2011 VA 1-435-521             2/23/2015                  8/19/2011                7/7/2020
  16701758 3950 Fossil Creek Blvd, Fort Worth, TX 76137           Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/24/2011 VA 1-434-702             2/23/2015                  8/24/2011               1/27/2021
  16702529 5621 2nd St W, Lehigh Acres, FL 33971                  Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/24/2011 VA 1-434-345             2/23/2015                  8/24/2011               6/20/2020
  16702535 5621 2nd St W, Lehigh Acres, FL 33971                  Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/24/2011 VA 1-434-345             2/23/2015                  8/24/2011               6/28/2020
  16710262 1218 W Bitters Rd, San Antonio, TX 78216               Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/25/2011 VA 1-434-939             2/23/2015                  8/25/2011               6/24/2020
  16713879 3919-3941 Park Dr, El Dorado Hills, CA 95762           Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/24/2011 VA 1-434-700             2/23/2015                  8/24/2011               6/27/2020
  16719779 715 E Avenue L-8, Lancaster, CA 93535                  Danny Tran                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/22/2011 VA 1-434-937             2/23/2015                  8/22/2011                7/8/2020
  16734415 41 Columbia, Aliso Viejo, CA 92656                     Chris Fennessey                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/29/2011 VA 1-435-213             2/23/2015                  8/29/2011               4/23/2021

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  16736564 13407 Farmington Rd, Livonia, MI 48150                 Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       8/29/2011 VA 1-434-350             2/23/2015                  8/29/2011               6/24/2020

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  16757536 12730 Stark Rd, Livonia, MI 48150                      Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       8/31/2011 VA 1-434-350             2/23/2015                  8/31/2011               7/10/2020
  16766607 3150-3210 Doolittle Dr, Northbrook, IL 60062           Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/1/2011 VA 1-434-341             2/23/2015                   9/1/2011               6/25/2020
  16768044 4015 Technology Dr, Angleton, TX 77515                 Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/1/2011 VA 1-434-781             2/23/2015                   9/1/2011               6/29/2020
  16770179 28022 La Paz Rd, Laguna Niguel, CA 92677               Chris Fennessey                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-435-213             2/23/2015                  8/30/2011               7/12/2020
  16770182 28022 La Paz Rd, Laguna Niguel, CA 92677               Chris Fennessey                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-435-213             2/23/2015                  8/30/2011               7/10/2020
  16801814 125 Bear Creek Pky, Keller, TX 76248                   Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/7/2011 VA 1-434-702             2/23/2015                   9/7/2011               12/8/2020
  16816523 2502 S 130th Ave, Omaha, NE 68144                      Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/9/2011 VA 1-435-241             2/23/2015                   9/9/2011                7/9/2020
  16816533 2502 S 130th Ave, Omaha, NE 68144                      Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/9/2011 VA 1-435-241             2/23/2015                   9/9/2011                7/9/2020
  16816656 4515 S Pinemont Dr, Houston, TX 77041                  Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/9/2011 VA 1-434-781             2/23/2015                   9/9/2011                8/7/2020
  16832438 2031-2035 Union St, San Francisco, CA 94123            Benjamin Garcia                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/6/2011 VA 1-434-775             2/23/2015                   9/6/2011               6/23/2020
  16863739 9300-9350 Baythorne Dr, Houston, TX 77041              Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2011 VA 1-434-781             2/23/2015                  9/14/2011                7/8/2020
  16863742 9300-9350 Baythorne Dr, Houston, TX 77041              Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2011 VA 1-434-781             2/23/2015                  9/14/2011               6/21/2020
  16880078 14855 Blanco Rd, San Antonio, TX 78216                 Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/19/2011 VA 1-434-939             2/23/2015                  9/19/2011               6/18/2020
  16883745 2414 16th St, Sacramento, CA 95818                     Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/19/2011 VA 1-434-700             2/23/2015                  9/19/2011                7/5/2020
  16893280 4365 Lake Michigan Dr NW, Grand Rapids, MI 49534       Tiffany Compton                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/20/2011 VA 1-434-698             2/23/2015                  9/20/2011               6/18/2020

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  16904354 13740-13780 Merriman Rd, Livonia, MI 48150             Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       9/21/2011 VA 1-434-350             2/23/2015                  9/21/2011               7/10/2020
  16917897 2621 NE 134th St, Vancouver, WA 98686                  Jeremy Polzel                                                                   CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       9/23/2011 VA 1-434-946             2/23/2015                  9/23/2011                7/7/2020
  16919235 836 57th St, Sacramento, CA 95819                      Steven Cranston                                                                 CoStar Group*              1331 L St NW, Washington, DC 20005                      3012158300       9/23/2011 VA 1-434-700             2/23/2015                  9/23/2011               6/21/2020

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  16920921 27611 Schoolcraft Rd, Livonia, MI 48150                Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800       9/24/2011 VA 1-434-350             2/23/2015                  9/24/2011               6/26/2020

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  16920925 27611 Schoolcraft Rd, Livonia, MI 48150                Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       9/24/2011 VA 1-434-350             2/23/2015                  9/24/2011                7/8/2020
  16940810 101 S La Canada Dr, Green Valley, AZ 85614             Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/26/2011 VA 1-434-926             2/23/2015                  9/26/2011               6/24/2020
  16952952 4060 N DuPont Hwy, New Castle, DE 19720                Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/27/2011 VA 1-435-521             2/23/2015                  9/27/2011               2/16/2021
  16963356 4489 Highway 20 SE, Conyers, GA 30013                  Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/28/2011 VA 1-434-783             2/23/2015                  9/28/2011               6/20/2020
  16963360 4489 Highway 20 SE, Conyers, GA 30013                  Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/28/2011 VA 1-434-783             2/23/2015                  9/28/2011               6/25/2020

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  16976030 10531 Farmington Rd, Livonia, MI 48150                 Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       9/29/2011 VA 1-434-350             2/23/2015                  9/29/2011               6/27/2020
  16981644 1467 S Michigan Ave, Chicago, IL 60605                 Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/30/2011 VA 1-434-341             2/23/2015                  9/30/2011                8/9/2020
  16981645 1467 S Michigan Ave, Chicago, IL 60605                 Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/30/2011 VA 1-434-341             2/23/2015                  9/30/2011               8/11/2020
  17045255 2206 SE Washington St, Portland, OR 97222              Jeremy Polzel                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/6/2011 VA 1-434-946             2/23/2015                  10/6/2011               6/29/2020

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  17113632 31707 Plymouth Rd, Livonia, MI 48150                   Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      10/14/2011 VA 1-434-350             2/23/2015                 10/14/2011               6/27/2020
  17147541 12 McCullough Dr, New Castle, DE 19720                 Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/17/2011 VA 1-435-521             2/23/2015                 10/17/2011               6/25/2020
  17147565 12 McCullough Dr, New Castle, DE 19720                 Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/17/2011 VA 1-435-521             2/23/2015                 10/17/2011               6/24/2020
  17147617 77 McCullough Dr, New Castle, DE 19720                 Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/17/2011 VA 1-435-521             2/23/2015                 10/17/2011               6/27/2020
  17173777 9961 Horn Rd, Sacramento, CA 95827                     Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/19/2011 VA 1-434-700             2/23/2015                 10/19/2011               6/29/2020




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  17200773 30471 Plymouth Rd, Livonia, MI 48150                         Lisa Borkus                                                                     & Fabrication              29600 Wk Smith Dr, New Hudson, MI 48165                 2484469800     10/21/2011 VA 1-434-350             2/23/2015                10/21/2011              6/26/2020

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  17200781 30471 Plymouth Rd, Livonia, MI 48150                         Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800     10/21/2011 VA 1-434-350             2/23/2015                10/21/2011              6/16/2020
  17216689 1223-1227 Carthage St, Sanford, NC 27330                     Nathan Alvey                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/25/2011 VA 1-435-527             2/23/2015                10/25/2011              7/20/2020
  17216928 1827-1831 S Michigan Ave, Chicago, IL 60616                  Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/21/2011 VA 1-434-341             2/23/2015                10/21/2011              8/11/2020
  17219149 4500 E Speedway Blvd, Tucson, AZ 85712                       Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/12/2011 VA 1-434-926             2/23/2015                10/12/2011              6/27/2020
  17225810 3005 Caring Way, Port Charlotte, FL 33952                    Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/26/2011 VA 1-434-345             2/23/2015                10/26/2011               7/8/2020
  17225836 1544 Tara Rd, Jonesboro, GA 30238                            Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/22/2011 VA 1-434-783             2/23/2015                 6/22/2011              6/26/2020
  17226208 8000-8110 S 84th St, La Vista, NE 68128                      Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/26/2011 VA 1-435-241             2/23/2015                10/26/2011               7/6/2020
  17226211 8004 S 84th St, La Vista, NE 68128                           Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/26/2011 VA 1-435-241             2/23/2015                10/26/2011              8/12/2020
  17226220 8120 S 84th St, La Vista, NE 68128                           Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/26/2011 VA 1-435-241             2/23/2015                10/26/2011               8/8/2020
  17235844 440-460 Copper Dr, Wilmington, DE 19804                      Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/28/2011 VA 1-435-521             2/23/2015                10/28/2011              6/29/2020
  17235861 440-460 Copper Dr, Wilmington, DE 19804                      Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/28/2011 VA 1-435-521             2/23/2015                10/28/2011              6/20/2020
  17268149 8102 S 84th St, La Vista, NE 68128                           Chris Petersen                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     10/26/2011 VA 1-435-241             2/23/2015                10/26/2011              8/12/2020
  18890654 4561 Sunrise Hwy, Bohemia, NY 11716                          Susan Celauro                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500       6/4/2012 VA 1-918-699             12/7/2012                  6/4/2012               7/5/2020
  17289945 1119 E Douglas Ave, Visalia, CA 93292                        Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/1/2011 VA 1-434-930             2/23/2015                 11/1/2011              6/24/2020
  17295639 1033 North Villa Ave, Addison, IL 60101                      Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500      11/4/2011 VA 1-434-355             2/23/2015                 11/4/2011               7/6/2020
  17295871 222 Turnpike Rd, Westborough, MA 01581                       Shelly Bourbeau                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/5/2011 VA 1-435-520             2/23/2015                 11/5/2011              6/29/2020
  17295873 222 Turnpike Rd, Westborough, MA 01581                       Shelly Bourbeau                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/5/2011 VA 1-435-520             2/23/2015                 11/5/2011              6/17/2020
  17337768 5353 Fairington Rd, Lithonia, GA 30038                       Bonnie Heath                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      11/9/2011 VA 1-434-783             2/23/2015                 11/9/2011              6/27/2020
  17347100 145 N N St, Tulare, CA 93274                                 Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/10/2011 VA 1-434-930             2/23/2015                11/10/2011             10/22/2020
  17348966 190 Easy St, Carol Stream, IL 60188                          Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500     11/10/2011 VA 1-434-355             2/23/2015                11/10/2011              6/23/2020
  17351964 5697 S Alvernon Way, Tucson, AZ 85706                        Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/11/2011 VA 1-434-926             2/23/2015                11/11/2011               7/5/2020

                                                                                                                                                        Pratt & Miller Engineering
  17392328 700 E Big Beaver Rd, Troy, MI 48083                          Lisa Borkus                                                                     & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      11/7/2011 VA 1-434-350             2/23/2015                 11/7/2011              6/24/2020
  17393298 3776-3788 Cartwright Rd, Missouri City, TX 77459             Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/16/2011 VA 1-434-781             2/23/2015                11/16/2011              7/10/2020
  17468888 9153-9155 Wallisville Rd, Houston, TX 77029                  Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/28/2011 VA 1-434-781             2/23/2015                11/28/2011              6/26/2020
  17492505 360 Crown Point Cir, Grass Valley, CA 95945                  Steven Cranston                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/30/2011 VA 1-434-700             2/23/2015                11/30/2011              6/27/2020
  17502969 1703 Country Club Rd, Jacksonville, NC 28546                 Nathan Alvey                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/1/2011 VA 1-435-527             2/23/2015                 12/1/2011              6/28/2020
  17503394 8341 Westminster Blvd, Westminster, CA 92683                 Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/29/2011 VA 1-434-785             2/23/2015                11/29/2011              7/14/2020
  17503418 8341 Westminster Blvd, Westminster, CA 92683                 Bill Helm                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     11/29/2011 VA 1-434-785             2/23/2015                11/29/2011              7/14/2020
  17504206 2218 S Michigan Ave, Chicago, IL 60616                       Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/1/2011 VA 1-434-341             2/23/2015                 12/1/2011              6/28/2020
  17505195 629 Howard Dr, Deer Park, TX 77536                           Alexis Belk                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/2/2011 VA 1-434-781             2/23/2015                 12/2/2011               7/7/2020
  17519155 4701 Taylor Rd, Punta Gorda, FL 33950                        Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/5/2011 VA 1-434-345             2/23/2015                 12/5/2011              6/20/2020
  17528856 1502-1526 Kern St, Fresno, CA 93706                          Enrique Meza                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/5/2011 VA 1-434-930             2/23/2015                 12/5/2011             10/22/2020
  17546070 1635 N Arlington Heights Rd, Arlington Heights, IL 60004     Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/8/2011 VA 1-434-341             2/23/2015                 12/8/2011               7/7/2020
  17551985 3409-3487 Kirchoff Rd, Rolling Meadows, IL 60008             Kimberly Atwood                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      12/8/2011 VA 1-434-341             2/23/2015                 12/8/2011              6/27/2020
  17605123 314 S Chimney Rock Rd, Greensboro, NC 27409                  Andrea Erickson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/19/2011 VA 1-434-771             2/23/2015                12/19/2011              6/24/2020
  17605130 314 S Chimney Rock Rd, Greensboro, NC 27409                  Andrea Erickson                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/19/2011 VA 1-434-771             2/23/2015                12/19/2011               7/6/2020
  17613746 6977 Nexus Ct, Fayetteville, NC 28304                        Nathan Alvey                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/20/2011 VA 1-435-527             2/23/2015                12/20/2011              8/12/2020
  17632010 1281 W Baltimore Pike, Media, PA 19063                       Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/22/2011 VA 1-435-521             2/23/2015                12/22/2011              7/10/2020
  17632017 1281 W Baltimore Pike, Media, PA 19063                       Simon Berg                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/22/2011 VA 1-435-521             2/23/2015                12/22/2011              6/27/2020
  17661800 3172 N Swan Rd, Tucson, AZ 85712                             Carrie Williams                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300     12/29/2011 VA 1-434-926             2/23/2015                12/29/2011              6/22/2020
  17661867 20W267 101st St, Lemont, IL 60439                            Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500     12/29/2011 VA 1-434-355             2/23/2015                12/29/2011              6/26/2020
  17661901 1533 Davey Rd, Woodridge, IL 60517                           Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500     12/29/2011 VA 1-434-355             2/23/2015                12/29/2011              6/20/2020
  17661924 11S220 Jackson St, Burr Ridge, IL 60527                      Katie Larsen                                                                    JLL                          1225 17th St, Denver, CO 80202                        3032606500     12/29/2011 VA 1-434-355             2/23/2015                12/29/2011              7/31/2020
  24407123 2725-2737 Tillar St, Fort Worth, TX 76107                    Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      1/13/2014 VA 1-434-813             2/23/2015                 1/13/2014              7/10/2020
  24438298 5245 Ramsey Way, Fort Myers, FL 33907                        Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      1/16/2014 VA 1-434-887             2/23/2015                 1/16/2014              8/12/2020
  24439457 43 Manning Rd, Billerica, MA 01821                           Donna Coakley-McGowan                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      1/16/2014 VA 1-434-815             2/23/2015                 1/16/2014              6/25/2020
  24447585 2125 1st St, Fort Myers, FL 33901                            Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      1/17/2014 VA 1-434-887             2/23/2015                 1/17/2014              11/8/2020
  24588576 1119 S Acme Rd, San Antonio, TX 78237                        Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/5/2014 VA 1-435-123             2/23/2015                  2/5/2014              6/29/2020
  24589611 4455 Camp Bowie Blvd, Fort Worth, TX 76107                   Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       2/5/2014 VA 1-434-813             2/23/2015                  2/5/2014              6/29/2020
  24658850 6890 NW Loop 410 Fwy, San Antonio, TX 78238                  Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/11/2014 VA 1-435-123             2/23/2015                 2/11/2014              5/17/2020
  24658854 6890 NW Loop 410 Fwy, San Antonio, TX 78238                  Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/11/2014 VA 1-435-123             2/23/2015                 2/11/2014              5/16/2020
  24658860 6890 NW Loop 410 Fwy, San Antonio, TX 78238                  Cindy Kelleher                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/11/2014 VA 1-435-123             2/23/2015                 2/11/2014              5/16/2020
  24724169 4400 S Cleveland Ave, Fort Myers, FL 33901                   Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/21/2014 VA 1-434-887             2/23/2015                 2/21/2014              7/20/2020
  24725934 3 Whatney, Irvine, CA 92618                                  Brenton Sablan                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/20/2014 VA 1-435-142             2/23/2015                 2/20/2014              4/23/2021
  24809066 4550 Tilton Ct, Fort Myers, FL 33907                         Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/27/2014 VA 1-434-887             2/23/2015                 2/27/2014               8/8/2020
  24830096 22471 Aspan St, Lake Forest, CA 92630                        Brenton Sablan                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      2/25/2014 VA 1-435-142             2/23/2015                 2/25/2014              6/29/2020
  24845612 21092 Bake Pky, Lake Forest, CA 92630                        Brenton Sablan                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       3/6/2014 VA 1-435-142             2/23/2015                  3/6/2014              6/28/2020
  24895323 1000 W Irving Park Rd, Itasca, IL 60143                      Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/10/2014 VA 1-435-141             2/23/2015                 3/10/2014              6/25/2020
  24908305 2004 Mcgaw Ave, Irvine, CA 92614                             Nara Cox                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/14/2014 VA 1-434-876             2/23/2015                 3/14/2014               2/6/2021
  24965612 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014               7/6/2020
  24965619 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014              6/28/2020
  24965622 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014               7/9/2020
  24965626 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014               7/9/2020
  24965629 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014              6/26/2020
  24965632 840 N Addison Ave, Elmhurst, IL 60126                        Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/18/2014 VA 1-435-141             2/23/2015                 3/18/2014              6/29/2020
  25005958 4410 Menaul Blvd NE, Albuquerque, NM 87110                   Scott Kerr                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/25/2014 VA 1-434-837             2/23/2015                 3/25/2014               8/9/2020
  25027957 4805 S Cleveland Ave, Fort Myers, FL 33907                   Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/27/2014 VA 1-434-887             2/23/2015                 3/27/2014              7/21/2020
  25027958 4805 S Cleveland Ave, Fort Myers, FL 33907                   Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/27/2014 VA 1-434-887             2/23/2015                 3/27/2014              7/21/2020
  25027962 4805 S Cleveland Ave, Fort Myers, FL 33907                   Michael Suter                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/27/2014 VA 1-434-887             2/23/2015                 3/27/2014              7/21/2020
  25054281 1000 S Sylvania Ave, Fort Worth, TX 76111                    Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/31/2014 VA 1-434-813             2/23/2015                 3/31/2014               8/8/2020
  25054284 1000 S Sylvania Ave, Fort Worth, TX 76111                    Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/31/2014 VA 1-434-813             2/23/2015                 3/31/2014               8/9/2020
  25054286 1000 S Sylvania Ave, Fort Worth, TX 76111                    Keith Howard                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/31/2014 VA 1-434-813             2/23/2015                 3/31/2014               8/8/2020
  25058811 205 W Grand Ave, Bensenville, IL 60106                       Benjamin Jones                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      3/31/2014 VA 1-435-141             2/23/2015                 3/31/2014               7/3/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                        77
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                      Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   15130908 725 Reservoir Ave, Cranston, RI 02910                 Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/11/2011 VA 1-437-112               3/9/2015                  1/11/2011                8/9/2020
   15238304 1604 Broad St, Cranston, RI 02905                     Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/26/2011 VA 1-437-112               3/9/2015                  1/26/2011               7/26/2020
   15426515 540-566 Kingstown Rd, South Kingstown, RI 02879       Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/22/2011 VA 1-437-112               3/9/2015                  2/22/2011               6/27/2020
   15748356 55 Lambert Lind Hwy, Warwick, RI 02886                Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/28/2011 VA 1-437-112               3/9/2015                  3/28/2011               11/8/2020
   16234527 49 State Rd, Dartmouth, MA 02747                      Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/16/2011 VA 1-437-112               3/9/2015                  6/16/2011               6/19/2020
   16331615 1215 Reservoir Ave, Cranston, RI 02920                Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/29/2011 VA 1-437-112               3/9/2015                  6/29/2011               3/30/2021
   16443689 65 Taunton Depot Dr, Taunton, MA 02780                Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/21/2011 VA 1-437-112               3/9/2015                  7/21/2011                7/9/2020
   16496611 20 Pilgrim Way, Plymouth, MA 02360                    Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/25/2011 VA 1-437-112               3/9/2015                  7/25/2011               6/19/2020
   16710229 120 Amaral St, East Providence, RI 02915              Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/25/2011 VA 1-437-112               3/9/2015                  8/25/2011                7/9/2020
   16754980 1530 Davisville Rd, North Kingstown, RI 02852         Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/31/2011 VA 1-437-112               3/9/2015                  8/31/2011                7/7/2020
   16754986 1530 Davisville Rd, North Kingstown, RI 02852         Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/31/2011 VA 1-437-112               3/9/2015                  8/31/2011                7/9/2020
   16754989 1530 Davisville Rd, North Kingstown, RI 02852         Jonathan Coon                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/31/2011 VA 1-437-112               3/9/2015                  8/31/2011                7/5/2020
   16141462 4342 Peck Rd, El Monte, CA 91732                      John Ehart                                                                       CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/2/2011 VA 1-435-221               3/9/2015                   6/2/2011               6/27/2020
   16141467 4342 Peck Rd, El Monte, CA 91732                      John Ehart                                                                       CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/2/2011 VA 1-435-221               3/9/2015                   6/2/2011               6/28/2020
   16174711 223 N 1st, Arcadia, CA 91006                          John Ehart                                                                       CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/7/2011 VA 1-435-221               3/9/2015                   6/7/2011               6/19/2020
   16276083 125 W Huntington Dr, Arcadia, CA 91007                John Ehart                                                                       CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/17/2011 VA 1-435-221               3/9/2015                  6/17/2011                7/1/2020
   16100993 9586 Distribution Ave, San Diego, CA 92121            Joerg Boetel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/26/2011 VA 1-435-214               3/9/2015                  5/26/2011               8/11/2020
   16654459 5565 Grossmont Center Dr, La Mesa, CA 91942           Joerg Boetel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/18/2011 VA 1-435-214               3/9/2015                  8/18/2011               6/20/2020
   16980280 751 Rancheros Dr, San Marcos, CA 92069                Joerg Boetel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/30/2011 VA 1-435-214               3/9/2015                  9/30/2011               6/25/2020
   17156915 2675 Vista Pacific Dr, Oceanside, CA 92056            Joerg Boetel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/19/2011 VA 1-435-214               3/9/2015                 10/19/2011              11/21/2020
   17312605 2588 Progress St, Vista, CA 92081                     Joerg Boetel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/7/2011 VA 1-435-214               3/9/2015                  11/7/2011                8/9/2020
   15696678 16099 Brookpark Rd, Brook Park, OH 44142              Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2011 VA 1-435-222               3/9/2015                  3/29/2011               6/27/2020
   16086179 17747 Chillicothe Rd, Chagrin Falls, OH 44023         Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/23/2011 VA 1-435-222               3/9/2015                  5/23/2011                7/9/2020
   16476855 15596 W High St, Middlefield, OH 44062                Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/26/2011 VA 1-435-222               3/9/2015                  7/26/2011               6/21/2020
   16916904 31395-31399 Lorain Rd, North Olmsted, OH 44070        Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/23/2011 VA 1-435-222               3/9/2015                  9/23/2011               2/12/2021
   17225030 6555 Wilson Mills Rd, Mayfield Village, OH 44143      Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/26/2011 VA 1-435-222               3/9/2015                 10/26/2011              11/21/2020
   17266237 15335 Waterloo Rd, Cleveland, OH 44110                Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2011 VA 1-435-222               3/9/2015                  11/1/2011               7/12/2021
   17592301 13230-13232 Cedar Rd, Cleveland Heights, OH 44118     Linda Cook                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/16/2011 VA 1-435-222               3/9/2015                 12/16/2011               6/27/2020
   15141652 6400 Grovedale Dr, Franconia, VA 22310                Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/12/2011 VA 1-435-216               3/9/2015                  1/12/2011                7/7/2020
   15141660 6400 Grovedale Dr, Franconia, VA 22310                Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/12/2011 VA 1-435-216               3/9/2015                  1/12/2011               6/27/2020
   15391997 9110 Railroad Dr, Manassas Park, VA 20111             Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/16/2011 VA 1-435-216               3/9/2015                  2/16/2011              11/14/2020
   15530144 9806-9840 Liberia Ave, Manassas, VA 20110             Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/7/2011 VA 1-435-216               3/9/2015                   3/7/2011                7/7/2020
   15562313 1120 International Pky, Fredericksburg, VA 22406      Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/10/2011 VA 1-435-216               3/9/2015                  3/10/2011               6/28/2020
   15562358 319-325 Wallace St, Fredericksburg, VA 22401          Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/7/2011 VA 1-435-216               3/9/2015                   3/7/2011               6/19/2020
   15959797 2080 Old Bridge Rd, Woodbridge, VA 22192              Pia Miai                                                                         CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/6/2011 VA 1-435-216               3/9/2015                   5/6/2011                7/5/2020
   15102067 4315-4321 Edgewater Dr, Orlando, FL 32804             Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2011 VA 1-435-220               3/9/2015                   1/6/2011               6/27/2020
   15102071 4315-4321 Edgewater Dr, Orlando, FL 32804             Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2011 VA 1-435-220               3/9/2015                   1/6/2011                7/7/2020
   15102141 4353 Edgewater Dr, Orlando, FL 32804                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2011 VA 1-435-220               3/9/2015                   1/6/2011                7/5/2021
   15142554 617 N Magnolia Ave, Orlando, FL 32801                 Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/12/2011 VA 1-435-220               3/9/2015                  1/12/2011               6/22/2020
   15142565 617 N Magnolia Ave, Orlando, FL 32801                 Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/12/2011 VA 1-435-220               3/9/2015                  1/12/2011               6/20/2020
   15205079 60 N Court Ave, Orlando, FL 32801                     Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-435-220               3/9/2015                  1/21/2011               6/27/2020
   15664462 1922-1926 S Babcock St, Melbourne, FL 32901           Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/24/2011 VA 1-435-220               3/9/2015                  3/24/2011               6/24/2020
   15983097 7006 Stapoint Ct, Winter Park, FL 32792               Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/10/2011 VA 1-435-220               3/9/2015                  5/10/2011               6/29/2020
   16205764 250 N Alafaya Trl, Orlando, FL 32828                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/9/2011 VA 1-435-220               3/9/2015                   6/9/2011               6/27/2020
   16235215 2842 S Alafaya Trl, Orlando, FL 32828                 Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/16/2011 VA 1-435-220               3/9/2015                  6/16/2011               6/29/2020
   16235223 3662 Avalon Park Blvd, Orlando, FL 32828              Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/16/2011 VA 1-435-220               3/9/2015                  6/16/2011               6/27/2020
   16235230 3662 Avalon Park Blvd, Orlando, FL 32828              Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/16/2011 VA 1-435-220               3/9/2015                  6/16/2011                7/8/2020
   16536009 3025 Edgewater Dr, Orlando, FL 32804                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2011 VA 1-435-220               3/9/2015                   8/2/2011               6/27/2020
   16536011 3025 Edgewater Dr, Orlando, FL 32804                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2011 VA 1-435-220               3/9/2015                   8/2/2011               6/26/2020
   16839747 135 Palm Bay Rd NE, West Melbourne, FL 32904          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/13/2011 VA 1-435-220               3/9/2015                  9/13/2011              11/23/2020
   16858041 1303 S Semoran Blvd, Orlando, FL 32807                Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2011 VA 1-435-220               3/9/2015                  9/14/2011               6/18/2020
   16858049 1303 S Semoran Blvd, Orlando, FL 32807                Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2011 VA 1-435-220               3/9/2015                  9/14/2011                7/9/2020
   16858070 1303 S Semoran Blvd, Orlando, FL 32807                Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2011 VA 1-435-220               3/9/2015                  9/14/2011               6/20/2020
   17200961 29 S Orange Ave, Orlando, FL 32801                    Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-435-220               3/9/2015                  1/21/2011               6/28/2020
   17200965 29 S Orange Ave, Orlando, FL 32801                    Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/21/2011 VA 1-435-220               3/9/2015                  1/21/2011               6/26/2020
   17200974 988 Woodcock Rd, Orlando, FL 32803                    Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-220               3/9/2015                 10/21/2011               6/27/2020
   17200986 988 Woodcock Rd, Orlando, FL 32803                    Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-220               3/9/2015                 10/21/2011                7/8/2020
   17201190 3660 Maguire Blvd, Orlando, FL 32803                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-220               3/9/2015                 10/21/2011               6/20/2020
   17201200 3660 Maguire Blvd, Orlando, FL 32803                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/21/2011 VA 1-435-220               3/9/2015                 10/21/2011               6/23/2020
   17480927 1130 Business Center Dr, Lake Mary, FL 32746          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/29/2011 VA 1-435-220               3/9/2015                 11/29/2011               6/24/2020
   17480931 101 Commerce St, Lake Mary, FL 32746                  Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/29/2011 VA 1-435-220               3/9/2015                 11/29/2011              12/20/2020
   17480940 1130 Business Center Dr, Lake Mary, FL 32746          Robert Dallas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/29/2011 VA 1-435-220               3/9/2015                 11/29/2011               7/10/2020
   15429894 3347-3349 Gastonia Hwy, Lincolnton, NC 28092          Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/22/2011 VA 1-437-135               3/9/2015                  2/22/2011                7/7/2020
   15750533 4233 Trailer Dr, Charlotte, NC 28269                  Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2011 VA 1-437-135               3/9/2015                   4/4/2011                7/8/2020
   16883411 7870 Commons Park Cir NW, Concord, NC 28027           Jill Gilbert                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/15/2011 VA 1-437-135               3/9/2015                  9/15/2011               6/20/2020

  15553931 752 Walnut Knoll Ln, Cordova, TN 38018                 Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/2/2011 VA 1-437-111              3/9/2015                   3/2/2011               6/27/2020

  15699870 1999 E Shelby Dr, Memphis, TN 38116                    Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2011 VA 1-437-111              3/9/2015                  3/29/2011               6/29/2020

  15829004 2906 N Goodman Rd, Horn Lake, MS 38637                 Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/15/2011 VA 1-437-111              3/9/2015                  4/15/2011              10/24/2020

  15958971 7440 Highway 178, Olive Branch, MS 38654               Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/4/2011 VA 1-437-111              3/9/2015                   5/4/2011               6/21/2020

  17214836 766 S Highland St, Memphis, TN 38111                   Mary Drost                                                                       CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/17/2011 VA 1-437-111              3/9/2015                 10/17/2011               6/29/2020
  15159924 11120 Highway 242, Conroe, TX 77385                    Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/14/2011 VA 1-435-224              3/9/2015                  1/14/2011               6/26/2020
  15302056 14351 Torrey Chase Blvd, Houston, TX 77014             Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2011 VA 1-435-224              3/9/2015                   2/3/2011               5/16/2020
  15302059 14351 Torrey Chase Blvd, Houston, TX 77014             Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2011 VA 1-435-224              3/9/2015                   2/3/2011               5/16/2020
  15670496 110 1st St W, Humble, TX 77338                         Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/25/2011 VA 1-435-224              3/9/2015                  3/25/2011               6/26/2020
  16085365 110 1st St W, Humble, TX 77338                         Stephanie McCoy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/24/2011 VA 1-435-224              3/9/2015                  5/24/2011               6/28/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                     78
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                              Image Address                           Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   16085370 110 1st St W, Humble, TX 77338                              Stephanie McCoy                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/24/2011 VA 1-435-224               3/9/2015                  5/24/2011              6/29/2020
   16279098 17521 St. Lukes Way, The Woodlands, TX 77384                Stephanie McCoy                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/20/2011 VA 1-435-224               3/9/2015                  6/20/2011              6/27/2020
   17104727 4321 Directors Row, Houston, TX 77092                       Stephanie McCoy                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/11/2011 VA 1-435-224               3/9/2015                 10/11/2011               7/3/2020
   17590700 12212-12220 Cypress North Houston Rd, Cypress, TX 77429     Stephanie McCoy                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/15/2011 VA 1-435-224               3/9/2015                 12/15/2011              6/27/2020
   20147290 20000 Park Row Dr, Katy, TX 77449                           Stephanie McCoy                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/14/2011 VA 1-435-224               3/9/2015                  7/14/2011              5/16/2020

  16773570 2227 State Route 256, Reynoldsburg, OH 43068                 Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/30/2011 VA 1-435-215              3/9/2015                  8/30/2011               6/28/2020

  17280050 5488 Cleveland Ave, Columbus, OH 43231                       Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/2/2011 VA 1-435-215              3/9/2015                  11/2/2011                7/9/2020

  17291588 5869-5877 Cleveland Ave, Columbus, OH 43231                  Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/26/2011 VA 1-435-215              3/9/2015                 10/26/2011                7/9/2020

  17291593 5869-5877 Cleveland Ave, Columbus, OH 43231                  Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/26/2011 VA 1-435-215              3/9/2015                 10/26/2011               6/28/2020

  17314944 2715 Tuller Pky, Dublin, OH 43017                            Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/13/2011 VA 1-435-215              3/9/2015                 10/13/2011               7/10/2020

  17314946 2715 Tuller Pky, Dublin, OH 43017                            Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/13/2011 VA 1-435-215              3/9/2015                 10/13/2011               6/28/2020

  17530921 2920-2934 S High St, Columbus, OH 43207                      Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/6/2011 VA 1-435-215              3/9/2015                  12/6/2011               6/28/2020
  16661058 959 E 3300 S, Salt Lake City, UT 84106                       Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/15/2011 VA 1-434-989              3/9/2015                  8/15/2011               8/11/2020
  16804975 1777 W 200 S, Salt Lake City, UT 84104                       Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        9/1/2011 VA 1-434-989              3/9/2015                   9/1/2011               6/27/2020
  17348607 969 S 300 W, Salt Lake City, UT 84101                        Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      11/10/2011 VA 1-434-989              3/9/2015                 11/10/2011                7/7/2020
  16748811 1209 D Ave, West Columbia, SC 29169                          Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-434-991              3/9/2015                  8/30/2011                8/9/2020
  16748815 1209 D Ave, West Columbia, SC 29169                          Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-434-991              3/9/2015                  8/30/2011                8/7/2020
  16748822 1209 D Ave, West Columbia, SC 29169                          Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-434-991              3/9/2015                  8/30/2011                8/9/2020
  17024952 2034 Bloomingdale St, Augusta, GA 30906                      Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/5/2011 VA 1-434-991              3/9/2015                  10/5/2011               6/24/2020
  17239610 1302 Montague Avenue Ext, Greenwood, SC 29649                Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/26/2011 VA 1-434-991              3/9/2015                 10/26/2011                7/5/2020
  17339619 2611 Dean's Bridge Rd, Augusta, GA 30906                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/9/2011 VA 1-434-991              3/9/2015                  11/9/2011               6/27/2020
  17506757 3452 Peach Orchard Rd, Augusta, GA 30906                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2011 VA 1-434-991              3/9/2015                 11/30/2011               6/28/2020
  17506764 3452 Peach Orchard Rd, Augusta, GA 30906                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2011 VA 1-434-991              3/9/2015                 11/30/2011               6/25/2020
  17506767 3452 Peach Orchard Rd, Augusta, GA 30906                     Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2011 VA 1-434-991              3/9/2015                 11/30/2011               6/25/2020
  16903819 15549 Highway 52, Fort Lupton, CO 80621                      Jennifer Wych                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/19/2011 VA 1-435-200              3/9/2015                  9/19/2011                8/8/2020
  15107393 12850 Montana Ave, El Paso, TX 79938                         Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2011 VA 1-435-199              3/9/2015                   1/7/2011               6/26/2020
  15107402 12850 Montana Ave, El Paso, TX 79938                         Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/7/2011 VA 1-435-199              3/9/2015                   1/7/2011               6/29/2020
  15300912 600 E Warm Springs Rd, Las Vegas, NV 89119                   Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2011 VA 1-435-223              3/9/2015                   2/3/2011               6/19/2020
  15358882 5257 S Eastern Ave, Las Vegas, NV 89119                      Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2011 VA 1-435-223              3/9/2015                  2/11/2011               12/8/2020
  15373424 504 S Camp Meade Rd, Linthicum, MD 21090                     Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2011 VA 1-435-000              3/9/2015                  2/13/2011                7/7/2020
  15373431 504 S Camp Meade Rd, Linthicum, MD 21090                     Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2011 VA 1-435-000              3/9/2015                  2/13/2011                7/6/2020
  15552376 5000-5040 Montana Ave, El Paso, TX 79903                     Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/9/2011 VA 1-435-199              3/9/2015                   3/9/2011               6/26/2020
  15552381 5000-5040 Montana Ave, El Paso, TX 79903                     Linda Miner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/9/2011 VA 1-435-199              3/9/2015                   3/9/2011                7/5/2020
  15583893 1829 York Rd, Lutherville Timonium, MD 21093                 Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/14/2011 VA 1-435-000              3/9/2015                  3/14/2011               6/26/2020
  15623732 1501 S Edgewood St, Baltimore, MD 21227                      Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/18/2011 VA 1-435-000              3/9/2015                  3/18/2011               4/23/2020
  15723222 1201 Crain Hwy N, Glen Burnie, MD 21061                      Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/1/2011 VA 1-435-000              3/9/2015                   4/1/2011               6/28/2020
  16048519 8845 W Flamingo Rd, Las Vegas, NV 89147                      Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/18/2011 VA 1-435-223              3/9/2015                  5/18/2011               6/28/2020
  16103660 3700-3800 4th Ave, Curtis Bay, MD 21226                      Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/26/2011 VA 1-435-000              3/9/2015                  5/26/2011               6/18/2020
  16202984 51-57 W Mckinsey Rd, Severna Park, MD 21146                  Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2011 VA 1-435-000              3/9/2015                  6/10/2011               6/24/2020
  16513907 7354 Baltimore Annapolis Blvd, Glen Burnie, MD 21061         Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/25/2011 VA 1-435-000              3/9/2015                  7/25/2011               6/19/2020
  16513910 7354 Baltimore Annapolis Blvd, Glen Burnie, MD 21061         Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/25/2011 VA 1-435-000              3/9/2015                  7/25/2011               6/27/2020
  16589690 11000 Broken Land Pky, Columbia, MD 21044                    Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/9/2011 VA 1-435-000              3/9/2015                   8/9/2011              10/22/2020
  16598827 1510 W Sunset Rd, Henderson, NV 89014                        Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2011 VA 1-435-223              3/9/2015                  8/10/2011               7/14/2020
  16598832 1500 W Sunset Rd, Henderson, NV 89014                        Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2011 VA 1-435-223              3/9/2015                  8/10/2011               8/11/2020
  16747692 930 Galesville Rd, Galesville, MD 20765                      Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2011 VA 1-435-000              3/9/2015                  8/30/2011               6/24/2020
  16792785 71-75 Maryland Ave, Annapolis, MD 21401                      Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/2/2011 VA 1-435-000              3/9/2015                   9/2/2011               6/21/2020
  17212093 2575 Montessouri St, Las Vegas, NV 89117                     Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/19/2011 VA 1-435-223              3/9/2015                 10/19/2011               6/29/2020
  17538284 6628 Harford Rd, Baltimore, MD 21214                         Patrick O'Conor                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/7/2011 VA 1-435-000              3/9/2015                  12/7/2011               6/25/2020
  17606855 Butler St, Las Vegas, NV 89113                               Michael Collison                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/19/2011 VA 1-435-223              3/9/2015                 12/19/2011               6/29/2020
  26537874 895 W Bay Ave, Barnegat, NJ 08005                            Larry Kerner                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/14/2014 VA 1-435-007             3/31/2015                 10/14/2014                7/9/2020
  26580497 1441 Brickell Ave, Miami, FL 33131                           David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/17/2014 VA 1-435-011             3/31/2015                 10/17/2014               8/11/2020
  26580562 1395 Brickell Ave, Miami, FL 33131                           David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/17/2014 VA 1-435-011             3/31/2015                 10/17/2014               6/27/2020
  26477610 606 Valley St, Manchester, NH 03103                          Jeff Tippett                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/8/2014 VA 1-435-066             3/31/2015                  10/8/2014               10/9/2020
  28663898 210 S Locust St, Denton, TX 76201                            Darrell Shultz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/15/2014 VA 1-435-057             3/31/2015                 12/15/2014               6/26/2020
  26844619 4180 Douglas Blvd, Granite Bay, CA 95746                     Thomas Stuebe                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/29/2014 VA 1-437-110             3/31/2015                 10/29/2014                7/3/2020
  26844627 4180 Douglas Blvd, Granite Bay, CA 95746                     Thomas Stuebe                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/29/2014 VA 1-437-110             3/31/2015                 10/29/2014               6/27/2020
  26844633 4180 Douglas Blvd, Granite Bay, CA 95746                     Thomas Stuebe                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/29/2014 VA 1-437-110             3/31/2015                 10/29/2014               6/29/2020
  26552171 4611 Greer Cir, Stone Mountain, GA 30083                     Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/15/2014 VA 1-435-051             3/31/2015                 10/15/2014                8/9/2020
  28579617 7948 Second Flags Dr, Austell, GA 30168                      Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/1/2014 VA 1-435-051             3/31/2015                  12/1/2014               6/27/2020
  26891206 152 Route 202, Lincolndale, NY 10540                         Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/13/2014 VA 1-435-024             3/31/2015                 11/13/2014               6/28/2020
  26987692 6000 Executive Blvd, Rockville, MD 20852                     Ron Bailey                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/1/2014 VA 1-435-019             3/31/2015                  12/1/2014                7/4/2020
  26683105 2102 FM 2165, Rockport, TX 78382                             Dee Welsch                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/28/2014 VA 1-435-015             3/31/2015                 10/28/2014               6/25/2020
  26683111 2102 FM 2165, Rockport, TX 78382                             Dee Welsch                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/28/2014 VA 1-435-015             3/31/2015                 10/28/2014               6/28/2020
  30160440 349 S Helen Moore Rd, San Benito, TX 78586                   Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/26/2014 VA 1-437-101             4/17/2015                 12/26/2014                8/9/2020
  28779812 1860 Ala Moana Blvd, Honolulu, HI 96815                      Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2014 VA 1-437-115             4/21/2015                 12/22/2014               6/25/2020
  28779818 1860 Ala Moana Blvd, Honolulu, HI 96815                      Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2014 VA 1-437-115             4/21/2015                 12/22/2014                7/4/2020
  26891751 1800 Shepherd St NE, Washington, DC 20018                    Ron Aria                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/3/2014 VA 1-437-125             4/21/2015                  11/3/2014               7/30/2020
  32654957 2654 Marconi Ave, Sacramento, CA 95821                       Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/17/2015 VA 1-435-180             6/22/2015                  3/17/2015               7/12/2021

  29057361 7300 Airways Blvd, Southaven, MS 38671                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/9/2015 VA 1-435-173             6/22/2015                   1/9/2015               6/25/2020
  29244730 625 E Patton Ave, Montgomery, AL 36111                       Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/13/2015 VA 1-435-181             6/22/2015                  1/13/2015                4/2/2021

  29185580 1040 N James M. Campbell Blvd, Columbia, TN 38401            Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/12/2015 VA 1-434-984             6/22/2015                  1/12/2015               6/26/2020




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  29244989 808 Nashville Hwy, Columbia, TN 38401                Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/13/2015 VA 1-434-984             6/22/2015                 1/13/2015              6/26/2020
  32936130 16417-16471 Merchants Ln, King George, VA 22485      Michelle Mohr                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/18/2015 VA 1-435-186             6/22/2015                 3/18/2015             10/14/2020
  31488708 1600 Ridgewood Ave S, Daytona Beach, FL 32114        Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/27/2015 VA 1-434-955             6/22/2015                 2/27/2015              6/26/2020

  31987551 410-440 Plymouth Ave NE, Grand Rapids, MI 49505      Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/10/2015 VA 1-435-259             6/22/2015                 3/10/2015              6/29/2020
  29245917 655 Sierra Vista Dr, Las Vegas, NV 89169             Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      1/14/2015 VA 1-434-969             6/22/2015                 1/14/2015              6/26/2020
  29996984 5025 Kell Ln, Las Vegas, NV 89115                    Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/7/2015 VA 1-434-969             6/22/2015                  2/7/2015               7/2/2020
  29996988 5025 Kell Ln, Las Vegas, NV 89115                    Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/7/2015 VA 1-434-969             6/22/2015                  2/7/2015               7/1/2020
  29996992 5025 Kell Ln, Las Vegas, NV 89115                    Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/7/2015 VA 1-434-969             6/22/2015                  2/7/2015               7/3/2020
  29246388 302-304 N 3rd St, Harrison, NJ 07029                 Alyssa Cirilli                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/14/2015 VA 1-434-983             6/22/2015                 1/14/2015              6/27/2020
  29246397 302-304 N 3rd St, Harrison, NJ 07029                 Alyssa Cirilli                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/14/2015 VA 1-434-983             6/22/2015                 1/14/2015              6/29/2020
  30776967 4057 Holcomb Bridge Rd, Norcross, GA 30092           Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/18/2015 VA 1-434-966             6/22/2015                 2/18/2015               7/1/2020
  32022308 145 Technology Pky, Norcross, GA 30092               Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/11/2015 VA 1-434-966             6/22/2015                 3/11/2015               7/1/2020
  29300783 3200 Main St, Dallas, TX 75226                       Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/7/2015 VA 1-435-506             6/22/2015                  1/7/2015               7/9/2020
  29300800 3200 Main St, Dallas, TX 75226                       Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/7/2015 VA 1-435-506             6/22/2015                  1/7/2015               7/4/2020
  33231439 1912 Greenville Ave, Dallas, TX 75206                Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/24/2015 VA 1-435-506             6/22/2015                 2/24/2015               7/1/2020
  33231440 1912 Greenville Ave, Dallas, TX 75206                Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/24/2015 VA 1-435-506             6/22/2015                 2/24/2015              6/29/2020
  32759140 2255-2277 Peachtree Rd NE, Atlanta, GA 30309         Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      3/20/2015 VA 1-435-499             6/22/2015                 3/20/2015              6/29/2020
  30156132 2401-2405 S Wilcox Dr, Kingsport, TN 37660           Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/30/2015 VA 1-435-463             6/22/2015                 1/30/2015              6/26/2020
  30156139 2401-2405 S Wilcox Dr, Kingsport, TN 37660           Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/30/2015 VA 1-435-463             6/22/2015                 1/30/2015              6/28/2020
  30156240 1175 Volunteer Pky, Bristol, TN 37620                Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/30/2015 VA 1-435-463             6/22/2015                 1/30/2015               7/5/2020
  29050907 7355 Ralston Rd, Arvada, CO 80002                    Patrick Ray                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/8/2015 VA 1-435-488             6/22/2015                  1/8/2015              6/25/2020
  29242619 36 Huntington St, Hartford, CT 06105                 Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/14/2015 VA 1-435-461             6/22/2015                 1/14/2015              6/26/2020
  31597863 2249 S Shirlington Rd, Arlington, VA 22206           Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/20/2015 VA 1-435-508             6/22/2015                 2/20/2015              6/27/2020
  31597901 2249 S Shirlington Rd, Arlington, VA 22206           Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/20/2015 VA 1-435-508             6/22/2015                 2/20/2015              6/29/2020
  32535101 4949 Amon Carter Blvd, Fort Worth, TX 76155          Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2015 VA 1-435-160             6/22/2015                 3/16/2015               7/3/2020
  32535115 4949 Amon Carter Blvd, Fort Worth, TX 76155          Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2015 VA 1-435-160             6/22/2015                 3/16/2015              6/29/2020

  32920377 6535-6539 E Broad St, Columbus, OH 43213             Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/20/2015 VA 1-435-271             6/22/2015                 3/20/2015              6/25/2020
  32807687 7025 E Via Soleri Dr, Scottsdale, AZ 85251           Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/19/2015 VA 1-435-178             6/22/2015                 3/19/2015              6/28/2020
  31829721 9772 Parkway E, Birmingham, AL 35215                 Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/6/2015 VA 1-435-181             6/22/2015                  3/6/2015             10/19/2020
  32927631 1111 N High St, Millville, NJ 08332                  Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/20/2015 VA 1-434-963             6/22/2015                 3/20/2015               7/8/2020
  32927635 1111 N High St, Millville, NJ 08332                  Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/20/2015 VA 1-434-963             6/22/2015                 3/20/2015              6/29/2020
  37737729 4958 Valleydale Rd, Birmingham, AL 35242             Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/24/2015 VA 1-435-181             6/22/2015                 2/24/2015              6/27/2020
  18638716 1030 Oak Ridge Dr, Eau Claire, WI 54701              David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/3/2012 VA 1-435-732             9/25/2015                  5/3/2012              6/18/2020
  19150733 11290-11292 N 86th Ave, Maple Grove, MN 55369        David Alexander                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      6/22/2012 VA 1-435-732             9/25/2015                 6/22/2012              6/28/2020
  17383903 2500 S Mckenzie St, Foley, AL 36535                  Brian Falacienski                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/15/2011 VA 1-435-755             9/25/2015                11/15/2011               8/9/2020
  36579141 934 Punahou St, Honolulu, HI 96826                   Lima Maino                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/22/2015 VA 1-435-725             9/25/2015                 5/22/2015              6/28/2020
  33595211 101 Monument Rd, Jacksonville, FL 32225              Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/8/2015 VA 1-435-688             9/25/2015                  4/8/2015              6/27/2020
  34082730 1221 King St, Jacksonville, FL 32204                 Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/16/2015 VA 1-435-688             9/25/2015                 4/16/2015             10/29/2020
  38204859 11400 Culebra Rd, San Antonio, TX 78253              Scott Langford                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/16/2015 VA 1-435-758             9/25/2015                 6/16/2015              10/9/2020
  34743207 217-221 E Highland Pky, Roselle, NJ 07203            Alyssa Cirilli                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/28/2015 VA 1-436-878             9/25/2015                 4/28/2015               7/5/2020
  38082445 4080 McGinnis Ferry Rd, Alpharetta, GA 30005         Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/3/2015 VA 1-435-674             9/25/2015                  6/3/2015               7/7/2020
  38082447 4080 McGinnis Ferry Rd, Alpharetta, GA 30005         Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/3/2015 VA 1-435-674             9/25/2015                  6/3/2015               7/3/2020
  38082449 4080 McGinnis Ferry Rd, Alpharetta, GA 30005         Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/3/2015 VA 1-435-674             9/25/2015                  6/3/2015               7/5/2020
  35830851 2801 N Fitzhugh Ave, Dallas, TX 75204                Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      5/15/2015 VA 1-435-764             9/25/2015                 5/15/2015              8/11/2020
  35830861 2801 N Fitzhugh Ave, Dallas, TX 75204                Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      5/15/2015 VA 1-435-764             9/25/2015                 5/15/2015              8/11/2020
  34668787 5234-5250 14th St W, Bradenton, FL 34207             Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/27/2015 VA 1-435-746             9/25/2015                 4/27/2015              6/28/2020
  35315341 28 Lord Rd, Marlborough, MA 01752                    Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-775             9/25/2015                  5/6/2015             10/21/2020
  35315412 100 River Rd W, Berlin, MA 01503                     Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/7/2015 VA 1-435-775             9/25/2015                  5/7/2015               8/9/2020
  35315429 100 River Rd W, Berlin, MA 01503                     Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/7/2015 VA 1-435-775             9/25/2015                  5/7/2015              8/11/2020
  35315459 100 River Rd W, Berlin, MA 01503                     Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/7/2015 VA 1-435-775             9/25/2015                  5/7/2015               8/8/2020
  35542566 5 Mount Royal Ave, Marlborough, MA 01752             Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-775             9/25/2015                  5/6/2015              6/29/2020
  35542578 2 Mount Royal Ave, Marlborough, MA 01752             Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-775             9/25/2015                  5/6/2015               7/5/2020
  35542579 2 Mount Royal Ave, Marlborough, MA 01752             Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-775             9/25/2015                  5/6/2015              7/10/2020
  35542580 2 Mount Royal Ave, Marlborough, MA 01752             Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-775             9/25/2015                  5/6/2015              6/25/2020
  35765638 200 Homer Ave, Ashland, MA 01721                     Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2015 VA 1-435-775             9/25/2015                 5/13/2015              6/26/2020
  35765647 200 Homer Ave, Ashland, MA 01721                     Taylor Nealand                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2015 VA 1-435-775             9/25/2015                 5/13/2015               7/2/2020
  34138651 100-116 Turner Rd, Dayton, OH 45415                  Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/17/2015 VA 1-435-765             9/25/2015                 4/17/2015              6/27/2020
  36289395 4696 W Overland Rd, Boise, ID 83705                  Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-436-564             9/25/2015                 5/21/2015              6/28/2020
  36290358 3395 S Federal Way, Boise, ID 83705                  Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-436-564             9/25/2015                 5/21/2015               7/1/2020
  36290740 431 N 7th Ave, Bozeman, MT 59715                     Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-436-564             9/25/2015                 5/21/2015              6/27/2020
  36290750 431 N 7th Ave, Bozeman, MT 59715                     Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-436-564             9/25/2015                 5/21/2015              6/28/2020
  36290758 431 N 7th Ave, Bozeman, MT 59715                     Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-436-564             9/25/2015                 5/21/2015              6/28/2020
  37090287 1012 W Hebron Pky, Carrollton, TX 75010              Jim Qualia                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/1/2015 VA 1-435-632             9/25/2015                  6/1/2015              6/28/2020
  35237488 4400-4433 Crossroads Ctr, Columbus, OH 43232         Jeffrey Leonhardt                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/6/2015 VA 1-435-663             9/25/2015                  5/6/2015              6/28/2020
  36544320 3443 Agler Rd, Columbus, OH 43219                    Jeffrey Leonhardt                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/21/2015 VA 1-435-663             9/25/2015                 5/21/2015               7/6/2020
  33561208 4040 Alhambra Ave, Martinez, CA 94553                Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       4/7/2015 VA 2-115-717             9/25/2015                  4/7/2015              7/10/2020
  33561230 4040 Alhambra Ave, Martinez, CA 94553                Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       4/7/2015 VA 1-436-876             9/25/2015                  4/7/2015              6/25/2020
  33726116 7 N Washington St, Plainville, CT 06062              Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/10/2015 VA 1-435-652             9/25/2015                 4/10/2015              6/29/2020
  33726120 7 N Washington St, Plainville, CT 06062              Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/10/2015 VA 1-435-652             9/25/2015                 4/10/2015               7/4/2020
  34666748 5042-5060 Commercial St SE, Salem, OR 97306          Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/27/2015 VA 1-436-563             9/25/2015                 4/27/2015              6/29/2020
  34877417 15879-15889 Crabbs Branch Way, Derwood, MD 20855     Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/30/2015 VA 1-435-659             9/25/2015                 4/30/2015               7/7/2020
  35063742 205 W Mercury Blvd, Hampton, VA 23669                Randy Rose                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/4/2015 VA 1-435-752             9/25/2015                  5/4/2015              6/29/2020
  35233366 631 Tennessee St, Vallejo, CA 94590                  Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/6/2015 VA 1-436-876             9/25/2015                  5/6/2015              6/28/2020
  35233381 631 Tennessee St, Vallejo, CA 94590                  Anita Shin                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/6/2015 VA 1-436-876             9/25/2015                  5/6/2015              6/26/2020

  35236288 1975 E Maple Rd, Troy, MI 48083                      Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/6/2015 VA 1-435-734             9/25/2015                  5/6/2015              7/10/2020
  35237170 3907 Medical Pky, Austin, TX 78756                   Leigh Christian                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/6/2015 VA 1-435-629             9/25/2015                  5/6/2015              6/27/2020




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   35237175 3907 Medical Pky, Austin, TX 78756                     Leigh Christian                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/6/2015 VA 1-435-629              9/25/2015                   5/6/2015               7/4/2020
   35312213 15701-15757 Crabbs Branch Way, Rockville, MD 20855     Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/7/2015 VA 1-435-659              9/25/2015                   5/7/2015              7/20/2020
   35541160 14205 N Mo Pac Expy, Austin, TX 78728                  Leigh Christian                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/12/2015 VA 1-435-629              9/25/2015                  5/12/2015               2/6/2021
   37041594 8838 Us-70 bus Hwy, Clayton, NC 27520                  Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/21/2015 VA 1-435-640              9/25/2015                  5/21/2015               7/1/2020
   37041605 8838 Us-70 bus Hwy, Clayton, NC 27520                  Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/21/2015 VA 1-435-640              9/25/2015                  5/21/2015              6/25/2020
   37481645 68 N Main St, Carver, MA 02330                         Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       6/5/2015 VA 1-435-709              9/25/2015                   6/5/2015              6/27/2020
   37654216 8100 Perkins Rd, Baton Rouge, LA 70810                 Mary McGinn                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/8/2015 VA 1-435-721              9/25/2015                   6/8/2015              6/28/2020
   37926048 580 Village Blvd, West Palm Beach, FL 33409            David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/11/2015 VA 1-435-733              9/25/2015                  6/11/2015               7/6/2020
   37926053 580 Village Blvd, West Palm Beach, FL 33409            David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/11/2015 VA 1-435-733              9/25/2015                  6/11/2015               7/6/2020
   37926449 6111 Carey Dr, Valley View, OH 44125                   Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/11/2015 VA 1-435-623              9/25/2015                  6/11/2015               7/2/2020

  38203537 45199 Cass Ave, Utica, MI 48317                         Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/16/2015 VA 1-435-734             9/25/2015                  6/16/2015                7/1/2020
  38203725 1300 Touhy Ave, Elk Grove Village, IL 60007             Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/16/2015 VA 1-435-736             9/25/2015                  6/16/2015               6/28/2020
  38203729 1300 Touhy Ave, Elk Grove Village, IL 60007             Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/16/2015 VA 1-435-736             9/25/2015                  6/16/2015               6/28/2020
  38203731 1300 Touhy Ave, Elk Grove Village, IL 60007             Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/16/2015 VA 1-435-736             9/25/2015                  6/16/2015                7/2/2020
  38204470 5966 S Dixie Hwy, South Miami, FL 33143                 Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/17/2015 VA 1-435-751             9/25/2015                  6/17/2015                7/2/2020
  38204493 5966 S Dixie Hwy, South Miami, FL 33143                 Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/17/2015 VA 1-435-751             9/25/2015                  6/17/2015               6/29/2020
  38204518 5966 S Dixie Hwy, South Miami, FL 33143                 Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/17/2015 VA 1-435-751             9/25/2015                  6/17/2015                7/1/2020
  38410964 425 Water St, Chardon, OH 44024                         Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2015 VA 1-435-623             9/25/2015                  6/18/2015               6/27/2020
  38412362 11851 High Tech Ave, Orlando, FL 32817                  Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2015 VA 1-435-748             9/25/2015                  6/18/2015                7/1/2020
  38601472 2450 Ridge Rd W, Rochester, NY 14626                    Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2015 VA 1-435-653             9/25/2015                  6/22/2015               2/12/2021
  39182133 12408 N 56th St, Tampa, FL 33617                        James Petrylka                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/30/2015 VA 2-093-000             9/25/2015                  6/30/2015                3/4/2021
  36543846 2093 W Washington Blvd, Los Angeles, CA 90018           J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2015 VA 2-092-997             9/25/2015                  5/21/2015               6/29/2020
  36543856 2093 W Washington Blvd, Los Angeles, CA 90018           J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2015 VA 2-092-997             9/25/2015                  5/21/2015                7/5/2020
  38793866 3026-3034 S Orange Ave, Santa Ana, CA 92707             Mike Bellsmith                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2015 VA 2-113-971             9/25/2015                  6/24/2015                2/6/2021
  35234377 2900 W Horizon Ridge Pky, Henderson, NV 89052           Hugh McCullough                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/21/2015 VA 1-435-660             9/25/2015                  4/21/2015               6/28/2020
  35234470 3620 N Rancho Dr, Las Vegas, NV 89130                   Hugh McCullough                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/21/2015 VA 1-435-660             9/25/2015                  4/21/2015                7/3/2020
  35234479 3620 N Rancho Dr, Las Vegas, NV 89130                   Hugh McCullough                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/21/2015 VA 1-435-660             9/25/2015                  4/21/2015               6/27/2020
  36542235 5309 Commonwealth Centre Pky, Midlothian, VA 23112      Larry Pemberton                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/21/2015 VA 1-435-650             9/25/2015                  5/21/2015               6/26/2020
  36542255 14051 St. Francis Blvd, Midlothian, VA 23114            Larry Pemberton                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/21/2015 VA 1-435-650             9/25/2015                  5/21/2015                7/7/2020
  36542264 14051 St. Francis Blvd, Midlothian, VA 23114            Larry Pemberton                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/21/2015 VA 1-435-650             9/25/2015                  5/21/2015               6/28/2020
  36542276 14051 St. Francis Blvd, Midlothian, VA 23114            Larry Pemberton                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/21/2015 VA 1-435-650             9/25/2015                  5/21/2015               6/26/2020
  34139800 624 North Ave, Pittsburgh, PA 15209                     Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/17/2015 VA 2-115-707             9/25/2015                  4/17/2015               8/11/2020
  34352252 3237 Bristol Rd, Bensalem, PA 19020                     Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/21/2015 VA 1-435-726             9/25/2015                  4/21/2015               7/15/2020
  34879735 4496 Jonesboro Rd, Forest Park, GA 30297                Dan Kohler                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/30/2015 VA 2-115-383             9/25/2015                  4/30/2015                7/3/2020

  37927584 4735 Spottswood Ave, Memphis, TN 38117                  Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/11/2015 VA 2-092-933             9/25/2015                  6/11/2015                7/1/2020
  36285704 2 Brooksite Dr, Smithtown, NY 11787                     Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/19/2015 VA 1-435-706             9/25/2015                  5/19/2015               7/10/2020
  36763230 1626 Locust Ave, Bohemia, NY 11716                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/26/2015 VA 2-113-979             9/25/2015                  5/26/2015                7/5/2020
  36763242 1626 Locust Ave, Bohemia, NY 11716                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/26/2015 VA 2-113-979             9/25/2015                  5/26/2015                7/2/2020
  36763247 1626 Locust Ave, Bohemia, NY 11716                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/26/2015 VA 2-113-979             9/25/2015                  5/26/2015               7/10/2020
  36763256 1626 Locust Ave, Bohemia, NY 11716                      Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/26/2015 VA 1-435-706             9/25/2015                  5/26/2015                7/3/2020
  38499168 2700 Coltsgate Rd, Charlotte, NC 28211                  Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/15/2015 VA 1-435-744             9/25/2015                  5/15/2015               6/18/2020
  35763602 6150 Village View Dr, West Des Moines, IA 50266         Drew Davis                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/13/2015 VA 2-122-043             9/25/2015                  5/13/2015               10/2/2020
  35767607 938 Bannock St, Denver, CO 80204                        Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/14/2015 VA 1-435-666             9/25/2015                  5/14/2015               5/29/2021
  36763388 730 Asp Ave, Norman, OK 73069                           Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       5/26/2015 VA 2-092-999             9/25/2015                  5/26/2015               5/29/2021
  37997605 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/3/2020
  37997608 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/1/2020
  37997610 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/1/2020
  37997619 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/1/2020
  37997625 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/7/2020
  37997628 8026 E 4th Pl, Tulsa, OK 74112                          Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/12/2015 VA 1-435-761             9/25/2015                  6/12/2015                7/6/2020
  38941436 3751 N Tower Rd, Aurora, CO 80011                       Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/26/2015 VA 1-435-666             9/25/2015                  6/26/2015                7/9/2020
  37043699 934 Blanding Blvd, Orange Park, FL 32065                Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/29/2015 VA 1-435-688             9/25/2015                  5/29/2015               6/26/2020
  34917467 128 Bedford Ave, Brooklyn, NY 11249                     Joe Cubiotti                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2015 VA 1-435-638             9/25/2015                   5/1/2015               6/28/2020
  39202332 14615 Manchester Rd, Manchester, MO 63011               Thom Murray                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/30/2015 VA 1-435-779             9/25/2015                  6/30/2015               7/24/2020
  39265014 1830-1850 Polk St, San Francisco, CA 94109              George Chao                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/30/2015 VA 1-435-695             9/25/2015                  6/30/2015               1/27/2021
  37044337 10009 Canoga Ave, Chatsworth, CA 91311                  Ryan Melideo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/29/2015 VA 1-435-760             9/25/2015                  5/29/2015                8/9/2020
  44113488 1935 Apalachee Pky, Tallahassee, FL 32301               David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2015 VA 1-436-002            12/31/2015                   9/5/2015                7/3/2020
  41009763 2350 Dryden Rd, Moraine, OH 45439                       Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/21/2015 VA 1-435-931            12/31/2015                  7/21/2015                7/9/2020
  41009942 205-209 W 4th St, Cincinnati, OH 45202                  Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/21/2015 VA 1-435-931            12/31/2015                  7/21/2015               6/28/2020
  41009953 205-209 W 4th St, Cincinnati, OH 45202                  Robert Clayton                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/21/2015 VA 1-435-931            12/31/2015                  7/21/2015                7/6/2020
  39908554 5621 20th Ave, Brooklyn, NY 11204                       John Ferguson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/10/2015 VA 1-436-819            12/31/2015                  7/10/2015               7/13/2020
  42467759 7895 Third Flag Pky, Austell, GA 30168                  Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/13/2015 VA 1-435-971            12/31/2015                  8/13/2015               7/12/2020
  42467776 1000 Gutenberg Dr, Kennesaw, GA 30144                   Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/13/2015 VA 1-435-971            12/31/2015                  8/13/2015               7/26/2020
  45302858 4672 Sandy Plains Rd, Roswell, GA 30075                 Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/16/2015 VA 1-435-971            12/31/2015                  9/16/2015                7/5/2020
  45302970 60 Oak Hill Blvd, Newnan, GA 30265                      Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/16/2015 VA 1-435-971            12/31/2015                  9/16/2015               6/28/2020
  45961012 1 Sovereign Way, East Providence, RI 02915              Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/29/2015 VA 1-436-154            12/31/2015                  9/29/2015                8/9/2020
  45961303 33 Broad St, Providence, RI 02903                       Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/29/2015 VA 1-436-154            12/31/2015                  9/29/2015                7/1/2020
  45961315 33 Broad St, Providence, RI 02903                       Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/29/2015 VA 1-436-154            12/31/2015                  9/29/2015                7/2/2020
  45961323 33 Broad St, Providence, RI 02903                       Chuck Carpenter                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/29/2015 VA 1-436-154            12/31/2015                  9/29/2015               6/29/2020
  40632477 22705 Savi Ranch Pky, Yorba Linda, CA 92887             Geoff harris                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/17/2015 VA 1-436-045            12/31/2015                  7/17/2015                7/7/2020
  41098317 2021 Miller Dr, Longmont, CO 80501                      Patrick Ray                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/22/2015 VA 1-436-079            12/31/2015                  7/22/2015                7/2/2020
  42048025 17999 S Nc Highway 109, Denton, NC 27239                Ron Bailey                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/24/2015 VA 1-436-078            12/31/2015                  7/24/2015               6/28/2020
  42473999 80 Lamberton Rd, Windsor, CT 06095                      Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/13/2015 VA 1-436-776            12/31/2015                  8/13/2015                8/9/2020
  42474054 100 Northfield Dr, Windsor, CT 06095                    Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/13/2015 VA 1-436-776            12/31/2015                  8/13/2015               6/25/2020
  42474088 1001 Day Hill Rd, Windsor, CT 06095                     Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/13/2015 VA 1-436-776            12/31/2015                  8/13/2015              10/27/2020
  43094133 433 S Main St, West Hartford, CT 06110                  Stewart Cairns                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2015 VA 1-436-776            12/31/2015                  8/21/2015                7/6/2020
  43934428 1415 Sam Nunn Blvd, Perry, GA 31069                     Ron Bailey                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/2/2015 VA 1-436-078            12/31/2015                   9/2/2015                8/9/2020
  43934435 1415 Sam Nunn Blvd, Perry, GA 31069                     Ron Bailey                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/2/2015 VA 1-436-078            12/31/2015                   9/2/2015                8/9/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                81
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                Image Address                      Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   45388104 808 Windsor St, Hartford, CT 06120                      Stewart Cairns                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/14/2015 VA 1-436-776            12/31/2015                  9/14/2015                7/7/2020
   45565151 5700 S Quebec St, Greenwood Village, CO 80111           Patrick Ray                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/22/2015 VA 1-436-079            12/31/2015                  9/22/2015              11/26/2020
   40633362 1000-1016 NW 150th St, Edmond, OK 73013                 Dee Welsch                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/17/2015 VA 1-435-989            12/31/2015                  7/17/2015               6/26/2020
   40633375 1000-1016 NW 150th St, Edmond, OK 73013                 Dee Welsch                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/17/2015 VA 1-435-989            12/31/2015                  7/17/2015               6/29/2020
   40793521 152 E High St, Pottstown, PA 19464                      Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/20/2015 VA 1-436-785            12/31/2015                  7/20/2015                7/2/2020
   43092042 3775 Park Ave, Edison, NJ 08820                         Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/21/2015 VA 1-436-785            12/31/2015                  8/21/2015                7/7/2021
   43837238 700 Stevenson Blvd, New Kensington, PA 15068            Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/1/2015 VA 1-436-785            12/31/2015                   9/1/2015               8/12/2020
   43837311 2301 Sheffield Rd, Aliquippa, PA 15001                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/1/2015 VA 1-436-785            12/31/2015                   9/1/2015               6/30/2020
   43837351 513 Perry Hwy, Pittsburgh, PA 15229                     Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/1/2015 VA 1-436-785            12/31/2015                   9/1/2015               8/12/2020
   43837539 1505 7th Ave, Beaver Falls, PA 15010                    Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/1/2015 VA 1-436-785            12/31/2015                   9/1/2015                7/5/2020
   45478252 356 Washington St, Orange, NJ 07050                     Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      9/22/2015 VA 1-436-785            12/31/2015                  9/22/2015               1/23/2021
   43094827 55 Bagby Dr, Birmingham, AL 35209                       Robert Hereth                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/13/2015 VA 1-436-763            12/31/2015                  8/13/2015                7/4/2020
   43094833 65 Bagby Dr, Birmingham, AL 35209                       Robert Hereth                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/13/2015 VA 1-436-763            12/31/2015                  8/13/2015                7/2/2020

  39932864 31700 W 12 Mile Rd, Farmington Hills, MI 48334           Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/10/2015 VA 1-435-918           12/31/2015                  7/10/2015               6/25/2020

  39932871 31700 W 12 Mile Rd, Farmington Hills, MI 48334           Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/10/2015 VA 1-435-918           12/31/2015                  7/10/2015               6/28/2020
  41096357 6820 W Linebaugh Ave, Tampa, FL 33625                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/23/2015 VA 1-436-152           12/31/2015                  7/23/2015                7/4/2020
  41096362 6820 W Linebaugh Ave, Tampa, FL 33625                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/23/2015 VA 1-436-152           12/31/2015                  7/23/2015               6/28/2020
  41177851 1801-1809 Hawkins Ave, Sanford, NC 27330                 Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/24/2015 VA 1-436-829           12/31/2015                  7/24/2015                7/2/2020
  41177856 1801-1809 Hawkins Ave, Sanford, NC 27330                 Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/24/2015 VA 1-436-829           12/31/2015                  7/24/2015               6/30/2020
  41451217 332 Skokie Valley Rd, Highland Park, IL 60035            Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       7/28/2015 VA 1-436-831           12/31/2015                  7/28/2015                7/3/2020
  42466511 2001-2007 N Armistead Ave, Hampton, VA 23666             Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/12/2015 VA 1-435-975           12/31/2015                  8/12/2015               6/26/2020
  42598837 701 2nd St NE, Washington, DC 20002                      Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/13/2015 VA 1-435-882           12/31/2015                  8/13/2015               6/26/2020

  42809607 3617 Alexandria Pike, Cold Spring, KY 41076              Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/17/2015 VA 1-436-280           12/31/2015                  8/17/2015                7/4/2020
  42924721 19701-19741 Executive Park Cir, Germantown, MD 20874     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/18/2015 VA 1-435-882           12/31/2015                  8/18/2015               7/18/2020
  42924724 19701-19741 Executive Park Cir, Germantown, MD 20874     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/18/2015 VA 1-435-882           12/31/2015                  8/18/2015               7/18/2020
  42924727 19701-19741 Executive Park Cir, Germantown, MD 20874     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/18/2015 VA 1-435-882           12/31/2015                  8/18/2015               7/18/2020
  42996355 2401-2465 Linden Ln, Silver Spring, MD 20910             Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2015 VA 1-435-882           12/31/2015                  8/19/2015               7/20/2020
  42996361 2401-2465 Linden Ln, Silver Spring, MD 20910             Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2015 VA 1-435-882           12/31/2015                  8/19/2015               7/20/2020
  42996363 2401-2465 Linden Ln, Silver Spring, MD 20910             Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2015 VA 1-435-882           12/31/2015                  8/19/2015               7/20/2020
  43141885 12021 S Harlem Ave, Palos Heights, IL 60463              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       8/21/2015 VA 1-436-831           12/31/2015                  8/21/2015                7/8/2020
  43932333 320 W Fletcher Ave, Tampa, FL 33612                      James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/2/2015 VA 1-436-152           12/31/2015                   9/2/2015                7/5/2020
  44113496 1935 Apalachee Pky, Tallahassee, FL 32301                David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2015 VA 1-436-002           12/31/2015                   9/5/2015                7/1/2020
  44403587 211 Premier Dr, Holly Springs, NC 27540                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/2/2015 VA 1-436-829           12/31/2015                   9/2/2015                7/2/2020
  44494163 125-135 Clay St, Central Falls, RI 02863                 Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/9/2015 VA 1-436-072           12/31/2015                   9/9/2015               6/27/2020
  44581108 15701-15757 Crabbs Branch Way, Rockville, MD 20855       Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2015 VA 1-435-882           12/31/2015                  9/11/2015               7/18/2020
  44581125 15801-15811 Crabbs Branch Way, Rockville, MD 20855       Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2015 VA 1-435-882           12/31/2015                  9/11/2015               6/29/2020
  44582086 405 NE Mason St, Portland, OR 97211                      Christopher Weaver                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2015 VA 1-435-988           12/31/2015                  9/11/2015               6/30/2020
  45078989 1463 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015                7/5/2020
  45078991 1463 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015                7/9/2020
  45078994 1463 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015               6/27/2020
  45078996 1481 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/16/2015 VA 1-436-072           12/31/2015                  9/16/2015               6/25/2020
  45079014 1481 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/16/2015 VA 1-436-072           12/31/2015                  9/16/2015                7/8/2020
  45079101 1417 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015                7/3/2020
  45079102 1-53 Village Plaza Way, North Scituate, RI 02857         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-072           12/31/2015                  9/15/2015                7/1/2020
  45079105 1-53 Village Plaza Way, North Scituate, RI 02857         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-072           12/31/2015                  9/15/2015               7/10/2020
  45079113 1-53 Village Plaza Way, North Scituate, RI 02857         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-072           12/31/2015                  9/15/2015               6/25/2020
  45083713 537 Huffman Mill Rd, Burlington, NC 27215                Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/18/2015 VA 1-435-883           12/31/2015                  9/18/2015               6/25/2020
  45301305 1459 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015               5/16/2020
  45301377 1463 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/18/2015 VA 1-436-072           12/31/2015                  9/18/2015               6/25/2020
  45476063 1426-1428 Hartford Ave, Johnston, RI 02919               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/22/2015 VA 1-436-072           12/31/2015                  9/22/2015               6/28/2020

  45480072 34024 W 8 Mile Rd, Farmington Hills, MI 48335            Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/22/2015 VA 1-435-918           12/31/2015                  9/22/2015                7/7/2020

  45480125 34024 W 8 Mile Rd, Farmington Hills, MI 48335            Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/22/2015 VA 1-435-918           12/31/2015                  9/22/2015                7/9/2020
  45661590 711 E Main St, Meriden, CT 06450                         Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/24/2015 VA 1-435-887           12/31/2015                  9/24/2015                7/5/2020
  45825610 6442 Metro Ct, Bedford Heights, OH 44146                 Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/26/2015 VA 1-436-760           12/31/2015                  9/26/2015                7/2/2020
  45881158 5101-5103 W Mercury Blvd, Hampton, VA 23605              Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/21/2015 VA 1-435-975           12/31/2015                  9/21/2015                7/1/2020
  45960945 1524 Atwood Ave, Johnston, RI 02919                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/28/2015 VA 1-436-072           12/31/2015                  9/28/2015                9/6/2020
  45965300 5234 E Pine Ave, Fresno, CA 93727                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/28/2015 VA 1-435-980           12/31/2015                  9/28/2015               6/27/2020
  45965306 5234 E Pine Ave, Fresno, CA 93727                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/28/2015 VA 1-435-980           12/31/2015                  9/28/2015               6/27/2020
  45965318 5234 E Pine Ave, Fresno, CA 93727                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/28/2015 VA 1-435-980           12/31/2015                  9/28/2015                7/3/2020
  47292270 4081 State Route 31, Clay, NY 13041                      Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-757           12/31/2015                  9/15/2015               7/13/2020
  47292286 4081 State Route 31, Clay, NY 13041                      Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-757           12/31/2015                  9/15/2015               7/13/2020
  47292290 4081 State Route 31, Clay, NY 13041                      Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/15/2015 VA 1-436-757           12/31/2015                  9/15/2015               7/13/2020
  49425098 3692 S Plaza Trl, Virginia Beach, VA 23452               Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/3/2015 VA 1-436-175           12/31/2015                  11/3/2015                7/3/2020
  54803292 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803297 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803299 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803303 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803306 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803317 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  54803326 25102 Brookpark Rd, North Olmsted, OH 44070              Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2015 VA 1-436-760           12/31/2015                   9/9/2015               7/20/2020
  44399670 3500 Corinth Pky, Corinth, TX 76208                      Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/2/2015 VA 1-436-786           12/31/2015                   9/2/2015               11/8/2020
  46671702 2066 S Stemmons Fwy, Lewisville, TX 75067                Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/25/2015 VA 1-436-786           12/31/2015                  9/25/2015               7/15/2020
  46671705 2066 S Stemmons Fwy, Lewisville, TX 75067                Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/25/2015 VA 1-436-786           12/31/2015                  9/25/2015               7/15/2020
  39739997 253 S Carondelet St, Los Angeles, CA 90057               J. Blomdahl                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/2/2015 VA 1-436-047           12/31/2015                   7/2/2015               6/27/2020
  45562422 6787 El Cajon Blvd, San Diego, CA 92115                  Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/23/2015 VA 1-435-910           12/31/2015                  9/23/2015                5/4/2021




                         OUTSIDE COUNSEL ONLY                                                                                                                     82
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Attachment                                                                               Photographer - Last Known   Photographer - Last Known                                                                     Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                 Image Address                   Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address         Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
   40240382 10915-10929 Franklin Ave, Franklin Park, IL 60131     Barbara Rudolf                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/14/2015 VA 1-436-151            12/31/2015                  7/14/2015              6/27/2020
   42999289 350-360 Lively Blvd, Elk Grove Village, IL 60007      Barbara Rudolf                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/19/2015 VA 1-436-151            12/31/2015                  8/19/2015               8/8/2020
   42999299 350-360 Lively Blvd, Elk Grove Village, IL 60007      Barbara Rudolf                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/19/2015 VA 1-436-151            12/31/2015                  8/19/2015               8/9/2020
   41361268 4701-4733 E Lancaster Ave, Fort Worth, TX 76103       Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      7/14/2015 VA 1-435-917            12/31/2015                  7/14/2015              10/9/2020
   42924207 1520 Airport Fwy, Bedford, TX 76022                   Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/18/2015 VA 1-435-917            12/31/2015                  8/18/2015               7/3/2020
   39630711 6288 Steubenville Pike, Pittsburgh, PA 15205          Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/7/2015 VA 1-436-683            12/31/2015                   7/7/2015              6/29/2020
   39630712 6288 Steubenville Pike, Pittsburgh, PA 15205          Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/7/2015 VA 1-436-683            12/31/2015                   7/7/2015               7/7/2020
   40660866 155 White Plains Rd, Tarrytown, NY 10591              Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      7/17/2015 VA 1-435-916            12/31/2015                  7/17/2015              7/13/2020
   41009443 3711-3763 Sepviva St, Philadelphia, PA 19137          Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      7/22/2015 VA 1-436-689            12/31/2015                  7/22/2015               7/5/2020
   44750397 129 E Whitner St, Anderson, SC 29624                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      9/14/2015 VA 1-435-978            12/31/2015                  9/14/2015              8/11/2020
   44750561 245-249 Halstead Ave, Mamaroneck, NY 10543            Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      9/14/2015 VA 1-435-916            12/31/2015                  9/14/2015               7/6/2020
   45750294 5000 Southlake Park, Birmingham, AL 35244             Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/21/2015 VA 1-436-828            12/31/2015                  9/21/2015              6/28/2020
   45750436 144 Leisure Ln, Columbia, SC 29210                    Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/25/2015 VA 1-436-826            12/31/2015                  9/25/2015              2/12/2021
   45963876 270 Saugatuck Ave, Westport, CT 06880                 Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      9/23/2015 VA 1-435-916            12/31/2015                  9/23/2015              6/26/2020
   46157546 826 N Lewis Rd, Limerick, PA 19468                    Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      9/17/2015 VA 1-436-689            12/31/2015                  9/17/2015              6/26/2020
   44496124 1443 27th St, Caledonia, WI 53108                     Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      9/10/2015 VA 1-436-777            12/31/2015                  9/10/2015              6/27/2020
   45237711 3100 Cullman Ave, Charlotte, NC 28206                 Roni-Leigh Burritt                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/16/2015 VA 1-435-935            12/31/2015                  9/16/2015               8/9/2020
   39911888 902 N Circle Dr, Colorado Springs, CO 80909           Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/9/2015 VA 1-436-690            12/31/2015                   7/9/2015              6/30/2020
   40238112 4775-4785 Barnes Rd, Colorado Springs, CO 80917       Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/14/2015 VA 1-436-690            12/31/2015                  7/14/2015              6/25/2020
   45386793 900 N Porter Ave, Norman, OK 73071                    Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      9/21/2015 VA 1-436-182            12/31/2015                  9/21/2015               7/1/2020
   43364430 100 Hinsdale St, Brooklyn, NY 11207                   Joe Cubiotti                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/21/2015 VA 1-436-214            12/31/2015                  8/21/2015              7/13/2020
   43497756 2916 Atlantic Ave, Brooklyn, NY 11207                 Joe Cubiotti                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/28/2015 VA 1-436-214            12/31/2015                  8/28/2015               8/8/2020
   45238173 11402-11408 Balls Ford Rd, Manassas, VA 20109         Michelle Mohr                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/17/2015 VA 1-436-783            12/31/2015                  9/17/2015              6/28/2020
   45238179 11402-11408 Balls Ford Rd, Manassas, VA 20109         Michelle Mohr                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/17/2015 VA 1-436-783            12/31/2015                  9/17/2015               7/5/2020
   44050513 4281 Main St, Riverside, CA 92501                     Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/4/2015 VA 1-435-940            12/31/2015                   9/4/2015               7/8/2020
   45081777 906 Cirby Way, Roseville, CA 95661                    Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/16/2015 VA 1-436-622            12/31/2015                  9/16/2015              6/27/2020
   45081780 906 Cirby Way, Roseville, CA 95661                    Mark McNamara                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/16/2015 VA 1-436-622            12/31/2015                  9/16/2015              6/28/2020
   39632772 152 Route 22 W, Green Brook, NJ 08812                 Alyssa Cirilli                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2015 VA 1-436-181            12/31/2015                   7/7/2015               7/3/2020
   41101733 312 Main St, Hudson, MA 01749                         Taylor Nealand                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/16/2015 VA 1-436-775            12/31/2015                  7/16/2015               7/8/2020
   41618584 1800-1848 Airport Rd S, Naples, FL 34112              Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/30/2015 VA 1-436-688            12/31/2015                  7/30/2015              6/26/2020
   42050195 382 Newark Pompton Tpke, Wayne, NJ 07470              Alyssa Cirilli                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/5/2015 VA 1-436-181            12/31/2015                   8/5/2015               7/7/2020
   43143279 500 N Mannheim Rd, Hillside, IL 60162                 Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      8/21/2015 VA 1-435-977            12/31/2015                  8/21/2015              6/25/2020
   43287737 1108 N Greenville Ave, Allen, TX 75002                Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/24/2015 VA 1-435-932            12/31/2015                  8/24/2015              6/25/2020
   43365765 1801 N Central Expy, Plano, TX 75075                  Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/25/2015 VA 1-435-932            12/31/2015                  8/25/2015              7/10/2020
   43682777 1915 N Central Expy, Plano, TX 75075                  Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/25/2015 VA 1-435-932            12/31/2015                  8/25/2015              2/16/2021
   43683064 11449 Denton Dr, Dallas, TX 75229                     Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      8/19/2015 VA 1-435-932            12/31/2015                  8/19/2015              11/7/2020
   44015330 800 E Main St, Richmond, VA 23219                     Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/3/2015 VA 1-436-626            12/31/2015                   9/3/2015              6/29/2020
   45238972 3955 E Speedway Blvd, Tucson, AZ 85712                Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      9/17/2015 VA 1-435-939            12/31/2015                  9/17/2015              6/26/2020
   45239891 1012 Wilmington Ave, Wilmington, DE 19805             Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/18/2015 VA 1-436-824            12/31/2015                  9/18/2015              10/1/2020
   45304894 505-515 S 13th St, Las Vegas, NV 89101                Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      9/21/2015 VA 1-435-881            12/31/2015                  9/21/2015              6/25/2020
   45566641 349 S Helen Moore Rd, San Benito, TX 78586            Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/18/2015 VA 1-436-728            12/31/2015                  9/18/2015              8/12/2020
   45566781 349 S Helen Moore Rd, San Benito, TX 78586            Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/18/2015 VA 1-436-728            12/31/2015                  9/18/2015               8/9/2020
   45666074 1021 W Adams St, Chicago, IL 60607                    Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      9/24/2015 VA 1-435-977            12/31/2015                  9/24/2015              5/11/2021
   46565510 660 N Central Expy, Plano, TX 75074                   Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      9/17/2015 VA 1-435-932            12/31/2015                  9/17/2015               7/2/2020
   39537704 766 Puuhale Rd, Honolulu, HI 96819                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/6/2015 VA 1-436-761            12/31/2015                   7/6/2015              6/28/2020
   39537707 766 Puuhale Rd, Honolulu, HI 96819                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/6/2015 VA 1-436-761            12/31/2015                   7/6/2015              6/28/2020
   39537713 766 Puuhale Rd, Honolulu, HI 96819                    Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/6/2015 VA 1-436-761            12/31/2015                   7/6/2015              6/29/2020
   42124268 746 Kohou St, Honolulu, HI 96817                      Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/6/2015 VA 1-436-761            12/31/2015                   8/6/2015              9/30/2020
   42926906 1378 Colburn St, Honolulu, HI 96817                   Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/18/2015 VA 1-436-761            12/31/2015                  8/18/2015              6/29/2020
   45388529 1149-1159 Bethel St, Honolulu, HI 96813               Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/21/2015 VA 1-436-761            12/31/2015                  9/21/2015               7/3/2020
   45388531 1149-1159 Bethel St, Honolulu, HI 96813               Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/21/2015 VA 1-436-761            12/31/2015                  9/21/2015               7/3/2020
   42256302 17150-17200 Ventura Blvd, Encino, CA 91316            Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/7/2015 VA 1-436-180            12/31/2015                   8/7/2015              6/26/2020
   43683452 2126 N 1st St, Jacksonville, AR 72076                 Joshua Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/28/2015 VA 1-436-681            12/31/2015                  8/28/2015              6/26/2020
   43683474 612 JP Wright Loop Rd, Jacksonville, AR 72076         Joshua Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/28/2015 VA 1-436-681            12/31/2015                  8/28/2015               7/4/2020
   44310039 10000 Warden Rd, Sherwood, AR 72120                   Joshua Suter                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/8/2015 VA 1-436-681            12/31/2015                   9/8/2015               7/2/2020
   45242738 1575 Westwood Blvd, Los Angeles, CA 90024             Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/14/2015 VA 1-436-180            12/31/2015                  9/14/2015              6/25/2020

  41922481 2201 E 70th, Chicago, IL 60649                         Charles Cook                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/4/2015 VA 1-435-914           12/31/2015                   8/4/2015                7/5/2020

  41922487 2201 E 70th, Chicago, IL 60649                         Charles Cook                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        8/4/2015 VA 1-435-914           12/31/2015                   8/4/2015               7/10/2020

  45752842 1600 Ritchie Ct, Rochelle, IL 61068                    Charles Cook                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       9/25/2015 VA 1-435-914           12/31/2015                  9/25/2015                7/4/2020
  47208183 67-73 Huttleston Ave, Fairhaven, MA 02719              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      10/12/2015 VA 1-436-226            1/22/2016                 10/12/2015               6/28/2020
  47208192 67-73 Huttleston Ave, Fairhaven, MA 02719              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      10/12/2015 VA 1-436-226            1/22/2016                 10/12/2015                7/5/2020
  47208206 67-73 Huttleston Ave, Fairhaven, MA 02719              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      10/12/2015 VA 1-436-226            1/22/2016                 10/12/2015               7/10/2020
  47208888 1329 Alum Spring Rd, Fredericksburg, VA 22401          Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      10/12/2015 VA 1-436-174            1/22/2016                 10/12/2015               1/23/2021
  47309052 200 Collins Ave, Miami Beach, FL 33139                 Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/13/2015 VA 1-436-039            1/22/2016                 10/13/2015               6/30/2020
  47498584 385 Garrisonville Rd, Stafford, VA 22554               Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500      10/15/2015 VA 1-436-174            1/22/2016                 10/15/2015               6/27/2020
  47678231 202-210 New Edition Ct, Cary, NC 27511                 Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500      10/16/2015 VA 1-436-208            1/22/2016                 10/16/2015               7/31/2020
  48621726 15720-15754 Crabbs Branch Way, Rockville, MD 20855     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/27/2015 VA 1-435-891            1/22/2016                 10/27/2015               7/18/2020
  48748443 2779 Capital Cir NE, Tallahassee, FL 32308             David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/28/2015 VA 1-436-211            1/22/2016                 10/28/2015               8/10/2020
  48870275 8001-8013 Queenair Dr, Gaithersburg, MD 20879          Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/29/2015 VA 1-435-891            1/22/2016                 10/29/2015               7/20/2020
  48870279 19201-19225 Orbit Dr, Gaithersburg, MD 20879           Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/29/2015 VA 1-435-891            1/22/2016                 10/29/2015               5/16/2020
  48870282 8001-8013 Queenair Dr, Gaithersburg, MD 20879          Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/29/2015 VA 1-435-891            1/22/2016                 10/29/2015               7/21/2020
  48972674 19200-19228 Orbit Dr, Gaithersburg, MD 20879           Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      10/29/2015 VA 1-435-891            1/22/2016                 10/29/2015               7/20/2020
  49268023 21558-21564 Lorain Rd, Fairview Park, OH 44126         Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       11/2/2015 VA 1-436-248            1/22/2016                  11/2/2015               6/29/2020
  49587388 3001 S Richmond St, Salt Lake City, UT 84106           Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       11/4/2015 VA 1-436-265            1/22/2016                  11/4/2015                7/6/2020
  49730633 300 1st Ave S, Saint Petersburg, FL 33701              Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       11/6/2015 VA 1-436-268            1/22/2016                  11/6/2015                8/9/2020
  50241230 21760 Sr-54, Lutz, FL 33549                            James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300      11/10/2015 VA 1-435-924            1/22/2016                 11/10/2015                7/8/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                  83
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 MasterID                              Image Address                    Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  50376150 21211 Harper Ave, Saint Clair Shores, MI 48080        Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404     11/11/2015 VA 1-436-274             1/22/2016                11/11/2015              6/29/2020

  50376157 21211 Harper Ave, Saint Clair Shores, MI 48080        Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404     11/11/2015 VA 1-436-274             1/22/2016                11/11/2015               7/8/2020
  50727039 6300 Brookpark Rd, Cleveland, OH 44129                Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/14/2015 VA 1-436-248             1/22/2016                11/14/2015               7/4/2020
  50729223 13415 Connecticut Ave, Aspen Hill, MD 20906           Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/13/2015 VA 1-435-891             1/22/2016                11/13/2015               7/7/2020
  50732785 222-238 NE Roberts Ave, Gresham, OR 97030             Christopher Weaver                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/13/2015 VA 1-436-238             1/22/2016                11/13/2015              6/28/2020
  50733727 2126 N Perryville Rd, Rockford, IL 61107              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/13/2015 VA 1-436-223             1/22/2016                11/13/2015              6/29/2020
  50733732 2126 N Perryville Rd, Rockford, IL 61107              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/13/2015 VA 1-436-223             1/22/2016                11/13/2015              6/27/2020
  50733734 2126 N Perryville Rd, Rockford, IL 61107              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/13/2015 VA 1-436-223             1/22/2016                11/13/2015               7/7/2020
  58680080 541 NW Interpark Pl, Port Saint Lucie, FL 34986       David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/5/2015 VA 1-436-184             1/22/2016                 11/5/2015              7/10/2020
  58680099 541 NW Interpark Pl, Port Saint Lucie, FL 34986       David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/5/2015 VA 1-436-184             1/22/2016                 11/5/2015               7/5/2020
  48089141 3758 S Carrier Pky, Grand Prairie, TX 75052           Stacey Callaway                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     10/21/2015 VA 1-436-165             1/22/2016                10/21/2015              7/15/2020
  48274300 1864 E 22nd St, Los Angeles, CA 90058                 J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/23/2015 VA 1-435-888             1/22/2016                10/23/2015               7/6/2020
  50374106 3560 Fairmount Ave, San Diego, CA 92105               Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/12/2015 VA 1-436-556             1/22/2016                11/12/2015              6/30/2020
  51022250 150 W Ivy Ave, Inglewood, CA 90302                    J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/9/2015 VA 1-435-888             1/22/2016                 11/9/2015               4/7/2021
  51560015 5571-5579 W Manchester Ave, Los Angeles, CA 90045     J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2015 VA 1-435-888             1/22/2016                11/11/2015               7/8/2020
  50725551 631-657 Indian Hill Blvd, Pomona, CA 91767            Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/13/2015 VA 1-436-257             1/22/2016                11/13/2015               1/2/2021
  46667298 983 Beneva Rd, Sarasota, FL 34232                     Mark Dolan                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/7/2015 VA 1-436-044             1/22/2016                 10/7/2015             10/28/2020
  48088521 2914-2936 Wilshire Blvd, Santa Monica, CA 90403       Kenneth Lund                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/20/2015 VA 1-435-870             1/22/2016                10/20/2015               7/4/2020
  46669149 140 Prospect Ave, Hackensack, NJ 07601                John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/6/2015 VA 1-436-209             1/22/2016                 10/6/2015               7/2/2020
  48084727 170 Prospect Ave, Hackensack, NJ 07601                John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     10/13/2015 VA 1-436-209             1/22/2016                10/13/2015               7/5/2020
  48084739 170 Prospect Ave, Hackensack, NJ 07601                John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     10/13/2015 VA 1-436-209             1/22/2016                10/13/2015              6/29/2020
  48084749 170 Prospect Ave, Hackensack, NJ 07601                John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     10/13/2015 VA 1-436-209             1/22/2016                10/13/2015               7/9/2020
  48088183 545 Madison Ave, New York, NY 10022                   Victoria Iniguez                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/13/2015 VA 1-436-267             1/22/2016                10/13/2015              7/16/2020
  48595305 180 Clinch Ave, Clinton, TN 37716                     Terri Stanley                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/26/2015 VA 1-436-230             1/22/2016                10/26/2015              6/27/2020
  48595309 180 Clinch Ave, Clinton, TN 37716                     Terri Stanley                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/26/2015 VA 1-436-230             1/22/2016                10/26/2015              6/26/2020
  48595312 180 Clinch Ave, Clinton, TN 37716                     Terri Stanley                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/26/2015 VA 1-436-230             1/22/2016                10/26/2015              6/27/2020
  50186454 614 5th Ave, Coraopolis, PA 15108                     Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/9/2015 VA 1-436-562             1/22/2016                 11/9/2015              7/24/2020
  50186457 614 5th Ave, Coraopolis, PA 15108                     Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/9/2015 VA 1-436-562             1/22/2016                 11/9/2015              7/24/2020
  50186465 614 5th Ave, Coraopolis, PA 15108                     Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/9/2015 VA 1-436-562             1/22/2016                 11/9/2015              7/24/2020
  50186468 615 5th Ave, Coraopolis, PA 15108                     Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/9/2015 VA 1-436-562             1/22/2016                 11/9/2015              7/24/2020
  53095920 230 Park Ave, New York, NY 10169                      Victoria Iniguez                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/9/2015 VA 1-436-034             1/22/2016                 12/9/2015              6/26/2020
  46261972 9200 Harris Corners Pky, Charlotte, NC 28269          Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/1/2015 VA 1-436-042             1/22/2016                 10/1/2015               7/3/2020
  48274351 128 N Broad St, Mooresville, NC 28115                 Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/23/2015 VA 1-436-042             1/22/2016                10/23/2015              8/10/2020
  48595476 20468 Chartwell Center Dr, Cornelius, NC 28031        Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/26/2015 VA 1-436-042             1/22/2016                10/26/2015             11/21/2020
  46872711 7911-7915 Belair Rd, Baltimore, MD 21236              Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/8/2015 VA 1-436-189             1/22/2016                 10/8/2015               7/1/2020
  47908966 5400 N Oak Tfwy, Kansas City, MO 64118                Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/16/2015 VA 1-435-877             1/22/2016                10/16/2015               7/7/2020
  50243090 2419 E Skelly Dr, Tulsa, OK 74105                     Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/11/2015 VA 1-436-032             1/22/2016                11/11/2015               7/4/2020
  46976552 42020 Winchester Rd, Temecula, CA 92590               Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/8/2015 VA 1-436-035             1/22/2016                 10/8/2015               7/6/2020
  50240854 1600 Sacramento Ave, West Sacramento, CA 95605        Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2015 VA 1-436-160             1/22/2016                11/11/2015               7/1/2020
  50374561 2950 Beacon Blvd, West Sacramento, CA 95691           Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/12/2015 VA 1-436-160             1/22/2016                11/12/2015             11/26/2020
  47502705 2605 Tamiami Trl, Port Charlotte, FL 33952            Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/15/2015 VA 1-436-581             1/22/2016                10/15/2015               7/5/2020
  47502709 2605 Tamiami Trl, Port Charlotte, FL 33952            Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/15/2015 VA 1-436-581             1/22/2016                10/15/2015              6/26/2020
  47502716 2605 Tamiami Trl, Port Charlotte, FL 33952            Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/15/2015 VA 1-436-581             1/22/2016                10/15/2015               7/1/2020
  48090592 340 Cox St, Roselle, NJ 07203                         Alyssa Cirilli                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/22/2015 VA 1-436-250             1/22/2016                10/22/2015               8/8/2020
  48970308 71-75 Maryland Ave, Annapolis, MD 21401               Brandon Maxwell                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/30/2015 VA 1-435-875             1/22/2016                10/30/2015               7/1/2020
  49429903 50-01 25th Ave, Woodside, NY 11377                    Jessica Ho                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/3/2015 VA 1-435-869             1/22/2016                 11/3/2015              7/13/2020
  49429941 5001-5085 25th Ave, Woodside, NY 11377                Jessica Ho                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/3/2015 VA 1-435-869             1/22/2016                 11/3/2015              7/13/2020
  49588627 800 N Swan Rd, Tucson, AZ 85711                       Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015               7/1/2020
  49588633 800 N Swan Rd, Tucson, AZ 85711                       Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015               7/3/2020
  49588644 800 N Swan Rd, Tucson, AZ 85711                       Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015               7/4/2020
  49588672 4630-4638 E Grant Rd, Tucson, AZ 85712                Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015               7/2/2020
  49588683 4630-4638 E Grant Rd, Tucson, AZ 85712                Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015               7/2/2020
  49588715 4444 E Grant Rd, Tucson, AZ 85712                     Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015              6/28/2020
  49588719 4444 E Grant Rd, Tucson, AZ 85712                     Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/4/2015 VA 1-436-222             1/22/2016                 11/4/2015              6/30/2020
  49733390 2675 Winkler Ave, Fort Myers, FL 33901                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/5/2015 VA 1-436-581             1/22/2016                 11/5/2015              6/26/2020
  50241868 206 Honeywood Ave, Charlotte, NC 28216                Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/10/2015 VA 1-435-874             1/22/2016                11/10/2015               7/1/2020
  50839382 4651 N 1st Ave, Tucson, AZ 85718                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/13/2015 VA 1-436-222             1/22/2016                11/13/2015              6/30/2020
  50839414 4651 N 1st Ave, Tucson, AZ 85718                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/13/2015 VA 1-436-222             1/22/2016                11/13/2015              7/10/2020
  49586863 S Old US 23, Brighton, MI 48114                       Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/4/2015 VA 1-436-263             1/22/2016                 11/4/2015               7/4/2020
  46882033 821 S Broadway St, Little Rock, AR 72201              Joshua Suter                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2015 VA 1-436-225             1/22/2016                 10/4/2015               7/1/2020
  48873932 17900 Brookhurst St, Fountain Valley, CA 92708        David Manahan                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/28/2015 VA 1-436-270             1/22/2016                10/28/2015               7/4/2020
  48873963 250 E 17th St, Costa Mesa, CA 92627                   David Manahan                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/29/2015 VA 1-436-270             1/22/2016                10/29/2015              6/26/2020
  50727209 1230 Six Flags Rd, Austell, GA 30168                  Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/17/2015 VA 1-436-010             2/10/2016                11/17/2015               7/7/2020
  50727368 6796 Jimmy Carter Blvd, Norcross, GA 30071            Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/17/2015 VA 1-436-010             2/10/2016                11/17/2015               8/9/2020
  50727436 6099 Buford Hwy, Norcross, GA 30071                   Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/17/2015 VA 1-436-010             2/10/2016                11/17/2015               7/7/2020
  50727440 6099 Buford Hwy, Norcross, GA 30071                   Russell Holloway                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/17/2015 VA 1-436-010             2/10/2016                11/17/2015              6/30/2020
  51016833 2501 Banksville Rd, Pittsburgh, PA 15216              Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     11/19/2015 VA 1-436-201             2/10/2016                11/19/2015              8/10/2020
  51016911 304 Depot St, Latrobe, PA 15650                       Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     11/19/2015 VA 1-436-201             2/10/2016                11/19/2015              8/12/2020
  51016920 610 Broad St, New Bethlehem, PA 16242                 Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500     11/19/2015 VA 1-436-201             2/10/2016                11/19/2015               7/3/2020
  50727065 4830 E 49th St, Cuyahoga Heights, OH 44125            Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/16/2015 VA 1-436-101             2/10/2016                11/16/2015              2/21/2021
  50734784 1954 N Gateway Blvd, Fresno, CA 93727                 John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836     11/16/2015 VA 1-435-994             2/10/2016                11/16/2015               7/6/2020
  51397988 3108 Glen Royal Rd, Raleigh, NC 27617                 Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/23/2015 VA 1-435-948             2/10/2016                11/23/2015              6/26/2020
  52535741 4350 Chantal Ln, Sanford, FL 32771                    Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/5/2015 VA 1-436-198             2/10/2016                 12/5/2015               8/9/2020
  52728554 24800-24900 Euclid Ave, Euclid, OH 44117              Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/7/2015 VA 1-436-101             2/10/2016                 12/7/2015               7/2/2020
  53094474 19500-19536 Doctors Dr, Germantown, MD 20874          Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/10/2015 VA 1-435-941             2/10/2016                12/10/2015              5/16/2020

  53218087 2356 Harding Hwy, Lima, OH 45804                      Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404     12/11/2015 VA 1-435-996             2/10/2016                12/11/2015               6/7/2021
  53606902 3907 Medical Pky, Austin, TX 78756                    Michael Marx                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/15/2015 VA 1-436-693             2/10/2016                12/15/2015              6/29/2020




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   53606906 3907 Medical Pky, Austin, TX 78756                    Michael Marx                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/15/2015 VA 1-436-693              2/10/2016                 12/15/2015              6/29/2020
   53606911 3907 Medical Pky, Austin, TX 78756                    Michael Marx                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/15/2015 VA 1-436-693              2/10/2016                 12/15/2015               7/2/2020
   53877225 1002 E Walnut Ave, Tulare, CA 93274                   John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/15/2015 VA 1-435-994              2/10/2016                 12/15/2015               7/1/2020
   53877232 1002 E Walnut Ave, Tulare, CA 93274                   John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/15/2015 VA 1-435-994              2/10/2016                 12/15/2015               7/8/2020
   54351383 9560-9582 Diamond Centre Dr, Mentor, OH 44060         Linda Cook                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2015 VA 1-436-101              2/10/2016                 12/22/2015               1/2/2021
   54354344 11718-11788 N Dale Mabry Hwy, Tampa, FL 33618         Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2015 VA 1-435-944              2/10/2016                 12/22/2015               7/7/2020
   54354348 11718-11788 N Dale Mabry Hwy, Tampa, FL 33618         Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2015 VA 1-435-944              2/10/2016                 12/22/2015               7/2/2020
   54468889 547 Main St, Hyannis, MA 02601                        Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/23/2015 VA 1-435-957              2/10/2016                 12/23/2015               8/9/2020
   54985363 41-43 N Main St, Porterville, CA 93257                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/29/2015 VA 1-435-994              2/10/2016                 12/29/2015               7/8/2020
   54985367 41-43 N Main St, Porterville, CA 93257                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/29/2015 VA 1-435-994              2/10/2016                 12/29/2015               7/4/2020
   54985372 41-43 N Main St, Porterville, CA 93257                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/29/2015 VA 1-435-994              2/10/2016                 12/29/2015               7/1/2020
   55226687 425 SW Wilshire Blvd, Burleson, TX 76028              Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/31/2015 VA 1-436-097              2/10/2016                 12/31/2015               7/5/2020
   55226689 425 SW Wilshire Blvd, Burleson, TX 76028              Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/31/2015 VA 1-436-097              2/10/2016                 12/31/2015              6/29/2020
   55226691 425 SW Wilshire Blvd, Burleson, TX 76028              Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/31/2015 VA 1-436-097              2/10/2016                 12/31/2015               7/6/2020
   55226694 425 SW Wilshire Blvd, Burleson, TX 76028              Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/31/2015 VA 1-436-097              2/10/2016                 12/31/2015              6/29/2020
   53877339 3320 Davis St, Dallas, TX 75211                       Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/17/2015 VA 1-436-169              2/10/2016                 12/17/2015              6/29/2020
   51286250 2603-2621 Denver St, San Diego, CA 92110              Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/20/2015 VA 1-436-133              2/10/2016                 11/20/2015              6/30/2020
   52366319 932 S Hill St, Los Angeles, CA 90015                  J. Blomdahl                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/2/2015 VA 1-436-109              2/10/2016                  12/2/2015               7/3/2020
   52856983 451-473 N Central Ave, Upland, CA 91786               Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2015 VA 1-436-081              2/10/2016                  12/8/2015              5/16/2020
   53607347 1818 E Elma Ct, Ontario, CA 91764                     Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/15/2015 VA 1-436-081              2/10/2016                 12/15/2015              6/26/2020
   51016065 100 W Laurel Ave, Cheltenham, PA 19012                Jerry Block                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/17/2015 VA 2-093-503              2/10/2016                 11/17/2015              1/23/2021
   51016136 1005-1007 Laurel Oak Rd, Voorhees, NJ 08043           Jerry Block                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/17/2015 VA 2-093-503              2/10/2016                 11/17/2015              6/30/2020
   51016438 380 W Lancaster Ave, Wayne, PA 19087                  Jerry Block                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/17/2015 VA 2-093-503              2/10/2016                 11/17/2015               7/9/2020
   54804158 1626 Westwood Blvd, Los Angeles, CA 90024             Kenneth Lund                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/28/2015 VA 1-436-106              2/10/2016                 12/28/2015              7/14/2020
   51496392 475 Avenel St, Woodbridge, NJ 07095                   John Georgiadis                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     11/20/2015 VA 1-435-959              2/10/2016                 11/20/2015               7/9/2020
   52260540 1103 Pa-31, Ruffs Dale, PA 15679                      Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938      12/3/2015 VA 1-436-121              2/10/2016                  12/3/2015               7/9/2020
   52365602 1041 Sage Mill Pky, Graniteville, SC 29829            Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/2/2015 VA 1-436-009              2/10/2016                  12/2/2015              6/26/2020
   52732463 9314 Lee Hwy, Ooltewah, TN 37363                      Terri Stanley                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/3/2015 VA 1-436-170              2/10/2016                  12/3/2015              6/28/2020
   53735679 1521 S Buncombe Rd, Greer, SC 29651                   William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/16/2015 VA 1-436-033              2/10/2016                 12/16/2015               7/6/2020
   53985457 852 Commerce St, Thornwood, NY 10594                  Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/19/2015 VA 1-436-055              2/10/2016                 12/19/2015               2/2/2021
   53218344 105 Carroll Island Rd, Middle River, MD 21220         Heather Coburn                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/11/2015 VA 1-436-082              2/10/2016                 12/11/2015              6/30/2020
   51497216 3 E 41st St, Sand Springs, OK 74063                   Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/24/2015 VA 2-093-492              2/10/2016                 11/24/2015               7/9/2020
   51559079 5910 Galley Rd, Colorado Springs, CO 80915            Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/25/2015 VA 1-436-172              2/10/2016                 11/25/2015               7/2/2020
   51920245 1013 W Ithica St, Broken Arrow, OK 74012              Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      12/1/2015 VA 1-436-124              2/10/2016                  12/1/2015              6/27/2020
   51920249 1013 W Ithica St, Broken Arrow, OK 74012              Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      12/1/2015 VA 1-436-124              2/10/2016                  12/1/2015               7/2/2020
   51920255 1013 W Ithica St, Broken Arrow, OK 74012              Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      12/1/2015 VA 1-436-124              2/10/2016                  12/1/2015               7/8/2020
   52366184 304 N 179th St, Omaha, NE 68118                       Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/3/2015 VA 1-436-086              2/10/2016                  12/3/2015               8/9/2020
   52366186 304 N 179th St, Omaha, NE 68118                       Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/3/2015 VA 1-436-086              2/10/2016                  12/3/2015               8/8/2020
   52858180 209 E Lilac Dr, Edmond, OK 73034                      Jamie Limberg                                                                   CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      12/8/2015 VA 1-435-930              2/10/2016                  12/8/2015              6/12/2021
   52858212 317 Lilac Dr, Edmond, OK 73034                        Jamie Limberg                                                                   CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      12/8/2015 VA 1-435-930              2/10/2016                  12/8/2015              6/12/2021
   54352172 1119-1123 Merriam Ln, Kansas City, KS 66103           Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2015 VA 1-436-140              2/10/2016                 12/22/2015               7/4/2020
   50946774 600 S Sherman St, Richardson, TX 75081                Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/17/2015 VA 1-436-171              2/10/2016                 11/17/2015              6/27/2020
   51020270 315 Northpoint Pky SE, Acworth, GA 30102              Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/19/2015 VA 1-436-105              2/10/2016                 11/19/2015              6/28/2020
   52733581 7840 W 103rd St, Palos Hills, IL 60465                Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/7/2015 VA 1-435-967              2/10/2016                  12/7/2015              2/12/2021
   53096462 8441 Belair Rd, Nottingham, MD 21236                  Brandon Maxwell                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/10/2015 VA 1-436-131              2/10/2016                 12/10/2015              7/31/2020
   53409191 224 N Sycamore St, Petersburg, VA 23803               Matthew Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/14/2015 VA 1-436-144              2/10/2016                 12/14/2015              6/26/2020
   53409199 224 N Sycamore St, Petersburg, VA 23803               Matthew Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/14/2015 VA 1-436-144              2/10/2016                 12/14/2015               7/6/2020
   53737922 999 E Fry Blvd, Sierra Vista, AZ 85635                Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/16/2015 VA 1-436-103              2/10/2016                 12/16/2015               7/3/2020
   53737928 999 E Fry Blvd, Sierra Vista, AZ 85635                Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/16/2015 VA 1-436-103              2/10/2016                 12/16/2015               7/7/2020
   53737937 999 E Fry Blvd, Sierra Vista, AZ 85635                Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/16/2015 VA 1-436-103              2/10/2016                 12/16/2015              6/27/2020
   53737942 999 E Fry Blvd, Sierra Vista, AZ 85635                Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/16/2015 VA 1-436-103              2/10/2016                 12/16/2015              6/27/2020
   53987047 5524 E Grant Rd, Tucson, AZ 85712                     Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/18/2015 VA 1-436-103              2/10/2016                 12/18/2015               7/5/2020
   53987050 5524 E Grant Rd, Tucson, AZ 85712                     Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/18/2015 VA 1-436-103              2/10/2016                 12/18/2015              6/30/2020
   54471597 720 N 2nd St, Philadelphia, PA 19123                  Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/23/2015 VA 1-436-204              2/10/2016                 12/23/2015               7/9/2020
   54804570 2129 Arch St, Philadelphia, PA 19103                  Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/28/2015 VA 1-436-205              2/10/2016                 12/28/2015              7/15/2020
   54804581 2129 Arch St, Philadelphia, PA 19103                  Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/28/2015 VA 1-436-205              2/10/2016                 12/28/2015              7/15/2020
   54804594 2129 Arch St, Philadelphia, PA 19103                  Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/28/2015 VA 1-436-205              2/10/2016                 12/28/2015              7/15/2020
   54896314 12021 Plano Rd, Dallas, TX 75243                      Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/29/2015 VA 1-436-171              2/10/2016                 12/29/2015              6/29/2020
   50838478 1151 12th Ave, Honolulu, HI 96816                     Lima Maino                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/17/2015 VA 1-436-142              2/10/2016                 11/17/2015               7/2/2020
   52730821 437 W Stewart St, Owosso, MI 48867                    Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      12/7/2015 VA 1-436-015              2/10/2016                  12/7/2015               7/8/2020

  50728520 1798 Ashley River Rd, Charleston, SC 29407             Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/17/2015 VA 1-436-013             2/10/2016                 11/17/2015               6/27/2020

  50728532 1798 Ashley River Rd, Charleston, SC 29407             Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/17/2015 VA 1-436-013             2/10/2016                 11/17/2015               6/30/2020

  50728539 1798 Ashley River Rd, Charleston, SC 29407             Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/17/2015 VA 1-436-013             2/10/2016                 11/17/2015                7/7/2020

  52729154 130 Stephenson Ave, Savannah, GA 31405                 Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       12/7/2015 VA 1-436-013             2/10/2016                  12/7/2015               7/31/2020
  54472229 16281-16361 Harbor Blvd, Fountain Valley, CA 92708     David Manahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2015 VA 1-436-089             2/10/2016                 12/22/2015               6/29/2020
  50843111 201 Woolston Dr, Morrisville, PA 19067                 Lisa Levonian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/16/2015 VA 1-436-107             2/10/2016                 11/16/2015                7/4/2020
  56913375 822 E Centerville Rd, Garland, TX 75041                Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/15/2016 VA 1-436-769             3/24/2016                  1/15/2016                7/3/2020
  56015686 9402 Business Dr, Austin, TX 78758                     Leigh Christian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/11/2016 VA 1-436-635             3/24/2016                  1/11/2016              12/29/2020
  56337205 450 Main St, Pawtucket, RI 02860                       Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/12/2016 VA 1-436-633             3/24/2016                  1/12/2016                7/2/2020
  56337222 450 Main St, Pawtucket, RI 02860                       Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/12/2016 VA 1-436-633             3/24/2016                  1/12/2016                7/4/2020
  56454186 10245-10275 Brecksville Rd, Brecksville, OH 44141      Linda Cook                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2016 VA 1-436-660             3/24/2016                  1/15/2016               7/10/2020
  56454949 6178 Oxon Hill Rd, Oxon Hill, MD 20745                 Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/15/2016 VA 1-436-843             3/24/2016                  1/15/2016               6/28/2020
  56686557 4904 Caswell Pl, Wilson, NC 27893                      Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/15/2016 VA 1-436-629             3/24/2016                  1/15/2016                7/4/2020
  56686564 4904 Caswell Pl, Wilson, NC 27893                      Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/15/2016 VA 1-436-629             3/24/2016                  1/15/2016               6/30/2020
  56908912 854 W Main St, Branford, CT 06405                      Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/19/2016 VA 1-436-862             3/24/2016                  1/19/2016                7/2/2020
  57329867 67 Industrial Park, Monticello, FL 32344               David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2016 VA 1-436-859             3/24/2016                  1/25/2016                7/3/2020




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  57330082 1104-1106 S 8th St, Noblesville, IN 46060            Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/25/2016 VA 1-436-641             3/24/2016                 1/25/2016               7/6/2020
  57438187 2459 S Congress Ave, West Palm Beach, FL 33406       David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/21/2016 VA 1-436-840             3/24/2016                 1/21/2016               7/1/2020
  57558361 6800 N Dale Mabry Hwy, Tampa, FL 33614               Clint Bliss                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2016 VA 2-093-247             3/24/2016                 1/27/2016              6/25/2020
  57650330 1700 N Monroe St, Tallahassee, FL 32303              David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/28/2016 VA 1-436-859             3/24/2016                 1/28/2016               7/1/2020
  58205767 198 Airport Rd, Fall River, MA 02720                 Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/3/2016 VA 1-436-633             3/24/2016                  2/3/2016              7/17/2021
  58209337 3491 NW 167th St, Miami Gardens, FL 33056            Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/3/2016 VA 1-436-642             3/24/2016                  2/3/2016               7/7/2020
  58209348 3491 NW 167th St, Miami Gardens, FL 33056            Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/3/2016 VA 1-436-642             3/24/2016                  2/3/2016               7/1/2020
  58209365 3491 NW 167th St, Miami Gardens, FL 33056            Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/3/2016 VA 1-436-642             3/24/2016                  2/3/2016               7/5/2020
  58299771 7119 Beech Ridge Trl, Tallahassee, FL 32312          David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2016 VA 1-436-859             3/24/2016                  2/4/2016               7/7/2020
  58508162 30011-30015 Euclid Ave, Wickliffe, OH 44092          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-660             3/24/2016                  2/5/2016               7/2/2020
  58508164 30011-30015 Euclid Ave, Wickliffe, OH 44092          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-660             3/24/2016                  2/5/2016               7/9/2020
  58508166 30011-30015 Euclid Ave, Wickliffe, OH 44092          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-660             3/24/2016                  2/5/2016               7/4/2020
  58508173 30011-30015 Euclid Ave, Wickliffe, OH 44092          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-660             3/24/2016                  2/5/2016              6/26/2020
  58508174 30011-30015 Euclid Ave, Wickliffe, OH 44092          Linda Cook                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-660             3/24/2016                  2/5/2016              7/10/2020

  58577268 2517-2535 E 10th St, Anderson, IN 46012              Jason Koenig                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/8/2016 VA 1-436-641             3/24/2016                  2/8/2016              7/13/2020
  58680721 1909 Hillbrooke Trl, Tallahassee, FL 32311           David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/9/2016 VA 1-436-859             3/24/2016                  2/9/2016              6/27/2020

  58682778 333-333 1/2 S Main St, Rochester, MI 48307           Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/9/2016 VA 1-436-839             3/24/2016                  2/9/2016               7/9/2020
  58796686 7874 Sheriff Rd, Hyattsville, MD 20785               Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/10/2016 VA 1-436-843             3/24/2016                 2/10/2016              7/10/2020
  58866939 5405 Okeechobee Blvd, West Palm Beach, FL 33417      David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/11/2016 VA 1-436-840             3/24/2016                 2/11/2016               7/6/2020
  59474688 4 Professional Dr, Gaithersburg, MD 20879            Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/18/2016 VA 1-436-843             3/24/2016                 2/18/2016              5/16/2020
  57558491 6115 Santa Monica Blvd, Los Angeles, CA 90038        J. Blomdahl                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/8/2016 VA 1-436-663             3/24/2016                  1/8/2016               7/3/2020
  55438553 155 Franklin Ave, Nutley, NJ 07110                   John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       1/4/2016 VA 2-046-776             3/24/2016                  1/4/2016               7/1/2020
  55544724 4 Danbury Rd, Wilton, CT 06897                       Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       1/6/2016 VA 1-436-837             3/24/2016                  1/6/2016              6/29/2020
  56336376 102 Queens Dr, King Of Prussia, PA 19406             Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/11/2016 VA 1-436-672             3/24/2016                 1/11/2016               7/7/2020
  56336395 102 Queens Dr, King Of Prussia, PA 19406             Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/11/2016 VA 1-436-672             3/24/2016                 1/11/2016               7/5/2020
  56342928 800 Highway 28 Byp, Anderson, SC 29624               William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/13/2016 VA 1-436-870             3/24/2016                 1/13/2016              5/19/2021

  57114742 7 Stonebridge Blvd, Jackson, TN 38305                Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016               7/4/2020

  57114751 7 Stonebridge Blvd, Jackson, TN 38305                Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016              6/30/2020

  57114763 7 Stonebridge Blvd, Jackson, TN 38305                Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016               7/1/2020

  57114771 100 Vann Dr, Jackson, TN 38305                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016               7/5/2020

  57114776 7 Stonebridge Blvd, Jackson, TN 38305                Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016               7/5/2020

  57114783 100 Vann Dr, Jackson, TN 38305                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/22/2016 VA 1-436-678             3/24/2016                 1/22/2016               7/1/2020

  57441879 242 S Byhalia Rd, Collierville, TN 38017             Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/13/2016 VA 1-436-678             3/24/2016                 1/13/2016               7/4/2020

  57441883 242 S Byhalia Rd, Collierville, TN 38017             Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      1/13/2016 VA 1-436-678             3/24/2016                 1/13/2016               7/1/2020
  58093970 2616 Alpine Rd, Columbia, SC 29223                   Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/29/2016 VA 1-436-789             3/24/2016                 1/29/2016             11/21/2020
  58208532 4115 River Watch Pky, Augusta, GA 30907              Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/2/2016 VA 1-436-789             3/24/2016                  2/2/2016              10/3/2020
  55544313 2828-2844 NW 10th St, Oklahoma City, OK 73107        Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       1/6/2016 VA 1-436-631             3/24/2016                  1/6/2016              6/25/2020
  56014158 7973 Us-277, Elgin, OK 73538                         Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      1/11/2016 VA 1-436-631             3/24/2016                 1/11/2016               7/2/2020
  56014167 7973 Us-277, Elgin, OK 73538                         Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      1/11/2016 VA 1-436-631             3/24/2016                 1/11/2016               7/3/2020
  56014178 7973 Us-277, Elgin, OK 73538                         Jamie Limberg                                                                 CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960      1/11/2016 VA 1-436-631             3/24/2016                 1/11/2016               7/2/2020
  57557208 602 Fortino Blvd, Pueblo, CO 81008                   Stacey Rocero                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2016 VA 1-436-847             3/24/2016                 1/27/2016               7/7/2020
  57652371 1401 SW 14th St, Bentonville, AR 72712               Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      1/28/2016 VA 1-436-675             3/24/2016                 1/28/2016               7/2/2020
  58962987 1441 29th St, Denver, CO 80205                       Jason Tuomey                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/8/2016 VA 1-436-650             3/24/2016                  2/8/2016              6/30/2020

  59230306 2212 N Main St, Shelbyville, TN 37160                Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      2/12/2016 VA 2-093-284             3/24/2016                 2/12/2016               7/3/2020
  57934602 3919 Kristi Ct, Sacramento, CA 95827                 Mark McNamara                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/1/2016 VA 1-436-677             3/24/2016                  2/1/2016              7/31/2020
  55438279 1410 W Guadalupe Rd, Gilbert, AZ 85233               Nicholas Cassano                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/5/2016 VA 2-116-939             3/24/2016                  1/5/2016              8/11/2020
  55546359 15 Cactus Garden Dr, Henderson, NV 89014             Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/6/2016 VA 1-436-644             3/24/2016                  1/6/2016              1/27/2021
  56016260 6508 Westheimer Rd, Houston, TX 77057                Jarren Small                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/11/2016 VA 1-436-632             3/24/2016                 1/11/2016              6/28/2020
  56349665 3980 E Sunset Rd, Las Vegas, NV 89120                Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      1/12/2016 VA 1-436-644             3/24/2016                 1/12/2016               7/3/2020
  56349679 6041 McLeod Dr, Las Vegas, NV 89120                  Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      1/12/2016 VA 1-436-644             3/24/2016                 1/12/2016               7/4/2020
  56349684 6041 McLeod Dr, Las Vegas, NV 89120                  Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      1/12/2016 VA 1-436-644             3/24/2016                 1/12/2016               7/2/2020
  56351391 3160 Saturn Rd, Garland, TX 75041                    Robert Beary                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      1/13/2016 VA 1-436-769             3/24/2016                 1/13/2016              4/17/2021
  56353058 12751 New Brittany Blvd, Fort Myers, FL 33907        Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/12/2016 VA 1-436-646             3/24/2016                 1/12/2016              6/29/2020
  57115813 1080 Sanders Rd, Cumming, GA 30041                   Kris Kasabian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/22/2016 VA 1-436-637             3/24/2016                 1/22/2016              8/12/2020
  57441600 13310 S Ridge Dr, Charlotte, NC 28273                Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/26/2016 VA 1-436-669             3/24/2016                 1/26/2016              4/29/2020
  57441613 13310 S Ridge Dr, Charlotte, NC 28273                Jill Gilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/26/2016 VA 1-436-669             3/24/2016                 1/26/2016              4/29/2020
  57720133 5114 Williamsburg Rd, Sandston, VA 23150             Matthew Cook                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/29/2016 VA 1-436-676             3/24/2016                 1/29/2016               7/6/2020
  57811619 107 S Washington Ave, Saginaw, MI 48607              Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      1/29/2016 VA 1-436-833             3/24/2016                 1/29/2016              2/21/2021
  57811656 107 S Washington Ave, Saginaw, MI 48607              Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      1/29/2016 VA 1-436-833             3/24/2016                 1/29/2016              2/21/2021
  58739561 29540-29554 Ford Rd, Garden City, MI 48135           Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       2/8/2016 VA 1-436-833             3/24/2016                  2/8/2016             11/21/2020

  56765434 510 Miles Rd, Summerville, SC 29485                  Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      1/19/2016 VA 1-436-805             3/24/2016                 1/19/2016               8/8/2020
  56017238 1 E Main St, Northborough, MA 01532                  Jeremy Wescott                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/11/2016 VA 1-436-648             3/24/2016                 1/11/2016               7/4/2020
  57333989 7077 Orangewood Ave, Garden Grove, CA 92841          David Manahan                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/25/2016 VA 1-436-858             3/24/2016                 1/25/2016               7/2/2020
  58581624 21100 Superior St, Chatsworth, CA 91311              Adam Davis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 1-436-872             3/24/2016                  2/5/2016              6/27/2020
  56770198 333 N Oxford Valley Rd, Fairless Hills, PA 19030     Lisa Levonian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/19/2016 VA 1-436-811             3/24/2016                 1/19/2016             11/26/2020
  57446380 1021 Millcreek Dr, Feasterville, PA 19053            Lisa Levonian                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/26/2016 VA 1-436-811             3/24/2016                 1/26/2016              6/26/2020
  58402056 21300-21306 Superior St, Chatsworth, CA 91311        Adam Davis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2016 VA 2-118-214              4/5/2016                  2/5/2016               8/8/2020




                          OUTSIDE COUNSEL ONLY                                                                                                               86
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   58402057 21300-21306 Superior St, Chatsworth, CA 91311             Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/5/2016 VA 2-118-214               4/5/2016                   2/5/2016               8/9/2020
   58685051 515-525 N Azusa Ave, La Puente, CA 91744                  Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/9/2016 VA 2-118-214               4/5/2016                   2/9/2016              6/29/2020
   59474686 4 Professional Dr, Gaithersburg, MD 20879                 Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/18/2016 VA 2-048-108               5/5/2016                  2/18/2016               7/8/2020
   60336460 4017 W Dr Martin Luther King Jr Blvd, Tampa, FL 33614     Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/29/2016 VA 2-025-111               5/5/2016                  2/29/2016              1/23/2021
   60336463 4017 W Dr Martin Luther King Jr Blvd, Tampa, FL 33614     Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/29/2016 VA 2-025-111               5/5/2016                  2/29/2016              1/23/2021
   60451301 651 W Warren Ave, Longwood, FL 32750                      Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/1/2016 VA 2-050-032               5/5/2016                   3/1/2016              6/12/2021
   60687889 1270-1300 E Fairview Ave, Meridian, ID 83642              Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/29/2016 VA 2-025-244               5/5/2016                  2/29/2016              8/11/2020
   60687891 1270-1300 E Fairview Ave, Meridian, ID 83642              Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/29/2016 VA 2-025-244               5/5/2016                  2/29/2016              8/12/2020
   60687892 1270-1300 E Fairview Ave, Meridian, ID 83642              Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/29/2016 VA 2-025-244               5/5/2016                  2/29/2016              8/11/2020
   62453050 50 Lorraine St, New Britain, CT 06051                     Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      3/18/2016 VA 2-046-545               5/5/2016                  3/18/2016               7/1/2020

  62556308 990 S 13th St, Noblesville, IN 46060                       Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/22/2016 VA 2-047-571              5/5/2016                  3/22/2016                7/4/2020

  62556314 990 S 13th St, Noblesville, IN 46060                       Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/22/2016 VA 2-047-571              5/5/2016                  3/22/2016                7/5/2020
  62999530 259 W Main St, Batavia, NY 14020                           Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2016 VA 2-046-595              5/5/2016                  3/28/2016               6/26/2020

  63100411 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016               8/11/2020

  63100418 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016               8/11/2020

  63100421 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/8/2020

  63100427 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/7/2020

  63100431 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/9/2020

  63100438 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016               8/11/2020

  63100441 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/8/2020

  63100446 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016               8/11/2020

  63100449 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/8/2020

  63100453 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/9/2020

  63100456 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016               8/11/2020

  63100466 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/7/2020

  63100473 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/9/2020

  63100477 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/8/2020

  63100517 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2016 VA 2-025-119              5/5/2016                  3/29/2016                8/8/2020

  63328303 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/31/2016 VA 2-025-119              5/5/2016                  3/31/2016                8/7/2020

  63328333 210 Retreat Ln, Westerville, OH 43082                      Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/31/2016 VA 2-025-119              5/5/2016                  3/31/2016               8/11/2020
  60794934 2851 Plano Pky, The Colony, TX 75056                       Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/4/2016 VA 2-025-109              5/5/2016                   3/4/2016                7/1/2020
  60319933 1424 E 6th St, Irving, TX 75060                            Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/29/2016 VA 2-025-268              5/5/2016                  2/29/2016                7/4/2020
  60687965 1941 Whiskey Rd, Aiken, SC 29803                           Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/3/2016 VA 1-437-116              5/5/2016                   3/3/2016                8/9/2020
  61760540 4331 Sc-24 Hwy, Anderson, SC 29626                         William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/15/2016 VA 2-025-246              5/5/2016                  3/15/2016               6/30/2020
  61761237 4505 Broad River Rd, Columbia, SC 29210                    Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/15/2016 VA 1-437-116              5/5/2016                  3/15/2016                7/2/2020
  59229798 3900 S Western Ave, Chicago, IL 60609                      Benjamin Gonzales                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/16/2016 VA 2-025-855              5/5/2016                  2/16/2016              11/21/2020
  61447003 Riverwood Pky, Gastonia, NC 28056                          Roni-Leigh Burritt                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/11/2016 VA 2-050-007              5/5/2016                  3/11/2016                7/7/2020
  59800018 6509 NW 36th St, Bethany, OK 73008                         Jamie Limberg                                                                   CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       2/22/2016 VA 2-046-432              5/5/2016                  2/22/2016               6/25/2020
  59800027 6509 NW 36th St, Bethany, OK 73008                         Jamie Limberg                                                                   CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       2/22/2016 VA 2-046-432              5/5/2016                  2/22/2016                7/4/2020
  59800031 6509 NW 36th St, Bethany, OK 73008                         Jamie Limberg                                                                   CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       2/22/2016 VA 2-046-432              5/5/2016                  2/22/2016                7/5/2020
  61246754 12014 E 14th Ave, Aurora, CO 80010                         Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/8/2016 VA 2-025-258              5/5/2016                   3/8/2016               8/10/2020
  59229170 41571 Corning Pl, Murrieta, CA 92562                       Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/16/2016 VA 2-050-036              5/5/2016                  2/16/2016                7/1/2020
  59886150 3746 Comer Ave, Riverside, CA 92507                        Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/23/2016 VA 2-050-036              5/5/2016                  2/23/2016               7/15/2020
  59232087 6310 Highway 78, Sachse, TX 75048                          Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/16/2016 VA 2-054-505              5/5/2016                  2/16/2016                7/4/2020
  59232088 6310 Highway 78, Sachse, TX 75048                          Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/16/2016 VA 2-054-505              5/5/2016                  2/16/2016                7/7/2020
  60337350 5000 Eldorado Pky, McKinney, TX 75070                      Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/29/2016 VA 2-054-505              5/5/2016                  2/29/2016               8/10/2020
  62352034 1920-1950 Leslie St, San Mateo, CA 94403                   George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/17/2016 VA 2-048-105              5/5/2016                  3/17/2016               7/26/2020
  63204165 1072 S Elms Rd, Flint, MI 48532                            Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/29/2016 VA 2-025-136              5/5/2016                  3/29/2016                7/2/2020
  37657021 415 Speedwell Ave, Morris Plains, NJ 07950                 Alyssa Cirilli                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/8/2015 VA 2-093-318             6/16/2016                   6/8/2015                7/2/2020
  47905386 301 Plainfield Rd, Syracuse, NY 13212                      Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/20/2015 VA 1-435-908             6/22/2016                 10/20/2015               6/25/2020
  47905489 327-329 W Fayette St, Syracuse, NY 13202                   Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/20/2015 VA 1-435-908             6/22/2016                 10/20/2015                7/5/2020
  48423353 3165 Latta Rd, Greece, NY 14612                            Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/26/2015 VA 1-435-908             6/22/2016                 10/26/2015                7/8/2020
  48423354 3165 Latta Rd, Greece, NY 14612                            Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/26/2015 VA 1-435-908             6/22/2016                 10/26/2015               6/26/2020
  48423355 3165 Latta Rd, Greece, NY 14612                            Stewart Cairns                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/26/2015 VA 1-435-908             6/22/2016                 10/26/2015                7/1/2020
  46561198 6200-6240 Bristol Pike, Levittown, PA 19057                Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/5/2015 VA 1-435-905             6/22/2016                  10/5/2015                7/8/2020
  46561208 6200-6240 Bristol Pike, Levittown, PA 19057                Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/5/2015 VA 1-435-905             6/22/2016                  10/5/2015                7/2/2020

  48870874 4350-4354 Stage Rd, Memphis, TN 38128                      Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/29/2015 VA 1-435-902             6/22/2016                 10/29/2015               6/29/2020

  48870912 4350-4354 Stage Rd, Memphis, TN 38128                      Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/29/2015 VA 1-435-902             6/22/2016                 10/29/2015                7/3/2020
  50737179 3401 E Wier Ave, Phoenix, AZ 85040                         Nicholas Cassano                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2015 VA 1-435-903             6/22/2016                 11/12/2015                7/6/2021




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   48623095 800 E Main St, Richmond, VA 23219                      Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/27/2015 VA 1-435-900              6/22/2016                 10/27/2015                7/5/2020
   59554939 1444 E Main St, Visalia, CA 93292                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/19/2016 VA 2-038-244              6/30/2016                  2/19/2016                7/9/2020
   59554942 1444 E Main St, Visalia, CA 93292                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/19/2016 VA 2-038-244              6/30/2016                  2/19/2016                7/4/2020
   59554946 1444 E Main St, Visalia, CA 93292                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/19/2016 VA 2-038-244              6/30/2016                  2/19/2016                7/4/2020
   59887505 255-295 N 5th St, Coalinga, CA 93210                   John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/23/2016 VA 2-038-244              6/30/2016                  2/23/2016                7/2/2020
   61131159 4760 N Bendel Ave, Fresno, CA 93722                    John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       3/8/2016 VA 2-038-244              6/30/2016                   3/8/2016                7/9/2020
   61131162 4760 N Bendel Ave, Fresno, CA 93722                    John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       3/8/2016 VA 2-038-244              6/30/2016                   3/8/2016                7/6/2020
   61660975 4530 Fayetteville Rd, Raleigh, NC 27603                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      3/14/2016 VA 2-038-076              6/30/2016                  3/14/2016               6/28/2020
   61663216 1597 N Van Ness Ave, Fresno, CA 93728                  John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      3/11/2016 VA 2-038-244              6/30/2016                  3/11/2016               7/10/2020
   61663218 1597 N Van Ness Ave, Fresno, CA 93728                  John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      3/11/2016 VA 2-038-244              6/30/2016                  3/11/2016                7/4/2020
   62558300 1600 E Oakton St, Des Plaines, IL 60018                Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      3/23/2016 VA 2-050-278              6/30/2016                  3/23/2016              10/24/2020

  63663724 640-660 W Rich St, Columbus, OH 43215                   Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        4/4/2016 VA 2-038-081             6/30/2016                   4/4/2016                7/5/2020
  63782686 17200-17270 Royalton Rd, Strongsville, OH 44136         Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-023-206             6/30/2016                   4/5/2016               7/12/2021
  63782733 17406 Royalton Rd, Strongsville, OH 44136               Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-023-206             6/30/2016                   4/5/2016               6/26/2020
  63782735 17406 Royalton Rd, Strongsville, OH 44136               Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-023-206             6/30/2016                   4/5/2016                7/7/2020
  63782738 17406 Royalton Rd, Strongsville, OH 44136               Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-023-206             6/30/2016                   4/5/2016               6/27/2020
  63782743 17406 Royalton Rd, Strongsville, OH 44136               Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-023-206             6/30/2016                   4/5/2016                7/4/2020
  63782920 2784 Capital Cir NE, Tallahassee, FL 32308              David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-025-931             6/30/2016                   4/5/2016                7/4/2020
  63783241 101 Eastern Blvd, Fayetteville, NC 28301                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016                7/3/2020
  63783243 101 Eastern Blvd, Fayetteville, NC 28301                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016               6/28/2020
  63783244 101 Eastern Blvd, Fayetteville, NC 28301                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016               6/30/2020
  63783308 3011 Boone Trl, Fayetteville, NC 28304                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016                7/3/2020
  63783314 3011 Boone Trl, Fayetteville, NC 28304                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016               6/26/2020
  63783319 3011 Boone Trl, Fayetteville, NC 28304                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/5/2016 VA 2-023-187             6/30/2016                   4/5/2016                7/1/2020
  63783531 9400 International Ct N, Saint Petersburg, FL 33716     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-048-776             6/30/2016                   4/5/2016                7/3/2020
  63783544 9500 International Ct N, Saint Petersburg, FL 33716     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2016 VA 2-048-776             6/30/2016                   4/5/2016                7/3/2020
  63784396 745 S 100 E, Provo, UT 84606                            Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/5/2016 VA 2-022-717             6/30/2016                   4/5/2016                7/4/2020
  63858361 2931 Cresent Park Dr, Tallahassee, FL 32301             David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/6/2016 VA 2-025-931             6/30/2016                   4/6/2016               6/29/2020
  63860990 600 S Washington St, Naperville, IL 60540               Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/6/2016 VA 2-047-574             6/30/2016                   4/6/2016              11/18/2020
  63861002 1112 S Washington St, Naperville, IL 60540              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/6/2016 VA 2-047-574             6/30/2016                   4/6/2016               6/26/2020
  63861031 1112 S Washington St, Naperville, IL 60540              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/6/2016 VA 2-047-574             6/30/2016                   4/6/2016               6/25/2020
  63861463 13630 Immanuel Rd, Pflugerville, TX 78660               Leigh Christian                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/6/2016 VA 2-023-201             6/30/2016                   4/6/2016              11/14/2020
  63929936 6110 Trade Center Dr, Austin, TX 78744                  Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2016 VA 2-012-750             6/30/2016                   4/7/2016               11/7/2020
  63933259 225 W Front St, Wheaton, IL 60187                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/7/2016 VA 2-047-574             6/30/2016                   4/7/2016               7/10/2020
  63933274 225 W Front St, Wheaton, IL 60187                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/7/2016 VA 2-047-574             6/30/2016                   4/7/2016                7/7/2020
  63933282 225 W Front St, Wheaton, IL 60187                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/7/2016 VA 2-047-574             6/30/2016                   4/7/2016               6/28/2020
  63933288 225 W Front St, Wheaton, IL 60187                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/7/2016 VA 2-047-574             6/30/2016                   4/7/2016                7/5/2020
  63985455 901 Battleground Ave, Greensboro, NC 27408              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/8/2016 VA 2-025-997             6/30/2016                   4/8/2016               6/26/2020
  64314338 7901 E Riverside Dr, Austin, TX 78744                   Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/11/2016 VA 2-012-750             6/30/2016                  4/11/2016                2/2/2021
  64415084 27000-27156 S Dixie Hwy, Naranja, FL 33032              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2016 VA 2-050-479             6/30/2016                  4/12/2016                7/9/2020
  64419506 7940-7950 Cessna Ave, Gaithersburg, MD 20879            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2016 VA 2-026-005             6/30/2016                  4/13/2016               7/20/2020
  64431297 34-38 Burnham Ave, Unionville, CT 06085                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/11/2016 VA 2-025-937             6/30/2016                  4/11/2016               8/11/2020
  64431300 34-38 Burnham Ave, Unionville, CT 06085                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/11/2016 VA 2-025-937             6/30/2016                  4/11/2016               8/11/2020
  64434176 119-121 E 3rd St, Taylor, TX 76574                      Leigh Christian                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2016 VA 2-023-201             6/30/2016                  4/12/2016                7/3/2020
  64434180 119-121 E 3rd St, Taylor, TX 76574                      Leigh Christian                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2016 VA 2-023-201             6/30/2016                  4/12/2016               6/30/2020
  64434184 119-121 E 3rd St, Taylor, TX 76574                      Leigh Christian                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2016 VA 2-023-201             6/30/2016                  4/12/2016                7/6/2020
  64543781 15160 SW 136th St, Miami, FL 33196                      Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2016 VA 2-050-479             6/30/2016                  4/13/2016               6/28/2020
  64639561 1001 NW 163rd Dr, Miami, FL 33169                       Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2016 VA 2-050-479             6/30/2016                  4/14/2016               7/10/2020
  64650991 3000 SW 15th St, Deerfield Beach, FL 33442              Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2016 VA 2-048-113             6/30/2016                  4/13/2016              12/13/2020
  64653716 12925 Alcosta Blvd, San Ramon, CA 94583                 Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       4/14/2016 VA 2-050-647             6/30/2016                  4/14/2016               10/9/2020
  64739121 269 Market St, Warren, RI 02885                         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/15/2016 VA 2-022-726             6/30/2016                  4/15/2016                7/9/2020
  64913734 3300 N Fairfax Dr, Arlington, VA 22201                  Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/18/2016 VA 2-050-490             6/30/2016                  4/18/2016               8/11/2020
  65007195 1800 N Federal Hwy, Pompano Beach, FL 33062             Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2016 VA 2-048-113             6/30/2016                  4/14/2016                7/8/2020
  65008540 13344 1st Ave NE, Seattle, WA 98125                     Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2016 VA 2-022-685             6/30/2016                   4/7/2016                7/5/2020
  65013330 180 Main St, Cheshire, CT 06410                         Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/14/2016 VA 2-025-937             6/30/2016                  4/14/2016                8/9/2020
  65016321 500 W Central Rd, Mount Prospect, IL 60056              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/18/2016 VA 2-047-574             6/30/2016                  4/18/2016                7/6/2020
  65123535 2631-2641 E Atlantic Blvd, Pompano Beach, FL 33062      Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/18/2016 VA 2-048-113             6/30/2016                  4/18/2016               10/4/2020
  65129032 620 Dr Donnie H Jones Jr Blvd, Princeton, NC 27569      Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/19/2016 VA 2-023-187             6/30/2016                  4/19/2016               6/24/2021
  65244914 922-924 W Algonquin Rd, Arlington Heights, IL 60005     Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/20/2016 VA 2-047-574             6/30/2016                  4/20/2016                7/9/2020
  65244918 922-924 W Algonquin Rd, Arlington Heights, IL 60005     Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/20/2016 VA 2-047-574             6/30/2016                  4/20/2016               7/10/2020
  65244931 922-924 W Algonquin Rd, Arlington Heights, IL 60005     Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/20/2016 VA 2-047-574             6/30/2016                  4/20/2016                7/7/2020
  65244933 922-924 W Algonquin Rd, Arlington Heights, IL 60005     Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/20/2016 VA 2-047-574             6/30/2016                  4/20/2016               6/30/2020
  65445735 12605 NW 115th Ave, Medley, FL 33178                    Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2016 VA 2-050-479             6/30/2016                  4/21/2016              10/21/2020
  65607295 2185 N State Road 7, Margate, FL 33063                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2016 VA 2-048-113             6/30/2016                  4/25/2016                7/2/2020
  65607300 2185 N State Road 7, Margate, FL 33063                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2016 VA 2-048-113             6/30/2016                  4/25/2016               6/25/2020
  65607306 2185 N State Road 7, Margate, FL 33063                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2016 VA 2-048-113             6/30/2016                  4/25/2016                7/9/2020
  65607309 2185 N State Road 7, Margate, FL 33063                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2016 VA 2-048-113             6/30/2016                  4/25/2016                7/5/2020
  65698687 2960 N State Road 7, Margate, FL 33063                  Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2016 VA 2-048-113             6/30/2016                  4/25/2016                7/3/2020
  65712201 120 Park Lane Rd, New Milford, CT 06776                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/25/2016 VA 2-025-937             6/30/2016                  4/25/2016                7/2/2020
  65712207 120 Park Lane Rd, New Milford, CT 06776                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/25/2016 VA 2-025-937             6/30/2016                  4/25/2016                7/3/2020
  65712260 125-129 School St, Pawtucket, RI 02860                  Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/22/2016 VA 2-022-726             6/30/2016                  4/22/2016                7/5/2020
  65714920 951 Fargo Ave, Elk Grove Village, IL 60007              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/25/2016 VA 2-047-574             6/30/2016                  4/25/2016                7/1/2020
  65714926 951 Fargo Ave, Elk Grove Village, IL 60007              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/25/2016 VA 2-047-574             6/30/2016                  4/25/2016                7/4/2020
  65725299 52 SW 5th Ct, Pompano Beach, FL 33060                   Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2016 VA 2-048-113             6/30/2016                  4/26/2016                7/1/2020
  65837992 80 Park Lane Rd, New Milford, CT 06776                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/26/2016 VA 2-025-937             6/30/2016                  4/26/2016                7/4/2020
  65837996 200 Litchfield St, Torrington, CT 06790                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/26/2016 VA 2-025-937             6/30/2016                  4/26/2016               6/26/2020
  65838055 30 India St, Pawtucket, RI 02860                        Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/26/2016 VA 2-022-726             6/30/2016                  4/26/2016                7/9/2020
  65841495 4776-4798 E Kings Canyon Rd, Fresno, CA 93702           John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/26/2016 VA 2-038-152             6/30/2016                  4/26/2016               6/30/2020
  65943884 2021 E Commercial Blvd, Fort Lauderdale, FL 33308       Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2016 VA 2-048-113             6/30/2016                  4/26/2016                7/7/2020




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   65953119 510-526 Main St, Middletown, CT 06457                         Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/27/2016 VA 2-025-937              6/30/2016                  4/27/2016               11/7/2020
   65953124 510-526 Main St, Middletown, CT 06457                         Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/27/2016 VA 2-025-937              6/30/2016                  4/27/2016               11/7/2020
   65953150 84-94 Court St, Middletown, CT 06457                          Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/27/2016 VA 2-025-937              6/30/2016                  4/27/2016                7/1/2020
   65953249 228-230 Main St, Pawtucket, RI 02860                          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/27/2016 VA 2-022-726              6/30/2016                  4/27/2016               6/28/2020
   65956578 518-540 S Commerce Dr, Orem, UT 84058                         Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/27/2016 VA 2-022-717              6/30/2016                  4/27/2016                8/7/2020
   65986955 25220 Richards Rd, Spring, TX 77386                           Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/28/2016 VA 2-050-897              6/30/2016                  4/28/2016                7/3/2020
   66113055 2335 Commerce Point Dr, Lakeland, FL 33801                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/29/2016 VA 2-048-776              6/30/2016                  4/29/2016                7/5/2020
   66113057 2315 Commerce Point Dr, Lakeland, FL 33801                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/29/2016 VA 2-048-776              6/30/2016                  4/29/2016                7/8/2020
   66113205 900 Old Winston Rd, Kernersville, NC 27284                    Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/29/2016 VA 2-025-997              6/30/2016                  4/29/2016               6/29/2020
   66329818 1132 N Dixie Hwy, Lake Worth, FL 33460                        David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/2/2016 VA 2-025-849              6/30/2016                   5/2/2016                7/4/2020
   66333706 7313-7337 N Harlem Ave, Niles, IL 60714                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      4/28/2016 VA 2-047-574              6/30/2016                  4/28/2016                7/2/2020
   66336774 351-425 Country Club Dr, Bensenville, IL 60106                Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/2/2016 VA 2-047-574              6/30/2016                   5/2/2016               2/21/2021
   66577882 6729-6759 Bridge St, Fort Worth, TX 76112                     Nancy Honeycutt                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2016 VA 2-050-343              6/30/2016                   5/3/2016               10/9/2020
   66580247 30405 Solon Rd, Solon, OH 44139                               Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/2/2016 VA 2-023-206              6/30/2016                   5/2/2016                8/9/2020
   66582425 3705 W Beechwood Ave, Fresno, CA 93711                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/29/2016 VA 2-038-152              6/30/2016                  4/29/2016                7/1/2020
   66714394 135 Darling Dr, Avon, CT 06001                                Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016                7/3/2020
   66714403 135 Darling Dr, Avon, CT 06001                                Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016                7/4/2020
   66718673 44 Dale Rd, Avon, CT 06001                                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016               6/26/2020
   66728440 701 Cottage Grove Rd, Bloomfield, CT 06002                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016                7/4/2020
   66728556 701 Cottage Grove Rd, Bloomfield, CT 06002                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016                7/3/2020
   66728571 701 Cottage Grove Rd, Bloomfield, CT 06002                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/4/2016 VA 2-025-937              6/30/2016                   5/4/2016                7/1/2020
   66867892 30 W Avon Rd, Avon, CT 06001                                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/5/2016 VA 2-025-937              6/30/2016                   5/5/2016               6/26/2020
   66873574 348 W Main Rd, Conneaut, OH 44030                             Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/4/2016 VA 2-023-206              6/30/2016                   5/4/2016                7/8/2020
   67001524 1000 E State Pkwy, Schaumburg, IL 60173                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/6/2016 VA 2-047-574              6/30/2016                   5/6/2016                7/9/2020
   67001536 1000 E State Pkwy, Schaumburg, IL 60173                       Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/6/2016 VA 2-047-574              6/30/2016                   5/6/2016                7/9/2020
   67317850 2601-2623 W Atlantic Blvd, Pompano Beach, FL 33069            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/9/2016 VA 2-048-113              6/30/2016                   5/9/2016                7/5/2020
   67317860 2601-2623 W Atlantic Blvd, Pompano Beach, FL 33069            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/9/2016 VA 2-048-113              6/30/2016                   5/9/2016               6/30/2020
   67344691 5300-5320 Eisenhower Ave, Alexandria, VA 22304                Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/9/2016 VA 2-050-490              6/30/2016                   5/9/2016                7/3/2021
   67345579 505-539 W Dakota Ave, Fresno, CA 93705                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/6/2016 VA 2-038-152              6/30/2016                   5/6/2016                7/2/2020
   67345582 505-539 W Dakota Ave, Fresno, CA 93705                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/6/2016 VA 2-038-152              6/30/2016                   5/6/2016                7/2/2020
   67345640 3791 N Hughes Ave, Fresno, CA 93705                           John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/6/2016 VA 2-038-152              6/30/2016                   5/6/2016               7/10/2020
   67448216 2144 Brighton Henrietta Town Line Rd, Rochester, NY 14623     Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2016 VA 2-026-235              6/30/2016                  5/10/2016               7/31/2020
   67451317 1029 E Gude Dr, Rockville, MD 20850                           Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2016 VA 2-026-005              6/30/2016                  5/10/2016               7/20/2020
   67451407 1029 E Gude Dr, Rockville, MD 20850                           Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2016 VA 2-026-005              6/30/2016                  5/10/2016               7/20/2020
   67459210 2382 Crawfordville Hwy, Crawfordville, FL 32327               David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/9/2016 VA 2-025-931              6/30/2016                   5/9/2016               6/27/2020
   67672223 9 Hartford Ave, Granby, CT 06035                              Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/12/2016 VA 2-025-937              6/30/2016                  5/12/2016              10/24/2020
   67710013 806 W Diamond Ave, Gaithersburg, MD 20878                     Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/12/2016 VA 2-026-005              6/30/2016                  5/12/2016                7/3/2020
   67870336 828-836 Hopmeadow St, Simsbury, CT 06070                      Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/13/2016 VA 2-025-937              6/30/2016                  5/13/2016               6/27/2020
   67870398 11400 N Kendall Dr, Miami, FL 33176                           Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/2/2020
   67876329 7910 Rae Blvd, Victor, NY 14564                               Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-026-235              6/30/2016                  5/13/2016               6/30/2020
   67876957 7424 Victor Mendon Rd, Victor, NY 14564                       Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-026-235              6/30/2016                  5/13/2016               7/31/2020
   67880032 607-609 Howard St, Evanston, IL 60202                         Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      5/13/2016 VA 2-047-574              6/30/2016                  5/13/2016                7/5/2020
   67880233 607-609 Howard St, Evanston, IL 60202                         Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      5/13/2016 VA 2-047-574              6/30/2016                  5/13/2016                7/3/2020
   67880310 607-609 Howard St, Evanston, IL 60202                         Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      5/13/2016 VA 2-047-574              6/30/2016                  5/13/2016               6/25/2020
   67881426 1501-1573 NW 82nd Ave, Doral, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/8/2020
   67881616 1701-1923 NW 82nd Ave, Miami, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/1/2020
   67882466 1601-1681 NW 79th Ave, Doral, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/3/2020
   67882468 1601-1681 NW 79th Ave, Doral, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016               7/10/2020
   67882476 1601-1681 NW 79th Ave, Doral, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/9/2020
   67882491 1601-1681 NW 79th Ave, Doral, FL 33126                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/7/2020
   67884798 1900 NW 92nd Ave, Doral, FL 33172                             Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/6/2020
   67884816 1900 NW 92nd Ave, Doral, FL 33172                             Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2016 VA 2-050-479              6/30/2016                  5/13/2016                7/1/2020
   68031221 18555 Foxwood Dr, Madera, CA 93638                            John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      5/13/2016 VA 2-038-152              6/30/2016                  5/13/2016               6/28/2020
   68031226 18555 Foxwood Dr, Madera, CA 93638                            John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      5/13/2016 VA 2-038-152              6/30/2016                  5/13/2016               6/30/2020
   68031230 18555 Foxwood Dr, Madera, CA 93638                            John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      5/13/2016 VA 2-038-152              6/30/2016                  5/13/2016               6/30/2020
   68218957 18543 Foxwood Dr, Madera, CA 93638                            John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      5/13/2016 VA 2-038-152              6/30/2016                  5/13/2016               6/30/2020
   68218962 18543 Foxwood Dr, Madera, CA 93638                            John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      5/13/2016 VA 2-038-152              6/30/2016                  5/13/2016                7/3/2020
   64536880 2912 N Macarthur Blvd, Irving, TX 75062                       Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/14/2016 VA 2-050-339              6/30/2016                  4/14/2016              10/22/2020
   65354903 1800-1820 Valley View Ln, Irving, TX 75061                    Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/22/2016 VA 2-050-339              6/30/2016                  4/22/2016               1/27/2021
   65934298 8501 Wade Blvd, Frisco, TX 75034                              Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/27/2016 VA 2-050-339              6/30/2016                  4/27/2016               1/27/2021
   61759093 7850 Mission Center Ct, San Diego, CA 92108                   Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/15/2016 VA 2-038-248              6/30/2016                  3/15/2016                7/4/2020
   63930333 15496 Magnolia St, Westminster, CA 92683                      Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-022-673              6/30/2016                   4/6/2016               6/29/2020
   63930337 15496 Magnolia St, Westminster, CA 92683                      Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-022-673              6/30/2016                   4/6/2016                7/3/2020
   63930343 15496 Magnolia St, Westminster, CA 92683                      Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-022-673              6/30/2016                   4/6/2016               6/29/2020
   63930354 15496 Magnolia St, Westminster, CA 92683                      Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-022-673              6/30/2016                   4/6/2016               6/30/2020
   65121447 88 W Colorado Blvd, Pasadena, CA 91105                        John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/20/2016 VA 2-038-154              6/30/2016                  4/20/2016                7/1/2020
   65121458 88 W Colorado Blvd, Pasadena, CA 91105                        John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/20/2016 VA 2-038-154              6/30/2016                  4/20/2016               6/28/2020
   65242458 600-618 E Whittier Blvd, La Habra, CA 90631                   Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/20/2016 VA 2-022-673              6/30/2016                  4/20/2016                7/9/2020
   65242461 600-618 E Whittier Blvd, La Habra, CA 90631                   Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/20/2016 VA 2-022-673              6/30/2016                  4/20/2016                7/8/2020
   65242470 600-618 E Whittier Blvd, La Habra, CA 90631                   Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/20/2016 VA 2-022-673              6/30/2016                  4/20/2016                7/5/2020
   66873601 26002-26052 Marguerite Pky, Mission Viejo, CA 92692           Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/4/2016 VA 2-022-673              6/30/2016                   5/4/2016                7/5/2020
   67459033 7190 Miramar Rd, San Diego, CA 92121                          Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/9/2016 VA 2-047-578              6/30/2016                   5/9/2016                7/8/2020
   65716075 16200 S Harlem Ave, Tinley Park, IL 60477                     Barbara Rudolf                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/25/2016 VA 2-064-825              6/30/2016                  4/25/2016               6/28/2020
   64652660 5801 Westheimer Rd, Houston, TX 77057                         Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893      4/15/2016 VA 2-023-179              6/30/2016                  4/15/2016                7/2/2020
   64652666 5801 Westheimer Rd, Houston, TX 77057                         Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893      4/15/2016 VA 2-023-179              6/30/2016                  4/15/2016               6/29/2020
   65114136 331 Osler St, Arlington, TX 76010                             Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/20/2016 VA 2-025-999              6/30/2016                  4/20/2016                2/6/2021
   66711662 2319-2321 N Davis Dr, Arlington, TX 76012                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/4/2016 VA 2-025-999              6/30/2016                   5/4/2016                7/5/2020
   66711670 2319-2321 N Davis Dr, Arlington, TX 76012                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/4/2016 VA 2-025-999              6/30/2016                   5/4/2016               6/30/2020
   66711676 2319-2321 N Davis Dr, Arlington, TX 76012                     Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/4/2016 VA 2-025-999              6/30/2016                   5/4/2016               6/28/2020
   60557225 1315-1319 North Ave, Elizabeth, NJ 07208                      Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/2/2016 VA 2-038-262              6/30/2016                   3/2/2016               7/10/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                       89
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Attachment                                                                          Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                 Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  61024489 2416 Thompson Ave, West Memphis, AR 72301          Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/8/2016 VA 2-038-236             6/30/2016                  3/8/2016              1/13/2021
  63652127 215 E 21st St, Chester, PA 19013                   Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/5/2016 VA 2-049-916             6/30/2016                  4/5/2016              5/16/2020
  63652140 215 E 21st St, Chester, PA 19013                   Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/5/2016 VA 2-049-916             6/30/2016                  4/5/2016              5/16/2020
  63652152 215 E 21st St, Chester, PA 19013                   Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/5/2016 VA 2-049-916             6/30/2016                  4/5/2016              5/16/2020
  63652186 215 E 21st St, Chester, PA 19013                   Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/5/2016 VA 2-049-916             6/30/2016                  4/5/2016              5/16/2020
  63769646 742 W Front St, Chester, PA 19013                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/6/2016 VA 2-049-916             6/30/2016                  4/6/2016               7/2/2020
  63769657 742 W Front St, Chester, PA 19013                  Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/6/2016 VA 2-049-916             6/30/2016                  4/6/2016              7/10/2020
  63859631 625 Liberty Ave, Pittsburgh, PA 15222              Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/6/2016 VA 2-048-209             6/30/2016                  4/6/2016               7/4/2020
  63859686 625 Liberty Ave, Pittsburgh, PA 15222              Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/6/2016 VA 2-048-209             6/30/2016                  4/6/2016               7/6/2020
  63929762 800 New Brunswick Ave, Rahway, NJ 07065            Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/7/2016 VA 2-012-744             6/30/2016                  4/7/2016               7/5/2020
  63932847 3827 Broad River Rd, Columbia, SC 29210            Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/7/2016 VA 2-022-708             6/30/2016                  4/7/2016              10/2/2020
  63983857 86 Morris Ave, Neptune City, NJ 07753              Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/8/2016 VA 2-012-744             6/30/2016                  4/8/2016               7/8/2020
  63985897 1630 Lincoln Way, McKeesport, PA 15131             Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/8/2016 VA 2-048-209             6/30/2016                  4/8/2016               7/1/2020
  64660472 2 Crescent Pl, Oceanport, NJ 07757                 Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2016 VA 2-012-744             6/30/2016                 4/13/2016              7/20/2020
  64739711 255 Route 3, Secaucus, NJ 07094                    John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/15/2016 VA 2-022-721             6/30/2016                 4/15/2016               7/7/2020
  64739715 255 Route 3, Secaucus, NJ 07094                    John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/15/2016 VA 2-022-721             6/30/2016                 4/15/2016              6/27/2020
  65015414 3453 Mcgehee Rd, Montgomery, AL 36111              Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/18/2016 VA 2-023-190             6/30/2016                 4/18/2016               7/1/2020
  65015432 3453 Mcgehee Rd, Montgomery, AL 36111              Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/18/2016 VA 2-023-190             6/30/2016                 4/18/2016              6/30/2020
  65015777 712 Richland St, Columbia, SC 29201                Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/18/2016 VA 2-022-708             6/30/2016                 4/18/2016               7/8/2020
  65129809 777-785 Pine Valley Dr, Pittsburgh, PA 15239       Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      4/19/2016 VA 2-048-209             6/30/2016                 4/19/2016               7/3/2020
  65129932 110 Rainbow Lake Rd, Boiling Springs, SC 29316     William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/20/2016 VA 2-050-482             6/30/2016                 4/20/2016              8/11/2020

  65243648 1775 Pyramid Pl, Memphis, TN 38132                 Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016               7/2/2020

  65243660 2603 Corporate Ave, Memphis, TN 38132              Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016               7/2/2020

  65243674 1980 Nonconnah Blvd, Memphis, TN 38132             Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016               7/4/2020

  65243716 2005 Nonconnah Blvd, Memphis, TN 38132             Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016               7/3/2020

  65243718 2731-2741 Nonconnah Blvd, Memphis, TN 38132        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016              7/10/2020

  65243734 1835 Nonconnah Blvd, Memphis, TN 38132             Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/21/2016 VA 2-022-720             6/30/2016                 4/21/2016               7/5/2020
  65354935 1049 E Gun Hill Rd, Bronx, NY 10469                Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/22/2016 VA 2-025-972             6/30/2016                 4/22/2016              7/13/2020
  65357924 485 S Pine St, Spartanburg, SC 29302               William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/22/2016 VA 2-050-482             6/30/2016                 4/22/2016              6/29/2020
  65357935 485 S Pine St, Spartanburg, SC 29302               William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/22/2016 VA 2-050-482             6/30/2016                 4/22/2016               7/3/2020
  65441684 1 Technology Ln, Export, PA 15632                  Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      4/21/2016 VA 2-048-209             6/30/2016                 4/21/2016               8/8/2020
  65589240 3344 Market St, Aston, PA 19014                    Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/25/2016 VA 2-049-916             6/30/2016                 4/25/2016               7/9/2020
  65713125 12750 Nicollet Ave, Burnsville, MN 55337           Jeff Karels                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      4/25/2016 VA 2-051-690             6/30/2016                 4/25/2016              6/28/2020

  65956109 4272 Winchester Rd, Memphis, TN 38118              Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/26/2016 VA 2-022-720             6/30/2016                 4/26/2016             10/17/2020
  65977953 510 Darby Rd, Havertown, PA 19083                  Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/29/2016 VA 2-050-316             6/30/2016                 4/29/2016               7/3/2020
  65987498 5076 Sunset Blvd, Lexington, SC 29072              Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/27/2016 VA 2-022-708             6/30/2016                 4/27/2016               7/2/2020
  65987507 5076 Sunset Blvd, Lexington, SC 29072              Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/27/2016 VA 2-022-708             6/30/2016                 4/27/2016               7/6/2020
  66112915 7201 Bergenline Ave, North Bergen, NJ 07047        John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/29/2016 VA 2-022-721             6/30/2016                 4/29/2016               7/4/2020

  66113340 3861 Knight Rd, Memphis, TN 38118                  Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      4/29/2016 VA 2-022-720             6/30/2016                 4/29/2016               7/4/2020
  66114026 172 McSwain Dr, West Columbia, SC 29169            Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/22/2016 VA 2-022-708             6/30/2016                 4/22/2016               7/1/2020
  66114029 172 McSwain Dr, West Columbia, SC 29169            Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/22/2016 VA 2-022-708             6/30/2016                 4/22/2016               7/4/2020
  66330882 400 Perrine Rd, Old Bridge, NJ 08857               Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/2/2016 VA 2-012-744             6/30/2016                  5/2/2016             10/16/2020
  66563934 630 Fairview Rd, Swarthmore, PA 19081              Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2016 VA 2-049-916             6/30/2016                  5/3/2016               7/1/2020
  66563966 630 Fairview Rd, Swarthmore, PA 19081              Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2016 VA 2-049-916             6/30/2016                  5/3/2016               7/5/2020
  66563973 630 Fairview Rd, Swarthmore, PA 19081              Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2016 VA 2-049-916             6/30/2016                  5/3/2016              6/28/2020
  66575325 6250 Baltimore Ave, Yeadon, PA 19050               Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2016 VA 2-050-316             6/30/2016                  5/3/2016               7/4/2020
  66575382 6250 Baltimore Ave, Yeadon, PA 19050               Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2016 VA 2-050-316             6/30/2016                  5/3/2016               7/4/2020
  66575613 52 S 3rd St, Yeadon, PA 19050                      Mitchell Keingarsky                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2016 VA 2-050-316             6/30/2016                  5/3/2016               7/8/2020
  66731260 2870 Crestwood Blvd, Irondale, AL 35210            Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/3/2016 VA 2-023-190             6/30/2016                  5/3/2016               7/3/2020
  67456412 17 Bertel Ave, Mount Vernon, NY 10550              Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/10/2016 VA 2-025-972             6/30/2016                 5/10/2016              7/22/2020
  67589309 144 Mamaroneck Ave, White Plains, NY 10601         Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/11/2016 VA 2-025-972             6/30/2016                 5/11/2016              7/13/2020
  67589343 144 Mamaroneck Ave, White Plains, NY 10601         Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/11/2016 VA 2-025-972             6/30/2016                 5/11/2016              7/13/2020
  67589383 144 Mamaroneck Ave, White Plains, NY 10601         Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/11/2016 VA 2-025-972             6/30/2016                 5/11/2016              7/13/2020
  67737363 2400 Ansys Dr, Canonsburg, PA 15317                Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      5/10/2016 VA 2-048-209             6/30/2016                 5/10/2016              7/31/2020
  63932104 4701 Washington Ave, Racine, WI 53406              Timothy Dabbs                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/7/2016 VA 2-023-249             6/30/2016                  4/7/2016               7/3/2020
  67460325 2200-2302 De Koven Ave, Racine, WI 53403           Timothy Dabbs                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/9/2016 VA 2-023-249             6/30/2016                  5/9/2016               7/4/2020
  63664437 32 N Main St, Belmont, NC 28012                    Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/4/2016 VA 2-023-196             6/30/2016                  4/4/2016              7/24/2020

  63780109 891 Graham Rd, Stow, OH 44224                      Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/6/2016 VA 2-023-197             6/30/2016                  4/6/2016              6/30/2020
  63859533 522 Chestnut St, Hinsdale, IL 60521                Benjamin Gonzales                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-050-356             6/30/2016                  4/6/2016               5/7/2021
  63931714 15 Salt Creek Ln, Hinsdale, IL 60521               Benjamin Gonzales                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/6/2016 VA 2-050-356             6/30/2016                  4/6/2016               7/3/2020
  64915442 852 N Ashland Ave, Chicago, IL 60622               Benjamin Gonzales                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/15/2016 VA 2-050-356             6/30/2016                 4/15/2016              6/26/2020
  66576921 140 Keyland Ct, Bohemia, NY 11716                  Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/2/2016 VA 2-023-172             6/30/2016                  5/2/2016              7/10/2020

  67449090 5282 Hudson Dr, Hudson, OH 44236                   Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/10/2016 VA 2-023-197             6/30/2016                 5/10/2016               7/1/2020

  67449093 5282 Hudson Dr, Hudson, OH 44236                   Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/10/2016 VA 2-023-197             6/30/2016                 5/10/2016               7/3/2020

  67583144 7792 Capital Blvd, Macedonia, OH 44056             Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      5/11/2016 VA 2-023-197             6/30/2016                 5/11/2016              11/9/2020
  67880220 1224 Isley Dr, Gastonia, NC 28052                  Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/12/2016 VA 2-023-196             6/30/2016                 5/12/2016              6/30/2020
  67734373 7600 Osler Dr, Towson, MD 21204                    Heather Coburn                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/12/2016 VA 2-051-696             6/30/2016                 5/12/2016              7/15/2020




                         OUTSIDE COUNSEL ONLY                                                                                                              90
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   63662862 13020 Canaan Center Dr, Bonner Springs, KS 66012           Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2016 VA 2-048-774              6/30/2016                   4/4/2016               2/16/2021
   63785047 2325 SW State St, Ankeny, IA 50023                         Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       4/5/2016 VA 2-025-976              6/30/2016                   4/5/2016                7/7/2020
   63931909 3431 Macdonnell Dr, Norman, OK 73069                       Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960       4/7/2016 VA 2-048-781              6/30/2016                   4/7/2016                8/9/2020
   63931912 3431 Macdonnell Dr, Norman, OK 73069                       Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960       4/7/2016 VA 2-048-781              6/30/2016                   4/7/2016                8/8/2020
   63985769 1490 Garden Of The Gods Rd, Colorado Springs, CO 80907     Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/8/2016 VA 2-049-927              6/30/2016                   4/8/2016               1/17/2021
   63985777 1490 Garden Of The Gods Rd, Colorado Springs, CO 80907     Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/8/2016 VA 2-049-927              6/30/2016                   4/8/2016               1/17/2021
   64317817 6263 NE Industry Dr, Des Moines, IA 50313                  Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/11/2016 VA 2-025-976              6/30/2016                  4/11/2016                7/4/2020
   64317826 6263 NE Industry Dr, Des Moines, IA 50313                  Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/11/2016 VA 2-025-976              6/30/2016                  4/11/2016                7/4/2020
   64656083 830 N Elm Pl, Broken Arrow, OK 74012                       Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/14/2016 VA 2-049-921              6/30/2016                  4/14/2016              11/27/2020
   64659032 1001 Enterprise Ave, Oklahoma City, OK 73128               Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      4/13/2016 VA 2-048-781              6/30/2016                  4/13/2016                7/4/2020
   64740514 1000 N Juniper Pl, Broken Arrow, OK 74012                  Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/14/2016 VA 2-049-921              6/30/2016                  4/14/2016               7/24/2020
   65129407 8901 W 74th St, Merriam, KS 66204                          Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/19/2016 VA 2-048-774              6/30/2016                  4/19/2016               7/24/2020
   65243406 5429 Turner Dr, Kansas City, KS 66106                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/20/2016 VA 2-048-774              6/30/2016                  4/20/2016               2/16/2021
   65357582 3910-3996 Palmer Park Blvd, Colorado Springs, CO 80909     Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/19/2016 VA 2-049-927              6/30/2016                  4/19/2016                7/5/2020
   65441250 12 E California Ave, Oklahoma City, OK 73104               Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      4/22/2016 VA 2-048-781              6/30/2016                  4/22/2016                2/6/2021
   65441293 2 E California Ave, Oklahoma City, OK 73104                Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                       8002045960      4/22/2016 VA 2-048-781              6/30/2016                  4/22/2016                2/6/2021

  65602572 205 W High St, Lebanon, TN 37087                            Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/22/2016 VA 2-050-653             6/30/2016                  4/22/2016                7/5/2020
  65698427 4785 Tejon St, Denver, CO 80211                             Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/25/2016 VA 2-048-777             6/30/2016                  4/25/2016                7/7/2020
  65841191 2550-2588 Hubbell Ave, Des Moines, IA 50317                 Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/26/2016 VA 2-025-976             6/30/2016                  4/26/2016               6/28/2020
  65841218 2550-2588 Hubbell Ave, Des Moines, IA 50317                 Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/26/2016 VA 2-025-976             6/30/2016                  4/26/2016                7/6/2020
  65957423 3732 Easton Blvd, Des Moines, IA 50317                      Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/26/2016 VA 2-025-976             6/30/2016                  4/26/2016               6/26/2020
  65986582 8121 National Ave, Oklahoma City, OK 73110                  Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/28/2016 VA 2-048-781             6/30/2016                  4/28/2016              12/13/2020
  65986604 140 S Midwest Blvd, Midwest City, OK 73110                  Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/28/2016 VA 2-048-781             6/30/2016                  4/28/2016                7/7/2020
  65986615 140 S Midwest Blvd, Midwest City, OK 73110                  Jamie Limberg                                                                  CoStar Group             501 S 5th St, Richmond, VA 23219                      8002045960       4/28/2016 VA 2-048-781             6/30/2016                  4/28/2016                7/8/2020
  66569355 1565 Raleigh St, Denver, CO 80204                           Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        5/3/2016 VA 2-048-777             6/30/2016                   5/3/2016                7/1/2020
  66858865 1021 S Garnett Rd, Tulsa, OK 74128                          Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/5/2016 VA 2-049-921             6/30/2016                   5/5/2016               6/30/2020
  66858870 1021 S Garnett Rd, Tulsa, OK 74128                          Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/5/2016 VA 2-049-921             6/30/2016                   5/5/2016               6/30/2020
  63662598 1030 Northgate St, Riverside, CA 92507                      Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2016 VA 2-050-689             6/30/2016                   4/4/2016                7/5/2020
  65713604 9041 Magnolia Ave, Riverside, CA 92503                      Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/18/2016 VA 2-050-689             6/30/2016                  4/18/2016                7/1/2020
  67459717 14010 Palm Dr, Desert Hot Springs, CA 92240                 Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/9/2016 VA 2-050-689             6/30/2016                   5/9/2016               7/14/2020
  63665879 2209-2211 W 1st St, Tempe, AZ 85281                         Nicholas Cassano                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2016 VA 2-049-922             6/30/2016                   4/4/2016               6/26/2020
  63665888 2209-2211 W 1st St, Tempe, AZ 85281                         Nicholas Cassano                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2016 VA 2-049-922             6/30/2016                   4/4/2016               6/27/2020
  65602955 14982 N 83rd Pl, Scottsdale, AZ 85260                       Nicholas Cassano                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/22/2016 VA 2-049-922             6/30/2016                  4/22/2016               6/29/2020
  59476578 14624 Warwick Blvd, Newport News, VA 23608                  Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/18/2016 VA 2-038-277             6/30/2016                  2/18/2016                7/2/2020
  59555643 250 Chastain Rd, Kennesaw, GA 30144                         Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/19/2016 VA 2-038-221             6/30/2016                  2/19/2016                7/5/2020
  59555660 250 Chastain Rd, Kennesaw, GA 30144                         Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/19/2016 VA 2-038-221             6/30/2016                  2/19/2016                7/7/2020
  59555734 4769 S Main St, Acworth, GA 30101                           Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/19/2016 VA 2-038-221             6/30/2016                  2/19/2016               6/30/2020
  61978691 3400 Cobb International Blvd, Kennesaw, GA 30152            Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/17/2016 VA 2-038-221             6/30/2016                  3/17/2016                6/7/2021
  63101804 4420 N Stone Ave, Tucson, AZ 85705                          Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2016 VA 2-038-226             6/30/2016                  3/29/2016               6/30/2020
  63101818 4420 N Stone Ave, Tucson, AZ 85705                          Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2016 VA 2-038-226             6/30/2016                  3/29/2016                7/3/2020
  63101828 4420 N Stone Ave, Tucson, AZ 85705                          Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2016 VA 2-038-226             6/30/2016                  3/29/2016                7/9/2020
  63785803 8546-8572 E Broadway Blvd, Tucson, AZ 85710                 Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/5/2016 VA 2-025-468             6/30/2016                   4/5/2016               6/28/2020
  63861570 4225 Fidus Dr, Las Vegas, NV 89103                          Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/5/2016 VA 2-053-110             6/30/2016                   4/5/2016                7/6/2020
  63861595 4225 Fidus Dr, Las Vegas, NV 89103                          Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/5/2016 VA 2-053-110             6/30/2016                   4/5/2016                7/5/2020
  63933809 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016                7/2/2020
  63933815 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016               6/27/2020
  63933822 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016               7/10/2020
  63933837 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016                7/3/2020
  63933844 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016                7/4/2020
  63933854 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016               7/10/2020
  63933861 790 Coronado Center Dr, Henderson, NV 89052                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        4/7/2016 VA 2-053-110             6/30/2016                   4/7/2016               6/25/2020
  63934794 1801 13th Ave E, Bradenton, FL 34208                        Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2016 VA 2-050-489             6/30/2016                   4/7/2016                7/1/2020
  63934799 1801 13th Ave E, Bradenton, FL 34208                        Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2016 VA 2-050-489             6/30/2016                   4/7/2016               6/27/2020
  64318649 5315 E Broadway Blvd, Tucson, AZ 85711                      Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/11/2016 VA 2-025-468             6/30/2016                  4/11/2016               7/10/2020
  64318651 6701-6763 E Broadway Blvd, Tucson, AZ 85710                 Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/11/2016 VA 2-025-468             6/30/2016                  4/11/2016               6/30/2020
  64318653 5315 E Broadway Blvd, Tucson, AZ 85711                      Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/11/2016 VA 2-025-468             6/30/2016                  4/11/2016                7/7/2020
  64318659 5315 E Broadway Blvd, Tucson, AZ 85711                      Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/11/2016 VA 2-025-468             6/30/2016                  4/11/2016                7/6/2020
  64434741 3814 E 5th St, Tucson, AZ 85716                             Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/12/2016 VA 2-025-468             6/30/2016                  4/12/2016               6/27/2020
  64434759 446 N Campbell Ave, Tucson, AZ 85719                        Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/12/2016 VA 2-025-468             6/30/2016                  4/12/2016                7/8/2020
  64538783 4225 Sienna Pky, Missouri City, TX 77459                    Jarren Small                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2016 VA 2-048-779             6/30/2016                  4/13/2016                7/4/2020
  64656687 2739 Sunridge Heights Pky, Henderson, NV 89052              Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/13/2016 VA 2-053-110             6/30/2016                  4/13/2016                7/5/2020
  64656693 2739 Sunridge Heights Pky, Henderson, NV 89052              Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/13/2016 VA 2-053-110             6/30/2016                  4/13/2016                7/2/2020
  64656702 2739 Sunridge Heights Pky, Henderson, NV 89052              Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/13/2016 VA 2-053-110             6/30/2016                  4/13/2016               6/30/2020
  64656946 2913 N Lincoln Ave, Chicago, IL 60657                       Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/14/2016 VA 2-022-725             6/30/2016                  4/14/2016               6/26/2020
  64912773 2 N Main St, Medford, NJ 08055                              Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/18/2016 VA 2-051-161             6/30/2016                  4/18/2016              12/13/2020
  65010117 366 Berlin Cross Keys Rd, Sicklerville, NJ 08081            Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/19/2016 VA 2-051-161             6/30/2016                  4/19/2016                7/8/2020
  65131034 305 N Pecos Rd, Henderson, NV 89074                         Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/18/2016 VA 2-053-110             6/30/2016                  4/18/2016                7/2/2020
  65359889 401 1st St, Benicia, CA 94510                               George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2016 VA 2-026-255             6/30/2016                   4/7/2016                7/1/2020
  65359895 401 1st St, Benicia, CA 94510                               George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2016 VA 2-026-255             6/30/2016                   4/7/2016                7/8/2020
  65359900 401 1st St, Benicia, CA 94510                               George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2016 VA 2-026-255             6/30/2016                   4/7/2016                7/2/2020
  65443855 3847-3851 N Lincoln Ave, Chicago, IL 60613                  Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/22/2016 VA 2-022-725             6/30/2016                  4/22/2016               8/11/2020
  65957266 9327 Midlothian Tpke, Richmond, VA 23235                    Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2016 VA 2-022-681             6/30/2016                  4/27/2016                7/4/2020
  65957269 9325 Midlothian Tpke, Richmond, VA 23235                    Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2016 VA 2-022-681             6/30/2016                  4/27/2016                8/7/2020
  65975355 1101-1123 Myrtle Ave, Brooklyn, NY 11206                    Jessica Ho                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/29/2016 VA 2-049-918             6/30/2016                  4/29/2016               6/30/2020
  66582227 500-510 Research Rd, Richmond, VA 23236                     Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2016 VA 2-022-681             6/30/2016                   5/2/2016               6/25/2020
  66582237 500-510 Research Rd, Richmond, VA 23236                     Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2016 VA 2-022-681             6/30/2016                   5/2/2016                7/6/2020
  66582245 500-510 Research Rd, Richmond, VA 23236                     Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2016 VA 2-022-681             6/30/2016                   5/2/2016                7/3/2020
  66714845 10077 Grogans Mill Rd, The Woodlands, TX 77380              Jarren Small                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/3/2016 VA 2-048-779             6/30/2016                   5/3/2016               4/23/2020
  67460651 7300-7328 Hancock Village Dr, Chesterfield, VA 23832        Matthew Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/9/2016 VA 2-022-681             6/30/2016                   5/9/2016                7/6/2020




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   67573915 1135 Hurffville Rd, Deptford, NJ 08096                 Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/10/2016 VA 2-051-161              6/30/2016                  5/10/2016                7/1/2020
   63210672 563-565 Farrington Hwy, Kapolei, HI 96707              Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2016 VA 2-038-101              6/30/2016                  3/29/2016                7/8/2020
   64915936 931 University Ave, Honolulu, HI 96826                 Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/14/2016 VA 2-023-224              6/30/2016                  4/14/2016                8/7/2020
   64915945 931 University Ave, Honolulu, HI 96826                 Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/14/2016 VA 2-023-224              6/30/2016                  4/14/2016                8/7/2020
   64915954 931 University Ave, Honolulu, HI 96826                 Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/14/2016 VA 2-023-224              6/30/2016                  4/14/2016                8/8/2020
   65016463 7192 Kalanianaole Hwy, Honolulu, HI 96825              Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2016 VA 2-023-224              6/30/2016                  4/18/2016               6/28/2020
   65016471 7192 Kalanianaole Hwy, Honolulu, HI 96825              Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2016 VA 2-023-224              6/30/2016                  4/18/2016                7/5/2020
   65132363 7192 Kalanianaole Hwy, Honolulu, HI 96825              Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2016 VA 2-023-224              6/30/2016                  4/18/2016               6/28/2020
   65132372 7192 Kalanianaole Hwy, Honolulu, HI 96825              Lima Maino                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2016 VA 2-023-224              6/30/2016                  4/18/2016                7/5/2020
   66867925 3100 W Highland Rd, Howell, MI 48843                   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/3/2016 VA 2-022-656              6/30/2016                   5/3/2016                7/1/2020
   66867947 3100 W Highland Rd, Howell, MI 48843                   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/3/2016 VA 2-022-656              6/30/2016                   5/3/2016               6/29/2020
   63787404 4945 Las Virgenes Rd, Calabasas, CA 91302              Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2016 VA 2-047-576              6/30/2016                   4/4/2016                7/2/2020
   63787496 19522-19598 Ventura Blvd, Tarzana, CA 91356            Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/5/2016 VA 2-047-576              6/30/2016                   4/5/2016                7/4/2020
   65989313 38 Front St, Worcester, MA 01608                       Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/28/2016 VA 2-054-644              6/30/2016                  4/28/2016                8/9/2020
   67461927 233 Florence St, Leominster, MA 01453                  Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/8/2016 VA 2-054-644              6/30/2016                   5/8/2016               8/11/2020
   61133540 1020 Horsham Rd, North Wales, PA 19454                 Lisa Levonian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/8/2016 VA 2-038-086              6/30/2016                   3/8/2016               8/11/2020
   61133543 1020 Horsham Rd, North Wales, PA 19454                 Lisa Levonian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/8/2016 VA 2-038-086              6/30/2016                   3/8/2016                8/8/2020
   61342118 505-1/2 Germantown Pike, Lafayette Hill, PA 19444      Lisa Levonian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/10/2016 VA 2-038-086              6/30/2016                  3/10/2016                7/8/2020
   63667995 172 Middletown Blvd, Langhorne, PA 19047               Lisa Levonian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2016 VA 2-023-202              6/30/2016                   4/4/2016              11/26/2020
   66336348 3554 Hulmeville Rd, Bensalem, PA 19020                 Lisa Levonian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2016 VA 2-023-202              6/30/2016                   5/2/2016               6/30/2020
   64320485 2940 E Banner Gateway Dr, Gilbert, AZ 85234            Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/12/2016 VA 2-022-710              6/30/2016                  4/12/2016                7/6/2020
   65605924 117 S Val Vista Dr, Gilbert, AZ 85296                  Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/25/2016 VA 2-022-710              6/30/2016                  4/25/2016                7/1/2020
   68217448 8930 Gross Point Rd, Skokie, IL 60077                  Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/16/2016 VA 2-023-383              8/12/2016                  5/16/2016                7/3/2020
   68217477 8930 Gross Point Rd, Skokie, IL 60077                  Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/16/2016 VA 2-023-383              8/12/2016                  5/16/2016               4/23/2020
   68352203 18 N Main St, West Hartford, CT 06107                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2016 VA 2-023-349              8/12/2016                  5/17/2016                7/4/2020
   68352210 18 N Main St, West Hartford, CT 06107                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2016 VA 2-023-349              8/12/2016                  5/17/2016                7/3/2020
   68352231 18 N Main St, West Hartford, CT 06107                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2016 VA 2-023-349              8/12/2016                  5/17/2016                7/4/2020
   68353042 967 Farmington Ave, West Hartford, CT 06107            Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2016 VA 2-023-349              8/12/2016                  5/17/2016               6/26/2020
   68353056 967 Farmington Ave, West Hartford, CT 06107            Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/17/2016 VA 2-023-349              8/12/2016                  5/17/2016                7/5/2020
   68631512 386 Merrimack St, Methuen, MA 01844                    Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/18/2016 VA 2-047-581              8/12/2016                  5/18/2016                7/2/2020
   68806782 2800-2900 Lively Blvd, Elk Grove Village, IL 60007     Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/20/2016 VA 2-023-383              8/12/2016                  5/20/2016               6/27/2020
   68885234 5184 Richmond Rd, Bedford Heights, OH 44146            Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/20/2016 VA 2-023-252              8/12/2016                  5/20/2016                7/9/2020
   69382867 222 W Adams St, Chicago, IL 60606                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/25/2016 VA 2-023-383              8/12/2016                  5/25/2016                7/9/2020
   69382975 222 W Adams St, Chicago, IL 60606                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/25/2016 VA 2-023-383              8/12/2016                  5/25/2016                7/8/2020
   69469816 5511 S Congress Ave, Lake Worth, FL 33462              David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/26/2016 VA 2-026-131              8/12/2016                  5/26/2016               6/29/2020
   69470189 5507 S Congress Ave, Atlantis, FL 33462                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/26/2016 VA 2-026-131              8/12/2016                  5/26/2016                7/4/2020
   69491605 1819 Brookpark Rd, Cleveland, OH 44109                 Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/23/2016 VA 2-023-252              8/12/2016                  5/23/2016                7/1/2020

  69638371 5714-5724 Signal Hill Ct, Milford, OH 45150             Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/26/2016 VA 2-023-339             8/12/2016                  5/26/2016                7/2/2020

  70040947 20300 Civic Center Dr, Southfield, MI 48076             Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2016 VA 2-025-933             8/12/2016                  5/19/2016                7/1/2020

  70041048 20300 Civic Center Dr, Southfield, MI 48076             Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2016 VA 2-025-933             8/12/2016                  5/19/2016               6/26/2020

  70041110 20300 Civic Center Dr, Southfield, MI 48076             Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2016 VA 2-025-933             8/12/2016                  5/19/2016                7/2/2020

  70041293 20300 Civic Center Dr, Southfield, MI 48076             Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2016 VA 2-025-933             8/12/2016                  5/19/2016                7/2/2020

  70041312 20300 Civic Center Dr, Southfield, MI 48076             Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/19/2016 VA 2-025-933             8/12/2016                  5/19/2016                7/1/2020
  70372555 13302-13428 Telecom Dr, Tampa, FL 33637                 Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2016 VA 2-023-385             8/12/2016                   6/2/2016                7/2/2020
  70372607 13302-13428 Telecom Dr, Tampa, FL 33637                 Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2016 VA 2-023-385             8/12/2016                   6/2/2016                7/3/2020
  70487075 1450 Som Center Rd, Mayfield Heights, OH 44124          Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/3/2016 VA 2-023-252             8/12/2016                   6/3/2016               6/30/2020
  71898543 1702 Joseph Lloyd Pky, Willoughby, OH 44094             Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/9/2016 VA 2-023-252             8/12/2016                   6/9/2016               8/11/2020
  71898674 241-243 Wicker St, Sanford, NC 27330                    Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/9/2016 VA 2-047-042             8/12/2016                   6/9/2016                7/1/2020
  71898677 241-243 Wicker St, Sanford, NC 27330                    Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/9/2016 VA 2-047-042             8/12/2016                   6/9/2016                7/9/2020
  72560404 177 Anclote Rd, Tarpon Springs, FL 34689                James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2016 VA 2-024-988             8/12/2016                  6/14/2016               6/30/2020
  72560406 177 Anclote Rd, Tarpon Springs, FL 34689                James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2016 VA 2-024-988             8/12/2016                  6/14/2016                7/4/2020
  73440122 141 S Northwest Hwy, Barrington, IL 60010               Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/22/2016 VA 2-023-383             8/12/2016                  6/22/2016               6/25/2020
  73442714 34465 Euclid Ave, Willoughby, OH 44094                  Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2016 VA 2-023-252             8/12/2016                  6/20/2016                7/1/2020
  73442718 34465 Euclid Ave, Willoughby, OH 44094                  Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2016 VA 2-023-252             8/12/2016                  6/20/2016                7/3/2020
  73588032 146 E 13065 S, Draper, UT 84020                         Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/23/2016 VA 2-047-040             8/12/2016                  6/23/2016                8/9/2020
  73589827 7084 S 2300 E, Salt Lake City, UT 84121                 Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/23/2016 VA 2-047-040             8/12/2016                  6/23/2016               6/30/2020
  74664229 7649 N Milwaukee Ave, Niles, IL 60714                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/30/2016 VA 2-023-383             8/12/2016                  6/30/2016                8/8/2020
  74664261 7649 N Milwaukee Ave, Niles, IL 60714                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/30/2016 VA 2-023-383             8/12/2016                  6/30/2016                8/9/2020
  74665375 104 Connor Ct, Niskayuna, NY 12309                      Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/29/2016 VA 2-026-002             8/12/2016                  6/29/2016               10/7/2020
  68316434 1108 Dobie Dr, Plano, TX 75074                          Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/17/2016 VA 2-023-460             8/12/2016                  5/17/2016                8/9/2020
  69261632 4848 Lakeview Ave, Yorba Linda, CA 92886                Mike Bellsmith                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/24/2016 VA 2-047-726             8/12/2016                  5/24/2016               7/14/2020
  74181274 1919 Apple St, Oceanside, CA 92054                      Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/27/2016 VA 2-047-030             8/12/2016                  6/27/2016                7/8/2020
  68213358 121 Saint Clair Ave, Clairton, PA 15025                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/16/2016 VA 2-026-252             8/12/2016                  5/16/2016                7/1/2020
  68216711 4800 Library Rd, Bethel Park, PA 15102                  Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/16/2016 VA 2-026-252             8/12/2016                  5/16/2016               6/29/2020
  68216817 4800 Library Rd, Bethel Park, PA 15102                  Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/16/2016 VA 2-026-252             8/12/2016                  5/16/2016                7/9/2020
  68801191 108 US Highway 46 W, Parsippany, NJ 07054               John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/20/2016 VA 2-026-168             8/12/2016                  5/20/2016               6/29/2020
  71011931 360-370 Spartanburg Hwy, Lyman, SC 29365                William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/7/2016 VA 2-023-322             8/12/2016                   6/7/2016               2/26/2021
  72434756 187 Main St, Andover, NJ 07821                          John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       6/14/2016 VA 2-026-168             8/12/2016                  6/14/2016              10/23/2020
  74319941 123 Franklin Corner Rd, Lawrenceville, NJ 08648         Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/28/2016 VA 2-047-597             8/12/2016                  6/28/2016               1/22/2021
  74319963 123 Franklin Corner Rd, Lawrenceville, NJ 08648         Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/28/2016 VA 2-047-597             8/12/2016                  6/28/2016               6/17/2021
  68212345 95 Brightside Ave, Central Islip, NY 11722              Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/16/2016 VA 2-023-398             8/12/2016                  5/16/2016               6/27/2020
  68363875 1790 Union Ave, Baltimore, MD 21211                     Heather Coburn                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/17/2016 VA 2-023-350             8/12/2016                  5/17/2016               4/23/2020
  70872512 18 Magothy Beach Rd, Pasadena, MD 21122                 Heather Coburn                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/7/2016 VA 2-023-350             8/12/2016                   6/7/2016                7/2/2020
  71896161 1295 W 10th Ave, Denver, CO 80204                       Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/10/2016 VA 2-026-157             8/12/2016                  6/10/2016                7/2/2020




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   69388887 1968-1978 Fulton Ave, Sacramento, CA 95825                 Mark McNamara                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/24/2016 VA 2-023-254              8/12/2016                  5/24/2016               7/7/2020
   70022667 105 N Litchfield Rd, Goodyear, AZ 85338                    Nicholas Cassano                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/31/2016 VA 2-026-224              8/12/2016                  5/31/2016               7/2/2020
   68355987 123 Egg Harbor Rd, Sewell, NJ 08080                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/16/2016 VA 2-024-972              8/12/2016                  5/16/2016               7/1/2020
   68355994 123 Egg Harbor Rd, Sewell, NJ 08080                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/17/2016 VA 2-024-972              8/12/2016                  5/17/2016               7/2/2020
   68356028 123 Egg Harbor Rd, Sewell, NJ 08080                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/17/2016 VA 2-024-972              8/12/2016                  5/17/2016               7/4/2020
   68495175 16355 Vanderbilt Dr, Bonita Springs, FL 34134              Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/17/2016 VA 2-023-370              8/12/2016                  5/17/2016               7/5/2020
   73817217 2451 Professional Ct, Las Vegas, NV 89128                  Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/25/2016 VA 2-047-580              8/12/2016                  6/25/2016              6/25/2020
   74183930 3037 E Warm Springs Rd, Las Vegas, NV 89120                Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/27/2016 VA 2-047-580              8/12/2016                  6/27/2016              7/10/2020
   74183944 3037 E Warm Springs Rd, Las Vegas, NV 89120                Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/27/2016 VA 2-047-580              8/12/2016                  6/27/2016               7/4/2020
   74184834 3087 E Warm Springs Rd, Las Vegas, NV 89120                Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/27/2016 VA 2-047-580              8/12/2016                  6/27/2016               7/4/2020
   74184835 3087 E Warm Springs Rd, Las Vegas, NV 89120                Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/27/2016 VA 2-047-580              8/12/2016                  6/27/2016               7/1/2020
   74184845 3087 E Warm Springs Rd, Las Vegas, NV 89120                Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/27/2016 VA 2-047-580              8/12/2016                  6/27/2016              6/30/2020
   69489744 133 W Main St, Northville, MI 48167                        Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/26/2016 VA 2-026-590              8/12/2016                  5/26/2016               7/3/2020
   71176494 804 N Cacheris Ct, Casa Grande, AZ 85122                   Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/9/2016 VA 2-026-242              8/12/2016                   6/9/2016              7/30/2020
   71904773 629 E Chandler Blvd, Chandler, AZ 85225                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/10/2016 VA 2-047-735              8/12/2016                  6/10/2016               7/4/2020
   71904778 629 E Chandler Blvd, Chandler, AZ 85225                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/10/2016 VA 2-026-242              8/12/2016                  6/10/2016               7/3/2020
   71904786 629 E Chandler Blvd, Chandler, AZ 85225                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/10/2016 VA 2-047-735              8/12/2016                  6/10/2016               7/4/2020
   65016719 8549 Old County Road 54, New Port Richey, FL 34653         Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/13/2016 VA 2-049-754              9/22/2016                  4/13/2016               7/9/2020
   82789293 606 N White Horse Pike, Stratford, NJ 08084                Lisa Levonian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/15/2016 VA 2-038-600              9/23/2016                  8/15/2016               7/3/2020
   74778522 4141 El Camino Real, Palo Alto, CA 94306                   Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/1/2016 VA 2-026-592              9/23/2016                   7/1/2016              6/30/2020
   74778565 4141 El Camino Real, Palo Alto, CA 94306                   Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/1/2016 VA 2-026-592              9/23/2016                   7/1/2016               7/3/2020
   74778616 4141 El Camino Real, Palo Alto, CA 94306                   Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/1/2016 VA 2-026-592              9/23/2016                   7/1/2016               7/5/2020
   74784525 2260 Cooper Ave, Merced, CA 95348                          John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/1/2016 VA 2-038-531              9/23/2016                   7/1/2016               7/5/2020
   74785367 2320 Cooper Ave, Merced, CA 95348                          John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/1/2016 VA 2-038-531              9/23/2016                   7/1/2016              6/25/2020
   75288829 7400-7410 Niles Center Rd, Skokie, IL 60077                Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       7/5/2016 VA 2-041-397              9/23/2016                   7/5/2016               7/9/2020
   75292091 7300-7400 Linder Ave, Skokie, IL 60077                     Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       7/5/2016 VA 2-041-397              9/23/2016                   7/5/2016              6/26/2020
   75518292 8309 Six Forks Rd, Raleigh, NC 27615                       Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       7/7/2016 VA 2-035-525              9/23/2016                   7/7/2016              8/12/2020
   75829177 13400 Hanford Armona Rd, Hanford, CA 93230                 John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/11/2016 VA 2-038-531              9/23/2016                  7/11/2016               7/1/2020
   76121964 11361 Countryway Blvd, Tampa, FL 33626                     James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/11/2016 VA 2-038-617              9/23/2016                  7/11/2016               7/3/2020
   76253330 1426 W Brandon Blvd, Brandon, FL 33511                     James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2016 VA 2-038-617              9/23/2016                  7/12/2016               7/3/2020
   76758135 861 E State Road 434, Winter Springs, FL 32708             Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/15/2016 VA 2-026-627              9/23/2016                  7/15/2016               7/1/2020
   77098597 1552 Beach St, Oakland, CA 94608                           Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      7/18/2016 VA 2-038-389              9/23/2016                  7/18/2016               7/5/2020
   77098634 1552 Beach St, Oakland, CA 94608                           Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      7/18/2016 VA 2-038-389              9/23/2016                  7/18/2016               7/8/2020
   77410066 615 N Upper Broadway St, Corpus Christi, TX 78401          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      7/20/2016 VA 2-041-397              9/23/2016                  7/20/2016               7/5/2020
   77410109 615 N Upper Broadway St, Corpus Christi, TX 78401          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      7/20/2016 VA 2-041-397              9/23/2016                  7/20/2016               7/9/2020
   78476821 2949 N Federal Hwy, Fort Lauderdale, FL 33306              Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2016 VA 2-026-712              9/23/2016                  7/25/2016               7/4/2020
   78476850 2949 N Federal Hwy, Fort Lauderdale, FL 33306              Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2016 VA 2-026-712              9/23/2016                  7/25/2016              6/28/2020
   78476895 2949 N Federal Hwy, Fort Lauderdale, FL 33306              Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2016 VA 2-026-712              9/23/2016                  7/25/2016              6/29/2020

  78758388 105 Executive Dr, Lafayette, IN 47905                       Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/26/2016 VA 2-035-569             9/23/2016                  7/26/2016               6/28/2020
  79724090 1535 E Shaw Ave, Fresno, CA 93710                           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        8/1/2016 VA 2-038-531             9/23/2016                   8/1/2016               8/11/2020
  79789414 5550 W Touhy Ave, Skokie, IL 60077                          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/2/2016 VA 2-041-397             9/23/2016                   8/2/2016               6/12/2021
  79856204 2400 W Sample Rd, Pompano Beach, FL 33073                   Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2016 VA 2-026-712             9/23/2016                   8/2/2016              11/14/2020
  79857394 8200 Lehigh Ave, Morton Grove, IL 60053                     Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/2/2016 VA 2-041-397             9/23/2016                   8/2/2016               7/10/2020
  79857430 8200 Lehigh Ave, Morton Grove, IL 60053                     Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/2/2016 VA 2-041-397             9/23/2016                   8/2/2016                7/5/2020
  79857448 8200 Lehigh Ave, Morton Grove, IL 60053                     Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/2/2016 VA 2-041-397             9/23/2016                   8/2/2016                7/8/2020
  79858078 8140 River Dr, Morton Grove, IL 60053                       Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/2/2016 VA 2-041-397             9/23/2016                   8/2/2016               8/10/2020
  80107286 95 Gilligan Rd, East Greenbush, NY 12061                    Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/3/2016 VA 2-026-664             9/23/2016                   8/3/2016                7/1/2020
  80107411 95 Gilligan Rd, East Greenbush, NY 12061                    Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/3/2016 VA 2-026-664             9/23/2016                   8/3/2016               6/30/2020
  80330428 4632 Denton Hwy, Fort Worth, TX 76117                       Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/4/2016 VA 2-026-628             9/23/2016                   8/4/2016               6/29/2020
  81482238 3695 Pine Ave, Niagara Falls, NY 14301                      Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/11/2016 VA 2-035-417             9/23/2016                  8/11/2016               6/30/2020
  81505311 10747 Tucker St, Beltsville, MD 20705                       Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/11/2016 VA 2-035-416             9/23/2016                  8/11/2016               8/12/2020
  81524720 7870 El Cajon Blvd, La Mesa, CA 91942                       Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/11/2016 VA 2-038-532             9/23/2016                  8/11/2016               6/27/2020
  81524735 7870 El Cajon Blvd, La Mesa, CA 91942                       Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/11/2016 VA 2-038-532             9/23/2016                  8/11/2016                7/4/2020
  78607651 1221 W 3rd St, Los Angeles, CA 90017                        Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/26/2016 VA 2-026-689             9/23/2016                  7/26/2016                5/4/2021
  76114541 1085 Cranbury South River Rd, South Brunswick, NJ 08831     Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/12/2016 VA 2-038-593             9/23/2016                  7/12/2016               6/25/2020
  76634276 1230 E Elizabeth Ave, Linden, NJ 07036                      Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/15/2016 VA 2-038-593             9/23/2016                  7/15/2016                7/6/2020
  76634717 1416 E Linden Ave, Linden, NJ 07036                         Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/15/2016 VA 2-038-593             9/23/2016                  7/15/2016               6/26/2020
  77370787 133 S Main St, Forked River, NJ 08731                       Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2016 VA 2-038-593             9/23/2016                  7/20/2016                7/4/2020
  77577271 500 McKnight Park Dr, Pittsburgh, PA 15237                  Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/21/2016 VA 2-038-416             9/23/2016                  7/21/2016               6/25/2020
  77577278 500 McKnight Park Dr, Pittsburgh, PA 15237                  Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       7/21/2016 VA 2-038-416             9/23/2016                  7/21/2016               7/10/2020
  81502269 666 Plainsboro Rd, Plainsboro, NJ 08536                     Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/11/2016 VA 2-038-593             9/23/2016                  8/11/2016                7/2/2020
  39263448 124 Sills Rd, Yaphank, NY 11980                             Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/1/2015 VA 2-041-386             9/23/2016                   7/1/2015                7/2/2020
  77582237 1112 Broad St, Phenix City, AL 36867                        Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/21/2016 VA 2-035-442             9/23/2016                  7/21/2016                7/9/2020
  81139079 15 Main St, East Rockaway, NY 11518                         Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/9/2016 VA 2-041-386             9/23/2016                   8/9/2016               6/25/2020
  81139088 15 Main St, East Rockaway, NY 11518                         Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        8/9/2016 VA 2-041-386             9/23/2016                   8/9/2016                7/1/2020
  81724340 111 N Stadium Blvd, Columbia, MO 65203                      Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/12/2016 VA 2-041-055             9/23/2016                  8/12/2016               6/28/2020
  81724404 111 N Stadium Blvd, Columbia, MO 65203                      Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/12/2016 VA 2-041-055             9/23/2016                  8/12/2016                7/1/2020
  76120698 52717 Harrison St, Coachella, CA 92236                      Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/12/2016 VA 2-026-699             9/23/2016                  7/12/2016                7/7/2020
  76495419 43391 Business Park Dr, Temecula, CA 92590                  Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/14/2016 VA 2-026-699             9/23/2016                  7/14/2016                7/8/2020
  76495435 43391 Business Park Dr, Temecula, CA 92590                  Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/14/2016 VA 2-026-699             9/23/2016                  7/14/2016                7/1/2020
  77407709 26590 Madison Ave, Murrieta, CA 92562                       Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2016 VA 2-026-699             9/23/2016                  7/20/2016               6/30/2020
  77407727 26590 Madison Ave, Murrieta, CA 92562                       Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2016 VA 2-026-699             9/23/2016                  7/20/2016               6/26/2020
  79722582 41715 Elm St, Murrieta, CA 92562                            Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/1/2016 VA 2-026-699             9/23/2016                   8/1/2016               6/29/2020
  81029995 26793 Madison Ave, Murrieta, CA 92562                       Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/8/2016 VA 2-026-699             9/23/2016                   8/8/2016                7/5/2020
  81826136 27226 Via Industria, Temecula, CA 92590                     Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/12/2016 VA 2-026-699             9/23/2016                  8/12/2016               10/3/2020
  61868641 2425 W Division St, Chicago, IL 60622                       Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       3/16/2016 VA 2-047-039             9/23/2016                  3/16/2016                7/4/2020
  75295805 3830-3840 S Jones Blvd, Las Vegas, NV 89103                 Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        7/5/2016 VA 2-027-134             9/23/2016                   7/5/2016               4/23/2020
  75443912 1765 E Bayshore Rd, East Palo Alto, CA 94303                George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/7/2016 VA 2-035-445             9/23/2016                   7/7/2016               6/28/2020
  77408519 1040 Goodlette Rd N, Naples, FL 34102                       Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/20/2016 VA 2-026-738             9/23/2016                  7/20/2016                7/2/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                      93
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Attachment                                                                             Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                  Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   81334600 565 Marks St, Henderson, NV 89014                  Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/10/2016 VA 2-027-134              9/23/2016                  8/10/2016                7/6/2020
   76133016 923 keeaumoku St, Honolulu, HI 96814               Lima Maino                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2016 VA 2-038-505              9/23/2016                  7/12/2016               8/12/2020
   78607354 6263 E Main St, Mesa, AZ 85205                     Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/26/2016 VA 2-041-400              9/23/2016                  7/26/2016                7/2/2020
   85152892 19405 Plantation Rd, Rehoboth Beach, DE 19971      Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-880              9/29/2016                  8/29/2016                7/4/2020
   85152916 19405 Plantation Rd, Rehoboth Beach, DE 19971      Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-880              9/29/2016                  8/29/2016                7/2/2020
   85152926 19405 Plantation Rd, Rehoboth Beach, DE 19971      Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-880              9/29/2016                  8/29/2016                7/1/2020
   85153524 119 Patriot Dr, Middletown, DE 19709               Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-880              9/29/2016                  8/29/2016               7/31/2020
   85153531 119 Patriot Dr, Middletown, DE 19709               Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-880              9/29/2016                  8/29/2016               7/31/2020
   74779635 1100 S Elm St, Greensboro, NC 27406                Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/30/2016 VA 2-025-100              9/29/2016                  6/30/2016               6/26/2020
   83161526 640 N Prospect St, Porterville, CA 93257           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/17/2016 VA 2-025-051              9/29/2016                  8/17/2016               6/28/2020
   83353989 2290 Diamond Blvd, Concord, CA 94520               Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      8/18/2016 VA 2-023-593              9/29/2016                  8/18/2016                7/1/2020
   83354080 2290 Diamond Blvd, Concord, CA 94520               Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      8/18/2016 VA 2-023-593              9/29/2016                  8/18/2016                7/5/2020
   83521810 1101 Pacific Ave, Santa Cruz, CA 95060             Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-886              9/29/2016                  8/19/2016                7/3/2020
   83521838 1101 Pacific Ave, Santa Cruz, CA 95060             Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-886              9/29/2016                  8/19/2016                7/5/2020
   84174127 108 N Washington St, Spokane, WA 99201             Robert Lawton                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/24/2016 VA 2-023-874              9/29/2016                  8/24/2016               7/12/2021
   85144948 17134 Stuebner Airline Rd, Spring, TX 77379        Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2016 VA 2-023-877              9/29/2016                  8/30/2016               10/3/2020
   85145912 NEC Il-47, Huntley, IL 60142                       Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      8/30/2016 VA 2-025-016              9/29/2016                  8/30/2016                7/3/2020
   85147168 5230 Denton Hwy, Haltom City, TX 76148             Nancy Honeycutt                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2016 VA 2-024-774              9/29/2016                  8/30/2016               7/15/2020
   84578155 230 E Hunt St, McKinney, TX 75069                  Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/26/2016 VA 2-025-068              9/29/2016                  8/26/2016               7/15/2020
   84054089 4141 S Nogales St, West Covina, CA 91792           Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/23/2016 VA 2-024-834              9/29/2016                  8/23/2016                7/8/2020
   85311292 5 Nami Ln, Hamilton, NJ 08619                      Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2016 VA 2-024-743              9/29/2016                  8/31/2016                7/7/2020
   85327679 1271 S Suber Rd, Greer, SC 29650                   William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/31/2016 VA 2-023-923              9/29/2016                  8/31/2016               8/11/2020
   83883052 914 Howell Mill Rd NW, Atlanta, GA 30318           Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/22/2016 VA 2-023-687              9/29/2016                  8/22/2016                7/8/2020
   84165105 306 S 15th St, Omaha, NE 68102                     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      8/24/2016 VA 2-023-726              9/29/2016                  8/24/2016               8/12/2020
   83155635 42095 Zevo Dr, Temecula, CA 92590                  Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/17/2016 VA 2-024-755              9/29/2016                  8/17/2016              10/15/2020
   84593651 30029-30067 Haun Rd, Menifee, CA 92584             Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/26/2016 VA 2-024-755              9/29/2016                  8/26/2016               6/29/2020
   83539251 5506 S Fort Apache Rd, Las Vegas, NV 89148         Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-607              9/29/2016                  8/19/2016               6/29/2020
   83571364 5532 S Fort Apache Rd, Las Vegas, NV 89148         Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-607              9/29/2016                  8/19/2016               6/25/2020
   83571393 5532 S Fort Apache Rd, Las Vegas, NV 89148         Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-607              9/29/2016                  8/19/2016                7/1/2020
   83571396 5532 S Fort Apache Rd, Las Vegas, NV 89148         Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/19/2016 VA 2-023-607              9/29/2016                  8/19/2016               7/10/2020
   85329594 360 W Stonebrook Pky, Frisco, TX 75034             Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/31/2016 VA 2-023-550              9/29/2016                  8/31/2016               6/28/2020
   84946400 221-229 N I-35 Service Rd, Moore, OK 73160         Jana Carson                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2016 VA 2-023-648              9/29/2016                  8/29/2016                7/2/2020
   83503920 8501 Tower Point Dr, Charlotte, NC 28227           Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/19/2016 VA 2-023-879              9/29/2016                  8/19/2016               6/30/2020
   83503930 8501 Tower Point Dr, Charlotte, NC 28227           Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/19/2016 VA 2-023-879              9/29/2016                  8/19/2016                7/5/2020
   83872149 1216-1220 S Graham St, Charlotte, NC 28203         Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/22/2016 VA 2-023-879              9/29/2016                  8/22/2016               7/24/2020
   85454039 200 W Base St, Madison, FL 32340                   David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/1/2016 VA 2-044-553            10/11/2016                    9/1/2016                7/8/2020
   85459594 601 W Univision Plz, Fresno, CA 93704              John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       9/1/2016 VA 2-062-477            10/11/2016                    9/1/2016               6/26/2020
   85700175 2323 State Road 580, Clearwater, FL 33763          Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/6/2016 VA 2-048-884            10/11/2016                    9/6/2016               6/30/2020
   85806404 10 SW Doctors Cir, Supply, NC 28462                Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       9/7/2016 VA 2-062-226            10/11/2016                    9/7/2016               6/27/2020
   86285990 100-150 Euclid Ave, Park Ridge, IL 60068           Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/13/2016 VA 2-062-093            10/11/2016                   9/13/2016                7/4/2020
   86285999 100-150 Euclid Ave, Park Ridge, IL 60068           Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/13/2016 VA 2-062-093            10/11/2016                   9/13/2016                7/9/2020
   86286180 100 S Northwest Hwy, Park Ridge, IL 60068          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/13/2016 VA 2-062-093            10/11/2016                   9/13/2016               6/25/2020
   86286194 100 S Northwest Hwy, Park Ridge, IL 60068          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/13/2016 VA 2-062-093            10/11/2016                   9/13/2016                7/2/2020
   86286206 100 S Northwest Hwy, Park Ridge, IL 60068          Justin Schmidt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/13/2016 VA 2-062-093            10/11/2016                   9/13/2016                7/1/2020
   86410495 747 Pontiac Ave, Cranston, RI 02910                Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/14/2016 VA 2-062-099            10/11/2016                   9/14/2016               6/27/2020
   86662722 1040 Charles St, North Providence, RI 02904        Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/16/2016 VA 2-062-099            10/11/2016                   9/16/2016               7/27/2020
   86407640 219 South St, New Providence, NJ 07974             Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2016 VA 2-064-713            10/11/2016                   9/14/2016                7/1/2020
   86412162 250 Old New Brunswick Rd, Piscataway, NJ 08854     Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2016 VA 2-064-713            10/11/2016                   9/14/2016                7/6/2020

  86100843 20 S Main St, Rittman, OH 44270                     Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/12/2016 VA 2-048-939            10/11/2016                  9/12/2016               6/25/2020
  85423122 6414 O St, Lincoln, NE 68510                        Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        9/1/2016 VA 2-042-941            10/11/2016                   9/1/2016               6/25/2020
  85858509 43085 Business Park Dr, Temecula, CA 92590          Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/8/2016 VA 2-049-095            10/11/2016                   9/8/2016               6/30/2020
  86105190 43176 Business Park Dr, Temecula, CA 92590          Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2016 VA 2-049-095            10/11/2016                  9/12/2016                7/3/2020
  86105260 43176 Business Park Dr, Temecula, CA 92590          Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2016 VA 2-049-095            10/11/2016                  9/12/2016                7/8/2020
  86286217 7111-7121 W Bell Rd, Glendale, AZ 85308             Nicholas Cassano                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2016 VA 2-049-097            10/11/2016                  9/13/2016                7/9/2020

  85946516 176 Croghan Spur, Charleston, SC 29407              Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        9/9/2016 VA 2-061-780            10/11/2016                   9/9/2016                7/8/2020

  86097564 18 Broad St, Charleston, SC 29401                   Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/12/2016 VA 2-061-780            10/11/2016                  9/12/2016                5/3/2021
  85458467 2474-2500 E Hunt Hwy, Queen Creek, AZ 85143         Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/1/2016 VA 2-061-827            10/11/2016                   9/1/2016                7/2/2020
  85695057 10241 E Apache Trl, Apache Junction, AZ 85120       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/2/2016 VA 2-061-827            10/11/2016                   9/2/2016                7/8/2020
  85695065 10241 E Apache Trl, Apache Junction, AZ 85120       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/2/2016 VA 2-061-827            10/11/2016                   9/2/2016               6/29/2020
  85696164 11401 E Apache Trl, Apache Junction, AZ 85120       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/2/2016 VA 2-061-827            10/11/2016                   9/2/2016               6/26/2020
  85563607 11435 NW 4th St, Yukon, OK 73099                    Jana Carson                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/2/2016 VA 2-042-381            10/11/2016                   9/2/2016                7/1/2020
  87788064 5909-5915 Merrill Rd, Jacksonville, FL 32277        Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/28/2016 VA 2-079-266             11/2/2016                  9/28/2016               6/29/2020
  86895611 3355 Capital Cir NE, Tallahassee, FL 32308          David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/19/2016 VA 2-077-989             11/2/2016                  9/19/2016               6/26/2020
  86991050 19900-19950 NE 15th Ct, Miami, FL 33179             Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2016 VA 2-077-873             11/2/2016                  9/20/2016               6/28/2020
  87161577 1950 Summit Park Dr, Orlando, FL 32810              Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/22/2016 VA 2-077-875             11/2/2016                  9/22/2016                7/6/2020
  87161589 1950 Summit Park Dr, Orlando, FL 32810              Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/22/2016 VA 2-077-875             11/2/2016                  9/22/2016                7/9/2020

  87169873 1022 S Washington Ave, Royal Oak, MI 48067          Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/22/2016 VA 2-078-053             11/2/2016                  9/22/2016               6/30/2020
  87655546 3600 Maclay Blvd S, Tallahassee, FL 32312           David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/27/2016 VA 2-077-989             11/2/2016                  9/27/2016                7/6/2020
  87655587 3600 Maclay Blvd S, Tallahassee, FL 32312           David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/27/2016 VA 2-077-989             11/2/2016                  9/27/2016               6/28/2020
  87655688 3600 Maclay Blvd S, Tallahassee, FL 32312           David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/27/2016 VA 2-077-989             11/2/2016                  9/27/2016               6/26/2020
  87787601 5909-5915 Merrill Rd, Jacksonville, FL 32277        Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/28/2016 VA 2-079-266             11/2/2016                  9/28/2016               4/23/2020
  87795484 2528 Wheaton Way, Bremerton, WA 98310               Michael Murphy                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/28/2016 VA 2-058-940             11/2/2016                  9/28/2016               7/10/2020
  87913936 6022-6034 N Figarden Dr, Fresno, CA 93722           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/29/2016 VA 1-282-042             11/2/2016                  9/29/2016               6/25/2020
  87913940 6022-6034 N Figarden Dr, Fresno, CA 93722           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/29/2016 VA 1-282-042             11/2/2016                  9/29/2016                7/3/2020
  86987579 103 Trojan Ln, Anderson, SC 29621                   William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/20/2016 VA 2-059-356             11/2/2016                  9/20/2016                7/6/2020
  87650773 1122 Route 22, Mountainside, NJ 07092               Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/27/2016 VA 2-058-321             11/2/2016                  9/27/2016               2/21/2021




                         OUTSIDE COUNSEL ONLY                                                                                                                 94
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                      Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   87905314 48 Brookfield Oaks Dr, Greenville, SC 29607              William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/29/2016 VA 2-059-356              11/2/2016                  9/29/2016               2/6/2021
   86892791 8530 Steele Creek Rd, Charlotte, NC 28273                Roni-Leigh Burritt                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/19/2016 VA 2-077-881              11/2/2016                  9/19/2016              8/12/2020
   87140340 7707 Arlington Expy, Jacksonville, FL 32211              Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/22/2016 VA 2-078-152              11/2/2016                  9/22/2016              6/26/2020
   87156385 7707 Arlington Expy, Jacksonville, FL 32211              Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/22/2016 VA 2-078-152              11/2/2016                  9/22/2016               7/4/2020
   87517565 5940 Merrill Rd, Jacksonville, FL 32277                  Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/26/2016 VA 2-078-152              11/2/2016                  9/26/2016              6/26/2020
   87659192 14360 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016              7/20/2020
   87659238 14360 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016              7/20/2020
   87659254 14360 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016              7/20/2020
   87659299 14360 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016              7/20/2020
   87660407 14181 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016               7/2/2020
   87660415 14181 S Tamiami Trl, Fort Myers, FL 33912                Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/27/2016 VA 2-077-872              11/2/2016                  9/27/2016              6/26/2020

  87061925 1654 Dividend Loop, Myrtle Beach, SC 29577                Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/21/2016 VA 2-077-774             11/2/2016                  9/21/2016                7/3/2020
  87307366 136 Hal Muldrow Dr, Norman, OK 73069                      Jana Carson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/23/2016 VA 2-078-852             11/2/2016                  9/23/2016               6/27/2020
  87896134 801 NW 10th St, Oklahoma City, OK 73106                   Jana Carson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/29/2016 VA 2-078-852             11/2/2016                  9/29/2016               6/27/2020
  88211331 1501 SR 436, Casselberry, FL 32730                        Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2016 VA 2-078-479            11/21/2016                  10/3/2016               7/10/2020
  88211335 1501 SR 436, Casselberry, FL 32730                        Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2016 VA 2-078-479            11/21/2016                  10/3/2016                7/2/2020
  88211355 1501 SR 436, Casselberry, FL 32730                        Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2016 VA 2-078-479            11/21/2016                  10/3/2016                7/2/2020
  88401386 2906 S Bagdad Rd, Leander, TX 78641                       Leigh Christian                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/5/2016 VA 2-088-708            11/21/2016                  10/5/2016               11/7/2020
  88850500 994-1000 Farmington Ave, West Hartford, CT 06107          Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/10/2016 VA 2-078-487            11/21/2016                 10/10/2016               6/26/2020
  88935158 4330 W Broward Blvd, Plantation, FL 33317                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2016 VA 2-088-117            11/21/2016                 10/11/2016               7/20/2020
  88935265 4330 W Broward Blvd, Plantation, FL 33317                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2016 VA 2-088-117            11/21/2016                 10/11/2016               7/20/2020
  89074561 5872 S 900 E, Murray, UT 84121                            Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      10/12/2016 VA 2-088-267            11/21/2016                 10/12/2016                7/7/2020
  88618010 1224 W 2nd St, San Bernardino, CA 92410                   Daniel Marquez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/7/2016 VA 2-078-490            11/21/2016                  10/7/2016                7/6/2020
  88309722 4459 147th St, Midlothian, IL 60445                       Barbara Rudolf                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2016 VA 2-059-536            11/21/2016                  10/4/2016                7/7/2020
  88212801 540 Marshall St, Phillipsburg, NJ 08865                   John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       10/3/2016 VA 2-088-231            11/21/2016                  10/3/2016                8/9/2020
  88212832 540 Marshall St, Phillipsburg, NJ 08865                   John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       10/3/2016 VA 2-088-231            11/21/2016                  10/3/2016                8/8/2020
  88212861 540 Marshall St, Phillipsburg, NJ 08865                   John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       10/3/2016 VA 2-088-231            11/21/2016                  10/3/2016               8/12/2020
  88214810 2824 Old Woodruff Rd, Greer, SC 29651                     William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       10/3/2016 VA 2-088-222            11/21/2016                  10/3/2016               1/18/2021
  88501297 440 Nepperhan Ave, Yonkers, NY 10701                      Deawell Adair                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       10/6/2016 VA 2-059-583            11/21/2016                  10/6/2016                7/2/2020
  88267480 21 Tamal Vista Blvd, Corte Madera, CA 94925               George Chao                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2016 VA 2-087-887            11/21/2016                  10/4/2016               6/26/2020
  88267504 21 Tamal Vista Blvd, Corte Madera, CA 94925               George Chao                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2016 VA 2-087-887            11/21/2016                  10/4/2016                7/3/2020
  88267606 1327 NE Pine Island Rd, Cape Coral, FL 33909              Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       10/4/2016 VA 2-078-482            11/21/2016                  10/4/2016               5/29/2021
  88267661 1327 NE Pine Island Rd, Cape Coral, FL 33909              Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       10/4/2016 VA 2-078-482            11/21/2016                  10/4/2016               5/29/2021
  88419824 5232 E Pima St, Tucson, AZ 85712                          Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/5/2016 VA 2-088-381            11/21/2016                  10/5/2016                7/4/2020
  88419833 5232 E Pima St, Tucson, AZ 85712                          Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/5/2016 VA 2-088-381            11/21/2016                  10/5/2016                7/1/2020
  88214849 18840-18850 Ventura Blvd, Tarzana, CA 91356               Adam Davis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2016 VA 2-059-464            11/21/2016                  10/3/2016                7/7/2020
  88935285 4330 W Broward Blvd, Plantation, FL 33317                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2016 VA 2-060-585            11/29/2016                 10/11/2016               7/31/2020
  88935301 4330 W Broward Blvd, Plantation, FL 33317                 Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/11/2016 VA 2-060-585            11/29/2016                 10/11/2016               7/31/2020
  89479806 17161-17239 NW 27th Ave, Miami Gardens, FL 33056          Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/17/2016 VA 2-060-781            11/29/2016                 10/17/2016                7/8/2020
  89479809 17161-17239 NW 27th Ave, Miami Gardens, FL 33056          Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/17/2016 VA 2-060-781            11/29/2016                 10/17/2016                7/1/2020
  89559125 174-176 N York Rd, Elmhurst, IL 60126                     Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      10/18/2016 VA 2-060-890            11/29/2016                 10/18/2016                7/4/2020
  89635917 1001-1009 Hebron Ave, Glastonbury, CT 06033               Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/19/2016 VA 2-064-071            11/29/2016                 10/19/2016               7/10/2020
  90162101 19201-19225 Orbit Dr, Gaithersburg, MD 20879              Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2016 VA 2-060-586            11/29/2016                 10/24/2016               5/16/2020
  90162580 8001-8019 Cessna Ave, Gaithersburg, MD 20879              Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2016 VA 2-060-586            11/29/2016                 10/24/2016               7/20/2020
  90162591 8001-8019 Cessna Ave, Gaithersburg, MD 20879              Gene Inserto                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2016 VA 2-060-586            11/29/2016                 10/24/2016               7/20/2020
  90342174 1700-1740 Corporate Dr, Boynton Beach, FL 33426           David Dunn                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/26/2016 VA 2-060-801            11/29/2016                 10/26/2016                7/2/2020
  91184880 7 N Washington St, Plainville, CT 06062                   Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/31/2016 VA 2-064-071            11/29/2016                 10/31/2016               6/30/2020

  91253590 29350 Harper Ave, Saint Clair Shores, MI 48081            Douglas Wright                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/31/2016 VA 2-064-060            11/29/2016                 10/31/2016               7/10/2020
  89561627 801-861 W Maple Ave, Homewood, IL 60430                   Barbara Rudolf                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/18/2016 VA 2-060-793            11/29/2016                 10/18/2016               6/29/2020
  89470572 39 Cindy Ln, Ocean, NJ 07712                              Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/17/2016 VA 2-060-035            11/29/2016                 10/17/2016                7/3/2020
  89470630 39 Cindy Ln, Ocean, NJ 07712                              Michael Johnson                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/17/2016 VA 2-060-035            11/29/2016                 10/17/2016                7/1/2020
  90262907 212 Pelham Davis Cir, Greenville, SC 29615                William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/25/2016 VA 2-060-066            11/29/2016                 10/25/2016               6/27/2020
  90712543 2603 N Pleasantburg Dr, Greenville, SC 29609              William Neary                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/28/2016 VA 2-060-066            11/29/2016                 10/28/2016                7/7/2020
  90154811 991 Main St, Holbrook, NY 11741                           Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/24/2016 VA 2-060-882            11/29/2016                 10/24/2016                7/1/2020

  90341175 1050 Youngstown Warren Rd, Niles, OH 44446                Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/26/2016 VA 2-060-683            11/29/2016                 10/26/2016                7/6/2020
  90347608 4315 17th Ave, Columbus, GA 31904                         Isaiah Buchanan                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/26/2016 VA 2-060-599            11/29/2016                 10/26/2016                7/9/2020
  91207230 670 Montauk Hwy, Water Mill, NY 11976                     Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/31/2016 VA 2-060-882            11/29/2016                 10/31/2016                7/6/2020
  91207283 670 Montauk Hwy, Water Mill, NY 11976                     Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/31/2016 VA 2-060-882            11/29/2016                 10/31/2016               6/30/2020
  91207290 670 Montauk Hwy, Water Mill, NY 11976                     Joseph Furio                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/31/2016 VA 2-060-882            11/29/2016                 10/31/2016               6/28/2020
  90533961 12901 Padgett Switch Rd, Bayou La Batre, AL 36509         Brian Falacienski                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/27/2016 VA 2-060-581            11/29/2016                 10/27/2016              10/30/2020
  89565630 744 Empire St, Fairfield, CA 94533                        George Chao                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/18/2016 VA 2-060-596            11/29/2016                 10/18/2016                5/3/2020
  89925617 11400 Summerlin Square Dr, Fort Myers Beach, FL 33931     Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/21/2016 VA 2-060-774            11/29/2016                 10/21/2016                7/6/2020
  89925656 11400 Summerlin Square Dr, Fort Myers Beach, FL 33931     Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/21/2016 VA 2-060-774            11/29/2016                 10/21/2016               6/29/2020
  91565375 5565 Lee St, Lehigh Acres, FL 33971                       Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       11/2/2016 VA 2-060-774            11/29/2016                  11/2/2016                7/9/2020
  89466279 6102-6110 Gotfredson Rd, Plymouth, MI 48170               Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      10/17/2016 VA 2-060-061            11/29/2016                 10/17/2016                7/4/2020
  89466299 6102-6110 Gotfredson Rd, Plymouth, MI 48170               Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      10/17/2016 VA 2-060-061            11/29/2016                 10/17/2016                7/6/2020
  89466306 6102-6110 Gotfredson Rd, Plymouth, MI 48170               Trisha Everitt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      10/17/2016 VA 2-060-061            11/29/2016                 10/17/2016                7/9/2020
  91820730 215 W Fayette St, Syracuse, NY 13202                      Tina Wood                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/3/2016 VA 2-059-960            12/22/2016                  11/3/2016              12/13/2020
  92021124 1295 E Main St, Meriden, CT 06450                         Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/4/2016 VA 2-062-129            12/22/2016                  11/4/2016                7/4/2020
  92563931 417 E Highway 199, Springtown, TX 76082                   Nancy Honeycutt                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/7/2016 VA 2-056-880            12/22/2016                  11/7/2016                7/4/2020
  92564812 1037-1047 N Milwaukee Ave, Libertyville, IL 60048         Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       11/7/2016 VA 2-058-841            12/22/2016                  11/7/2016               6/28/2020
  92564815 1037-1047 N Milwaukee Ave, Libertyville, IL 60048         Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       11/7/2016 VA 2-058-841            12/22/2016                  11/7/2016                7/6/2020
  92616295 424 E Washington St, North Attleboro, MA 02760            Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/8/2016 VA 2-057-287            12/22/2016                  11/8/2016               7/29/2020
  92676521 179-197 N 290 W, Lindon, UT 84042                         Todd Cook                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       11/8/2016 VA 2-059-970            12/22/2016                  11/8/2016                7/2/2020
  92922627 15060 Farm Creek Dr, Woodbridge, VA 22191                 Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2016 VA 2-058-384            12/22/2016                  11/9/2016                7/1/2020
  92922707 15060 Farm Creek Dr, Woodbridge, VA 22191                 Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2016 VA 2-058-384            12/22/2016                  11/9/2016               6/28/2020
  92922771 15060 Farm Creek Dr, Woodbridge, VA 22191                 Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2016 VA 2-058-384            12/22/2016                  11/9/2016                7/9/2020




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   93177843 61-69 W Putnam Ave, Porterville, CA 93257             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     11/10/2016 VA 2-059-164            12/22/2016                 11/10/2016              6/29/2020
   93177848 61-69 W Putnam Ave, Porterville, CA 93257             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     11/10/2016 VA 2-059-164            12/22/2016                 11/10/2016              6/27/2020
   93379074 890 N State Road 434, Altamonte Springs, FL 32714     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-057-531            12/22/2016                 11/11/2016              6/28/2020
   93379169 890 N State Road 434, Altamonte Springs, FL 32714     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-057-531            12/22/2016                 11/11/2016              6/30/2020
   93390336 500-504 N Abbe Rd, Elyria, OH 44035                   Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-068-450            12/22/2016                 11/11/2016              6/28/2020
   93390915 466-488 N Abbe Rd, Elyria, OH 44035                   Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-068-450            12/22/2016                 11/11/2016               7/2/2020
   91878621 11363 Denton Dr, Dallas, TX 75229                     Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/3/2016 VA 2-057-079            12/22/2016                  11/3/2016              7/10/2020
   91407283 1071 Broadway, Chula Vista, CA 91911                  Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/1/2016 VA 2-059-163            12/22/2016                  11/1/2016              10/9/2020
   93417043 8400 N Magnolia Ave, Santee, CA 92071                 Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/11/2016 VA 2-059-163            12/22/2016                 11/11/2016              8/12/2020
   94984152 1177 Greenfield Dr, El Cajon, CA 92021                Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/15/2016 VA 2-059-163            12/22/2016                 11/15/2016               7/6/2020
   94998407 512-616 N New Rd, Waco, TX 76710                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/15/2016 VA 2-057-733            12/22/2016                 11/15/2016               7/2/2020
   94998417 512-616 N New Rd, Waco, TX 76710                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/15/2016 VA 2-057-733            12/22/2016                 11/15/2016              7/10/2020
   94998430 512-616 N New Rd, Waco, TX 76710                      Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/15/2016 VA 2-057-733            12/22/2016                 11/15/2016               7/1/2020
   91616369 2232 Highway 22 E, Union, NJ 07083                    Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2016 VA 2-057-919            12/22/2016                  11/2/2016               7/7/2020
   93391921 326 S Main St, Manville, NJ 08835                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-057-919            12/22/2016                 11/11/2016               7/6/2020
   93391949 326 S Main St, Manville, NJ 08835                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2016 VA 2-057-919            12/22/2016                 11/11/2016              6/30/2020
   94826541 424 W Main St, Denville, NJ 07834                     John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     11/14/2016 VA 2-059-165            12/22/2016                 11/14/2016               7/8/2020

  94829723 187 Stateline Rd E, Southaven, MS 38671                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/14/2016 VA 2-068-299           12/22/2016                 11/14/2016               7/17/2021
  94910927 125 Dillon Dr, Spartanburg, SC 29307                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/15/2016 VA 2-057-636           12/22/2016                 11/15/2016                8/9/2020
  94910955 125 Dillon Dr, Spartanburg, SC 29307                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/15/2016 VA 2-057-636           12/22/2016                 11/15/2016               8/10/2020
  94828392 203 Capcom Ave, Wake Forest, NC 27587                  Roni-Leigh Burritt                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2016 VA 2-057-536           12/22/2016                 11/14/2016                5/8/2021
  94998952 4540 W State Road 46, Sanford, FL 32771                Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/15/2016 VA 2-058-184           12/22/2016                 11/15/2016                7/2/2020
  91856815 7955 Badura Ave, Las Vegas, NV 89113                   Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       11/3/2016 VA 2-057-301           12/22/2016                  11/3/2016               6/30/2020
  94883978 14329 San Pedro Ave, San Antonio, TX 78232             Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/14/2016 VA 2-057-078           12/22/2016                 11/14/2016               2/12/2021
  97472481 801 Gibson Blvd, Harrisburg, PA 17104                  Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2016 VA 2-048-339             1/3/2017                 11/28/2016               8/10/2020
  95261922 10 Perchwood Dr, Fredericksburg, VA 22405              Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/16/2016 VA 2-049-127             1/3/2017                 11/16/2016                7/2/2020
  95285687 60 NW 37th Ave, Miami, FL 33125                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/16/2016 VA 2-049-128             1/3/2017                 11/16/2016               6/29/2020
  95258835 353 E Park Ave, El Cajon, CA 92020                     Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/16/2016 VA 2-053-168             1/3/2017                 11/16/2016               6/26/2020
  96531976 12490 Business Center Dr, Victorville, CA 92395        Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/23/2016 VA 2-050-355             1/3/2017                 11/23/2016                7/3/2020
  95261398 1560 International Dr, Spartanburg, SC 29303           William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/16/2016 VA 2-047-792             1/3/2017                 11/16/2016               7/16/2020
  95644218 147-149 Bridgeton Pike, Mullica Hill, NJ 08062         Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/18/2016 VA 2-050-360             1/3/2017                 11/18/2016               8/17/2020

  95335197 3150 Lincoln Way NW, Massillon, OH 44647               Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/16/2016 VA 2-050-801             1/3/2017                 11/16/2016               7/10/2020
  97470129 4648 Troy Ct, Jurupa Valley, CA 92509                  Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2016 VA 2-050-799             1/3/2017                 11/28/2016                7/3/2020
  96249260 4040 Broadway St, San Antonio, TX 78209                Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/21/2016 VA 2-048-335             1/3/2017                 11/21/2016               4/10/2021
  96564880 320 S Atlanta St, Roswell, GA 30075                    Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/23/2016 VA 2-054-924             1/3/2017                 11/23/2016                7/2/2020
  99205607 65 Jefferson Ave, Elizabeth, NJ 07201                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      12/14/2016 VA 2-059-770            1/12/2017                 12/14/2016              11/17/2020
  98312431 10 N Dearborn St, Chicago, IL 60602                    Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       12/5/2016 VA 2-059-644            1/12/2017                  12/5/2016               8/11/2020

  98465051 1205 N Fairfield Rd, Beavercreek, OH 45432             Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/7/2016 VA 2-058-758            1/12/2017                  12/7/2016                7/6/2020

  98465080 1205 N Fairfield Rd, Beavercreek, OH 45432             Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/7/2016 VA 2-058-758            1/12/2017                  12/7/2016               6/28/2020
  98733355 1593 New Britain Ave, West Hartford, CT 06110          Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/9/2016 VA 2-058-952            1/12/2017                  12/9/2016               1/17/2021
  99084246 1020 15th St, Modesto, CA 95354                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      12/12/2016 VA 2-059-667            1/12/2017                 12/12/2016               6/27/2020
  99299138 180 N LaSalle St, Chicago, IL 60601                    Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/15/2016 VA 2-059-644            1/12/2017                 12/15/2016                7/3/2020
  99309668 2730 Clydo Rd, Jacksonville, FL 32207                  Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/15/2016 VA 2-059-758            1/12/2017                 12/15/2016                7/1/2020
  99312811 231 E Pine St, Exeter, CA 93221                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      12/15/2016 VA 2-059-667            1/12/2017                 12/15/2016               6/30/2020
  99068150 7850 Mission Center Ct, San Diego, CA 92108            Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/12/2016 VA 2-059-663            1/12/2017                 12/12/2016                7/1/2020
  98037376 4779 Hanoverville Rd, Bethlehem, PA 18020              Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/2/2016 VA 2-058-754            1/12/2017                  12/2/2016               6/27/2020
  98037385 4779 Hanoverville Rd, Bethlehem, PA 18020              Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/2/2016 VA 2-058-754            1/12/2017                  12/2/2016                7/6/2020
  98613417 155 28th St NE, Owatonna, MN 55060                     Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       12/8/2016 VA 2-059-718            1/12/2017                  12/8/2016                7/4/2020
  98613468 155 28th St NE, Owatonna, MN 55060                     Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       12/8/2016 VA 2-059-718            1/12/2017                  12/8/2016                7/4/2020
  98467654 11435 NW 4th St, Yukon, OK 73099                       Jana Carson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/7/2016 VA 2-058-939            1/12/2017                  12/7/2016                7/1/2020
  98749238 1518 E 3rd St, Charlotte, NC 28204                     Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/9/2016 VA 2-058-946            1/12/2017                  12/9/2016                7/4/2020
  99140967 3589 Main St, Stratford, CT 06614                      Alex Mongillo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/13/2016 VA 2-068-185            1/12/2017                 12/13/2016               8/10/2020
  99238433 152 NW 168th St, North Miami Beach, FL 33169           Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/14/2016 VA 2-059-649            1/12/2017                 12/14/2016                7/3/2020
  99299520 744 E Squantum St, Quincy, MA 02171                    Spencer Crispino                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/15/2016 VA 2-059-739            1/12/2017                 12/15/2016                9/8/2020
  99469331 65 E Wacker Pl, Chicago, IL 60601                      Melanie Shaw                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/14/2016 VA 2-058-944            1/12/2017                 12/14/2016               6/27/2020
  10643300 200 Corporate Cir, Toms River, NJ 08755                Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2009 VA 2-078-426             2/1/2017                  6/24/2009               6/27/2020
  11246639 18 Wills Way, Piscataway, NJ 08854                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/15/2009 VA 2-078-426             2/1/2017                  9/15/2009               6/24/2020
  11353065 85 Willow St, New Haven, CT 06511                      Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-078-426             2/1/2017                  9/29/2009                7/3/2020
  11797213 4041 Hadley Rd, South Plainfield, NJ 07080             Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/1/2009 VA 2-078-426             2/1/2017                  12/1/2009               6/30/2020
  11866096 115-127 Fieldcrest Ave, Edison, NJ 08837               Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/10/2009 VA 2-078-426             2/1/2017                 12/10/2009               6/21/2020
  11797539 735 Walnut St, Philadelphia, PA 19106                  Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/1/2009 VA 2-078-436             2/1/2017                  12/1/2009                2/6/2021
  10750596 7545 Midlothian Tpke, Richmond, VA 23225               Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/10/2009 VA 2-057-942             2/1/2017                  7/10/2009                4/2/2021
  10895231 502 Bud Dr, Chesapeake, VA 23322                       Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/29/2009 VA 2-057-942             2/1/2017                  7/29/2009               6/21/2020
  10921370 648 Grassfield Pky, Chesapeake, VA 23322               Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/29/2009 VA 2-057-942             2/1/2017                  7/29/2009                3/4/2021
  10948927 110 Marketplace Dr, Hampton, VA 23666                  Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/5/2009 VA 2-057-942             2/1/2017                   8/5/2009               6/18/2020
  10981079 9357 Atlee Rd, Mechanicsville, VA 23116                Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/4/2009 VA 2-057-942             2/1/2017                   8/4/2009               6/22/2020
  11222560 5400 Discovery Park Blvd, Williamsburg, VA 23188       Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2009 VA 2-057-942             2/1/2017                  9/11/2009                3/4/2021
  11412197 5717 Midlothian Tpke, Richmond, VA 23225               Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/7/2009 VA 2-057-942             2/1/2017                  10/7/2009                7/5/2020
  11526833 3107 Highway 10, Saint Cloud, MN 56304                 David Alexander                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/22/2009 VA 2-065-590             2/1/2017                 10/22/2009              10/22/2020
  11495756 7323 W Highway 90, San Antonio, TX 78227               Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/19/2009 VA 2-078-427             2/1/2017                 10/19/2009               6/30/2020
  11071365 10 Targeting Centre, Windsor, CT 06095                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/21/2009 VA 2-065-106             2/1/2017                  8/21/2009               6/30/2020
  11175198 124 Hebron Ave, Glastonbury, CT 06033                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/3/2009 VA 2-065-106             2/1/2017                   9/3/2009               6/30/2020
  11218064 370 Danbury Rd, New Milford, CT 06776                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/10/2009 VA 2-065-106             2/1/2017                  9/10/2009               6/20/2020
  11266871 25-53 Capital Dr, West Springfield, MA 01089           Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/17/2009 VA 2-065-106             2/1/2017                  9/17/2009               7/20/2020
  11314207 8 Two Mile Rd, Farmington, CT 06032                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/24/2009 VA 2-065-106             2/1/2017                  9/24/2009               6/17/2020
  11392924 75 Charter Oak Ave, Hartford, CT 06106                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/5/2009 VA 2-065-106             2/1/2017                  10/5/2009               6/18/2020




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   11412234 290 Roberts St, East Hartford, CT 06108              Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/7/2009 VA 2-065-106               2/1/2017                  10/7/2009              6/16/2020
   11611092 41 N Main St, West Hartford, CT 06107                Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2009 VA 2-065-106               2/1/2017                  11/3/2009              6/17/2020
   11635954 1111 Cromwell Ave, Rocky Hill, CT 06067              Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2009 VA 2-065-106               2/1/2017                  11/6/2009              6/17/2020
   11672726 19-25 Main St, Hartford, CT 06106                    Ed Messenger                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/11/2009 VA 2-065-106               2/1/2017                 11/11/2009              6/24/2020

  11058280 23350 Allen Rd, Trenton, MI 48183                     Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/19/2009 VA 2-065-587              2/1/2017                  8/19/2009               8/11/2020

  11058283 23350 Allen Rd, Trenton, MI 48183                     Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/19/2009 VA 2-065-587              2/1/2017                  8/19/2009               8/12/2020

  11083550 2025 Rawsonville Rd, Belleville, MI 48111             Dwayne Walker                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/17/2009 VA 2-065-587              2/1/2017                  8/17/2009               6/24/2020
  10689591 26031 Center Ridge Rd, Westlake, OH 44145             Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/30/2009 VA 2-078-423              2/1/2017                  6/30/2009               6/24/2020
  10705597 6990 Lindsay Dr, Mentor, OH 44060                     Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/2/2009 VA 2-078-423              2/1/2017                   7/2/2009               6/21/2020
  10911899 201 Water Tower Dr, Madison, OH 44057                 Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/31/2009 VA 2-060-068              2/1/2017                  7/31/2009               3/23/2021
  10973361 6235 St. Clair Ave, Cleveland, OH 44103               Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/8/2009 VA 2-078-423              2/1/2017                   8/8/2009               6/23/2020
  11354689 4071 Lee Rd, Cleveland, OH 44128                      Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-078-423              2/1/2017                  9/29/2009               6/22/2020
  11535247 2390-2466 W Prospect Rd, Ashtabula, OH 44004          Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2009 VA 2-078-423              2/1/2017                 10/24/2009               6/17/2020
  11744244 41957 N Ridge Rd, Lorain, OH 44055                    Linda Cook                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2009 VA 2-078-423              2/1/2017                 11/20/2009               6/21/2020
  10591059 1703-1717 Crittenden Rd, Rochester, NY 14623          Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/17/2009 VA 2-060-040              2/1/2017                  6/17/2009               6/20/2020
  10599599 115 Metro Park, Rochester, NY 14623                   Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2009 VA 2-060-040              2/1/2017                  6/18/2009               6/23/2020
  10700164 3144 Winton Rd S, Rochester, NY 14623                 Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/1/2009 VA 2-060-040              2/1/2017                   7/1/2009               7/31/2020
  10700165 3144 Winton Rd S, Rochester, NY 14623                 Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/1/2009 VA 2-060-040              2/1/2017                   7/1/2009               7/31/2020
  11466212 2100 Monroe Ave, Rochester, NY 14618                  Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/13/2009 VA 2-060-040              2/1/2017                 10/13/2009                7/1/2020
  11466216 2100 Monroe Ave, Rochester, NY 14618                  Frank Taddeo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/13/2009 VA 2-060-040              2/1/2017                 10/13/2009                7/1/2020
  10700228 140-160 Franklin St, Oakland, CA 94607                Anita Shin                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        7/1/2009 VA 2-071-528              2/1/2017                   7/1/2009               4/23/2020
  11035771 1155-1177 Beecher St, San Leandro, CA 94577           Anita Shin                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       8/17/2009 VA 2-071-528              2/1/2017                  8/17/2009               6/24/2020
  11206941 2431 Barcelona Ln, Tallahassee, FL 32311              David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2009 VA 2-065-588              2/1/2017                   9/9/2009               6/17/2020
  11206944 2431 Barcelona Ln, Tallahassee, FL 32311              David McCord                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/9/2009 VA 2-065-588              2/1/2017                   9/9/2009               6/21/2020
  11972566 11081 Southern Blvd, Royal Palm Beach, FL 33411       Carolyn Crisp                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/30/2009 VA 2-060-302              2/1/2017                 12/30/2009                7/3/2020
  11479436 330 W Citrus Ave, Colton, CA 92324                    Daniel Marquez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/16/2009 VA 2-060-119              2/1/2017                 10/16/2009               6/19/2020

  10939277 7301 W 10th St, Indianapolis, IN 46214                Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/30/2009 VA 2-059-792              2/1/2017                  7/30/2009               6/20/2020

  10960428 10475 Crosspoint Blvd, Indianapolis, IN 46256         Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/6/2009 VA 2-059-792              2/1/2017                   8/6/2009                5/9/2020

  11090557 5502-5508 E 16th St, Indianapolis, IN 46218           Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/24/2009 VA 2-059-792              2/1/2017                  8/24/2009               6/20/2020

  11155036 10202 E Washington St, Indianapolis, IN 46229         Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        9/1/2009 VA 2-059-792              2/1/2017                   9/1/2009               6/20/2020

  11569236 6005 E Washington St, Indianapolis, IN 46219          Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/28/2009 VA 2-059-792              2/1/2017                 10/28/2009               10/7/2020

  11773827 5110 Commerce Square Dr, Indianapolis, IN 46237       Jason Koenig                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/25/2009 VA 2-059-792              2/1/2017                 11/25/2009               6/21/2020
  10981951 1237-1289 Penman Rd, Jacksonville Beach, FL 32250     Lori Smith                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2009 VA 2-088-249              2/1/2017                  8/10/2009                7/3/2020
  11135780 8900 Prominence Pky, Jacksonville, FL 32256           Lori Smith                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2009 VA 2-088-249              2/1/2017                  8/30/2009               4/23/2020
  10614016 641 Indiana Ave NW, Washington, DC 20004              Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/21/2009 VA 2-057-940              2/1/2017                  6/21/2009               6/18/2020
  11003459 15-25 Indian Aly, Winchester, VA 22601                Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/12/2009 VA 2-057-940              2/1/2017                  8/12/2009                7/2/2020
  11003470 15-25 Indian Aly, Winchester, VA 22601                Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/12/2009 VA 2-057-940              2/1/2017                  8/12/2009               6/22/2020
  11090742 1280 Central Park Blvd, Fredericksburg, VA 22401      Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/24/2009 VA 2-057-940              2/1/2017                  8/24/2009               7/15/2020
  11653606 8990-9002 Fern Park Dr, Burke, VA 22015               Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2009 VA 2-057-940              2/1/2017                  11/9/2009               8/10/2020
  11740835 8420-8444 Kao Cir, Manassas, VA 20110                 Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/19/2009 VA 2-057-940              2/1/2017                 11/19/2009               6/24/2020
  11740839 8420-8444 Kao Cir, Manassas, VA 20110                 Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/19/2009 VA 2-057-940              2/1/2017                 11/19/2009               6/21/2020
  11906214 2212-2214 14th St NW, Washington, DC 20009            Pia Miai                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/16/2009 VA 2-057-940              2/1/2017                 12/16/2009                7/9/2020

  10907325 795 Lafayette Rd, Medina, OH 44256                    Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/30/2009 VA 2-057-933              2/1/2017                  7/30/2009              12/20/2020

  11022010 105 Pine St, Imperial, PA 15126                       Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/12/2009 VA 2-057-933              2/1/2017                  8/12/2009               6/20/2020

  11082112 825-B Beaver Grade Rd, Coraopolis, PA 15108           Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/12/2009 VA 2-057-933              2/1/2017                  8/12/2009               6/21/2020

  11223247 9200 Staples Dr, Streetsboro, OH 44241                Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/11/2009 VA 2-057-933              2/1/2017                  9/11/2009               6/23/2020

  11225436 8900 Darrow Rd, Twinsburg, OH 44087                   Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/12/2009 VA 2-057-933              2/1/2017                  9/12/2009               6/19/2021

  11639724 1499 Enterprise Pky, Twinsburg, OH 44087              Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/5/2009 VA 2-057-933              2/1/2017                  11/5/2009               7/12/2021

  11769737 2451 E Enterprise Pky, Twinsburg, OH 44087            Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/24/2009 VA 2-057-933              2/1/2017                 11/24/2009                7/7/2020

  11799077 2542 E Aurora Rd, Twinsburg, OH 44087                 Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/1/2009 VA 2-057-933              2/1/2017                  12/1/2009               8/11/2020

  11799079 9783-9787 Ravenna Rd, Twinsburg, OH 44087             Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/1/2009 VA 2-057-933              2/1/2017                  12/1/2009               6/23/2020

  11799084 9783-9787 Ravenna Rd, Twinsburg, OH 44087             Pamela Lawrentz                                                              CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/1/2009 VA 2-057-933              2/1/2017                  12/1/2009               6/21/2020
  10825131 2615 Medical Center Pky, Murfreesboro, TN 37129       Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2009 VA 2-057-988              2/1/2017                  7/20/2009               6/23/2020
  10834954 131 Saundersville Rd, Hendersonville, TN 37075        Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/21/2009 VA 2-057-988              2/1/2017                  7/21/2009                7/7/2020
  10860989 3310 West End Ave, Nashville, TN 37203                Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/23/2009 VA 2-057-988              2/1/2017                  7/23/2009               6/23/2020
  11155240 2050 Lascassas Pike, Murfreesboro, TN 37130           Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/1/2009 VA 2-057-988              2/1/2017                   9/1/2009               6/23/2020
  11219204 291 Sam Ridley Pky E, Smyrna, TN 37167                Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2009 VA 2-057-988              2/1/2017                  9/10/2009               6/20/2020
  11631948 Meb Ct, Mount Juliet, TN 37122                        Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/5/2009 VA 2-057-988              2/1/2017                  11/5/2009                7/8/2020
  11774128 5510 E Division St, Mount Juliet, TN 37122            Mark McNamara                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/25/2009 VA 2-057-988              2/1/2017                 11/25/2009               6/19/2020
  10825161 255 Highway 97, Forest Lake, MN 55025                 Jeff Karels                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       7/20/2009 VA 2-059-916              2/1/2017                  7/20/2009               6/20/2020
  11413634 1330 S Frontage Rd, Hastings, MN 55033                Jeff Karels                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       10/7/2009 VA 2-059-916              2/1/2017                  10/7/2009                7/3/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                97
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   11479994 6435 Lake Road Ter, Woodbury, MN 55125                 Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     10/16/2009 VA 2-059-916               2/1/2017                 10/16/2009               8/11/2020
   10760243 6309 Hillsborough St, Raleigh, NC 27606                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/11/2009 VA 2-057-984               2/1/2017                  7/11/2009               6/17/2020
   10760245 6309 Hillsborough St, Raleigh, NC 27606                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/11/2009 VA 2-057-984               2/1/2017                  7/11/2009               6/19/2020
   11014359 5640 Dillard Dr, Cary, NC 27518                        Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/12/2009 VA 2-057-984               2/1/2017                  8/12/2009               6/24/2020
   11083593 1429 Rock Quarry Rd, Raleigh, NC 27610                 Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/20/2009 VA 2-057-984               2/1/2017                  8/20/2009               6/21/2020
   11117581 1310 S Person St, Raleigh, NC 27601                    Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/25/2009 VA 2-057-984               2/1/2017                  8/25/2009              12/13/2020
   11427990 62 T Kemp Rd, Louisburg, NC 27549                      Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/9/2009 VA 2-057-984               2/1/2017                  10/9/2009               6/21/2020
   11463532 201 Tryon Rd, Raleigh, NC 27603                        Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/14/2009 VA 2-057-984               2/1/2017                 10/14/2009               6/24/2020
   11497043 624-664 Gilmer St, Burlington, NC 27217                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/18/2009 VA 2-057-984               2/1/2017                 10/18/2009               6/17/2020
   11637246 630 East St, Pittsboro, NC 27312                       Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/6/2009 VA 2-057-984               2/1/2017                  11/6/2009                7/1/2020
   11122597 8 Perley St, Concord, NH 03301                         Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      8/27/2009 VA 2-059-791               2/1/2017                  8/27/2009               6/21/2020
   11654025 1256 Hooksett Rd, Hooksett, NH 03106                   Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/9/2009 VA 2-059-791               2/1/2017                  11/9/2009                7/3/2020
   10809855 6002 E Adamo Dr, Tampa, FL 33619                       James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2009 VA 2-059-872               2/1/2017                  7/17/2009               6/19/2020
   11072885 35553 US Hwy 19 N, Palm Harbor, FL 34683               James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/21/2009 VA 2-059-872               2/1/2017                  8/21/2009               6/20/2020
   11223714 10957 SR 52 Hwy, Hudson, FL 34669                      James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/11/2009 VA 2-059-872               2/1/2017                  9/11/2009                8/9/2020
   11316655 17595 S Tamiami Trl, Fort Myers, FL 33908              James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/24/2009 VA 2-059-872               2/1/2017                  9/24/2009               6/20/2020
   11622938 620 Bypass Dr, Clearwater, FL 33764                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2009 VA 2-059-872               2/1/2017                  11/2/2009               6/24/2020
   10647565 131 Park Lake St, Orlando, FL 32803                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/24/2009 VA 2-057-958               2/1/2017                  6/24/2009               6/20/2020
   10743207 1001 Armstrong Blvd, Kissimmee, FL 34741               Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/8/2009 VA 2-057-958               2/1/2017                   7/8/2009               6/18/2020
   10809930 730 Duncan Ave, Kissimmee, FL 34744                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2009 VA 2-057-958               2/1/2017                  7/17/2009               6/19/2020
   10983051 330 N Babcock St, Melbourne, FL 32935                  Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2009 VA 2-057-958               2/1/2017                  8/10/2009                8/8/2020
   11004919 78-90 W Church St, Orlando, FL 32801                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/12/2009 VA 2-057-958               2/1/2017                  8/12/2009               6/19/2020
   11122961 1001 Red Bug Lake Rd, Casselberry, FL 32707            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/27/2009 VA 2-057-958               2/1/2017                  8/27/2009                7/3/2020
   11122963 1001 Red Bug Lake Rd, Casselberry, FL 32707            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/27/2009 VA 2-057-958               2/1/2017                  8/27/2009                7/4/2020
   11269081 15119 Us-441 Hwy, Eustis, FL 32726                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/17/2009 VA 2-057-958               2/1/2017                  9/17/2009               6/22/2020
   11674859 115 W Gore St, Orlando, FL 32806                       Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-057-958               2/1/2017                 11/11/2009               6/18/2020
   11674861 115 W Gore St, Orlando, FL 32806                       Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-057-958               2/1/2017                 11/11/2009                7/2/2020
   10593131 780 W Ramona Expy, Perris, CA 92571                    Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/17/2009 VA 2-078-443               2/1/2017                  6/17/2009               6/22/2020
   10659490 25908 Newport Rd, Menifee, CA 92584                    Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/25/2009 VA 2-078-443               2/1/2017                  6/25/2009                8/8/2020
   10702550 31772 Casino Dr, Lake Elsinore, CA 92530               Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/1/2009 VA 2-078-443               2/1/2017                   7/1/2009                7/1/2020
   11317171 31375-31875 Date Palm Dr, Cathedral City, CA 92234     Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/24/2009 VA 2-078-443               2/1/2017                  9/24/2009               6/17/2020
   10795652 511-513 Jefferson St, Roanoke, VA 24011                Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/16/2009 VA 2-059-952               2/1/2017                  7/16/2009                7/7/2020
   10795655 511-513 Jefferson St, Roanoke, VA 24011                Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/16/2009 VA 2-059-952               2/1/2017                  7/16/2009               6/19/2020
   10930743 9917 Maccorkle Ave, Charleston, WV 25315               Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/4/2009 VA 2-059-952               2/1/2017                   8/4/2009               6/17/2020
   10930819 305 72nd St, Charleston, WV 25304                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/4/2009 VA 2-059-952               2/1/2017                   8/4/2009               6/24/2020
   10962403 10404 MacCorkle Ave, Marmet, WV 25315                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       8/6/2009 VA 2-059-952               2/1/2017                   8/6/2009               6/19/2020
   11028465 97 Seneca Trl, Lewisburg, WV 24901                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/14/2009 VA 2-059-952               2/1/2017                  8/14/2009               6/22/2020
   11028467 97 Seneca Trl, Lewisburg, WV 24901                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/14/2009 VA 2-059-952               2/1/2017                  8/14/2009               6/18/2020
   11208174 3135 16th Street Rd, Huntington, WV 25701              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       9/9/2009 VA 2-059-952               2/1/2017                   9/9/2009               6/21/2020
   11208176 3135 16th Street Rd, Huntington, WV 25701              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       9/9/2009 VA 2-059-952               2/1/2017                   9/9/2009               6/25/2020
   11340392 2515 McCorkle Ave, Saint Albans, WV 25177              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/28/2009 VA 2-059-952               2/1/2017                  9/28/2009               6/20/2020
   11340396 2515 McCorkle Ave, Saint Albans, WV 25177              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/28/2009 VA 2-059-952               2/1/2017                  9/28/2009                7/4/2020
   11387226 232-236 Capitol St, Charleston, WV 25301               Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/5/2009 VA 2-059-952               2/1/2017                  10/5/2009               7/24/2020
   11404334 1332 Hansford St, Charleston, WV 25301                 Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/6/2009 VA 2-059-952               2/1/2017                  10/6/2009               7/30/2020
   11424848 3708-3710 Venable Ave, Charleston, WV 25304            Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/8/2009 VA 2-059-952               2/1/2017                  10/8/2009               6/17/2020
   11498183 905 7th Ave, Charleston, WV 25302                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009                7/4/2020
   11498185 905 7th Ave, Charleston, WV 25302                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009               6/23/2020
   11498287 811 Virginia St, Charleston, WV 25302                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009               6/23/2020
   11498289 811 Virginia St, Charleston, WV 25302                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009               6/23/2020
   11498332 807 Virginia St W, Charleston, WV 25302                Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009               6/17/2020
   11510240 807 Virginia St W, Charleston, WV 25302                Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/19/2009 VA 2-059-952               2/1/2017                 10/19/2009               6/20/2020
   11603770 1121 Main St, Charleston, WV 25302                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2009 VA 2-059-952               2/1/2017                 10/31/2009               6/24/2020
   11603772 1123 Main St, Charleston, WV 25302                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2009 VA 2-059-952               2/1/2017                 10/31/2009               6/19/2020
   11953239 2780 Lee Hwy, Troutville, VA 24175                     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/17/2009 VA 2-059-952               2/1/2017                 12/17/2009                7/4/2020
   10692002 534-556 Westport Rd, Kansas City, MO 64111             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/30/2009 VA 2-060-115               2/1/2017                  6/30/2009               6/18/2020
   11239513 1453 E 151st St, Olathe, KS 66062                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/9/2009 VA 2-060-115               2/1/2017                   9/9/2009               6/22/2020
   11273206 1702 Village West Pky, Kansas City, KS 66111           Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2009 VA 2-060-115               2/1/2017                  9/18/2009               6/30/2020
   11298079 10940 Parallel Pky, Kansas City, KS 66109              Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/22/2009 VA 2-060-115               2/1/2017                  9/22/2009               10/3/2020
   11860707 1453 E 151st St, Olathe, KS 66062                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2009 VA 2-060-115               2/1/2017                  12/9/2009               6/18/2020
   11860710 1453 E 151st St, Olathe, KS 66062                      Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2009 VA 2-060-115               2/1/2017                  12/9/2009                7/4/2020
   11249682 1357 Kapiolani Blvd, Honolulu, HI 96814                Kye Corfield                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/15/2009 VA 2-078-420               2/1/2017                  9/15/2009               6/17/2020
   11509016 938 Owen St, Honolulu, HI 96819                        Kye Corfield                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/20/2009 VA 2-078-420               2/1/2017                 10/20/2009               8/11/2020
   11509020 938 Owen St, Honolulu, HI 96819                        Kye Corfield                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/20/2009 VA 2-078-420               2/1/2017                 10/20/2009                8/8/2020
   11395829 775 Park Ave, Huntington, NY 11743                     Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/5/2009 VA 2-059-892               2/1/2017                  10/5/2009               6/18/2020
   10744046 36 Cady Hill Blvd, Saratoga Springs, NY 12866          Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/8/2009 VA 2-058-013               2/1/2017                   7/8/2009               6/27/2020
   11638756 2880 Us-9, Valatie, NY 12184                           Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2009 VA 2-058-013               2/1/2017                  11/6/2009               6/18/2020
   11638758 2880 Us-9, Valatie, NY 12184                           Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2009 VA 2-058-013               2/1/2017                  11/6/2009               6/21/2020
   11940982 63 Shaker Rd, Albany, NY 12204                         Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/22/2009 VA 2-058-013               2/1/2017                 12/22/2009               6/25/2020
   11308468 8610 Explorer Dr, Colorado Springs, CO 80920           Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      9/23/2009 VA 2-059-793               2/1/2017                  9/23/2009               6/18/2020
   11826235 771-773 Bellaire St, Denver, CO 80220                  Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/4/2009 VA 2-059-793               2/1/2017                  12/4/2009                7/4/2020
   11826237 771-773 Bellaire St, Denver, CO 80220                  Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      12/4/2009 VA 2-059-793               2/1/2017                  12/4/2009               6/21/2020

  10745291 4350 Shelby Dr, Memphis, TN 38118                       Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        7/8/2009 VA 2-078-455              2/1/2017                   7/8/2009                8/8/2020

  11209026 756 Jefferson Ave, Memphis, TN 38105                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        9/9/2009 VA 2-078-455              2/1/2017                   9/9/2009               6/23/2020

  11465597 3365-3367 One Pl, Memphis, TN 38116                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/14/2009 VA 2-078-455              2/1/2017                 10/14/2009               1/27/2021

  11586741 5841 E Shelby Dr, Memphis, TN 38141                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/30/2009 VA 2-078-455              2/1/2017                 10/30/2009               6/17/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                    98
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                          Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                               Image Address                      Photographer             Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

  11747233 6756-6770 Winchester Rd, Memphis, TN 38115               Mary Drost                                                                        CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404     11/20/2009 VA 2-078-455              2/1/2017                11/20/2009              6/30/2020

  11747235 6756-6770 Winchester Rd, Memphis, TN 38115               Mary Drost                                                                        CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404     11/20/2009 VA 2-078-455              2/1/2017                11/20/2009               7/2/2020

  11934111 1615 Sycamore View Rd, Memphis, TN 38134                 Mary Drost                                                                        CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404     12/18/2009 VA 2-078-455              2/1/2017                12/18/2009               7/3/2020

  11941390 5040 Raleigh Lagrange Rd, Memphis, TN 38134              Mary Drost                                                                        CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404     12/22/2009 VA 2-078-455              2/1/2017                12/22/2009              6/19/2020

  11941399 5040 Raleigh Lagrange Rd, Memphis, TN 38134              Mary Drost                                                                        CoStar Group                 600 Superior Ave E, Cleveland, OH 44114               8882267404     12/22/2009 VA 2-078-455              2/1/2017                12/22/2009               7/4/2020
  11124495 16055 Old Forest Pt, Monument, CO 80132                  Stacey Rocero                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      8/27/2009 VA 2-057-976              2/1/2017                 8/27/2009              6/21/2020
  11251154 9985 W Remington Pl, Littleton, CO 80128                 Stacey Rocero                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      9/15/2009 VA 2-057-976              2/1/2017                 9/15/2009             12/13/2020
  11369138 104 S Cascade Ave, Colorado Springs, CO 80903            Stacey Rocero                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/1/2009 VA 2-057-976              2/1/2017                 10/1/2009               7/3/2020
  11224757 126 W Sego Lily Dr, Sandy, UT 84070                      Yu-Yi Hung                                                                        CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500      9/11/2009 VA 2-058-755              2/1/2017                 9/11/2009              6/20/2020
  11191092 500 Wilson Pike Cir, Brentwood, TN 37027                 Jacob Melton                                                                      CoStar Group                 1331 L St NW, Washington, DC 20005                    2023466500       9/1/2009 VA 2-059-887              2/1/2017                  9/1/2009               7/2/2020
  10601184 107 Winney Hill Rd, Oneonta, NY 13820                    Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/18/2009 VA 2-065-105              2/1/2017                 6/18/2009               7/5/2020
  10601679 2415 State Barn Rd, Cumming, GA 30040                    Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/17/2009 VA 2-060-068              2/1/2017                 6/17/2009               3/4/2021
  10604879 7810 Ballantyne Commons Pky, Charlotte, NC 28277         Nick Laurence                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/19/2009 VA 2-078-449              2/1/2017                 6/19/2009              6/23/2020
  10605331 1961 Pacific Ave, Sparks, NV 89431                       Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/18/2009 VA 2-078-458              2/1/2017                 6/18/2009               7/1/2020
  10606565 665 S State St, Salt Lake City, UT 84111                 Cynthia Woerner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/20/2009 VA 2-060-095              2/1/2017                 6/20/2009               7/7/2020
  10622362 141 Riverchase Way, Lexington, SC 29072                  Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/22/2009 VA 2-059-775              2/1/2017                 6/22/2009             12/22/2020
  15531638 31-35 Steinway St, Long Island City, NY 11103            Susan Celauro                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500       3/7/2011 VA 1-435-522             2/23/2015                  3/7/2011              7/10/2020
  10645750 5086 Sunset Blvd, Lexington, SC 29072                    Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/24/2009 VA 2-059-775              2/1/2017                 6/24/2009               7/4/2020
  10645751 5086 Sunset Blvd, Lexington, SC 29072                    Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/24/2009 VA 2-059-775              2/1/2017                 6/24/2009              6/17/2020
  10648649 615 Spirit of St. Louis Blvd, Chesterfield, MO 63005     Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/24/2009 VA 2-060-106              2/1/2017                 6/24/2009              6/22/2020
  10655405 101 N High St, Covington, OH 45318                       Zachary Robb                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/25/2009 VA 2-058-761              2/1/2017                 6/25/2009              6/24/2020
  10659358 5824-5840 Franklin Blvd, Sacramento, CA 95824            Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/25/2009 VA 2-078-458              2/1/2017                 6/25/2009              6/18/2020
  10659360 5824-5840 Franklin Blvd, Sacramento, CA 95824            Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      6/25/2009 VA 2-078-458              2/1/2017                 6/25/2009              6/24/2020

                                                                                                                                                      Pratt & Miller Engineering
  10691142 29548 Southfield Rd, Southfield, MI 48076                Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800      6/23/2009 VA 2-057-875              2/1/2017                 6/23/2009              6/23/2020
   1924529 500 S Rancho Dr, Las Vegas, NV 89106                     Terrence Mahanna                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500      2/10/2006 VA 1-378-354             8/17/2006                 2/10/2006              6/23/2020
   1883370 340-390 Rhode Island Ave, Fall River, MA 02721           Theresa Vreeland                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500      2/16/2006 VA 1-378-389             8/17/2006                 2/16/2006              6/19/2020
  10708723 848 N Pearl St, Columbus, OH 43215                       Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/4/2009 VA 2-059-951              2/1/2017                  7/4/2009              6/17/2021

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  10714155 31780 W Eight Mile Rd, Farmington Hills, MI 48336        Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       7/3/2009 VA 2-057-875              2/1/2017                  7/3/2009               7/4/2020
  10721371 5062 N 19th Ave, Phoenix, AZ 85015                       Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/6/2009 VA 2-060-103              2/1/2017                  7/6/2009               7/1/2020
  10721375 5062 N 19th Ave, Phoenix, AZ 85015                       Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/6/2009 VA 2-060-103              2/1/2017                  7/6/2009              6/22/2020
  10741029 4834 Santa Elena St, Corpus Christi, TX 78405            Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/8/2009 VA 2-060-109              2/1/2017                  7/8/2009              6/24/2020
  10741061 800 Cantwell Ln, Corpus Christi, TX 78408                Cindy Kelleher                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/8/2009 VA 2-060-109              2/1/2017                  7/8/2009              6/18/2020
  10743631 216 Foothills Plaza Dr, Maryville, TN 37801              Jason Hensley                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/8/2009 VA 2-059-774              2/1/2017                  7/8/2009              6/18/2020

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  10752745 32800 Franklin Rd, Franklin, MI 48025                    Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       7/9/2009 VA 2-057-875              2/1/2017                  7/9/2009              1/18/2021
  10753185 2522 Cruse Rd, Lawrenceville, GA 30044                   Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/9/2009 VA 2-060-068              2/1/2017                  7/9/2009               7/1/2020
  10755739 515 Saluda St, Chester, SC 29706                         Nick Laurence                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       7/7/2009 VA 2-078-449              2/1/2017                  7/7/2009              6/23/2020
  10758782 1428 Old Stage Rd, Simpsonville, SC 29681                Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/10/2009 VA 2-078-418              2/1/2017                 7/10/2009              6/17/2020
  10785636 55 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/14/2009 VA 2-060-283              2/1/2017                 7/14/2009              6/21/2020
  10785639 55 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/14/2009 VA 2-060-283              2/1/2017                 7/14/2009              6/24/2020
  10785667 65 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/14/2009 VA 2-060-283              2/1/2017                 7/14/2009              6/21/2020
  10804604 2999 Sunset Blvd, West Columbia, SC 29169                Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/16/2009 VA 2-059-775              2/1/2017                 7/16/2009               3/4/2021
  10806489 1675 N Barker Rd, Brookfield, WI 53045                   Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/16/2009 VA 2-060-122              2/1/2017                 7/16/2009              6/18/2020
  10806491 1675 N Barker Rd, Brookfield, WI 53045                   Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/16/2009 VA 2-060-122              2/1/2017                 7/16/2009              6/24/2020
  10808227 209-227 Lippincott Ln, Urbana, OH 43078                  Zachary Robb                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/17/2009 VA 2-058-761              2/1/2017                 7/17/2009              6/24/2020
  10810736 6892 S 900 E, Midvale, UT 84047                          Cynthia Woerner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/17/2009 VA 2-060-095              2/1/2017                 7/17/2009              6/19/2020
  10811624 65 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/16/2009 VA 2-060-283              2/1/2017                 7/16/2009              6/21/2020
  10811625 65 Bagby Dr, Birmingham, AL 35209                        Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/16/2009 VA 2-060-283              2/1/2017                 7/16/2009              6/19/2020
   1330010 51 Jefferson Blvd, Warwick, RI 02888                     Theresa Vreeland                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    2023466500       9/7/2005 VA 1-375-683             9/13/2006                  9/7/2005              6/24/2020
  10835852 697 Ruskin Dr, Forest Park, GA 30297                     Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/21/2009 VA 2-060-068              2/1/2017                 7/21/2009              7/31/2020
  10836584 2520 S 170th St, New Berlin, WI 53151                    Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/21/2009 VA 2-060-122              2/1/2017                 7/21/2009              6/18/2020
  10847299 110-112 W 26th St, New York, NY 10001                    Brian Van Sise                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/22/2009 VA 2-060-112              2/1/2017                 7/22/2009               7/1/2020
  10847950 6341 Arizona Cir, Los Angeles, CA 90045                  Sasha Tracy                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/22/2009 VA 2-057-997              2/1/2017                 7/22/2009              6/17/2020
  10847953 6341 Arizona Cir, Los Angeles, CA 90045                  Sasha Tracy                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/22/2009 VA 2-057-997              2/1/2017                 7/22/2009              6/18/2020
  10859779 3025 W Liberty Ave, Pittsburgh, PA 15216                 Theresa DeShantz                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-057-977              2/1/2017                 7/23/2009              6/17/2020
  10859784 3025 W Liberty Ave, Pittsburgh, PA 15216                 Theresa DeShantz                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-057-977              2/1/2017                 7/23/2009              6/21/2020
  10860691 6161 St Andrews Rd, Columbia, SC 29212                   Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-059-775              2/1/2017                 7/23/2009              6/30/2020
  10861123 1690 US 1 Hwy, Southern Pines, NC 28387                  Nathan Alvey                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-078-442              2/1/2017                 7/23/2009              6/18/2020
  10862677 12701-12800 Manchester Rd, Saint Louis, MO 63131         Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-060-106              2/1/2017                 7/23/2009              8/12/2020
  10862678 12701-12800 Manchester Rd, Saint Louis, MO 63131         Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-060-106              2/1/2017                 7/23/2009               8/9/2020
  10863168 630-650 Boston Post Rd E, Marlborough, MA 01752          Joseph Cardella                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/23/2009 VA 2-059-895              2/1/2017                 7/23/2009              6/18/2020
  10873933 1815 W 1st Ave, Mesa, AZ 85202                           Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/25/2009 VA 2-060-103              2/1/2017                 7/25/2009              6/21/2020
  10875948 4145 Thurman Rd, Conley, GA 30288                        Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/27/2009 VA 2-060-068              2/1/2017                 7/27/2009              6/30/2020
  10883922 3800 S Holden Rd, Greensboro, NC 27406                   Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/28/2009 VA 2-059-922              2/1/2017                 7/28/2009               8/9/2020
  10886831 4041 Koppers Ct, Conley, GA 30288                        Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/28/2009 VA 2-060-068              2/1/2017                 7/28/2009              6/24/2020
  10896870 7815 N Mesa St, El Paso, TX 79932                        Linda Miner                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/30/2009 VA 2-058-007              2/1/2017                 7/30/2009              6/21/2020
  10896874 7815 N Mesa St, El Paso, TX 79932                        Linda Miner                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/30/2009 VA 2-058-007              2/1/2017                 7/30/2009              6/19/2020
  10906809 2416 Park Dr, Harrisburg, PA 17110                       Rona Houser                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/30/2009 VA 2-057-964              2/1/2017                 7/30/2009              6/22/2020
  10910300 2113 Emmorton Park Rd, Edgewood, MD 21040                Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/30/2009 VA 2-057-937              2/1/2017                 7/30/2009              7/31/2020
  10913597 15253 Manchester Rd, Ballwin, MO 63011                   Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      7/31/2009 VA 2-060-106              2/1/2017                 7/31/2009               7/2/2020




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 MasterID                               Image Address                        Photographer             Email Address              Phone Number            Last Known - Employer             Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   10929716 5504-5512 Brentwood Stair Rd, Fort Worth, TX 76112        Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300      7/31/2009 VA 2-078-412               2/1/2017                  7/31/2009               6/18/2020
   10931638 5979 W 3rd St, Los Angeles, CA 90036                      Sasha Tracy                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/3/2009 VA 2-057-997               2/1/2017                   8/3/2009                7/4/2020
   10939649 219 Swartz Rd, Lexington, SC 29072                        Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                     3012158300       8/4/2009 VA 2-059-775               2/1/2017                   8/4/2009              12/22/2020

                                                                                                                                                        Pratt & Miller Engineering
  10940536 322-324 W Grand River Ave, Brighton, MI 48116              Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165              2484469800         8/4/2009 VA 2-057-875              2/1/2017                   8/4/2009               11/2/2020
   1766284 1050-1070 Willett Ave, East Providence, RI 02915           Theresa Vreeland                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        9/12/2005 VA 1-375-683             9/13/2006                  9/12/2005               6/23/2020
  10952233 2401-2405 S Wilcox Dr, Kingsport, TN 37660                 Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/5/2009 VA 2-078-418              2/1/2017                   8/5/2009               6/23/2020
    273051 10056 Marsh Ln, Dallas, TX 75229                           Thor Smith                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        5/26/2005 VA 1-374-882             9/13/2006                  5/26/2005               7/17/2021
    979944 4310 Adler Dr, Dallas, TX 75211                            Thor Smith                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        4/27/2005 VA 1-374-882             9/13/2006                  4/27/2005               7/15/2020
  10964797 222 N St Clair St, Dayton, OH 45402                        Zachary Robb                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/7/2009 VA 2-058-761              2/1/2017                   8/7/2009                7/8/2020
  10972316 800 Revolution St, Havre De Grace, MD 21078                Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         8/7/2009 VA 2-057-937              2/1/2017                   8/7/2009               10/9/2020
  10982095 1338 Two Notch Rd, Lexington, SC 29073                     Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/10/2009 VA 2-059-775              2/1/2017                  8/10/2009                8/8/2020
  10982097 1338 Two Notch Rd, Lexington, SC 29073                     Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/10/2009 VA 2-059-775              2/1/2017                  8/10/2009               8/12/2020
  10990928 804 Green Valley Rd, Greensboro, NC 27408                  Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/11/2009 VA 2-059-922              2/1/2017                  8/11/2009               1/19/2021
  11006153 1002-1100 Camp Jackson Rd, Cahokia, IL 62206               Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/12/2009 VA 2-060-106              2/1/2017                  8/12/2009               6/18/2020
  11019229 293 Industrial Dr, Lexington, SC 29072                     Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/12/2009 VA 2-059-775              2/1/2017                  8/12/2009                7/3/2020
  11020617 180 Clinch Ave, Clinton, TN 37716                          Jason Hensley                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/14/2009 VA 2-059-774              2/1/2017                  8/14/2009               6/21/2020
  11020692 1807 Park 270 Dr, Maryland Heights, MO 63146               Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/14/2009 VA 2-060-106              2/1/2017                  8/14/2009               6/30/2020
  11028581 100-102 N Main St, Fountain Inn, SC 29644                  Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/13/2009 VA 2-078-418              2/1/2017                  8/13/2009               6/21/2020
  11028583 100-102 N Main St, Fountain Inn, SC 29644                  Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/13/2009 VA 2-078-418              2/1/2017                  8/13/2009               6/23/2020
  11037956 810-840 E Higgins Rd, Elk Grove Village, IL 60007          Kimberly Atwood                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/17/2009 VA 2-078-415              2/1/2017                  8/17/2009               8/12/2020
  11038159 875 Highway 321 N, Lenoir City, TN 37771                   Jason Hensley                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/17/2009 VA 2-059-774              2/1/2017                  8/17/2009               6/18/2020
    979946 4310 Adler Dr, Dallas, TX 75211                            Thor Smith                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500        4/27/2005 VA 1-374-882             9/13/2006                  4/27/2005               7/15/2020
  11059985 11803 Metro Pky, Fort Myers, FL 33966                      Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-078-431              2/1/2017                  8/19/2009               6/23/2020
  11059987 11803 Metro Pky, Fort Myers, FL 33966                      Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-078-431              2/1/2017                  8/19/2009               6/17/2020
  11059992 11811 Metro Pky, Fort Myers, FL 33966                      Michael Suter                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-078-431              2/1/2017                  8/19/2009               6/22/2020
  11068715 227 Oriskany St, Utica, NY 13502                           Edward Bulken                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-065-105              2/1/2017                  8/19/2009               6/23/2020
  11071065 6955 S Union Park Ctr, Cottonwood Heights, UT 84047        Cynthia Woerner                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-060-095              2/1/2017                  8/19/2009               3/30/2021
  11075567 4201-4205 Avenue H, Brooklyn, NY 11210                     Brian Van Sise                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/19/2009 VA 2-060-112              2/1/2017                  8/19/2009               7/13/2020
  11092757 100 N Broadway, Saint Louis, MO 63102                      Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/24/2009 VA 2-060-106              2/1/2017                  8/24/2009               6/16/2020
  11121070 20830 N Tatum Blvd, Phoenix, AZ 85050                      Craig Darragh                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/27/2009 VA 2-060-103              2/1/2017                  8/27/2009                7/2/2020
  11123777 319 N 4th St, Saint Louis, MO 63102                        Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/27/2009 VA 2-060-106              2/1/2017                  8/27/2009               6/24/2020
  11123817 1041 E Butler Rd, Greenville, SC 29607                     Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300        8/26/2009 VA 2-078-418              2/1/2017                  8/26/2009              11/21/2020
  11156889 2526 Gresham Rd, Atlanta, GA 30316                         Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/1/2009 VA 2-060-068              2/1/2017                   9/1/2009               6/18/2020
  18184393 3325 Cochran St, Simi Valley, CA 93063                     Veronica Gardiner                                                                 CoStar Group*                1331 L St NW, Washington, DC 20005                   2023466500         3/2/2012 VA 1-919-022            12/14/2012                   3/2/2012               6/25/2020
  11168556 6400 Fair Oaks Blvd, Carmichael, CA 95608                  Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/2/2009 VA 2-078-458              2/1/2017                   9/2/2009                8/8/2020
  11168560 6400 Fair Oaks Blvd, Carmichael, CA 95608                  Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/2/2009 VA 2-078-458              2/1/2017                   9/2/2009               8/12/2020
  11178578 534 Old Howell Rd, Greenville, SC 29615                    Kristy Eppolito                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/3/2009 VA 2-078-418              2/1/2017                   9/3/2009               6/17/2020
  11182069 4011 Donald St, Eugene, OR 97405                           Jeremy Polzel                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/4/2009 VA 2-059-786              2/1/2017                   9/4/2009               6/24/2020
  11182070 4011 Donald St, Eugene, OR 97405                           Jeremy Polzel                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/4/2009 VA 2-059-786              2/1/2017                   9/4/2009               6/23/2020
  11190323 4575 N High St, Columbus, OH 43214                         Aleksandar Bulajic Mose                                                           CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/7/2009 VA 2-059-951              2/1/2017                   9/7/2009                7/5/2020
  11199071 2408 Green Springs Hwy, Birmingham, AL 35209               Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/7/2009 VA 2-060-283              2/1/2017                   9/7/2009               6/23/2020
  11200583 129-133 Back River Neck Rd, Essex, MD 21221                Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                   3012158300         9/8/2009 VA 2-057-937              2/1/2017                   9/8/2009               6/18/2020

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  11219970 3520 S Baldwin Rd, Orion Township, MI 48359                Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       9/10/2009 VA 2-057-875              2/1/2017                  9/10/2009              11/25/2020
  11222522 8075 North Point Blvd, Winston-Salem, NC 27106             Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/11/2009 VA 2-059-922              2/1/2017                  9/11/2009               6/17/2020
  11237340 7830 North Point Blvd, Winston-Salem, NC 27106             Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2009 VA 2-059-922              2/1/2017                  9/14/2009                7/5/2020
  11237393 4045 University Pky, Winston-Salem, NC 27106               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2009 VA 2-059-922              2/1/2017                  9/14/2009               6/17/2020
  11246871 4025 University Pky, Winston-Salem, NC 27106               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2009 VA 2-059-922              2/1/2017                  9/14/2009               6/18/2020
  11259018 4223 Research Forest Dr, The Woodlands, TX 77381           Julie Cate                                                                        CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/16/2009 VA 2-057-982              2/1/2017                  9/16/2009               6/22/2020
  11267790 3621 Savannah Hwy, Johns Island, SC 29455                  Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/15/2009 VA 2-059-775              2/1/2017                  9/15/2009               4/23/2020
  11269257 1776 W March Ln, Stockton, CA 95207                        Melissa Greulich                                                                  CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/17/2009 VA 2-078-458              2/1/2017                  9/17/2009               6/17/2020
  11273141 300 Murray St, New York, NY 10282                          Brian Van Sise                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/14/2009 VA 2-060-112              2/1/2017                  9/14/2009               8/12/2020
  11297791 2595 Gresham Rd, Atlanta, GA 30316                         Bonnie Heath                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300        9/1/2009 VA 2-060-068              2/1/2017                   9/1/2009                8/8/2020
  11317616 5600-5650 Belleville Xing, Belleville, IL 62226            Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/24/2009 VA 2-060-106              2/1/2017                  9/24/2009               6/21/2020
  11317621 5600-5650 Belleville Xing, Belleville, IL 62226            Courtney Wilson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/24/2009 VA 2-060-106              2/1/2017                  9/24/2009               6/20/2020
  11321340 925 Walnut Ridge Dr, Hartland, WI 53029                    Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/25/2009 VA 2-060-122              2/1/2017                  9/25/2009               6/19/2020
  11335494 414 E Main St, Lowell, MI 49331                            Tiffany Compton                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/26/2009 VA 2-058-012              2/1/2017                  9/26/2009               6/20/2020
  11355476 8140 Cliffdale Rd, Fayetteville, NC 28314                  Nathan Alvey                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-078-442              2/1/2017                  9/29/2009               6/23/2020

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  11355947 3601-3665 E 11 Mile Rd, Warren, MI 48092                   Lisa Borkus                                                                       & Fabrication                29600 Wk Smith Dr, New Hudson, MI 48165               2484469800       9/29/2009 VA 2-057-875              2/1/2017                  9/29/2009               6/30/2020
  11357221 12222 Wilshire Blvd, Los Angeles, CA 90025                 Sasha Tracy                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-057-997              2/1/2017                  9/29/2009                2/1/2021
  11357840 10291 Baltimore National Pike, Ellicott City, MD 21042     Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-057-937              2/1/2017                  9/29/2009                7/5/2020
  11357842 10291 Baltimore National Pike, Ellicott City, MD 21042     Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/29/2009 VA 2-057-937              2/1/2017                  9/29/2009               6/23/2020
  11367141 1788 Highway 157 N, Mansfield, TX 76063                    Keith Howard                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       9/30/2009 VA 2-078-412              2/1/2017                  9/30/2009               6/18/2020
  11379215 713 W Main St, Lexington, SC 29072                         Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/2/2009 VA 2-059-775              2/1/2017                  10/2/2009              11/20/2020
  11379236 1033 W Main St, Lexington, SC 29072                        Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/2/2009 VA 2-059-775              2/1/2017                  10/2/2009                7/1/2020
  11379242 1033 W Main St, Lexington, SC 29072                        Jason Benns                                                                       CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/2/2009 VA 2-059-775              2/1/2017                  10/2/2009               6/17/2020
  11404510 10161 Centurion Pkwy N, Jacksonville, FL 32256             Cathy Morris                                                                      CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/6/2009 VA 2-060-283              2/1/2017                  10/6/2009                7/3/2020
  11422222 3596 Yadkinville Rd, Winston-Salem, NC 27106               Andrea Erickson                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/8/2009 VA 2-059-922              2/1/2017                  10/8/2009                7/5/2020
  11428717 9235 W Capitol Dr, Milwaukee, WI 53222                     Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2009 VA 2-060-122              2/1/2017                  10/9/2009                7/3/2020
  11428724 9235 W Capitol Dr, Milwaukee, WI 53222                     Daniel Makowski                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2009 VA 2-060-122              2/1/2017                  10/9/2009               6/18/2020
  11429142 60 Bear Dr, Greenville, SC 29605                           Nick Laurence                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2009 VA 2-078-449              2/1/2017                  10/9/2009               6/22/2020
  11435986 7257 Parkway Dr, Hanover, MD 21076                         Patrick O'Conor                                                                   CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/11/2009 VA 2-057-937              2/1/2017                 10/11/2009               3/30/2021
  11445567 58 Bear Dr, Greenville, SC 29605                           Nick Laurence                                                                     CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300       10/9/2009 VA 2-078-449              2/1/2017                  10/9/2009               6/18/2020
  11454790 65 LaSalle Rd, West Hartford, CT 06107                     Brian Van Sise                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/13/2009 VA 2-060-112              2/1/2017                 10/13/2009               6/30/2020
  11454793 65 LaSalle Rd, West Hartford, CT 06107                     Brian Van Sise                                                                    CoStar Group*                1331 L St NW, Washington, DC 20005                    3012158300      10/13/2009 VA 2-060-112              2/1/2017                 10/13/2009               6/20/2020




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   18191255 3355 Cochran St, Simi Valley, CA 93063                         Veronica Gardiner                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       3/2/2012 VA 1-919-022            12/14/2012                    3/2/2012               6/26/2020
   18298991 370 N Westlake Blvd, Westlake Village, CA 91362                Veronica Gardiner                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      3/19/2012 VA 1-919-022            12/14/2012                   3/19/2012              12/13/2020
   11474228 1000 W Lake St, Chicago, IL 60607                              Kimberly Atwood                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/14/2009 VA 2-078-415               2/1/2017                 10/14/2009               6/21/2020
   11478305 1134 Main St, Concord, MA 01742                                Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2009 VA 2-058-001               2/1/2017                 10/15/2009               7/31/2020
   11519077 973-979 Sheppard Rd, Stone Mountain, GA 30083                  Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/20/2009 VA 2-060-068               2/1/2017                 10/20/2009                8/9/2020
   11533327 1325 Satellite Blvd, Suwanee, GA 30024                         Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/23/2009 VA 2-060-068               2/1/2017                 10/23/2009               6/23/2020
   11551717 2391 N Dave Lyle Blvd, Rock Hill, SC 29730                     Nick Laurence                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/26/2009 VA 2-078-449               2/1/2017                 10/26/2009               6/17/2020
   11560151 3233 63rd St, Lubbock, TX 79413                                Julie Cate                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/27/2009 VA 2-057-982               2/1/2017                 10/27/2009               6/20/2020
   11571193 4777-4783 Transit Rd, Depew, NY 14043                          Edward Bulken                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/28/2009 VA 2-065-105               2/1/2017                 10/28/2009               7/31/2020
   11580856 415 Brogdon Rd, Suwanee, GA 30024                              Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/29/2009 VA 2-060-068               2/1/2017                 10/29/2009               7/23/2020
   11580857 415 Brogdon Rd, Suwanee, GA 30024                              Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/29/2009 VA 2-060-068               2/1/2017                 10/29/2009               7/23/2020
   11580859 395 Brogdon Rd, Suwanee, GA 30024                              Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/29/2009 VA 2-060-068               2/1/2017                 10/29/2009               7/24/2020
   11605066 5746 Main St, Elkridge, MD 21075                               Patrick O'Conor                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2009 VA 2-057-937               2/1/2017                  11/2/2009               6/19/2020
   11621147 800 Webster St, Dayton, OH 45404                               Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/4/2009 VA 2-058-761               2/1/2017                  11/4/2009               8/12/2020
   11625180 2020 Lawrenceville Suwanee Rd, Lawrenceville, GA 30043         Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2009 VA 2-060-068               2/1/2017                  11/2/2009                7/1/2020
   11625183 2020 Lawrenceville Suwanee Rd, Lawrenceville, GA 30043         Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/2/2009 VA 2-060-068               2/1/2017                  11/2/2009               6/20/2020
   11633969 13150 Watertown Plank Rd, Elm Grove, WI 53122                  Daniel Makowski                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2009 VA 2-060-122               2/1/2017                  11/5/2009               6/21/2020
   11634850 63 Grove St, Salem, MA 01970                                   Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/5/2009 VA 2-058-001               2/1/2017                  11/5/2009               6/22/2020
   11654634 1650 Horizon Pky, Buford, GA 30518                             Bonnie Heath                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2009 VA 2-060-068               2/1/2017                  11/9/2009               8/10/2020
   11655966 10 Jefferson Ave, Salem, MA 01970                              Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2009 VA 2-058-001               2/1/2017                  11/9/2009              11/26/2020
   11676134 806-816 N 2800 W, Lindon, UT 84042                             Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-060-095               2/1/2017                 11/11/2009               6/19/2020
   11676135 806-816 N 2800 W, Lindon, UT 84042                             Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-060-095               2/1/2017                 11/11/2009               6/23/2020
   11682324 2548 E Stanley Ave, Dayton, OH 45404                           Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-058-761               2/1/2017                 11/11/2009               6/22/2020
   11682329 2548 E Stanley Ave, Dayton, OH 45404                           Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/11/2009 VA 2-058-761               2/1/2017                 11/11/2009               6/23/2020
   11687168 1564 Us-9, Wappingers Falls, NY 12590                          Brian Van Sise                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2009 VA 2-060-112               2/1/2017                 11/12/2009                7/1/2020
   11687170 1564 Us-9, Wappingers Falls, NY 12590                          Brian Van Sise                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2009 VA 2-060-112               2/1/2017                 11/12/2009               6/18/2020
   11717693 306 W Sunset Rd, San Antonio, TX 78209                         Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/17/2009 VA 2-060-109               2/1/2017                 11/17/2009               6/18/2020
   11718891 514 Washington Rd, Pittsburgh, PA 15228                        Theresa DeShantz                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/17/2009 VA 2-057-977               2/1/2017                 11/17/2009                7/3/2020
   11718902 514 Washington Rd, Pittsburgh, PA 15228                        Theresa DeShantz                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/17/2009 VA 2-057-977               2/1/2017                 11/17/2009               6/18/2020
   11730506 434 Wyoming Ave, Scranton, PA 18503                            Rona Houser                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/18/2009 VA 2-057-964               2/1/2017                 11/18/2009               6/17/2020
   11760494 325 N Alma School Rd, Mesa, AZ 85201                           Craig Darragh                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/23/2009 VA 2-060-103               2/1/2017                 11/23/2009                7/4/2020
   11761611 1801 Highmarket St, Georgetown, SC 29440                       Nathan Alvey                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/23/2009 VA 2-078-442               2/1/2017                 11/23/2009               6/24/2020
   11761615 1801 Highmarket St, Georgetown, SC 29440                       Nathan Alvey                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/23/2009 VA 2-078-442               2/1/2017                 11/23/2009               6/22/2020
   11768494 6348 Burnt Poplar Rd, Greensboro, NC 27409                     Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/24/2009 VA 2-059-922               2/1/2017                 11/24/2009               6/21/2020
   11768566 6342 Burnt Poplar Rd, Greensboro, NC 27409                     Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/24/2009 VA 2-059-922               2/1/2017                 11/24/2009               6/19/2020
   11768569 6342 Burnt Poplar Rd, Greensboro, NC 27409                     Andrea Erickson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/24/2009 VA 2-059-922               2/1/2017                 11/24/2009                7/1/2020
   11768756 6901 W IH 10, San Antonio, TX 78213                            Cindy Kelleher                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/23/2009 VA 2-060-109               2/1/2017                 11/23/2009               6/19/2020
   11772668 325 N Alma School Rd, Mesa, AZ 85201                           Craig Darragh                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/23/2009 VA 2-060-103               2/1/2017                 11/23/2009               6/24/2020
   11787378 1784 Stanley Ave, Dayton, OH 45404                             Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/30/2009 VA 2-058-761               2/1/2017                 11/30/2009                7/8/2020
   11790000 14421 Metropolis Ave, Fort Myers, FL 33912                     Michael Suter                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/30/2009 VA 2-078-431               2/1/2017                 11/30/2009               6/23/2020
   11801612 1531 S Edgewood St, Baltimore, MD 21227                        Patrick O'Conor                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/1/2009 VA 2-057-937               2/1/2017                  12/1/2009               8/12/2020
   11819544 1079 E Montague Ave, Charleston, SC 29405                      Jason Benns                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/1/2009 VA 2-059-775               2/1/2017                  12/1/2009               11/9/2020
   11841324 8235 S Eastern Ave, Las Vegas, NV 89123                        Michael Collison                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/7/2009 VA 2-078-425               2/1/2017                  12/7/2009               6/22/2020
   11842425 10 Middlesex St, North Chelmsford, MA 01863                    Shelly Bourbeau                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/7/2009 VA 2-058-001               2/1/2017                  12/7/2009               6/21/2020
   11848516 1625 N Main St, Dayton, OH 45405                               Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2009 VA 2-058-761               2/1/2017                  12/8/2009               10/9/2020
   11850387 1815 Gervais St, Columbia, SC 29201                            Jason Benns                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2009 VA 2-059-775               2/1/2017                  12/8/2009               6/21/2020
   11850393 1815 Gervais St, Columbia, SC 29201                            Jason Benns                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/8/2009 VA 2-059-775               2/1/2017                  12/8/2009                7/3/2020
   11852826 2057 E Pulaski Hwy, North East, MD 21901                       Patrick O'Conor                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/3/2009 VA 2-057-937               2/1/2017                  12/3/2009               6/20/2020
   11859453 40 NW 3rd St, Miami, FL 33128                                  Mark White                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/9/2009 VA 2-078-454               2/1/2017                  12/9/2009               6/23/2020
   11866258 3331-3371 E Stroop Rd, Dayton, OH 45440                        Zachary Robb                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/10/2009 VA 2-058-761               2/1/2017                 12/10/2009               6/18/2020
   18423694 2370 Santiago Ct, Oxnard, CA 93030                             Veronica Gardiner                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500       4/6/2012 VA 1-919-022            12/14/2012                    4/6/2012                8/8/2020
   11898921 8871 Sandy Pky, Sandy, UT 84070                                Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/15/2009 VA 2-060-095               2/1/2017                 12/15/2009               1/27/2021
   11930192 9090-9102 S 300 W, Sandy, UT 84070                             Cynthia Woerner                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/17/2009 VA 2-060-095               2/1/2017                 12/17/2009               6/21/2020
   11945104 4012-4016 Porter Ave, El Paso, TX 79930                        Linda Miner                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2009 VA 2-058-007               2/1/2017                 12/22/2009                7/3/2020
   11958910 914 Cleveland Ave, Columbus, OH 43201                          Aleksandar Bulajic Mose                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/18/2009 VA 2-059-951               2/1/2017                 12/18/2009               6/20/2020

 100287494 1747 Medical Center Pky, Murfreesboro, TN 37129                 Andrew Nelson                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/27/2016 VA 2-055-620              2/2/2017                 12/27/2016               6/29/2020
    108751 25 Constitution Dr, Taunton, MA 02780                           Jonathan Coon                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/26/2002 VA 2-054-008              2/2/2017                 12/26/2002               6/18/2020
  99484434 111 N Wabash Ave, Chicago, IL 60602                             Benjamin Gonzales                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/16/2016 VA 2-054-111              2/2/2017                 12/16/2016                7/4/2020
  99481330 1880 Howard Ave, Vienna, VA 22182                               Pia Miai                                                                          CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/16/2016 VA 2-054-519              2/2/2017                 12/16/2016                7/2/2020
  99483847 3330 El Camino Real, Santa Clara, CA 95051                      Christopher Lau                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      12/16/2016 VA 2-054-934              2/2/2017                 12/16/2016                7/6/2020
  99696458 799 Fletcher Ln, Hayward, CA 94544                              Anita Shin                                                                        CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      12/19/2016 VA 2-054-136              2/2/2017                 12/19/2016               6/26/2020
  99758475 550-574 SE Port St Lucie Blvd, Port Saint Lucie, FL 34984       David Dunn                                                                        CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/20/2016 VA 2-054-695              2/2/2017                 12/20/2016               6/26/2020
  99843422 1605-1629 SE Port St Lucie Blvd, Port Saint Lucie, FL 34952     David Dunn                                                                        CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/21/2016 VA 2-054-695              2/2/2017                 12/21/2016                7/1/2020
 100013101 303 W Erie St, Chicago, IL 60654                                Justin Schmidt                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/22/2016 VA 2-052-875              2/2/2017                 12/22/2016               3/30/2021
 100120214 730 N Franklin St, Chicago, IL 60654                            Justin Schmidt                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/23/2016 VA 2-052-875              2/2/2017                 12/23/2016                7/9/2020
  99835544 204 W Foothill Blvd, Monrovia, CA 91016                         John Ehart                                                                        CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/21/2016 VA 2-056-872              2/2/2017                 12/21/2016                7/3/2020
  99488266 14137 Funston Ave, Norwalk, CA 90650                            Christiaan Cruz                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/16/2016 VA 2-055-239              2/2/2017                 12/16/2016                7/1/2020
  99488268 14137 Funston Ave, Norwalk, CA 90650                            Christiaan Cruz                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/16/2016 VA 2-055-239              2/2/2017                 12/16/2016               7/10/2020
 100291396 11220 Grader St, Dallas, TX 75238                               Robert Beary                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/27/2016 VA 2-054-550              2/2/2017                 12/27/2016                7/2/2020
 100465328 232 E Ohio St, Chicago, IL 60611                                Jonathan Fairfield                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      12/30/2016 VA 2-054-026              2/2/2017                 12/30/2016               6/28/2020
 100465383 232 E Ohio St, Chicago, IL 60611                                Jonathan Fairfield                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      12/30/2016 VA 2-054-026              2/2/2017                 12/30/2016               7/10/2020
 100012758 1529 Huguenot Rd, Midlothian, VA 23113                          Emily Bealmear                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2016 VA 2-054-422              2/2/2017                 12/22/2016               6/30/2020
  99721147 1122 Old Chattahoochee Ave NW, Atlanta, GA 30318                Raegan Perkins                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2016 VA 2-054-524              2/2/2017                 12/20/2016               8/12/2020
  99721273 2195 Defoor Hills Rd NW, Atlanta, GA 30318                      Raegan Perkins                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2016 VA 2-054-524              2/2/2017                 12/20/2016                7/7/2020
  99481592 6831-6891 Ridge Rd, Parma, OH 44129                             Kristin Locurto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/16/2016 VA 2-052-806              2/2/2017                 12/16/2016               2/21/2021
  99713161 8737 Beverly Blvd, West Hollywood, CA 90048                     Marshall Main                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/19/2016 VA 2-052-976              2/2/2017                 12/19/2016                7/9/2020
  99756163 6271 Frankford Ave, Philadelphia, PA 19135                      Ian Barnes                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2016 VA 2-053-932              2/2/2017                 12/20/2016               5/19/2021
  99763216 1201-1212 N Bechtle Ave, Springfield, OH 45504                  Holly Routzohn                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/20/2016 VA 2-053-952              2/2/2017                 12/20/2016                7/3/2020
  99766063 2810-2812 Old Lee Hwy, Fairfax, VA 22031                        Nikolai Roster                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2016 VA 2-054-446              2/2/2017                 12/20/2016               5/16/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                         101
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Attachment                                                                           Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address               Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 100361773 4931-4943 NW Front Ave, Portland, OR 97210         Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/28/2016 VA 2-056-866               2/2/2017                 12/28/2016              6/26/2020
 100369370 344 N Ogden Ave, Chicago, IL 60607                 Dulce Rodriguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2016 VA 2-054-502               2/2/2017                 12/22/2016               7/1/2020
 100461925 2626 S Loop Fwy W, Houston, TX 77054               Anissa Yarbrough                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/30/2016 VA 2-055-633               2/2/2017                 12/30/2016              6/26/2020
   99979385 20601 E Dixie Hwy, Aventura, FL 33180             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/22/2016 VA 2-055-212               2/2/2017                 12/22/2016               7/2/2020
   99979395 20601 E Dixie Hwy, Aventura, FL 33180             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/22/2016 VA 2-055-212               2/2/2017                 12/22/2016              6/30/2020
   99979402 20601 E Dixie Hwy, Aventura, FL 33180             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/22/2016 VA 2-055-212               2/2/2017                 12/22/2016              7/10/2020
   10705078 376 Nash Rd, New Bedford, MA 02746                Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       7/2/2009 VA 2-059-653              2/10/2017                   7/2/2009               7/2/2020
   10833634 332 Victory Rd, Quincy, MA 02171                  Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/15/2009 VA 2-059-653              2/10/2017                  7/15/2009               7/2/2020
   11295924 384 Merrow Rd, Tolland, CT 06084                  Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/22/2009 VA 2-059-653              2/10/2017                  9/22/2009              6/18/2020
   11295925 384 Merrow Rd, Tolland, CT 06084                  Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/22/2009 VA 2-059-653              2/10/2017                  9/22/2009              4/23/2020
   11295929 243 Vergason Ave, Norwich, CT 06360               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/22/2009 VA 2-059-653              2/10/2017                  9/22/2009              6/17/2020
   11295947 100 Roscommon Dr, Middletown, CT 06457            Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/22/2009 VA 2-059-653              2/10/2017                  9/22/2009              6/23/2020
   11392955 191 Social St, Woonsocket, RI 02895               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/5/2009 VA 2-059-653              2/10/2017                  10/5/2009               7/1/2020
   11392986 150 Chestnut St, Providence, RI 02903             Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/29/2009 VA 2-059-653              2/10/2017                  9/29/2009              6/20/2020
   11422447 2220 Plainfield Pike, Cranston, RI 02921          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/8/2009 VA 2-059-653              2/10/2017                  10/8/2009              6/30/2020
   11452229 172 Exchange St, Pawtucket, RI 02860              Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/13/2009 VA 2-059-653              2/10/2017                 10/13/2009              6/19/2020
   11717660 1583 Atwood Ave, Johnston, RI 02919               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/17/2009 VA 2-059-653              2/10/2017                 11/17/2009              6/18/2020
   11743776 23-25 Conduit St, Lincoln, RI 02865               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/20/2009 VA 2-059-653              2/10/2017                 11/20/2009              7/20/2020
   11885330 710 Tiogue Ave, Coventry, RI 02816                Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/14/2009 VA 2-059-653              2/10/2017                 12/14/2009              7/29/2020
   10752589 111 Main St, Newark, NJ 07105                     John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       7/9/2009 VA 2-059-655              2/10/2017                   7/9/2009              6/18/2020
   10846550 46 Poinier St, Newark, NJ 07114                   John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/22/2009 VA 2-059-655              2/10/2017                  7/22/2009              6/23/2020
   10846554 46 Poinier St, Newark, NJ 07114                   John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/22/2009 VA 2-059-655              2/10/2017                  7/22/2009               7/7/2020
   11198122 14 State Route 23, Montague, NJ 07827             John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/8/2009 VA 2-059-655              2/10/2017                   9/8/2009               7/1/2020
   11414025 60 Hempstead Ave, West Hempstead, NY 11552        John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      10/7/2009 VA 2-059-655              2/10/2017                  10/7/2009               7/4/2020
   11622815 2 E Northfield Rd, Livingston, NJ 07039           John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      11/4/2009 VA 2-059-655              2/10/2017                  11/4/2009              6/20/2020
   10690213 2865-2885 Bay Rd, Saginaw, MI 48603               John Ehnis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/30/2009 VA 2-059-658              2/10/2017                  6/30/2009               7/4/2020
   11067256 2613-2621 W Camas St, Boise, ID 83705             Jonathan Scobby                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/20/2009 VA 2-059-651              2/10/2017                  8/20/2009              6/21/2020
   11477804 5010-5330 W Overland Rd, Boise, ID 83705          Jonathan Scobby                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/21/2009 VA 2-059-651              2/10/2017                  7/21/2009              6/19/2020

  11635683 111 Tri-County Pky, Springdale, OH 45246           Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114              8882267404        11/6/2009 VA 2-059-727             2/15/2017                  11/6/2009               11/8/2020
  10905424 21815 Norwalk Blvd, Hawaiian Gardens, CA 90716     Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        7/27/2009 VA 2-059-674             2/15/2017                  7/27/2009               6/18/2020
  10938971 2655 Camino Del Rio N, San Diego, CA 92108         Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404         8/4/2009 VA 2-059-672             2/15/2017                   8/4/2009                7/4/2020
  11354326 7925 Dunbrook Rd, San Diego, CA 92126              Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        9/29/2009 VA 2-059-672             2/15/2017                  9/29/2009               6/20/2020
  11931700 3990 Old Town Ave, San Diego, CA 92110             Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/17/2009 VA 2-059-672             2/15/2017                 12/17/2009               6/23/2020
  11931708 3990 Old Town Ave, San Diego, CA 92110             Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/17/2009 VA 2-059-672             2/15/2017                 12/17/2009               6/19/2020
  10633563 4444 Scotts Valley Dr, Scotts Valley, CA 95066     Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836        6/23/2009 VA 2-060-507             2/15/2017                  6/23/2009               6/23/2020
  10633574 4444 Scotts Valley Dr, Scotts Valley, CA 95066     Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836        6/23/2009 VA 2-060-507             2/15/2017                  6/23/2009               6/21/2020
  11730676 7281-7291 Coronado Dr, San Jose, CA 95129          Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       11/18/2009 VA 2-060-507             2/15/2017                 11/18/2009               4/17/2021
  10809697 3200 Broadway Blvd, Garland, TX 75043              Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        7/17/2009 VA 2-060-013             2/15/2017                  7/17/2009                7/4/2020
  10961234 2420 W Red Bird Ln, Dallas, TX 75237               Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404         8/6/2009 VA 2-060-013             2/15/2017                   8/6/2009               6/21/2020
  11014627 3322 N Buckner Blvd, Dallas, TX 75228              Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        8/13/2009 VA 2-060-013             2/15/2017                  8/13/2009               11/8/2020
  11091240 3600 Gus Thomasson Rd, Mesquite, TX 75150          Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        8/24/2009 VA 2-060-013             2/15/2017                  8/24/2009               6/23/2020
  11637521 17401-17489 Preston Rd, Dallas, TX 75252           Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404        11/6/2009 VA 2-060-013             2/15/2017                  11/6/2009               6/24/2020
  11879244 1150 N Watters Rd, Allen, TX 75013                 Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/11/2009 VA 2-060-013             2/15/2017                 12/11/2009               6/23/2020
  11934832 2330 Royal Ln, Dallas, TX 75229                    Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/18/2009 VA 2-060-013             2/15/2017                 12/18/2009               6/17/2020
  11945296 7300 Lone Star Dr, Plano, TX 75024                 Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       12/23/2009 VA 2-060-013             2/15/2017                 12/23/2009                7/7/2021
  11019999 3260 Crain Hwy, Waldorf, MD 20603                  Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/14/2009 VA 2-060-022             2/15/2017                  8/14/2009               2/16/2021
  11721075 10 Post Office Rd, Silver Spring, MD 20910         Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       11/17/2009 VA 2-060-022             2/15/2017                 11/17/2009               6/24/2020
  11959448 25450 Point Lookout Rd, Leonardtown, MD 20650      Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       12/28/2009 VA 2-060-022             2/15/2017                 12/28/2009                7/2/2020
  10930951 9390 The Landings Dr, Douglasville, GA 30135       Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500         8/3/2009 VA 2-060-016             2/15/2017                   8/3/2009               6/18/2020
  11127875 12400 Highway 92, Woodstock, GA 30188              Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500        8/25/2009 VA 2-060-016             2/15/2017                  8/25/2009               6/23/2020
  11841086 3805 Macon Rd, Columbus, GA 31907                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500        12/7/2009 VA 2-060-016             2/15/2017                  12/7/2009               6/19/2020
  11841088 3805 Macon Rd, Columbus, GA 31907                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500        12/7/2009 VA 2-060-016             2/15/2017                  12/7/2009               6/19/2020
  11940705 1694 Whittlesey Rd, Columbus, GA 31904             Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       12/22/2009 VA 2-060-016             2/15/2017                 12/22/2009               6/21/2020
  11967816 1485-1493 Roswell Rd, Marietta, GA 30062           Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       12/29/2009 VA 2-060-016             2/15/2017                 12/29/2009                8/8/2020
  11967820 1485-1493 Roswell Rd, Marietta, GA 30062           Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       12/29/2009 VA 2-060-016             2/15/2017                 12/29/2009               8/12/2020
  10767721 6233 Old SugarCreek Rd, Charlotte, NC 28269        Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         7/7/2009 VA 2-059-684             2/15/2017                   7/7/2009               6/20/2020
  10767723 6233 Old SugarCreek Rd, Charlotte, NC 28269        Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         7/7/2009 VA 2-059-684             2/15/2017                   7/7/2009               6/17/2020
  10767736 17-21 Union St N, Concord, NC 28025                Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/10/2009 VA 2-059-684             2/15/2017                  7/10/2009               6/20/2020
  10767738 17-21 Union St N, Concord, NC 28025                Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/10/2009 VA 2-059-684             2/15/2017                  7/10/2009               6/20/2020
  10796603 1209 E Garrison Blvd, Gastonia, NC 28054           Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/15/2009 VA 2-059-684             2/15/2017                  7/15/2009               6/19/2020
  11082913 1905 Matthews Township Pky, Matthews, NC 28105     Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        8/18/2009 VA 2-059-684             2/15/2017                  8/18/2009               6/20/2020
  11158303 500 Hovis Rd, Stanley, NC 28164                    Jill Gilbert                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300         9/1/2009 VA 2-059-684             2/15/2017                   9/1/2009               6/24/2020
  11224557 1020 Davey Rd, Woodridge, IL 60517                 Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/11/2009 VA 2-059-735             2/15/2017                  9/11/2009               8/11/2020
  11368875 1007 S Chapin St, South Bend, IN 46601             Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/30/2009 VA 2-059-735             2/15/2017                  9/30/2009               6/20/2020
  11368878 1007 S Chapin St, South Bend, IN 46601             Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/30/2009 VA 2-059-735             2/15/2017                  9/30/2009               6/21/2020
  11314993 4918 Main St, Spring Hill, TN 37174                Chuck Carpenter                                                                CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        9/24/2009 VA 2-060-498             2/15/2017                  9/24/2009               3/12/2021
  10624893 6571 E Tanque Verde Rd, Tucson, AZ 85715           Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        6/22/2009 VA 2-059-738             2/15/2017                  6/22/2009               6/24/2020
  18423730 1251-1269 W Gonzales Rd, Oxnard, CA 93036          Veronica Gardiner                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   2023466500         4/3/2012 VA 1-919-022            12/14/2012                   4/3/2012               3/23/2021
  10865993 4141 N 156th St, Omaha, NE 68116                   Chris Petersen                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/24/2009 VA 2-059-685             2/15/2017                  7/24/2009                7/3/2020
  10898898 2930 Ridge Line Rd, Lincoln, NE 68516              Chris Petersen                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        7/29/2009 VA 2-059-685             2/15/2017                  7/29/2009               6/22/2020
  11272871 3720 Campus Dr, Newport Beach, CA 92660            Bill Helm                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/18/2009 VA 2-059-732             2/15/2017                  9/18/2009               6/23/2020
  11289435 5620 N Kolb Rd, Tucson, AZ 85750                   Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/21/2009 VA 2-059-738             2/15/2017                  9/21/2009               6/21/2020
  11298728 10842-10854 John Galt Blvd, Omaha, NE 68137        Chris Petersen                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/22/2009 VA 2-059-685             2/15/2017                  9/22/2009               6/18/2020
  11308391 6303 E Tanque Verde Rd, Tucson, AZ 85715           Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        9/24/2009 VA 2-059-738             2/15/2017                  9/24/2009               6/18/2020
  11380325 3151 College Dr, Baton Rouge, LA 70808             Franklin Thompson                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        10/2/2009 VA 2-060-033             2/15/2017                  10/2/2009               6/24/2020
  11380330 3151 College Dr, Baton Rouge, LA 70808             Franklin Thompson                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        10/2/2009 VA 2-060-033             2/15/2017                  10/2/2009               6/21/2020
  11414584 2937 Veneman Ave, Modesto, CA 95356                Enrique Meza                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        10/7/2009 VA 2-060-036             2/15/2017                  10/7/2009                7/1/2020
  11414586 2937 Veneman Ave, Modesto, CA 95356                Enrique Meza                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        10/7/2009 VA 2-060-036             2/15/2017                  10/7/2009                7/1/2020
  11613532 3837 Producers Dr, Stockton, CA 95206              Enrique Meza                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        11/3/2009 VA 2-060-036             2/15/2017                  11/3/2009               4/17/2021




                        OUTSIDE COUNSEL ONLY                                                                                                           102
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
   11687812 2500 N Tucson Blvd, Tucson, AZ 85716                    Barb Hildenbrand                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2009 VA 2-059-738              2/15/2017                 11/12/2009               6/24/2020
 101025528 1 W Main St, Norristown, PA 19401                        Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2017 VA 2-063-724              3/15/2017                   1/6/2017               10/5/2020
 101919736 301 West Chester Pike, Havertown, PA 19083               Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-063-724              3/15/2017                  1/13/2017                7/4/2020
 100772111 325 W Huron St, Chicago, IL 60654                        Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       1/4/2017 VA 2-056-906              3/15/2017                   1/4/2017                7/2/2020
 100883051 607 W Dr Martin Luther King Jr Blvd, Tampa, FL 33603     James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/5/2017 VA 2-063-544              3/15/2017                   1/5/2017                7/2/2020
 101024058 3731 Oleander Ave, Fort Pierce, FL 34982                 David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/6/2017 VA 2-064-878              3/15/2017                   1/6/2017               6/26/2020
 101423124 800 Federal St, Andover, MA 01810                        Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/10/2017 VA 2-063-439              3/15/2017                  1/10/2017                7/2/2020
 101640651 8 Research Pky, Wallingford, CT 06492                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/11/2017 VA 2-062-431              3/15/2017                  1/11/2017                7/6/2020
 101915416 16201 SW 95th Ave, Miami, FL 33157                       Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-068-457              3/15/2017                  1/13/2017                7/1/2020
 102578518 136 Sherman Ave, New Haven, CT 06511                     Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/19/2017 VA 2-062-431              3/15/2017                  1/19/2017              10/22/2020
 102988646 9720-9734 W Sample Rd, Coral Springs, FL 33065           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2017 VA 2-062-423              3/15/2017                  1/23/2017               8/11/2020
 103110452 5999 New Wilke Rd, Rolling Meadows, IL 60008             Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/24/2017 VA 2-056-906              3/15/2017                  1/24/2017               6/17/2021
 103459711 4902 Tollview Dr, Rolling Meadows, IL 60008              Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/26/2017 VA 2-056-906              3/15/2017                  1/26/2017                7/3/2020
 103465929 5001 N Frontage Rd, Lakeland, FL 33810                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/26/2017 VA 2-063-544              3/15/2017                  1/26/2017                7/5/2020
 103921951 1661 Feehanville Dr, Mount Prospect, IL 60056            Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/30/2017 VA 2-056-906              3/15/2017                  1/30/2017               7/20/2020
 103975132 3500 N State Road 7, Lauderdale Lakes, FL 33319          Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/31/2017 VA 2-062-423              3/15/2017                  1/31/2017               2/26/2021
 104366091 1725 N University Dr, Coral Springs, FL 33071            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/2/2017 VA 2-062-423              3/15/2017                   2/2/2017                2/6/2021

 104390519 1420 Washington Blvd, Detroit, MI 48226                  Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/2/2017 VA 2-063-341             3/15/2017                   2/2/2017                7/8/2020
 104390530 9020 Rancho Del Rio Dr, New Port Richey, FL 34655        Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/2/2017 VA 2-063-254             3/15/2017                   2/2/2017               1/18/2021
 104492825 1999 N University Dr, Coral Springs, FL 33071            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2017 VA 2-062-423             3/15/2017                   2/3/2017                8/7/2020
 104492879 1999 N University Dr, Coral Springs, FL 33071            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2017 VA 2-062-423             3/15/2017                   2/3/2017               8/11/2020
 104819155 3300-3380 NE Sugarhill Ave, Jensen Beach, FL 34957       David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/6/2017 VA 2-064-878             3/15/2017                   2/6/2017                7/1/2020
 104892003 109 Silver Palm Ave, Melbourne, FL 32901                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2017 VA 2-067-519             3/15/2017                   2/7/2017                7/9/2020
 104892025 109 Silver Palm Ave, Melbourne, FL 32901                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2017 VA 2-067-519             3/15/2017                   2/7/2017               6/30/2020
 104892049 109 Silver Palm Ave, Melbourne, FL 32901                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2017 VA 2-067-519             3/15/2017                   2/7/2017                7/8/2020
 105102431 317 Foxon Rd, East Haven, CT 06513                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/9/2017 VA 2-062-431             3/15/2017                   2/9/2017               6/30/2020
 105102645 317 Foxon Rd, East Haven, CT 06513                       Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/9/2017 VA 2-062-431             3/15/2017                   2/9/2017                7/6/2020

 105221881 1435 Randolph St, Detroit, MI 48226                      Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/10/2017 VA 2-063-341             3/15/2017                  2/10/2017                7/8/2020
 105666551 1337 S Lovers Ln, Visalia, CA 93292                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/15/2017 VA 2-063-513             3/15/2017                  2/15/2017               6/26/2020
 103921454 4540 Kearny Villa Rd, San Diego, CA 92123                Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/30/2017 VA 2-063-507             3/15/2017                  1/30/2017               6/26/2020
 105666201 1446 Front St, San Diego, CA 92101                       Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/15/2017 VA 2-063-507             3/15/2017                  2/15/2017                7/9/2020
 104500248 3838 N Sam Houston Pky E, Houston, TX 77032              Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893        2/3/2017 VA 2-062-401             3/15/2017                   2/3/2017                7/6/2021
 101790716 206 Business Park Blvd, Columbia, SC 29203               Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/12/2017 VA 2-063-647             3/15/2017                  1/12/2017                7/8/2020
 102730091 2678 149th St W, Rosemount, MN 55068                     Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/20/2017 VA 2-063-944             3/15/2017                  1/20/2017               7/10/2020
 102730123 2678 149th St W, Rosemount, MN 55068                     Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/20/2017 VA 2-063-944             3/15/2017                  1/20/2017                7/4/2020
 103096725 925-927 Payne Ave, Saint Paul, MN 55130                  Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/24/2017 VA 2-063-944             3/15/2017                  1/24/2017               7/20/2020
 103324454 1364 Welsh Rd, North Wales, PA 19454                     Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/25/2017 VA 2-062-425             3/15/2017                  1/25/2017                7/3/2020
 103324495 1364 Welsh Rd, North Wales, PA 19454                     Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/25/2017 VA 2-062-425             3/15/2017                  1/25/2017                7/9/2020
 104235431 1800 Byberry Rd, Huntingdon Valley, PA 19006             Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/1/2017 VA 2-062-425             3/15/2017                   2/1/2017               1/26/2021
 105093907 1124 E Ridgewood Ave, Ridgewood, NJ 07450                John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        2/9/2017 VA 2-062-316             3/15/2017                   2/9/2017              11/14/2020
 105220424 235-237 Mamaroneck Ave, White Plains, NY 10605           Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       2/10/2017 VA 2-064-862             3/15/2017                  2/10/2017               7/13/2020
 105220452 235-237 Mamaroneck Ave, White Plains, NY 10605           Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       2/10/2017 VA 2-064-862             3/15/2017                  2/10/2017               7/13/2020
 105230930 76 Mamaroneck Ave, White Plains, NY 10601                Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       2/10/2017 VA 2-064-862             3/15/2017                  2/10/2017               7/13/2020
 105230934 76 Mamaroneck Ave, White Plains, NY 10601                Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       2/10/2017 VA 2-064-862             3/15/2017                  2/10/2017               7/13/2020
 105521999 100 Access Rd, Gaston, SC 29053                          Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/14/2017 VA 2-063-647             3/15/2017                  2/14/2017               6/30/2020
 105522173 100 Access Rd, Gaston, SC 29053                          Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/14/2017 VA 2-063-647             3/15/2017                  2/14/2017               6/27/2020
 105664688 6260 Park South Dr, Bessemer, AL 35022                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/15/2017 VA 2-062-405             3/15/2017                  2/15/2017               7/10/2020
 105664696 6260 Park South Dr, Bessemer, AL 35022                   Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/15/2017 VA 2-062-405             3/15/2017                  2/15/2017                7/3/2020
 104372818 11300 75th St, Kenosha, WI 53142                         Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        2/2/2017 VA 2-095-241             3/15/2017                   2/2/2017               6/30/2020
 102743623 719 3rd Ave, Columbus, GA 31901                          Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/20/2017 VA 2-063-775             3/15/2017                  1/20/2017               4/23/2021
 104897467 621 McNinch St, Charlotte, NC 28208                      Roni-Leigh Burritt                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/7/2017 VA 2-068-463             3/15/2017                   2/7/2017               8/11/2020

 105058991 4112 MacCorkle Ave SE, Charleston, WV 25304              Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/9/2017 VA 2-063-729             3/15/2017                   2/9/2017                7/5/2020

 105099947 19-40 River Walk Mall, Charleston, WV 25303              Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/9/2017 VA 2-063-729             3/15/2017                   2/9/2017                8/8/2020

 100876970 2025 N Mt Juliet Rd, Mount Juliet, TN 37122              Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        1/5/2017 VA 2-062-995             3/15/2017                   1/5/2017                7/1/2020

 103094763 725 Cool Springs Blvd, Franklin, TN 37067                Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/24/2017 VA 2-062-995             3/15/2017                  1/24/2017                7/9/2020
 103439376 10175 Fortune Pky, Jacksonville, FL 32256                Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/26/2017 VA 2-095-234             3/15/2017                  1/26/2017                7/2/2020
 100765227 5900 S Pan American Blvd, North Port, FL 34287           Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/4/2017 VA 2-063-266             3/15/2017                   1/4/2017                7/8/2020
 100778613 779 Medical Dr, Englewood, FL 34223                      Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/4/2017 VA 2-063-266             3/15/2017                   1/4/2017                7/6/2020
 100872356 4238-4242 Tamiami Trl S, Venice, FL 34293                Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/5/2017 VA 2-063-266             3/15/2017                   1/5/2017                8/8/2020
 101388122 13777 Judson Rd, San Antonio, TX 78233                   Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2017 VA 2-062-618             3/15/2017                   1/9/2017               6/30/2020
 101502637 421 Commercial Ct, Venice, FL 34292                      Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/10/2017 VA 2-063-266             3/15/2017                  1/10/2017                7/8/2020

 101781499 6140 28th St SE, Grand Rapids, MI 49546                  Tyler Bolduc                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/12/2017 VA 2-063-358             3/15/2017                  1/12/2017                7/6/2020
 101798375 3231 Gulf Gate Dr, Sarasota, FL 34231                    Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/12/2017 VA 2-063-266             3/15/2017                  1/12/2017                7/9/2020
 102997028 6683 Smoke Ranch Rd, Las Vegas, NV 89108                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/23/2017 VA 2-063-954             3/15/2017                  1/23/2017                7/3/2020
 102997057 6683 Smoke Ranch Rd, Las Vegas, NV 89108                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/23/2017 VA 2-063-954             3/15/2017                  1/23/2017               6/26/2020
 103111758 5325 State Road 64 E, Bradenton, FL 34208                Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/24/2017 VA 2-063-266             3/15/2017                  1/24/2017                7/1/2020
 103629882 1505 Tamiami Trl S, Venice, FL 34285                     Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/27/2017 VA 2-063-266             3/15/2017                  1/27/2017                7/1/2020
 103996891 5623-5627 E 22nd St, Tucson, AZ 85711                    Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/31/2017 VA 2-056-902             3/15/2017                  1/31/2017              11/21/2020
 104833959 5541-5559 E Grant Rd, Tucson, AZ 85712                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        2/6/2017 VA 2-056-902             3/15/2017                   2/6/2017                7/2/2020
 104899641 101 Paramount Dr, Sarasota, FL 34232                     Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/7/2017 VA 2-063-266             3/15/2017                   2/7/2017                7/3/2020
 105663915 2802 N El Burrito Ave, Tucson, AZ 85705                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/15/2017 VA 2-056-902             3/15/2017                  2/15/2017               6/30/2020
 104833088 21310 Grand River Ave, Detroit, MI 48219                 Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        2/6/2017 VA 2-063-357             3/15/2017                   2/6/2017                7/4/2020
 104833094 21310 Grand River Ave, Detroit, MI 48219                 Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        2/6/2017 VA 2-063-357             3/15/2017                   2/6/2017                7/8/2020




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 104833098 21310 Grand River Ave, Detroit, MI 48219              Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       2/6/2017 VA 2-063-357              3/15/2017                   2/6/2017                7/4/2020
 104484092 11302 Fallbrook Dr, Houston, TX 77065                 Jacqualine Leach                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/3/2017 VA 2-063-546              3/15/2017                   2/3/2017               2/21/2021
 104885909 20320 Northwest Fwy, Houston, TX 77065                Jacqualine Leach                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2017 VA 2-063-546              3/15/2017                   2/7/2017                3/4/2021
 101797865 501 S Sharon Amity Rd, Charlotte, NC 28211            Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/12/2017 VA 2-063-726              3/15/2017                  1/12/2017               6/19/2020
 104864510 9600 Monroe Rd, Charlotte, NC 28270                   Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-726              3/15/2017                   2/7/2017              11/14/2020
 104867695 8625 Crown Crescent Ct, Charlotte, NC 28227           Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-726              3/15/2017                   2/7/2017                3/8/2021
 103009711 1275 Kennestone Cir, Marietta, GA 30066               Raegan Perkins                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2017 VA 2-062-570              3/15/2017                  1/23/2017              10/27/2020
 101663054 7753 Roseville Rd, Sacramento, CA 95842               Marcos Hilbert                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2017 VA 2-062-770              3/15/2017                  1/11/2017                7/1/2020
 100700340 744-746 N La Brea Ave, Los Angeles, CA 90038          Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/3/2017 VA 2-062-145              3/15/2017                   1/3/2017                7/4/2020
 100887068 2835 W De Leon St, Tampa, FL 33609                    Donte Crooks                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/5/2017 VA 2-063-334              3/15/2017                   1/5/2017                8/7/2020
 100990640 102 Flagship Dr, Lutz, FL 33549                       Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       1/5/2017 VA 2-063-350              3/15/2017                   1/5/2017               1/23/2021
 101035356 15446 NE Bel Red Rd, Redmond, WA 98052                Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/6/2017 VA 2-068-461              3/15/2017                   1/6/2017                7/6/2020
 101229233 2917-2919 N Broad St, Philadelphia, PA 19132          Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/9/2017 VA 2-062-437              3/15/2017                   1/9/2017                7/2/2020
 101511394 115 NW 167th St, North Miami Beach, FL 33169          Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2017 VA 2-062-104              3/15/2017                  1/10/2017               10/9/2020
 101659304 6921 Pistol Range Rd, Tampa, FL 33635                 Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      1/11/2017 VA 2-063-350              3/15/2017                  1/11/2017                7/2/2020
 101912802 1123 W Washington Blvd, Chicago, IL 60607             Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2017 VA 2-062-150              3/15/2017                  1/11/2017               8/11/2020
 101913052 5320 Cameron St, Las Vegas, NV 89118                  Jay Diaz                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-063-501              3/15/2017                  1/13/2017                7/1/2020
 101913192 5320 Cameron St, Las Vegas, NV 89118                  Jay Diaz                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-063-501              3/15/2017                  1/13/2017                7/1/2020
 101924169 2855 E Guasti Rd, Ontario, CA 91761                   Sean Duffy                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-062-653              3/15/2017                  1/13/2017                7/2/2020
 101936226 200 Little Falls St, Falls Church, VA 22046           Nikolai Roster                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/13/2017 VA 2-064-070              3/15/2017                  1/13/2017               6/27/2020
 102284098 15807 Biscayne Blvd, North Miami Beach, FL 33160      Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/17/2017 VA 2-062-104              3/15/2017                  1/17/2017               7/23/2020
 102448514 5710 Hoover Blvd, Tampa, FL 33634                     Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      1/18/2017 VA 2-063-350              3/15/2017                  1/18/2017               6/30/2020
 102583601 5422 N Orange Blossom Trl, Orlando, FL 32810          Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/19/2017 VA 2-063-951              3/15/2017                  1/19/2017                7/2/2020
 102592101 712 N 16th St, Philadelphia, PA 19130                 Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/19/2017 VA 2-062-437              3/15/2017                  1/19/2017               6/25/2020
 102596915 5402 Hoover Blvd, Tampa, FL 33634                     Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      1/19/2017 VA 2-063-350              3/15/2017                  1/19/2017               6/28/2020
 102596929 5402 Hoover Blvd, Tampa, FL 33634                     Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      1/19/2017 VA 2-063-350              3/15/2017                  1/19/2017                7/2/2020
 102992878 5114-5130 Brandt Pike, Dayton, OH 45424               Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/23/2017 VA 2-062-451              3/15/2017                  1/23/2017               6/26/2020
 103005887 7777 N Wickham Rd, Melbourne, FL 32940                Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2017 VA 2-063-951              3/15/2017                  1/23/2017               11/8/2020
 103015025 5501 W 86th St, Indianapolis, IN 46268                Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2017 VA 2-063-491              3/15/2017                  1/23/2017               6/30/2020
 103106940 17101 Kuykendahl Rd, Houston, TX 77068                Clark Underwood                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/24/2017 VA 2-063-259              3/15/2017                  1/24/2017                7/4/2020
 103322113 49 Cannon St, Bridgeport, CT 06604                    Alex Mongillo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2017 VA 2-062-110              3/15/2017                  1/25/2017                8/7/2020
 103322134 49 Cannon St, Bridgeport, CT 06604                    Alex Mongillo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2017 VA 2-062-110              3/15/2017                  1/25/2017                8/8/2020
 103325463 4290 Cypress Hill Dr, Spring, TX 77388                Clark Underwood                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2017 VA 2-063-259              3/15/2017                  1/25/2017                7/9/2020
 103456237 Charleston Blvd, Las Vegas, NV 89104                  Jay Diaz                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/26/2017 VA 2-063-501              3/15/2017                  1/26/2017               6/26/2020
 103925875 3081 Valley Pike, Riverside, OH 45404                 Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/30/2017 VA 2-062-451              3/15/2017                  1/30/2017               8/11/2020
 103925878 3081 Valley Pike, Riverside, OH 45404                 Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/30/2017 VA 2-062-451              3/15/2017                  1/30/2017                8/7/2020
 104251643 12826 SE 40th Ln, Bellevue, WA 98006                  Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/1/2017 VA 2-068-461              3/15/2017                   2/1/2017               6/12/2021
 104381797 13701 Bruce B Downs Blvd, Tampa, FL 33613             Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       2/2/2017 VA 2-063-350              3/15/2017                   2/2/2017                3/4/2021
 104884162 310 Court Sq, Sanford, NC 27330                       John Price                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2017 VA 2-062-310              3/15/2017                   2/7/2017                7/4/2020
 104884183 310 Court Sq, Sanford, NC 27330                       John Price                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2017 VA 2-062-310              3/15/2017                   2/7/2017                7/2/2020
 105019550 20220-20238 S Avalon Blvd, Carson, CA 90746           Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/8/2017 VA 2-056-904              3/15/2017                   2/8/2017               6/30/2020
 105019559 20220-20238 S Avalon Blvd, Carson, CA 90746           Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/8/2017 VA 2-056-904              3/15/2017                   2/8/2017               6/29/2020
 105121607 4220 W Northern Ave, Phoenix, AZ 85051                Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/9/2017 VA 2-068-462              3/15/2017                   2/9/2017                7/5/2020
 105466286 12 Thomson Pl, Boston, MA 02210                       Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/13/2017 VA 2-063-365              3/15/2017                  2/13/2017                7/7/2020
 105478265 7320 E Fletcher Ave, Tampa, FL 33637                  Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/13/2017 VA 2-063-350              3/15/2017                  2/13/2017               6/28/2020
 105478274 7320 E Fletcher Ave, Tampa, FL 33637                  Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/13/2017 VA 2-063-350              3/15/2017                  2/13/2017                7/2/2020
 101775978 1170 Kane Concourse, Bay Harbor Islands, FL 33154     Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/12/2017 VA 2-063-496              3/15/2017                  1/12/2017                7/1/2020
 103439873 9675 NW 117th Ave, Medley, FL 33178                   Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/26/2017 VA 2-063-496              3/15/2017                  1/26/2017              11/27/2020
 104803660 3659 S Miami Ave, Miami, FL 33133                     Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/6/2017 VA 2-063-496              3/15/2017                   2/6/2017               6/25/2020
 104854292 2601 S Bayshore Dr, Coconut Grove, FL 33133           Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-496              3/15/2017                   2/7/2017               7/10/2020
 104854298 2601 S Bayshore Dr, Coconut Grove, FL 33133           Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-496              3/15/2017                   2/7/2017                7/2/2020
 104854367 2601 S Bayshore Dr, Coconut Grove, FL 33133           Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-496              3/15/2017                   2/7/2017               6/25/2020
 104855764 2601 S Bayshore Dr, Coconut Grove, FL 33133           Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2017 VA 2-063-496              3/15/2017                   2/7/2017                7/1/2020
 105059257 2035 Royal Ln, Dallas, TX 75229                       Melissa Hood                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/8/2017 VA 2-063-362              3/15/2017                   2/8/2017                4/2/2021
   18495275 2160 Union Pl, Simi Valley, CA 93065                 Veronica Gardiner                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     2023466500      4/16/2012 VA 1-919-022            12/14/2012                   4/16/2012               6/29/2020
   56347738 231 E Pine St, Exeter, CA 93221                      John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      1/12/2016 VA 2-095-764              3/31/2017                  1/12/2016                7/6/2020

  56908790 6339 N Dixie Dr, Dayton, OH 45414                     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/19/2016 VA 2-047-191             3/31/2017                  1/19/2016              10/12/2020

  57438108 485 W Main St, Wilmington, OH 45177                   Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/26/2016 VA 1-437-167             3/31/2017                  1/26/2016               6/28/2020
 103923918 255-295 N 5th St, Coalinga, CA 93210                  John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       1/30/2017 VA 2-095-764             3/31/2017                  1/30/2017               6/28/2020
  56012694 5380 Clairemont Mesa Blvd, San Diego, CA 92117        Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/11/2016 VA 1-437-163             3/31/2017                  1/11/2016               6/30/2020
  56337641 4747 Morena Blvd, San Diego, CA 92117                 Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/14/2016 VA 1-437-163             3/31/2017                  1/14/2016                7/4/2020
  57438892 9888 Carroll Centre Rd, San Diego, CA 92126           Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/26/2016 VA 1-437-163             3/31/2017                  1/26/2016               6/28/2020
  57438899 9888 Carroll Centre Rd, San Diego, CA 92126           Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/26/2016 VA 1-437-163             3/31/2017                  1/26/2016                7/1/2020
  58299543 1524 Graves Ave, El Cajon, CA 92021                   Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        2/4/2016 VA 1-437-163             3/31/2017                   2/4/2016                8/9/2020
  58680447 1177 Greenfield Dr, El Cajon, CA 92021                Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        2/9/2016 VA 2-095-747             3/31/2017                   2/9/2016                7/6/2020
  58399991 921 Cedar Lake Rd, Biloxi, MS 39532                   Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2016 VA 1-437-171             3/31/2017                   2/5/2016                7/4/2020
  57330650 13510 Oak St, Kansas City, MO 64145                   Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2016 VA 2-046-762             3/31/2017                  1/25/2016                7/3/2020
  57330653 13510 Oak St, Kansas City, MO 64145                   Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2016 VA 2-046-762             3/31/2017                  1/25/2016               7/10/2020
  58092229 410-446 SE 291 Hwy, Lees Summit, MO 64063             Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/2/2016 VA 2-046-762             3/31/2017                   2/2/2016               6/25/2020
  58092232 410-446 SE 291 Hwy, Lees Summit, MO 64063             Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/2/2016 VA 2-046-762             3/31/2017                   2/2/2016                7/5/2020

  55542125 21602 N Central Ave, Phoenix, AZ 85024                Alan Thieroff                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        1/6/2016 VA 1-437-169             3/31/2017                   1/6/2016               6/30/2020
  57654226 2378 Plainfield Rd, Crest Hill, IL 60403              Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/28/2016 VA 2-095-765             3/31/2017                  1/28/2016                7/1/2020
  58799918 16230 Louis Ave, South Holland, IL 60473              Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/10/2016 VA 2-095-765             3/31/2017                  2/10/2016               6/25/2020
  58800026 16955 Torrence Ave, Lansing, IL 60438                 Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/10/2016 VA 2-095-765             3/31/2017                  2/10/2016               8/11/2020
 110909000 5254-5258 W North Ave, Chicago, IL 60639              Benjamin Gonzales                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/23/2017 VA 2-076-600             5/12/2017                  3/23/2017               8/12/2020
 108692524 1001 Pleasant Valley Way, West Orange, NJ 07052       Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       3/10/2017 VA 2-081-352             5/12/2017                  3/10/2017               7/20/2020
 109420958 80 Main St, West Orange, NJ 07052                     Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       3/15/2017 VA 2-081-352             5/12/2017                  3/15/2017               7/20/2020




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 105691039 4019 Interstate 45 N, Conroe, TX 77304                       Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/16/2017 VA 2-081-349              5/12/2017                  2/16/2017               7/10/2020
 105691040 4019 Interstate 45 N, Conroe, TX 77304                       Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/16/2017 VA 2-081-349              5/12/2017                  2/16/2017               6/30/2020
 105693125 704 N Thompson St, Conroe, TX 77301                          Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/16/2017 VA 2-081-349              5/12/2017                  2/16/2017               10/7/2020
 105717698 7984 Forest City Rd, Orlando, FL 32810                       Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/16/2017 VA 2-063-672              5/12/2017                  2/16/2017                7/1/2020
 105898917 503 Medical Center Blvd, Conroe, TX 77304                    Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/17/2017 VA 2-081-349              5/12/2017                  2/17/2017               10/9/2020
 105899807 100 Medical Center Blvd, Conroe, TX 77304                    Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/17/2017 VA 2-081-349              5/12/2017                  2/17/2017               10/9/2020
 106469316 386 N Oates St, Dothan, AL 36303                             David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/21/2017 VA 2-076-178              5/12/2017                  2/21/2017                7/6/2020
 106557976 1 Hallidie Plz, San Francisco, CA 94102                      Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      2/22/2017 VA 2-078-700              5/12/2017                  2/22/2017               5/16/2021
 106649842 2400 Airport Way S, Seattle, WA 98134                        Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/23/2017 VA 2-064-631              5/12/2017                  2/23/2017                2/1/2021
 106956449 612 Wheelers Farms Rd, Milford, CT 06461                     Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/24/2017 VA 2-065-951              5/12/2017                  2/24/2017               7/16/2021
 107536601 800 NW 54th St, Miami, FL 33127                              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/1/2017 VA 2-065-739              5/12/2017                   3/1/2017              10/27/2020
 107611535 815 N Westover Blvd, Albany, GA 31707                        David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/2/2017 VA 2-076-178              5/12/2017                   3/2/2017                7/4/2020
 107791835 2575 McCabe Way, Irvine, CA 92614                            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/3/2017 VA 2-065-931              5/12/2017                   3/3/2017              11/14/2020
 107791933 2575 McCabe Way, Irvine, CA 92614                            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/3/2017 VA 2-065-931              5/12/2017                   3/3/2017                3/8/2021
 107794764 1111 E Touhy Ave, Des Plaines, IL 60018                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       3/3/2017 VA 2-078-686              5/12/2017                   3/3/2017                7/7/2020
 108154057 1834 Walden Office Sq, Schaumburg, IL 60173                  Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       3/7/2017 VA 2-078-686              5/12/2017                   3/7/2017                7/1/2020

 108215682 635 Ohio St, Terre Haute, IN 47807                           Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/7/2017 VA 2-065-975             5/12/2017                   3/7/2017                7/6/2020

 108215693 635 Ohio St, Terre Haute, IN 47807                           Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/7/2017 VA 2-065-975             5/12/2017                   3/7/2017               7/10/2020
 108224857 2614 Lancelot Ave, Richmond, VA 23234                        Randy Rose                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/7/2017 VA 2-066-037             5/12/2017                   3/7/2017               6/29/2021

 108364087 3120-3122 S Lafountain St, Kokomo, IN 46902                  Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/8/2017 VA 2-065-975             5/12/2017                   3/8/2017               6/27/2020

 108364121 3120-3122 S Lafountain St, Kokomo, IN 46902                  Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/8/2017 VA 2-065-975             5/12/2017                   3/8/2017                7/6/2020

 108364871 3415 S Lafountain St, Kokomo, IN 46902                       Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/8/2017 VA 2-065-975             5/12/2017                   3/8/2017               6/27/2020

 108364895 3415 S Lafountain St, Kokomo, IN 46902                       Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/8/2017 VA 2-065-975             5/12/2017                   3/8/2017                7/5/2020

 108364919 3415 S Lafountain St, Kokomo, IN 46902                       Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/8/2017 VA 2-065-975             5/12/2017                   3/8/2017               7/10/2020
 108578184 19712 MacArthur Blvd, Irvine, CA 92612                       Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/9/2017 VA 2-065-931             5/12/2017                   3/9/2017                2/6/2021
 109302603 255 Bank St, Waterbury, CT 06702                             Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/14/2017 VA 2-065-951             5/12/2017                  3/14/2017               6/27/2020
 109302617 255 Bank St, Waterbury, CT 06702                             Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/14/2017 VA 2-065-951             5/12/2017                  3/14/2017               6/30/2020
 109695943 10207 S Dixie Hwy, Miami, FL 33156                           Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2017 VA 2-065-739             5/12/2017                  3/16/2017               7/10/2020
 109696077 10207 S Dixie Hwy, Miami, FL 33156                           Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2017 VA 2-065-739             5/12/2017                  3/16/2017                7/8/2020
 109696241 10207 S Dixie Hwy, Miami, FL 33156                           Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2017 VA 2-065-739             5/12/2017                  3/16/2017                7/3/2020
 109729089 4230 W Farm Rd, West Jordan, UT 84088                        Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/16/2017 VA 2-075-138             5/12/2017                  3/16/2017                7/3/2020
 109729156 4230 W Farm Rd, West Jordan, UT 84088                        Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/16/2017 VA 2-075-138             5/12/2017                  3/16/2017               6/28/2020
 109909112 1585 Sawdust Rd, The Woodlands, TX 77380                     Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/17/2017 VA 2-081-349             5/12/2017                  3/17/2017               6/30/2020
 109935159 901 Douglas Ave, Altamonte Springs, FL 32714                 Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/17/2017 VA 2-063-672             5/12/2017                  3/17/2017               6/29/2020

 110313298 2813 N 50 E, Kokomo, IN 46901                                Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/20/2017 VA 2-065-975             5/12/2017                  3/20/2017                7/1/2020

 110313327 2813 N 50 E, Kokomo, IN 46901                                Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/20/2017 VA 2-065-975             5/12/2017                  3/20/2017                7/2/2020
 110313793 121 W Forsyth St, Jacksonville, FL 32202                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/20/2017 VA 2-077-027             5/12/2017                  3/20/2017                7/1/2020

 110318118 2983 N 50 E, Kokomo, IN 46901                                Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/20/2017 VA 2-065-975             5/12/2017                  3/20/2017                7/6/2020

 110318146 2983 N 50 E, Kokomo, IN 46901                                Jason Koenig                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/20/2017 VA 2-065-975             5/12/2017                  3/20/2017               6/27/2020

 110890835 638-642 E 5th Ave, Columbus, OH 43201                        Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/23/2017 VA 2-065-767             5/12/2017                  3/23/2017                7/9/2020
 110912704 832 E Rand Rd, Mount Prospect, IL 60056                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/23/2017 VA 2-078-686             5/12/2017                  3/23/2017               7/12/2021

 111756931 677-689 Miamisburg Centerville Rd, Centerville, OH 45459     Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/29/2017 VA 2-076-604             5/12/2017                  3/29/2017              10/12/2020
 112096296 2001 W Cypress Creek Rd, Fort Lauderdale, FL 33309           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/31/2017 VA 2-076-609             5/12/2017                  3/31/2017               7/11/2020
 112097078 2003 W Cypress Creek Rd, Fort Lauderdale, FL 33309           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/31/2017 VA 2-076-609             5/12/2017                  3/31/2017                7/8/2020
 108082318 1202 W 8th St, Los Angeles, CA 90017                         J. Blomdahl                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/6/2017 VA 2-066-016             5/12/2017                   3/6/2017               7/24/2020
 108587633 1902-1910 Marengo St, Los Angeles, CA 90033                  J. Blomdahl                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/9/2017 VA 2-066-016             5/12/2017                   3/9/2017                7/3/2020

 106571961 2713 E Nettleton Ave, Jonesboro, AR 72401                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/22/2017 VA 2-065-957             5/12/2017                  2/22/2017              11/14/2020
 108342063 826 N Lewis Rd, Limerick, PA 19468                           Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/8/2017 VA 2-063-428             5/12/2017                   3/8/2017               6/30/2020

 107783533 8000 Freedom Ave NW, North Canton, OH 44720                  Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        3/3/2017 VA 2-065-028             5/12/2017                   3/3/2017               7/24/2020
 109742970 820 Tyvola Rd, Charlotte, NC 28217                           Roni-Leigh Burritt                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2017 VA 2-063-662             5/12/2017                  3/16/2017                5/2/2021
 108352067 11440-11552 W 135th St, Overland Park, KS 66221              Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/8/2017 VA 2-076-607             5/12/2017                   3/8/2017                7/3/2020
 107780814 6700 Southpoint Pky, Jacksonville, FL 32216                  Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        3/3/2017 VA 2-076-781             5/12/2017                   3/3/2017              12/13/2020
 107429189 303 W Institute Pl, Chicago, IL 60610                        Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        3/1/2017 VA 2-078-644             5/12/2017                   3/1/2017                7/2/2020
 107789187 329-331 S York Rd, Bensenville, IL 60106                     Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        3/3/2017 VA 2-078-644             5/12/2017                   3/3/2017               7/31/2020
 107796224 1 Tower Pl, South San Francisco, CA 94080                    George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/3/2017 VA 2-065-927             5/12/2017                   3/3/2017                7/9/2020
 108093622 4300 S 6th Ave, Tucson, AZ 85714                             Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/6/2017 VA 2-076-966             5/12/2017                   3/6/2017               6/25/2020
 110439072 2001 Midwest Rd, Oak Brook, IL 60523                         Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       3/21/2017 VA 2-078-644             5/12/2017                  3/21/2017               7/20/2020
 110439545 1919 Midwest Rd, Oak Brook, IL 60523                         Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       3/21/2017 VA 2-078-644             5/12/2017                  3/21/2017               6/30/2020

 110893047 2611 Alpine Ave, Grand Rapids, MI 49544                      Tyler Bolduc                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/23/2017 VA 2-075-133             5/12/2017                  3/23/2017               6/30/2020

 111424580 1602-1604 N Mitchell St, Cadillac, MI 49601                  Tyler Bolduc                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/27/2017 VA 2-075-133             5/12/2017                  3/27/2017                7/3/2020
 111495194 818 Brooklyn Ave, San Antonio, TX 78215                      Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2017 VA 2-065-762             5/12/2017                  3/27/2017               7/10/2020
 111495436 303 E Quincy St, San Antonio, TX 78215                       Scott Langford                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2017 VA 2-065-762             5/12/2017                  3/27/2017                7/3/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                    105
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                             Image Address                          Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

 111560729 1723 W M-32, Gaylord, MI 49735                             Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/28/2017 VA 2-075-133             5/12/2017                 3/28/2017              7/10/2020

 111560785 1723 W M-32, Gaylord, MI 49735                             Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/28/2017 VA 2-075-133             5/12/2017                 3/28/2017               7/2/2020

 111560829 1723 W M-32, Gaylord, MI 49735                             Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      3/28/2017 VA 2-075-133             5/12/2017                 3/28/2017               7/6/2020

 108161443 351-355 Martin Luther King Jr Blvd, Savannah, GA 31401     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       3/7/2017 VA 2-065-769             5/12/2017                  3/7/2017             11/20/2020
 106639316 10201 Krause Rd, Chesterfield, VA 23832                    Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/23/2017 VA 2-065-946             5/12/2017                 2/23/2017               8/8/2020
 106639430 10201 Krause Rd, Chesterfield, VA 23832                    Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/23/2017 VA 2-065-946             5/12/2017                 2/23/2017               8/9/2020
 106581707 6263 E Main St, Mesa, AZ 85205                             Tim Nelson                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/22/2017 VA 2-075-145             5/12/2017                 2/22/2017               7/9/2020
 106660348 13215 Dotson Rd, Houston, TX 77070                         Jacqualine Leach                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/23/2017 VA 2-065-933             5/12/2017                 2/23/2017               7/4/2020
 111428801 950 N Porter Ave, Norman, OK 73071                         Jana Carson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/27/2017 VA 2-066-005             5/12/2017                 3/27/2017              6/26/2020
 104865205 8100 Tower Point Dr, Charlotte, NC 28227                   Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/7/2017 VA 2-065-011             5/12/2017                  2/7/2017               8/2/2020
 108164309 1515 Shopton Rd, Charlotte, NC 28217                       Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/7/2017 VA 2-065-011             5/12/2017                  3/7/2017               7/6/2020
 108164343 1515 Shopton Rd, Charlotte, NC 28217                       Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/7/2017 VA 2-065-011             5/12/2017                  3/7/2017               7/3/2020
 108797284 820 Forest Point Cir, Charlotte, NC 28273                  Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/10/2017 VA 2-065-011             5/12/2017                 3/10/2017              6/29/2020
 110455484 6200-6208 Creft Cir, Lake Park, NC 28079                   Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/21/2017 VA 2-065-011             5/12/2017                 3/21/2017              7/31/2020
 111751215 2274-2298 N Peachtree Way NW, Atlanta, GA 30309            Raegan Perkins                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/29/2017 VA 2-066-038             5/12/2017                 3/29/2017              6/28/2020
 107217536 1240 Scholastic Way, Chesapeake, VA 23323                  Kayla Glavin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/27/2017 VA 2-078-725             5/12/2017                 2/27/2017               7/2/2020
 107457784 4455 Pines Rd, Shreveport, LA 71119                        Myreon Coleman                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/1/2017 VA 2-063-427             5/12/2017                  3/1/2017               7/5/2020
 106953475 2012 Cleveland Rd W, Huron, OH 44839                       Kristin Locurto                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/24/2017 VA 2-076-973             5/12/2017                 2/24/2017              7/20/2020
 107639899 4105-4135 Crescent Park Dr, Riverview, FL 33578            Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       3/2/2017 VA 2-077-018             5/12/2017                  3/2/2017               8/8/2020
 107791435 600 Wilshire Blvd, Los Angeles, CA 90017                   Marshall Main                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/3/2017 VA 2-065-960             5/12/2017                  3/3/2017              7/31/2020
 108168917 1631 Beverly Blvd, Los Angeles, CA 90026                   Marshall Main                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/7/2017 VA 2-065-960             5/12/2017                  3/7/2017               5/3/2021
 108173346 1620 Satellite Blvd, Duluth, GA 30097                      Roslyn Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/7/2017 VA 2-065-749             5/12/2017                  3/7/2017              2/16/2021
 109308390 740 E 52nd St, Indianapolis, IN 46205                      Jennifer White                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2017 VA 2-066-021             5/12/2017                 3/14/2017               7/3/2020
 109308398 740 E 52nd St, Indianapolis, IN 46205                      Jennifer White                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2017 VA 2-066-021             5/12/2017                 3/14/2017               7/3/2020
 109426290 2930 W Sam Houston Pkwy N, Houston, TX 77043               Clark Underwood                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/15/2017 VA 2-076-624             5/12/2017                 3/15/2017              6/28/2020
 109429130 2067 Massachusetts Ave, Cambridge, MA 02140                Spencer Crispino                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/15/2017 VA 2-075-117             5/12/2017                 3/15/2017               7/2/2020
 109742870 33400 8th Ave S, Federal Way, WA 98003                     Perry Cucinotta                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2017 VA 2-064-981             5/12/2017                 3/16/2017               7/9/2020
 109747655 3804 Coconut Palm Dr, Tampa, FL 33619                      Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      3/16/2017 VA 2-077-018             5/12/2017                 3/16/2017               7/2/2020
 110356536 400 Avenue K SE, Winter Haven, FL 33880                    Donte Crooks                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/20/2017 VA 2-076-174             5/12/2017                 3/20/2017               7/2/2020
 110465631 1601 W Reynolds St, Plant City, FL 33563                   Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      3/21/2017 VA 2-077-018             5/12/2017                 3/21/2017               7/1/2020
 110465666 1601 W Reynolds St, Plant City, FL 33563                   Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      3/21/2017 VA 2-077-018             5/12/2017                 3/21/2017               7/1/2020
 110883624 118 Mackenan Dr, Cary, NC 27511                            John Price                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/23/2017 VA 2-078-682             5/12/2017                 3/23/2017              6/27/2020
 110892199 636-708 St Clair Ave NE, Cleveland, OH 44114               Kristin Locurto                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/23/2017 VA 2-076-973             5/12/2017                 3/23/2017              6/29/2020
 111748898 5001 Hadley Rd, South Plainfield, NJ 07080                 Stephen Crighton                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/29/2017 VA 2-081-350             5/12/2017                 3/29/2017              7/31/2020
 105745647 411 E Royal Ln, Irving, TX 75039                           Melissa Hood                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/16/2017 VA 2-063-492             5/12/2017                 2/16/2017               7/4/2020
 109333910 1955 Lakeway Dr, Lewisville, TX 75057                      Melissa Hood                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2017 VA 2-063-492             5/12/2017                 3/14/2017               7/9/2020
 109333935 2061 S Stemmons Fwy, Lewisville, TX 75067                  Melissa Hood                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/14/2017 VA 2-063-492             5/12/2017                 3/14/2017               7/8/2020
 109430192 1796 W Caro Rd, Caro, MI 48723                             Troy Foster                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/15/2017 VA 2-075-136             5/12/2017                 3/15/2017              1/23/2021
 109736181 300 N Saginaw St, Durand, MI 48429                         Troy Foster                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2017 VA 2-075-136             5/12/2017                 3/16/2017              6/26/2020
 109736201 300 N Saginaw St, Durand, MI 48429                         Troy Foster                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2017 VA 2-075-136             5/12/2017                 3/16/2017               7/6/2020
 109736236 300 N Saginaw St, Durand, MI 48429                         Troy Foster                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/16/2017 VA 2-075-136             5/12/2017                 3/16/2017               7/1/2020
 110656807 21008 Northern Blvd, Bayside, NY 11361                     Perez Folds                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/22/2017 VA 2-064-992             5/12/2017                 3/22/2017               7/8/2020
 110482842 355 Hukilike St, Kahului, HI 96732                         Odeelo Dayondon                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2017 VA 2-065-019             5/12/2017                 3/21/2017               7/6/2020
 107611572 1010 Rockville Pike, Rockville, MD 20852                   Ryan Sule                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/2/2017 VA 2-065-768             5/12/2017                  3/2/2017              7/20/2020
 109183990 1095 Diffley Rd, Eagan, MN 55123                           Ryan Sule                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/13/2017 VA 2-065-768             5/12/2017                 3/13/2017               7/4/2020
 109184215 1095 Diffley Rd, Eagan, MN 55123                           Ryan Sule                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/13/2017 VA 2-065-768             5/12/2017                 3/13/2017               7/1/2020
 110337084 315-503 E Watkins St, Phoenix, AZ 85004                    Maya James                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/20/2017 VA 2-065-954             5/12/2017                 3/20/2017              5/24/2021
 110457130 2150 E Highland Ave, Phoenix, AZ 85016                     Maya James                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/21/2017 VA 2-065-954             5/12/2017                 3/21/2017               7/7/2021
 110683079 1730 York Rd, Baltimore, MD 21093                          Phyllis Langley                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/22/2017 VA 2-066-063             5/12/2017                 3/22/2017               2/2/2021
 111555841 113 Westminster Pike, Reisterstown, MD 21136               Phyllis Langley                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/28/2017 VA 2-066-063             5/12/2017                 3/28/2017               7/9/2020
 106582569 43385 Business Park Dr, Temecula, CA 92590                 Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/22/2017 VA 2-065-033             6/20/2017                 2/22/2017              6/29/2020
 108804974 25095 Jefferson Ave, Murrieta, CA 92562                    Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/10/2017 VA 2-065-033             6/20/2017                 3/10/2017               7/3/2020
 115840581 5600-5612 W Division St, Chicago, IL 60651                 Benjamin Gonzales                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2017 VA 2-078-143             6/26/2017                 4/24/2017              11/7/2020
 118299437 420 Pond St, Bristol, PA 19007                             Steve Baist                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/10/2017 VA 2-076-763             6/26/2017                 5/10/2017               7/8/2020
 112504112 1305 Hope Mills Rd, Fayetteville, NC 28304                 Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/3/2017 VA 2-077-348             6/26/2017                  4/3/2017              6/30/2020
 112504142 1305 Hope Mills Rd, Fayetteville, NC 28304                 Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/3/2017 VA 2-077-348             6/26/2017                  4/3/2017               7/2/2020
 112627729 2785 Highway 46, Wasco, CA 93280                           John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/4/2017 VA 2-077-250             6/26/2017                  4/4/2017              7/13/2020
 112868298 469-475 Capital SW, Tallahassee, FL 32304                  David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/5/2017 VA 2-092-655             6/26/2017                  4/5/2017               7/2/2020
 112880363 2288 Drew St, Clearwater, FL 33765                         Clint Bliss                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/5/2017 VA 2-075-167             6/26/2017                  4/5/2017              6/28/2020
 113174890 32 King St, Troy, NY 12180                                 Tina Wood                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/7/2017 VA 2-076-791             6/26/2017                  4/7/2017               7/2/2020
 113174927 32 King St, Troy, NY 12180                                 Tina Wood                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/7/2017 VA 2-076-791             6/26/2017                  4/7/2017              6/26/2020
 114155451 1909 Hillbrooke Trl, Tallahassee, FL 32311                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2017 VA 2-092-655             6/26/2017                 4/13/2017              6/27/2020
 114155481 1909 Hillbrooke Trl, Tallahassee, FL 32311                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2017 VA 2-092-655             6/26/2017                 4/13/2017              7/10/2020
 114155489 1909 Hillbrooke Trl, Tallahassee, FL 32311                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2017 VA 2-092-655             6/26/2017                 4/13/2017              6/29/2020
 114155496 1909 Hillbrooke Trl, Tallahassee, FL 32311                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2017 VA 2-092-655             6/26/2017                 4/13/2017               7/1/2020
 114155537 1909 Hillbrooke Trl, Tallahassee, FL 32311                 David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/13/2017 VA 2-092-655             6/26/2017                 4/13/2017               7/4/2020
 114668582 6050 Moncrief Rd, Jacksonville, FL 32209                   Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/17/2017 VA 2-076-349             6/26/2017                 4/17/2017              6/26/2020
 115067482 5391 NW 36th St, Miami, FL 33166                           Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/19/2017 VA 2-077-362             6/26/2017                 4/19/2017              6/30/2020
 115067540 5391 NW 36th St, Miami, FL 33166                           Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/19/2017 VA 2-077-362             6/26/2017                 4/19/2017               7/3/2020
 115433228 820 E Park Ave, Tallahassee, FL 32301                      David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/21/2017 VA 2-092-655             6/26/2017                 4/21/2017               7/4/2020
 115433409 820 E Park Ave, Tallahassee, FL 32301                      David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/21/2017 VA 2-092-655             6/26/2017                 4/21/2017              6/26/2020
 115484602 1840 Pickwick Ave, Glenview, IL 60026                      Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      4/21/2017 VA 2-077-192             6/26/2017                 4/21/2017              6/25/2020
 115820843 3621 Reid St, Palatka, FL 32177                            Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/21/2017 VA 2-076-349             6/26/2017                 4/21/2017               8/8/2020
 115820893 3621 Reid St, Palatka, FL 32177                            Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/21/2017 VA 2-076-349             6/26/2017                 4/21/2017               8/9/2020
 115840353 100 Smithfield Ave, Pawtucket, RI 02860                    Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/24/2017 VA 2-077-199             6/26/2017                 4/24/2017              6/28/2020
 115853082 6100 Lake Ellenor Dr, Orlando, FL 32809                    Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2017 VA 2-077-364             6/26/2017                 4/24/2017              6/25/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                  106
                                                                    Case 2:20-cv-08819-CBM-AS                                         Document 950-1 Filed 10/25/24                                                                  Page 134 of 202
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 116139105 705 S Wells Ave, Reno, NV 89502                            Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      4/26/2017 VA 2-078-416              6/26/2017                  4/26/2017                7/5/2020
 116296870 450 Main St, Pawtucket, RI 02860                           Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/27/2017 VA 2-077-199              6/26/2017                  4/27/2017               7/12/2020
 116296893 450 Main St, Pawtucket, RI 02860                           Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/27/2017 VA 2-077-199              6/26/2017                  4/27/2017                7/3/2020
 116484805 1164 E Oakland Park Blvd, Fort Lauderdale, FL 33334        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/28/2017 VA 2-079-288              6/26/2017                  4/28/2017               6/27/2020
 116845832 100-150 Euclid Ave, Park Ridge, IL 60068                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/1/2017 VA 2-077-192              6/26/2017                   5/1/2017               6/27/2020
 116846190 100-150 Euclid Ave, Park Ridge, IL 60068                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/1/2017 VA 2-077-192              6/26/2017                   5/1/2017                7/2/2020
 116846309 100-150 Euclid Ave, Park Ridge, IL 60068                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/1/2017 VA 2-077-192              6/26/2017                   5/1/2017               7/11/2020
 117083192 90 Fort Wade Rd, Ponte Vedra, FL 32081                     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/1/2017 VA 2-076-349              6/26/2017                   5/1/2017                7/7/2020
 117095698 5397 Orange Dr, Davie, FL 33314                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-079-288              6/26/2017                   5/2/2017               6/29/2020
 117095729 5397 Orange Dr, Davie, FL 33314                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-079-288              6/26/2017                   5/2/2017               7/13/2020
 117095783 5397 Orange Dr, Davie, FL 33314                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-079-288              6/26/2017                   5/2/2017                7/4/2020
 117095808 5397 Orange Dr, Davie, FL 33314                            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-079-288              6/26/2017                   5/2/2017               6/26/2020
 117319342 3530 Agricultural Center Dr, Saint Augustine, FL 32092     Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-076-349              6/26/2017                   5/3/2017               6/28/2020
 117620470 710-720 E Northwest Hwy, Mount Prospect, IL 60056          Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       5/5/2017 VA 2-077-192              6/26/2017                   5/5/2017               4/23/2021
 118089703 18092 FM 1314, Conroe, TX 77302                            Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2017 VA 2-076-578              6/26/2017                   5/8/2017               6/28/2020
 118189584 6381-6389 Sheridan St, Hollywood, FL 33024                 Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2017 VA 2-079-288              6/26/2017                   5/9/2017               6/30/2020
 118190279 6381-6389 Sheridan St, Hollywood, FL 33024                 Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2017 VA 2-079-288              6/26/2017                   5/9/2017                7/7/2020
 118229462 11730 Biscayne Blvd, Miami, FL 33181                       Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2017 VA 2-077-362              6/26/2017                   5/9/2017               6/30/2020
 118666497 385 Garrisonville Rd, Stafford, VA 22554                   Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/12/2017 VA 2-077-354              6/26/2017                  5/12/2017                7/1/2020
 118666538 385 Garrisonville Rd, Stafford, VA 22554                   Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/12/2017 VA 2-077-354              6/26/2017                  5/12/2017               6/29/2020
 118666594 385 Garrisonville Rd, Stafford, VA 22554                   Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/12/2017 VA 2-077-354              6/26/2017                  5/12/2017               6/28/2020
 118666646 385 Garrisonville Rd, Stafford, VA 22554                   Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/12/2017 VA 2-077-354              6/26/2017                  5/12/2017               7/14/2020
 115278075 3100 W Burbank Blvd, Burbank, CA 91505                     John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/20/2017 VA 2-077-216              6/26/2017                  4/20/2017               7/24/2020
 115278254 3100 W Burbank Blvd, Burbank, CA 91505                     John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/20/2017 VA 2-077-216              6/26/2017                  4/20/2017               7/24/2020
 117282077 10805 Artesia Blvd, Cerritos, CA 90703                     Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/4/2017 VA 2-079-292              6/26/2017                   5/4/2017               7/11/2020
 118218569 10551 S Harlem Ave, Chicago Ridge, IL 60415                Barbara Rudolf                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2017 VA 2-078-139              6/26/2017                   5/9/2017                8/8/2020
 113872107 651 Route 37 W, Toms River, NJ 08755                       Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/11/2017 VA 2-077-360              6/26/2017                  4/11/2017               6/30/2020
 115069418 286 Broome St, New York, NY 10002                          Victoria Iniguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/19/2017 VA 2-076-796              6/26/2017                  4/19/2017              10/11/2020

 115950338 3265-3277 Austin Peay Hwy, Memphis, TN 38128               Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/25/2017 VA 2-065-721             6/26/2017                  4/25/2017              10/27/2020
 117160231 28 W 36th St, New York, NY 10018                           Victoria Iniguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2017 VA 2-076-796             6/26/2017                   5/2/2017               7/12/2020
 117294299 430 E 138th St, Bronx, NY 10454                            Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        5/4/2017 VA 2-092-659             6/26/2017                   5/4/2017               7/11/2020
 118072774 2754 Darlington Rd, Beaver Falls, PA 15010                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        5/8/2017 VA 2-092-675             6/26/2017                   5/8/2017               7/12/2020
 118087884 792 Lexington Ave, New York, NY 10065                      Victoria Iniguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2017 VA 2-076-796             6/26/2017                   5/8/2017              10/17/2020
 118157923 6355 Jimmy Carter Blvd, Norcross, GA 30071                 Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/9/2017 VA 2-075-163             6/26/2017                   5/9/2017               7/31/2020
 118190249 753-755 E 134th St, Bronx, NY 10454                        Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        5/9/2017 VA 2-092-659             6/26/2017                   5/9/2017                7/9/2020
 118082324 1030 Center St, Columbus, GA 31901                         Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/8/2017 VA 2-076-828             6/26/2017                   5/8/2017               8/10/2020
 115072491 5420 N Academy Blvd, Colorado Springs, CO 80918            Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/19/2017 VA 2-076-761             6/26/2017                  4/19/2017               7/11/2020
 116192016 301 S Weber St, Colorado Springs, CO 80903                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2017 VA 2-076-761             6/26/2017                  4/26/2017               7/20/2020
 116532862 6160 Tutt Blvd, Colorado Springs, CO 80923                 Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/28/2017 VA 2-076-761             6/26/2017                  4/28/2017               8/11/2020
 117299558 1164 SE Century Dr, Lees Summit, MO 64081                  Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2017 VA 2-079-278             6/26/2017                   5/4/2017               7/20/2020

 118658289 3000 Business Park Cir, Goodlettsville, TN 37072           Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/12/2017 VA 2-078-409             6/26/2017                  5/12/2017                7/7/2020

 118658301 3000 Business Park Cir, Goodlettsville, TN 37072           Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/12/2017 VA 2-078-409             6/26/2017                  5/12/2017                7/4/2020
 113174739 2949 Mission St, San Francisco, CA 94110                   George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2017 VA 2-092-680             6/26/2017                   4/7/2017                7/5/2020
 113174775 2949 Mission St, San Francisco, CA 94110                   George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2017 VA 2-092-680             6/26/2017                   4/7/2017               7/12/2020
 118073712 600-640 Interchange Dr SW, Atlanta, GA 30336               Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2017 VA 2-077-046             6/26/2017                   5/8/2017               6/29/2020
 118661698 11315 Tamiami Trl E, Naples, FL 34113                      Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/12/2017 VA 2-077-361             6/26/2017                  5/12/2017               8/10/2020
 118661720 11315 Tamiami Trl E, Naples, FL 34113                      Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/12/2017 VA 2-077-361             6/26/2017                  5/12/2017               8/11/2020
 114645651 35150 W Michigan Ave, Wayne, MI 48184                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/17/2017 VA 2-076-793             6/26/2017                  4/17/2017               6/29/2020
 114663088 1515-1625 S Newburgh Rd, Westland, MI 48186                Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/17/2017 VA 2-076-793             6/26/2017                  4/17/2017               8/11/2020
 117098305 14916 Telegraph Rd, Flat Rock, MI 48134                    Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/2/2017 VA 2-076-793             6/26/2017                   5/2/2017               1/22/2021
 113665350 169 Lincoln St, Hingham, MA 02043                          Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/10/2017 VA 2-077-278             6/26/2017                  4/10/2017                7/3/2020
 113667682 696 Main St, Weymouth, MA 02190                            Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/10/2017 VA 2-077-278             6/26/2017                  4/10/2017               6/28/2020
 113668099 696 Main St, Weymouth, MA 02190                            Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/10/2017 VA 2-077-278             6/26/2017                  4/10/2017               6/26/2020
 114308465 1865 Carl D. Silver Pky, Fredericksburg, VA 22401          Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/14/2017 VA 2-092-653             6/26/2017                  4/14/2017                8/9/2020
 114678325 10504-10514 Wakeman Dr, Fredericksburg, VA 22407           Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/17/2017 VA 2-092-653             6/26/2017                  4/17/2017               7/11/2020
 116125473 9708 Ditmas Ave, Brooklyn, NY 11236                        Timothy Rousseau                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2017 VA 2-076-790             6/26/2017                  4/26/2017               7/13/2020
 118509348 14900 Bristol Park Blvd, Edmond, OK 73013                  Jana Carson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/11/2017 VA 2-079-428             6/26/2017                  5/11/2017                7/9/2020
 118511079 2529 S Kelly Ave, Edmond, OK 73013                         Jana Carson                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/11/2017 VA 2-079-428             6/26/2017                  5/11/2017                6/8/2021
 116291399 2175 Old Concord Rd, Smyrna, GA 30080                      Raegan Perkins                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2017 VA 2-077-355             6/26/2017                  4/27/2017               7/31/2020
 117596333 6523 Highway 85, Riverdale, GA 30274                       Raegan Perkins                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/5/2017 VA 2-077-355             6/26/2017                   5/5/2017               7/31/2020
 117597636 6714 Highway 85, Riverdale, GA 30274                       Raegan Perkins                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/5/2017 VA 2-077-355             6/26/2017                   5/5/2017               7/31/2020
 118486176 2220 Jonesboro Rd, Fairburn, GA 30213                      Raegan Perkins                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/11/2017 VA 2-077-355             6/26/2017                  5/11/2017                7/1/2020
 112489455 22740-22746 Shore Center Dr, Euclid, OH 44123              Kristin Locurto                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2017 VA 2-077-342             6/26/2017                   4/3/2017                5/1/2021
 112499145 707 Summer St, Stamford, CT 06901                          Alex Mongillo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2017 VA 2-078-282             6/26/2017                   4/3/2017               4/23/2021
 112499577 751-763 E 200th St, Euclid, OH 44119                       Kristin Locurto                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2017 VA 2-077-342             6/26/2017                   4/3/2017               6/19/2021
 112853657 649 W Germantown Pike, Plymouth Meeting, PA 19462          Ian Barnes                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2017 VA 2-078-266             6/26/2017                   4/5/2017               7/11/2020
 112863460 571 Worcester Rd, Framingham, MA 01701                     Gary Wilcox                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2017 VA 2-092-711             6/26/2017                   4/5/2017               6/29/2020
 112869829 8929 Spring Cypress Rd, Spring, TX 77379                   Anissa Yarbrough                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/5/2017 VA 2-078-413             6/26/2017                   4/5/2017               8/11/2020
 113905020 352 E Hood Ave, Sisters, OR 97759                          Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/11/2017 VA 2-077-260             6/26/2017                  4/11/2017               7/11/2020
 113905056 352 E Hood Ave, Sisters, OR 97759                          Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/11/2017 VA 2-077-260             6/26/2017                  4/11/2017               7/10/2020
 113905069 352 E Hood Ave, Sisters, OR 97759                          Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/11/2017 VA 2-077-260             6/26/2017                  4/11/2017               7/13/2020
 114045614 50 Old Kings Hwy N, Darien, CT 06820                       Alex Mongillo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/12/2017 VA 2-078-282             6/26/2017                  4/12/2017                8/8/2020
 114887574 749 W SR 436, Altamonte Springs, FL 32714                  Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/18/2017 VA 2-077-299             6/26/2017                  4/18/2017               8/12/2020
 115461633 61-83 Merrimack St, Lowell, MA 01852                       Spencer Crispino                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/21/2017 VA 2-076-760             6/26/2017                  4/21/2017               6/27/2020
 116163326 7307 Sandscove Ct, Winter Park, FL 32792                   Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/26/2017 VA 2-077-299             6/26/2017                  4/26/2017               7/11/2020
 116330507 1361-1391 SE Maynard Rd, Cary, NC 27511                    John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2017 VA 2-077-211             6/26/2017                  4/27/2017               7/11/2020
 116499076 2301-2309 Maple Ave, Los Angeles, CA 90011                 Kevin Reece                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/28/2017 VA 2-077-039             6/26/2017                  4/28/2017               6/27/2020




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 116837707 322-346 Cernon St, Vacaville, CA 95688              Evan Temchin                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/1/2017 VA 2-092-712              6/26/2017                   5/1/2017               7/12/2020
 117132360 1101 Aviation Pky, Morrisville, NC 27560            John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-077-211              6/26/2017                   5/2/2017               8/10/2020
 117231184 2671 Fairfield Ave, Bridgeport, CT 06605            Alex Mongillo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-078-282              6/26/2017                   5/3/2017               8/11/2020
 117231219 2671 Fairfield Ave, Bridgeport, CT 06605            Alex Mongillo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-078-282              6/26/2017                   5/3/2017                8/8/2020
 117232534 116 Court, Plymouth, MA 02360                       Spencer Crispino                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-076-760              6/26/2017                   5/3/2017                8/9/2020
 117232637 116 Court, Plymouth, MA 02360                       Spencer Crispino                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-076-760              6/26/2017                   5/3/2017                8/9/2020
 117245498 3976 Durock Rd, Cameron Park, CA 95682              Ilena Ramsey                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/3/2017 VA 2-076-832              6/26/2017                   5/3/2017               2/23/2021
 117613473 7424 ACC Blvd, Raleigh, NC 27617                    John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/5/2017 VA 2-077-211              6/26/2017                   5/5/2017               6/26/2020
 117613533 7424 ACC Blvd, Raleigh, NC 27617                    John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/5/2017 VA 2-077-211              6/26/2017                   5/5/2017               6/28/2020
 117613591 7424 ACC Blvd, Raleigh, NC 27617                    John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/5/2017 VA 2-077-211              6/26/2017                   5/5/2017               7/10/2020
 117613611 7424 ACC Blvd, Raleigh, NC 27617                    John Price                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/5/2017 VA 2-077-211              6/26/2017                   5/5/2017               6/28/2020
 118067626 824 Lake Baldwin Ln, Orlando, FL 32803              Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/8/2017 VA 2-077-299              6/26/2017                   5/8/2017               6/27/2020
 118067681 824 Lake Baldwin Ln, Orlando, FL 32803              Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/8/2017 VA 2-077-299              6/26/2017                   5/8/2017                7/5/2020
 118210622 211 Benigno Blvd, Bellmawr, NJ 08031                Ian Barnes                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2017 VA 2-078-266              6/26/2017                   5/9/2017                7/4/2020
 118475094 1016 W Church St, Orlando, FL 32805                 Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/11/2017 VA 2-077-299              6/26/2017                  5/11/2017               6/29/2020
 118475124 1016 W Church St, Orlando, FL 32805                 Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/11/2017 VA 2-077-299              6/26/2017                  5/11/2017                7/6/2020
 113621410 9900 SW 107th Ave, Miami, FL 33176                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/10/2017 VA 2-092-679              6/26/2017                  4/10/2017                2/6/2021
 113621453 9900 SW 107th Ave, Miami, FL 33176                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/10/2017 VA 2-092-679              6/26/2017                  4/10/2017                2/6/2021
 114850815 9001-9021 NW 105th Way, Miami, FL 33178             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/18/2017 VA 2-092-679              6/26/2017                  4/18/2017                7/2/2020
 114850825 9001-9021 NW 105th Way, Miami, FL 33178             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/18/2017 VA 2-092-679              6/26/2017                  4/18/2017               7/11/2020
 115853591 11400 NW 34th St, Doral, FL 33178                   Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/24/2017 VA 2-092-679              6/26/2017                  4/24/2017               6/29/2020
 115853651 11400 NW 34th St, Doral, FL 33178                   Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      4/24/2017 VA 2-092-679              6/26/2017                  4/24/2017                7/3/2020
 117229144 1345 NW 98th Ct, Doral, FL 33172                    Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/3/2017 VA 2-092-679              6/26/2017                   5/3/2017                7/8/2020
 117229655 1335 NW 98th Ct, Miami, FL 33172                    Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/3/2017 VA 2-092-679              6/26/2017                   5/3/2017               7/13/2020
 117570971 7801-7865 NW 46th St, Doral, FL 33166               Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/4/2017 VA 2-092-679              6/26/2017                   5/4/2017               6/28/2020
 117570972 7801-7865 NW 46th St, Doral, FL 33166               Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/4/2017 VA 2-092-679              6/26/2017                   5/4/2017                7/9/2020
 117570974 7801-7865 NW 46th St, Doral, FL 33166               Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/4/2017 VA 2-092-679              6/26/2017                   5/4/2017               6/29/2020
 117612583 8236-8290 NW 14th St, Doral, FL 33126               Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       5/5/2017 VA 2-092-679              6/26/2017                   5/5/2017                7/6/2020
 118081804 454 FM 664, Ferris, TX 75125                        Melissa Hood                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2017 VA 2-081-347              6/26/2017                   5/8/2017                7/8/2020
 119003300 2045-2051 W Walnut Hill Ln, Irving, TX 75038        Melissa Hood                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/15/2017 VA 2-081-347              6/26/2017                  5/15/2017               7/16/2020
 112588628 43 E Main St, Smithtown, NY 11787                   Dagny Gallo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2017 VA 2-075-165              6/26/2017                   4/4/2017               6/30/2020
 112881486 7192 Kalanianaole Hwy, Honolulu, HI 96825           Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/5/2017 VA 2-077-368              6/26/2017                   4/5/2017                7/2/2020
 115883747 4-1624 Kuhio Hwy, Kapaa, HI 96746                   Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/24/2017 VA 2-077-368              6/26/2017                  4/24/2017               6/30/2020
 115964802 7400-7440 NW River Park Dr, Parkville, MO 64152     Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      4/25/2017 VA 2-078-445              6/26/2017                  4/25/2017                7/1/2020
 116367825 4334 Rice St, Lihue, HI 96766                       Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/27/2017 VA 2-077-368              6/26/2017                  4/27/2017               6/21/2021
 117163123 1188 Bishop St, Honolulu, HI 96813                  Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-077-368              6/26/2017                   5/2/2017                7/8/2020
 114670408 3464 Naamans Rd, Wilmington, DE 19810               Bill Marrs                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2017 VA 2-078-147              6/26/2017                  4/17/2017                8/9/2020
 113227720 3850 E Thunderbird Rd, Phoenix, AZ 85032            Maya James                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/7/2017 VA 2-076-350              6/26/2017                   4/7/2017                7/2/2020
 113695375 1749 E McDowell Rd, Phoenix, AZ 85006               Maya James                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/10/2017 VA 2-076-350              6/26/2017                  4/10/2017                7/2/2020
 113775292 500 Jericho Tpke, Mineola, NY 11501                 Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/10/2017 VA 2-077-286              6/26/2017                  4/10/2017               5/19/2021
 113775834 172-174 Herricks Rd, Mineola, NY 11501              Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/10/2017 VA 2-077-286              6/26/2017                  4/10/2017                7/9/2021
 114299371 101 Nassau Terminal Rd, New Hyde Park, NY 11040     Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/14/2017 VA 2-077-286              6/26/2017                  4/14/2017               7/13/2020
 114896016 87 Bethpage Rd, Hicksville, NY 11801                Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/18/2017 VA 2-077-286              6/26/2017                  4/18/2017               6/17/2021
 115862171 800-820 Shames Dr, Westbury, NY 11590               Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/24/2017 VA 2-077-286              6/26/2017                  4/24/2017               7/10/2020
 115862248 800-820 Shames Dr, Westbury, NY 11590               Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      4/24/2017 VA 2-077-286              6/26/2017                  4/24/2017                7/1/2020
 117163195 975 W Chandler Blvd, Chandler, AZ 85225             Maya James                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/2/2017 VA 2-076-350              6/26/2017                   5/2/2017                7/9/2020
 112634626 587-621 Hungerford Dr, Rockville, MD 20850          Anna Northrup                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/4/2017 VA 2-078-432              6/26/2017                   4/4/2017                2/2/2021
 116204349 12620 Westminster Ave, Garden Grove, CA 92843       Luis Cano                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/26/2017 VA 2-079-435              6/26/2017                  4/26/2017                4/2/2021
 119107220 5241 E Santa Ana Canyon Rd, Anaheim, CA 92807       Luis Cano                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/15/2017 VA 2-079-435              6/26/2017                  5/15/2017                7/7/2020
 113201457 6178 Oxon Hill Rd, Oxon Hill, MD 20745              DanielleFlynn                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/7/2017 VA 2-079-427              6/26/2017                   4/7/2017               9/14/2020
 112510160 44300 Monterey Ave, Palm Desert, CA 92260           Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/3/2017 VA 2-077-463              6/27/2017                   4/3/2017               1/13/2021
 112877235 77711 Flora Rd, Palm Desert, CA 92211               Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/5/2017 VA 2-077-463              6/27/2017                   4/5/2017               6/28/2020
 117603759 100 Greystone Blvd, Columbia, SC 29210              Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/5/2017 VA 2-077-858              6/28/2017                   5/5/2017              11/21/2020
 118075130 501 Broad St, Augusta, GA 30901                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2017 VA 2-077-858              6/28/2017                   5/8/2017               6/28/2020
 118075195 501 Broad St, Augusta, GA 30901                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2017 VA 2-077-858              6/28/2017                   5/8/2017                7/7/2020
 118075220 501 Broad St, Augusta, GA 30901                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/8/2017 VA 2-077-858              6/28/2017                   5/8/2017               6/29/2020

 118484501 807 S Laurel St, Springfield, GA 31329              Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/11/2017 VA 2-077-508             6/28/2017                  5/11/2017               6/27/2020
 107457827 4455 Pines Rd, Shreveport, LA 71119                 Myreon Coleman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/1/2017 VA 2-077-848             6/28/2017                   3/1/2017               6/29/2020
 113197138 335 W Pike St, Lawrenceville, GA 30046              Roslyn Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/7/2017 VA 2-077-853             6/28/2017                   4/7/2017               6/27/2020
 117378441 6655 S Kyrene Rd, Phoenix, AZ 85283                 Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2017 VA 2-077-836             6/28/2017                   5/4/2017                7/7/2020
 118499271 168-01 Jamaica Ave, Jamaica, NY 11432               Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/11/2017 VA 2-077-827             6/28/2017                  5/11/2017               7/13/2020
 118499296 168-01 Jamaica Ave, Jamaica, NY 11432               Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/11/2017 VA 2-077-827             6/28/2017                  5/11/2017               7/13/2020
 118499308 168-01 Jamaica Ave, Jamaica, NY 11432               Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/11/2017 VA 2-077-827             6/28/2017                  5/11/2017               7/13/2020
 118499679 168-01 Jamaica Ave, Jamaica, NY 11432               Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/11/2017 VA 2-077-827             6/28/2017                  5/11/2017               7/13/2020
 117166193 1410 Incarnation Dr, Charlottesville, VA 22901      Phyllis Langley                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2017 VA 2-077-840             6/28/2017                   5/2/2017               6/29/2020

 125080666 1559 Folly Rd, Charleston, SC 29412                 Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/28/2017 VA 2-076-516             8/11/2017                  6/28/2017               7/12/2020
 124539385 155-161 N Seymour Ave, Mundelein, IL 60060          Benjamin Gonzales                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/27/2017 VA 2-076-003             8/11/2017                  6/27/2017               7/12/2020
 124458006 747 Yorkway Pl, Jenkintown, PA 19046                Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2017 VA 2-074-695             8/11/2017                  6/26/2017                7/5/2020
 124458012 747 Yorkway Pl, Jenkintown, PA 19046                Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2017 VA 2-074-695             8/11/2017                  6/26/2017                7/4/2020
 119190215 700-702 S Vermont St, Palatine, IL 60067            Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/16/2017 VA 2-075-453             8/11/2017                  5/16/2017                7/2/2020
 119192331 700-702 S Vermont St, Palatine, IL 60067            Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/16/2017 VA 2-075-453             8/11/2017                  5/16/2017               6/28/2020
 119672576 N Friant Rd, Fresno, CA 93720                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/19/2017 VA 2-076-307             8/11/2017                  5/19/2017               6/28/2020
 120026189 211 Quaker Ln, West Warwick, RI 02893               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/22/2017 VA 2-075-452             8/11/2017                  5/22/2017               7/30/2020
 120421547 1610 S 341st Pl, Federal Way, WA 98003              Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/25/2017 VA 2-074-682             8/11/2017                  5/25/2017              12/13/2020
 121428969 3955 Mogadore Rd, Mogadore, OH 44260                Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2017 VA 2-074-817             8/11/2017                   6/2/2017               6/30/2020
 121428992 3955 Mogadore Rd, Mogadore, OH 44260                Linda Cook                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2017 VA 2-074-817             8/11/2017                   6/2/2017               6/28/2020
 121466196 3320 Grand Ave, Oakland, CA 94610                   Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        6/2/2017 VA 2-076-322             8/11/2017                   6/2/2017                7/7/2020
 122134576 646 Boswell Ave, Norwich, CT 06360                  Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/7/2017 VA 2-075-968             8/11/2017                   6/7/2017                7/8/2020




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 122152070 7916 Evolutions Way, New Port Richey, FL 34655        James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/7/2017 VA 2-076-317              8/11/2017                   6/7/2017               6/30/2020
 123925872 1325 N Church St, Burlington, NC 27217                Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/21/2017 VA 2-076-086              8/11/2017                  6/21/2017               6/30/2020
 124078999 1621 Bridgeway, Sausalito, CA 94965                   Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/22/2017 VA 2-117-038              8/11/2017                  6/22/2017               1/27/2021
 124569012 14522 Landstar Blvd, Orlando, FL 32824                Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/27/2017 VA 2-075-533              8/11/2017                  6/27/2017               7/13/2020
 124569035 14522 Landstar Blvd, Orlando, FL 32824                Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/27/2017 VA 2-075-533              8/11/2017                  6/27/2017               7/11/2020
 124569859 3201 N Federal Hwy, Oakland Park, FL 33306            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/27/2017 VA 2-076-083              8/11/2017                  6/27/2017               6/30/2020
 125328546 201 N State Road 7, Margate, FL 33063                 Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2017 VA 2-076-083              8/11/2017                  6/29/2017               4/17/2021
 125370830 706-710 NW 25th St, Miami, FL 33127                   Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2017 VA 2-075-957              8/11/2017                  6/29/2017               1/27/2021
 125383114 2660 Alternate 19 N, Palm Harbor, FL 34683            Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2017 VA 2-075-983              8/11/2017                  6/29/2017                7/4/2020
 119672337 28895 Greenspot Rd, Highland, CA 92346                Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/19/2017 VA 2-075-445              8/11/2017                  5/19/2017                8/9/2020
 119672360 28895 Greenspot Rd, Highland, CA 92346                Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/19/2017 VA 2-075-445              8/11/2017                  5/19/2017               8/11/2020
 120991895 9586 Distribution Ave, San Diego, CA 92121            Joerg Boetel                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/30/2017 VA 2-075-838              8/11/2017                  5/30/2017               8/12/2020
 119364533 34-44 W 31st St, New York, NY 10001                   Victoria Iniguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/17/2017 VA 2-074-720              8/11/2017                  5/17/2017               6/30/2020
 119641413 1455 Oakbrook Dr, Norcross, GA 30093                  Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/19/2017 VA 2-076-001              8/11/2017                  5/19/2017                8/8/2020
 119641717 5730 Oakbrook Pky, Norcross, GA 30093                 Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/19/2017 VA 2-076-001              8/11/2017                  5/19/2017               8/11/2020
 119654564 1355 Reynolds St, Augusta, GA 30901                   Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/19/2017 VA 2-078-338              8/11/2017                  5/19/2017                7/3/2020
 120036289 2108 Rocky Ridge Rd, Birmingham, AL 35216             Laurie Goodwin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/22/2017 VA 2-074-698              8/11/2017                  5/22/2017               8/12/2020
 120278385 2078 Beaver Ruin Rd, Norcross, GA 30071               Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/24/2017 VA 2-076-001              8/11/2017                  5/24/2017               7/31/2020
 123141000 1010 Main St, Paterson, NJ 07503                      John Georgiadis                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/15/2017 VA 2-078-335              8/11/2017                  6/15/2017               7/13/2020
 123773760 3913 Provost Ave, Bronx, NY 10466                     Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/20/2017 VA 2-075-959              8/11/2017                  6/20/2017              10/12/2020
 123776051 17768 Rosman Hwy, Sapphire, NC 28774                  William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/20/2017 VA 2-074-722              8/11/2017                  6/20/2017               6/30/2020
 123776060 17768 Rosman Hwy, Sapphire, NC 28774                  William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/20/2017 VA 2-074-722              8/11/2017                  6/20/2017                7/1/2020
 123776075 17768 Rosman Hwy, Sapphire, NC 28774                  William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/20/2017 VA 2-074-722              8/11/2017                  6/20/2017               7/12/2020

 123798143 100 Vann Dr, Jackson, TN 38305                        Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/20/2017 VA 2-074-836             8/11/2017                  6/20/2017               7/12/2020

 123798166 100 Vann Dr, Jackson, TN 38305                        Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/20/2017 VA 2-074-836             8/11/2017                  6/20/2017                7/5/2020

 123798184 100 Vann Dr, Jackson, TN 38305                        Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/20/2017 VA 2-074-836             8/11/2017                  6/20/2017                7/2/2020
 124211338 3618 Old Petersburg Rd, Augusta, GA 30907             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/23/2017 VA 2-078-338             8/11/2017                  6/23/2017                7/1/2020
 124211359 3618 Old Petersburg Rd, Augusta, GA 30907             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/23/2017 VA 2-078-338             8/11/2017                  6/23/2017                7/4/2020
 124211373 3618 Old Petersburg Rd, Augusta, GA 30907             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/23/2017 VA 2-078-338             8/11/2017                  6/23/2017                7/2/2020
 124211465 3618 Old Petersburg Rd, Augusta, GA 30907             Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/23/2017 VA 2-078-338             8/11/2017                  6/23/2017               7/11/2020

 124578856 6255 Winchester Rd, Memphis, TN 38115                 Mary Drost                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/27/2017 VA 2-074-836             8/11/2017                  6/27/2017                7/5/2020
 124079630 1065 Universal Blvd, Whitewater, WI 53190             Timothy Dabbs                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/22/2017 VA 2-074-708             8/11/2017                  6/22/2017               7/12/2020
 124079635 1065 Universal Blvd, Whitewater, WI 53190             Timothy Dabbs                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/22/2017 VA 2-074-708             8/11/2017                  6/22/2017                7/6/2020

 121779342 3214 Prospect Ave E, Cleveland, OH 44115              Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        6/5/2017 VA 2-075-429             8/11/2017                   6/5/2017               7/22/2020
 122301851 11951 E Iliff Ave, Aurora, CO 80014                   Jason Tuomey                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        6/8/2017 VA 2-078-332             8/11/2017                   6/8/2017                7/4/2020
 124037251 717 Locust St, Des Moines, IA 50309                   Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/22/2017 VA 2-075-964             8/11/2017                  6/22/2017                7/5/2020
 124559483 2104 N Yellowood Ave, Broken Arrow, OK 74012          Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/27/2017 VA 2-074-729             8/11/2017                  6/27/2017                7/7/2020
 120982777 42225 Remington Ave, Temecula, CA 92590               Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/30/2017 VA 2-074-731             8/11/2017                  5/30/2017               7/11/2020
 125085413 201 N Indian Canyon Dr, Palm Springs, CA 92262        Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/28/2017 VA 2-074-731             8/11/2017                  6/28/2017               7/11/2020
 120983591 700-706 N Country Club Rd, Tucson, AZ 85716           Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/30/2017 VA 2-075-469             8/11/2017                  5/30/2017                8/9/2020
 121111003 3575 Victory Group Way, Frisco, TX 75034              Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/31/2017 VA 2-075-472             8/11/2017                  5/31/2017               8/10/2020
 122155451 600 S Oklahoma Dr, Celina, TX 75009                   Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/7/2017 VA 2-075-472             8/11/2017                   6/7/2017               7/10/2020
 122155481 600 S Oklahoma Dr, Celina, TX 75009                   Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/7/2017 VA 2-075-472             8/11/2017                   6/7/2017                7/5/2020

 122416470 513-525 Clancy Ave NE, Grand Rapids, MI 49503         Tyler Bolduc                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        6/9/2017 VA 2-074-719             8/11/2017                   6/9/2017                7/8/2020
 123354405 936-938 S Amphlett Blvd, San Mateo, CA 94402          George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/16/2017 VA 2-076-203             8/11/2017                  6/16/2017               1/13/2021
 123785208 935 Ogden Ave, Downers Grove, IL 60515                Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/20/2017 VA 2-075-581             8/11/2017                  6/20/2017                7/3/2020
 124075963 5221 Main St, Downers Grove, IL 60515                 Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/22/2017 VA 2-075-581             8/11/2017                  6/22/2017                7/4/2020
 124094456 1098 San Mateo Ave, South San Francisco, CA 94066     George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2017 VA 2-076-203             8/11/2017                  6/22/2017                7/1/2020
 125085741 19150 S Kedzie Ave, Flossmoor, IL 60422               Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/28/2017 VA 2-075-581             8/11/2017                  6/28/2017               7/11/2020
 119650340 14605-14709 Northline Rd, Southgate, MI 48195         Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/19/2017 VA 2-074-718             8/11/2017                  5/19/2017               7/24/2020
 119650381 14605-14709 Northline Rd, Southgate, MI 48195         Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/19/2017 VA 2-074-718             8/11/2017                  5/19/2017               7/24/2020
 119650386 14605-14709 Northline Rd, Southgate, MI 48195         Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/19/2017 VA 2-074-718             8/11/2017                  5/19/2017               7/24/2020

 125080821 1559 Folly Rd, Charleston, SC 29412                   Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/28/2017 VA 2-076-516             8/11/2017                  6/28/2017               7/11/2020
 124564420 18321 Ventura Blvd, Tarzana, CA 91356                 Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/27/2017 VA 2-076-094             8/11/2017                  6/27/2017              12/13/2020
 120300843 1700 Huguenot Rd, Midlothian, VA 23113                Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/24/2017 VA 2-075-969             8/11/2017                  5/24/2017                7/6/2020
 120302337 1901 Huguenot Rd, Richmond, VA 23235                  Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/24/2017 VA 2-075-969             8/11/2017                  5/24/2017                7/9/2020
 124542405 3870 Longview Dr, Douglasville, GA 30135              Raegan Perkins                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/27/2017 VA 2-075-954             8/11/2017                  6/27/2017                7/5/2020
 125349435 6588 Church St, Douglasville, GA 30134                Raegan Perkins                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/29/2017 VA 2-075-954             8/11/2017                  6/29/2017                7/7/2020
 120438132 4200 Colley Ave, Norfolk, VA 23508                    Kayla Glavin                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/25/2017 VA 2-075-461             8/11/2017                  5/25/2017               7/12/2020
 123802399 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/12/2020
 123802474 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/10/2020
 123802479 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/12/2020
 123802530 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/12/2020
 123802568 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/12/2020
 123802611 225 Keightly Dr, Little Rock, AR 72207                Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2017 VA 2-074-724             8/11/2017                  6/20/2017               8/12/2020
 119174499 115 Technology Dr, Trumbull, CT 06611                 Alex Mongillo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2017 VA 2-076-318             8/11/2017                  5/16/2017                7/5/2020
 119188744 2900 Chamblee Tucker Rd, Chamblee, GA 30341           Roslyn Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2017 VA 2-075-575             8/11/2017                  5/16/2017               6/27/2020
 119188872 2900 Chamblee Tucker Rd, Chamblee, GA 30341           Roslyn Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2017 VA 2-075-575             8/11/2017                  5/16/2017                7/7/2020
 119359268 10080 E 121st St, Fishers, IN 46037                   Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/17/2017 VA 2-076-215             8/11/2017                  5/17/2017                7/4/2021
 119555545 10 Roberts Ln, Ridgefield, CT 06877                   Alex Mongillo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/18/2017 VA 2-076-318             8/11/2017                  5/18/2017               1/18/2021
 119563092 2615 Three Oaks Rd, Cary, IL 60013                    Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/18/2017 VA 2-075-965             8/11/2017                  5/18/2017                2/6/2021
 119578604 1117-1123 Patricia Dr, San Antonio, TX 78213          Sara Hendrix                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/18/2017 VA 2-075-540             8/11/2017                  5/18/2017               7/12/2020
 120044840 112 Virginia Rd, Crystal Lake, IL 60014               Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/22/2017 VA 2-075-965             8/11/2017                  5/22/2017              10/24/2020




                         OUTSIDE COUNSEL ONLY                                                                                                               109
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                     Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address         Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 120161447 300 Sunset Ave, Rocky Mount, NC 27804                   John Price                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/23/2017 VA 2-075-580              8/11/2017                  5/23/2017                7/8/2020
 120163416 205 Worcester Ct, Falmouth, MA 02540                    Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/23/2017 VA 2-074-751              8/11/2017                  5/23/2017               6/27/2020
 120173276 200 Robert Curry Dr, Martinsville, IN 46151             Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/23/2017 VA 2-076-215              8/11/2017                  5/23/2017                7/5/2020
 120290188 800 Falmouth Rd, Mashpee, MA 02649                      Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/24/2017 VA 2-074-751              8/11/2017                  5/24/2017               7/10/2020
 120290254 800 Falmouth Rd, Mashpee, MA 02649                      Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/24/2017 VA 2-074-751              8/11/2017                  5/24/2017               6/26/2020
 120290466 800 Falmouth Rd, Mashpee, MA 02649                      Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/24/2017 VA 2-074-751              8/11/2017                  5/24/2017               7/12/2020
 120297571 3801 Computer Dr, Raleigh, NC 27609                     John Price                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/24/2017 VA 2-075-580              8/11/2017                  5/24/2017                7/2/2020
 120593238 18011 Newhope St, Fountain Valley, CA 92708             Michael Rutt                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      5/24/2017 VA 2-074-693              8/11/2017                  5/24/2017               1/23/2021
 120964865 4320 Long Beach Ave, Los Angeles, CA 90058              Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-074-829              8/11/2017                  5/30/2017              10/14/2020
 121146552 14250-14266 SW 119th Ave, Miami, FL 33186               Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2017 VA 2-076-180              8/11/2017                  5/31/2017               7/11/2020
 121146558 14250-14266 SW 119th Ave, Miami, FL 33186               Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2017 VA 2-076-180              8/11/2017                  5/31/2017                7/1/2020
 121146590 14250-14266 SW 119th Ave, Miami, FL 33186               Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2017 VA 2-076-180              8/11/2017                  5/31/2017                7/4/2020
 121293110 731 E High St, Springfield, OH 45505                    Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/1/2017 VA 2-075-618              8/11/2017                   6/1/2017               8/12/2020
 121933983 4565 Daisy Reid Ave, Woodbridge, VA 22192               Nikolai Roster                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/6/2017 VA 2-074-701              8/11/2017                   6/6/2017               6/25/2020
 121934074 4565 Daisy Reid Ave, Woodbridge, VA 22192               Nikolai Roster                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/6/2017 VA 2-074-701              8/11/2017                   6/6/2017               7/12/2020
 122137675 101 S El Camino Real, San Clemente, CA 92672            Michael Rutt                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/7/2017 VA 2-074-693              8/11/2017                   6/7/2017               8/12/2020
 122300894 1604 S Horner Blvd, Sanford, NC 27330                   John Price                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/8/2017 VA 2-075-580              8/11/2017                   6/8/2017               6/29/2020
 122809154 3435-3535 S Broadway, Los Angeles, CA 90007             Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/12/2017 VA 2-074-829              8/11/2017                  6/12/2017              11/21/2020
 122898002 4314 W Slauson Ave, Los Angeles, CA 90043               Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/13/2017 VA 2-075-462              8/11/2017                  6/13/2017               7/17/2021
 123029452 52-56 S 9th St, Noblesville, IN 46060                   Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/14/2017 VA 2-076-215              8/11/2017                  6/14/2017                6/2/2021
 123921091 15900 W Colonial Dr, Oakland, FL 34787                  Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      6/21/2017 VA 2-076-208              8/11/2017                  6/21/2017               6/30/2020
 123937854 1431-1449 Liberty St, Salem, OR 97302                   Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/21/2017 VA 2-076-222              8/11/2017                  6/21/2017                7/4/2020
 124089163 360-404 W National Rd, Englewood, OH 45322              Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      6/22/2017 VA 2-075-618              8/11/2017                  6/22/2017                7/4/2020
 124089205 360-404 W National Rd, Englewood, OH 45322              Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      6/22/2017 VA 2-075-618              8/11/2017                  6/22/2017               7/12/2020
 124089213 360-404 W National Rd, Englewood, OH 45322              Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      6/22/2017 VA 2-075-618              8/11/2017                  6/22/2017               7/10/2020
 124094160 489-493 Bernardston Rd, Greenfield, MA 01301            Gary Wilcox                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/22/2017 VA 2-076-179              8/11/2017                  6/22/2017              11/26/2020
 124558785 59-65 N Dixie Dr, Vandalia, OH 45377                    Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      6/27/2017 VA 2-075-618              8/11/2017                  6/27/2017               7/13/2020
 124577402 337-341 Somerville Ave, Somerville, MA 02143            Gary Wilcox                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/27/2017 VA 2-076-179              8/11/2017                  6/27/2017                7/4/2020
 125133262 13590 N Meridian St, Carmel, IN 46032                   Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-215              8/11/2017                  6/28/2017               7/10/2020
 125357030 5000 E Lancaster Ave, Fort Worth, TX 76103              Ethan Healy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/29/2017 VA 2-075-971              8/11/2017                  6/29/2017                7/4/2020
 125357075 5000 E Lancaster Ave, Fort Worth, TX 76103              Ethan Healy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/29/2017 VA 2-075-971              8/11/2017                  6/29/2017                7/1/2020
 125515534 310-320 E Johnson Hwy, Norristown, PA 19401             Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/30/2017 VA 2-076-518              8/11/2017                  6/30/2017               7/13/2020
 131322051 45 S Park Blvd, Glen Ellyn, IL 60137                    Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/8/2017 VA 2-074-990              8/11/2017                   8/8/2017               7/12/2020
 121220762 7448-7498 NW 54th St, Miami, FL 33166                   Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/31/2017 VA 2-075-577              8/11/2017                  5/31/2017               8/12/2020
 121220914 7448-7498 NW 54th St, Miami, FL 33166                   Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/31/2017 VA 2-075-577              8/11/2017                  5/31/2017               8/10/2020
 121376343 4600-4636 NW 74th Ave, Miami, FL 33166                  Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/1/2017 VA 2-075-577              8/11/2017                   6/1/2017                7/8/2020
 120168505 3029 East Meadows Blvd, Mesquite, TX 75150              Melissa Hood                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/23/2017 VA 2-074-687              8/11/2017                  5/23/2017                7/6/2020
 123653061 3696 Teasley Ln, Denton, TX 76210                       Melissa Hood                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/19/2017 VA 2-074-687              8/11/2017                  6/19/2017                7/8/2020
 125336010 10 Pearl St, Port Chester, NY 10573                     Perez Folds                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      6/29/2017 VA 2-075-451              8/11/2017                  6/29/2017                7/1/2020
 125336047 10 Pearl St, Port Chester, NY 10573                     Perez Folds                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      6/29/2017 VA 2-075-451              8/11/2017                  6/29/2017               7/13/2020
 119657133 1900 Ocean Ave, Ronkonkoma, NY 11779                    Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/19/2017 VA 2-075-986              8/11/2017                  5/19/2017               6/30/2020
 119657143 1900 Ocean Ave, Ronkonkoma, NY 11779                    Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/19/2017 VA 2-075-986              8/11/2017                  5/19/2017               7/13/2020
 120989181 1432 Montauk Hwy, East Patchogue, NY 11772              Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-075-986              8/11/2017                  5/30/2017               7/10/2020
 120989202 1432 Montauk Hwy, East Patchogue, NY 11772              Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-075-986              8/11/2017                  5/30/2017                7/6/2020
 120597349 1019 Waimanu St, Honolulu, HI 96814                     Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/26/2017 VA 2-075-471              8/11/2017                  5/26/2017                7/4/2020
 120597353 1019 Waimanu St, Honolulu, HI 96814                     Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/26/2017 VA 2-075-471              8/11/2017                  5/26/2017                7/8/2020
 120597355 1019 Waimanu St, Honolulu, HI 96814                     Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/26/2017 VA 2-075-471              8/11/2017                  5/26/2017               7/12/2020
 123782704 1300-1322 Adams St, Kansas City, KS 66103               Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      6/20/2017 VA 2-076-010              8/11/2017                  6/20/2017               10/3/2020
 123783453 322 Southwest Blvd, Kansas City, MO 64108               Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      6/20/2017 VA 2-076-010              8/11/2017                  6/20/2017                8/9/2020
 124216905 6405 N Cosby Ave, Kansas City, MO 64151                 Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      6/23/2017 VA 2-076-010              8/11/2017                  6/23/2017               2/16/2021
 125349638 5800-5812 Johnson Dr, Mission, KS 66202                 Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      6/29/2017 VA 2-076-010              8/11/2017                  6/29/2017               1/22/2021
 120593994 3246-3250 Mckinley Dr, Santa Clara, CA 95051            David McClure                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/26/2017 VA 2-075-849              8/11/2017                  5/26/2017                8/9/2020
 121130566 21305 Berlin Rd, Georgetown, DE 19947                   Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/31/2017 VA 2-075-449              8/11/2017                  5/31/2017               8/12/2020
 125527542 440-460 Copper Dr, Wilmington, DE 19804                 Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/30/2017 VA 2-075-449              8/11/2017                  6/30/2017                7/4/2020
 125527697 440-460 Copper Dr, Wilmington, DE 19804                 Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      6/30/2017 VA 2-075-449              8/11/2017                  6/30/2017               7/12/2020
 119513224 1042-1052 W Beech St, East Atlantic Beach, NY 11561     Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      5/18/2017 VA 2-076-212              8/11/2017                  5/18/2017                7/7/2020
 122468063 1507 Ritchie Hwy, Arnold, MD 21012                      Phyllis Langley                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/9/2017 VA 2-075-949              8/11/2017                   6/9/2017               7/11/2020
 122468074 1507 Ritchie Hwy, Arnold, MD 21012                      Phyllis Langley                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/9/2017 VA 2-075-949              8/11/2017                   6/9/2017               7/11/2020
 119136675 3215 Steck Ave, Austin, TX 78757                        Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/16/2017 VA 2-076-072              8/11/2017                  5/16/2017                7/8/2020
 119136708 3215 Steck Ave, Austin, TX 78757                        Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/16/2017 VA 2-076-072              8/11/2017                  5/16/2017                7/6/2020
 121004029 6836 Bee Caves Rd, Austin, TX 78746                     Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-076-072              8/11/2017                  5/30/2017               6/30/2020
 121090283 12225 Bee Caves Rd, Bee Cave, TX 78738                  Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/31/2017 VA 2-076-072              8/11/2017                  5/31/2017               6/27/2020
 121090286 3300 Olney Sandy Spring Rd, Olney, MD 20832             Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-076-008              8/11/2017                  5/30/2017               6/27/2020
 121091493 2923-2939 Olney Sandy Spring Rd, Olney, MD 20832        Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-076-008              8/11/2017                  5/30/2017               8/11/2020
 121091853 2923-2939 Olney Sandy Spring Rd, Olney, MD 20832        Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-076-008              8/11/2017                  5/30/2017                8/9/2020
 121092032 2907-2921 Olney Sandy Spring Rd, Olney, MD 20832        Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/30/2017 VA 2-076-008              8/11/2017                  5/30/2017               7/20/2020
 121284426 11245 Old 2243 W, Leander, TX 78641                     Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/1/2017 VA 2-076-072              8/11/2017                   6/1/2017                7/6/2020
 122784697 500 N Washington St, Alexandria, VA 22314               Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/9/2017 VA 2-076-008              8/11/2017                   6/9/2017                8/5/2020
 125086776 2111 Ranch Road 620 N, Austin, TX 78734                 Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-072              8/11/2017                  6/28/2017                7/1/2020
 125086795 2111 Ranch Road 620 N, Austin, TX 78734                 Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-072              8/11/2017                  6/28/2017                7/3/2020
 125086822 2111 Ranch Road 620 N, Austin, TX 78734                 Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-072              8/11/2017                  6/28/2017                7/5/2020
 125086834 2111 Ranch Road 620 N, Austin, TX 78734                 Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-072              8/11/2017                  6/28/2017               6/30/2020
 125086845 2111 Ranch Road 620 N, Austin, TX 78734                 Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/28/2017 VA 2-076-072              8/11/2017                  6/28/2017                7/4/2020
 124567270 3245 E Patrick Ln, Las Vegas, NV 89120                  Timothy Black                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/27/2017 VA 2-074-707              8/11/2017                  6/27/2017               8/11/2020
 122454668 2665 30th St, Santa Monica, CA 90405                    John Allen                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/9/2017 VA 2-076-224              8/11/2017                   6/9/2017               7/10/2020
 123032519 1460 7th St, Santa Monica, CA 90401                     John Allen                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/14/2017 VA 2-076-224              8/11/2017                  6/14/2017               2/12/2021
 123115484 1520-1528 Cloverfield Blvd, Santa Monica, CA 90404      John Allen                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      6/15/2017 VA 2-076-224              8/11/2017                  6/15/2017                4/8/2021
 126214001 3 Saredon Pl, Rochester, NY 14606                       Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/6/2017 VA 2-075-402              9/19/2017                   7/6/2017               7/31/2020
 127883110 99 Manor Ave, Downingtown, PA 19335                     Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/17/2017 VA 2-077-514              9/19/2017                  7/17/2017                7/7/2020
 126064068 55 Eagle Rock Ave, East Hanover, NJ 07936               Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       7/5/2017 VA 2-077-378              9/19/2017                   7/5/2017               7/11/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                110
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 126064094 55 Eagle Rock Ave, East Hanover, NJ 07936                 Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       7/5/2017 VA 2-077-378              9/19/2017                   7/5/2017                7/1/2020
 126944098 389 Dover Chester Rd, Randolph, NJ 07869                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/11/2017 VA 2-077-378              9/19/2017                  7/11/2017               7/13/2020
 126944121 389 Dover Chester Rd, Randolph, NJ 07869                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/11/2017 VA 2-077-378              9/19/2017                  7/11/2017               6/30/2020
 126213969 3 Saredon Pl, Rochester, NY 14606                         Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/6/2017 VA 2-075-402              9/19/2017                   7/6/2017               7/31/2020
 126392794 2000 Wells Rd, Orange Park, FL 32073                      Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/7/2017 VA 2-076-798              9/19/2017                   7/7/2017               5/10/2020
 126392811 2000 Wells Rd, Orange Park, FL 32073                      Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/7/2017 VA 2-076-798              9/19/2017                   7/7/2017               5/10/2020
 126393390 2045 Professional Center Dr, Orange Park, FL 32073        Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/7/2017 VA 2-076-798              9/19/2017                   7/7/2017               8/11/2020
 127159035 16615 Redmond Way, Redmond, WA 98052                      Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2017 VA 2-076-890              9/19/2017                  7/12/2017                7/4/2020
 127159112 16615 Redmond Way, Redmond, WA 98052                      Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2017 VA 2-076-890              9/19/2017                  7/12/2017                7/5/2020
 127159122 16615 Redmond Way, Redmond, WA 98052                      Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2017 VA 2-076-890              9/19/2017                  7/12/2017               7/10/2020
 127159130 16615 Redmond Way, Redmond, WA 98052                      Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/12/2017 VA 2-076-890              9/19/2017                  7/12/2017               7/11/2020
 127447060 1857 White Mountain Hwy, North Conway, NH 03860           Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/14/2017 VA 2-074-515              9/19/2017                  7/14/2017              10/12/2020
 127474714 90 Broadway, Menands, NY 12204                            Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/14/2017 VA 2-077-520              9/19/2017                  7/14/2017                7/7/2020
 127474741 90 Broadway, Menands, NY 12204                            Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/14/2017 VA 2-077-520              9/19/2017                  7/14/2017               7/12/2020
 127783926 2061-2075 NE 163rd St, North Miami Beach, FL 33162        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/14/2017 VA 2-074-555              9/19/2017                  7/14/2017               8/12/2020
 127783928 2061-2075 NE 163rd St, North Miami Beach, FL 33162        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/14/2017 VA 2-074-555              9/19/2017                  7/14/2017                8/8/2020
 127871923 8000 Central Park Dr, Waco, TX 76712                      Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2017 VA 2-076-897              9/19/2017                  7/17/2017                7/2/2020
 127872074 8000 Central Park Dr, Waco, TX 76712                      Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2017 VA 2-076-897              9/19/2017                  7/17/2017                7/2/2020
 128098838 445 New Haven Ave, Derby, CT 06418                        Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/18/2017 VA 2-075-355              9/19/2017                  7/18/2017                7/2/2020
 128118497 11 Plaza Cir, Patterson, CA 95363                         John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/18/2017 VA 2-074-524              9/19/2017                  7/18/2017                7/4/2020
 128118551 11 Plaza Cir, Patterson, CA 95363                         John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/18/2017 VA 2-074-524              9/19/2017                  7/18/2017               7/11/2020
 128267082 7551-7575 W Oakland Park Blvd, Lauderhill, FL 33319       Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/19/2017 VA 2-075-413              9/19/2017                  7/19/2017               7/20/2020
 128936198 17100 NE 19th Ave, North Miami Beach, FL 33162            Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/21/2017 VA 2-074-555              9/19/2017                  7/21/2017                7/3/2020
 129218622 1700-1728 NE 205th Ter, Miami, FL 33179                   Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/24/2017 VA 2-074-555              9/19/2017                  7/24/2017                7/2/2020
 129335130 1167-1175 NW 159th Dr, Miami, FL 33169                    Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2017 VA 2-074-555              9/19/2017                  7/25/2017                7/5/2020
 129335137 1167-1175 NW 159th Dr, Miami, FL 33169                    Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2017 VA 2-074-555              9/19/2017                  7/25/2017               6/30/2020
 129510450 174 Willow St, Waterbury, CT 06710                        Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/26/2017 VA 2-075-355              9/19/2017                  7/26/2017                7/6/2020
 129894835 2450-2556 W Oakland Park Blvd, Oakland Park, FL 33311     Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/28/2017 VA 2-075-413              9/19/2017                  7/28/2017               7/20/2020
 129894945 2450-2556 W Oakland Park Blvd, Oakland Park, FL 33311     Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/28/2017 VA 2-075-413              9/19/2017                  7/28/2017              10/12/2020
 129948687 11031-11033 N Countryway Blvd, Tampa, FL 33626            James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/28/2017 VA 2-074-675              9/19/2017                  7/28/2017                7/3/2020
 130321413 541 W Morton Ave, Porterville, CA 93257                   John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/31/2017 VA 2-074-524              9/19/2017                  7/31/2017                7/7/2020
 130321431 541 W Morton Ave, Porterville, CA 93257                   John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/31/2017 VA 2-074-524              9/19/2017                  7/31/2017                7/1/2020
 130366146 9813-9837 W Sample Rd, Coral Springs, FL 33065            Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/1/2017 VA 2-075-413              9/19/2017                   8/1/2017                7/1/2020
 131066576 1345 E 3900 S, Salt Lake City, UT 84124                   Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       8/7/2017 VA 2-077-521              9/19/2017                   8/7/2017                7/3/2020
 131234116 17000 140th Ave NE, Woodinville, WA 98072                 Michael Murphy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2017 VA 2-076-890              9/19/2017                   8/8/2017               7/10/2020
 131474085 174-180 Hialeah Dr, Hialeah, FL 33010                     Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2017 VA 2-074-555              9/19/2017                   8/8/2017              10/21/2020
 132209127 5245-5251 N University Dr, Lauderhill, FL 33351           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/11/2017 VA 2-075-413              9/19/2017                  8/11/2017               10/3/2020
 131728742 3250 W Pleasant Run Rd, Lancaster, TX 75146               Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       8/9/2017 VA 2-077-517              9/19/2017                   8/9/2017               4/10/2021
 127162031 4367 Highway 78, Santa Ysabel, CA 92070                   Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/12/2017 VA 2-074-523              9/19/2017                  7/12/2017                7/7/2020
 127518196 301 S Glendora Ave, West Covina, CA 91790                 John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/14/2017 VA 2-077-403              9/19/2017                  7/14/2017                7/2/2020
 130322238 42301-42325 10th St W, Lancaster, CA 93534                John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/31/2017 VA 2-077-403              9/19/2017                  7/31/2017                7/5/2020
 129722586 2950 Cullen Pky, Pearland, TX 77584                       Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                  2815197893      7/27/2017 VA 2-074-679              9/19/2017                  7/27/2017               2/21/2021
 131744600 4807 FM 646, League City, TX 77573                        Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                  2815197893       8/9/2017 VA 2-074-679              9/19/2017                   8/9/2017               7/12/2020
 131744607 4807 FM 646, League City, TX 77573                        Leeah Mayes                                                                    CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                  2815197893       8/9/2017 VA 2-074-679              9/19/2017                   8/9/2017               7/10/2020
 126064665 2101 Green Springs Hwy S, Birmingham, AL 35205            Laurie Goodwin                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/5/2017 VA 2-074-674              9/19/2017                   7/5/2017               7/13/2020
 127497406 422 Morris Ave, Long Branch, NJ 07740                     Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/14/2017 VA 2-076-892              9/19/2017                  7/14/2017               10/7/2020
 128078480 160 N State Rd, Briarcliff Manor, NY 10510                Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/18/2017 VA 2-075-001              9/19/2017                  7/18/2017                7/1/2020

 128287561 1245 Germantown Pky, Cordova, TN 38016                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/19/2017 VA 2-076-862             9/19/2017                  7/19/2017               6/30/2020

 128754241 6050 Airline Rd, Arlington, TN 38002                      Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/21/2017 VA 2-076-862             9/19/2017                  7/21/2017                7/5/2020
 128771457 620 Broadway, New York, NY 10012                          Victoria Iniguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/21/2017 VA 2-075-065             9/19/2017                  7/21/2017               7/16/2020

 129544579 1655 Highway 51 S, Covington, TN 38019                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/26/2017 VA 2-076-862             9/19/2017                  7/26/2017               7/24/2020

 129544850 1655 Highway 51 S, Covington, TN 38019                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/26/2017 VA 2-076-862             9/19/2017                  7/26/2017               7/24/2020

 129544875 1655 Highway 51 S, Covington, TN 38019                    Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/26/2017 VA 2-076-862             9/19/2017                  7/26/2017               7/24/2020

 130317072 737 Highway 51 N, Covington, TN 38019                     Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/31/2017 VA 2-076-862             9/19/2017                  7/31/2017              11/18/2020
 130566208 1365 Rock Quarry Rd, Stockbridge, GA 30281                Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        8/2/2017 VA 2-075-021             9/19/2017                   8/2/2017                7/4/2020
 130969790 1200 College Pointe Ln, Spartanburg, SC 29303             William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        8/4/2017 VA 2-075-082             9/19/2017                   8/4/2017                7/7/2020
 131067661 2848 Washington Rd, Augusta, GA 30909                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2017 VA 2-074-596             9/19/2017                   8/7/2017                7/3/2020
 131067739 2848 Washington Rd, Augusta, GA 30909                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2017 VA 2-074-596             9/19/2017                   8/7/2017               7/11/2020
 131067790 2848 Washington Rd, Augusta, GA 30909                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2017 VA 2-074-596             9/19/2017                   8/7/2017               7/12/2020
 131067832 2848 Washington Rd, Augusta, GA 30909                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2017 VA 2-074-596             9/19/2017                   8/7/2017               7/13/2020
 131067866 2848 Washington Rd, Augusta, GA 30909                     Ryan Devaney                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/7/2017 VA 2-074-596             9/19/2017                   8/7/2017                7/4/2020
 131848676 6398 Highway 85, Riverdale, GA 30274                      Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/10/2017 VA 2-075-021             9/19/2017                  8/10/2017              10/23/2020
 126005929 152 Rocking D Rd, Temple, GA 30179                        Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        7/5/2017 VA 2-075-016             9/19/2017                   7/5/2017                7/4/2020
 128264618 5009 River Rd, Columbus, GA 31904                         Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/19/2017 VA 2-075-016             9/19/2017                  7/19/2017               7/12/2020

 128366459 2828 Euclid Ave, Cleveland, OH 44115                      Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/20/2017 VA 2-077-391             9/19/2017                  7/20/2017                7/8/2020
 129144361 907-909 S Park St, Carrollton, GA 30117                   Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/24/2017 VA 2-075-016             9/19/2017                  7/24/2017               7/14/2020
 127124614 5555 Hawthorne Rd, La Plata, MD 20646                     Blair Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/12/2017 VA 2-075-364             9/19/2017                  7/12/2017                8/9/2020
 129494885 9201-9225 Hampton Overlook, Capitol Heights, MD 20743     Blair Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/24/2017 VA 2-075-364             9/19/2017                  7/24/2017              10/18/2020
 130349516 7611 S Osborne Rd, Upper Marlboro, MD 20772               Blair Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/1/2017 VA 2-075-364             9/19/2017                   8/1/2017               7/13/2020

 126932011 5555 Glenwood Hills Pky SE, Grand Rapids, MI 49512        Tyler Bolduc                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/11/2017 VA 2-077-511             9/19/2017                  7/11/2017                8/9/2020
 127118085 4005 Nine McFarland Dr, Alpharetta, GA 30004              Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/12/2017 VA 2-074-668             9/19/2017                  7/12/2017                7/8/2020
 127365554 1695 Piner Rd, Santa Rosa, CA 95403                       George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/13/2017 VA 2-075-004             9/19/2017                  7/13/2017               7/11/2020




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 128393990 555 Midtowne St, Grand Rapids, MI 49503                 Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/20/2017 VA 2-077-511             9/19/2017                 7/20/2017               7/9/2020

 130374992 913 W Holmes Rd, Lansing, MI 48910                      Tyler Bolduc                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/1/2017 VA 2-077-511             9/19/2017                  8/1/2017              7/16/2020

 126945110 10 W Victory Dr, Savannah, GA 31405                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      7/11/2017 VA 2-074-594             9/19/2017                 7/11/2017             11/21/2020
 126166295 180 Westminster St, Providence, RI 02903                Jeremy Wescott                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/6/2017 VA 2-074-518             9/19/2017                  7/6/2017              6/30/2020
 126166324 180 Westminster St, Providence, RI 02903                Jeremy Wescott                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/6/2017 VA 2-074-518             9/19/2017                  7/6/2017              7/13/2020
 126166345 180 Westminster St, Providence, RI 02903                Jeremy Wescott                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/6/2017 VA 2-074-518             9/19/2017                  7/6/2017              7/11/2020
 127156773 400 E Main St, Richmond, VA 23219                       Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/12/2017 VA 2-075-374             9/19/2017                 7/12/2017               7/4/2020
 130300840 11300 Iron Bridge Rd, Chester, VA 23831                 Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/31/2017 VA 2-075-374             9/19/2017                 7/31/2017               7/2/2020
 130300933 11300 Iron Bridge Rd, Chester, VA 23831                 Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/31/2017 VA 2-075-374             9/19/2017                 7/31/2017              7/12/2020
 126065326 6316 Old Sugar Creek Rd, Charlotte, NC 28269            Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/5/2017 VA 2-075-104             9/19/2017                  7/5/2017              6/30/2020
 131854498 8146-8156 S Tryon St, Charlotte, NC 28273               Paul Bentley                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      8/10/2017 VA 2-075-104             9/19/2017                 8/10/2017               2/6/2021
 126395885 3382 Highway 5, Douglasville, GA 30135                  Raegan Perkins                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/7/2017 VA 2-074-546             9/19/2017                  7/7/2017              7/14/2020
 126809901 460 S White Horse Pike, Hammonton, NJ 08037             Carmen Gerace                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      7/10/2017 VA 2-075-412             9/19/2017                 7/10/2017               7/2/2020
 126980968 411 NW Safari Rd, Winston, OR 97496                     Jim Rider                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-074-521             9/19/2017                 7/11/2017              7/11/2020
 126981273 411 NW Safari Rd, Winston, OR 97496                     Jim Rider                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-074-521             9/19/2017                 7/11/2017              7/11/2020
 126982611 1400 N Broad St, Globe, AZ 85501                        Peter Sills                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-075-084             9/19/2017                 7/11/2017               7/5/2020
 126982661 1400 N Broad St, Globe, AZ 85501                        Peter Sills                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-075-084             9/19/2017                 7/11/2017               7/2/2020
 128285084 1271-1291 San Christopher Dr, Dunedin, FL 34698         Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      7/19/2017 VA 2-074-681             9/19/2017                 7/19/2017              7/12/2020
 128285727 4601 Ponce De Leon Blvd, Coral Gables, FL 33146         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017              10/4/2020
 128285852 4649 Ponce De Leon Blvd, Coral Gables, FL 33146         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017              7/14/2020
 128285894 4649 Ponce De Leon Blvd, Coral Gables, FL 33146         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017              7/14/2020
 128285942 4649 Ponce De Leon Blvd, Coral Gables, FL 33146         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017              7/14/2020
 128285960 4649 Ponce De Leon Blvd, Coral Gables, FL 33146         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017              7/14/2020
 128286182 4800 Le Jeune Rd, Coral Gables, FL 33146                Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/19/2017 VA 2-074-632             9/19/2017                 7/19/2017               7/2/2020
 128774119 11402-11408 Balls Ford Rd, Manassas, VA 20109           Nikolai Roster                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/21/2017 VA 2-077-388             9/19/2017                 7/21/2017               7/9/2020
 128774127 11402-11408 Balls Ford Rd, Manassas, VA 20109           Nikolai Roster                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/21/2017 VA 2-077-388             9/19/2017                 7/21/2017               7/3/2020
 128774175 11402-11408 Balls Ford Rd, Manassas, VA 20109           Nikolai Roster                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/21/2017 VA 2-077-388             9/19/2017                 7/21/2017               7/7/2020
 129953668 16365 NW Twin Oaks Dr, Beaverton, OR 97006              Jim Rider                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/28/2017 VA 2-074-521             9/19/2017                 7/28/2017               7/4/2020
 130389020 10005-10075 W Hillsborough Ave, Tampa, FL 33615         Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/1/2017 VA 2-074-681             9/19/2017                  8/1/2017               7/3/2020
 130389408 10005-10075 W Hillsborough Ave, Tampa, FL 33615         Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/1/2017 VA 2-074-681             9/19/2017                  8/1/2017               7/3/2020
 130967943 3206 Heritage Trade Dr, Wake Forest, NC 27587           John Price                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/4/2017 VA 2-074-536             9/19/2017                  8/4/2017              8/11/2020
 130968010 3206 Heritage Trade Dr, Wake Forest, NC 27587           John Price                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/4/2017 VA 2-074-536             9/19/2017                  8/4/2017               8/9/2020
 130977223 5731 W Slauson Ave, Culver City, CA 90230               Kevin Reece                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/4/2017 VA 2-074-667             9/19/2017                  8/4/2017               2/2/2021
 131192651 841 N Tarrant Pky, Keller, TX 76248                     Ethan Healy                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/8/2017 VA 2-075-378             9/19/2017                  8/8/2017               7/2/2020
 130975208 7000-7042 NW 46th St, Miami, FL 33166                   Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/4/2017 VA 2-075-005             9/19/2017                  8/4/2017               7/1/2020
 130975261 7000-7042 NW 46th St, Miami, FL 33166                   Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/4/2017 VA 2-075-005             9/19/2017                  8/4/2017              6/30/2020
 130975309 7000-7042 NW 46th St, Miami, FL 33166                   Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/4/2017 VA 2-075-005             9/19/2017                  8/4/2017              7/11/2020
 131725231 19900-19950 NE 15th Ct, Miami, FL 33179                 Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/9/2017 VA 2-075-005             9/19/2017                  8/9/2017              6/30/2020
 126975278 221 Bedford Rd, Bedford, TX 76022                       Melissa Hood                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-076-864             9/19/2017                 7/11/2017               7/3/2020
 129174831 2621 Ridgepoint Dr, Austin, TX 78754                    Ashton Bray                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/24/2017 VA 2-074-648             9/19/2017                 7/24/2017               7/8/2020
 129941508 18401-18403 Woodfield Rd, Gaithersburg, MD 20879        Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/28/2017 VA 2-074-641             9/19/2017                 7/28/2017              7/20/2020
 129943854 18401-18403 Woodfield Rd, Gaithersburg, MD 20879        Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/28/2017 VA 2-074-641             9/19/2017                 7/28/2017              7/20/2020
 129944017 18401-18403 Woodfield Rd, Gaithersburg, MD 20879        Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/28/2017 VA 2-074-641             9/19/2017                 7/28/2017              7/20/2020
 130317155 19638 Leitersburg Pike, Hagerstown, MD 21742            Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/31/2017 VA 2-074-641             9/19/2017                 7/31/2017              7/13/2020
 130361077 174 S Guadalupe St, San Marcos, TX 78666                Ashton Bray                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/1/2017 VA 2-074-648             9/19/2017                  8/1/2017               7/6/2020
 130633936 15045-15049 Lee Hwy, Gainesville, VA 20155              Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/2/2017 VA 2-074-641             9/19/2017                  8/2/2017               7/6/2020
 130634196 15045-15049 Lee Hwy, Gainesville, VA 20155              Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/2/2017 VA 2-074-641             9/19/2017                  8/2/2017              7/12/2020
 130634723 15554-15574 Lee Hwy, Gainesville, VA 20155              Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/2/2017 VA 2-074-641             9/19/2017                  8/2/2017               7/8/2020
 130634779 15554-15574 Lee Hwy, Gainesville, VA 20155              Anna Northrup                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/2/2017 VA 2-074-641             9/19/2017                  8/2/2017               7/3/2020
 131729537 123 S Broad St, New Orleans, LA 70119                   Taber Allen                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/9/2017 VA 2-077-379             9/19/2017                  8/9/2017               7/1/2020
 126959980 SE Cnr Tropicana & Steptoe Ave, Las Vegas, NV 89122     Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-077-417             9/19/2017                 7/11/2017              7/13/2020
 126960055 SE Cnr Tropicana & Steptoe Ave, Las Vegas, NV 89122     Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/11/2017 VA 2-077-417             9/19/2017                 7/11/2017               7/6/2020
 128755412 4794 S Eastern Ave, Las Vegas, NV 89119                 Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/21/2017 VA 2-077-417             9/19/2017                 7/21/2017              4/17/2021
 129716812 4855-4865 S Pecos Rd, Las Vegas, NV 89121               Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/27/2017 VA 2-077-417             9/19/2017                 7/27/2017             10/28/2020
 130631505 545-573 E Twain Ave, Las Vegas, NV 89169                Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/2/2017 VA 2-077-417             9/19/2017                  8/2/2017              7/11/2020
 131060034 823 S Las Vegas Blvd, Las Vegas, NV 89101               Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/7/2017 VA 2-077-417             9/19/2017                  8/7/2017               7/3/2020
 131060054 823 S Las Vegas Blvd, Las Vegas, NV 89101               Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/7/2017 VA 2-077-417             9/19/2017                  8/7/2017              5/16/2020
 131075245 1424 30th St, San Diego, CA 92154                       Dustin Pacheco                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/7/2017 VA 2-074-991             9/19/2017                  8/7/2017               7/2/2020
 131875463 1710-1868 E Charleston Blvd, Las Vegas, NV 89104        Timothy Black                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/10/2017 VA 2-077-417             9/19/2017                 8/10/2017               7/2/2020
 132216575 6020 Progressive Ave, San Diego, CA 92154               Dustin Pacheco                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/11/2017 VA 2-074-991             9/19/2017                 8/11/2017               8/9/2020
 130371510 2717 E Alondra Blvd, Compton, CA 90221                  John Allen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/1/2017 VA 2-083-780             9/19/2017                  8/1/2017              7/11/2020
 126081000 44790 Grimmer Blvd, Fremont, CA 94538                   Teague Haines                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/5/2017 VA 2-077-400             9/19/2017                  7/5/2017              7/12/2020
 126081013 44790 Grimmer Blvd, Fremont, CA 94538                   Teague Haines                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/5/2017 VA 2-077-400             9/19/2017                  7/5/2017              6/30/2020
 132604915 1580-1586 W Yosemite Ave, Manteca, CA 95337             Teague Haines                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/14/2017 VA 2-077-400             9/19/2017                 8/14/2017               7/7/2020
 132604922 1580-1586 W Yosemite Ave, Manteca, CA 95337             Teague Haines                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/14/2017 VA 2-077-400             9/19/2017                 8/14/2017              6/30/2020
 132604934 1580-1586 W Yosemite Ave, Manteca, CA 95337             Teague Haines                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/14/2017 VA 2-077-400             9/19/2017                 8/14/2017               7/2/2020
 138167218 4151-4153 W Lake St, Chicago, IL 60624                  Benjamin Gonzales                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/18/2017 VA 2-088-835            11/16/2017                 9/18/2017             10/24/2020
 133343583 150-154 Waterman St, Providence, RI 02906               Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      8/18/2017 VA 2-090-298            11/16/2017                 8/18/2017               7/4/2020
 133894246 18 N Main St, West Hartford, CT 06107                   Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      8/22/2017 VA 2-088-349            11/16/2017                 8/22/2017              7/10/2020

 134177336 2161 N Bend Rd, Hebron, KY 41048                        Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      8/24/2017 VA 2-088-319            11/16/2017                 8/24/2017               7/5/2020
 134361394 7420 NW 5th St, Plantation, FL 33317                    Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/25/2017 VA 2-088-304            11/16/2017                 8/25/2017             10/21/2020
 134867575 Old Polk City Rd, Lakeland, FL 33809                    Clint Bliss                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/28/2017 VA 2-088-152            11/16/2017                 8/28/2017               7/3/2020
 135048125 12110-12158 SW 114th Pl, Miami, FL 33176                Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/29/2017 VA 2-088-250            11/16/2017                 8/29/2017              6/30/2020
 135048671 12110-12158 SW 114th Pl, Miami, FL 33176                Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/29/2017 VA 2-088-250            11/16/2017                 8/29/2017               7/6/2020
 135271010 2500 NW 79th Ave, Doral, FL 33122                       Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/30/2017 VA 2-088-250            11/16/2017                 8/30/2017               7/7/2020
 135271489 7801-7865 NW 46th St, Doral, FL 33166                   Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/30/2017 VA 2-088-250            11/16/2017                 8/30/2017               7/1/2020




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 135272043 7735-7747 NW 48th St, Doral, FL 33166                         Rigoberto Perdomo                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2017 VA 2-088-250            11/16/2017                  8/30/2017              6/30/2020

 135430093 101 S Saint Clair St, Dayton, OH 45402                        Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/31/2017 VA 2-088-319           11/16/2017                  8/31/2017                8/9/2020

 135430121 101 S Saint Clair St, Dayton, OH 45402                        Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/31/2017 VA 2-088-319           11/16/2017                  8/31/2017               8/12/2020
 135582015 59 Torrington Rd, Goshen, CT 06756                            Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/1/2017 VA 2-088-349           11/16/2017                   9/1/2017                7/4/2020
 136587529 4565 Daisy Reid Ave, Woodbridge, VA 22192                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/8/2017 VA 2-088-246           11/16/2017                   9/8/2017               7/11/2020
 136587563 4565 Daisy Reid Ave, Woodbridge, VA 22192                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/8/2017 VA 2-088-246           11/16/2017                   9/8/2017                7/5/2020
 136587579 4565 Daisy Reid Ave, Woodbridge, VA 22192                     Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/8/2017 VA 2-088-246           11/16/2017                   9/8/2017                7/1/2020
 136592819 1095 West St, Southington, CT 06489                           Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        9/8/2017 VA 2-088-349           11/16/2017                   9/8/2017                7/5/2020
 137073861 1220 Walter Reed Rd, Fayetteville, NC 28304                   Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/11/2017 VA 2-088-511           11/16/2017                  9/11/2017                7/4/2020
 137073900 1220 Walter Reed Rd, Fayetteville, NC 28304                   Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/11/2017 VA 2-088-511           11/16/2017                  9/11/2017                7/6/2020
 137410494 3200 E St SE, Washington, DC 20020                            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/13/2017 VA 2-088-246           11/16/2017                  9/13/2017               7/10/2020
 137410594 3200 E St SE, Washington, DC 20020                            Pia Miai                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/13/2017 VA 2-088-246           11/16/2017                  9/13/2017                7/1/2020

 137473440 1920 Collingwood Blvd, Toledo, OH 43604                       Dwayne Walker                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/14/2017 VA 2-088-344           11/16/2017                  9/14/2017               7/13/2020
 137495168 3123 Thomas Dr, Panama City Beach, FL 32408                   David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2017 VA 2-088-003           11/16/2017                  9/14/2017                7/2/2020
 137495201 3123 Thomas Dr, Panama City Beach, FL 32408                   David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2017 VA 2-088-003           11/16/2017                  9/14/2017                7/1/2020
 138122382 2219-2265 W Hillsboro Blvd, Deerfield Beach, FL 33442         Carolyn Crisp                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-088-304           11/16/2017                  9/18/2017                7/5/2020
 138146322 12907 Panama City Beach Pkwy, Panama City Beach, FL 32407     David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-088-003           11/16/2017                  9/18/2017               7/13/2020
 138146399 12907 Panama City Beach Pkwy, Panama City Beach, FL 32407     David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-088-003           11/16/2017                  9/18/2017               1/23/2021

 138890859 144 Merchant St, Springdale, OH 45246                         Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/22/2017 VA 2-088-319           11/16/2017                  9/22/2017               7/13/2020

 139340870 765 Nilles Rd, Fairfield, OH 45014                            Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/26/2017 VA 2-088-319           11/16/2017                  9/26/2017               2/26/2021
 139893974 574 Mclean Blvd, Elgin, IL 60123                              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/29/2017 VA 2-088-136           11/16/2017                  9/29/2017                7/7/2020
 139894020 574 Mclean Blvd, Elgin, IL 60123                              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/29/2017 VA 2-088-136           11/16/2017                  9/29/2017                7/1/2020
 139332853 99 Main St, Colleyville, TX 76034                             Stacey Callaway                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/26/2017 VA 2-088-346           11/16/2017                  9/26/2017                7/2/2020
 138325940 4168 Avenida De La Plata, Oceanside, CA 92056                 Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/19/2017 VA 2-090-317           11/16/2017                  9/19/2017               4/23/2021
 133112323 13855 FM 529, Houston, TX 77041                               Leeah Mayes                                                                   CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893       8/17/2017 VA 2-088-508           11/16/2017                  8/17/2017              11/17/2020
 132981202 462 N Guignard Dr, Sumter, SC 29150                           Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/16/2017 VA 2-088-207           11/16/2017                  8/16/2017              11/26/2020
 132993288 2408 Center Point Pky, Birmingham, AL 35215                   Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/16/2017 VA 2-088-514           11/16/2017                  8/16/2017                7/3/2020
 132993407 2408 Center Point Pky, Birmingham, AL 35215                   Laurie Goodwin                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/16/2017 VA 2-088-514           11/16/2017                  8/16/2017               6/30/2020
 134312817 916 Lawrenceville Hwy, Lawrenceville, GA 30046                Dan Kohler                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/25/2017 VA 2-088-178           11/16/2017                  8/25/2017                7/8/2020
 134314334 101 Ballentine Park Rd, Irmo, SC 29063                        Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/25/2017 VA 2-088-207           11/16/2017                  8/25/2017                7/2/2020
 134809781 1600 Alice Dr, Sumter, SC 29153                               Ryan Devaney                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2017 VA 2-088-207           11/16/2017                  8/28/2017               7/10/2020
 134979396 6550 Mount Zion Blvd, Morrow, GA 30260                        Dan Kohler                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/29/2017 VA 2-088-178           11/16/2017                  8/29/2017               11/7/2020
 139522593 801 Springdale Dr, Exton, PA 19341                            Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2017 VA 2-088-191           11/16/2017                  9/27/2017               2/21/2021
 139542548 161 Kimball Bridge Rd, Alpharetta, GA 30009                   Dan Kohler                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/27/2017 VA 2-088-178           11/16/2017                  9/27/2017                7/2/2020

 139878374 2850 S Arlington Rd, Akron, OH 44312                          Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/29/2017 VA 2-088-275           11/16/2017                  9/29/2017                7/3/2020

 139878413 2850 S Arlington Rd, Akron, OH 44312                          Pamela Lawrentz                                                               CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/29/2017 VA 2-088-275           11/16/2017                  9/29/2017                7/2/2020
 139339739 2001 L St NW, Washington, DC 20036                            Blair Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/26/2017 VA 2-088-320           11/16/2017                  9/26/2017               2/16/2021
 134788270 2117 N Yellowood Ave, Broken Arrow, OK 74012                  Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/28/2017 VA 2-088-163           11/16/2017                  8/28/2017                7/7/2020
 134977652 Hwy 75, Okmulgee, OK 74447                                    Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/29/2017 VA 2-088-163           11/16/2017                  8/29/2017                7/8/2020
 136567770 7625 E 21st St, Tulsa, OK 74129                               Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/8/2017 VA 2-088-163           11/16/2017                   9/8/2017                8/9/2020

 137033037 114 Old Bear Creek Pike, Columbia, TN 38401                   Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/11/2017 VA 2-088-214           11/16/2017                  9/11/2017                7/1/2020
 136579305 30111 Technology Dr, Murrieta, CA 92563                       Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/8/2017 VA 2-088-158           11/16/2017                   9/8/2017               6/30/2020
 137506388 3840-3848 Mckinley St, Corona, CA 92879                       Nick Del Cioppo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2017 VA 2-088-158           11/16/2017                  9/14/2017                7/2/2020
 138202779 1314 E Sonterra Blvd, San Antonio, TX 78258                   Scott Langford                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-088-293           11/16/2017                  9/18/2017               7/24/2020
 137522628 15243 Vanowen St, Van Nuys, CA 91405                          Adam Davis                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2017 VA 2-088-545           11/16/2017                  9/14/2017                7/5/2020
 134337881 43 Rives Rd, Petersburg, VA 23805                             Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/25/2017 VA 2-088-355           11/16/2017                  8/25/2017                7/9/2020
 134337898 43 Rives Rd, Petersburg, VA 23805                             Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/25/2017 VA 2-088-355           11/16/2017                  8/25/2017                7/8/2020
 139770425 1808 Chouteau Ave, Saint Louis, MO 63103                      Aurielle Weaver                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/28/2017 VA 2-088-328           11/16/2017                  9/28/2017                7/4/2020
 139896911 1808 Chouteau Ave, Saint Louis, MO 63103                      Aurielle Weaver                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/29/2017 VA 2-088-328           11/16/2017                  9/29/2017                7/1/2020
 139900023 1808 Chouteau Ave, Saint Louis, MO 63103                      Aurielle Weaver                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/29/2017 VA 2-088-328           11/16/2017                  9/29/2017                7/3/2020
 116353765 9501-9533 S US 59 Hwy, Houston, TX 77074                      Anissa Yarbrough                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2017 VA 2-088-213           11/16/2017                  4/27/2017               12/3/2020
 128440811 4416 E New York St, Aurora, IL 60504                          Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2017 VA 2-088-339           11/16/2017                  7/20/2017                7/7/2020
 133093716 1401 N Washington St, Kokomo, IN 46901                        Jennifer White                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2017 VA 2-090-338           11/16/2017                  8/17/2017               6/30/2020
 133115370 549 W Randolph St, Chicago, IL 60661                          Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2017 VA 2-088-339           11/16/2017                  8/17/2017                7/3/2020
 134053738 2900-3050 Country Club Ln, Hallandale Beach, FL 33009         Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2017 VA 2-087-892           11/16/2017                  8/23/2017                7/3/2020
 134195417 37 S 8th St, Lebanon, PA 17042                                Ian Barnes                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2017 VA 2-088-332           11/16/2017                  8/24/2017               7/11/2020
 134203016 13825 US Highway 19, Hudson, FL 34667                         Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/24/2017 VA 2-088-500           11/16/2017                  8/24/2017                7/8/2020
 134208508 5515 S Dale Mabry Hwy, Tampa, FL 33611                        Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/24/2017 VA 2-088-500           11/16/2017                  8/24/2017               7/13/2020
 134995718 7790 W Irlo Bronson Hwy, Kissimmee, FL 34747                  Jay Welker                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/29/2017 VA 2-088-539           11/16/2017                  8/29/2017                7/3/2020
 135583745 2035-2049 E Dorothy Ln, Kettering, OH 45420                   Holly Routzohn                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        9/1/2017 VA 2-088-334           11/16/2017                   9/1/2017              10/27/2020
 136252228 7405 NW Nonchalant Ave, Carefree, AZ 85377                    Peter Sills                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/6/2017 VA 2-088-341           11/16/2017                   9/6/2017               7/13/2020
 137209448 1045 Burlington Ave, Lisle, IL 60532                          Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2017 VA 2-088-339           11/16/2017                  9/12/2017               4/23/2021
 137218056 2300 Cabot Dr, Lisle, IL 60532                                Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2017 VA 2-088-339           11/16/2017                  9/12/2017                7/2/2020
 137370676 2521 Weaver St, Haltom City, TX 76117                         Ethan Healy                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2017 VA 2-088-373           11/16/2017                  9/13/2017               6/30/2020
 137523486 13700-13798 NE 11th Ave, Miami, FL 33161                      Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2017 VA 2-087-892           11/16/2017                  9/14/2017              10/28/2020
 137805748 570 Lake Cook Rd, Deerfield, IL 60015                         Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/15/2017 VA 2-088-339           11/16/2017                  9/15/2017                7/6/2020
 137808681 4555 Mansell Rd, Alpharetta, GA 30022                         Roslyn Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/15/2017 VA 2-088-211           11/16/2017                  9/15/2017                7/4/2020
 138151628 12955 Biscayne Blvd, North Miami, FL 33181                    Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-087-892           11/16/2017                  9/18/2017               7/11/2020
 138151678 12955 Biscayne Blvd, North Miami, FL 33181                    Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2017 VA 2-087-892           11/16/2017                  9/18/2017                7/6/2020
 138323983 3226 N Miller Rd, Scottsdale, AZ 85251                        Peter Sills                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/19/2017 VA 2-088-341           11/16/2017                  9/19/2017                7/7/2020
 138645235 3415 S Collins St, Arlington, TX 76014                        Ethan Healy                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/21/2017 VA 2-088-373           11/16/2017                  9/21/2017               7/24/2020
 139205393 343 W Erie St, Chicago, IL 60654                              Dulce Rodriguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2017 VA 2-088-339           11/16/2017                  9/25/2017                7/5/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                    113
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Attachment                                                                                      Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                Image Address                           Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 139360697 11755 Mosteller Rd, Sharonville, OH 45241                    Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/26/2017 VA 2-088-334            11/16/2017                  9/26/2017                7/4/2020
 139879793 2325 Sunset Ave, Rocky Mount, NC 27804                       Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/29/2017 VA 2-088-388            11/16/2017                  9/29/2017                7/1/2020
 135199398 777 Bandit Trl, Keller, TX 76034                             Melissa Hood                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2017 VA 2-088-393            11/16/2017                  8/30/2017               7/11/2020
 137478234 2305 S State Highway 121, Lewisville, TX 75067               Melissa Hood                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2017 VA 2-088-393            11/16/2017                  9/14/2017               10/9/2020
 134092522 7210 N Oak Trfy, Gladstone, MO 64118                         Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      8/23/2017 VA 2-087-762            11/16/2017                  8/23/2017              10/12/2020
 134209088 6812 N Oak Tfwy, Kansas City, MO 64118                       Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      8/24/2017 VA 2-087-762            11/16/2017                  8/24/2017                7/9/2020
 137512553 99-994 Iwaena St, Aiea, HI 96701                             Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2017 VA 2-088-262            11/16/2017                  9/14/2017                7/4/2020
 137789559 1100 NW South Outer Rd, Blue Springs, MO 64015               Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      9/15/2017 VA 2-087-762            11/16/2017                  9/15/2017               8/11/2020
 136560603 19405 Plantation Rd, Rehoboth Beach, DE 19971                Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       9/7/2017 VA 2-088-322            11/16/2017                   9/7/2017                7/6/2020
 138478629 606 E Baltimore Pike, Media, PA 19063                        Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/19/2017 VA 2-088-322            11/16/2017                  9/19/2017               7/11/2020
 134189931 25 Chestnut St, Gaithersburg, MD 20877                       Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017               7/20/2020
 134190003 25 Chestnut St, Gaithersburg, MD 20877                       Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017               7/20/2020
 134190215 101 Chestnut St, Gaithersburg, MD 20877                      Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017                7/3/2020
 134190257 101 Chestnut St, Gaithersburg, MD 20877                      Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017                7/6/2020
 134190294 101 Chestnut St, Gaithersburg, MD 20877                      Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017                7/8/2020
 134190348 101 Chestnut St, Gaithersburg, MD 20877                      Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017               6/30/2020
 134190451 101 Chestnut St, Gaithersburg, MD 20877                      Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2017 VA 2-087-999            11/16/2017                  8/22/2017                7/4/2020
 136418277 9115 Guilford Rd, Columbia, MD 21046                         Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/7/2017 VA 2-087-999            11/16/2017                   9/7/2017              10/17/2020
 137182446 5105 Backlick Rd, Annandale, VA 22003                        Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/11/2017 VA 2-087-999            11/16/2017                  9/11/2017                7/7/2020
 138519026 19323 Stone Oak Pky, San Antonio, TX 78258                   Ashton Bray                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/20/2017 VA 2-088-312            11/16/2017                  9/20/2017                7/8/2020
 137807000 4171 Distribution Cir, North Las Vegas, NV 89030             Timothy Black                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/15/2017 VA 2-088-060            11/16/2017                  9/15/2017                7/4/2020
 135420338 20400 Tower Dr, Walton Hills, OH 44146                       Michael Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2017 VA 2-088-337            11/16/2017                  8/30/2017                7/7/2020
 136567254 470 S Meadows Pky, Reno, NV 89521                            Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/8/2017 VA 2-088-315            11/16/2017                   9/8/2017                7/3/2020
 138263828 2201-2205 E Superior Ave E, Cleveland, OH 44114              Michael Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2017 VA 2-088-337            11/16/2017                  9/18/2017                7/5/2020
 138281036 3740 Euclid Ave, Cleveland, OH 44115                         Michael Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/19/2017 VA 2-088-337            11/16/2017                  9/19/2017                7/2/2020
 136430025 999 Dalton Ln, Bolingbrook, IL 60490                         Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       9/7/2017 VA 2-088-670            11/16/2017                   9/7/2017               7/24/2020
 137510822 2010 S Arlington Heights Rd, Arlington Heights, IL 60005     Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      9/14/2017 VA 2-088-670            11/16/2017                  9/14/2017               7/11/2020
 137526559 2602-2604 6th Ave, Tacoma, WA 98406                          Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/14/2017 VA 2-088-131            11/21/2017                  9/14/2017                7/7/2020
 138261212 2421 15th St SW, Mason City, IA 50401                        Ryan Sule                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/19/2017 VA 2-088-199            11/21/2017                  9/19/2017                7/8/2020
 135162541 15031 McGregor Blvd, Fort Myers, FL 33908                    Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/30/2017 VA 2-088-256            11/21/2017                  8/30/2017               7/12/2020
 135438096 1101 Lee Rd, Orlando, FL 32810                               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2017 VA 2-090-575            11/21/2017                  8/31/2017                7/5/2020
 135438188 1101 Lee Rd, Orlando, FL 32810                               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2017 VA 2-090-575            11/21/2017                  8/31/2017                7/9/2020
 135438691 1101 Lee Rd, Orlando, FL 32810                               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2017 VA 2-090-575            11/21/2017                  8/31/2017                7/1/2020
 135438944 1101 Lee Rd, Orlando, FL 32810                               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2017 VA 2-090-575            11/21/2017                  8/31/2017               7/13/2020
 135439151 1101 Lee Rd, Orlando, FL 32810                               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/31/2017 VA 2-090-575            11/21/2017                  8/31/2017               6/30/2020
 139531265 532 Pond St, Weymouth, MA 02190                              Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/27/2017 VA 2-090-295            11/21/2017                  9/27/2017                7/2/2020
 143197949 4004 Belt Line Rd, Addison, TX 75001                         Ethan Healy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/19/2017 VA 2-088-166            12/28/2017                 10/19/2017               1/27/2021
 144347219 4221 Ferne Blvd, Drexel Hill, PA 19026                       Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/25/2017 VA 2-088-814            12/28/2017                 10/25/2017               7/13/2020
 140143318 216 Water St, Plymouth, MA 02360                             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/2/2017 VA 2-088-598            12/28/2017                  10/2/2017               7/13/2020
 140143715 216 Water St, Plymouth, MA 02360                             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/2/2017 VA 2-088-598            12/28/2017                  10/2/2017                7/5/2020
 140168430 216 Water St, Plymouth, MA 02360                             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/2/2017 VA 2-088-598            12/28/2017                  10/2/2017                7/1/2020
 140169745 216 Water St, Plymouth, MA 02360                             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/2/2017 VA 2-088-598            12/28/2017                  10/2/2017                7/1/2020
 140455717 3701 Vestal Pky E, Vestal, NY 13850                          Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/4/2017 VA 2-088-825            12/28/2017                  10/4/2017               7/31/2020
 140455740 3701 Vestal Pky E, Vestal, NY 13850                          Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/4/2017 VA 2-088-825            12/28/2017                  10/4/2017               7/31/2020
 140455761 3701 Vestal Pky E, Vestal, NY 13850                          Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/4/2017 VA 2-088-825            12/28/2017                  10/4/2017               7/31/2020
 140455789 3701 Vestal Pky E, Vestal, NY 13850                          Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/4/2017 VA 2-088-825            12/28/2017                  10/4/2017               7/31/2020
 141250281 3816 Grand Blvd, New Port Richey, FL 34652                   Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/9/2017 VA 2-093-783            12/28/2017                  10/9/2017               7/22/2020
 141681526 99 Rosewood Dr, Danvers, MA 01923                            Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/12/2017 VA 2-093-773            12/28/2017                 10/12/2017               7/10/2020
 142831253 1325 N Church St, Burlington, NC 27217                       Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/16/2017 VA 2-088-272            12/28/2017                 10/16/2017               7/11/2020
 143765455 3434 Thomasville Rd, Tallahassee, FL 32309                   David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/23/2017 VA 2-087-976            12/28/2017                 10/23/2017                7/2/2020
 144509587 27 Congress St, Salem, MA 01970                              Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/27/2017 VA 2-093-773            12/28/2017                 10/27/2017               7/11/2020
 144534252 1975 S John Young Pky, Kissimmee, FL 34741                   Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/27/2017 VA 2-088-677            12/28/2017                 10/27/2017              11/18/2020
 144929684 4301 S Flamingo Rd, Davie, FL 33330                          Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-088-220            12/28/2017                 10/31/2017                7/8/2020
 144929704 4301 S Flamingo Rd, Davie, FL 33330                          Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-088-220            12/28/2017                 10/31/2017                7/3/2020
 144929725 4301 S Flamingo Rd, Davie, FL 33330                          Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-088-220            12/28/2017                 10/31/2017                7/4/2020
 144932842 20-60 S Orchard Dr, North Salt Lake, UT 84054                Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     10/31/2017 VA 2-088-827            12/28/2017                 10/31/2017                3/4/2021
 144949731 386 Merrimack St, Methuen, MA 01844                          Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/31/2017 VA 2-093-773            12/28/2017                 10/31/2017                7/7/2020
 145896982 2675 Industrial Park Dr, Ogden, UT 84401                     Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      11/7/2017 VA 2-088-827            12/28/2017                  11/7/2017              12/20/2020
 146054205 100 Roscommon Dr, Middletown, CT 06457                       Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/8/2017 VA 2-088-040            12/28/2017                  11/8/2017               6/30/2020
 146054241 100 Roscommon Dr, Middletown, CT 06457                       Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/8/2017 VA 2-088-040            12/28/2017                  11/8/2017                7/3/2020
 146653730 2108 N Church St, Greensboro, NC 27405                       Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/13/2017 VA 2-088-272            12/28/2017                 11/13/2017                7/8/2020
 146653766 2108 N Church St, Greensboro, NC 27405                       Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/13/2017 VA 2-088-272            12/28/2017                 11/13/2017                7/4/2020
 146899298 207 Quaker Ln, West Warwick, RI 02893                        Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/15/2017 VA 2-088-598            12/28/2017                 11/15/2017               7/30/2020
 143912988 711 W College St, Los Angeles, CA 90012                      Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/24/2017 VA 2-093-778            12/28/2017                 10/24/2017               7/14/2020
 140459466 2025 Lincoln Hwy, Edison, NJ 08817                           Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-093-756            12/28/2017                  10/4/2017                7/4/2020
 140684837 12 W 27th St, New York, NY 10001                             Victoria Iniguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/5/2017 VA 2-088-795            12/28/2017                  10/5/2017                7/5/2020
 142122997 161 E Main St, Port Jervis, NY 12771                         Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     10/13/2017 VA 2-087-980            12/28/2017                 10/13/2017                7/2/2020
 145083423 1364 Welsh Rd, North Wales, PA 19454                         Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/1/2017 VA 2-090-468            12/28/2017                  11/1/2017               7/10/2020
 145476355 41 Byberry Rd, Hatboro, PA 19040                             Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2017 VA 2-090-468            12/28/2017                  11/3/2017                7/5/2020
 145476714 509 Davisville Rd, Willow Grove, PA 19090                    Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2017 VA 2-090-468            12/28/2017                  11/3/2017                8/2/2020
 145476731 509 Davisville Rd, Willow Grove, PA 19090                    Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/3/2017 VA 2-090-468            12/28/2017                  11/3/2017                8/2/2020
 145484199 1355 Reynolds St, Augusta, GA 30901                          Ryan Devaney                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/3/2017 VA 2-088-686            12/28/2017                  11/3/2017                7/3/2020

 141685830 8221-8237 E Washington St, Chagrin Falls, OH 44023           Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/12/2017 VA 2-088-654           12/28/2017                 10/12/2017                2/2/2021
 144966806 3418 Larimer St, Denver, CO 80205                            Jason Tuomey                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/31/2017 VA 2-093-734           12/28/2017                 10/31/2017                7/1/2020
 146909649 4205 S Pennsylvania Ave, Oklahoma City, OK 73119             Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/15/2017 VA 2-090-456           12/28/2017                 11/15/2017                7/9/2020
 146909672 4205 S Pennsylvania Ave, Oklahoma City, OK 73119             Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/15/2017 VA 2-090-456           12/28/2017                 11/15/2017                7/4/2020
 146909682 4205 S Pennsylvania Ave, Oklahoma City, OK 73119             Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/15/2017 VA 2-090-456           12/28/2017                 11/15/2017                7/3/2020
 143200937 81580-81614 Highway 111, Indio, CA 92201                     Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/19/2017 VA 2-090-455           12/28/2017                 10/19/2017               1/13/2021
 142966450 800 N Watters Rd, Allen, TX 75013                            Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/17/2017 VA 2-090-361           12/28/2017                 10/17/2017                7/1/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                    114
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 143954829 5145 S Arville St, Las Vegas, NV 89118                    Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     10/24/2017 VA 2-093-769            12/28/2017                 10/24/2017               6/30/2020
 146772529 4100 International Plz, Fort Worth, TX 76109              Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/14/2017 VA 2-090-361            12/28/2017                 11/14/2017                7/4/2020
 146051852 16800-16830 Schaefer Hwy, Detroit, MI 48235               Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      11/8/2017 VA 2-088-832            12/28/2017                  11/8/2017                7/1/2020
 140312519 1130 Wilkinson Rd, Richmond, VA 23227                     Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/3/2017 VA 2-088-050            12/28/2017                  10/3/2017                7/7/2020
 140312650 1130 Wilkinson Rd, Richmond, VA 23227                     Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/3/2017 VA 2-088-050            12/28/2017                  10/3/2017                7/5/2020
 140456471 5118 Richmond Henrico Tpke, Richmond, VA 23227            Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-050            12/28/2017                  10/4/2017                7/1/2020
 140456531 5118 Richmond Henrico Tpke, Richmond, VA 23227            Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-050            12/28/2017                  10/4/2017                7/1/2020
 140456599 5118 Richmond Henrico Tpke, Richmond, VA 23227            Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-050            12/28/2017                  10/4/2017                7/3/2020
 140456664 5118 Richmond Henrico Tpke, Richmond, VA 23227            Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-050            12/28/2017                  10/4/2017               7/13/2020
 144216467 12125 E Highway 69, Dewey, AZ 86327                       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/25/2017 VA 2-088-820            12/28/2017                 10/25/2017               7/10/2020
 144216494 12125 E Highway 69, Dewey, AZ 86327                       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/25/2017 VA 2-088-820            12/28/2017                 10/25/2017               7/10/2020
 144216515 12125 E Highway 69, Dewey, AZ 86327                       Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     10/25/2017 VA 2-088-820            12/28/2017                 10/25/2017                7/8/2020
 146780760 4220 W Northern Ave, Phoenix, AZ 85051                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     11/14/2017 VA 2-088-820            12/28/2017                 11/14/2017                7/8/2020
 140441962 1808 Chouteau Ave, Saint Louis, MO 63103                  Aurielle Weaver                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-243            12/28/2017                  10/4/2017                7/5/2020
 140442199 1808 Chouteau Ave, Saint Louis, MO 63103                  Aurielle Weaver                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/4/2017 VA 2-088-243            12/28/2017                  10/4/2017                7/4/2020
 144806596 1-32 Village Plz, Arnold, MO 63010                        Aurielle Weaver                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/30/2017 VA 2-088-243            12/28/2017                 10/30/2017               7/12/2020
 143808019 4050 E Cotton Center Blvd, Phoenix, AZ 85040              Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     10/23/2017 VA 2-090-457            12/28/2017                 10/23/2017                7/4/2020
 140155211 1025 Plain St, Marshfield, MA 02050                       Spencer Crispino                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/2/2017 VA 2-088-691            12/28/2017                  10/2/2017                7/8/2020
 141397065 64 NW 54th St, Miami, FL 33127                            Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/10/2017 VA 2-093-665            12/28/2017                 10/10/2017               7/20/2020
 141676038 434 Fayetteville St, Raleigh, NC 27601                    Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2017 VA 2-088-607            12/28/2017                 10/12/2017               7/21/2020
 141708924 3301 Airport Fwy, Bedford, TX 76021                       Ethan Healy                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2017 VA 2-088-166            12/28/2017                 10/12/2017                7/2/2020
 143001338 10116-10120 Riverside Dr, Toluca Lake, CA 91602           Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/17/2017 VA 2-088-580            12/28/2017                 10/17/2017               3/30/2021
 143171798 1670 Capital St, Elgin, IL 60124                          Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/18/2017 VA 2-088-015            12/28/2017                 10/18/2017               7/10/2020
 143171819 1670 Capital St, Elgin, IL 60124                          Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/18/2017 VA 2-088-015            12/28/2017                 10/18/2017               7/11/2020
 143189697 1000-1480 Environ Way, Chapel Hill, NC 27517              Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/19/2017 VA 2-088-607            12/28/2017                 10/19/2017               7/20/2020
 143189707 1000-1480 Environ Way, Chapel Hill, NC 27517              Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/19/2017 VA 2-088-607            12/28/2017                 10/19/2017               7/20/2020
 143189746 1000-1480 Environ Way, Chapel Hill, NC 27517              Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/19/2017 VA 2-088-607            12/28/2017                 10/19/2017               7/20/2020
 143333587 8045 Arco Corporate Dr, Raleigh, NC 27617                 Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/20/2017 VA 2-088-607            12/28/2017                 10/20/2017                7/7/2020
 144834478 4825 140th Ave N, Clearwater, FL 33762                    Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/30/2017 VA 2-088-591            12/28/2017                 10/30/2017               7/12/2020
 144835148 7740 Nova Dr, Davie, FL 33324                             Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/30/2017 VA 2-093-665            12/28/2017                 10/30/2017                7/4/2020
 144958166 5397 Orange Dr, Davie, FL 33314                           Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-093-665            12/28/2017                 10/31/2017               7/11/2020
 144958186 5397 Orange Dr, Davie, FL 33314                           Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-093-665            12/28/2017                 10/31/2017               6/30/2020
 144958234 5397 Orange Dr, Davie, FL 33314                           Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/31/2017 VA 2-093-665            12/28/2017                 10/31/2017               7/10/2020
 145756644 2300 E Valley Rd, Renton, WA 98057                        Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/6/2017 VA 2-088-669            12/28/2017                  11/6/2017                7/2/2020
 146208073 2212 Plainfield Rd, Crest Hill, IL 60403                  Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2017 VA 2-088-643            12/28/2017                  11/9/2017               11/2/2020
 146212572 17903 W Lake Houston Pky, Humble, TX 77346                Clark Underwood                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2017 VA 2-093-784            12/28/2017                  11/9/2017              11/22/2020
 146223865 18881 Von Karman Ave, Irvine, CA 92612                    Michael Rutt                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/9/2017 VA 2-093-743            12/28/2017                  11/9/2017               7/14/2020
 146932382 7311 Quality Cir, Anderson, IN 46013                      Jennifer White                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/15/2017 VA 2-090-458            12/28/2017                 11/15/2017               7/13/2020
 144948585 16201 SW 95th Ave, Miami, FL 33157                        Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2017 VA 2-088-197            12/28/2017                 10/31/2017               7/11/2020
 144948634 16201 SW 95th Ave, Miami, FL 33157                        Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/31/2017 VA 2-088-197            12/28/2017                 10/31/2017                7/3/2020
 146350987 9001-9021 NW 105th Way, Miami, FL 33178                   Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/10/2017 VA 2-088-197            12/28/2017                 11/10/2017                7/4/2020
 146351140 9001-9021 NW 105th Way, Miami, FL 33178                   Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     11/10/2017 VA 2-088-197            12/28/2017                 11/10/2017                7/1/2020
 142105648 3235 Route 112, Medford, NY 11763                         Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/13/2017 VA 2-093-762            12/28/2017                 10/13/2017                7/5/2020
 140904436 701-731 NE 76th St, Gladstone, MO 64118                   Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      10/6/2017 VA 2-088-258            12/28/2017                  10/6/2017                7/3/2020
 143134506 14501-14651 W 101st Ter, Lenexa, KS 66215                 Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951     10/18/2017 VA 2-088-258            12/28/2017                 10/18/2017               7/24/2020
 140705810 275 Grandview Ave, Camp Hill, PA 17011                    Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      10/5/2017 VA 2-088-266            12/28/2017                  10/5/2017               2/26/2021
 143777215 14012-14018 Sullyfield Cir, Chantilly, VA 20151           Anna Northrup                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/23/2017 VA 2-088-260            12/28/2017                 10/23/2017               6/30/2020
 145792712 4050 W Harmon Ave, Las Vegas, NV 89103                    Timothy Black                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/6/2017 VA 2-088-821            12/28/2017                  11/6/2017                7/3/2020
 140166010 2267 Lava Ridge Ct, Roseville, CA 95661                   Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/2/2017 VA 2-093-662            12/28/2017                  10/2/2017                7/7/2020
 140166117 2267 Lava Ridge Ct, Roseville, CA 95661                   Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/2/2017 VA 2-093-662            12/28/2017                  10/2/2017                7/5/2020
 141685700 500-546 Auburn Ravine Rd, Auburn, CA 95603                Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2017 VA 2-093-662            12/28/2017                 10/12/2017                7/1/2020
 141685739 500-546 Auburn Ravine Rd, Auburn, CA 95603                Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2017 VA 2-093-662            12/28/2017                 10/12/2017               7/13/2020
 141685793 500-546 Auburn Ravine Rd, Auburn, CA 95603                Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2017 VA 2-093-662            12/28/2017                 10/12/2017               6/30/2020
 143200681 3306-3314 Orange Grove Ave, North Highlands, CA 95660     Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/19/2017 VA 2-093-662            12/28/2017                 10/19/2017                7/3/2020
 140893972 16415 Northcross Dr, Huntersville, NC 28078               Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/6/2017 VA 2-090-355            12/28/2017                  10/6/2017                7/4/2020
 144825739 200 Cahaba Park Cir, Birmingham, AL 35242                 Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/30/2017 VA 2-088-252            12/28/2017                 10/30/2017                7/7/2020
 146229551 10422 Heinz Way, Henderson, CO 80640                      Andrew Shelton                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/9/2017 VA 2-090-449            12/28/2017                  11/9/2017               7/11/2020
 144223733 706 Rockville Pike, Rockville, MD 20852                   Gary Krueger                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/25/2017 VA 2-088-177            12/28/2017                 10/25/2017               7/20/2020
 145094725 140 S Main St, Thiensville, WI 53092                      Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2017 VA 2-093-671            12/28/2017                  11/1/2017                7/4/2020

 150809514 701 E Bay St, Charleston, SC 29403                        Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/13/2017 VA 2-093-356             2/5/2018                 12/13/2017               8/12/2020
 149049021 133 E High St, Pottstown, PA 19464                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2017 VA 2-093-200             2/5/2018                 11/28/2017                8/9/2020
 149049054 133 E High St, Pottstown, PA 19464                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2017 VA 2-093-200             2/5/2018                 11/28/2017               8/10/2020
 149049112 133 E High St, Pottstown, PA 19464                        Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2017 VA 2-093-200             2/5/2018                 11/28/2017                8/9/2020
 150829204 9000 Southside Blvd, Jacksonville, FL 32256               Lloyd Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/13/2017 VA 2-091-725             2/5/2018                 12/13/2017                7/7/2020
  37481718 1567 Blanding Blvd, Jacksonville, FL 32210                Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/5/2015 VA 2-092-938             2/5/2018                   6/5/2015               8/12/2020
  37481722 1567 Blanding Blvd, Jacksonville, FL 32210                Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/5/2015 VA 2-092-938             2/5/2018                   6/5/2015                8/9/2020
 148919709 139 S Pebble Beach Blvd, Sun City Center, FL 33573        James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/27/2017 VA 2-093-889             2/5/2018                 11/27/2017                3/4/2021
 149176355 1604 E Oglethorpe Blvd, Albany, GA 31705                  David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/29/2017 VA 2-093-897             2/5/2018                 11/29/2017               8/10/2020
 149876005 467 1st St, Los Altos, CA 94022                           Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       12/5/2017 VA 2-094-420             2/5/2018                  12/5/2017                7/5/2020
 149876027 467 1st St, Los Altos, CA 94022                           Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       12/5/2017 VA 2-094-420             2/5/2018                  12/5/2017               6/30/2020

 150596699 1007 S High St, Columbus, OH 43206                        Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/11/2017 VA 2-092-650             2/5/2018                 12/11/2017               7/12/2020

 151701006 10050 Innovation Dr, Miamisburg, OH 45342                 Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/20/2017 VA 2-094-240             2/5/2018                 12/20/2017                7/8/2020
 150685410 4819 SH 121, The Colony, TX 75056                         Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/12/2017 VA 2-092-638             2/5/2018                 12/12/2017                7/5/2020
 149325483 451-473 N Central Ave, Upland, CA 91786                   Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/30/2017 VA 2-093-621             2/5/2018                 11/30/2017               5/16/2020
 150716644 6210 Airline Dr, Houston, TX 77076                        Leeah Mayes                                                                     CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893      12/12/2017 VA 2-095-460             2/5/2018                 12/12/2017                7/7/2020
 149059071 100 Fifth Ave, Pittsburgh, PA 15222                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/28/2017 VA 2-095-447             2/5/2018                 11/28/2017                7/5/2020
 149059097 100 Fifth Ave, Pittsburgh, PA 15222                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      11/28/2017 VA 2-095-447             2/5/2018                 11/28/2017                7/7/2020




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 149059162 100 Fifth Ave, Pittsburgh, PA 15222                      Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938     11/28/2017 VA 2-095-447               2/5/2018                 11/28/2017                7/8/2020
 149059186 100 Fifth Ave, Pittsburgh, PA 15222                      Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938     11/28/2017 VA 2-095-447               2/5/2018                 11/28/2017               7/10/2020
 150167254 2570 Plainfield Ave, Scotch Plains, NJ 07076             John Georgiadis                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      12/7/2017 VA 2-114-553               2/5/2018                  12/7/2017               7/12/2020
 150880943 101 W Saint John St, Spartanburg, SC 29306               William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/14/2017 VA 2-114-499               2/5/2018                 12/14/2017               7/10/2020
 150909863 925 Westchester Ave, White Plains, NY 10604              Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/14/2017 VA 2-093-901               2/5/2018                 12/14/2017               6/30/2020
 151157939 155 White Plains Rd, Tarrytown, NY 10591                 Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/15/2017 VA 2-093-901               2/5/2018                 12/15/2017               7/13/2020
 151157963 155 White Plains Rd, Tarrytown, NY 10591                 Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/15/2017 VA 2-093-901               2/5/2018                 12/15/2017               7/13/2020
 151157983 155 White Plains Rd, Tarrytown, NY 10591                 Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/15/2017 VA 2-093-901               2/5/2018                 12/15/2017               7/13/2020
 151701461 603 Stanwix St, Pittsburgh, PA 15222                     Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938     12/20/2017 VA 2-095-447               2/5/2018                 12/20/2017                7/1/2020
 151926199 151 Highway 33, Manalapan, NJ 07726                      Michael Johnson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/22/2017 VA 2-115-696               2/5/2018                 12/22/2017              11/28/2020
 152225814 399 Knollwood Rd, White Plains, NY 10603                 Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     12/27/2017 VA 2-093-901               2/5/2018                 12/27/2017                7/5/2020

 149171501 11683 Royalton Rd, North Royalton, OH 44133              Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/29/2017 VA 2-093-159              2/5/2018                 11/29/2017                7/4/2020
 147182673 7704 Quarterfield Rd, Glen Burnie, MD 21061              Blair Williams                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/17/2017 VA 2-094-239              2/5/2018                 11/17/2017               3/30/2021
 147809108 185 Admiral Cochrane Dr, Annapolis, MD 21401             Blair Williams                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/21/2017 VA 2-094-239              2/5/2018                 11/21/2017                7/1/2020
 151770183 3501 Adams St, Riverside, CA 92504                       Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/21/2017 VA 2-093-111              2/5/2018                 12/21/2017                7/7/2020
 149154561 5325 State Road 64 E, Bradenton, FL 34208                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/29/2017 VA 2-092-610              2/5/2018                 11/29/2017               7/11/2020
 150696619 2650 S McCall Rd, Englewood, FL 34224                    Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/12/2017 VA 2-092-610              2/5/2018                 12/12/2017               7/10/2020
 150846017 2506 2nd St, Fort Myers, FL 33901                        Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/13/2017 VA 2-092-610              2/5/2018                 12/13/2017               7/12/2020
 150919228 1357 N Tamiami Trl, North Fort Myers, FL 33903           Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/14/2017 VA 2-092-610              2/5/2018                 12/14/2017               7/20/2020
 150919257 1357 N Tamiami Trl, North Fort Myers, FL 33903           Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/14/2017 VA 2-092-610              2/5/2018                 12/14/2017               7/20/2020

 151705502 3020 Charlevoix Dr SE, Grand Rapids, MI 49546            Tyler Bolduc                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/20/2017 VA 2-114-681              2/5/2018                 12/20/2017               7/12/2020
 152411320 433 California St, San Francisco, CA 94104               George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/29/2017 VA 2-093-571              2/5/2018                 12/29/2017                7/4/2020
 151916729 510-532 S Maple Rd, Ann Arbor, MI 48103                  Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/22/2017 VA 2-114-672              2/5/2018                 12/22/2017               10/9/2020
 152298699 7410 Hull Street Rd, Richmond, VA 23235                  Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-093-606              2/5/2018                 12/28/2017                7/7/2020
 149884969 4801 Chastain Ave, Charlotte, NC 28217                   Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/5/2017 VA 2-093-161              2/5/2018                  12/5/2017               7/13/2020
 147254851 12235 N Cave Creek Rd, Phoenix, AZ 85022                 Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/17/2017 VA 2-093-172              2/5/2018                 11/17/2017                7/3/2020
 147617525 1362 N Galena Ave, Dixon, IL 61021                       Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2017 VA 2-114-527              2/5/2018                 11/20/2017               8/12/2020
 150295371 201 Egg Harbor Rd, Sewell, NJ 08080                      Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       12/8/2017 VA 2-094-397              2/5/2018                  12/8/2017               6/30/2020
 151797259 23810-23826 104th Ave SE, Kent, WA 98031                 Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/21/2017 VA 2-093-170              2/5/2018                 12/21/2017                2/1/2021
 152301677 3610-3614 S Archer Ave, Chicago, IL 60609                Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-115-724              2/5/2018                 12/28/2017                7/1/2020
 152301708 3610-3614 S Archer Ave, Chicago, IL 60609                Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-115-724              2/5/2018                 12/28/2017               7/13/2020
 152301836 3610-3614 S Archer Ave, Chicago, IL 60609                Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-115-724              2/5/2018                 12/28/2017                7/5/2020
 152425819 3661 S Miami Ave, Miami, FL 33133                        Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/29/2017 VA 2-095-477              2/5/2018                 12/29/2017               6/30/2020
 149175943 703 Waterford Way, Miami, FL 33126                       Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/29/2017 VA 2-093-360              2/5/2018                 11/29/2017                7/1/2020
 149176855 703 Waterford Way, Miami, FL 33126                       Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/29/2017 VA 2-093-360              2/5/2018                 11/29/2017                7/5/2020
 149321588 8333 NW 53rd St, Doral, FL 33166                         Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/30/2017 VA 2-093-360              2/5/2018                 11/30/2017                7/8/2020
 149321803 8333 NW 53rd St, Doral, FL 33166                         Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/30/2017 VA 2-093-360              2/5/2018                 11/30/2017               7/10/2020
 149321966 8333 NW 53rd St, Doral, FL 33166                         Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/30/2017 VA 2-093-360              2/5/2018                 11/30/2017               7/10/2020
 149066979 4132 E Sahara Ave, Las Vegas, NV 89104                   Timothy Black                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2017 VA 2-093-197              2/5/2018                 11/28/2017              12/20/2020
 152306188 39650 Liberty St, Fremont, CA 94538                      Teague Haines                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-093-184              2/5/2018                 12/28/2017                7/7/2020
 152306227 39650 Liberty St, Fremont, CA 94538                      Teague Haines                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2017 VA 2-093-184              2/5/2018                 12/28/2017                7/3/2020
 149163042 7705 Security Cir, Reno, NV 89506                        Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/29/2017 VA 2-095-479              2/5/2018                 11/29/2017                7/3/2020
 149163160 7705 Security Cir, Reno, NV 89506                        Allison Martinez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/29/2017 VA 2-095-479              2/5/2018                 11/29/2017                7/1/2020
 150565863 25102 Brookpark Rd, North Olmsted, OH 44070              Michael Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-114-644              2/5/2018                 12/11/2017               7/20/2020
 150565878 25102 Brookpark Rd, North Olmsted, OH 44070              Michael Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-114-644              2/5/2018                 12/11/2017               7/20/2020
 147617028 450 Old Peachtree Rd, Suwanee, GA 30024                  Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2017 VA 2-091-749              2/5/2018                 11/20/2017                7/4/2020
 148073761 50 Hurt Plz SE, Atlanta, GA 30303                        Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/22/2017 VA 2-091-749              2/5/2018                 11/22/2017               6/30/2020
 151922671 2477 Metropolitan Pky SW, Atlanta, GA 30315              Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2017 VA 2-091-749              2/5/2018                 12/22/2017                7/1/2020
 151922697 2477 Metropolitan Pky SW, Atlanta, GA 30315              Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2017 VA 2-091-749              2/5/2018                 12/22/2017                7/5/2020
 151922731 2477 Metropolitan Pky SW, Atlanta, GA 30315              Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/22/2017 VA 2-091-749              2/5/2018                 12/22/2017                7/5/2020
 149728213 W248N5233 Executive Dr, Sussex, WI 53089                 Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2017 VA 2-095-451              2/5/2018                  12/4/2017                7/8/2020
 149728249 W248N5233 Executive Dr, Sussex, WI 53089                 Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/4/2017 VA 2-095-451              2/5/2018                  12/4/2017               6/30/2020
 149186369 11415-11435 St. Charles Rock Rd, Bridgeton, MO 63044     Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/29/2017 VA 2-115-750              2/5/2018                 11/29/2017                7/2/2020
 150588075 12201-12211 Dorsett Rd, Maryland Heights, MO 63043       Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-115-750              2/5/2018                 12/11/2017                7/2/2020
 150588121 12201-12211 Dorsett Rd, Maryland Heights, MO 63043       Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-115-750              2/5/2018                 12/11/2017               7/12/2020
 150588151 12201-12211 Dorsett Rd, Maryland Heights, MO 63043       Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-115-750              2/5/2018                 12/11/2017                7/6/2020
 150588250 1910-1932 Mckelvey Rd, Maryland Heights, MO 63043        Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-115-750              2/5/2018                 12/11/2017               6/30/2020
 150588448 1910-1932 Mckelvey Rd, Maryland Heights, MO 63043        Nathan White                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2017 VA 2-115-750              2/5/2018                 12/11/2017                7/2/2020
 150693639 18 E 17th St, New York, NY 10003                         Simon Shimshilashvili                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/12/2017 VA 2-092-643              2/5/2018                 12/12/2017               7/21/2020
 151127678 2249 S Shirlington Rd, Arlington, VA 22206               Jeanette Holland                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/15/2017 VA 2-093-875              2/5/2018                 12/15/2017                7/3/2020
 151127741 2249 S Shirlington Rd, Arlington, VA 22206               Jeanette Holland                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/15/2017 VA 2-093-875              2/5/2018                 12/15/2017                7/2/2020
 157619754 24303 Walnut St, Santa Clarita, CA 91321                 Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/12/2018 VA 2-099-543              4/2/2018                  2/12/2018                7/1/2020
 153008526 820 E Park Ave, Tallahassee, FL 32301                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/5/2018 VA 2-097-796              4/4/2018                   1/5/2018                7/5/2020
 155186934 3689 Coolidge Ct, Tallahassee, FL 32311                  David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/23/2018 VA 2-097-796              4/4/2018                  1/23/2018                7/7/2020
 155187019 3689 Coolidge Ct, Tallahassee, FL 32311                  David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/23/2018 VA 2-097-796              4/4/2018                  1/23/2018                7/1/2020
 155504980 800 W Jackson St, Thomasville, GA 31792                  David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2018 VA 2-097-796              4/4/2018                  1/25/2018                7/5/2020
 157796627 3450 Lakeside Dr, Miramar, FL 33027                      Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2018 VA 2-103-962              4/4/2018                  2/13/2018               7/11/2020
 153273591 37 Saw Mill River Rd, Hawthorne, NY 10532                Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        1/8/2018 VA 2-097-797              4/4/2018                   1/8/2018                7/9/2020
 153002387 2650 Camino Del Rio N, San Diego, CA 92108               Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/5/2018 VA 2-103-960              4/4/2018                   1/5/2018                7/9/2020
 155491800 11300 Sorrento Valley Rd, San Diego, CA 92121            Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/25/2018 VA 2-103-960              4/4/2018                  1/25/2018                7/3/2020
 155657870 5450 Ralston St, Ventura, CA 93003                       Amira Gay                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/26/2018 VA 2-099-720              4/4/2018                  1/26/2018                7/5/2020
 157226650 3196 Dogwood Dr, Atlanta, GA 30354                       Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/8/2018 VA 2-097-754              4/5/2018                   2/8/2018               7/12/2020
 156089430 800 El Camino Real, Menlo Park, CA 94025                 George Chao                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/31/2018 VA 2-097-514              4/5/2018                  1/31/2018               11/3/2020
 152637945 354 Penn St, Reading, PA 19602                           Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2018 VA 2-097-805              4/5/2018                   1/2/2018               2/12/2021
 153427140 2 E Penn Ave, Wernersville, PA 19565                     Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2018 VA 2-097-805              4/5/2018                   1/9/2018                7/5/2020
 153427188 2 E Penn Ave, Wernersville, PA 19565                     Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2018 VA 2-097-805              4/5/2018                   1/9/2018               7/10/2020
 158171423 706-708 Main St, Oregon City, OR 97045                   Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/15/2018 VA 2-103-967              4/5/2018                  2/15/2018               10/3/2020
 153309981 8584-8588 Katy Fwy, Houston, TX 77024                    Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/8/2018 VA 2-097-218              4/5/2018                   1/8/2018               2/21/2021




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 153032542 2032-2050 Hollywood Blvd, Hollywood, FL 33020            Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/5/2018 VA 2-097-757               4/6/2018                   1/5/2018               8/11/2020
 153422866 9432 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/9/2018 VA 2-097-340               4/6/2018                   1/9/2018               7/12/2020
 153422900 9432 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/9/2018 VA 2-097-340               4/6/2018                   1/9/2018               7/10/2020
 153600346 3993-4035 W State Road 46, Sanford, FL 32771             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2018 VA 2-104-014               4/6/2018                  1/10/2018                7/7/2020
 153600373 3993-4035 W State Road 46, Sanford, FL 32771             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/10/2018 VA 2-104-014               4/6/2018                  1/10/2018                7/1/2020
 154476290 801 N Magnolia Ave, Orlando, FL 32803                    Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/17/2018 VA 2-104-014               4/6/2018                  1/17/2018               10/3/2020
 155487913 9600 N MoPac Expy, Austin, TX 78759                      Michael Marx                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2018 VA 2-099-686               4/6/2018                  1/25/2018                7/7/2020
 156094065 6836 Bee Caves Rd, Austin, TX 78746                      Leigh Christian                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/31/2018 VA 2-097-339               4/6/2018                  1/31/2018                7/6/2020
 157270040 8008 Liberty Rd, Windsor Mill, MD 21244                  Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/8/2018 VA 2-097-767               4/6/2018                   2/8/2018                7/2/2020
 157994218 20 Frederick Rd, Thurmont, MD 21788                      Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/14/2018 VA 2-097-767               4/6/2018                  2/14/2018               7/10/2020
 158154436 1720 SE 16th Ave, Ocala, FL 34471                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2018 VA 2-104-014               4/6/2018                  2/15/2018                7/4/2020
 158154468 1720 SE 16th Ave, Ocala, FL 34471                        Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/15/2018 VA 2-104-014               4/6/2018                  2/15/2018                7/1/2020
 153285229 4660 El Cajon Blvd, San Diego, CA 92115                  Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       1/8/2018 VA 2-097-801               4/6/2018                   1/8/2018                7/1/2020
 156098694 115 S Birmingham St, Wylie, TX 75098                     Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      1/31/2018 VA 2-097-786               4/6/2018                  1/31/2018                3/8/2021
 155511876 300 Peachtree Industrial Blvd, Suwanee, GA 30024         Roslyn Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2018 VA 2-104-012               4/6/2018                  1/25/2018               11/9/2020
 157827034 1602 E Roosevelt Blvd, Monroe, NC 28112                  Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      2/13/2018 VA 2-098-914              4/17/2018                  2/13/2018                7/2/2020
 157974372 2691 Roosevelt Blvd, Monroe, NC 28110                    Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      2/14/2018 VA 2-098-914              4/17/2018                  2/14/2018                7/2/2020
 157974469 2691 Roosevelt Blvd, Monroe, NC 28110                    Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      2/14/2018 VA 2-098-914              4/17/2018                  2/14/2018                7/3/2020
 152861665 15600 N Scottsdale Rd, Scottsdale, AZ 85254              Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       1/4/2018 VA 2-099-092              4/17/2018                   1/4/2018              10/14/2020
 153041779 3525-3539 E Corona Ave, Phoenix, AZ 85040                Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       1/5/2018 VA 2-099-092              4/17/2018                   1/5/2018               5/25/2021
 157843388 1810 W 4th St, Tempe, AZ 85281                           Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      2/13/2018 VA 2-099-093              4/17/2018                  2/13/2018                7/7/2020
 157647219 129 N 30th Ave, Phoenix, AZ 85009                        Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/12/2018 VA 2-099-041              4/17/2018                  2/12/2018                7/4/2020
 153290478 66-68 W Flagler St, Miami, FL 33130                      Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/8/2018 VA 2-099-083              4/17/2018                   1/8/2018                7/3/2020
 153891991 1111 Brickell Ave, Miami, FL 33131                       Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/12/2018 VA 2-099-088              4/17/2018                  1/12/2018                7/4/2020
 155183521 7751-7761 NW 107th Ave, Doral, FL 33178                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2018 VA 2-099-088              4/17/2018                  1/23/2018                7/1/2020
 155183813 7661-7741 NW 107th Ave, Doral, FL 33178                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2018 VA 2-099-088              4/17/2018                  1/23/2018                7/7/2020
 155183898 7661-7741 NW 107th Ave, Doral, FL 33178                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2018 VA 2-099-088              4/17/2018                  1/23/2018               7/12/2020
 155183967 7661-7741 NW 107th Ave, Doral, FL 33178                  Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2018 VA 2-099-088              4/17/2018                  1/23/2018               6/30/2020
 156286310 10400 NW 33rd St, Miami, FL 33172                        Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/1/2018 VA 2-099-088              4/17/2018                   2/1/2018               7/11/2020
 156286763 10400 NW 33rd St, Miami, FL 33172                        Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/1/2018 VA 2-099-088              4/17/2018                   2/1/2018                7/2/2020
 156119572 41-1540 Kalanianaole Hwy, Waimanalo, HI 96795            Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/31/2018 VA 2-099-079              4/17/2018                  1/31/2018               8/12/2020
 157118025 2211 Kuhio Ave, Honolulu, HI 96815                       Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/7/2018 VA 2-099-079              4/17/2018                   2/7/2018                8/8/2020
 152626279 930 Albany Shaker Rd, Latham, NY 12110                   Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/2/2018 VA 2-099-515              4/18/2018                   1/2/2018               7/12/2020
 152850302 510-526 Main St, Middletown, CT 06457                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/4/2018 VA 2-099-520              4/18/2018                   1/4/2018               11/7/2020
 153005424 135 S Main St, Greenville, SC 29601                      William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/5/2018 VA 2-099-516              4/18/2018                   1/5/2018               7/10/2020
 157113187 1051 Wc Dobbins Hwy, Clinton, SC 29325                   William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2018 VA 2-099-516              4/18/2018                   2/7/2018              11/25/2020

 157125308 3400 Moore Rd, Jonesboro, AR 72401                       Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        2/7/2018 VA 2-099-064             4/18/2018                   2/7/2018                7/1/2020
 155888895 332 W Bijou St, Colorado Springs, CO 80905               Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/29/2018 VA 2-099-031             4/18/2018                  1/29/2018               7/26/2020
 156854830 13820-13822 Woodward Ave, Highland Park, MI 48203        Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        2/5/2018 VA 2-099-512             4/18/2018                   2/5/2018                7/4/2020
 156855001 13820-13822 Woodward Ave, Highland Park, MI 48203        Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        2/5/2018 VA 2-099-512             4/18/2018                   2/5/2018                7/8/2020
 153302690 95 S Idaho Rd, Apache Junction, AZ 85119                 Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        1/8/2018 VA 2-099-511             4/18/2018                   1/8/2018                7/3/2020
 155504512 12600-12650 S Kroll Dr, Alsip, IL 60803                  Dulce Rodriguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2018 VA 2-099-024             4/18/2018                  1/25/2018                7/8/2020
 155506498 1900 E 123rd St, Olathe, KS 66061                        Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       1/25/2018 VA 2-099-017             4/18/2018                  1/25/2018                7/5/2020
 152855849 1901 E 4th St, Santa Ana, CA 92705                       David Jackson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/4/2018 VA 2-099-015             4/18/2018                   1/4/2018                2/6/2021
 153024649 515 N Cabrillo Park Dr, Santa Ana, CA 92701              David Jackson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/5/2018 VA 2-099-015             4/18/2018                   1/5/2018                2/6/2021
 155501795 408 Rhyne Floral Access Rd, Dallas, NC 28034             Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2018 VA 2-099-542             4/18/2018                  1/25/2018               7/31/2020
 153431152 500 Bursca Dr, Bridgeville, PA 15017                     Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938        1/9/2018 VA 2-099-357             4/19/2018                   1/9/2018               7/31/2020
 155617817 400 Industry Dr, Pittsburgh, PA 15275                    Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       1/26/2018 VA 2-099-362             4/19/2018                  1/26/2018               7/31/2020
 157990108 144 Emeryville Dr, Cranberry Township, PA 16066          Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/14/2018 VA 2-099-362             4/19/2018                  2/14/2018               7/15/2020
 153899643 2080-2260 Sarno Rd, Melbourne, FL 32935                  Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/12/2018 VA 2-099-354             4/19/2018                  1/12/2018               7/10/2020
 154473218 2726-2728 Agnes St, Corpus Christi, TX 78405             Clark Underwood                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/17/2018 VA 2-099-299             4/19/2018                  1/17/2018               7/11/2020
 155057269 4310 W Gandy Blvd, Tampa, FL 33611                       Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/22/2018 VA 2-099-305             4/19/2018                  1/22/2018                7/1/2020
 155368897 2026 SW 1st St, Miami, FL 33135                          Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/24/2018 VA 2-099-363             4/19/2018                  1/24/2018               6/30/2020
 156054518 2230 NW 95th St, Miami, FL 33147                         Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/30/2018 VA 2-099-364             4/19/2018                  1/30/2018               6/30/2020
 156056059 9601-9633 Bay Pines Blvd, Saint Petersburg, FL 33708     Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/30/2018 VA 2-099-530             4/19/2018                  1/30/2018               7/10/2020
 156056092 9601-9633 Bay Pines Blvd, Saint Petersburg, FL 33708     Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/30/2018 VA 2-099-530             4/19/2018                  1/30/2018                7/3/2020
 156486558 7560 Red Bug Lake Rd, Oviedo, FL 32765                   Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/2/2018 VA 2-099-354             4/19/2018                   2/2/2018               7/12/2020
 156848428 617 N Magnolia Ave, Orlando, FL 32801                    Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/5/2018 VA 2-099-354             4/19/2018                   2/5/2018                7/3/2020
 156848461 617 N Magnolia Ave, Orlando, FL 32801                    Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/5/2018 VA 2-099-354             4/19/2018                   2/5/2018                7/3/2020
 157283710 987 SE 11th Pl, Hialeah, FL 33010                        Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2018 VA 2-099-364             4/19/2018                   2/8/2018               6/30/2020
 157283721 987 SE 11th Pl, Hialeah, FL 33010                        Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2018 VA 2-099-364             4/19/2018                   2/8/2018                7/4/2020
 157283751 987 SE 11th Pl, Hialeah, FL 33010                        Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2018 VA 2-099-364             4/19/2018                   2/8/2018               6/30/2020
 157283771 987 SE 11th Pl, Hialeah, FL 33010                        Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/8/2018 VA 2-099-364             4/19/2018                   2/8/2018                7/7/2020
 156034816 160 Bastille Way, Fayetteville, GA 30214                 Adrienne Tann                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/30/2018 VA 2-099-329             4/19/2018                  1/30/2018                7/7/2020
 156080117 1165 N Lake St, Aurora, IL 60506                         Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       1/31/2018 VA 2-099-613             4/20/2018                  1/31/2018                7/8/2020
 156866318 1215-1239 Rose Ave, Selma, CA 93662                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        2/5/2018 VA 2-103-958             4/20/2018                   2/5/2018                7/7/2020
 157281995 1231-1325 W Yosemite Ave, Manteca, CA 95337              John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        2/8/2018 VA 2-103-958             4/20/2018                   2/8/2018                7/5/2020
 157282016 1231-1325 W Yosemite Ave, Manteca, CA 95337              John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        2/8/2018 VA 2-103-958             4/20/2018                   2/8/2018                7/2/2020
 157640172 5612-5628 N Blackstone Ave, Fresno, CA 93710             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/12/2018 VA 2-103-958             4/20/2018                  2/12/2018                8/8/2020
 157640357 5612-5628 N Blackstone Ave, Fresno, CA 93710             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/12/2018 VA 2-103-958             4/20/2018                  2/12/2018               8/12/2020
 157640375 5612-5628 N Blackstone Ave, Fresno, CA 93710             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/12/2018 VA 2-103-958             4/20/2018                  2/12/2018               8/11/2020
 157646020 5630-5660 N Blackstone Ave, Fresno, CA 93710             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/12/2018 VA 2-103-958             4/20/2018                  2/12/2018               7/11/2020
 157978633 246-256 East St, Cranston, RI 02920                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/14/2018 VA 2-099-615             4/20/2018                  2/14/2018               5/16/2020
 156304771 7000 S Sangamon St, Chicago, IL 60621                    Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        2/1/2018 VA 2-099-495             4/20/2018                   2/1/2018                7/3/2020
 156304833 7000 S Sangamon St, Chicago, IL 60621                    Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        2/1/2018 VA 2-099-495             4/20/2018                   2/1/2018                7/1/2020
 153602223 3002-3010 Jefferson Davis Hwy, Richmond, VA 23234        Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2018 VA 2-099-506             4/20/2018                  1/10/2018                7/3/2020
 153602246 3002-3010 Jefferson Davis Hwy, Richmond, VA 23234        Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2018 VA 2-099-506             4/20/2018                  1/10/2018               7/11/2020
 153602388 3002-3010 Jefferson Davis Hwy, Richmond, VA 23234        Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2018 VA 2-099-506             4/20/2018                  1/10/2018                7/1/2020
 153602430 3002-3010 Jefferson Davis Hwy, Richmond, VA 23234        Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/10/2018 VA 2-099-506             4/20/2018                  1/10/2018                7/4/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                117
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 154335676 5935 Hopkins Rd, Richmond, VA 23234                    Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/16/2018 VA 2-099-506              4/20/2018                  1/16/2018               5/19/2021
 152765763 14619-14627 S Western Ave, Gardena, CA 90249           John Allen                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/3/2018 VA 2-103-957              4/20/2018                   1/3/2018                7/7/2020
 156052449 18039 Crenshaw Blvd, Torrance, CA 90504                John Allen                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/30/2018 VA 2-103-956              4/20/2018                  1/30/2018                7/4/2020
 155477889 4885 Hoffman Blvd, Hoffman Estates, IL 60192           Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      1/25/2018 VA 2-099-507              4/20/2018                  1/25/2018                7/5/2020
 159899053 28606 Northwest Fwy, Cypress, TX 77433                 Anissa Yarbrough                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/1/2018 VA 2-101-310               5/3/2018                   3/1/2018                7/5/2020
 162200354 3401-3409 NW 82nd Ave, Doral, FL 33122                 Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2018 VA 2-101-470               5/3/2018                  3/20/2018               7/10/2020
 162200427 3401-3409 NW 82nd Ave, Doral, FL 33122                 Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2018 VA 2-101-470               5/3/2018                  3/20/2018               6/30/2020
 162200453 3401-3409 NW 82nd Ave, Doral, FL 33122                 Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2018 VA 2-101-470               5/3/2018                  3/20/2018                7/3/2020
 162200479 3401-3409 NW 82nd Ave, Doral, FL 33122                 Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/20/2018 VA 2-101-470               5/3/2018                  3/20/2018               7/12/2020
 162654025 8200-8358 NW 30th Ter, Doral, FL 33122                 Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/23/2018 VA 2-101-470               5/3/2018                  3/23/2018              10/23/2020
 161465896 1415 Franklin Gtwy SE, Marietta, GA 30067              Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2018 VA 2-101-312               5/3/2018                  3/14/2018                7/4/2020
 161602734 290 Interstate N Cir SE, Atlanta, GA 30339             Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/15/2018 VA 2-101-312               5/3/2018                  3/15/2018                7/9/2020
 159469247 648 N Plankinton Ave, Milwaukee, WI 53203              Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/26/2018 VA 2-101-313               5/3/2018                  2/26/2018               7/10/2020
 161629178 19233-19255 W Bluemound Rd, Brookfield, WI 53045       Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/15/2018 VA 2-101-315               5/3/2018                  3/15/2018               2/16/2021
 162501584 250 Bishops Way, Brookfield, WI 53005                  Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/22/2018 VA 2-101-315               5/3/2018                  3/22/2018               6/30/2020
 160056036 2959 N Hamlin Ave, Chicago, IL 60618                   Benjamin Gonzales                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/2/2018 VA 2-101-393               5/4/2018                   3/2/2018                7/7/2020
 159030240 1000 S Pine Island Rd, Plantation, FL 33324            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/22/2018 VA 2-102-485               5/4/2018                  2/22/2018              11/18/2020
 160022519 1000 NW 65th St, Fort Lauderdale, FL 33309             Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       3/2/2018 VA 2-102-485               5/4/2018                   3/2/2018                7/3/2020

 161621213 967 Watertower Ln, West Carrollton, OH 45449           Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/15/2018 VA 2-101-473              5/4/2018                  3/15/2018                7/3/2020
 162508449 860 Hillview Ct, Milpitas, CA 95035                    Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/22/2018 VA 2-101-597              5/4/2018                  3/22/2018                7/3/2020
 163267150 8833-8927 Mitchell Blvd, New Port Richey, FL 34655     Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2018 VA 2-102-475              5/4/2018                  3/29/2018                7/1/2020
 159581349 15982 Quantico Rd, Apple Valley, CA 92307              Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/27/2018 VA 2-102-444              5/4/2018                  2/27/2018               6/30/2020
 159581365 15982 Quantico Rd, Apple Valley, CA 92307              Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/27/2018 VA 2-102-444              5/4/2018                  2/27/2018                7/6/2020
 163270789 418 S Main St, Warrensburg, MO 64093                   Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2018 VA 2-101-300              5/4/2018                  3/29/2018                8/8/2020
 163271002 418 S Main St, Warrensburg, MO 64093                   Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2018 VA 2-101-300              5/4/2018                  3/29/2018               8/10/2020
 163272227 418 S Main St, Warrensburg, MO 64093                   Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2018 VA 2-101-300              5/4/2018                  3/29/2018                8/9/2020
 160436770 119 Patriot Dr, Middletown, DE 19709                   Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/6/2018 VA 2-101-391              5/4/2018                   3/6/2018               7/31/2020
 162487868 207-253 NE Front St, Milford, DE 19963                 Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/22/2018 VA 2-101-391              5/4/2018                  3/22/2018               6/30/2020
 162185831 3659 Lorna Rd, Birmingham, AL 35216                    Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/20/2018 VA 2-101-937              5/4/2018                  3/20/2018                7/5/2020
 158842854 474 E 17th St, Costa Mesa, CA 92627                    Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/21/2018 VA 2-102-096              5/8/2018                  2/21/2018                7/5/2020
 159735325 14129 7th St, Dade City, FL 33525                      James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/28/2018 VA 2-101-765              5/8/2018                  2/28/2018                8/8/2020
 160608349 1095 West St, Southington, CT 06489                    Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/7/2018 VA 2-101-943              5/8/2018                   3/7/2018                7/2/2020
 161257323 90 Elm St, Enfield, CT 06082                           Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/13/2018 VA 2-101-943              5/8/2018                  3/13/2018               9/29/2020
 159734059 1105 N Boulevard, Richmond, VA 23230                   Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/28/2018 VA 2-101-832              5/8/2018                  2/28/2018                7/6/2020
 159734136 1105 N Boulevard, Richmond, VA 23230                   Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/28/2018 VA 2-101-832              5/8/2018                  2/28/2018                7/7/2020
 162507473 102 Queens Dr, King Of Prussia, PA 19406               Ian Barnes                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/22/2018 VA 2-101-987              5/8/2018                  3/22/2018                7/1/2020
 163385098 3601 Rigby Rd, Miamisburg, OH 45342                    Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/30/2018 VA 2-101-989              5/8/2018                  3/30/2018               7/13/2020
 162640270 8129-8375 NW 88th Ave, Tamarac, FL 33321               Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/23/2018 VA 2-101-993              5/8/2018                  3/23/2018              10/28/2020
 158997519 10650 Treena St, San Diego, CA 92131                   Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/22/2018 VA 2-101-939              5/8/2018                  2/22/2018               7/15/2020
 162995818 6050 Santo Rd, San Diego, CA 92124                     Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       3/27/2018 VA 2-101-940              5/8/2018                  3/27/2018                7/8/2020
 161627508 4455 Linden Creek Pky, Flint, MI 48507                 Jackie Blair                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/15/2018 VA 2-102-669              5/8/2018                  3/15/2018                7/7/2020
 160697901 1085 Route 4 East, Rutland Town, VT 05701              Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        3/9/2018 VA 2-103-319              5/9/2018                   3/9/2018               7/11/2020
 161457105 1050-1070 Willett Ave, East Providence, RI 02915       Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/14/2018 VA 2-102-087              5/9/2018                  3/14/2018               6/30/2020
 161457168 1050-1070 Willett Ave, East Providence, RI 02915       Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/14/2018 VA 2-102-087              5/9/2018                  3/14/2018                7/1/2020
 162045728 85 Andover St, Danvers, MA 01923                       Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/19/2018 VA 2-103-319              5/9/2018                  3/19/2018                8/7/2020
 162916068 1231-1325 W Yosemite Ave, Manteca, CA 95337            John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/26/2018 VA 2-102-679              5/9/2018                  3/26/2018               7/10/2020
 163391968 2377 W Shaw Ave, Fresno, CA 93711                      John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/30/2018 VA 2-102-679              5/9/2018                  3/30/2018                7/4/2020
 163392037 2377 W Shaw Ave, Fresno, CA 93711                      John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/30/2018 VA 2-102-679              5/9/2018                  3/30/2018               6/30/2020
 162665292 2300-2480 S Highway 6, Houston, TX 77077               Leeah Mayes                                                                     CoStar Group             1300 Post Oak Blvd, Houston, TX 77056                 2815197893       3/23/2018 VA 2-102-003              5/9/2018                  3/23/2018                7/7/2020
 159707484 402 E 9th St, Tucson, AZ 85705                         Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2018 VA 2-102-000              5/9/2018                  2/28/2018               7/12/2020
 159707494 402 E 9th St, Tucson, AZ 85705                         Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2018 VA 2-102-000              5/9/2018                  2/28/2018               7/11/2020
 159733865 6044-6054 S Western Ave, Chicago, IL 60636             Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/28/2018 VA 2-102-872              5/9/2018                  2/28/2018                7/1/2020
 160640526 2021-2029 S Craycroft Rd, Tucson, AZ 85711             Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/8/2018 VA 2-102-000              5/9/2018                   3/8/2018              11/21/2020
 160673994 865-875 N Main St, Alpharetta, GA 30009                Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/8/2018 VA 2-102-002              5/9/2018                   3/8/2018               7/12/2020
 161751121 1111-1141 N El Dorado Pl, Tucson, AZ 85715             Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/16/2018 VA 2-102-000              5/9/2018                  3/16/2018                7/8/2020
 161768634 2880 Holcomb Bridge Rd, Alpharetta, GA 30022           Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/16/2018 VA 2-102-002              5/9/2018                  3/16/2018               7/12/2020
 161779763 4585 E Speedway Blvd, Tucson, AZ 85712                 Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/16/2018 VA 2-102-000              5/9/2018                  3/16/2018                7/5/2020
 162346712 3883 Howard Hughes Pky, Las Vegas, NV 89169            Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/21/2018 VA 2-101-982              5/9/2018                  3/21/2018              10/28/2020
 163271884 5210 E Williams Cir, Tucson, AZ 85711                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2018 VA 2-102-000              5/9/2018                  3/29/2018                7/8/2020
 163271990 5210 E Williams Cir, Tucson, AZ 85711                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2018 VA 2-102-000              5/9/2018                  3/29/2018               7/11/2020
 163272034 5210 E Williams Cir, Tucson, AZ 85711                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2018 VA 2-102-000              5/9/2018                  3/29/2018                7/2/2020
 163272063 5210 E Williams Cir, Tucson, AZ 85711                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/29/2018 VA 2-102-000              5/9/2018                  3/29/2018                7/2/2020
 159026797 1660 Fort St, Lincoln Park, MI 48146                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       2/22/2018 VA 2-102-809              5/9/2018                  2/22/2018                7/2/2020
 161260577 5 Cohannet St, Taunton, MA 02780                       Jeremy Wescott                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/13/2018 VA 2-102-838              5/9/2018                  3/13/2018                7/3/2020
 159025858 9494 Ulmerton Rd, Largo, FL 33771                      Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/22/2018 VA 2-101-974              5/9/2018                  2/22/2018               7/11/2020
 161230388 725 S 40th St, Saint Petersburg, FL 33711              Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       3/12/2018 VA 2-101-978              5/9/2018                  3/12/2018               7/20/2020
 162307504 1675 SW Marlow Ave, Portland, OR 97225                 Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/21/2018 VA 2-102-846              5/9/2018                  3/21/2018              12/26/2020
 161616191 950 1st St S, Winter Haven, FL 33880                   Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/15/2018 VA 2-103-326              5/9/2018                  3/15/2018               7/11/2020
 161616348 950 1st St S, Winter Haven, FL 33880                   Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/15/2018 VA 2-103-326              5/9/2018                  3/15/2018                7/5/2020
 160575150 7610 Carroll Ave, Takoma Park, MD 20912                Joan Sheahan                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/6/2018 VA 2-102-847              5/9/2018                   3/6/2018               7/18/2020
 162367022 511 N Akard St, Dallas, TX 75201                       Joan Sheahan                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/22/2018 VA 2-102-847              5/9/2018                  3/22/2018               1/27/2021

 161263898 1328 Dublin Rd, Columbus, OH 43215                     Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/13/2018 VA 2-102-031             5/10/2018                  3/13/2018              11/21/2020
 163137776 25 Hooks Ln, Pikesville, MD 21208                      Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       3/28/2018 VA 2-102-287             5/10/2018                  3/28/2018               6/30/2020
 160703983 7625 E 21st St, Tulsa, OK 74129                        Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/9/2018 VA 2-103-303             5/10/2018                   3/9/2018               8/10/2020
 161497567 3340 Tamiami Trl E, Naples, FL 34112                   Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/14/2018 VA 2-102-116             5/10/2018                  3/14/2018                7/5/2020
 161497609 3340 Tamiami Trl E, Naples, FL 34112                   Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/14/2018 VA 2-102-116             5/10/2018                  3/14/2018               7/10/2020

 159878429 915 College Park Rd, Summerville, SC 29483             Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        3/1/2018 VA 2-102-040             5/10/2018                   3/1/2018                7/3/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                118
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Attachment                                                                                    Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                        Photographer          Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 159017398 2522 Cruse Rd, Lawrenceville, GA 30044                     Roslyn Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/22/2018 VA 2-102-860              5/10/2018                  2/22/2018                7/3/2020
 161631562 2570 Beverly Dr, Aurora, IL 60502                          Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/15/2018 VA 2-102-052              5/10/2018                  3/15/2018                7/8/2021
 163111571 30 N Michigan Ave, Chicago, IL 60602                       Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/28/2018 VA 2-102-052              5/10/2018                  3/28/2018                7/5/2020
 163225915 39 S State St, Chicago, IL 60603                           Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2018 VA 2-102-052              5/10/2018                  3/29/2018               7/24/2020
 158630676 926 Kohou St, Honolulu, HI 96817                           Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/20/2018 VA 2-102-477              5/10/2018                  2/20/2018               9/30/2020
 163234746 669-693 Winnetka Ave N, Golden Valley, MN 55427            Ryan Sule                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/29/2018 VA 2-102-035              5/10/2018                  3/29/2018               7/13/2020
 159725678 1230-1236 Hardt Cir, Bartlett, IL 60103                    Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      2/28/2018 VA 2-103-317              5/10/2018                  2/28/2018                7/1/2020
 161512455 330 Cummings St, Abingdon, VA 24210                        Molly Mullin                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/13/2018 VA 2-103-315              5/10/2018                  3/13/2018                8/9/2020
 161512473 330 Cummings St, Abingdon, VA 24210                        Molly Mullin                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/12/2018 VA 2-103-315              5/10/2018                  3/12/2018                8/9/2020
 161743246 116 E 16th St, New York, NY 10003                          Simon Shimshilashvili                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/16/2018 VA 2-102-026              5/10/2018                  3/16/2018               7/11/2020
 161801133 24-32 Union Sq E, New York, NY 10003                       Simon Shimshilashvili                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/16/2018 VA 2-102-026              5/10/2018                  3/16/2018                7/3/2020
 161500584 24624 Interstate 45, Spring, TX 77386                      Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2018 VA 2-102-447              5/11/2018                  3/14/2018                7/8/2020
 161480508 120 W 45th St, New York, NY 10036                          Victoria Iniguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/14/2018 VA 2-103-296              5/11/2018                  3/14/2018                7/2/2020
 163358999 247 W 38th St, New York, NY 10018                          Victoria Iniguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/30/2018 VA 2-103-296              5/11/2018                  3/30/2018               7/13/2020
 161776881 3910-3996 Palmer Park Blvd, Colorado Springs, CO 80909     Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/16/2018 VA 2-103-302              5/11/2018                  3/16/2018                7/6/2020
 162496870 1155 Kelly Johnson Blvd, Colorado Springs, CO 80920        Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/22/2018 VA 2-103-302              5/11/2018                  3/22/2018                7/7/2020
 159179149 SE Glendale Ave & 83rd Ave, Glendale, AZ 85303             Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      2/23/2018 VA 2-102-453              5/11/2018                  2/23/2018                7/4/2020
 159179241 SE Glendale Ave & 83rd Ave, Glendale, AZ 85303             Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      2/23/2018 VA 2-102-453              5/11/2018                  2/23/2018                7/4/2020
 159482655 250 N Gilbert Rd, Mesa, AZ 85203                           Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      2/26/2018 VA 2-102-500              5/11/2018                  2/26/2018                7/2/2020
 160456205 4444 Shore Dr, Virginia Beach, VA 23455                    Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       3/6/2018 VA 2-102-505              5/11/2018                   3/6/2018                7/3/2020
 162340881 508 Gibson Dr, Roseville, CA 95678                         Zack Graves                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      3/21/2018 VA 2-102-794              5/11/2018                  3/21/2018                7/7/2020
 166610061 1490 N State Road 7, Margate, FL 33063                     Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/23/2018 VA 2-107-715              6/20/2018                  4/23/2018               7/10/2020
 168319973 225 W Santa Clara St, San Jose, CA 95113                   Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       5/8/2018 VA 2-107-691              6/20/2018                   5/8/2018              11/21/2020

 168503945 9545 Kenwood Rd, Blue Ash, OH 45242                        Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/9/2018 VA 2-107-728             6/20/2018                   5/9/2018               7/17/2021

 169039144 16-62 Martha Layne Collins Blvd, Cold Spring, KY 41076     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/14/2018 VA 2-107-728             6/20/2018                  5/14/2018               7/24/2020

 169039434 16-62 Martha Layne Collins Blvd, Cold Spring, KY 41076     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/14/2018 VA 2-107-728             6/20/2018                  5/14/2018               7/24/2020

 169039499 16-62 Martha Layne Collins Blvd, Cold Spring, KY 41076     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/14/2018 VA 2-107-728             6/20/2018                  5/14/2018               7/24/2020

 169056359 5740 Alexandria Pike, Cold Spring, KY 41076                Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/14/2018 VA 2-107-728             6/20/2018                  5/14/2018                7/5/2020
 167402882 531 Collins St, Pittsburgh, PA 15206                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/30/2018 VA 2-107-500             6/20/2018                  4/30/2018               8/11/2020
 167402993 531 Collins St, Pittsburgh, PA 15206                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/30/2018 VA 2-107-500             6/20/2018                  4/30/2018                8/7/2020
 167403054 531 Collins St, Pittsburgh, PA 15206                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/30/2018 VA 2-107-500             6/20/2018                  4/30/2018                8/9/2020
 167403773 531 Collins St, Pittsburgh, PA 15206                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/30/2018 VA 2-107-500             6/20/2018                  4/30/2018                8/7/2020
 167403823 531 Collins St, Pittsburgh, PA 15206                       Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       4/30/2018 VA 2-107-500             6/20/2018                  4/30/2018               8/11/2020
 166789695 20700 Ventura Blvd, Woodland Hills, CA 91364               Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-107-349             6/20/2018                  4/24/2018               10/3/2020
 163918599 10400 NW 33rd St, Miami, FL 33172                          Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2018 VA 2-107-501             6/20/2018                   4/4/2018                7/7/2020
 163918671 10400 NW 33rd St, Miami, FL 33172                          Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2018 VA 2-107-501             6/20/2018                   4/4/2018                7/9/2020
 163918702 10400 NW 33rd St, Miami, FL 33172                          Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2018 VA 2-107-501             6/20/2018                   4/4/2018               7/13/2020
 163918709 10400 NW 33rd St, Miami, FL 33172                          Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/4/2018 VA 2-107-501             6/20/2018                   4/4/2018               7/12/2020
 167991732 500-520 Abbott Dr, Broomall, PA 19008                      Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/4/2018 VA 2-107-716             6/20/2018                   5/4/2018                7/5/2020
 164944542 7201-7291 N Oak Tfwy, Gladstone, MO 64118                  Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       4/11/2018 VA 2-107-404             6/20/2018                  4/11/2018                7/8/2020
 164944591 7201-7291 N Oak Tfwy, Gladstone, MO 64118                  Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       4/11/2018 VA 2-107-404             6/20/2018                  4/11/2018                7/6/2020
 166022929 5520-5620 Raytown Rd, Raytown, MO 64133                    Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       4/18/2018 VA 2-107-404             6/20/2018                  4/18/2018               7/10/2020
 167995969 1404-1406 Forrest Ave, Dover, DE 19904                     Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        5/4/2018 VA 2-107-730             6/20/2018                   5/4/2018               7/12/2020
 163633846 2365 Powder Springs Rd, Marietta, GA 30064                 Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2018 VA 2-107-362             6/20/2018                   4/2/2018               7/20/2020
 168497463 6714-6716 Odana Rd, Madison, WI 53719                      Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/9/2018 VA 2-107-358             6/20/2018                   5/9/2018                7/5/2020
 166178753 13250 Branch View Ln, Dallas, TX 75234                     Brady Cairns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/19/2018 VA 2-107-725             6/20/2018                  4/19/2018                7/8/2020
 166607821 2731 W Northwest Hwy, Dallas, TX 75220                     Brady Cairns                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/23/2018 VA 2-107-725             6/20/2018                  4/23/2018                7/2/2020
 168841892 15005 Shady Grove Rd, Rockville, MD 20850                  Adam Gibeault                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       5/11/2018 VA 2-107-353             6/20/2018                  5/11/2018                7/3/2020
 163640219 18001-18045 Highwoods Preserve Pky, Tampa, FL 33647        James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2018 VA 2-107-650             6/21/2018                   4/2/2018                7/9/2020
 165940065 6310-6410 Cortez Rd W, Bradenton, FL 34210                 James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/17/2018 VA 2-107-665             6/21/2018                  4/17/2018                7/8/2020
 168035609 17392 Daimler St, Irvine, CA 92614                         Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/4/2018 VA 2-107-682             6/21/2018                   5/4/2018                8/7/2020

 168641529 1441 E Maple Rd, Troy, MI 48083                            Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/10/2018 VA 2-109-728             6/21/2018                  5/10/2018               12/3/2020
 164927773 4895 Peachtree Industrial Blvd, Norcross, GA 30092         Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/11/2018 VA 2-107-973             6/21/2018                  4/11/2018               7/13/2020
 167713872 5870 Veterans Pky, Columbus, GA 31909                      Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/2/2018 VA 2-107-670             6/21/2018                   5/2/2018               7/12/2020
 166867008 4901 NW Urbandale Dr, Urbandale, IA 50322                  Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/25/2018 VA 2-107-291             6/21/2018                  4/25/2018                7/5/2020
 166904307 8901 Andermatt Dr, Lincoln, NE 68526                       Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/25/2018 VA 2-107-291             6/21/2018                  4/25/2018                7/4/2020
 166914742 7438-7470 S University Blvd, Littleton, CO 80122           Jason Tuomey                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/25/2018 VA 2-108-129             6/21/2018                  4/25/2018                7/8/2020
 164933058 3423-3425 W Cary St, Richmond, VA 23221                    Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/11/2018 VA 2-107-759             6/21/2018                  4/11/2018                7/4/2020
 167158501 400 Southlake Blvd, Richmond, VA 23236                     Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2018 VA 2-107-760             6/21/2018                  4/27/2018               7/12/2020
 164754604 3927-3929 W 95th St, Evergreen Park, IL 60805              Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/10/2018 VA 2-107-284             6/21/2018                  4/10/2018               7/12/2020
 166171289 4103 W 26th St, Chicago, IL 60623                          Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/19/2018 VA 2-107-284             6/21/2018                  4/19/2018                7/8/2020
 166794262 3970-3976 Salem Ave, Dayton, OH 45406                      Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/24/2018 VA 2-107-676             6/21/2018                  4/24/2018               7/12/2020
 167426279 670-742 W National Rd, Vandalia, OH 45377                  Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/30/2018 VA 2-107-676             6/21/2018                  4/30/2018                7/6/2020
 168387896 117-249 Springboro Pike, Dayton, OH 45449                  Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/8/2018 VA 2-107-676             6/21/2018                   5/8/2018              10/22/2020
 168390036 7266 Far Hills Ave, Centerville, OH 45459                  Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/8/2018 VA 2-107-676             6/21/2018                   5/8/2018                7/7/2020
 168390081 7266 Far Hills Ave, Centerville, OH 45459                  Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/8/2018 VA 2-107-676             6/21/2018                   5/8/2018                7/1/2020
 168390094 7266 Far Hills Ave, Centerville, OH 45459                  Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/8/2018 VA 2-107-676             6/21/2018                   5/8/2018                7/7/2020
 169132277 131-157 State Road 436, Fern Park, FL 32730                Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/15/2018 VA 2-108-873             6/21/2018                  5/15/2018                7/9/2020
 169132338 131-157 State Road 436, Fern Park, FL 32730                Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       5/15/2018 VA 2-108-873             6/21/2018                  5/15/2018                7/7/2020
 169223641 1261-1291 N Fairfield Rd, Beavercreek, OH 45432            Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/15/2018 VA 2-107-676             6/21/2018                  5/15/2018               7/13/2020
 169133313 888 Veterans Memorial Hwy, Hauppauge, NY 11788             Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/15/2018 VA 2-107-789             6/21/2018                  5/15/2018                7/6/2020
 163612468 4071 Lee Rd, Cleveland, OH 44128                           Gary Krueger                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2018 VA 2-107-785             6/21/2018                   4/2/2018                7/1/2020
 166868662 910 S Center Rd, Flint, MI 48503                           Jackie Blair                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2018 VA 2-107-667             6/21/2018                  4/25/2018               11/8/2020
 168383604 6100 Sims Rd, Sterling Heights, MI 48313                   Jackie Blair                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2018 VA 2-107-667             6/21/2018                   5/8/2018               7/15/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                    119
                                                                    Case 2:20-cv-08819-CBM-AS                                         Document 950-1 Filed 10/25/24                                                                  Page 147 of 202
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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 164632129 385 Garrisonville Rd, Stafford, VA 22554                   Jeanette Holland                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/9/2018 VA 2-108-174              6/21/2018                   4/9/2018               7/5/2020
 164632199 385 Garrisonville Rd, Stafford, VA 22554                   Jeanette Holland                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/9/2018 VA 2-108-174              6/21/2018                   4/9/2018               7/5/2020
 164750919 1601-1651 Carl D. Silver Pky, Fredericksburg, VA 22401     Jeanette Holland                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/10/2018 VA 2-108-174              6/21/2018                  4/10/2018               7/9/2020
 165133325 1900-1910 Warwick Ave, Warwick, RI 02889                   Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/12/2018 VA 2-109-704              6/22/2018                  4/12/2018              7/11/2020
 165356967 1050-1070 Willett Ave, East Providence, RI 02915           Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/13/2018 VA 2-109-704              6/22/2018                  4/13/2018              7/12/2020
 165356989 1050-1070 Willett Ave, East Providence, RI 02915           Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/13/2018 VA 2-109-704              6/22/2018                  4/13/2018               7/7/2020
 165926714 532-620 N Fulton St, Fresno, CA 93728                      John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      4/17/2018 VA 2-108-866              6/22/2018                  4/17/2018               7/2/2020
 166021452 1000 E King Ave, Kingsland, GA 31548                       Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2018 VA 2-109-559              6/22/2018                  4/18/2018              7/11/2020
 166021513 1000 E King Ave, Kingsland, GA 31548                       Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2018 VA 2-109-559              6/22/2018                  4/18/2018               7/7/2020
 166021606 1000 E King Ave, Kingsland, GA 31548                       Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/18/2018 VA 2-109-559              6/22/2018                  4/18/2018               7/6/2020
 166032853 118 N 2nd St, Patterson, CA 95363                          John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      4/18/2018 VA 2-108-866              6/22/2018                  4/18/2018               7/7/2020
 166032978 118 N 2nd St, Patterson, CA 95363                          John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      4/18/2018 VA 2-108-866              6/22/2018                  4/18/2018               7/5/2020
 166280343 737-753 W Palatine Rd, Palatine, IL 60067                  Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      4/20/2018 VA 2-108-883              6/22/2018                  4/20/2018              7/13/2020
 166891192 6300-6388 Oakton St, Morton Grove, IL 60053                Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      4/25/2018 VA 2-108-883              6/22/2018                  4/25/2018               7/2/2020
 167070792 1521 Tollhouse Ave, Clovis, CA 93611                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      4/26/2018 VA 2-108-866              6/22/2018                  4/26/2018              7/10/2020
 167839100 445 Putnam Pike, Smithfield, RI 02828                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       5/3/2018 VA 2-109-704              6/22/2018                   5/3/2018               7/6/2020
 169131679 931 Jefferson Blvd, Warwick, RI 02886                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/15/2018 VA 2-109-704              6/22/2018                  5/15/2018              7/11/2020
 168622350 735-785 Shadowridge Dr, Vista, CA 92083                    Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/10/2018 VA 2-109-354              6/22/2018                  5/10/2018              7/11/2020
 169087192 700 N Brand Blvd, Glendale, CA 91203                       John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/14/2018 VA 2-108-865              6/22/2018                  5/14/2018              7/10/2020
 163941142 3108 State Route 10 W, Denville, NJ 07834                  John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       4/4/2018 VA 2-109-726              6/22/2018                   4/4/2018               7/8/2020

 168303642 3964 Goodman Rd, Southaven, MS 38672                       Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/8/2018 VA 2-109-403             6/22/2018                   5/8/2018                7/6/2020
 163616367 5431 E Williams Blvd, Tucson, AZ 85711                     Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/2/2018 VA 2-108-903             6/22/2018                   4/2/2018                7/9/2020
 167480436 6336 N Oracle Rd, Tucson, AZ 85704                         Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/1/2018 VA 2-108-903             6/22/2018                   5/1/2018               7/10/2020
 168007936 411 E Plainfield Rd, Countryside, IL 60525                 Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        5/4/2018 VA 2-109-710             6/22/2018                   5/4/2018                7/6/2020
 168222283 9431 E 22nd St, Tucson, AZ 85710                           Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/7/2018 VA 2-108-903             6/22/2018                   5/7/2018                7/3/2020
 168222300 9431 E 22nd St, Tucson, AZ 85710                           Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/7/2018 VA 2-108-903             6/22/2018                   5/7/2018                7/9/2020
 168316872 7955 E Broadway Blvd, Tucson, AZ 85710                     Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/8/2018 VA 2-108-903             6/22/2018                   5/8/2018                7/1/2020
 168828468 2244 Corporate Ln, Naperville, IL 60563                    Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/11/2018 VA 2-109-710             6/22/2018                  5/11/2018                7/9/2020
 166773877 2000-2034 New Bern Ave, Raleigh, NC 27610                  Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-109-421             6/22/2018                  4/24/2018                7/9/2020
 166773912 2000-2034 New Bern Ave, Raleigh, NC 27610                  Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-109-421             6/22/2018                  4/24/2018                7/1/2020
 166773990 2000-2034 New Bern Ave, Raleigh, NC 27610                  Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-109-421             6/22/2018                  4/24/2018               7/10/2020
 166774016 2000-2034 New Bern Ave, Raleigh, NC 27610                  Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-109-421             6/22/2018                  4/24/2018                7/1/2020
 167895191 2020 W Brandon Blvd, Brandon, FL 33511                     Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        5/3/2018 VA 2-107-706             6/22/2018                   5/3/2018               7/14/2020
 167053498 605-641 US Highway 17 92 W, Haines City, FL 33844          Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/26/2018 VA 2-108-124             6/22/2018                  4/26/2018                7/5/2020
 167053518 605-641 US Highway 17 92 W, Haines City, FL 33844          Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/26/2018 VA 2-108-124             6/22/2018                  4/26/2018               6/30/2020
 167053557 605-641 US Highway 17 92 W, Haines City, FL 33844          Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/26/2018 VA 2-108-124             6/22/2018                  4/26/2018               7/10/2020
 167053586 605-641 US Highway 17 92 W, Haines City, FL 33844          Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/26/2018 VA 2-108-124             6/22/2018                  4/26/2018               7/12/2020
 168390296 2315 Commerce Point Dr, Lakeland, FL 33801                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/8/2018 VA 2-108-124             6/22/2018                   5/8/2018                7/3/2020
 166773524 1611 Dragon St, Dallas, TX 75207                           Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2018 VA 2-108-868             6/22/2018                  4/24/2018               6/30/2020
 167380483 325 N Saint Paul St, Dallas, TX 75201                      Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2018 VA 2-108-868             6/22/2018                  4/27/2018                7/7/2020
 168714981 9233 Denton Dr, Dallas, TX 75235                           Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/10/2018 VA 2-108-868             6/22/2018                  5/10/2018               7/13/2020
 167735142 1700 Markley St, Norristown, PA 19401                      Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/2/2018 VA 2-108-369             6/25/2018                   5/2/2018                7/1/2020
 169067610 2940 Mallory Cir, Kissimmee, FL 34747                      Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2018 VA 2-109-353             6/25/2018                  5/14/2018                1/2/2021

 168480451 9349-9365 State Route 43, Streetsboro, OH 44241            Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/9/2018 VA 2-108-066             6/25/2018                   5/9/2018                7/5/2020
 168591055 1201 E Main St, Allen, TX 75002                            Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/10/2018 VA 2-109-371             6/25/2018                  5/10/2018                7/2/2020

 165730173 640 Highway 17 S, Surfside Beach, SC 29575                 Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/16/2018 VA 2-108-132             6/25/2018                  4/16/2018                8/8/2020
 164641941 11517 Cordage St, Charlotte, NC 28273                      Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/9/2018 VA 2-108-069             6/25/2018                   4/9/2018                7/8/2020
 165760062 4133-4141 N 35th Ave, Phoenix, AZ 85017                    Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/16/2018 VA 2-108-169             6/25/2018                  4/16/2018                7/2/2020
 165760117 4133-4141 N 35th Ave, Phoenix, AZ 85017                    Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/16/2018 VA 2-108-169             6/25/2018                  4/16/2018                7/8/2020
 166184407 3247-3249 E Thomas Rd, Phoenix, AZ 85018                   Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/19/2018 VA 2-108-169             6/25/2018                  4/19/2018                7/1/2020
 166184437 3247-3249 E Thomas Rd, Phoenix, AZ 85018                   Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/19/2018 VA 2-108-169             6/25/2018                  4/19/2018                7/9/2020
 166184551 3247-3249 E Thomas Rd, Phoenix, AZ 85018                   Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/19/2018 VA 2-108-169             6/25/2018                  4/19/2018                7/6/2020
 167430613 933 N Hairston Rd, Stone Mountain, GA 30083                Roslyn Williams                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2018 VA 2-108-140             6/25/2018                  4/30/2018                7/5/2020
 166147069 141-21 Rockaway Blvd, Jamaica, NY 11436                    Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       4/19/2018 VA 2-108-105             6/25/2018                  4/19/2018              10/29/2020
 166909779 1010 Countryside Pky, Mondovi, WI 54755                    Ryan Sule                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/25/2018 VA 2-108-130             6/25/2018                  4/25/2018                7/3/2020
 167034135 2012 Cleveland Rd W, Huron, OH 44839                       Michael Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2018 VA 2-108-149             6/25/2018                  4/26/2018               7/20/2020
 167034319 2012 Cleveland Rd W, Huron, OH 44839                       Michael Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/26/2018 VA 2-108-149             6/25/2018                  4/26/2018               7/20/2020
 169054295 1090 Williams Reserve Blvd, Wadsworth, OH 44281            Michael Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/14/2018 VA 2-108-149             6/25/2018                  5/14/2018                7/6/2020
 167869800 1150 Berkshire Blvd, Wyomissing, PA 19610                  Steve Baist                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/3/2018 VA 2-108-152             6/26/2018                   5/3/2018                7/8/2020
 167040810 870 N 100 E, Lehi, UT 84043                                Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/26/2018 VA 2-108-857             6/26/2018                  4/26/2018                7/6/2020
 167040855 870 N 100 E, Lehi, UT 84043                                Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/26/2018 VA 2-108-857             6/26/2018                  4/26/2018                7/7/2020
 167464677 320-370 E 800 S, Orem, UT 84097                            Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        5/1/2018 VA 2-108-857             6/26/2018                   5/1/2018                7/5/2020
 168612420 2002 Glenwood Ave, Oneida, NY 13421                        Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/10/2018 VA 2-108-859             6/26/2018                  5/10/2018               7/12/2020
 168612864 2002 Glenwood Ave, Oneida, NY 13421                        Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/10/2018 VA 2-108-859             6/26/2018                  5/10/2018                7/5/2020
 167873015 1755 N Collins Blvd, Richardson, TX 75080                  Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/3/2018 VA 2-108-168             6/26/2018                   5/3/2018                7/5/2020
 163734825 9531 Rayne Rd, Sturtevant, WI 53177                        Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        4/3/2018 VA 2-108-860             6/26/2018                   4/3/2018               1/13/2021
 164627820 11425 Joseph Campau St, Hamtramck, MI 48212                Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/9/2018 VA 2-108-200             6/26/2018                   4/9/2018                7/5/2020
 168605360 35000 W Warren Rd, Westland, MI 48185                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/10/2018 VA 2-108-214             6/26/2018                  5/10/2018               8/11/2020
 168605375 35000 W Warren Rd, Westland, MI 48185                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/10/2018 VA 2-108-214             6/26/2018                  5/10/2018               8/11/2020
 168611451 35000 W Warren Rd, Westland, MI 48185                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/10/2018 VA 2-108-214             6/26/2018                  5/10/2018               7/11/2020
 168611495 35000 W Warren Rd, Westland, MI 48185                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/10/2018 VA 2-108-214             6/26/2018                  5/10/2018                7/3/2020
 164312093 3116-3146 Western Branch Blvd, Chesapeake, VA 23321        Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/6/2018 VA 2-108-146             6/26/2018                   4/6/2018                7/9/2020
 164767188 8158 Florin Rd, Sacramento, CA 95828                       Zack Graves                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/10/2018 VA 2-108-142             6/26/2018                  4/10/2018                7/6/2020
 167479305 500-546 Auburn Ravine Rd, Auburn, CA 95603                 Zack Graves                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2018 VA 2-108-142             6/26/2018                   5/1/2018                7/5/2020
 169823891 13403-13469 Telegraph Rd, Whittier, CA 90605               Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/22/2018 VA 2-110-257             7/17/2018                  5/22/2018               7/16/2020
 171561164 15700-15740 Whittwood Ln, Whittier, CA 90603               Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/8/2018 VA 2-110-259             7/17/2018                   6/8/2018                7/7/2020
 172868633 1511 Abbot Kinney Blvd, Venice, CA 90291                   Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/21/2018 VA 2-110-259             7/17/2018                  6/21/2018                7/4/2020




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 MasterID                              Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 172910720 1511 Abbot Kinney Blvd, Venice, CA 90291                 Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/22/2018 VA 2-110-259              7/17/2018                  6/22/2018               7/8/2020
 172910977 1511 Abbot Kinney Blvd, Venice, CA 90291                 Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/22/2018 VA 2-110-259              7/17/2018                  6/22/2018              7/12/2020
 172911057 1511 Abbot Kinney Blvd, Venice, CA 90291                 Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/22/2018 VA 2-110-259              7/17/2018                  6/22/2018              7/12/2020
 172914890 1511 Abbot Kinney Blvd, Venice, CA 90291                 Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/22/2018 VA 2-110-259              7/17/2018                  6/22/2018               7/5/2020
 172914894 1511 Abbot Kinney Blvd, Venice, CA 90291                 Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/22/2018 VA 2-110-259              7/17/2018                  6/22/2018               7/7/2020
 169790810 200-234 Eglin Pky NE, Fort Walton Beach, FL 32547        Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/22/2018 VA 2-110-303              7/17/2018                  5/22/2018               7/7/2020
 170084316 4-12 NE Skyline Dr, Lees Summit, MO 64086                Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951      5/24/2018 VA 2-110-435              7/17/2018                  5/24/2018               7/5/2020
 169364066 1326-1392 W Main St, Lewisville, TX 75067                Andrew Compomizzi                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/17/2018 VA 2-110-564              7/17/2018                  5/17/2018              1/27/2021
 171057831 2344 Valleydale Rd, Birmingham, AL 35244                 Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2018 VA 2-110-248              7/17/2018                   6/4/2018               7/4/2020
 171057935 2344 Valleydale Rd, Birmingham, AL 35244                 Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2018 VA 2-110-248              7/17/2018                   6/4/2018               7/9/2020
 171140413 3701 Eastern Blvd, Montgomery, AL 36116                  Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/5/2018 VA 2-110-248              7/17/2018                   6/5/2018              1/27/2021
 171889817 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064           Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2018 VA 2-110-248              7/17/2018                  6/12/2018              7/11/2020
 171889915 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064           Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2018 VA 2-110-248              7/17/2018                  6/12/2018               7/9/2020
 171890000 6500-6550 Aaron Aronov Dr, Fairfield, AL 35064           Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/12/2018 VA 2-110-248              7/17/2018                  6/12/2018               7/8/2020
 172585000 2778 S 35th St, Milwaukee, WI 53215                      Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-110-256              7/17/2018                  6/19/2018               7/8/2020
 173516657 383 W Brown Deer Rd, Fox Point, WI 53217                 Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/27/2018 VA 2-110-256              7/17/2018                  6/27/2018               7/5/2020
 171528366 5421 Alpha Rd, Dallas, TX 75240                          Brady Cairns                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/8/2018 VA 2-110-306              7/17/2018                   6/8/2018              4/10/2021

 169244959 2090 N Cable Rd, Lima, OH 45805                          Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/16/2018 VA 2-110-768             7/18/2018                  5/16/2018               4/29/2021
 169941246 7701-7739 Anderson Rd, Tampa, FL 33634                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/23/2018 VA 2-110-937             7/18/2018                  5/23/2018               7/21/2020
 170656751 3123 Thomas Dr, Panama City Beach, FL 32408              David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/30/2018 VA 2-110-890             7/18/2018                  5/30/2018                7/1/2020
 170656752 3123 Thomas Dr, Panama City Beach, FL 32408              David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/30/2018 VA 2-110-890             7/18/2018                  5/30/2018                7/5/2020
 171552326 4301 Anchor Plaza Pkwy, Tampa, FL 33634                  James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/8/2018 VA 2-110-936             7/18/2018                   6/8/2018                7/2/2020
 171796010 123 S Calhoun St, Tallahassee, FL 32301                  David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/11/2018 VA 2-110-890             7/18/2018                  6/11/2018               7/11/2020
 173240270 3160 W Ridge Rd, Rochester, NY 14626                     Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2018 VA 2-110-613             7/18/2018                  6/25/2018               7/22/2020
 173240389 3160 W Ridge Rd, Rochester, NY 14626                     Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2018 VA 2-110-613             7/18/2018                  6/25/2018               7/22/2020
 173240554 3160 W Ridge Rd, Rochester, NY 14626                     Frank Taddeo                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2018 VA 2-110-613             7/18/2018                  6/25/2018               7/22/2020
 173375565 6800 N Dale Mabry Hwy, Tampa, FL 33614                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2018 VA 2-110-936             7/18/2018                  6/26/2018                7/4/2020
 173375595 6800 N Dale Mabry Hwy, Tampa, FL 33614                   James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/26/2018 VA 2-110-936             7/18/2018                  6/26/2018               6/30/2020
 173516788 431 Capital Cir SW, Tallahassee, FL 32304                David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/27/2018 VA 2-110-890             7/18/2018                  6/27/2018                7/5/2020

 173711725 10020 S Compass Dr, Rossford, OH 43460                   Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/29/2018 VA 2-110-771             7/18/2018                  6/29/2018               6/30/2020

 173711774 10020 S Compass Dr, Rossford, OH 43460                   Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/29/2018 VA 2-110-771             7/18/2018                  6/29/2018                7/4/2020

 169500110 5990 Dixie Hwy S, Elizabethtown, KY 42701                Dale Rushing                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/18/2018 VA 2-110-522             7/18/2018                  5/18/2018                7/4/2020
 170814513 5271 W Fayetteville Rd, College Park, GA 30349           Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/1/2018 VA 2-110-523             7/18/2018                   6/1/2018               8/12/2020
 173591125 887 W Marietta St NW, Atlanta, GA 30318                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/28/2018 VA 2-110-573             7/18/2018                  6/28/2018                7/7/2020
 173591132 887 W Marietta St NW, Atlanta, GA 30318                  Isaiah Buchanan                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/28/2018 VA 2-110-573             7/18/2018                  6/28/2018                7/6/2020
 170194455 380 Swift Ave, South San Francisco, CA 94080             George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/25/2018 VA 2-110-482             7/18/2018                  5/25/2018               5/16/2020
 172131182 3777 Vaca Valley Pky, Vacaville, CA 95688                George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2018 VA 2-110-482             7/18/2018                  6/14/2018                7/9/2020
 172131242 3777 Vaca Valley Pky, Vacaville, CA 95688                George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/14/2018 VA 2-110-482             7/18/2018                  6/14/2018               6/30/2020
 172355336 1955 W Texas St, Fairfield, CA 94533                     George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/15/2018 VA 2-110-482             7/18/2018                  6/15/2018                7/5/2020
 169717461 8910-9000 Quioccasin Rd, Richmond, VA 23229              Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2018 VA 2-110-764             7/18/2018                  5/21/2018               7/12/2020
 172254658 10401-10461 Midlothian Tpke, Richmond, VA 23235          Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/15/2018 VA 2-110-765             7/18/2018                  6/15/2018                7/4/2020
 172593115 511-513 Jefferson St, Roanoke, VA 24011                  Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2018 VA 2-110-765             7/18/2018                  6/19/2018                7/6/2020
 173223552 798 Southpark Blvd, Colonial Heights, VA 23834           Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2018 VA 2-110-765             7/18/2018                  6/25/2018               10/3/2020
 169504171 2900 Presidential Dr, Fairborn, OH 45324                 Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/18/2018 VA 2-110-969             7/18/2018                  5/18/2018                7/9/2020
 170801441 7302-7340 Yankee Rd, Liberty Township, OH 45044          Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/31/2018 VA 2-110-969             7/18/2018                  5/31/2018                4/7/2021
 173003857 6094-6104 Executive Blvd, Dayton, OH 45424               Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/22/2018 VA 2-110-575             7/18/2018                  6/22/2018                7/8/2020
 111700207 12432-12454 SW 128th St, Miami, FL 33186                 Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/29/2017 VA 2-110-478             7/18/2018                  3/29/2017               6/30/2020
 151431639 815 NW 57th Ave, Miami, FL 33126                         Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/18/2017 VA 2-110-478             7/18/2018                 12/18/2017                7/3/2020
 152299590 150 SE 2nd Ave, Miami, FL 33131                          Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/28/2017 VA 2-110-478             7/18/2018                 12/28/2017                7/7/2020
 153290310 66-68 W Flagler St, Miami, FL 33130                      Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/8/2018 VA 2-110-478             7/18/2018                   1/8/2018               7/14/2020
 158820415 4800 N Federal Hwy, Boca Raton, FL 33431                 Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/21/2018 VA 2-110-478             7/18/2018                  2/21/2018               7/12/2020
 173587476 1771 N State Road 7, Fort Lauderdale, FL 33313           Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/28/2018 VA 2-110-538             7/18/2018                  6/28/2018                7/3/2020
 173587973 3201-3383 N State Road 7, Lauderdale Lakes, FL 33319     Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/28/2018 VA 2-110-538             7/18/2018                  6/28/2018               7/16/2020
 173587996 3201-3383 N State Road 7, Lauderdale Lakes, FL 33319     Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/28/2018 VA 2-110-538             7/18/2018                  6/28/2018                7/7/2020
 172916881 655 E Main St, East Patchogue, NY 11772                  Dagny Gallo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-113-132             7/18/2018                  6/22/2018               7/12/2020
 172917006 655 E Main St, East Patchogue, NY 11772                  Dagny Gallo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-113-132             7/18/2018                  6/22/2018               7/11/2020
 172917102 655 E Main St, East Patchogue, NY 11772                  Dagny Gallo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-113-132             7/18/2018                  6/22/2018               7/13/2020
 169315483 3175-3185 Midway Dr, San Diego, CA 92110                 Dustin Pacheco                                                                 CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/16/2018 VA 2-110-808             7/18/2018                  5/16/2018               7/24/2020
 171530036 3520-3560 Pontiac Lake Rd, Waterford, MI 48328           Jackie Blair                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/8/2018 VA 2-110-934             7/18/2018                   6/8/2018               10/3/2020
 171107706 3950 N Cedar Ave, Fresno, CA 93726                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        6/4/2018 VA 2-112-484             7/19/2018                   6/4/2018                7/5/2020
 171107735 3950 N Cedar Ave, Fresno, CA 93726                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        6/4/2018 VA 2-112-484             7/19/2018                   6/4/2018                7/4/2020
 171107756 3950 N Cedar Ave, Fresno, CA 93726                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        6/4/2018 VA 2-112-484             7/19/2018                   6/4/2018                7/9/2020
 171107783 3950 N Cedar Ave, Fresno, CA 93726                       John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        6/4/2018 VA 2-112-484             7/19/2018                   6/4/2018               7/10/2020
 171416639 608-632 E Hawley St, Mundelein, IL 60060                 Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        6/7/2018 VA 2-112-494             7/19/2018                   6/7/2018              10/22/2020
 171780692 30 Main St, Topsfield, MA 01983                          Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/11/2018 VA 2-110-876             7/19/2018                  6/11/2018               7/11/2020
 171780703 30 Main St, Topsfield, MA 01983                          Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/11/2018 VA 2-110-876             7/19/2018                  6/11/2018                7/4/2020
 172515533 1101-1123 Fulton Mall, Fresno, CA 93721                  John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/18/2018 VA 2-112-482             7/19/2018                  6/18/2018               7/10/2020
 172515636 1101-1123 Fulton Mall, Fresno, CA 93721                  John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/18/2018 VA 2-112-482             7/19/2018                  6/18/2018               7/11/2020
 172588361 450 Main St, Pawtucket, RI 02860                         Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/19/2018 VA 2-112-501             7/19/2018                  6/19/2018                7/8/2020
 172669527 9-20 Newman Ave, East Providence, RI 02916               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/20/2018 VA 2-112-501             7/19/2018                  6/20/2018                8/8/2020
 172831340 9428 Baymeadows Rd, Jacksonville, FL 32256               Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/21/2018 VA 2-112-228             7/19/2018                  6/21/2018                7/6/2020
 173229919 4450 N Brawley Ave, Fresno, CA 93722                     John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/25/2018 VA 2-112-482             7/19/2018                  6/25/2018               7/10/2020
 169365424 550 W Vista Way, Vista, CA 92083                         Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/17/2018 VA 2-112-477             7/19/2018                  5/17/2018                7/9/2020
 171183347 900 Canterbury Pl, Escondido, CA 92025                   Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/5/2018 VA 2-112-475             7/19/2018                   6/5/2018               10/3/2020

 172123114 5798-5822 Winchester Rd, Memphis, TN 38115               Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/14/2018 VA 2-112-444             7/19/2018                  6/14/2018               7/10/2020




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 173206133 303-323 4th Ave N, Waite Park, MN 56387                    Jeff Karels                                                                     CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/25/2018 VA 2-110-978              7/19/2018                  6/25/2018                7/9/2020
 173615739 34-36 Progress St, Edison, NJ 08820                        John Georgiadis                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/28/2018 VA 2-112-490              7/19/2018                  6/28/2018               8/12/2020
 169833242 55 S Main St, Naperville, IL 60540                         Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      5/22/2018 VA 2-112-504              7/19/2018                  5/22/2018               6/13/2021
 171141865 7780-7890 E Speedway Blvd, Tucson, AZ 85710                Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/5/2018 VA 2-112-322              7/19/2018                   6/5/2018                7/1/2020
 173257748 180 N LaSalle St, Chicago, IL 60601                        Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/25/2018 VA 2-112-509              7/19/2018                  6/25/2018               7/12/2020
 169281170 8707-8775 Temple Terrace Hwy, Temple Terrace, FL 33637     Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      5/16/2018 VA 2-112-227              7/19/2018                  5/16/2018               7/10/2020
 170601654 10005-10075 W Hillsborough Ave, Tampa, FL 33615            Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      5/30/2018 VA 2-112-215              7/19/2018                  5/30/2018                7/6/2020
 171103834 221 Tamiami Trl S, Nokomis, FL 34275                       Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       6/4/2018 VA 2-112-215              7/19/2018                   6/4/2018                7/5/2020
 171272232 8975 Race Track Rd, Tampa, FL 33635                        Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       6/6/2018 VA 2-112-215              7/19/2018                   6/6/2018                7/7/2020
 172545936 5420 Wade Park Blvd, Raleigh, NC 27607                     Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-112-458              7/19/2018                  6/19/2018                7/9/2020
 172548134 5440 Wade Park Blvd, Raleigh, NC 27607                     Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-112-458              7/19/2018                  6/19/2018               4/23/2020
 172821040 3717 National Dr, Raleigh, NC 27612                        Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2018 VA 2-112-458              7/19/2018                  6/21/2018                7/8/2020
 172821122 3717 National Dr, Raleigh, NC 27612                        Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2018 VA 2-112-458              7/19/2018                  6/21/2018               7/13/2020
 173358593 805 SW Broadway, Portland, OR 97205                        Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/26/2018 VA 2-110-898              7/19/2018                  6/26/2018              11/22/2020
 173401666 3150 W Imperial Hwy, Inglewood, CA 90303                   Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/26/2018 VA 2-112-469              7/19/2018                  6/26/2018                1/2/2021
 173460547 8725 W Higgins Rd, Chicago, IL 60631                       Melanie Shaw                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/27/2018 VA 2-112-442              7/19/2018                  6/27/2018                7/1/2020
 173681027 2205 Walnut St, Cary, NC 27518                             Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2018 VA 2-112-458              7/19/2018                  6/29/2018                7/6/2020
 173697079 105-117 SE Taylor St, Portland, OR 97214                   Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/29/2018 VA 2-110-898              7/19/2018                  6/29/2018                7/8/2020
 173821295 1025 W 190th St, Gardena, CA 90248                         Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/30/2018 VA 2-112-469              7/19/2018                  6/30/2018               5/16/2021
 174819418 530 Wilshire Blvd, Santa Monica, CA 90401                  Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/11/2018 VA 2-112-469              7/19/2018                  7/11/2018              10/17/2020
 169823410 30 W Gude Dr, Rockville, MD 20850                          Michael Curatolo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/21/2018 VA 2-112-311              7/19/2018                  5/21/2018               7/20/2020
 169829184 751 Rockville Pike, Rockville, MD 20852                    Michael Curatolo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/21/2018 VA 2-112-311              7/19/2018                  5/21/2018               7/18/2020
 171427699 1667 K St NW, Washington, DC 20006                         Michael Curatolo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/7/2018 VA 2-112-311              7/19/2018                   6/7/2018               7/31/2020
 173396896 6000 Executive Blvd, Rockville, MD 20852                   Michael Curatolo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/26/2018 VA 2-112-311              7/19/2018                  6/26/2018                7/3/2020
 169519460 551 N Ridgewood Dr, Sebring, FL 33870                      Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/18/2018 VA 2-110-873              7/19/2018                  5/18/2018                7/6/2020
 169519544 551 N Ridgewood Dr, Sebring, FL 33870                      Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/18/2018 VA 2-110-873              7/19/2018                  5/18/2018                7/2/2020
 169519691 551 N Ridgewood Dr, Sebring, FL 33870                      Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/18/2018 VA 2-110-873              7/19/2018                  5/18/2018                7/9/2020
 173328601 4300 Rogers Ave, Fort Smith, AR 72903                      Michael Denison                                                                 CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/26/2018 VA 2-112-309              7/19/2018                  6/26/2018                7/7/2020
 170685450 121 Friends Ln, Newtown, PA 18940                          Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/31/2018 VA 2-111-207              7/20/2018                  5/31/2018               1/13/2021
 171780400 840-870 W Main St, Lansdale, PA 19446                      Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/11/2018 VA 2-111-161              7/20/2018                  6/11/2018                7/5/2020
 172587433 1862 Tollgate Rd, Palm, PA 18070                           Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-111-161              7/20/2018                  6/19/2018               7/11/2020
 172587511 1862 Tollgate Rd, Palm, PA 18070                           Steve Baist                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-111-161              7/20/2018                  6/19/2018               7/10/2020
 173227325 2929-2933 Vauxhall Rd, Vauxhall, NJ 07088                  Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/25/2018 VA 2-111-163              7/20/2018                  6/25/2018                7/5/2020
 173227388 2929-2933 Vauxhall Rd, Vauxhall, NJ 07088                  Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/25/2018 VA 2-111-163              7/20/2018                  6/25/2018                7/2/2020
 170488052 6113 W Irlo Bronson Memorial Hwy, Kissimmee, FL 34747      Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/29/2018 VA 2-111-508              7/20/2018                  5/29/2018                7/6/2020
 171883213 120 Sister Pierre Dr, Towson, MD 21204                     Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/12/2018 VA 2-112-166              7/20/2018                  6/12/2018                5/9/2020
 172137346 2012-2014 Jaffa Dr, Saint Cloud, FL 34771                  Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/14/2018 VA 2-111-508              7/20/2018                  6/14/2018               6/30/2020
 172495254 244 Paxton Ave, Salt Lake City, UT 84101                   Todd Cook                                                                       CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/18/2018 VA 2-111-217              7/20/2018                  6/18/2018                7/8/2020
 172593470 5803 Airline Dr, Houston, TX 77076                         Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-111-148              7/20/2018                  6/19/2018                7/7/2020
 172860721 100 Glenborough Dr, Houston, TX 77067                      Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/21/2018 VA 2-111-148              7/20/2018                  6/21/2018               7/13/2020

 172913345 2747-2763 Westbelt Dr, Columbus, OH 43228                  Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       6/22/2018 VA 2-112-289             7/20/2018                  6/22/2018                8/9/2020
 172968481 1500-1566 S French Ave, Sanford, FL 32771                  Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-111-508             7/20/2018                  6/22/2018               1/23/2021
 171229698 2429 Highway 121, Bedford, TX 76021                        Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        6/6/2018 VA 2-111-153             7/20/2018                   6/6/2018               7/31/2020
 171889621 4635 Frankford Ave, Philadelphia, PA 19124                 Mitchell Birnbaum                                                               CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/12/2018 VA 2-112-300             7/20/2018                  6/12/2018                7/9/2020
 173691662 118 Rolling Hills Cir, Easley, SC 29640                    William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/29/2018 VA 2-112-178             7/20/2018                  6/29/2018               6/30/2020
 172600268 735 N Water St, Milwaukee, WI 53202                        Timothy Dabbs                                                                   CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       6/19/2018 VA 2-111-206             7/20/2018                  6/19/2018               7/10/2020

 169820205 750 White Pond Dr, Akron, OH 44320                         Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/22/2018 VA 2-111-524             7/20/2018                  5/22/2018                7/5/2020

 169820217 750 White Pond Dr, Akron, OH 44320                         Pamela Lawrentz                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/22/2018 VA 2-111-524             7/20/2018                  5/22/2018                7/1/2020
 173250313 1 S Nevada Ave, Colorado Springs, CO 80903                 Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2018 VA 2-111-150             7/20/2018                  6/25/2018               7/13/2020

 169854718 201-281 US 131, Three Rivers, MI 49093                     Tyler Bolduc                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/22/2018 VA 2-112-161             7/20/2018                  5/22/2018               7/12/2020
 172004192 17061 Alico Commerce Ct, Fort Myers, FL 33967              Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/13/2018 VA 2-112-168             7/20/2018                  6/13/2018              10/12/2020
 172580418 320 Us Highway 41 Byp S, Venice, FL 34285                  Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/19/2018 VA 2-112-168             7/20/2018                  6/19/2018               8/11/2020
 172580449 320 Us Highway 41 Byp S, Venice, FL 34285                  Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/19/2018 VA 2-112-168             7/20/2018                  6/19/2018               8/11/2020
 172580461 320 Us Highway 41 Byp S, Venice, FL 34285                  Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/19/2018 VA 2-112-168             7/20/2018                  6/19/2018                8/9/2020
 173476387 7340 State Hwy 78, Sachse, TX 75048                        Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/27/2018 VA 2-111-557             7/20/2018                  6/27/2018               7/15/2020
 169940763 1791 S Haggerty Rd, Canton, MI 48188                       Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/23/2018 VA 2-111-337             7/20/2018                  5/23/2018               7/11/2020
 169940793 1791 S Haggerty Rd, Canton, MI 48188                       Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/23/2018 VA 2-111-337             7/20/2018                  5/23/2018               6/30/2020
 169940872 1791 S Haggerty Rd, Canton, MI 48188                       Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/23/2018 VA 2-111-337             7/20/2018                  5/23/2018                7/7/2020
 173514542 8750 Telegraph Rd, Taylor, MI 48180                        Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/27/2018 VA 2-111-338             7/20/2018                  6/27/2018                7/9/2020
 173515608 8750 Telegraph Rd, Taylor, MI 48180                        Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/27/2018 VA 2-111-338             7/20/2018                  6/27/2018                7/7/2020
 173515637 8750 Telegraph Rd, Taylor, MI 48180                        Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/27/2018 VA 2-111-338             7/20/2018                  6/27/2018               7/12/2020
 173585299 23849-23953 West Rd, Brownstown, MI 48134                  Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/28/2018 VA 2-111-338             7/20/2018                  6/28/2018                7/4/2020
 173585541 23115-23157 Telegraph Rd, Brownstown, MI 48134             Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/28/2018 VA 2-111-338             7/20/2018                  6/28/2018                7/6/2020
 173585548 23115-23157 Telegraph Rd, Brownstown, MI 48134             Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/28/2018 VA 2-111-338             7/20/2018                  6/28/2018                7/9/2020

 173220819 7805 Abercorn St, Savannah, GA 31406                       Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/25/2018 VA 2-111-315             7/20/2018                  6/25/2018                7/5/2020

 173323066 4105 Faber Place Dr, North Charleston, SC 29405            Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/26/2018 VA 2-111-315             7/20/2018                  6/26/2018               7/13/2020

 173330605 3860 Faber Place Dr, North Charleston, SC 29405            Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       6/26/2018 VA 2-111-315             7/20/2018                  6/26/2018                7/6/2020
 171401161 3125 Springbank Ln, Charlotte, NC 28226                    Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/7/2018 VA 2-111-322             7/20/2018                   6/7/2018               7/20/2020
 172695438 200 N Avondale Blvd, Avondale, AZ 85323                    Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/20/2018 VA 2-111-345             7/20/2018                  6/20/2018               6/30/2020
 172832392 1000 Hurricane Shoals Rd NE, Lawrenceville, GA 30043       Roslyn Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/21/2018 VA 2-111-317             7/20/2018                  6/21/2018               4/29/2021
 173018648 1075 Old Norcross Rd, Lawrenceville, GA 30046              Roslyn Williams                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-111-317             7/20/2018                  6/22/2018               7/21/2020
 172991899 2284 Kalakaua Ave, Honolulu, HI 96815                      Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/22/2018 VA 2-111-532             7/20/2018                  6/22/2018                7/8/2020
 169313969 5137-5151 Lone Tree Way, Antioch, CA 94531                 Teague Haines                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/16/2018 VA 2-111-171             7/20/2018                  5/16/2018                7/7/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                    122
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 169314024 5137-5151 Lone Tree Way, Antioch, CA 94531              Teague Haines                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/16/2018 VA 2-111-171              7/20/2018                  5/16/2018               7/10/2020
 170733633 1101 Marina Village Pky, Alameda, CA 94501              Teague Haines                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/31/2018 VA 2-111-171              7/20/2018                  5/31/2018               7/13/2020
 172561791 10030 Edison Square Dr NW, Concord, NC 28027            Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2018 VA 2-111-155              7/20/2018                  6/19/2018               7/10/2020
 170679218 600-624 W Base Line St, San Bernardino, CA 92410        Zak Hankel                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/31/2018 VA 2-111-552              7/20/2018                  5/31/2018               7/11/2020
 171103312 5000 W Sunset Blvd, Los Angeles, CA 90027               Zak Hankel                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/4/2018 VA 2-111-552              7/20/2018                   6/4/2018                7/9/2020
 175730486 2585 Freeport Rd, Pittsburgh, PA 15238                  Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938      7/19/2018 VA 2-118-631              9/10/2018                  7/19/2018               7/10/2020
 175357135 7301 SW 57th Ct, South Miami, FL 33143                  Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/16/2018 VA 2-118-705              9/10/2018                  7/16/2018                7/6/2020
 173932656 7600-7660 State Line Rd, Prairie Village, KS 66208      Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                    8448195951       7/2/2018 VA 2-118-644              9/10/2018                   7/2/2018                7/8/2020
 174531035 6901 W 117th Ave, Broomfield, CO 80020                  Andrew Shelton                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/9/2018 VA 2-118-460              9/10/2018                   7/9/2018              11/21/2020
 178426912 10625 W North Ave, Milwaukee, WI 53226                  Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2018 VA 2-118-748              9/10/2018                  8/10/2018               7/21/2020
 175841296 3724 W FM-1960, Houston, TX 77068                       Ashley Boyles                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/20/2018 VA 2-118-641              9/10/2018                  7/20/2018                7/9/2020
 175841332 3724 W FM-1960, Houston, TX 77068                       Ashley Boyles                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/20/2018 VA 2-118-641              9/10/2018                  7/20/2018                7/5/2020
 177813376 11450 Compaq Center West Dr, Houston, TX 77070          Ashley Boyles                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       8/6/2018 VA 2-118-641              9/10/2018                   8/6/2018               7/11/2020
 173888113 4692 Millennium Dr, Belcamp, MD 21017                   Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/2/2018 VA 2-118-464              9/10/2018                   7/2/2018              10/14/2020
 174336097 5811 Allender Rd, White Marsh, MD 21162                 Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/6/2018 VA 2-118-464              9/10/2018                   7/6/2018                7/8/2020
 177310173 303 W Institute Pl, Chicago, IL 60610                   Benjamin Gonzales                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2018 VA 2-118-766              9/11/2018                   8/2/2018                7/8/2020
 173907860 39650 Liberty St, Fremont, CA 94538                     Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/2/2018 VA 2-118-476              9/11/2018                   7/2/2018                7/5/2020
 173907898 39650 Liberty St, Fremont, CA 94538                     Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/2/2018 VA 2-118-475              9/11/2018                   7/2/2018                7/8/2020
 174024031 41565-41601 Albrae St, Fremont, CA 94538                Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/3/2018 VA 2-118-476              9/11/2018                   7/3/2018                8/9/2020
 175856298 3600 Dewey Ave, Rochester, NY 14616                     Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/20/2018 VA 2-118-735              9/11/2018                  7/20/2018               7/31/2020
 176656848 4101 S Hospital Dr, Plantation, FL 33317                Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/27/2018 VA 2-118-954              9/11/2018                  7/27/2018              11/14/2020
 176918644 1000 S Pine Island Rd, Plantation, FL 33324             David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/31/2018 VA 2-118-652              9/11/2018                  7/31/2018              11/18/2020
 177911724 11350 66th St N, Largo, FL 33773                        Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/7/2018 VA 2-118-479              9/11/2018                   8/7/2018                7/4/2020
 178377756 4970-4998 W Atlantic Blvd, Margate, FL 33063            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2018 VA 2-118-954              9/11/2018                  8/10/2018                7/2/2020
 178377788 4970-4998 W Atlantic Blvd, Margate, FL 33063            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2018 VA 2-118-954              9/11/2018                  8/10/2018               7/12/2020
 178377829 4970-4998 W Atlantic Blvd, Margate, FL 33063            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2018 VA 2-118-954              9/11/2018                  8/10/2018                7/9/2020
 178377858 4970-4998 W Atlantic Blvd, Margate, FL 33063            Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/10/2018 VA 2-118-954              9/11/2018                  8/10/2018                7/6/2020

 178420911 10275 Dixie Hwy, Florence, KY 41042                     Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/10/2018 VA 2-118-755             9/11/2018                  8/10/2018                7/2/2020
 178768108 1500 Pinecroft Rd, Greensboro, NC 27407                 Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/13/2018 VA 2-118-946             9/11/2018                  8/13/2018               7/13/2020
 176996637 10261 Trademark St, Rancho Cucamonga, CA 91730          Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/31/2018 VA 2-118-458             9/11/2018                  7/31/2018                8/9/2020
 174182490 1320 S University Dr, Fort Worth, TX 76107              Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/5/2018 VA 2-118-637             9/11/2018                   7/5/2018                7/3/2021
 177794476 808 W Interstate Highway 20, Arlington, TX 76017        Darrell Shultz                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        8/6/2018 VA 2-118-635             9/11/2018                   8/6/2018                7/7/2020
 178119195 765-769 Yonkers Ave, Yonkers, NY 10704                  Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        8/8/2018 VA 2-118-706             9/11/2018                   8/8/2018                7/7/2020
 174596140 654 Anchors St NW, Fort Walton Beach, FL 32548          Brian Falacienski                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/10/2018 VA 2-121-732             9/11/2018                  7/10/2018                7/6/2020
 175099726 694 Motor Pky, Hauppauge, NY 11788                      Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/13/2018 VA 2-118-480             9/11/2018                  7/13/2018                7/5/2020
 177850674 40 Rabro Dr, Hauppauge, NY 11788                        Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2018 VA 2-118-480             9/11/2018                   8/6/2018               8/10/2020
 174216894 520 Robinson Ln, Wilmington, DE 19805                   Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/5/2018 VA 2-118-758             9/11/2018                   7/5/2018               8/11/2020
 174216934 520 Robinson Ln, Wilmington, DE 19805                   Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/5/2018 VA 2-118-758             9/11/2018                   7/5/2018               8/11/2020
 175827219 907 S Chapel St, Newark, DE 19713                       Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/20/2018 VA 2-118-762             9/11/2018                  7/20/2018               6/30/2020
 175827222 907 S Chapel St, Newark, DE 19713                       Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/20/2018 VA 2-118-762             9/11/2018                  7/20/2018               7/10/2020
 178893735 26676 Centerview Dr, Millsboro, DE 19966                Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2018 VA 2-118-762             9/11/2018                  8/14/2018               7/13/2020
 178900978 25935 John J. Williams Hwy, Millsboro, DE 19966         Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2018 VA 2-118-762             9/11/2018                  8/14/2018               8/12/2020
 178900981 25935 John J. Williams Hwy, Millsboro, DE 19966         Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/14/2018 VA 2-118-762             9/11/2018                  8/14/2018               8/10/2020
 177110345 4676-4722 Clairemont Mesa Blvd, San Diego, CA 92117     Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        8/1/2018 VA 2-118-750             9/11/2018                   8/1/2018                7/2/2020
 175820886 1719-1823 Center Point Pky, Birmingham, AL 35215        Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2018 VA 2-118-467             9/11/2018                  7/20/2018               7/13/2020
 178386263 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/10/2020
 178386339 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/12/2020
 178386405 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/1/2020
 178386701 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/9/2020
 178386951 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/1/2020
 178387002 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/10/2020
 178387127 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/3/2020
 178387255 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/1/2020
 178387341 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/11/2020
 178387380 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               6/30/2020
 178387677 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/13/2020
 178387748 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018                7/2/2020
 178387806 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/10/2020
 178387900 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               7/11/2020
 178387982 4121 Carmichael Rd, Montgomery, AL 36106                Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/10/2018 VA 2-118-467             9/11/2018                  8/10/2018               6/30/2020
 177847035 44488 State Route 14, Columbiana, OH 44408              Gary Krueger                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/6/2018 VA 2-118-914             9/11/2018                   8/6/2018               7/13/2020
 175843216 12480 Amargosa Rd, Victorville, CA 92392                Edward Simms                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/20/2018 VA 2-118-745             9/11/2018                  7/20/2018                7/7/2020
 174635792 111 W Jackson Blvd, Chicago, IL 60604                   Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       7/10/2018 VA 2-119-799             9/17/2018                  7/10/2018                7/9/2020
 175427920 200 Trans Air Dr, Morrisville, NC 27560                 Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/17/2018 VA 2-119-767             9/17/2018                  7/17/2018               7/12/2020
 176602429 2 Triangle Dr, Research Triangle Park, NC 27713         Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/27/2018 VA 2-119-767             9/17/2018                  7/27/2018                8/8/2020

 173927825 1630 N Meridian St, Indianapolis, IN 46202              Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        7/2/2018 VA 2-119-772             9/17/2018                   7/2/2018                3/8/2021
 173944082 5555 E Lamona Ave, Fresno, CA 93727                     John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        7/2/2018 VA 2-119-685             9/17/2018                   7/2/2018               7/11/2020
 174179346 65 Taunton Depot Dr, Taunton, MA 02780                  Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/5/2018 VA 2-119-675             9/17/2018                   7/5/2018                7/9/2020
 174179353 65 Taunton Depot Dr, Taunton, MA 02780                  Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/5/2018 VA 2-119-675             9/17/2018                   7/5/2018               7/13/2020
 174179361 65 Taunton Depot Dr, Taunton, MA 02780                  Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        7/5/2018 VA 2-119-675             9/17/2018                   7/5/2018               7/10/2020
 174975987 1200 Fall River Ave, Seekonk, MA 02771                  Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/12/2018 VA 2-119-678             9/17/2018                  7/12/2018                7/8/2020

 175851390 3410 N High School Rd, Indianapolis, IN 46224           Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/20/2018 VA 2-119-779             9/17/2018                  7/20/2018                7/6/2020
 176151159 5646 W Barstow Ave, Fresno, CA 93722                    John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/23/2018 VA 2-119-964             9/17/2018                  7/23/2018                7/8/2020
 176607493 11744 Beach Blvd, Jacksonville, FL 32246                Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/27/2018 VA 2-119-517             9/17/2018                  7/27/2018               7/20/2020

 176655799 2175 Woodville Rd, Oregon, OH 43616                     Dwayne Walker                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/27/2018 VA 2-121-734             9/17/2018                  7/27/2018               7/13/2020
 176950691 3563 Phillips Hwy, Jacksonville, FL 32207               Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/31/2018 VA 2-119-517             9/17/2018                  7/31/2018                7/5/2020




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 177259611 401 N Riverside Dr, Gurnee, IL 60031                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       8/2/2018 VA 2-119-669              9/17/2018                   8/2/2018               7/7/2021
 177399547 661 L St, Sanger, CA 93657                                John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       8/3/2018 VA 2-119-964              9/17/2018                   8/3/2018              8/12/2020
 178909042 120 S Bridge St, Visalia, CA 93291                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/14/2018 VA 2-119-964              9/17/2018                  8/14/2018               7/6/2020
 178909084 120 S Bridge St, Visalia, CA 93291                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/14/2018 VA 2-119-964              9/17/2018                  8/14/2018              7/11/2020
 178909110 120 S Bridge St, Visalia, CA 93291                        John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      8/14/2018 VA 2-119-964              9/17/2018                  8/14/2018               7/3/2020
 176152155 1711 Mountain Ave, Monrovia, CA 91016                     John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/23/2018 VA 2-119-683              9/17/2018                  7/23/2018              7/11/2020
 178742641 400 N Brand Blvd, Glendale, CA 91203                      John Ehart                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/13/2018 VA 2-119-684              9/17/2018                  8/13/2018               7/7/2020
 174222177 300 Perrine Rd, Old Bridge, NJ 08857                      John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       7/5/2018 VA 2-119-682              9/17/2018                   7/5/2018              7/10/2020
 175335596 30 25th Ave S, Saint Cloud, MN 56301                      Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      7/16/2018 VA 2-119-528              9/17/2018                  7/16/2018               7/7/2020
 175335688 30 25th Ave S, Saint Cloud, MN 56301                      Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      7/16/2018 VA 2-119-528              9/17/2018                  7/16/2018               7/1/2020
 174261889 1777 Chestnut Pl, Denver, CO 80202                        Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       7/5/2018 VA 2-119-574              9/17/2018                   7/5/2018               7/8/2020
 174261929 1777 Chestnut Pl, Denver, CO 80202                        Jason Tuomey                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       7/5/2018 VA 2-119-574              9/17/2018                   7/5/2018               7/9/2020
 174373313 2370 Corporate Cir, Henderson, NV 89074                   Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       7/6/2018 VA 2-119-781              9/17/2018                   7/6/2018               7/6/2020
 177228479 5965 Peachtree Corners E, Norcross, GA 30071              Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2018 VA 2-119-606              9/17/2018                   8/2/2018               7/7/2020
 175552054 266 Main St, Medfield, MA 02052                           Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      7/18/2018 VA 2-119-974              9/17/2018                  7/18/2018              7/11/2020
 178226744 12 Latti Farm Rd, Millbury, MA 01527                      Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       8/9/2018 VA 2-119-972              9/17/2018                   8/9/2018               7/8/2020
 174227904 3000 Presidential Dr, Fairborn, OH 45324                  Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       7/5/2018 VA 2-119-599              9/17/2018                   7/5/2018              7/10/2020
 175119406 7719-7755 Tylers Place Blvd, West Chester, OH 45069       Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      7/13/2018 VA 2-119-599              9/17/2018                  7/13/2018               7/9/2020
 175456756 5240 Winthrop Ave, Indianapolis, IN 46220                 Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2018 VA 2-119-983              9/17/2018                  7/17/2018              7/29/2020
 175634675 1501-1505 N Bechtle Ave, Springfield, OH 45504            Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      7/18/2018 VA 2-119-599              9/17/2018                  7/18/2018               7/3/2020
 176290135 10960 Wilshire Blvd, Los Angeles, CA 90024                Kevin Reece                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/24/2018 VA 2-119-628              9/17/2018                  7/24/2018               7/9/2020
 176674226 16650 Boones Ferry Rd, Lake Oswego, OR 97035              Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/27/2018 VA 2-120-071              9/17/2018                  7/27/2018              7/12/2020
 176674269 16650 Boones Ferry Rd, Lake Oswego, OR 97035              Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/27/2018 VA 2-120-071              9/17/2018                  7/27/2018               7/7/2020
 176873294 12100 Wilshire Blvd, Los Angeles, CA 90025                Kevin Reece                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/30/2018 VA 2-119-628              9/17/2018                  7/30/2018              7/14/2020
 176934295 1902 Creekstone, Kokomo, IN 46901                         Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-983              9/17/2018                  7/31/2018               8/9/2020
 176934309 1902 Creekstone, Kokomo, IN 46901                         Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-983              9/17/2018                  7/31/2018              8/10/2020
 176934785 1902 Creekstone, Kokomo, IN 46901                         Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-983              9/17/2018                  7/31/2018              8/12/2020
 177093268 102 Kitty Hawk Dr, Morrisville, NC 27560                  Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/1/2018 VA 2-119-769              9/17/2018                   8/1/2018              7/11/2020
 177225996 739 N Easton Rd, Doylestown, PA 18902                     Ian Barnes                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/2/2018 VA 2-119-600              9/17/2018                   8/2/2018               5/9/2021
 177802607 1902 Creekstone, Kokomo, IN 46901                         Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/6/2018 VA 2-119-983              9/17/2018                   8/6/2018              8/12/2020
 178193272 5151 Glenwood Ave, Raleigh, NC 27612                      Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/9/2018 VA 2-119-769              9/17/2018                   8/9/2018               7/6/2020
 178893797 2016-2170 W Michigan St, Sidney, OH 45365                 Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      8/14/2018 VA 2-119-597              9/17/2018                  8/14/2018               7/2/2020
 176818499 7401-7491 N Federal Hwy, Boca Raton, FL 33487             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/30/2018 VA 2-119-550              9/17/2018                  7/30/2018               7/6/2020
 176818514 7401-7491 N Federal Hwy, Boca Raton, FL 33487             Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/30/2018 VA 2-119-550              9/17/2018                  7/30/2018              7/13/2020
 176966576 113 Moorings Dr, Lantana, FL 33462                        Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      7/31/2018 VA 2-119-550              9/17/2018                  7/31/2018              8/12/2020
 175722580 95-123 Fulton St, Farmingdale, NY 11735                   Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/19/2018 VA 2-119-984              9/17/2018                  7/19/2018               7/8/2020
 175723980 918 Main St, Farmingdale, NY 11735                        Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/19/2018 VA 2-119-984              9/17/2018                  7/19/2018               7/9/2020
 174815867 12525 E Mission Ave, Spokane, WA 99216                    John Othic                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      7/11/2018 VA 2-119-681              9/17/2018                  7/11/2018               7/4/2021
 175822698 75 Lackawanna Ave, Parsippany, NJ 07054                   Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/20/2018 VA 2-119-753              9/18/2018                  7/20/2018               7/4/2020
 175637724 3610 Shire Blvd, Richardson, TX 75082                     Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/18/2018 VA 2-119-548              9/18/2018                  7/18/2018               3/4/2021
 175859048 1633 Firman Dr, Richardson, TX 75081                      Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/20/2018 VA 2-119-548              9/18/2018                  7/20/2018              6/30/2020
 178429878 3755 Marquis Dr, Garland, TX 75042                        Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/10/2018 VA 2-119-971              9/18/2018                  8/10/2018              7/21/2020
 174302953 5899 N Main St, Cowpens, SC 29330                         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       7/6/2018 VA 2-119-691              9/18/2018                   7/6/2018               7/5/2020

 174635432 7841 E Shelby Dr, Memphis, TN 38125                       Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/10/2018 VA 2-119-764             9/18/2018                  7/10/2018                7/3/2020
 176505804 298 Commercial Rd, Spartanburg, SC 29303                  William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/26/2018 VA 2-119-692             9/18/2018                  7/26/2018               7/10/2020

 177837758 2028 Poplar Ave, Collierville, TN 38017                   Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/6/2018 VA 2-119-764             9/18/2018                   8/6/2018               7/11/2020

 178743054 356-366 New Byhalia Rd, Collierville, TN 38017            Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/13/2018 VA 2-119-764             9/18/2018                  8/13/2018               6/30/2020

 178800694 161 Abbington Rd, Collierville, TN 38017                  Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/13/2018 VA 2-119-764             9/18/2018                  8/13/2018                7/4/2020

 178800713 161 Abbington Rd, Collierville, TN 38017                  Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/13/2018 VA 2-119-764             9/18/2018                  8/13/2018               7/11/2020
 176980689 3012-3066 Village Park Dr, Plover, WI 54467               Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       7/31/2018 VA 2-123-720             9/18/2018                  7/31/2018                7/9/2020

 177398490 8536 Crow Dr, Macedonia, OH 44056                         Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/3/2018 VA 2-119-729             9/18/2018                   8/3/2018                7/7/2020

 177398493 8536 Crow Dr, Macedonia, OH 44056                         Pamela Lawrentz                                                                CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        8/3/2018 VA 2-119-729             9/18/2018                   8/3/2018                7/5/2020
 177304599 750 Garden Of The Gods Rd, Colorado Springs, CO 80907     Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        8/2/2018 VA 2-119-757             9/18/2018                   8/2/2018               7/11/2020
 174237451 41606-41610 Date St, Murrieta, CA 92562                   Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/5/2018 VA 2-120-063             9/18/2018                   7/5/2018                6/6/2021
 174334804 27645 Jefferson Ave, Temecula, CA 92590                   Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/6/2018 VA 2-120-063             9/18/2018                   7/6/2018                7/3/2020
 173997423 801-825 N McDonald St, McKinney, TX 75069                 Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/3/2018 VA 2-119-568             9/18/2018                   7/3/2018               7/15/2020
 174292683 18583 N Dallas Pky, Dallas, TX 75287                      Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/6/2018 VA 2-119-568             9/18/2018                   7/6/2018               7/10/2020
 174734189 12748 S Cleveland Ave, Fort Myers, FL 33907               Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       7/11/2018 VA 2-119-792             9/18/2018                  7/11/2018                7/1/2020

 175352710 3108-3150 Alpine Ave, Grand Rapids, MI 49544              Tyler Bolduc                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/16/2018 VA 2-119-716             9/18/2018                  7/16/2018               6/30/2020
 175853510 2050 Couch Dr, McKinney, TX 75069                         Robert Beary                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/20/2018 VA 2-119-568             9/18/2018                  7/20/2018               7/13/2020
 174809605 14100-14110 Pardee Rd, Taylor, MI 48180                   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       7/11/2018 VA 2-119-598             9/18/2018                  7/11/2018               7/24/2020
 174809659 14100-14110 Pardee Rd, Taylor, MI 48180                   Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       7/11/2018 VA 2-119-598             9/18/2018                  7/11/2018               7/24/2020
 177906089 6930 Metroplex Dr, Romulus, MI 48174                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/7/2018 VA 2-120-794             9/18/2018                   8/7/2018               8/12/2020
 177906179 6930 Metroplex Dr, Romulus, MI 48174                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/7/2018 VA 2-120-794             9/18/2018                   8/7/2018                8/8/2020

 175100628 1940 Montgomery Crossroads, Savannah, GA 31406            Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/13/2018 VA 2-119-560             9/18/2018                  7/13/2018               7/13/2020

 175100642 1940 Montgomery Crossroads, Savannah, GA 31406            Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/13/2018 VA 2-119-560             9/18/2018                  7/13/2018               7/12/2020
 174024139 1659-1661 S Val Vista Dr, Gilbert, AZ 85295               Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        7/3/2018 VA 2-119-967             9/18/2018                   7/3/2018                7/9/2020
 177906152 2520 Whitehall Park Dr, Charlotte, NC 28273               Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        8/7/2018 VA 2-119-734             9/18/2018                   8/7/2018               6/30/2020
 175510475 6316-6378 N Scottsdale Rd, Scottsdale, AZ 85253           Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/17/2018 VA 2-119-783             9/18/2018                  7/17/2018                8/8/2020
 175510620 6316-6378 N Scottsdale Rd, Scottsdale, AZ 85253           Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/17/2018 VA 2-119-783             9/18/2018                  7/17/2018               8/11/2020




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 176378212 100-196 W Illinois Hwy, New Lenox, IL 60451          Melanie Shaw                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/25/2018 VA 2-123-723              9/18/2018                  7/25/2018               7/9/2020
 178083173 600 Territorial Dr, Bolingbrook, IL 60440            Melanie Shaw                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/8/2018 VA 2-123-723              9/18/2018                   8/8/2018              7/13/2020
 174764744 135-10 35th Ave, Flushing, NY 11354                  Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/11/2018 VA 2-119-741              9/18/2018                  7/11/2018              7/12/2020
 176100937 39-02-39-20 Bell Blvd, Bayside, NY 11361             Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      7/23/2018 VA 2-119-741              9/18/2018                  7/23/2018              8/12/2020
 178047000 38-20 Review Ave, Long Island City, NY 11101         Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       8/8/2018 VA 2-119-741              9/18/2018                   8/8/2018               7/5/2020
 177009529 94-1388 Moaniani St, Waipahu, HI 96797               Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-722              9/18/2018                  7/31/2018              7/20/2020
 177009823 94-1388 Moaniani St, Waipahu, HI 96797               Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-722              9/18/2018                  7/31/2018              7/20/2020
 176974921 236 1st St W, Waconia, MN 55387                      Ryan Sule                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2018 VA 2-119-559              9/18/2018                  7/31/2018               8/8/2020
 173905931 31669-31699 Hayman St, Hayward, CA 94544             Teague Haines                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/2/2018 VA 2-119-747              9/18/2018                   7/2/2018              7/13/2020
 173911144 31669-31699 Hayman St, Hayward, CA 94544             Teague Haines                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/2/2018 VA 2-119-747              9/18/2018                   7/2/2018              7/13/2020
 175432380 1000 Derita Rd, Concord, NC 28027                    Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/17/2018 VA 2-119-555              9/18/2018                  7/17/2018              7/11/2020
 176857930 265 W Franklin Blvd, Gastonia, NC 28052              Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/30/2018 VA 2-119-555              9/18/2018                  7/30/2018              7/10/2020
 178217877 930 Highway 70 SW, Hickory, NC 28602                 Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/9/2018 VA 2-119-555              9/18/2018                   8/9/2018              7/12/2020
 174538228 25 Chapel St, Brooklyn, NY 11201                     Michael Curatolo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       7/9/2018 VA 2-120-828              9/18/2018                   7/9/2018              7/12/2020
 174773926 160 Littleton Rd, Parsippany, NJ 07054               Neil Shulman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/11/2018 VA 2-119-725              9/18/2018                  7/11/2018              7/11/2020
 177436744 3470 Wilshire Blvd, Los Angeles, CA 90010            Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       8/3/2018 VA 2-119-689              9/18/2018                   8/3/2018              7/13/2020
 178750924 2500 W 8th St, Los Angeles, CA 90057                 Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/13/2018 VA 2-119-689              9/18/2018                  8/13/2018               7/5/2020
 175694999 3701 Fannin St, Houston, TX 77004                    Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/19/2018 VA 2-119-761              9/18/2018                  7/19/2018              12/3/2020
 182322586 1338 S Valentia St, Denver, CO 80247                 Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/4/2018 VA 2-122-232            10/11/2018                    9/4/2018               7/1/2020
 184399809 2400-2496 Teagarden St, San Leandro, CA 94577        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      9/13/2018 VA 2-122-192            10/11/2018                   9/13/2018              7/12/2020
 184399824 2400-2496 Teagarden St, San Leandro, CA 94577        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      9/13/2018 VA 2-122-192            10/11/2018                   9/13/2018               7/5/2020
 184399843 2400-2496 Teagarden St, San Leandro, CA 94577        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      9/13/2018 VA 2-122-192            10/11/2018                   9/13/2018              7/10/2020

 181131881 205 W High St, Lebanon, TN 37087                     Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/30/2018 VA 2-121-891            10/11/2018                  8/30/2018               7/13/2020
 179462145 1701-1923 NW 82nd Ave, Miami, FL 33126               Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2018 VA 2-122-027            10/11/2018                  8/17/2018               7/12/2020
 179473132 1501-1573 NW 82nd Ave, Doral, FL 33126               Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/17/2018 VA 2-122-027            10/11/2018                  8/17/2018                7/3/2020
 180339966 7901-8195 NW 67th St, Miami, FL 33166                Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2018 VA 2-122-027            10/11/2018                  8/24/2018               7/13/2020
 180340017 7901-8195 NW 67th St, Miami, FL 33166                Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2018 VA 2-122-027            10/11/2018                  8/24/2018               7/11/2020
 180340039 7901-8195 NW 67th St, Miami, FL 33166                Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/24/2018 VA 2-122-027            10/11/2018                  8/24/2018               6/30/2020
 180867574 5501-5595 NW 72nd Ave, Miami, FL 33166               Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/29/2018 VA 2-122-027            10/11/2018                  8/29/2018               7/12/2020
 182321376 7100 NW 12th St, Miami, FL 33126                     Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/4/2018 VA 2-122-027            10/11/2018                   9/4/2018               7/11/2020
 183648664 5757 Blue Lagoon Dr, Miami, FL 33126                 Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2018 VA 2-122-027            10/11/2018                  9/10/2018               10/3/2020
 183655069 5775 Blue Lagoon Dr, Miami, FL 33126                 Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2018 VA 2-122-027            10/11/2018                  9/10/2018               10/3/2020
 183675894 5959 Blue Lagoon Dr, Miami, FL 33126                 Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2018 VA 2-122-027            10/11/2018                  9/10/2018               2/16/2021
 185436139 200 Crandon Blvd, Key Biscayne, FL 33149             Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2018 VA 2-122-027            10/11/2018                  9/20/2018                7/6/2020
 185436278 200 Crandon Blvd, Key Biscayne, FL 33149             Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2018 VA 2-122-027            10/11/2018                  9/20/2018                7/5/2020
 185296686 294-298 Churchmans Rd, New Castle, DE 19720          Bill Marrs                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/19/2018 VA 2-121-974            10/11/2018                  9/19/2018               7/24/2020
 185296716 294-298 Churchmans Rd, New Castle, DE 19720          Bill Marrs                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/19/2018 VA 2-121-974            10/11/2018                  9/19/2018               7/24/2020
 184067574 1445-1469 Trae Ln, Lithia Springs, GA 30122          Adrienne Tann                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2018 VA 2-121-892            10/11/2018                  9/12/2018               8/11/2020
 180717518 105 Owens Pky, Birmingham, AL 35244                  Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2018 VA 2-121-978            10/11/2018                  8/28/2018               7/10/2020
 180717572 105 Owens Pky, Birmingham, AL 35244                  Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2018 VA 2-121-978            10/11/2018                  8/28/2018                7/4/2020
 180717606 105 Owens Pky, Birmingham, AL 35244                  Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2018 VA 2-121-978            10/11/2018                  8/28/2018               6/30/2020
 178883861 6850 W 52nd Ave, Arvada, CO 80002                    Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/14/2018 VA 2-122-229            10/11/2018                  8/14/2018              11/26/2020
 184111747 770 S Main St, Fond Du Lac, WI 54935                 Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2018 VA 2-121-894            10/11/2018                  9/12/2018               10/9/2020
 185162369 10521 N Port Washington Rd, Mequon, WI 53092         Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2018 VA 2-121-894            10/11/2018                  9/18/2018                7/5/2020
 180788145 5850 San Felipe St, Houston, TX 77057                Ashley Boyles                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/28/2018 VA 2-121-984            10/11/2018                  8/28/2018                7/9/2020
 186700886 2890 Seven Hills Blvd, Richmond, VA 23231            Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/28/2018 VA 2-122-031            10/11/2018                  9/28/2018                7/5/2020

 180239226 6811-6813 Harrison Ave, Cincinnati, OH 45247         Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/23/2018 VA 2-122-645            10/12/2018                  8/23/2018                7/5/2020
 182476712 3511-3543 N Pine Island Rd, Sunrise, FL 33351        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2018 VA 2-122-477            10/12/2018                   9/5/2018                8/9/2020
 182476715 3511-3543 N Pine Island Rd, Sunrise, FL 33351        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/5/2018 VA 2-122-477            10/12/2018                   9/5/2018               8/12/2020
 183663002 8550-8698 NW 44th St, Lauderhill, FL 33351           Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2018 VA 2-122-477            10/12/2018                  9/10/2018               7/12/2020
 179767682 3705 S 250 W, Ogden, UT 84405                        Brenden Brunnette                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/20/2018 VA 2-122-636            10/12/2018                  8/20/2018                7/6/2020
 180649047 880 W Riverdale Rd, Ogden, UT 84405                  Brenden Brunnette                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2018 VA 2-122-636            10/12/2018                  8/27/2018               7/12/2020
 180649054 880 W Riverdale Rd, Ogden, UT 84405                  Brenden Brunnette                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2018 VA 2-122-636            10/12/2018                  8/27/2018                7/2/2020
 184521806 120-156 N Market Place Dr, Centerville, UT 84014     Brenden Brunnette                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/14/2018 VA 2-122-344            10/12/2018                  9/14/2018               5/29/2021
 185282767 4010 Volta Ave, Brentwood, MD 20722                  Cabrell Cooper                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/19/2018 VA 2-122-465            10/12/2018                  9/19/2018               7/12/2020
 179511065 4215 Tudor Ln, Greensboro, NC 27410                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/17/2018 VA 2-122-208            10/15/2018                  8/17/2018               7/13/2020
 179511429 4215 Tudor Ln, Greensboro, NC 27410                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/17/2018 VA 2-122-208            10/15/2018                  8/17/2018                7/9/2020
 179512340 4215 Tudor Ln, Greensboro, NC 27410                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/17/2018 VA 2-122-208            10/15/2018                  8/17/2018                7/8/2020
 179737606 470-472 Lewis Ave, Meriden, CT 06451                 Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/20/2018 VA 2-122-138            10/15/2018                  8/20/2018              12/13/2020
 180658120 6350 Burnt Poplar Rd, Greensboro, NC 27409           Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/27/2018 VA 2-122-208            10/15/2018                  8/27/2018               7/13/2020
 183850441 1102-1140 Walsh Ave, Santa Clara, CA 95050           Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/11/2018 VA 2-122-148            10/15/2018                  9/11/2018                7/9/2020
 183850451 1102-1140 Walsh Ave, Santa Clara, CA 95050           Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       9/11/2018 VA 2-122-148            10/15/2018                  9/11/2018                7/4/2020

 185667939 15 E Water St, Norwalk, OH 44857                     Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/21/2018 VA 2-122-159            10/15/2018                  9/21/2018               7/20/2020

 185667948 15 E Water St, Norwalk, OH 44857                     Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/21/2018 VA 2-122-159            10/15/2018                  9/21/2018               7/20/2020

 186204665 21 N Main St, Milan, OH 44846                        Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/26/2018 VA 2-122-159            10/15/2018                  9/26/2018               7/16/2020
 186223303 100 Roscommon Dr, Middletown, CT 06457               Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/26/2018 VA 2-122-139            10/15/2018                  9/26/2018                7/5/2020
 186252566 50 Sebethe Dr, Cromwell, CT 06416                    Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/26/2018 VA 2-122-139            10/15/2018                  9/26/2018               7/21/2020
 186329885 871 Washington St, Middletown, CT 06457              Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2018 VA 2-122-139            10/15/2018                  9/27/2018               7/12/2020
 178794333 5615-5639 Memorial Dr, Stone Mountain, GA 30083      Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/24/2018 VA 2-122-145            10/15/2018                  9/24/2018               7/21/2020
 179316668 102 Drake Ave, New Rochelle, NY 10805                Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/16/2018 VA 2-122-156            10/15/2018                  8/16/2018                7/6/2020
 185053610 4540 Atwater Ct, Buford, GA 30518                    Dan Kohler                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/17/2018 VA 2-122-145            10/15/2018                  9/17/2018               7/12/2020
 186294065 1014 Main St, Peekskill, NY 10566                    Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       9/27/2018 VA 2-122-157            10/15/2018                  9/27/2018                8/9/2020
 185660982 10701 Justin Dr, Urbandale, IA 50322                 Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/21/2018 VA 2-122-149            10/15/2018                  9/21/2018                7/7/2020
 185661041 10701 Justin Dr, Urbandale, IA 50322                 Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/21/2018 VA 2-122-149            10/15/2018                  9/21/2018               7/12/2020
 181157032 1900 Ocean Ave, Ronkonkoma, NY 11779                 Dagny Gallo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/30/2018 VA 2-122-180            10/15/2018                  8/30/2018                7/3/2020




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 181157035 1900 Ocean Ave, Ronkonkoma, NY 11779                   Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2018 VA 2-122-180            10/15/2018                  8/30/2018                7/3/2020
 185157146 4 Henry St, Commack, NY 11725                          Dagny Gallo                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-122-180            10/15/2018                  9/18/2018               7/11/2020
 185164953 10100-10146 Huebner Rd, San Antonio, TX 78240          David Greenlees                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-122-165            10/15/2018                  9/18/2018                7/9/2020
 183910625 400 Andrews St, Rochester, NY 14604                    Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/11/2018 VA 2-122-442            10/16/2018                  9/11/2018               7/31/2020
 183910650 400 Andrews St, Rochester, NY 14604                    Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/11/2018 VA 2-122-442            10/16/2018                  9/11/2018               7/31/2020
 183059548 6360 Tylersville Rd, Mason, OH 45040                   Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       9/7/2018 VA 2-122-420            10/16/2018                   9/7/2018              12/20/2020
 179343489 12425 Hagen Ranch Rd, Boynton Beach, FL 33437          Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/16/2018 VA 2-122-422            10/16/2018                  8/16/2018               11/8/2020
 184449167 375 S County Rd, Palm Beach, FL 33480                  Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/14/2018 VA 2-122-424            10/16/2018                  9/14/2018                1/7/2021
 185949608 3445-3553 High Ridge Rd, Boynton Beach, FL 33426       Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/24/2018 VA 2-122-424            10/16/2018                  9/24/2018                7/7/2020
 180069718 8448 N Sam Houston Pky W, Houston, TX 77064            Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2018 VA 2-122-448            10/16/2018                  8/22/2018              10/12/2020
 180404027 6935 Brittmoore Rd, Houston, TX 77041                  Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/24/2018 VA 2-122-448            10/16/2018                  8/24/2018               7/11/2020
 180404051 6935 Brittmoore Rd, Houston, TX 77041                  Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/24/2018 VA 2-122-448            10/16/2018                  8/24/2018               7/13/2020
 180404069 6935 Brittmoore Rd, Houston, TX 77041                  Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/24/2018 VA 2-122-448            10/16/2018                  8/24/2018               7/11/2020
 180404118 6935 Brittmoore Rd, Houston, TX 77041                  Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/24/2018 VA 2-122-448            10/16/2018                  8/24/2018               7/10/2020
 179736671 7540 103rd St, Jacksonville, FL 32210                  Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/20/2018 VA 2-122-421            10/17/2018                  8/20/2018               7/12/2020
 179758732 131 N Mount Carmel Rd, Valrico, FL 33594               James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/20/2018 VA 2-122-839            10/17/2018                  8/20/2018                7/6/2020
 179758759 131 N Mount Carmel Rd, Valrico, FL 33594               James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/20/2018 VA 2-122-839            10/17/2018                  8/20/2018                7/1/2020
 182817558 1429 Rock Quarry Rd, Raleigh, NC 27610                 Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       9/6/2018 VA 2-123-298            10/17/2018                   9/6/2018               7/12/2020
 182817597 1429 Rock Quarry Rd, Raleigh, NC 27610                 Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       9/6/2018 VA 2-123-298            10/17/2018                   9/6/2018                7/2/2020
 182819413 3101 S University Blvd, Jacksonville, FL 32216         Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/6/2018 VA 2-122-427            10/17/2018                   9/6/2018               4/23/2020
 184359396 1221 King St, Jacksonville, FL 32204                   Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/13/2018 VA 2-122-427            10/17/2018                  9/13/2018                7/2/2020
 184492749 2051 N Fresno St, Fresno, CA 93703                     John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      9/14/2018 VA 2-122-484            10/17/2018                  9/14/2018                7/2/2020
 185325284 2632-2640 N Blackstone Ave, Fresno, CA 93703           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      9/19/2018 VA 2-122-484            10/17/2018                  9/19/2018               7/14/2020
 185325392 2632-2640 N Blackstone Ave, Fresno, CA 93703           John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      9/19/2018 VA 2-122-484            10/17/2018                  9/19/2018               7/14/2020
 185070054 44025 Pipeline Plz, Ashburn, VA 20147                  Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/17/2018 VA 2-122-406            10/17/2018                  9/17/2018               7/12/2020
 180240561 1033 Skokie Blvd, Northbrook, IL 60062                 Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      8/23/2018 VA 2-122-407            10/17/2018                  8/23/2018               6/12/2021
 181108522 1690 Roberts Blvd, Kennesaw, GA 30144                  Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2018 VA 2-122-402            10/17/2018                  8/30/2018                7/2/2020
 183831916 6327-6337 E Broadway Blvd, Tucson, AZ 85710            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/11/2018 VA 2-123-284            10/17/2018                  9/11/2018               8/10/2020
 180180255 5850 T G Lee Blvd, Orlando, FL 32822                   Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/23/2018 VA 2-122-724            10/17/2018                  8/23/2018               7/12/2020
 184162635 9185-9201 Park Blvd, Seminole, FL 33777                Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      9/12/2018 VA 2-122-400            10/17/2018                  9/12/2018               7/11/2020
 185168022 44 Hillsboro St, Pittsboro, NC 27312                   Marshall Main                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-122-416            10/17/2018                  9/18/2018                1/2/2021
 185724991 7100 123rd Cir N, Largo, FL 33773                      Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      9/21/2018 VA 2-122-400            10/17/2018                  9/21/2018                7/6/2020
 186185558 3660 Maguire Blvd, Orlando, FL 32803                   Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/26/2018 VA 2-122-724            10/17/2018                  9/26/2018                7/5/2020
 186185695 3660 Maguire Blvd, Orlando, FL 32803                   Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/26/2018 VA 2-122-724            10/17/2018                  9/26/2018               7/12/2020
 186475414 15550 Lightwave Dr, Clearwater, FL 33760               Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      9/28/2018 VA 2-122-400            10/17/2018                  9/28/2018               5/29/2021
 179489528 80 Newtown Rd, Plainview, NY 11803                     Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      8/17/2018 VA 2-123-279            10/17/2018                  8/17/2018                4/2/2021
 184395971 51 Charles Lindbergh Blvd, Uniondale, NY 11553         Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      9/13/2018 VA 2-123-279            10/17/2018                  9/13/2018                7/8/2020
 180869056 4343 W Royal Ln, Irving, TX 75063                      Joan Sheahan                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2018 VA 2-123-294            10/17/2018                  8/29/2018                7/4/2021
 181159589 8615 Freeport Pky, Irving, TX 75063                    Joan Sheahan                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/30/2018 VA 2-123-294            10/17/2018                  8/30/2018               7/15/2020
 185060141 12111 S Highway 183, Buda, TX 78610                    Josh Putman                                                                     CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/17/2018 VA 2-122-717            10/17/2018                  9/17/2018                7/5/2020
 182270553 115-127 Fieldcrest Ave, Edison, NJ 08837               Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/4/2018 VA 2-122-908            10/18/2018                   9/4/2018                7/2/2020
 182809362 5 Kellogg Ct, Edison, NJ 08817                         Steve Cuttler                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       9/6/2018 VA 2-122-908            10/18/2018                   9/6/2018               2/16/2021
 184062658 3600-3606 Silver Star Rd, Orlando, FL 32808            Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2018 VA 2-122-983            10/18/2018                  9/12/2018               2/26/2021
 185443804 575 Broadway, Albany, NY 12207                         Tina Wood                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      9/20/2018 VA 2-123-486            10/18/2018                  9/20/2018                7/6/2020
 185691826 3251 Interstate 45 N, Conroe, TX 77304                 Stephanie McCoy                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/21/2018 VA 2-122-910            10/18/2018                  9/21/2018               7/12/2020
 186352964 333 SE 2nd Ave, Miami, FL 33131                        Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/27/2018 VA 2-122-989            10/18/2018                  9/27/2018               7/11/2020
 186352987 333 SE 2nd Ave, Miami, FL 33131                        Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/27/2018 VA 2-122-989            10/18/2018                  9/27/2018               7/12/2020
 186352994 333 SE 2nd Ave, Miami, FL 33131                        Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/27/2018 VA 2-122-989            10/18/2018                  9/27/2018                7/1/2020
 184446864 16 Rest Master Ln, North Augusta, SC 29860             William Neary                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/14/2018 VA 2-122-855            10/18/2018                  9/14/2018               7/12/2020
 180721404 7311-7321 N Teutonia Ave, Milwaukee, WI 53209          Timothy Dabbs                                                                   CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      8/28/2018 VA 2-122-672            10/18/2018                  8/28/2018                8/9/2020
 185072269 1331 W Memorial Rd, Oklahoma City, OK 73114            Nick Branston                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/17/2018 VA 2-123-033            10/18/2018                  9/17/2018               7/12/2020
 183688748 79440 Corporate Center Dr, La Quinta, CA 92253         Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/10/2018 VA 2-123-020            10/18/2018                  9/10/2018               1/13/2021
 185160540 1595 Spruce St, Riverside, CA 92507                    Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-123-020            10/18/2018                  9/18/2018                7/5/2020
 185160582 1595 Spruce St, Riverside, CA 92507                    Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-123-020            10/18/2018                  9/18/2018               7/11/2020
 181323638 9961 Interstate Commerce Dr, Fort Myers, FL 33913      Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/31/2018 VA 2-123-494            10/18/2018                  8/31/2018               7/12/2020
 184303153 4045 Tamiami Trl, Port Charlotte, FL 33952             Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/13/2018 VA 2-123-494            10/18/2018                  9/13/2018               7/11/2020
 185695525 1818 W Pioneer Pky, Arlington, TX 76013                Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/21/2018 VA 2-122-987            10/18/2018                  9/21/2018               7/11/2020
 186467503 1250 9th St N, Naples, FL 34102                        Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      9/28/2018 VA 2-123-494            10/18/2018                  9/28/2018                8/9/2020
 180654418 17612 Commerce Dr, New Boston, MI 48164                Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      8/27/2018 VA 2-122-659            10/18/2018                  8/27/2018               7/31/2020
 180654458 17612 Commerce Dr, New Boston, MI 48164                Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      8/27/2018 VA 2-122-659            10/18/2018                  8/27/2018               7/31/2020
 180654510 17612 Commerce Dr, New Boston, MI 48164                Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      8/27/2018 VA 2-122-659            10/18/2018                  8/27/2018               7/31/2020
 182478238 35681-35809 Van Born Rd, Romulus, MI 48174             Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       9/5/2018 VA 2-122-659            10/18/2018                   9/5/2018                7/5/2020
 182478269 35681-35809 Van Born Rd, Romulus, MI 48174             Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       9/5/2018 VA 2-122-659            10/18/2018                   9/5/2018                7/7/2020
 185171583 41677 Ford Rd, Canton, MI 48187                        Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/18/2018 VA 2-122-653            10/18/2018                  9/18/2018               11/8/2020
 186164950 331-337 S Stewart Rd, Monroe, MI 48162                 Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      9/26/2018 VA 2-122-653            10/18/2018                  9/26/2018               7/11/2020

 185657440 1301 Charleston Regional Pky, Charleston, SC 29492     Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/21/2018 VA 2-122-703           10/18/2018                  9/21/2018                3/4/2021
 179722265 8008 Corporate Center Dr, Charlotte, NC 28226          Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/20/2018 VA 2-123-012           10/18/2018                  8/20/2018               7/24/2020
 180616597 11 Union St S, Concord, NC 28025                       Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/27/2018 VA 2-123-012           10/18/2018                  8/27/2018                7/6/2020
 186328950 200 Forsyth Hall Dr, Charlotte, NC 28273               Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/27/2018 VA 2-123-493           10/18/2018                  9/27/2018               7/12/2020
 180645127 2215 W Lone Cactus Dr, Phoenix, AZ 85027               Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/27/2018 VA 2-123-044           10/18/2018                  8/27/2018              11/27/2020
 180072945 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/11/2020
 180088880 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/12/2020
 180088999 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018                7/7/2020
 180089055 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/12/2020
 180089197 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018                7/1/2020
 180089210 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/12/2020
 180089234 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/12/2020
 180091592 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018                7/7/2020
 180091613 800-818 Green Mountain Dr, Little Rock, AR 72211       Myreon Coleman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2018 VA 2-122-915           10/18/2018                  8/22/2018               7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                               126
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                               Image Address                      Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 180735494 105 W Capitol Ave, Little Rock, AR 72201                Myreon Coleman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/28/2018 VA 2-122-582            10/18/2018                  8/28/2018               7/6/2020
 179544166 3402-3418 W Flower St, Phoenix, AZ 85017                Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/17/2018 VA 2-122-705            10/18/2018                  8/17/2018              5/25/2021
 179545166 3637 W Roanoke Ave, Phoenix, AZ 85009                   Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/17/2018 VA 2-122-705            10/18/2018                  8/17/2018              5/24/2021
 182327978 20830 N Tatum Blvd, Phoenix, AZ 85050                   Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       9/4/2018 VA 2-122-705            10/18/2018                   9/4/2018               7/4/2020
 180064333 922 Austin Ln, Honolulu, HI 96817                       Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2018 VA 2-123-492            10/18/2018                  8/22/2018              10/1/2020
 180936100 99-994 Iwaena St, Aiea, HI 96701                        Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2018 VA 2-123-492            10/18/2018                  8/29/2018              7/13/2020
 180936133 99-994 Iwaena St, Aiea, HI 96701                        Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/29/2018 VA 2-123-492            10/18/2018                  8/29/2018              7/11/2020
 184117952 800-900 N Nimitz Hwy, Honolulu, HI 96817                Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/12/2018 VA 2-123-015            10/18/2018                  9/12/2018              7/10/2020
 179453939 1655-1673 Pearl Rd, Brunswick, OH 44212                 Michael Williams                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/17/2018 VA 2-122-863            10/18/2018                  8/17/2018              6/30/2020
 180065227 5202 Third Ave, Brooklyn, NY 11220                      Michael Curatolo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/22/2018 VA 2-123-481            10/18/2018                  8/22/2018               7/9/2020
 179883146 155 N Dean St, Englewood, NJ 07631                      Neil Shulman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/21/2018 VA 2-122-914            10/18/2018                  8/21/2018              12/3/2020
 185164106 100 Dutch Hill Rd, Orangeburg, NY 10962                 Neil Shulman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      9/18/2018 VA 2-122-914            10/18/2018                  9/18/2018               2/6/2021
 179828777 8501 Wilshire Blvd, Beverly Hills, CA 90211             Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/21/2018 VA 2-122-850            10/18/2018                  8/21/2018              7/14/2020
 180365717 8383 Wilshire Blvd, Beverly Hills, CA 90211             Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      8/24/2018 VA 2-122-850            10/18/2018                  8/24/2018              2/16/2021
 185032347 12929 Gulf Fwy, Houston, TX 77034                       Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/17/2018 VA 2-122-589            10/18/2018                  9/17/2018               7/6/2020

 189653683 9380 Main St, Montgomery, OH 45242                      Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/17/2018 VA 2-129-593           12/10/2018                 10/17/2018               7/13/2020
 187433995 9051-9053 Van Nuys Blvd, Panorama City, CA 91402        Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/5/2018 VA 2-129-880           12/10/2018                  10/5/2018               7/12/2020
 187064262 7200 NW 7th Ave, Miami, FL 33150                        Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2018 VA 2-129-663           12/10/2018                  10/3/2018              11/26/2020
 195961822 1744-1750 NW 22nd St, Miami, FL 33142                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/15/2018 VA 2-132-772           12/10/2018                 11/15/2018               8/11/2020
 193651705 128-140 S Clairborne Rd, Olathe, KS 66062               Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      10/31/2018 VA 2-129-634           12/10/2018                 10/31/2018               6/30/2020
 187981700 3382 Highway 5, Douglasville, GA 30135                  Adrienne Tann                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/9/2018 VA 2-132-698           12/10/2018                  10/9/2018               7/14/2020
 195581530 1102 Avenue T, Grand Prairie, TX 75050                  Andrew Compomizzi                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/13/2018 VA 2-130-416           12/10/2018                 11/13/2018               7/12/2020
 193657404 2318 N Memorial Pky, Huntsville, AL 35811               Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/31/2018 VA 2-129-615           12/10/2018                 10/31/2018               6/30/2020
 187071208 1351 W Stanford Ave, Englewood, CO 80110                Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2018 VA 2-129-585           12/10/2018                  10/3/2018                7/9/2020
 189674726 1010 Edgewood Rd, Edgewood, MD 21040                    Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/17/2018 VA 2-129-586           12/10/2018                 10/17/2018                7/6/2020
 195527652 192 Duke of Gloucester St, Annapolis, MD 21401          Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2018 VA 2-129-586           12/10/2018                 11/12/2018              12/26/2020
 195527927 37-39 Maryland Ave, Annapolis, MD 21401                 Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2018 VA 2-129-586           12/10/2018                 11/12/2018                7/6/2020
 195528253 1544-1598 Whitehall Rd, Annapolis, MD 21409             Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2018 VA 2-129-586           12/10/2018                 11/12/2018               7/24/2020
 188644348 213 Executive Dr, Cranberry, PA 16066                   Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827      10/12/2018 VA 2-129-599           12/10/2018                 10/12/2018               7/11/2020
 190093889 901 Battleground Ave, Greensboro, NC 27408              Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/19/2018 VA 2-129-871           12/11/2018                 10/19/2018               7/13/2020
 194884057 6530 Land O' Lakes Blvd, Land O Lakes, FL 34638         Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/7/2018 VA 2-129-651           12/11/2018                  11/7/2018               7/13/2020
 195500514 1175 S Federal Hwy, Pompano Beach, FL 33062             Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/12/2018 VA 2-129-696           12/11/2018                 11/12/2018                8/7/2020
 188749107 5646-5704 Whittier Blvd, Commerce, CA 90022             Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/12/2018 VA 2-129-857           12/11/2018                 10/12/2018                7/1/2020
 187392070 717 Executive Park Dr, Mobile, AL 36606                 Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/5/2018 VA 2-129-590           12/11/2018                  10/5/2018               12/8/2020
 187059010 703 White Horse Rd, Voorhees, NJ 08043                  Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/3/2018 VA 2-129-697           12/11/2018                  10/3/2018               7/13/2020
 190840397 131 Rollins Ave, Rockville, MD 20852                    Cabrell Cooper                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/22/2018 VA 2-129-707           12/11/2018                 10/22/2018               7/20/2020

 189017850 42463-42477 Garfield Rd, Clinton Township, MI 48038     Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/15/2018 VA 2-131-285           12/13/2018                 10/15/2018              11/21/2020
 191291852 607 W Dr. Martin Luther King Blvd, Tampa, FL 33603      James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/24/2018 VA 2-132-719           12/13/2018                 10/24/2018               10/2/2020
 193391997 25351 Commercentre Dr, Lake Forest, CA 92630            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/30/2018 VA 2-131-348           12/13/2018                 10/30/2018                2/6/2021

 194766035 2107 N Wayne St, Angola, IN 46703                       Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/6/2018 VA 2-131-278           12/13/2018                  11/6/2018               5/16/2020

 194766110 2107 N Wayne St, Angola, IN 46703                       Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/6/2018 VA 2-131-278           12/13/2018                  11/6/2018               5/16/2020

 194766154 2107 N Wayne St, Angola, IN 46703                       Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/6/2018 VA 2-131-278           12/13/2018                  11/6/2018               5/16/2020
 191514665 2505-2541 Main St, Bridgeport, CT 06606                 Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/25/2018 VA 2-132-484           12/13/2018                 10/25/2018               7/10/2020
 191514666 2505-2541 Main St, Bridgeport, CT 06606                 Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      10/25/2018 VA 2-132-484           12/13/2018                 10/25/2018               7/11/2020
 195102711 43 Danbury Rd, Wilton, CT 06897                         Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       11/8/2018 VA 2-132-484           12/13/2018                  11/8/2018                7/6/2020
 193983277 5400-5460 Springboro Pike, Dayton, OH 45449             Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       11/2/2018 VA 2-131-339           12/13/2018                  11/2/2018                7/7/2020
 195763406 2181 US Route 60, Culloden, WV 25510                    Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/14/2018 VA 2-131-339           12/13/2018                 11/14/2018               7/11/2020
 195763421 2181 US Route 60, Culloden, WV 25510                    Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/14/2018 VA 2-131-339           12/13/2018                 11/14/2018               7/15/2020
 189028644 10003 Alondra Blvd, Bellflower, CA 90706                David Jackson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/15/2018 VA 2-131-280           12/13/2018                 10/15/2018                7/7/2020
 189028661 10003 Alondra Blvd, Bellflower, CA 90706                David Jackson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/15/2018 VA 2-131-280           12/13/2018                 10/15/2018               7/11/2020
 188137504 3744 Comer Ave, Riverside, CA 92507                     Edward Simms                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/10/2018 VA 2-131-350           12/13/2018                 10/10/2018               7/15/2020
 187021393 207 Gannett Dr, South Portland, ME 04106                Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/3/2018 VA 2-131-337           12/14/2018                  10/3/2018               7/11/2020
 187875405 139 Endicott St, Danvers, MA 01923                      Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/8/2018 VA 2-131-337           12/14/2018                  10/8/2018               7/13/2020
 187875418 139 Endicott St, Danvers, MA 01923                      Jeff Tippett                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/8/2018 VA 2-131-337           12/14/2018                  10/8/2018                7/8/2020
 188144186 Bulls Bay Hwy, Jacksonville, FL 32220                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/10/2018 VA 2-131-309           12/14/2018                 10/10/2018                7/9/2020
 188144960 Bulls Bay Hwy, Jacksonville, FL 32220                   Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/10/2018 VA 2-131-309           12/14/2018                 10/10/2018               7/12/2020
 191509304 115 Hines St W, Wilson, NC 27893                        Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/25/2018 VA 2-131-310           12/14/2018                 10/25/2018                7/4/2020
 194761407 1702-1780 Robertson Blvd, Chowchilla, CA 93610          John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       11/6/2018 VA 2-131-318           12/14/2018                  11/6/2018               7/10/2020
 194761466 1702-1780 Robertson Blvd, Chowchilla, CA 93610          John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       11/6/2018 VA 2-131-318           12/14/2018                  11/6/2018               7/13/2020
 194761478 1702-1780 Robertson Blvd, Chowchilla, CA 93610          John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       11/6/2018 VA 2-131-318           12/14/2018                  11/6/2018                7/3/2020
 195206313 900-904 Route 134, South Dennis, MA 02660               Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2018 VA 2-131-315           12/14/2018                  11/9/2018               9/14/2020
 186742369 1405 Highway 18 S, Old Bridge, NJ 08857                 Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2018 VA 2-131-268           12/14/2018                  10/1/2018               12/3/2020
 189024342 1480 Johnson Dr, Delano, MN 55328                       Jeff Karels                                                                    CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      10/15/2018 VA 2-131-347           12/14/2018                 10/15/2018                8/8/2020

 194002807 9080-9120 Millbranch Rd, Southaven, MS 38671            Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       11/2/2018 VA 2-131-025           12/14/2018                  11/2/2018                7/1/2020
 195218373 5550 Friendship Blvd, Chevy Chase, MD 20815             Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/9/2018 VA 2-131-149           12/14/2018                  11/9/2018               7/31/2020
 191173677 1111-1141 N El Dorado Pl, Tucson, AZ 85715              Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/24/2018 VA 2-131-045           12/14/2018                 10/24/2018                7/9/2020
 191400579 6700 E Speedway Blvd, Tucson, AZ 85710                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/25/2018 VA 2-131-045           12/14/2018                 10/25/2018                7/9/2020
 192895312 5100 E Broadway Blvd, Tucson, AZ 85711                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/29/2018 VA 2-131-045           12/14/2018                 10/29/2018               4/29/2021
 192914943 4049-4099 E 22nd St, Tucson, AZ 85711                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/29/2018 VA 2-131-045           12/14/2018                 10/29/2018                7/1/2020
 193383992 4909-4957 E 29th St, Tucson, AZ 85711                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2018 VA 2-131-045           12/14/2018                 10/30/2018                7/2/2020
 193629408 4911 E Broadway Blvd, Tucson, AZ 85711                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/31/2018 VA 2-131-045           12/14/2018                 10/31/2018                7/1/2020
 193956218 4045 E Broadway Blvd, Tucson, AZ 85711                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       11/2/2018 VA 2-131-045           12/14/2018                  11/2/2018               7/10/2020
 193403740 7045 Aurora Rd, Chagrin Falls, OH 44023                 Jessica Broom                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/23/2018 VA 2-131-179           12/14/2018                 10/23/2018               6/20/2021
 186897889 581 W High St, Pottstown, PA 19464                      Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/2/2018 VA 2-131-177           12/14/2018                  10/2/2018                7/4/2020




                          OUTSIDE COUNSEL ONLY                                                                                                               127
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                                Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 186897896 581 W High St, Pottstown, PA 19464                      Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      10/2/2018 VA 2-131-177            12/14/2018                  10/2/2018                7/5/2020
 188682863 13590 N Meridian St, Carmel, IN 46032                   Jennifer White                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/12/2018 VA 2-131-182            12/14/2018                 10/12/2018                7/4/2020
 192099539 4013-4027 W Pico Blvd, Los Angeles, CA 90019            Kevin Reece                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/26/2018 VA 2-131-137            12/14/2018                 10/26/2018               1/13/2021
 193833517 300 W Commonwealth Blvd, Martinsville, VA 24112         Marshall Main                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/1/2018 VA 2-131-273            12/14/2018                  11/1/2018               7/27/2020
 186731017 15 Harbor Park Dr, Port Washington, NY 11050            Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      10/1/2018 VA 2-131-340            12/14/2018                  10/1/2018               6/12/2021
 194892123 865 Merrick Rd, Baldwin, NY 11510                       Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      11/7/2018 VA 2-131-129            12/14/2018                  11/7/2018               7/16/2020
 187051068 6310-6410 Cortez Rd W, Bradenton, FL 34210              Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/3/2018 VA 2-131-345            12/14/2018                  10/3/2018               7/12/2020
 193852944 4525 S Florida Ave, Lakeland, FL 33813                  Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      11/1/2018 VA 2-131-346            12/14/2018                  11/1/2018                7/9/2020
 188309614 1281 Green Oaks Blvd, Arlington, TX 76013               Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/11/2018 VA 2-131-176            12/14/2018                 10/11/2018                2/6/2021
 195033342 7075 Dort Hwy, Grand Blanc, MI 48439                    Kimberly Wooster                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      11/8/2018 VA 2-131-068            12/14/2018                  11/8/2018              11/18/2020
 195645841 3871-3925 Fortune Blvd, Saginaw, MI 48603               Kimberly Wooster                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/13/2018 VA 2-131-068            12/14/2018                 11/13/2018                7/2/2020
 194691028 1461-1489 Elliott Ave W, Seattle, WA 98119              Mark Anderson                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      11/5/2018 VA 2-131-274            12/14/2018                  11/5/2018                2/2/2021
 193670498 9200 Old Annapolis Rd, Columbia, MD 21045               Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     10/31/2018 VA 2-130-932            12/18/2018                 10/31/2018                7/2/2020
 194789646 8141 Telegraph Rd, Severn, MD 21144                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2018 VA 2-130-932            12/18/2018                  11/6/2018               7/12/2020
 194789957 8141 Telegraph Rd, Severn, MD 21144                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2018 VA 2-130-932            12/18/2018                  11/6/2018               6/30/2020
 194790180 8141 Telegraph Rd, Severn, MD 21144                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      11/6/2018 VA 2-130-932            12/18/2018                  11/6/2018               7/11/2020
 187138380 17051 Alico Commerce Ct, Fort Myers, FL 33967           Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/4/2018 VA 2-130-926            12/18/2018                  10/4/2018               7/12/2020
 187138386 17051 Alico Commerce Ct, Fort Myers, FL 33967           Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/4/2018 VA 2-130-926            12/18/2018                  10/4/2018               7/12/2020
 187138404 17051 Alico Commerce Ct, Fort Myers, FL 33967           Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/4/2018 VA 2-130-926            12/18/2018                  10/4/2018                7/4/2020
 187939176 3038 S Cleveland Ave, Fort Myers, FL 33901              Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      10/9/2018 VA 2-130-926            12/18/2018                  10/9/2018               7/11/2020
 192026468 11315 Tamiami Trl E, Naples, FL 34113                   Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     10/26/2018 VA 2-131-250            12/18/2018                 10/26/2018                8/7/2020
 191177474 7405 NW Nonchalant Ave, Carefree, AZ 85377              Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     10/24/2018 VA 2-131-255            12/18/2018                 10/24/2018                7/5/2020
 191177500 7405 NW Nonchalant Ave, Carefree, AZ 85377              Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     10/24/2018 VA 2-131-255            12/18/2018                 10/24/2018                7/9/2020
 188986239 1400 N Broad St, Globe, AZ 85501                        Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2018 VA 2-130-934            12/18/2018                 10/15/2018               7/12/2020
 188986265 1400 N Broad St, Globe, AZ 85501                        Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2018 VA 2-130-934            12/18/2018                 10/15/2018                7/6/2020
 195538071 1827-1831 Ala Moana Blvd, Honolulu, HI 96815            Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/12/2018 VA 2-130-971            12/18/2018                 11/12/2018                7/1/2020
 188297601 3903-3927 S Halsted St, Chicago, IL 60609               Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     10/11/2018 VA 2-131-264            12/18/2018                 10/11/2018                7/2/2020
 195026657 418 E 71st St, Chicago, IL 60619                        Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/8/2018 VA 2-131-264            12/18/2018                  11/8/2018                7/5/2020
 195026766 418 E 71st St, Chicago, IL 60619                        Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/8/2018 VA 2-131-264            12/18/2018                  11/8/2018               7/13/2020
 189030612 295 Route 46 West, Fairfield, NJ 07004                  Neil Shulman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/15/2018 VA 2-130-980            12/18/2018                 10/15/2018                8/8/2020
 187947237 4909 W Pasadena Blvd, Deer Park, TX 77536               Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      10/9/2018 VA 2-130-989            12/18/2018                  10/9/2018               7/17/2020
 187947280 4909 W Pasadena Blvd, Deer Park, TX 77536               Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      10/9/2018 VA 2-130-989            12/18/2018                  10/9/2018               7/17/2020
 193836726 136 Hal Muldrow Dr, Norman, OK 73069                    Richard Waltemath                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2018 VA 2-130-925            12/18/2018                  11/1/2018                7/7/2020
 193836868 136 Hal Muldrow Dr, Norman, OK 73069                    Richard Waltemath                                                              CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      11/1/2018 VA 2-130-925            12/18/2018                  11/1/2018                7/3/2020
 188685290 I-94 & 38th St, Kenosha, WI 53144                       Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977     10/12/2018 VA 2-131-229            12/19/2018                 10/12/2018               7/22/2020
 189258480 2265 South Ave, Scotch Plains, NJ 07076                 Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     10/17/2018 VA 2-131-240            12/19/2018                 10/17/2018                7/4/2020
 195480084 326 S Main St, Manville, NJ 08835                       Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     11/12/2018 VA 2-131-240            12/19/2018                 11/12/2018               7/11/2020
 195480086 326 S Main St, Manville, NJ 08835                       Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500     11/12/2018 VA 2-131-240            12/19/2018                 11/12/2018                7/1/2020

 186757962 165 N 5th St, Columbus, OH 43215                        Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/1/2018 VA 2-130-666           12/19/2018                  10/1/2018               7/12/2020

 186757992 165 N 5th St, Columbus, OH 43215                        Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       10/1/2018 VA 2-130-666           12/19/2018                  10/1/2018               7/12/2020
 187156779 1735 W Hibiscus Blvd, Melbourne, FL 32901               Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2018 VA 2-130-862           12/19/2018                  10/4/2018               7/11/2020
 187156950 1735 W Hibiscus Blvd, Melbourne, FL 32901               Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2018 VA 2-130-862           12/19/2018                  10/4/2018               7/10/2020
 191021463 2500 Port Malabar Blvd NE, Palm Bay, FL 32905           Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/23/2018 VA 2-130-862           12/19/2018                 10/23/2018                7/1/2020
 192006937 9311 Lyndon B Johnson Fwy, Dallas, TX 75243             Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/26/2018 VA 2-131-246           12/19/2018                 10/26/2018               5/16/2020
 186743163 134-142 W 37th St, New York, NY 10018                   Victoria Iniguez                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2018 VA 2-130-907           12/19/2018                  10/1/2018               7/12/2020
 191075194 3151 College Dr, Baton Rouge, LA 70808                  Taber Allen                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/23/2018 VA 2-131-235           12/19/2018                 10/23/2018               7/13/2020
 186836303 2211-2213 S Military Hwy, Chesapeake, VA 23320          Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/2/2018 VA 2-130-902           12/19/2018                  10/2/2018                7/9/2020
 186836309 2211-2213 S Military Hwy, Chesapeake, VA 23320          Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       10/2/2018 VA 2-130-902           12/19/2018                  10/2/2018               7/10/2020
 193818381 15701-15757 Crabbs Branch Way, Rockville, MD 20855      Tyler Priola                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/1/2018 VA 2-130-911           12/19/2018                  11/1/2018               7/18/2020
 199556299 630 Brooker Creek Blvd, Oldsmar, FL 34677               Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2018 VA 2-134-007            1/14/2019                  12/6/2018               1/23/2021
 203949308 1600-1840 Vernon St, North Kansas City, MO 64116        Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/27/2018 VA 2-134-009            1/14/2019                 12/27/2018               7/12/2020
 203949322 1600-1840 Vernon St, North Kansas City, MO 64116        Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/27/2018 VA 2-134-009            1/14/2019                 12/27/2018               7/12/2020
 204041144 2095-2383 E Front St, Kansas City, MO 64120             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/28/2018 VA 2-134-009            1/14/2019                 12/28/2018               7/12/2020
 199531744 3901 FM 2181, Corinth, TX 76210                         Andrew Compomizzi                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2018 VA 2-137-205            1/14/2019                  12/6/2018               10/3/2020
 196792130 44790 Grimmer Blvd, Fremont, CA 94538                   Christopher Lau                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      11/20/2018 VA 2-138-421            1/14/2019                 11/20/2018               7/13/2020

 201327704 1775 W Lexington, Cincinnati, OH 45212                  Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/14/2018 VA 2-136-023            1/14/2019                 12/14/2018                7/9/2020

 201327710 1775 W Lexington, Cincinnati, OH 45212                  Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/14/2018 VA 2-136-023            1/14/2019                 12/14/2018               7/12/2020

 201327720 1775 W Lexington, Cincinnati, OH 45212                  Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/14/2018 VA 2-136-023            1/14/2019                 12/14/2018               7/13/2020
 201346570 3625-3637 S Port Dr, Sacramento, CA 95826               Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      12/14/2018 VA 2-134-020            1/14/2019                 12/14/2018               7/11/2020
 201346574 3625-3637 S Port Dr, Sacramento, CA 95826               Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      12/14/2018 VA 2-134-020            1/14/2019                 12/14/2018                7/7/2020
 201359665 34718-35084 US Highway 19 N, Palm Harbor, FL 34684      Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/14/2018 VA 2-134-007            1/14/2019                 12/14/2018               7/10/2020
 202481555 11111 Santa Monica Blvd, Los Angeles, CA 90025          Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/18/2018 VA 2-138-414            1/14/2019                 12/18/2018               6/30/2020
 200784123 322 Fourth Ave, Pittsburgh, PA 15222                    Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      12/12/2018 VA 2-134-030            1/14/2019                 12/12/2018               7/13/2020
 199651313 10161 Centurion Pkwy N, Jacksonville, FL 32256          Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/7/2018 VA 2-138-408            1/14/2019                  12/7/2018                7/6/2020
 199382161 20844-20860 Plummer St, Chatsworth, CA 91311            Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2018 VA 2-134-055            1/14/2019                  12/5/2018                8/7/2020
 200759162 20310 Plummer St, Chatsworth, CA 91311                  Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/12/2018 VA 2-134-055            1/14/2019                 12/12/2018               7/12/2020
 196899606 1920 Alton Rd, Miami Beach, FL 33139                    Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/21/2018 VA 2-134-029            1/14/2019                 11/21/2018               1/22/2021
 197745811 101 Taunton Rd, Medford, NJ 08055                       Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/27/2018 VA 2-138-413            1/14/2019                 11/27/2018                1/2/2021
 202997323 12955 Biscayne Blvd, North Miami, FL 33181              Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2018 VA 2-134-028            1/14/2019                 12/20/2018                7/1/2020
 202997327 12955 Biscayne Blvd, North Miami, FL 33181              Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2018 VA 2-134-028            1/14/2019                 12/20/2018               7/12/2020
 202997333 12955 Biscayne Blvd, North Miami, FL 33181              Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/20/2018 VA 2-134-028            1/14/2019                 12/20/2018                7/4/2020
 197986873 1019 River St, Belleville, WI 53508                     Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2018 VA 2-134-026            1/14/2019                 11/28/2018                7/5/2020
 197986907 1019 River St, Belleville, WI 53508                     Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/28/2018 VA 2-134-026            1/14/2019                 11/28/2018               7/12/2020
 199551835 W143N9340 Henry Stark Rd, Menomonee Falls, WI 53051     Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2018 VA 2-134-026            1/14/2019                  12/6/2018                7/4/2020
 199551843 W143N9340 Henry Stark Rd, Menomonee Falls, WI 53051     Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/6/2018 VA 2-134-026            1/14/2019                  12/6/2018               7/11/2020




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 MasterID                              Image Address                              Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 200761004 1005-1045 Pulaski Hwy, Havre De Grace, MD 21078                Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/12/2018 VA 2-134-019              1/14/2019                 12/12/2018               7/31/2020
 201888156 33 S Gay St, Baltimore, MD 21202                               Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     12/17/2018 VA 2-138-407              1/14/2019                 12/17/2018                7/3/2020
 203948372 144 Emeryville Dr, Cranberry Township, PA 16066                Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                         8554096827     12/27/2018 VA 2-134-034              1/14/2019                 12/27/2018               7/15/2020
 197904270 3512 Jefferson Davis Hwy, Stafford, VA 22554                   Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     11/28/2018 VA 2-134-039              1/14/2019                 11/28/2018               7/12/2020
 201206361 4171-4179 Plank Rd, Fredericksburg, VA 22407                   Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500     12/13/2018 VA 2-134-039              1/14/2019                 12/13/2018              11/14/2020
 199697927 560-572 Wald, Irvine, CA 92618                                 Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      12/7/2018 VA 2-134-789              1/15/2019                  12/7/2018               2/26/2021

 200784418 51360 Danview Technology Ct, Utica, MI 48315                   Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/12/2018 VA 2-134-330             1/15/2019                 12/12/2018               6/30/2020

 200785782 51204-51300 Danview Technology Ct, Shelby Township, MI 48315   Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/12/2018 VA 2-134-330             1/15/2019                 12/12/2018               7/12/2020

 200785806 51204-51300 Danview Technology Ct, Shelby Township, MI 48315   Douglas Wright                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/12/2018 VA 2-134-330             1/15/2019                 12/12/2018               7/10/2020
 202298799 1550 Main St, Springfield, MA 01103                            Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/18/2018 VA 2-134-165             1/15/2019                 12/18/2018               7/20/2020
 203881289 4041-4065 Crescent Park Dr, Riverview, FL 33578                James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/26/2018 VA 2-134-757             1/15/2019                 12/26/2018               7/12/2020
 196649755 955 E 233rd St, Bronx, NY 10466                                Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/19/2018 VA 2-134-229             1/15/2019                 11/19/2018               7/16/2020
 198147038 176B Buckelew Ave, Jamesburg, NJ 08831                         John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/29/2018 VA 2-134-716             1/15/2019                 11/29/2018                7/5/2020
 198147039 176B Buckelew Ave, Jamesburg, NJ 08831                         John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      11/29/2018 VA 2-134-716             1/15/2019                 11/29/2018               7/12/2020
 198935556 2877 W 20th St, Brooklyn, NY 11224                             John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       12/4/2018 VA 2-134-716             1/15/2019                  12/4/2018                8/7/2020

 199595399 1245 N Germantown Pky, Cordova, TN 38016                       Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       12/6/2018 VA 2-134-713             1/15/2019                  12/6/2018                7/7/2020
 199537017 2275 Marion Dr, Las Vegas, NV 89115                            Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       12/6/2018 VA 2-134-741             1/15/2019                  12/6/2018                7/7/2020
 199537270 2275 Marion Dr, Las Vegas, NV 89115                            Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       12/6/2018 VA 2-134-741             1/15/2019                  12/6/2018               7/10/2020
 196063419 1220-1246 Bennettsville Sq, Bennettsville, SC 29512            Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/16/2018 VA 2-134-802             1/15/2019                 11/16/2018              12/20/2020
 204266837 1320-1418 Clinton Rd, Fayetteville, NC 28312                   Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/31/2018 VA 2-134-810             1/15/2019                 12/31/2018                8/8/2020
 197408178 346-350 Walnut Street Ext, Agawam, MA 01001                    Gary Wilcox                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/26/2018 VA 2-134-790             1/15/2019                 11/26/2018               7/15/2020
 197408180 346-350 Walnut Street Ext, Agawam, MA 01001                    Gary Wilcox                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/26/2018 VA 2-134-790             1/15/2019                 11/26/2018               7/15/2020
 200761289 2560 Miamisburg Centerville Rd, Dayton, OH 45459               Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/12/2018 VA 2-134-782             1/15/2019                 12/12/2018               7/13/2020
 201340971 40 Towne Center Cir, Sanford, FL 32771                         Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      12/14/2018 VA 2-134-736             1/15/2019                 12/14/2018               7/13/2020
 203864820 1400 W Hubbard St, Chicago, IL 60642                           Dulce Rodriguez                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/26/2018 VA 2-134-231             1/15/2019                 12/26/2018                7/5/2020
 201893012 699 Merrick Rd, Lynbrook, NY 11563                             Jeffrey Siegel                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      12/17/2018 VA 2-134-723             1/15/2019                 12/17/2018                7/8/2020
 196928884 5131 Florida Ave, Lakeland, FL 33813                           Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      11/21/2018 VA 2-134-731             1/15/2019                 11/21/2018                7/7/2020
 199704163 9713-9775 Baseline Rd, Rancho Cucamonga, CA 91730              Edward Simms                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/7/2018 VA 2-134-812             1/15/2019                  12/7/2018               5/25/2021
 197753943 514 W Main St, Collinsville, IL 62234                          Diana Soliwon                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/27/2018 VA 2-134-161             1/15/2019                 11/27/2018               7/13/2020
 197754109 514 W Main St, Collinsville, IL 62234                          Diana Soliwon                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/27/2018 VA 2-134-161             1/15/2019                 11/27/2018               7/13/2020
 199417704 6400 Colleyville Blvd, Colleyville, TX 76034                   Emily Whitman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2018 VA 2-134-800             1/15/2019                  12/5/2018                4/8/2021
 201882356 1615 West Chester Pike, West Chester, PA 19382                 Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/17/2018 VA 2-134-433             1/16/2019                 12/17/2018               7/12/2020
 203943872 1200 Morris Dr, Wayne, PA 19087                                Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/27/2018 VA 2-134-433             1/16/2019                 12/27/2018                7/9/2020
 197761813 421-423 W Main St, Visalia, CA 93291                           John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      11/27/2018 VA 2-134-416             1/16/2019                 11/27/2018               7/14/2020
 197761835 421-423 W Main St, Visalia, CA 93291                           John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      11/27/2018 VA 2-134-416             1/16/2019                 11/27/2018               7/14/2020
 197761860 421-423 W Main St, Visalia, CA 93291                           John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      11/27/2018 VA 2-134-416             1/16/2019                 11/27/2018               7/14/2020
 199414555 4444 W Ferdinand St, Chicago, IL 60624                         Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       12/5/2018 VA 2-135-551             1/16/2019                  12/5/2018                7/6/2020
 199682625 4601 Six Forks Rd, Raleigh, NC 27609                           Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/7/2018 VA 2-134-469             1/16/2019                  12/7/2018              10/12/2020
 200767108 1530 Davisville Rd, North Kingstown, RI 02852                  Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/12/2018 VA 2-134-412             1/16/2019                 12/12/2018                7/3/2020
 201267359 600 N Kilbourn Ave, Chicago, IL 60624                          Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/13/2018 VA 2-135-551             1/16/2019                 12/13/2018               7/12/2020
 201288130 3950 N Cedar Ave, Fresno, CA 93726                             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      12/13/2018 VA 2-134-416             1/16/2019                 12/13/2018                7/2/2020
 201288177 3950 N Cedar Ave, Fresno, CA 93726                             John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      12/13/2018 VA 2-134-416             1/16/2019                 12/13/2018               7/13/2020
 201903581 1420 Renaissance Dr, Park Ridge, IL 60068                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/17/2018 VA 2-135-551             1/16/2019                 12/17/2018                7/4/2020
 202249425 180 N Michigan Ave, Chicago, IL 60601                          Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/18/2018 VA 2-135-551             1/16/2019                 12/18/2018               10/7/2020
 202605819 2600 Warrenville Rd, Downers Grove, IL 60515                   Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/19/2018 VA 2-135-551             1/16/2019                 12/19/2018               7/16/2020
 202993268 150 Chestnut St, Providence, RI 02903                          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/20/2018 VA 2-134-412             1/16/2019                 12/20/2018                7/5/2020
 198959165 735-785 Shadowridge Dr, Vista, CA 92083                        Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       12/4/2018 VA 2-134-417             1/16/2019                  12/4/2018                7/6/2020
 202596109 1 Executive Dr, Toms River, NJ 08755                           Michael Johnson                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/19/2018 VA 2-134-525             1/16/2019                 12/19/2018               7/13/2020
 203874895 21586 Atlantic Blvd, Sterling, VA 20166                        Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/26/2018 VA 2-134-410             1/16/2019                 12/26/2018               5/16/2020
 203875022 21586 Atlantic Blvd, Sterling, VA 20166                        Joseph Furio                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/26/2018 VA 2-134-410             1/16/2019                 12/26/2018               5/16/2020
 197408522 5979 E Grant Rd, Tucson, AZ 85712                              Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/26/2018 VA 2-134-478             1/16/2019                 11/26/2018                7/4/2020
 198082337 6571 E Tanque Verde Rd, Tucson, AZ 85715                       Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/29/2018 VA 2-134-480             1/16/2019                 11/29/2018               7/12/2020
 198289524 6303 E Tanque Verde Rd, Tucson, AZ 85715                       Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/30/2018 VA 2-134-480             1/16/2019                 11/30/2018                7/5/2020
 201230525 5000-5040 Montana Ave, El Paso, TX 79903                       Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/13/2018 VA 2-134-480             1/16/2019                 12/13/2018               7/12/2020
 201230571 5000-5040 Montana Ave, El Paso, TX 79903                       Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      12/13/2018 VA 2-134-480             1/16/2019                 12/13/2018               7/12/2020
 196911589 336 W Mine St, Hazleton, PA 18201                              Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/21/2018 VA 2-134-422             1/16/2019                 11/21/2018                8/7/2020
 196911595 336 W Mine St, Hazleton, PA 18201                              Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/21/2018 VA 2-134-422             1/16/2019                 11/21/2018               8/11/2020
 200625280 4431-4457 W Lincoln Hwy, Matteson, IL 60443                    Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      12/11/2018 VA 2-134-706             1/16/2019                 12/11/2018               7/12/2020
 201873204 549 W Randolph St, Chicago, IL 60661                           Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      12/17/2018 VA 2-134-706             1/16/2019                 12/17/2018               7/12/2020
 198139016 7057 Ridgmar Meadow Rd, Fort Worth, TX 76116                   Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/29/2018 VA 2-134-421             1/16/2019                 11/29/2018               7/10/2020
 200662128 10726 Tucker St, Beltsville, MD 20705                          Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/11/2018 VA 2-134-564             1/16/2019                 12/11/2018                7/2/2020
 203949430 14750 Sweitzer Ln, Laurel, MD 20707                            Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/27/2018 VA 2-134-564             1/16/2019                 12/27/2018                8/9/2020
 199385044 17-61 Blanchard St, Newark, NJ 07105                           Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       12/5/2018 VA 2-135-624             1/17/2019                  12/5/2018              11/26/2020
 199518557 700-800 1st St, Harrison, NJ 07029                             Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       12/6/2018 VA 2-135-624             1/17/2019                  12/6/2018               7/31/2020
 196753284 1125 NE 125th St, North Miami, FL 33161                        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2018 VA 2-135-835             1/17/2019                 11/20/2018               6/30/2020

 197985333 12565 National Rd, Pataskala, OH 43062                         Sam Blythe                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/28/2018 VA 2-135-651             1/17/2019                 11/28/2018               7/14/2020
 199422657 2509 N Frazier St, Conroe, TX 77303                            Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2018 VA 2-135-627             1/17/2019                  12/5/2018                7/5/2020
 201876296 8890 McDonogh Rd, Owings Mills, MD 21117                       Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/17/2018 VA 2-135-927             1/17/2019                 12/17/2018                7/9/2020
 202585263 1325-1381 Western Ave, Baltimore, MD 21230                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/19/2018 VA 2-135-927             1/17/2019                 12/19/2018                4/2/2021
 202974164 1600 Ridgely St, Baltimore, MD 21230                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/20/2018 VA 2-135-927             1/17/2019                 12/20/2018               7/13/2020
 202974183 1600 Ridgely St, Baltimore, MD 21230                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/20/2018 VA 2-135-927             1/17/2019                 12/20/2018                7/9/2020
 202974196 1600 Ridgely St, Baltimore, MD 21230                           Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/20/2018 VA 2-135-927             1/17/2019                 12/20/2018               7/12/2020
 203874114 1601-1615 Edgewater Dr, Orlando, FL 32804                      Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/26/2018 VA 2-135-914             1/17/2019                 12/26/2018                7/8/2020
 203929604 2810 Lord Baltimore Dr, Windsor Mill, MD 21244                 Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/27/2018 VA 2-135-927             1/17/2019                 12/27/2018               5/10/2020
 203929608 2810 Lord Baltimore Dr, Windsor Mill, MD 21244                 Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      12/27/2018 VA 2-135-927             1/17/2019                 12/27/2018               5/10/2020




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 204068240 440 W Kennedy Blvd, Orlando, FL 32810               Robert Dallas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/28/2018 VA 2-135-914              1/17/2019                 12/28/2018                7/4/2020
 204091807 698 N Homestead Blvd, Homestead, FL 33030           Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/28/2018 VA 2-135-916              1/17/2019                 12/28/2018                7/5/2020
 200626127 1701 N Collins Blvd, Richardson, TX 75080           Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     12/11/2018 VA 2-135-893              1/17/2019                 12/11/2018               3/23/2021
 201325245 11401-11431 Plano Rd, Dallas, TX 75243              Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     12/14/2018 VA 2-135-893              1/17/2019                 12/14/2018               7/13/2020
 197985523 39777 Avenida Acacias, Murrieta, CA 92563           Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/28/2018 VA 2-135-650              1/17/2019                 11/28/2018               7/10/2020
 197985536 39777 Avenida Acacias, Murrieta, CA 92563           Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/28/2018 VA 2-135-650              1/17/2019                 11/28/2018               7/11/2020
 201222805 1390 S Tippecanoe Ave, San Bernardino, CA 92408     Nick Del Cioppo                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/13/2018 VA 2-135-650              1/17/2019                 12/13/2018                7/7/2020
 200780424 1951 S McCall Rd, Englewood, FL 34223               Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     12/12/2018 VA 2-135-925              1/17/2019                 12/12/2018                7/6/2020
 202195064 12821 Commerce Lakes Dr, Fort Myers, FL 33913       Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     12/18/2018 VA 2-135-925              1/17/2019                 12/18/2018              11/18/2020
 196640731 15861-15901 W Michigan Ave, Marshall, MI 49068      Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/19/2018 VA 2-135-609              1/17/2019                 11/19/2018               7/12/2020
 196640751 15861-15901 W Michigan Ave, Marshall, MI 49068      Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062     11/19/2018 VA 2-135-609              1/17/2019                 11/19/2018               7/10/2020
 198853523 3850 Research Park Dr, Ann Arbor, MI 48108          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/4/2018 VA 2-135-609              1/17/2019                  12/4/2018               7/13/2020
 198853588 3850 Research Park Dr, Ann Arbor, MI 48108          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      12/4/2018 VA 2-135-609              1/17/2019                  12/4/2018                7/3/2020
 198012515 8930 S Beck Ave, Tempe, AZ 85284                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     11/28/2018 VA 2-135-733              1/17/2019                 11/28/2018               7/12/2020
 198139782 1011 Commerce Dr, Prescott, AZ 86305                Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/29/2018 VA 2-136-036              1/17/2019                 11/29/2018                7/7/2020
 203881526 8110 W Peoria Ave, Peoria, AZ 85345                 Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/26/2018 VA 2-136-036              1/17/2019                 12/26/2018                7/1/2020
 197895246 4385 Ironbound Rd, Williamsburg, VA 23188           Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/28/2018 VA 2-135-654              1/17/2019                 11/28/2018                8/8/2020
 197895247 4385 Ironbound Rd, Williamsburg, VA 23188           Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     11/28/2018 VA 2-135-654              1/17/2019                 11/28/2018                8/7/2020
 198296342 4500 N Classen Blvd, Oklahoma City, OK 73118        Richard Waltemath                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     11/30/2018 VA 2-135-920              1/17/2019                 11/30/2018                7/3/2020
 199454330 8200 Roberts Dr, Atlanta, GA 30350                  Samuel Amaning                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/5/2018 VA 2-135-652              1/17/2019                  12/5/2018               7/14/2020
 199454429 8800 Roswell Rd, Atlanta, GA 30350                  Samuel Amaning                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/5/2018 VA 2-135-652              1/17/2019                  12/5/2018                7/3/2020
 201371415 2160 Kingston Ct SE, Marietta, GA 30067             Samuel Amaning                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/14/2018 VA 2-135-652              1/17/2019                 12/14/2018               2/12/2021
 201899908 9850 Nesbit Ferry Rd, Alpharetta, GA 30022          Samuel Amaning                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     12/17/2018 VA 2-135-652              1/17/2019                 12/17/2018               6/30/2020
 205227044 210 N Main St, Kernersville, NC 27284               Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/7/2019 VA 2-143-226               3/8/2019                   1/7/2019                7/7/2020
 205227115 210 N Main St, Kernersville, NC 27284               Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/7/2019 VA 2-143-226               3/8/2019                   1/7/2019               7/11/2020
 205647996 1510-1556 SW 13th Ct, Pompano Beach, FL 33069       Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/8/2019 VA 2-143-230               3/8/2019                   1/8/2019               7/13/2020
 208419848 2601 Greengate Dr, Greensboro, NC 27406             Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/16/2019 VA 2-143-227               3/8/2019                  1/16/2019               1/18/2021
 212837121 20175-20187 Mack St, Hayward, CA 94545              Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      1/28/2019 VA 2-142-155               3/8/2019                  1/28/2019               7/11/2020
 213545124 720 SW 17th Pl, Ocala, FL 34471                     Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/31/2019 VA 2-143-047               3/8/2019                  1/31/2019                7/7/2020
 204569034 9373 Hyssop Dr, Rancho Cucamonga, CA 91730          Daniel Marquez                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/3/2019 VA 2-143-046               3/8/2019                   1/3/2019               8/11/2020
 208280425 1805-1863 Memorial Dr SE, Atlanta, GA 30317         Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/15/2019 VA 2-143-042               3/8/2019                  1/15/2019                7/8/2020
 213563155 2400 Ansys Dr, Canonsburg, PA 15317                 Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      1/31/2019 VA 2-142-276               3/8/2019                  1/31/2019               7/12/2020
 213563163 2400 Ansys Dr, Canonsburg, PA 15317                 Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      1/31/2019 VA 2-142-276               3/8/2019                  1/31/2019               6/30/2020
 205183846 868 Blanding Blvd, Orange Park, FL 32065            Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/7/2019 VA 2-143-234               3/8/2019                   1/7/2019               7/11/2020
 210558868 310 Commerce Lake Dr, Saint Augustine, FL 32095     Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/22/2019 VA 2-143-234               3/8/2019                  1/22/2019               8/11/2020
 213537542 1626 N US Highway 1, Ormond Beach, FL 32174         Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      1/31/2019 VA 2-143-235               3/8/2019                  1/31/2019                7/7/2020
 215785577 9305 Leesville Rd, Raleigh, NC 27613                Amber Surrency                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/12/2019 VA 2-142-233               3/8/2019                  2/12/2019                8/9/2020
 215787728 9305 Leesville Rd, Raleigh, NC 27613                Amber Surrency                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/12/2019 VA 2-142-233               3/8/2019                  2/12/2019                8/8/2020
 209337919 2282 Townsgate Rd, Westlake Village, CA 91361       Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/18/2019 VA 2-142-315               3/8/2019                  1/18/2019                7/6/2020
 213371750 1203 Flynn Rd, Camarillo, CA 93012                  Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/30/2019 VA 2-142-315               3/8/2019                  1/30/2019               7/13/2020
 205212833 32 Runway Rd, Levittown, PA 19057                   Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/7/2019 VA 2-143-233               3/8/2019                   1/7/2019               6/30/2020
 214576969 101 Aragon Ave, Coral Gables, FL 33134              Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/5/2019 VA 2-142-282               3/8/2019                   2/5/2019               7/14/2020
 215693101 1 Alhambra Plz, Coral Gables, FL 33134              Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/11/2019 VA 2-142-282               3/8/2019                  2/11/2019               10/3/2020
 215997170 1167-1175 NW 159th Dr, Miami, FL 33169              Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/13/2019 VA 2-142-282               3/8/2019                  2/13/2019               7/12/2020
 215997176 1167-1175 NW 159th Dr, Miami, FL 33169              Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/13/2019 VA 2-142-282               3/8/2019                  2/13/2019               7/13/2020
 215997195 1167-1175 NW 159th Dr, Miami, FL 33169              Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/13/2019 VA 2-142-282               3/8/2019                  2/13/2019               7/13/2020
 205190389 1760 S Stemmons Fwy, Lewisville, TX 75067           Andrew Compomizzi                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/7/2019 VA 2-142-175               3/8/2019                   1/7/2019                7/4/2020
 205895730 445 S Royal Ln, Coppell, TX 75019                   Andrew Compomizzi                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/9/2019 VA 2-142-175               3/8/2019                   1/9/2019               7/12/2020
 206983994 0 W Highway 20, Hampton, GA 30228                   Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/11/2019 VA 2-142-285               3/8/2019                  1/11/2019               7/16/2020
 208896154 747 Davis Rd, Stockbridge, GA 30281                 Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/17/2019 VA 2-142-285               3/8/2019                  1/17/2019               7/20/2020
 212998004 1701 NW 25th St, Fort Worth, TX 76164               Andrew Compomizzi                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/29/2019 VA 2-142-176               3/8/2019                  1/29/2019               7/12/2020
 214328335 87 Newnan Station Dr, Newnan, GA 30265              Adrienne Tann                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2019 VA 2-142-285               3/8/2019                   2/4/2019               1/17/2021
 206096616 301-451 Englewood Pky, Englewood, CO 80110          Andrew Shelton                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/9/2019 VA 2-142-169               3/8/2019                   1/9/2019               7/12/2020
 204536046 5050 S 13th St, Milwaukee, WI 53221                 Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/3/2019 VA 2-142-288               3/8/2019                   1/3/2019                8/9/2020
 205655228 3505-3525 N 124th St, Brookfield, WI 53005          Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/8/2019 VA 2-142-293               3/8/2019                   1/8/2019               7/12/2020
 206984321 11 E Mount Royal Ave, Baltimore, MD 21202           Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/11/2019 VA 2-142-085               3/8/2019                  1/11/2019               7/12/2020
 207874900 800 N Charles St, Baltimore, MD 21201               Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/14/2019 VA 2-142-085               3/8/2019                  1/14/2019               3/30/2021
 212847729 6720 Baymeadow Dr, Glen Burnie, MD 21060            Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/28/2019 VA 2-142-167               3/8/2019                  1/28/2019              10/12/2020
 216120557 7 State Cir, Annapolis, MD 21401                    Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/14/2019 VA 2-142-168               3/8/2019                  2/14/2019               7/11/2020
 216251772 163-167 Jennifer Rd, Annapolis, MD 21401            Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/15/2019 VA 2-142-168               3/8/2019                  2/15/2019                7/5/2020
 216251880 163-167 Jennifer Rd, Annapolis, MD 21401            Andrew Voxakis                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/15/2019 VA 2-142-168               3/8/2019                  2/15/2019                7/7/2020
 206985817 106 George St, Fredericksburg, VA 22401             Alicia Helm                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/11/2019 VA 2-142-236               3/8/2019                  1/11/2019                7/8/2020
 208416676 16156 Dahlgren Rd, King George, VA 22485            Alicia Helm                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/16/2019 VA 2-142-236               3/8/2019                  1/16/2019               7/10/2020
 208433785 35 Walpole St, Stafford, VA 22554                   Alicia Helm                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/16/2019 VA 2-142-236               3/8/2019                  1/16/2019               7/12/2020
 204425187 15001-15293 E Mississippi Ave, Aurora, CO 80012     Alex Dickerson                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/2/2019 VA 2-142-237               3/8/2019                   1/2/2019                7/7/2020
 205652099 14309 E 35th Ave, Aurora, CO 80011                  Alex Dickerson                                                                  CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/8/2019 VA 2-142-238               3/8/2019                   1/8/2019                7/2/2020
 213566985 260-294 Katonah Ave, Katonah, NY 10536              Collin Quinlivan                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      1/31/2019 VA 2-143-044               3/8/2019                  1/31/2019               7/13/2020
 216068976 3483-3491 Swenson Ave, Saint Charles, IL 60174      Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/14/2019 VA 2-142-992              3/11/2019                  2/14/2019                7/3/2020
 205959703 11-21 Asylum St, Hartford, CT 06103                 Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/9/2019 VA 2-142-968              3/11/2019                   1/9/2019                7/5/2020
 208846406 3358 Garber Dr, Tallahassee, FL 32303               David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/17/2019 VA 2-143-028              3/11/2019                  1/17/2019               7/11/2020
 210609269 601 Route 32, Uncasville, CT 06382                  Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/22/2019 VA 2-142-969              3/11/2019                  1/22/2019                7/5/2020
 210609284 601 Route 32, Uncasville, CT 06382                  Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/22/2019 VA 2-142-969              3/11/2019                  1/22/2019                7/7/2020
 210754472 215 Harrison Ave, Panama City, FL 32401             David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/23/2019 VA 2-143-028              3/11/2019                  1/23/2019               7/12/2020
 212831400 7 Glenwood Rd, Clinton, CT 06413                    Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/28/2019 VA 2-142-969              3/11/2019                  1/28/2019                7/3/2020
 212835465 7 Glenwood Rd, Clinton, CT 06413                    Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/28/2019 VA 2-142-969              3/11/2019                  1/28/2019                7/4/2020
 212835468 7 Glenwood Rd, Clinton, CT 06413                    Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/28/2019 VA 2-142-969              3/11/2019                  1/28/2019                7/5/2020
 212865046 880 Young St, Tonawanda, NY 14150                   Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/28/2019 VA 2-142-948              3/11/2019                  1/28/2019                7/2/2020
 213540746 262 Boston Post Rd, Waterford, CT 06385             Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2019 VA 2-142-969              3/11/2019                  1/31/2019               7/14/2020
 213540756 262 Boston Post Rd, Waterford, CT 06385             Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2019 VA 2-142-969              3/11/2019                  1/31/2019               7/14/2020
 213540771 262 Boston Post Rd, Waterford, CT 06385             Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2019 VA 2-142-969              3/11/2019                  1/31/2019               7/14/2020




                         OUTSIDE COUNSEL ONLY                                                                                                            130
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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                Image Address                   Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 216101434 25-53 Capital Dr, West Springfield, MA 01089          Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      2/14/2019 VA 2-142-969              3/11/2019                  2/14/2019               7/20/2020
 207889600 1515 North Pointe Dr, Durham, NC 27705                Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-142-963              3/11/2019                  1/14/2019                8/9/2020
 210590683 526-534 Pylon Dr, Raleigh, NC 27606                   Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/22/2019 VA 2-142-964              3/11/2019                  1/22/2019               7/11/2020
 213556745 907 N Miami Blvd, Durham, NC 27703                    Emily Bealmear                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/31/2019 VA 2-142-964              3/11/2019                  1/31/2019                2/6/2021
 207030511 5137-5151 Lone Tree Way, Antioch, CA 94531            David McClure                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2019 VA 2-143-025              3/11/2019                  1/11/2019                7/8/2020
 204707218 10138 Garvey Ave, El Monte, CA 91733                  David Jackson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/4/2019 VA 2-143-013              3/11/2019                   1/4/2019                7/5/2020
 205186308 5650 Kroger Dr, Fort Worth, TX 76244                  Emily Whitman                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       1/7/2019 VA 2-142-958              3/11/2019                   1/7/2019                7/7/2020
 215972404 3508-3532 S Sheridan Rd, Tulsa, OK 74145              Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      2/13/2019 VA 2-143-549              3/13/2019                  2/13/2019               7/12/2020
 206995891 30 Three Tun Rd, Frazer, PA 19355                     Mitchell Keingarsky                                                            CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/11/2019 VA 2-143-564              3/13/2019                  1/11/2019               1/13/2021
 204526098 10 Orms St, Providence, RI 02904                      Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/3/2019 VA 2-144-830              3/13/2019                   1/3/2019               7/11/2020
 204670197 5151 N Palm Ave, Fresno, CA 93704                     John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836       1/4/2019 VA 2-145-779              3/13/2019                   1/4/2019                7/1/2020
 205639992 5201 Departure Dr, Raleigh, NC 27616                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/8/2019 VA 2-144-374              3/13/2019                   1/8/2019               7/13/2020
 205640006 5201 Departure Dr, Raleigh, NC 27616                  Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/8/2019 VA 2-144-374              3/13/2019                   1/8/2019               7/11/2020
 208250970 53-101 Venturi Ave, Warwick, RI 02888                 Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/15/2019 VA 2-144-830              3/13/2019                  1/15/2019               7/11/2020
 208250979 53-101 Venturi Ave, Warwick, RI 02888                 Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/15/2019 VA 2-144-830              3/13/2019                  1/15/2019               7/10/2020
 208462326 950 1st St S, Winter Haven, FL 33880                  James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/16/2019 VA 2-143-581              3/13/2019                  1/16/2019                7/2/2020
 208849654 1800-1826 Garner Station Blvd, Raleigh, NC 27603      Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/17/2019 VA 2-144-374              3/13/2019                  1/17/2019               7/11/2020
 209285325 51 Industrial Dr, North Smithfield, RI 02896          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/18/2019 VA 2-144-833              3/13/2019                  1/18/2019               7/11/2020
 209285326 51 Industrial Dr, North Smithfield, RI 02896          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/18/2019 VA 2-144-833              3/13/2019                  1/18/2019               7/11/2020
 209285684 51 Industrial Dr, North Smithfield, RI 02896          Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/18/2019 VA 2-144-833              3/13/2019                  1/18/2019               7/11/2020
 210841098 1101-1113 Transport Dr, Raleigh, NC 27603             Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/23/2019 VA 2-144-374              3/13/2019                  1/23/2019               7/11/2020
 210872611 4710 N Habana Ave, Tampa, FL 33614                    James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/23/2019 VA 2-143-581              3/13/2019                  1/23/2019               7/12/2020
 211485466 222 S Harbor Blvd, Anaheim, CA 92805                  Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/24/2019 VA 2-143-592              3/13/2019                  1/24/2019                7/6/2020
 214587578 1429 Rock Quarry Rd, Raleigh, NC 27610                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/5/2019 VA 2-144-375              3/13/2019                   2/5/2019               7/12/2020
 214854083 434 Fayetteville St, Raleigh, NC 27601                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2019 VA 2-144-375              3/13/2019                   2/7/2019               7/16/2020
 214855266 333 Fayetteville St, Raleigh, NC 27601                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/7/2019 VA 2-144-375              3/13/2019                   2/7/2019                7/7/2020
 215056737 301 Fayetteville St, Raleigh, NC 27601                Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/8/2019 VA 2-144-375              3/13/2019                   2/8/2019               7/21/2020
 204417077 148-152 Main St, Lebanon, NJ 08833                    John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       1/2/2019 VA 2-144-890              3/13/2019                   1/2/2019                7/1/2020
 207867688 1220 Broadcasting Rd, Wyomissing, PA 19610            Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/14/2019 VA 2-143-568              3/13/2019                  1/14/2019               7/13/2020
 207901345 747 Chestnut Ridge Rd, Spring Valley, NY 10977        John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/14/2019 VA 2-144-890              3/13/2019                  1/14/2019               7/13/2020
 207901382 747 Chestnut Ridge Rd, Spring Valley, NY 10977        John Georgiadis                                                                CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      1/14/2019 VA 2-144-890              3/13/2019                  1/14/2019               7/12/2020
 212113760 1105 Berkshire Blvd, Wyomissing, PA 19610             Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/25/2019 VA 2-143-570              3/13/2019                  1/25/2019               8/12/2020
 212113768 1105 Berkshire Blvd, Wyomissing, PA 19610             Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/25/2019 VA 2-143-570              3/13/2019                  1/25/2019               8/12/2020
 212119694 1150 Berkshire Blvd, Wyomissing, PA 19610             Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/25/2019 VA 2-143-570              3/13/2019                  1/25/2019               7/11/2020
 212144169 1030 Reed Ave, Wyomissing, PA 19610                   Mitchell Birnbaum                                                              CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      1/25/2019 VA 2-143-570              3/13/2019                  1/25/2019              11/18/2020

 216113298 4050 Air Park St, Memphis, TN 38118                   Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       2/14/2019 VA 2-144-366             3/13/2019                  2/14/2019               7/16/2020
 212857179 710 S Adams St, Sapulpa, OK 74066                     Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/28/2019 VA 2-143-545             3/13/2019                  1/28/2019                7/3/2020
 204663705 2982-2990 W Ina Rd, Tucson, AZ 85741                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        1/4/2019 VA 2-144-378             3/13/2019                   1/4/2019               7/12/2020
 205197638 12100 N Thornydale Rd, Marana, AZ 85658               Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        1/7/2019 VA 2-144-378             3/13/2019                   1/7/2019               7/12/2020
 205592732 2830 Highland Ave, Lombard, IL 60148                  Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        1/8/2019 VA 2-144-856             3/13/2019                   1/8/2019               7/10/2020
 205778861 6341 Stockton Blvd, Sacramento, CA 95824              George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2019 VA 2-143-594             3/13/2019                   1/9/2019                7/4/2020
 205779016 6341 Stockton Blvd, Sacramento, CA 95824              George Chao                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2019 VA 2-143-594             3/13/2019                   1/9/2019               7/13/2020
 208406037 189 Etowah Industrial Ct, Canton, GA 30114            Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-144-380             3/13/2019                  1/16/2019                3/6/2021
 213561255 2500 N Tucson Blvd, Tucson, AZ 85716                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/31/2019 VA 2-144-379             3/13/2019                  1/31/2019               7/12/2020
 215662792 4514-4516 E Camp Lowell Dr, Tucson, AZ 85712          Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/11/2019 VA 2-144-379             3/13/2019                  2/11/2019               7/11/2020
 215718944 6969 E Sunrise Dr, Tucson, AZ 85750                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/11/2019 VA 2-144-379             3/13/2019                  2/11/2019                7/4/2020
 218412822 1409 Dietz Rd, Ringgold, GA 30736                     Jessica Broom                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        2/5/2019 VA 2-145-745             3/13/2019                   2/5/2019                7/9/2020
 205817231 163 Libbey Industrial Pky, Weymouth, MA 02189         Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        1/9/2019 VA 2-145-759             3/13/2019                   1/9/2019                7/1/2020
 206993325 45-60 Mazzeo Dr, Randolph, MA 02368                   Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/11/2019 VA 2-145-759             3/13/2019                  1/11/2019               7/17/2021
 213380101 365 Westgate Dr, Brockton, MA 02301                   Jeremy Wescott                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/30/2019 VA 2-145-759             3/13/2019                  1/30/2019               1/13/2021
 215820098 7850 S Hardy Dr, Tempe, AZ 85284                      Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/12/2019 VA 2-143-551             3/13/2019                  2/12/2019               7/12/2020
 204426420 6021 142nd Ave, Clearwater, FL 33760                  Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/2/2019 VA 2-144-370             3/13/2019                   1/2/2019                7/5/2020
 204426449 6021 142nd Ave, Clearwater, FL 33760                  Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/2/2019 VA 2-144-371             3/13/2019                   1/2/2019               7/10/2020
 204487977 6989 Lee Vista Blvd, Orlando, FL 32822                Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/3/2019 VA 2-143-562             3/13/2019                   1/3/2019                7/1/2020
 208310074 4023 N Armenia Ave, Tampa, FL 33607                   Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2019 VA 2-144-371             3/13/2019                  1/15/2019               7/12/2020
 208431710 448 S Alafaya Trl, Orlando, FL 32828                  Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/16/2019 VA 2-143-562             3/13/2019                  1/16/2019               5/16/2021
 208457480 3600-3624 Route 378, Bethlehem, PA 18015              Ian Barnes                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-143-587             3/13/2019                  1/16/2019               6/30/2020
 208465686 2510-2514 MacArthur Rd, Whitehall, PA 18052           Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-144-848             3/13/2019                  1/16/2019               7/12/2020
 208465690 2510-2514 MacArthur Rd, Whitehall, PA 18052           Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-144-848             3/13/2019                  1/16/2019                7/2/2020
 208465699 2510-2514 MacArthur Rd, Whitehall, PA 18052           Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-144-848             3/13/2019                  1/16/2019               7/12/2020
 208465719 2510-2514 MacArthur Rd, Whitehall, PA 18052           Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/16/2019 VA 2-144-848             3/13/2019                  1/16/2019                7/8/2020
 215723176 100 N Conahan Dr, Hazleton, PA 18201                  Jim Rider                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/11/2019 VA 2-145-761             3/13/2019                  2/11/2019               7/11/2020
 205581085 2101 Vista Pkwy, West Palm Beach, FL 33411            Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        1/8/2019 VA 2-143-598             3/13/2019                   1/8/2019               7/11/2020
 210743832 12700 S Military Trl, Boynton Beach, FL 33436         Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/23/2019 VA 2-143-597             3/13/2019                  1/23/2019              10/21/2020
 212824607 1700-1740 Corporate Dr, Boynton Beach, FL 33426       Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/28/2019 VA 2-143-597             3/13/2019                  1/28/2019               7/11/2020
 214009452 11081 Southern Blvd, Royal Palm Beach, FL 33411       Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2019 VA 2-143-597             3/13/2019                   2/4/2019               7/11/2020
 216070717 1095 Broken Sound Pky, Boca Raton, FL 33487           Giovanny Lopez                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/14/2019 VA 2-143-597             3/13/2019                  2/14/2019               10/2/2020
 214899752 2700-2738 W Old Highway 441, Mount Dora, FL 32757     Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/7/2019 VA 2-145-742             3/13/2019                   2/7/2019                7/8/2020
 214541407 4949 Amon Carter Blvd, Fort Worth, TX 76155           Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2019 VA 2-145-775             3/13/2019                   2/5/2019               7/13/2020
 214541419 4949 Amon Carter Blvd, Fort Worth, TX 76155           Joan Sheahan                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/5/2019 VA 2-145-775             3/13/2019                   2/5/2019               7/13/2020
 212147386 1210 W Clay St, Houston, TX 77019                     Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/25/2019 VA 2-143-566             3/13/2019                  1/25/2019               7/10/2020
 215826388 12620 Woodforest Blvd, Houston, TX 77015              Mitchell Hester                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/12/2019 VA 2-143-566             3/13/2019                  2/12/2019              10/22/2020
 212967040 555 E Basse Rd, San Antonio, TX 78209                 Jeffrey Seaman                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/29/2019 VA 2-145-756             3/13/2019                  1/29/2019               5/29/2021
 213573941 1101-1143 Taft St, Rockville, MD 20850                Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/31/2019 VA 2-145-760             3/13/2019                  1/31/2019               7/20/2020
 213573992 1101-1143 Taft St, Rockville, MD 20850                Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/31/2019 VA 2-145-760             3/13/2019                  1/31/2019               7/20/2020
 204661293 1950 Summit Park Dr, Orlando, FL 32810                Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/4/2019 VA 2-143-432             3/14/2019                   1/4/2019                7/7/2020
 205650054 1201 Lake Woodlands Dr, The Woodlands, TX 77380       Stephanie McCoy                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/8/2019 VA 2-143-376             3/14/2019                   1/8/2019                7/7/2020
 205982619 101 S New York Ave, Winter Park, FL 32789             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2019 VA 2-143-432             3/14/2019                   1/9/2019               7/13/2020
 205982914 101 S New York Ave, Winter Park, FL 32789             Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/9/2019 VA 2-143-432             3/14/2019                   1/9/2019               7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                             131
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Attachment                                                                               Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 205990192 8850 Columbia 100 Pky, Columbia, MD 21045              Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       1/9/2019 VA 2-143-504              3/14/2019                   1/9/2019               7/12/2020
 207882596 13800-13830 SW 119th Ave, Miami, FL 33186              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-143-446              3/14/2019                  1/14/2019               7/11/2020
 207882608 13800-13830 SW 119th Ave, Miami, FL 33186              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-143-446              3/14/2019                  1/14/2019                7/5/2020
 207882861 14301-14377 SW 119th Ave, Miami, FL 33186              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-143-446              3/14/2019                  1/14/2019                7/6/2020
 207882871 14301-14377 SW 119th Ave, Miami, FL 33186              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-143-446              3/14/2019                  1/14/2019                7/9/2020
 207882889 14301-14377 SW 119th Ave, Miami, FL 33186              Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/14/2019 VA 2-143-446              3/14/2019                  1/14/2019                7/3/2020
 208256533 2800 Ponce De Leon Blvd, Coral Gables, FL 33134        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/15/2019 VA 2-143-446              3/14/2019                  1/15/2019               7/10/2020
 208258748 2800 Ponce De Leon Blvd, Coral Gables, FL 33134        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/15/2019 VA 2-143-446              3/14/2019                  1/15/2019               7/14/2020
 212151643 131-157 State Road 436, Fern Park, FL 32730            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      1/25/2019 VA 2-143-434              3/14/2019                  1/25/2019                7/6/2020
 214396820 5850-5860 Miami Lakes Dr, Miami Lakes, FL 33014        Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       2/4/2019 VA 2-143-469              3/14/2019                   2/4/2019               7/13/2020
 214527496 8520 Corridor Rd, Jessup, MD 20763                     Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       2/5/2019 VA 2-143-506              3/14/2019                   2/5/2019                7/5/2020
 215797179 917 Rinehart Rd, Lake Mary, FL 32746                   Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      2/12/2019 VA 2-143-434              3/14/2019                  2/12/2019                7/3/2020
 205622316 10990 Petal St, Dallas, TX 75238                       Stacey Callaway                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       1/8/2019 VA 2-143-385              3/14/2019                   1/8/2019                7/1/2020
 214333747 201 Pelham Davis Cir, Greenville, SC 29615             William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       2/4/2019 VA 2-143-176              3/14/2019                   2/4/2019                7/7/2020
 205991391 7201-7255 S 76th St, Franklin, WI 53132                Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       1/9/2019 VA 2-143-362              3/14/2019                   1/9/2019               7/11/2020
 214695440 21303 Omega Cir, Franksville, WI 53126                 Timothy Dabbs                                                                  CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       2/6/2019 VA 2-143-363              3/14/2019                   2/6/2019                7/1/2020
 204486880 12734 Kenwood Ln, Fort Myers, FL 33907                 Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/3/2019 VA 2-143-498              3/14/2019                   1/3/2019              11/17/2020
 204643444 4224 S Cleveland Ave, Fort Myers, FL 33901             Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       1/4/2019 VA 2-143-500              3/14/2019                   1/4/2019                8/5/2020
 208301695 4220 Executive Cir, Fort Myers, FL 33916               Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/15/2019 VA 2-143-500              3/14/2019                  1/15/2019               7/13/2020
 208301704 4220 Executive Cir, Fort Myers, FL 33916               Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      1/15/2019 VA 2-143-500              3/14/2019                  1/15/2019               7/12/2020
 215662739 606 Bald Eagle Dr, Marco Island, FL 34145              Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      2/11/2019 VA 2-143-502              3/14/2019                  2/11/2019               11/2/2020

 208271227 4000 Leesburg Rd, Hopkins, SC 29061                    Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/15/2019 VA 2-143-402             3/14/2019                  1/15/2019               7/11/2020

 208271252 4000 Leesburg Rd, Hopkins, SC 29061                    Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/15/2019 VA 2-143-402             3/14/2019                  1/15/2019                7/8/2020

 208271264 4000 Leesburg Rd, Hopkins, SC 29061                    Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/15/2019 VA 2-143-402             3/14/2019                  1/15/2019                7/2/2020

 212952623 1800 Husted Rd, Conway, SC 29526                       Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/29/2019 VA 2-143-402             3/14/2019                  1/29/2019                8/8/2020

 216222167 11920 Highway 707, Murrells Inlet, SC 29576            Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       2/15/2019 VA 2-143-402             3/14/2019                  2/15/2019               6/30/2020
 210633491 702 E Osborn Rd, Phoenix, AZ 85014                     Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/22/2019 VA 2-143-368             3/14/2019                  1/22/2019               3/30/2021
 215824111 3259 E Harbour Dr, Phoenix, AZ 85034                   Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/12/2019 VA 2-143-368             3/14/2019                  2/12/2019               7/12/2020
 212857849 1300 Baxter St, Charlotte, NC 28204                    Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       1/28/2019 VA 2-143-522             3/14/2019                  1/28/2019               7/24/2020
 214339673 3331 Presson Rd, Monroe, NC 28112                      Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2019 VA 2-143-522             3/14/2019                   2/4/2019               7/13/2020
 214339699 3331 Presson Rd, Monroe, NC 28112                      Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2019 VA 2-143-522             3/14/2019                   2/4/2019               7/12/2020
 214339740 3331 Presson Rd, Monroe, NC 28112                      Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/4/2019 VA 2-143-522             3/14/2019                   2/4/2019               7/12/2020
 214563068 1002 Skyway Dr, Monroe, NC 28110                       Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/5/2019 VA 2-143-522             3/14/2019                   2/5/2019               6/30/2020
 204416693 94-1144 Ka Uka Blvd, Waipahu, HI 96797                 Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/2/2019 VA 2-143-525             3/14/2019                   1/2/2019                7/7/2020
 213396008 1188 Bishop St, Honolulu, HI 96813                     Odeelo Dayondon                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/30/2019 VA 2-143-531             3/14/2019                  1/30/2019               7/12/2020
 212125799 7226 N Tryon St, Charlotte, NC 28262                   Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/25/2019 VA 2-143-395             3/14/2019                  1/25/2019               5/16/2020
 212862229 635 Atando Ave, Charlotte, NC 28206                    Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/28/2019 VA 2-143-395             3/14/2019                  1/28/2019                7/5/2020
 210754722 12734 Branford St, Pacoima, CA 91331                   Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/23/2019 VA 2-143-174             3/14/2019                  1/23/2019                8/9/2020
 210774724 5100 Wisconsin Ave NW, Washington, DC 20016            Tyler Priola                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/23/2019 VA 2-143-178             3/14/2019                  1/23/2019               8/12/2020
 207890314 3813-3817 N Santa Fe Ave, Oklahoma City, OK 73118      Richard Waltemath                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       1/14/2019 VA 2-143-476             3/14/2019                  1/14/2019                6/7/2021
 214866752 1985 W 33rd St, Edmond, OK 73013                       Richard Waltemath                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        2/7/2019 VA 2-143-496             3/14/2019                   2/7/2019                6/8/2021
 215994776 2751 Buford Hwy NE, Atlanta, GA 30324                  Samuel Amaning                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/13/2019 VA 2-143-396             3/14/2019                  2/13/2019               7/20/2020
 226329492 265 Sunset Dr, Westlake Village, CA 91361              Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2019 VA 2-148-869             4/16/2019                  3/28/2019                7/2/2020
 226759622 265 Sunset Dr, Westlake Village, CA 91361              Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2019 VA 2-148-869             4/16/2019                  3/29/2019               6/30/2020
 218391754 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019                7/3/2020
 218391763 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019                7/6/2020
 218391776 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019               7/13/2020
 218391784 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019                7/3/2020
 218391788 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019                7/3/2020
 218391802 3380 NW 114th St, Miami, FL 33167                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/25/2019 VA 2-148-873             4/16/2019                  2/25/2019               7/12/2020
 221024009 3218 W Fond Du Lac Ave, Milwaukee, WI 53210            Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/5/2019 VA 2-148-931             4/16/2019                   3/5/2019                7/6/2020
 226185356 4801 Tradewinds Pky, Madison, WI 53718                 Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2019 VA 2-148-931             4/16/2019                  3/27/2019                7/9/2020
 218509295 3 Centerview Dr, Greensboro, NC 27407                  Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/26/2019 VA 2-148-662             4/17/2019                  2/26/2019               7/13/2020
 220952526 23072 Lake Center Dr, Lake Forest, CA 92630            Gene Inserto                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/5/2019 VA 2-149-081             4/17/2019                   3/5/2019                7/6/2020
 224090744 401-435 E Sheridan St, Dania, FL 33004                 Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/18/2019 VA 2-148-677             4/17/2019                  3/18/2019               10/7/2020
 224170322 3405-3425 Kinnamon Village Cmn, Clemmons, NC 27012     Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/19/2019 VA 2-148-666             4/17/2019                  3/19/2019                7/7/2021
 224636511 1475 N Bridge St, Elkin, NC 28621                      Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/22/2019 VA 2-148-666             4/17/2019                  3/22/2019                3/8/2021

 224646579 2202-2250 Research Dr, Fort Wayne, IN 46808            Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/22/2019 VA 2-149-218             4/17/2019                  3/22/2019                7/3/2020

 224646617 2202-2250 Research Dr, Fort Wayne, IN 46808            Dwayne Walker                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/22/2019 VA 2-149-218             4/17/2019                  3/22/2019                7/3/2020
 225689674 2216 W Meadowview Rd, Greensboro, NC 27407             Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/26/2019 VA 2-148-666             4/17/2019                  3/26/2019               7/10/2020

 225719415 227-235 W Main St, Owensville, OH 45160                Bob Benkert                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/26/2019 VA 2-148-033             4/17/2019                  3/26/2019                7/7/2021
 226865915 3555-3569 NW 53rd Ct, Fort Lauderdale, FL 33309        Carolyn Crisp                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/29/2019 VA 2-148-677             4/17/2019                  3/29/2019               2/26/2021
 218676168 540-548 S State College Blvd, Anaheim, CA 92806        Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/27/2019 VA 2-148-648             4/17/2019                  2/27/2019               7/12/2020
 218804662 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804857 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/12/2020
 218804870 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804884 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/13/2020
 218804891 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804906 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804912 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804931 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/11/2020
 218804941 3901 Camden Ave, Parkersburg, WV 26101                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       2/28/2019 VA 2-149-085             4/17/2019                  2/28/2019               7/13/2020




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 MasterID                           Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 218804944 3901 Camden Ave, Parkersburg, WV 26101                  Alan Battles                                                                  CoStar Group             2005 Market St, Philadelphia, PA 19103                 8775835938      2/28/2019 VA 2-149-085              4/17/2019                  2/28/2019              7/11/2020

 222931838 201 River Ridge Pky, Jeffersonville, IN 47130           Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/14/2019 VA 2-148-688             4/17/2019                  3/14/2019               7/10/2020

 222931864 201 River Ridge Pky, Jeffersonville, IN 47130           Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/14/2019 VA 2-148-688             4/17/2019                  3/14/2019               6/30/2020

 223027234 201 River Ridge Pky, Jeffersonville, IN 47130           Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/15/2019 VA 2-148-688             4/17/2019                  3/15/2019               7/12/2020

 223027276 201 River Ridge Pky, Jeffersonville, IN 47130           Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/15/2019 VA 2-148-688             4/17/2019                  3/15/2019                7/6/2020
 223075654 1820 N Lewis Ave, Tulsa, OK 74110                       Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/15/2019 VA 2-148-878             4/17/2019                  3/15/2019               7/13/2020
 223076041 1820 N Lewis Ave, Tulsa, OK 74110                       Nick Branston                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/15/2019 VA 2-148-878             4/17/2019                  3/15/2019                7/5/2020

 223079511 44 Vantage Way, Nashville, TN 37228                     Andrew Nelson                                                                 CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/15/2019 VA 2-149-033             4/17/2019                  3/15/2019               7/19/2020
 221375589 180 Providence Rd, Chapel Hill, NC 27514                Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/7/2019 VA 2-149-155             4/17/2019                   3/7/2019               7/30/2020
 218354892 3660 W Interstate Park Way, Riviera Beach, FL 33404     Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/25/2019 VA 2-149-111             4/17/2019                  2/25/2019               8/10/2020
 218354901 3660 W Interstate Park Way, Riviera Beach, FL 33404     Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/25/2019 VA 2-149-111             4/17/2019                  2/25/2019                8/8/2020
 223029993 2410-2460 PGA Blvd, Palm Beach Gardens, FL 33410        Giovanny Lopez                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/15/2019 VA 2-149-111             4/17/2019                  3/15/2019               7/12/2021
 217843750 4240 Blue Ridge Blvd, Kansas City, MO 64133             Anya Ivantseva                                                                CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       2/22/2019 VA 2-147-546             4/17/2019                  2/22/2019               7/11/2020
 216940581 7950 W 185th St, Tinley Park, IL 60477                  Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/19/2019 VA 2-148-877             4/17/2019                  2/19/2019                2/2/2021
 217511933 9370 W Laraway Rd, Frankfort, IL 60423                  Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/21/2019 VA 2-148-877             4/17/2019                  2/21/2019               6/30/2020
 218803008 16310 S Lincoln Hwy, Plainfield, IL 60586               Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/28/2019 VA 2-148-877             4/17/2019                  2/28/2019               7/14/2020
 218803029 16310 S Lincoln Hwy, Plainfield, IL 60586               Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       2/28/2019 VA 2-148-877             4/17/2019                  2/28/2019               7/14/2020
 221545501 1530-1560 E Debbie Ln, Mansfield, TX 76063              Andrew Compomizzi                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/8/2019 VA 2-149-034             4/17/2019                   3/8/2019               7/13/2020
 222760947 11449 Denton Dr, Dallas, TX 75229                       Andrew Compomizzi                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/13/2019 VA 2-149-034             4/17/2019                  3/13/2019               11/7/2020
 224510810 11536 Harry Hines Blvd, Dallas, TX 75229                Andrew Compomizzi                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/21/2019 VA 2-149-034             4/17/2019                  3/21/2019                8/9/2020
 218763877 2131 Lornaridge Ln, Birmingham, AL 35216                Austin Lucas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/28/2019 VA 2-147-541             4/17/2019                  2/28/2019               7/12/2020
 217339335 3724 W FM-1960, Houston, TX 77068                       Ashley Boyles                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/20/2019 VA 2-147-545             4/17/2019                  2/20/2019               7/12/2020
 217806520 1919 West St, Annapolis, MD 21401                       Andrew Voxakis                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/22/2019 VA 2-148-880             4/17/2019                  2/22/2019                7/1/2020
 226187510 12 MedStar Blvd, Bel Air, MD 21015                      Andrew Voxakis                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2019 VA 2-148-880             4/17/2019                  3/27/2019              10/18/2020
 224493881 1659 Route 228, Cranberry, PA 16066                     Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       3/21/2019 VA 2-148-884             4/17/2019                  3/21/2019                7/5/2020
 218651618 14051 St. Francis Blvd, Midlothian, VA 23114            Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/27/2019 VA 2-149-112             4/17/2019                  2/27/2019               7/11/2020
 218651636 14051 St. Francis Blvd, Midlothian, VA 23114            Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/27/2019 VA 2-149-112             4/17/2019                  2/27/2019                7/3/2020
 218651678 14051 St. Francis Blvd, Midlothian, VA 23114            Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/27/2019 VA 2-149-112             4/17/2019                  2/27/2019                7/7/2020
 217200999 120 E Felix St, Fort Worth, TX 76115                    Emily Whitman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/20/2019 VA 2-149-153             4/17/2019                  2/20/2019              10/17/2020
 217221666 1004 S Crowley Rd, Crowley, TX 76036                    Emily Whitman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/20/2019 VA 2-149-153             4/17/2019                  2/20/2019               8/11/2020
 226139904 4700-4914 Little Rd, Arlington, TX 76017                Emily Whitman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/27/2019 VA 2-149-153             4/17/2019                  3/27/2019               10/9/2020
 226303010 2580 W Camp Wisdom Rd, Grand Prairie, TX 75052          Emily Whitman                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       3/28/2019 VA 2-149-153             4/17/2019                  3/28/2019               10/3/2020
 218802376 71 S Main St, Newtown, CT 06470                         Collin Quinlivan                                                              CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       2/28/2019 VA 2-148-690             4/17/2019                  2/28/2019               11/8/2020
 217338037 3300 Truxtun Ave, Bakersfield, CA 93301                 John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/20/2019 VA 2-148-646             4/18/2019                  2/20/2019               8/11/2020
 218475800 1575 S County Trl, East Greenwich, RI 02818             Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       2/26/2019 VA 2-148-483             4/18/2019                  2/26/2019               8/11/2020
 218649969 2000 Wells Rd, Orange Park, FL 32073                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/27/2019 VA 2-148-518             4/18/2019                  2/27/2019               5/10/2020
 219096558 1230-1236 Hardt Cir, Bartlett, IL 60103                 Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        3/1/2019 VA 2-148-478             4/18/2019                   3/1/2019                7/6/2020
 220585210 6063-6091 Broadway, Merrillville, IN 46410              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        3/4/2019 VA 2-148-478             4/18/2019                   3/4/2019                7/6/2020
 220585282 6063-6091 Broadway, Merrillville, IN 46410              Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        3/4/2019 VA 2-148-478             4/18/2019                   3/4/2019               7/13/2020
 221024052 868 Blanding Blvd, Orange Park, FL 32065                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/5/2019 VA 2-148-518             4/18/2019                   3/5/2019                7/6/2020
 221024088 868 Blanding Blvd, Orange Park, FL 32065                Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        3/5/2019 VA 2-148-518             4/18/2019                   3/5/2019               7/13/2020
 221545202 800-890 Devon Ave, Elk Grove Village, IL 60007          Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        3/8/2019 VA 2-148-478             4/18/2019                   3/8/2019               7/21/2020
 224152215 1600 N Randall Rd, Elgin, IL 60123                      Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/19/2019 VA 2-148-478             4/18/2019                  3/19/2019               10/7/2020
 224194251 434 Fayetteville St, Raleigh, NC 27601                  Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/19/2019 VA 2-148-523             4/18/2019                  3/19/2019               7/16/2020
 224194282 434 Fayetteville St, Raleigh, NC 27601                  Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/19/2019 VA 2-148-523             4/18/2019                  3/19/2019               7/10/2020
 225601602 14439 N Friant Rd, Friant, CA 93626                     John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/25/2019 VA 2-148-646             4/18/2019                  3/25/2019               7/16/2020
 225601786 14439 N Friant Rd, Friant, CA 93626                     John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/25/2019 VA 2-148-646             4/18/2019                  3/25/2019               7/11/2020
 225690782 5555 California Ave, Bakersfield, CA 93309              John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/26/2019 VA 2-148-646             4/18/2019                  3/26/2019               7/11/2020
 226756548 9300 King St, Franklin Park, IL 60131                   Justin Schmidt                                                                CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/29/2019 VA 2-148-478             4/18/2019                  3/29/2019                7/9/2020
 223053361 990 Park Center Dr, Vista, CA 92081                     Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/15/2019 VA 2-148-653             4/18/2019                  3/15/2019               7/13/2020
 224675200 101 S 1st St, Burbank, CA 91502                         John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/22/2019 VA 2-148-645             4/18/2019                  3/22/2019               7/24/2020
 224675742 101 S 1st St, Burbank, CA 91502                         John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/22/2019 VA 2-148-645             4/18/2019                  3/22/2019               7/24/2020
 224677825 101 S 1st St, Burbank, CA 91502                         John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/22/2019 VA 2-148-645             4/18/2019                  3/22/2019               7/24/2020
 225561349 9685 Via Excelencia, San Diego, CA 92126                Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/25/2019 VA 2-148-653             4/18/2019                  3/25/2019                7/1/2020
 225561362 9685 Via Excelencia, San Diego, CA 92126                Joerg Boetel                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/25/2019 VA 2-148-653             4/18/2019                  3/25/2019                7/3/2020

 224072288 6655 Quince Rd, Memphis, TN 38119                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/18/2019 VA 2-148-516             4/18/2019                  3/18/2019               7/11/2020

 226342387 1655 Panama St, Memphis, TN 38108                       Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/28/2019 VA 2-148-516             4/18/2019                  3/28/2019                7/5/2020
 217197926 98 E Lake Mead Pky, Henderson, NV 89015                 Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/20/2019 VA 2-148-717             4/18/2019                  2/20/2019               7/13/2020
 217198010 98 E Lake Mead Pky, Henderson, NV 89015                 Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/20/2019 VA 2-148-717             4/18/2019                  2/20/2019               7/12/2020
 218357801 6840 E Broadway Blvd, Tucson, AZ 85710                  Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/25/2019 VA 2-148-524             4/18/2019                  2/25/2019                7/4/2020
 218357909 6840 E Broadway Blvd, Tucson, AZ 85710                  Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/25/2019 VA 2-148-524             4/18/2019                  2/25/2019                7/3/2020
 218357930 6840 E Broadway Blvd, Tucson, AZ 85710                  Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/25/2019 VA 2-148-524             4/18/2019                  2/25/2019               7/12/2020
 218357937 6840 E Broadway Blvd, Tucson, AZ 85710                  Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/25/2019 VA 2-148-524             4/18/2019                  2/25/2019                7/4/2020
 218757363 5210 E Williams Cir, Tucson, AZ 85711                   Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2019 VA 2-148-524             4/18/2019                  2/28/2019               7/11/2020
 218758277 3850 W Desert Inn Rd, Las Vegas, NV 89102               Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/28/2019 VA 2-148-720             4/18/2019                  2/28/2019               7/12/2020
 218758282 3850 W Desert Inn Rd, Las Vegas, NV 89102               Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       2/28/2019 VA 2-148-720             4/18/2019                  2/28/2019                7/5/2020
 218769297 4151 E Tennessee St, Tucson, AZ 85714                   Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2019 VA 2-148-524             4/18/2019                  2/28/2019               7/10/2020
 218769366 4151 E Tennessee St, Tucson, AZ 85714                   Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/28/2019 VA 2-148-524             4/18/2019                  2/28/2019               7/11/2020
 219091689 4720 N Oracle Rd, Tucson, AZ 85705                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/1/2019 VA 2-148-524             4/18/2019                   3/1/2019               6/30/2020
 219091721 4720 N Oracle Rd, Tucson, AZ 85705                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        3/1/2019 VA 2-148-524             4/18/2019                   3/1/2019                7/1/2020
 220727192 2710 Losee Rd, North Las Vegas, NV 89030                Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        3/4/2019 VA 2-148-720             4/18/2019                   3/4/2019                7/9/2020
 220732162 537 E Brooks Ave, North Las Vegas, NV 89030             Jay Sanchez                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        3/4/2019 VA 2-148-720             4/18/2019                   3/4/2019                7/3/2020
 222394400 706-736 E 46th St, Tucson, AZ 85713                     Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/11/2019 VA 2-148-531             4/18/2019                  3/11/2019               7/12/2020




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 MasterID                               Image Address                   Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address         Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 222394448 706-736 E 46th St, Tucson, AZ 85713                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/11/2019 VA 2-148-531              4/18/2019                  3/11/2019              7/11/2020
 224041851 6950 S Country Club Rd, Tucson, AZ 85756             Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/18/2019 VA 2-148-531              4/18/2019                  3/18/2019               7/4/2021
 224194544 3561 E Sunrise Dr, Tucson, AZ 85718                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/19/2019 VA 2-148-531              4/18/2019                  3/19/2019              7/11/2020
 224194599 3561 E Sunrise Dr, Tucson, AZ 85718                  Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/19/2019 VA 2-148-531              4/18/2019                  3/19/2019               7/1/2020
 224492724 500 W Grant Rd, Tucson, AZ 85705                     Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/21/2019 VA 2-148-531              4/18/2019                  3/21/2019               7/9/2020
 225737908 7520 N Oracle Rd, Tucson, AZ 85704                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/26/2019 VA 2-148-531              4/18/2019                  3/26/2019              7/11/2020
 225738017 7520 N Oracle Rd, Tucson, AZ 85704                   Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/26/2019 VA 2-148-531              4/18/2019                  3/26/2019               7/4/2020
 226139260 9290 N Thornydale Rd, Tucson, AZ 85742               Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/27/2019 VA 2-148-531              4/18/2019                  3/27/2019              7/11/2020
 226190054 5975 W Western Way Cir, Tucson, AZ 85713             Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/27/2019 VA 2-148-531              4/18/2019                  3/27/2019              7/13/2020
 226318629 2220 Northmont Pky, Duluth, GA 30096                 Kris Kasabian                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/28/2019 VA 2-148-533              4/18/2019                  3/28/2019              7/13/2020
 226329945 1390 Gateway Dr, Elgin, IL 60124                     Jonathan Fairfield                                                             CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      3/28/2019 VA 2-148-487              4/18/2019                  3/28/2019               8/2/2020
 220591279 12241-12351 Imperial Hwy, Norwalk, CA 90650          Michael Rutt                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/4/2019 VA 2-148-471              4/18/2019                   3/4/2019               7/2/2020
 218651737 3505 Cleveland Heights Blvd, Lakeland, FL 33803      Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      2/27/2019 VA 2-148-357              4/18/2019                  2/27/2019              6/30/2020
 226311314 477 Commerce Way, Longwood, FL 32750                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/28/2019 VA 2-148-357              4/18/2019                  3/28/2019              7/12/2020
 226311341 477 Commerce Way, Longwood, FL 32750                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/28/2019 VA 2-148-357              4/18/2019                  3/28/2019              7/11/2020
 226311360 477 Commerce Way, Longwood, FL 32750                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/28/2019 VA 2-148-357              4/18/2019                  3/28/2019               7/3/2020
 226311411 477 Commerce Way, Longwood, FL 32750                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/28/2019 VA 2-148-357              4/18/2019                  3/28/2019              7/13/2020
 226311420 477 Commerce Way, Longwood, FL 32750                 Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/28/2019 VA 2-148-357              4/18/2019                  3/28/2019              7/11/2020
 217767250 110 Hospital Rd, Prince Frederick, MD 20678          Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      2/22/2019 VA 2-148-658              4/18/2019                  2/22/2019              7/12/2020
 225716329 6122-6136 Brandon Ave, Springfield, VA 22150         Jessica Livoni                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      3/26/2019 VA 2-148-658              4/18/2019                  3/26/2019               7/3/2020

 217340766 15140 SE 82nd Dr, Clackamas, OR 97015                Michael Zaugg                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/20/2019 VA 2-148-629             4/19/2019                  2/20/2019               7/12/2021
 226134188 2511 E 15th St, Tulsa, OK 74104                      Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       3/27/2019 VA 2-148-878             4/23/2019                  3/27/2019               8/10/2020
 222813716 5150-5160 NW 165th St, Hialeah, FL 33014             Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/13/2019 VA 2-148-358             4/23/2019                  3/13/2019               7/12/2020
 222813735 5150-5160 NW 165th St, Hialeah, FL 33014             Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/13/2019 VA 2-148-358             4/23/2019                  3/13/2019                7/1/2020
 225666794 198 E Green St, Westminster, MD 21157                Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/26/2019 VA 2-148-637             4/23/2019                  3/26/2019                7/8/2020
 225666931 198 E Green St, Westminster, MD 21157                Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/26/2019 VA 2-148-637             4/23/2019                  3/26/2019               6/30/2020
 225667082 198 E Green St, Westminster, MD 21157                Pia Miai                                                                       CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/26/2019 VA 2-148-637             4/23/2019                  3/26/2019               6/30/2020
 226337679 1673 Route 9, Clifton Park, NY 12065                 Tina Wood                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/28/2019 VA 2-148-845             4/23/2019                  3/28/2019               7/13/2020
 222721980 107 Waterstradt Commerce Dr, Dundee, MI 48131        Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105               3142966062       3/13/2019 VA 2-148-852             4/23/2019                  3/13/2019               8/10/2020
 222722028 107 Waterstradt Commerce Dr, Dundee, MI 48131        Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105               3142966062       3/13/2019 VA 2-148-852             4/23/2019                  3/13/2019               8/12/2020
 224197082 7606 Whitehall Executive Dr, Charlotte, NC 28273     Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/19/2019 VA 2-148-707             4/23/2019                  3/19/2019                7/7/2020
 225563592 160 Steele Point Dr, Fort Mill, SC 29708             Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/25/2019 VA 2-148-707             4/23/2019                  3/25/2019               7/13/2020
 225565088 7615 N 75th Ave, Glendale, AZ 85303                  Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       3/25/2019 VA 2-149-064             4/23/2019                  3/25/2019               11/7/2020
 222888823 2600 E Southern Ave, Tempe, AZ 85282                 Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/14/2019 VA 2-148-635             4/23/2019                  3/14/2019               2/26/2021
 224064561 303-347 E Southern Ave, Mesa, AZ 85210               Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/18/2019 VA 2-148-635             4/23/2019                  3/18/2019                7/2/2020
 218359341 55 Kean St, West Babylon, NY 11704                   Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500       2/25/2019 VA 2-148-644             4/23/2019                  2/25/2019               7/10/2020
 218359528 55 Kean St, West Babylon, NY 11704                   Perez Folds                                                                    CoStar Group             181 Bay St, Toronto, ON M5J 2                        4169457500       2/25/2019 VA 2-148-644             4/23/2019                  2/25/2019               7/11/2020
 226330318 626 W Main St, Murfreesboro, NC 27855                Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/28/2019 VA 2-148-374             4/23/2019                  3/28/2019                7/2/2020
 226200655 2255-2277 N Garey Ave, Pomona, CA 91767              Zak Hankel                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       3/27/2019 VA 2-148-874             4/23/2019                  3/27/2019               1/13/2021
 224187684 8290-8294 Old Courthouse Rd, Vienna, VA 22182        Tyler Priola                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500       3/19/2019 VA 2-148-855             4/23/2019                  3/19/2019               7/15/2020
 221211041 1200 Abernathy Rd NE, Atlanta, GA 30328              Samuel Amaning                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/6/2019 VA 2-148-368             4/23/2019                   3/6/2019              10/27/2020
 231812131 10801 Mastin St, Overland Park, KS 66210             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/17/2019 VA 2-158-151             6/13/2019                  4/17/2019                7/5/2020
 237294335 2900-2909 NW Vivion Rd, Riverside, MO 64150          Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/3/2019 VA 2-158-151             6/13/2019                   5/3/2019                7/2/2020
 233475887 7301-7315 Boulder View Ln, Richmond, VA 23225        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                  9497527448       4/21/2019 VA 2-157-946             6/13/2019                  4/21/2019                7/1/2020
 237062793 405 Philadelphia St, Indiana, PA 15701               Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103               8775835938        5/2/2019 VA 2-157-925             6/13/2019                   5/2/2019               2/12/2021
 237062800 405 Philadelphia St, Indiana, PA 15701               Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103               8775835938        5/2/2019 VA 2-157-925             6/13/2019                   5/2/2019               2/12/2021
 231816430 6650 W 110th St, Overland Park, KS 66211             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/17/2019 VA 2-158-151             6/13/2019                  4/17/2019               7/12/2020
 237294358 2900-2909 NW Vivion Rd, Riverside, MO 64150          Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/3/2019 VA 2-158-151             6/13/2019                   5/3/2019                7/9/2020
 237294394 2900-2909 NW Vivion Rd, Riverside, MO 64150          Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/3/2019 VA 2-158-151             6/13/2019                   5/3/2019               7/12/2020
 228328734 3683 S Miami Ave, Miami, FL 33133                    Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        4/8/2019 VA 2-157-926             6/13/2019                   4/8/2019               7/11/2020
 229247486 43-75 NW 23rd St, Miami, FL 33127                    Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/11/2019 VA 2-157-911             6/13/2019                  4/11/2019               4/12/2021
 231823299 5966 S Dixie Hwy, South Miami, FL 33143              Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/17/2019 VA 2-157-911             6/13/2019                  4/17/2019               7/10/2020
 231823305 5966 S Dixie Hwy, South Miami, FL 33143              Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/17/2019 VA 2-157-911             6/13/2019                  4/17/2019               10/4/2020
 234612024 1395 Brickell Ave, Miami, FL 33131                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/24/2019 VA 2-157-911             6/13/2019                  4/24/2019               7/12/2020
 227223700 5057 Pinnacle Sq, Birmingham, AL 35235               Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        4/1/2019 VA 2-157-941             6/13/2019                   4/1/2019                7/7/2020
 227685436 9300 W Colfax Ave, Lakewood, CO 80215                Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        4/4/2019 VA 2-157-954             6/13/2019                   4/4/2019               7/10/2020
 227685446 9300 W Colfax Ave, Lakewood, CO 80215                Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        4/4/2019 VA 2-157-954             6/13/2019                   4/4/2019               7/10/2020
 238501804 760 N Church St, Watertown, WI 53098                 Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/6/2019 VA 2-157-587             6/13/2019                   5/6/2019               7/12/2020
 239931208 102-108 Washington Ave, Waupun, WI 53963             Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/10/2019 VA 2-157-587             6/13/2019                  5/10/2019               10/9/2020
 241055675 10375 N Baldev Ct, Mequon, WI 53092                  Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       5/14/2019 VA 2-157-587             6/13/2019                  5/14/2019               7/12/2021
 232437943 185 Admiral Cochrane Dr, Annapolis, MD 21401         Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/19/2019 VA 2-157-953             6/13/2019                  4/19/2019               7/11/2020
 229268565 13801 Bruce B Downs Blvd, Tampa, FL 33613            Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/11/2019 VA 2-159-142             6/14/2019                  4/11/2019               7/11/2020
 229268738 13801 Bruce B Downs Blvd, Tampa, FL 33613            Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/11/2019 VA 2-159-142             6/14/2019                  4/11/2019                7/3/2020
 229364766 101 E Kennedy Blvd, Tampa, FL 33602                  James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/11/2019 VA 2-182-593             6/14/2019                  4/11/2019                7/8/2020
 229364815 101 E Kennedy Blvd, Tampa, FL 33602                  James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       4/11/2019 VA 2-182-593             6/14/2019                  4/11/2019               7/10/2020
 237172330 9668 N US Highway 301, Wildwood, FL 34785            Clint Bliss                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/2/2019 VA 2-159-142             6/14/2019                   5/2/2019               7/13/2020
 237296292 10284 Causeway Blvd, Tampa, FL 33619                 James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/3/2019 VA 2-182-592             6/14/2019                   5/3/2019               7/11/2020
 238514157 3001 N Rocky Point Dr E, Tampa, FL 33607             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/6/2019 VA 2-182-592             6/14/2019                   5/6/2019                7/5/2020
 238514173 3001 N Rocky Point Dr E, Tampa, FL 33607             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/6/2019 VA 2-182-592             6/14/2019                   5/6/2019               7/13/2020
 238514251 3001 N Rocky Point Dr E, Tampa, FL 33607             James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/6/2019 VA 2-182-592             6/14/2019                   5/6/2019                7/5/2020
 238514430 6575 Central Ave, Saint Petersburg, FL 33710         James Petrylka                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        5/6/2019 VA 2-182-592             6/14/2019                   5/6/2019                7/4/2020
 238887011 22 Tolland Tpke, Willington, CT 06279                Ed Messenger                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                   2023466500        5/7/2019 VA 2-159-752             6/14/2019                   5/7/2019               7/13/2020
 228345320 4200 Rivers Edge Pky, Council Bluffs, IA 51501       Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        4/8/2019 VA 2-158-916             6/14/2019                   4/8/2019               7/13/2020
 228345350 4200 Rivers Edge Pky, Council Bluffs, IA 51501       Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        4/8/2019 VA 2-158-916             6/14/2019                   4/8/2019               7/13/2020
 228345386 4200 Rivers Edge Pky, Council Bluffs, IA 51501       Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        4/8/2019 VA 2-158-916             6/14/2019                   4/8/2019               7/12/2020
 236422458 7152 Pacific St, Omaha, NE 68106                     Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977       4/30/2019 VA 2-158-919             6/14/2019                  4/30/2019               7/10/2020
 238426731 17150-17420 Lakeside Hills Plz, Omaha, NE 68130      Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        5/6/2019 VA 2-158-919             6/14/2019                   5/6/2019               6/30/2020
 238426738 17150-17420 Lakeside Hills Plz, Omaha, NE 68130      Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        5/6/2019 VA 2-158-919             6/14/2019                   5/6/2019                7/7/2020
 238426747 17150-17420 Lakeside Hills Plz, Omaha, NE 68130      Drew Davis                                                                     CoStar Group             1225 17th St, Denver, CO 80202                       3018921977        5/6/2019 VA 2-158-919             6/14/2019                   5/6/2019               7/12/2020




                         OUTSIDE COUNSEL ONLY                                                                                                            134
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Attachment                                                                             Photographer - Last Known   Photographer - Last Known                                                                     Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                                 Image Address                 Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address         Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 238426757 17150-17420 Lakeside Hills Plz, Omaha, NE 68130     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/6/2019 VA 2-158-919              6/14/2019                   5/6/2019               7/10/2020
 238426762 17150-17420 Lakeside Hills Plz, Omaha, NE 68130     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/6/2019 VA 2-158-919              6/14/2019                   5/6/2019                7/5/2020
 238426776 17150-17420 Lakeside Hills Plz, Omaha, NE 68130     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/6/2019 VA 2-158-919              6/14/2019                   5/6/2019                7/8/2020
 238426781 2557-2575 S 171st St, Omaha, NE 68130               Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/6/2019 VA 2-158-919              6/14/2019                   5/6/2019               7/13/2020
 238426872 17150-17420 Lakeside Hills Plz, Omaha, NE 68130     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/6/2019 VA 2-158-919              6/14/2019                   5/6/2019               7/12/2020
 227725769 3299 Benchwood Rd, Dayton, OH 45414                 Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/4/2019 VA 2-159-075              6/14/2019                   4/4/2019                8/8/2020
 229261604 2246 N Palmer Dr, Schaumburg, IL 60173              Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/11/2019 VA 2-158-885              6/14/2019                  4/11/2019              11/20/2020
 231362923 600 S State St, Belvidere, IL 61008                 Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/16/2019 VA 2-158-885              6/14/2019                  4/16/2019               3/24/2021
 237033189 103 Old Marlton Pike, Medford, NJ 08055             Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/2/2019 VA 2-156-778              6/14/2019                   5/2/2019                7/9/2020
 238486942 2371 Route 206, Southampton, NJ 08088               Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/6/2019 VA 2-156-778              6/14/2019                   5/6/2019               3/30/2021
 238851950 183-195 Hospitality Dr, Xenia, OH 45385             Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/7/2019 VA 2-159-075              6/14/2019                   5/7/2019                7/7/2020
 238851953 183-195 Hospitality Dr, Xenia, OH 45385             Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/7/2019 VA 2-159-075              6/14/2019                   5/7/2019               7/11/2020
 240865639 816-856 Elmhurst Rd, Prospect Heights, IL 60070     Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      5/13/2019 VA 2-158-885              6/14/2019                  5/13/2019                7/5/2021
 227313154 113 Moorings Dr, Lantana, FL 33462                  Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/2/2019 VA 2-159-173              6/14/2019                   4/2/2019                8/8/2020
 227210292 14748 Nelson Ave, City Of Industry, CA 91744        David Jackson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/1/2019 VA 2-159-262              6/14/2019                   4/1/2019               8/12/2020
 230938991 324 W Interstate 20, Weatherford, TX 76086          Emily Whitman                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/15/2019 VA 2-158-004              6/14/2019                  4/15/2019                8/8/2020
 228354594 5500 Ming Ave, Bakersfield, CA 93309                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/8/2019 VA 2-161-713              6/17/2019                   4/8/2019               7/10/2020
 228367119 5500 Ming Ave, Bakersfield, CA 93309                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       4/8/2019 VA 2-161-713              6/17/2019                   4/8/2019               7/11/2020
 231464244 6868 Arch Rd, Stockton, CA 95215                    John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/16/2019 VA 2-161-713              6/17/2019                  4/16/2019               4/17/2021
 233806696 7021 Schirra Ct, Bakersfield, CA 93313              John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/22/2019 VA 2-161-713              6/17/2019                  4/22/2019               6/21/2021
 234625421 100 Commerce Park Rd, North Kingstown, RI 02852     Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/24/2019 VA 2-161-156              6/17/2019                  4/24/2019                7/1/2020
 234625431 100 Commerce Park Rd, North Kingstown, RI 02852     Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/24/2019 VA 2-161-156              6/17/2019                  4/24/2019               7/13/2020
 234625444 100 Commerce Park Rd, North Kingstown, RI 02852     Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/24/2019 VA 2-161-156              6/17/2019                  4/24/2019               6/30/2020
 234727979 285-299 S Main St, Fall River, MA 02721             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/25/2019 VA 2-161-156              6/17/2019                  4/25/2019               8/11/2020
 234727985 285-299 S Main St, Fall River, MA 02721             Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      4/25/2019 VA 2-161-156              6/17/2019                  4/25/2019                8/7/2020
 234814699 3521 Allen Rd, Bakersfield, CA 93314                John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      4/25/2019 VA 2-161-713              6/17/2019                  4/25/2019               6/30/2020
 239289863 338 Compass Cir, North Kingstown, RI 02852          Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/8/2019 VA 2-161-156              6/17/2019                   5/8/2019                8/9/2020
 239289885 338 Compass Cir, North Kingstown, RI 02852          Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/8/2019 VA 2-161-156              6/17/2019                   5/8/2019                8/7/2020
 239289954 338 Compass Cir, North Kingstown, RI 02852          Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/8/2019 VA 2-161-156              6/17/2019                   5/8/2019                8/9/2020
 227214373 2750 Alft Ln, Elgin, IL 60124                       Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/1/2019 VA 2-161-157              6/17/2019                   4/1/2019                7/4/2020
 231791464 1800 Pembrook Dr, Orlando, FL 32810                 Jay Welker                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/17/2019 VA 2-160-641              6/17/2019                  4/17/2019               7/14/2020
 233735325 1700 Markley St, Norristown, PA 19401               Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/22/2019 VA 2-160-000              6/17/2019                  4/22/2019               7/10/2020
 233735336 1700 Markley St, Norristown, PA 19401               Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/22/2019 VA 2-160-000              6/17/2019                  4/22/2019               7/11/2020
 231451245 123 Hope St, Brooklyn, NY 11211                     Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      4/16/2019 VA 2-161-524              6/17/2019                  4/16/2019                7/5/2020
 238137993 18040 Sherman Way, Reseda, CA 91335                 Dustin Pacheco                                                                  CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/5/2019 VA 2-159-755              6/17/2019                   5/5/2019                7/9/2020
 230939175 4190 Waring Rd, Lakeland, FL 33811                  Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/15/2019 VA 2-160-658              6/17/2019                  4/15/2019               3/30/2021
 239931244 7571 W Irlo Bronson Hwy, Kissimmee, FL 34747        Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/10/2019 VA 2-160-658              6/17/2019                  5/10/2019               7/11/2020
 229262297 510 W Martin St, Raleigh, NC 27603                  Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/11/2019 VA 2-160-702              6/18/2019                  4/11/2019                7/8/2020
 228457051 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019                7/1/2020
 228457142 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019                7/1/2020
 228457231 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019               7/12/2020
 228457532 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019                7/1/2020
 228457558 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019               7/11/2020
 228457719 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019               6/30/2020
 228457796 20 Britton Ct, Shippensburg, PA 17257               Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/9/2019 VA 2-161-354              6/18/2019                   4/9/2019               7/11/2020
 229330886 2020 Ponce De Leon Blvd, Coral Gables, FL 33134     Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/11/2019 VA 2-160-192              6/18/2019                  4/11/2019                7/5/2020
 236314041 25150 W Newberry Rd, Newberry, FL 32669             Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/29/2019 VA 2-160-067              6/18/2019                  4/29/2019               7/26/2020
 236314069 25150 W Newberry Rd, Newberry, FL 32669             Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/29/2019 VA 2-160-067              6/18/2019                  4/29/2019               7/26/2020
 237314456 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019               7/13/2020
 237314614 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019               7/13/2020
 237314633 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019                7/5/2020
 237314729 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019                7/6/2020
 237314839 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019               7/11/2020
 237314841 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019               7/11/2020
 237314859 2230 Massachusetts Ave NW, Washington, DC 20008     Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/3/2019 VA 2-160-189              6/18/2019                   5/3/2019                7/1/2020
 241208646 3255 K St NW, Washington, DC 20007                  Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      5/15/2019 VA 2-160-189              6/18/2019                  5/15/2019                7/5/2020
 227502744 10255 E Old Vail Rd, Tucson, AZ 85747               Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/3/2019 VA 2-160-238              6/18/2019                   4/3/2019                8/9/2020
 228473757 1387 George Dieter Dr, El Paso, TX 79936            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/9/2019 VA 2-160-238              6/18/2019                   4/9/2019                7/8/2020
 228473804 1387 George Dieter Dr, El Paso, TX 79936            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/9/2019 VA 2-160-238              6/18/2019                   4/9/2019               7/13/2020
 229447662 3180 N Point Pky, Alpharetta, GA 30005              Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/12/2019 VA 2-160-235              6/18/2019                  4/12/2019               2/21/2021
 231047718 900 W Bethany Dr, Allen, TX 75013                   Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/15/2019 VA 2-160-202              6/18/2019                  4/15/2019                7/4/2021
 234601521 3025 Breckinridge Blvd, Duluth, GA 30096            Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2019 VA 2-160-235              6/18/2019                  4/24/2019                7/6/2020
 234605845 3025 Breckinridge Blvd, Duluth, GA 30096            Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/24/2019 VA 2-160-235              6/18/2019                  4/24/2019                7/1/2020
 234743453 3172 N Swan Rd, Tucson, AZ 85712                    Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/25/2019 VA 2-160-236              6/18/2019                  4/25/2019                7/8/2020
 236416297 5210 E Williams Cir, Tucson, AZ 85711               Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/30/2019 VA 2-160-236              6/18/2019                  4/30/2019                7/5/2020
 236468590 6875 E Sunrise Dr, Tucson, AZ 85750                 Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      4/30/2019 VA 2-160-236              6/18/2019                  4/30/2019                7/6/2020
 236853034 3615 N Prince Village Pl, Tucson, AZ 85719          Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/1/2019 VA 2-160-236              6/18/2019                   5/1/2019               7/12/2020
 239312232 920 Chelsea St, El Paso, TX 79903                   Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/8/2019 VA 2-160-236              6/18/2019                   5/8/2019               7/12/2020
 240866569 4574 N 1st Ave, Tucson, AZ 85718                    Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      5/13/2019 VA 2-160-236              6/18/2019                  5/13/2019               7/10/2020
 228330136 15720 Brixham Hill Ave, Charlotte, NC 28277         Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/8/2019 VA 2-161-967              6/18/2019                   4/8/2019               7/12/2020
 228330157 15720 Brixham Hill Ave, Charlotte, NC 28277         Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/8/2019 VA 2-161-967              6/18/2019                   4/8/2019               7/11/2020
 231885553 4701 Entrance Dr, Charlotte, NC 28273               Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      4/17/2019 VA 2-161-967              6/18/2019                  4/17/2019                7/5/2020
 241056002 1000 Derita Rd, Concord, NC 28027                   Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/14/2019 VA 2-161-967              6/18/2019                  5/14/2019                7/4/2020
 241056028 1000 Derita Rd, Concord, NC 28027                   Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      5/14/2019 VA 2-161-967              6/18/2019                  5/14/2019               7/12/2020
 238515148 6750 W Deer Valley Rd, Glendale, AZ 85310           Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/6/2019 VA 2-159-740              6/18/2019                   5/6/2019                2/2/2021
 239778681 3075 W Ray Rd, Chandler, AZ 85226                   Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/9/2019 VA 2-159-740              6/18/2019                   5/9/2019                7/7/2020
 228311891 20266 N Lake Pleasant Rd, Peoria, AZ 85382          Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/8/2019 VA 2-161-875              6/18/2019                   4/8/2019               7/10/2020
 231033289 3975 Landmark St, Culver City, CA 90232             Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/15/2019 VA 2-160-233              6/18/2019                  4/15/2019                7/6/2020
 231888147 23910 N 19th Ave, Phoenix, AZ 85085                 Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      4/17/2019 VA 2-161-875              6/18/2019                  4/17/2019                3/8/2021
 232335841 14616 E Sr-70, Bradenton, FL 34211                  Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      4/18/2019 VA 2-160-710              6/18/2019                  4/18/2019               7/13/2020




                        OUTSIDE COUNSEL ONLY                                                                                                             135
                                                                 Case 2:20-cv-08819-CBM-AS                                          Document 950-1 Filed 10/25/24                                                                  Page 163 of 202
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Attachment                                                                                 Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 232335864 14616 E Sr-70, Bradenton, FL 34211                      Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      4/18/2019 VA 2-160-710              6/18/2019                  4/18/2019               7/11/2020
 238492421 925 W Baseline Rd, Tempe, AZ 85283                      Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/6/2019 VA 2-161-877              6/18/2019                   5/6/2019                7/6/2020
 239791223 7550 N 19th Ave, Phoenix, AZ 85021                      Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       5/9/2019 VA 2-161-877              6/18/2019                   5/9/2019               7/13/2020
 227425871 888 Kapiolani Blvd, Honolulu, HI 96813                  Odeelo Dayondon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/2/2019 VA 2-161-518              6/18/2019                   4/2/2019                7/7/2020
 232447200 4900 Rogers Ave, Fort Smith, AR 72903                   Michael Denison                                                                 CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      4/19/2019 VA 2-160-073              6/18/2019                  4/19/2019               7/11/2020
 237007473 9612 Highway 6, Missouri City, TX 77459                 Mitchell Hester                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/2/2019 VA 2-161-351              6/18/2019                   5/2/2019               7/11/2020
 237007515 9612 Highway 6, Missouri City, TX 77459                 Mitchell Hester                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/2/2019 VA 2-161-351              6/18/2019                   5/2/2019                7/2/2020
 237007641 9612 Highway 6, Missouri City, TX 77459                 Mitchell Hester                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/2/2019 VA 2-161-351              6/18/2019                   5/2/2019               7/13/2020
 237062680 4899 Highway 6, Missouri City, TX 77459                 Mitchell Hester                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/2/2019 VA 2-161-351              6/18/2019                   5/2/2019               1/27/2021
 228430623 2721-2763 University Dr, Auburn Hills, MI 48326         Kimberly Wooster                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/9/2019 VA 2-160-234              6/18/2019                   4/9/2019               7/21/2020
 228343941 1712 S Post Rd, Midwest City, OK 73130                  Richard Waltemath                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977       4/8/2019 VA 2-161-866              6/18/2019                   4/8/2019               7/12/2020
 241222791 503 E Industrial Ave, Booker, TX 79005                  Richard Waltemath                                                               CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      5/15/2019 VA 2-161-866              6/18/2019                  5/15/2019               8/12/2020
 241183233 3200 Rifle Gap Rd, Frisco, TX 75034                     Stacey Callaway                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/15/2019 VA 2-160-181              6/19/2019                  5/15/2019               1/27/2021
 250961644 4100 Westown Pkwy, West Des Moines, IA 50266            Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/10/2019 VA 2-161-826              6/19/2019                  6/10/2019                7/2/2020
 250961674 4100 Westown Pkwy, West Des Moines, IA 50266            Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/10/2019 VA 2-161-826              6/19/2019                  6/10/2019                7/7/2020
 250961707 4100 Westown Pkwy, West Des Moines, IA 50266            Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/10/2019 VA 2-161-826              6/19/2019                  6/10/2019               6/30/2020
 253464222 14472 Gold Coast Rd, Omaha, NE 68138                    Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                         3018921977      6/18/2019 VA 2-161-826              6/19/2019                  6/18/2019                2/6/2021
 228441869 41775-41865 Ford Rd, Canton, MI 48187                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062       4/9/2019 VA 2-159-731              6/19/2019                   4/9/2019               8/12/2020
 246616688 450 Gracie Farms Rd, New Bern, NC 28560                 Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-162-643              6/19/2019                  5/30/2019               5/16/2020
 229328966 1717 W Northern Ave, Phoenix, AZ 85021                  Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/11/2019 VA 2-161-343              6/19/2019                  4/11/2019                7/7/2020
 229328969 1717 W Northern Ave, Phoenix, AZ 85021                  Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/11/2019 VA 2-161-343              6/19/2019                  4/11/2019               7/11/2020
 229329062 1717 W Northern Ave, Phoenix, AZ 85021                  Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/11/2019 VA 2-161-343              6/19/2019                  4/11/2019                7/1/2020
 232337583 1950 S Country Club Dr, Mesa, AZ 85210                  Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/18/2019 VA 2-161-342              6/19/2019                  4/18/2019               7/11/2020
 233813702 9911-9931 E Baseline Rd, Mesa, AZ 85209                 Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/22/2019 VA 2-161-342              6/19/2019                  4/22/2019               10/5/2020
 234175847 14122 W McDowell Rd, Goodyear, AZ 85395                 Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/23/2019 VA 2-161-342              6/19/2019                  4/23/2019               7/12/2020
 234176104 14122 W McDowell Rd, Goodyear, AZ 85395                 Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/23/2019 VA 2-161-342              6/19/2019                  4/23/2019               7/13/2020
 234176295 14122 W McDowell Rd, Goodyear, AZ 85395                 Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/23/2019 VA 2-161-342              6/19/2019                  4/23/2019               7/13/2020
 234604529 3550 W Clarendon Ave, Phoenix, AZ 85019                 Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/24/2019 VA 2-161-342              6/19/2019                  4/24/2019                7/8/2020
 236463040 10290 N 92nd St, Scottsdale, AZ 85258                   Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      4/30/2019 VA 2-161-342              6/19/2019                  4/30/2019               5/19/2021
 236936605 777 E Thomas Rd, Phoenix, AZ 85014                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/1/2019 VA 2-161-342              6/19/2019                   5/1/2019                7/5/2020
 236936627 777 E Thomas Rd, Phoenix, AZ 85014                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/1/2019 VA 2-161-342              6/19/2019                   5/1/2019               7/12/2020
 236936666 777 E Thomas Rd, Phoenix, AZ 85014                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/1/2019 VA 2-161-342              6/19/2019                   5/1/2019               7/12/2020
 239834802 4858 E Baseline Rd, Mesa, AZ 85206                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/9/2019 VA 2-161-342              6/19/2019                   5/9/2019                7/4/2020
 239834882 4858 E Baseline Rd, Mesa, AZ 85206                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/9/2019 VA 2-161-342              6/19/2019                   5/9/2019                7/1/2020
 239834933 4858 E Baseline Rd, Mesa, AZ 85206                      Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/9/2019 VA 2-161-342              6/19/2019                   5/9/2019                7/5/2020
 235274802 201-225 N Palomares St, Pomona, CA 91767                David Jackson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/26/2019 VA 2-160-818              6/19/2019                  4/26/2019               1/13/2021
 241020171 2108-2118 Clemson Rd, Columbia, SC 29229                Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/14/2019 VA 2-160-076              6/19/2019                  5/14/2019              10/27/2020
 241020443 10204 Two Notch Rd, Columbia, SC 29229                  Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/14/2019 VA 2-160-076              6/19/2019                  5/14/2019                7/3/2020
 228434081 2180 General Booth Blvd, Virginia Beach, VA 23454       Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/8/2019 VA 2-161-340              6/19/2019                   4/8/2019               7/19/2020
 228435326 2180 General Booth Blvd, Virginia Beach, VA 23454       Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       4/8/2019 VA 2-161-340              6/19/2019                   4/8/2019               7/19/2020

 233801867 919 E Main St, Richmond, VA 23219                       Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/22/2019 VA 2-160-105             6/19/2019                  4/22/2019                2/6/2021

 236840028 2015 2nd Ave, Summerville, SC 29486                     Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/1/2019 VA 2-160-105             6/19/2019                   5/1/2019               7/10/2020

 236846560 145 Calhoun St, Charleston, SC 29401                    Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/1/2019 VA 2-160-105             6/19/2019                   5/1/2019               6/30/2020
 239387095 3500 A Comanche Rd NE, Albuquerque, NM 87110            Janel Herrera                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        5/8/2019 VA 2-182-589             6/21/2019                   5/8/2019               7/13/2020

 234617607 2300-2320 Harding Hwy, Lima, OH 45804                   Dwayne Walker                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/24/2019 VA 2-159-753             7/16/2019                  4/24/2019                2/6/2021
 244312704 24303 Walnut St, Santa Clarita, CA 91321                Adam Davis                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/23/2019 VA 2-160-048             7/16/2019                  5/23/2019                7/9/2020
 246410923 2100 Ponce De Leon Blvd, Coral Gables, FL 33134         Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/29/2019 VA 2-162-660             7/16/2019                  5/29/2019                7/9/2020
 253894748 4709 SW 72nd Ave, Miami, FL 33155                       Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/20/2019 VA 2-162-660             7/16/2019                  6/20/2019               5/16/2021
 249444805 10620 W Greenfield Ave, West Allis, WI 53214            Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/6/2019 VA 2-159-992             7/16/2019                   6/6/2019                7/9/2020
 249444864 10620 W Greenfield Ave, West Allis, WI 53214            Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/6/2019 VA 2-159-992             7/16/2019                   6/6/2019               6/30/2020
 253717165 The Mayfair Collection, Wauwatosa, WI 53222             Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2019 VA 2-159-992             7/16/2019                  6/19/2019                7/4/2020
 254060573 S86W22400 Edgewood Ave, Big Bend, WI 53103              Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/21/2019 VA 2-159-992             7/16/2019                  6/21/2019                7/1/2020
 243687307 3905 Correia Dr, Zephyrhills, FL 33542                  Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2019 VA 2-160-195             7/17/2019                  5/21/2019                7/6/2020
 243687334 3905 Correia Dr, Zephyrhills, FL 33542                  Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/21/2019 VA 2-160-195             7/17/2019                  5/21/2019                7/6/2020
 245001822 7381 114th Ave, Largo, FL 33773                         Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/24/2019 VA 2-160-195             7/17/2019                  5/24/2019               7/13/2020
 248050365 8444 Old Richfood Rd, Mechanicsville, VA 23116          Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        6/3/2019 VA 2-160-329             7/17/2019                   6/3/2019                8/8/2020
 248628460 9050 Pines Blvd, Pembroke Pines, FL 33024               Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/4/2019 VA 2-160-166             7/17/2019                   6/4/2019               7/13/2020
 249444873 4350 Oakes Rd, Davie, FL 33314                          Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/6/2019 VA 2-160-166             7/17/2019                   6/6/2019                7/8/2020
 253452421 1750 N University Dr, Coral Springs, FL 33071           Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2019 VA 2-160-166             7/17/2019                  6/18/2019               10/7/2020
 253527977 9050 Pines Blvd, Pembroke Pines, FL 33024               Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/18/2019 VA 2-160-166             7/17/2019                  6/18/2019                7/7/2020
 254586727 1001 SW 2nd Ave, Boca Raton, FL 33432                   Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2019 VA 2-160-166             7/17/2019                  6/25/2019               1/18/2021
 245765830 10740 Nall Ave, Overland Park, KS 66211                 Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/28/2019 VA 2-160-175             7/17/2019                  5/28/2019                2/6/2021
 253454404 1185 Lane Ave S, Jacksonville, FL 32205                 Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/18/2019 VA 2-160-321             7/17/2019                  6/18/2019               7/24/2020
 253532178 3636 University Blvd, Jacksonville, FL 32216            Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/18/2019 VA 2-160-321             7/17/2019                  6/18/2019               7/13/2020
 253532186 3636 University Blvd, Jacksonville, FL 32216            Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/18/2019 VA 2-160-321             7/17/2019                  6/18/2019               7/13/2020
 253532190 3636 University Blvd, Jacksonville, FL 32216            Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/18/2019 VA 2-160-321             7/17/2019                  6/18/2019               7/13/2020
 254115421 16095-16111 SE McLoughlin Blvd, Milwaukie, OR 97267     Chloe Miller                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/21/2019 VA 2-160-201             7/17/2019                  6/21/2019               1/27/2021
 243562190 2001 Lincoln Dr W, Marlton, NJ 08053                    Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/21/2019 VA 2-160-170             7/17/2019                  5/21/2019                7/8/2020
 244950391 10 E Park Dr, Westampton, NJ 08060                      Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/24/2019 VA 2-160-170             7/17/2019                  5/24/2019               7/11/2020
 242523281 17150-17420 Lakeside Hills Plz, Omaha, NE 68130         Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       5/17/2019 VA 2-160-324             7/17/2019                  5/17/2019               7/11/2020
 243846282 5510 US Hwy 280 S, Birmingham, AL 35242                 Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/22/2019 VA 2-159-714             7/17/2019                  5/22/2019                7/2/2020
 243846337 5510 US Hwy 280 S, Birmingham, AL 35242                 Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/22/2019 VA 2-159-714             7/17/2019                  5/22/2019               7/13/2020
 243846354 5510 US Hwy 280 S, Birmingham, AL 35242                 Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/22/2019 VA 2-159-714             7/17/2019                  5/22/2019               7/10/2020
 248048566 3543 Pelham Pky, Pelham, AL 35124                       Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/3/2019 VA 2-159-714             7/17/2019                   6/3/2019                7/2/2020
 248048663 3543 Pelham Pky, Pelham, AL 35124                       Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/3/2019 VA 2-159-714             7/17/2019                   6/3/2019               7/13/2020
 254616084 3230 Messer Airport Hwy, Birmingham, AL 35222           Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2019 VA 2-159-714             7/17/2019                  6/25/2019               7/13/2020




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 254747869 600 Bursca Dr, Bridgeville, PA 15017                      Anna Dukovich                                                                   CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                         8554096827      6/26/2019 VA 2-160-327              7/17/2019                  6/26/2019               7/31/2020
 246327626 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019               7/12/2020
 246328840 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019               7/13/2020
 246329086 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019               6/29/2020
 246330494 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019                7/5/2020
 246334468 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019                7/5/2020
 246344232 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019               7/12/2020
 246345429 4100-4300 Okeechobee Rd, Fort Pierce, FL 34947            David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      5/29/2019 VA 2-160-059              7/19/2019                  5/29/2019               7/12/2020
 253340851 2250 Palm Beach Lakes Blvd, West Palm Beach, FL 33409     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/17/2019 VA 2-160-059              7/19/2019                  6/17/2019               7/11/2020
 253340870 2250 Palm Beach Lakes Blvd, West Palm Beach, FL 33409     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/17/2019 VA 2-160-059              7/19/2019                  6/17/2019               7/13/2020
 253340889 2250 Palm Beach Lakes Blvd, West Palm Beach, FL 33409     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/17/2019 VA 2-160-059              7/19/2019                  6/17/2019               6/30/2020
 253340941 2250 Palm Beach Lakes Blvd, West Palm Beach, FL 33409     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/17/2019 VA 2-160-059              7/19/2019                  6/17/2019                7/4/2020
 253340966 2250 Palm Beach Lakes Blvd, West Palm Beach, FL 33409     David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/17/2019 VA 2-160-059              7/19/2019                  6/17/2019                7/5/2020
 253712995 2626 Care Dr, Tallahassee, FL 32308                       David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2019 VA 2-160-063              7/19/2019                  6/19/2019               7/13/2020
 253713134 2626 Care Dr, Tallahassee, FL 32308                       David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2019 VA 2-160-063              7/19/2019                  6/19/2019                7/7/2020
 253713184 2626 Care Dr, Tallahassee, FL 32308                       David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/19/2019 VA 2-160-063              7/19/2019                  6/19/2019                7/3/2020
 248184868 8444 Old Richfood Rd, Mechanicsville, VA 23116            Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       6/3/2019 VA 2-160-050              7/19/2019                   6/3/2019               8/12/2020
 248185279 8444 Old Richfood Rd, Mechanicsville, VA 23116            Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       6/3/2019 VA 2-160-050              7/19/2019                   6/3/2019               8/11/2020
 248185634 8444 Old Richfood Rd, Mechanicsville, VA 23116            Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500       6/3/2019 VA 2-160-050              7/19/2019                   6/3/2019                8/8/2020
 250985496 1621 Lakeview Dr, Sebring, FL 33870                       James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/10/2019 VA 2-164-221              7/23/2019                  6/10/2019                8/9/2020
 250985997 1621 Lakeview Dr, Sebring, FL 33870                       James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/10/2019 VA 2-164-221              7/23/2019                  6/10/2019                8/9/2020
 252619354 4650 N Alafaya Trl, Orlando, FL 32826                     Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/13/2019 VA 2-164-174              7/23/2019                  6/13/2019                2/2/2021
 246609756 179 College Dr, Orange Park, FL 32065                     Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-164-105              7/24/2019                  5/30/2019               7/31/2020
 246609812 179 College Dr, Orange Park, FL 32065                     Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-164-105              7/24/2019                  5/30/2019               7/31/2020
 248049368 179 College Dr, Orange Park, FL 32065                     Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/3/2019 VA 2-164-105              7/24/2019                   6/3/2019               11/7/2020
 252138215 15 Trafalgar Sq, Nashua, NH 03063                         Jeff Tippett                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/12/2019 VA 2-164-223              7/24/2019                  6/12/2019              10/11/2020
 254487067 633 Pierce Ave, Linden, NJ 07036                          John Georgiadis                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/24/2019 VA 2-164-202              7/24/2019                  6/24/2019                7/5/2020
 242103362 3255 K St NW, Washington, DC 20007                        Joseph Furio                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/16/2019 VA 2-163-975              7/24/2019                  5/16/2019               7/11/2020
 249620997 3710 W Overton Rd, Tucson, AZ 85742                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       6/7/2019 VA 2-166-888              7/24/2019                   6/7/2019               7/13/2020
 252136902 5760-5764 E Broadway Blvd, Tucson, AZ 85711               Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/12/2019 VA 2-166-888              7/24/2019                  6/12/2019                5/4/2021
 252146127 2828 N Country Club Rd, Tucson, AZ 85716                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/12/2019 VA 2-166-888              7/24/2019                  6/12/2019               7/13/2020
 252146179 2828 N Country Club Rd, Tucson, AZ 85716                  Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/12/2019 VA 2-166-888              7/24/2019                  6/12/2019               7/12/2020
 252811477 5708-5712 E Speedway Blvd, Tucson, AZ 85712               Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/14/2019 VA 2-166-888              7/24/2019                  6/14/2019                7/3/2020
 252840139 227 E Valencia Rd, Tucson, AZ 85706                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/14/2019 VA 2-166-888              7/24/2019                  6/14/2019                7/5/2020
 252840186 227 E Valencia Rd, Tucson, AZ 85706                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/14/2019 VA 2-166-888              7/24/2019                  6/14/2019               7/11/2020
 244154813 5107 E Diana St, Tampa, FL 33610                          Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      5/22/2019 VA 2-164-128              7/24/2019                  5/22/2019                7/5/2020
 253379084 5107 E Diana St, Tampa, FL 33610                          Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      6/17/2019 VA 2-164-128              7/24/2019                  6/17/2019               7/16/2020
 253379221 5107 E Diana St, Tampa, FL 33610                          Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      6/17/2019 VA 2-164-128              7/24/2019                  6/17/2019               7/14/2020
 253379351 5107 E Diana St, Tampa, FL 33610                          Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      6/17/2019 VA 2-164-128              7/24/2019                  6/17/2019               7/22/2020
 243577292 354 Veterans Memorial Hwy, Commack, NY 11725              Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      5/21/2019 VA 2-164-265              7/24/2019                  5/21/2019               1/23/2021
 254831648 1309 Rockaway Pky, Brooklyn, NY 11236                     Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      6/26/2019 VA 2-164-265              7/24/2019                  6/26/2019               10/4/2020
 245857257 835 N Post St, Spokane, WA 99201                          John Othic                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      5/28/2019 VA 2-164-263              7/24/2019                  5/28/2019               7/11/2021
 242706450 529 14th St NW, Washington, DC 20045                      Jessica Livoni                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/18/2019 VA 2-164-268              7/24/2019                  5/18/2019                7/2/2020
 248595635 8601 Georgia Ave, Silver Spring, MD 20910                 Jessica Livoni                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500       6/4/2019 VA 2-164-268              7/24/2019                   6/4/2019               7/12/2020
 253508556 141 West St, Annapolis, MD 21401                          Jessica Livoni                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/18/2019 VA 2-164-268              7/24/2019                  6/18/2019                7/3/2020
 253508601 141 West St, Annapolis, MD 21401                          Jessica Livoni                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      6/18/2019 VA 2-164-268              7/24/2019                  6/18/2019                7/4/2020
 252636401 8951 Daniels Pky, Fort Myers, FL 33912                    Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/13/2019 VA 2-164-188              7/25/2019                  6/13/2019                7/4/2020
 254474845 18781 Three Oaks Pky, Fort Myers, FL 33967                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      6/24/2019 VA 2-164-188              7/25/2019                  6/24/2019                7/3/2020
 242120387 2201-2219 E University Dr, Phoenix, AZ 85034              Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      5/16/2019 VA 2-164-165              7/25/2019                  5/16/2019               5/25/2021
 242531148 4344 W Bell Rd, Glendale, AZ 85308                        Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      5/17/2019 VA 2-164-165              7/25/2019                  5/17/2019               7/10/2020
 251720423 1616 E Indian School Rd, Phoenix, AZ 85016                Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/11/2019 VA 2-164-165              7/25/2019                  6/11/2019                3/8/2021
 252845703 15600-15650 N Black Canyon Hwy, Phoenix, AZ 85053         Nicholas Cassano                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836      6/14/2019 VA 2-164-165              7/25/2019                  6/14/2019               7/12/2020
 246015012 14044 W Camelback Rd, Litchfield Park, AZ 85340           Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/28/2019 VA 2-164-185              7/25/2019                  5/28/2019               7/14/2020
 246517779 14870 E Northsight Blvd, Scottsdale, AZ 85260             Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/29/2019 VA 2-164-185              7/25/2019                  5/29/2019               7/13/2020
 246517797 14870 E Northsight Blvd, Scottsdale, AZ 85260             Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/29/2019 VA 2-164-185              7/25/2019                  5/29/2019                7/8/2020
 246517838 14870 E Northsight Blvd, Scottsdale, AZ 85260             Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/29/2019 VA 2-164-185              7/25/2019                  5/29/2019                7/3/2020
 246605478 2235 W Alice Ave, Phoenix, AZ 85021                       Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-164-185              7/25/2019                  5/30/2019                7/6/2020
 246614228 10030 N Metro Pky E, Phoenix, AZ 85051                    Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-164-185              7/25/2019                  5/30/2019                7/3/2020
 246614240 10030 N Metro Pky E, Phoenix, AZ 85051                    Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/30/2019 VA 2-164-185              7/25/2019                  5/30/2019                7/5/2020
 248452566 2501 W Phelps Rd, Phoenix, AZ 85023                       Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       6/4/2019 VA 2-164-183              7/25/2019                   6/4/2019                6/7/2021
 251638025 5800 W Glenn Dr, Glendale, AZ 85301                       Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/11/2019 VA 2-164-185              7/25/2019                  6/11/2019                7/7/2020
 255234445 7600 E Camelback Rd, Scottsdale, AZ 85251                 Peter Sills                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/28/2019 VA 2-164-185              7/25/2019                  6/28/2019               8/11/2020
 248043091 88 Withers St, Brooklyn, NY 11211                         Perez Folds                                                                     CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500       6/3/2019 VA 2-164-180              7/25/2019                   6/3/2019               2/26/2021
 251555869 520 Post Oak Blvd, Houston, TX 77027                      Mitchell Hester                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      6/11/2019 VA 2-162-947              7/25/2019                  6/11/2019               7/11/2020
 250958247 386 Squire Rd, Revere, MA 02151                           Morgan Knight                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      6/10/2019 VA 2-164-010              7/25/2019                  6/10/2019               7/11/2020

 242104893 5004-5010 N Hamilton Rd, Columbus, OH 43230               Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       5/16/2019 VA 2-164-192             7/26/2019                  5/16/2019                7/3/2020
 252475475 16200 NW 59th Ave, Miami Lakes, FL 33014                  Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/13/2019 VA 2-165-255             7/26/2019                  6/13/2019               8/11/2020
 254536907 301 Altara Ave, Coral Gables, FL 33146                    Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2019 VA 2-165-255             7/26/2019                  6/24/2019                7/7/2020
 254671647 14 NE 1st Ave, Miami, FL 33132                            Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/25/2019 VA 2-165-255             7/26/2019                  6/25/2019               7/12/2020
 253710768 245 W Elizabeth St, Detroit, MI 48201                     Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       6/19/2019 VA 2-163-888             7/26/2019                  6/19/2019                7/7/2020
 242956426 4208-4248 S 36th Pl, Phoenix, AZ 85040                    Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/20/2019 VA 2-163-853             7/26/2019                  5/20/2019               1/18/2021
 242091994 2180 General Booth Blvd, Virginia Beach, VA 23454         Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/16/2019 VA 2-165-507             7/26/2019                  5/16/2019               7/19/2020
 242091997 2180 General Booth Blvd, Virginia Beach, VA 23454         Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/16/2019 VA 2-165-507             7/26/2019                  5/16/2019               7/19/2020
 242092000 2180 General Booth Blvd, Virginia Beach, VA 23454         Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/16/2019 VA 2-165-507             7/26/2019                  5/16/2019               7/19/2020
 242092007 2180 General Booth Blvd, Virginia Beach, VA 23454         Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/16/2019 VA 2-165-507             7/26/2019                  5/16/2019               7/19/2020
 255288268 12516-12560 Central Ave, Chino, CA 91710                  Samuel Evans                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/28/2019 VA 2-164-193             7/26/2019                  6/28/2019               1/13/2021
 255810017 9090 S Ridgeline Blvd, Littleton, CO 80129                Andrew Shelton                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        7/2/2019 VA 2-171-124             9/18/2019                   7/2/2019                7/3/2020

 258153522 393 Nichol Mill Ln, Franklin, TN 37067                    Andrew Nelson                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/15/2019 VA 2-171-132             9/18/2019                  7/15/2019                7/2/2020




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 258153711 393 Nichol Mill Ln, Franklin, TN 37067                      Andrew Nelson                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      7/15/2019 VA 2-171-132             9/18/2019                 7/15/2019              7/10/2020

 262974093 393 Nichol Mill Ln, Franklin, TN 37067                      Andrew Nelson                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      8/14/2019 VA 2-171-132             9/18/2019                 8/14/2019              7/12/2020
 256823130 20200 W Dixie Hwy, Aventura, FL 33180                       Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/9/2019 VA 2-171-256             9/18/2019                  7/9/2019              7/31/2020
 256823300 20200 W Dixie Hwy, Aventura, FL 33180                       Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/9/2019 VA 2-171-256             9/18/2019                  7/9/2019              7/31/2020
 255620738 750 A B Data Dr, Glendale, WI 53217                         Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-171-250             9/18/2019                  7/1/2019               7/5/2020
 257714856 10555 N Port Washington Rd, Mequon, WI 53092                Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/12/2019 VA 2-171-250             9/18/2019                 7/12/2019              7/12/2020
 258375789 3636 N 124th St, Wauwatosa, WI 53222                        Adam Santoni                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      7/16/2019 VA 2-171-250             9/18/2019                 7/16/2019               7/2/2020
 263279799 62 Providence Pike, Putnam, CT 06260                        Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      8/15/2019 VA 2-171-641             9/25/2019                 8/15/2019              2/21/2021
 261740192 1417-1437 Freeway Dr, Reidsville, NC 27320                  Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/6/2019 VA 2-171-061             9/25/2019                  8/6/2019              7/11/2020
 260836985 2033 Gateway Pl, San Jose, CA 95110                         Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      7/31/2019 VA 2-171-048             9/25/2019                 7/31/2019             11/16/2020
 261635776 333 Metro Park, Rochester, NY 14623                         Frank Taddeo                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/5/2019 VA 2-171-647             9/25/2019                  8/5/2019             11/29/2020
 261740122 1417-1437 Freeway Dr, Reidsville, NC 27320                  Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/6/2019 VA 2-171-061             9/25/2019                  8/6/2019               7/4/2020
 263268547 000 CC Camp Rd, Elkin, NC 28621                             Charlotte Alvey                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      8/15/2019 VA 2-171-060             9/25/2019                 8/15/2019             11/28/2020
 257472878 15760 Ventura Blvd, Encino, CA 91436                        Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      7/11/2019 VA 2-171-054             9/25/2019                 7/11/2019               7/4/2020
 258819195 11726 San Vicente Blvd, Los Angeles, CA 90049               Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      7/19/2019 VA 2-171-054             9/25/2019                 7/19/2019              11/2/2020
 258819915 11766 Wilshire Blvd, Los Angeles, CA 90025                  Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      7/19/2019 VA 2-171-054             9/25/2019                 7/19/2019               7/7/2020
 262129145 1990 S Bundy Dr, Los Angeles, CA 90025                      Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/8/2019 VA 2-171-054             9/25/2019                  8/8/2019               4/7/2021
 262129521 8920 Wilshire Blvd, Beverly Hills, CA 90211                 Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/8/2019 VA 2-171-054             9/25/2019                  8/8/2019              4/17/2021
 256986850 101 S Lake St, Big Lake, MN 55309                           David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      7/10/2019 VA 2-171-036             9/25/2019                 7/10/2019             11/21/2020
 257715954 20 N Lake St, Forest Lake, MN 55025                         David Alexander                                                                 CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      7/12/2019 VA 2-171-036             9/25/2019                 7/12/2019               7/4/2020
 260425927 1384 Buford Business Blvd, Buford, GA 30518                 Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/29/2019 VA 2-171-044             9/25/2019                 7/29/2019               7/5/2020
 261723261 9402-9450 Arlington Expy, Jacksonville, FL 32225            Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/6/2019 VA 2-171-070             9/25/2019                  8/6/2019             11/13/2020
 262589927 9257 Highway 70 W, Clayton, NC 27520                        Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/12/2019 VA 2-171-642             9/25/2019                 8/12/2019               7/9/2020
 262589929 9257 Highway 70 W, Clayton, NC 27520                        Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/12/2019 VA 2-171-642             9/25/2019                 8/12/2019              7/10/2020
 263969618 918 S White Horse Pike, Somerdale, NJ 08083                 Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      8/20/2019 VA 2-171-064             9/25/2019                 8/20/2019             12/13/2020
 262383220 15317-15339 E Don Julian Rd, City Of Industry, CA 91745     David Jackson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/9/2019 VA 2-171-030             9/25/2019                  8/9/2019               7/5/2020
 261630749 1423 Gadsden Hwy, Birmingham, AL 35235                      Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/5/2019 VA 2-171-109             9/25/2019                  8/5/2019               7/3/2020
 256679810 10435 Greenbough Dr, Stafford, TX 77477                     Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/8/2019 VA 2-171-648             9/25/2019                  7/8/2019              7/11/2020
 256679994 10435 Greenbough Dr, Stafford, TX 77477                     Fred Farhad Ranjbaran                                                           CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/8/2019 VA 2-171-648             9/25/2019                  7/8/2019              7/11/2020
 257024954 200-700 Old Pond Rd, Bridgeville, PA 15017                  Anna Dukovich                                                                   CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827      7/10/2019 VA 2-171-117             9/25/2019                 7/10/2019              7/31/2020
 263274769 877 Post Rd E, Westport, CT 06880                           Collin Quinlivan                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      8/15/2019 VA 2-171-046             9/25/2019                 8/15/2019               7/3/2020
 256913381 14900 Sweitzer Ln, Laurel, MD 20707                         Jessica Livoni                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       7/9/2019 VA 2-171-774             9/26/2019                  7/9/2019             10/12/2020
 255610639 2100 Keystone Ave, Drexel Hill, PA 19026                    Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-318             9/26/2019                  7/1/2019              7/13/2020
 255610725 2100 Keystone Ave, Drexel Hill, PA 19026                    Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-318             9/26/2019                  7/1/2019               7/2/2020
 255610943 2100 Keystone Ave, Drexel Hill, PA 19026                    Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-318             9/26/2019                  7/1/2019               7/8/2020
 255611004 2100 Keystone Ave, Drexel Hill, PA 19026                    Mitchell Keingarsky                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-318             9/26/2019                  7/1/2019               7/5/2020
 256881612 16200 NW 59th Ave, Miami Lakes, FL 33014                    Rigoberto Perdomo                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/9/2019 VA 2-172-133             9/26/2019                  7/9/2019               8/9/2020
 257436530 3683 W Richert Ave, Fresno, CA 93722                        John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      7/11/2019 VA 2-171-990             9/26/2019                 7/11/2019              7/11/2020
 257627588 2290 10th Ave N, Lake Worth, FL 33461                       David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/12/2019 VA 2-171-034             9/26/2019                 7/12/2019              7/31/2020
 260591084 4204 Virtuous St, Garner, NC 27529                          Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/30/2019 VA 2-171-976             9/26/2019                 7/30/2019               8/8/2020
 260591300 4124 Virtuous St, Garner, NC 27529                          Lawrence Hiatt                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      7/30/2019 VA 2-171-976             9/26/2019                 7/30/2019              8/12/2020
 261741822 34085 Pacific Coast Hwy, Dana Point, CA 92629               Gene Inserto                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/6/2019 VA 2-171-651             9/26/2019                  8/6/2019              11/8/2020
 259661801 700 N Brand Blvd, Glendale, CA 91203                        John Ehart                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      7/24/2019 VA 2-171-992             9/26/2019                 7/24/2019               7/3/2020
 256684430 1 E Congress St, Tucson, AZ 85701                           Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/8/2019 VA 2-172-162             9/26/2019                  7/8/2019              7/10/2020
 256685622 300-316 E Congress St, Tucson, AZ 85701                     Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/8/2019 VA 2-172-162             9/26/2019                  7/8/2019               7/6/2020
 256686112 300-316 E Congress St, Tucson, AZ 85701                     Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       7/8/2019 VA 2-172-162             9/26/2019                  7/8/2019              6/30/2020
 257477104 2815 W Lake Mead Blvd, North Las Vegas, NV 89032            Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      7/11/2019 VA 2-172-030             9/26/2019                 7/11/2019              7/12/2020
 257477113 2815 W Lake Mead Blvd, North Las Vegas, NV 89032            Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      7/11/2019 VA 2-172-030             9/26/2019                 7/11/2019              6/30/2020
 260994290 2555-2571 E Washburn Rd, North Las Vegas, NV 89081          Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/1/2019 VA 2-172-030             9/26/2019                  8/1/2019              11/7/2020
 262775434 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/8/2020
 262775455 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/3/2020
 262775458 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019              7/11/2020
 262775463 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/4/2020
 262775473 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/6/2020
 262775526 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019              7/11/2020
 262775547 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/2/2020
 262775555 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/6/2020
 262775684 7984-8044 Rockbridge Rd, Lithonia, GA 30058                 Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/13/2019 VA 2-172-164             9/26/2019                 8/13/2019               7/6/2020
 263222970 130 Satellite Blvd, Suwanee, GA 30024                       Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/15/2019 VA 2-172-164             9/26/2019                 8/15/2019             10/17/2020
 255629848 9300-9302 California Ave, South Gate, CA 90280              Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-119             9/26/2019                  7/1/2019              7/13/2020
 255629885 9300-9302 California Ave, South Gate, CA 90280              Kevin Reece                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/1/2019 VA 2-172-119             9/26/2019                  7/1/2019              7/11/2020
 263248626 43 Hutcheson Pl, Lynbrook, NY 11563                         Jeffrey Siegel                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      8/15/2019 VA 2-171-808             9/26/2019                 8/15/2019              10/7/2020
 258883555 1400 S Wolf Rd, Wheeling, IL 60090                          Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      7/19/2019 VA 2-172-317             9/26/2019                 7/19/2019               7/7/2020
 261956810 910-920 Brook Forest Ave, Shorewood, IL 60404               Mohammad Tomaleh                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       8/7/2019 VA 2-172-317             9/26/2019                  8/7/2019               7/3/2020
 256318058 700 N Sacramento Blvd, Chicago, IL 60612                    Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/5/2019 VA 2-171-654             9/26/2019                  7/5/2019              7/11/2020
 256807822 530 W North Frontage Rd, Bolingbrook, IL 60440              Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/9/2019 VA 2-171-654             9/26/2019                  7/9/2019              7/12/2020
 258344087 2221 Camden Ct, Oak Brook, IL 60523                         Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      7/16/2019 VA 2-171-654             9/26/2019                 7/16/2019               7/7/2020
 262529018 215 Shuman Blvd, Naperville, IL 60563                       Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/12/2019 VA 2-171-654             9/26/2019                 8/12/2019               7/4/2020
 262529439 215 Shuman Blvd, Naperville, IL 60563                       Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/12/2019 VA 2-171-654             9/26/2019                 8/12/2019              6/30/2020
 262677577 1001-1013 Technology Way, Libertyville, IL 60048            Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/13/2019 VA 2-171-654             9/26/2019                 8/13/2019              7/16/2020
 262677582 1001-1013 Technology Way, Libertyville, IL 60048            Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/13/2019 VA 2-171-654             9/26/2019                 8/13/2019               7/8/2020
 262677642 1125-1199 S Milwaukee Ave, Libertyville, IL 60048           Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      8/13/2019 VA 2-171-654             9/26/2019                 8/13/2019               5/2/2021
 262754498 401 S Coltrane Rd, Edmond, OK 73034                         Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      8/13/2019 VA 2-172-097             9/26/2019                 8/13/2019              6/12/2021
 262042037 900 Biscayne Blvd, Miami, FL 33132                          Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       8/8/2019 VA 2-172-037             9/26/2019                  8/8/2019               7/8/2020

 262335841 19636 N 27th Ave, Phoenix, AZ 85027                         John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       8/9/2019 VA 2-172-002             9/26/2019                  8/9/2019              7/16/2020

 262337537 19636 N 27th Ave, Phoenix, AZ 85027                         John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       8/9/2019 VA 2-172-002             9/26/2019                  8/9/2019               7/6/2020




                          OUTSIDE COUNSEL ONLY                                                                                                                    138
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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                              Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 259471110 229 Gleneagle Gate Vw, Colorado Springs, CO 80921     Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/23/2019 VA 2-172-308              9/27/2019                  7/23/2019              7/12/2020
 258137125 8620 Rochester Ave, Rancho Cucamonga, CA 91730        Nick Del Cioppo                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/15/2019 VA 2-172-125              9/27/2019                  7/15/2019              8/10/2020
 256839721 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019               7/8/2020
 256840399 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019              7/12/2020
 256840847 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019              7/13/2020
 256840979 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019              7/11/2020
 256841016 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019               7/4/2020
 256841041 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019               7/8/2020
 256841136 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019              7/12/2020
 256841391 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019               7/2/2020
 256841681 1433 S Stanley Pl, Tempe, AZ 85281                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       7/9/2019 VA 2-172-449              9/27/2019                   7/9/2019              7/12/2020
 258755982 9070 N 29th Ave, Phoenix, AZ 85051                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/18/2019 VA 2-172-449              9/27/2019                  7/18/2019              7/11/2020
 258755991 9070 N 29th Ave, Phoenix, AZ 85051                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/18/2019 VA 2-172-449              9/27/2019                  7/18/2019               7/8/2020
 258756009 9070 N 29th Ave, Phoenix, AZ 85051                    Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      7/18/2019 VA 2-172-449              9/27/2019                  7/18/2019              7/12/2020
 260859968 901 Dulaney Valley Rd, Towson, MD 21204               Nate Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      7/31/2019 VA 2-172-312              9/27/2019                  7/31/2019              2/18/2021
 260975411 5235 King Ave, Baltimore, MD 21237                    Nate Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       8/1/2019 VA 2-172-312              9/27/2019                   8/1/2019              2/18/2021
 262940080 1997 Annapolis Exchange Pky, Annapolis, MD 21401      Nate Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/14/2019 VA 2-172-312              9/27/2019                  8/14/2019              7/13/2020
 262940113 1997 Annapolis Exchange Pky, Annapolis, MD 21401      Nate Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/14/2019 VA 2-172-312              9/27/2019                  8/14/2019               7/5/2020

 257116839 1801 Broadway, Denver, CO 80202                       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/10/2019 VA 2-172-326             9/27/2019                  7/10/2019               7/11/2020

 257117472 633 17th St, Denver, CO 80202                         Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/10/2019 VA 2-172-326             9/27/2019                  7/10/2019               7/11/2020

 258751128 82 Inverness Dr E, Englewood, CO 80112                Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/18/2019 VA 2-172-326             9/27/2019                  7/18/2019              10/14/2020
 258354652 340 Palladio Pky, Folsom, CA 95630                    Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/16/2019 VA 2-171-982             9/27/2019                  7/16/2019                3/4/2021
 258633192 2360 E Bidwell St, Folsom, CA 95630                   Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/17/2019 VA 2-171-982             9/27/2019                  7/17/2019               7/10/2020
 259511253 245 E Liberty St, Reno, NV 89501                      Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       7/23/2019 VA 2-171-982             9/27/2019                  7/23/2019                5/1/2021
 265353600 630 K St, Sacramento, CA 95814                        Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       8/27/2019 VA 2-178-732            10/18/2019                  8/27/2019               6/25/2021
 268890250 300 E 2nd St, Reno, NV 89501                          Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       9/18/2019 VA 2-178-732            10/18/2019                  9/18/2019                5/1/2021
 268945464 6407 S Virginia St, Reno, NV 89511                    Anita Shin                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       9/18/2019 VA 2-178-732            10/18/2019                  9/18/2019                7/5/2020
 268681805 1700 Ashwood Dr, Canonsburg, PA 15317                 Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       9/16/2019 VA 2-183-831            10/18/2019                  9/16/2019                7/4/2020
 268918140 8090 Ohio River Blvd, Emsworth, PA 15202              Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       9/18/2019 VA 2-183-831            10/18/2019                  9/18/2019                7/5/2020
 268947411 1301-1371 Saw Mill Run Blvd, Pittsburgh, PA 15226     Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       9/18/2019 VA 2-183-831            10/18/2019                  9/18/2019                7/1/2020
 269862368 44 Abele Rd, Bridgeville, PA 15017                    Alan Battles                                                                   CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       9/26/2019 VA 2-183-831            10/18/2019                  9/26/2019               7/31/2020
 264798290 6063-6091 Broadway, Merrillville, IN 46410            Amber Surrency                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/24/2019 VA 2-178-754            10/18/2019                  8/24/2019               7/16/2020
 267776288 2401 NW 5th Ave, Miami, FL 33127                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-765            10/18/2019                  9/10/2019               2/12/2021
 267946545 3400 NW 36th St, Miami, FL 33142                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-765            10/18/2019                  9/11/2019               7/20/2020
 267951633 2901-2915 NW 34th St, Miami, FL 33142                 Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-765            10/18/2019                  9/11/2019               7/13/2020
 268228123 2901-2915 NW 34th St, Miami, FL 33142                 Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/12/2019 VA 2-178-765            10/18/2019                  9/12/2019               7/12/2020
 268372435 11420 N Kendall Dr, Miami, FL 33176                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-765            10/18/2019                  9/13/2019                7/2/2020
 268372500 11420 N Kendall Dr, Miami, FL 33176                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-765            10/18/2019                  9/13/2019                7/5/2020
 268372526 11420 N Kendall Dr, Miami, FL 33176                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-765            10/18/2019                  9/13/2019                7/2/2020
 269659975 9730 NW 114th Way, Medley, FL 33178                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2019 VA 2-178-765            10/18/2019                  9/25/2019               7/13/2020
 269659992 9730 NW 114th Way, Medley, FL 33178                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2019 VA 2-178-765            10/18/2019                  9/25/2019                7/9/2020
 269660021 9730 NW 114th Way, Medley, FL 33178                   Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/25/2019 VA 2-178-765            10/18/2019                  9/25/2019               7/12/2020
 267700485 13900 W 101st St, Lenexa, KS 66215                    Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951        9/9/2019 VA 2-178-730            10/18/2019                   9/9/2019                7/5/2020
 267700509 13900 W 101st St, Lenexa, KS 66215                    Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951        9/9/2019 VA 2-178-730            10/18/2019                   9/9/2019                7/2/2020
 267700537 13900 W 101st St, Lenexa, KS 66215                    Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951        9/9/2019 VA 2-178-730            10/18/2019                   9/9/2019               7/13/2020
 265283005 4 Inverness Ct E, Englewood, CO 80112                 Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2019 VA 2-178-748            10/18/2019                  8/27/2019                7/6/2020
 265283127 4 Inverness Ct E, Englewood, CO 80112                 Andrew Shelton                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/27/2019 VA 2-178-748            10/18/2019                  8/27/2019                7/7/2020
 264607668 17800 W Bluemound Rd, Brookfield, WI 53045            Adam Santoni                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2019 VA 2-178-768            10/18/2019                  8/23/2019                2/6/2021
 264378322 9712 Belair Rd, Nottingham, MD 21236                  Andrew Voxakis                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2019 VA 2-183-829            10/18/2019                  8/22/2019               7/11/2020
 265826123 800 N Bell Ave, Carnegie, PA 15106                    Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       8/29/2019 VA 2-178-731            10/18/2019                  8/29/2019               7/11/2020
 265876524 800 N Bell Ave, Carnegie, PA 15106                    Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       8/29/2019 VA 2-178-731            10/18/2019                  8/29/2019               7/13/2020
 265878001 600 N Bell Ave, Carnegie, PA 15106                    Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       8/29/2019 VA 2-178-731            10/18/2019                  8/29/2019                7/6/2020
 269519018 200 Allegheny Dr, Warrendale, PA 15086                Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       9/24/2019 VA 2-178-731            10/18/2019                  9/24/2019               7/11/2020
 269519070 200 Allegheny Dr, Warrendale, PA 15086                Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       9/24/2019 VA 2-178-731            10/18/2019                  9/24/2019               7/11/2020
 269952348 5855 Bremo Rd, Richmond, VA 23226                     Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2019 VA 2-183-830            10/18/2019                  9/27/2019               7/13/2020
 269952354 5855 Bremo Rd, Richmond, VA 23226                     Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2019 VA 2-183-830            10/18/2019                  9/27/2019               7/10/2020
 269952358 5855 Bremo Rd, Richmond, VA 23226                     Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2019 VA 2-183-830            10/18/2019                  9/27/2019                7/3/2020
 265537958 745 N 78th St, Kansas City, KS 66112                  Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2019 VA 2-183-827            10/23/2019                  8/28/2019               7/12/2020
 265537981 745 N 78th St, Kansas City, KS 66112                  Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2019 VA 2-183-827            10/23/2019                  8/28/2019               7/12/2020
 265538015 745 N 78th St, Kansas City, KS 66112                  Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/28/2019 VA 2-183-827            10/23/2019                  8/28/2019                7/6/2020
 269226698 10895 Lowell Ave, Overland Park, KS 66210             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2019 VA 2-183-827            10/23/2019                  9/20/2019                7/5/2020
 269227302 10895 Lowell Ave, Overland Park, KS 66210             Brooke Wasson                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/20/2019 VA 2-183-827            10/23/2019                  9/20/2019                7/5/2020
 269804611 7707 Arlington Expy, Jacksonville, FL 32211           Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/26/2019 VA 2-183-826            10/23/2019                  9/26/2019               7/10/2020
 269804612 7707 Arlington Expy, Jacksonville, FL 32211           Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/26/2019 VA 2-183-826            10/23/2019                  9/26/2019                7/3/2020
 269973559 4500 Salisbury Rd, Jacksonville, FL 32216             Carlos Monsalve                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/27/2019 VA 2-183-826            10/23/2019                  9/27/2019               7/12/2020
 268751578 3536 Pacific Ave, Atlantic City, NJ 08401             Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/17/2019 VA 2-183-825            10/23/2019                  9/17/2019                7/4/2020
 268751600 3536 Pacific Ave, Atlantic City, NJ 08401             Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/17/2019 VA 2-183-825            10/23/2019                  9/17/2019                7/5/2020
 268751613 3536 Pacific Ave, Atlantic City, NJ 08401             Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/17/2019 VA 2-183-825            10/23/2019                  9/17/2019               7/12/2020
 269961535 325 Chestnut St, Philadelphia, PA 19106               Bill Marrs                                                                     CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       9/27/2019 VA 2-179-148            10/23/2019                  9/27/2019                7/5/2020
 263846618 100 Frankfurt Cir, Birmingham, AL 35211               Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2019 VA 2-177-225            10/23/2019                  8/19/2019               7/20/2020
 263846627 100 Frankfurt Cir, Birmingham, AL 35211               Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/19/2019 VA 2-177-225            10/23/2019                  8/19/2019               7/20/2020
 267248002 3900 Montclair Rd, Birmingham, AL 35213               Austin Lucas                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/6/2019 VA 2-177-225            10/23/2019                   9/6/2019               7/13/2020

 263145304 6300 Hospital Pky, Johns Creek, GA 30097              Thaddeus Rombauer                                                              CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/14/2019 VA 2-172-452            10/23/2019                  8/14/2019               2/21/2021

 255629731 2100 West Loop S, Houston, TX 77027                   Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        7/1/2019 VA 2-172-455            10/23/2019                   7/1/2019                7/8/2020
 269488320 230 N Sherman Ave, Corona, CA 92882                   Christiaan Cruz                                                                CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/23/2019 VA 2-179-171            10/24/2019                  9/23/2019               7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                              139
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                       Photographer           Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 263840263 4637 Sara Rd, Valdosta, GA 31605                         David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/19/2019 VA 2-179-143            10/29/2019                  8/19/2019              7/13/2020
 263841208 4637 Sara Rd, Valdosta, GA 31605                         David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/19/2019 VA 2-179-143            10/29/2019                  8/19/2019               7/1/2020
 263841614 4637 Sara Rd, Valdosta, GA 31605                         David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      8/19/2019 VA 2-179-143            10/29/2019                  8/19/2019              7/10/2020

 264374591 505 Jefferson Ave, Toledo, OH 43604                      Dwayne Walker                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       8/22/2019 VA 2-177-781           10/29/2019                  8/22/2019                7/5/2020
 264447949 2400 Tamarack Ave, South Windsor, CT 06074               Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       8/22/2019 VA 2-177-792           10/29/2019                  8/22/2019               7/11/2020
 264564058 4637 Sara Rd, Valdosta, GA 31605                         David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2019 VA 2-179-143           10/29/2019                  8/23/2019               6/30/2020
 264564099 4637 Sara Rd, Valdosta, GA 31605                         David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/23/2019 VA 2-179-143           10/29/2019                  8/23/2019                7/7/2020
 265091725 3944 Gall Blvd, Zephyrhills, FL 33541                    Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/26/2019 VA 2-177-987           10/29/2019                  8/26/2019                7/6/2020
 265091755 3944 Gall Blvd, Zephyrhills, FL 33541                    Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/26/2019 VA 2-177-987           10/29/2019                  8/26/2019               7/11/2020
 266992809 5920-5934 SE Federal Hwy, Stuart, FL 34997               David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/5/2019 VA 2-177-919           10/29/2019                   9/5/2019                2/1/2021
 267200993 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/6/2019 VA 2-177-919           10/29/2019                   9/6/2019               7/12/2020
 267673638 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267673668 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019                7/3/2020
 267673690 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019                7/8/2020
 267673706 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/13/2020
 267673867 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019                7/4/2020
 267673918 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267673981 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019                7/2/2020
 267674048 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/13/2020
 267674132 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267674179 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267674224 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267674260 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019                7/9/2020
 267674310 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               7/12/2020
 267674352 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        9/9/2019 VA 2-177-919           10/29/2019                   9/9/2019               6/30/2020
 268227212 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/12/2019 VA 2-177-919           10/29/2019                  9/12/2019                7/3/2020
 268227217 201 SW Joan Jefferson Way, Stuart, FL 34994              David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/12/2019 VA 2-177-919           10/29/2019                  9/12/2019               7/11/2020
 268689439 275 Della Ct, Spring Hill, FL 34606                      Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2019 VA 2-177-987           10/29/2019                  9/16/2019               7/12/2020
 268689470 275 Della Ct, Spring Hill, FL 34606                      Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2019 VA 2-177-987           10/29/2019                  9/16/2019                7/7/2020
 269030642 23123 State Road 7, Boca Raton, FL 33428                 David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/19/2019 VA 2-177-919           10/29/2019                  9/19/2019               1/18/2021

 269225607 500 Meijer Dr, Florence, KY 41042                        Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/20/2019 VA 2-177-381           10/29/2019                  9/20/2019               7/11/2020

 269227691 8275 Ewing Blvd, Florence, KY 41042                      Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/20/2019 VA 2-177-381           10/29/2019                  9/20/2019                7/1/2020
 269581512 8602 Pioneer Trl, Port Richey, FL 34668                  Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/24/2019 VA 2-177-987           10/29/2019                  9/24/2019               7/16/2020

 269853574 1193 Floyd St, Birmingham, MI 48009                      Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/26/2019 VA 2-177-788           10/29/2019                  9/26/2019                7/5/2020

 269853628 1193 Floyd St, Birmingham, MI 48009                      Douglas Wright                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/26/2019 VA 2-177-788           10/29/2019                  9/26/2019               7/11/2020
 269991283 295-331 SE Mizner Blvd, Boca Raton, FL 33432             David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       9/27/2019 VA 2-177-919           10/29/2019                  9/27/2019               1/23/2021

 270184277 652 Main St, Cincinnati, OH 45202                        Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       9/30/2019 VA 2-177-381           10/29/2019                  9/30/2019               6/30/2020
 269722718 2389 Adam Clayton Powell Jr Blvd, New York, NY 10030     Deawell Adair                                                                   CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       9/25/2019 VA 2-177-785           10/29/2019                  9/25/2019               7/13/2020
 269718597 3880 Prairie Fire NW, Altoona, IA 50009                  Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/25/2019 VA 2-177-789           10/29/2019                  9/25/2019                7/9/2020
 269718628 3880 Prairie Fire NW, Altoona, IA 50009                  Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/25/2019 VA 2-177-789           10/29/2019                  9/25/2019                7/5/2020
 269718654 3880 Prairie Fire NW, Altoona, IA 50009                  Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/25/2019 VA 2-177-789           10/29/2019                  9/25/2019                7/5/2020
 269718755 3880 Prairie Fire NW, Altoona, IA 50009                  Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/25/2019 VA 2-177-789           10/29/2019                  9/25/2019               7/13/2020
 269803814 1351 Route 55, La Grange, NY 12540                       Collin Quinlivan                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       9/26/2019 VA 2-179-352           10/29/2019                  9/26/2019              12/13/2020
 269705993 7681 Tylers Place Blvd, West Chester, OH 45069           Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/25/2019 VA 2-178-939           10/30/2019                  9/25/2019               11/2/2020
 270226747 136 N 3rd St, Hamilton, OH 45011                         Holly Routzohn                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/30/2019 VA 2-178-939           10/30/2019                  9/30/2019               7/14/2021
 266523910 1 Tower Ln, Oakbrook Terrace, IL 60181                   Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-869           10/30/2019                   9/3/2019              11/16/2020
 264439426 200 S 10th St, Richmond, VA 23219                        Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/22/2019 VA 2-178-940           10/30/2019                  8/22/2019               2/16/2021
 266526944 312 Walnut St, Cincinnati, OH 45202                      Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        9/3/2019 VA 2-178-940           10/30/2019                   9/3/2019               2/12/2021
 267766774 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019                7/2/2020
 267766785 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019               7/11/2020
 267766802 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019                7/1/2020
 267766938 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019               7/11/2020
 267766950 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019                7/5/2020
 267766984 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019               7/12/2020
 267766990 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019                7/3/2020
 267767016 10300 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/10/2019 VA 2-178-940           10/30/2019                  9/10/2019                7/4/2020
 267926428 10260 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019               7/13/2020
 267926457 10260 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019               7/11/2020
 267926479 10260 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019               7/10/2020
 267926510 10260 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019                7/2/2020
 267926512 10260 Alliance Rd, Blue Ash, OH 45242                    Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019               7/10/2020
 267929395 255 E 5th St, Cincinnati, OH 45202                       Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/11/2019 VA 2-178-940           10/30/2019                  9/11/2019                7/1/2020
 268367847 8845 Governors Hill Dr, Cincinnati, OH 45249             Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-940           10/30/2019                  9/13/2019                8/9/2020
 268368631 8845 Governors Hill Dr, Cincinnati, OH 45249             Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-940           10/30/2019                  9/13/2019               8/12/2020
 268368980 8845 Governors Hill Dr, Cincinnati, OH 45249             Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/13/2019 VA 2-178-940           10/30/2019                  9/13/2019               8/11/2020
 268663221 8805 Governors Hill Dr, Cincinnati, OH 45249             Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2019 VA 2-178-940           10/30/2019                  9/16/2019               7/12/2020
 268663670 8805 Governors Hill Dr, Cincinnati, OH 45249             Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/16/2019 VA 2-178-940           10/30/2019                  9/16/2019                7/5/2020
 269030468 10700 Montgomery Rd, Montgomery, OH 45242                Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/19/2019 VA 2-178-940           10/30/2019                  9/19/2019                7/4/2020
 261962018 355 S Euclid Ave, Tucson, AZ 85719                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        8/7/2019 VA 2-177-905           10/31/2019                   8/7/2019               7/11/2020
 262044433 5240 E Knight Dr, Tucson, AZ 85712                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        8/8/2019 VA 2-177-905           10/31/2019                   8/8/2019                7/3/2020
 265273080 45 N Tucson Blvd, Tucson, AZ 85716                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/27/2019 VA 2-177-902           10/31/2019                  8/27/2019                7/1/2020
 267935790 98 W River Rd, Tucson, AZ 85704                          Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/11/2019 VA 2-177-902           10/31/2019                  9/11/2019               7/13/2020
 268037771 2666 N 1st Ave, Tucson, AZ 85719                         Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/11/2019 VA 2-177-905           10/31/2019                  9/11/2019                7/9/2020
 268794321 727 W Ajo Way, Tucson, AZ 85713                          Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       9/17/2019 VA 2-177-902           10/31/2019                  9/17/2019               7/12/2020




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 MasterID                              Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 269060030 15615 N Oracle Rd, Catalina, AZ 85739                     Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/19/2019 VA 2-177-905            10/31/2019                  9/19/2019               8/8/2020
 269192953 201 E Broadway Blvd, Tucson, AZ 85701                     Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      9/20/2019 VA 2-177-905            10/31/2019                  9/20/2019               7/2/2020
 264266462 1900 N Mills Ave, Orlando, FL 32803                       Jay Welker                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/21/2019 VA 2-178-002            10/31/2019                  8/21/2019               7/7/2020
 265555152 195 Malabar Rd, Palm Bay, FL 32907                        Jeffery Palmer                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      8/28/2019 VA 2-179-204            10/31/2019                  8/28/2019               2/2/2021

 264038694 2783 NW Lolo Dr, Bend, OR 97703                           Michael Zaugg                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       8/20/2019 VA 2-178-901           10/31/2019                  8/20/2019               7/12/2020
 267783213 16255 Ventura Blvd, Encino, CA 91436                      Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       9/10/2019 VA 2-179-173           10/31/2019                  9/10/2019                5/2/2021
 268239231 7628 W Reno Ave, Oklahoma City, OK 73127                  Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/12/2019 VA 2-178-886           10/31/2019                  9/12/2019                7/7/2021
 268245703 101 N Robinson Ave, Oklahoma City, OK 73102               Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/12/2019 VA 2-178-886           10/31/2019                  9/12/2019               10/3/2020
 269168244 499 W Sheridan, Oklahoma City, OK 73102                   Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       9/20/2019 VA 2-178-886           10/31/2019                  9/20/2019               6/12/2021
 266496592 2100 Ponce De Leon Blvd, Coral Gables, FL 33134           Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-037           10/31/2019                   9/3/2019                7/7/2020
 266496600 2100 Ponce De Leon Blvd, Coral Gables, FL 33134           Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-037           10/31/2019                   9/3/2019               7/10/2020
 266496610 2100 Ponce De Leon Blvd, Coral Gables, FL 33134           Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-037           10/31/2019                   9/3/2019               7/10/2020
 266496643 2100 Ponce De Leon Blvd, Coral Gables, FL 33134           Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-037           10/31/2019                   9/3/2019               7/12/2020
 266496670 2100 Ponce De Leon Blvd, Coral Gables, FL 33134           Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-178-037           10/31/2019                   9/3/2019                7/4/2020
 268658514 3450 Lakeside Dr, Miramar, FL 33027                       Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/16/2019 VA 2-178-037           10/31/2019                  9/16/2019                7/7/2020
 268658539 3450 Lakeside Dr, Miramar, FL 33027                       Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/16/2019 VA 2-178-037           10/31/2019                  9/16/2019               7/10/2020
 268658552 3450 Lakeside Dr, Miramar, FL 33027                       Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/16/2019 VA 2-178-037           10/31/2019                  9/16/2019                7/8/2020
 268658590 3450 Lakeside Dr, Miramar, FL 33027                       Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/16/2019 VA 2-178-037           10/31/2019                  9/16/2019               7/12/2020
 268658617 3450 Lakeside Dr, Miramar, FL 33027                       Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/16/2019 VA 2-178-037           10/31/2019                  9/16/2019               7/11/2020
 269427770 175 SW 7th St, Miami, FL 33130                            Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/23/2019 VA 2-178-037           10/31/2019                  9/23/2019               7/11/2020

 268251691 15191 N Scottsdale Rd, Scottsdale, AZ 85260               John Williams                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       9/12/2019 VA 2-178-863           10/31/2019                  9/12/2019               12/1/2020
 266492370 615 Crescent Executive Ct, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-179-166           10/31/2019                   9/3/2019                7/9/2020
 266492403 615 Crescent Executive Ct, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-179-166           10/31/2019                   9/3/2019                7/7/2020
 266492406 615 Crescent Executive Ct, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-179-166           10/31/2019                   9/3/2019               7/13/2020
 266492414 615 Crescent Executive Ct, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        9/3/2019 VA 2-179-166           10/31/2019                   9/3/2019               7/13/2020
 269519045 3501 Quadrangle Blvd, Orlando, FL 32817                   Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       9/24/2019 VA 2-179-166           10/31/2019                  9/24/2019               7/13/2020
 268944857 414 N Meriah St, Landis, NC 28088                         Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2019 VA 2-179-350            11/1/2019                  9/18/2019                7/7/2020
 264502318 315 S Harrison St, East Orange, NJ 07018                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/22/2019 VA 2-178-880            11/1/2019                  8/22/2019               7/12/2020
 264502323 315 S Harrison St, East Orange, NJ 07018                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/22/2019 VA 2-178-880            11/1/2019                  8/22/2019                7/3/2020
 264502342 315 S Harrison St, East Orange, NJ 07018                  Steve Cuttler                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500       8/22/2019 VA 2-178-880            11/1/2019                  8/22/2019               7/11/2020
 269517434 400 N Orlando Ave, Maitland, FL 32751                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/24/2019 VA 2-179-340            11/1/2019                  9/24/2019                1/7/2021
 263972486 8981 Daniels Center Dr, Fort Myers, FL 33912              Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/20/2019 VA 2-179-336            11/1/2019                  8/20/2019               7/12/2020
 263972510 8981 Daniels Center Dr, Fort Myers, FL 33912              Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/20/2019 VA 2-179-336            11/1/2019                  8/20/2019               7/10/2020
 265546510 21234 Olean Blvd, Port Charlotte, FL 33952                Richard Grant                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       8/28/2019 VA 2-179-336            11/1/2019                  8/28/2019               7/11/2020

 263369329 11405 N Community House Rd, Charlotte, NC 28277           Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/16/2019 VA 2-177-799            11/1/2019                  8/16/2019                7/4/2020

 263369334 11405 N Community House Rd, Charlotte, NC 28277           Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/16/2019 VA 2-177-799            11/1/2019                  8/16/2019                7/4/2020

 264227921 13777 Ballantyne Corporate Pl, Charlotte, NC 28277        Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/21/2019 VA 2-177-799            11/1/2019                  8/21/2019               7/13/2020

 265815036 10706 Sikes Pl, Charlotte, NC 28277                       Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/29/2019 VA 2-177-799            11/1/2019                  8/29/2019               11/7/2020

 266040788 4201 Congress St, Charlotte, NC 28209                     Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/30/2019 VA 2-177-799            11/1/2019                  8/30/2019               7/20/2020

 266040821 4201 Congress St, Charlotte, NC 28209                     Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       8/30/2019 VA 2-177-799            11/1/2019                  8/30/2019               7/20/2020

 266566625 3463 Lakemont Blvd, Fort Mill, SC 29708                   Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        9/3/2019 VA 2-177-799            11/1/2019                   9/3/2019               7/13/2020

 266567053 3463 Lakemont Blvd, Fort Mill, SC 29708                   Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        9/3/2019 VA 2-177-799            11/1/2019                   9/3/2019                7/7/2020

 266648750 3600 Arco Corporate Dr, Charlotte, NC 28273               Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        9/4/2019 VA 2-177-799            11/1/2019                   9/4/2019               7/12/2020

 266648774 3701 Arco Corporate Dr, Charlotte, NC 28273               Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        9/4/2019 VA 2-177-799            11/1/2019                   9/4/2019               7/12/2020

 267946827 580 Kingsley Park Dr, Fort Mill, SC 29715                 Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/11/2019 VA 2-177-799            11/1/2019                  9/11/2019                7/8/2020

 267946872 481 Munn Rd, Fort Mill, SC 29715                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/11/2019 VA 2-177-799            11/1/2019                  9/11/2019               7/10/2020

 267946903 481 Munn Rd, Fort Mill, SC 29715                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/11/2019 VA 2-177-799            11/1/2019                  9/11/2019                7/8/2020

 267946922 481 Munn Rd, Fort Mill, SC 29715                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/11/2019 VA 2-177-799            11/1/2019                  9/11/2019               7/13/2020

 267946933 481 Munn Rd, Fort Mill, SC 29715                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       9/11/2019 VA 2-177-799            11/1/2019                  9/11/2019               7/11/2020
 263826423 5225 N 19th Ave, Phoenix, AZ 85015                        Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/19/2019 VA 2-178-036            11/1/2019                  8/19/2019                8/8/2020
 265055440 11022 S 51st St, Phoenix, AZ 85044                        Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       8/26/2019 VA 2-178-036            11/1/2019                  8/26/2019               7/10/2020
 266793275 637 S 48th St, Tempe, AZ 85281                            Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        9/4/2019 VA 2-178-036            11/1/2019                   9/4/2019               7/10/2020
 263825099 10751 N Frank Lloyd Wright Blvd, Scottsdale, AZ 85259     Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/19/2019 VA 2-178-888            11/1/2019                  8/19/2019               7/13/2020
 263825139 10751 N Frank Lloyd Wright Blvd, Scottsdale, AZ 85259     Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/19/2019 VA 2-178-888            11/1/2019                  8/19/2019                7/7/2020
 263825174 10751 N Frank Lloyd Wright Blvd, Scottsdale, AZ 85259     Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/19/2019 VA 2-178-888            11/1/2019                  8/19/2019                7/3/2020
 263825257 10751 N Frank Lloyd Wright Blvd, Scottsdale, AZ 85259     Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/19/2019 VA 2-178-888            11/1/2019                  8/19/2019               7/11/2020
 263825319 10751 N Frank Lloyd Wright Blvd, Scottsdale, AZ 85259     Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/19/2019 VA 2-178-888            11/1/2019                  8/19/2019                7/2/2020
 264301746 1550 E University Dr, Mesa, AZ 85203                      Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       8/21/2019 VA 2-178-888            11/1/2019                  8/21/2019               7/11/2020
 266542899 4220 W Opportunity Way, Phoenix, AZ 85086                 Nicholas Cassano                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        9/3/2019 VA 2-178-888            11/1/2019                   9/3/2019               4/10/2021
 265828832 1317 W McKinley St, Phoenix, AZ 85007                     Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       8/29/2019 VA 2-179-330            11/1/2019                  8/29/2019               7/11/2020
 269807476 415 S Lafayette Blvd, South Bend, IN 46601                Mohammad Tomaleh                                                               CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       9/26/2019 VA 2-177-794            11/1/2019                  9/26/2019              10/22/2020
 268944866 414 N Meriah St, Landis, NC 28088                         Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       9/18/2019 VA 2-179-350            11/1/2019                  9/18/2019               7/13/2020




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 265095119 555 North Point Ctr E, Alpharetta, GA 30022             Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      8/26/2019 VA 2-179-115             11/1/2019                 8/26/2019             10/27/2020

 265103115 4550 North Point Pky, Alpharetta, GA 30022              Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      8/26/2019 VA 2-179-115             11/1/2019                 8/26/2019              1/13/2021

 268381569 200 Galleria Pky SE, Atlanta, GA 30339                  Thaddeus Rombauer                                                               CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      9/13/2019 VA 2-179-115             11/1/2019                 9/13/2019              7/16/2020
 265609520 9121 Folsom Blvd, Sacramento, CA 95826                  Wesley Jimerson                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      8/28/2019 VA 2-183-805             11/1/2019                 8/28/2019              12/8/2020
 268307133 1645 Parkway Blvd, West Sacramento, CA 95691            Wesley Jimerson                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      9/12/2019 VA 2-183-805             11/1/2019                 9/12/2019               7/2/2020
 268307137 1645 Parkway Blvd, West Sacramento, CA 95691            Wesley Jimerson                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      9/12/2019 VA 2-183-805             11/1/2019                 9/12/2019              7/12/2020
 269583249 859-869 Willow Branch Ave, Jacksonville, FL 32205       Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/24/2019 VA 2-178-874             11/6/2019                 9/24/2019              7/12/2020
 269583263 859-869 Willow Branch Ave, Jacksonville, FL 32205       Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/24/2019 VA 2-178-874             11/6/2019                 9/24/2019              7/12/2020
 269583282 859-869 Willow Branch Ave, Jacksonville, FL 32205       Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/24/2019 VA 2-178-874             11/6/2019                 9/24/2019              7/12/2020
 269583306 859-869 Willow Branch Ave, Jacksonville, FL 32205       Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      9/24/2019 VA 2-178-874             11/6/2019                 9/24/2019              7/11/2020
 264003446 1021-1031 Old York Rd, Abington, PA 19001               Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      8/20/2019 VA 2-183-823             11/6/2019                 8/20/2019              7/10/2020

 270405776 400 Cross Roads Blvd, Cold Spring, KY 41076             Bob Benkert                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/2/2019 VA 2-185-330             12/5/2019                 10/2/2019               3/4/2021
 272572885 6407 S Virginia St, Reno, NV 89511                      Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448     10/21/2019 VA 2-182-441             12/5/2019                10/21/2019              7/12/2020
 272572981 6419 S Virginia St, Reno, NV 89511                      Anita Shin                                                                      CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448     10/21/2019 VA 2-182-441             12/5/2019                10/21/2019               7/7/2020
 274990020 2851 Evans St, Hollywood, FL 33020                      Carolyn Crisp                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2019 VA 2-182-470             12/5/2019                11/11/2019               7/3/2020
 272994407 825 S Hill St, Los Angeles, CA 90014                    Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404     10/24/2019 VA 2-186-113             12/5/2019                10/24/2019               7/4/2021
 274844638 567 Kapahulu Ave, Honolulu, HI 96815                    Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/9/2019 VA 2-186-113             12/5/2019                 11/9/2019               7/7/2020
 274844653 567 Kapahulu Ave, Honolulu, HI 96815                    Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/9/2019 VA 2-186-113             12/5/2019                 11/9/2019              7/12/2020
 274844663 567 Kapahulu Ave, Honolulu, HI 96815                    Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/9/2019 VA 2-186-113             12/5/2019                 11/9/2019              7/13/2020
 270629949 400 Southpointe Blvd, Canonsburg, PA 15317              Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      10/3/2019 VA 2-182-534             12/5/2019                 10/3/2019              6/30/2020
 270634830 200 Bursca Dr, Bridgeville, PA 15017                    Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      10/3/2019 VA 2-182-534             12/5/2019                 10/3/2019              7/31/2020
 271326910 625 Liberty Ave, Pittsburgh, PA 15222                   Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      10/9/2019 VA 2-182-534             12/5/2019                 10/9/2019              7/13/2020
 271326926 625 Liberty Ave, Pittsburgh, PA 15222                   Alan Battles                                                                    CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938      10/9/2019 VA 2-182-534             12/5/2019                 10/9/2019              7/10/2020
 270340137 520 NE Colbern Rd, Lees Summit, MO 64086                Brooke Wasson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/1/2019 VA 2-182-425             12/5/2019                 10/1/2019             11/14/2020
 271152624 7751 Belfort Pky, Jacksonville, FL 32256                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/8/2019 VA 2-182-481             12/5/2019                 10/8/2019              1/27/2021
 271152649 7751 Belfort Pky, Jacksonville, FL 32256                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/8/2019 VA 2-182-481             12/5/2019                 10/8/2019              6/30/2020
 272677142 518 Hollyberry Ln, Orange Park, FL 32065                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     10/22/2019 VA 2-182-481             12/5/2019                10/22/2019               9/1/2020
 270710811 701 Waterford Way, Miami, FL 33126                      Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2019 VA 2-182-444             12/5/2019                 10/4/2019               7/4/2020
 270710835 701 Waterford Way, Miami, FL 33126                      Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/4/2019 VA 2-182-444             12/5/2019                 10/4/2019               7/3/2020
 271754369 550 Biltmore Way, Coral Gables, FL 33134                Al Paris                                                                        CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/14/2019 VA 2-182-444             12/5/2019                10/14/2019               1/7/2021
 271946064 17 White Horse Pike, Haddon Heights, NJ 08035           Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/15/2019 VA 2-182-472             12/5/2019                10/15/2019              7/12/2020
 272607480 171 Heller Pl, Bellmawr, NJ 08031                       Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/21/2019 VA 2-182-472             12/5/2019                10/21/2019               7/7/2020
 272607548 171 Heller Pl, Bellmawr, NJ 08031                       Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/21/2019 VA 2-182-472             12/5/2019                10/21/2019               7/5/2020
 270763720 1001 Grand St S, Hammonton, NJ 08037                    Bill Marrs                                                                      CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      10/4/2019 VA 2-182-346             12/5/2019                 10/4/2019              7/13/2020
 272693050 8821 E Hampden Ave, Denver, CO 80231                    Andrew Shelton                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/22/2019 VA 2-182-515             12/5/2019                10/22/2019              6/30/2020
 270636890 169 Hollywood Dr, Butler, PA 16001                      Anna Dukovich                                                                   CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827      10/3/2019 VA 2-182-440             12/5/2019                 10/3/2019              1/17/2021
 272601093 50 Maple St, Croton on Hudson, NY 10520                 Collin Quinlivan                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100     10/21/2019 VA 2-186-120             12/5/2019                10/21/2019               7/6/2020
 272370110 796-800 E Charles Page Blvd, Sand Springs, OK 74063     Benjamin Stephens                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/18/2019 VA 2-182-345             12/5/2019                10/18/2019              7/11/2020
 272370125 796-800 E Charles Page Blvd, Sand Springs, OK 74063     Benjamin Stephens                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/18/2019 VA 2-182-345             12/5/2019                10/18/2019               7/9/2020
 273419925 1350 Bayshore Hwy, Burlingame, CA 94010                 Clinton Perry                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448     10/29/2019 VA 2-186-119             12/5/2019                10/29/2019              1/27/2021
 271395581 2435 N Central Expy, Richardson, TX 75080               Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/10/2019 VA 2-182-439             12/5/2019                10/10/2019              11/2/2020
 271690042 300-400 Tradecenter, Woburn, MA 01801                   Bret Osswald                                                                    CoStar Group             33 Arch St, Boston, MA 02110                          6174433100     10/13/2019 VA 2-182-512             12/5/2019                10/13/2019             11/17/2020
 273121766 15601 Dallas Pky, Addison, TX 75001                     Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/25/2019 VA 2-182-439             12/5/2019                10/25/2019              7/12/2020
 273121791 15601 Dallas Pky, Addison, TX 75001                     Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/25/2019 VA 2-182-439             12/5/2019                10/25/2019              7/13/2020
 273121886 15601 Dallas Pky, Addison, TX 75001                     Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/25/2019 VA 2-182-439             12/5/2019                10/25/2019               7/9/2020
 274963177 5810 Tennyson Pky, Plano, TX 75024                      Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2019 VA 2-182-439             12/5/2019                11/11/2019              6/30/2020
 274963193 5810 Tennyson Pky, Plano, TX 75024                      Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     11/11/2019 VA 2-182-439             12/5/2019                11/11/2019               7/6/2020

 271311276 7430 Timberstone Dr, Findlay, OH 45840                  Dwayne Walker                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      10/9/2019 VA 2-185-147             12/6/2019                 10/9/2019              2/21/2021
 275396497 2151 W Hillsboro Blvd, Deerfield Beach, FL 33442        David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/14/2019 VA 2-185-302             12/6/2019                11/14/2019              7/31/2020
 275449682 2151 W Hillsboro Blvd, Deerfield Beach, FL 33442        David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/15/2019 VA 2-185-302             12/6/2019                11/15/2019              7/31/2020
 275449686 2151 W Hillsboro Blvd, Deerfield Beach, FL 33442        David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/15/2019 VA 2-185-302             12/6/2019                11/15/2019              7/31/2020
 275449689 2151 W Hillsboro Blvd, Deerfield Beach, FL 33442        David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500     11/15/2019 VA 2-185-302             12/6/2019                11/15/2019              7/31/2020
 273054517 736 Federal St, Davenport, IA 52803                     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     10/25/2019 VA 2-185-152             12/6/2019                10/25/2019               7/7/2020
 273054560 736 Federal St, Davenport, IA 52803                     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     10/25/2019 VA 2-185-152             12/6/2019                10/25/2019              7/11/2020
 273055016 736 Federal St, Davenport, IA 52803                     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     10/25/2019 VA 2-185-152             12/6/2019                10/25/2019               7/6/2020
 273055070 736 Federal St, Davenport, IA 52803                     Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977     10/25/2019 VA 2-185-152             12/6/2019                10/25/2019               7/1/2020
 271271694 3660 Edison Pl, Rolling Meadows, IL 60008               Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/9/2019 VA 2-185-151             12/6/2019                 10/9/2019              7/12/2020
 271271714 3660 Edison Pl, Rolling Meadows, IL 60008               Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/9/2019 VA 2-185-151             12/6/2019                 10/9/2019               7/2/2020
 271271724 3660 Edison Pl, Rolling Meadows, IL 60008               Dulce Rodriguez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/9/2019 VA 2-185-151             12/6/2019                 10/9/2019               7/5/2020
 270440501 3333 Finley Rd, Downers Grove, IL 60515                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/2/2019 VA 2-182-276             12/6/2019                 10/2/2019              2/21/2021
 271443610 2001 Butterfield Rd, Downers Grove, IL 60515            Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548     10/10/2019 VA 2-182-293             12/6/2019                10/10/2019              7/11/2020
 270589528 200 SW 1st Ave, Fort Lauderdale, FL 33301               Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/3/2019 VA 2-182-228             12/6/2019                 10/3/2019               4/2/2021
 270625828 200 S Andrews Ave, Fort Lauderdale, FL 33301            Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/3/2019 VA 2-182-228             12/6/2019                 10/3/2019              5/23/2021
 271153522 515 N Flagler Dr, West Palm Beach, FL 33401             Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/8/2019 VA 2-182-228             12/6/2019                 10/8/2019               3/4/2021
 270401892 312 Plum St, Cincinnati, OH 45202                       Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/2/2019 VA 2-182-287             12/6/2019                 10/2/2019              5/19/2021
 270401924 312 Plum St, Cincinnati, OH 45202                       Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/2/2019 VA 2-182-287             12/6/2019                 10/2/2019              7/12/2020
 270402600 312 Elm St, Cincinnati, OH 45202                        Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/2/2019 VA 2-182-287             12/6/2019                 10/2/2019              7/11/2020
 270591839 4605 Duke Dr, Mason, OH 45040                           Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/3/2019 VA 2-182-287             12/6/2019                 10/3/2019              6/17/2021
 273288050 4555 Lake Forest Dr, Blue Ash, OH 45242                 Greg Grupenhof                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/28/2019 VA 2-182-287             12/6/2019                10/28/2019               3/8/2021
 275438801 345-479 W Craig Rd, North Las Vegas, NV 89032           Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836     11/14/2019 VA 2-182-292             12/9/2019                11/14/2019              12/8/2020
 270763859 101 E Kennedy Blvd, Tampa, FL 33602                     Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/4/2019 VA 2-182-334             12/9/2019                 10/4/2019              7/13/2020
 273502517 10960 Wilshire Blvd, Los Angeles, CA 90024              Jeremiah Unruh                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448     10/30/2019 VA 2-185-129             12/9/2019                10/30/2019             10/24/2020
 272920540 8355 Walnut Hill Ln, Dallas, TX 75231                   Joan Sheahan                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300     10/24/2019 VA 2-185-005            12/10/2019                10/24/2019               7/6/2020
 272603918 7060 N Fresno St, Fresno, CA 93720                      John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836     10/21/2019 VA 2-185-320            12/11/2019                10/21/2019              7/12/2020
 273669719 1082 Davol St, Fall River, MA 02720                     Jonathan Coon                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500     10/31/2019 VA 2-185-722            12/11/2019                10/31/2019              7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                 142
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Attachment                                                                                  Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                         Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 275107968 1432 Scenic Dr, Modesto, CA 95355                          John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     11/12/2019 VA 2-185-320            12/11/2019                 11/12/2019              6/30/2020
 275118237 1432 Scenic Dr, Modesto, CA 95355                          John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     11/12/2019 VA 2-185-320            12/11/2019                 11/12/2019              7/11/2020
 274181954 25129 The Old Rd, Stevenson Ranch, CA 91381                John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/4/2019 VA 2-185-321            12/11/2019                  11/4/2019              6/30/2020
 274181991 25129 The Old Rd, Stevenson Ranch, CA 91381                John Ehart                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      11/4/2019 VA 2-185-321            12/11/2019                  11/4/2019               7/3/2020
 271305560 108 Bilby Rd, Hackettstown, NJ 07840                       John Georgiadis                                                               CoStar Group             181 Bay St, Toronto, ON M5J 2                          4169457500      10/9/2019 VA 2-185-322            12/11/2019                  10/9/2019              7/13/2020

 272593819 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019                7/3/2020

 272593913 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/12/2020

 272594183 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/13/2020

 272594927 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/12/2020

 272595330 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019                7/4/2020

 272595573 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/11/2020

 272595705 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/10/2020

 272597013 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019                7/7/2020

 272597435 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/13/2020

 272598394 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/13/2020

 272601157 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019                7/9/2020

 272601383 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019               7/11/2020

 272601527 111 W Monroe St, Phoenix, AZ 85003                         John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/21/2019 VA 2-185-325           12/11/2019                 10/21/2019                7/5/2020

 274891616 1365 N Scottsdale Rd, Scottsdale, AZ 85257                 John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       11/9/2019 VA 2-185-325           12/11/2019                  11/9/2019               2/12/2021
 270337805 906 W Monroe St, Jacksonville, FL 32204                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-186-006           12/12/2019                  10/1/2019               7/10/2020
 270337816 906 W Monroe St, Jacksonville, FL 32204                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-186-006           12/12/2019                  10/1/2019               7/11/2020
 270337820 906 W Monroe St, Jacksonville, FL 32204                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-186-006           12/12/2019                  10/1/2019               6/30/2020
 270337826 906 W Monroe St, Jacksonville, FL 32204                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-186-006           12/12/2019                  10/1/2019                7/5/2020
 270337829 906 W Monroe St, Jacksonville, FL 32204                    Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-186-006           12/12/2019                  10/1/2019               7/12/2020
 270635621 31 W Adams St, Jacksonville, FL 32202                      Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2019 VA 2-186-006           12/12/2019                  10/3/2019                7/7/2020
 273601612 10245 Centurion Pky N, Jacksonville, FL 32256              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/30/2019 VA 2-186-006           12/12/2019                 10/30/2019                7/7/2020
 273601674 10245 Centurion Pky N, Jacksonville, FL 32256              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/30/2019 VA 2-186-006           12/12/2019                 10/30/2019               7/13/2020
 273601711 10245 Centurion Pky N, Jacksonville, FL 32256              Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/30/2019 VA 2-186-006           12/12/2019                 10/30/2019               7/12/2020
 274739248 1974 Sproul Rd, Broomall, PA 19008                         Mitchell Birnbaum                                                             CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/8/2019 VA 2-186-537           12/12/2019                  11/8/2019               11/7/2020

 275310233 1001 E Raney Ave, McCrory, AR 72101                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/14/2019 VA 2-186-517           12/12/2019                 11/14/2019               7/11/2020

 275310281 1001 E Raney Ave, McCrory, AR 72101                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/14/2019 VA 2-186-517           12/12/2019                 11/14/2019               7/13/2020

 275310286 1001 E Raney Ave, McCrory, AR 72101                        Mary Drost                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      11/14/2019 VA 2-186-517           12/12/2019                 11/14/2019               7/13/2020
 271178095 4725-4749 S Irving Ave, Tucson, AZ 85714                   Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/8/2019 VA 2-185-001           12/12/2019                  10/8/2019               7/12/2020
 271178126 4725-4749 S Irving Ave, Tucson, AZ 85714                   Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/8/2019 VA 2-185-001           12/12/2019                  10/8/2019               7/16/2020
 271180744 998 S Cherry Ave, Tucson, AZ 85719                         Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       10/8/2019 VA 2-185-001           12/12/2019                  10/8/2019               7/12/2020
 272225614 3130-3154 N Stone Ave, Tucson, AZ 85705                    Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/17/2019 VA 2-186-125           12/12/2019                 10/17/2019                3/8/2021
 272970330 6700 S Pella Dr, Tucson, AZ 85746                          Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/24/2019 VA 2-186-125           12/12/2019                 10/24/2019                7/6/2020
 272971980 2849-2853 W Old Ajo Way, Tucson, AZ 85746                  Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/24/2019 VA 2-186-125           12/12/2019                 10/24/2019               7/11/2020
 273130438 3061 N Alvernon Way, Tucson, AZ 85712                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/25/2019 VA 2-186-125           12/12/2019                 10/25/2019               8/10/2020
 273332097 5210 E Williams Cir, Tucson, AZ 85711                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/28/2019 VA 2-186-125           12/12/2019                 10/28/2019                7/6/2020
 273462354 333 N Wilmot Rd, Tucson, AZ 85711                          Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/29/2019 VA 2-186-125           12/12/2019                 10/29/2019                7/5/2020
 273604511 4302 E Tennessee St, Tucson, AZ 85714                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2019 VA 2-186-125           12/12/2019                 10/30/2019                7/5/2020
 273604539 4302 E Tennessee St, Tucson, AZ 85714                      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2019 VA 2-186-125           12/12/2019                 10/30/2019               7/13/2020
 275379740 177 N Church Ave, Tucson, AZ 85701                         Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      11/14/2019 VA 2-186-125           12/12/2019                 11/14/2019               7/13/2020
 270348179 244 N Country Club Dr, Mesa, AZ 85201                      Nicholas Cassano                                                              CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       10/1/2019 VA 2-186-608           12/12/2019                  10/1/2019                7/8/2020
 272251440 360 Central Ave, Saint Petersburg, FL 33701                Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/17/2019 VA 2-186-224           12/12/2019                 10/17/2019               3/30/2021
 273049481 601-603 7th St S, Saint Petersburg, FL 33701               Leila Sally                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      10/25/2019 VA 2-186-224           12/12/2019                 10/25/2019               7/17/2021
 274323433 369-399 E 84th Dr, Merrillville, IN 46410                  Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       11/5/2019 VA 2-186-502           12/12/2019                  11/5/2019              11/16/2020
 274626200 7863 Broadway, Merrillville, IN 46410                      Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       11/7/2019 VA 2-186-502           12/12/2019                  11/7/2019                7/8/2020
 274626245 7863 Broadway, Merrillville, IN 46410                      Mohammad Tomaleh                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       11/7/2019 VA 2-186-502           12/12/2019                  11/7/2019                7/8/2020
 270770094 100 S 5th St, Minneapolis, MN 55402                        Michael Welsh                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2019 VA 2-186-648           12/12/2019                  10/4/2019               7/31/2020
 270771509 150 S 5th St, Minneapolis, MN 55402                        Michael Welsh                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2019 VA 2-186-648           12/12/2019                  10/4/2019               7/31/2020
 270772364 150 S 5th St, Minneapolis, MN 55402                        Michael Welsh                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/4/2019 VA 2-186-648           12/12/2019                  10/4/2019               7/31/2020
 273353355 143-189 Mitchells Chance Rd, Edgewater, MD 21037           Nate Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/28/2019 VA 2-186-482           12/12/2019                 10/28/2019               7/11/2020

 271478882 621 17th St, Denver, CO 80293                              Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/10/2019 VA 2-186-005           12/12/2019                 10/10/2019                7/4/2020

 271581582 6380 S Fiddlers Green Cir, Greenwood Village, CO 80111     Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/11/2019 VA 2-186-005           12/12/2019                 10/11/2019               1/23/2021

 272992359 2450 S University Blvd, Denver, CO 80210                   Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/24/2019 VA 2-186-005           12/12/2019                 10/24/2019                7/5/2020

 272992362 2450 S University Blvd, Denver, CO 80210                   Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      10/24/2019 VA 2-186-005           12/12/2019                 10/24/2019               7/12/2020
 270399403 2301 Lucien Way, Maitland, FL 32751                        Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       10/2/2019 VA 2-186-009           12/12/2019                  10/2/2019                7/5/2020




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Attachment                                                                                   Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                          Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date        CoStar Dates          Found on CREXi Date
 270399410 2301 Lucien Way, Maitland, FL 32751                        Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/2/2019 VA 2-186-009            12/12/2019                  10/2/2019               7/11/2020
 270573822 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019                7/1/2020
 270573825 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019                7/5/2020
 270573826 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019                7/7/2020
 270573840 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019                7/4/2020
 270573846 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019               7/11/2020
 270573852 110-356 W Lake Mary Blvd, Sanford, FL 32773                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019               7/13/2020
 270574072 2301 Lucien Way, Maitland, FL 32751                        Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      10/3/2019 VA 2-186-009            12/12/2019                  10/3/2019                7/5/2020
 272207127 200 Towne Center Cir, Sanford, FL 32771                    Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/17/2019 VA 2-186-009            12/12/2019                 10/17/2019                4/2/2021
 272937383 801-811 N Orange Ave, Orlando, FL 32801                    Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/24/2019 VA 2-186-009            12/12/2019                 10/24/2019                7/8/2020
 272945831 250 S Park Ave, Winter Park, FL 32789                      Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/24/2019 VA 2-186-009            12/12/2019                 10/24/2019                7/3/2020
 272945864 250 S Park Ave, Winter Park, FL 32789                      Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/24/2019 VA 2-186-009            12/12/2019                 10/24/2019               7/13/2020
 273706292 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/1/2020
 273706471 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/3/2020
 273706804 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019               7/13/2020
 273706938 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/3/2020
 273707062 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/9/2020
 273707190 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/9/2020
 273707316 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/4/2020
 273707435 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019                7/3/2020
 273707637 10185 W Colonial Dr, Ocoee, FL 34761                       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     10/31/2019 VA 2-186-009            12/12/2019                 10/31/2019               7/12/2020
 275328363 13501 Ingenuity Dr, Orlando, FL 32826                      Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/14/2019 VA 2-186-009            12/12/2019                 11/14/2019               10/4/2020
 275514518 4215-4279 W Lake Mary Blvd, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/15/2019 VA 2-186-009            12/12/2019                 11/15/2019               7/10/2020
 275514596 4215-4279 W Lake Mary Blvd, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/15/2019 VA 2-186-009            12/12/2019                 11/15/2019                7/2/2020
 275514898 4215-4279 W Lake Mary Blvd, Lake Mary, FL 32746            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/15/2019 VA 2-186-009            12/12/2019                 11/15/2019                7/6/2020
 272721199 3898 35th St, Orlando, FL 32805                            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/22/2019 VA 2-184-989            12/13/2019                 10/22/2019                7/5/2020
 272721254 3898 35th St, Orlando, FL 32805                            Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/22/2019 VA 2-184-989            12/13/2019                 10/22/2019               7/10/2020
 272721293 1701 Park Center Dr, Orlando, FL 32835                     Robert Dallas                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     10/22/2019 VA 2-184-989            12/13/2019                 10/22/2019                7/5/2020
 272365050 850-1020 S Monroe St, Monroe, MI 48161                     Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062     10/18/2019 VA 2-185-319            12/13/2019                 10/18/2019              10/25/2020
 273414061 916-966 N West Ave, Jackson, MI 49202                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062     10/29/2019 VA 2-185-319            12/13/2019                 10/29/2019               7/13/2020
 273414436 916-966 N West Ave, Jackson, MI 49202                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062     10/29/2019 VA 2-185-319            12/13/2019                 10/29/2019                7/8/2020
 273414528 916-966 N West Ave, Jackson, MI 49202                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062     10/29/2019 VA 2-185-319            12/13/2019                 10/29/2019               7/11/2020
 273414659 916-966 N West Ave, Jackson, MI 49202                      Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062     10/29/2019 VA 2-185-319            12/13/2019                 10/29/2019                7/3/2020

 270465416 2550 W Tyvola Rd, Charlotte, NC 28217                      Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       10/2/2019 VA 2-184-986           12/13/2019                  10/2/2019               7/12/2020

 270634612 3400 Forest Dr, Columbia, SC 29204                         Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       10/3/2019 VA 2-184-986           12/13/2019                  10/3/2019               3/30/2021

 272953253 15720 Brixham Hill Ave, Charlotte, NC 28277                Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      10/24/2019 VA 2-184-986           12/13/2019                 10/24/2019                7/3/2020
 273612262 3031 W Northern Ave, Phoenix, AZ 85051                     Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2019 VA 2-184-965           12/13/2019                 10/30/2019               7/12/2020
 273612331 3031 W Northern Ave, Phoenix, AZ 85051                     Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2019 VA 2-184-965           12/13/2019                 10/30/2019               7/12/2020
 273612761 3031 W Northern Ave, Phoenix, AZ 85051                     Tim Nelson                                                                     CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      10/30/2019 VA 2-184-965           12/13/2019                 10/30/2019               7/13/2020
 270298224 14848-14850 N Cave Creek Rd, Phoenix, AZ 85032             Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/1/2019 VA 2-185-283           12/13/2019                  10/1/2019               6/30/2020
 270640110 9235 S McKemy St, Tempe, AZ 85284                          Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       10/3/2019 VA 2-185-283           12/13/2019                  10/3/2019              11/27/2020
 271400779 10616 Metromont Pky, Charlotte, NC 28269                   Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/10/2019 VA 2-185-275           12/13/2019                 10/10/2019               7/12/2020
 271792212 7226 N Tryon St, Charlotte, NC 28262                       Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/14/2019 VA 2-185-275           12/13/2019                 10/14/2019               5/16/2020
 271792242 7226 N Tryon St, Charlotte, NC 28262                       Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/14/2019 VA 2-185-275           12/13/2019                 10/14/2019               5/16/2020
 271792277 7226 N Tryon St, Charlotte, NC 28262                       Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/14/2019 VA 2-185-275           12/13/2019                 10/14/2019               5/16/2020
 271792301 7226 N Tryon St, Charlotte, NC 28262                       Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/14/2019 VA 2-185-275           12/13/2019                 10/14/2019               5/16/2020
 273455101 9526-9530 Birkdale Crossing Dr, Huntersville, NC 28078     Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      10/29/2019 VA 2-185-275           12/13/2019                 10/29/2019                7/1/2020
 273861273 9800 Kincey Ave, Huntersville, NC 28078                    Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2019 VA 2-185-275           12/13/2019                  11/1/2019               7/12/2020
 273862507 153 Langtree Campus Dr, Mooresville, NC 28117              Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/1/2019 VA 2-185-275           12/13/2019                  11/1/2019               7/13/2020
 274771892 10624 Metromont Pky, Charlotte, NC 28269                   Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       11/8/2019 VA 2-185-275           12/13/2019                  11/8/2019               7/12/2020
 274617819 2010-2048 Exploration Way, Hampton, VA 23666               Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       11/7/2019 VA 2-184-967           12/13/2019                  11/7/2019                7/7/2020
 275512333 1331 W Memorial Rd, Oklahoma City, OK 73114                Richard Waltemath                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977      11/15/2019 VA 2-186-130           12/13/2019                 11/15/2019               7/12/2020

 274611285 1 Concourse Pky NE, Atlanta, GA 30328                      Thaddeus Rombauer                                                              CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       11/7/2019 VA 2-184-968           12/13/2019                  11/7/2019                7/7/2020
 271355472 5020 Las Brisas Blvd, Reno, NV 89523                       Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       10/9/2019 VA 2-185-090           12/13/2019                  10/9/2019               7/13/2020
 271355478 5020 Las Brisas Blvd, Reno, NV 89523                       Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       10/9/2019 VA 2-185-090           12/13/2019                  10/9/2019               7/13/2020
 271355490 5020 Las Brisas Blvd, Reno, NV 89523                       Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       10/9/2019 VA 2-185-090           12/13/2019                  10/9/2019               7/13/2020
 271900855 9400 Fairway Dr, Roseville, CA 95678                       Wesley Jimerson                                                                CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      10/15/2019 VA 2-185-090           12/13/2019                 10/15/2019               8/12/2020

 273658715 1415 Louisiana St, Houston, TX 77002                       Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      10/31/2019 VA 2-185-230           12/13/2019                 10/31/2019               3/30/2021

 275216107 7400 Fannin St, Houston, TX 77054                          Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/13/2019 VA 2-185-230           12/13/2019                 11/13/2019                1/2/2021
 272272281 100 W Franklin St, Chapel Hill, NC 27516                   Lawrence Hiatt                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      10/18/2019 VA 2-184-991           12/17/2019                 10/18/2019               7/10/2020
 274587815 905 Kenilworth Ave, Charlotte, NC 28204                    Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       11/7/2019 VA 2-186-107           12/17/2019                  11/7/2019                7/6/2020
 270473301 620-626 N Main St, Springboro, OH 45066                    Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       10/2/2019 VA 2-185-142           12/17/2019                  10/2/2019                7/8/2020
 270764184 30 W Rahn Rd, Dayton, OH 45429                             Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       10/4/2019 VA 2-185-142           12/17/2019                  10/4/2019              10/14/2020
 270768447 7056 Corporate Way, Dayton, OH 45459                       Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       10/4/2019 VA 2-185-142           12/17/2019                  10/4/2019               7/22/2020
 273801970 201-203 W Main St, Jenks, OK 74037                         Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       11/1/2019 VA 2-185-740           12/17/2019                  11/1/2019               1/13/2021
 275850310 3580-3596 NW 52nd St, Miami, FL 33142                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/19/2019 VA 2-186-530            1/15/2020                 11/19/2019                7/9/2020
 275850380 3580-3596 NW 52nd St, Miami, FL 33142                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/19/2019 VA 2-186-530            1/15/2020                 11/19/2019               7/13/2020
 275982217 3580-3596 NW 52nd St, Miami, FL 33142                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2019 VA 2-186-530            1/15/2020                 11/20/2019                7/3/2020
 275982218 3580-3596 NW 52nd St, Miami, FL 33142                      Al Paris                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/20/2019 VA 2-186-530            1/15/2020                 11/20/2019               7/13/2020

 279546176 574 Franklin Rd, Franklin, TN 37069                        Andrew Nelson                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404      12/31/2019 VA 2-187-764            1/16/2020                 12/31/2019               7/11/2020
 277233271 8350 N Central Expy, Dallas, TX 75206                      Anthony Frazier                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/2/2019 VA 2-186-505            1/16/2020                  12/2/2019               7/15/2020
 277343441 4620 PGA Blvd, Palm Beach Gardens, FL 33418                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/3/2019 VA 2-187-221            1/17/2020                  12/3/2019                7/2/2020
 277343429 4620 PGA Blvd, Palm Beach Gardens, FL 33418                David Dunn                                                                     CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       12/3/2019 VA 2-187-221            1/17/2020                  12/3/2019               6/30/2020




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 MasterID                               Image Address                   Photographer          Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 277582140 4620 PGA Blvd, Palm Beach Gardens, FL 33418          David Dunn                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500      12/5/2019 VA 2-187-221              1/17/2020                  12/5/2019               7/13/2020
 279152478 1800 N Lake Ave, Pasadena, CA 91104                  Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/23/2019 VA 2-191-228              1/17/2020                 12/23/2019               7/13/2020
 279152491 1800 N Lake Ave, Pasadena, CA 91104                  Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404     12/23/2019 VA 2-191-228              1/17/2020                 12/23/2019               7/12/2020
 276092788 4946 NE 13th Ave, Portland, OR 97211                 Chloe Miller                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2019 VA 2-187-813              1/17/2020                 11/21/2019               7/12/2020
 276092790 4946 NE 13th Ave, Portland, OR 97211                 Chloe Miller                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300     11/21/2019 VA 2-187-813              1/17/2020                 11/21/2019                7/6/2020
 278372348 1 Burlington Woods, Burlington, MA 01803             Bret Osswald                                                                    CoStar Group             33 Arch St, Boston, MA 02110                           6174433100     12/16/2019 VA 2-188-195              1/17/2020                 12/16/2019              11/18/2020
 278510502 9650 W Skye Canyon Dr, Las Vegas, NV 89166           Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/17/2019 VA 2-188-949              1/23/2020                 12/17/2019                8/8/2020
 278510747 9630 W Skye Canyon Park Dr, Las Vegas, NV 89166      Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                        8443050836     12/17/2019 VA 2-188-949              1/23/2020                 12/17/2019               8/11/2020
 278390663 101 E Kennedy Blvd, Tampa, FL 33602                  Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/16/2019 VA 2-188-964              1/23/2020                 12/16/2019               7/12/2020
 279224083 1600-1760 N Missouri Ave, Largo, FL 33770            Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/24/2019 VA 2-188-964              1/23/2020                 12/24/2019                7/6/2020
 279224084 1600-1760 N Missouri Ave, Largo, FL 33770            Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/24/2019 VA 2-188-964              1/23/2020                 12/24/2019                7/6/2020
 279224085 1600-1760 N Missouri Ave, Largo, FL 33770            Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/24/2019 VA 2-188-964              1/23/2020                 12/24/2019                7/2/2020
 279224086 1600-1760 N Missouri Ave, Largo, FL 33770            Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/24/2019 VA 2-188-964              1/23/2020                 12/24/2019                7/5/2020
 279224087 1600-1760 N Missouri Ave, Largo, FL 33770            Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                    2023466500     12/24/2019 VA 2-188-964              1/23/2020                 12/24/2019               7/13/2020
 276074396 10000 W Washington Blvd, Culver City, CA 90232       Jeremiah Unruh                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448     11/20/2019 VA 2-187-821              1/23/2020                 11/20/2019               10/4/2020
 278602633 1400 S Laramie Ave, Cicero, IL 60804                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     12/18/2019 VA 2-187-748              1/23/2020                 12/18/2019                7/5/2020
 276969906 9250 NW 36th St, Doral, FL 33178                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/27/2019 VA 2-187-979              1/23/2020                 11/27/2019                7/9/2020
 276969922 9250 NW 36th St, Doral, FL 33178                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/27/2019 VA 2-187-979              1/23/2020                 11/27/2019                7/7/2020
 276969938 9250 NW 36th St, Doral, FL 33178                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/27/2019 VA 2-187-979              1/23/2020                 11/27/2019               7/13/2020
 276969961 9250 NW 36th St, Doral, FL 33178                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/27/2019 VA 2-187-979              1/23/2020                 11/27/2019                7/3/2020
 276969983 9250 NW 36th St, Doral, FL 33178                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     11/27/2019 VA 2-187-979              1/23/2020                 11/27/2019               7/13/2020
 278309769 119 Washington Ave, Miami Beach, FL 33139            Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     12/13/2019 VA 2-187-979              1/23/2020                 12/13/2019              10/23/2020
 278508812 777 Brickell Ave, Miami, FL 33131                    Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548     12/17/2019 VA 2-187-979              1/23/2020                 12/17/2019               10/3/2020

 278455063 5538 N 7th St, Phoenix, AZ 85014                     John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      12/17/2019 VA 2-187-926             1/24/2020                 12/17/2019               7/10/2020
 277621413 4887 Belfort Rd, Jacksonville, FL 32256              Lori Smith                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       12/5/2019 VA 2-188-176             1/29/2020                  12/5/2019               3/30/2021
 275897652 3455 Peachtree Industrial Blvd, Duluth, GA 30096     Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/19/2019 VA 2-193-168             1/29/2020                 11/19/2019                7/9/2020
 275897693 3455 Peachtree Industrial Blvd, Duluth, GA 30096     Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      11/19/2019 VA 2-193-168             1/29/2020                 11/19/2019               7/10/2020
 277622690 4740 N Oracle Rd, Tucson, AZ 85705                   Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       12/5/2019 VA 2-193-165             1/29/2020                  12/5/2019                7/5/2020

 278737793 1035 Osage St, Denver, CO 80204                      Linda Jaquez                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      12/19/2019 VA 2-188-186             1/29/2020                 12/19/2019                7/3/2020
 275596741 20 E 5th St, Tulsa, OK 74103                         Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/16/2019 VA 2-188-225             1/29/2020                 11/16/2019                7/5/2020
 275596795 20 E 5th St, Tulsa, OK 74103                         Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/16/2019 VA 2-188-225             1/29/2020                 11/16/2019                7/4/2020
 276963595 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               7/12/2020
 276963623 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019                7/3/2020
 276963951 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               7/12/2020
 276963964 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019                7/3/2020
 276964038 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               7/10/2020
 276964249 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               7/13/2020
 276964342 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019                7/3/2020
 276985905 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               6/30/2020
 276985928 2500 Boardwalk, Norman, OK 73069                     Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062      11/27/2019 VA 2-188-225             1/29/2020                 11/27/2019               7/11/2020
 277758720 6300 NW Expressway, Oklahoma City, OK 73132          Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       12/6/2019 VA 2-188-225             1/29/2020                  12/6/2019                7/3/2021
 276959902 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019                7/6/2020
 276961578 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019                7/8/2020
 276961698 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019               7/11/2020
 276961708 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019               7/10/2020
 276961855 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019               7/10/2020
 276961898 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019               7/11/2020
 276961931 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019                7/2/2020
 276961937 7480 W Colonial Dr, Orlando, FL 32818                Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019                7/6/2020
 277005099 200 S Orange Ave, Orlando, FL 32801                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      11/27/2019 VA 2-188-174             1/29/2020                 11/27/2019                7/8/2020
 278804270 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019               7/14/2020
 278804406 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019               7/14/2020
 278804589 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019                7/3/2020
 278804915 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019                7/8/2020
 278805400 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019               7/14/2020
 278805783 1800 Pembrook Dr, Orlando, FL 32810                  Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      12/20/2019 VA 2-188-174             1/29/2020                 12/20/2019               7/14/2020

 276979544 3800 Arco Corporate Dr, Charlotte, NC 28273          Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/27/2019 VA 2-193-068             1/30/2020                 11/27/2019               1/18/2021

 279479851 8814 Rachel Freeman Way, Charlotte, NC 28278         Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/30/2019 VA 2-193-068             1/30/2020                 12/30/2019               7/12/2020

 279479864 8814 Rachel Freeman Way, Charlotte, NC 28278         Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/30/2019 VA 2-193-068             1/30/2020                 12/30/2019                7/8/2020

 279480038 8814 Rachel Freeman Way, Charlotte, NC 28278         Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/30/2019 VA 2-193-068             1/30/2020                 12/30/2019               7/12/2020
 278216239 1829 Hendersonville Rd, Asheville, NC 28803          Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      12/11/2019 VA 2-193-039             1/30/2020                 12/11/2019               7/13/2020
 276725563 397 Little Neck Rd, Virginia Beach, VA 23452         Theresa Jackson                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      11/25/2019 VA 2-193-004             1/30/2020                 11/25/2019              12/20/2020

 276281759 1120 Nasa Pky, Houston, TX 77058                     Steve Lee                                                                       CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      11/21/2019 VA 2-193-014             1/30/2020                 11/21/2019               7/13/2020

 279164883 2101 CityWest Blvd, Houston, TX 77042                Steve Lee                                                                       CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      12/23/2019 VA 2-193-014             1/30/2020                 12/23/2019               5/16/2021
 283077614 Durbin Station, Saint Johns, FL 32259                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/3/2020 VA 2-196-618              3/4/2020                   2/3/2020               10/7/2020
 283314104 450 Southwood Way, Orange Park, FL 32065             Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        2/5/2020 VA 2-196-618              3/4/2020                   2/5/2020               7/11/2020
 281340303 1205 Route 73, Mount Laurel, NJ 08054                Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/17/2020 VA 2-196-616              3/4/2020                  1/17/2020               7/12/2020
 281340335 1205 Route 73, Mount Laurel, NJ 08054                Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       1/17/2020 VA 2-196-616              3/4/2020                  1/17/2020               1/27/2021

 279929363 13750 San Pedro Ave, San Antonio, TX 78232           Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        1/6/2020 VA 2-196-637              3/4/2020                   1/6/2020               10/3/2020

 284040441 9901 W IH-10, San Antonio, TX 78230                  Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       2/10/2020 VA 2-196-637              3/4/2020                  2/10/2020               7/19/2020




                         OUTSIDE COUNSEL ONLY                                                                                                              145
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Attachment                                                                          Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                 Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

 284076808 9901 W IH-10, San Antonio, TX 78230                Blake Bowden                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      2/10/2020 VA 2-196-637              3/4/2020                 2/10/2020              7/19/2020
 283747829 2920 NE 207th St, Aventura, FL 33180               Brian Sokolowski                                                              CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/7/2020 VA 2-196-178              3/4/2020                  2/7/2020              7/11/2020
 284104211 3151 NW 27th Ave, Pompano Beach, FL 33069          Brian Sokolowski                                                              CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/10/2020 VA 2-196-178              3/4/2020                 2/10/2020               3/4/2021
 281201247 2400 SW College Rd, Ocala, FL 34471                Clint Bliss                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/16/2020 VA 2-196-052             3/11/2020                 1/16/2020              7/17/2021
 284237165 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020              7/11/2020
 284237167 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020              6/30/2020
 284237171 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020              7/13/2020
 284237329 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020               7/5/2020
 284237407 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020               7/4/2020
 284237411 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020               7/5/2020
 284237530 23930 Sunnymead Blvd, Moreno Valley, CA 92553      Christiaan Cruz                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/11/2020 VA 2-200-059             3/11/2020                 2/11/2020               7/2/2020

 280328396 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280328397 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280328405 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280328410 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280328420 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280328421 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/8/2020 VA 2-199-779             3/11/2020                  1/8/2020              7/29/2020

 280395252 6013 Preston Hwy, Louisville, KY 40219             Dale Rushing                                                                  CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/9/2020 VA 2-199-779             3/11/2020                  1/9/2020              7/29/2020
 282701361 721 Long Hill Rd, Groton, CT 06340                 Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2020 VA 2-200-275             3/12/2020                 1/31/2020               7/3/2020
 282701368 721 Long Hill Rd, Groton, CT 06340                 Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2020 VA 2-200-275             3/12/2020                 1/31/2020              7/11/2020
 282701370 721 Long Hill Rd, Groton, CT 06340                 Ed Messenger                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2020 VA 2-200-275             3/12/2020                 1/31/2020              7/11/2020
 283191370 3333 W Henrietta Rd, Rochester, NY 14623           Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2020 VA 2-196-452             3/12/2020                  2/4/2020               7/9/2020
 283191375 3333 W Henrietta Rd, Rochester, NY 14623           Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2020 VA 2-196-452             3/12/2020                  2/4/2020              7/12/2020
 283191407 3333 W Henrietta Rd, Rochester, NY 14623           Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2020 VA 2-196-452             3/12/2020                  2/4/2020               7/3/2020
 283191414 3333 W Henrietta Rd, Rochester, NY 14623           Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2020 VA 2-196-452             3/12/2020                  2/4/2020               7/2/2020
 283191419 3333 W Henrietta Rd, Rochester, NY 14623           Frank Taddeo                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       2/4/2020 VA 2-196-452             3/12/2020                  2/4/2020              7/13/2020
 284052682 411 Capital Cir SW, Tallahassee, FL 32304          David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/10/2020 VA 2-199-788             3/12/2020                 2/10/2020               7/4/2020
 284052741 411 Capital Cir SW, Tallahassee, FL 32304          David McCord                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      2/10/2020 VA 2-199-788             3/12/2020                 2/10/2020               7/3/2020
 282332981 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020               7/3/2020
 282333018 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020              7/10/2020
 282333024 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020               7/8/2020
 282333033 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020              7/12/2020
 282333042 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020               7/5/2020
 282333051 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020              7/10/2020
 282333052 16 W Martin St, Raleigh, NC 27601                  Emily Bealmear                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/27/2020 VA 2-200-271             3/12/2020                 1/27/2020               7/8/2020
 280587746 425 N New Ballas Rd, Creve Coeur, MO 63141         Diana Soliwon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2020 VA 2-199-801             3/12/2020                 1/10/2020               7/8/2020
 280587802 425 N New Ballas Rd, Creve Coeur, MO 63141         Diana Soliwon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2020 VA 2-199-801             3/12/2020                 1/10/2020               7/9/2020
 280588144 425 N New Ballas Rd, Creve Coeur, MO 63141         Diana Soliwon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2020 VA 2-199-801             3/12/2020                 1/10/2020               7/3/2020
 280588180 425 N New Ballas Rd, Creve Coeur, MO 63141         Diana Soliwon                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      1/10/2020 VA 2-199-801             3/12/2020                 1/10/2020               7/3/2020
 279649859 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020              7/11/2020
 279649905 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020              7/10/2020
 279649939 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020              7/13/2020
 279650003 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020              7/11/2020
 279650045 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020               7/4/2020
 279650083 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020               7/9/2020
 279650167 1901 NW 25th Ave, Pompano Beach, FL 33069          Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/2/2020 VA 2-195-985             3/12/2020                  1/2/2020              7/13/2020
 281323741 75 Valencia Ave, Coral Gables, FL 33134            Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/17/2020 VA 2-195-985             3/12/2020                 1/17/2020               7/5/2020
 281323783 75 Valencia Ave, Coral Gables, FL 33134            Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/17/2020 VA 2-195-985             3/12/2020                 1/17/2020               7/7/2020
 281324131 75 Valencia Ave, Coral Gables, FL 33134            Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/17/2020 VA 2-195-985             3/12/2020                 1/17/2020              7/11/2020
 281324166 75 Valencia Ave, Coral Gables, FL 33134            Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/17/2020 VA 2-195-985             3/12/2020                 1/17/2020               7/5/2020
 281720660 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/12/2020
 281720702 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/11/2020
 281720786 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020               7/3/2020
 281720897 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/12/2020
 281720934 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/13/2020
 281721037 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/13/2020
 281722442 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/13/2020
 281722456 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020               7/2/2020
 281723421 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020              7/12/2020
 281723454 3101 N Federal Hwy, Fort Lauderdale, FL 33306      Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      1/21/2020 VA 2-195-985             3/12/2020                 1/21/2020               7/5/2020
 284357045 1515 NW 167th St, Miami, FL 33169                  Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-195-985             3/12/2020                 2/12/2020              7/20/2020
 284357049 1515 NW 167th St, Miami, FL 33169                  Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-195-985             3/12/2020                 2/12/2020              7/20/2020
 284357065 1515 NW 167th St, Miami, FL 33169                  Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-195-985             3/12/2020                 2/12/2020              7/20/2020
 284357070 1515 NW 167th St, Miami, FL 33169                  Jack Cook                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-195-985             3/12/2020                 2/12/2020              7/20/2020
 284356535 2301 N Tustin Ave, Santa Ana, CA 92705             Eric Norton                                                                   CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/12/2020 VA 2-200-253             3/12/2020                 2/12/2020              6/12/2021
 283775482 13800 New Falls Of Neuse Rd, Raleigh, NC 27614     Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/7/2020 VA 2-195-940             3/17/2020                  2/7/2020              7/21/2020
 283775556 13800 New Falls Of Neuse Rd, Raleigh, NC 27614     Lawrence Hiatt                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       2/7/2020 VA 2-195-940             3/17/2020                  2/7/2020              7/13/2020
 282784950 3 Davol Sq, Providence, RI 02903                   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2020 VA 2-199-997             3/17/2020                 1/31/2020               7/6/2020
 282784984 3 Davol Sq, Providence, RI 02903                   Jonathan Coon                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      1/31/2020 VA 2-199-997             3/17/2020                 1/31/2020              7/13/2020
 284421526 2307 N Fine Ave, Fresno, CA 93727                  John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      2/12/2020 VA 2-196-470             3/17/2020                 2/12/2020              7/11/2020
 284566079 8405 N Fresno St, Fresno, CA 93720                 John Bolling                                                                  CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      2/13/2020 VA 2-196-470             3/17/2020                 2/13/2020              1/27/2021
 283788665 1980-1990 W Orange Grove Rd, Tucson, AZ 85704      Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       2/7/2020 VA 2-196-416             3/17/2020                  2/7/2020              7/12/2020




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 284405132 920 N Fairfax Ave, West Hollywood, CA 90046       Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448      2/12/2020 VA 2-200-369              3/17/2020                  2/12/2020              10/7/2020
 281947882 1437 S Boulder Ave, Tulsa, OK 74119               Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/23/2020 VA 2-196-167              3/17/2020                  1/23/2020              7/10/2020
 284121593 201 W 5th St, Tulsa, OK 74103                     Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      2/10/2020 VA 2-196-167              3/17/2020                  2/10/2020              1/13/2021
 284122623 907 S Detroit Ave, Tulsa, OK 74120                Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      2/10/2020 VA 2-196-167              3/17/2020                  2/10/2020              4/12/2021
 281811128 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/13/2020
 281811154 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/12/2020
 281811212 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020               7/2/2020
 281811222 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/12/2020
 281811301 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/10/2020
 281811396 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020               7/3/2020
 281811420 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/12/2020
 281811487 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020               7/3/2020
 281811722 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/11/2020
 281811751 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/13/2020
 281811771 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/11/2020
 281811817 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/12/2020
 281811839 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020               7/5/2020
 281811874 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/11/2020
 281811905 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020               7/8/2020
 281811909 3717 Route 378, Bethlehem, PA 18015               Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                           6174433100      1/22/2020 VA 2-196-162              3/17/2020                  1/22/2020              7/13/2020
 281035473 3700 N Capital Of Texas Hwy, Austin, TX 78746     Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      1/15/2020 VA 2-196-418              3/17/2020                  1/15/2020               4/8/2021

 281720610 7990 Trinity Rd, Memphis, TN 38105                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/21/2020 VA 2-196-431             3/18/2020                  1/21/2020               7/12/2020

 281720617 7990 Trinity Rd, Memphis, TN 38105                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/21/2020 VA 2-196-431             3/18/2020                  1/21/2020               7/13/2020

 281720895 7990 Trinity Rd, Memphis, TN 38105                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/21/2020 VA 2-196-431             3/18/2020                  1/21/2020               7/13/2020

 281720907 7990 Trinity Rd, Memphis, TN 38105                Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       1/21/2020 VA 2-196-431             3/18/2020                  1/21/2020               7/11/2020
 279930210 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020               7/13/2020
 279930278 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020               7/11/2020
 279930610 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020                7/3/2020
 279930658 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020                7/2/2020
 279930693 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020               7/13/2020
 279930743 2070 Chambers Rd, Aurora, CO 80011                Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/6/2020 VA 2-200-481             3/18/2020                   1/6/2020               7/11/2020

 279613127 2810 Coliseum Centre Dr, Charlotte, NC 28217      Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        1/2/2020 VA 2-196-048             3/18/2020                   1/2/2020               7/12/2020

 280823472 1407 Airport Rd, Monroe, NC 28110                 Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/13/2020 VA 2-196-048             3/18/2020                  1/13/2020               7/11/2020

 281233353 3908 Colony Rd, Charlotte, NC 28211               Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/16/2020 VA 2-196-048             3/18/2020                  1/16/2020               7/11/2020
 280281163 4244 N 19th Ave, Phoenix, AZ 85015                Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        1/8/2020 VA 2-196-095             3/18/2020                   1/8/2020               8/11/2020
 280927624 21018 N 22nd St, Phoenix, AZ 85024                Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/14/2020 VA 2-196-095             3/18/2020                  1/14/2020               1/17/2021
 280927644 21018 N 22nd St, Phoenix, AZ 85024                Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/14/2020 VA 2-196-095             3/18/2020                  1/14/2020               1/17/2021
 281127925 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020                7/7/2020
 281127929 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020                7/7/2020
 281127945 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020               7/13/2020
 281127955 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020                7/6/2020
 281127972 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020                7/3/2020
 281128007 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020               7/12/2020
 281128035 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020               7/13/2020
 281128090 4041 Rowan Rd, New Port Richey, FL 34653          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/15/2020 VA 2-195-972             3/18/2020                  1/15/2020               7/13/2020
 282033077 10120 W Bell Rd, Sun City, AZ 85351               Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/24/2020 VA 2-196-095             3/18/2020                  1/24/2020                7/8/2020
 282033083 10120 W Bell Rd, Sun City, AZ 85351               Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       1/24/2020 VA 2-196-095             3/18/2020                  1/24/2020               7/11/2020
 283089575 15331 W Bell Rd, Surprise, AZ 85374               Peter Sills                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        2/3/2020 VA 2-196-095             3/18/2020                   2/3/2020                7/4/2020

 280842985 2221 E Bijou St, Colorado Springs, CO 80909       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       1/13/2020 VA 2-196-409             3/18/2020                  1/13/2020               7/12/2020

 280843136 2221 E Bijou St, Colorado Springs, CO 80909       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       1/13/2020 VA 2-196-409             3/18/2020                  1/13/2020                7/3/2020

 280843162 2221 E Bijou St, Colorado Springs, CO 80909       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       1/13/2020 VA 2-196-409             3/18/2020                  1/13/2020                7/6/2020

 280843550 2221 E Bijou St, Colorado Springs, CO 80909       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       1/13/2020 VA 2-196-409             3/18/2020                  1/13/2020                7/4/2020

 280843581 2221 E Bijou St, Colorado Springs, CO 80909       Linda Jaquez                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       1/13/2020 VA 2-196-409             3/18/2020                  1/13/2020                7/3/2020

 282322510 1140 Cypress Station Dr, Houston, TX 77090        Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       1/27/2020 VA 2-200-477             3/18/2020                  1/27/2020               2/21/2021
 280081528 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/7/2020 VA 2-196-422             3/18/2020                   1/7/2020                7/8/2020
 280083802 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/7/2020 VA 2-196-422             3/18/2020                   1/7/2020               7/11/2020
 280085053 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/7/2020 VA 2-196-422             3/18/2020                   1/7/2020                7/5/2020
 280087722 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        1/7/2020 VA 2-196-422             3/18/2020                   1/7/2020                7/5/2020
 281950868 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/23/2020 VA 2-196-422             3/18/2020                  1/23/2020               7/11/2020
 281951350 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/23/2020 VA 2-196-422             3/18/2020                  1/23/2020               7/12/2020
 281951649 13485 Veteran's Way, Orlando, FL 32827            Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       1/23/2020 VA 2-196-422             3/18/2020                  1/23/2020                7/9/2020
 284402880 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020               7/11/2020
 284402942 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020                7/4/2020
 284403038 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020               6/30/2020
 284403047 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020                7/9/2020
 284403146 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020               7/11/2020
 284403197 1727 Orlando Central Pky, Orlando, FL 32809       Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       2/12/2020 VA 2-196-422             3/18/2020                  2/12/2020                7/2/2020




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 284403214 1727 Orlando Central Pky, Orlando, FL 32809              Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-196-422              3/18/2020                  2/12/2020               7/12/2020
 284403305 1727 Orlando Central Pky, Orlando, FL 32809              Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-196-422              3/18/2020                  2/12/2020                7/5/2020
 284403379 1727 Orlando Central Pky, Orlando, FL 32809              Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-196-422              3/18/2020                  2/12/2020               7/11/2020
 284403510 1727 Orlando Central Pky, Orlando, FL 32809              Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-196-422              3/18/2020                  2/12/2020               7/11/2020
 284403540 1727 Orlando Central Pky, Orlando, FL 32809              Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/12/2020 VA 2-196-422              3/18/2020                  2/12/2020                7/9/2020
 284670618 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020               7/12/2020
 284670713 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020               7/11/2020
 284671201 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020               7/13/2020
 284684507 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020               7/13/2020
 284685549 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020               7/12/2020
 284687894 1801-1807 Eastshore Hwy, Berkeley, CA 94710              Steven Bollman                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      2/14/2020 VA 2-200-472              3/18/2020                  2/14/2020                7/9/2020
 281199045 2888 Loker Ave E, Carlsbad, CA 92010                     Michael Hirsch                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448      1/16/2020 VA 2-195-970              3/18/2020                  1/16/2020               7/14/2020
 279654825 2940 E Banner Gateway Dr, Gilbert, AZ 85234              Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       1/2/2020 VA 2-195-945              3/19/2020                   1/2/2020                7/3/2020
 289512348 13621 S Mur Len Rd, Olathe, KS 66062                     Anya Ivantseva                                                                  CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951      3/26/2020 VA 2-204-626              4/22/2020                  3/26/2020               7/11/2020
 287568407 280-286 Paseo Reyes Dr, Saint Augustine, FL 32095        Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/9/2020 VA 2-205-912              4/23/2020                   3/9/2020                7/9/2020
 287568409 280-286 Paseo Reyes Dr, Saint Augustine, FL 32095        Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/9/2020 VA 2-205-912              4/23/2020                   3/9/2020               7/10/2020
 289228639 175 Hampton Point Dr, Saint Augustine, FL 32092          Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/24/2020 VA 2-205-912              4/23/2020                  3/24/2020               7/24/2020
 289509284 3118 Edgewood Ave, Jacksonville, FL 32209                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/26/2020 VA 2-205-912              4/23/2020                  3/26/2020               7/24/2020
 289509294 3118 Edgewood Ave, Jacksonville, FL 32209                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/26/2020 VA 2-205-912              4/23/2020                  3/26/2020               7/24/2020
 289509303 3118 Edgewood Ave, Jacksonville, FL 32209                Carlos Monsalve                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/26/2020 VA 2-205-912              4/23/2020                  3/26/2020               7/24/2020
 289861639 2877 Elwood Rd, Hammonton, NJ 08037                      Carmen Gerace                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500      3/27/2020 VA 2-205-915              4/23/2020                  3/27/2020               7/13/2020
 289518196 1306 Air Base Blvd, Montgomery, AL 36101                 Austin Lucas                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/26/2020 VA 2-204-962              4/23/2020                  3/26/2020              12/20/2020
 287832118 106 N Lombard Ln, Skiatook, OK 74070                     Benjamin Stephens                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/11/2020 VA 2-204-978              4/23/2020                  3/11/2020               10/7/2020

 285735959 8200 W Interstate 10, San Antonio, TX 78230              Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/24/2020 VA 2-204-975             4/23/2020                  2/24/2020               7/12/2020
 284958863 1630 NE 1st Ave, Miami, FL 33132                         Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       2/17/2020 VA 2-204-972             4/23/2020                  2/17/2020                7/3/2020
 286220724 14360 SW 139th Ct, Miami, FL 33186                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       2/27/2020 VA 2-204-972             4/23/2020                  2/27/2020               7/10/2020
 286220797 14360 SW 139th Ct, Miami, FL 33186                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       2/27/2020 VA 2-204-972             4/23/2020                  2/27/2020               7/13/2020
 286220851 14360 SW 139th Ct, Miami, FL 33186                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       2/27/2020 VA 2-204-972             4/23/2020                  2/27/2020               7/12/2020
 286220868 14360 SW 139th Ct, Miami, FL 33186                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       2/27/2020 VA 2-204-972             4/23/2020                  2/27/2020                7/6/2020
 289516103 2 S Biscayne Blvd, Miami, FL 33131                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       3/26/2020 VA 2-204-972             4/23/2020                  3/26/2020               7/12/2020
 289516328 2 S Biscayne Blvd, Miami, FL 33131                       Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548       3/26/2020 VA 2-204-972             4/23/2020                  3/26/2020               7/12/2020
 288040452 1570 Buena Vista Ave, Alameda, CA 94501                  Christopher Lau                                                                 CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       3/12/2020 VA 2-205-815             4/24/2020                  3/12/2020                7/6/2020
 288764676 3435 NW Pine Ave, Ocala, FL 34475                        Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/19/2020 VA 2-205-781             4/24/2020                  3/19/2020               7/10/2020
 290042548 11702 Bellflower Blvd, Downey, CA 90241                  Christiaan Cruz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       3/30/2020 VA 2-203-256             4/24/2020                  3/30/2020               7/12/2020
 289147880 3755 Sixes Rd, Canton, GA 30114                          Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/23/2020 VA 2-205-823             4/24/2020                  3/23/2020               7/13/2020
 289147882 3755 Sixes Rd, Canton, GA 30114                          Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/23/2020 VA 2-205-823             4/24/2020                  3/23/2020               7/11/2020
 289846488 1766 Old Norcross Rd, Lawrenceville, GA 30044            Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/27/2020 VA 2-205-823             4/24/2020                  3/27/2020               7/11/2020
 289846502 1766 Old Norcross Rd, Lawrenceville, GA 30044            Dan Kohler                                                                      CoStar Group             101 S Tryon St, Charlotte, NC 28280                  2023466500       3/27/2020 VA 2-205-823             4/24/2020                  3/27/2020               7/13/2020
 286218064 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020                7/8/2020
 286218112 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020               7/11/2020
 286218199 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020               7/11/2020
 286218238 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020                7/6/2020
 286218249 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020                7/8/2020
 286218255 1665 Carpenter Rd S, Tifton, GA 31793                    David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       2/27/2020 VA 2-204-835             4/26/2020                  2/27/2020                7/6/2020
 287106678 1853 W Gordon St, Valdosta, GA 31601                     David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/5/2020 VA 2-204-835             4/26/2020                   3/5/2020                8/8/2020
 287106927 1853 W Gordon St, Valdosta, GA 31601                     David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/5/2020 VA 2-204-835             4/26/2020                   3/5/2020               8/11/2020
 287586651 1853 W Gordon St, Valdosta, GA 31601                     David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/9/2020 VA 2-204-835             4/26/2020                   3/9/2020               8/11/2020
 287586722 1853 W Gordon St, Valdosta, GA 31601                     David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300        3/9/2020 VA 2-204-835             4/26/2020                   3/9/2020                8/8/2020
 290073443 3035 Jackson Bluff Rd, Tallahassee, FL 32304             David McCord                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/30/2020 VA 2-204-835             4/26/2020                  3/30/2020                7/8/2020
 286645423 4545 N Ravenswood Ave, Chicago, IL 60640                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                  8558833548        3/2/2020 VA 2-202-262             4/26/2020                   3/2/2020                5/2/2021
 288819119 12555 Valley View St, Garden Grove, CA 92845             Eric Norton                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                  9497527448       3/19/2020 VA 2-205-481             4/26/2020                  3/19/2020               7/10/2020
 289422164 22471 Aspan St, Lake Forest, CA 92630                    Eric Norton                                                                     CoStar Group             3161 Michelson Dr, Irvine, CA 92612                  9497527448       3/25/2020 VA 2-205-481             4/26/2020                  3/25/2020                7/4/2021
 286317202 4785-4789 E Kings Canyon Rd, Fresno, CA 93702            John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       2/28/2020 VA 2-205-760             4/27/2020                  2/28/2020              12/20/2020
 286660684 1261 Applegate Rd, Atwater, CA 95301                     John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836        3/2/2020 VA 2-205-760             4/27/2020                   3/2/2020                7/5/2020
 288439914 2401 W Almond Ave, Madera, CA 93637                      John Bolling                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       3/16/2020 VA 2-205-760             4/27/2020                  3/16/2020                7/6/2020
 289368565 12201-12221 Santa Monica Blvd, Los Angeles, CA 90025     John Ehart                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                8882267404       3/25/2020 VA 2-206-287             4/27/2020                  3/25/2020              10/12/2020
 285044421 2820 S Jones Blvd, Las Vegas, NV 89146                   Jay Sanchez                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                      8443050836       2/18/2020 VA 2-206-263             4/27/2020                  2/18/2020                7/5/2020
 288671207 197 Martin Luther King Jr Ave SW, Cairo, GA 39828        Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/18/2020 VA 2-206-133             4/27/2020                  3/18/2020                7/5/2020
 288765480 4901 Olde Towne Pky, Marietta, GA 30068                  Kris Kasabian                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/19/2020 VA 2-206-133             4/27/2020                  3/19/2020                7/6/2020
 289236399 7001 N Route 309, Coopersburg, PA 18036                  Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                   3012158300       3/24/2020 VA 2-205-744             4/27/2020                  3/24/2020                3/4/2021
 285260894 4211 28th Ave NW, Norman, OK 73069                       Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105               3142966062       2/20/2020 VA 2-206-041             4/27/2020                  2/20/2020              11/26/2020
 285759156 3501 24th Ave NW, Norman, OK 73069                       Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105               3142966062       2/24/2020 VA 2-206-041             4/27/2020                  2/24/2020               10/2/2020
 287103961 1717 S Boulder Ave, Tulsa, OK 74119                      Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105               3142966062        3/5/2020 VA 2-206-041             4/27/2020                   3/5/2020               4/12/2021

 285802325 1500 N Priest Dr, Tempe, AZ 85281                        John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/25/2020 VA 2-206-291             4/27/2020                  2/25/2020                7/9/2020

 285804630 1230 W Washington St, Tempe, AZ 85281                    John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/25/2020 VA 2-206-291             4/27/2020                  2/25/2020               7/13/2020

 286105574 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020

 286105582 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020

 286105605 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020

 286105653 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020

 286105743 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020

 286105767 1050 W Chandler Blvd, Chandler, AZ 85224                 John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016               8775121786       2/26/2020 VA 2-206-291             4/27/2020                  2/26/2020               7/20/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                  148
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer    Photograph      Copyright        Copyright        Available to Appear on
 MasterID                              Image Address                       Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number            Date         Certificate   Registration Date        CoStar Dates         Found on CREXi Date

 287842997 5735 E McKellips Rd, Mesa, AZ 85215                      John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      3/11/2020 VA 2-206-291             4/27/2020                 3/11/2020              7/12/2021

 287844381 5609 E McKellips Rd, Mesa, AZ 85215                      John Williams                                                                 CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      3/11/2020 VA 2-206-291             4/27/2020                 3/11/2020              8/23/2020
 290080352 300 Littleton Rd, Parsippany, NJ 07054                   Joseph DiBlasi                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      3/30/2020 VA 2-205-928             4/27/2020                 3/30/2020               7/8/2020
 290080746 10 Lanidex Plz W, Parsippany, NJ 07054                   Joseph DiBlasi                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      3/30/2020 VA 2-205-928             4/27/2020                 3/30/2020             10/28/2020
 290212884 1450 Us Highway 22 W, Mountainside, NJ 07092             Joseph DiBlasi                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      3/31/2020 VA 2-205-928             4/27/2020                 3/31/2020               7/8/2020
 290212920 1450 Us Highway 22 W, Mountainside, NJ 07092             Joseph DiBlasi                                                                CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      3/31/2020 VA 2-205-928             4/27/2020                 3/31/2020               7/5/2020
 290062191 239 Washington St, Jersey City, NJ 07302                 James Hooker                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100      3/30/2020 VA 2-206-146             4/27/2020                 3/30/2020               7/9/2020
 287241949 101 N Broad St, Philadelphia, PA 19107                   Korin Krossber                                                                CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       3/6/2020 VA 2-206-131             4/27/2020                  3/6/2020             12/13/2020
 289552843 1418-1430 San Marco Blvd, Jacksonville, FL 32207         Lori Smith                                                                    CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/26/2020 VA 2-206-128             4/28/2020                 3/26/2020              1/18/2021
 285159218 4007 E Paradise Falls Dr, Tucson, AZ 85712               Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/19/2020 VA 2-205-786             4/28/2020                 2/19/2020              7/12/2020
 285159274 4007 E Paradise Falls Dr, Tucson, AZ 85712               Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/19/2020 VA 2-205-786             4/28/2020                 2/19/2020               7/6/2020
 285263701 5480 E 22nd St, Tucson, AZ 85711                         Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      2/20/2020 VA 2-205-786             4/28/2020                 2/20/2020              7/11/2020
 288441782 2 E Navajo Rd, Tucson, AZ 85705                          Kristen Rademacher                                                            CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404      3/16/2020 VA 2-205-786             4/28/2020                 3/16/2020               7/5/2020

 285137921 14818 W 6th Ave, Golden, CO 80401                        Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      2/19/2020 VA 2-205-808             4/28/2020                 2/19/2020              1/13/2021

 287720533 1512-1514 Curtis St, Denver, CO 80202                    Linda Jaquez                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786      3/10/2020 VA 2-205-808             4/28/2020                 3/10/2020               7/5/2020
 286981744 101 Medical Pky, Lakeway, TX 78738                       Lars Frazer                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       3/4/2020 VA 2-206-056             4/28/2020                  3/4/2020             11/14/2020
 288632763 689-691 Sanford Ave, Newark, NJ 07106                    Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/18/2020 VA 2-204-831             4/29/2020                 3/18/2020               8/7/2020
 288632774 689-691 Sanford Ave, Newark, NJ 07106                    Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/18/2020 VA 2-204-831             4/29/2020                 3/18/2020              8/10/2020
 289366741 241 North Ave W, Westfield, NJ 07090                     Steve Cuttler                                                                 CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500      3/25/2020 VA 2-204-831             4/29/2020                 3/25/2020              8/11/2020

 287276911 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020               7/9/2020

 287276941 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020              7/12/2020

 287276987 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020               7/6/2020

 287277244 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020              7/12/2020

 287277281 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020              7/13/2020

 287277322 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020              12/9/2020

 287277352 5300 Crosswind Dr, Columbus, OH 43228                    Sam Blythe                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       3/6/2020 VA 2-205-188             4/29/2020                  3/6/2020               7/7/2020
 289347643 900 N Federal Hwy, Boca Raton, FL 33432                  Robert Dallas                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/25/2020 VA 2-205-177             4/29/2020                 3/25/2020              1/18/2021
 287135189 400 Grapevine Hwy, Hurst, TX 76054                       Stacey Callaway                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/5/2020 VA 2-205-497             4/29/2020                  3/5/2020              7/11/2020
 287135217 400 Grapevine Hwy, Hurst, TX 76054                       Stacey Callaway                                                               CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       3/5/2020 VA 2-205-497             4/29/2020                  3/5/2020              7/11/2020
 287240868 1100 Immokalee Rd, Naples, FL 34110                      Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/6/2020 VA 2-205-126             4/29/2020                  3/6/2020              7/11/2020
 287240871 1100 Immokalee Rd, Naples, FL 34110                      Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/6/2020 VA 2-205-126             4/29/2020                  3/6/2020               7/8/2020
 287241053 1100 Immokalee Rd, Naples, FL 34110                      Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       3/6/2020 VA 2-205-126             4/29/2020                  3/6/2020               7/6/2020
 289822035 801 Laurel Oak Dr, Naples, FL 34108                      Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/27/2020 VA 2-205-126             4/29/2020                 3/27/2020               2/6/2021
 289822046 801 Laurel Oak Dr, Naples, FL 34108                      Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/27/2020 VA 2-205-126             4/29/2020                 3/27/2020               2/6/2021
 290044412 10201 Arcos Ave, Estero, FL 33928                        Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/30/2020 VA 2-205-126             4/29/2020                 3/30/2020              2/12/2021
 290155359 1013-1089 N Collier Blvd, Marco Island, FL 34145         Richard Grant                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500      3/31/2020 VA 2-205-126             4/29/2020                 3/31/2020              11/8/2020

 287586835 13900 Conlan Cir, Charlotte, NC 28277                    Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       3/9/2020 VA 2-205-561             4/29/2020                  3/9/2020               7/5/2020

 289145075 750 Leonard Ave, Albemarle, NC 28001                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/23/2020 VA 2-205-561             4/29/2020                 3/23/2020               7/7/2020

 289145785 780 Leonard Ave, Albemarle, NC 28001                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/23/2020 VA 2-205-561             4/29/2020                 3/23/2020              7/11/2020

 289229460 780 Leonard Ave, Albemarle, NC 28001                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/24/2020 VA 2-205-561             4/29/2020                 3/24/2020               7/6/2020

 289236225 780 Leonard Ave, Albemarle, NC 28001                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/24/2020 VA 2-205-561             4/29/2020                 3/24/2020               7/8/2020

 289236381 718 Leonard Ave, Albemarle, NC 28001                     Ryan Gwilliam                                                                 CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368      3/24/2020 VA 2-205-561             4/29/2020                 3/24/2020               7/8/2020
 289236355 2809-2847 W Andrew Johnson Hwy, Morristown, TN 37814     Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/12/2020
 289236959 116 N Cedar Bluff Rd, Knoxville, TN 37923                Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/24/2020
 289287741 109-123 W Highway 25 70, Dandridge, TN 37725             Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/11/2020
 289287864 990 Epco Dr, Dandridge, TN 37725                         Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/14/2020
 289287902 411 Highland Ave, Loudon, TN 37774                       Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020               7/9/2020
 289287985 411 Highland Ave, Loudon, TN 37774                       Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/11/2020
 289288119 6400 Corporate Park Dr, Loudon, TN 37774                 Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020               7/7/2020
 289288239 455 T Elmer Cox Rd, Greeneville, TN 37743                Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/24/2020 VA 2-205-803             4/29/2020                 3/24/2020              7/21/2020
 289431676 1805 W State Of Franklin Rd, Johnson City, TN 37604      Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/25/2020 VA 2-205-803             4/29/2020                 3/25/2020               7/7/2020
 289431677 3135 Peoples St, Johnson City, TN 37604                  Molly Mullin                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300      3/25/2020 VA 2-205-803             4/29/2020                 3/25/2020               7/9/2020
 287225571 295 Kietzke Ln, Reno, NV 89502                           Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       3/6/2020 VA 2-205-587             4/29/2020                  3/6/2020               7/9/2020
 288774347 1080 Harter Pkwy, Yuba City, CA 95993                    Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/19/2020 VA 2-205-587             4/29/2020                 3/19/2020              7/12/2020
 288774391 1080 Harter Pkwy, Yuba City, CA 95993                    Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/19/2020 VA 2-205-587             4/29/2020                 3/19/2020               7/7/2020
 288774495 1080 Harter Pkwy, Yuba City, CA 95993                    Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/19/2020 VA 2-205-587             4/29/2020                 3/19/2020               7/7/2020
 288774516 1080 Harter Pkwy, Yuba City, CA 95993                    Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/19/2020 VA 2-205-587             4/29/2020                 3/19/2020               7/9/2020
 288774566 1080 Harter Pkwy, Yuba City, CA 95993                    Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/19/2020 VA 2-205-587             4/29/2020                 3/19/2020               7/8/2020
 289246863 1429 E Beamer St, Woodland, CA 95776                     Wesley Jimerson                                                               CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836      3/24/2020 VA 2-205-587             4/29/2020                 3/24/2020              7/12/2020

 287559861 7807 Main St, Houston, TX 77030                          Steve Lee                                                                     CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       3/9/2020 VA 2-205-788             4/29/2020                  3/9/2020              1/27/2021
 285261386 1264 La Quinta Dr, Orlando, FL 32809                     Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/20/2020 VA 2-205-871             4/29/2020                 2/20/2020               7/8/2020
 285261459 1264 La Quinta Dr, Orlando, FL 32809                     Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548      2/20/2020 VA 2-205-871             4/29/2020                 2/20/2020              7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                                149
                                                              Case 2:20-cv-08819-CBM-AS                                        Document 950-1 Filed 10/25/24                                                                  Page 177 of 202
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Attachment                                                                            Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                  Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 285261521 1264 La Quinta Dr, Orlando, FL 32809                 Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/20/2020 VA 2-205-871              4/29/2020                  2/20/2020               7/8/2020
 286291856 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/28/2020 VA 2-205-871              4/29/2020                  2/28/2020              7/13/2020
 286291885 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/28/2020 VA 2-205-871              4/29/2020                  2/28/2020               7/8/2020
 286291889 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/28/2020 VA 2-205-871              4/29/2020                  2/28/2020              7/12/2020
 286291894 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      2/28/2020 VA 2-205-871              4/29/2020                  2/28/2020               7/6/2020
 286609409 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020              7/12/2020
 286609763 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020              7/13/2020
 286609764 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020              7/13/2020
 286609774 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020              7/10/2020
 286609794 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020               7/6/2020
 286609797 2121 SW 19th Avenue Rd, Ocala, FL 34471              Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       3/2/2020 VA 2-205-871              4/29/2020                   3/2/2020              7/11/2020
 288122034 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/13/2020 VA 2-205-871              4/29/2020                  3/13/2020               7/5/2020
 288122038 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/13/2020 VA 2-205-871              4/29/2020                  3/13/2020              7/12/2020
 288122043 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/13/2020 VA 2-205-871              4/29/2020                  3/13/2020              7/12/2020
 288122057 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/13/2020 VA 2-205-871              4/29/2020                  3/13/2020              7/11/2020
 289532388 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/26/2020 VA 2-205-871              4/29/2020                  3/26/2020              7/12/2020
 289532423 2420 S Lakemont Ave, Orlando, FL 32814               Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/26/2020 VA 2-205-871              4/29/2020                  3/26/2020               7/9/2020
 290187662 90 W Mitchell Hammock Rd, Oviedo, FL 32765           Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/31/2020 VA 2-205-871              4/29/2020                  3/31/2020               7/7/2020
 290189015 1121 Alafaya Trl, Oviedo, FL 32765                   Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/31/2020 VA 2-205-871              4/29/2020                  3/31/2020               7/7/2020
 290189033 1121 Alafaya Trl, Oviedo, FL 32765                   Marc Vaughn                                                                   CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/31/2020 VA 2-205-871              4/29/2020                  3/31/2020               7/7/2020
 286917960 9665 Chesapeake Dr, San Diego, CA 92123              Michael Hirsch                                                                CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448       3/4/2020 VA 2-205-596              4/29/2020                   3/4/2020               7/5/2020
 286918511 9665 Chesapeake Dr, San Diego, CA 92123              Michael Hirsch                                                                CoStar Group             3161 Michelson Dr, Irvine, CA 92612                    9497527448       3/4/2020 VA 2-205-596              4/29/2020                   3/4/2020               7/9/2020
 288890052 735 N Water St, Milwaukee, WI 53202                  Richard Ebbers                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      3/20/2020 VA 2-205-538              4/29/2020                  3/20/2020               6/7/2021
 291080652 6803 W 64th St, Overland Park, KS 66202              Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/8/2020 VA 2-208-135               6/4/2020                   4/8/2020              7/31/2020

 293778976 2001 Dixie Hwy, Fort Wright, KY 41011                Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404        5/1/2020 VA 2-206-228              6/4/2020                   5/1/2020               10/3/2020

 292701838 998 Dudley Rd, Edgewood, KY 41017                    Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/22/2020 VA 2-206-228              6/4/2020                  4/22/2020               7/31/2020

 292813167 2459 Madison Ave, Covington, KY 41014                Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/23/2020 VA 2-206-228              6/4/2020                  4/23/2020               7/24/2020

 292813177 2459 Madison Ave, Covington, KY 41014                Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/23/2020 VA 2-206-228              6/4/2020                  4/23/2020               7/24/2020

 292813621 2440 Madison Ave, Covington, KY 41014                Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/23/2020 VA 2-206-228              6/4/2020                  4/23/2020               7/24/2020

 292813637 2440 Madison Ave, Covington, KY 41014                Bob Benkert                                                                   CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/23/2020 VA 2-206-228              6/4/2020                  4/23/2020               7/24/2020
 291924034 140 Walnut St, Kansas City, MO 64106                 Brooke Wasson                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/15/2020 VA 2-208-135              6/4/2020                  4/15/2020              11/16/2020
 290946999 153 Blanding Blvd, Orange Park, FL 32073             Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2020 VA 2-206-224              6/4/2020                   4/7/2020               7/24/2020
 290947004 153 Blanding Blvd, Orange Park, FL 32073             Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2020 VA 2-206-224              6/4/2020                   4/7/2020               7/24/2020
 290947006 153 Blanding Blvd, Orange Park, FL 32073             Carlos Monsalve                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2020 VA 2-206-224              6/4/2020                   4/7/2020               7/24/2020
 290582597 1205 Warren Ave, Cherry Hill, NJ 08002               Carmen Gerace                                                                 CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/3/2020 VA 2-206-222              6/4/2020                   4/3/2020               7/13/2020
 291727221 235 Lincoln Rd, Miami Beach, FL 33139                Al Paris                                                                      CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2020 VA 2-206-280              6/4/2020                  4/13/2020               1/27/2021
 291471532 7541 W 119th St, Overland Park, KS 66213             Anya Ivantseva                                                                CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       4/10/2020 VA 2-206-243              6/4/2020                  4/10/2020               4/12/2021
 293367926 14201-14215 Metcalf Ave, Overland Park, KS 66223     Anya Ivantseva                                                                CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       4/28/2020 VA 2-206-244              6/4/2020                  4/28/2020               6/12/2021
 294583438 533-535 N Mur-Len Rd, Olathe, KS 66062               Anya Ivantseva                                                                CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951        5/7/2020 VA 2-206-244              6/4/2020                   5/7/2020                7/6/2020
 295721661 102-228 Astro Shopping Ctr, Newark, DE 19711         Bill Marrs                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/15/2020 VA 2-206-231              6/4/2020                  5/15/2020               7/14/2020
 291070874 3127 Washington Pike, Bridgeville, PA 15017          Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827        4/8/2020 VA 2-206-248              6/4/2020                   4/8/2020                7/5/2020
 291070879 3127 Washington Pike, Bridgeville, PA 15017          Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827        4/8/2020 VA 2-206-248              6/4/2020                   4/8/2020                7/5/2020
 291070893 3127 Washington Pike, Bridgeville, PA 15017          Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827        4/8/2020 VA 2-206-248              6/4/2020                   4/8/2020               7/11/2020
 291070896 3127 Washington Pike, Bridgeville, PA 15017          Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827        4/8/2020 VA 2-206-248              6/4/2020                   4/8/2020               7/31/2020
 291075572 400 Holiday Dr, Pittsburgh, PA 15220                 Anna Dukovich                                                                 CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827        4/8/2020 VA 2-206-248              6/4/2020                   4/8/2020               7/31/2020
 290540718 9159-9173 Atlee Rd, Mechanicsville, VA 23116         Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/3/2020 VA 2-206-273              6/4/2020                   4/3/2020                7/5/2020
 290967934 11740 W Broad St, Richmond, VA 23233                 Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/7/2020 VA 2-206-273              6/4/2020                   4/7/2020                2/6/2021
 291055632 10487 Lakeridge Pky, Ashland, VA 23005               Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        4/8/2020 VA 2-206-273              6/4/2020                   4/8/2020              10/28/2020
 291717900 220 Hull St, Richmond, VA 23224                      Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/13/2020 VA 2-206-273              6/4/2020                  4/13/2020                7/6/2020
 291717947 220 Hull St, Richmond, VA 23224                      Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/13/2020 VA 2-206-273              6/4/2020                  4/13/2020               7/10/2020
 291717982 220 Hull St, Richmond, VA 23224                      Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/13/2020 VA 2-206-273              6/4/2020                  4/13/2020               7/13/2020
 292851811 215 W 7th St, Richmond, VA 23224                     Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2020 VA 2-206-273              6/4/2020                  4/23/2020                7/8/2020
 292852267 215 W 7th St, Richmond, VA 23224                     Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2020 VA 2-206-273              6/4/2020                  4/23/2020                7/5/2020
 292852532 212-217 W 6th St, Richmond, VA 23224                 Alicia Helm                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2020 VA 2-206-273              6/4/2020                  4/23/2020               7/11/2020
 291092607 1055 Auraria Pkwy, Denver, CO 80204                  Alex Dickerson                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        4/8/2020 VA 2-206-276              6/4/2020                   4/8/2020               12/8/2020
 292615278 789 Sherman St, Denver, CO 80203                     Alex Dickerson                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/21/2020 VA 2-206-276              6/4/2020                  4/21/2020                7/7/2020
 293381032 3915 E Exposition Ave, Denver, CO 80209              Alex Dickerson                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/28/2020 VA 2-206-276              6/4/2020                  4/28/2020               7/11/2020
 293381033 3915 E Exposition Ave, Denver, CO 80209              Alex Dickerson                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/28/2020 VA 2-206-276              6/4/2020                  4/28/2020                7/7/2020
 293381034 3915 E Exposition Ave, Denver, CO 80209              Alex Dickerson                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/28/2020 VA 2-206-276              6/4/2020                  4/28/2020                7/6/2020
 292052957 2416 Connecticut Ave, Kenner, LA 70062               Andrew Williams                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/16/2020 VA 2-206-251              6/4/2020                  4/16/2020               7/12/2020
 292052968 2416 Connecticut Ave, Kenner, LA 70062               Andrew Williams                                                               CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/16/2020 VA 2-206-251              6/4/2020                  4/16/2020               7/13/2020
 291723722 2001 N Willow Ave, Broken Arrow, OK 74012            Benjamin Stephens                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/13/2020 VA 2-206-232              6/4/2020                  4/13/2020               7/11/2020
 292001124 8240-8290 E 41st St, Tulsa, OK 74145                 Benjamin Stephens                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/15/2020 VA 2-206-232              6/4/2020                  4/15/2020               7/10/2020
 293654244 5437-5445 S 99th Ave, Tulsa, OK 74146                Benjamin Stephens                                                             CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2020 VA 2-206-232              6/4/2020                  4/30/2020              11/14/2020
 290418888 20 Pondmeadow Dr, Reading, MA 01867                  Bret Osswald                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        4/2/2020 VA 2-206-238              6/4/2020                   4/2/2020               6/12/2021
 291065978 330 Lynnway, Lynn, MA 01901                          Bret Osswald                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        4/8/2020 VA 2-206-238              6/4/2020                   4/8/2020               7/12/2020
 293252236 12655 N Central Expy, Dallas, TX 75243               Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/27/2020 VA 2-206-247              6/4/2020                  4/27/2020               7/15/2020
 293612091 5949 Sherry Ln, Dallas, TX 75225                     Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2020 VA 2-206-247              6/4/2020                  4/30/2020               7/15/2020
 295300422 16479 Dallas Pky, Addison, TX 75001                  Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/12/2020 VA 2-206-247              6/4/2020                  5/12/2020               7/11/2020
 295300429 16479 Dallas Pky, Addison, TX 75001                  Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/12/2020 VA 2-206-247              6/4/2020                  5/12/2020                7/7/2020
 295300431 16479 Dallas Pky, Addison, TX 75001                  Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/12/2020 VA 2-206-247              6/4/2020                  5/12/2020               7/11/2020
 295303044 6010 W Spring Creek Pky, Plano, TX 75024             Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/12/2020 VA 2-206-247              6/4/2020                  5/12/2020               5/19/2021
 295715221 33 Boston Post Rd W, Marlborough, MA 01752           Bret Osswald                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       5/15/2020 VA 2-206-227              6/4/2020                  5/15/2020                7/8/2020
 295731167 5855 Preston Rd, Frisco, TX 75034                    Anthony Frazier                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/15/2020 VA 2-206-247              6/4/2020                  5/15/2020               1/27/2021




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                                                                Case 2:20-cv-08819-CBM-AS                                          Document 950-1 Filed 10/25/24                                                                  Page 178 of 202
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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                               Image Address                   Photographer            Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 295733933 5855 Preston Rd, Frisco, TX 75034                      Anthony Frazier                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      5/15/2020 VA 2-206-247               6/4/2020                  5/15/2020              1/27/2021

 290934739 6723 S Flores St, San Antonio, TX 78221                Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        4/7/2020 VA 2-206-230              6/4/2020                   4/7/2020                6/6/2021

 293243382 4615-4651 Greatland Dr, San Antonio, TX 78218          Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       4/27/2020 VA 2-206-230              6/4/2020                  4/27/2020              10/14/2020

 293814149 610 Lanark Dr, San Antonio, TX 78218                   Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        5/1/2020 VA 2-206-230              6/4/2020                   5/1/2020               1/13/2021

 294149886 14675 Interstate 35 N, Selma, TX 78154                 Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        5/5/2020 VA 2-206-230              6/4/2020                   5/5/2020               7/11/2020

 294149935 14675 Interstate 35 N, Selma, TX 78154                 Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        5/5/2020 VA 2-206-230              6/4/2020                   5/5/2020               7/12/2020

 295456186 2611 N Loop 1604 W, San Antonio, TX 78258              Blake Bowden                                                                    CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       5/13/2020 VA 2-206-230              6/4/2020                  5/13/2020                8/2/2020
 290289937 333 SE 2nd Ave, Miami, FL 33131                        Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/1/2020 VA 2-206-225              6/4/2020                   4/1/2020               7/11/2020
 290315990 40 SW 13th St, Miami, FL 33130                         Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/1/2020 VA 2-206-225              6/4/2020                   4/1/2020              10/22/2020

 290568373 7525 SE 24th St, Mercer Island, WA 98040               Anthony Harle                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786        4/3/2020 VA 2-206-245              6/4/2020                   4/3/2020              10/13/2020
 292488368 600 Brickell Ave, Miami, FL 33131                      Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/20/2020 VA 2-206-225              6/4/2020                  4/20/2020                7/9/2020
 292489185 600 Brickell Ave, Miami, FL 33131                      Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/20/2020 VA 2-206-225              6/4/2020                  4/20/2020               7/12/2020
 292489195 600 Brickell Ave, Miami, FL 33131                      Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/20/2020 VA 2-206-225              6/4/2020                  4/20/2020                7/5/2020
 292976634 19790 W Dixie Hwy, Aventura, FL 33180                  Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-206-225              6/4/2020                  4/24/2020                7/6/2020
 292976640 19790 W Dixie Hwy, Aventura, FL 33180                  Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-206-225              6/4/2020                  4/24/2020               7/11/2020
 293607529 2400 NW 95th Ave, Doral, FL 33172                      Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/30/2020 VA 2-206-225              6/4/2020                  4/30/2020               1/18/2021
 293607534 2400 NW 95th Ave, Doral, FL 33172                      Brian Sokolowski                                                                CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/30/2020 VA 2-206-225              6/4/2020                  4/30/2020               1/18/2021
 290457079 12031-12237 US Highway 19, Bayonet Point, FL 34667     Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2020 VA 2-207-738              6/9/2020                   4/2/2020               3/30/2021
 290459986 10330 N Dale Mabry Hwy, Tampa, FL 33618                James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/2/2020 VA 2-207-544              6/9/2020                   4/2/2020              11/21/2020
 291049869 5404 Hoover Blvd, Tampa, FL 33634                      James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2020 VA 2-207-545              6/9/2020                   4/8/2020               7/13/2020
 291049946 5404 Hoover Blvd, Tampa, FL 33634                      James Petrylka                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2020 VA 2-207-545              6/9/2020                   4/8/2020               7/13/2020
 292459894 200 New Hartford Rd, Winsted, CT 06098                 Ed Messenger                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/20/2020 VA 2-207-641              6/9/2020                  4/20/2020               7/10/2020
 293646512 15499 N Dale Mabry Hwy, Tampa, FL 33618                Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/30/2020 VA 2-207-707              6/9/2020                  4/30/2020               7/13/2020
 293726513 2643 Narnia Way, Land O Lakes, FL 34638                Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2020 VA 2-207-707              6/9/2020                   5/1/2020               6/29/2021
 294707960 20301-20309 Bruce B. Downs Blvd, Tampa, FL 33647       Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/8/2020 VA 2-207-707              6/9/2020                   5/8/2020                7/5/2020
 294987683 16110-16122 N Florida Ave, Lutz, FL 33549              Clint Bliss                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/11/2020 VA 2-207-707              6/9/2020                  5/11/2020               1/23/2021
 290953819 1001 25th Ave, Phenix City, AL 36869                   Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2020 VA 2-207-550              6/9/2020                   4/7/2020                7/7/2020
 290953866 1001 25th Ave, Phenix City, AL 36869                   Isaiah Buchanan                                                                 CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/7/2020 VA 2-207-550              6/9/2020                   4/7/2020               7/12/2020
 294988657 5627 NW 86th St, Johnston, IA 50131                    Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/11/2020 VA 2-207-650              6/9/2020                  5/11/2020                7/7/2020
 295211078 5619 NW 86th St, Johnston, IA 50131                    Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/12/2020 VA 2-207-650              6/9/2020                  5/12/2020               7/13/2020
 295211105 5619 NW 86th St, Johnston, IA 50131                    Drew Davis                                                                      CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/12/2020 VA 2-207-650              6/9/2020                  5/12/2020                7/7/2020
 290566145 3020 S Miami Blvd, Durham, NC 27703                    Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/3/2020 VA 2-207-635              6/9/2020                   4/3/2020                7/9/2020
 291087241 2301 Robeson St, Fayetteville, NC 28305                Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2020 VA 2-207-639              6/9/2020                   4/8/2020                3/8/2021
 293512381 4600 Emperor Blvd, Durham, NC 27703                    Emily Bealmear                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/29/2020 VA 2-207-639              6/9/2020                  4/29/2020               10/9/2020
 290287632 1500 S Powerline Rd, Deerfield Beach, FL 33442         Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/1/2020 VA 2-207-555              6/9/2020                   4/1/2020               11/7/2020
 292817124 2000 E Sample Rd, Lighthouse Point, FL 33064           Giovanny Lopez                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/23/2020 VA 2-207-555              6/9/2020                  4/23/2020                7/5/2020
 291096836 1301 Basswood Rd, Schaumburg, IL 60173                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/8/2020 VA 2-207-556              6/9/2020                   4/8/2020               7/13/2020
 291096846 1301 Basswood Rd, Schaumburg, IL 60173                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/8/2020 VA 2-207-556              6/9/2020                   4/8/2020               7/11/2020
 291096850 1301 Basswood Rd, Schaumburg, IL 60173                 Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/8/2020 VA 2-207-556              6/9/2020                   4/8/2020               7/12/2020
 292188958 3401-3411 Commercial Ave, Northbrook, IL 60062         Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/17/2020 VA 2-207-556              6/9/2020                  4/17/2020               7/14/2020
 292606737 1215 Karl Ct, Wauconda, IL 60084                       Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/21/2020 VA 2-207-563              6/9/2020                  4/21/2020               7/13/2020
 294967877 2515 S Chicago St, Joliet, IL 60436                    Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/11/2020 VA 2-207-563              6/9/2020                  5/11/2020               7/20/2020
 294967886 2515 S Chicago St, Joliet, IL 60436                    Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/11/2020 VA 2-207-563              6/9/2020                  5/11/2020               7/20/2020
 294967890 2515 S Chicago St, Joliet, IL 60436                    Gian Lorenzo Ferretti                                                           CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/11/2020 VA 2-207-563              6/9/2020                  5/11/2020               7/20/2020
 291506146 1855 Griffin Rd, Dania Beach, FL 33004                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020               7/13/2020
 291506155 1855 Griffin Rd, Dania Beach, FL 33004                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020               7/11/2020
 291506255 1855 Griffin Rd, Dania Beach, FL 33004                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020               7/11/2020
 291506262 1855 Griffin Rd, Dania Beach, FL 33004                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020               7/11/2020
 291506267 1855 Griffin Rd, Dania Beach, FL 33004                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020                7/5/2020
 291507594 1700 N Dixie Hwy, Boca Raton, FL 33432                 Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-549              6/9/2020                  4/10/2020              12/26/2020
 292980237 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/10/2020
 292980275 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/11/2020
 292980306 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/11/2020
 292980330 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020                7/6/2020
 292980339 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020                7/8/2020
 292980348 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/11/2020
 292980472 200 Lake Ave, Lake Worth, FL 33460                     Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/10/2020
 293015859 3800 S Ocean Dr, Hollywood, FL 33019                   Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/24/2020 VA 2-207-549              6/9/2020                  4/24/2020               7/11/2020
 294733631 3700-3724 N Ocean Blvd, Fort Lauderdale, FL 33308      Jack Cook                                                                       CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        5/8/2020 VA 2-207-549              6/9/2020                   5/8/2020               7/12/2021
 293246828 4414 S Florida Ct, Lakeland, FL 33813                  Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/27/2020 VA 2-208-333             6/10/2020                  4/27/2020                7/8/2020
 293246834 4414 S Florida Ct, Lakeland, FL 33813                  Jeffery Palmer                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/27/2020 VA 2-208-333             6/10/2020                  4/27/2020               7/13/2020

 292714194 3500 Depauw Blvd, Indianapolis, IN 46268               Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/22/2020 VA 2-208-357             6/10/2020                  4/22/2020                5/7/2021

 293491936 7430 N Shadeland Ave, Indianapolis, IN 46250           Jason Koenig                                                                    CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/29/2020 VA 2-208-357             6/10/2020                  4/29/2020              11/18/2020
 290348118 2810 N Swan Rd, Tucson, AZ 85712                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/1/2020 VA 2-208-148             6/10/2020                   4/1/2020               8/11/2020
 290348183 2810 N Swan Rd, Tucson, AZ 85712                       Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/1/2020 VA 2-208-148             6/10/2020                   4/1/2020               8/11/2020
 290839847 2211 N Elston Ave, Chicago, IL 60614                   Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        4/6/2020 VA 2-208-193             6/10/2020                   4/6/2020               6/22/2021
 290957749 2126-2130 W Belmont Ave, Chicago, IL 60618             Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977        4/7/2020 VA 2-208-193             6/10/2020                   4/7/2020                7/7/2020
 291388717 2 E Congress St, Tucson, AZ 85701                      Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/9/2020 VA 2-208-570             6/10/2020                   4/9/2020               7/13/2020
 291808732 1804-1808 N Damen, Chicago, IL 60647                   Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/14/2020 VA 2-208-193             6/10/2020                  4/14/2020               7/10/2020
 291808763 1804-1808 N Damen, Chicago, IL 60647                   Jonathan Fairfield                                                              CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       4/14/2020 VA 2-208-193             6/10/2020                  4/14/2020               7/12/2020
 291990789 2099 E River Rd, Tucson, AZ 85718                      Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/15/2020 VA 2-208-570             6/10/2020                  4/15/2020                5/6/2021




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Attachment                                                                              Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                              Image Address                     Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 294742057 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020               7/7/2020
 294742302 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/11/2020
 294742469 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/13/2020
 294742668 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020               7/6/2020
 294742984 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020               7/8/2020
 294744117 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/10/2020
 294744448 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/11/2020
 294744646 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/11/2020
 294745056 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020              7/11/2020
 294745721 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020               7/5/2020
 294745750 4273 S Highway 92, Sierra Vista, AZ 85650            Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404       5/8/2020 VA 2-208-570              6/10/2020                   5/8/2020               7/6/2020
 295295686 2 E Navajo Rd, Tucson, AZ 85705                      Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/12/2020 VA 2-208-570              6/10/2020                  5/12/2020               7/8/2020
 295296991 2 E Navajo Rd, Tucson, AZ 85705                      Kristen Rademacher                                                              CoStar Group             750 N Saint Paul St, Dallas, TX 75201                  8882267404      5/12/2020 VA 2-208-570              6/10/2020                  5/12/2020               7/5/2020
 292200265 282 N Walnut St, Bath, PA 18014                      Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/17/2020 VA 2-208-231              6/10/2020                  4/17/2020              8/11/2020
 292200268 282 N Walnut St, Bath, PA 18014                      Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/17/2020 VA 2-208-231              6/10/2020                  4/17/2020               8/9/2020
 292200280 282 N Walnut St, Bath, PA 18014                      Jim Rider                                                                       CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/17/2020 VA 2-208-231              6/10/2020                  4/17/2020               8/9/2020
 293265659 107 Hampton Rd, Clearwater, FL 33759                 Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548      4/27/2020 VA 2-208-090              6/10/2020                  4/27/2020              7/10/2020
 294425746 1110 Overcash Dr, Dunedin, FL 34698                  Leila Sally                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                    8558833548       5/6/2020 VA 2-208-090              6/10/2020                   5/6/2020               7/8/2020
 290952029 8031 Ortonville Rd, Clarkston, MI 48348              Kimberly Wooster                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300       4/7/2020 VA 2-208-151              6/10/2020                   4/7/2020               3/8/2021
 292736606 7704 E 38th St, Tulsa, OK 74145                      Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      4/22/2020 VA 2-208-161              6/10/2020                  4/22/2020              7/24/2020
 292736630 7704 E 38th St, Tulsa, OK 74145                      Justin Prokop                                                                   CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      4/22/2020 VA 2-208-161              6/10/2020                  4/22/2020              7/24/2020

 293337811 9550 W Van Buren St, Tolleson, AZ 85353              John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       4/28/2020 VA 2-208-195             6/10/2020                  4/28/2020                7/5/2020

 293338029 9550 W Van Buren St, Tolleson, AZ 85353              John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       4/28/2020 VA 2-208-195             6/10/2020                  4/28/2020                7/8/2020

 293339322 2-52 E Camelback Rd, Phoenix, AZ 85012               John Williams                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       4/28/2020 VA 2-208-195             6/10/2020                  4/28/2020               12/1/2020
 291332916 5601-5671 S Orange Ave, Orlando, FL 32809            Marc Vaughn                                                                     CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        4/9/2020 VA 2-208-081             6/10/2020                   4/9/2020               11/2/2020
 290533595 200 Metro Blvd, Nutley, NJ 07110                     Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        4/3/2020 VA 2-208-186             6/10/2020                   4/3/2020               7/10/2020
 290583168 2 Sylvan Way, Parsippany, NJ 07054                   Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        4/3/2020 VA 2-208-186             6/10/2020                   4/3/2020              12/26/2020
 292203422 675 Central Ave, Murray Hill, NJ 07974               Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       4/17/2020 VA 2-208-187             6/10/2020                  4/17/2020               7/11/2020
 292907938 15 E Midland Ave, Paramus, NJ 07652                  Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       4/23/2020 VA 2-208-187             6/10/2020                  4/23/2020               7/12/2020
 294461770 1 Passaic St, Wood Ridge, NJ 07075                   Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        5/7/2020 VA 2-208-187             6/10/2020                   5/7/2020               7/11/2020
 294581093 6 Vreeland Rd, Florham Park, NJ 07932                Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        5/7/2020 VA 2-208-187             6/10/2020                   5/7/2020                7/5/2020
 294618099 14 Walsh Dr, Parsippany, NJ 07054                    Joseph DiBlasi                                                                  CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        5/7/2020 VA 2-208-187             6/10/2020                   5/7/2020               7/11/2020
 290967774 2907 Shelter Island Dr, San Diego, CA 92106          Michael Hirsch                                                                  CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        4/7/2020 VA 2-208-069             6/12/2020                   4/7/2020               4/27/2021
 292817197 3700 Falls Rd, Baltimore, MD 21211                   Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2020 VA 2-207-923             6/15/2020                  4/23/2020              11/26/2020
 292817204 3700 Falls Rd, Baltimore, MD 21211                   Pia Miai                                                                        CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       4/23/2020 VA 2-207-923             6/15/2020                  4/23/2020              11/26/2020

 293013236 371-528 Maier Pl, Columbus, OH 43215                 Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/24/2020 VA 2-207-875             6/15/2020                  4/24/2020               7/13/2020

 293013289 371-528 Maier Pl, Columbus, OH 43215                 Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/24/2020 VA 2-207-875             6/15/2020                  4/24/2020               7/13/2020

 293013302 371-528 Maier Pl, Columbus, OH 43215                 Sam Blythe                                                                      CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       4/24/2020 VA 2-207-875             6/15/2020                  4/24/2020               7/11/2020
 293817582 902 N Circle Dr, Colorado Springs, CO 80909          Stacey Rocero                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        5/1/2020 VA 2-207-627             6/15/2020                   5/1/2020                7/6/2020
 291283837 8751 Collin McKinney Pky, McKinney, TX 75070         Robert Beary                                                                    CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404        4/9/2020 VA 2-207-885             6/15/2020                   4/9/2020                1/2/2021
 291287410 7345 Davis Blvd, Naples, FL 34104                    Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        4/9/2020 VA 2-207-889             6/15/2020                   4/9/2020               7/11/2020
 291848495 11281 Tamiami Trl E, Naples, FL 34113                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/14/2020 VA 2-207-889             6/15/2020                  4/14/2020               7/13/2020
 291848528 11281 Tamiami Trl E, Naples, FL 34113                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/14/2020 VA 2-207-889             6/15/2020                  4/14/2020                7/5/2020
 292474466 3701-3755 Tamiami Trl E, Naples, FL 34112            Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/20/2020 VA 2-207-889             6/15/2020                  4/20/2020               2/12/2021
 292593322 4760 Tamiami Trl N, Naples, FL 34103                 Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/21/2020 VA 2-207-889             6/15/2020                  4/21/2020              10/12/2020
 293619861 4795 Enterprise Ave, Naples, FL 34104                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/30/2020 VA 2-207-889             6/15/2020                  4/30/2020              11/16/2020
 294280374 7050 Crystal Dr, Fort Myers, FL 33907                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/6/2020 VA 2-207-889             6/15/2020                   5/6/2020               7/20/2020
 294280404 7050 Crystal Dr, Fort Myers, FL 33907                Richard Grant                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/6/2020 VA 2-207-889             6/15/2020                   5/6/2020               7/20/2020
 293364853 19992 Kelly Rd, Harper Woods, MI 48225               Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       4/28/2020 VA 2-207-594             6/15/2020                  4/28/2020              10/14/2020
 294175721 37980-38000 Ann Arbor Rd, Livonia, MI 48150          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/5/2020 VA 2-207-594             6/15/2020                   5/5/2020                7/8/2020
 294175742 37980-38000 Ann Arbor Rd, Livonia, MI 48150          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/5/2020 VA 2-207-594             6/15/2020                   5/5/2020                7/5/2020
 294175758 37980-38000 Ann Arbor Rd, Livonia, MI 48150          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/5/2020 VA 2-207-594             6/15/2020                   5/5/2020               7/13/2020
 294175790 37980-38000 Ann Arbor Rd, Livonia, MI 48150          Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/5/2020 VA 2-207-594             6/15/2020                   5/5/2020               7/13/2020
 295419064 30325 6 Mile Rd, Livonia, MI 48154                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/13/2020 VA 2-207-594             6/15/2020                  5/13/2020                8/1/2020
 295419086 30325 6 Mile Rd, Livonia, MI 48154                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/13/2020 VA 2-207-594             6/15/2020                  5/13/2020                8/1/2020
 295419108 30325 6 Mile Rd, Livonia, MI 48154                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/13/2020 VA 2-207-594             6/15/2020                  5/13/2020                8/1/2020
 295419117 30325 6 Mile Rd, Livonia, MI 48154                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/13/2020 VA 2-207-594             6/15/2020                  5/13/2020                8/1/2020
 295419596 30325 6 Mile Rd, Livonia, MI 48154                   Trisha Everitt                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/13/2020 VA 2-207-594             6/15/2020                  5/13/2020                8/1/2020

 293627868 5950 Fairview Rd, Charlotte, NC 28210                Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/30/2020 VA 2-207-880             6/15/2020                  4/30/2020                7/7/2020

 294137121 2452 Park Rd, Charlotte, NC 28203                    Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        5/5/2020 VA 2-207-880             6/15/2020                   5/5/2020               7/31/2020

 295219016 10700 Kettering Dr, Charlotte, NC 28226              Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/12/2020 VA 2-207-880             6/15/2020                  5/12/2020                3/8/2021

 295462529 8801 JM Keynes Dr, Charlotte, NC 28262               Ryan Gwilliam                                                                   CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/13/2020 VA 2-207-880             6/15/2020                  5/13/2020                7/6/2020
 292256855 7444 E Hampton Ave, Mesa, AZ 85209                   Tim Nelson                                                                      CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       4/17/2020 VA 2-207-607             6/15/2020                  4/17/2020              11/26/2020
 291847699 7810 Ballantyne Commons Pky, Charlotte, NC 28277     Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/14/2020 VA 2-207-964             6/15/2020                  4/14/2020               7/13/2020
 292580614 8000 Corporate Center Dr, Charlotte, NC 28226        Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/21/2020 VA 2-207-964             6/15/2020                  4/21/2020                7/6/2020
 292714805 340-342 Crompton St, Charlotte, NC 28273             Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       4/22/2020 VA 2-207-964             6/15/2020                  4/22/2020               10/1/2020
 294682005 110 E John St, Matthews, NC 28105                    Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/8/2020 VA 2-207-964             6/15/2020                   5/8/2020              11/14/2020
 294682911 10100 Sardis Crossing Dr, Charlotte, NC 28270        Paul Bentley                                                                    CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        5/8/2020 VA 2-207-964             6/15/2020                   5/8/2020               7/24/2020
 292992922 17600-17680 W Valley Hwy, Tukwila, WA 98188          Perry Cucinotta                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       4/24/2020 VA 2-207-930             6/15/2020                  4/24/2020              12/26/2020
 291052739 19315 W Catawba Ave, Cornelius, NC 28031             Scott Brotherton                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        4/8/2020 VA 2-207-818             6/15/2020                   4/8/2020               1/13/2021




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Attachment                                                                                Photographer - Last Known   Photographer - Last Known                                                                      Last Known - Employer     Photograph      Copyright        Copyright         Available to Appear on
 MasterID                             Image Address                        Photographer         Email Address              Phone Number            Last Known - Employer         Last Known - Employer Address           Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 291851628 614 Brawley School Rd, Mooresville, NC 28117            Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                     3012158300      4/14/2020 VA 2-207-818              6/15/2020                  4/14/2020              2/16/2021
 292189995 1545 Ring Rd, Chesapeake, VA 23320                      Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2020 VA 2-207-612              6/15/2020                  4/17/2020              7/13/2020
 292190021 1545 Ring Rd, Chesapeake, VA 23320                      Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      4/17/2020 VA 2-207-612              6/15/2020                  4/17/2020               7/8/2020
 295459280 8120 Woodmont Ave, Bethesda, MD 20814                   Tyler Priola                                                                   CoStar Group             1331 L St NW, Washington, DC 20005                     2023466500      5/13/2020 VA 2-207-584              6/15/2020                  5/13/2020              7/31/2020

 290797105 6250 Westpark Dr, Houston, TX 77057                     Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        4/6/2020 VA 2-207-620             6/15/2020                   4/6/2020               11/9/2020

 293014197 500 Morris Oliver Way, Katy, TX 77494                   Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       4/24/2020 VA 2-207-620             6/15/2020                  4/24/2020               11/7/2020
 291388646 7700 W Highway 71, Austin, TX 78735                     Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        4/9/2020 VA 2-207-572             6/15/2020                   4/9/2020                2/8/2021
 294584269 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/10/2020
 294584289 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/12/2020
 294584298 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/13/2020
 294584361 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/12/2020
 294584372 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/13/2020
 294584456 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020                7/9/2020
 294584530 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/10/2020
 294584601 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020               7/11/2020
 294584617 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020                7/8/2020
 294584694 4853 Williams Dr, Georgetown, TX 78633                  Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        5/7/2020 VA 2-207-572             6/15/2020                   5/7/2020                7/5/2020
 291467560 225 E Mason St, Milwaukee, WI 53202                     Richard Ebbers                                                                 CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-890             6/15/2020                  4/10/2020                7/8/2020
 291467651 225 E Mason St, Milwaukee, WI 53202                     Richard Ebbers                                                                 CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/10/2020 VA 2-207-890             6/15/2020                  4/10/2020                7/8/2020
 292909684 2560 Gulf to Bay Blvd, Clearwater, FL 33765             Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/23/2020 VA 2-211-385             6/25/2020                  4/23/2020                7/6/2020
 293265310 2730 N McMullen Booth Rd, Clearwater, FL 33761          Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/27/2020 VA 2-211-385             6/25/2020                  4/27/2020                7/9/2020
 293665932 1499 Gulf to Bay Blvd, Clearwater, FL 33755             Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       4/30/2020 VA 2-211-385             6/25/2020                  4/30/2020                7/6/2020
 294425704 1110 Overcash Dr, Dunedin, FL 34698                     Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        5/6/2020 VA 2-211-385             6/25/2020                   5/6/2020                7/8/2020
 294425728 1110 Overcash Dr, Dunedin, FL 34698                     Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        5/6/2020 VA 2-211-385             6/25/2020                   5/6/2020               7/11/2020
 299108879 204 Muirs Chapel Rd, Greensboro, NC 27410               Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/10/2020 VA 2-213-465             7/28/2020                  6/10/2020              10/17/2020
 299109132 204 Muirs Chapel Rd, Greensboro, NC 27410               Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/10/2020 VA 2-213-465             7/28/2020                  6/10/2020              10/17/2020
 300916524 1166-1168 Burke St, Winston-Salem, NC 27101             Charlotte Alvey                                                                CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/23/2020 VA 2-213-465             7/28/2020                  6/23/2020               2/21/2021
 297979631 2035 College Ave, Jackson, AL 36545                     Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2020 VA 2-213-742             7/28/2020                   6/2/2020                7/6/2020
 297979767 2035 College Ave, Jackson, AL 36545                     Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2020 VA 2-213-742             7/28/2020                   6/2/2020               7/12/2020
 297980811 33775 Highway 43, Thomasville, AL 36784                 Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2020 VA 2-213-742             7/28/2020                   6/2/2020               7/12/2020
 297980851 33775 Highway 43, Thomasville, AL 36784                 Brian Falacienski                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300        6/2/2020 VA 2-213-742             7/28/2020                   6/2/2020               7/12/2020
 298169239 416 W Delilah Rd, Pleasantville, NJ 08232               Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/3/2020 VA 2-213-466             7/28/2020                   6/3/2020              12/20/2020
 301071753 143 Harding Ave, Bellmawr, NJ 08031                     Carmen Gerace                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/24/2020 VA 2-213-466             7/28/2020                  6/24/2020              12/13/2020
 301119864 6201 Johnson Dr, Mission, KS 66202                      Anya Ivantseva                                                                 CoStar Group             4801 Main St, Kansas City, MO 64112                   8448195951       6/24/2020 VA 2-213-817             7/28/2020                  6/24/2020               4/12/2021
 301691384 7840 Roswell Rd, Sandy Springs, GA 30350                Adrienne Tann                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/29/2020 VA 2-214-010             7/28/2020                  6/29/2020              11/14/2020
 296095317 750 Holiday Dr, Pittsburgh, PA 15220                    Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/19/2020 VA 2-213-827             7/28/2020                  5/19/2020               7/31/2020
 296098535 121 Champion Way, Canonsburg, PA 15317                  Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/19/2020 VA 2-213-827             7/28/2020                  5/19/2020                7/6/2020
 296098537 121 Champion Way, Canonsburg, PA 15317                  Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/19/2020 VA 2-213-827             7/28/2020                  5/19/2020                7/5/2020
 296098539 121 Champion Way, Canonsburg, PA 15317                  Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/19/2020 VA 2-213-827             7/28/2020                  5/19/2020               7/11/2020
 296191123 3127 Washington Pike, Bridgeville, PA 15017             Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/20/2020 VA 2-213-827             7/28/2020                  5/20/2020               7/12/2020
 296191129 3127 Washington Pike, Bridgeville, PA 15017             Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/20/2020 VA 2-213-827             7/28/2020                  5/20/2020               7/13/2020
 296191136 3127 Washington Pike, Bridgeville, PA 15017             Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/20/2020 VA 2-213-827             7/28/2020                  5/20/2020               7/11/2020
 297493343 20397 Route 19 N, Cranberry Township, PA 16066          Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       5/29/2020 VA 2-213-827             7/28/2020                  5/29/2020               7/15/2020
 299139479 225 N Shore Dr, Pittsburgh, PA 15212                    Anna Dukovich                                                                  CoStar Group             1 PPG Pl, Pittsburgh, PA 15222                        8554096827       6/10/2020 VA 2-213-827             7/28/2020                  6/10/2020               7/31/2020
 296713828 1090-1092 Virginia Center Pky, Glen Allen, VA 23059     Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/22/2020 VA 2-213-994             7/28/2020                  5/22/2020               7/15/2020
 296713831 1090-1092 Virginia Center Pky, Glen Allen, VA 23059     Alicia Helm                                                                    CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       5/22/2020 VA 2-213-994             7/28/2020                  5/22/2020               7/15/2020
 301125777 7712 S Yale Ave, Tulsa, OK 74136                        Benjamin Stephens                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2020 VA 2-213-665             7/28/2020                  6/24/2020              11/27/2020
 296469023 600 Broadway, Saugus, MA 01906                          Bret Osswald                                                                   CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       5/21/2020 VA 2-213-744             7/28/2020                  5/21/2020               7/13/2020
 300501657 210 E 7th St, Fort Worth, TX 76102                      Anthony Frazier                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2020 VA 2-213-824             7/28/2020                  6/19/2020                8/8/2020
 300502560 210 E 7th St, Fort Worth, TX 76102                      Anthony Frazier                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/19/2020 VA 2-213-824             7/28/2020                  6/19/2020                8/8/2020
 301131009 210 E 7th St, Fort Worth, TX 76102                      Anthony Frazier                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2020 VA 2-213-824             7/28/2020                  6/24/2020                8/8/2020
 301131035 210 E 7th St, Fort Worth, TX 76102                      Anthony Frazier                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2020 VA 2-213-824             7/28/2020                  6/24/2020               8/12/2020

 295975515 3603 Paesanos Pky, San Antonio, TX 78231                Blake Bowden                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       5/18/2020 VA 2-213-770             7/28/2020                  5/18/2020              12/20/2020

 297256871 1946-1952 Shipman Dr, San Antonio, TX 78219             Blake Bowden                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       5/27/2020 VA 2-213-770             7/28/2020                  5/27/2020                4/2/2021

 297257845 1833-1889 Hormel Dr, San Antonio, TX 78219              Blake Bowden                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       5/27/2020 VA 2-213-770             7/28/2020                  5/27/2020                6/7/2021
 298765666 911 Hope St, Stamford, CT 06907                         Deawell Adair                                                                  CoStar Group             181 Bay St, Toronto, ON M5J 2                         4169457500        6/8/2020 VA 2-213-249             7/29/2020                   6/8/2020                7/8/2020
 295937462 2290 10th Ave N, Lake Worth, FL 33461                   Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/18/2020 VA 2-213-246             7/29/2020                  5/18/2020               7/31/2020
 295937482 2290 10th Ave N, Lake Worth, FL 33461                   Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/18/2020 VA 2-213-246             7/29/2020                  5/18/2020               7/31/2020
 295937486 2290 10th Ave N, Lake Worth, FL 33461                   Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/18/2020 VA 2-213-246             7/29/2020                  5/18/2020               7/31/2020
 295937492 2290 10th Ave N, Lake Worth, FL 33461                   Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/18/2020 VA 2-213-246             7/29/2020                  5/18/2020               7/31/2020
 295937501 2290 10th Ave N, Lake Worth, FL 33461                   Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/18/2020 VA 2-213-246             7/29/2020                  5/18/2020               7/31/2020
 296457402 40 SE 5th St, Boca Raton, FL 33432                      Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/21/2020 VA 2-213-246             7/29/2020                  5/21/2020               1/18/2021
 297716068 2825 N State Road 7, Margate, FL 33063                  Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/31/2020 VA 2-213-246             7/29/2020                  5/31/2020                7/8/2020
 297716070 2825 N State Road 7, Margate, FL 33063                  Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/31/2020 VA 2-213-246             7/29/2020                  5/31/2020               7/12/2020
 298194129 2900 Bristol St, Costa Mesa, CA 92626                   Eric Norton                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448        6/3/2020 VA 2-213-166             7/29/2020                   6/3/2020               3/23/2021
 299874058 3390 Rand Rd, South Plainfield, NJ 07080                James Hooker                                                                   CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       6/15/2020 VA 2-213-159             7/29/2020                  6/15/2020                1/7/2021
 301671995 146-148 W River St, Providence, RI 02904                Jonathan Coon                                                                  CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500       6/29/2020 VA 2-213-776             7/30/2020                  6/29/2020                8/8/2020
 298194580 500 N Rainbow Blvd, Las Vegas, NV 89107                 Jay Sanchez                                                                    CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        6/3/2020 VA 2-213-734             7/30/2020                   6/3/2020              12/20/2020
 297360984 6100 219th St SW, Mountlake Terrace, WA 98043           John Othic                                                                     CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       5/28/2020 VA 2-213-177             7/30/2020                  5/28/2020               3/30/2021
 301065460 918 E Grand River Ave, East Lansing, MI 48823           Kimberly Wooster                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       6/24/2020 VA 2-213-187             7/30/2020                  6/24/2020               1/23/2021
 296425481 2403 Main St, Santa Monica, CA 90405                    Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/20/2020 VA 2-213-172             7/30/2020                  5/20/2020               10/2/2020
 297020688 12555 Jefferson Blvd, Los Angeles, CA 90066             Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/25/2020 VA 2-213-172             7/30/2020                  5/25/2020                5/2/2021
 297713717 6300 Wilshire Blvd, Los Angeles, CA 90048               Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/31/2020 VA 2-213-172             7/30/2020                  5/31/2020                3/4/2021
 297714422 5900 Wilshire Blvd, Los Angeles, CA 90036               Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       5/31/2020 VA 2-213-172             7/30/2020                  5/31/2020               10/4/2020
 301629439 6859 Tujunga Ave, North Hollywood, CA 91605             Jeremiah Unruh                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       6/28/2020 VA 2-213-172             7/30/2020                  6/28/2020                8/9/2020




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 MasterID                             Image Address                            Photographer         Email Address              Phone Number            Last Known - Employer          Last Known - Employer Address          Phone Number             Date         Certificate   Registration Date         CoStar Dates          Found on CREXi Date
 297412060 7801 S Highway 51, Broken Arrow, OK 74014                   Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      5/28/2020 VA 2-213-194              7/30/2020                  5/28/2020              7/10/2020
 299572703 3535 NW 58th St, Oklahoma City, OK 73112                    Justin Prokop                                                                  CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                 3142966062      6/12/2020 VA 2-213-194              7/30/2020                  6/12/2020               5/2/2021

 301890772 2737 W Thunderbird Rd, Phoenix, AZ 85053                    John Williams                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       6/30/2020 VA 2-213-178             7/30/2020                  6/30/2020                5/9/2021
 297466284 800 Kinderkamack Rd, Oradell, NJ 07649                      Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                          6174433100       5/29/2020 VA 2-213-787             7/30/2020                  5/29/2020               7/13/2020
 298622139 300 Frank W Burr Blvd, Teaneck, NJ 07666                    Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        6/6/2020 VA 2-213-787             7/30/2020                   6/6/2020               7/13/2020
 298622297 300 Frank W Burr Blvd, Teaneck, NJ 07666                    Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        6/6/2020 VA 2-213-787             7/30/2020                   6/6/2020               7/13/2020
 296474006 263 Chapman Rd, Newark, DE 19702                            Korin Krossber                                                                 CoStar Group             2005 Market St, Philadelphia, PA 19103                8775835938       5/21/2020 VA 2-214-189             7/30/2020                  5/21/2020               11/7/2020
 297376789 9726 Touchton Rd, Jacksonville, FL 32246                    Lori Smith                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       5/28/2020 VA 2-213-571              8/5/2020                  5/28/2020                7/5/2020
 296118749 221 N Court St, Tucson, AZ 85701                            Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/19/2020 VA 2-213-582              8/5/2020                  5/19/2020                7/6/2020
 296118789 221 N Court St, Tucson, AZ 85701                            Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/19/2020 VA 2-213-582              8/5/2020                  5/19/2020                7/6/2020
 296118826 221 N Court St, Tucson, AZ 85701                            Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/19/2020 VA 2-213-582              8/5/2020                  5/19/2020                7/6/2020
 296118890 221 N Court St, Tucson, AZ 85701                            Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/19/2020 VA 2-213-582              8/5/2020                  5/19/2020                7/7/2020
 297260510 4625 E Grant Rd, Tucson, AZ 85712                           Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/27/2020 VA 2-213-585              8/5/2020                  5/27/2020                5/7/2021
 297260528 4625 E Grant Rd, Tucson, AZ 85712                           Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       5/27/2020 VA 2-213-585              8/5/2020                  5/27/2020                5/7/2021
 301857858 12708 Montana Ave, El Paso, TX 79938                        Kristen Rademacher                                                             CoStar Group             750 N Saint Paul St, Dallas, TX 75201                 8882267404       6/30/2020 VA 2-213-585              8/5/2020                  6/30/2020              11/21/2020
 297946871 460 Killian Rd, Columbia, SC 29203                          Paul Bentley                                                                   CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500        6/2/2020 VA 2-213-326              8/5/2020                   6/2/2020              11/21/2020
 296364194 403-485 Cortez Rd W, Bradenton, FL 34207                    Leila Sally                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/20/2020 VA 2-213-573              8/5/2020                  5/20/2020              10/15/2020
 298348901 5927-6013 E Virginia Beach Blvd, Norfolk, VA 23502          Theresa Jackson                                                                CoStar Group             1331 L St NW, Washington, DC 20005                    2023466500        6/4/2020 VA 2-213-264              8/5/2020                   6/4/2020              12/13/2020
 296121064 4914 Elm Springs Rd, Springdale, AR 72762                   Michael Denison                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/19/2020 VA 2-213-567              8/5/2020                  5/19/2020               7/14/2020
 296121139 4914 Elm Springs Rd, Springdale, AR 72762                   Michael Denison                                                                CoStar Group             1225 17th St, Denver, CO 80202                        3018921977       5/19/2020 VA 2-213-567              8/5/2020                  5/19/2020               7/14/2020

 295828732 1790 Hughes Landing Blvd, The Woodlands, TX 77380           Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       5/16/2020 VA 2-213-839              8/5/2020                  5/16/2020                7/9/2020
 298328857 3590 N Highway 17-92, Lake Mary, FL 32746                   Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        6/4/2020 VA 2-213-570              8/5/2020                   6/4/2020               7/19/2021
 298617871 205-277 Bellagio Cir, Sanford, FL 32771                     Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548        6/6/2020 VA 2-213-570              8/5/2020                   6/6/2020               1/13/2021
 301697122 7065 Westpointe Blvd, Orlando, FL 32835                     Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       6/29/2020 VA 2-213-570              8/5/2020                  6/29/2020                8/8/2020
 301697156 7065 Westpointe Blvd, Orlando, FL 32835                     Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       6/29/2020 VA 2-213-570              8/5/2020                  6/29/2020                8/9/2020
 301697203 7065 Westpointe Blvd, Orlando, FL 32835                     Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       6/29/2020 VA 2-213-570              8/5/2020                  6/29/2020                8/8/2020
 301697214 7065 Westpointe Blvd, Orlando, FL 32835                     Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       6/29/2020 VA 2-213-570              8/5/2020                  6/29/2020                8/9/2020
 301735477 13741 Danielson St, Poway, CA 92064                         Michael Hirsch                                                                 CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       6/29/2020 VA 2-213-565              8/5/2020                  6/29/2020               6/26/2021
 298371177 3851 Airport Blvd, Austin, TX 78722                         Lars Frazer                                                                    CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        6/4/2020 VA 2-213-581              8/5/2020                   6/4/2020              11/14/2020
 296696374 10501 W Research Dr, Milwaukee, WI 53226                    Richard Ebbers                                                                 CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       5/22/2020 VA 2-213-314              8/5/2020                  5/22/2020               7/13/2020
 299912561 1375 S Industrial Rd, Salt Lake City, UT 84104              Todd Cook                                                                      CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836       6/15/2020 VA 2-213-263              8/6/2020                  6/15/2020               11/8/2020
 300450321 4300 Washington Rd, Evans, GA 30809                         William Neary                                                                  CoStar Group             101 S Tryon St, Charlotte, NC 28280                   2023466500       6/19/2020 VA 2-213-253              8/6/2020                  6/19/2020               10/3/2020
 296695036 133 W Main St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/22/2020 VA 2-215-389              8/6/2020                  5/22/2020               7/10/2020
 296695136 133 W Main St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/22/2020 VA 2-215-389              8/6/2020                  5/22/2020               7/10/2020
 296695146 133 W Main St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/22/2020 VA 2-215-389              8/6/2020                  5/22/2020               7/12/2020
 297473337 455 E Cady St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/29/2020 VA 2-215-389              8/6/2020                  5/29/2020                7/7/2020
 297473356 455 E Cady St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/29/2020 VA 2-215-389              8/6/2020                  5/29/2020               7/11/2020
 297473377 455 E Cady St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/29/2020 VA 2-215-389              8/6/2020                  5/29/2020                7/5/2020
 297473417 455 E Cady St, Northville, MI 48167                         Trisha Everitt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062       5/29/2020 VA 2-215-389              8/6/2020                  5/29/2020               7/13/2020
 303770494 620 Peachtree St NE, Atlanta, GA 30308                      Adrienne Tann                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/14/2020 VA 2-216-207             9/10/2020                  7/14/2020               11/8/2020

 305809238 5718 University Heights Blvd, San Antonio, TX 78249         Blake Bowden                                                                   CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/30/2020 VA 2-217-792             9/15/2020                  7/30/2020               5/29/2021

 304026591 1964 Westwood Blvd, Los Angeles, CA 90025                   Chase Brock                                                                    CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/16/2020 VA 2-218-155             9/15/2020                  7/16/2020                1/7/2021

 304035861 9737-9797 Wilshire Blvd, Beverly Hills, CA 90212            Chase Brock                                                                    CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/16/2020 VA 2-218-155             9/15/2020                  7/16/2020               5/25/2021

 305920697 11150 W Olympic Blvd, Los Angeles, CA 90064                 Chase Brock                                                                    CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/31/2020 VA 2-218-155             9/15/2020                  7/31/2020               11/8/2020
 306319524 2126-2186 N Gettysburg Ave, Dayton, OH 45406                Holly Routzohn                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        8/4/2020 VA 2-218-350             9/16/2020                   8/4/2020               5/19/2021
 304161165 4699 N State Road 7, Tamarac, FL 33319                      Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/17/2020 VA 2-218-339             9/16/2020                  7/17/2020               2/27/2021
 304601209 345-477 NW Prima Vista Blvd, Port Saint Lucie, FL 34983     Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/21/2020 VA 2-218-339             9/16/2020                  7/21/2020              12/26/2020
 304601260 345-477 NW Prima Vista Blvd, Port Saint Lucie, FL 34983     Jack Cook                                                                      CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/21/2020 VA 2-218-339             9/16/2020                  7/21/2020              12/26/2020
 304764159 1500 Quail St, Newport Beach, CA 92660                      Eric Norton                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       7/22/2020 VA 2-216-437             9/16/2020                  7/22/2020               3/30/2021
 305648258 3333 Michelson Dr, Irvine, CA 92612                         Eric Norton                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       7/29/2020 VA 2-216-437             9/16/2020                  7/29/2020               5/29/2021
 305650711 3351 Michelson Dr, Irvine, CA 92612                         Eric Norton                                                                    CoStar Group             3161 Michelson Dr, Irvine, CA 92612                   9497527448       7/29/2020 VA 2-216-437             9/16/2020                  7/29/2020               5/29/2021
 301968278 250 Commerce Ave, Atwater, CA 95301                         John Bolling                                                                   CoStar Group             1301 2nd Ave, Seattle, WA 98101                       8443050836        7/1/2020 VA 2-218-000             9/17/2020                   7/1/2020               3/30/2021
 302133944 2545 W Diversey Ave, Chicago, IL 60647                      Justin Schmidt                                                                 CoStar Group             101 S Hanley Rd, Saint Louis, MO 63105                3142966062        7/2/2020 VA 2-217-992             9/17/2020                   7/2/2020                5/4/2021

 304199639 7350 E Evans Rd, Scottsdale, AZ 85260                       John Williams                                                                  CoStar Group             2325 E Camelback Rd, Phoenix, AZ 85016                8775121786       7/17/2020 VA 2-218-005             9/17/2020                  7/17/2020               10/3/2020
 306402266 180-188 Mount Airy Rd, Basking Ridge, NJ 07920              Joseph DiBlasi                                                                 CoStar Group             33 Arch St, Boston, MA 02110                          6174433100        8/4/2020 VA 2-217-996             9/17/2020                   8/4/2020              12/20/2020

 303816200 5740-5756 Stage Rd, Bartlett, TN 38134                      Mary Drost                                                                     CoStar Group             600 Superior Ave E, Cleveland, OH 44114               8882267404       7/14/2020 VA 2-217-839             9/18/2020                  7/14/2020                2/7/2021
 304599028 501 N Grandview Ave, Daytona Beach, FL 32118                Marc Vaughn                                                                    CoStar Group             101 E Kennedy Blvd, Tampa, FL 33602                   8558833548       7/21/2020 VA 2-217-849             9/18/2020                  7/21/2020                8/8/2020
 305823255 5755 Mark Dabling Blvd, Colorado Springs, CO 80919          Stacey Rocero                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                    3012158300       7/30/2020 VA 2-217-777             9/22/2020                  7/30/2020               2/21/2021

 302120195 1600 Williams St, Columbia, SC 29201                        Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        7/2/2020 VA 2-217-790             9/22/2020                   7/2/2020              10/12/2020

 302122378 807 Gervais St, Columbia, SC 29201                          Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368        7/2/2020 VA 2-217-790             9/22/2020                   7/2/2020               3/30/2021

 304187174 1501 Main St, Columbia, SC 29201                            Ryan Gwilliam                                                                  CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/17/2020 VA 2-217-790             9/22/2020                  7/17/2020               10/3/2020

 303889981 21212 Northwest Fwy, Cypress, TX 77429                      Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/15/2020 VA 2-217-768             9/22/2020                  7/15/2020               2/21/2021

 303891530 21216 Northwest Fwy, Houston, TX 77065                      Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/15/2020 VA 2-217-768             9/22/2020                  7/15/2020               2/21/2021

 303892529 8909 Jackrabbit Rd, Houston, TX 77095                       Steve Lee                                                                      CoStar Group             3438 Peachtree Rd NE, Atlanta, GA 30326               8886587368       7/15/2020 VA 2-217-768             9/22/2020                  7/15/2020               12/3/2020




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   7047939 Hwy 247, Yucca Valley, CA 92284                   Daniel Marquez                                                                 CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      9/26/2008 this information this information                    9/26/2008              6/18/2020

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 231450167 224 N Mission St, Sapulpa, OK 74066               Nick Branston                                                                  CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404      4/16/2019 this information this information                    4/16/2019              7/13/2020

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 291704934 18805 W Catawba Ave, Cornelius, NC 28031          Scott Brotherton                                                               CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/13/2020 this information this information                    4/13/2020              7/14/2020

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 110881693 321 Santa Monica Blvd, Santa Monica, CA 90401     Adam Davis                                                                     CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      3/23/2017 this information this information                    3/23/2017               5/3/2021

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  13862663 13200 Danielson St, Poway, CA 92064               Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404       8/5/2010 this information this information                     8/5/2010              6/23/2020

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  13862665 13200 Danielson St, Poway, CA 92064               Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404       8/5/2010 this information this information                     8/5/2010              6/17/2020

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  14052986 1910 Shadowridge Dr, Vista, CA 92081              Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404      8/30/2010 this information this information                    8/30/2010              8/12/2020

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  14053015 1920 Shadowridge Dr, Vista, CA 92081              Joerg Boetel                                                                   CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404      8/30/2010 this information this information                    8/30/2010              6/29/2020

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   3938100 4926 Six Oaks Dr, Tallahassee, FL 32303           David McCord                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300     12/26/2006 this information this information                   12/26/2006              6/18/2020

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   5209492 9203 Chancellor Row, Dallas, TX 75247             Darrell Shultz                                                                 CoStar Group             750 N Saint Paul St, Dallas, TX 75201               8882267404       6/8/2007 this information this information                     6/8/2007              6/23/2020

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  65937299 1035 N Miami Ave, Miami, FL 33132                 Rigoberto Perdomo                                                              CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      4/25/2016 this information this information                    4/25/2016              4/12/2021

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    828652 1230 S 336th St, Federal Way, WA 98003            Eric Ericson                                                                   CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      1/21/2006 this information this information                    1/21/2006               8/8/2020

                                                                                                                                                                                                                                                   CoStar will      CoStar will
                                                                                                                                                                                                                                                   supplement with supplement with
   1805799 1155 Oakes Rd, Racine, WI 53406                   Daniel Makowski                                                                CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300       1/4/2006 this information this information                     1/4/2006              6/22/2020

                                                                                                                                                                                                                                                   CoStar will      CoStar will
                                                                                                                                                                                                                                                   supplement with supplement with
   2061495 848-854 State Route 13, Cortland, NY 13045        Edward Bulken                                                                  CoStar Group*            1331 L St NW, Washington, DC 20005                  3012158300      3/19/2006 this information this information                    3/19/2006              7/13/2020




                         OUTSIDE COUNSEL ONLY                                                                                                          155
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                 EXHIBIT D
Case 2:20-cv-08819-CBM-AS       Document 950-1 Filed 10/25/24      Page 184 of 202
                                 Page ID #:216940

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     (BAR NO. 248485)
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 3   (BAR NO. 268050)
     elyse.greenwald@lw.com
 4   LATHAM & WATKINS LLP
     10250 Constellation Boulevard
 5   Suite 1100
     Los Angeles, CA 90067
 6   Tel: 424.653.5525
     Fax: 424.653.5501
 7
     Attorneys for Plaintiffs
 8
     [Additional Counsel Listed on the
 9   Next Page]
10
                        UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12
13   COSTAR GROUP, INC., and COSTAR             CASE NO. 2:20-cv-08819-CBM-AS
     REALTY INFORMATION, INC.,
14                                              COSTAR’S THIRD
                     Plaintiffs,                SUPPLEMENTAL OBJECTIONS
15                                              AND RESPONSES TO CREXI’S
           v.                                   FIRST SET OF
16                                              INTERROGATORIES
     COMMERCIAL REAL ESTATE
17   EXCHANGE, INC.,
                                                PROPOUNDING PARTY: CREXI
18                   Defendant.                 RESPONDING PARTY: COSTAR
                                                SET NO.: ONE (NOS. 1-20)
19
     COMMERCIAL REAL ESTATE
20   EXCHANGE, INC.,
21                   Counterclaimant,
22         v.
23   COSTAR GROUP, INC., AND
     COSTAR REALTY INFORMATION,
24   INC.,
25                   Counterdefendants.
26
27
28
                                                      THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                                            CREXI’S 1ST SET OF INTERROGATORIES
                                                                   Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24         Page 185 of 202
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 1 address, phone number, email address, and employer), the date the photograph was
 2 taken or acquired, the copyright registration date, the first date the photograph
 3 appeared on any of YOUR WEBSITES, and the first date YOU contend YOU were
 4 aware that a similar or identical photograph appeared on any CREXI website.
 5 RESPONSE TO INTERROGATORY NO. 1:
 6         CoStar designates its Response to Interrogatory No. 1 as “CONFIDENTIAL”
 7 under the Protective Order. CoStar incorporates its General Objections and its
 8 Objections to Definitions and Instructions as if fully set forth herein. CoStar objects
 9 to Interrogatory No. 1 as overbroad, unduly burdensome, not relevant or reasonably
10 calculated to lead to the discovery of admissible evidence, and not proportional to
11 the needs of this case to the extent it seeks information outside CoStar’s possession,
12 custody, or control, including “all contact information.” CoStar also objects to the
13 term “aware” as vague and ambiguous. In responding to this Interrogatory, the date
14 listed as the “first date” CoStar contends it became “aware” that a similar or identical
15 photograph appeared on any CREXi website signifies a date “on or about” the date
16 that CoStar became privy to this information.
17         Subject to and without waiving these objections, CoStar responds as follows:
18 See Appendix A. All photographers in Appendix A were at one time employed, or
19 hired as an independent contractor, by CoStar. Photographers with an asterisk ( * )
20 are no longer employed by, or working as independent contractors for, CoStar. To
21 the extent CoStar has information concerning these photographers’ employment
22 after they left CoStar, CoStar has included their last known employment information
23 in Appendix A.
24 FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:
25         CoStar designates its Supplemental Response to Interrogatory No. 1 as
26 “CONFIDENTIAL” under the Protective Order. CoStar supplements its response
27 to Interrogatory No. 1 as follows:
28         CoStar objects to Interrogatory No. 1 on the grounds that to date, CREXi has
                                                        THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                               10             CREXI’S 1ST SET OF INTERROGATORIES
                                                                     Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS     Document 950-1 Filed 10/25/24         Page 186 of 202
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 1 refused to provide CoStar with comprehensive discovery into all instances of
 2 CoStar-copyrighted images in CREXi’s possession, custody or control, including
 3 refusing an effective review by a third party of CREXi’s offline image library (which
 4 contains images to which only CREXi, not CoStar, has access). CoStar further
 5 objects to Interrogatory No. 1 on the basis that CREXi has failed to fully comply
 6 with the Court’s April 18, 2022 Order, pursuant to which CREXi was required to
 7 produce to CoStar all “CoStar Photographs” (as defined in the April 18, 2022 Order)
 8 in CREXi’s possession, custody or control, through April 18, 2022.
 9         Moreover, for several of the “CoStar Photographs” produced by CREXi and
10 listed in CREXi’s Third Amended Supplemental Appendix C to CoStar’s
11 Interrogatory No. 12 (hereafter, “CREXi Appendix C”), despite CoStar’s requests,
12 CREXi has not provided corresponding property and address information associated
13 with the “CoStar Photographs” it produced to CoStar, information which can assist
14 CoStar in determining whether it has rights in the images.         Further, some of the
15 images are low quality resolution (likely due, at least in part, to the way CREXi
16 sourced these images through snipping and cropping, including from PDFs), which
17 can necessitate further manual review to validate whether such images are owned by
18 CoStar.
19         Pursuant to the parties’ agreement via email on October 19, 2022, CoStar is
20 providing this supplemental response to Interrogatory No. 1 on November 30, 2022,
21 based on the information available to CoStar at this time. However, this litigation is
22 ongoing, discovery is incomplete, and CoStar reserves the right to amend its
23 response, or further supplement its response to identify additional CoStar-
24 copyrighted photographs, consistent with its obligations under Federal Rule of Civil
25 Procedure 26(e).
26         Subject to and without waiving these (and its prior) objections, CoStar
27 responds as follows: See Supplemental Appendix A. Supplemental Appendix A
28 supplements, and does not replace, Appendix A. For the avoidance of doubt, to the
                                                       THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                              11             CREXI’S 1ST SET OF INTERROGATORIES
                                                                    Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS      Document 950-1 Filed 10/25/24          Page 187 of 202
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 1 extent CREXi identified an image in CREXi Appendix C or otherwise produced an
 2 image to CoStar that is not listed on Supplemental Appendix A, CoStar does not
 3 waive, and to the contrary reserves, any potential copyright infringement claim over
 4 such image.1
 5 INTERROGATORY NO. 2:
 6         IDENTIFY all activities by COSTAR on CREXI’s websites, including every
 7 instance in which YOU have obtained, copied, reproduced, displayed, published,
 8 hosted, or taken or made use of any data, photographs or images from CREXI. For
 9 purposes of this interrogatory, IDENTIFY means to list the specific data or
10 photograph, the associated property, the COSTAR employee who obtained or used
11 the data or photograph, the date on which they did so, and, if COSTAR contends it
12 was authorized to do so, the name of the person who authorized the activity.
13 RESPONSE TO INTERROGATORY NO. 2:
14         CoStar designates its Response to Interrogatory No. 2 as “CONFIDENTIAL”
15 under the Protective Order. CoStar incorporates its General Objections and its
16 Objections to Definitions and Instructions as if fully set forth herein. CoStar objects
17 to Interrogatory No. 2 as overly broad, not relevant, not reasonably calculated to lead
18 to the discovery of admissible evidence, and not proportional to the needs of this
19 case, as it seeks information about “all activities.” CoStar also objects to the phrases
20 “all activities” and “made use of” as vague and ambiguous. CoStar further objects
21 to Interrogatory No. 2 to the extent it requests information that is protected by the
22 attorney-client privilege, the attorney work-product doctrine, the joint defense
23 privilege, the common interest doctrine, and/or any other applicable privilege,
24 immunity, or protection, including information regarding activities undertaken at the
25 direction of the CoStar Legal Department or CoStar’s outside counsel, in
26 anticipation of litigation, and/or in relation to this Action.
27
     1 Supplemental Appendix A does not include bates numbers for images that are
28
     duplicative of images included in CoStar’s original Appendix A.
                                                         THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                                12             CREXI’S 1ST SET OF INTERROGATORIES
                                                                      Case No. 2:20-cv-08819-CBM (ASx)
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 1 CoStar attaches a revised version of Appendix H (Appendix H.1), which sets forth
 2 the IP Addresses associated with CoStar’s international offices and datacenters.
 3
 4 Dated: November 30, 2022               Respectfully submitted,
 5
                                          By: /s/ Sarah A. Tomkowiak
 6                                            Sarah A. Tomkowiak
 7
                                          Counsel for CoStar Group, Inc., and
 8                                        CoStar Realty Information, Inc.
 9
10
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                                                     THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                             64            CREXI’S 1ST SET OF INTERROGATORIES
                                                                  Case No. 2:20-cv-08819-CBM (ASx)
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                             Page ID #:216945
Case 2:20-cv-08819-CBM-AS    Document 950-1 Filed 10/25/24          Page 190 of 202
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 1                             CERTIFICATE OF SERVICE
 2
             I am employed in the County of Los Angeles, State of California. I am
 3     over the age of 18 years and not a party to this action. My business address is
 4     Latham & Watkins LLP, 10250 Constellation Blvd., Suite 1100, Los Angeles,
       California 90067.
 5
 6           On November 30, 2022 I caused the following document(s) to be served:
 7          • COSTAR’S THIRD SUPPLEMENTAL OBJECTIONS AND
 8            RESPONSES TO CREXI’S FIRST SET OF INTERROGATORIES
 9     via electronic mail delivery to the person(s), address(es), and email address(es)
10     set forth below:
11                                     Elliot R. Peters
                                     Warren A. Braunig
12                                Elizabeth K. McCloskey
                                   Nicholas S. Goldberg
13                                     Christi Zaleski
                            KEKER, VAN NEST & PETERS LLP
14                                   633 Battery Street
                               San Francisco, CA 94111-1809
15                               Telephone: (415) 391-5400
                                 Facsimile: (415) 397-7188
16                            Email: CREXSTAR@keker.com
17             Attorneys for Defendant Commercial Real Estate Exchange, Inc.
18
              I declare that I am employed in the office of a member of the Bar of, or
19     permitted to practice before, this Court at whose direction the service was made
20     and declare under penalty of perjury under the laws of the State of California that
       the foregoing is true and correct.
21
22           Executed on November 30, 2022, at Century City, California.

23                                                      /s/ Elyse M. Greenwald
                                                        Elyse M. Greenwald
24
25
26
27
28
                                                       THIRD SUPP. OJBECTIONS AND RESPONSES TO
                                              66             CREXI’S 1ST SET OF INTERROGATORIES
                                                                    Case No. 2:20-cv-08819-CBM (ASx)
Case 2:20-cv-08819-CBM-AS   Document 950-1 Filed 10/25/24   Page 191 of 202
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                 EXHIBIT E
      [LODGED WITH THE COURT]
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                             Page ID #:216948




                 EXHIBIT F
Case 2:20-cv-08819-CBM-AS        Document 950-1 Filed 10/25/24        Page 193 of 202
                                  Page ID #:216949

 1 JESSICA STEBBINS BINA (BAR NO. 248485)
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 7 Fax: 424.653.5501
 8
   Attorneys for Plaintiffs and Counterdefendants
 9 CoStar Group, Inc. and CoStar Realty Information, Inc.
10
     [Additional Counsel Listed on the Next Page]
11
                           UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
     COSTAR GROUP, INC., and                        CASE NO. 2:20-cv-08819-CBM-AS
14   COSTAR REALTY
     INFORMATION, INC.,
15
                       Plaintiffs,                  COSTAR’S AMENDED RULE 26(a)(1)
16                                                  INITIAL DISCLOSURES
            v.
17
     COMMERCIAL REAL ESTATE
18   EXCHANGE, INC.,
19                     Defendant.
20
     COMMERCIAL REAL ESTATE
21   EXCHANGE, INC.,
22                     Counterclaimant,
23          v.
24   COSTAR GROUP, INC., and
     COSTAR REALTY INFORMATION,
25   INC.,
26                     Counterdefendants.
27
28
                                                                    CASE NO. 2:20-cv-08819-CBM-AS
                                                     COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
Case 2:20-cv-08819-CBM-AS     Document 950-1 Filed 10/25/24       Page 194 of 202
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 1         Plaintiffs CoStar Group, Inc. and CoStar Realty Information, Inc.,
 2 (collectively, “CoStar”) hereby make the disclosures set forth below pursuant to
 3 Federal Rule of Civil Procedure 26(a)(1).          These disclosures are based on
 4 information currently and reasonably available to CoStar. CoStar’s investigation is
 5 ongoing and, accordingly, CoStar reserves the right to modify, amend, or
 6 supplement these disclosures (either through express supplements to these
 7 disclosures or through discovery responses) as additional information becomes
 8 available.
 9         CoStar’s disclosures are made without in any way waiving: (1) the right to
10 object on the grounds of competency, privilege, relevancy and materiality, hearsay,
11 or any other proper ground to the use of such information, for any purpose, in whole
12 or in part, in any subsequent proceeding in this action or any other action, and (2)
13 the right to object on any and all grounds, at any time, to any discovery request or
14 proceeding involving or relating to the subject matter of these disclosures.
15 I.      INDIVIDUALS LIKELY TO HAVE DISCOVERABLE
16         INFORMATION THAT PLAINTIFFS MAY USE TO SUPPORT
           THEIR CLAIMS OR DEFENSES
17
18         Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(i), and based on the
19 information available to CoStar at this time, CoStar identifies the following entities
20 and individuals who are likely to have discoverable information that CoStar may use
21 to support its claims or defenses, unless the use would be solely for impeachment.
22 The following disclosures do not include expert witnesses, who will be identified at
23 a later date in accordance with Federal Rule of Civil Procedure 26(a)(2).
24         A.    CoStar Affiliated Witnesses
25         1.    The following CoStar employees have knowledge of CoStar’s
26 copyrighted photographs and listing data:
27
28
                                                                CASE NO. 2:20-cv-08819-CBM-AS
                                               1 COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
Case 2:20-cv-08819-CBM-AS    Document 950-1 Filed 10/25/24      Page 195 of 202
                              Page ID #:216951

 1   Name                                   Contact Information
     Kevin Mason, Former Vice President     c/o Latham & Watkins LLP
 2
     of Field Research                      555 11th Street N.W., Suite 1000
 3                                          Washington, DC 20004
                                            (202) 637-2200
 4
     Corey Durant, Vice President of        c/o Latham & Watkins LLP
 5   Research                               555 11th Street N.W., Suite 1000
 6                                          Washington, DC 20004
                                            (202) 637-2200
 7   Mason Adams, Interim Head of Field     c/o Latham & Watkins LLP
 8   Research                               555 11th Street N.W., Suite 1000
                                            Washington, DC 20004
 9                                          (202) 637-2200
10        2.     The following CoStar employee has knowledge of CoStar’s abuse-
11 detection efforts and Defendant Commercial Real Estate Exchange Inc.’s
12 (“CREXi”) copying and altering of CoStar-copyrighted photographs, theft of CoStar
13 listing data, and attempts to circumvent CoStar’s abuse-detection efforts:
14 Name                                      Contact Information
    Dariush Edalatkhah, Business             c/o Latham & Watkins LLP
15 Intelligence Manager                      555 11th Street N.W., Suite 1000
16                                           Washington, DC 20004
                                             (202) 637-2200
17
18        3.     The following CoStar employees have knowledge of CoStar’s process
19 for obtaining copyright registrations for CoStar original photography:
20 Name                                      Contact Information
    Dariush Edalatkhah, Business             c/o Latham & Watkins LLP
21 Intelligence Manager                      555 11th Street N.W., Suite 1000
22                                           Washington, DC 20004
                                             (202) 637-2200
23 Mayra Roman, Former Legal                 c/o Latham & Watkins LLP
24 Operations Specialist                     555 11th Street N.W., Suite 1000
                                             Washington, DC 20004
25
                                             (202) 637-2200
26        4.    The following CoStar employee has knowledge of CoStar’s pricing and
27 finance arrangements:
28
                                                              CASE NO. 2:20-cv-08819-CBM-AS
                                             2 COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
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                               Page ID #:216952

 1 Name                                      Contact Information
   Kristen Scalisi, Fortis Net Lease         30445 Northwestern Hwy, Suite #275
 2
                                             Farmington Hills, MI 48334
 3                                           (248) 254-3410
 4 Bryan Bender, Fortis Net Lease            30445 Northwestern Hwy, Suite #275
                                             Farmington Hills, MI 48334
 5                                           (248) 254-3410
 6 Jay Patel, Colliers International         5901 Priestly Drive I, Suite 100
                                             Carlsbad, CA 92008
 7                                           (760) 930-7927
 8
 9         7.     CoStar also anticipates that brokers will have knowledge regarding

10 CoStar’s rebuttal to CREXi’s affirmative defenses, including but not limited to
11 CREXi’s copyright misuse affirmative defense alleging that CoStar has attempted
12 to improperly use its copyrights to control competition and applied its name and/or
13 logo to images for which it neither owns nor holds the copyright. CoStar will
14 identify specific brokers at a later date.
15        CoStar reserves the right to call any and all additional fact witnesses revealed

16 during investigation or discovery that have relevant information regarding this
17 lawsuit. CoStar incorporates by reference the names of any and all persons disclosed
18 by CoStar and CREXi through initial or supplemental disclosures, answers to
19 interrogatories, responses to requests for production or admission, pleadings, and
20 otherwise.
21 II.   DOCUMENTS IN PLAINTIFFS’ POSSESSION, CUSTODY, OR
         CONTROL THAT THEY MAY USE TO SUPPORT THEIR CLAIMS
22       OR DEFENSES
23
24         CoStar believes that the bulk of the documents, electronically stored

25 information, and tangible things that it may use to support its claims and defenses in
26 this case will come from CREXi and other sources beyond CoStar’s possession,
27 custody or control. Nonetheless, pursuant to Federal Rule of Civil Procedure
28 26(a)(1)(A)(ii), CoStar identifies the following documents, electronically stored
                                                                 CASE NO. 2:20-cv-08819-CBM-AS
                                               13 COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
Case 2:20-cv-08819-CBM-AS   Document 950-1 Filed 10/25/24     Page 197 of 202
                             Page ID #:216953

 1   Dated: June 21, 2023               LATHAM & WATKINS LLP
 2
 3
                                        By: /s/ Nicholas J. Boyle
 4                                         Nicholas J. Boyle
                                           (admitted pro hac vice)
 5                                         Sarah A. Tomkowiak
                                           (admitted pro hac vice)
 6                                         555 Eleventh Street, NW
                                           Suite 1000
 7                                         Washington, D.C. 20004
                                           Tel: 202.637.2200
 8                                         Fax: 202.637.2201
                                           Email: nicholas.boyle@lw.com
 9                                                sarah.tomkowiak@lw.com
10                                          Jessica Stebbins Bina
                                            (Bar No. 248485)
11                                          Elyse M. Greenwald
                                            (Bar No. 268050)
12                                          10250 Constellation Boulevard
                                            Suite 1100
13                                          Los Angeles, CA 90067
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15                                                elyse.greenwald@lw.com
16                                         Caitlin E. Dahl
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17                                         330 North Wabash Avenue
                                           Suite 2800
18                                         Chicago, IL 60611
                                           Tel: 312.876.7700
19                                         Fax: 312.993.9767
                                           Email: caitlin.dahl@lw.com
20
21                                      Attorneys for Plaintiffs and
                                        Counterdefendants CoStar Group, Inc.
22                                      and CoStar Realty Information, Inc.
23
24
25
26
27
28
                                                            CASE NO. 2:20-cv-08819-CBM-AS
                                          17 COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
Case 2:20-cv-08819-CBM-AS    Document 950-1 Filed 10/25/24       Page 198 of 202
                              Page ID #:216954

 1                               PROOF OF SERVICE
 2       I am employed in the County of Los Angeles, State of California. I am over
   the age of 18 years and not a party to this action. My business address is Latham &
 3 Watkins LLP, 10250 Constellation Blvd., Suite 1100, Los Angeles, California
   90067.
 4
         On June 21, 2023, I caused the following document(s) to be served:
 5
      •     COSTAR’S AMENDED RULE 26(a)(1) INITIAL DISCLOSURES
 6
   via hand-delivery and electronic mail delivery to the person(s), address(es), and
 7 email address(es) set forth below:
 8                                  Elliot R. Peters
                                   Warren A. Braunig
 9                               Nicholas S. Goldberg
                                   Katie Lynn Joyce
10                        KEKER, VAN NEST & PETERS LLP
                                   633 Battery Street
11                           San Francisco, CA 94111-1809
                               Telephone: (415) 391-5400
12                             Facsimile: (415) 397-7188
                            Email: CREXSTAR@keker.com
13
                       Attorneys for Defendant and Counterclaimant
14                        Commercial Real Estate Exchange, Inc.
15
         I declare that I am employed in the office of a member of the Bar of, or
16 permitted to practice before, this Court at whose direction the service was made and
   declare under penalty of perjury under the laws of the State of California that the
17 foregoing is true and correct.
18
           Executed on June 21, 2023, at Los Angeles, California.
19
20                                               /s/ Jessica Stebbins Bina
                                                 Jessica Stebbins Bina
21
22
23
24
25
26
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28
                                                               CASE NO. 2:20-cv-08819-CBM-AS
                                             18 COSTAR’S AM. R. 26(A)(1) INITIAL DISCLOSURES
Case 2:20-cv-08819-CBM-AS   Document 950-1 Filed 10/25/24   Page 199 of 202
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                 EXHIBIT G
           Case 2:20-cv-08819-CBM-AS              Document 950-1 Filed 10/25/24                 Page 200 of 202
                                                   Page ID #:216956




From: Niall M. Frizzell <NFrizzell@keker.com>
Sent: Wednesday, October 25, 2023 1:49 PM
To: Pena, Erica (LA) <Erica.Pena@lw.com>; #C-M COSTAR - CREXI - LW TEAM <COSTARCREXI.LWTEAM@lw.com>
Cc: CREXSTAR <CREXSTAR@keker.com>
Subject: RE: CoStar v. CREXi | CREXi's Amended Initial Disclosures

Counsel:

There are roughly a hundred people or entities in CoStar’s initial disclosures, associated with topics as broad as
“violations of the federal and state laws alleged in the Second Amended Complaint.” CREXi has provided considerably
narrower and more targeted information to CoStar than it has received. CREXi’s timely service of amended initial
disclosures provides no basis to revisit the deposition limits in this case.

Regards


Niall M. Frizzell
Keker, Van Nest & Peters LLP
633 Battery Street
San Francisco, CA 94111-1809
415 962 8843 direct | 415 391 5400 main
nfrizzell@keker.com | [he/him/his] | vcard | keker.com

From: Erica.Pena@lw.com <Erica.Pena@lw.com>
Sent: Friday, October 20, 2023 17:00
To: CREXSTAR <CREXSTAR@keker.com>
Cc: COSTARCREXI.LWTEAM@lw.com
Subject: CoStar v. CREXi | CREXi's Amended Initial Disclosures

[EXTERNAL]

Counsel,

We are in receipt of CREXi’s amended initial disclosures, which were served on September 29, 2023 and identify a total
of fifty-six persons—including forty-three newly added persons since its August 23, 2021 initial disclosures—likely to
have discoverable information. Thus, rather than supplement its disclosures periodically during the prior two years,
CREXi waited, strategically, until the very last day of written discovery to sandbag CoStar with more than forty new
witnesses. Twenty of those persons identified are third-party individuals, and CREXi has represented that fifteen of
these third-party individuals are likely to have information about an identical laundry list of general subject matters (i.e.,
“information concerning CoStar’s allegations against CREXi; CoStar’s modification of CRE data; CoStar’s policies and
practices concerning the use of its name or logo on CRE images; CoStar’s policies and practices related to the DMCA;
CoStar’s use of CREXi’s trademark; CoStar’s access to CREXi’s websites for competitive purposes; CoStar’s claims of
intellectual property ownership of images and data; CoStar’s business; CoStar’s engagement in competitive intelligence;
CoStar’s litigation history; CoStar’s competition with CREXi; FTC investigations of CoStar; CoStar’s exclusionary and
anticompetitive conduct; the relevant internet CRE information, listings, and auction services”). Further, CREXi has
                                                              1
           Case 2:20-cv-08819-CBM-AS              Document 950-1 Filed 10/25/24                Page 201 of 202
                                                   Page ID #:216957
represented that at least eighteen individuals “employed by or affiliated with CoStar” have knowledge about the exact
same list of subject matters.

In light of each party’s limit of twenty depositions and the cumulative nature of many of the witnesses CREXi has
identified in its amended initial disclosures, we ask that CREXi identify a reasonable number of witnesses on which it
intends to rely and provide a more specific description of the subject of the information each witness likely
possesses. See Withers v. eHarmony, Inc., No. CV 09-2266-GHK(RCX), 2010 WL 11520197, at *1–2 (C.D. Cal. Apr. 1,
2010) (holding that a party’s initial disclosures must provide a complete and narrow description of the subject of the
information each witnesses likely possesses). Should CREXi refuse, CoStar will seek guidance from the Special Master,
given that CREXi’s tactics threaten to undermine the deposition schedule.

Please let us know CREXi’s position by Tuesday.

Regards,
Erica

Erica Peña

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                 EXHIBIT H
      [LODGED WITH THE COURT]
